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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )        Chapter 11
                                                             )
    JOANN INC., et al.,1                                     )        Case No. 25-10068 (CTG)
                                                             )
                             Debtors.                        )        (Jointly Administered)
                                                             )


                   AFFIDAVIT OF SERVICE OF SOLICITATION MATERIALS

I, Craig E. Johnson, depose and say that:
             1.     I am a Senior Director of Restructuring Administration and Issuer Services at Kroll

Restructuring Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the

above-captioned case. At my direction and under my supervision, employees of Kroll caused the

following materials to be served:

    a.       the Amended Disclosure Statement for the Second Amended Joint Chapter 11 Plan of
             JOANN Inc. and its Debtor Affiliates [Docket No. 987] (the “Disclosure Statement”);

    b.       the Order (I) Conditionally Approving the Adequacy of the Disclosure Statement, (II)
             Scheduling a Plan Confirmation and Final Disclosure Statement Approval Hearing and
             Setting Dates and Deadlines, (III) Approving the Solicitation Packages and Notice
             Procedures, (IV) Approving the Form of the Ballots and Notices in Connection Therewith,
             and (V) Granting Related Relief [Docket No. 994] (the “Disclosure Statement Order”);

    c.       the Notice of Hearing to Consider (I) Final Approval of the Disclosure Statement and (II)
             Confirmation of the Debtors’ Joint Chapter 11 Plan [Docket No. 1010] (the “Combined
             Hearing Notice”);

    d.       the Cover Letter to Class 3 – Prepetition Term Loan Claims Entitled to Vote on the Plan
             containing QR codes and links to access the following documents on the Debtors’
             restructuring website: the Combined Hearing Notice, Disclosure Statement, Disclosure
             Statement Order, and Ballot for Holders of Class 3 Prepetition Term Loan Claims for

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech Solutions
LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com, LLC (1594);
JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030); JOANN Holdings
2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address is 5555 Darrow Road,
Hudson, Ohio 44236.
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       Voting to Accept or Reject the Second Amended Joint Chapter 11 Plan of Joann Inc. and
       its Debtor Affiliates. A copy of the Cover Letter to Class 3 – Prepetition Term Loan Claims
       Holders of Claims Entitled to Vote on the Plan is attached hereto as Exhibit A (the” Class
       3 Cover Letter”);

 e.    the Cover Letter to Class 4 – General Unsecured Claims Entitled to Vote on the Plan
       containing QR codes and links to access the following documents on the Debtors’
       restructuring website: the Combined Hearing Notice, Disclosure Statement, Disclosure
       Statement Order, and Ballot for Holders of Class 4 General Unsecured Claims for Voting
       to Accept or Reject the Second Amended Joint Chapter 11 Plan of Joann Inc. and its Debtor
       Affiliates. A copy of the Cover Letter to Class 4 – General Unsecured Claims Holders of
       Claims Entitled to Vote on the Plan is attached hereto as Exhibit B (the “Class 4 Cover
       Letter”);

 f.    the Notice of Non-Voting Status Regarding Releases to Holders of Unimpaired Claims or
       Interests Conclusively Presumed to Accept the Plan containing QR codes and links to
       access the following documents on the Debtors’ restructuring website: the Combined
       Hearing Notice, Disclosure Statement, Disclosure Statement Order, and Opt-In Form
       Regarding Releases to Holders of Claims or Interests. A copy of the Notice of Non-Voting
       Status Regarding Releases to Holders of Unimpaired Claims or Interests Conclusively
       Presumed to Accept the Plan is attached hereto as Exhibit C (the “Unimpaired Non-
       Voting Notice”);

 g.    the Notice of Non-Voting Status Regarding Releases to Holders of Impaired Claims or
       Interests Conclusively Deemed to Reject the Plan containing QR codes and links to access
       the following documents on the Debtors’ restructuring website: the Combined Hearing
       Notice, Disclosure Statement, Disclosure Statement Order, and Opt-In Form Regarding
       Releases to Holders of Claims or Interests. A copy of the Notice of Non-Voting Status
       Regarding Releases to Holders of Impaired Claims or Interests Conclusively Deemed to
       Reject the Plan is attached hereto as Exhibit D (the “Impaired Non-Voting Notice”); and

 h.    the Ballot for Holders of Class 4 General Unsecured Claims for Voting to Accept or Reject
       the Second Amended Joint Chapter 11 Plan of Joann Inc. and its Debtor Affiliates, a copy
       of which is attached hereto as Exhibit E (the “Class 4 Ballot”).

       2.       Unless otherwise stated, on May 29, 2025, at my direction and under my

supervision, employees of Kroll caused true and correct copies of the above materials to be served

as follows:

 a.    the Combined Hearing Notice and Impaired Non-Voting Notice were served via overnight
       mail or next business day service on the banks, brokers, dealer agents, nominees or their
       agents (collectively the “Nominees”) identified on the service list attached hereto as
       Exhibit F. The Nominees were provided with instructions and sufficient quantities to
       distribute the aforementioned documents to the beneficial holders of the Debtors’ publicly


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       traded equity securities;

 b.    the Combined Hearing Notice and Class 3 Cover Letter were served via first class mail on
       the parties identified on the service list attached hereto as Exhibit G;

 c.    the Combined Hearing Notice and Class 4 Cover Letter were served via first class mail on
       the parties identified on the service list attached hereto as Exhibit H;

 d.    the Combined Hearing Notice and Unimpaired Non-Voting Notice were served via first
       class mail on the parties identified on the service list attached hereto as Exhibit I;

 e.    the Combined Hearing Notice and Impaired Non-Voting Notice were served via first class
       mail on the parties identified on the service list attached hereto as Exhibit J;

 f.    the Combined Hearing Notice, Disclosure Statement, Disclosure Statement Order, Class 3
       Cover Letter and Class 4 Cover Letter were served via first class mail on the parties
       identified on the service list attached hereto as Exhibit K; and

 g.    the Combined Hearing Notice was served via first class mail on the parties identified on
       the service list attached hereto as Exhibit L.


       3.      In addition to the services detailed above, on May 29, 2025, at my direction and

under my supervision, employees of Kroll caused electronic copies of the Combined Hearing

Notice and Impaired Non-Voting Notice to be served via email on the parties identified on the

service list attached hereto as Exhibit M.

       4.      In addition to the services detailed above, on May 29, 2025, at my direction and

under my supervision, employees of Kroll caused electronic links of the above materials to be

served as follows:

 a.    the Combined Hearing Notice, Disclosure Statement, Disclosure Statement Order, Class 3
       Cover Letter and Class 4 Cover Letter were served via email on the parties identified on
       the service list attached hereto as Exhibit N; and

 b.    the Combined Hearing Notice was served via email on the parties identified on the service
       list attached hereto as Exhibit O.

       5.      On June 13, 2025, at my direction and under my supervision, employees of Kroll

caused true and correct copies of the Combined Hearing Notice and Class 4 Cover Letter to be



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served via first class mail on the parties identified on the service list attached hereto as Exhibit P.

       6.      In accordance with item 10 of the Disclosure Statement Order, on June 13, 2025,

at my direction and under my supervision, employees of Kroll caused true and correct copies of

the Combined Hearing Notice, Disclosure Statement, Disclosure Statement Order and Class 4

Ballot to be served on the creditor associated with address ID 30287584, whose name and address

have been redacted in the interest of privacy.




            [Remainder of Page Intentionally Left Blank / Signature Page to Follow]




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Dated: June 27, 2025

                                                                   /s/ Craig E. Johnson
                                                                     Craig E. Johnson
State of New York
County of Kings

Subscribed and sworn (or affirmed) to me on June 27, 2025, by Craig E. Johnson, proved to
me on the basis of satisfactory evidence to be the person who executed this affidavit.


/s/ HERBERT BAER
Notary Public, State of New York
No BA6205563
Qualified in Westchester County
Commission Expires May 11, 2025




                                              5                                SRF 88131 & 89132
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                        Exhibit A
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88131-11




                                                                             UNIQUE E-BALLOT ID# __________________




                                                          May 28, 2025



Via First Class Mail / Email

RE:        In re JOANN Inc., et al. Chapter 11 Case No. 25-10068, Summary of Chapter 11 Plan and Information
           Regarding Certain Key Dates.

TO ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN:

         JOANN Inc. and its affiliated debtors and debtors in possession in the above captioned cases (collectively, the
           1
“Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the District of Delaware (the “Court”) on January 15, 2025.

          You have received this letter and the enclosed materials because you are entitled to vote on the Second Amended Joint
Chapter 11 Plan of JOANN Inc. and Its Debtor Affiliates (as modified, amended, or supplemented from time to time,
            2
the “Plan”). On May 27, 2025, the Court entered an order (the “Conditional Disclosure Statement Order”) [Docket No. 994]:
(a) authorizing the Debtors to solicit acceptances for the Plan; (b) conditionally approving the Amended Disclosure Statement for
the Second Amended Joint Chapter 11 Plan of JOANN Inc. and Its Debtor Affiliates [Docket No. 987] (as modified, amended, or
supplemented from time to time, the “Disclosure Statement”) as containing “adequate information” pursuant to section 1125 of
the Bankruptcy Code; (c) approving the solicitation materials and documents to be included in the solicitation package
(the “Solicitation Package”); (d) approving procedures for soliciting, receiving, and tabulating votes on the Plan and for filing
objections to the Plan; and (e) granting related relief.

YOU ARE RECEIVING THIS LETTER BECAUSE YOU ARE ENTITLED TO VOTE ON THE PLAN. THEREFORE, YOU
SHOULD READ THIS LETTER CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY. IF YOU DO NOT HAVE AN
ATTORNEY, YOU MAY WISH TO CONSULT ONE.

            As a Holder of a Claim entitled to vote on the Plan, you are entitled to receive the Solicitation Package. In addition to
this letter, the Solicitation Package consists of the following:

                a.   a Ballot, together with detailed voting instructions;
                b.   the Combined Hearing Notice; and
                c.   any other materials as the Court may direct.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech Solutions LLC (6734);
      Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com, LLC (1594); JOANN Ditto
      Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030); JOANN Holdings 2, LLC (6408); and
      Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address is 5555 Darrow Road, Hudson, Ohio 44236.
2
      Capitalized terms not otherwise defined herein have the same meanings as set forth in the Plan.
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  THE DISCLOSURE STATEMENT, THE PLAN, THE                              THE BALLOT MAY BE ACCESSED FREE OF CHARGE
 CONDITIONAL DISCLOSURE STAMENT ORDER, THE                              BY SCANNING THE QR CODE BELOW USING THE
     COMBINED HEARING NOTICE, THE PLAN                                  CAMERA ON YOUR SMART PHONE, TABLET, OR
 SUPPLEMENT, AND OTHER RELATED DOCUMENTS                                             OTHER DEVICE.
MAY BE ACCESSED FREE OF CHARGE BY SCANNING
THE QR CODE BELOW USING THE CAMERA ON YOUR
    SMART PHONE, TABLET, OR OTHER DEVICE.




                                                                           UNIQUE E-BALLOT ID# __________________


           Use the Unique E-Ballot ID# to access your ballot through the Debtors’ restructuring website at
https://cases.ra.kroll.com/Joann2025.

           If you would like to obtain a physical copy of the Ballot, the Disclosure Statement, the Plan, the Plan Supplement, the
Opt-In Form, the Combined Hearing Notice, or related documents, you should contact Kroll Restructuring Administration LLC,
the claims and noticing agent retained by the Debtors in these chapter 11 cases (the “Claims and Noticing Agent”), by:
(a) writing via first class mail, to JOANN Inc. (2025) Ballot Processing Center, c/o Kroll Restructuring Administration LLC,
850 Third Avenue, Suite 412, Brooklyn, NY 11232; (b) writing via electronic mail to JoannInfo@ra.kroll.com (with “Joann
Solicitation Inquiry” in the subject line); or (c) calling the Debtors’ restructuring hotline at (844) 712-2239 (U.S./Canada,
toll-free) or +1 (646) 863-7121 (International, toll). You may also obtain copies of any pleadings filed in these chapter 11 cases
(i) for a fee via PACER at https://www.deb.uscourts.gov or (ii) at no charge from Kroll Restructuring Administration LLC by
accessing the Debtors’ restructuring website at https://cases.ra.kroll.com/Joann2025. The Plan Supplement will be filed with the
Court no later than June 20, 2025.

           JOANN Inc. (on behalf of itself and each of the other Debtors) has approved the filing of the Plan and the solicitation
of votes to accept or reject the Plan. The Debtors believe that the Plan is in the best interests of their estates and all other parties
in interest. Moreover, the Debtors believe that any alternative other than Confirmation of the Plan could result in significant
delays and increased administrative expenses, which, in turn, likely would result in smaller distributions (or no distributions) or
recoveries on account of Claims asserted in these chapter 11 cases.

THE DEBTORS STRONGLY URGE YOU TO PROPERLY AND TIMELY SUBMIT YOUR BALLOT CASTING A
VOTE TO ACCEPT THE PLAN. THE VOTING DEADLINE IS 4:00 P.M., PREVAILING EASTERN TIME, ON
JUNE 30, 2025.

          The materials in the Solicitation Package are intended to be self-explanatory. If you should have any questions,
however, please feel free to contact Kroll Restructuring Administration LLC, the notice, claims, and solicitation agent retained by
the Debtors in these chapter 11 cases (the “Claims and Noticing Agent”), by calling the Debtors’ Claims and Noticing Agent at
(844) 712-2239 (U.S./Canada, toll-free) or +1 (646) 863-7121 (International, toll). The Claims and Noticing Agent cannot and
will not provide legal advice. If you need legal advice, you should consult an attorney.

                                                                  Sincerely,


                                                                  /s/ Jeffrey Dwyer
                                                                  Jeffrey Dwyer
                                                                  Interim Chief Financial Officer
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                        Exhibit B
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                                                                             UNIQUE E-BALLOT ID# __________________




                                                          May 28, 2025



Via First Class Mail / Email

RE:        In re JOANN Inc., et al. Chapter 11 Case No. 25-10068, Summary of Chapter 11 Plan and Information
           Regarding Certain Key Dates.

TO ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN:

         JOANN Inc. and its affiliated debtors and debtors in possession in the above captioned cases (collectively, the
           1
“Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the District of Delaware (the “Court”) on January 15, 2025.

          You have received this letter and the enclosed materials because you are entitled to vote on the Second Amended Joint
Chapter 11 Plan of JOANN Inc. and Its Debtor Affiliates (as modified, amended, or supplemented from time to time,
            2
the “Plan”). On May 27, 2025, the Court entered an order (the “Conditional Disclosure Statement Order”) [Docket No. 994]:
(a) authorizing the Debtors to solicit acceptances for the Plan; (b) conditionally approving the Amended Disclosure Statement for
the Second Amended Joint Chapter 11 Plan of JOANN Inc. and Its Debtor Affiliates [Docket No. 987] (as modified, amended, or
supplemented from time to time, the “Disclosure Statement”) as containing “adequate information” pursuant to section 1125 of
the Bankruptcy Code; (c) approving the solicitation materials and documents to be included in the solicitation package
(the “Solicitation Package”); (d) approving procedures for soliciting, receiving, and tabulating votes on the Plan and for filing
objections to the Plan; and (e) granting related relief.

YOU ARE RECEIVING THIS LETTER BECAUSE YOU ARE ENTITLED TO VOTE ON THE PLAN. THEREFORE, YOU
SHOULD READ THIS LETTER CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY. IF YOU DO NOT HAVE AN
ATTORNEY, YOU MAY WISH TO CONSULT ONE.

            As a Holder of a Claim entitled to vote on the Plan, you are entitled to receive the Solicitation Package. In addition to
this letter, the Solicitation Package consists of the following:

                a.   a Ballot, together with detailed voting instructions;
                b.   the Combined Hearing Notice; and
                c.   any other materials as the Court may direct.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech Solutions LLC (6734);
      Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com, LLC (1594); JOANN Ditto
      Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030); JOANN Holdings 2, LLC (6408); and
      Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address is 5555 Darrow Road, Hudson, Ohio 44236.
2
      Capitalized terms not otherwise defined herein have the same meanings as set forth in the Plan.
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  THE DISCLOSURE STATEMENT, THE PLAN, THE                              THE BALLOT MAY BE ACCESSED FREE OF CHARGE
 CONDITIONAL DISCLOSURE STAMENT ORDER, THE                              BY SCANNING THE QR CODE BELOW USING THE
     COMBINED HEARING NOTICE, THE PLAN                                  CAMERA ON YOUR SMART PHONE, TABLET, OR
 SUPPLEMENT, AND OTHER RELATED DOCUMENTS                                             OTHER DEVICE.
MAY BE ACCESSED FREE OF CHARGE BY SCANNING
THE QR CODE BELOW USING THE CAMERA ON YOUR
    SMART PHONE, TABLET, OR OTHER DEVICE.




                                                                           UNIQUE E-BALLOT ID# __________________



           Use the Unique E-Ballot ID# to access your ballot through the Debtors’ restructuring website at
https://cases.ra.kroll.com/Joann2025.

           If you would like to obtain a physical copy of the Ballot, the Disclosure Statement, the Plan, the Plan Supplement, the
Opt-In Form, the Combined Hearing Notice, or related documents, you should contact Kroll Restructuring Administration LLC,
the claims and noticing agent retained by the Debtors in these chapter 11 cases (the “Claims and Noticing Agent”), by:
(a) writing via first class mail, to JOANN Inc. (2025) Ballot Processing Center, c/o Kroll Restructuring Administration LLC,
850 Third Avenue, Suite 412, Brooklyn, NY 11232; (b) writing via electronic mail to JoannInfo@ra.kroll.com (with “Joann
Solicitation Inquiry” in the subject line); or (c) calling the Debtors’ restructuring hotline at (844) 712-2239 (U.S./Canada,
toll-free) or +1 (646) 863-7121 (International, toll). You may also obtain copies of any pleadings filed in these chapter 11 cases
(i) for a fee via PACER at https://www.deb.uscourts.gov or (ii) at no charge from Kroll Restructuring Administration LLC by
accessing the Debtors’ restructuring website at https://cases.ra.kroll.com/Joann2025. The Plan Supplement will be filed with the
Court no later than June 20, 2025.

           JOANN Inc. (on behalf of itself and each of the other Debtors) has approved the filing of the Plan and the solicitation
of votes to accept or reject the Plan. The Debtors believe that the Plan is in the best interests of their estates and all other parties
in interest. Moreover, the Debtors believe that any alternative other than Confirmation of the Plan could result in significant
delays and increased administrative expenses, which, in turn, likely would result in smaller distributions (or no distributions) or
recoveries on account of Claims asserted in these chapter 11 cases.

THE DEBTORS STRONGLY URGE YOU TO PROPERLY AND TIMELY SUBMIT YOUR BALLOT CASTING A
VOTE TO ACCEPT THE PLAN. THE VOTING DEADLINE IS 4:00 P.M., PREVAILING EASTERN TIME, ON
JUNE 30, 2025.

          The materials in the Solicitation Package are intended to be self-explanatory. If you should have any questions,
however, please feel free to contact Kroll Restructuring Administration LLC, the notice, claims, and solicitation agent retained by
the Debtors in these chapter 11 cases (the “Claims and Noticing Agent”), by calling the Debtors’ Claims and Noticing Agent at
(844) 712-2239 (U.S./Canada, toll-free) or +1 (646) 863-7121 (International, toll). The Claims and Noticing Agent cannot and
will not provide legal advice. If you need legal advice, you should consult an attorney.

                                                                  Sincerely,


                                                                  /s/ Jeffrey Dwyer
                                                                  Jeffrey Dwyer
                                                                  Interim Chief Financial Officer
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                        Exhibit C
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                    )
In re:                                                              )         Chapter 11
                                                                    )
JOANN INC., et al.,1                                                )         Case No. 25-10068 (CTG)
                                                                    )
                              Debtors.                              )         (Jointly Administered)
                                                                    )

                      NOTICE OF NON-VOTING STATUS
             REGARDING RELEASES TO HOLDERS OF UNIMPAIRED
     CLAIMS OR INTERESTS CONCLUSIVELY PRESUMED TO ACCEPT THE PLAN

           PLEASE TAKE NOTICE THAT on May 27, 2025, the United States Bankruptcy Court for the District of Delaware
(the “Court”) entered an order [Docket No. 994] (the “Conditional Disclosure Statement Order”): (a) authorizing the above-
captioned debtors and debtors in possession (collectively, the “Debtors”) to solicit votes on the Second Amended Joint Chapter
11 Plan of JOANN Inc. and Its Debtor Affiliates [Docket No. 986] (as modified, amended, or supplemented from time to time,
             2
the “Plan”); (b) conditionally approving the Amended Disclosure Statement for the Second Amended Joint Chapter 11 Plan of
JOANN Inc. and Its Debtor Affiliates [Docket No. 987] (the “Disclosure Statement”) as containing “adequate information”
pursuant to section 1125 of the Bankruptcy Code; (c) approving the solicitation materials and documents to be included in the
solicitation packages; (d) approving procedures for soliciting, receiving, and tabulating votes on the Plan and for filing objections
to the Plan; and (e) granting related relief.

          PLEASE TAKE FURTHER NOTICE THAT because of the nature and treatment of your Claim under the Plan, you
are not entitled to vote on the Plan. Specifically, as a Holder of a Claim (as currently asserted against the Debtors) in one of the
below Classes that is not Impaired and conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code, you are not entitled to vote on the Plan. Your treatment under the Plan will be consistent with the other
Holders of Claims in one of the below Classes:


    Class                                                        Treatment
            Except to the extent that a Holder of an Allowed Other Secured Claim agrees to less favorable treatment, in exchange
            for such Allowed Other Secured Claim, on or as soon as reasonably practicable after the Effective Date, each Holder
Other
            of an Allowed Other Secured Claim shall receive, at the option of the Debtors or Wind-Down Debtors, as applicable:
Secured
            (i) payment in full in Cash of such Holder’s Allowed Other Secured Claim; (ii) the collateral securing such Holder’s
Claims
            Allowed Other Secured Claim; (iii) Reinstatement of such Holder’s Allowed Other Secured Claim; or (iv) such other
            treatment rendering such Holder’s Allowed Other Secured Claim Unimpaired.
            Except to the extent that a Holder of an Allowed Other Priority Claim agrees to less favorable treatment, in exchange
Other       for such Allowed Other Priority Claim, on or as soon as reasonably practicable after the later to occur of (i) the
Priority    Effective Date and (ii) the date such Claim becomes Allowed (or as otherwise set forth in the Plan), each Holder of an
Claims      Allowed Other Priority Claim will either be satisfied in full, in Cash, or otherwise receive treatment consistent with
            the provisions of section 1129(a)(9) of the Bankruptcy Code.


1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
       Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570);
       joann.com, LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1,
       LLC (9030); JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’
       mailing address is 5555 Darrow Road, Hudson, Ohio 44236.
2
       Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan, the
       Disclosure Statement, or the Disclosure Statement Order, as applicable.
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          PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will consider Confirmation of the Plan
and final approval of the Disclosure Statement (the “Combined Hearing”) will commence on July 10, 2025, at 10:00 a.m.,
prevailing Eastern Time, before the Honorable Craig T. Goldblatt, in the United States Bankruptcy Court for the District of
Delaware, located at 824 North Market Street, Third Floor, Courtroom 7, Wilmington, DE 19801.

           PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the Plan and final approval of the
Disclosure Statement is June 27, 2025, at 4:00 p.m., prevailing Eastern Time (the “Plan Objection Deadline”). All objections
to the relief sought at the Combined Hearing must: (a) be in writing; (b) conform to the Bankruptcy Code, Bankruptcy Rules, the
Local Rules, and any orders of the Court; (c) state, with particularity, the basis and nature of any objection to the Plan or
Disclosure Statement and, if practicable, a proposed modification to the Plan that would resolve such objection; and (d) be filed
with the Court on or before the Plan Objection Deadline.

          PLEASE TAKE FURTHER NOTICE THAT ARTICLE VIII OF THE PLAN CONTAINS RELEASE,
EXCULPATION, AND INJUNCTION PROVISIONS, AND ARTICLE VIII.C CONTAINS A THIRD PARTY RELEASE.
THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS
MIGHT BE AFFECTED THEREUNDER. Not consenting to the releases contained in Article VIII.C of the Plan is at your
discretion. If you submit your notice with the below opt-in box checked, you will consent to the releases contained in Article
VIII.C to the maximum extent permitted by applicable law. If you do not submit the Opt-In Form, you will not be deemed to
consent to the Releases contained in Article VIII.C of the Plan

   THE DISCLOSURE STATEMENT, THE PLAN, THE                          THE OPT-IN FORM MAY BE ACCESSED FREE OF
  CONDITIONAL DISCLOSURE STATEMENT ORDER,                         CHARGE BY SCANNING THE QR CODE BELOW USING
    THE COMBINED HEARING NOTICE, THE PLAN                         THE CAMERA ON YOUR SMART PHONE, TABLET, OR
 SUPPLEMENT, AND OTHER RELATED DOCUMENTS                                         OTHER DEVICE.
MAY BE ACCESSED FREE OF CHARGE BY SCANNING
THE QR CODE BELOW USING THE CAMERA ON YOUR
    SMART PHONE, TABLET, OR OTHER DEVICE.




          In addition to accepting hard copy submissions of the Opt-In Form, the Claims and Noticing Agent will accept Opt-In
Forms if properly completed through the E-Ballot Portal. Submit your customized electronic Opt-In Form through the E-Ballot
Portal by visiting https://cases.ra.kroll.com/Joann2025 and under the Case Navigation section of the website click on “Submit E-
Ballot” and follow the instructions to submit your Opt-In Form.

         To access and submit your Opt-In Form through the E-Ballot Portal, you must use the Unique E-Opt-In ID# assigned to
your Claim or Interest.

UNIQUE E-OPT-IN ID#: __________________

         Each E-Opt-In ID# is to be used solely for electing to opt-in to the grant of the Third-Party Release under the Plan.
Please complete and submit an electronic Opt-In Form for each E-Opt-In ID# you receive, as applicable.

           Creditors who submit an Opt-In Form using the E-Ballot Portal should NOT also submit a paper Opt-In Form.

          The Claims and Noticing Agent’s E-Ballot Portal is the sole manner in which Opt-In Forms will be accepted via
electronic or online transmission. Opt-In Forms submitted by facsimile, email, or other means of electronic transmission
will not be counted.

         PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a physical copy of the Disclosure
Statement, the Plan, the Plan Supplement, the Opt-In Form, or related documents, you should contact Kroll Restructuring
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       Administration LLC, the claims and noticing agent retained by the Debtors in these chapter 11 cases (the “Claims and Noticing
       Agent”), by: (a) writing via first class mail, to JOANN Inc. (2025) Ballot Processing Center, c/o Kroll Restructuring
       Administration LLC, 850 Third Avenue, Suite 412, Brooklyn, NY 11232; (b) writing via electronic mail to
       JoannInfo@ra.kroll.com (with “Joann Solicitation Inquiry” in the subject line); or (c) calling the Debtors’ restructuring hotline at
       (844) 712-2239 (U.S./Canada, toll-free) or +1 (646) 863-7121 (International, toll). You may also obtain copies of any pleadings
       filed in these chapter 11 cases (i) for a fee via PACER at https://www.deb.uscourts.gov or (ii) at no charge from Kroll
       Restructuring Administration LLC by accessing the Debtors’ restructuring website at https://cases.ra.kroll.com/Joann2025. The
       Plan Supplement will be filed with the Court no later than June 20, 2025.

Dated: May 28, 2025
Wilmington, Delaware

        /s/ Patrick J. Reilley
         COLE SCHOTZ P.C.                                                     KIRKLAND & ELLIS LLP
         Patrick J. Reilley (No. 4451)                                        KIRKLAND & ELLIS INTERNATIONAL LLP
         Stacy L. Newman (No. 5044)                                           Joshua A. Sussberg, P.C. (admitted pro hac vice)
         Michael E. Fitzpatrick (No. 6797)                                    Aparna Yenamandra, P.C. (admitted pro hac vice)
         Jack M. Dougherty (No. 6784)                                         601 Lexington Avenue
         500 Delaware Avenue, Suite 1410                                      New York, New York 10022
         Wilmington, Delaware 19801                                           Telephone:       (212) 446-4800
         Telephone:           (302) 652-3131                                  Facsimile:       (212) 446-4900
         Facsimile:           (302) 652-3117                                  Email:           joshua.sussberg@kirkland.com
         Email:          preilley@coleschotz.com                                               aparna.yenamandra@kirkland.com
                         snewman@coleschotz.com
                         mfitzpatrick@coleschotz.com                          - and -
                         jdougherty@coleschotz.com
                                                                              Anup Sathy, P.C. (admitted pro hac vice)
                                                                              Jeffrey Michalik (admitted pro hac vice)
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                                                                              333 West Wolf Point Plaza
                                                                              Chicago, Illinois 60654
                                                                              Telephone:         (312) 862-2000
                                                                              Facsimile:         (312) 862-2200
                                                                              Email:             anup.sathy@kirkland.com
                                                                                                 jeff.michalik@kirkland.com
                                                                                                 lindsey.blumenthal@kirkland.com

        Co-Counsel to the Debtors                                             Co-Counsel to the Debtors
        and Debtors in Possession                                             and Debtors in Possession
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                        Exhibit D
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                         )
In re:                                                                   )      Chapter 11
                                                                         )
                          1
JOANN INC., et al.,                                                      )      Case No. 25-10068 (CTG)
                                                                         )
                              Debtors.                                   )      (Jointly Administered)
                                                                         )

                            NOTICE OF NON-VOTING STATUS
                    REGARDING RELEASES TO HOLDERS OF IMPAIRED
            CLAIMS OR INTERESTS CONCLUSIVELY DEEMED TO REJECT THE PLAN

          PLEASE TAKE NOTICE THAT on May 27, 2025, the United States Bankruptcy Court for the District
of Delaware (the “Court”) entered an order [Docket No. 994] (the “Conditional Disclosure Statement
Order”): (a) authorizing the above-captioned debtors and debtors in possession (collectively, the “Debtors”) to
solicit votes on the Second Amended Joint Chapter 11 Plan of JOANN Inc. and Its Debtor Affiliates
                                                                                                 2
[Docket No. 986] (as modified, amended, or supplemented from time to time, the “Plan”); (b) conditionally
approving the Amended Disclosure Statement for the Second Amended Joint Chapter 11 Plan of JOANN Inc. and Its
Debtor Affiliates [Docket No. 987] (the “Disclosure Statement”) as containing “adequate information” pursuant to
section 1125 of the Bankruptcy Code; (c) approving the solicitation materials and documents to be included in the
solicitation packages; (d) approving procedures for soliciting, receiving, and tabulating votes on the Plan and for
filing objections to the Plan; and (e) granting related relief.

         PLEASE TAKE FURTHER NOTICE THAT because of the nature and treatment of your Claim under
the Plan, you are not entitled to vote on the Plan. Specifically, under the terms of the Plan, as a Holder of a Claim
(as currently asserted against the Debtors) that is Impaired and conclusively presumed to have rejected the Plan
pursuant to section 1126(g) of the Bankruptcy Code, you are not entitled to vote on the Plan. Your treatment under
the Plan will be consistent with the other Holders of Claims in one of the below Classes:

  Class                                                       Treatment
Interests    Interests in JOANN shall be cancelled, released, and extinguished as of the Effective Date, and will be of
in           no further force or effect, and Holders of Interests in JOANN will not receive any distribution on account
JOANN        of such Interests.
Section      Allowed Section 510(b) Claims, if any, shall be cancelled, released, and extinguished as of the Effective
510(b)       Date, and will be of no further force or effect, and Holders of Allowed Section 510(b) Claims will not
Claims       receive any distribution on account of such Allowed Section 510(b) Claims.

         PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will consider Confirmation
of the Plan and final approval of the Disclosure Statement (the “Combined Hearing”) will commence on
July 10, 2025, at 10:00 a.m., prevailing Eastern Time, before the Honorable Craig T. Goldblatt, in the United

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech Solutions LLC (6734);
    Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com, LLC (1594); JOANN Ditto
    Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030); JOANN Holdings 2, LLC (6408); and
    Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address is 5555 Darrow Road, Hudson, Ohio 44236.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan, the Disclosure
    Statement, or the Disclosure Statement Order, as applicable.
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States Bankruptcy Court for the District of Delaware, located at 824 North Market Street, Third Floor, Courtroom 7,
Wilmington, DE 19801.

         PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the Plan and final
approval of the Disclosure Statement is June 27, 2025, at 4:00 p.m., prevailing Eastern Time (the “Plan Objection
Deadline”). All objections to the relief sought at the Combined Hearing must: (a) be in writing; (b) conform to the
Bankruptcy Code, Bankruptcy Rules, the Local Rules, and any orders of the Court; (c) state, with particularity, the
basis and nature of any objection to the Plan or Disclosure Statement and, if practicable, a proposed modification to
the Plan that would resolve such objection; and (d) be filed with the Court on or before the Plan Objection Deadline.

         PLEASE TAKE FURTHER NOTICE THAT ARTICLE VIII OF THE PLAN CONTAINS RELEASE,
EXCULPATION, AND INJUNCTION PROVISIONS, AND ARTICLE VIII.C CONTAINS A THIRD PARTY
RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN CAREFULLY
BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER. Not consenting to the releases contained in
Article VIII.C of the Plan is at your discretion. If you submit your notice with the below opt-in box checked, you
will consent to the releases contained in Article VIII.C to the maximum extent permitted by applicable law. If you
do not submit the Opt-In Form, you will not be deemed to consent to the Releases contained in Article VIII.C of the
Plan

   THE DISCLOSURE STATEMENT, THE PLAN, THE                  THE OPT-IN FORM MAY BE ACCESSED FREE OF
  CONDITIONAL DISCLOSURE STATEMENT ORDER,                   CHARGE BY SCANNING THE QR CODE BELOW
    THE COMBINED HEARING NOTICE, THE PLAN                   USING THE CAMERA ON YOUR SMART PHONE,
 SUPPLEMENT, AND OTHER RELATED DOCUMENTS                            TABLET, OR OTHER DEVICE.
MAY BE ACCESSED FREE OF CHARGE BY SCANNING
THE QR CODE BELOW USING THE CAMERA ON YOUR
    SMART PHONE, TABLET, OR OTHER DEVICE.




         In addition to accepting hard copy submissions of the Opt-In Form, the Claims and Noticing Agent will
accept Opt-In Forms if properly completed through the E-Ballot Portal. Submit your customized electronic Opt-In
Form through the E-Ballot Portal by visiting https://cases.ra.kroll.com/Joann2025 and under the Case Navigation
section of the website click on “Submit E-Ballot” and follow the instructions to submit your Opt-In Form.

         To access and submit your Opt-In Form through the E-Ballot Portal, you must use the Unique E-Opt-In
ID# assigned to your Claim or Interest.

           UNIQUE E-OPT-IN ID#: __________________

         Each E-Opt-In ID# is to be used solely for electing to opt-in to the grant of the Third-Party Release under
the Plan. Please complete and submit an electronic Opt-In Form for each E-Opt-In ID# you receive, as applicable.

           Creditors who submit an Opt-In Form using the E-Ballot Portal should NOT also submit a paper Opt-In
Form.

         The Claims and Noticing Agent’s E-Ballot Portal is the sole manner in which Opt-In Forms will be
accepted via electronic or online transmission. Opt-In Forms submitted by facsimile, email, or other means
of electronic transmission will not be counted.
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        Please note that if you are a Holder of Class 7 - Interests in JOANN and hold a
        position in the equity securities identified below in ‘street name’ through a bank,
        broker or other intermediary or agent thereof, you will not be issued a Unique
        E-Opt-In# and may not submit your Opt-In Form via the E-Ballot Portal. Instead, to
        upload your completed Opt-In Form, you must click on the “Public Securities
                                                                                                       CUSIP / ISIN
        Submission Portal” link located on the left-hand navigation panel of the Debtors’
        restructuring website at https://cases.ra.kroll.com/Joann2025. For the avoidance of
        doubt, only Holders of Class 7 Interests in JOANN whose positions are held in their
        own names on the books and records of the Debtors or the Debtors’ transfer agent will
        be able to submit the electronic version of their Opt-In Form via the E-Ballot Portal.
                                                                                                         47768J200 /
                                        Existing Equity Interests
                                                                                                        US47768J2006

                PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a physical copy of the
      Disclosure Statement, the Plan, the Plan Supplement, the Opt-In Form, or related documents, you should contact
      Kroll Restructuring Administration LLC, the claims and noticing agent retained by the Debtors in these chapter 11
      cases (the “Claims and Noticing Agent”), by: (a) writing via first class mail, to JOANN Inc. (2025) Ballot
      Processing Center, c/o Kroll Restructuring Administration LLC, 850 Third Avenue, Suite 412, Brooklyn, NY
      11232; (b) writing via electronic mail to JoannInfo@ra.kroll.com (with “Joann Solicitation Inquiry” in the subject
      line); or (c) calling the Debtors’ restructuring hotline at (844) 712-2239 (U.S./Canada, toll-free) or +1 (646) 863-
      7121 (International, toll). You may also obtain copies of any pleadings filed in these chapter 11 cases (i) for a fee
      via PACER at https://www.deb.uscourts.gov or (ii) at no charge from Kroll Restructuring Administration LLC by
      accessing the Debtors’ restructuring website at https://cases.ra.kroll.com/Joann2025. The Plan Supplement will be
      filed with the Court no later than June 20, 2025.


Dated: May 28, 2025
Wilmington, Delaware

       /s/ Patrick J. Reilley
        COLE SCHOTZ P.C.                                             KIRKLAND & ELLIS LLP
        Patrick J. Reilley (No. 4451)                                KIRKLAND & ELLIS INTERNATIONAL LLP
        Stacy L. Newman (No. 5044)                                   Joshua A. Sussberg, P.C. (admitted pro hac vice)
        Michael E. Fitzpatrick (No. 6797)                            Aparna Yenamandra, P.C. (admitted pro hac vice)
        Jack M. Dougherty (No. 6784)                                 601 Lexington Avenue
        500 Delaware Avenue, Suite 1410                              New York, New York 10022
        Wilmington, Delaware 19801                                   Telephone:       (212) 446-4800
        Telephone:           (302) 652-3131                          Facsimile:       (212) 446-4900
        Facsimile:           (302) 652-3117                          Email:           joshua.sussberg@kirkland.com
        Email:          preilley@coleschotz.com                                       aparna.yenamandra@kirkland.com
                        snewman@coleschotz.com
                        mfitzpatrick@coleschotz.com                  - and -
                        jdougherty@coleschotz.com
                                                                     Anup Sathy, P.C. (admitted pro hac vice)
                                                                     Jeffrey Michalik (admitted pro hac vice)
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                                                                     Facsimile:         (312) 862-2200
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                                                                                        jeff.michalik@kirkland.com
                                                                                        lindsey.blumenthal@kirkland.com

       Co-Counsel to the Debtors                                     Co-Counsel to the Debtors
       and Debtors in Possession                                     and Debtors in Possession
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                        Exhibit E
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )        Chapter 11
                                                              )
JOANN INC., et al.,1                                          )        Case No. 25-10068 (CTG)
                                                              )
                            Debtors.                          )        (Jointly Administered)
                                                              )

                                    BALLOT FOR VOTING TO
                        ACCEPT OR REJECT THE SECOND AMENDED JOINT
                    CHAPTER 11 PLAN OF JOANN INC. AND ITS DEBTOR AFFILIATES

                  BALLOT FOR HOLDERS OF CLASS 4 GENERAL UNSECURED CLAIMS

     PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR COMPLETING BALLOTS
                     CAREFULLY BEFORE COMPLETING THIS BALLOT.

        IN ORDER FOR YOUR VOTE TO BE COUNTED, THIS BALLOT MUST BE COMPLETED,
       EXECUTED, AND RETURNED SO AS TO BE ACTUALLY RECEIVED BY THE CLAIMS AND
    NOTICING AGENT BY JUNE 30, 2025, AT 4:00 P.M., PREVAILING EASTERN TIME (THE “VOTING
                   DEADLINE”) IN ACCORDANCE WITH THE FOLLOWING:

The above-captioned debtors and debtors in possession (collectively, the “Debtors”), are soliciting votes with
respect to the Second Amended Joint Chapter 11 Plan of JOANN Inc. and Its Debtor Affiliates [Docket No. 986]
(as may be amended, supplemented, or otherwise modified from time to time, the “Plan”) as set forth in the
Amended Disclosure Statement for the Second Amended Joint Chapter 11 Plan of JOANN Inc. and Its Debtor
Affiliates [Docket No. 987] (as may be amended, supplemented, or otherwise modified from time to time,
the “Disclosure Statement”). The Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) has
conditionally approved the Disclosure Statement as containing adequate information pursuant to section 1125 of title
11 of the United States Code (the “Bankruptcy Code”), by entry of an order on May 27, 2025 [Docket No. 994]
(the “Conditional Disclosure Statement Order”). Bankruptcy Court approval of the Disclosure Statement does not
indicate approval of the Plan by the Bankruptcy Court. Capitalized terms used but not otherwise defined herein
shall have the meanings set forth in the Plan, a copy of which is available at https://cases.ra.kroll.com/Joann2025.

You are receiving this ballot (this “Ballot”) because you are a Holder of a Class 4 General Unsecured Claim as of
May 23, 2025 (the “Voting Record Date”). Accordingly, you have a right to vote to accept or reject the Plan.

YOUR VOTE ON THIS BALLOT WILL BE APPLIED TO EACH DEBTOR AGAINST WHICH YOU
HAVE A CLAIM.




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
      Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570);
      joann.com, LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1,
      LLC (9030); JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’
      mailing address is 5555 Darrow Road, Hudson, Ohio 44236.
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Your rights are described in the Combined Hearing Notice and the Disclosure Statement, which were included in the
package (the “Solicitation Package”) you are receiving with this Ballot (as well as certain other materials). If you
received Solicitation Package materials in electronic format and desire paper copies, or if you need to obtain
additional Solicitation Packages, you may obtain them by: (a) writing via first class mail, to JOANN Inc. (2025)
Ballot Processing Center, c/o Kroll Restructuring Administration LLC,850 Third Avenue, Suite 412, Brooklyn, NY
11232; (b) writing via electronic mail to JoannInfo@ra.kroll.com (with “Joann Solicitation Inquiry” in the subject
line); or (c) calling the Debtors’ restructuring hotline at (844) 712-2239 (U.S./Canada, toll-free) or +1 (646)
863-7121 (International, toll). You may also obtain copies of any pleadings filed in these chapter 11 cases (i) for a
fee via PACER at https://www.deb.uscourts.gov or (ii) at no charge from Kroll Restructuring Administration LLC
by accessing the Debtors’ restructuring website at https://cases.ra.kroll.com/Joann2025. The Plan Supplement will
be filed with the Court no later than June 20, 2025, and may be accessed free of charge at the link provided herein.
Physical copies of the Plan Supplement may also be requested free of charge as provided herein.

                                      U.S./Canada Toll Free: (844) 712-2239
                                      International, Toll: +1 (646) 863-7121

This Ballot may not be used for any purpose other than for casting votes to accept or reject the Plan and making
certain certifications with respect to the Plan. If you believe you have received this Ballot in error, or if you believe
you have received the wrong ballot, please contact the Claims and Noticing Agent immediately at the address,
telephone number, or email address set forth above.

You should review the Disclosure Statement, the Plan, and the instructions contained herein before you vote. You
may wish to seek legal advice concerning the Plan and the Plan’s classification and treatment of your Claim. Your
Claim has been placed in Class 4 under the Plan.

PLEASE SUBMIT YOUR BALLOT BY ONE OF THE FOLLOWING TWO METHODS:

ELECTRONICALLY, VIA E-BALLOT PORTAL. Submit your Ballot and vote through the Claims and
Noticing Agent’s online portal, by visiting https://cases.ra.kroll.com/Joann2025 and under the Case
Navigation section of the website click on “Submit E-Ballot ”and follow the instructions to submit your
Ballot.
In order to submit a Ballot through the E-Ballot Portal, you must use the Unique E-Ballot ID# assigned to
your Claim. Please complete and submit an electronic Ballot for each E-Ballot ID# you receive.
UNIQUE E-BALLOT ID# __________________
Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your electronic
Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you receive, as applicable.
Creditors who cast a Ballot using the E-Ballot Portal should NOT also submit a paper Ballot.
The Claims and Noticing Agent’s E-Ballot Portal is the sole manner in which Ballots will be accepted via
electronic or online transmission. Ballots submitted by facsimile, email, or other means of electronic
transmission will not be counted.
                                                          OR
VIA PAPER BALLOT (IF APPLICABLE). Complete, sign, and date this Ballot and return it (with a
signature) promptly via first-class mail, overnight courier, or hand delivery to:




                                                           2
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                             If by First Class Mail, Hand Delivery, or Overnight Mail:

                                     JOANN Inc. (2025) Ballot Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                             850 Third Avenue, Suite 412
                                                 Brooklyn, NY 11232

               To arrange hand delivery of your Ballot, please email the Claims and Noticing Agent at
    JoannBallots@ra.kroll.com (with “Joann Inc. Ballot Delivery” in the subject line) at least 24 hours prior to your
               arrival at the Kroll address above and provide the anticipated date and time of delivery.


Item 1.             Amount of Claim.

The undersigned hereby certifies that as of the Voting Record Date, the undersigned was the Holder of a Class 4
                                                  2
General Unsecured Claim in the following amount:

                                                $_______________
                                         Debtor:_______________________


Item 2.             Vote on Plan.

The Holder of the Class 4 General Unsecured Claim against the Debtors, the amount of which is set forth in Item 1,
votes to (please check one):

       ACCEPT (vote FOR) the Plan                                REJECT (vote AGAINST) the Plan

Your vote on the Plan will be applied to the Debtor in the same manner and in the same amount as indicated
in Item 1 and Item 2 above. Please note that because the plan is not substantively consolidated for tabulation
purposes and the voting results will be presented on a debtor-by-debtor basis, in instances where a Class 4
General Unsecured Claimant has filed claims against more than one debtor, the Class 4 General Unsecured
Claimant will receive separate Solicitation Packages (and multiple Ballots) for each debtor it has filed a claim
against.
                                                                                  3
Item 3.             Important information regarding releases under the Plan.

Article VIII.B of the Plan provides for a release by the Debtors (the “Debtor Release”):

         Notwithstanding anything contained in the Plan or the Confirmation Order to the contrary,
pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, the adequacy of
which is hereby confirmed, upon entry of the Confirmation Order and effective as of the Effective Date, to
the fullest extent permitted by applicable law, each Released Party is, and is deemed hereby to be, fully,
conclusively, absolutely, unconditionally, irrevocably, and forever released by each and all of the Debtors, the


2
      For voting purposes only, subject to tabulation rules, which can be found in Section C of the Solicitation and
      Voting Procedures.
3
      The Plan provisions referenced herein are for summary purposes only and do not include all provisions of the
      Plan that may affect your rights. If there is any inconsistency between the provisions set forth herein and the
      Plan, the Plan governs. Please read the Plan carefully before completing this Ballot.




                                                            3
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Wind-Down Debtors, and their Estates, in each case on behalf of themselves and their respective successors,
assigns, and representatives, including any Estate representative appointed or selected pursuant to
section 1123(b)(3) of the Bankruptcy Code, from any and all Claims, obligations, rights, suits, damages,
Causes of Action, remedies, and liabilities whatsoever, whether known or unknown, including any derivative
claims, asserted or assertable on behalf of any of the Debtors, the Wind-Down Debtors, or their Estates, that
any such Entity would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the Holder of any Claim against or Interest in a Debtor, the Wind-Down Debtors,
or other Entity, or that any Holder of any Claim against or Interest in a Debtor, the Wind-Down Debtors, or
other Entity could have asserted on behalf of the Debtors or the Wind-Down Debtors (but excluding any and
all direct claims any such Holder of a Claim or Interest may have), to the extent such Claim or Cause of
Action (x) has not been sold pursuant to the GA Transaction Documents and Approval Order(s) and (y) is
based on or relating to, or in any manner arising from, in whole or in part, the Debtors or the Wind-Down
Debtors (including the Debtors’ and the Wind-Down Debtors’ capital structure, management, ownership, or
operation thereof or otherwise), the subject matter of, or the transactions or events giving rise to, any Claim
or Interest that is treated in the Plan, the business or contractual arrangements between any Debtor or
Wind-Down Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts (including
the marketing, bidding, auction, and sale-related processes leading to the GA Transaction), the purchase,
sale, or rescission of any security of the Debtors or the Wind-Down Debtors, any Avoidance Actions (but
excluding Avoidance Actions brought as counterclaims or defenses to Claims asserted against the Debtors or
the Wind-Down Debtors or any GUC Trust Causes of Action that constitute Avoidance Actions),
intercompany transactions between or among a Debtor, the Wind-Down Debtors, or an Affiliate of a Debtor
and another Debtor, the Wind-Down Debtors, or Affiliate of a Debtor, the Chapter 11 Cases, the formulation,
preparation, dissemination, solicitation, negotiation, entry into, or filing of the Disclosure Statement, the Plan,
the Plan Supplement, the GA Transaction, any other Definitive Document or any Wind-Down Transaction,
or any contract, instrument, release, or other agreement or document created or entered into in connection
with the Disclosure Statement, the Plan, the Plan Supplement, the GA Transaction, any other Definitive
Document, any of the Wind-Down Transactions, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the
pursuit of Confirmation, the pursuit of the GA Transaction, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of securities pursuant
to the Plan, or the distribution of property under the Plan, or upon any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date, except for any claims
arising from or related to any act or omission that is determined in a Final Order by a court of competent
jurisdiction to have constituted actual fraud, willful misconduct, or gross negligence.

         Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release: (1) any obligations arising on or after the Effective Date (solely to the extent such obligation does not
arise from any acts or omissions prior to the Effective Date) of any party or Entity under the Plan, the
Confirmation Order, or any post-Effective Date transaction contemplated by the Plan or the Wind-Down
Transactions, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan or the Wind-Down Transactions; or (2) any matters retained by the
Wind-Down Debtors pursuant to the Schedule of Retained Causes of Action.

Article VIII.C of the Plan provides for a third-party release by the Releasing Parties (the “Third-Party Release”):

         Except as otherwise expressly set forth in the Plan or the Confirmation Order, effective as of the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Released Party is, and is deemed hereby to be, fully, conclusively, absolutely, unconditionally,
irrevocably, and forever released by each Releasing Party from any and all claims and Causes of Action,
whether known or unknown, including any derivative claims, asserted or assertable on behalf of any of the
Debtors, the Wind-Down Debtors, or their Estates, that such Entity would have been legally entitled to assert
(whether individually or collectively), based on or relating to or in any manner arising from, in whole or in
part, the Debtors or the Wind-Down Debtors (including the Debtors’ and the Wind-Down Debtors’ capital
structure, management, ownership, or operation thereof or otherwise), the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business or
contractual arrangements between any Debtor or Wind-Down Debtor and any Released Party, the Debtors’
in- or out-of-court restructuring efforts (including the marketing, bidding, auction, and sale-related processes



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leading to the GA Transaction), the purchase, sale, or rescission of any security of the Debtors or the
Wind-Down Debtors, any Avoidance Actions (but excluding Avoidance Actions brought as counterclaims or
defenses to Claims asserted by the Debtors or the Wind-Down Debtors or any GUC Trust Causes of Action
that constitute Avoidance Actions), intercompany transactions, the Chapter 11 Cases, the formulation,
preparation, dissemination, solicitation, negotiation, entry into, or filing of the Disclosure Statement, the Plan,
the Plan Supplement, the GA Transaction, any other Definitive Document, or any Wind-Down Transaction,
or any contract, instrument, release, or other agreement or document created or entered into in connection
with the Disclosure Statement, the Plan, the Plan Supplement, the GA Transaction, any other Definitive
Document, any of the Wind-Down Transactions, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the
pursuit of Confirmation, the pursuit of the GA Transaction, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of securities pursuant
to the Plan, or the distribution of property under the Plan, or upon any other related act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date, except for
any claims arising from or related to any act or omission that is determined in a Final Order by a court of
competent jurisdiction to have constituted actual fraud, willful misconduct, or gross negligence.

         Notwithstanding anything to the contrary in the foregoing, the Third-Party Release does not release
(1) any obligations arising on or after the Effective Date (solely to the extent such obligation does not arise
from any acts or omissions prior to the Effective Date) of any party or Entity under the Plan, the
Confirmation Order, or any post-Effective Date transaction contemplated by the Plan or the Wind-Down
Transactions, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan or the Wind-Down Transactions or (2) the rights of any Holder of Allowed
Claims to receive distributions under the Plan.

Definitions Related to the Third-Party Release:

UNDER THE PLAN, “AVOIDANCE ACTIONS” MEAN ANY AND ALL AVOIDANCE, RECOVERY, OR
SUBORDINATION ACTIONS OR REMEDIES THAT MAY BE BROUGHT BY OR ON BEHALF OF THE
DEBTORS OR THEIR ESTATES UNDER THE BANKRUPTCY CODE OR APPLICABLE NON
BANKRUPTCY LAW, INCLUDING ACTIONS OR REMEDIES UNDER SECTIONS 544, 547, 548, 549, 550,
551, 552, OR 553 OF THE BANKRUPTCY CODE.

UNDER THE PLAN, “EXCLUDED PARTIES” MEANS, COLLECTIVELY, (A) ANY PERSON OR ENTITY
THAT IS OR MAY BE LIABLE TO ANY OF THE DEBTORS (OR ANY SUCCESSOR THERETO) OR THE
GUC TRUST IN RESPECT OF ANY RETAINED CAUSES OF ACTION OR GUC TRUST CAUSES OF
ACTION, IF ANY, AND (B) ANY HOLDER OF INTERESTS IN JOANN INC. (SOLELY IN ITS CAPACITY
AS SUCH) THAT IS NOT A RELEASING PARTY.

UNDER THE PLAN, “RELEASED PARTIES” MEANS, EACH OF, AND IN EACH CASE IN ITS CAPACITY
AS SUCH: (A) THE DEBTORS; (B) EACH OF THE WIND DOWN DEBTORS; (C) THE PLAN
ADMINISTRATOR; (D) THE PREPETITION ABL LENDERS; (E) THE PREPETITION FILO LENDERS; (F)
THE PREPETITION TERM LOAN LENDERS; (G) THE PREPETITION ABL AGENT; (H) THE PREPETITION
FILO AGENT; (I) THE PREPETITION TERM LOAN AGENT; (J) THE RELEASING PARTIES; (K) THE
COMMITTEE AND ITS MEMBERS (IN THEIR CAPACITY AS COMMITTEE MEMBERS); (L) THE GUC
TRUST AND THE GUC TRUSTEE; (M) THE PURCHASER; (N) EACH CURRENT AND FORMER
AFFILIATE OF EACH ENTITY IN CLAUSE (A) THROUGH THE FOLLOWING CLAUSE (O); AND (O)
EACH RELATED PARTY OF EACH ENTITY IN CLAUSE (A) THROUGH THIS CLAUSE (O); PROVIDED
HOWEVER, THAT NONE OF THE EXCLUDED PARTIES SHALL BE RELEASED PARTIES.

UNDER THE PLAN, “RELEASING PARTIES” MEANS, EACH OF, AND IN EACH CASE IN ITS CAPACITY
AS SUCH: (A) THE DEBTORS; (B) EACH OF THE WIND DOWN DEBTORS; (C) THE PLAN
ADMINISTRATOR; (D) THE PREPETITION ABL LENDERS; (E) THE PREPETITION FILO LENDERS; (F)
THE PREPETITION TERM LOAN LENDERS; (G) THE PREPETITION ABL AGENT; (H) THE PREPETITION
FILO AGENT; (I) THE PREPETITION TERM LOAN AGENT; (J) ALL HOLDERS OF CLAIMS AGAINST
THE DEBTORS WHO VOTE TO ACCEPT THE PLAN AND WHO AFFIRMATIVELY OPT IN TO THE
RELEASES PROVIDED BY THE PLAN; (K) ALL HOLDERS OF CLAIMS AGAINST THE DEBTORS WHO



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VOTE TO REJECT THE PLAN AND WHO AFFIRMATIVELY OPT IN TO THE RELEASES PROVIDED BY
THE PLAN; (L) ALL HOLDERS OF CLAIMS AGAINST THE DEBTORS WHO ARE DEEMED TO REJECT
THE PLAN AND WHO AFFIRMATIVELY OPT IN TO THE RELEASES PROVIDED BY THE PLAN; (M)
ALL HOLDERS OF CLAIMS AGAINST THE DEBTORS WHO ARE DEEMED TO ACCEPT THE PLAN AND
WHO AFFIRMATIVELY OPT IN TO THE RELEASES PROVIDED BY THE PLAN; (N) ALL HOLDERS OF
INTERESTS IN THE DEBTORS WHO AFFIRMATIVELY OPT IN TO THE RELEASES PROVIDED BY THE
PLAN; (O) THE COMMITTEE AND ITS MEMBERS (SOLELY IN THEIR CAPACITY AS COMMITTEE
MEMBERS AND NOT AS HOLDERS OF CLAIMS); (P) EACH CURRENT AND FORMER AFFILIATE OF
EACH ENTITY IN CLAUSE (A) THROUGH THE FOLLOWING CLAUSE (Q) FOR WHICH SUCH ENTITY IS
LEGALLY ENTITLED TO BIND SUCH AFFILIATE TO THE RELEASES CONTAINED IN THE PLAN
UNDER APPLICABLE NON BANKRUPTCY LAW; AND (Q) EACH RELATED PARTY OF EACH ENTITY
IN CLAUSE (A) THROUGH THIS CLAUSE (Q) FOR WHICH SUCH AFFILIATE OR ENTITY IS LEGALLY
ENTITLED TO BIND SUCH RELATED PARTY TO THE RELEASES CONTAINED IN THE PLAN UNDER
APPLICABLE NON BANKRUPTCY LAW; PROVIDED THAT EACH SUCH ENTITY THAT ELECTS NOT
TO OPT INTO THE RELEASES CONTAINED IN THE PLAN, SUCH THAT IT IS NOT A RELEASING
PARTY IN ITS CAPACITY AS A HOLDER OF A CLAIM OR INTEREST SHALL NEVERTHELESS BE A
RELEASING PARTY IN EACH OTHER CAPACITY APPLICABLE TO SUCH ENTITY.

YOUR DECISION TO OPT IN OR NOT OPT IN TO THE THIRD-PARTY RELEASE WILL NOT
IMPACT YOUR DISTRIBUTION UNDER THE PLAN.

The Holder of the Claim identified in Item 1 elects to:


                                      OPT IN TO the Third-Party Release


Article VIII.D of the Plan provides for an exculpation of certain parties (the “Exculpation”):

         Except as otherwise specifically provided in the Plan or the Confirmation Order, no Exculpated
Party shall have or incur any liability for, and each such party shall be exculpated from any Cause of Action
for any claim related to any act or omission occurring between the Petition Date and the Effective Date in
connection with, relating to or arising out of the Chapter 11 Cases prior to the Effective Date, the
formulation, preparation, dissemination, negotiation, or filing of the Disclosure Statement, the GA
Transaction, the Plan, the Plan Supplement, any other Definitive Document, or any Wind-Down Transaction,
or any contract, instrument, release, or other agreement or document created or entered into in connection
with the Disclosure Statement, the Plan, the Plan Supplement, the GA Transaction, any other Definitive
Document, any of the Wind-Down Transactions, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of the GA Transaction, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance of securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, except for claims related to any act or omission that
is determined in a Final Order to have constituted gross negligence, willful misconduct, or actual fraud.
Notwithstanding anything to the contrary in the foregoing, the exculpation set forth above does not exculpate
any obligations arising on or after the Effective Date of any Person or Entity under the Plan, any post-
Effective Date transaction contemplated by the Wind-Down Transactions, or any document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the Plan.

Article VIII.E of the Plan establishes an injunction (the “Injunction”):

        In accordance with Bankruptcy Code section 1141(d)(3), the Plan does not discharge the Debtors.
Section 1141(c) of the Bankruptcy Code nevertheless provides, among other things, that the property dealt
with by the Plan is free and clear of all Claims and Interests against the Debtors. Except as otherwise
expressly provided in the Plan or for obligations issued or required to be paid pursuant to the Plan or the
Confirmation Order, all Persons or Entities who have held, hold, or may hold Claims, Interests, or Causes of
Action in the Debtors and the Wind-Down Debtors, shall be precluded and permanently enjoined on and
after the Effective Date, from taking any of the following actions against the Debtors, the Wind-Down




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Debtors (but solely to the extent such action is brought against the Debtors or the Wind-Down Debtors to
directly or indirectly recover upon any property of the Estates dealt with by the Plan, upon the Effective
Date) the Exculpated Parties, the Released Parties, and any successors, assigns, or representatives of such
Persons or Entities, solely with respect to any Claims, Interests, or Causes of Action that will be or are treated
by the Plan: (a) commencing or continuing in any manner any Claim, action, or other proceeding of any
kind; (b) enforcing, attaching, collecting, or recovering by any manner or means of any judgment, award,
decree, or order; (c) creating, perfecting, or enforcing any encumbrance of any kind; (d) asserting any right
of setoff or subrogation of any kind against any obligation due from such Entities or against the property of
such Entities unless such holder exercised such setoff prior to the Petition Date or such setoff is otherwise
permissible under applicable law, and notwithstanding an indication of a Claim or Interest or otherwise that
such holder asserts, has, or intends to preserve any right of setoff pursuant to applicable law or otherwise;
and (e) commencing or continuing in any manner any action or other proceeding of any kind on account of or
in connection with or with respect to any such Claims, Interests, or Causes of Action released or settled
pursuant to the Plan. All Persons or Entities who directly or indirectly have held, hold, may hold, or seek to
assert Claims or Causes of Action that (x) have been released in the Plan (the “Released Claims”) or (y) that
are subject to exculpation (the “Exculpated Claims”), shall be enjoined from (i) commencing or continuing in
any manner any action or other proceeding of any kind on account of or in connection with or with respect to
the Released Claims and Exculpated Claims; (ii) enforcing, attaching, collecting or recovering by any manner
or means any judgment, award, decree, or order on account of or in connection with or with respect to the
Released Claims and Exculpated Claims; (iii) creating, perfecting, or enforcing any encumbrance of any kind
on account of or in connection with or with respect to the Released Claims and Exculpated Claims;
(iv) asserting any right of subrogation on account of or in connection with or with respect to the Released
Claims and Exculpated Claims, except to the extent that a permissible right of subrogation is asserted with
respect to a timely filed Proof of Claim; or (v) or commencing or continuing in any manner any action or
other proceeding on account of or in connection with or with respect to the Released Claims and Exculpated
Claims; provided however, that the foregoing injunction shall have no effect on the liability of any person or
Entity that results from any act or omission based on or arising out of gross negligence, fraud, or willful
misconduct. Notwithstanding anything to the contrary in the Plan, the Plan Supplement, or the Confirmation
Order, the automatic stay pursuant to section 362 of the Bankruptcy Code shall remain in full force and
effect with respect to the Debtors and any property dealt with by the Plan until the closing of these
Chapter 11 Cases. Notwithstanding anything to the contrary in the foregoing, the injunction set forth above
does not enjoin (1) a Holder of a Claim or Interest that is not a Releasing Party from taking any actions
described in Article VIII.E solely with respect to any direct claim of such Holder that is not an Exculpated
Claim or (2) the enforcement of any obligations arising on or after the Effective Date of any Person or Entity
under the Plan, any post-Effective Date transaction contemplated by the Wind-Down Transactions, or any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan.

          Upon entry of the Confirmation Order, all Holders of Claims and Interests and their respective
current and former employees, agents, officers, directors, managers, principals, and direct and indirect
Affiliates, in their capacities as such, shall be enjoined from taking any actions to interfere with the
implementation or Consummation of the Plan. Each Holder of an Allowed Claim, by accepting, or being
eligible to accept, distributions under or Reinstatement of such Claim or Interest, as applicable, pursuant to
the Plan, shall be deemed to have consented to the injunction provisions set forth in Article VIII.E.

Item 4.           Certifications.

By signing this Ballot, the undersigned certifies to the Bankruptcy Court and the Debtors that:

          (a)     as of the Voting Record Date, the Entity is the Holder (or authorized signatory for a Holder) of the
                  Claim set forth in Item 1;

          (b)     the Entity (or in the case of an authorized signatory, the Holder) has reviewed a copy of the
                  Disclosure Statement, the Plan, and the remainder of the Solicitation Package and acknowledges
                  that the solicitation is being made pursuant to the terms and conditions set forth therein;




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           (c)      the Entity has not relied on any statement made or other information received from any person
                    with respect to the Plan other than the information contained in the Solicitation Package or other
                    publicly available materials;

           (d)      no other Ballots with respect to the amount of the Claim identified in Item 1 has been cast or, if
                    any other Ballots have been cast with respect to such Claim, then any such earlier Ballots are
                     revoked;

           (e)      the Entity understands and acknowledges that if multiple Ballots are submitted voting the Claim
                    set forth in Item 1, only the last valid Ballot voting the Claim and received by the Claims and
                    Noticing Agent before the Voting Deadline shall be deemed to reflect the voter’s intent and thus to
                    supersede and revoke any prior Ballots received by the Claims and Noticing Agent; and

           (f)      the Entity understands and acknowledges that all authority conferred or agreed to be conferred
                    pursuant to this Ballot, and every obligation of the Holder hereunder, shall be binding upon the
                    transferees, successors, assigns, heirs, executors, administrators, and legal representatives of the
                    Holder and shall not be affected by, and shall survive, the death or incapacity of the Holder.




Name of Holder:
                                                     (Print or Type)



Signature:
Name of Signatory:
                                                (If other than the Holder)

Title:
Address:




Telephone
Number:
Email:
Date Completed:


IF THE CLAIMS AND NOTICING AGENT DOES NOT ACTUALLY RECEIVE THIS BALLOT ON OR
BEFORE JUNE 30, 2025, AT 4:00 P.M., PREVAILING EASTERN TIME, AND IF THE VOTING
DEADLINE IS NOT EXTENDED, YOUR VOTE TRANSMITTED BY THIS BALLOT MAY BE
COUNTED TOWARD CONFIRMATION OF THE PLAN ONLY IN THE DISCRETION OF THE
DEBTORS.

                              INSTRUCTIONS FOR COMPLETING THIS BALLOT

1.         The Debtors are soliciting the votes of Holders of Class 4 Claims with respect to the Plan referred to in the
           Disclosure Statement.       PLEASE READ THE PLAN AND DISCLOSURE STATEMENT
           CAREFULLY BEFORE COMPLETING THIS BALLOT.




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2.   The Plan can be confirmed by the Bankruptcy Court and thereby made binding upon you if it is accepted by
     the Holders of at least two-thirds in amount and more than one-half in number of Claims or at least
     two-thirds in amount of Interests in at least one class that votes on the Plan and if the Plan otherwise
     satisfies the requirements for confirmation provided by section 1129(a) of the Bankruptcy Code. Please
     review the Disclosure Statement for more information.

3.   To ensure that your Ballot is counted, you must complete and submit this Ballot as instructed herein.
     Ballots will not be accepted by electronic mail or facsimile.

4.   Use of Ballot. To ensure that your Ballot is counted, you must: (a) complete your Ballot in accordance
     with these instructions; (b) clearly indicate your decision either to accept or reject the Plan in the boxes
     provided in Item 2 of the Ballot; and (c) clearly sign and submit your Ballot as instructed herein.

5.   Your Ballot must be returned to the Claims and Noticing Agent so as to be actually received by the Claims
     and Noticing Agent on or before the Voting Deadline. The Voting Deadline is June 30, 2025, at
     4:00 p.m., prevailing Eastern Time.

6.   If a Ballot is received after the Voting Deadline and if the Voting Deadline is not extended, it may be
     counted only in the sole and absolute discretion of the Debtors. Additionally, the following Ballots will
     not be counted:

     (a)     any Ballot that partially rejects and partially accepts the Plan;

     (b)     Ballots sent to the Debtors, the Debtors’ agents (other than the Claims and Noticing Agent), the
             Debtors’ financial or legal advisors or any other person (other than the Claims and Noticing
             Agent);

     (c)     Ballots sent by electronic mail or facsimile;

     (d)     any Ballot that is illegible or contains insufficient information to permit the identification of the
             Holder of the Claim;

     (e)     any Ballot cast by an Entity that does not hold a Claim in the Voting Classes;

     (f)     any Ballot submitted by a Holder not entitled to vote pursuant to the Plan;

     (g)     any unsigned Ballot; and/or

     (i)     any Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and reject
             the Plan.

7.   The method of delivery of Ballots to the Claims and Noticing Agent is at the election and risk of each
     Holder of Claim. Except as otherwise provided herein, such delivery will be deemed made only when the
     Claims and Noticing Agent actually receives the Ballot. In all cases, Holders should allow sufficient time
     to assure timely delivery.

8.   If multiple Ballots are received from the same Holder with respect to the same Claim prior to the Voting
     Deadline, the last valid Ballot voting the Claim and received by the Claims and Noticing Agent before the
     Voting Deadline shall be deemed to reflect the voter’s intent and thus to supersede and revoke any prior
     Ballots received by the Claims and Noticing Agent.

9.   You must vote all of your Claims within your respective class either to accept or reject the Plan and may
     not split your vote.




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10.    This Ballot does not constitute, and shall not be deemed to be, (a) a Proof of Claim or (b) an assertion or
       admission of a Claim.

11.    Please be sure to sign and date your Ballot. If you are signing a Ballot in your capacity as a trustee,
       executor, administrator, guardian, attorney in fact, officer of a corporation, or otherwise acting in a
       fiduciary or representative capacity, you must indicate such capacity when signing and, if required or
       requested by the Claims and Noticing Agent, the Debtors, or the Bankruptcy Court, must submit proper
       evidence to the requesting party to so act on behalf of such Holder. In addition, please provide your name
       and mailing address if it is different from that set forth on the attached mailing label or if no such mailing
       label is attached to the ballot.

                             PLEASE SUBMIT YOUR BALLOT PROMPTLY

          IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT, THESE VOTING
           INSTRUCTIONS, OR THE PROCEDURES FOR VOTING, PLEASE CALL THE
                            RESTRUCTURING HOTLINE AT:

                                U.S./CANADA TOLL FREE: (844) 712-2239
                               INTERNATIONAL, TOLL: +1 (646) 863-7121

 OR BY EMAILING JOANNINFO@RA.KROLL.COM (WITH “JOANN SOLICITATION INQUIRY” IN
                              THE SUBJECT LINE)

      IF THE CLAIMS AND NOTICING AGENT DOES NOT ACTUALLY RECEIVE THIS BALLOT
                     ON OR BEFORE THE VOTING DEADLINE, WHICH IS
               JUNE 30, 2025, AT 4:00 P.M., PREVAILING EASTERN TIME, AND IF
            THE VOTING DEADLINE IS NOT EXTENDED, YOUR VOTE TRANSMITTED
           HEREBY MAY BE COUNTED ONLY IN THE DISCRETION OF THE DEBTORS.




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                        Exhibit F
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                                                                                             Exhibit F
                                                                                        Nominees Service List
                                                                          Served via Overnight Mail / Next Business Day Service

                  NAME                                  ADDRESS 1                                ADDRESS 2                          ADDRESS 3              CITY      STATE POSTAL CODE COUNTRY
BROADRIDGE                            JOBS E56341                                 51 MERCEDES WAY                                                     EDGEWOOD       NY   11717
BETANXT                               ATTN Stephany Hernandez                     100 Demarest Drive                                                  WAYNE          NJ   07470‐0000
DEPOSITORY TRUST CO                   ATTN ED HAIDUK                              55 WATER STREET 25TH FLOOR                                          NEW YORK       NY   10041
DEPOSITORY TRUST CO                   ATTN HORACE DALEY                           55 WATER STREET 25TH FLOOR                                          NEW YORK       NY   10041
CITIBANK NA 0908                      ATTN CAROLYN TREBUS OR REORG MGR            3800 CITIBANK CENTER B3 12                                          TAMPA          FL   33610
CITIBANK NA 0908                      ATTN EVENTS CREATION OR REORG MGR           3800 CITIBANK CENTER B3 12                                          TAMPA          FL   33610

CITIBANK NA 0908                      ATTN SANDRA HERNANDEZ OR REORG MGR          3800 CITIBANK CENTER B3 12                                          TAMPA          FL   33610
CITIBANK NA 0908                      ATTN SHERIDA SINANAN OR REORG MGR           3800 CITIBANK CENTER                     B 3RD FLOOR ZONE 12        TAMPA          FL   33610
GOLDMAN SACHS CO 0005                 ATTN ALEX MUCHNIK OR REORG MGR              30 HUDSON ST                             REORG DEPARTMENT           JERSEY CITY    NJ   07302‐0000
JPMCH CTC 0902                        Attn Jeff Lazarus                           4 Chase Metrotech Plaza                  3rd Floor                  Brooklyn       NY   11245

JPMORGAN CHASE BANK NA 0902 2164      Attn Jeff Lazarus Corp Action Mgr           4 Chase Metrotech Center                 3rd Fl NY1 C094            Brooklyn       NY   11245 0001

MERRILL LYNCH 0161 5198               ATTN K BANACH OR CORP ACTION NOTIFI         4804 DEAR LAKE DR E                                                 JACKSONVILLE   FL   32246
MORGAN STANLEY CO 0015                ATTN ELIZABETH TELESE                       ONE NEW YORK PLAZA 39TH FLOOR                                       NEW YORK       NY   10004

NATIONAL FINANCIAL SERVICE LLC 0226   ATTN SEAN COLE OR REORG MGR                 499 WASHINGTON BLVD                      5TH FLOOR                  JERSEY CITY    NJ   07310‐0000

NATIONAL FINANCIAL SERVICE LLC 0226   ATTN KARL BAKER OR REORG MGR                499 WASHINGTON BLVD                      5TH FLOOR                  JERSEY CITY    NJ   07310‐0000
OPPENHEIMER CO INC 0571               ATTN OSCAR MAZARIO OR REORG MGR             85 BROAD STREET                          4TH FLOOR                  NEW YORK       NY   10004
OPPENHEIMER CO INC 0571               ATTN COLIN SANDY OR REORG MGR               125 BROAD STREET                         15TH FLOOR                 NEW YORK       NY   10004
STATE STREET 0997                     ATTN REORG DEPARTMENT                       1 CONGRESS STREET                                                   BOSTON         MA   02171
STATE STREET BANK TRUST 2950          ATTN REORG DEPARTMENT                       1 CONGRESS STREET                                                   BOSTON         MA   02171
TD WATERHOUSE CDS 5036                ATTN REORG MANAGER                          77 BLOOR STREET WEST 3RD FLOOR                                      TORONTO        ON   M5S 1M2      Canada

THE BANK OF NEW YORK MELLON 0901      ATTN JENNIFER MAY OR REORG MGR              525 WILLIAM PENN PLACE                   SUITE 153 0400             PITTSBURGH     PA   15259
US BANK 2803                          ATTN PAUL KUXHAUS REORG MGR                 1555 N RIVERCENTER DR                    STE 302                    MILWAUKEE      WI   53212

US BANK NA 2803                       ATTN PAUL KUXHAUS OR REORG MGR              1555 N RIVER CENTER DRIVE SUITE 302                                 MILWAUKEE      WI   53212

WELLS FARGO SECURITIES LLC 0250       ATTN SCOTT NELLIS OR REORG MGR              CORP ACTIONS MAC D109 010 1525           WEST WT HARRRIS BLVD 1B1   CHARLOTTE      NC   28262
WELLS FARGO SECURITIES LLC 0250       ATTN STEVE TURNER OR REORG MGR              CORP ACTIONS NC0675 1525                 WEST WT HARRIS BLVD 1B1    CHARLOTTE      NC   28262
WELLS FARGO SECURITIES LLC 0250       ATTN ROBERT MATERA OR REORG MGR             CORP ACTIONS NC0675 1525                 WEST WT HARRIS BLVD 1B1    CHARLOTTE      NC   28262




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                        Exhibit G
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                                                                                                                         Exhibit G
                                                                                                                    Class 3 Service List
                                                                                                                   Served via first class mail

                     NAME                                      ADDRESS 1                               ADDRESS 2                                      ADDRESS 3                             CITY          STATE       POSTAL CODE     COUNTRY
3551300 Canada Inc                           74 TURGEON STREET                                                                                                           MONTREAL                    QC             H4C 2N1         Canada

Alternative Credit Income Fund US0M01BGW0    ATTN: BC PARTNERS ADVISOR LP              650 MADISON AVENUE, 23RD FLOOR                                                    NEW YORK                    NY             10022
Apex Credit CLO 2020 II Ltd KY0M009168       ATTN: APEX CREDIT PARTNERS LLC            Windward 3, Regatta Office Park                                                   Grand Cayman                               KY1‐1108        Cayman Islands
Apex Credit CLO 2021 2 Ltd KY0M009135        ATTN: APEX CREDIT PARTNERS LLC            windward 3, regatta office park                                                   GRAND CAYMAN                               KY1‐1108        Cayman Islands

BALLYROCK CLO 14 LTD KY0M0071C6              ATTN: FIDELITY INVESTMENTS                QUEENSGATE HOUSE, SOUTH CHURCH ST                                                 GEORGE TOWN                 GRAND CAYMAN KY1‐1102          Cayman Islands
                                                                                       PO Box 1093, Queensgate House, South
Ballyrock CLO 15 Ltd KY0M007311              ATTN: Ballyrock Investment Advisors LLC   Church Street                                                                     George Town                 Grand Cayman   KY1‐1102        Cayman Islands
                                                                                       PO Box 1093, Queensgate House, South
Ballyrock CLO 16 Ltd KY0M007956              ATTN: Ballyrock Investment Advisors LLC   Church Street                                                                     George Town                 Grand Cayman   KY1‐1102        Cayman Islands
                                                                                       PO Box 1093, Queensgate House, South
Ballyrock CLO 17 Ltd KY0M007K09              ATTN: Ballyrock Investment Advisors LLC   Church Street                                                                     George Town                 Grand Cayman   KY1‐1102        Cayman Islands
                                                                                                                                         Queensgate House South Church
BALLYROCK CLO 18 LTD KY0M007QZ7              ATTN: Ballyrock Investment Advisors LLC   PO Box 1093                                       Street                          George Town, Grand Cayman                  KY1‐1102        Cayman Islands
Ballyrock CLO 19 Ltd KY0M007WV4              ATTN: FIDELITY INVESTMENTS                2nd Floor, Sir Walter Raleigh House               48‐50 Esplanade                 ST HELIER                                  JE2 3QB         Jersey

BALLYROCK CLO 2019 1 LTD KY0M004Z47          ATTN: FIDELITY INVESTMENTS                QUEENSGATE HOUSE                                  S CHURCH ST                     GEORGE TOWN                 GRAND CAYMAN KY1‐1102          Cayman Islands

BALLYROCK CLO 2020 2 LTD KY0M006S51          ATTN: FIDELITY INVESTMENTS                QUEENSGATE HOUSE, SOUTH CHURCH ST                                                 GEORGE TOWN                 GRAND CAYMAN KY1‐1102          Cayman Islands
BALOISE SENIOR SECURED LOAN FUND III
LU0M001J50                                   ATTN: Octagon Credit Investors, LLC       49 AVENUE J.F KENNEDY                                                             LUXEMBOURG                                 L‐1855          Luxembourg
BANDERA STRATEGIC CREDIT PARTNERS II LP
US0M014DC1                                   ATTN: Octagon Credit Investors, LLC       250 PARK AVENUE 15TH FL                                                           NEW YORK                    NY             10177
BANK OF AMERICA NA US1L223141                ATTN: Bank of America 026009593           150 N COLLEGE ST NCI‐028‐17‐06                                                    CHARLOTTE                   NC             28255
BLACKWELL PARTNERS SERIES LLC SERIES A
US0M01D8V4                                   ATTN: Philosophy Capital Management LLC   280 South Magnum St, Suite 210                                                    Durham                      NC             22701

Boston Patriot Arlington St LLC US0M01MM58   ATTN: OAKTREE CAPITAL MANAGEMENT LP       c/o PRIM Board, 53 State Street, Suite 600                                        Boston                      MA             02109
CALIFORNIA STREET CLO IX LIMITED
PARTNERSHIP KY1L481466                       ATTN: SYMPHONY ASSET MANAGEMENT           QUEENSGATE HOUSE                                  SOUTH CHURCH STREET             GEORGE TOWN, GRAND CAYMAN                  KY1‐1102        Cayman Islands
CASSINI PARTNERS LP US0M01CP24               ATTN: Philosophy Capital Management LLC   One Broadway, 9th Floor, Suite 200                                                CAMBRIDGE                   MA             02142
DOUBLELINE INCOME SOLUTIONS FUND
US0M007H42                                   ATTN: DOUBLELINE CAPITAL LP               333 SOUTH GRAND AVENUE, SUITE 1800                                                LOS ANGELES                 CA             90071
DOUBLELINE OPPORTUNISTIC CREDIT FUND
US0M00ZBM3                                   ATTN: DOUBLELINE CAPITAL LP               333 SOUTH GRAND AVENUE                            SUITE 1800                      LOS ANGELES                 CA             90071
DOUBLELINE YIELD OPPORTUNITIES FUND
US0M018RZ3                                   ATTN: DOUBLELINE CAPITAL LP               333 SOUTH GRAND AVE, SUITE 1800                                                   LOS ANGELES                 CA             90071
FIAM FLOATING RATE HIGH INCOME
COMMINGLED POOL US1L011025                   ATTN: FIDELITY INVESTMENTS                900 Salem Street                                                                  Smithfield                  RI             02917
FIAM LEVERAGED LOAN LP US0M00KTJ3            ATTN: FIDELITY INVESTMENTS                900 Salem Street                                                                  Smithfield                  RI             02917

FIDELITY ADVISOR SERIES I FIDELITY ADVISOR
FLOATING RATE HIGH INCOME FUND US1L012643 ATTN: FIDELITY INVESTMENTS                   245 Summer Street                                                                 Boston                      MA             02210
FIDELITY CENTRAL INVESTMENT PORTFOLIOS LLC
FIDELITY FLOATING RATE CENTRAL FUND
US1L012957                                 ATTN: FIDELITY INVESTMENTS                  245 Summer Street                                                                 Boston                      MA             02210
Fidelity Credit Opportunities Fund II LP
US0M01P9C8                                 ATTN: FIDELITY INVESTMENTS                  245 Summer Street                                                                 Boston                      MA             02210
FIDELITY FLOATING RATE HIGH INCOME FUND
CA0M000DQ6                                 ATTN: FIDELITY INVESTMENTS                  483 Bat Street, suite 300                                                         Toronto, Ontario                           M5G 2N7         Canada
FIDELITY FLOATING RATE HIGH INCOME MULTI
ASSET BASE FUND CA1L411205                 ATTN: FIDELITY INVESTMENTS                  483 Bay Street, suite 300                                                         Toronto                                    M5G 2N7         Canada




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FIDELITY INCOME FUND FIDELITY TOTAL BOND
FUND US1L105553                                ATTN: FIDELITY INVESTMENTS                       245 Summer Street                                                       Boston                      MA             02210
FIDELITY MERRIMACK STREET TRUST FIDELITY
TOTAL BOND ETF US0M017923                      ATTN: FIDELITY INVESTMENTS                       24 5SUMMER STREET                                                       BOSTON                      MA             02210
FIDELITY QUALIFYING INVESTOR FUNDS PLC
IE0M000VL8                                     ATTN: FIDELITY INVESTMENTS                       GEORGE'S QUAY HOUSE                             43 TOWNSEND STREET      DUBLIN 2                                   D02 VK65        Ireland
FIDELITY SALEM STREET TRUST FIDELITY SAI
TOTAL BOND FUND US0M015G35                     ATTN: FIDELITY INVESTMENTS                       245 SUMMER STREET                                                       BOSTON                      MA             02210

FIDELITY SUMMER STREET TRUST FIDELITY SERIES
FLOATING RATE HIGH INCOME FUND US1L440158 ATTN: FIDELITY INVESTMENTS                            245 Summer Street                                                       Boston                      MA             02210
HPS LOAN MANAGEMENT 14 2019 LTD              ATTN: HPS Special Situations Opportunity Fund II
KY0M004Z39                                   LP                                                 Windward 3, Regatta Office Park                                         GEORGE TOWN, GRAND CAYMAN   Grand Cayman   KY1‐1108        Cayman Islands
HPS LOAN MANAGEMENT 2023 18 LTD              ATTN: HPS Special Situations Opportunity Fund II
KY0M008277                                   LP                                                 71 Fort Street                                                          Grand Cayman                               KY1‐1106        Cayman Islands

JNL FIDELITY INSTITUTIONAL ASSET
MANAGEMENT TOTAL BOND FUND US0M016SG5 ATTN: FIDELITY INVESTMENTS                                225 W WACKER DR, SUITE 1000                                             CHICAGO                     IL             60606

Johkim Capital Partners Master LP KY0M005141   ATTN: Johkim Capital Partners Management LLC     27 HOSPITAL ROAD                                                        GEORGE TOWN                                KY1‐9008        Cayman Islands

LCM 26 LTD KY0M004LJ9                          ATTN: LCM ASSET MANAGEMENT                       QUEENSGATE HOUSE, SOUTH CHURCH ST                                       GEORGE TOWN                 GRAND CAYMAN KY1‐1102          Cayman Islands
                                                                                                QUEENSGATE HOUSE, SOUTH CHURCH
LCM 27 LTD KY0M004WP3                          ATTN: LCM ASSET MANAGEMENT                       STREET                                                                  GEORGE TOWN                 GRAND CAYMAN KY1‐1102          Cayman Islands
                                                                                                CAYMAN CORPORATE CENTRE, 27 HOSPITAL
LCM 28 LTD KY0M0054T6                          ATTN: LCM ASSET MANAGEMENT                       ROAD                                                                    GEORGE TOWN                 GRAND CAYMAN KY1‐9008          Cayman Islands
                                                                                                QUEENSGATE HOUSE, SOUTH CHURCH
LCM 29 LTD KY0M005L83                          ATTN: LCM ASSET MANAGEMENT                       STREET                                                                  GEORGE TOWN                 GRAND CAYMAN KY1‐1102          Cayman Islands

LCM 30 LTD KY0M005J12                          ATTN: LCM ASSET MANAGEMENT                       QUEENSGATE HOUSE, SOUTH CHURCH ST                                       GEORGE TOWN                 GRAND CAYMAN KY1‐1102          Cayman Islands
                                                                                                QUEENSGATE HOUSE, SOUTH CHURCH
LCM 31 LTD KY0M0071T0                          ATTN: LCM ASSET MANAGEMENT                       STREET                                                                  GEORGE TOWN                 GRAND CAYMAN KY1‐1102          Cayman Islands
LCM 32 LTD KY0M0077Z4                          ATTN: LCM ASSET MANAGEMENT                       QUEENSGATE HOUSE                                SOUTH CHURCH STREET     GEORGE TOWN, GRAND CAYMAN                KY1‐1102          Cayman Islands
LCM 33 LTD KY0M007HJ0                          ATTN: LCM ASSET MANAGEMENT                       QUEENSGATE HOUSE                                SOUTH CHURCH STREET     GEORGE TOWN, GRAND CAYMAN                KY1‐1102          Cayman Islands
LCM 34 LTD KY0M007MZ6                          ATTN: LCM ASSET MANAGEMENT                       QUEENSGATE HOUSE                                SOUTH CHURCH STREET     GEORGE TOWN, GRAND CAYMAN                KY1‐1102          Cayman Islands
LCM 35 LTD KY0M007T67                          ATTN: LCM ASSET MANAGEMENT                       QUEENSGATE HOUSE                                SOUTH CHURCH STREET     GEORGE TOWN, GRAND CAYMAN                KY1‐1102          Cayman Islands
LCM 36 LTD KY0M007W96                          ATTN: LCM ASSET MANAGEMENT                       QUEENSGATE HOUSE                                SOUTH CHURCH STREET     GEORGE TOWN, GRAND CAYMAN                KY1‐1102          Cayman Islands
LCM 37 LTD KY0M008533                          ATTN: LCM ASSET MANAGEMENT                       QUEENSGATE HOUSE                                SOUTH CHURCH STREET     GEORGE TOWN, GRAND CAYMAN                KY1‐1102          Cayman Islands

LCM LOAN INCOME FUND I LTD KY0M004N33          ATTN: LCM ASSET MANAGEMENT                       QUEENSGATE HOUSE, SOUTH CHURCH ST                                       GEORGE TOWN                 GRAND CAYMAN KY1‐1102          Cayman Islands
                                                                                                QUEENSGATE HOUSE, SOUTH CHURCH
LCM XIV LIMITED PARTNERSHIP KY0M000L96         ATTN: LCM ASSET MANAGEMENT                       STREET                                                                  GEORGE TOWN, GRAND CAYMAN                  KY1‐1107        Cayman Islands
                                                                                                QUEENSGATE HOUSE, SOUTH CHURCH
LCM XV LIMITED PARTNERSHIP KY0M0015R1          ATTN: LCM ASSET MANAGEMENT                       STREET                                                                  GEORGE TOWN, GRAND CAYMAN                  KY1‐1107        Cayman Islands
                                                                                                QUEENSGATE HOUSE, SOUTH CHURCH
LCM XVI LIMITED PARTNERSHIP KY0M001MN5         ATTN: LCM ASSET MANAGEMENT                       STREET                                                                  GEORGE TOWN, GRAND CAYMAN                  KY1‐1107        Cayman Islands
                                                                                                QUEENSGATE HOUSE, SOUTH CHURCH
LCM XVII LIMITED PARTNERSHIP KY0M0026V0        ATTN: LCM ASSET MANAGEMENT                       STREET                                                                  GEORGE TOWN, GRAND CAYMAN                  KY1‐1107        Cayman Islands
                                                                                                QUEENSGATE HOUSE, SOUTH CHURCH
LCM XVIII LIMITED PARTNERSHIP KY0M002NC4       ATTN: LCM ASSET MANAGEMENT                       STREET                                                                  GEORGE TOWN, GRAND CAYMAN                  KY1‐1102        Cayman Islands
                                                                                                QUEENSGATE HOUSE, SOUTH CHURCH
LCM XXII LTD KY0M003QP7                        ATTN: LCM ASSET MANAGEMENT                       STREET                                                                  GEORGE TOWN, GRAND CAYMAN                  KY1‐1102        Cayman Islands




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                                                                                       QUEENSGATE HOUSE, SOUTH CHURCH
LCM XXIII LTD KY0M003TB1                         ATTN: LCM ASSET MANAGEMENT            STREET                                                               GEORGE TOWN, GRAND CAYMAN                     KY1‐1102        Cayman Islands

LCM XXIV LTD KY0M0040N8                          ATTN: LCM ASSET MANAGEMENT            QUEENSGATE HOUSE, SOUTH CHURCH ST                                    GEORGE TOWN                    GRAND CAYMAN KY1‐1102          Cayman Islands

LCM XXV LTD KY0M0049H1                           ATTN: LCM ASSET MANAGEMENT            QUEENSGATE HOUSE, SOUTH CHURCH ST                                    GEORGE TOWN                    GRAND CAYMAN KY1‐1102          Cayman Islands
Lion Brand Yarn Company Inc                      125 CHUBB AVE                                                                                              LYNDHURST                      NJ           07071
Oaktree London Liquid Value Opportunities Fund
VOF LP KY0M009PQ4                                ATTN: OAKTREE CAPITAL MANAGEMENT LP   190 Elgin Avenue                                                     George Town                    Grand Cayman   KY1‐9008        Cayman Islands
Oaktree Opps XII Holdco LP KY0M0093Q0            ATTN: OAKTREE CAPITAL MANAGEMENT LP   190 ELGIN AVENUE                                                     GEORGE TOWN, GRAND CAYMAN                     KY1‐9008        Cayman Islands
OAKTREE PHOENIX INVESTMENT FUND LP
KY0M006LP1                                       ATTN: OAKTREE CAPITAL MANAGEMENT LP   27 Hospital Rd                                                       George Town, Grand Cayman                     KY1‐9008        Cayman Islands
OAKTREE VALUE OPPORTUNITIES FUND LP
KY1L143637                                       ATTN: OAKTREE CAPITAL MANAGEMENT LP   190 Elgin Avenue                                                     George Town                    Grand Cayman   KY1‐9008        Cayman Islands
OCM SSF III Joann PT LP US0M01RH27               ATTN: OAKTREE CAPITAL MANAGEMENT LP   333 S Grand Ave FL 28                                                Los Angeles                    CA             90071
OCTAGON 52 LTD KY0M0072Q4                        ATTN: Octagon Credit Investors, LLC   71 FORT STREET                                                       GRAND CAYMAN                                  KY1‐1106        Cayman Islands

OCTAGON 53 LTD KY0M007584                        ATTN: Octagon Credit Investors, LLC   QUEENSGATE HOUSE, SOUTH CHURCH ST                                    GEORGE TOWN                    GRAND CAYMAN KY1‐1102          Cayman Islands
                                                                                       QUEENSGATE HOUSE, SOUTH CHURCH
OCTAGON 54 LTD KY0M007857                        ATTN: Octagon Credit Investors, LLC   STREET                                                               GEORGE TOWN                    GRAND CAYMAN KY1‐1102          Cayman Islands
                                                                                       QUEENSGATE HOUSE, SOUTH CHURCH
OCTAGON 55 LTD KY0M007899                        ATTN: Octagon Credit Investors, LLC   STREET                                                               GEORGE TOWN                    GRAND CAYMAN KY1‐1102          Cayman Islands
                                                                                       QUEENSGATE HOUSE, SOUTH CHURCH
OCTAGON 56 LTD KY0M0078H0                        ATTN: Octagon Credit Investors, LLC   STREET                                                               GEORGE TOWN                    GRAND CAYMAN KY1‐1102          Cayman Islands

OCTAGON 58 LTD KY0M007J77                        ATTN: Octagon Credit Investors, LLC   2ND FLOOR, SIR WALTER RALEIGH HOUSE           48‐50 ESPLANADE        ST HELIER                                     JE2‐3QB         Jersey
OCTAGON 64 LTD KY0M008CC4                        ATTN: Octagon Credit Investors, LLC   CLIFTON HOUSE, 75 FORT STREET                                        GEORGE TOWN, GRAND CAYMAN                     KY1‐1108        Cayman Islands
OCTAGON CREDIT OPPORTUNITIES MASTER
FUND LP KY0M002LJ3                               ATTN: Octagon Credit Investors, LLC   C/O MAPLES CORPORATE SERVICES LIMITED                                GEORGE TOWN, GRAND CAYMAN                     KY1‐1104        Cayman Islands
OCTAGON HIGH INCOME MASTER FUND LTD
KY1L317918                                       ATTN: Octagon Credit Investors, LLC   UGLAND HOUSE, SOUTH CHURCH STREET                                    GRAND CAYMAN, CAYMAN ISLANDS                  KY1‐1104        Cayman Islands
Octagon Investment Partners 20 R Ltd                                                   QUEENSGATE HOUSE, SOUTH CHURCH
KY0M005P89                                       ATTN: Octagon Credit Investors, LLC   STREET                                                               GEORGE TOWN, GRAND CAYMAN                     KY1‐1102        Cayman Islands
OCTAGON INVESTMENT PARTNERS 29 LTD
KY0M003RM2                                       ATTN: Octagon Credit Investors, LLC   QUEENSGATE HOUSE                              S CHURCH ST            GEORGE TOWN                    GRAND CAYMAN KY1‐1102          Cayman Islands
OCTAGON INVESTMENT PARTNERS 30 LTD
KY0M003VL6                                       ATTN: Octagon Credit Investors, LLC   QUEENSGATE HOUSE                              S CHURCH ST            GEORGE TOWN                    GRAND CAYMAN KY1‐1102          Cayman Islands
OCTAGON INVESTMENT PARTNERS 40 LTD                                                     QUEENSGATE HOUSE, SOUTH CHURCH
KY0M0054G3                                       ATTN: Octagon Credit Investors, LLC   STREET                                                               GEORGE TOWN, GRAND CAYMAN                     KY1‐1102        Cayman Islands
OCTAGON INVESTMENT PARTNERS 41 LTD                                                     QUEENSGATE HOUSE, SOUTH CHURCH
KY0M005GG2                                       ATTN: Octagon Credit Investors, LLC   STREET                                                               GEORGE TOWN, GRAND CAYMAN                     KY1‐1102        Cayman Islands
OCTAGON INVESTMENT PARTNERS 42 LTD                                                     QUEENSGATE HOUSE, SOUTH CHURCH
KY0M004XQ9                                       ATTN: Octagon Credit Investors, LLC   STREET                                                               GEORGE TOWN, GRAND CAYMAN                     KY1‐1102        Cayman Islands
OCTAGON INVESTMENT PARTNERS 43 LTD                                                     QUEENSGATE HOUSE, SOUTH CHURCH
KY0M005KK6                                       ATTN: Octagon Credit Investors, LLC   STREET                                                               GEORGE TOWN, GRAND CAYMAN                     KY1‐1102        Cayman Islands
OCTAGON INVESTMENT PARTNERS 44 LTD                                                     QUEENSGATE HOUSE, SOUTH CHURCH
KY0M005NV7                                       ATTN: Octagon Credit Investors, LLC   STREET                                                               GEORGE TOWN, GRAND CAYMAN                     KY1‐1102        Cayman Islands
OCTAGON INVESTMENT PARTNERS 45 LTD                                                     QUEENSGATE HOUSE, SOUTH CHURCH
KY0M005R79                                       ATTN: Octagon Credit Investors, LLC   STREET                                                               GEORGE TOWN, GRAND CAYMAN                     KY1‐1102        Cayman Islands
OCTAGON INVESTMENT PARTNERS 46 LTD
KY0M006N23                                       ATTN: Octagon Credit Investors, LLC   QUEENSGATE HOUSE, SOUTH CHURCH ST                                    GEORGE TOWN                    GRAND CAYMAN KY1‐1102          Cayman Islands
OCTAGON INVESTMENT PARTNERS 47 LTD
KY0M005R61                                       ATTN: Octagon Credit Investors, LLC   QUEENSGATE HOUSE, SOUTH CHURCH ST                                    GEORGE TOWN                    GRAND CAYMAN KY1‐1102          Cayman Islands




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OCTAGON INVESTMENT PARTNERS 48 LTD                                               QUEENSGATE HOUSE, SOUTH CHURCH
KY0M006LX5                             ATTN: Octagon Credit Investors, LLC       STREET                                                                             GEORGE TOWN                 GRAND CAYMAN KY1‐1102         Cayman Islands
OCTAGON INVESTMENT PARTNERS 49 LTD
KY0M007071                             ATTN: Octagon Credit Investors, LLC       QUEENSGATE HOUSE, SOUTH CHURCH ST                                                  GEORGE TOWN                 GRAND CAYMAN KY1‐1102         Cayman Islands
OCTAGON INVESTMENT PARTNERS 50 LTD
KY0M006S69                             ATTN: Octagon Credit Investors, LLC       QUEENSGATE HOUSE, SOUTH CHURCH ST                                                  GEORGE TOWN                 GRAND CAYMAN KY1‐1102         Cayman Islands
                                                                                 QUEENSGATE HOUSE, SOUTH CHURCH
OCTAGON LOAN FUNDING LTD KY0M002G75    ATTN: Octagon Credit Investors, LLC       STREET                                                                             GEORGE TOWN, GRAND CAYMAN                 KY1‐1102        Cayman Islands
OCTAGON SENIOR SECURED CREDIT MASTER                                             QUEENSGATE HOUSE, SOUTH CHURCH
FUND LTD KY1L440249                    ATTN: Octagon Credit Investors, LLC       STREET                                                                             GEORGE TOWN, GRAND CAYMAN                 KY1‐1102        Cayman Islands
                                                                                 QUEENSGATE HOUSE, SOUTH CHURCH
PARALLEL 2020 1 LTD KY0M006685         ATTN: DOUBLELINE CAPITAL LP               STREET                                            PO BOX 1093                      GEORGE TOWN                 GRAND CAYMAN KY1‐1102         Cayman Islands
                                                                                 QUEENSGATE HOUSE, SOUTH CHURCH
PARALLEL 2021 1 LTD KY0M0070G9         ATTN: DOUBLELINE CAPITAL LP               STREET                                            PO BOX 1093                      GEORGE TOWN                 GRAND CAYMAN KY1‐1102         Cayman Islands
PARALLEL 2021 2 LTD KY0M007GN4         ATTN: DOUBLELINE CAPITAL LP               P O BOX 1093                                                                       GEORGE TOWN GRAND CAYMAN                 KY1‐1102         Cayman Islands
PHILOSOPHY CAPITAL PARTNERS LP
US0M019HH0                             ATTN: Philosophy Capital Management LLC   3000 Sand Hill Rd., Bldg. 1, Ste. 240                                              Menlo Park                  CA            94025
Project Swift LLC                      ATTN: Project Swift LLC                   1209 Orange Street                                                                 WILMINGTON                  DE            19801

REGATTA XVI FUNDING LTD KY0M005WJ3     ATTN: NAPIER PARK GLOBAL CAPITAL LP       CLIFTON HOUSE                                     75 FORT ST                       GEORGE TOWN                 GRAND CAYMAN KY1‐1108         Cayman Islands

ROMARK CLO III LTD KY0M005HQ9          ATTN: SHENKMAN CAPITAL MANAGEMENT INC     WINDWARD 3 REGATTA OFFICE PARK                                                     GRAND CAYMAN                              KY1‐1108        Cayman Islands
                                                                                 QUEENSGATE HOUSE, SOUTH CHURCH
ROMARK CLO IV LTD KY0M007CG7           ATTN: ROMARK CLO ADVISORS LLC             STREET                                                                             GEORGE TOWN                 GRAND CAYMAN KY1‐1102         Cayman Islands
                                                                                 QUEENSGATE HOUSE, SOUTH CHURCH
ROMARK CLO V LTD KY0M007VG7            ATTN: ROMARK CLO ADVISORS LLC             STREET                                                                             GEORGE TOWN, GRAND CAYMAN                 KY1‐1102        Cayman Islands
Spinrite Parent Holdings LLC           360 S ROSEMARY AVENUE                     SUITE 1700                                                                         WEST PALM BEACH             FL            33401
Star V Partners LLC US0M01C637         ATTN: Philosophy Capital Management LLC   2100 West End Avenue, Suite 1000                                                   NASHVILLE                   TN            37203
STATE OF WYOMING US0M01G7Z4            ATTN: Octagon Credit Investors, LLC       HERSCHLER BUILDING EAST                           122 WEST 25TH STREET, STE E300   CHEYENNE                    WY            82002
                                                                                 QUEENSGATE HOUSE, SOUTH CHURCH
SYMPHONY CLO XIX LTD KY0M004R39        ATTN: SYMPHONY ASSET MANAGEMENT           STREET                                                                             GEORGE TOWN, GRAND CAYMAN                 KY1‐1102        Cayman Islands

SYMPHONY CLO XV LTD KY0M002JN9         ATTN: SYMPHONY ASSET MANAGEMENT           Queensgate House, South Church Street P.O.Box 1093                                 George Town, Grand Cayman                 KY1‐1102        Cayman Islands
                                                                                 QUEENSGATE HOUSE, SOUTH CHURCH
SYMPHONY CLO XVI LTD KY0M002W67        ATTN: SYMPHONY ASSET MANAGEMENT           STREET                                                                             GEORGE TOWN, GRAND CAYMAN                 KY1‐1102        Cayman Islands
                                                                                 QUEENSGATE HOUSE, SOUTH CHURCH
SYMPHONY CLO XVIII LTD KY0M003Q15      ATTN: SYMPHONY ASSET MANAGEMENT           STREET                                                                             GEORGE TOWN, GRAND CAYMAN                 KY1‐1102        Cayman Islands
                                                                                 QUEENSGATE HOUSE, SOUTH CHURCH
SYMPHONY CLO XX LTD KY0M005CB2         ATTN: SYMPHONY ASSET MANAGEMENT           STREET                                                                             GEORGE TOWN, GRAND CAYMAN                 KY1‐1102        Cayman Islands
                                                                                 QUEENSGATE HOUSE, SOUTH CHURCH
SYMPHONY CLO XXI LTD KY0M005S11        ATTN: SYMPHONY ASSET MANAGEMENT           STREET                                                                             GEORGE TOWN, GRAND CAYMAN                 KY1‐1102        Cayman Islands
                                                                                 CAYMAN CORPORATE CENTRE, 27 HOSPITAL
SYMPHONY CLO XXII LTD KY0M005S86       ATTN: SYMPHONY ASSET MANAGEMENT           ROAD                                                                               GEORGE TOWN, GRAND CAYMAN                 KY1‐9008        Cayman Islands
                                                                                 CAYMAN CORPORATE CENTRE, 27 HOSPITAL
SYMPHONY CLO XXIII LTD KY0M006TQ2      ATTN: NUVEEN ASSET MANAGEMENT LLC         RD                                                                                 GEORGE TOWN                 GRAND CAYMAN KY1‐9008         Cayman Islands

SYMPHONY CLO XXIV LTD KY0M005VK3       ATTN: NUVEEN ASSET MANAGEMENT LLC         QUEENSGATE HOUSE, SOUTH CHURCH ST                                                  GEORGE TOWN                 GRAND CAYMAN KY1‐1102         Cayman Islands
                                                                                 PO BOX 1093 QUEENSGATE HOUSE, SOUTH
SYMPHONY CLO XXIX LTD KY0M007WL5       ATTN: NUVEEN ASSET MANAGEMENT LLC         CHURCH STREET                                                                      GEORGE TOWN                 GRAND CAYMAN KY1‐1102         Cayman Islands
                                                                                 CAYMAN CORPORATE CENTRE, 27 HOSPITAL
SYMPHONY CLO XXV LTD KY0M0075L8        ATTN: SYMPHONY ASSET MANAGEMENT           RD                                                                                 GEORGE TOWN                 GRAND CAYMAN KY1‐9008         Cayman Islands
                                                                                 QUEENSGATE HOUSE, SOUTH CHURCH
SYMPHONY CLO XXVI LTD KY0M003LS2       ATTN: NUVEEN ASSET MANAGEMENT LLC         STREET                                                                             GEORGE TOWN, GRAND CAYMAN                 KY1‐1102        Cayman Islands




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SYMPHONY CLO XXVIII LTD KY0M007FR7             ATTN: NUVEEN ASSET MANAGEMENT LLC        UGLAND HOUSE, SOUTH CHURCH STREET                                     GRAND CAYMAN                               KY1‐1104        Cayman Islands
SYMPHONY CLO XXXI LTD KY0M0081H4               ATTN: NUVEEN ASSET MANAGEMENT LLC        PARK PLACE                                   55 PAR‐LA‐VILLE ROAD     HAMILTON                                   HM 11           Bermuda
SYMPHONY CLO XXXII LTD KY0M007XZ3              ATTN: NUVEEN ASSET MANAGEMENT LLC        190 Elgin Avenue                                                      George Town,                Grand Cayman   KY1‐9008        Cayman Islands
                                               ATTN: SYMPHONY ALTERNATIVE ASSET
                                               MANAGEMENT LLC ‐ SERIES 1 ‐ MANAGEMENT
SYMPHONY STATIC CLO I LTD KY0M007DV4           SERIES                                   190 ELGIN AVENUE                                                      GEORGE TOWN, GRAND CAYMAN                  KY1‐9008        Cayman Islands
                                                                                        QUEENSGATE HOUSE, SOUTH CHURCH
TCI SYMPHONY CLO 2016 1 LTD KY0M003PZ8         ATTN: NUVEEN ASSET MANAGEMENT LLC        STREET                                                                GEORGE TOWN, GRAND CAYMAN                  KY1‐1102        Cayman Islands
                                                                                        QUEENSGATE HOUSE, SOUTH CHURCH
TCI SYMPHONY CLO 2017 1 LTD KY0M004847         ATTN: SYMPHONY ASSET MANAGEMENT          STREET                                                                GEORGE TOWN, GRAND CAYMAN                  KY1‐1102        Cayman Islands
TIAA CLO I Ltd KY0M0031V0                      ATTN: TEACHERS ADVISORS INC              QUEENSGATE HOUSE                             SOUTH CHURCH STREET      GEORGE TOWN GRAND CAYMAN                   KY1‐1102        Cayman Islands
                                                                                        QUEENSGATE HOUSE, SOUTH CHURCH
TIAA CLO III LTD KY0M003WK6                    ATTN: TEACHERS ADVISORS INC              STREET                                                                GEORGE TOWN                                KY1‐1102        Cayman Islands
                                                                                        QUEENSGATE HOUSE, SOUTH CHURCH
TIAA CLO IV LTD KY0M004JN5                     ATTN: TEACHERS ADVISORS INC              STREET                                                                GEORGE TOWN                                KY1‐1102        Cayman Islands
Universe Group Inc                             16 Colchester Road                                                                                             Hampstead                   QC             H3X 3V5         Canada
VARIABLE INSURANCE PRODUCTS FUND
FLOATING RATE HIGH INCOME PORTFOLIO
US0M00L2W6                                     ATTN: FIDELITY INVESTMENTS               245 Summer Street                                                     Boston                      MA             02210
XAI Octagon Floating Rate Alternative Income
Trust US0M012QC7                               ATTN: Octagon Credit Investors, LLC      1290 BROADWAY SUITE 1100                                              DENVER                      CO             80203
                                                                                        QUEENSGATE HOUSE, SOUTH CHURCH
ZAIS CLO 13 LIMITED KY0M005CF3                 ATTN: ZAIS GROUP LLC                     STREET                                                                GEORGE TOWN, GRAND CAYMAN                  KY1‐1102        Cayman Islands

ZAIS CLO 15 LTD KY0M004SB1                     ATTN: ZAIS GROUP LLC                     QUEENSGATE HOUSE, SOUTH CHURCH ST                                     GEORGE TOWN                 GRAND CAYMAN KY1‐1102          Cayman Islands

ZAIS CLO 16 LTD KY0M006N98                     ATTN: ZAIS GROUP LLC                     QUEENSGATE HOUSE, SOUTH CHURCH ST                                     GEORGE TOWN                 GRAND CAYMAN KY1‐1102          Cayman Islands
                                                                                        QUEENSGATE HOUSE, SOUTH CHURCH
ZAIS CLO 17 LIMITED KY0M006WB8                 ATTN: ZAIS GROUP LLC                     STREET                                                                GEORGE TOWN, GRAND CAYMAN                  KY1‐1102        Cayman Islands
                                                                                        Queensgate House, South Church Street,PO
ZAIS CLO 18 Limited KY0M007V71                 ATTN: ZAIS GROUP LLC                     Box 1093                                                              George Town                 Grand Cayman   KY1‐1102        Cayman Islands




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  ADDRESS ID                           NAME                            ADDRESS 1                                 ADDRESS 2                       ADDRESS 3                           ADDRESS 4                        CITY        STATE     POSTAL CODE        COUNTRY
29904982          1000 BOSTON TURNPIKE LLC              139 FRONT STREET                                                                                                                         FALL RIVER                  MA           02721
29904983          1645 N SPRING STREET LLC              718 PARK AVENUE                                                                                                                          BEAVER DAM                  WI           53916
                                                        Attention: Joel Dachner, Senior Portfolio
30331323          1943 Holdings LLC                     Manager                                     4020 Kinross Lakes Parkway                                                                   Richfield                   OH           44286
                                                        Attention: Joel Dachner, Senior Portfolio
30331294          1943 Holdings LLC                     Manager                                     4020 Kinross Lakes Parkway                                                                   Richfield                   OH           44286
29953576          1943 HOLDINGS LLC                     ATTN: IRG REALTY ADVISORS LLC               4020 KINROSS LAKES PKWY, #200                                                                RICHFIELD                   OH           44286
                                                        c/o Weinberg, Wheeler, Hudgins, Gunn &
30331411          200 Lincoln Retail, LLC               Dial, LLC                                   Attn: Erika Martinez            3344 Peachtree Road NE, Suite 2400                           Atlanta                     GA           30326
29953578          24 HOUR CRAFTS LLC                    211 JACKSONVILLE RD                                                                                                                      IRWIN                       PA           15642
30296263          24 HR Vegas, LLC                      c/o Barbra Parlin, Holland & Knight LLP     787 7th Ave.                    31st Floor                                                   New York                    NY           10019
29953580          245 TAMAL VISTA BLVD PARTNERS LP      104 TIBURON BLVD., STE 100                                                                                                               MILL VALLEY                 CA           94941
30295993          32nd Indian School Investors, LLC     Dickinson Wright PLLC                       Carolyn J Johnsen               1850 N Central Ave                   Ste 1400                Phoenix                     AZ           85004
29904990          3DOODLDER                             C/O WOBBLEWORKS, INC.                       89 5TH AVENUE, SUITE 602                                                                     NEW YORK                    NY           10003
29904992          3M COMPANY                            BLDG. 223‐5S‐07                             P.O. BOX 33223                                                                               SAINT PAUL                  MN           55133‐3223
29904995          4107 TELEGRAPH LLC                    1995 BALMORAL DRIVE                                                                                                                      DETROIT                     MI           48203‐1403
29954211          4405 MILESTRIP HD LESSEE LLC          PO BOX 825131                                                                                                                            PHILADELPHIA                PA           19182‐5131

29954215          4908 ASSOCIATES LLC                   C/O PLATFORM MGMT GROUP LLC                 14 CORPORATE WOODS BLVD #100                                                                 ALBANY                      NY           12211
29954217          5‐MILE INVESTMENT CO                  C/O STEJER DEVELOPMENT LLC                  PO BOX 9368                                                                                  SPOKANE                     WA           99209‐9368
29954217          5‐MILE INVESTMENT CO                  C/O STEJER DEVELOPMENT LLC                  PO BOX 9368                                                                                  SPOKANE                     WA           99209‐9368

30279825          700 Alma Investments, LLC             c/o Thomas, CInclair & Beuttenmuller PLLC Rudy Beuttenmuller                5335 Spring Valley Road                                      Dallas                      TX           75254
30331669          82nd and Orchard LLC                  900 SW 5th St                             Suite 1700                                                                                     Portland                    OR           97204
30200717          86 LLC                                MATTER MEDIA GROUP                        527 W. 7TH STREET, STE. 607                                                                    LOS ANGELES                 CA           90017
29905001          9395 CH LLC                           C/O 1551 NFB LLC                          PO BOX 713201                                                                                  PHILADELPHIA                PA           19171‐3201
29954465          A W FABER CASTELL USA INC             9000 RIO NERO DR                                                                                                                         INDEPENDENCE                OH           44131‐5502
30274870          Name on file                          Address on file
30262450          Name on file                          Address on file
29953882          A+ QUALITY SERVICES INC               DBA A+ FIX IT SERVICES                    PO BOX 26                                                                                      DELAND                      FL           32721‐0026
30192573          A+ Quality Services, Inc.             PO Box 26                                                                                                                                DeLand                      FL           32721
30297506          AAA Cooper Transportation             1751 Kinsey Rd                                                                                                                           Dothan                      AL           36303
30200720          AAA COOPER TRANSPORTATION             PO BOX 935003                                                                                                                            ATLANTA                     GA           31193
30281663          Name on file                          Address on file
29905039          AARON HERMAN                          Address on file
30284804          Name on file                          Address on file
30294452          AB Exports                            Lasani Pulli                              Near Khayaban Gardens             Sergodha Road                                                Faisalabad, Punjab                       38000           Pakistan

29905066          AB EXPORTS                            LASANI PULLI, NEAR KHAYABAN GARDENS SERGODHA ROAD                           FAISALABAD                                                   PUNJAB                                   38000           PAKISTAN
30287158          Name on file                          Address on file
30257479          Name on file                          Address on file
30296600          Name on file                          Address on file
29905107          ABCWUA                                1441 MISSION AVE. NE                                                                                                                     ALBUQUERQUE                 NM           87107
30286178          Name on file                          Address on file
                                                        C/O HAMED YAZDANPANAH &             ATTN: HAMED YAZDANPANAH,
30200644          ABEQUIN C. ZAMORA                     ASSOCIATES                          GREG GOODHEART                          8235 SANTA MONICA BLVD.              SUITE 300               WEST HOLLYWOOD              CA           90046
30261517          Name on file                          Address on file
30229180          ABG Intermediate Holdings 2 LLC       c/o Authentic Brands Group          Attn: Legal Department                  1411 Broadway, 21st Floor                                    New York                    NY           10018
30288839          Name on file                          Address on file
30276260          Name on file                          Address on file
30259313          Name on file                          Address on file
30274063          Name on file                          Address on file
30224833          Name on file                          Address on file
30259803          Name on file                          Address on file
30222097          Name on file                          Address on file
29905295          ABSOLUTE FIRE PROTECT SERV INC        2300 W. COPANS RD. #3                                                                                                                    POMPANO BEACH               FL           33069
30277926          Name on file                          Address on file
30274805          Name on file                          Address on file

29905305          ACADIA STRATEGIC OPPORTUNITY FUND V   NEW TOWNE CTR OWN LLC 0334‐006070           PO BOX 0575                                                                                  BRIDGEPORT                  CT           06601‐0575
29905311          ACC WATER BUSINESS                    124 HANCOCK AVENUE                                                                                                                       ATHENS                      GA           30601
29950624          ACCORDION PARTNERS LLC                1 VANDERBILT AVE.                           FLOOR 24                                                                                     NEW YORK                    NY           10017
30259741          Accordion Partners, LLC               One Vanderbilt Ave                          24th Floor                                                                                   New York                    NY           10017
30261564          Accruent LLC                          Lisa Elliott                                Domain 3                        11501 Domain Drive                   Ste 160                 Austin                      TX           78758




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  ADDRESS ID                           NAME                            ADDRESS 1                             ADDRESS 2                     ADDRESS 3                      ADDRESS 4                  CITY        STATE     POSTAL CODE       COUNTRY
29905313          ACCRUENT LLC                            PO BOX 679881                                                                                                               DALLAS                TX           75267‐9881
29905314          ACCUQUILT LLC                           8843 S 137TH CIR                                                                                                            OMAHA                 NE           68138
30200534          ACCUQUILT, LLC                          8843 S 137th Circle                                                                                                         Omaha                 NE           68138‐3455
30331007          Name on file                            Address on file
30287609          Name on file                            Address on file
30282821          Name on file                            Address on file
30223381          Name on file                            Address on file
30223383          Name on file                            Address on file
30295365          Name on file                            Address on file
30201979          Acme United Corporation                 1 Waterview Drive                    Suite 200                                                                              Shelton               CT           06824
29905319          ACME UNITED CORPORATION                 1 WATERVIEW DRIVE                                                                                                           SHELTON               CT           06484
30262444          Name on file                            Address on file
30274949          Name on file                            Address on file
29905320          ACS HOLDINGS LLC                        ACS REYNOLDS PLAZA OH LLC            350 PINE ST, STE 800                                                                   BEAUMONT              TX           77701
30261471          ACS Reynolds Plaza OH LLC               Jessica M Jordan                     350 Pine St                    Suite 800                                               Beaumont              TX           77701
29905323          ACTIVA PRODUCTS INC                     8900 FM 1998                                                                                                                MARSHALL              TX           75672
29905326          ACUITIVE SOLUTIONS LLC                  7730 STRATHMOORE ROAD                                                                                                       DUBLIN                OH           43016
30258641          Name on file                            Address on file
30295308          Adams and Reese LLP                     Ron C. Bingham, II, Esq.             3424 Peachtree Road NE         Suite 1600                                              Atlanta               GA           30326
30263423          Name on file                            Address on file
30296370          Name on file                            Address on file
30274092          Name on file                            Address on file
30274235          Name on file                            Address on file
30222793          Name on file                            Address on file
30222793          Name on file                            Address on file
30256960          Name on file                            Address on file
30274633          Name on file                            Address on file
30293145          Name on file                            Address on file
30291194          Name on file                            Address on file
30261582          Name on file                            Address on file
30331914          Name on file                            Address on file
30280712          Name on file                            Address on file
30258131          Name on file                            Address on file
30286038          Name on file                            Address on file
30279182          Name on file                            Address on file
30262184          Name on file                            Address on file
29905409          ADHESIVE TECHNOLOGIES                   3 MERRILL INDUSTRIAL DRIVE                                                                                                  HAMPTON               NH           03842
30181563          Adhesive Technologies, Inc.             Steeve Michel Wintle                 3 Merill Industrial Drive                                                              Hampton               NH           03842
30287050          Name on file                            Address on file
30297510          Name on file                            Address on file
30200771          ADP TAX CREDIT SERVICES INC             PO BOX 830272                                                                                                               PHILADELPHIA          PA           19182‐0272
29953936          ADSG INC                                DBA ACCENT WESTERN                   PO BOX 676029                                                                          DALLAS                TX           75267‐6029
29953937          ADSWERVE INC                            PO BOX 669258                                                                                                               DALLAS                TX           75266
30182018          Adswerve, Inc.                          Jim Caulson                          999 18th St                    Ste 2301N                                               Denver                CO           80202
30297694          Advance Carts Inc.                      4160 NW 1st Avenue                                                                                                          Boca Raton            FL           33431
30200819          ADVANCED CARTS INC                      4160 NW 1ST AVENUE #18                                                                                                      BOCA RATON            FL           33431
29905518          ADVANCED DIGITAL TEXTILES               600 BROOME STREET                                                                                                           MONROE                NC           28110
30165275          Advanced Wireless Communications        20809 Kensington Blvd                                                                                                       Lakeville             MN           55044
29905522          ADVANTUS CORP                           DBA WYLA                             12276 SAN JOSE BLVD BLDG 618                                                           JACKSONVILLE          FL           32223
29905522          ADVANTUS CORP                           DBA WYLA                             12276 SAN JOSE BLVD BLDG 618                                                           JACKSONVILLE          FL           32223
29905523          ADVANTUS CORP / SULYN INDUSTRIES        12276 SAN JOSE BLVD BLDG 618                                                                                                JACKSONVILLE          FL           32223
29905524          ADVANTUS CORP/WYLA                      HUAYANG VILLAGE                      LUFENG AV                      JINFENG TOWN                                            FUZHOU CITY                        350211          CHINA
30295939          Advantus, Corp.                         Smith, Gambrell & Russell, LLP       c/o Brian P. Hall              1105 W. Peachtree St. NE       Suite 1000               Atlanta               GA           30309
29905528          AEL&P (ALASKA ELECTRIC LIGHT & POWER)   5601 TONSGARD COURT                                                                                                         JUNEAU                AK           99801‐7201
29905533          AEP ‐ APPALACHIAN POWER                 500 LEE ST E                                                                                                                CHARLESTON            WV           25301
30279613          AES Indiana                             2102 N Illinois St                                                                                                          Indianapolis          IN           46202
29905540          AES INDIANA                             1 MONUMENT CIR                                                                                                              INDIANAPOLIS          IN           46204
30279597          AES Ohio                                Attn: Bankruptcy                     Fran Davidson                  1065 Woodman Drive                                      Dayton                OH           45432
29905542          AES OHIO                                1065 WOODMAN DRIVE                                                                                                          DAYTON                OH           45432
29905543          AEW CORE PROPERTY TRUST ‐US‐ INC        CPT RIVERSIDE PLAZA LLC C/O VESTAR   PO BOX 30412                                                                           TAMPA                 FL           33630
30261844          Name on file                            Address on file
30163456          Ag Container Transport                  Pappas Trucking                      PO Box 268                                                                             Lockbourne            OH           43137
30182366          AG Container Transport                  PO Box 268                                                                                                                  Lockbourne            OH           43147
30200811          AG CONTAINER TRANSPORT LLC              PAPPAS TRUCKING                      PO BOX 268                                                                             LOCKBOURNE            OH           43137




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  ADDRESS ID                           NAME                          ADDRESS 1                         ADDRESS 2                      ADDRESS 3                      ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY
30226271          Name on file                         Address on file
30224010          Agilence, Inc.                       309 Fellowship Rd                   Suite 200                                                                             Mt Laurel                NJ           08054
30200810          AGILENCE, INC.                       1020 BRIGGS ROAD, STE. 110                                                                                                MOUNT LAUREL             NJ           08054
30281712          Agilence, Inc.                       Diane Pinho ‐ Jibowu                309 Fellowship Rd             Suite 200                                               Mount Laurel             NJ           08054
30275181          Name on file                         Address on file
30222283          Name on file                         Address on file
30260231          Name on file                         Address on file
30275107          Name on file                         Address on file
30181790          Ahead Inc.                           Ymee Rayon Stewart                  444 W. Lake Street            Suite 3000                                              Chicago                  IL           60606
29905558          AHEAD INC.                           401 N. MICHIGAN AVE., #3400                                                                                               CHICAGO                  IL           60611
30277028          Name on file                         Address on file
30275303          Name on file                         Address on file
30284953          Name on file                         Address on file
30276147          Name on file                         Address on file
30331722          Name on file                         Address on file
30218681          Air Rite Service Supply              1290 W. 117th St                                                                                                          Lakewood                 OH           44107
30200768          AIRGAS INC                           DBA AIRGAS USA, LLC                 PO BOX 734445                                                                         CHICAGO                  IL           60673‐4445
30167121          Airgas USA LLC                       6055 Rockside Woods Blvd                                                                                                  Independence             OH           44131
30181600          Airtex Industries                    Federal Foam Technologies, Inc      Cathy Longtin                 600 Wisconsin Drive                                     New Richmond             WI           54017

29905634          AIRTEX INDUSTRIES INC                C/O FEDERAL FOAM TECHNOLOGIES INC   600 WISCONSIN DRIVE                                                                   NEW RICHMOND             WI           54017
30260245          Name on file                         Address on file
30200873          AKAMAI TECHNOLOGIES INC              PO BOX 26590                                                                                                              NEW YORK                 NY           10087
30222121          Name on file                         Address on file
30167885          AKG Squared LLC                      12357 Potomac Hunt Rd                                                                                                     North Potomac            MD           20878
30200849          AKG SQUARED LLC                      DBA DAMASK LOVE                     951 BRICKELL AVE #911                                                                 MIAMI                    FL           33131
30284507          Name on file                         Address on file
30259433          Name on file                         Address on file
30275161          Name on file                         Address on file
30286987          Name on file                         Address on file
29905684          AKRON CENTER ASSOCIATES LLC          C/O COLLIERS INTERNATIONAL          425 WALNUT STREET, STE 1200                                                           CINCINNATI               OH           45202
29905686          AKRON CHILDREN'S HOSPITAL            ONE PERKINS SQUARE                                                                                                        AKRON                    OH           44308
30278783          Akron‐Summit County Public Library   Attn: Business Office‐Cowgar        60 S High Street                                                                      Akron                    OH           44326
29952942          ALABAMA POWER                        600 18TH ST N                                                                                                             BIRMINGHAM               AL           35203
30353313          Alabama Power Company                c/o Jeremy L. Retherford            1901 Sixth Ave. N.            Suite 1500                                              Birmingham               AL           35203
30296162          Alabama Power Company                Balch & Bingham LLP                 c/o Jeremy L. Retherford      1901 Sixth Ave. N.             Suite 1500               Birmingham               AL           35203
30258113          Name on file                         Address on file
30256981          Name on file                         Address on file
30200599          ALANA DENNIS                         C/O FRAN MURPHY LAW                 ATTN: FRANCES MURPHY          27735 JEFFERSON AVE.                                    SAINT CLAIR              MI           48081
30262540          Name on file                         Address on file
29905753          ALASKA SELECT INN MOTEL, INC.        3451 PALMDALE DRIVE                                                                                                       WASILLA                  AK           99654
30285073          Name on file                         Address on file
30283493          Name on file                         Address on file
29905774          ALBANY POLICE DEPT                   CITY OF ALBANY                      2600 PACIFIC BLVD SW                                                                  ALBANY                   OR           97321
29905778          ALBEMARLE COUNTY SERVICE AUTHORITY   168 SPOTNAP RD                                                                                                            CHARLOTTESVILLE          VA           22911‐8690
30260308          Name on file                         Address on file
30256796          Name on file                         Address on file
30263617          Name on file                         Address on file
30221921          Name on file                         Address on file
29905793          ALBRECHT INC                         PO BOX 1714                                                                                                               AKRON                    OH           44309
29966761          Albrecht Incorporated                P.O. Box 1714                                                                                                             Akron                    OH           44309
30286232          Name on file                         Address on file
30262875          Name on file                         Address on file
30277314          Name on file                         Address on file
30275301          Name on file                         Address on file
30296110          Name on file                         Address on file
30258301          Name on file                         Address on file
30287324          Name on file                         Address on file
30292935          Name on file                         Address on file
30276467          Name on file                         Address on file
30277456          Name on file                         Address on file
29905868          ALETHEA HARAMPOLIS                   Address on file
29905946          ALEXANDER HENRY                      Address on file
30258871          Name on file                         Address on file




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30284393          Name on file                         Address on file
30275847          Name on file                         Address on file
30282780          Name on file                         Address on file
30263172          Name on file                         Address on file
30274422          Name on file                         Address on file
30261139          Name on file                         Address on file
29954681          ALEXIS CHAPMAN                       Address on file
30274043          Name on file                         Address on file
30285926          Name on file                         Address on file
29906375          ALICIA DE LA TORRE                   Address on file
29906531          ALL THE RAGES INC                    355 EISENHOWER PARKWAY, SUITE 101                                                                                                    LIVINGSTON               NJ           07039
30274285          Name on file                         Address on file
30257414          Name on file                         Address on file
30279754          Name on file                         Address on file
30273950          Name on file                         Address on file
30262887          Name on file                         Address on file
30261459          Name on file                         Address on file
30275203          Name on file                         Address on file
30276694          Name on file                         Address on file
30260235          Name on file                         Address on file
30263134          Name on file                         Address on file
30258311          Name on file                         Address on file
30261550          Name on file                         Address on file
30274489          Name on file                         Address on file
30283141          Name on file                         Address on file
30222728          Name on file                         Address on file
30296485          Name on file                         Address on file
30257893          Name on file                         Address on file
30280267          Name on file                         Address on file
30278454          Name on file                         Address on file
30293609          Name on file                         Address on file
30331455          Name on file                         Address on file
30200788          ALLIANCE SALES & MARKETING           UNIT 1205‐1208 12/F, TEXWOOD PLAZA                                                                                                   KWUN TONG, KOWLOON                                    HONG KONG
29954757          ALLIANT ENERGY/IPL                   4902 N. BILTMORE LANE                                                                                                                MADISON                  WI           53718
30200841          ALLIANT ENERGY/WPL                   4902 N. BILTMORE LANE                                                                                                                MADISON                  WI           53718
29906563          Allied Products Corporation          1420 Kansas Ave                                                                                                                      Kansas City              MO           64127
29906563          Allied Products Corporation          1420 Kansas Ave                                                                                                                      Kansas City              MO           64127
29906564          Allied Products Corporation          Springbok Puzzles                        1420 Kansas Avenue                                                                          Kansas City              MO           64127
29906564          Allied Products Corporation          Springbok Puzzles                        1420 Kansas Avenue                                                                          Kansas City              MO           64127
30297321          Allied Universal Security Services   Attn: Kadian Blanson                     1395 University Blvd.                                                                       Jupiter                  FL           33458
30262057          Name on file                         Address on file
29906577          ALLISON BLANK                        C/O THE LAW OFFICES OF JIBRAEL S.        ATTN: GERALD D. LANE JR., ESQ.    110 SE 6TH ST                     17TH FLOOR              FORT LAUDERDALE          FL           33301
29906614          ALLISON HOPKINS                      Address on file
29906620          ALLISON KATHLEEN FERDINAND           Address on file
30286099          Name on file                         Address on file
30297124          Name on file                         Address on file
30264033          Name on file                         Address on file
30259945          Name on file                         Address on file
30258480          Name on file                         Address on file
29906660          ALLYSON BRENNAN                      Address on file
29949437          ALLYSON DURK                         Address on file
                                                       Attn: David L. Bruck, Esq., Greenbaum,
30167312          Almaden Properties                   Rowe, Smith & Davis LLP                  99 Wood Avenue South, 4th Floor                                                             Iselin                   NJ           08830
30261444          Almaden Properties                   Antony Chrysostom                        100 Busch Street                  Suite 218                                                 San Francisco            CA           94104

30192594          Almaden Properties LLC               c/o Greenbaum Rowe Smith & Davis LLP     Attn: David L. Bruck, Esq.        99 Wood Avenue South, 4th Floor                           Iselin                   NJ           08830
30294270          Almaden Properties LLC               GRS&D LLP                                David L. Bruck, Esq.              99 Wood Avenue South              4th Floor               Iselin                   NJ           08830
29906692          ALMADEN PROPERTIES LLC               5353 ALMADEN EXPRESSWAY STE 49                                                                                                       SAN JOSE                 CA           95118
30222472          Name on file                         Address on file
30276511          Name on file                         Address on file
30218096          ALP Utilities                        316 Fillmore St                                                                                                                      alexandria               MN           56308
30200532          ALP Utilities                        316 Fillmore St                          PO Box 609                                                                                  Alexandria               MN           56308
30259815          ALP Utilities                        Jessica Knott                            316 Fillmore St.                                                                            Alexandria               MN           56308
29906707          ALP UTILITIES                        316 FILLMORE ST                                                                                                                      ALEXANDRIA               MN           56308




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29906709          ALPENA POWER COMPANY                    401 N NINTH AVENUE                                                                                                                  ALPENA                MI           49707
29906709          ALPENA POWER COMPANY                    401 N NINTH AVENUE                                                                                                                  ALPENA                MI           49707
30262452          Name on file                            Address on file
30293065          Name on file                            Address on file
30282039          Name on file                            Address on file
30279607          Name on file                            Address on file
29953003          ALTO CONYERS PLAZA LP                   PO BOX 841818                                                                                                                       BOSTON                MA           02284
30278486          ALTO Conyers Plaza, LP                  Holland & Knight LLP                      c/o Barbra Parlin                 787 7th Ave.                   31st Floor               New York              NY           10019
30292813          ALTO Conyers Plaza, LP                  c/o Barbra Parlin, Holland & Knight LLP   787 7th Ave.                      31st Floor                                              New York              NY           10019
29906713          ALTO SYSTEMS INC                        2867 SURVEYOR STREET                                                                                                                POMONA                CA           91768
30277050          Name on file                            Address on file
30273818          Name on file                            Address on file
30257535          Name on file                            Address on file
30273968          Name on file                            Address on file
30158570          ALVAREZ, SHARON                         Address on file
30290983          Name on file                            Address on file
29906735          ALWIN HELLER                            Address on file
29906893          AMACO‐AMERICAN ART CLAY CO              6060 GUION ROAD                                                                                                                     INDIANAPOLIS          IN           46254
30257249          Name on file                            Address on file
29906931          AMANDA CATERSON                         Address on file
29906984          AMANDA HAYES                            Address on file
29907000          AMANDA LEEANN BROWN                     Address on file
29951285          AMANDA PIKE                             Address on file
30218556          Name on file                            Address on file
30289670          Name on file                            Address on file
30285706          Name on file                            Address on file
30200719          AMAZON CAPITAL SERVICES                 AMAZON.COM LLC                            PO BOX 035184                                                                             SEATTLE               WA           98124‐5184
29907138          AMAZON WEB SERVICES INC                 PO BOX 84023                                                                                                                        SEATTLE               WA           98124‐8423
30285171          Name on file                            Address on file
30257871          Name on file                            Address on file
29907286          AMER REALTY CAP RET OP PTRSHIP LP       DACA‐ ARC NLLKLFL001 LLC                  P.O. BOX 74602                                                                            CLEVELAND             OH           44194
30181453          Ameren Illinois                         2105 E State Route 104                                                                                                              Pawnee                IL           62558
29907288          AMEREN ILLINOIS                         300 LIBERTY                                                                                                                         PEORIA                IL           61602
30229280          Ameren Missouri                         Attn: Bankruptcy Desk MC 310              PO Box 66881                                                                              St. Louis             MO           63166
29907290          AMEREN MISSOURI                         1901 CHOUTEAU AVENUE                                                                                                                ST. LOUIS             MO           63103
30291585          American & Efird LLC                    Attn: Chip Ford                           620 South Tryon Street            Suite 800                                               Charlotte             NC           28202
29907293          AMERICAN & EFIRD LLC                    PO BOX 507                                                                                                                          MOUNT HOLLY           NC           28120
30183254          American Art Clay Co., Inc.             6060 Guion Rd                                                                                                                       Indianapolis          IN           46254
30295049          American Crafts                         588 West 400 South                        Suite 300                                                                                 Lindon                UT           84042
30295130          American Crafts                         588 West 400 South Suite 300                                                                                                        Lindon                UT           84042
29907294          AMERICAN CRAFTS                         588 WEST 400 SOUTH SUITE 300                                                                                                        LINDON                UT           84042
29949440          AMERICAN CRAFTS LC                      588 WEST 400 SOUTH SUITE 300                                                                                                        NINGBO CITY                        315040          CHINA
29907295          AMERICAN ELECTRIC POWER/24002           1 RIVERSIDE PLAZA                                                                                                                   COLUMBUS              OH           43215
29907298          AMERICAN FAST FREIGHT INC               PO BOX 101833                                                                                                                       PASADENA              CA           91189‐1833
29907299          AMERICAN FINANCE OPER PARTNERSHIP L     ARG BHCLMSC001 LLC                        PO BOX 74703                                                                              CLEVELAND             OH           44194
30200770          AMERICAN FOOD & VENDING                 124 METROPOLITAN PARK DR.                                                                                                           LIVERPOOL             NY           13088
30338760          American Food and Vending Corporation   c/o Bond, Schoeneck & King, PLLC          Attn: Sara C. Temes, Esq.         One Lincoln Center                                      Syracuse              NY           13202
30297575          American Food and Vending Corporation   c/o Bond, Schoeneck & King, PLLC          Attn: Sara C. Temes, Esq.         One Lincoln Center                                      Syracuse              NY           13202
29907305          AMERICAN INDUSTRIES INC                 DBA HEDINGER GROUP                        5440 SW WESTGATE DR, #250                                                                 PORTLAND              OR           97221
30331646          American International Industries       2220 Gaspar Avenue                                                                                                                  Los Angeles           CA           90040
29907306          AMERICAN INTERNATIONAL INDUSTRIES       2220 GASPAR AVENUE                                                                                                                  LOS ANGELES           CA           90040
29907311          AMERICAN NEWS COMPANY LLC               DBA ANC                                   1955 LAKE PARK DRIVE, SUITE 400                                                           SMYRNA                GA           30080
29907312          AMERICAN OAK PRESERVING CO INC          PO BOX 187                                                                                                                          NORTH JUDSON          IN           46366
29907314          AMERICAN REALTY CAP RET OP PART LP      ARC CLORLFL001 LLC, ATTN: RTL ACCOU       38 WASHINGTON SQUARE                                                                      NEWPORT               RI           02840
29907315          AMERICAN REALTY CAPITAL RETAIL OPER     C/O DACA‐ ARC SMWMBFL001 LLC              P.O. BOX 74544                                                                            CLEVELAND             OH           44194
29907318          AMERICAN TOMBOW INC                     355 SATELLITE BLVD NE SUITE 300                                                                                                     SUWANEE               GA           30024
29907319          AMERICAN TOMBOW, INC                    355 SATELLITE BOULEVARD NE SUITE                                                                                                    SUWANEE               GA           30024
30256608          American Tombow, Inc.                   355 Satellite Blvd NE                     Suite 300                                                                                 Suwanee               GA           30024
29907320          AMERICAN TRAILER RENTAL GRP LLC         ADVANTAGE TRAILER RENTALS LLC             PO BOX 772320                                                                             DETROIT               MI           48277
30224506          American Water                          PO Box 2798                                                                                                                         Camden                NJ           08101
30207521          American Water                          PO Box 2798                                                                                                                         Camden                NJ           08101
30222365          American Water                          PO Box 2798                                                                                                                         Camden                NJ           08101
30273926          AMERICAS CART SERVICE                   3057 E. ROLAND STREET                                                                                                               MESA                  AZ           85213
29907321          AMERICAS CART SERVICE                   ACCOUNTING‐ PENNY HRTANEK                 3057 E. ROLAND STREET                                                                     MESA                  AZ           85213




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  ADDRESS ID                           NAME                            ADDRESS 1                     ADDRESS 2                      ADDRESS 3                       ADDRESS 4                    CITY        STATE     POSTAL CODE      COUNTRY
29907326          AMES MUNICIPAL UTILITIES               CUSTOMER SERVICES ‐ UTILITIES    AMES CITY HALL                515 CLARK AVE.                                          AMES                    IA           50010
30274657          Name on file                           Address on file
29907350          AMIGO MOBILITY CENTER                  PO BOX 74470                                                                                                           CLEVELAND               OH           44194‐0570
30280199          Amigo Mobility International, Inc      6693 Dixie Hwy                                                                                                         Bridgeport              MI           48722
30297393          Name on file                           Address on file
30280567          Name on file                           Address on file
29907368          AMSOURCE DRAPER LUMBER YARD LLC        358 S RIO GRANDE STE 200                                                                                               SALT LAKE CITY          UT           84101
30289366          Amsource Draper Lumber Yard, LLC       c/o Ray Quinney & Nebeker P.C.   Attn: James A. Sorenson       36 S. State Street             Suite 1400               Salt Lake City          UT           84111
30200761          AMSOURCE SPANISH FORK LLC              358 RIO GRANDE, SUITE 200                                                                                              SALT LAKE CITY          UT           84101
30289302          Amsource Spanish Fork, LLC             c/o Ray Quinney & Nebeker P.C.   Attn: James Sorenson          36 S. State Street             Ste 1400                 Salt Lake City          UT           84111
30277629          Name on file                           Address on file
30262853          Name on file                           Address on file
29907502          AMY SCHMACKLE                          Address on file
29907548          AMY WITT                               Address on file
30200625          Anaias, Barbara                        Address on file
30286902          Name on file                           Address on file
30286835          Name on file                           Address on file
30257503          Name on file                           Address on file
30200854          ANCHOR SIGN INC                        PO BOX 22737                                                                                                           CHARLESTON              SC           29413
30277988          Anchor Sign, Inc.                      Stanley H. McGuffin, Esq.        Haynsworth Sinkler Boyd, PA   PO Box 11889                                            Columbia                SC           29211
30277992          Anchor Sign, Inc.                      Stanley H. McGuffin, Esq.        Haynsworth Sinkler Boyd, PA   PO Box 11889                                            Columbia                SC           29211

29907671          ANCHORAGE WATER & WASTEWATER UTILITY   3000 ARCTIC BOULEVARD                                                                                                  ANCHORAGE               AK           99503‐3813
30276738          Name on file                           Address on file
30222946          Name on file                           Address on file
29954064          ANDERSON OXFORD INC                    DBA THINKLP                      219 LABRADOR DR., UNIT 100                                                            WATERLOO                ON           N2K 4M8         CANADA
30223339          Name on file                           Address on file
30282952          Name on file                           Address on file
30332989          Name on file                           Address on file
30333002          Name on file                           Address on file
30263038          Name on file                           Address on file
30277165          Name on file                           Address on file
30224270          Name on file                           Address on file
30331763          Name on file                           Address on file
30262893          Name on file                           Address on file
30258009          Name on file                           Address on file
30277178          Name on file                           Address on file
30287701          Name on file                           Address on file
30259805          Name on file                           Address on file
30274390          Name on file                           Address on file
30258680          Name on file                           Address on file
30260901          Name on file                           Address on file
30262583          Name on file                           Address on file
30274513          Name on file                           Address on file
30279035          Name on file                           Address on file
30261560          Name on file                           Address on file
30279148          Name on file                           Address on file
30275295          Name on file                           Address on file
30331998          Name on file                           Address on file
30296792          Name on file                           Address on file
30262881          Name on file                           Address on file
30274909          Name on file                           Address on file
30275079          Name on file                           Address on file
30274754          Name on file                           Address on file
30285433          Name on file                           Address on file
30292434          Name on file                           Address on file
30258577          Name on file                           Address on file
30263538          Name on file                           Address on file
30285597          Name on file                           Address on file
30288765          Name on file                           Address on file
30285698          Name on file                           Address on file
30285611          Name on file                           Address on file
29908022          ANGELES RAMIREZ                        Address on file
30259771          Name on file                           Address on file




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  ADDRESS ID                           NAME                                      ADDRESS 1                          ADDRESS 2                     ADDRESS 3                      ADDRESS 4                         CITY        STATE     POSTAL CODE       COUNTRY
30282793          Name on file                                    Address on file
30261268          Name on file                                    Address on file
30225014          Name on file                                    Address on file
30200605          ANITA VANGUNDY                                  Address on file
29949442          ANKER PLAY PRODUCTS LLC                         NO. 1498 JIANGNAN ROAD                130                                                                                  NINGBO                                    315040          CHINA
30289204          Name on file                                    Address on file
30200597          ANNA BELLON                                     C/O PRINGLE & HERIGSTAD, P.C.         ATTN: JIM NOSTDAHL           2525 ELKS DRIVE                PO BOX 1000              MINOT                        ND           58702‐1000
29908351          ANNA PETRILLO                                   Address on file
29908414          ANNAMARIE TORRES                                Address on file
30261694          Name on file                                    Address on file
30281695          Name on file                                    Address on file
30289739          Name on file                                    Address on file
30296325          Name on file                                    Address on file
30262065          Name on file                                    Address on file
29955223          ANTHONY JACKSON                                 Address on file
29908577          ANTHONY SAMMUT                                  Address on file
30263487          Name on file                                    Address on file
30258085          Name on file                                    Address on file
29908613          ANTOINETTE SAM                                  Address on file
29908614          ANTOINETTE SAM                                  Address on file
30282791          Name on file                                    Address on file
29953656          ANTONIA MARTINEZ                                Address on file
30279077          Name on file                                    Address on file
29953660          ANTONIO B POMERLEAU LLC                         PO BOX 6                                                                                                                   BURLINGTON                   VT           05401
30280806          ANTONIO B. POMERLEAU, LLC                       C/O POMERLEAU REAL ESTATE             69 COLLEGE STREET                                                                    BURLINGTON                   VT           05401
30286239          Name on file                                    Address on file
30292465          Name on file                                    Address on file
30276722          Name on file                                    Address on file
30257527          Name on file                                    Address on file
29908653          AODK INC                                        14394 DETROIT AVE.                                                                                                         LAKEWOOD                     OH           44107
30165954          Apex Logistics International Inc                145‐68 228th Street                   Unit #3‐4                                                                            Springfield Gardens          NY           11413
29908662          APEX LOGISTICS INTL (NY) INC                    145‐68 228TH ST., UNIT 3‐4                                                                                                 JAMAICA                      NY           11413
29908663          APOTHECARY PRODUCTS                             11750 12TH AVENUE S                                                                                                        BURNSVILLE                   MN           55337
30257957          Apothecary Products LLC                         11750 12th Ave S                                                                                                           Burnsville                   MN           55337
29908664          APPALACHIAN POWER                               1 RIVERSIDE PLAZA                                                                                                          COLUMBUS                     OH           43215
                  Appalachian Power Company d/b/a American
30275867          Electric Power                                  Attn: Jason Reid                      1 Riverside Plaza            13th Floor                                              Columbus                     OH           43215
30251356          Name on file                                    Address on file
30258163          Name on file                                    Address on file
29908690          APRIL L. SPEIGHTS                               Address on file
29955252          APRIL SPEIGHTS                                  Address on file
29955264          APS                                             ARIZONA CENTER                        400 N 5TH ST                                                                         PHOENIX                      AZ           85004
29955265          APSC LLC                                        C/O THE SHOPPING CTR GROUP LLC        300 GALLERIA PKWY, 12TH FL                                                           ATLANTA                      GA           30339

30200698          APSC LLC as Successor to Annapolis Plaza, LLC   c/o Womble, Bond, Dickinson LLP       Attn: Chukwukpee Nzegwu      100 Light Street               26th Floor               Baltimore                    MD           21202

30200698          APSC LLC as Successor to Annapolis Plaza, LLC   c/o Womble, Bond, Dickinson LLP       Attn: Chukwukpee Nzegwu      100 Light Street               26th Floor               Baltimore                    MD           21202
29955268          AQUA IL                                         2635 DRALLE RD                                                                                                             UNIVERSITY PARK              IL           60484
29955270          AQUA OH                                         870 3RD ST NW                                                                                                              MASSILLON                    OH           44647
29908715          AQUA PENNSYLVANIA/70279                         2 JANSEN AVE                                                                                                               ESSINGTON                    PA           19029
30296340          Name on file                                    Address on file
30261434          Name on file                                    Address on file
30287786          Name on file                                    Address on file
30274581          Name on file                                    Address on file
30200857          ARBON EQUIPMENT CORP                            25464 NETWORK PLACE                                                                                                        CHICAGO                      IL           60673‐1254
29908744          ARBOR SQUARE LLC                                C/O CASTO                             PO BOX 1450                                                                          COLUMBUS                     OH           43216
29908752          ARCADIA FIESTA LP                               PO BOX 849203                                                                                                              LOS ANGELES                  CA           90084‐9203
                                                                  Francine Petrosino, Executive Legal
30331140          Arch Insurance Company                          Assistant                             210 Hudson Streeet           Suite 600                                               Jersey City                  NJ           07311
30259755          Name on file                                    Address on file
30260264          Name on file                                    Address on file
30275406          Name on file                                    Address on file
30294675          Name on file                                    Address on file
29908759          ARD MACARTHUR LLC                               310 YORKTOWN PLAZA                                                                                                         ELKINS PARK                  PA           19027




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29972454          ARD Macarthur LLC                                 c/o Sirlin Lesser & Benson, P.C.           Attn: Dana S. Plon, Esq              123 South Broad Street, Suite 2100                            Philadelphia                         PA           19109
30275333          Name on file                                      Address on file
30257989          Name on file                                      Address on file
30291689          Name on file                                      Address on file
30285894          Name on file                                      Address on file
29955285          AR‐GL & ERIE LLC                                  11155 RED RUN BLVD #320                                                                                                                       OWINGS MILLS                         MD           21117

29955287          ARGO IDAHO FALLS LLC                              C/O ARGONAUT INVESTMENTS LLC               101 LARKSPUR LANDING CIR, #120                                                                     LARKSPUR                             CA           94939
30331489          Argo Idaho Falls, LLC                             101 Larkspur Landing Circle                Suite 120                                                                                          Larkspur                             CA           94939
                  Argo Partners as Transferee of Natraj Home
30292822          Furnishings Pvt Ltd                               Attn: Matthew Binstock                     12 West 37th Street                  Ste 900                                                       New York                             NY           10018

30252439          Argo Partners as Transferee of Skullduggery, Inc. Attn: Matthew Binstock                     12 West 37th Street, Ste 900                                                                       New York                             NY           10018
29955289          ARGO TIETON LLC                                   C/O ARGONAUT INVEST., LLC                  101 LARKSPUR LANDING CIR #120                                                                      LARKSPUR                             CA           94939
30331535          Argo Tieton, LLC                                  101 Larkspur Landing Circle                Suite 120                                                                                          Larkspur                             CA           94939
29908784          Aria Investments LLC                              1330 J Lee Circle                                                                                                                             Glendale                             CA           91208
29908784          Aria Investments LLC                              1330 J Lee Circle                                                                                                                             Glendale                             CA           91208
                                                                    Office of the Arizona Attorney General ‐   c/o Tax, Bankruptcy and Collection
30159800          Arizona Department of Revenue                     BCE                                        Sct                                  2005 N Central Ave, Suite 100                                 Phoenix                              AZ           85004
30192509          Arizona Public Service                            2043 W Cheryl Dr Bldg M ‐ M/S 3209                                                                                                            Phoenix                              AZ           85021
30192756          Arizona Public Service                            2043 W Cheryl Dr Bldg M ‐ M/S 3209                                                                                                            Phoenix                              AZ           85021
30192528          Arizona Public Service                            2043 W Cheryl Dr Bldg M ‐ M/S 3209                                                                                                            Phoenix                              AZ           85021
30192751          Arizona Public Service                            2043 W Cheryl Dr Bldg M ‐ M/S 3209                                                                                                            Phoenix                              AZ           85021
30192538          Arizona Public Service                            2043 W Cheryl Dr Bldg M ‐ M/S 3209                                                                                                            Phoenix                              AZ           85021
30192481          Arizona Public Service                            2043 W Cheryl Dr Bldg M ‐M/S 3209                                                                                                             Phoenix                              AZ           85021
29908913          ARKANSAS OKLAHOMA GAS CORP (AOG)                  5030 S S ST                                                                                                                                   FORT SMITH                           AR           72903
29975821          ARL Inc                                           Jeff Goldenberg                            372 South Main St. Suite E                                                                         Alpine                               UT           84004
30297009          ARL Inc                                           Jeff Goldenberg                            372 South Main St.                   Suite E                                                       Alpine                               UT           84004
30278983          Name on file                                      Address on file
30284212          ARLINGTON CONSTRUCTION INC                        519 E 11TH AVE                                                                                                                                COLUMBUS                             OH           43211
30262242          Name on file                                      Address on file
30258773          Name on file                                      Address on file
30253186          Name on file                                      Address on file
30291004          Name on file                                      Address on file
30274795          Name on file                                      Address on file
30289681          Name on file                                      Address on file
30262436          Name on file                                      Address on file
30255548          Name on file                                      Address on file
30273811          Name on file                                      Address on file
30262643          Name on file                                      Address on file
30257018          Name on file                                      Address on file
30289263          Name on file                                      Address on file
                                                                                                               HUNG DAO‐ DUONG KINH‐ HAI
29908943          AROMA BAY CANDLES CO                              TIEU TRA/ RESIDENT GROUP 6                 PHONG                                                                                              HAIPHONG                                          18000           VIETNAM
                                                                                                               Tieu Tra, Hungdao Ward, Duong
30281409          Aroma Bay Candles Co Ltd                          Ma Zhen Zhen                               Kinh                                                                                               Haiphong                                          180000          Vietnam
30283658          Name on file                                      Address on file
30293317          Name on file                                      Address on file
30260765          Name on file                                      Address on file
29908953          ARROW COMPANIES LLC                               PO BOX 410                                                                                                                                    ELKHORN                              WI           53121
30208087          Arrow Companies, LLC                              PO Box 410                                                                                                                                    Elkhorn                              WI           53121
29908955          ARSENAL PLAZA ASSOCIATES LLC                      C/O NIGRO COMPANIES                        20 CORPORATE WOODS BLVD                                                                            ALBANY                               NY           12211
30258346          Arsenal Plaza Associates, LLC                     c/o Lippes Mathias LLP                     Attn: Joann Sternheimer, Esq.        54 State St.                         Suite 1001               Albany                               NY           12207
30260535          Name on file                                      Address on file
29908957          ART AND HOBBY LLC                                 7900 EXCELSIOR BLVD, SUITE #210                                                                                                               HOPKINS                              MN           55343
30206628          Artex Apparels                                    Plot No. 50, GIDC                          Apparel Park                         Khokhra                                                       Ahmedabad, GU                                     380008          India
29908967          ARTEX APPARELS                                    PLOT NO 50, SEZ APPAREL PARK GIDC          KHOKHRA, AHMEDABAD                                                                                 GUJARAT                                           380008          INDIA
29908969          ARTEZA ART SUPPLIES                               22301 KETTLE CREEK WAY                                                                                                                        BOCA RATON                           FL           33428
29908970          ARTEZA ART SUPPLY                                 PMB1134                                    25 SE 2ND AVE STE 550                                                                              MIAMI                                FL           33131
30274511          Name on file                                      Address on file
29908979          ARTMATE CO LTD                                    50 ZHONGHUA ROAD                                                                                                                              NANJING                                           210000          CHINA
30164944          Artmate Co., Ltd                                  16th Floor                                 50 Zhonghua Road                                                                                   Nanjing City, Jiangsu Province, CN                                China
30285694          Name on file                                      Address on file




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30291015          Name on file                            Address on file
30262985          Name on file                            Address on file
30257281          Name on file                            Address on file
30257985          Name on file                            Address on file
30288788          Name on file                            Address on file
30331417          Name on file                            Address on file
30274791          Name on file                            Address on file
30261085          Name on file                            Address on file
29909106          ASHLEY GREGORY                          Address on file
29955378          ASHLEY REAL ESTATE LLC                  ATT: IVONNE AGUILERA‐SUAREZ              1670 EAST 8TH AVE.                                                          TAMPA                     FL           33605
30200659          ASHLYN HERRON                           Address on file
29909291          ASHTON FALCONER                         Address on file
30257115          Name on file                            Address on file
30289255          Name on file                            Address on file
30289703          ASL Investments LLC                     c/o Charles Dunn Company                 Attn: Ms. Grace Kong            800 W. 6th St., #600                        Los Angeles               CA           90017
29955409          ASL INVESTMENTS LLC                     C/O CHARLES DUNN RES INC                 800 W. 6TH ST., SUITE 600                                                   LOS ANGELES               CA           90017
30193141          Asotin County Public Utility District   PO Box 605                                                                                                           Clarkston                 WA           99403
29909308          ASOTIN COUNTY PUD #1                    1500 SCENIC WAY                                                                                                      CLARKSTON                 WA           99403
30273588          Name on file                            Address on file
30331843          Name on file                            Address on file
30258735          Name on file                            Address on file
30275030          Name on file                            Address on file
29955423          ASSOCIATION OF WASHINGTON BUSINESS      PO BOX 658                                                                                                           OLYMPIA                   WA           98507
29955425          ASTAGE GLOBAL INC.                      JEJ ASTAGE CO., LTD., YAHIKO FACTOR      635‐2 ODO                       YAHIKO‐MURA                                 NISHIKANBARA‐GUN                       9590308         JAPAN
30192445          Astage Global Inc.                      Keiko Maeda                              1350 Broadway                   Suite 1510                                  New York                  NY           10018
30227088          Name on file                            Address on file
30276736          Name on file                            Address on file
30183256          Ates, Jennifer                          Address on file
29909348          ATHENS CENTER LLC                       1220 DUBLIN ROAD                                                                                                     COLUMBUS                  OH           43215
30261656          Athens Center, LLC                      1220 Dublin Road                                                                                                     Columbus                  OH           43215
30289202          Name on file                            Address on file
30278664          Name on file                            Address on file
30331657          Name on file                            Address on file
30332728          Name on file                            Address on file
30284901          Name on file                            Address on file
30256748          Name on file                            Address on file
29909357          ATLANTIC CITY ELECTRIC                  500 N. WAKEFIELD DR.                                                                                                 NEWARK                    DE           19702
30192555          Atlantic City Electric Company          Bankruptcy Division                      5 Collins Drive                 Suite 2133 / Mail Stop 84CP42               Carneys Point             NJ           08069
30165091          Atlantis Toy and Hobby Inc.             435 Brook Avenue Unit 16                                                                                             Deer Park                 NY           11729
29909363          ATLANTIS TOY AND HOBBY INC.             435 BROOK AVENUE UNIT 16                                                                                             DEER PARK                 NY           11729

30260617          Atmos Energy Corporation                P.O. Box 650205 Attn: Bankruptcy Group                                                                               Dallas                    TX           75265
29909366          ATMOS ENERGY/630872/740353              1800 THREE LINCOLN CENTRE                5430 LBJ FREEWAY                                                            DALLAS                    TX           75240
30291908          Name on file                            Address on file
30200743          ATWORK FRANCHISE INC                    PO BOX 202992                                                                                                        DALLAS                    TX           75320‐2992
30284048          AtWork Franchise Inc.                   270 Somerset Drive                                                                                                   Hinckley                  OH           44233
30263148          Name on file                            Address on file
30288770          Name on file                            Address on file
30287272          Name on file                            Address on file
29909450          AUGUSTA UTILITIES DEPARTMENT            452 WALKER STREET                                                                                                    AUGUSTA                   GA           30901
30278894          Name on file                            Address on file
30278882          Name on file                            Address on file
30263524          Name on file                            Address on file
30293639          Name on file                            Address on file
30286267          Name on file                            Address on file
29909465          AURIENT INTERNATIONAL CORP              8F 106 CHANG AN WEST ROAD                                                                                            TAIPEI                                 10351           TAIWAN
                                                                                                   8F‐3, 106 Chang An West Road.
30164398          Aurient International Corp.             Shun Ching Wu ‐ President                R.O.C.                                                                      Taipei, Taiwan                         10351           Taiwan
30223596          Name on file                            Address on file
30259890          Name on file                            Address on file
30261542          Name on file                            Address on file
29909534          AUTHENTIC BRANDS GROUP LLC              ABG INTERMEDIATE HOLDINGS 2 LLC          1411 BROADWAY, 21ST FLOOR                                                   NEW YORK                  NY           10018
30200818          AUTOMATED LOGIC CORPORATION             ECOENERGY                                1150 ROBERTS BLVD                                                           KENNESAW                  GA           30144
29909539          AUTOMATIC FIRE PROTECTION               SYSTEMS INC                              326 JACKSON ST                                                              FREMONT                   OH           43420




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  ADDRESS ID                           NAME                             ADDRESS 1                            ADDRESS 2                          ADDRESS 3               ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30261049          Name on file                          Address on file
29909604          AVANTI INC                            PO BOX 9440                                                                                                                 FRESNO                 CA           93792
29909648          AVEST LTD PARTNERSHIP                 PO BOX 140075                                                                                                               BOISE                  ID           83714
30283047          Name on file                          Address on file
30286230          Name on file                          Address on file
30296786          Name on file                          Address on file
29909659          AVISTA UTILITIES                      1411 E MISSION AVE                                                                                                          SPOKANE                WA           99252
30285137          Name on file                          Address on file
29952913          AVR CPC ASSOCIATES LLC                PO BOX 8000‐024                                                                                                             BUFFALO                NY           14267

30292317          AVR CPC Associates, LLC               c/o Law Offices of Kenneth L. Baum LLC   201 W. Passaic Street, Suite 104                                                   Rochelle Park          NJ           07662
29952920          AW BILLING SERVICE LLC                4431 NORTH DIXIE HIGHWAY                                                                                                    BOCA RATON             FL           33431
30294254          Awad‐Letteri, Barbara                 Address on file
29952921          AWARDCO INC                           2080 W 400 N                                                                                                                LINDON                 UT           84042
30256798          Name on file                          Address on file
30257702          Name on file                          Address on file
30263124          Name on file                          Address on file
30262194          Name on file                          Address on file
30286811          Name on file                          Address on file
30274116          Name on file                          Address on file
30260927          Name on file                          Address on file
30260605          Name on file                          Address on file
30256654          Name on file                          Address on file
29909709          AZUSA LIGHT & WATER DEPARTMENT        729 N AZUSA AVE                                                                                                             AZUSA                  CA           91702

30331059          B&B South Plaza Holding, LLC          Bailey Cavalieri LLC                     c/o Robert B. Berner               409 E. Monument Avenue, Suite 103               Dayton                 OH           45402

29909712          B&B SOUTH PLAZA HOLDINGS LLC          SOUTH PLAZA C/O BRUCE STRUMPF INC        2120 DREW STREET                                                                   CLEARWATER             FL           33765
29954451          B33 MILFORD JV LLC                    B33 MILFORD CROSSING LLC                 PO BOX 6304                                                                        HICKSVILLE             NY           11802‐6304
29954452          B33 RE PARTNERS INVESTMENTS II LLC    B33 GREAT NORTHERN II LLC                9330 W. SAHARA AVE., #270                                                          LAS VEGAS              NV           89117
29954453          B33 RE PARTNERS INVESTMENTS III LLC   B33 BANDERA POINTE III LLC               PO BOX 6304                                                                        HICKSVILLE             NY           11802‐6304
29909717          BA TWO REIT LLC                       POOL 2 INDUSTRIAL OH LLC C/O EQT EX      100 MATSONFORD RD., #250                                                           RADNOR                 PA           19087
30258129          Name on file                          Address on file
30291270          Name on file                          Address on file
30275081          Name on file                          Address on file
30288697          Name on file                          Address on file
30224054          Name on file                          Address on file
30293924          Name on file                          Address on file
29909719          BACE, INC.                            322 W. 32ND STREET                                                                                                          CHARLOTTE              NC           28206
30262428          Name on file                          Address on file
30279509          Name on file                          Address on file
30263256          Name on file                          Address on file
30280579          Name on file                          Address on file
30257131          Name on file                          Address on file
30287486          Name on file                          Address on file
30285936          Name on file                          Address on file
30258396          Name on file                          Address on file
30285487          Name on file                          Address on file
30275966          Name on file                          Address on file
29976214          Badgley Mischka LLC                   Attn: Charles Greer                      15342 Graham St.                                                                   Huntington Beach       CA           92649
29909721          BADGLEY MISCHKA LLC                   15642 GRAHAM STREET                                                                                                         HUNTINGTON BEACH       CA           92649
30283879          Name on file                          Address on file
30232651          Name on file                          Address on file
30292640          Name on file                          Address on file
30224289          Name on file                          Address on file
30274350          Name on file                          Address on file
30274298          Name on file                          Address on file
30274279          Name on file                          Address on file
30279498          Name on file                          Address on file
30291947          Name on file                          Address on file
30258241          Name on file                          Address on file
30218631          Name on file                          Address on file
30261442          Name on file                          Address on file
30276793          Name on file                          Address on file




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  ADDRESS ID                           NAME                 ADDRESS 1                        ADDRESS 2                  ADDRESS 3          ADDRESS 4                   CITY        STATE     POSTAL CODE           COUNTRY
30274679          Name on file                Address on file
30259461          Name on file                Address on file
30277924          Name on file                Address on file
30274852          Name on file                Address on file
30274846          Name on file                Address on file
30282944          Name on file                Address on file
30258017          Name on file                Address on file
30276996          Name on file                Address on file
30297708          Baker Temple Greensboro     C/O Baker Commercial Properties   1400 Pickens St.            5th Floor                                  Columbia               SC           29201
30286522          Name on file                Address on file
30284359          Name on file                Address on file
30259417          Name on file                Address on file
30200596          Baker, Beverly              Address on file
30200596          Baker, Beverly              Address on file
30273840          Name on file                Address on file
30263218          Name on file                Address on file
30331948          Name on file                Address on file
30261320          Name on file                Address on file
30287182          Name on file                Address on file
30224050          Name on file                Address on file
30293795          Name on file                Address on file
30260035          Name on file                Address on file
30278752          Name on file                Address on file
30275916          Name on file                Address on file
30293826          Name on file                Address on file
30282083          Name on file                Address on file
30261339          Name on file                Address on file
30258977          Name on file                Address on file
30222604          Name on file                Address on file
30287431          Name on file                Address on file
30262512          Name on file                Address on file
30286325          Name on file                Address on file
30258670          Name on file                Address on file
29916971          BALL, DENISE                Address on file
30296204          Name on file                Address on file
30260715          Name on file                Address on file
30275213          Name on file                Address on file
30287562          Name on file                Address on file
30226885          Name on file                Address on file
30280980          Name on file                Address on file
30262929          Name on file                Address on file
30276181          Name on file                Address on file
30256776          Name on file                Address on file
30279164          Name on file                Address on file
30276986          Name on file                Address on file
29909783          BANARAS BEADS LIMITED       A‐1 INDUSTRIAL ESTATE             VARANAS                                                                UTTAR PRADESH                       221106          INDIA
30164663          Banaras Beads Limited       Siddharth Gupta                   A‐1, Industrial Estate                                                 Varanasi, UP                        22110           India
30259725          Name on file                Address on file
30261014          Banda, Lidia                Address on file
30263176          Banda, Lidia                Address on file
30221938          Name on file                Address on file
29909786          BANGOR GAS, ME              498 MAINE AVENUE                                                                                         BANGOR                 ME           04401
29909788          BANGOR WATER DISTRICT       614 STATE STREET                                                                                         BANGOR                 ME           04401‐1129
29909788          BANGOR WATER DISTRICT       614 STATE STREET                                                                                         BANGOR                 ME           04401‐1129
30274174          Name on file                Address on file
30275398          Name on file                Address on file
30296596          Name on file                Address on file
30256594          Name on file                Address on file
30256642          Name on file                Address on file
30294728          Name on file                Address on file
30287695          Name on file                Address on file
30260911          Name on file                Address on file
29909795          BARBARA A. GILL             Address on file
30200603          BARBARA BENNETT             C/O PHILIP DEBERARD               P.O. BOX 3326                                                          STUART                 FL           34995




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  ADDRESS ID                           NAME                    ADDRESS 1            ADDRESS 2                 ADDRESS 3          ADDRESS 4              CITY        STATE     POSTAL CODE   COUNTRY
29909807          BARBARA CANDITO                  Address on file
30285990          Name on file                     Address on file
30225331          Name on file                     Address on file
30261159          Name on file                     Address on file
30223944          Name on file                     Address on file
30223944          Name on file                     Address on file
30295553          Name on file                     Address on file
30282916          Name on file                     Address on file
30224855          Name on file                     Address on file
30275117          Name on file                     Address on file
30260727          Name on file                     Address on file
30280281          Name on file                     Address on file
30287298          Name on file                     Address on file
30276716          Name on file                     Address on file
30274519          Name on file                     Address on file
30286144          Name on file                     Address on file
30275051          Name on file                     Address on file
30280959          Name on file                     Address on file
30258275          Name on file                     Address on file
30257147          Name on file                     Address on file
30275143          Name on file                     Address on file
30285357          Name on file                     Address on file
30277788          Name on file                     Address on file
30260893          Name on file                     Address on file
30286329          Name on file                     Address on file
30221862          Name on file                     Address on file
30221862          Name on file                     Address on file
30285886          Name on file                     Address on file
30274102          Name on file                     Address on file
30282658          Name on file                     Address on file
30224539          Barren River Plaza Project LLC   372 N L Rogers Wells Blvd                                                                 Glasgow           KY           42141
29909912          BARREN RIVER PLAZA PROJECT LLC   372 NORTH L ROGERS WELLS BLVD.                                                            GLASGOW           KY           42141
30258177          Name on file                     Address on file
30279056          Name on file                     Address on file
30263325          Name on file                     Address on file
30295510          Name on file                     Address on file
30287645          Name on file                     Address on file
30263190          Name on file                     Address on file
30284713          Name on file                     Address on file
30279168          Name on file                     Address on file
30279911          Name on file                     Address on file
30331045          Name on file                     Address on file
30274463          Name on file                     Address on file
30257662          Name on file                     Address on file
30260791          Name on file                     Address on file
30278856          Name on file                     Address on file
30276457          Name on file                     Address on file
30395674          Name on file                     Address on file
30251301          Name on file                     Address on file
30285151          Name on file                     Address on file
30260836          Name on file                     Address on file
30277323          Name on file                     Address on file
30262663          Name on file                     Address on file
30274681          Name on file                     Address on file
30288920          Name on file                     Address on file
30257432          Name on file                     Address on file
30291011          Name on file                     Address on file
30274933          Name on file                     Address on file
30285319          Name on file                     Address on file
30276067          Name on file                     Address on file
30276065          Name on file                     Address on file
30281915          Name on file                     Address on file
30224066          Name on file                     Address on file
30257660          Name on file                     Address on file




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  ADDRESS ID                           NAME                    ADDRESS 1                          ADDRESS 2                    ADDRESS 3          ADDRESS 4                      CITY        STATE     POSTAL CODE       COUNTRY
30200589          BATES METAL PRODUCTS INC         PO BOX 68                                                                                                  PORT WASHINGTON           OH           43837‐0068
30278510          Name on file                     Address on file
30274287          Name on file                     Address on file
30287688          Name on file                     Address on file
30293535          Name on file                     Address on file
30285265          Name on file                     Address on file
30331765          Name on file                     Address on file
30258097          Name on file                     Address on file
30274882          Name on file                     Address on file
30221917          Name on file                     Address on file
30278758          Name on file                     Address on file
30259274          Name on file                     Address on file
30256836          Name on file                     Address on file
30296378          Name on file                     Address on file
30259608          Name on file                     Address on file
30260251          Name on file                     Address on file
30278628          Name on file                     Address on file
30283149          Name on file                     Address on file
30259507          Name on file                     Address on file
30293297          Name on file                     Address on file
30224593          Name on file                     Address on file
30254481          Name on file                     Address on file
29909948          BAYFIELD COMPANY LLC             PO BOX 1916                                                                                                EL GRANADA                CA           94018
30263483          Bayfield Company LLC             Kjell Kenji Gjovig                 PO Box 1916                                                             El Granada                CA           94018
30289362          Name on file                     Address on file
30277805          Name on file                     Address on file
30274249          Name on file                     Address on file
30285341          Name on file                     Address on file
30285327          Name on file                     Address on file
30182743          Bayshore Village (US), Inc.      c/o Stark & Stark                  Attn: J. Lemkin              PO Box 5315                                Princeton                 NJ           08543
29953555          BAYSHORE VILLAGE US INC          7575 DR. PHILLIPS BLVD. #390                                                                               ORLANDO                   FL           32819
29949454          BAZA SEEDS BV                    FLUORIETWEG 39                                                                                             ALKMAAR                                1812 RR         NETHERLANDS
29972691          Bazaarvoice, Inc.                10901 Stonelake Blvd                                                                                       Austin                    TX           78759
29953559          BBPTFC LLC                       C/O ARCADIA MGMT GROUP             PO BOX 10                                                               SCOTTSDALE                AZ           85252
29953560          BCS HOPPER LLC                   P.O. BOX 1628                                                                                              ROGERS                    AR           72757
30224325          Name on file                     Address on file
30290080          Name on file                     Address on file
30279178          Name on file                     Address on file
30223425          Name on file                     Address on file
29909974          BEACON HILL STAFFING GROUP LLC   PO BOX 846193                                                                                              BOSTON                    MA           02284‐6193
29909975          BEADALON                         440 HIGHLANDS BLVD                                                                                         COATESVILLE               PA           19320
30288298          BEADSMITH                        37 Hayward Avenue                                                                                          Carteret                  NJ           07008
30288176          Beadsmith                        37 Hayward Avenue                                                                                          Carteret                  NJ           07008
29909976          BEADSMITH                        37 HAYWARD AVENUE                                                                                          CARTERET                  NJ           07008
29909976          BEADSMITH                        37 HAYWARD AVENUE                                                                                          CARTERET                  NJ           07008
30282357          Name on file                     Address on file
30287624          Name on file                     Address on file
30331744          Name on file                     Address on file
30284739          Name on file                     Address on file
30259175          Bear Creek Township Sewer        373 North Division Road                                                                                    Petoskey                  MI           49770
29955608          BEAR CREEK TOWNSHIP SEWER ACCT   373 DIVISION ROAD                                                                                          PETOSKEY                  MI           49770
29955609          BEAR POINTE VENTURES LLC         C/O NAI MID‐MICHIGAN PROP. MGMT.   2149 JOLLY ROAD, SUITE 200                                              OKEMOS                    MI           48864
30291666          Name on file                     Address on file
29955612          BEARRR LLC                       41‐17 CRESCENT ST., APT 7N                                                                                 LONG ISLAND CITY          NY           11101
30258422          Name on file                     Address on file
30277193          Name on file                     Address on file
30258967          Name on file                     Address on file
30285063          Name on file                     Address on file
30288554          Name on file                     Address on file
30222064          Name on file                     Address on file
30262464          Name on file                     Address on file
30293525          Name on file                     Address on file
30285417          Name on file                     Address on file
30290515          Name on file                     Address on file




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  ADDRESS ID                           NAME               ADDRESS 1                  ADDRESS 2                       ADDRESS 3         ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30290026          Name on file                Address on file
30282708          Name on file                Address on file
30274168          Name on file                Address on file
30285662          Name on file                Address on file
30221946          Name on file                Address on file
30263244          Name on file                Address on file
30257014          Name on file                Address on file
30259995          Name on file                Address on file
30287895          Name on file                Address on file
30284266          Name on file                Address on file
30258340          Name on file                Address on file
30256832          Name on file                Address on file
29910005          BECKLEY WATER COMPANY, WV   119 S HEBER ST                                                                                       BECKLEY                WV           25801
30274156          Name on file                Address on file
30276411          Name on file                Address on file
30274434          Name on file                Address on file
30297227          Name on file                Address on file
30222592          Name on file                Address on file
30291972          Name on file                Address on file
30281673          Name on file                Address on file
30294579          Name on file                Address on file
30276393          BEDFORD CITY UTILITIES      1614 L STREET                                                                                        BEDFORD                IN           47421‐3730
30331297          Name on file                Address on file
30286884          Name on file                Address on file
30277649          Beegle, Kevin P.            Address on file
30332937          Name on file                Address on file
30232455          Name on file                Address on file
29910025          BEELINE GROUP LLC           30941 SAN CLEMENTE ST.                                                                               HAYWARD                CA           94544
30263178          Name on file                Address on file
30258382          Name on file                Address on file
30283648          Name on file                Address on file
30286815          Name on file                Address on file
30286377          Name on file                Address on file
30285289          Name on file                Address on file
30285914          Name on file                Address on file
30331477          Name on file                Address on file
30294776          Belden Park Delaware, LLC   Legal Department           629 Euclid Avenue              Suite 1300                                 Cleveland              OH           44114
29910033          BELDEN PARK JV LLC          BELDEN PARK DELAWARE LLC   629 EUCLID AVE, STE. 1300                                                 CLEVELAND              OH           44114
30273692          Name on file                Address on file
30279928          Name on file                Address on file
30274189          Name on file                Address on file
30261937          Name on file                Address on file
30257887          Name on file                Address on file
30262963          Name on file                Address on file
30285202          Name on file                Address on file
30276610          Name on file                Address on file
30261989          Name on file                Address on file
30257461          Name on file                Address on file
30262164          Name on file                Address on file
30257100          Name on file                Address on file
29955618          BELLA + CANVAS LLC          9830 WILSHIRE BLVD.                                                                                  BEVERLY HILLS          CA           90212
29955617          BELLA + CANVAS LLC          9830 WILSHIRE BLVD                                                                                   BEVERLY HILLS          CA           90212
30222137          Name on file                Address on file
30331757          Bella+Canvas, LLC           Cynthia C. Mullen          9830 Wilshire Blvd.                                                       Beverly Hills          CA           90212
29910050          BELLACREME INC              14 FRANKLIN LANE                                                                                     OTISVILLE              NY           10963
30222066          Name on file                Address on file
30260763          Name on file                Address on file
30218615          Name on file                Address on file
30256774          Name on file                Address on file
30273620          Name on file                Address on file
30277842          Bellon, Anna                Address on file
30295665          Bellon, Anna                Address on file
30295803          Name on file                Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                 ADDRESS 2                    ADDRESS 3          ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY

29910063          BELMONT COUNTY WATER & SEWER DISTRICT   67711 OAKVIEW DRIVE                                                                                ST. CLAIRSVILLE          OH           43950
30276415          Name on file                            Address on file
30260328          Name on file                            Address on file
30222309          Name on file                            Address on file
30261272          Name on file                            Address on file
30224126          Name on file                            Address on file
30224126          Name on file                            Address on file
30281240          Bemel, Allen J.                         Address on file
29976193          Bemidji Holdings LLC                    2361 Nostrand Avenue         Suite 602                                                             Brooklyn                 NY           11210
29910067          BEMIDJI HOLDINGS LLC                    LEXINGTON REALTY INT'L LLC   911 E COUNTY LINE RD #203                                             LAKEWOOD                 NJ           08701
29910077          BEN FURLICH                             Address on file
30282442          Name on file                            Address on file
30286886          Name on file                            Address on file
30286871          Name on file                            Address on file
30161908          Benchmark Industrial Inc                950 Claycraft Rd                                                                                   Gahanna                  OH           43230
29910080          BENCHMARK INDUSTRIAL INC                BENCHMARK SUPPLY INC         950 CLAYCRAFT RD.                                                     GAHANNA                  OH           43230
30224773          Name on file                            Address on file
30285245          Name on file                            Address on file
30262059          Name on file                            Address on file
30287054          Name on file                            Address on file
30184567          Bendon Inc                              1840 Baney Road S                                                                                  Ashland                  OH           44805
29910083          BENDON INC                              1840 BANEY ROAD                                                                                    ASHLAND                  OH           44805
30296376          Name on file                            Address on file
29910091          BENITA ROBERTS                          Address on file
29910095          BENJAMIN ANTHONY                        Address on file
30294773          Bennett, Barbara                        Address on file
30285307          Name on file                            Address on file
30228859          Name on file                            Address on file
30274158          Name on file                            Address on file
30290066          Name on file                            Address on file
30261584          Name on file                            Address on file
30282712          Name on file                            Address on file
30261586          Name on file                            Address on file
30257111          Name on file                            Address on file
30293081          Name on file                            Address on file
30225016          Name on file                            Address on file
30275404          Name on file                            Address on file
30263550          Name on file                            Address on file
30262647          Name on file                            Address on file
30297133          Name on file                            Address on file
29910139          BENTON CHARTER TOWNSHIP, MI             1725 TERRITORIAL ROAD                                                                              BENTON HARBOR            MI           49022
30261900          Benton PUD                              PO Box 6270                                                                                        Kennewick                WA           99336
29955629          BENTON PUD                              2721 W. 10TH AVENUE                                                                                KENNEWICK                WA           99336
30276742          Name on file                            Address on file
30259977          Name on file                            Address on file
30260509          Name on file                            Address on file
30257157          Name on file                            Address on file
30331839          Name on file                            Address on file
30297666          Name on file                            Address on file
30287112          Name on file                            Address on file
30296682          Name on file                            Address on file
30257545          Name on file                            Address on file
30222082          Name on file                            Address on file
30262123          Name on file                            Address on file
30263445          Name on file                            Address on file
30262356          Name on file                            Address on file
30261714          Name on file                            Address on file
30221883          Name on file                            Address on file
29910152          BERKSHIRE GAS COMPANY                   115 CHESHIRE ROAD                                                                                  PITSFIELD                MA           01201
30292452          Name on file                            Address on file
29910162          BERNADETTE GONZALES                     Address on file
30259037          Name on file                            Address on file
30256640          Name on file                            Address on file




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  ADDRESS ID                           NAME                          ADDRESS 1                            ADDRESS 2                       ADDRESS 3          ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30253719          Name on file                          Address on file
30277393          Name on file                          Address on file
30291981          Name on file                          Address on file
30261189          Name on file                          Address on file
30263293          Name on file                          Address on file
30282223          Name on file                          Address on file
30286317          Name on file                          Address on file
30286026          Name on file                          Address on file
29910191          BERWICK OFFRAY LLC                    2015 W FRONT STREET                                                                                              BERWICK               PA           18603
29910193          BERWICK OFFRAY LLC DBA                BLUMENTHAL LANSING COMPANY            30 TWO BRIDGES ROAD SUITE 110                                              FAIRFIELD             NJ           07004
30289253          Name on file                          Address on file
30261087          Name on file                          Address on file
29910275          BETSY LAU                             Address on file
30261886          Name on file                          Address on file
29910283          BETTER CARTING SERVICE                32 RUSSELL STREET                                                                                                WHITE PLAINS          NY           10606
30295820          Name on file                          Address on file
29910289          BETTY BUCCHIERI                       Address on file
29910304          BETTY SCHMIDT                         Address on file
29910305          BETTY SCHMIDT                         Address on file
30261290          Name on file                          Address on file
30277665          Name on file                          Address on file
30263056          Name on file                          Address on file
30258412          Name on file                          Address on file
30274589          Name on file                          Address on file
29910346          BGE                                   100 CONSTELLATION WAY                                                                                            BALTIMIRE             MD           21202
29910348          BHARATH MANO                          Address on file
30280279          Name on file                          Address on file
30258317          Name on file                          Address on file
29910373          BIC CORPORATION                       1 BIC WAY                                                                                                        SHELTON               CT           06484
30279075          Name on file                          Address on file
30280043          Name on file                          Address on file
30274597          Name on file                          Address on file
30274617          Name on file                          Address on file
30295681          Name on file                          Address on file
29910376          BIG B1 INC                            655 SOUTH 700 EAST                                                                                               OREM                  UT           84097
29910378          BIG LOTS STORES INC                   ATTN: LEASE ADMINISTRATION            4900 E DUBLIN GRANVILLE RD                                                 COLUMBUS              OH           43081
29910380          BIG Y FOODS INC                       PO BOX 7840                                                                                                      SPRINGFIELD           MA           01102
30297305          Big Y Foods, Inc.                     PO Box 7840                                                                                                      Springfield           MA           01102
30274495          Name on file                          Address on file
30278618          Name on file                          Address on file
29910387          BILL RAWLS LLC DBA CREATIVE HOME LT   400 WEST VIRGINIA ST, SUITE 400                                                                                  MCKINNEY              TX           75069
29910388          BILL RAWLS LLC DBA SARAHS CRAFTS      400 WEST VIRGINIA ST SUITE 400                                                                                   MCKINNEY              TX           75069

30258765          BILL RAWLS LLC/Creative Home Ltd      3600 ELDORADO PKWY, BLDG C, SUITE 3   Suite 400                                                                  MCKINNEY              TX           75070
30258813          Name on file                          Address on file
30222084          Name on file                          Address on file
30227036          Name on file                          Address on file
30275047          Name on file                          Address on file
30281005          Name on file                          Address on file
30280195          Name on file                          Address on file
30258731          Name on file                          Address on file
30289752          Birch Run Station, LLC                c/o Timothy Mitchell                  Rashtia and Mitchell            4422 Ridgeside Drive                       Dallas                TX           75244
30295955          Birch Run Station, LLC                c/o Timothy Mitchell                  Rashti and Mitchell             4422 Ridgeside Drive                       Dallas                TX           75244
30281608          Name on file                          Address on file
30289113          Name on file                          Address on file
30229374          Name on file                          Address on file
30257666          Name on file                          Address on file
30222784          Name on file                          Address on file
30222784          Name on file                          Address on file
30276061          Name on file                          Address on file
30291605          Name on file                          Address on file
30286760          Name on file                          Address on file
30259859          Name on file                          Address on file
30260645          Name on file                          Address on file




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30286271          Name on file                    Address on file
30263565          Name on file                    Address on file
30281520          Name on file                    Address on file
29910412          BJ RETAIL PARTNERS LLC          C/O BLUEJAY MGMT LLC                301 MILL RD STE L6                                                       HEWLETT                    NY           11557
30161370          BKG OVERSEAS                    A 14/4‐5 UPSIDC JALESAR ROAD                                                                                 FIROZABAD, UTTAR PRADESH                283203          INDIA
29955671          BKG OVERSEAS                    A 14/4‐5, UPSIDC, JALESAR ROAD                                                                               FIROZABAD                               283203          INDIA
30224787          Black Hills Energy              Attn: Bankruptcy                    PO Box 6006                                                              Rapid City                 SD           57709
29955673          BLACK HILLS ENERGY              7001 MOUNT RUSHMORE ROAD                                                                                     RAPID CITY                 SD           57702
30263240          Name on file                    Address on file
30261578          Name on file                    Address on file
30262019          Name on file                    Address on file
30262412          Name on file                    Address on file
30273814          Name on file                    Address on file
30280217          Name on file                    Address on file
30256936          Name on file                    Address on file
29955676          BLACKSTONE IMC HOLDINGS Q LLC   AMERICASMART BUILDING 1             PO BOX 411539                                                            BOSTON                     MA           02241‐1539
30295245          Name on file                    Address on file
30277024          Name on file                    Address on file
30259336          Name on file                    Address on file
30288244          Name on file                    Address on file
30279625          Name on file                    Address on file
30261264          Name on file                    Address on file
30261544          Name on file                    Address on file
30284017          Name on file                    Address on file
30273674          Name on file                    Address on file
30260655          Name on file                    Address on file
30260356          Name on file                    Address on file
30284845          Name on file                    Address on file
30257571          Name on file                    Address on file
30274017          Name on file                    Address on file
30218613          Name on file                    Address on file
30331524          Name on file                    Address on file
30261004          Name on file                    Address on file
30261678          Name on file                    Address on file
30295925          Name on file                    Address on file
30260653          Name on file                    Address on file
30260551          Name on file                    Address on file
30283743          Name on file                    Address on file
30284667          Name on file                    Address on file
30331095          Name on file                    Address on file
30261141          Name on file                    Address on file
30273755          Name on file                    Address on file
30273522          Name on file                    Address on file
30276636          Name on file                    Address on file
30331464          Name on file                    Address on file
30277208          Name on file                    Address on file
30297338          Name on file                    Address on file
30276801          Name on file                    Address on file
30259644          Name on file                    Address on file
30395784          Bloomfield Township             Attn: Michael Schostak, Treasurer   4200 Telegraph Rd.            P.O. Box 489                               Bloomfield Hills           MI           48303‐0489
30285194          Bloomfield Village Square LLC   1334 Maplelawn Dr                                                                                            Troy                       MI           48084
                                                                                      100 CONSTITUTION PLAZA, 7TH
30200861          BLOOMINGDALE OWNER LLC          C/O THE HUTENSKY GROUP, LLC         FLOOR                                                                    HARTFORD                   CT           06103‐1703
30295559          Name on file                    Address on file
30165096          Blue Lakes Plaza LLC            PO Box 8880                                                                                                  Ketchum                    ID           83340
30200789          BLUE LAKES PLAZA LLC            P.O. BOX 8880                                                                                                KETCHUM                    ID           83340
30256856          Blue Lakes Plaza, LLC           PO Box 8880                                                                                                  Ketchum                    ID           83340
29910454          BLUE RIDGE MALL LLC             C/O HULL STOREY GIBSON CO LLC       PO BOX 204227                                                            AUGUSTA                    GA           30917
30396613          Blue Ridge Mall, LLC            c/o Hull Property Group, LLC        Attn: Ashley Dolce            1190 Interstate Pkwy                       Augusta                    GA           30909
30281941          Blue Ridge Mall, LLC            c/o Hull Property Group, LLC        Attn: A.Dolce                 1190 Interstate Pkwy                       Augusta                    GA           30909
29910459          BLUEOCO                         2950 PRAIRIE STREET SW STE 1000                                                                              GRANDVILLE                 MI           49418
30206590          Blueoco, LLC                    2950 Prairie St SW #1000                                                                                     Grandville                 MI           49418
30167315          BlueVoyant LLC                  6 East 45th Street, 17th Floor                                                                               New York                   NY           10017
29949459          BLUEVOYANT LLC                  335 MADISON AVE. RM 5G                                                                                       NEW YORK                   NY           10017




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  ADDRESS ID                           NAME                        ADDRESS 1                         ADDRESS 2                     ADDRESS 3                    ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
30331637          Blum Boulders Associates I, LLC   Gilbert Bird Law Firm, PC            c/o Ryan J. Bird              10575 N 114th St.              Ste 115               Scottsdale              AZ           85259
30260695          Name on file                      Address on file
30283943          Name on file                      Address on file
30284689          Name on file                      Address on file

29910463          BMA JOLIET COMMONS LLC            C/O MID‐AMERICA REAL ESTATE‐WISCONS 600 N. PLANKINTON AVE., #301                                                        MILWAUKEE               WI           53203
30287266          BMI Mechanical Inc.               PO Box 279                                                                                                              Tulare                  CA           93275
30224983          BMI Mechanical, Inc.              PO Box 279                                                                                                              Tulare                  CA           93275
29949460          BMS CAT INC                       5718 AIRPORT FREEWAY                                                                                                    HALTOM CITY             TX           76117
29910467          BNY‐SF ASSOCIATES                 PO BOX 713201                                                                                                           PHILADELPHIA            PA           19171‐3201
30285511          Name on file                      Address on file
30277821          Name on file                      Address on file
30259534          Name on file                      Address on file
30285067          Name on file                      Address on file
30276835          Name on file                      Address on file
30273854          Name on file                      Address on file
30276789          Name on file                      Address on file
30222707          Name on file                      Address on file
30285818          Name on file                      Address on file
30262557          Name on file                      Address on file
30293067          Name on file                      Address on file
30287847          Name on file                      Address on file
30258145          Name on file                      Address on file
30295158          Name on file                      Address on file
30280120          Name on file                      Address on file
30273785          Name on file                      Address on file
30285323          Name on file                      Address on file
30263230          Name on file                      Address on file
30274394          Name on file                      Address on file
30276473          Name on file                      Address on file
30297110          Name on file                      Address on file
30221990          Name on file                      Address on file
30297706          Name on file                      Address on file
30285521          Name on file                      Address on file
30273832          Name on file                      Address on file
30224281          Name on file                      Address on file
30260779          Name on file                      Address on file
30285581          Name on file                      Address on file
30257901          Name on file                      Address on file
30261880          Name on file                      Address on file
30282642          Name on file                      Address on file
30279492          Name on file                      Address on file
30218149          Name on file                      Address on file
30284889          Name on file                      Address on file
30275163          Name on file                      Address on file
30256552          Name on file                      Address on file
30281084          Name on file                      Address on file
30259395          Name on file                      Address on file
30275034          Name on file                      Address on file
30286028          Name on file                      Address on file
30291275          Name on file                      Address on file
30231612          Name on file                      Address on file
29955702          BONITA SPRINGS UTILITIES, INC     11900 E TERRY ST                                                                                                        BONITA SPRINGS          FL           34135
30275855          Name on file                      Address on file
30273604          Name on file                      Address on file
30289662          Name on file                      Address on file
30296478          Name on file                      Address on file
29910508          BONNIE NIELSEN‐GANNON             Address on file
30275177          Name on file                      Address on file
30257489          Name on file                      Address on file
30295667          Name on file                      Address on file
30283051          Name on file                      Address on file
30285806          Name on file                      Address on file
30252469          Name on file                      Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1    ADDRESS 2                 ADDRESS 3          ADDRESS 4                CITY        STATE     POSTAL CODE   COUNTRY
30274138          Name on file                           Address on file
30256572          Name on file                           Address on file
30257204          Name on file                           Address on file
30296766          Name on file                           Address on file
30259660          Name on file                           Address on file
30258709          Name on file                           Address on file
30263579          Name on file                           Address on file
29910522          BOROUGH OF QUAKERTOWN, PA              35 N 3RD ST                                                                         QUAKERTOWN          PA           18951
30278941          Name on file                           Address on file
30258905          Name on file                           Address on file
30258384          Name on file                           Address on file
30257001          Name on file                           Address on file
30259377          Name on file                           Address on file
30293074          Name on file                           Address on file
30263347          Name on file                           Address on file
30274354          Name on file                           Address on file
30284899          Name on file                           Address on file
30286764          Boston Gas Company DBA National Grid   300 Erie Boulevard West                                                             Syracuse            NY           13202
30274122          Name on file                           Address on file
30257800          Name on file                           Address on file
30277802          Name on file                           Address on file
30281095          Name on file                           Address on file
30276678          Name on file                           Address on file
30296318          Name on file                           Address on file
30280203          Name on file                           Address on file
30293653          Name on file                           Address on file
30294785          Name on file                           Address on file
30294735          Name on file                           Address on file
30262993          Name on file                           Address on file
30260167          Name on file                           Address on file
30260429          Name on file                           Address on file
30258217          Name on file                           Address on file
30258833          Name on file                           Address on file
30289538          Name on file                           Address on file
30256536          Name on file                           Address on file
30280084          Name on file                           Address on file
30296954          Name on file                           Address on file
30256888          Name on file                           Address on file
30224076          Name on file                           Address on file
30224220          Name on file                           Address on file
30332825          Name on file                           Address on file
30222962          Name on file                           Address on file
30223025          Name on file                           Address on file
30223008          Name on file                           Address on file
30223015          Name on file                           Address on file
30223021          Name on file                           Address on file
30223025          Name on file                           Address on file
30222964          Name on file                           Address on file
30222970          Name on file                           Address on file
30222972          Name on file                           Address on file
30222994          Name on file                           Address on file
30222974          Name on file                           Address on file
30222996          Name on file                           Address on file
30222998          Name on file                           Address on file
30223000          Name on file                           Address on file
30223006          Name on file                           Address on file
30223002          Name on file                           Address on file
30258031          Name on file                           Address on file
30283738          Name on file                           Address on file
30223954          Name on file                           Address on file
30229420          Name on file                           Address on file
30285710          Name on file                           Address on file
30258648          Name on file                           Address on file
30260316          Name on file                           Address on file




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  ADDRESS ID                           NAME                                      ADDRESS 1                            ADDRESS 2                       ADDRESS 3                       ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30282644          Name on file                                     Address on file
30256596          Name on file                                     Address on file
30332738          Name on file                                     Address on file
30165912          Bowman Hollis Manufacturing Co Inc               PO Box 19249                                                                                                                   Charlotte              NC           28219
30200875          BOWMAN HOLLIS MFG INC                            P.O. BOX 19249                                                                                                                 CHARLOTTE              NC           28219
30295532          Name on file                                     Address on file
30293670          Name on file                                     Address on file
30273844          Name on file                                     Address on file
30289376          Name on file                                     Address on file
30331967          Name on file                                     Address on file
30287461          Name on file                                     Address on file
30259338          Name on file                                     Address on file
30263353          Name on file                                     Address on file
30262178          Name on file                                     Address on file
30257420          Name on file                                     Address on file
30218603          Name on file                                     Address on file
30285114          Name on file                                     Address on file
30273578          Name on file                                     Address on file
30257169          Name on file                                     Address on file
30277647          Name on file                                     Address on file
30296909          Name on file                                     Address on file
30331503          Name on file                                     Address on file
30257165          Name on file                                     Address on file
29910554          BP INDUSTRIES INC                                ATTN: ACCOUNTING DEPT                  5300 E CONCOURS STREET                                                                  ONTARIO                CA           91764
30275169          Name on file                                     Address on file
30273860          Name on file                                     Address on file
30281437          Name on file                                     Address on file
                  Bradford Capital Holdings, LP as Transferee of
30356908          Art Supply Enterprises DBA MacPhersons           c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
                  Bradford Capital Holdings, LP as Transferee of
30356908          Art Supply Enterprises DBA MacPhersons           c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
                  Bradford Capital Holdings, LP as Transferee of
30356908          Art Supply Enterprises DBA MacPhersons           c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
                  Bradford Capital Holdings, LP as Transferee of
30356908          Art Supply Enterprises DBA MacPhersons           c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
                  Bradford Capital Holdings, LP as Transferee of
30356908          Art Supply Enterprises DBA MacPhersons           c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
                  Bradford Capital Holdings, LP as Transferee of
30356908          Art Supply Enterprises DBA MacPhersons           c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
                  Bradford Capital Holdings, LP as Transferee of
30356908          Art Supply Enterprises DBA MacPhersons           c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
                  Bradford Capital Holdings, LP as Transferee of
30356908          Art Supply Enterprises DBA MacPhersons           c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
                  Bradford Capital Holdings, LP as Transferee of
30294831          Craft Express US, LLC                            c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
                  Bradford Capital Holdings, LP as Transferee of
30294831          Craft Express US, LLC                            c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
                  Bradford Capital Holdings, LP as Transferee of
30401264          Robert Kaufman Co., Inc.                         c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
                  Bradford Capital Holdings, LP as Transferee of
30401264          Robert Kaufman Co., Inc.                         c/o Bradford Capital Management, LLC   Attn: Brian Brager              PO Box 4353                                             Clifton                NJ           07012
29910571          BRADFORD PLAZA CAPITAL VEN LLC                   C/O FORAKER COMPANY                    6608 N. WESTERN AVE., #477                                                              OKLAHOMA CITY          OK           73116
                                                                                                          Attention To: Kurt M. Rupert,
30278050          Bradford Plaza Capital Venture, LLC              Hartzog Conger Cason, LLP              Margret Sine                    201 Robert S. Kerr             Suite 1600               Oklahoma City          OK           73102
30273789          Name on file                                     Address on file
30257287          Name on file                                     Address on file
30273520          Name on file                                     Address on file
30251283          Name on file                                     Address on file
30261391          Name on file                                     Address on file
30294662          Name on file                                     Address on file
30285363          Name on file                                     Address on file
30297232          Name on file                                     Address on file
30292395          Name on file                                     Address on file
30224330          Name on file                                     Address on file




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30262380          Name on file                 Address on file
30275528          Name on file                 Address on file
30286226          Name on file                 Address on file
30287176          Name on file                 Address on file
30274575          Name on file                 Address on file
29910604          BRAEMORE                     3 PARK AVE 35TH FLOOR                                                                                     NEW YORK               NY           10016
29949461          BRAIN TREE GAMES LLC         62 VAISHNODEVI IND ESTATE PHASE 3                                                                         BANGALORE                           560074          INDIA
30164153          Brain Tree Games LLC         Vasu Subramaniam Prakash            4860 Cox Road              Suite 200                                  Glen Allen             VA           23060
29910607          BRAINERD PUBLIC UTILITIES    8027 HIGHLAND SCENIC DR                                                                                   BAXTER                 MN           56425
29910607          BRAINERD PUBLIC UTILITIES    8027 HIGHLAND SCENIC DR                                                                                   BAXTER                 MN           56425
30291772          Name on file                 Address on file
30222131          Name on file                 Address on file
30285856          Name on file                 Address on file
30166143          Branch Metrics, Inc          1975 W El Camino Real               Suite 102                                                             Mountain View          CA           94040
30262502          Name on file                 Address on file
29955734          BRANDON SMITH                Address on file
30262999          Name on file                 Address on file
30295580          Name on file                 Address on file
30290137          Name on file                 Address on file
29910741          BRANDYWINE CROSSING SC LLC   PO BOX 825949                                                                                             PHILADELPHIA           PA           19182‐5949
30200593          Name on file                 Address on file
30200593          Name on file                 Address on file
30285986          Name on file                 Address on file
30331413          Name on file                 Address on file
30223331          Name on file                 Address on file
30290225          Name on file                 Address on file
30263371          Name on file                 Address on file
30225098          Name on file                 Address on file
30262454          Name on file                 Address on file
30279134          Name on file                 Address on file
30261250          Name on file                 Address on file
30290363          Name on file                 Address on file
30259393          Name on file                 Address on file
30229313          Name on file                 Address on file
30262198          Name on file                 Address on file
30285541          Name on file                 Address on file
30285808          Name on file                 Address on file
30222375          Name on file                 Address on file
30276815          Name on file                 Address on file
30222954          Name on file                 Address on file
30222954          Name on file                 Address on file
30276069          Name on file                 Address on file
30291896          Name on file                 Address on file
30258791          Name on file                 Address on file
30295997          Name on file                 Address on file
30222887          Name on file                 Address on file
30222887          Name on file                 Address on file
29910860          BRENDA KUBICKI               Address on file
29910861          BRENDA L. BUNNELL            Address on file
30261525          Name on file                 Address on file
30260970          Name on file                 Address on file
30258587          Name on file                 Address on file
30258287          Name on file                 Address on file
30261616          Name on file                 Address on file
30192866          Brentwood Village LLC        Attn: Bennett Williams              3528 Concord Road                                                     York                   PA           17402
29910929          BRENTWOOD VILLAGE LLC        CO BENNETT WILLIAMS REALTY          3528 CONCORD RD                                                       YORK                   PA           17402
30280589          Name on file                 Address on file
30262615          Name on file                 Address on file
30284008          Name on file                 Address on file
29910949          BREWER SEWING                3702 PRAIRIE LAKE CT                                                                                      AURORA                 IL           60504
30262190          Name on file                 Address on file
30275968          Name on file                 Address on file
30261037          Name on file                 Address on file
30262991          Name on file                 Address on file




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30283136          Name on file                          Address on file
30283178          Brewster, Randy Philip                Address on file
30275796          Name on file                          Address on file
29910953          BRF II BAKER SQUARE LLC               C/O BROAD REACH RET PARTNERS LLC      1111 BENFIELD BLVD., #100                                                           MILLERSVILLE             MD           21108
29955826          BRICKCRAFT, LLC                       132 W 36TH ST., SUITE 800                                                                                                 NEW YORK                 NY           10018
30260077          Name on file                          Address on file
30260856          Name on file                          Address on file
30222742          Name on file                          Address on file
30258319          Name on file                          Address on file
30262561          Name on file                          Address on file
30331124          Name on file                          Address on file
30297051          Name on file                          Address on file
30284225          Name on file                          Address on file
29911182          BRIGHTECH PLUS                        10120 W FLAMINGO BLVD 4‐1026                                                                                              LAS VEGAS                NV           89147
29911185          BRIGHTON MALL ASSOC. LTD PTNR.        5640 W MAPLE RD STE 101                                                                                                   WEST BLOOMFIELD          MI           48322
30181561          BrightRidge                           2600 Boones Creek Rd                                                                                                      Johnson City             TN           37615
29911190          BRIGHTRIDGE                           2600 BOONES CREEK ROAD                                                                                                    JOHNSON CITY             TN           37615
30259151          Name on file                          Address on file
30296452          Name on file                          Address on file
29950428          BRINDA WALKER                         Address on file
30262713          Name on file                          Address on file
30200879          BRINK'S INCORPORATED                  7373 SOLUTIONS CENTER                                                                                                     CHICAGO                  IL           60677‐7003
30260557          Name on file                          Address on file
30292597          Name on file                          Address on file
30259059          Name on file                          Address on file
30263116          Name on file                          Address on file
30261345          Name on file                          Address on file
30200645          BRITTNEY J. HERLONG                   C/O SIMON TRIAL FIRM                  FIRST CITIZENS BANK TOWER   2601 SOUTH BAYSHORE DRIVE      SUITE 1010               MIAMI                    FL           33133
29911349          BRIXMOR GA SEACOAST SHOPPING CTR LL   C/O BRIXMOR PROPERTY GROUP            PO BOX 645341                                                                       CINCINNATI               OH           45264‐5341
29911352          BRIXMOR HOLDINGS 10 SPE LLC           C/O BRIXMOR PROPERTY GROUP            PO BOX 645321                                                                       CINCINNATI               OH           45264‐5321
29911356          BRIXMOR OPER PARTNERSHIP LP           DBA BRIXMOR/IA CAYUGA PLAZA LLC       PO BOX 645341                                                                       CINCINNATI               OH           45264‐5341
29911357          BRIXMOR OPER PARTNERSHIP LP           CO BRIXMOR PROPERTY GRP               PO BOX 645349                                                                       CINCINNATI               OH           45264‐5349

29911361          BRIXMOR OPERATING PARTNERSHIP LP      VESTAL PKWY PL. C/O BRIXMOR PRP GRP   PO BOX 645321                                                                       CINCINNATI               OH           45264‐5321

29911363          BRIXMOR OPERATING PARTNERSHIP LP      BRIXMOR GA SOUTHLAND SHOP CTR LLC     PO BOX 645341                                                                       CINCINNATI               OH           45264‐5341

29911362          BRIXMOR OPERATING PARTNERSHIP LP      BRIXMOR SPE 3 LLC CO BRIXMOR PROP G P.O. BOX 645349                                                                       CINCINNATI               OH           45264‐5349
29911360          BRIXMOR OPERATING PARTNERSHIP LP      FOX RUN LIMITED PARTNERSHIP         P.O. BOX 645324                                                                       CINCINNATI               OH           45264

29911359          BRIXMOR OPERATING PARTNERSHIP LP      BRIXMOR SPE 5 LLC C/O BRIXMOR PROP.   P.O. BOX 645346                                                                     CINCINNATI               OH           45264
29911364          BRIXMOR OPERATING PARTSHP LP          BRIXMOR SPE 5 LLC                     PO BOX 645346                                                                       CINCINNATI               OH           45264‐5346
29949963          BRIXMOR OPERATING PTNRSHIP LP         CO PRIXMOR PROPERTY GROUP             PO BOX 645349                                                                       CINCINNATI               OH           45264‐5349

30200754          BRIXMOR OPERATING PTSHP LP            BRIXMOR‐LAKES CR. LLC C/O BRIXMOR P   P.O. BOX 645346                                                                     CINCINNATI               OH           45264

30200779          BRIXMOR OPERATING PTSHP LP            BRIXMOR EXCH PROP OWN IV C/O BRIX P   P.O. BOX 645346                                                                     CINCINNATI               OH           45264
29949967          BRIXMOR OPERATION PARTNERSHIP LP      BRIXMOR GA WESTMINSTER LLC            P.O. BOX 645341                                                                     CINCINNATI               OH           45264
29949968          BRIXMOR RESIDUAL DICKSON CITY CROSS   C/O BRIXMOR PROPERTY GROUP            PO BOX 645349                                                                       CINCINNATI               OH           45264‐5349
29949971          BRIXMOR SPE 3 LLC                     C/O BRIXMOR PROPERTY GROUP            PO BOX 645349                                                                       CINCINNATI               OH           45264‐5349
29911368          BRIXMOR VENICE VILLAGE SHOPPES LLC    C/O BRIXMOR PROP GRP #1755033         PO BOX 645321                                                                       CINCINNATI               OH           45264‐5321
29911372          BRIXTON FORK TIC LLC                  DEPT. C502776AE                       PO BOX 507416                                                                       SAN DIEGO                CA           92150
30284533          Name on file                          Address on file
30257844          Name on file                          Address on file
30296555          Name on file                          Address on file
30261310          Name on file                          Address on file
30223880          Name on file                          Address on file
30259917          Name on file                          Address on file
30259189          Name on file                          Address on file
30277304          Name on file                          Address on file
30259511          Name on file                          Address on file
30274041          Name on file                          Address on file
30261498          Name on file                          Address on file
30259155          Name on file                          Address on file




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30273734          Name on file                        Address on file
30294382          Name on file                        Address on file
30280502          Name on file                        Address on file
29911456          BROOKINGS MUNICIPAL UTILITIES       525 WESTERN AVE                                                                                        BROOKINGS            SD           57006
29955881          BROOKINGS PROPERTY MGMT INC         1100 6TH STREET                                                                                        BROOKINGS            SD           57006
30224130          Name on file                        Address on file
30288695          Name on file                        Address on file
30263029          Name on file                        Address on file
                                                                                   354 Eisenhower Parkway, Suite
30260689          Brother International Corporation   c/o Becker LLC               1500                                                                      Livingston           NJ           07039
                                                                                   354 Eisenhower Parkway, Suite
30261211          Brother International Corporation   c/o Becker LLC               1500                                                                      Livingston           NJ           07039
29911472          BROTHER INTERNATIONAL CORPORATION   200 CROSSING BLVD                                                                                      BRIDGEWATER          NJ           08807
29911473          BROTHER INTL HOME APPLIANCE         200 CROSSING BLVD                                                                                      BRIDGEWATER          NJ           08807
30260964          Name on file                        Address on file
30293862          Name on file                        Address on file
30282898          Name on file                        Address on file
30262256          Name on file                        Address on file
30262721          Name on file                        Address on file
30284903          Name on file                        Address on file
30261083          Name on file                        Address on file
30296164          Name on file                        Address on file
30260320          Name on file                        Address on file
30295691          Name on file                        Address on file
30259739          Name on file                        Address on file
30286609          Name on file                        Address on file
30293218          Name on file                        Address on file
30262188          Name on file                        Address on file
30258194          Name on file                        Address on file
30288901          Name on file                        Address on file
30260933          Name on file                        Address on file
30260769          Name on file                        Address on file
30215570          Name on file                        Address on file
30293001          Name on file                        Address on file
30276941          Name on file                        Address on file
30331932          Name on file                        Address on file
30258470          Name on file                        Address on file
30286172          Name on file                        Address on file
30273892          Name on file                        Address on file
30259713          Name on file                        Address on file
30257585          Name on file                        Address on file
30222093          Name on file                        Address on file
30218656          Name on file                        Address on file
30258987          Name on file                        Address on file
30276104          Name on file                        Address on file
30256581          Name on file                        Address on file
30257983          Name on file                        Address on file
29934113          Brown, Marshall                     Address on file
30222028          Name on file                        Address on file
30274293          Name on file                        Address on file
30262214          Name on file                        Address on file
30261973          Name on file                        Address on file
30297579          Name on file                        Address on file
30275390          Name on file                        Address on file
30285836          Name on file                        Address on file
30281258          Name on file                        Address on file
30293076          Name on file                        Address on file
30258344          Name on file                        Address on file
30193147          Brown, Vivvente S                   Address on file
30223864          Name on file                        Address on file
30277136          Name on file                        Address on file
30258513          Name on file                        Address on file
30292461          Name on file                        Address on file
30285816          Name on file                        Address on file




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  ADDRESS ID                           NAME                    ADDRESS 1                     ADDRESS 2                     ADDRESS 3                   ADDRESS 4                      CITY        STATE     POSTAL CODE       COUNTRY
30286040          Name on file                     Address on file
30281441          Name on file                     Address on file
30260199          Name on file                     Address on file
30263433          Name on file                     Address on file
30283151          Name on file                     Address on file
30294577          Name on file                     Address on file
30331238          Name on file                     Address on file
30332687          Name on file                     Address on file
30287164          Name on file                     Address on file
30263122          Name on file                     Address on file
30276982          Name on file                     Address on file
29911479          BRUNSWICK‐GLYNN COUNTY JOINT     1703 GLOUCESTER ST                                                                                              BRUNSWICK                 GA           31520
30294063          Name on file                     Address on file
30274142          Name on file                     Address on file
29911497          BRYAN TEXAS UTILITIES (BTU)      205 E. 28TH STREET                                                                                              BRYAN                     TX           77803
30257198          Name on file                     Address on file
30223017          Name on file                     Address on file
30223017          Name on file                     Address on file
30279115          Name on file                     Address on file
30260807          Name on file                     Address on file
30261270          Name on file                     Address on file
30262516          Name on file                     Address on file
30261632          Name on file                     Address on file
29955910          BSM ENTERPRISE LTD               MIN'AN COMMERCIAL BUILDING      #160 EAST JINYUAN LANE      ZHEJIANG                       NINGBO               YINZHOU DISTRICT                       315040          CHINA
30161932          BSM ENTERPRISE LTD.              #160 EAST JINYUAN LANE                                                                                          YINZHOU, NINGBO                        315040          CHINA
30276645          Name on file                     Address on file
30274037          Name on file                     Address on file
30276911          Name on file                     Address on file
30284891          Name on file                     Address on file
30262621          Name on file                     Address on file
30331397          Name on file                     Address on file
30330962          Name on file                     Address on file
30289109          Name on file                     Address on file
29955911          BUCKEYE CORRUGATED INC           BCI‐ WOOSTER DIVISION           3350 LONG ROAD                                                                  WOOSTER                   OH           44691
30200746          BUCKEYE RETAIL JV LLC            TAYLOR SQ OWNER LLC CO CASTRO   L‐3784                                                                          COLUMBUS                  OH           43260
30280923          Name on file                     Address on file
30261153          Name on file                     Address on file
30263228          Name on file                     Address on file
30258727          Name on file                     Address on file
30295226          Name on file                     Address on file
30273924          Name on file                     Address on file
30262224          Name on file                     Address on file
30275962          Name on file                     Address on file
30288201          Name on file                     Address on file
30263377          Name on file                     Address on file
30287002          Name on file                     Address on file
29955914          BUFFALO BATTING C/O FIBRIX LLC   1820 EVANS STREET                                                                                               CONOVER                   NC           28613
29955915          BUFFALO GAMES LLC                220 JAMES E CASEY DRIVE                                                                                         BUFFALO                   NY           14206
30257289          Buffalo Games, LLC               220 James E. Casey Drive                                                                                        Buffalo                   NY           14206‐2362
30263128          Name on file                     Address on file
30262763          Name on file                     Address on file
30227140          Name on file                     Address on file
30261266          Name on file                     Address on file
30273580          Name on file                     Address on file
30259941          Name on file                     Address on file
30276399          Name on file                     Address on file
30274199          Name on file                     Address on file
30257919          Name on file                     Address on file
30257668          Name on file                     Address on file
30225319          Name on file                     Address on file
30257167          Name on file                     Address on file
30258165          Name on file                     Address on file
30261925          Name on file                     Address on file
30331547          Name on file                     Address on file




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  ADDRESS ID                           NAME                          ADDRESS 1                      ADDRESS 2                    ADDRESS 3          ADDRESS 4                    CITY        STATE     POSTAL CODE        COUNTRY
30258450          Name on file                         Address on file
30261767          Name on file                         Address on file
30192451          Bumby Jo LLC                         Attn: Terry Robertson              69 Lafayette Street                                                   Alex City               AL           35010
29955924          BUMBY JO LLC                         BRANNON BLAKE ROBERTSON            185 FAIRLANE CIRCLE                                                   ALEXANDER CITY          AL           35010
30257543          Name on file                         Address on file

29949462          BUMIRANG CORPORATION                 2ND FL                             #4 DONGSOMUN‐RO 3‐GIL                                                 SEONGBUK‐GU, SEOUL                   2833            KOREA, REPUBLIC OF
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30333406          Bumirang Corporation                 2nd Floor, #4 Dongsomun‐Ro 3‐Gil   Seongbuk‐GU                                                           Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30331301          Bumirang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea
30260079          Name on file                         Address on file
30262549          Name on file                         Address on file
30258883          Name on file                         Address on file
30259765          Name on file                         Address on file
30231682          Name on file                         Address on file
30257737          Name on file                         Address on file
30259853          Name on file                         Address on file
30284941          Name on file                         Address on file
30221972          Burdette, Stephanie Lynne            Address on file
30259957          Name on file                         Address on file
30278484          Name on file                         Address on file
30331730          Name on file                         Address on file
30261624          Name on file                         Address on file
29911542          BUREAU OF NATIONAL AFFAIRS INC       BLOOMBERG INDUSTRY GROUP           PO BOX 419889                                                         BOSTON                  MA           02241‐9889
30251295          Name on file                         Address on file
30283898          Name on file                         Address on file
30284831          Name on file                         Address on file
30280617          Name on file                         Address on file
30294489          Name on file                         Address on file
30259851          Name on file                         Address on file
30279285          Name on file                         Address on file
30287632          Name on file                         Address on file
30292341          Name on file                         Address on file
30274475          Name on file                         Address on file
30276083          Name on file                         Address on file
30259367          Name on file                         Address on file
30258678          Name on file                         Address on file
30260483          Name on file                         Address on file
30278639          Name on file                         Address on file
30261791          Name on file                         Address on file
30295919          Name on file                         Address on file
30276113          Name on file                         Address on file
30260352          Name on file                         Address on file
30254990          Name on file                         Address on file
30258941          Name on file                         Address on file
30331724          Name on file                         Address on file
30293469          Name on file                         Address on file
29955926          BURLINGTON MUNICIPAL WATERWORKS,IA   500 N 3RD STREET                                                                                         BURLINGTON              IA           52601
30330952          Burmiang Corporation                 2nd Floor                          #4 Dongsomun‐Ro 3‐Gil      Seongbuk‐GU                                Seoul                                136‐031         South Korea




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  ADDRESS ID                           NAME                             ADDRESS 1                       ADDRESS 2                           ADDRESS 3          ADDRESS 4                    CITY        STATE     POSTAL CODE        COUNTRY
30330952          Burmiang Corporation                     2nd Floor                        #4 Dongsomun‐Ro 3‐Gil               Seongbuk‐GU                                Seoul                                136‐031         South Korea
30330952          Burmiang Corporation                     2nd Floor                        #4 Dongsomun‐Ro 3‐Gil               Seongbuk‐GU                                Seoul                                136‐031         South Korea
30330952          Burmiang Corporation                     2nd Floor                        #4 Dongsomun‐Ro 3‐Gil               Seongbuk‐GU                                Seoul                                136‐031         South Korea
30330952          Burmiang Corporation                     2nd Floor                        #4 Dongsomun‐Ro 3‐Gil               Seongbuk‐GU                                Seoul                                136‐031         South Korea
30330952          Burmiang Corporation                     2nd Floor                        #4 Dongsomun‐Ro 3‐Gil               Seongbuk‐GU                                Seoul                                136‐031         South Korea
30330952          Burmiang Corporation                     2nd Floor                        #4 Dongsomun‐Ro 3‐Gil               Seongbuk‐GU                                Seoul                                136‐031         South Korea
30330952          Burmiang Corporation                     2nd Floor                        #4 Dongsomun‐Ro 3‐Gil               Seongbuk‐GU                                Seoul                                136‐031         South Korea
30330952          Burmiang Corporation                     2nd Floor                        #4 Dongsomun‐Ro 3‐Gil               Seongbuk‐GU                                Seoul                                136‐031         South Korea
30280799          Name on file                             Address on file
30331957          Name on file                             Address on file
30281618          Name on file                             Address on file
30276262          Name on file                             Address on file
30281602          Name on file                             Address on file
30257398          Name on file                             Address on file
30262773          Name on file                             Address on file
30257975          Name on file                             Address on file
30262534          Name on file                             Address on file
30259365          Name on file                             Address on file
30274362          Name on file                             Address on file
30223833          Name on file                             Address on file
30262895          Name on file                             Address on file
30273936          Name on file                             Address on file
30263998          Name on file                             Address on file
30283575          Name on file                             Address on file
30274259          Name on file                             Address on file
30224237          Name on file                             Address on file
30261145          Name on file                             Address on file
30222032          Name on file                             Address on file
30290235          Name on file                             Address on file
30290176          Name on file                             Address on file
30277809          Name on file                             Address on file
30295296          Name on file                             Address on file
30295239          Name on file                             Address on file
30277330          Name on file                             Address on file
30277384          Name on file                             Address on file
30285275          Name on file                             Address on file
30259900          Name on file                             Address on file
30224072          Name on file                             Address on file
30224235          Name on file                             Address on file
30261276          Name on file                             Address on file
30261475          Name on file                             Address on file
30296008          Name on file                             Address on file
30257145          Name on file                             Address on file
30290280          Name on file                             Address on file
30259485          Name on file                             Address on file
30258781          Name on file                             Address on file
30295854          Name on file                             Address on file
30291263          Name on file                             Address on file
30280648          Name on file                             Address on file
30261375          Name on file                             Address on file
30256706          Name on file                             Address on file
30261055          Name on file                             Address on file
29911552          BUTTE‐IFUL LLC                           PO BOX 1800                                                                                                     CORVALLIS               OR           97339
29911554          BUTTERICK                                PO BOX 871                                                                                                      ALTOONA                 PA           16603
29911555          BUTTERICK‐GREEN PEPPER PATTERNS          PO BOX 871                                                                                                      ALTOONA                 PA           16603
30259973          Name on file                             Address on file
30259079          Name on file                             Address on file
30293331          Name on file                             Address on file
29911558          BUZZY INC                                1410 LAUREL BOULEVARD, SUITE 1                                                                                  POTTSVILLE              PA           17901
30221912          BV Waco Central Texas Marketplace, LLC   Ray Quinney & Nebeker P.C.       36 South State Street, Suite 1400                                              Salt Lake City          UT           84111
29911560          BV WACO CENTRAL TX MKTPL LLC             2194 SNAKE RIVER PKWY, #300                                                                                     IDAHO FALLS             ID           83402
29911561          BV WOLF CREEK LLC                        ATTN: ASHLEE DRAKE               PO BOX 51298                                                                   IDAHO FALLS             ID           83405
29911567          BVCV UNION PLAZA LLC                     2194 SNAKE RIVER PKWY #300                                                                                      IDAHO FALLS             ID           83402
30221887          BVCV Union Plaza, LLC                    Ray Quinney & Nebeker P.C.       36 South State Street, Suite 1400                                              Salt Lake City          UT           84111




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  ADDRESS ID                           NAME                                        ADDRESS 1                   ADDRESS 2                       ADDRESS 3          ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30286878          Name on file                                   Address on file
30263118          Name on file                                   Address on file
30275006          Name on file                                   Address on file
30258925          Name on file                                   Address on file
30263756          Name on file                                   Address on file
30252696          Name on file                                   Address on file
30275865          Name on file                                   Address on file
30260037          Name on file                                   Address on file
30261540          Name on file                                   Address on file
30282817          Name on file                                   Address on file
30275291          Name on file                                   Address on file
30277585          Name on file                                   Address on file
30259268          Name on file                                   Address on file

29911574          BZA INDIAN SPRINGS LLC                         C/O BEARS MGMT GRP, BOX 3258      990 PEACHTREE INDUSTRIAL BLVD                                              SUWANEE               GA           30024‐9998
                  CAB assignee of Ningbo Zhong Yi Ornaments Co
30289691          Ltd                                            4340 Fulton Avenue                Third Fl.                                                                  Sherman Oaks          CA           91423
                  CAB assignee of Ningbo Zhong Yi Ornaments Co
30356405          Ltd                                            4340 Fulton Avenue, Third Fl.                                                                                Sherman Oaks          CA           91423
30295352          Name on file                                   Address on file
30278590          Name on file                                   Address on file
30263232          CABREL COMPANY                                 TAMMY L HIGGINS                   PO BOX 2400                                                                BANGOR                ME           04402
29911599          CABREL COMPANY                                 PO BOX 2400                                                                                                  BANGOR                ME           04402‐2400
30280161          Name on file                                   Address on file
30273850          Name on file                                   Address on file
30286789          Name on file                                   Address on file
30293103          Name on file                                   Address on file
30222161          Name on file                                   Address on file
30284673          Name on file                                   Address on file
30263561          Name on file                                   Address on file
30286825          Name on file                                   Address on file
30286552          Name on file                                   Address on file
30261906          Name on file                                   Address on file
29911630          CAFARO NORTHWEST PARTNERSHIP                   DBA TARGET PLACE                  PO BOX 7535                                                                CAROL STREAM          IL           60197‐7535
30222424          Name on file                                   Address on file
30275235          Name on file                                   Address on file
30278012          Name on file                                   Address on file
30292550          Name on file                                   Address on file
30283084          Name on file                                   Address on file
30333031          Name on file                                   Address on file
30262352          Name on file                                   Address on file
29911736          C‐A‐L STORES COMPANIES INC                     DBA C‐A‐L RANCH STORES            PO BOX 1866                                                                IDAHO FALLS           ID           83403
30274247          Name on file                                   Address on file
30259361          Name on file                                   Address on file
30292014          Name on file                                   Address on file
30257798          Name on file                                   Address on file
30224873          Name on file                                   Address on file
30273706          Name on file                                   Address on file
30293321          Name on file                                   Address on file
30260065          Name on file                                   Address on file
                                                                 DBA ZAREMBA METROPOLITAN
29955962          CALIFORNIA STATE TEACHERS RETIREMEN            MIDLOTHIAN                        PO BOX 850300                   PROP 621710                                MINNEAPOLIS           MN           55485‐0300
29955963          CALIFORNIA WATER SERVICE‐BAKERSFIELD           3725 SOUTH H STREET                                                                                          BAKERSFIELD           CA           93304
                                                                 2222 DR. MARTIN LUTHER KING JR.
29955964          CALIFORNIA WATER SERVICE‐CHICO                 PARKWAY                                                                                                      CHICO                 CA           95928
29955965          CALIFORNIA WATER SERVICE‐SALINAS               254 COMMISSION STREET                                                                                        SALINAS               CA           93901
29955967          CALIFORNIA WATER SERVICE‐VISALIA               216 NORTH VALLEY OAKS DRIVE                                                                                  VISALIA               CA           93292
30263437          Name on file                                   Address on file
30258785          Name on file                                   Address on file
30285053          Name on file                                   Address on file
30224362          Name on file                                   Address on file
30224362          Name on file                                   Address on file
30261890          Name on file                                   Address on file
30263409          Name on file                                   Address on file




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30279081          Name on file                       Address on file
29911815          CALVERT COUNTY TREASURER           CLERK OF CIRCUIT COURT                   175 MAIN STREET                                                        PRINCE FREDERICK          MD           20678
30261379          Name on file                       Address on file
30257719          Name on file                       Address on file
30263447          Name on file                       Address on file
30223679          Name on file                       Address on file
30223679          Name on file                       Address on file
30294573          Name on file                       Address on file
29911846          CAMELOT                            C/O EUGENE TEXTILES (2003) INC           1391 SAINT AMOUR                                                       MONTREAL                  QC           H4S 1T4         CANADA
30278754          Name on file                       Address on file
30258184          Name on file                       Address on file
30291704          Name on file                       Address on file
30260789          Name on file                       Address on file
30291172          Name on file                       Address on file
30222774          Name on file                       Address on file
30258867          Name on file                       Address on file
30262649          Name on file                       Address on file
30261606          Name on file                       Address on file
29925865          Campbell, Joe                      Address on file
30232145          Name on file                       Address on file
30223827          Name on file                       Address on file
30332732          Name on file                       Address on file
30286194          Name on file                       Address on file
30261923          Name on file                       Address on file
30218147          Campbell's Auto Express, Inc.      134 Laurel Drive                         PO Box 119                                                             Pitman                    NJ           08071
30200722          CAMPBELLS EXPRESS                  PO BOX 119                                                                                                      PITMAN                    NJ           08071
30260531          Name on file                       Address on file
30258458          Name on file                       Address on file
30280289          Name on file                       Address on file
30274467          Name on file                       Address on file
29955979          CANDLE WARMERS ETC                 12397 S 300 E                                                                                                   HERRIMAN                  UT           84096
30222653          Candle, Sara Padrutt               Address on file
30232036          Name on file                       Address on file
30331565          Name on file                       Address on file
30262753          Name on file                       Address on file
30262727          Name on file                       Address on file
30285285          Name on file                       Address on file
30256726          Name on file                       Address on file
30200752          CAOXIAN LUYI GUANGFA ART & CRAFT   CAOXIAN COUNTY                                                                                                  HEZE                                   274400          CHINA
30256956          Name on file                       Address on file
29955992          CAPITAL MALL JC LLC                PO BOX 1663                                                                                                     JEFFERSON CITY            MO           65102
29955993          CAPITAL PLAZA PARTNERS LTD         1018 THOMASVILLE RD STE 200A                                                                                    TALLAHASSEE               FL           32303
30224620          Capital Plaza Partners, Ltd        The Dye Law Firm, P.A.                   Jimmy Dye                   Post Office Box 4148                       Tallahassee               FL           32315
30224620          Capital Plaza Partners, Ltd        The Dye Law Firm, P.A.                   Jimmy Dye                   Post Office Box 4148                       Tallahassee               FL           32315
30261373          Name on file                       Address on file
30277852          Name on file                       Address on file
29911993          CAPREALTY 14‐VILLAGE LLC           PO BOX 850607                                                                                                   MINNEAPOLIS               MN           55485‐0607
30285792          Name on file                       Address on file
30293132          Name on file                       Address on file
30279243          Name on file                       Address on file
30296384          Name on file                       Address on file
30295101          Capstone Law APC                   1875 Century Park East                   Ste 1000                                                               Los Angeles               CA           90067
30222462          Name on file                       Address on file
29911996          CAR APPLE VALLEY SQUARE LLC        3141 SOLUTION CENTER                                                                                            CHICAGO                   IL           60677
30280995          CAR Apple Valley Square, LLC       Regency Centers, LP / Attn: Legal Dept   1 Independent Drive         Suite 114                                  Jacksonville              FL           32202
30222651          Name on file                       Address on file
30262510          Name on file                       Address on file
30259845          Name on file                       Address on file
30279233          Name on file                       Address on file
30262671          Name on file                       Address on file
30283225          Name on file                       Address on file
30285461          Name on file                       Address on file
30262376          Name on file                       Address on file
30274553          Name on file                       Address on file




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  ADDRESS ID                           NAME                    ADDRESS 1                     ADDRESS 2                       ADDRESS 3                       ADDRESS 4                CITY        STATE     POSTAL CODE   COUNTRY
30287750          Name on file                    Address on file
30276270          Name on file                    Address on file
30285447          Name on file                    Address on file
30290552          Name on file                    Address on file
30276894          Name on file                    Address on file
30276898          Name on file                    Address on file
30287120          Name on file                    Address on file
30260107          Name on file                    Address on file
30274639          Name on file                    Address on file
29951310          CARL BATTAGLIA                  Address on file
30200646          CARLA H. CASTILLO               C/O BALINT & ASSOCIATES, PLLC   ATTN: DAVID J. BALINT          5950 SIXTH AVE SOUTH.          #200                     SEATTLE             WA           98108
30275185          Name on file                    Address on file
30282908          Name on file                    Address on file
30261328          Name on file                    Address on file
30200647          CARLOS ROSA                     C/O MORGAN & MORGAN, P.A.       ATTN: BRANDON M. SMITH, ESQ.   20 N. ORANGE AVENUE            SUITE 1600               ORLANDO             FL           32802
29912101          CARLOS SANTOS                   Address on file
30258915          Name on file                    Address on file
30217858          Name on file                    Address on file
30279160          Name on file                    Address on file
30273781          Name on file                    Address on file
30260781          Name on file                    Address on file
29912127          CARMEN M. ESPINOZA              Address on file
30261129          Name on file                    Address on file
30257650          Name on file                    Address on file
30276670          Name on file                    Address on file
29912148          CAROL A. MOORE                  Address on file
29912184          CAROL HORNING                   Address on file
30200595          CAROL KAYNE                     Address on file
29912211          CAROL R. MONAHAN                Address on file
29912248          CAROLINA HANDLING               CORPORATE HEADQUARTERS          PO BOX 890352                                                                          CHARLOTTE           NC           28289
30200759          Name on file                    Address on file
29912333          CAROLYN PUGH                    Address on file
30297208          Caron, Laura                    Address on file
30278867          Name on file                    Address on file
30261515          Name on file                    Address on file
30295917          Name on file                    Address on file
30274561          Name on file                    Address on file
30251354          Name on file                    Address on file
29951502          CARRARA ASBORNO DELUCCHI ETAL   Address on file
30257640          Name on file                    Address on file
30260998          Name on file                    Address on file
30285027          Name on file                    Address on file
30257374          Name on file                    Address on file
29956126          CARRINGTON COMPANY              CARSON MALL SHOPPING CENTER     PO BOX 1328                                                                            EUREKA              CA           95502
30284391          Name on file                    Address on file
30288786          Name on file                    Address on file
30331861          Name on file                    Address on file
30278551          Name on file                    Address on file
30217878          Name on file                    Address on file
29912381          CARSON OPTICAL                  2070 5TH AVE                                                                                                           RONKONKOMA          NY           11779
29912381          CARSON OPTICAL                  2070 5TH AVE                                                                                                           RONKONKOMA          NY           11779
30348589          Carson Optical Inc.             2070 5th Ave                                                                                                           Ronkonkoma          NY           11779
30295013          Name on file                    Address on file
30293636          Name on file                    Address on file
30293003          Name on file                    Address on file
29912393          CARTER STONE                    Address on file
30260709          Name on file                    Address on file
30258349          Name on file                    Address on file
30287018          Name on file                    Address on file
30287061          Name on file                    Address on file
30284849          Name on file                    Address on file
30258583          Name on file                    Address on file
30276250          Name on file                    Address on file
30281939          Name on file                    Address on file




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  ADDRESS ID                           NAME                           ADDRESS 1                         ADDRESS 2                      ADDRESS 3          ADDRESS 4                    CITY        STATE     POSTAL CODE        COUNTRY
30259933          Name on file                            Address on file
30297210          Name on file                            Address on file
30262723          Name on file                            Address on file
30257008          Name on file                            Address on file
30258247          Name on file                            Address on file
30273868          Name on file                            Address on file
30276917          Name on file                            Address on file
29912398          CARWOOD SKYPARK LLC                     C/O INVESTEC MANAGEMENT CORP       200 E CARILLO STREET STE 200                                             SANTA BARBARA           CA           93101
29912406          CASA DE LUNA VENTURES LP                C/O VINTAGE PROPERTIES LP          3900 PELANDALE AVE., #160                                                MODESTO                 CA           95356
30263234          Name on file                            Address on file
30296557          Name on file                            Address on file
30224798          Name on file                            Address on file
29912421          CASCADE NATURAL GAS                     400 N 4TH STREET                                                                                            BISMARCK                ND           58501
30197724          Cascade Natural Gas Go                  400 N 4th St                                                                                                Bismarck                ND           58501
29912422          CASCADE SQUARE LLC                      C/O MERCURY DEVELOPMENT            15350 SW SEQUOIA PKWY #140                                               PORTLAND                OR           97224
29912423          CASCADE SQUARE MERCHANTS ASSOC          PO BOX 2297                                                                                                 THE DALLES              OR           97058
30257541          Name on file                            Address on file
30258749          Name on file                            Address on file
30286069          Name on file                            Address on file
30283527          Name on file                            Address on file
29956136          CASEYVILLE TOWNSHIP SEWER SYSTEM (IL)   #1 ECOLOGY DRIVE                                                                                            O’FALLON                IL           62269
30261432          Name on file                            Address on file
29912451          CASS COUNTY ELECTRIC COOPERATIVE        4100 32ND AVE. S.                                                                                           FARGO                   ND           58104
30280213          Name on file                            Address on file
30263312          Name on file                            Address on file
29912504          CASSANDRA LOHR                          Address on file
30276576          Name on file                            Address on file
30263681          Name on file                            Address on file
30292506          Name on file                            Address on file
30262081          Name on file                            Address on file
30223353          Name on file                            Address on file
30223353          Name on file                            Address on file
30273686          Name on file                            Address on file
30274027          Name on file                            Address on file
29912571          CASTLETON INVESTORS LLC                 NIFONG REALTY                      895 LOMBARDI AVE.                                                        GREEN BAY               WI           54304
30276775          Name on file                            Address on file
30285575          Name on file                            Address on file
30331906          Name on file                            Address on file
30285958          Name on file                            Address on file
29949467          CATAN GLOBAL IMPORT LTD                 31 MWSS SERVICE ROAD               Z02                                                                      TALIPAPA QUEZON CITY                 1116            PHILIPPINES
30166957          Catan Global Imports, LLC               2867 Forest Lake Dr                                                                                         Westlake                OH           44145‐1781
30274094          Name on file                            Address on file
29952454          CATHERINE J. KUHN                       Address on file
30331615          Name on file                            Address on file
29912691          CATHLENE RITTHALER                      Address on file
30200600          CATHY STAWASZ‐STROTHEIDE                Address on file
30258037          Name on file                            Address on file
30261487          Catrette, Barbara Ann                   Address on file
30225179          Name on file                            Address on file
30257297          Name on file                            Address on file
30261081          Name on file                            Address on file
30232465          Name on file                            Address on file
30284545          Name on file                            Address on file
30331971          Name on file                            Address on file
30262830          Name on file                            Address on file
30286594          Name on file                            Address on file
30258873          Name on file                            Address on file
30263054          Name on file                            Address on file
30200829          CAYLEE GREYVENSTEIN                     Address on file
29912731          CBL & ASSOCIATES LP                     CBL WESTGATE CROSSING PROPCO LLC   P.O. BOX 749487                                                          ATLANTA                 GA           30374‐9487
29912734          CBL & ASSOCIATES LTD PARTNERSHIP        NORTHPARK MALL                     P.O. BOX 749450                                                          ATLANTA                 GA           30374‐9450
29912733          CBL & ASSOCIATES LTD PARTNERSHIP        SOUTHAVEN TOWNE CTR II LLC         PO BOX 8663                                                              CAROL STREAM            IL           60197‐8663
29912738          CBTS TECHNOLOGY SOLUTIONS LLC           1507 SOLUTIONS CENTER                                                                                       CHICAGO                 IL           60677‐1005
29912739          CC INTERNATIONAL LLC                    3959 TEMESCAL CANYON ROAD                                                                                   CORONA                  CA           92883




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29912740          CC INTERNATIONAL LLC                           DBA CRAFTERS COMPANION                    3321 SOUTH SUSAN STREET                                                            SANTA ANA               CA           92704
30183302          CCA and B, LLC dba The Lumistella Company      Attn: Amber Ellingson                     3350 Riverwood Pkwy SE, Ste 300                                                    Atlanta                 GA           30339
29912744          CCA‐RENAISSANCE SQUARE                         SHOPPING CENTER LLC                       PO BOX 913340                                                                      DENVER                  CO           80291‐3340
30297299          CDE LIGHTBAND                                  PO BOX 31509                                                                                                                 CLARKSVILLE             TN           37040‐0026
29912753          CEACO                                          70 BRIDGE ST                                                                                                                 NEWTON                  MA           02458
30259847          Ceaco Inc                                      Ernest J Montipagni                       250 Royall St                     Ste 310 West                                     Canton                  MA           02021
30286138          Name on file                                   Address on file
30262416          Name on file                                   Address on file
29912782          CECILIA KULP                                   Address on file
30259224          Name on file                                   Address on file
29912798          CEDAR CREST SQUARE ASSOCIATES LP               6 EAST 45TH ST., STE. #801                                                                                                   NEW YORK                NY           10017
29912802          CEDAR PCP‐SAN SOUCI LLC                        WHEELER REAL ESTATE CO.                   2529 VIRGINIA BEACH BLVD.                                                          VIRGINIA BEACH          VA           23452
29912805          CEDAR RAPIDS MUNICIPAL UTILITIES               1111 SHAVER RD NE                                                                                                            CEDAR RAPIDS            IA           52402
30282974          Name on file                                   Address on file
30295555          Celia, Yvonne                                  Address on file
30275055          Name on file                                   Address on file
30224961          Cellco Partnership d/b/a Verizon Wireless      William M Vermette                        22001 Loudoun County Pkwy                                                          Ashburn                 VA           20147
30262623          Name on file                                   Address on file
29912838          CENTER ASSOCIATES REALTY CORP                  1146 FREEPORT RD                          PO BOX 38427                                                                       PITTSBURGH              PA           15238
30284492          CENTER ASSOCIATES REALTY CORP.                 C/O CENTER ASSOCIATES                     PO BOX 38427                                                                       PITTSBURGH              PA           15238
30192673          CenterPoint Energy                             PO Box 1700                                                                                                                  Houston                 TX           77251
29912843          CENTERPOINT ENERGY MINNEGASCO/4671             505 NICOLLET MALL                                                                                                            MINNEAPOLIS             MN           55459‐0038
30200762          CENTERPOINT ENERGY/1325/4981/2628              1111 LOUISIANA STREET                                                                                                        HOUSTON                 TX           77002
29912845          CENTERPOINT ENERGY/1423                        1111 LOUISIANA STREET                                                                                                        HOUSTON                 TX           77002
30200725          CENTERPOINT ENERGY/2006                        1111 LOUISIANA STREET                                                                                                        HOUSTON                 TX           77002
29953854          CENTERPOINT ENERGY/4849                        1111 LOUISIANA STREET                                                                                                        HOUSTON                 TX           77002
29912849          CENTERRA MARKETPLACE                           PROPERTIES II                             2725 ROCKY MTN STE 200                                                             LOVELAND                CO           80538

30331315          Centerra Retail Shops, LLC                     c/o McWhinney Real Estate Services, LLC   2725 Rocky Mountain Avenue        Suite 200                                        Loveland                CO           80538

30223870          Centerton Square, LLC                          c/o Sirlin Lesser & Benson, P.C.          Attn: Dana S. Plon, Esq           123 South Broad Street, Suite 2100               Philadelphia            PA           19109
30292339          Name on file                                   Address on file
29912864          CENTRAL GEORGIA EMC (ELEC)                     923 S. MULBERRY STREET                                                                                                       JACKSON                 GA           30233
29912865          CENTRAL HOOKSETT WATER                         10 WATER WORKS DR.                                                                                                           HOOKSETT                NH           03106
30331224          Central Hudson Gas & Electric                  VP Regulatory Affairs                     284 South Ave                                                                      Poughkeepsie            NY           12601
29912867          CENTRAL HUDSON GAS & ELECTRIC CO               284 SOUTH AVENUE                                                                                                             POUGHKEEPSIE            NY           12601‐4839
29912870          CENTRAL MAINE POWER (CMP)                      83 EDISON DRIVE                                                                                                              AUGUSTA                 ME           04336
29912871          CENTRAL MALL REALTY HOLD., LLC                 2259 SOUTH 9TH STREET                                                                                                        SALINA                  KS           67401
29912874          CENTRAL PLAZA MZL LLC                          C/O KPR, ACCOUNTS RECEIVABLE              535 FIFTH AVENUE, 12TH FLOOR                                                       NEW YORK                NY           10017
30200556          CENTRAL SHOPPING CENTERS CC LLC                c/o James Schwitalla                      12954 SW 133RD CT                                                                  Miami                   FL           33186
29912876          CENTRAL SHOPPING CTRS CC LLC                   C/O COLLIERS                              PO BOX 531124                                                                      BIRMINGHAM              AL           35253
29912880          CENTRAL VERMONT SHOPPING CENTER LLC            PO BOX 6                                                                                                                     BURLINGTON              VT           05402
30213410          Central Vermont Shopping Center, LLC           c/o Pomerleau Real Estate                 69 College Street                                                                  Burlington              VT           05401
30289533          Name on file                                   Address on file
30164605          Century Customs Brokerage, LLC                 140 Eastshore Drive                       Suite 210                                                                          Glenn Allen             VA           23059
30200790          CENTURY DISTRIBUTION SYS INC                   140 EAST SHORE DR. #210                                                                                                      GLEN ALLEN              VA           23059
30163454          Century Distribution Systems, Incorporated     140 Eastshore Drive                       Suite 210                                                                          Glenn Allen             VA           23059
                  CenturyLink Communications, LLC( f/k/a Qwest
30197347          Communications Company, LLC)                   c/o Lumen Technologies Group              Attn: Legal‐BKY                   931 14th Street, 9th Floor                       Denver                  CO           80202
29952987          CERES NEWINGTON ASSOCIATES LLC                 PO BOX 222143                                                                                                                GREAT NECK              NY           11022‐2143
29952988          CERTIFIED PEST CONTROL INC                     239 OLD BROOKPARK RD                                                                                                         CLEVELAND               OH           44109
30224676          Name on file                                   Address on file
30260587          Name on file                                   Address on file
30285722          Name on file                                   Address on file
30261712          Name on file                                   Address on file
30292315          Name on file                                   Address on file
29912892          CFP FIRE PROTECTION INC                        CONSOLIDATED FIRE PROTECTION              153 TECHNOLOGY DR., #200                                                           IRVINE                  CA           92618
30257293          Name on file                                   Address on file
30256534          Name on file                                   Address on file
30262420          Name on file                                   Address on file
30259939          Name on file                                   Address on file
30274978          Name on file                                   Address on file
30285049          Name on file                                   Address on file
30279918          Name on file                                   Address on file




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30279926          Name on file                              Address on file
30280519          Name on file                              Address on file
30297326          Name on file                              Address on file
30284241          Name on file                              Address on file
30259301          Name on file                              Address on file
29912924          CHAMPO                                    HARIRAMPUR, AURAI ROAD           BHADOHI                                                                       UTTER PRADESH                            221401          INDIA
30192688          Champo Carpets                            Harirampur                       Aurai Road                                                                    Bhadohi, UP                                              India
30167503          CHAMPO CARPETS                            Address on file
30285781          Name on file                              Address on file
30257696          Name on file                              Address on file
30261779          Name on file                              Address on file
30276807          Name on file                              Address on file
30260247          Name on file                              Address on file
30257611          Name on file                              Address on file
30293156          Name on file                              Address on file
30331391          Name on file                              Address on file
29912937          CHANGSHU WINWAY TEXTILE CO LTD            4/F, 10# FUCHUNJIANG EAST ROAD   BUILDING A, GULI TOWN                                                         CHANGSHU CITY                            215533          CHINA
30277754          Changshu Winway Textile Co., Ltd          David Wang                       4/F Building A                      10# Fuchunjiang East Road                 Changshu City, Jiangsu                   21553           China
                                                                                             4F Building A, 10# Fuchunjiang East
30231927          Changshu Winway Textile Co., Ltd          David Wang                       Road                                                                          Changshu City, Jiangsu                   21553           China
30277869          Changshu Winway Textile Co.,Ltd           David Wang                       4/F Building A                      10# Fuchunjiang East Road                 Changshu City, Jiangsu CN                21553           China

29912938          CHANGZHOU CITY HENGFENG WEAVE CO LTD      90# LIGONG RD                                                                                                  CHANGZHOU                                213000          CHINA
30164697          Changzhou City Hengfeng Weave Co., Ltd.   90# Ligong Road.                                                                                               Changzhou, JS                            213018          China
30229401          Name on file                              Address on file
30261789          Name on file                              Address on file
30232416          Name on file                              Address on file
30280822          Name on file                              Address on file
30257842          Name on file                              Address on file
30278078          Name on file                              Address on file
30260844          Name on file                              Address on file
29913018          CHARLES WILDEY                            Address on file
30262977          Name on file                              Address on file
30279105          Name on file                              Address on file
                  CHARTER TOWNSHIP OF LANSING WEST SIDE
29913081          WA                                        3209 WEST MICHIGAN AVENUE                                                                                      LANSING                     MI           48917
30200793          CHARTER WARWICK LLC                       PO BOX 823201                                                                                                  PHILADELPHIA                PA           19182
29956256          CHASE GREEN MOUNTAIN LTD PART             P.O. BOX 783163                                                                                                PHILADELPHIA                PA           19178‐3163
30257725          Name on file                              Address on file
30258238          Name on file                              Address on file
30263642          Name on file                              Address on file
29913099          CHATTANOOGA GAS COMPANY/5408              2207 OLAN MILLS DR                                                                                             CHATTANOOGA                 TN           37421
30331819          Name on file                              Address on file
30331823          Name on file                              Address on file
30259282          Name on file                              Address on file
29913104          CHAUTAUQUA MALL REALTY HOLD LLC           1010 NORTHERN BLVD #212                                                                                        GREAT NECK                  NY           11021
30297076          Chautauqua Mall Realty Holding, LLC       Ansell Grimm & Aaron, P.C.       c/o Anthony J. D'Artiglio, Esq.    365 Rifle Camp Road                        Woodland Park               NJ           07424
30223876          Name on file                              Address on file
30273920          Name on file                              Address on file
30259429          Name on file                              Address on file
30262174          Name on file                              Address on file
30257565          Name on file                              Address on file
30232406          Name on file                              Address on file
30224015          Name on file                              Address on file
30285561          Name on file                              Address on file
29913153          CHELSEA REAGAN                            Address on file
30262288          Name on file                              Address on file
30259242          Name on file                              Address on file
30256938          Name on file                              Address on file
29913194          CHERRIE TIRKO                             Address on file
29913201          CHERRYLL LINDEMANN                        Address on file
29913203          CHERYL A. GREENE                          Address on file
29913208          CHERYL ARENSMEYER                         Address on file
29956312          CHERYL COTE                               Address on file




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30200648          CHERYL PENTA                                    C/O SIMON & SIMON, PC            ATTN: MACKENZIE BINCE, ESQ.   100 CAMBRIDGE STREET           14TH FLOOR             BOSTON                    MA           02114
29952655          CHESAPEAKE UTILITIES                            500 ENERGY LN                                                                                                        DOVER                     DE           19901‐4988
30296158          Name on file                                    Address on file
30257442          Name on file                                    Address on file
29913271          CHESTERFIELD TOWNSHIP, MI                       47275 SUGARBUSH ROAD                                                                                                 CHESTERFIELD              MI           48047‐5156
29913272          CHESTNUT COURT DARIEN IL LLC                    C/O MID‐AMERICA ASSET MGMT INC   PO BOX 171                                                                          EMERSON                   NJ           07630
30259538          Name on file                                    Address on file
30276674          Name on file                                    Address on file
30285783          Name on file                                    Address on file
30274785          Name on file                                    Address on file
30285485          Name on file                                    Address on file
30292504          Name on file                                    Address on file
30260979          Name on file                                    Address on file
30261866          Name on file                                    Address on file
30221932          Name on file                                    Address on file
30223372          Name on file                                    Address on file
30223372          Name on file                                    Address on file
30260203          Name on file                                    Address on file
29913335          CHILLICOTHE UTILITIES DEPT, OH                  26 S PAINT ST                                                                                                        CHILLICOTHE               OH           45601
30258933          Name on file                                    Address on file
30259330          Name on file                                    Address on file
30166602          China Manufacturing Solution Limited            20 Lyon Ridge                                                                                                        Aliso Viejo               CA           92656
29913340          CHINA MANUFACTURING SOLUTION LTD                ROOM 1805, 18F RIGHTFUL CENTRE   12 TAK HING STREET                                                                  JORDAN                                 999077          HONG KONG
                  China National Art & Crafts Imp & Exp Huayong
30258585          Corp.                                           Archer & Greiner, P.C.           Jiangang Ou                   3040 Post Oak Blvd.            Ste. 1800‐150          Houston                   TX           77056
                                                                                                   NO 37 4F 199 LANE YONG FENG
29913342          CHINA NATIONAL ARTS & CRAFTS                    I/E HUAYONG CORP                 ROAD                                                                                NINGBO                                 315010          CHINA
30164811          China Surplus International Limited             UNIT 2508A,                      25/F, BANK OF AMERICA TOWER                                                         HONG KONG                              999077          HONG KONG
29913343          CHINA SURPLUS INTERNATIONAL LIMITED             UNIT 2508A                       25/F BANK OF AMERICA TOWER                                                          CENTRAL                                                HONG KONG
30279125          Chinatex Inc.                                   C/O Dehang Chen LLC              233 Broadway                  Suite 2205                                            New York                  NY           10279
29913344          CHINATEX ORIENTAL U.S.A. INC                    209 WEST 40TH ST, 4TH FL                                                                                             NEW YORK                  NY           10018
29913345          CHINATEX ORIENTAL USA INC                       209 W 40TH STREET                                                                                                    NEW YORK                  NY           10018
30263674          Name on file                                    Address on file
30285337          Name on file                                    Address on file
30200699          CHIQUITA BAILEY                                 Address on file
30275239          Name on file                                    Address on file
29913387          CHLOE JACKMAN PHOTOGRAPHY                       Address on file
30168065          Chloe Jackman Studios, LLC                      147A Clement St                                                                                                      San Francisco             CA           94118
29913438          CHM DEVELOPMENT CO                              C/O NANCY DREYER                 PO BOX 4953                                                                         KETCHUM                   ID           83340
30217856          CHM Development LLC                             PO Box 4953                                                                                                          Ketchum                   Id           83340
30164701          CHM Development LLC                             P O Box 4953                                                                                                         Ketchum                   ID           83340
30232812          Name on file                                    Address on file
30331761          Name on file                                    Address on file
30164673          ChocDecor BV                                    Nele Marginet                    Spieveldstraat 29                                                                   Lokeren                                BE‐9160         Belgium
29949468          CHOCDECOR BV                                    SPIEVELDSTRAAT 29                                                                                                    LOKEREN                                9160            BELGIUM
30258682          Name on file                                    Address on file
30273987          Name on file                                    Address on file
30223397          Name on file                                    Address on file
30164617          Choon's Design LLC                              23660 Research Dr., STEA                                                                                             Farmington Hills          MI           48335
29913440          CHOON'S DESIGN LLC                              23600 RESEARCH DRIVE                                                                                                 FARMINGTON HILLS          MI           48335
30258511          Name on file                                    Address on file
30227130          Name on file                                    Address on file
30293414          Name on file                                    Address on file
30259477          Name on file                                    Address on file
30261224          Name on file                                    Address on file
29913447          CHRIS GIANULIAS                                 Address on file
30200621          CHRIS MARKS                                     Address on file
29913453          CHRIS MCLIN                                     Address on file
30274455          Name on file                                    Address on file
30284126          Name on file                                    Address on file
30273888          Name on file                                    Address on file
30261799          Name on file                                    Address on file
30262067          Name on file                                    Address on file
30291134          Name on file                                    Address on file




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29913521          CHRISTIANA TOWN CENTER LLC                PO BOX 7189                                                                                                                      WILMINGTON             DE           19803
30285247          Name on file                              Address on file
30286906          Name on file                              Address on file
30261201          Name on file                              Address on file
30262460          Name on file                              Address on file
30330888          Name on file                              Address on file
29913716          CHRISTINE PERRUCCI                        Address on file
29950283          CHRISTINE TOLHURST                        Address on file
29913760          CHRISTOPHER DITULLIO                      Address on file
29913765          CHRISTOPHER FOVOZZO                       Address on file
30164025          Chroma Acrylics, Inc                      205 Bucky Dr                                                                                                                     Lititz                 PA           17543
29913869          CHROMA INC                                C/O CHROMA ACRYLICS INC               205 BUCKY DRIVE                                                                            LITITZ                 PA           17543
30287153          Name on file                              Address on file
30331258          Name on file                              Address on file
29913884          CHUGACH ELECTRIC ASSOCIATION              5601 ELECTRON DRIVE                                                                                                              ANCHORAGE              AK           99518
30263046          Name on file                              Address on file
30259975          Name on file                              Address on file

30260687          CI Warner Robbins, LLC                    c/o Michael Busenkell, Esquire        Gellert Seitz Busenkell & Brown, LLC 1201 N. Orange Street         Suite 300               Wilmington             DE           19801
30274541          Name on file                              Address on file
30200843          CIC PLUS LLC                              PO BOX 841971                                                                                                                    LOS ANGELES            CA           90084‐1971
30275416          Name on file                              Address on file
30274748          Name on file                              Address on file
30261821          Name on file                              Address on file
30331853          Name on file                              Address on file
30282239          Name on file                              Address on file
30263138          Cindoco Wood Products Co.                 410 Mt. Clifton Drive                                                                                                            Mount Orab             OH           45154
29913957          CINDY HARRIS                              Address on file
30259357          Name on file                              Address on file
30200878          CINTAS CORP                               LOCATION #256                         PO BOX 630910                                                                              CINCINNATI             OH           45263‐0910
30181584          Cintas Corporation                        c/o Steve Malkiewicz                  Stephen Malkiewicz                  6800 Cintas Blvd                                       Mason                  OH           45040
30258609          Name on file                              Address on file
30259884          Name on file                              Address on file
29913998          CIRCLE LOGISTICS INC                      1950 W. COOK RD.                                                                                                                 FORT WAYNE             IN           46818
29914003          CIRILIA ROSE                              Address on file
30280109          Name on file                              Address on file
30277138          Name on file                              Address on file
29914010          CITIGROUP COM MORTAGE TRUST 2006‐C4       5522 SHAFFER RD LLC                   DUBOIS MALL                         5522 SHAFFER RD STE 125                                DU BOIS                PA           15801
29914012          CITIZENS ENERGY GROUP/7056                2020 NORTH MERIDIAN ST.                                                                                                          INDIANAPOLIS           IN           46202
29914013          Citizens Gas Fuel CO MI                   P.O. Box 40                                                                                                                      Adrian                 MI           49221‐0040
29914014          CITIZENS GAS FUEL CO MI                   127 N MAIN ST                                                                                                                    ADRIAN                 MI           49221‐2711
29914018          CITY & COUNTY OF BUTTE‐SILVER BOW         155 W GRANITE STREET                                                                                                             BUTTE                  MT           59701
29914027          CITY OF ABILENE, TX                       4595 S 1ST ST                                                                                                                    ABILENE                TX           79604‐3479
29914031          CITY OF AKRON‐UTILITIES BUSINESS OFFICE   1180 S. MAIN STREET, SUITE 110                                                                                                   AKRON                  OH           44301
29914034          CITY OF ALBUQUERQUE                       FALSE ALARM REDUCTION UNIT            P.O. BOX 25700                                                                             ALBUQUERQUE            NM           87125
29914038          CITY OF ALEXANDRIA, LA                    915 3RD ST                                                                                                                       ALEXANDRIA             LA           71301
30182753          City of Alhambra                          68 S First St                                                                                                                    Alhambra               CA           91801
                                                            DAVID R DOLPHIN, DEPUTY DIRECTOR OF
29914041          CITY OF ALHAMBRA, CA                      UTILITIES                             111 S FIRST STREET                                                                         ALHAMBRA               CA           91801
29956424          CITY OF ALLEN PARK ‐ WATER                15915 SOUTHFIELD                                                                                                                 ALLEN PARK             MI           48101‐2512
29956429          CITY OF ALTAMONTE SPRINGS, FL             225 NEWBURYPORT AVE                                                                                                              ALTAMONTE SPRINGS      FL           32701
29956431          CITY OF ANGOLA, IN                        210 NORTH PUBLIC SQUARE                                                                                                          ANGOLA                 IN           46703
29914048          CITY OF ASHLAND, KY                       1700 GREENUP AVE                                                                                                                 ASHLAND                KY           41101
29956436          CITY OF AUBURN HILLS LOCKBOX, MI          1500 BROWN RD                                                                                                                    AUBURN HILLS           MI           48326
30291694          CITY OF AUSTIN UTILITIES                  ATTN: BANKRUPTCY                      4815 MUELLER BLVD                                                                          AUSTIN                 TX           78723
29956441          CITY OF AUSTIN, TX                        301 W 2ND ST                                                                                                                     AUSTIN                 TX           78701
29956443          CITY OF AVONDALE, AZ                      11465 WEST CIVIC CENTER DRIVE                                                                                                    AVONDALE               AZ           85323
30200724          CITY OF BANGOR, ME                        498 MAINE AVENUE                                                                                                                 BANGOR                 ME           04401
29914058          CITY OF BATTLE CREEK, MI                  10 N. DIVISION ST.                                                                                                               BATTLE CREEK           MI           49014
29914059          CITY OF BAXTER, MN                        13190 MEMORYWOOD DR                                                                                                              BAXTER                 MN           56425
29914060          CITY OF BEAUMONT                          RECORDS MGT ALARMS UNIT               PO BOX 3827                                                                                BEAUMONT               TX           77704
29914062          CITY OF BEAUMONT, TX                      801 MAIN ST                                                                                                                      BEAUMONT               TX           77701
29953518          CITY OF BELTON, MO                        506 MAIN ST                                                                                                                      BELTON                 MO           64012
29953521          CITY OF BEND, OR/34533                    62975 BOYD ACRES ROAD                                                                                                            BEND                   OR           97701




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29914069          CITY OF BISMARCK, ND                         221 N 5TH ST                                                                                           BISMARCK                 ND       58501
29914072          CITY OF BLOOMINGTON ‐ 801214                 1800 WEST OLD SHAKOPEE ROAD                                                                            BLOOMINGTON              MN       55431‐3027
29914074          CITY OF BLOOMINGTON UTILITIES, IN            401 N MORTON ST                                                                                        BLOOMINGTON              IN       47404
29956455          CITY OF BOZEMAN, MT                          121 N ROUSE AVE                                                                                        BOZEMAN                  MT       59715
29956458          CITY OF BRIGHTON, MI                         DEPT 3060                                                                                              LANSING                  MI       48909‐8016
30333572          City of Brookfield                           2000 N Calhoun Road                                                                                    Brookfield               WI       53005
29914081          CITY OF BUENA PARK, CA                       6650 BEACH BLVD                                                                                        BUENA PARK               CA       90621
29914084          CITY OF BULLHEAD CITY, AZ                    2355 TRANE RD                                                                                          BULLHEAD CITY            AZ       86442
29956463          CITY OF CARBONDALE, IL                       200 S ILLINOIS AVE                                                                                     CARBONDALE               IL       62901
30224056          City of Charlottesville                      605 E Main Street Rm A120                                                                              Charlottesville          VA       22902
30224052          City of Charlottesville                      605 E Main Street Rm A120                                                                              Charlot                  VA       22902
30224086          City of Charlottesville                      605 E Main St Rm A120                                                                                  Charlottesville          VA       22902
29956473          CITY OF CHARLOTTESVILLE, VA                  605 E MAIN ST                                                                                          CHARLOTTESVILLE          VA       22902
29914090          CITY OF CHATTANOOGA, TN                      101 E 11TH ST                                                                                          CHATTANOOGA              TN       37402
29914099          CITY OF CHICO, CA                            411 MAIN STREET                                                                                        CHICO                    CA       95928
29956479          CITY OF CHINO, CA                            ATTN: WATER DEPARTMENT             13220 CENTRAL AVENUE                                                CHINO                    CA       91710
29956485          CITY OF CLEVELAND DIVISION OF WATER          1201 LAKESIDE AVE.                                                                                     CLEVELAND                OH       44114
29914101          CITY OF CLOVIS, CA                           1033 FIFTH STREET                                                                                      CLOVIS                   CA       93612
29914110          CITY OF COLUMBIA, MO                         701 E BROADWAY                                                                                         COLUMBIA                 MO       65205
29914112          CITY OF COLUMBIA, SC ‐ WATER                 1737 MAIN ST                                                                                           COLUMBIA                 SC       29201
29914113          CITY OF COLUMBUS                             90 WEST BROAD STREET                                                                                   COLUMBUS                 OH       43215
29914117          CITY OF CONCORD, NH                          311 NORTH STATE STREET                                                                                 CONCORD                  NH       03301
29914123          CITY OF CORONA, CA                           400 S. VICENTIA AVE.                                                                                   CORONA                   CA       92882
                                                               ATTN: ADELITA CAVADA, BANKRUPTCY
30185129          CITY OF CORPUS CHRISTI                       ATTORNEY                           PO BOX 9277                                                         CORPUS CHRISTI           TX       78469‐9277
29914126          CITY OF CORPUS CHRISTI/659880                1201 LEOPARD ST                                                                                        CORPUS CHRISTI           TX       78401
29914129          CITY OF CORVALLIS, OR                        ATTN: WATER DEPARTMENT             501 SW MADISON AVE                                                  CORVALLIS                OR       97333
29914131          CITY OF COUNTRYSIDE, IL                      803 W JOLIET RD                                                                                        COUNTRYSIDE              IL       60525
29914139          CITY OF DALLAS, TX                           CITY HALL 2D SOUTH                                                                                     DALLAS                   TX       75277
29914148          CITY OF DAYTONA BEACH, FL                    301 S RIDGEWOOD AVE                                                                                    DAYTONA BEACH            FL       32114
29914152          CITY OF DEFIANCE, OH                         631 PERRY STREET                                                                                       DEFIANCE                 OH       43512
30217853          City of Denton, Denton Municipal Utilities   215 E McKinney St                                                                                      Denton                   TX       76201
29914154          CITY OF DENTON, TX                           215 E MCKINNEY ST                                                                                      DENTON                   TX       76201
29914159          CITY OF DOVER UTILITY                        WEYANDT HALL‐ 5 E REED ST.                                                                             DOVER                    DE       19901
29951711          CITY OF DUBUQUE, IA                          50 W 13TH ST                                                                                           DUBUQUE                  IA       52001
29951713          CITY OF DULUTH COMFORT SYSTEMS               520 GARFIELD AVE                                                                                       DULUTH                   MN       55802
29951716          CITY OF DUNBAR, WV                           210 12TH ST                                                                                            DUNBAR                   WV       25064
30401026          City of Durham                               101 City Hall Plaza, Suite 1100                                                                        Durham                   NC       27701
29914168          CITY OF ELYRIA ‐ ELYRIA PUBLIC UTILITIES     131 COURT STREET, FIRST FLOOR                                                                          ELYRIA                   OH       44035
29951151          CITY OF EUREKA, CA                           531 K STREET                                                                                           EUREKA                   CA       95501‐1165
30201874          City of Faribault                            208 1st Ave NW                                                                                         Faribault                MN       55021
29951161          CITY OF FARIBAULT, MN                        208 1ST AVE NW                                                                                         FARIBAULT                MN       55021‐5180
30182469          City of Farmington                           City Attorney's Office             800 Municipal Drive                                                 Farmington               NM       87401
29951163          CITY OF FARMINGTON, NM                       101 N BROWNING PKWY                                                                                    FARMINGTON               NM       87401
29914176          CITY OF FINDLAY, OH                          136 N BLANCHARD ST                                                                                     FINDLAY                  OH       45840‐5894
29914177          CITY OF FLAGSTAFF, AZ                        211 W ASPEN AVE                                                                                        FLAGSTAFF                AZ       86002
29954279          CITY OF FLORENCE, SC                         324 W. EVANS STREET                                                                                    FLORENCE                 SC       29501
29954290          CITY OF FORT MYERS, FL                       2200 SECOND ST                                                                                         FORT MYERS               FL       33901
29914184          CITY OF FORT SMITH ‐ WATER                   623 GARRISON AVE                                                                                       FORT SMITH               AR       72901
29914186          CITY OF FORT WALTON BEACH, FL                107 MIRACLE STRIP PKWAY SW                                                                             FORT WALTON BEACH        FL       32548‐6614
30217430          City of Fort Worth                           100 Fort Worth Trail                                                                                   Fort Worth               TX       76102
30181833          City of Fresno, Business Tax Department      Corey Timpson                      2600 Fresno Street        Room 2031                                 Fresno                   CA       93721
29954256          CITY OF FRESNO, CA                           1626 E STREET                                                                                          FRESNO                   CA       93706
29914193          CITY OF GAINESVILLE, GA                      300 HENRY WARD WAY                                                                                     GAINESVILLE              GA       30501
30276535          City of Galesburg                            Heather Lee                        PO Box 1589                                                         Galesburg                IL       61401
29914194          CITY OF GALESBURG, IL                        55 W TOMPKINS ST                                                                                       GALESBURG                IL       61401
30200823          CITY OF GENEVA                               22 S. FIRST ST.                                                                                        GENEVA                   IL       60134
29914197          CITY OF GENEVA, IL                           22 S. FIRST ST.                                                                                        GENEVA                   IL       60134
29914204          CITY OF GLENDALE, CA ‐ WATER & POWER         613 E. BROADWAY                                                                                        GLENDALE                 CA       91206
29956489          CITY OF GOLDSBORO, NC                        200 N CENTER ST                                                                                        GOLDSBORO                NC       27530
29914206          CITY OF GRAPEVINE, TX                        200 S MAIN ST                                                                                          GRAPEVINE                TX       76051
29914214          CITY OF GREENFIELD, WI                       7325 W FOREST HOME AVE                                                                                 GREENFIELD               WI       53220
30297308          City of Greensboro                           Attn: Dorian Lanier/Collections    300 W Washington St                                                 Greensboro               NC       27401
30295683          City of Greensboro                           Attn: Dorian Lanier/Collections    300 W Washington St                                                 Greensboro               NC       27401




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29956499          CITY OF GREENSBORO, NC/1170              300 W WASHINGTON ST SUITE 220                                                                              GREENSBORO             NC           27401
30280201          City of Greenwood                        Joe Sayler                         300 S. Madison Avenue                                                   Greenwood              IN           46142
29956504          CITY OF GRETNA, LA                       740 2ND ST                                                                                                 GRETNA                 LA           70053
29956506          CITY OF GROSSE POINTE FARMS              90 KERBY ROAD                                                                                              GROSSE POINTE FARMS    MI           48236‐3161
29914221          CITY OF HEMET, CA                        445 EAST FLORIDA AVE                                                                                       HEMET                  CA           92543
30206696          City of Hermitage Sewer                  Attn: Sarah                        800 N. Hermitage Rd.                                                    Hermitage              PA           16148
29914227          CITY OF HERMITAGE, PA                    800 N HERMITAGE RD                                                                                         HERMITAGE              PA           16148
29949957          CITY OF HOLLYWOOD, FL                    2600 HOLLYWOOD BLVD                                                                                        HOLLYWOOD              FL           33020
30401309          City of Houston                          4200 Leeland                                                                                               Houston                TX           77023
29914233          CITY OF HOUSTON                          SOLID WASTE DEPT                   PO BOX 1562                                                             HOUSTON                TX           77251

29914235          CITY OF HOUSTON, TX ‐ WATER/WASTEWATER   901 BAGBY ST                                                                                               HOUSTON                TX           77002
29914239          CITY OF HUDSON, OH                       27 E. MAIN STREET                                                                                          HUDSON                 OH           44236
29956511          CITY OF HUMBLE, TX                       114 W HIGGINS ST                                                                                           HUMBLE                 TX           77338
29956515          CITY OF HUNTINGTON BEACH, CA             2000 MAIN STREET                                                                                           HUNTINGTON BEACH       CA           92648
30395167          City Of Hurst                            1505 Precinct Line Rd                                                                                      Hurst                  TX           76054
29956518          CITY OF HURST UTILITY BILLING            1505 PRECINCT LINE RD                                                                                      HURST                  TX           76054
29956520          CITY OF IDAHO FALLS, ID                  308 CONSTITUTION WAY                                                                                       IDAHO FALLS            ID           83402
30186344          City of Independence Utilities           P.O. Box 410                                                                                               Independence           MO           64051
30186348          City of Independence Utilities           P.O. Box 410                                                                                               Independence           MO           64051
29956523          CITY OF INDEPENDENCE UTILITIES           111 E. MAPLE                                                                                               INDEPENDENCE           MO           64050
29914242          CITY OF IOWA CITY, IA                    410 EAST WASHINGTON STREET                                                                                 IOWA CITY              IA           52240‐1826
29914250          CITY OF JACKSON UTILITY BILLING, MI      161 WEST MICHIGAN AVENUE                                                                                   JACKSON                MI           49201
29914251          CITY OF JACKSON, CA                      33 BROADWAY                                                                                                JACKSON                CA           95642
29956532          CITY OF JOLIET, IL                       150 W JEFFERSON ST                                                                                         JOLIET                 IL           60432‐4148
29914260          CITY OF KLAMATH FALLS, OR                222 S 6TH STREET                                                                                           KLAMATH FALLS          OR           97601
29956536          CITY OF LA HABRA, CA                     DEPT 23237                                                                                                 LA HABRA               CA           91185‐3237
29956543          CITY OF LAFAYETTE, IN                    20 N 6TH ST                                                                                                LAFAYETTE              IN           47901
30294175          City of Lakeland                         Alexander M. Landback, Esq.        228 S. Massachusetts Avenue                                             Lakeland               FL           33801
29914268          CITY OF LAKEWOOD, CA                     ATTN: UTILITY DEPARTMENT           5050 CLARK AVENUE                                                       LAKEWOOD               CA           90712
29956548          CITY OF LAPEER, MI                       ATTN: UTILITY DEPARTMENT           576 LIBERTY PARK                                                        LAPEER                 MI           48446
29956551          CITY OF LAS CRUCES, NM                   700 N MAIN ST                                                                                              LAS CRUCES             NM           88001
29956553          CITY OF LAWTON, OK                       212 SW 9TH ST                                                                                              LAWTON                 OK           73501‐3944
29956557          CITY OF LEWISVILLE/731962                151 W CHURCH ST                                                                                            LEWISVILLE             TX           75057
29956559          CITY OF LIMA ‐ UTILITIES, OH             424 NORTH CENTRAL AVENUE                                                                                   LIMA                   OH           45801
30200226          City of Lima, Ohio                       202 East High Street               2nd FL                                                                  Lima                   OH           45801
29914275          City of Lincoln City                     Finance Dept.                      PO Box 50                                                               Lincoln City           OR           97367
29914275          City of Lincoln City                     Finance Dept.                      PO Box 50                                                               Lincoln City           OR           97367
29914277          City Of Lincoln City, OR                 Attn: Utility Department           801 SW Hwy 101                                                          Lincoln City           OR           97367
29914277          City Of Lincoln City, OR                 Attn: Utility Department           801 SW Hwy 101                                                          Lincoln City           OR           97367
29914282          CITY OF LIVONIA WATER & SEWER DIVISION   33000 CIVIC CENTER DR                                                                                      LIVONIA                MI           48154‐3060
30288228          City of Logan                            290 N 100 W                                                                                                Logan                  UT           84321
29914285          CITY OF LOGAN, UT                        290 N 100 W                                                                                                LOGAN                  UT           84321
30351431          City of Los Angeles ‐ False Alarms       100 W First St, Room 134           ROOM 134                                                                Los Angeles            CA           90012
29956570          CITY OF LOVELAND, CO                     500 E. 3RD ST.                                                                                             LOVELAND               CO           80537
29914297          CITY OF MANHATTAN, KS                    1101 POYNTZ AVE                                                                                            MANHATTAN              KS           66502
30295659          City of Manteca                          1001 W Center St.                  Ste D                                                                   Manteca                CA           95337
29914300          CITY OF MANTECA, CA                      1001 WEST CENTER STREET                                                                                    MANTECA                CA           95337
29914302          CITY OF MAPLEWOOD                        1830 E. COUNTY RD B                                                                                        MAPLEWOOD              MN           55109
29914305          CITY OF MARGATE, FL                      5790 MARGATE BLVD                                                                                          MARGATE                FL           33063
29914307          CITY OF MARIETTA, OH                     301 PUTNAM STREET                                                                                          MARIETTA               OH           45750
29914313          CITY OF MARTINSVILLE, VA                 55 WEST CHURCH                                                                                             ST. MARTINSVILLE       VA           24112
29914316          CITY OF MATTOON, IL                      P.O. BOX 99                                                                                                MATTOON                IL           61938
29914318          CITY OF MAYFIELD HEIGHTS                 6154 MAYFIELD RD                                                                                           MAYFIELD HEIGHTS       OH           44124
29914320          CITY OF MCHENRY ‐ 333                    333 SOUTH GREEN ST                                                                                         MCHENRY                IL           60050
29914323          CITY OF MCKINNEY, TX                     222 N TENNESSEE ST                                                                                         MCKINNEY               TX           75069
29914327          CITY OF MEDFORD, OR                      LAUSMANN ANNEX 200 S. IVY STREET                                                                           MEDFORD                OR           97501
29914336          CITY OF MESA, AZ                         20 E. MAIN STREET                                                                                          MESA                   AZ           85201
29914337          CITY OF MESQUITE                         FIRE DEPARTMENT                    1515 N GALLOWAY                                                         MESQUITE               TX           75149
29914340          CITY OF MESQUITE, TX/850287              757 N GALLOWAY AVE                                                                                         MESQUITE               TX           75149
30206588          City of Midland                          333 W. Ellsworth Street                                                                                    Midland                MI           48640
29914346          CITY OF MILWAUKEE/3268                   200 E WELLS ST                                                                                             MILWAUKEE              WI           53202
30224965          City of Missoula                         Attn: Susan Aaberg                 435 Ryman                                                               Missoula               MT           59802
29914351          CITY OF MISSOULA, MT                     435 RYMAN ST                                                                                               MISSOULA               MT           59802




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  ADDRESS ID                              NAME                               ADDRESS 1                             ADDRESS 2                     ADDRESS 3                   ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
29914358          CITY OF MODESTO CA                           1010 10TH STREET                                                                                                          MODESTO                 CA           95354
29914361          CITY OF MOLINE, IL                           619 16TH ST                                                                                                               MOLINE                  IL           61265
29948923          CITY OF MONROE                               P.O. BOX 69                                                                                                               MONROE                  NC           28111‐0069
29914364          CITY OF MONROE, NC                           1005 WINCHESTER AVE                                                                                                       MONROE                  NC           28110
29956574          CITY OF MORGAN HILL, CA                      17575 PEAK AVE, STE 100                                                                                                   MORGAN HILL             CA           95037‐4128
29956577          CITY OF MORGANTON, NC                        305 E UNION ST # A100                                                                                                     MORGANTON               NC           28655
29956581          CITY OF MOUNT VERNON, WA                     910 CLEVELAND AVE                                                                                                         MOUNT VERNON            WA           98273‐4212
29914371          CITY OF MT JULIET, TN                        2425 N MT JULIET RD                                                                                                       MT. JULIET              TN           37122
29914375          CITY OF MYRTLE BEACH, SC                     937 BROADWAY ST                                                                                                           MYRTLE BEACH            SC           29577
30281633          City of Newport News, Virginia               City Attorney's Office                 c/o Pamela P. Bates            2400 Washington Ave            9th FI               Newport News            VA           23607
29956586          CITY OF NILES, OH                            34 WEST STATE STREET                                                                                                      NILES                   OH           44446‐5036
29956589          CITY OF NORMAN, OK                           201 W GRAY ST                                                                                                             NORMAN                  OK           73069
30401402          City of Norman, Oklahoma                     201 W. Gray St.                        City Attorney's Office                                                             Norman                  OK           73069
29956591          CITY OF NORTH CANTON, OH                     145 NORTH MAIN STREET                                                                                                     NORTH CANTON            OH           44720
29914385          CITY OF NORTON SHORES, MI                    4814 HENRY STREET                                                                                                         NORTON SHORES           MI           49441
30231930          City of Ocala                                201 SE 3rd Street                                                                                                         Ocala                   FL           34470
30229273          City of Ocala                                201 SE 3rd Street                                                                                                         Ocala                   FL           34470
29956600          CITY OF OCEANSIDE, CA                        WATER UTILITIES DEPARTMENT             300 NORTH COAST HIGHWAY                                                            OCEANSIDE               CA           92054
29956602          CITY OF ODESSA, TX                           411 W 8TH ST                                                                                                              ODESSA                  TX           79761
29956603          CITY OF O'FALLON, IL                         255 SOUTH LINCOLN AVENUE                                                                                                  O'FALLON                IL           62269
29956606          CITY OF OKLAHOMA CITY, OK                    200 N WALKER AVE                                                                                                          OKLAHOMA CITY           OK           73102
29914394          CITY OF ONTARIO WATER\SEWER DEPT             555 STUMBO RD                                                                                                             ONTARIO                 OH           44862
29914396          CITY OF ONTARIO, OR                          444 SW 4TH STREET                                                                                                         ONTARIO                 OR           97914
30289430          City of Oregon City                          PO BOX 3040                                                                                                               Oregon City             OR           97045
29914403          CITY OF OREGON CITY, OR                      625 CENTER STREET                                                                                                         OREGON CITY             OR           97045
29956612          CITY OF OREM, UT                             56 NORTH STATE                                                                                                            OREM                    UT           84057‐5597
29956617          CITY OF OSHKOSH, WI                          215 CHURCH AVE                                                                                                            OSHKOSH                 WI           54903
29914407          CITY OF PANAMA CITY, FL                      501 HARRISON AVE                                                                                                          PANAMA CITY             FL           32401
29956623          CITY OF PEMBROKE PINES, FL                   601 CITY CTR WY                                                                                                           PEMBROKE PINES          FL           33025
29956628          CITY OF PEORIA, AZ                           8401 W MONROE ST                                                                                                          PEORIA                  AZ           85345
29956631          CITY OF PERU, IL                             1901 4TH ST                                                                                                               PERU                    IL           61354
29956632          CITY OF PETOSKEY, MI                         101 EAST LAKE STREET                                                                                                      PETOSKEY                MI           49770
29914417          CITY OF PHOENIX, AZ ‐ 29100                  200 W WASHINGTON ST                                                                                                       PHOENIX                 AZ           85003
29914418          CITY OF PIQUA, OH                            201 WEST WATER ST                                                                                                         PIQUA                   OH           45356
29914423          CITY OF PLANTATION, FL                       400 NW 73RD AVE                                                                                                           PLANTATION              FL           33317
29914425          CITY OF POCATELLO, ID                        911 N 7TH AVENUE                                                                                                          POCATELLO               ID           83201
29950316          CITY OF PORT ANGELES, WA                     321 E. 5TH ST                                                                                                             PORT ANGELES            WA           98362‐3206
29950321          CITY OF PORTAGE, MI                          7900 SOUTH WESTNEDGE AVENUE                                                                                               PORTAGE                 MI           49002‐5160
30288234          City of Portland                             Finance Dept Sewer                     PO Box 544                                                                         Portland                ME           54112
29950328          CITY OF PRESCOTT, AZ                         201 SOUTH CORTEZ STREET                                                                                                   PRESCOTT                AZ           86302‐2059
29914430          CITY OF QUINCY                               730 MAINE ST                                                                                                              QUINCY                  IL           62301
29956638          CITY OF REDDING, CA/496081                   777 CYPRESS AVE                                                                                                           REDDING                 CA           96001
30296294          City of Redlands                             35 Cajon Street                        Ste. 15‐A                                                                          Redlands                CA           91750
29956640          CITY OF REDLANDS, CA/6903                    35 CAJON ST # 200                                                                                                         REDLANDS                CA           92373
29956642          CITY OF REDMOND, OR                          411 SW 9TH ST                                                                                                             REDMOND                 OR           97756‐2213
29914439          CITY OF RENTON, WA                           ATTN: UTILITY DEPARTMENT               1055 SOUTH GRADY WAY                                                               RENTON                  WA           98057

30259001          CITY OF RICHMOND, DEPT OF PUBLIC UTILITIES   730 E BROAD ST, 5TH FL                                                                                                    RICHMOND                VA           23219
29914441          CITY OF RICHMOND, VA                         ATTN: UTILITY DEPARTMENT                  900 E. BROAD STREET                                                             RICHMOND                VA           23219
29951680          CITY OF ROCKWALL, TX                         385 SOUTH GOLIAD STREET                                                                                                   ROCKWALL                TX           75087‐3699
30263168          CITY OF ROCKY MOUNT                          ATTN: COLLECTIONS                         PO BOX 1180                                                                     ROCKY MOUNT             NC           27802
29951683          CITY OF ROCKY MOUNT                          WATER RESOURCESDEPARTMENT                 331 SOUTH FRANKLIN STREET                                                       ROCKY MOUNT             NC           27802‐1180
29951686          CITY OF ROHNERT PARK, CA                     130 AVRAM AVE                                                                                                             ROHNERT PARK            CA           94928
                                                               Javier Arambula, Utility Customer Service
29914455          City Of Roseville, CA                        Supervisor                                116 S. Grant                Ste #100                                            Roseville               CA           95678
                                                               Javier Arambula, Utility Customer Service
29914455          City Of Roseville, CA                        Supervisor                                116 S. Grant                Ste #100                                            Roseville               CA           95678
29914457          CITY OF ROUND ROCK, TX                       221 E MAIN ST                                                                                                             ROUND ROCK              TX           78664
29953195          CITY OF SALINA, KS                           300 W ASH ST                                                                                                              SALINA                  KS           67401
29914468          CITY OF SANTA MARIA, CA                      206 E COOK ST                                                                                                             SANTA MARIA             CA           93454‐5136
29951737          CITY OF SEATTLE/SEATTLE CITY LIGHT           ATTN: LIGHT UTILITY DEPARTMENT            700 5TH AVE                                                                     SEATTLE                 WA           98104
29951738          CITY OF SEATTLE/SEATTLE PUBLIC UTILITIES     ATTN: PUBLIC WORKS DEPARTMENT             700 5TH AVE, SUITE 4900                                                         SEATTLE                 WA           98104
29951743          CITY OF SHAWNEE, OK                          16 W 9TH ST                                                                                                               SHAWNEE                 OK           74801




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  ADDRESS ID                           NAME                               ADDRESS 1                            ADDRESS 2                   ADDRESS 3          ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
                                                            Solid Waste & Recycling ‐ Commercial
30282649          City of Sherman, TX                       Billing                                PO Box 1106                                                            Sherman                   TX           75091
29914475          CITY OF SHERMAN, TX                       220 W MULBERRY STREET                                                                                         SHERMAN                   TX           75090
29914479          CITY OF SHREVEPORT, LA ‐ 30065            505 TRAVIS STREET                                                                                             SHREVEPORT                LA           71101
29914485          CITY OF SLIDELL, LA                       2056 2ND STREET                                                                                               SLIDELL                   LA           70458
29950581          CITY OF SOUTHAVEN, MS                     8710 NORTHWEST DR                                                                                             SOUTHAVEN                 MS           38671‐2410
29914491          CITY OF STEUBENVILLE, OH                  115 SOUTH THIRD STREET                                                                                        STEUBENVILLE              OH           43952
29914494          CITY OF STILLWATER, OK                    723 SOUTH LEWIS STREET                                                                                        STILLWATER                OK           74074
29914496          CITY OF STOCKTON                          PO BOX 2107                                                                                                   STOCKTON                  CA           95201
29956653          CITY OF SUGAR LAND, TX                    2700 TOWN CENTER BLVD N                                                                                       SUGA LAND                 TX           77479
29956657          CITY OF TACOMA PUBLIC UTILITIES           3628 S 35TH ST                                                                                                TACOMA                    WA           98409‐3115
29956658          CITY OF TALLAHASSEE, FL                   435 N MACOMB ST                                                                                               TALLAHASSEE               FL           32301‐1050
29914500          CITY OF TAVARES, FL                       201 E. MAIN ST.                        P.O. BOX 1068                                                          TAVARES                   FL           32778
29914503          CITY OF TAYLOR, MI ‐ WATER DEPT           25605 NORTHLINE ROAD                                                                                          TAYLOR                    MI           48180
29914506          CITY OF TERRE HAUTE/SEWER                 3200 S STATE ROAD 63                                                                                          TERRE HAUTE               IN           47802
29914510          CITY OF TIFTON, GA                        130 1ST STREET E                                                                                              TIFTON                    GA           31794
29914514          CITY OF TIGARD, OR                        8777 SW BURNHAM ST.                                                                                           TIGARD                    OR           97223
29914517          CITY OF TOLEDO‐DEPT OF PUBLIC UTILITIES   420 MADISON AVE                        #100                                                                   TOLEDO                    OH           43604
29914519          CITY OF TOPEKA, KS                        215 SE 7TH ST                                                                                                 TOPEKA                    KS           66603
29914522          CITY OF TORRANCE UTILITIES                ATTN: UTILITY DEPARTMENT               3031 TORRANCE BLVD                                                     TORRANCE                  CA           90503
29914523          CITY OF TRAVERSE CITY, MI                 604 HANNAH AVENUE                                                                                             TRAVERSE CITY             MI           49686
29914530          CITY OF TUCSON, AZ                        255 W ALMEDA ST                                                                                               TUCSON                    AZ           85701
29914531          CITY OF TUKWILA, WA                       6200 SOUTHCENTER BLVD                                                                                         TUKWILA                   WA           98188‐2599
29914534          CITY OF TULSA UTILITIES                   UTILITY SERVICES                       175 EAST 2ND ST                                                        TULSA                     OK           74103
29914538          CITY OF TURLOCK, CA                       156 S BROADWAY, SUITE 270                                                                                     TURLOCK                   CA           95380
29914541          CITY OF TUSCALOOSA, AL                    2201 UNIVERSITY BLVD                                                                                          TUSCALOOSA                AL           35401
29914544          CITY OF VACAVILLE‐                        FALSE ALARMS                           PO BOX 141866                                                          IRVING                    TX           75014
29914548          CITY OF VANCOUVER, WA/35195               415 W 6TH STREET                                                                                              VANCOUVER                 WA           98660
30200885          CITY OF VISALIA U                         UTILITIES                              PO BOX 80268                                                           CITY OF INDUSTRY          CA           91716
29914553          CITY OF VISALIA, CA ‐ UTILITY BILLING     7579 AVE 288                                                                                                  VISALIA                   CA           93277
30168062          City of Waco Water                        c/o McCreary, Veselka, Bragg & Allen   P.O. Box 1269                                                          Round Rock                TX           78680‐1269
29914555          CITY OF WACO WATER OFFICE                 425 FRANKLIN AVE                                                                                              WACO                      TX           76701
30263540          City of Walla Walla                       15 N 3rd Ave                                                                                                  Walla Walla               WA           99362
29914556          CITY OF WALLA WALLA, WA                   15 N 3RD AVE                                                                                                  WALLA WALLA               WA           99362‐1859
29956663          CITY OF WARNER ROBINS, GA                 700 WATSON BLVD                                                                                               WARNER ROBINS             GA           31093
29956666          CITY OF WARRENTON, OR                     45 SW 2ND ST.                                                                                                 WARRENTON                 OR           97146
29956669          CITY OF WASHINGTON, MO                    405 JEFFERSON STREET                                                                                          WASHINGTON                MO           63090
29914558          CITY OF WATERTOWN, NY                     245 WASHINGTON STREET                                                                                         WATERTOWN                 NY           13601
29914559          CITY OF WATERTOWN, WI                     106 JONES ST                                                                                                  WATERTOWN                 WI           53094
29914568          CITY OF WEST MELBOURNE, FL                2240 MINTON ROAD WEST                                                                                         MELBOURNE                 FL           32904
29914570          CITY OF WINTER GARDEN, FL                 300 W PLANT ST                                                                                                WINTER GARDEN             FL           34787‐3009
29914572          CITY OF WOODBURY, MN                      8301 VALLEY CREEK ROAD                                                                                        WOODBURY                  MN           55125
30278655          City of Yakima                            Joshua James Busey                     129 N. 2nd St.                                                         Yakima                    WA           98901
                                                            Joshua James Busey ‐ Assistant City
30279567          City of Yakima                            Attorney                               129 N. 2nd St.                                                         Yakima                    WA           98901
30278647          City of Yakima                            Joshua James Busey                     129 N. 2nd St.                                                         Yakima                    WA           98901
                                                            Joshua James Busey ‐ Assistant City
30279563          City of Yakima                            Attorney                               129 N. 2nd St.                                                         Yakima                    WA           98901
30297319          City Treasurer                            City of Madison Municipal Services     Attn: Crystal Dollard       119 E Olin Ave                             Madison                   WI           53713
29954368          CITY TREASURER MADISON ‐ WI               210 MARTIN LUTHER KING JR BLVD         #107                                                                   MADISON                   WI           53703
29954369          CITY TREASURER, VIRGINIA BEACH            2401 COURTHOUSE DR                                                                                            VIRGINIA BEACH            VA           23456‐9018
29954371          CITY TREASURER‐PUBLIC UTILITIES DEPT      9192 TOPAZ WAY                                                                                                SAN DIEGO                 CA           92123
29914583          CITY UTILITIES COMMISSION (CORBIN, KY)    1515 CUMBERLAND FALLS HWY                                                                                     CORBIN                    KY           40701
29914585          CITY UTILITIES OF SPRINGFIELD, MO         301 E CENTRAL STREET                                                                                          SPRINGFIELD               MO           65802
29914587          CITY WATER & LIGHT (CWL)                  400 E MONROE AVE                                                                                              JONESBORO                 AR           72401
30284387          City Water and Light of Jonesboro, AR     400 E Monroe Ave                                                                                              Jonesboro                 AR           72401
30284566          City Water and Light of Jonesboro, AR     400 E Monroe Ave                                                                                              Jonesboro                 AR           72401
30276868          Name on file                              Address on file
29914591          CL SERVICES INC                           4245 INTERNATIONAL PKWY #125                                                                                  ATLANTA                   GA           30354
29953563          CLACKAMAS RIVER WATER                     16770 SE 82ND DR                                                                                              CLACKAMAS                 OR           97015

29953565          CLACKAMAS WATER ENVIRONMENT SERVICES      ATTN: UTILITY DEPARTMENT               150 BEAVERCREEK ROAD #430                                              OREGON CITY               OR           97045
30278963          Name on file                              Address on file
30223415          Name on file                              Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                       ADDRESS 2                    ADDRESS 3          ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30331483          Name on file                            Address on file
30257714          Clark Public Utilities                  PO Box 8900                                                                                              Vancouver            WA           98668
29914683          CLARK PUBLIC UTILITIES                  ATTN: UTILITY DEPARTMENT         1200 FORT VANCOUVER WAY                                                 VANCOUVER            WA           98663
30284969          Name on file                            Address on file
30293356          Name on file                            Address on file
30260336          Name on file                            Address on file
30260189          Name on file                            Address on file
30284025          Name on file                            Address on file
30275193          Name on file                            Address on file
30225321          Name on file                            Address on file
30251273          Name on file                            Address on file
30285361          Name on file                            Address on file
30273862          Name on file                            Address on file
30281843          Name on file                            Address on file
30262238          Name on file                            Address on file
30231594          Name on file                            Address on file
30278545          Name on file                            Address on file
30261463          Name on file                            Address on file
30287162          Name on file                            Address on file
30263349          Name on file                            Address on file
30258406          Name on file                            Address on file
30257117          Name on file                            Address on file
30260988          Name on file                            Address on file
30263132          Name on file                            Address on file
29914688          CLARKSVILLE DEPARTMENT OF ELECTRICITY   2021 WILMA RUDOLPG BLVD                                                                                  CLARKSVILLE          TN           37040
29914690          CLARKSVILLE GAS & WATER DEPARTMENT      2215 MADISON ST A                                                                                        CLARKSVILLE          TN           37043
29914690          CLARKSVILLE GAS & WATER DEPARTMENT      2215 MADISON ST A                                                                                        CLARKSVILLE          TN           37043

29914694          CLARKSVILLE WASTEWATER TREATMENT DEPT, I 2000 BROADWAY ST                SUITE 136                                                               CLARKSVILLE          IN           47129
30286184          Name on file                             Address on file
29949016          CLATSOP COUNTY TAX COLLECTOR             820 EXCHANGE ST                 STE 210                                                                 ASTORIA              OR           97103
29914708          CLAUDIA GARCIA                           Address on file
30261908          Name on file                             Address on file
30283904          Name on file                             Address on file
30279542          Name on file                             Address on file
30274438          Name on file                             Address on file
30260619          Name on file                             Address on file
30275261          Name on file                             Address on file
30257706          Name on file                             Address on file
30275167          Name on file                             Address on file
29914747          CLECO POWER LLC                          2030 DONAHUE FERRY ROAD                                                                                 PINEVILLE            LA           71361‐5000
30260691          Name on file                             Address on file
30296217          Name on file                             Address on file
30296181          Name on file                             Address on file
30287365          Name on file                             Address on file
30285349          Name on file                             Address on file
30261343          Name on file                             Address on file
30281853          Name on file                             Address on file
30274181          Name on file                             Address on file
30331659          Name on file                             Address on file
30331701          Name on file                             Address on file
29914760          CLIFFORD FAMILY INTERVIVOS TRUST         GATEWAY SQ CO CLIFFORD ENTERP   818 W RIVERSIDE AVE #660                                                SPOKANE              WA           99201
30292779          Name on file                             Address on file
30259542          Name on file                             Address on file
30226473          Name on file                             Address on file
29914778          CLIVE WATER DEPARTMENT                   1900 NW 114TH STREET                                                                                    CLIVE                IA           50325‐7077
30256672          Name on file                             Address on file
30224118          Name on file                             Address on file
30284570          Name on file                             Address on file
30274499          Name on file                             Address on file
30278034          Name on file                             Address on file
29914786          CLOVER NEEDLECRAFT INC                   1441 S CARLOS AVENUE                                                                                    ONTARIO              CA           91761
30196635          Clover Needlecraft, Inc.                 PO Box 3850                                                                                             Ontario              CA           91761
29914787          CLOVIS‐HERNDON CENTER LLC                C/O UNITED SECURITY BANK        7088 NORTH FIRST STREET                                                 FRESNO               CA           93720




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30274013          Name on file                      Address on file
30274651          Name on file                      Address on file
30280856          Name on file                      Address on file
30260463          Name on file                      Address on file
30279804          Name on file                      Address on file
29914799          COACHELLA VALLEY WATER DISTRICT   75515 HOVLEY LN E                                                                                                            PALM DESERT           CA           92211‐5104
30273730          Name on file                      Address on file
30275135          Name on file                      Address on file
29914803          COATS & CLARK, INC.               13850 BALLANTYNE PLACE                                                                                                       CHARLOTTE             NC           28277
30331787          Coats and Clark, Inc.             McDermott Will & Emery LLP             c/o Bradley Thomas Giordano   444 W Lake St.                                          Chicago               IL           60606
30285163          Name on file                      Address on file
29914807          COBB COUNTY WATER SYSTEM          660 SOUTH COBB DRIVE                                                                                                         MARIETTA              GA           30060
29914809          COBB EMC                          1000 EMC PARKWAY                                                                                                             MARIETTA              GA           30060
30287453          Name on file                      Address on file
29914810          COBRINA GRIECO                    Address on file
30276795          Name on file                      Address on file
30263254          Name on file                      Address on file
30255392          Name on file                      Address on file
30273930          Name on file                      Address on file
30330902          Name on file                      Address on file
29914815          COCONUT POINT DEVELOPERS LLC      C/O COCONUT POINT TOWN CTR LLC         PO BOX 643913                                                                         PITTSBURGH            PA           15264‐3913
30295424          Coconut Point Town Center, LLC    c/o: Simon Property Group, Inc.        225 West Washington St                                                                Indianapolis          IN           46204
30356799          Coconut Point Town Center, LLC    c/o: Simon Property Group, Inc.        225 West Washington St                                                                Indianapolis          IN           46204
30263285          Name on file                      Address on file
29914829          CODY HAYES                        Address on file
30262466          Name on file                      Address on file
29914848          COFAL PARTNERS LP                 535 SMITHFIELD ST #1035                                                                                                      PITTSBURGH            PA           15222
30258372          Name on file                      Address on file
30260205          Name on file                      Address on file
30279132          Name on file                      Address on file
30224909          Name on file                      Address on file
30261073          Name on file                      Address on file
30290165          Name on file                      Address on file
30232381          Name on file                      Address on file
30260431          Name on file                      Address on file
30222006          Name on file                      Address on file
29914858          COL 1005 W COLUMBIA LLC           C/O POINT PLACE MGMT LLC               400 MEMORIAL DR EXT, #200                                                             GREER                 SC           29651
30256730          Name on file                      Address on file
30232141          Name on file                      Address on file
29914859          COLART AMERICAS                   11 CONSTITUTION AVE                                                                                                          PISCATAWAY            NJ           08855
30295768          Colart Americas Inc.              Attention To: Timothy T. Brock, Esq.   Duane Morris LLP              230 Park Avenue                Suite 1130               New York              NY           10169
30293325          Name on file                      Address on file
30260475          Name on file                      Address on file
30222072          Name on file                      Address on file
30222076          Name on file                      Address on file
30331732          Name on file                      Address on file
30286059          Name on file                      Address on file
30276429          Name on file                      Address on file
30274953          Name on file                      Address on file
30263096          Name on file                      Address on file
30295799          Name on file                      Address on file
30259919          Name on file                      Address on file
30258664          Name on file                      Address on file
30259991          Name on file                      Address on file
30223343          Name on file                      Address on file
30223343          Name on file                      Address on file
30263375          Name on file                      Address on file
30222068          Name on file                      Address on file
30260631          Name on file                      Address on file
30293851          Name on file                      Address on file
30287865          Name on file                      Address on file
30259326          Name on file                      Address on file
30221970          Name on file                      Address on file
30258041          Name on file                      Address on file




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  ADDRESS ID                           NAME                              ADDRESS 1                       ADDRESS 2                         ADDRESS 3                  ADDRESS 4                                CITY        STATE     POSTAL CODE   COUNTRY
30279812          Name on file                             Address on file
30251350          Name on file                             Address on file
30256720          Name on file                             Address on file
30288914          Name on file                             Address on file
30224017          Name on file                             Address on file
30285204          Name on file                             Address on file
30260992          Name on file                             Address on file
30281871          Name on file                             Address on file
30259121          Name on file                             Address on file
30261039          Name on file                             Address on file
30274537          Name on file                             Address on file
30256501          Name on file                             Address on file
30273956          Name on file                             Address on file
30261238          Name on file                             Address on file
29914947          COLONIA LIMITED PARTNERSHIP              33 SOUTH SERVICE ROAD                                                                                                            JERICHO                   NY           11753
29914948          COLONIAL PATTERNS                        340 W 5TH STREET                                                                                                                 KANSAS CITY               MO           64105
30186295          Colonial Patterns, Inc.                  340 W 5th St                                                                                                                     Kansas City               MO           64105
30281680          Colorado Springs Utilities               111 S Cascade Ave                                                                                                                Colorado Springs          CO           80903
29914957          COLORADO SPRINGS UTILITIES               111 S. CASCADE AVE.                                                                                                              COLORADO SPRINGS          CO           80903
30294531          Name on file                             Address on file
30288988          Name on file                             Address on file
29914967          COLUMBIA CASCADE PLAZA LLC               DBA CASCADE PLAZA                 PO BOX 31001‐0913                                                                              PASADENA                  CA           91110

30281758          Columbia Cascade Plaza, LLC              Regency Centers, LP               Attn: Legal Dept               Ernst A Bell                   1 Independent Drive, Suite 114   Jacksonville              FL           32202
29954384          COLUMBIA GAS OF KENTUCKY                 2001 MERCER ROAD                                                                                                                 LEXINGTON                 KY           40511
29954385          COLUMBIA GAS OF MARYLAND                 121 CHAMPION WAY SUITE 100                                                                                                       CANONSBURG                PA           15317
29954388          COLUMBIA GAS OF OHIO                     200 CIVIC CENTER DRIVE                                                                                                           COLUMBUS                  OH           43215
29954390          COLUMBIA GAS OF PENNSYLVANIA             121 CHAMPION WAY                                                                                                                 CANONSBURG                PA           15317
29954392          COLUMBIA GAS OF VIRGINIA                 1809 COYOTE DRIVE                                                                                                                CHESTER                   VA           23836
30295545          Columbia Mall Partnership                c/o: Simon Property Group, Inc.   225 West Washington St                                                                         Indianapolis              IN           46204
30200731          COLUMBIA MALL PARTNERSHIP                COLUMBIA CENTER                   6130 PAYSPHERE CIRCLE                                                                          CHICAGO                   IL           60674
29914972          COLUMBIANA COUNTY WATER & SEWER          39563 WELLSVILLE AVE                                                                                                             LISBON                    OH           44432
29914974          COLUMBUS ‐ CITY TREASURER                90 W BROAD STREET                 #111                                                                                           COLUMBUS                  OH           43215
29914977          COLUMBUS CITY TREASURER                  ATTN: COLUMBUS CITY TREASURER     4252 GROVES RD                                                                                 COLUMBUS                  OH           43232
29914979          COLUMBUS CITY UTILITIES                  1111 MCCLURE ROAD                                                                                                                COLUMBUS                  OH           47201
30200570          COLUMBUS FIRE & SAFETY EQUIP             PO BOX 791                                                                                                                       COLUMBUS                  GA           31902
30200570          COLUMBUS FIRE & SAFETY EQUIP             PO BOX 791                                                                                                                       COLUMBUS                  GA           31902
30259163          Columbus Water Works                     PO Box 1600                                                                                                                      Columbus                  GA           31902
29953122          COLUMBUS WATER WORKS                     1200 6TH AVENUE                                                                                                                  COLUMBUS                  GA           31902
30253961          Name on file                             Address on file
30278653          Name on file                             Address on file
30283117          Name on file                             Address on file
30274081          Name on file                             Address on file
29953128          COMED                                    C/O EXELON                        10 S DEARBORN ST, 54TH FLOOR                                                                   CHICAGO                   IL           60603
30200736          COMFORT SYSTEMS USA MID SOUTH            PO BOX 1966                                                                                                                      MONTGOMERY                AL           36102
30183281          Comfort Systems USA Mid South Inc.       PO Box 1966                                                                                                                      Montgomery                AL           36102‐1966
29914986          COMM 2012‐LC4                            SVM‐10108887 LLC                  PO BOX 715152                                                                                  CINCINNATI                OH           45271‐5152
29914990          COMMERCIAL CLEANING PROS                 PO BOX 30411                                                                                                                     WALNUT CREEK              CA           94598
29914992          COMMERCIAL REPOSITION PARTNERS 17 L      C/O PACE PROPERTIES INC           4400 COLLEGE BLVD., STE 180                                                                    OVERLAND PARK             KS           66211
                  Commonwealth of Virginia Department of
30260874          Taxation                                 PO Box 2156                                                                                                                      Richmond                  VA           23218
                  Commonwealth of Virginia Department of
30260872          Taxation                                 PO Box 2156                                                                                                                      Richmond                  VA           23218
                  COMMUNITY WATER COMPANY OF GREEN
29917192          VALLEY                                   1501 S LA CANADA DR                                                                                                              GREEN VALLEY              AZ           85622
                  COMPLETE CONSTRUCTION COMMERCIAL
30200832          SERVICES                                 1485 SERENE DR                                                                                                                   ERIE                      CO           80516
30164233          Compound Development Solutions, LLC      1030 Reed Ave                     Suite 102                                                                                      Wyomissing                PA           19610
30256712          Name on file                             Address on file
30257676          Name on file                             Address on file
29914997          CON EDISON                               390 WEST ROUTE 59                                                                                                                SPRING VALLEY             NY           10977‐5300
29914998          CONAIR CORPORATION                       1 CUMMINGS POINT ROAD                                                                                                            STAMFORD                  CT           06902
30284247          Conair LLC                               50 Millstone Road                 Bldg 300                       Suite 105                                                       East Windsor              NJ           08520




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30200864          CONCORD DESIGN CLASSICS LIMITED               FLAT A & B, 9/F                            SHING LEE COMMERCIAL BUILDING 6‐12 WING KUT STREET, CENTRAL                       HONG KONG                                               HONG KONG
29915010          CONCORD RETAIL PARTNERS LP                    PO BOX 4711                                                                                                                  LANCASTER                  PA           17601

29975504          Concord Retail Partners, L.P.                 c/o Sirlin Lesser & Benson, P.C.           Attn: Dana S. Plon, Esquire      123 South Broad Street, Suite 2100               Philadelphia               PA           19109
30257452          Concur Technologies, Inc.                     601 108th Ave NE                           Suite 1000                                                                        Bellevue                   WA           98011
30263270          Concur Technologies, Inc.                     601 108th Ave NE                           Suite 1000                                                                        Bellevue                   WA           98011
30258807          Name on file                                  Address on file
30287469          Name on file                                  Address on file
30274374          Name on file                                  Address on file
29915015          CONEJO VALLEY PLAZA 2 LLC                     C/O MILAN CAPITAL MGMT INC                 701 S. PARKER ST., #5200                                                          ORANGE                     CA           92868
30331374          Conejo Valley Plaza 2, LLC                    c/o Law Office of Corey E Taylor           629 Camino De Los Mares          Suite 305                                        San Clemente               CA           92673
30258095          Name on file                                  Address on file
30288613          Name on file                                  Address on file
30295148          Name on file                                  Address on file
30295343          Name on file                                  Address on file
30258279          Name on file                                  Address on file
30260388          Name on file                                  Address on file
30290098          Name on file                                  Address on file
30256877          Name on file                                  Address on file

30297418          Connecticut Department of Revenue Services    450 Columbus Blvd., Ste ‐ 1                Bankruptcy TEam                                                                   Hartford                   CT           06103

30297382          Connecticut Department of Revenue Services    LaTonya Gore                               450 Columbus Bld                 Ste ‐ 1 ‐ Bankruptcy                             Hartford                   CT           06103
                                                                450 Columbus Blvd., Ste ‐ 1 ‐ Bankruptcy
30297389          Connecticut Department of Revenue Services    Team                                                                                                                         Hartford                   CT           06103
30330897          Connecticut Light & Power dba Eversource      Eversource Legal                           Attn: Honor Heath                107 Selden Ave                                   Berlin                     CT           06037
29915023          Connecticut Natural Gas Corp (Cng)            76 Meadow Street                                                                                                             Heartford                  CT           06108
29915023          Connecticut Natural Gas Corp (Cng)            76 Meadow Street                                                                                                             Heartford                  CT           06108
30261428          Name on file                                  Address on file
30330927          Conner, Christine and James                   Address on file
30200649          CONNER, CHRISTINE AND JAMES                   Address on file
30331886          Name on file                                  Address on file
30288123          Name on file                                  Address on file
30261757          Name on file                                  Address on file
29950147          CONNEXUS ENERGY                               14601 RAMSEY BLVD                                                                                                            RAMSEY                     MN           55303
30263467          Name on file                                  Address on file
30331709          Name on file                                  Address on file
30331580          Name on file                                  Address on file
30276578          Name on file                                  Address on file
29915060          CONNORS AND ASSOCIATES LLC                    CONNERS GROUP                              4000 TOWN CENTER BLVD. #310                                                       CANONSBURG                 PA           15317
30260553          Name on file                                  Address on file
30294248          Name on file                                  Address on file
30262969          Name on file                                  Address on file

29915063          CONSERVATIVE DEVELOPMENT COMPANY              C/O LAKEWOOD VILLAGE SHOPPING PARK 2851 LAKEWOOD VILLAGE DRIVE                                                               NORTH LITTLE ROCK          AR           72116
29915065          CONSERVICE ‐ 1530                             750 SOUTH GATEWAY DRIVE                                                                                                      RIVER HEIGHTS              UT           84321
30259284          Name on file                                  Address on file
                  CONSOLIDATED EDISON COMPANY OF NEW
30161850          YORK, INC                                     BANKRUPTCY / EAG GROUP                     SUZANNE KWON                     4 IRVING PLACE 9TH FLOOR                         NEW YORK                   NY           10003
30331487          Consolidated Fire Protection                  153 Technology Drive                       Ste 200                                                                           Irvine                     CA           92618
30336756          Consolidated Fire Protection                  153 Technology Drive                       Ste 200                                                                           Irvine                     CA           92618
30295834          Constellation NewEnergy ‐ Gas Division, LLC   1310 Point Street                                                                                                            Baltimore                  MD           21231
30295846          Constellation NewEnergy ‐ Gas Division, LLC   1310 Point Street                                                                                                            Baltimore                  MD           21231

30200775          CONSTELLATION NEWENERGY GAS DIV LLC/5472 1310 POINT STREET                                                                                                                 BALTIMORE                  MD           21231
30295678          Constellation NewEnergy, Inc.            1310 Point Street                                                                                                                 Baltimore                  MD           21231
30295733          Constellation NewEnergy, Inc.            1310 Point Street                                                                                                                 Baltimore                  MD           21231
29915081          CONSTELLATION NEWENERGY/4640             1310 POINT STREET                                                                                                                 BALTIMORE                  MD           21231
30197410          Constructor.io Corporation               268 Bush Street #4450                                                                                                             San Francisco              CA           94104‐3503
29915082          CONSTRUCTOR.IO CORPORATION               268 BUSH ST., #4450                                                                                                               SAN FRANCISCO              CA           94104
29915087          CONSUMERS ENERGY                         ONE ENERGY PLAZA                                                                                                                  JACKSON                    MI           49201
30229154          Consumers Energy Company                 Attn: Legal Dept.                               One Energy Plaza                                                                  Jackson                    MI           49201
29952889          CONTAINER MANAGEMENT INC                 9811 S IH 35 BUILD 5 #110                                                                                                         AUSTIN                     TX           78744




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  ADDRESS ID                           NAME                       ADDRESS 1                  ADDRESS 2                          ADDRESS 3          ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30289515          Container Management, Inc.          9811 S IH 35 Frontage Road   Bldg 5                         Ste 110                                      Austin                TX           78744
30284237          Name on file                        Address on file
30273239          Name on file                        Address on file
30278869          Name on file                        Address on file
30262037          Name on file                        Address on file
30295641          Name on file                        Address on file
30287281          Name on file                        Address on file
30279184          Name on file                        Address on file
30285658          Name on file                        Address on file
30286174          Name on file                        Address on file
30280113          Name on file                        Address on file
30259391          Name on file                        Address on file
30225092          Name on file                        Address on file
30292581          Name on file                        Address on file
30289378          Name on file                        Address on file
30197538          Cookeville TN Investment Partners   10689 N. Pennsylvania St.    Suite 100                                                                   Indianapolis          IN           46280
29915091          COOKEVILLE TN INVESTMENT PARTNERS   CO SANDOR DEVELOPMENT CO     10689 N PENNSYLVANIA ST #100                                                INDIANAPOLIS          IN           46280
29915092          COOKIES UNITED LLC                  141 FREEMAN AVENUE                                                                                       ISLIP                 NY           11751
30283109          Name on file                        Address on file
30257022          Name on file                        Address on file
30222811          Name on file                        Address on file
30222811          Name on file                        Address on file
30294594          Name on file                        Address on file
30259159          Name on file                        Address on file
30277667          Name on file                        Address on file
30287287          Name on file                        Address on file
30261835          Name on file                        Address on file
30274136          Name on file                        Address on file
30273596          Name on file                        Address on file
30274505          Name on file                        Address on file
30260111          Name on file                        Address on file
30275273          Name on file                        Address on file
30257531          Name on file                        Address on file
30274762          Name on file                        Address on file
30296770          Name on file                        Address on file
30257747          Name on file                        Address on file
30284973          Name on file                        Address on file
30295818          Name on file                        Address on file
30258321          Name on file                        Address on file
30276266          Name on file                        Address on file
30274170          Name on file                        Address on file
30222909          Name on file                        Address on file
29956771          CORDIAL EXPERIENCE INC              402 W. BROADWAY, #700                                                                                    SAN DIEGO             CA           92101
30258356          Name on file                        Address on file
30285988          Name on file                        Address on file
30290022          Name on file                        Address on file
30224295          Name on file                        Address on file
29915120          CORE AURORA CS LLC                  10 PARKWAY NORTH BLVD        STE 120                                                                     DEERFIELD             IL           60677‐2006
29915122          CORE BLOOMINGTON CMNS LLC           PO BOX 6301                                                                                              HICKSVILLE            NY           11802‐6301
29915127          CORENTAL PROPERTY MGMT INC          PO BOX 1894                                                                                              KALISPELL             MT           59903
30278949          Name on file                        Address on file
30295913          Name on file                        Address on file
30289572          Name on file                        Address on file
30287110          Name on file                        Address on file
30285439          Name on file                        Address on file
30278813          Name on file                        Address on file
30278803          Name on file                        Address on file
29915181          CORNERSTONE SOUTH COUNTY LLC        ATT: JOHN CLANCY             4503 MARBURG AVENUE                                                         CINCINNATI            OH           45209
30263475          Name on file                        Address on file
30274203          Name on file                        Address on file
30279146          Name on file                        Address on file
30276876          Name on file                        Address on file
30280254          Name on file                        Address on file
30290108          Name on file                        Address on file




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  ADDRESS ID                           NAME                     ADDRESS 1                     ADDRESS 2                           ADDRESS 3                    ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
30275215          Name on file                    Address on file
30232463          Name on file                    Address on file
30291991          Name on file                    Address on file
30277067          Name on file                    Address on file
30257864          Name on file                    Address on file
30279039          Name on file                    Address on file
30332877          Name on file                    Address on file
30283097          Name on file                    Address on file
30260121          Name on file                    Address on file
30292313          Name on file                    Address on file
30274384          Name on file                    Address on file
30222008          Name on file                    Address on file
30258745          Name on file                    Address on file
30259563          Name on file                    Address on file
30228487          Name on file                    Address on file
30259005          Name on file                    Address on file
30257109          Name on file                    Address on file
30258803          Name on file                    Address on file
30257607          Name on file                    Address on file
30297116          Name on file                    Address on file
30283068          Name on file                    Address on file
30262308          Name on file                    Address on file
30232613          Name on file                    Address on file
29915248          COUNCIL BLUFFS WATER WORKS      2000 NORTH 25TH STREET                                                                                                   COUNCIL BLUFFS          IA           51501
30251321          Name on file                    Address on file
29915250          COUNTRY SIDE CENTER‐CORONA      C/O AYRES GROUP                 355 BRISTOL ST SUITE A                                                                   COSTA MESA              CT           92626‐9667
30289199          Countryside Center‐Corona, LP   Buckner Robinson & Mirkovich    c/o Catherine J. Weinberg, Esq.   3146 Redhill Avenue            Suite 200               Costa Mesa              CA           92626
29949488          COUNTY OF TULARE                221 S. MOONEY BLVD.                                                                                                      VISALIA                 CA           93291
29915272          COUPA SOFTWARE INC              PO BOX 888396                                                                                                            LOS ANGELES             CA           90088
30279547          Name on file                    Address on file
30262955          Name on file                    Address on file
30264039          Name on file                    Address on file
30281671          Name on file                    Address on file
30294849          Name on file                    Address on file
29915349          COVINGTON FABRIC                6175 HIGHWAY 72 W                                                                                                        CALHOUN FALLS           SC           29628
30225124          Covington Fabric & Design LLC   Jennifer Leigh Brock            6175 Highway 72 W                                                                        Calhoun Falls           SC           29628
30258907          Name on file                    Address on file
30273243          Name on file                    Address on file
30285980          Name on file                    Address on file
30227040          Name on file                    Address on file
29915353          COWETA‐FAYETTE EMC              103 SUMNER ROAD                                                                                                          FAYETTEVILLE            GA           30214
29915355          COWLITZ COUNTY PUD              961 12TH AVE                                                                                                             LONGVIEW                WA           98632
30200522          Cowlitz PUD                     Attention To: Brittany Strand   PO Box 3007                                                                              Longview                WA           98632
30261811          Name on file                    Address on file
30284601          Name on file                    Address on file
30229403          Name on file                    Address on file
30297656          Cox, Kaitlin                    Address on file
30259536          Name on file                    Address on file
30281735          Name on file                    Address on file
30283128          Name on file                    Address on file
30331954          Name on file                    Address on file
29953401          COYOTE LOGISTICS LLC            PO BOX 742636                                                                                                            ATLANTA                 GA           30374‐2636
30224907          Coyote Logistics, LLC           960 North Point Parkway         Suite 150                                                                                Alpharetta              GA           30005
30282523          Name on file                    Address on file
29953405          CPC MADISON REIT LLC            CO CORE PROPERTY MGMT           800 VANDERBILT BEACH RD                                                                  NAPLES                  FL           34108
29953407          CPIF HOLDINGS LLC               NUGGET MALL, C/O JRE            8800 GLACIER HWY                  STE 221                                                JUNEAU                  AK           99801
29953407          CPIF HOLDINGS LLC               NUGGET MALL, C/O JRE            8800 GLACIER HWY                  STE 221                                                JUNEAU                  AK           99801
29953411          CPS ENERGY                      500 MCCULLOUGH AVENUE                                                                                                    SAN ANTONIO             TX           78215
30181388          CPS Energy                      Bankruptcy Section              500 McCullough Ave.               Mail Drop CT1201                                       San Antonio             TX           78215
29915359          CPT ARLINGTON HIGHLANDS 1 LP    PO BOX 206250                                                                                                            DALLAS                  TX           75320
29915361          CPT NETWORK SOLUTIONS INC       950 IL‐83 STE F                                                                                                          WOOD DALE               IL           60191
30287574          Name on file                    Address on file
30286817          Name on file                    Address on file




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  ADDRESS ID                           NAME                                  ADDRESS 1                           ADDRESS 2                        ADDRESS 3                      ADDRESS 4                      CITY        STATE     POSTAL CODE       COUNTRY
                                                                NO. 121 EAST QIANMING RD FENGJING
30200780          CRAFT RITE INC                                TOWN, JINSHAN DISTRICT               20                                                                                      SHANGHAI                               201501          CHINA
30200781          CRAFT SMITH LLC                               #175 LN 165, WUXIANG N ROAD          Z06                              WUXIANG TOWN                                           YINZHOU DISTRICT                       315111          CHINA
30163941          CRAFT SMITH, LLC                              200 E CHAPMAN AVE                                                                                                            ORANGE                    CA           92866
30257741          Name on file                                  Address on file
29954329          CRAFTWOOD DIV OF CINDOCO WOOD                 PRODUCTS CO                          410 MT CLIFTON DR                                                                       MOUNT ORAB                OH           45154

30332852          Craftwood Div. of Cindoco Wood Products Co.   410 Mt. Clifton Drive                                                                                                        Mt. Orab                  OH           45154
30262532          Name on file                                  Address on file
30297453          Name on file                                  Address on file
30286129          Name on file                                  Address on file
30227050          Craine, Sam                                   Address on file
30274176          Name on file                                  Address on file
29956807          CRANBERRY TOWNSHIP, PA                        ATTN: UTILITY DEPARTMENT             2525 ROCHESTER ROAD SUITE 400                                                           CRANBERRY TOWNSHIP        PA           16066‐6499
30223585          Name on file                                  Address on file
29956809          CRANSTON IT INC                               205 WHITE PINE LANE                                                                                                          CRANBERRY TOWNSHIP        PA           16066
30285343          Cranston IT, Inc.                             205 White Pine Ln                                                                                                            Cranberry Twp             PA           16066
30251186          Name on file                                  Address on file
30261051          Name on file                                  Address on file
30295220          Name on file                                  Address on file
30260209          Name on file                                  Address on file
30273856          Name on file                                  Address on file
30229431          Name on file                                  Address on file
30285513          Name on file                                  Address on file
30295687          Name on file                                  Address on file
30290585          Name on file                                  Address on file
29956811          CRAYOLA LLC                                   1100 CHURCH LANE                                                                                                             EASTON                    PA           18040
29956811          CRAYOLA LLC                                   1100 CHURCH LANE                                                                                                             EASTON                    PA           18040
30215481          Crayon Software Experts, LLC                  1700 Redbud Blvd.                    Suite 300                                                                               McKinney                  TX           75069
30342594          Crayon Software Experts, LLC                  1700 Redbud Blvd.                    Suite 300                                                                               McKinney                  TX           75069
30261161          Name on file                                  Address on file
29956814          CRC TAYLORSVILLE COINVEST LLC                 CR TAYLORSVILLE LLC                  PO BOX 69475‐278                                                                        BALTIMORE                 MD           21264‐9475
29956815          CRE8 DIRECT (NINGBO) CO LTD                   45W LUSHAN ROAD, BEILUN                                                                                                      NINGBO                                 315806          CHINA
30167709          Cre8 Direct(Ningbo) Co., Ltd                  45W Lushan Road                      Beilun                                                                                  Ningbo, ZJ                             31580           China
29956817          CREATEON LLC                                  500 QUAIL HOLLOW DRIVE                                                                                                       WHEELING                  IL           60090
30297039          Creative Color                                17413 Woodford Ave                                                                                                           Lakewood                  OH           44107
30200845          CREATIVE COLOR                                17413 WOODFORD AVE                                                                                                           LAKEWOOD                  OH           44107‐2223
29915384          CREATIVE DESIGNS DEPOT                        C/O DYNO LLC                         1571 W COPANS ROAD, SUITE 105                                                           POMPANO BEACH             FL           33064
29949489          CREATIVE HOME LTD                             1101 11/FL PERFECT IND BLDG                                                                                                  SAN PO KONG                                            HONG KONG
30274838          Name on file                                  Address on file
29915390          CRESCENT ELECTRIC SUPPLY CO                   5520 CLOVERLEAF PKWY #4815                                                                                                   VALLEY VIEW               OH           44125
30280455          Name on file                                  Address on file
29915392          CRETE CARRIER CORPORATION                     PO BOX 82634                                                                                                                 LINCOLN                   NE           68501

30350967          CRG Financial LLC as Transferee of Storopack Inc Attn: Robert Axenrod              84 Herbert Ave., Building B      Suite 202                                              Closter                   NJ           07624
29915394          CRI COLUMBUS NORTH HOLDINGS LLC                  DBA CRI EASTON SQUARE LLC         PO BOX 1450                                                                             COLUMBUS                  OH           43216
30277669          Name on file                                     Address on file
29915399          CRICUT INC                                       10855 SOUTH RIVER FRONT PARKWAY   SUITE 400                                                                               SOUTH JORDAN              UT           84095
30296763          Cricut Inc.                                      Snell & Wilmer LLP                c/o Troy Aramburu                15 West South Temple           Ste. 1200               Salt Lake City            UT           84101
29915400          CRICUT, INC.                                     10855 S RIVER FRONT PKWY                                                                                                  SOUTH JORDAN              UT           84095
30294627          Name on file                                     Address on file
30261256          Name on file                                     Address on file
29915401          CRIMSON 1031 PORTFOLIO LLC                       6100 CAMP BOWIE BLVD., #23                                                                                                FORT WORTH                TX           76116
30224256          Name on file                                     Address on file
30294993          Name on file                                     Address on file
30331313          Name on file                                     Address on file
30278957          Name on file                                     Address on file
30285126          Name on file                                     Address on file
30287349          Name on file                                     Address on file
30284965          Name on file                                     Address on file
30257495          Name on file                                     Address on file
29915442          CRITEO CORP                                      PO BOX 392422                                                                                                             PITTSBURGH                PA           15251‐9422
30259921          Name on file                                     Address on file
30253833          Name on file                                     Address on file




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  ADDRESS ID                           NAME                                    ADDRESS 1                          ADDRESS 2                         ADDRESS 3                            ADDRESS 4                      CITY        STATE     POSTAL CODE       COUNTRY
30279211          Name on file                                     Address on file
30222942          Name on file                                     Address on file
30285159          Name on file                                     Address on file
30227346          Name on file                                     Address on file
30262386          Name on file                                     Address on file
30260903          Name on file                                     Address on file
30292628          Name on file                                     Address on file
30275861          Name on file                                     Address on file
30263017          Name on file                                     Address on file
30213043          CROSS CREEK PLAZA DR LLC.                        C/O GFD MANAGEMENT, INC.           222 CLOISTER COURT                                                                             CHAPEL HILL               NC           27514
30285099          Name on file                                     Address on file
30278715          Name on file                                     Address on file
30273543          Name on file                                     Address on file
29915449          CROSSROADS ASSOCIATES LLC                        840 EAST HIGH STREET                                                                                                              LEXINGTON                 KY           40502
30289276          Crossroads Associates, LLC                       840 East High Street                                                                                                              Lexington                 KY           40502
30257185          Name on file                                     Address on file
29915451          CROSSROADS OF ROSEVILLE 2023 LLC                 C/O 21ST CENTURY BANK              PO BOX 333                                                                                     LORETTO                   MN           55357‐0333
30293062          Crossroads of Roseville 2023, LLC                The Ahlgren Law Office PLLC        220 West Washington Avenue        Suite 105                                                    Fergus Falls              MN           56537
30290074          Crossroads of Roseville 2023, LLC                The Ahlgren Law Office PLLC        220 West Washington Avenue        Suite 105                                                    Fergus Falls              MN           56537
30181610          Crossroads of Roseville 2023, LLC                c/o HJ Development, Inc.           2655 Cheshire Lane North                                                                       Plymouth                  MN           55447
30206658          Crossroads of Roseville 2023, LLC                c/o HJ Development, Inc.           2655 Cheshire Lane North                                                                       Plymouth                  MN           55447
30276638          Name on file                                     Address on file
30226858          Name on file                                     Address on file
30289737          Name on file                                     Address on file
30285676          Name on file                                     Address on file
30274243          Name on file                                     Address on file
30162391          Crowley Fleck PLLP                               P.O. Box 10969                                                                                                                    Bozeman                   MT           59719‐0969
29949490          CROWLEY FLECK PLLP                               490 N. 31ST STREET                 #500                                                                                           BILLINGS                  MT           59101
30280473          Name on file                                     Address on file
30258442          Name on file                                     Address on file
30225212          Name on file                                     Address on file
30291889          Crown Equipment Corporation                      Attn: Alan Huber                   102 S. Washington St.                                                                          New Bremen                OH           45869
30200574          CROWN EQUIPMENT CORPORATION                      PO BOX 641173                                                                                                                     CINCINNATI                OH           45264
30286580          Name on file                                     Address on file
30225204          Name on file                                     Address on file
30221936          Name on file                                     Address on file
30260443          Name on file                                     Address on file
30259943          Name on file                                     Address on file
30276461          Name on file                                     Address on file
30331545          Name on file                                     Address on file
30331582          Name on file                                     Address on file
29915461          CRYPTON SUPER FABRICS                            38500 WOODWARD AVE SUITE 201                                                                                                      BLOOMFIELD HILLS          MI           48304
29915484          CRYSTAL CITY WATER DEPARTMENT                    130 MISSISSIPPI AVE                                                                                                               CRYSTAL CITY              MO           63019
30200650          CRYSTAL MORSE                                    C/O CULPEPPER KURLAND, PLLC        ATTN: BRUCE CULPEPPER, ESQ.       101 EAST KENNEDY BLVD.              SUITE 2300               TAMPA                     FL           33602
30274677          Name on file                                     Address on file
30164036          CS INTERNATIONAL (HK) TOYS LIMITED               7TH FLOOR, EDWARD WONG TOWER       910 CHEUNG SHA WAN ROAD                                                                        KOWLOON, HK                                            HONG KONG
29956846          CS INTERNATIONAL (HK) TOYS LIMITED               UNIT 602, 6/F, EDWARD WONG TOWER   910 CHEUNG SHA WAN ROAD                                                                        KOWLOON                                                HONG KONG
30224428          CS International (HK) Toys, Limited              7th FL, Edward Wong Tower          910 Cheung Sha Wan Road                                                                        Kowloon, HK                                            China
30224435          CS International (HK) Toys, Limited              7th FL, Edward Wong Tower          910 Cheung Sha Wan Road                                                                        Kowloon, HK                                            Hong Kong

29956849          CSM BONAVENTURE LTD                              SDS 12‐1243                        500 WASHINGTON AVE. S, STE 3000                                                                MINNEAPOLIS               MN           55415
29915537          CTEX HOMETEXTILE CO LTD                          NO 218 GUANGYI ROAD                RM 508 MINHANG BUILDING                                                                        WUXI                                   214000          CHINA
29915540          CTL PROPERTY MANAGEMENT LLC                      C/O EAST MOLINE GLASS              1333 13TH STREET                                                                               EAST MOLINE               IL           61244
29915543          CTO REALTY GROWTH INC                            CTO24 CAROLINA LLC                 PO BOX 71242                                                                                   CHICAGO                   IL           60694‐1242
30297212          CTO23 Rockwall LLC                               Burr & Forman LLP                  c/o J. Ellsworth Summers, Jr.   50 North Laura Street                 Suite 3000               Jacksonville              FL           32202
                  CTO24 Carolina, LLC, successor in interest for
30296985          DDR Carolina Pavilion LP                         c/o Burr & Forman LLP              Attn: J. Ellsworth Summers, Jr.   50 North Laura Street, Suite 3000                            Jacksonville              FL           32202
30286654          Name on file                                     Address on file
30259886          Name on file                                     Address on file
30286046          Name on file                                     Address on file
29915551          CULLINAN PENSACOLA LLC                           CULLINAN PROPERTIES LTD            420 NORTH MAIN STREET                                                                          EAST PEORIA               IL           61611
30287178          Name on file                                     Address on file
30259407          Name on file                                     Address on file
30285643          Name on file                                     Address on file




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  ADDRESS ID                           NAME                               ADDRESS 1                        ADDRESS 2                 ADDRESS 3          ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30160811          Culpepper, Theresa D                     Address on file
30280865          Name on file                             Address on file
30261872          Name on file                             Address on file
30262360          Name on file                             Address on file
30258137          Name on file                             Address on file
30283011          Name on file                             Address on file
30222683          Name on file                             Address on file
30280174          Name on file                             Address on file
30223376          Name on file                             Address on file
30223376          Name on file                             Address on file
30276959          Name on file                             Address on file
30276469          Name on file                             Address on file
30261461          Name on file                             Address on file
30259573          Name on file                             Address on file
30262350          Name on file                             Address on file
30279615          Name on file                             Address on file
30282002          Cupixel Inc                              59 Hamlet Street                                                                                         Newton               MA           02459
29915557          CUPIXEL INC                              1234 CHESTNUT STREET                                                                                     NEWTON               MA           02464
30229413          Cupixel Inc                              Adi Golani                         1234 Chestnut Streer                                                  Newton               MA           02464
29915556          CUPIXEL INC                              59 HAMLET STREET                                                                                         NEWTON               MA           02459
30284756          Name on file                             Address on file
30263373          Name on file                             Address on file
30262800          Name on file                             Address on file
30290102          Name on file                             Address on file
30259906          Name on file                             Address on file
30276235          Name on file                             Address on file
30221904          Name on file                             Address on file
30258637          Name on file                             Address on file
30224231          Name on file                             Address on file
29915564          CURTIS R MILLER                          Address on file
30263758          Name on file                             Address on file
30335923          Name on file                             Address on file
30258975          Name on file                             Address on file
29950657          CUSTOM FLORAL DESIGN INC                 GREENHOUSE FLORIST                 12 CLINTON STREET                                                     HUDSON               OH           44236
30260633          Name on file                             Address on file
30286061          Name on file                             Address on file
30283817          Name on file                             Address on file
30260085          Name on file                             Address on file
30223577          Name on file                             Address on file
30274283          Name on file                             Address on file
29915569          CWC ‐ CONNECTICUT WATER                  110 WEST TAYLOR STREET                                                                                   SAN JOSE             CA           95110
30256790          Name on file                             Address on file
29956867          CYNTHIA DUNIVER                          Address on file
29915616          CYNTHIA GUTIERREZ                        Address on file
29915671          CYNTHIA WEST                             Address on file
30296674          Name on file                             Address on file
30257969          Name on file                             Address on file
30257277          Name on file                             Address on file
29915677          D & C WONG I LLC                         C/O MRS HANNAH WONG                6311 SEWARD PARK AVE S                                                SEATTLE              WA           98118
29915680          D & H HAWLEY LLC                         5600 14TH AVE NW, STE 3                                                                                  SEATTLE              WA           98107
30295937          D & H Hawley LLC                         338 N 137th St.                                                                                          Seattle              WA           98133
30200751          D H PACE COMPANY INC                     1901 EAST 119TH ST.                                                                                      OLATHE               KS           66061
                  D&A Associates d.b.a Puroclean Managed
30289119          Services                                 82 Leroy Rd                        PO Box 943                                                            Williston            VT           05495
30164089          D.H. Pace Company, Inc.                  1901 E. 119th St.                                                                                        Olathe               KS           66061
29915701          DAANE'S DEVELOPMENT COMPANY              PO BOX 340                                                                                               OSPREY               FL           34229
30273902          Name on file                             Address on file
30278850          Name on file                             Address on file
29915710          DADE PAPER COMPANY                       PO BOX 1180                                                                                              LOXLEY               AL           36551
30292163          Dade Paper Company                       255 Us 1 and 9                                                                                           Jersey City          NJ           07306
29915712          DADELAND GREENERY LP                     PO BOX 201279                                                                                            DALLAS               TX           75320‐1279
30289398          Dadeland Greenery, LP                    200 S. Biscayne Blvd., 7th Floor                                                                         Miami                FL           33131
30222091          Name on file                             Address on file
30281407          Name on file                             Address on file




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  ADDRESS ID                           NAME                      ADDRESS 1                        ADDRESS 2                       ADDRESS 3                      ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30295041          Name on file                     Address on file
30261353          Name on file                     Address on file
30224200          Name on file                     Address on file
30259987          Name on file                     Address on file
30274164          Name on file                     Address on file
30259131          Name on file                     Address on file
30331404          Name on file                     Address on file
30275370          Name on file                     Address on file
29915739          DAILY SERVICES                   4 Easton Oval                                                                                                             Columbus               OH           43219‐6010
30291369          Daily Services, LLC dba Surge    Vorys, Sater, Seymour and Pease LLP  c/o Melissa S. Giberson       52 East Gay Street                                     Columbus               OH           43215
                                                                                        ATTN: CANDACE ALYNN HILL
30200651          DAIMA JACKSON                    C/O HILL DUVEMAY AND ASSOCIATES, LLC DUVEMAY, ESQ.                 110 HABERSHAM DRIVE                                    FAYETTEVILLE           GA           30214
30279287          Name on file                     Address on file
30285037          Name on file                     Address on file
30257587          Name on file                     Address on file
30261280          Name on file                     Address on file
30279111          Name on file                     Address on file
30258845          Name on file                     Address on file
30293687          Name on file                     Address on file
30278989          Name on file                     Address on file
30261939          Name on file                     Address on file
30259600          Name on file                     Address on file
30281994          Name on file                     Address on file
30222109          Name on file                     Address on file
29915851          DAN DEE INTERNATIONAL LLC         7282 123RD Cir                                                                                                           Largo                  FL           33773‐303
30260574          Dan Dee International LLC        c/o Sarachek Law Firm                Zachary E. Mazur              670 White Plains Road          Fl. PH                  Scarsdale              NY           10583
29915864          DANA DRIVE INVESTORS             7090 N. MARKS AVE., SUITE 102                                                                                             FRESNO                 CA           93711
29915891          DANA RAPID CITY LLC              718 E ST ANDREWS                                                                                                          DAKOTA DUNES           SD           57049
30260611          Name on file                     Address on file
30280764          Name on file                     Address on file
30262312          Name on file                     Address on file
29915949          DANIEL FRITZ                     Address on file
30256604          Name on file                     Address on file
30285656          Name on file                     Address on file
30283452          Name on file                     Address on file
30256522          Name on file                     Address on file
29916071          DANIELLE J. SMITH                Address on file
30222054          Name on file                     Address on file
30284046          Name on file                     Address on file
30274929          Name on file                     Address on file
30288792          Name on file                     Address on file
30275530          Name on file                     Address on file
30285820          Name on file                     Address on file
29916170          DANVILLE MALL LLC                MID‐AMERICA ASSET MGMT INC           1 PARKVIEW PLAZA, 9TH FLOOR                                                          OAKBROOK TERRACE       IL           60181
30261294          Name on file                     Address on file
30277032          Name on file                     Address on file
30226288          Name on file                     Address on file
30277633          Name on file                     Address on file
30281194          Name on file                     Address on file
30279217          Name on file                     Address on file
29916221          DARLENE MEYER                    Address on file
30258937          Name on file                     Address on file
29951181          DARTMOUTH MARKETPLACE ASSOC      C/O PEGASUS LANDING CORPORATION      6065 ROSWELL RD., STE. 800                                                           SANDY SPRINGS          GA           30328
30274579          Name on file                     Address on file
30331586          Dasada Property Management LLC   107 Legend Way                                                                                                            Wales                  WI           53183
29916258          DASADA PROPERTY MGT LLC          ATTN SHARIF MALIK                    107 LEGEND WAY                                                                       WALES                  WI           53183
30259311          Name on file                     Address on file
30294748          DAT Freight & Analytics          8405 SW Nimbus Ave                                                                                                        Beaverton              OR           97008
29916270          DATALOGIC USA INC                959 TERRY STREET                                                                                                          EUGENE                 OR           97402
30192419          Datalogic USA, Inc.              959 Terry Street                                                                                                          Eugene                 OR           97402
30258235          Datasite LLC                     The Baker Center                     Margaret Ann Warren           733 S. Marquette Ave           Suite 600               Minneapolis            MN           55402
30285688          Name on file                     Address on file
30274750          Name on file                     Address on file
30285061          Name on file                     Address on file




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  ADDRESS ID                           NAME              ADDRESS 1        ADDRESS 2                 ADDRESS 3          ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30254384          Name on file                Address on file
30258759          Name on file                Address on file
30254060          Name on file                Address on file
30258931          Name on file                Address on file
30279219          Name on file                Address on file
30281455          Name on file                Address on file
30275241          Name on file                Address on file
29916318          DAVID FISK                  Address on file
29916378          DAVID PITTMAN               Address on file
29916391          DAVID RUIZ                  Address on file
29916412          DAVID TEXTILES INC          1920 SOUTH TUBEWAY AVENUE                                                            COMMERCE               CA           90040
30218660          Name on file                Address on file
30280101          Name on file                Address on file
30260576          Name on file                Address on file
30287308          Name on file                Address on file
30294769          Name on file                Address on file
30285423          Name on file                Address on file
29916435          DAVIS & HAMRICK LLP         635 W. FOURTH STREET                                                                 WINSTON SALEM          NC           27101
30251291          Name on file                Address on file
30257698          Name on file                Address on file
30276696          Name on file                Address on file
30289627          Name on file                Address on file
30263431          Name on file                Address on file
30223365          Name on file                Address on file
30274631          Name on file                Address on file
30263589          Name on file                Address on file
30263623          Name on file                Address on file
30257642          Name on file                Address on file
30275635          Name on file                Address on file
30274245          Name on file                Address on file
30253754          Name on file                Address on file
30256702          Name on file                Address on file
30258711          Name on file                Address on file
30278896          Name on file                Address on file
30285982          Name on file                Address on file
30274965          Name on file                Address on file
30280972          Name on file                Address on file
30225020          Name on file                Address on file
30277273          Name on file                Address on file
30261278          Name on file                Address on file
30276483          Name on file                Address on file
30285631          Name on file                Address on file
30259369          Name on file                Address on file
30224134          Name on file                Address on file
30289180          Name on file                Address on file
30277951          Name on file                Address on file
30258903          Name on file                Address on file
30256658          Name on file                Address on file
30289287          Name on file                Address on file
30275159          Name on file                Address on file
30278464          Name on file                Address on file
30331429          Name on file                Address on file
30227058          Name on file                Address on file
30257511          Name on file                Address on file
30273898          Name on file                Address on file
30257688          Name on file                Address on file
30283145          Name on file                Address on file
30257042          Name on file                Address on file
30274358          Name on file                Address on file
30259167          Name on file                Address on file
30276769          Name on file                Address on file
30287353          Name on file                Address on file
30257475          Name on file                Address on file
30261107          Name on file                Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                          ADDRESS 2                       ADDRESS 3            ADDRESS 4                     CITY        STATE     POSTAL CODE           COUNTRY
30256732          Name on file                          Address on file
30259638          Name on file                          Address on file
30285317          Name on file                          Address on file
30224348          Name on file                          Address on file
30280449          Name on file                          Address on file
30278470          Name on file                          Address on file
29916542          DCTN3 509 PANAMA CITY FL LLC          ATTN: ACCOUNTING DEPT                 1240 N KIMBALL AVE                                                           SOUTHLAKE                TX           76092
30291676          Dctn3 509 Panama City Fl, Llc         Tobin Reyes PLLC                      225 NE Mizner Blvd., Ste. 510                                                Boca Raton               FL           33432
30296038          DCTN3 509 Panama City FL, LLC         Tobin Reyes PLLC                      225 NE Mizner Blvd.             Ste. 510                                     Boca Raton               FL           33432
29916547          DDR CORP. DDR WINTER GARDEN LLC       DEPT 103173 21146 51867               PO BOX 37691                                                                 BALTIMORE                MD           21297
29916552          DDRTC FAYETTE PAVILION III & IV LLC   PO BOX 745468                                                                                                      ATLANTA                  GA           30374‐5468
30296232          De Anza Properties 4, LLC             c/o J. Timothy Bak, Attorney at Law   1167 W. Baltimore Pike          Suite 305                                    Media                    PA           19063
30331690          Name on file                          Address on file
30257559          Name on file                          Address on file
30292625          Name on file                          Address on file
30285429          Name on file                          Address on file
29957096          DEAD RIVER COMPANY/70354              82 RUNNING HILL ROAD                  SUITE 400                                                                    S PORTLAND               ME           04106
30331916          Name on file                          Address on file
30222865          Name on file                          Address on file
30226875          Name on file                          Address on file
30226875          Name on file                          Address on file
30261777          Name on file                          Address on file
30280219          Name on file                          Address on file
30276690          Name on file                          Address on file
30259548          Name on file                          Address on file

30200634          DEANNA ESTRADA                        C/O BAUMAN LAW APLC                   ATTN: DEVING                    24003A VENTURA BLVD, 2ND FLOOR               CALABASAS                CA           91302
29957122          DEANNA SMITH                          Address on file
30293676          Name on file                          Address on file
30262637          Name on file                          Address on file
30200652          DEBBIE M. PARKER                      ATTN: SALESIA V. SMITH‐GORDON         922 SECOND STREET                                                            WEST PALM BEACH          FL           33401
30280859          Name on file                          Address on file
30258755          Name on file                          Address on file
30283019          Name on file                          Address on file
30262310          Name on file                          Address on file
29916653          DEBORAH E. WILSON                     Address on file
30286718          Name on file                          Address on file
29957183          DEBRA STEVENS                         Address on file
30285674          Name on file                          Address on file
30257402          Name on file                          Address on file
30260549          Name on file                          Address on file
30276799          Name on file                          Address on file
30287724          Name on file                          Address on file
30274491          Name on file                          Address on file
29975081          DECO DE TREND                         4/371, VANDALUR‐DAVID NAGAR           CHENNAI                                                                      CHENNAI, TAMIL NADU                   601301          INDIA

29916832          DECO DE TREND                         DAVID NAGAR, PADAPPAI                 4/371 VANDALUR WALAJABD ROAD CHENNAI                                         TAMIL NADU                            601301          INDIA
29916834          DECOART INC                           49 COTTON AVENUE                                                                                                   STANFORD                 KY           40484
30287084          DecoArt, LLC                          220 Lexington Green Cir               Ste 400                                                                      Lexington                KY           40503
29916835          DECOART, LLC                          49 COTTON AVENUE                                                                                                   STANFORD                 KY           40484
30331039          DecoArt, LLC                          220 Lexington Green Cir               Ste 400                                                                      Lexington                KY           40503
30287058          DecoArt, LLC                          220 Lexington Green Cir               Ste 400                                                                      Lexington                KY           40503
30287079          DecoArt, LLC                          220 Lexington Green Cir               Ste 400                                                                      Lexington                KY           40503
30276640          Name on file                          Address on file
29916836          DECORWARE INC                         9389 HAVEN AVE                                                                                                     RANCHO CUCAMONGA         CA           91730
30258231          Name on file                          Address on file
30283082          Name on file                          Address on file
30261133          Name on file                          Address on file
29916857          DEER CREEK MZL LLC                    C/O KPR, ACCOUNTS RECEIVABLE          535 FIFTH AVE., 12TH FLOOR                                                   NEW YORK                 NY           10017
30273769          Name on file                          Address on file
30284034          Name on file                          Address on file
30290616          Name on file                          Address on file
30262913          Name on file                          Address on file
30263236          Name on file                          Address on file




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  ADDRESS ID                           NAME                                ADDRESS 1                           ADDRESS 2                          ADDRESS 3                      ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
29916885          DEKALB COUNTY/71224/105942                  7960 W EXCHANGE PL                                                                                                             TUCKER                    GA           30084
29952246          DEKOTA FARMER                               Address on file
30292311          Name on file                                Address on file
30295440          Del Amo Fashion Center                      c/o: Simon Property Group, Inc.      225 West Washington St                                                                    Indianapolis              IN           46204
30286706          Delacruz, Maria                             Address on file
30261240          Name on file                                Address on file
30286063          Name on file                                Address on file
30293945          Name on file                                Address on file
30222764          Name on file                                Address on file
30283449          Name on file                                Address on file
30275267          Name on file                                Address on file
30255092          Name on file                                Address on file
30260310          Name on file                                Address on file
30279245          Name on file                                Address on file
30285122          Name on file                                Address on file
30260400          Name on file                                Address on file
30256505          Name on file                                Address on file
29957200          DELMAR INTERNATIONAL INC                    1 EAST NORTH AVENUE                  SUITE 103                                                                                 GLENDALE HEIGHTS          IL           60139
29957202          DELMARVA POWER DE/MD/VA/17000/13609         6250 LBJ FREEWAY                                                                                                               DALLAS                    TX           75240
30284879          Name on file                                Address on file
29916943          DELOITTE FAS LLP                            PO BOX 844742                                                                                                                  DALLAS                    TX           75284
30259577          Name on file                                Address on file
29957210          DELTA NATURAL GAS CO INC                    3614 LEXINGTON ROAD                                                                                                            WINCHESTER                KY           40391
30297567          Delta Natural Gas Company Inc.              GRB Law                              c/o Jeffrey R. Hunt, Esquire      525 William Penn Place         Suite 3110               Pittsburgh                PA           15219
                                                              C/O CAMPBELL COMMERCIAL REAL
29957211          DELTA OAKS GROUP LLC                        ESTATE                               PO BOX 10066                                                                              EUGENE                    OR           97440
30259843          Name on file                                Address on file
30223666          Name on file                                Address on file
30224040          Name on file                                Address on file
30256848          Name on file                                Address on file
30257380          Name on file                                Address on file
30295321          Name on file                                Address on file
30330867          Name on file                                Address on file
30277171          Name on file                                Address on file
29957216          DEMATIC CORP                                684125 NETWORK PL                                                                                                              CHICAGO                   IL           60673
30286117          Name on file                                Address on file
30331882          Name on file                                Address on file
30218530          Name on file                                Address on file
30200653          DENA D. JOHNSON                             ATTN: ARASH KHORSANDI                2960 WILSHIRE BLVD.               3RD FL                                                  LOS ANGELES               CA           90010
30291961          Name on file                                Address on file
30256002          Name on file                                Address on file
29957232          DENIK LLC                                   696 W 1725 N                                                                                                                   LOGAN                     UT           84321
30296788          Name on file                                Address on file
30290972          Name on file                                Address on file
30258061          Name on file                                Address on file
30260623          Name on file                                Address on file
30259137          Name on file                                Address on file
30258654          Name on file                                Address on file
30258127          Name on file                                Address on file
30221928          Name on file                                Address on file
30224021          Name on file                                Address on file
30260793          Name on file                                Address on file
29917030          DENVER WATER                                1600 W. 12TH AVE                                                                                                               DENVER                    CO           80204‐3412
30225305          Name on file                                Address on file
29917031          DENYS SAUNDERS                              Address on file
30263025          Name on file                                Address on file
                  Department of Treasury ‐ Internal Revenue
30231898          Service                                     P.O. Box 7346                                                                                                                  Philadelphia              PA           19101‐7346
29952724          DEPT OF AGRICULTURAL COMMISSIONER           WEIGHTS & MEASURES                   11012 GARFIELD AVE., BLDG. A                                                              SOUTH GATE                CA           90280

29917040          DEPT OF WATER WORKS ‐ SANITARY DISTRICT     532 FRANKLIN STREET                                                                                                            MICHIGAN CITY             IN           46360

29917041          DEPT US HOLDING INC                         DEPT COMMERCE LLC, DBA MELON TECH. 1 S. WACKER DR., STE. 2250                                                                  CHICAGO                   IL           60606
29957236          DEPTFORD TOWNSHIP MUA, NJ                   ATTN: UTILITY DEPARTMENT           898 CATTELL ROAD                                                                            WENONAH                   NJ           08090




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30331784          Depth Commerce LLC                   Swanson, Martin & Bell, LLP             c/o Charles S. Stahl, Jr.        2525 Cabot Drive               Suite 204               Lisle                       IL           60532
30278705          Name on file                         Address on file
30261874          Name on file                         Address on file
30279758          Name on file                         Address on file
30227018          Name on file                         Address on file
30278959          Name on file                         Address on file
30285377          Name on file                         Address on file
30285387          Name on file                         Address on file
30278460          Name on file                         Address on file
30285141          Name on file                         Address on file
30225218          Name on file                         Address on file
30261546          Name on file                         Address on file
29950485          DESIGN GROUP AMERICAS ‐PATTER        5555 GLENRIDGE CONNECTOR                                                                                                        ATLANTA                     GA           30342
29950486          DESIGN IMPORTS                       18125 ANDOVER PARK WEST                                                                                                         TUKWILA                     WA           98188
29917240          DESIGN WORKS CRAFT INC               70 ORVILLE DR. STE 1                                                                                                            BOHEMIA                     NY           11716
29917242          DESIGNCO PRIVATE LIMITED             LAKRI FAZALPUR DELHI ROAD               MORADABAD                                                                               UTTAR PRADESH                            244001          INDIA
29917244          DESIGNS FOR ALL SEASONS LTD          FLAT B, KAISER ESTATE (PHASE 1)         41 MAN YUE ST                                                                           HUNGHOM                                                  HONG KONG
30164372          Designs For All Seasons, Ltd.        Flat B, 5/F, Kaiser Estate Phase 1      41 Man Yue Street, Hunghom                                                              Kowloon, Hong Kong                                       Hong Kong
30287314          Name on file                         Address on file
30290227          Name on file                         Address on file
29917306          DESTIN WATER USERS, INC.             218 MAIN ST                                                                                                                     DESTIN                      FL           32541
30256826          Name on file                         Address on file
30262575          Name on file                         Address on file
30259971          Name on file                         Address on file
30284913          Name on file                         Address on file
30283914          Name on file                         Address on file
30258692          Name on file                         Address on file
29917377          DEUTER 65 LLC                        26711 NORTHWESTERN HWY #150                                                                                                     SOUTHFIELD                  MI           48033
30296537          Name on file                         Address on file
29917388          DEVELOPERS DIVERSIFIED REALTY CORP   DBA DDR LAKE BRANDON PLAZA LLC          POB 945274, 103173 21078 37697                                                          ATLANTA                     GA           30394‐5274
30282978          Name on file                         Address on file
30282778          Name on file                         Address on file
29957270          DEVRIES PUBLIC RELATIONS LTD         909 THIRD AVENUE                                                                                                                NEW YORK                    NY           10022
29966950          DeVries Public Relations, Ltd        909 Third Ave, Fl 9                                                                                                             New York                    NY           10022
30275386          Name on file                         Address on file
30274370          Name on file                         Address on file
29957276          DEVYN OCONNELL                       Address on file
30331031          Name on file                         Address on file
30274152          Name on file                         Address on file
30258323          DEX Imaging LLC                      5109 W Lemon St                                                                                                                 Tampa                       FL           33609
30200881          DEX IMAGING LLC                      PO BOX 17299                                                                                                                    CLEARWATER                  FL           33762‐0299
30209660          Dexter District Library              3255 Alpine St.                                                                                                                 Dexter                      MI           48130
30282032          DHA OGC ‐ Claims Branch ‐ Region 2   77 Nealy Avenue                         Suite 1F018                                                                             Hampton                     VA           23665
30257745          Name on file                         Address on file
30258629          Name on file                         Address on file
30274356          Name on file                         Address on file
29949493          DHILLON PROPERTIES WA LLC            311 N. RIVERPOINT BLVD.                                                                                                         SPOKANE                     WA           99202
30224488          Name on file                         Address on file
30223855          Name on file                         Address on file
29917459          DIAMOND ART CLUB                     66 WEST FLAGLER STREET SUITE 900                                                                                                MIAMI                       FL           33130
29949494          DIAMOND ART CLUB LLC                 2F                                      BUILDING 5                       130                                                    CAOZHAI TOWN, JINHUA                     321000          CHINA
30293199          Diamond Art Club, LLC                Attn: Alexandre Perrier, Jennifer Chu   66 West Flagler Street           Suite 900                                              Miami                       FL           33130
29917471          DIAMOND STAR CORPORATION             1010 E BELMONT ST                                                                                                               ONTARIO                     CA           91761
30200794          DIANA I FAYT                         Address on file
30200654          DIANE COLE                           ATTN: FRANK S. RUSSELL                  212 HIGBIE LANE                                                                         WEST ISLIP                  NY           11795
30200640          DIANE IRVINE                         Address on file
29917571          DIANE N. MAMURA                      Address on file
30287336          Name on file                         Address on file
30263094          Name on file                         Address on file
30222030          Name on file                         Address on file
30259359          Name on file                         Address on file
30293024          Name on file                         Address on file
30260171          Name on file                         Address on file
30256668          Name on file                         Address on file




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  ADDRESS ID                           NAME                          ADDRESS 1                       ADDRESS 2                   ADDRESS 3                     ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30252471          Name on file                         Address on file
30284553          Name on file                         Address on file
29917630          DICKENS ENTERPRISES INC              1572 ROSEWOOD AVE                                                                                                   LAKEWOOD               OH           44107
30273765          Name on file                         Address on file
30274414          Name on file                         Address on file
30290233          Name on file                         Address on file
30274858          Name on file                         Address on file
30259729          Name on file                         Address on file
29917632          DICKINSON WRIGHT PLLC                2600 W. BIG BEAVER #300                                                                                             TROY                   MI           48084
30261744          Name on file                         Address on file
30224013          Name on file                         Address on file
30277404          Name on file                         Address on file
30277411          Name on file                         Address on file
30285639          Name on file                         Address on file
30276501          Name on file                         Address on file
30289731          Name on file                         Address on file
30285112          Name on file                         Address on file
30279796          Name on file                         Address on file
30276195          Name on file                         Address on file
30290104          Name on file                         Address on file
30277663          Name on file                         Address on file
30260129          Name on file                         Address on file
30259039          Name on file                         Address on file
30285714          Name on file                         Address on file
30262661          Name on file                         Address on file
30331738          Name on file                         Address on file
30183852          Digital Media Innovations LLC        770 N Halsted St.               Suite 500                                                                           Chicago                IL           60642
29917648          DIGITAL MOBILE INNOVATIONS LLC       RAZOR HOLDCO LLC                PO BOX 825887                                                                       PHILADELPHIA           PA           19182‐5887
29917649          DIGITAL WAVE TECHNOLOGY INC          130 CORRIDOR RD. #472                                                                                               PONTE VEDRA BEACH      FL           32004
30164101          Digital Wave Technology, Inc.        Robert G. Schafer ‐ CFO         696 Ponte Vedra Blvd                                                                Ponte Vedra Beach      FL           32082
30285409          Name on file                         Address on file
30282670          Name on file                         Address on file
30262759          Name on file                         Address on file
30296987          Name on file                         Address on file
30286024          Name on file                         Address on file
30224765          Name on file                         Address on file
30224765          Name on file                         Address on file
29917664          DIMENSIONS CRAFTS LLC                2015 W FRONT STREET                                                                                                 BERWICK                PA           18603
30282624          Name on file                         Address on file
30262160          Name on file                         Address on file
30261389          Name on file                         Address on file
30258370          Name on file                         Address on file
30217896          Name on file                         Address on file
30217896          Name on file                         Address on file
30293069          Name on file                         Address on file
30263162          Name on file                         Address on file
30232094          Name on file                         Address on file
30200718          DIRECT DIGITAL GRAPHICS INC          1716 ENTERPRISE PKWY                                                                                                TWINSBURG              OH           44087
30291786          Direct Energy Business, LLC          c/o McDowell Hetherington LLP   1001 Fannin                  Suite 2400                                             Houston                TX           77002
29917686          DIRECT ENERGY/643249/660749          12 GREENWAY PLZ STE 250                                                                                             HOUSTON                TX           77046‐1211
30200853          DIRECT ENERGY/70220                  12 GREENWAY PLZ STE 250                                                                                             HOUSTON                TX           77046‐1211
29917691          DIRECTOR OF FINANCE, HOWARD COUNTY   8250 OLD MONTGOMERY RD                                                                                              COLUMBIA               MD           21045
30200670          Disanto, Margaret A.                 Address on file
30200670          Disanto, Margaret A.                 Address on file
30285860          Name on file                         Address on file
30200579          DISH NETWORK LLC                     CORPORATE COUNSEL, IP           ATTN: JOSEPH F. EDELL        1110 VERMONT AVE., NW          SUITE 450               WASHINGTON             DC           20005
30290076          Name on file                         Address on file
29953797          DISTILLATA COMPANY INC               1608 EAST 24TH ST                                                                                                   CLEVELAND              OH           44114
30331688          Name on file                         Address on file
30280111          Name on file                         Address on file
30263086          Name on file                         Address on file
30279653          DiTullio, Christopher                Address on file
30279665          DiTullio, Christopher                Address on file
29917695          DIVIDEND TRUST REIT SUB              DT ASHLEY CROSSING LLC          3300 ENTERPRISE PKWY                                                                BEACHWOOD              OH           44122




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  ADDRESS ID                           NAME                          ADDRESS 1                         ADDRESS 2                      ADDRESS 3                    ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY
29957324          DIVISION STREET ACQUISITION LLC     C/O THE WALL COMPANIES                PO BOX 555                                                                            WAYZATA               MN           55391
30280019          Division Street Acquisition, LLC    c/o David Tanabe                      Messerli Kramer             1400 Fifth Street Towers       100 South Fifth Street     Minneapolis           MN           55402
30281890          Name on file                        Address on file
29957328          DIXIE ELECTRIC COOPERATIVE          9100 ATLANTA HWY                                                                                                            MONTGOMERY            AL           36117
29957334          DIXON TICONDEROGA (STRATHMORE)      2525 N CASALOMA DRIVE                                                                                                       APPLETON              WI           54913
30296415          DIXON TICONDEROGA COMPANY (PACON)   2525 N CASALOMA DR                                                                                                          APPLETON              WI           54913
                  DIXON TICONDEROGA COMPANY
30296425          (STRATHMORE)                        2525 N CASALOMA DR                                                                                                          APPLETON              WI           54913
30292861          Name on file                        Address on file
29917708          DKS INVESTMENTS INC                 C/O KNORR MGMT INC                    5525 REBECCA WAY                                                                      CORNING               CA           96021
30280494          DKS Investments, Inc.               c/o Knorr Management, Inc.            Karin Harrop                5525 Rebecca Way                                          Corning               CA           96021‐9555
29917710          DLA PIPER LLP                       PO BOX 780528                                                                                                               PHILADELPHIA          PA           19178‐0528
30168007          DM Merchandising Inc                Attn: David Redman                    835 N Church Court                                                                    Elmhurst              IL           60126
29917712          DM MERCHANDISING INC                835 N CHURCH COURT                                                                                                          ELMHURST              IL           60126
29917713          DM TRANS LLC                        ARRIVE LOGISTICS                      PO BOX 207779                                                                         DALLAS                TX           75320‐7779
30202109          DM Trans LLC dba Arrive Logistics   Attn: Chris Neitlich                  7701 Metropolis Dr          Building 15                                               Austin                TX           78744
30277008          DMC Corporation                     86 Northfield Ave                                                                                                           Edison                NJ           08837
30294178          DMC Corporation                     86 Northfield Ave                                                                                                           Edison                NJ           08837
29917715          DMC CORPORATION                     86 NORTHFIELD AVE                                                                                                           EDISON                NJ           08837
30295107          DMI Managed Services, LLC           1600 International Drive, Suite 500                                                                                         McLean                VA           22102
29917717          DML MARKETING GROUP LTD             7711 HAYVENHURST AVE                                                                                                        VAN NUYS              CA           91406
30181451          DML MARKETING GROUP, LTD.           7711 HAYVENHURST AVENUE                                                                                                     VAN NUYS              CA           91406
30296559          Name on file                        Address on file
30258466          Name on file                        Address on file
30283547          Name on file                        Address on file
30258087          Name on file                        Address on file
30258456          Name on file                        Address on file
30282640          Name on file                        Address on file
30256676          Name on file                        Address on file
30275149          Name on file                        Address on file
30278645          Name on file                        Address on file
30280461          Name on file                        Address on file
30259959          Name on file                        Address on file
30251064          Name on file                        Address on file
30259747          Name on file                        Address on file
30284778          Name on file                        Address on file
30259640          Name on file                        Address on file
30296226          Name on file                        Address on file
30258186          Name on file                        Address on file
30258003          Name on file                        Address on file
30284051          Name on file                        Address on file
30224313          Name on file                        Address on file
30273551          Name on file                        Address on file
29917763          DOMINION ENERGY NORTH CAROLINA      1 JAMES CTR                                                                                                                 RICHMOND              VA           23219
30331101          Dominion Energy Ohio                P.O. Box 5759                                                                                                               Cleveland             OH           44101
30286372          Dominion Energy South Carolina      220 Operation Way                     MC ‐ OSC !A Bankruptcy                                                                Cayce                 SC           29033
29917765          DOMINION ENERGY SOUTH CAROLINA      400 OTARRE PKWY                                                                                                             CAYCE                 SC           29033
29917766          DOMINION SQUARE‐ CULPEPER LLC       2825 SOUTH BLVD., STE 300                                                                                                   CHARLOTTE             NC           28209
29917768          DOMINION VA/NC POWER/26543/26666    120 TREDEGAR ST                                                                                                             RICHMOND              VA           23219‐4306
29917771          DOMINIQUE BOUDINOT                  Address on file
29957342          DOMINIQUE PLUMMER                   Address on file
30274368          Name on file                        Address on file
30280176          Name on file                        Address on file
30222913          Name on file                        Address on file
30256644          Name on file                        Address on file
30261025          Name on file                        Address on file
30263098          Name on file                        Address on file
30293141          Name on file                        Address on file
30284871          Name on file                        Address on file
30223961          Name on file                        Address on file
29917848          DONNA M. LAMB                       Address on file
29957404          DONNAMARIE M. TAYLOR                Address on file
29957406          DONNAMARIE TAYLOR                   Address on file
30260491          Name on file                        Address on file




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30273640          Name on file                     Address on file
30273946          Name on file                     Address on file
30275362          Name on file                     Address on file
30285243          Name on file                     Address on file
30263640          Name on file                     Address on file
30277497          Name on file                     Address on file
30294726          Name on file                     Address on file
30263516          Name on file                     Address on file
30262520          Name on file                     Address on file
30285545          Name on file                     Address on file

30200655          DOREEN EARNEST                   C/O HENDERSON TAYLOR LAW FIRM, PLLC ATTN: JORDAN TAYLOR               900 WASHINGTON STREET          SUITE 750               VANCOUVER               WA           98660
30291648          Name on file                     Address on file
29917932          DORIS D. ROSE                    Address on file
29957414          DORIS WARD                       Address on file
30260834          Name on file                     Address on file

30200656          DOROTHY BURKE                    C/O JOHN FOY & ASSOCIATES, P.C.    ATTN: JEFFREY P. YASHINSKY, ESQ.   3343 PEACHTREE ROAD, N.E.      SUITE 350               ATLANTA                 GA           30326
30260392          Name on file                     Address on file
30285822          Name on file                     Address on file
30275123          Name on file                     Address on file
30274360          Name on file                     Address on file
30278065          Name on file                     Address on file
30262871          Name on file                     Address on file
30215479          Name on file                     Address on file
30284539          Name on file                     Address on file
30228022          Name on file                     Address on file
30275018          Name on file                     Address on file
30280238          Name on file                     Address on file
30226105          Name on file                     Address on file
30331703          Name on file                     Address on file
29917978          DOUGLAS COUNTY PUD WA            1151 VALLEY MALL PARKWAY                                                                                                     EAST WENATCHEE          WA           98802‐4497
29951269          DOUGLAS F. DEWBERRY              Address on file
30256546          Name on file                     Address on file
30259123          Name on file                     Address on file
29917986          DOUGLASVILLE‐DOUGLAS COUNTY GA   8700 HOSPITAL DR                                                                                                             DOUGLASVILLE            GA           30134
29972600          Doves and Elephants LLC          17 Washington Park                 Santa María Insurgentes                                                                   Newtonville             MA           02460
30257971          Name on file                     Address on file
30260272          Name on file                     Address on file
30257143          Name on file                     Address on file
30221964          Name on file                     Address on file
30296551          Name on file                     Address on file
30260667          Name on file                     Address on file
30262699          Name on file                     Address on file
30286097          Name on file                     Address on file
30260358          Name on file                     Address on file
29918002          DPG USA INC                      305 WILDBERRY COURT, SUITE B‐1                                                                                               SCHAUMBURG              IL           60193
30164357          DPG USA Inc.                     Robert M. Marshall, Esq.           155 Willowbrook Blvd.              Suite 420                                              Wayne                   NJ           07470
30181470          DPG USA Inc.                     155 Willowbrook Boulevard          Suite 420                                                                                 Wayne                   NJ           07470
30295445          Name on file                     Address on file
30288407          Name on file                     Address on file
30285726          Name on file                     Address on file
30257056          Name on file                     Address on file
30289241          Name on file                     Address on file
30262589          Name on file                     Address on file
30332854          Name on file                     Address on file
30281944          Name on file                     Address on file
30218637          Name on file                     Address on file
30259527          Name on file                     Address on file
30275402          Name on file                     Address on file
30286530          Name on file                     Address on file
30224332          Name on file                     Address on file
30285878          Name on file                     Address on file
29918031          DSM MB II LLC                    DEMOULAS SUPER MARKETS INC         P.O. BOX 419030                                                                           BOSTON                  MA           02241‐9030




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29918034          DSSS                             RUSSELL M. PRY BUILDING              1180 SOUTH MAIN ST.             SUITE #201                                             AKRON                OH           44301‐1254
30229271          DTE ENERGY                       ONE ENEEGY PLAZA, WCB 745                                                                                                   DETROIT              MI           48226
29957438          DTE ENERGY/630795/740786         ONE ENERGY PLAZA                                                                                                            DETROIT              MI           48226
30275032          Name on file                     Address on file
29918037          DUCKET‐WILSON MGMT CO            POWAY INVESTMENT CO                  11150 SANTA MONICA BLVD #760                                                           LOS ANGELES          CA           90025
30297070          Name on file                     Address on file
30275922          Name on file                     Address on file
30200776          DUDLEY TRADING ASSOCIATES LP     C/O BERKSHIRE BANK                   PO BOX 96                                                                              WORCESTER            MA           01613‐0096
30284885          Name on file                     Address on file
30273880          Name on file                     Address on file
30281761          Name on file                     Address on file
30281064          Name on file                     Address on file
30259115          Name on file                     Address on file
30291265          Duke Energy Indiana              Haynsworth SInkler Boyd, PA          c/o Mary M. Caskey              PO Box 11889                                           Columbia             SC           29211
30291248          Duke Energy Kentucky             Haynsworth Sinkler Boyd, PA          c/o Mary M. Caskey, Esq.        PO Box 11889                                           Columbia             SC           29211
30291260          Duke Energy Ohio                 c/o Haynsworth Sinkler Boyd, PA      Attn: Mary M. Caskey, Esq.      PO Box 11889                                           Columbia             SC           29211
30291251          Duke Energy Progress             Haynsworth Sinkler Boyd, PA          c/o Mary M. Caskey, Esq.        PO Box 11889                                           Columbia             SC           29211
29918042          DUKE ENERGY/1094                 526 S CHURCH ST                                                                                                             CHARLOTTE            NC           28202‐1802
30262284          Name on file                     Address on file
30262023          Name on file                     Address on file
30278977          Name on file                     Address on file
30256495          Name on file                     Address on file
29957449          DUN & BRADSTREET                 PO BOX 931197                                                                                                               ATLANTA              GA           31193‐1197
29957452          DUNBAR SANITARY BOARD            208 12TH ST                                                                                                                 DUNBAR               WV           25064
29957453          DUNBAR SECURITY PRODUCTS INC     8525 KELSO DR., STE. L                                                                                                      BALTIMORE            MD           21221
30292703          Dunbar Security Products, Inc.   c/o Gebhardt & Smith LLP             Attn: David V. Fontana          One South Street, Suite 2200                           Baltimore            MD           21202
30253641          Name on file                     Address on file
29957454          DUNBARTON SC LLC                 HILLCREST MO LLC C/O L. EARLEYWINE   4622 PENNSYLVANIA AVE #700                                                             KANSAS CITY          MO           64112
30279723          Name on file                     Address on file
30262997          Name on file                     Address on file
30256879          Name on file                     Address on file
30332952          Name on file                     Address on file
30283134          Name on file                     Address on file
30281121          Name on file                     Address on file
30285483          Name on file                     Address on file
30261888          Name on file                     Address on file
30282465          Name on file                     Address on file
30274412          Name on file                     Address on file
30256708          Name on file                     Address on file
30293907          Name on file                     Address on file
30285547          Name on file                     Address on file
30256630          DuPage County Public Works       Attn: Barbara Q. Reynolds            Assistant State's Attorney      503 N. County Farm Road                                Wheaton              IL           60187
29918050          DUPAGE COUNTY PUBLIC WORKS       421 N COUNTY FARM RD                                                                                                        WHEATON              IL           60187
30289267          Duquesne Light Company           Agent/Bernstein‐Burkley, P.C.        Keri P. Ebeck                   601 Grant Street               9th Floor               Pittsburgh           PA           15219
30289282          Duquesne Light Company           601 Grant Street                     9th Floor                                                                              Pittsburgh           PA           15219
29918053          DUQUESNE LIGHT COMPANY           411 SEVENTH AVENUE (6‐1)                                                                                                    PITTSBURGH           PA           15219
30273940          Name on file                     Address on file
30261648          Name on file                     Address on file
30226645          Name on file                     Address on file
30262500          Name on file                     Address on file
30257509          Name on file                     Address on file
30284531          Name on file                     Address on file
30284537          Name on file                     Address on file
30278785          Name on file                     Address on file
30285970          Name on file                     Address on file
30276324          Name on file                     Address on file
30280273          Name on file                     Address on file
30260346          Name on file                     Address on file
30292909          Name on file                     Address on file
30263625          Name on file                     Address on file
30257834          Name on file                     Address on file
30228880          Name on file                     Address on file
30221866          DVClean Indy, LLC                11 Municipal Dr                      Suite 200                                                                              Fishers              IN           46038
30262667          Name on file                     Address on file




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29918063          DW28 FREMONT LLC                        5839 MONROE STREET                                                                                         SYLVANIA                OH           43560
30261917          DW28 Fremont, LLC                       5839 Monroe Street                  #1                                                                     Sylvania                OH           43560
29918079          DYANNA D. BREWER                        Address on file
29918081          DYCO MANAGEMENT CORP                    C/O SPM MGMT INC                    24 W RAILROAD AVE‐ PMB 278                                             TENAFLY                 NJ           07670
30274440          Name on file                            Address on file
30331260          Dynegy                                  PO Box 650393                                                                                              Dallas                  TX           75265
29918115          DYNEGY ENERGY SERVICES/27679            27679 NETWORK PLACE                                                                                        CHICAGO                 IL           60673
30168005          Dyno LLC                                1571 West Copans Rd, Ste 105                                                                               Pompano Beach           FL           33064
29918116          DYNO LLC                                1571 WEST COPANS ROAD SUITE 105                                                                            POMPANO BEACH           FL           33064‐1513
30183170          Dyno LLC DBA Creative Designs Depot     1571 West Copans Rd, Ste 105                                                                               Pompano Beach           FL           33064
30258951          Name on file                            Address on file
29918121          E&A NORTHEAST LIMITED PART              TENANT #23989                       PO BOX 536856                                                          ATLANTA                 GA           30353‐6856
29918136          E2OPEN SUBSIDIARY HOLDINGS LLC          BLUJAY SOLUTIONS LLC                PO BOX 712467                                                          PHILADELPHIA            PA           19171‐2467
30260366          Name on file                            Address on file
29918139          EAGLE MARK 4 EQUIP CO                   95 OHIO BRASS RD.                                                                                          MANSFIELD               OH           44902
30276791          Name on file                            Address on file
30284555          Name on file                            Address on file
30215799          EAN SERVICES LLC                        14002 E 21ST ST, SUITE 1500         ATTN: BANKRUPTCY PMT                                                   TULSA                   OK           74134
30224173          Name on file                            Address on file
30276272          Name on file                            Address on file
30294685          Name on file                            Address on file
30261558          Name on file                            Address on file
30275171          Name on file                            Address on file
29918152          EAST BAY PLAZA LLC                      PO BOX 990                                                                                                 TRAVERSE CITY           MI           49685
29973896          East Group Logistics LLC                4811 Airport Plaza Dr. 4th Floor.                                                                          Long Beach              CA           90815
29918162          EAST GROUP LOGISTICS LLC                4811 AIRPORT PLAZA DR., 4TH FL.                                                                            LONG BEACH              CA           90815
29950108          EAST WENATCHEE WATER DISTRICT           692 EASTMONT AVE                                                                                           EAST WENATCHEE          WA           98802‐7608
30258229          Name on file                            Address on file
30218639          Name on file                            Address on file
30257218          Name on file                            Address on file
30257324          Name on file                            Address on file
30292477          Name on file                            Address on file
30274827          Ebates Performance Marketing Inc        800 Concar Drive                    Suite 175                                                              San Mateo               CA           94402
30275225          Name on file                            Address on file
30285906          Name on file                            Address on file
30293877          Name on file                            Address on file
30275859          Name on file                            Address on file
30256782          Name on file                            Address on file
30259896          Name on file                            Address on file
30278689          Name on file                            Address on file
29953971          EBMUD‐east Bay Municipal Utility Dist   Po Box 24055                        MS #42                                                                 Oakland                 CA           94623‐9979
29953972          EBMUD‐EAST BAY MUNICIPAL UTILITY DIST   375 11TH STREET                                                                                            OAKLAND                 CA           94607
29918177          EC DESIGN LLC                           ERIN CONDREN                        201 W. HOWARD LANE                                                     AUSTIN                  TX           78753
30331501          EC Foundation Schererville LLC          5363 Balboa Blvd.                   Suite 227                                                              Encino                  CA           91316
29918183          ECHO/CONTINENTAL LINCOLN VILL LLC       C/O HOMETEAM PROPERTIES             222 E. 11TH AVE                                                        COLUMBUS                OH           43201
30297078          Name on file                            Address on file
30289718          Name on file                            Address on file
30274974          Name on file                            Address on file
30285301          Name on file                            Address on file
30274077          Name on file                            Address on file
30167249          Eclectic Products LLC                   990 Owen Loop N                                                                                            Eugene                  OR           97402
29918184          ECLECTIC PRODUCTS LLC                   990 OWEN LOOP NORTH                                                                                        EUGENE                  OR           97402‐0109
29918195          EDDIE SOTO                              Address on file
30282599          Name on file                            Address on file
30274469          Name on file                            Address on file
30200769          EDENS LIMITED PARTNERSHIP               BROOKFIELD (E&A) LLC T#56453        PO BOX 536856                                                          ATLANTA                 GA           30353‐6856
30262336          Name on file                            Address on file
29918215          EDGE LOGISTICS LLC                      C/O ATLAS FACTORING LLC             906 N. MESA ST., #301                                                  EL PASO                 TX           79902
30224953          Edge Plastics, Inc.                     c/o Corsaro & Associates Co., LPA   28039 Clemens Rd                                                       Westlake                OH           44145
29918216          EDGE PLASTICS, INC.                     449 NEWMAN STREET                                                                                          MANSFIELD               OH           44902
29918218          EDGE UTILITIES                          2702 ERIE AVE                       #210                                                                   CINCINNATI              OH           45208
30294991          Name on file                            Address on file
30287258          Name on file                            Address on file
30261676          Name on file                            Address on file




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30282815          Name on file                        Address on file
29918236          EDNA KISTER                         Address on file
29918242          EDNA VANN                           Address on file
29918244          EDRAY 20/20 LLC                     1300 S. MINT ST., STE. 200                                                                                                     CHARLOTTE              NC           28203
30167898          Edray 20/20, LLC                    Lisa Reynolds                                 1300 S Mint Street, Suite 200                                                    Charlotte              NC           28203
30276274          Name on file                        Address on file
30168071          Educators Resource                  2575 Schillinger Rd N                                                                                                          Semmes                 AL           36575
29918260          EDUCATORS RESOURCE INC              2575 SCHILLINGER ROAD N                                                                                                        SEMMES                 AL           36575
30257271          Name on file                        Address on file
30274770          Name on file                        Address on file
30256579          Name on file                        Address on file
30285149          Name on file                        Address on file
30274255          Name on file                        Address on file
30330996          Edwardsville Mall LP                c/o Jeffrey Smith                             20 Commerce Drive                   Suite 326                                    Cranford               NJ           07016
29918287          EDWARDSVILLE MALL LP                C/O DIVERSIFIED MGMT PLUS LLC                 1125 OCEAN AVE.                                                                  LAKEWOOD               NJ           08701
29918300          E‐FIBRES LLC                        2330 PONCE DE LEON BLVD                                                                                                        CORAL GABLES           FL           33134
30224309          Name on file                        Address on file
30285565          Name on file                        Address on file
30285651          Name on file                        Address on file
30251346          Name on file                        Address on file
30285169          Name on file                        Address on file
30223395          Name on file                        Address on file
30223395          Name on file                        Address on file
30252463          Name on file                        Address on file
30276463          Name on file                        Address on file
30259551          Name on file                        Address on file
30261079          Name on file                        Address on file
30262354          Name on file                        Address on file
30262599          Name on file                        Address on file
30260039          Name on file                        Address on file
30286160          Name on file                        Address on file
30292743          Name on file                        Address on file

30290053          El Camino Promenade, LLC            Binder Malter Harris & Rome‐Banks LLP         c/o Julie Rome‐Banks                2775 Park Avenue                             Santa Clara            CA           95050
29918336          EL GATO GRANDE LP                   C/O HOE & ASSOCIATES                          PO BOX 370 1133 RTE 295                                                          EAST CHATHAM           NY           12060
29918339          EL PASO ELECTRIC/650801             13511 MONTANA AVE                                                                                                              EL PASO                TX           79938
29918341          EL PASO WATER UTILITIES             6400 BOEING DR                                                                                                                 EL PASO                TX           79925
30200590          ELAINE LEISTICO                     C/O T. K. THOMPSON & ASSOCIATES               ATTN: MATTHEW THOMPSON              100 N. MAIN, SUITE 200                       LIBERTY                MO           64068
30287304          Name on file                        Address on file
30285097          Name on file                        Address on file
30280700          Name on file                        Address on file
30227132          Name on file                        Address on file
29918411          ELECTRIC CITY UTILITIES             1427 MEADOW WOOD BLVD                                                                                                          RALEIGH                NC           27604

                                                      Unit 11,19F.,International Trade Centre,11‐
29966091          Elegant Home Limited                19 Sha Tsui Road ,Tsuen Wan                                                                                                    Hong Kong                                           Hong Kong
                                                                                                    Unit 11, 19F, international Trade
30164403          Elegant Home Limited                Joseph Lee                                    Centre                              11‐19 Sha Tsui Road, Tsuen Wan               Hong Kong                                           Hong Kong

29918415          ELEGANT HOME LTD                    UNIT 11, 19/F INTERNATIONAL TRADE C           11‐19 SHA TSUI ROAD                                                              TSUEN WAN                           999077          HONG KONG
30293091          Elegant Home Ltd.                   Kevin M. Capuzzi, Esq.                        1313 N. Market St.                  Suite 1201                                   Wilmington             DE           19801
30280557          Name on file                        Address on file
30332776          Name on file                        Address on file
30286105          Name on file                        Address on file
30287254          Elicea Arenas, Gonzalo Manuel       Address on file
30278533          Name on file                        Address on file
29918646          ELIZABETH FAUX                      C/O KEVIN J. MCINERNEY                        1050 N. HILLS BLVD.                                                              RENO                   NV           89506
30295084          Elizabeth Faux as PAGA              Attn: Capstone Law APC                        1875 Century Park East              Ste 1000                                     Los Angeles            CA           90067
29918736          ELIZABETH L. HODGDON                Address on file
30200616          ELIZABETH PERRY                     Address on file
29918897          ELIZABETHTOWN GAS/6031              12 WEST JERSEY STREET                                                                                                          ELIZABETH              NJ           07201
29918899          ELIZABETHTOWN UTILITIES, KY         200 W DIXIE AVE                                                                                                                ELIZABETHTOWN          KY           42701
29918905          ELK GROVE WATER WORKS, CA           9829 WATERMAN ROAD                                                                                                             ELK GROVE              CA           95624
30353331          ELK RIVER PUBLIC UTILITY DISTRICT   217 SOUTH JACKSON ST                          PO BOX 970                                                                       TULLAHOMA              TN           37388




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29950010          ELK RIVER PUBLIC UTILITY DISTRICT    217 SOUTH JACKSON STREET                                                                             TULLAHOMA            TN           37388
30263522          Name on file                         Address on file
30333532          ELKO COUNTY TREASURER                571 IDAHO STREET           SUITE 101                                                                 ELKO                 NV           89801
30285081          Name on file                         Address on file
30251507          Name on file                         Address on file
30221986          Name on file                         Address on file
30200629          ELLIOTT KRAMER                       Address on file
30331902          Name on file                         Address on file
30296249          Name on file                         Address on file
30256866          Name on file                         Address on file
30279852          Name on file                         Address on file
30286218          Name on file                         Address on file
30275372          Name on file                         Address on file
30257575          Name on file                         Address on file
30261369          Name on file                         Address on file
30287768          Name on file                         Address on file
30259091          Name on file                         Address on file
30287843          Name on file                         Address on file
30285505          Name on file                         Address on file
30279150          Name on file                         Address on file
30294982          Name on file                         Address on file
30289623          Name on file                         Address on file
30276584          Name on file                         Address on file
30294438          Name on file                         Address on file
29918979          ELLISON EDUCATIONAL EQUIPMENT INC    25671 COMMERCENTRE DRIVE                                                                             LAKE FOREST          CA           92630
30258707          Ellison Educational Equipment, Inc   530 Technology Drive       Suite 100 & 200                                                           Irvine               CA           92618
30261700          Name on file                         Address on file
29918996          ELMIRA WATER BOARD NY                261 WEST WATER STREET                                                                                ELMIRA               NY           14901
30286769          Name on file                         Address on file
30283126          Name on file                         Address on file
30262490          Name on file                         Address on file
30260657          Name on file                         Address on file
30256754          Name on file                         Address on file
30285367          Name on file                         Address on file
30294667          Name on file                         Address on file
30200689          EMAILAGE CORPORATION                 BILLING ID EA1NCTQ0        28330 NETWORK PLACE                                                       CHICAGO              IL           60673‐1283
29919044          EMERALD COAST UTILITIES AUTHORITY    9255 STURDEVANT ST                                                                                   PENSACOLA            FL           32514
30258027          Name on file                         Address on file
30296427          Name on file                         Address on file
30259632          Name on file                         Address on file
30286044          Name on file                         Address on file
29957650          EMILIA K KIND                        Address on file
29919137          EMILY FLAHERTY                       Address on file
30222426          Name on file                         Address on file
30222426          Name on file                         Address on file
30285532          Name on file                         Address on file
30222127          Name on file                         Address on file
29919492          EMMES LLC                            C/O SHINER MGT GROUP INC   3201 OLD GLENVIEW RD STE 235                                              WILMETTE             IL           60091
30274112          Name on file                         Address on file
30288566          Name on file                         Address on file
30290174          Emser International LLC              8431 Santa Monica Blvd.                                                                              Los Angeles          CA           90069
30293134          Emser International LLC              8431 Santa Monica Blvd                                                                               Los Angeles          CA           90069
30286910          Name on file                         Address on file
30297221          Enbridge Gas                         PO box 935                                                                                           Lowell               NC           28098
30200880          ENBRIDGE GAS /27031                  SUITE 200                  425 ‐ 1 STREET S.W.                                                       CALGARY              AL           T2P 3L8         CANADA
29919524          ENBRIDGE GAS OHIO/26785              1201 E 55TH ST                                                                                       CLEVELAND            OH           44103
29949511          ENCHANTE ACCESSORIES INC             SHATOU STREET              GUANGZHOU                      Z15                                        PANYU                                             CHINA
29919525          ENCHANTE ACCESSORIES INC             16 EAST 34TH STREET                                                                                  NEW YORK             NY           10016
30289641          Enchante Accessories Inc.            149 Madison Ave.           FL 12                                                                     New York             NY           10016
30283806          Enchante Accessories Inc.            149 Madison Ave.           Floor 12                                                                  New York             NY           10016
30289604          Enchante Accessories Inc.            149 Madison Ave.           FL. 12                                                                    New York             NY           10016
30287145          Name on file                         Address on file
30262101          Name on file                         Address on file
30294582          Name on file                         Address on file




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30280845          Name on file                               Address on file
30280849          Name on file                               Address on file
29919535          ENERGY WEST ‐ MONTANA                      P.O. BOX 2229                                                                                                GREAT FALLS             MT           59403‐2229
30258161          Energy West Montana                        PO Box 2229                                                                                                  Great Falls             MT           59403‐2229
30282910          Name on file                               Address on file
30292039          Name on file                               Address on file
30261483          Name on file                               Address on file
30257684          Name on file                               Address on file
30257961          Name on file                               Address on file
30277548          Name on file                               Address on file
30260703          Name on file                               Address on file
30293307          Name on file                               Address on file
30291873          Name on file                               Address on file
29919551          ENSTAR                                     3000 SPENARD RD                                                                                              ANCHORAGE               AK           99503
30275526          ENTERGY ARKANSAS LLC                       4809 JEFFERSON HIGWAY BLDG 1        L‐JEF‐359                                                                NEW ORLEANS             LA           70121‐3138
29919553          ENTERGY ARKANSAS, INC./8101                305 S KNOXVILLE AVE.                                                                                         RUSSELLVILLE            AR           72801
29919555          ENTERGY GULF STATES LA, LLC/8103           4809 JEFFERSON HWY                                                                                           JEFFERSON               LA           70121
29919559          ENTERGY MISSISSIPPI, INC./8105             308 EAST PEARL STREET                                                                                        JACKSON                 MS           39201
30275631          ENTERGY TEXAS INC                          4809 JEFFERSON HIGHWAY BLDG 1       L‐JEF‐359                                                                NEW ORLEANS             LA           70121‐3138
29919561          ENTERGY TEXAS, INC./8104                   350 PINE ST                                                                                                  BEAUMONT                TX           77701
29919563          ENTERPRISE RENT A CAR                      ENTERPRISE/INSIGHT SOURC EAN SERV   P O BOX 402334                                                           ATLANTA                 GA           30384‐2334
30259699          Name on file                               Address on file
30257202          Name on file                               Address on file
29919568          ENVIRONMENTAL TECHNOLOGY INC               300 SOUTH BAY DEPOT ROAD            PO BOX 365                                                               FIELDS LANDING          CA           95537
29919575          EPB                                        10 WEST ML KING BLVD                                                                                         CHATTANOOGA             TN           37402
30259620          EPB of Chattanooga                         P.O. Box 182255                                                                                              Chattanooga             TN           37422
29919576          EPIC REAL ESTATE PART HOLD I LLC           EREP FOREST HILL I LLC              PO BOX 414583                                                            KANSAS CITY             MO           64141‐4583
29919578          EPOCH EVERLASTING PLAY LLC                 330 CHANGEBRIDGE ROAD, SUITE 101                                                                             PINE BROOK              NJ           07058
30289482          Name on file                               Address on file
30258775          Name on file                               Address on file
30261284          Name on file                               Address on file
30290034          EQYInvest Owner II, Ltd., LLP              c/o Timothy Mitchell                Rashti and Mitchell          4422 Ridgeside Drive                        Dallas                  TX           75244
30289098          Name on file                               Address on file
30200782          Name on file                               Address on file
                  ERAY HAFRIYAT INSAAT TAAHUT SAN. VE TIC.   SENLIKKOY AVE YAMAC ST YAMAC
30182903          LTD STI.                                   APARTMAN NO 2 FLOOR 2                                                                                        ISTANBUL, BAKIRKOY                   34153           TURKEY
30259515          Name on file                               Address on file
30261496          Name on file                               Address on file
30274689          Name on file                               Address on file
29957857          ERIC L. PAYNE                              Address on file
30260701          Name on file                               Address on file
30259383          Name on file                               Address on file
30290114          Name on file                               Address on file
30285589          Name on file                               Address on file
30255803          Name on file                               Address on file
30282867          Name on file                               Address on file
30295536          Ernest, Doreen                             Address on file
30295557          Name on file                               Address on file
29919801          ERNST & YOUNG LLP                          PITTSBG NTNL BNK‐PITT 640382        PO BOX 640382                                                            PITTSBURGH              PA           15264
30262406          Name on file                               Address on file
30278476          Name on file                               Address on file
30331802          Name on file                               Address on file
30261234          Name on file                               Address on file
30274779          Name on file                               Address on file
29919820          ESCAPE VELOCITY HOLDINGS INC               TRACE3 LLC                          4601 DTC BLVD., STE 400                                                  DENVER                  CO           80237
30283064          Name on file                               Address on file
30258436          Name on file                               Address on file
30262625          Name on file                               Address on file
30259278          Name on file                               Address on file
30263500          Name on file                               Address on file
30260737          Name on file                               Address on file
30292937          Esplanade at Butler Plaza LLC              Butler Enterprises                  Attn: Terence O'Connell      3217 SW 35th Blvd                           Gainesville             FL           32608
29919844          ESPLANADE AT BUTLER PLAZA LLC              C/O BUTLER ENTERPRISES              PO BOX 141105                                                            GAINESVILLE             FL           32614‐1105
30252309          Name on file                               Address on file




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30261576          Name on file                                  Address on file
30284847          Name on file                                  Address on file
30276857          Name on file                                  Address on file
30285593          Name on file                                  Address on file
30262009          Name on file                                  Address on file
30259483          Name on file                                  Address on file
30200657          EUDOCIA CHALFIN                               Address on file
30181812          EUGENE TEXTILES                               1391 SAINT AMOUR                                                                                                         SAINT LAURENT, QC                       H4S 1T4         CANADA
30181884          Eugene Textiles                               1391 Saint Amour                                                                                                         Saint Laurent              QC           H4S 1T4         Canada
29919915          EUGENE WATER & ELECTRIC BOARD (EWEB)          4200 ROOSEVELT BLVD                                                                                                      EUGENE                     OR           97402
                  Euler Hermes N.A ‐ Agent for Masterpieces
30228519          Puzzle Co., Inc.                              100 International Dr                 22nd Floor                                                                          Baltimore                  MD           21202
29919928          EUROGRAPHICS INC                              9105 SALLEY STREET                                                                                                       MONTREAL                   QC           H8R 2C8         CANADA
30261065          Name on file                                  Address on file
30292933          Name on file                                  Address on file
29919970          EVANGELINA MEDINA                             Address on file
30276849          Name on file                                  Address on file
30258029          Name on file                                  Address on file
30294885          Name on file                                  Address on file
30292050          Name on file                                  Address on file
30287235          Name on file                                  Address on file
30278947          Name on file                                  Address on file
30211653          Name on file                                  Address on file
30259045          Name on file                                  Address on file
30252555          Name on file                                  Address on file
30331817          Name on file                                  Address on file
29957996          EVANSVILLE LP                                 DEPT. 78882, P.O. BOX 78000                                                                                              DETROIT                    MI           48278
30284350          EVANSVILLE WATER AND SEWER UTILITY            1 N.W. MARTIN LUTHER KING JR. BLVD   ROOM 104                                                                            EVANSVILLE                 IN           47708
29919972          EVANSVILLE WATER AND SEWER UTILITY            1 N.W. MARTIN LUTHER KING JR. BLVD   ROOM 104                                                                            EVANSVILLE                 IN           47708
30200658          EVELYN THOMAS                                 C/O SORRELS LAW                      ATTN: RANDALL O. SORRELS     5300 MEMORIAL DRIVE            SUITE 270               HOUSTON                    TX           77007
30286216          Name on file                                  Address on file
30166343          Everbest (Qingdao) Company                    Room 709, YuYuan Building Tower B    No.75 Xiang Gang Xi Road                                                            Qingdao                                                 China
                                                                                                     ROOM 709, UNIT B, YUYUAN
29920005          EVERBEST (QINGDAO) COMPANY                    NO.75 XIANG GANGE XI ROAD            BUILDING,                    QINGDAO                                                SHANDONG                                                CHINA
30295750          Everbest (Qingdao) Company                    255 W Foothill Blvd                  Auite 205                                                                           Upland                     CA           91786
29920006          EVEREST FASHION                               KHUMALTAR HEIGHT, LALITPUR‐15                                                                                            LALITPUR                                44600           NEPAL
30289501          Name on file                                  Address on file
30286257          Name on file                                  Address on file
30181359          Everglory Products Corporation                3333 W. University Drive, Bldg 2     Suite 2101B                                                                         Denton                     TX           76207
30181364          Everglory Products Corporation                3333 W. University Drive             Bldg 2                       Suite 2101B                                            Denton                     TX           76207
30165077          Everglory Products Corporation                3333 W. University Drive             Bldg 2                       Suite 2101B                                            Denton                     TX           76207
30201388          EVERGLORY PRODUCTS CORPORATION                600 E JOHN CARPENTER FWY STE 260                                                                                         IRVING                     TX           75062
29920011          EVERGLORY PRODUCTS CORPORATION                600 E JOHN CARPENTER FWY STE 260                                                                                         IRVING                     TX           75062

30259575          Evergy Kansas Central f/k/a Westar Energy Inc   Carol Martin                       %Bankruptcy Dept             PO Box 11739                                           Kansas City                MO           64138
29920016          EVERGY KANSAS CENTRAL/219915/219089             1200 MAIN ST                                                                                                           KANSAS CITY                MO           64105‐2122
                  EVERGY KS MO METRO MO WEST
29920018          219330/219703                                   1200 MAIN ST                                                                                                           KANSAS CITY                MO           64105‐2122
30221954          Name on file                                    Address on file
30296410          Name on file                                    Address on file
29920023          EVERSOURCE ENERGY 660753/56007                  ONE NSTAR WAY                                                                                                          WESTWOOD                   MA           02090
29920025          EVERSOURCE ENERGY/56002                         107 SELDEN STREET                                                                                                      BERLIN                     CT           06037
29920026          EVERSOURCE ENERGY/56003                         300 CADWELL DR                                                                                                         SPRINGFILED                MA           01104
29949816          EVERSOURCE ENERGY/56004                         107 SELDEN STREET                                                                                                      BERLIN                     CT           06037
29920030          EVERSOURCE ENERGY/56005                         ONE NSTAR WAY                                                                                                          WESTWOOD                   MA           02090
30206598          Eversource Gas of MA                            P.O. Box 2025                                                                                                          Springfield                MA           01102
30224414          Eversource Gas of MA                            P.O. Box 2025                                                                                                          Springfield                MA           01102
29920031          EVERSOURCE/55215                                ONE NSTAR WAY                                                                                                          WESTWOOD                   MA           02090
29920034          EVERYTHING COMFY                                56247 HWY 84                                                                                                           HARTINGTON                 NE           68739
29920035          EVERYTHING LEGWEAR HOLDINGS LLC                 800 SECURITY ROW, STE 4                                                                                                RICHARDSON                 TX           75081
                  Everything Legwear Holdings, LLC dba Everything
30181571          Legwear                                         Lisa Jefferson                     800 Security Row             Suite 4                                                Richarson                  TX           75081
29920036          EVERYTHING MARY LLC                             3905 ELLIOT AVE                                                                                                        SPRINGDALE                 AR           72762‐4932
29920037          EVERYTHING MARY LLC                             2211 HAWKS LANDING                                                                                                     FAYETTEVILLE               AR           72703




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30184198          Everything Mary, LLC                             3905 Elliot Avenue                                                                                                            Springdale                AR           72762
30184196          Everything Mary, LLC                             3915 Elliot Avenue                                                                                                            Springdale                AR           72762
                  Evolution Credit Opportunity Master Fund II‐B,
30395231          LP as Transferee of MCS Far East, Inc.           Attn: Rene Canezin                      28 State Street               23rd Floor                                              Boston                    MA           02109
                  Evolution Credit Opportunity Master Fund II‐B,
30395278          LP as Transferee of MCS Far East, Inc.           Attn: Rene Canezin                      28 State Street, 23rd Floor                                                           Boston                    MA           02109
29920052          EVP AUBURN LLC                                   C/O EVP MANAGEMENT LLC                  49 LEXINGTON ST, STE 5                                                                WEST NEWTON               MA           02465
30291697          EVP Auburn, LLC                                  Gellert Seitz Busenkell & Brown, LLC    c/o Amy D. Brown, Esquire     1201 N. Orange St.              Suite 300               Wilmington                DE           19801
30259089          Name on file                                     Address on file
30274035          Name on file                                     Address on file
30274866          Name on file                                     Address on file
29920056          EXACT PRO WASH INC                               304 RODEO CIRCLE                                                                                                              LOUISVILLE                OH           44641
29920060          EXCELSIOR CONSTRUCTION & REM, LLC                216 HAVEN STREET                                                                                                              MEDFORD                   OR           97501
30166781          Excelsior Construction and Remodeling LLC        Anthony Alvarez                         216 Haven St.                                                                         Medford                   OR           97501
29920065          EXMART INTERNATIONAL                             268, SANT NAGAR, EAST OF KAILASH                                                                                              NEW DELHI                              110065          INDIA
30207005          EXMART INTERNATIONAL PRIVATE LIMITED             268, SANT NAGAR                         EAST OF KAILASH                                                                       NEW DELHI, DELHI                       110065          INDIA
29920067          EXPEDITORS INT'L OF WA INC                       1015 THIRD AVE 12TH FLOOR                                                                                                     SEATTLE                   WA           98104
30200744          EXPOLANKA USA                                    1975 LINDEN BLVD #200                                                                                                         ELMONT                    NY           11003
29949514          EXPRESS VENTURES INN                             ONE HOLIDAY PARK DRIVE                                                                                                        BUTTE                     MT           59701
30262633          Name on file                                     Address on file
30227108          Name on file                                     Address on file
30274935          Name on file                                     Address on file
30262234          Name on file                                     Address on file
30258643          Fabric Traditions                                530 7th Avenue                          305                                                                                   New York                  NY           10018
29920091          FABRIC TRADITIONS                                519 EIGHTH AVENUE, 19TH FL                                                                                                    NEW YORK                  NY           10018
30290058          Name on file                                     Address on file

30290417          Facchino/LaBarbera Tennant Station, LLC          Binder Malter Harris & Rome‐Banks LLP   c/o Julie Rome‐Banks          2775 Park Avenue                                        Santa Clara               CA           95050
                                                                   C/O TERRACOMMERCIAL MANAGEMENT
29920095          FACCHINO/LABARBERA‐TENNANT STATION               CORP                                    873 BLOSSOM HILL RD                                                                   SAN JOSE                  CA           95123
30200739          FACILITYSOURCE LLC                               PO BOX 846847                                                                                                                 LOS ANGELES               CA           90084‐6847
30261103          Name on file                                     Address on file
30274083          Name on file                                     Address on file
30258478          Name on file                                     Address on file
30227090          Name on file                                     Address on file
30262430          Name on file                                     Address on file
30285543          Name on file                                     Address on file
30263658          Name on file                                     Address on file
30258263          Name on file                                     Address on file
29920105          FAIRFIELD PROCESSING                             JOANN.COM                               88 ROSE HILL AVE                                                                      DANBURY                   CT           06813‐1157
29920106          FAIRFIELD PROCESSING CORP                        88 ROSE HILL AVE                                                                                                              DANBURY                   CT           06813‐1157
30289191          Fairfield Processing Corporation                 88 Rose Hill Avenue                                                                                                           Danbury                   CT           06813
30289259          Fairfield Processing Corporation                 88 Rose Hill Avenue                                                                                                           Danbury                   CT           06813
29920111          FAIRVIEW HUDSON 15, LLC                          C/O TRG PROPERTY MGMT, LLC              18 COMPUTER DRIVE EAST                                                                ALBANY                    NY           12205
29920113          FAIRWAY‐FALLS LLC                                C/O FAIRWAY MGMT GRP, LLC               728 SHADES CREEK PKWY, #200                                                           BIRMINGHAM                AL           35209
30259071          Name on file                                     Address on file
30260830          Name on file                                     Address on file
30292329          Name on file                                     Address on file
30297317          Name on file                                     Address on file
30274483          Name on file                                     Address on file
30275271          Name on file                                     Address on file
30200816          FAMILY SEWING                                    4950 WILSON AVE SUITE 70                                                                                                      GRANDVILLE                MI           49418
30257386          Name on file                                     Address on file

29920182          FAR EASTERN HANDICRAFT JSC‐VIETNAM               LOT E9, PHAM HUNG STREET                4TH FLOOR, VIMECO BUILDING    TRUNG HOA WARD, CAU GIAY DIST                           HANOI CTY                                              VIETNAM
30393641          Far Eastern Handicraft JSC‐Vietnam               c/o Sarachek Law Firm                   670 White Plains Road Fl PH                                                           Scarsdale                 NY           10583
30258595          Name on file                                     Address on file
30254880          Name on file                                     Address on file
30259280          Name on file                                     Address on file
30261742          Name on file                                     Address on file
30278871          Name on file                                     Address on file
30285615          Name on file                                     Address on file
30285003          Name on file                                     Address on file
30279347          Name on file                                     Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                        ADDRESS 2                         ADDRESS 3                       ADDRESS 4                  CITY        STATE     POSTAL CODE       COUNTRY
30254072          Name on file                           Address on file
30287013          Name on file                           Address on file
30281697          Name on file                           Address on file
30277937          Name on file                           Address on file
30257183          Name on file                           Address on file
30276750          Name on file                           Address on file
30262484          Name on file                           Address on file
30273912          Name on file                           Address on file
30262695          Name on file                           Address on file
30331611          Name on file                           Address on file
30222052          Name on file                           Address on file
30259674          Name on file                           Address on file
30287147          Name on file                           Address on file
30294151          Name on file                           Address on file
30274980          Name on file                           Address on file
30259303          Name on file                           Address on file
30222863          Name on file                           Address on file
30280488          Name on file                           Address on file
30291781          Name on file                           Address on file
30295064          Faux, Elizabeth                        Address on file
30285218          Name on file                           Address on file
30261262          Name on file                           Address on file
29920236          FAYETTE PAVILION LLC                   945 HEIGHTS BLVD.                                                                                                            HOUSTON               TX           77008
30196625          Fayetteville Public Works Commission   955 Old Wilmington Road                                                                                                      Fayetteville          NC           28301
29920239          FAYETTEVILLE PUBLIC WORKS COMMISSION   955 OLD WILMINGTON RD                                                                                                        FAYETTEVILLE          NC           28301
30255766          Name on file                           Address on file
30283732          Name on file                           Address on file
30297586          FB Festival Center, LLC                Baker & Hostetler LLP               Attn: Jimmy Parrish              200 S. Orange Avenue           Suite 2300               Orlando               FL           32801
30261187          Name on file                           Address on file
29958041          FEDERAL EXPRESS CORPORATION            ATTN EDI PAYMENT                    PO BOX 371741                                                                            PITTSBURGH            PA           15250
29958049          FEDEX FREIGHT                          PO BOX 63247                                                                                                                 NORTH CHARLESTON      SC           29419
29958050          FEDEX KINKO'S INC                      CUSTOMER ADMINISTRATIVE SERV        PO BOX 672085                                                                            DALLAS                TX           75267‐2085
30285499          Name on file                           Address on file
30283587          Name on file                           Address on file
30256584          Name on file                           Address on file
30291442          Name on file                           Address on file
30258159          Name on file                           Address on file
29920257          FELICIDAD JANE MARCELOMETAL            Address on file
30262392          Name on file                           Address on file
30262555          Name on file                           Address on file
30281873          Name on file                           Address on file
30257179          Name on file                           Address on file
30282229          Name on file                           Address on file
30275790          Name on file                           Address on file
30200833          FEN OYUNCAK VE MUTFAK ESYALARI PAZ.    TIC. LTD. STI. ADA NO:61‐63‐65‐67   ISTOC TICARET MERKEZI 6.                                                                 ISTANBUL                           34200           TURKEY
30257710          Name on file                           Address on file
30260487          Name on file                           Address on file
30260675          Name on file                           Address on file
30259809          Name on file                           Address on file
30224187          Name on file                           Address on file
30263186          Ferdinand, Allison Kathleen            Address on file
30275089          Name on file                           Address on file
30263112          Name on file                           Address on file
30286976          Name on file                           Address on file
30261666          Name on file                           Address on file
30257654          Name on file                           Address on file
30262927          Name on file                           Address on file
30295411          Name on file                           Address on file
30259925          Name on file                           Address on file
29920278          FERNWOOD CAPITAL LLC                   C/O CITY COMMERCIAL MGMT            9469 HAVEN AVE., #200, POB 548                                                           RANCHO CUCAMONGA      CA           91729‐0548
30274051          Name on file                           Address on file
30261422          Name on file                           Address on file
30280040          Name on file                           Address on file
30287070          Name on file                           Address on file




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  ADDRESS ID                           NAME                         ADDRESS 1                      ADDRESS 2                  ADDRESS 3                       ADDRESS 4                      CITY        STATE     POSTAL CODE       COUNTRY
30287332          Name on file                          Address on file
30287502          Name on file                          Address on file
30263526          Name on file                          Address on file
30286823          Name on file                          Address on file
30285293          Name on file                          Address on file
30279621          Name on file                          Address on file
30280250          Name on file                          Address on file
29920280          FERRELLGAS                            PO BOX 173940                                                                                                       DENVER                  CO           80217‐3940
30285605          Name on file                          Address on file
30286042          Name on file                          Address on file
30256497          Name on file                          Address on file
30295844          Name on file                          Address on file
30275044          Name on file                          Address on file
30262278          Name on file                          Address on file
29920282          FESTIVAL AT HAMILTON LLC              C/O PARAMOUNT REALTY SERV INC   1195 RTE 70 STE 2000                                                                LAKEWOOD                NJ           08701
29974238          Festival at Hamilton, LLC             c/o DL Thompson Law, PC         PO Box 679                                                                          Allenwood               NJ           08720
29920286          FESTIVAL PROPERTIES INC               1215 GESSNER RD                                                                                                     HOUSTON                 TX           77055
30277721          Name on file                          Address on file
30281782          Name on file                          Address on file
30224132          Name on file                          Address on file
30224132          Name on file                          Address on file
30285089          Name on file                          Address on file
30262603          Name on file                          Address on file
30274832          Name on file                          Address on file
30274049          Name on file                          Address on file
29920289          FFR MERCHANDISING, INC                DBA SIFFRON                     PO BOX 74898                                                                        CLEVELAND               OH           44194‐0981
29920291          FHSA PTY LTD                          SUITE 2.06, 9‐11 CLAREMONT ST   VICTORIA                                                                            SOUTH YARRA                          3141            AUSTRALIA
30276712          Name on file                          Address on file
30259581          Fibrix, LLC                           Seyfarth Shaw LLP               James B. Sowka            233 S. Wacker Drive            Suite 8000                 Chicago                 IL           60606
29920294          FICKLING MANAGEMENT SERVICES LLC      577 MULBERRY ST., STE. 1100     PO BOX 310                                                                          MACON                   GA           31202‐0310
29920295          FIDCAL LLC                            KNOXVILLE LEVCAL LLC            PO BOX 675156                                                                       DALLAS                  TX           75267‐5156
29952537          FIDELITY SECURITY LIFE INSURANCE CO   PO BOX 632530                                                                                                       CINCINNATI              OH           45263‐2530
30274533          Name on file                          Address on file
30297313          Name on file                          Address on file
30285728          Name on file                          Address on file
30273747          Name on file                          Address on file
30278687          Name on file                          Address on file
30258539          Name on file                          Address on file
30260147          Name on file                          Address on file
30285599          Name on file                          Address on file
29967263          Fiesta Crafts Ltd                     45, Gloucester Road                                                                      Enfield, Middlesex                                              EN2 0HD         United Kingdom
29952540          FIESTA CRAFTS LTD                     45, GLOUCESTER ROAD                                                                                                 ENFIELD, MIDDLESEX                   EN2 0HD         UNITED KINGDOM
30295490          Name on file                          Address on file
30258315          Name on file                          Address on file
30332726          Name on file                          Address on file
30295911          Name on file                          Address on file
30225010          Name on file                          Address on file
30260848          Name on file                          Address on file
30278620          Name on file                          Address on file
30284370          Name on file                          Address on file
30285145          Name on file                          Address on file
30224285          Name on file                          Address on file
29920299          FINESSA TANNER                        Address on file
30256542          Name on file                          Address on file
30262300          Name on file                          Address on file
30274045          Name on file                          Address on file
30258196          Name on file                          Address on file
30262222          Name on file                          Address on file
30257563          Name on file                          Address on file
30279060          Name on file                          Address on file
29920315          FIRE PROTECTION SERVICE CORP.         DBA MOUNTAIN ALARM              P.O. BOX 12487                                                                      OGDEN                   UT           84412‐2487
30258432          Name on file                          Address on file
30287875          Name on file                          Address on file




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29953061          FIRST & MAIN NORTH LLC                       C/O NOR'WOOD DEVELOPMENT GROUP   111 SOUTH TEJON STE 222                                                COLORADO SPRINGS          CO           80903
30261012          First and Main North, LLC                    Attn: Lori Jibreen               111 South Tejon Street      Suite 222                                  Colorado Springs          CO           80903
29953065          FIRST DATA CORP                              IPS/VALUELINK                    PO BOX 934057                                                          ATLANTA                   GA           31193‐4057
30181446          First Star Logistics LLC                     Stephan Sawyer                   11262 Cornell Park Dr                                                  Cincinnati                OH           45242
29953068          FIRST STAR LOGISTICS LLC                     PO BOX 912394                                                                                           DENVER                    CO           80291‐2394
30224244          Name on file                                 Address on file
30222307          Name on file                                 Address on file
30331555          Name on file                                 Address on file
30260386          Name on file                                 Address on file
30224082          Name on file                                 Address on file
30224082          Name on file                                 Address on file
30295550          Fisher Real Estate Partners (Lakewood), LP   c/o GM Properties, Inc.          13305 Penn Street           Suite 200                                  Whittier                  CA           90602
29920317          FISHER REAL ESTATE PARTNERS LP(LAKE          C/O GM PROPERTIES                13305 PENN ST., SUITE 200                                              WHITTIER                  CA           90602
30284457          Name on file                                 Address on file
30258151          Name on file                                 Address on file
30224044          Name on file                                 Address on file
30259892          Name on file                                 Address on file
30263188          Name on file                                 Address on file
30285645          Name on file                                 Address on file
30294872          Name on file                                 Address on file
30275000          Name on file                                 Address on file
30282249          Name on file                                 Address on file
30287359          Name on file                                 Address on file
30263222          Name on file                                 Address on file
30183251          Fiskars Brands, Inc.                         Attn: Amy Wedig                  7800 Discovery Drive                                                   Middleton                 WI           53562
30273726          Name on file                                 Address on file
30277622          Name on file                                 Address on file
30273910          Name on file                                 Address on file
30273608          Name on file                                 Address on file
30273882          Name on file                                 Address on file
30256624          Name on file                                 Address on file
30224169          Name on file                                 Address on file
30280480          Name on file                                 Address on file
30280453          Name on file                                 Address on file
30285421          Name on file                                 Address on file
30279802          Five Rivers Property, LLC                    2127 Innerbelt Business Center                                                                          Overland                  MO           63114
30257384          Name on file                                 Address on file
30281572          Name on file                                 Address on file
30281927          Name on file                                 Address on file
30279595          Name on file                                 Address on file
30289727          Name on file                                 Address on file
30284245          Name on file                                 Address on file
29920331          Flathead County Water Dist #1‐evergreen      108 Cooperative Way                                                                                     Kalispell                 MT           59901
29920331          Flathead County Water Dist #1‐evergreen      108 Cooperative Way                                                                                     Kalispell                 MT           59901
29920332          FLATHEAD ELECTRIC COOPERATIVE, INC.          2510 US HIGHWAY 2 EAST                                                                                  KALISPELL                 MT           59901‐2312
30274324          Name on file                                 Address on file
30285331          Name on file                                 Address on file
30284813          Name on file                                 Address on file
30257877          Name on file                                 Address on file
29920336          FLETCHER ENAMEL COMPANY                      PO BOX 67                                                                                               DUNBAR                    WV           25064
29920338          FLETCHER HILLS TOWN & COUNTRY LP             CO LA JOLLA MGMT COMPANY         7855 IVANHOE AVE #333                                                  LA JOLLA                  CA           92037
30259085          Name on file                                 Address on file
29920346          FLINT EMC                                    109 WEST MARION STREET                                                                                  REYNOLDS                  GA           31076‐0308
30259592          Name on file                                 Address on file
30257125          Name on file                                 Address on file
30227052          Name on file                                 Address on file
30258249          Name on file                                 Address on file
29920354          FLORA BUNDA INC                              9528 RICHMOND PL                                                                                        RANCHO CUCAMONGA          CA           91730
30184663          FloraCraft Corporation                       1 Longfellow Place                                                                                      Ludington                 MI           49431
29920361          FLORACRAFT CORPORATION                       ONE LONGFELLOW PLACE                                                                                    LUDINGTON                 MI           49431
30262810          Name on file                                 Address on file
30260301          Name on file                                 Address on file
30256952          Name on file                                 Address on file




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30258639          Name on file                                    Address on file

29920368          FLORENCE MALL HOLDING, LLC                      C/O RIVERCREST REALTY ASSOCIATES LL   8816 SIX FORKS ROAD STE 201                                             RALEIGH                  NC           27615
29958087          FLORENCE UTILITIES, AL                          110 W. COLLEGE ST.                    P.O. BOX 877                                                            FLORENCE                 AL           35630
30331655          Name on file                                    Address on file
30258093          Name on file                                    Address on file
30297015          Name on file                                    Address on file

29958096          FLORIDA GOVERNMENTAL UTILITY AUTH ‐ NFM 6915 PERRINE RANCH RD                                                                                                 NEW PORT RICHEY          FL           34655
30287443          Name on file                                       Address on file
30283015          Name on file                                       Address on file
30275012          Name on file                                       Address on file
30297294          Flowers, Lakeisha                                  Address on file
30261878          Name on file                                       Address on file
29920375          FLOYD PEDERSEN                                     Address on file
30274659          Name on file                                       Address on file
30287011          Name on file                                       Address on file
30279483          Name on file                                       Address on file
30330876          Name on file                                       Address on file
30232602          Name on file                                       Address on file
30331634          FOF 1073 LLC                                       c/o Stephen M. Kaplan, Esq.        45 Addington Road                                                       West Roxbury             MA           02132
30283103          Name on file                                       Address on file
30257428          Name on file                                       Address on file
30274053          Name on file                                       Address on file
30282614          Name on file                                       Address on file
30229392          Name on file                                       Address on file
30285083          Name on file                                       Address on file
30287674          Name on file                                       Address on file
30285216          Name on file                                       Address on file
30257507          Name on file                                       Address on file
30336053          Name on file                                       Address on file
29920383          FOLKWEAR LLC                                       PO BOX 732                                                                                                 FAIRVIEW                 NC           28730
30296168          Name on file                                       Address on file
30257054          Name on file                                       Address on file
30274527          Name on file                                       Address on file
30274061          Name on file                                       Address on file
30261823          Name on file                                       Address on file
30286750          Name on file                                       Address on file
30274799          Name on file                                       Address on file
30287151          Name on file                                       Address on file
                  Foothill‐pacific‐towne Center a California general
30333037          partnership                                        P.O.Box 3060                                                                                               Newport Beach            CA           92658
29920388          FORBITEX USA LLC                                   13016 EASTFIELD ROAD, SUITE 267                                                                            HUNTERSVILLE             NC           28078
30261002          Name on file                                       Address on file
30286961          Name on file                                       Address on file
30222992          Name on file                                       Address on file
30277186          Name on file                                       Address on file
30260133          Name on file                                       Address on file
30293481          Name on file                                       Address on file
30276395          Name on file                                       Address on file
30227084          Name on file                                       Address on file
30291887          Name on file                                       Address on file
30260364          Name on file                                       Address on file
29920391          FOREVER LEAF LLC                                   1780 CHADWICKE CIRCLE                                                                                      NAPERVILLE               IL           60540
30263252          Name on file                                       Address on file
30283531          Name on file                                       Address on file
30283495          Name on file                                       Address on file
30258259          Name on file                                       Address on file
30278997          Name on file                                       Address on file
30293397          Name on file                                       Address on file
30274557          Name on file                                       Address on file
30229411          Name on file                                       Address on file
30259521          Name on file                                       Address on file
30275792          Name on file                                       Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                              ADDRESS 2                      ADDRESS 3                     ADDRESS 4                   CITY        STATE     POSTAL CODE           COUNTRY
29920401          FORT COLLINS UTILITIES                281 NORTH COLLEGE                                                                                                              FORT COLLINS           CO           80524
29954220          FORT GRATIOT CHARTER TOWNSHIP ‐ MI    3720 KEEWAHDIN ROAD                                                                                                            FORT GRATIOT           MI           48059‐3309
29954221          FORT GRATIOT RETAIL LLC               C/O PROFESSIONAL PROPERTY MGT            115 W BROWN                                                                           BIRMINGHAM             MI           48009
29954225          FORT SMITH MARKETPLACE LLC            3307 OLD GREENWOOD RD #A                                                                                                       FORT SMITH             AR           72903
30285876          Fort Smith Marketplace, LLC           Attn: Jerry Seiter                       3307 Old Greenwood Road       Suite A                                                 Fort Smith             AR           72903
30181592          Fort Smith Marketplace, LLC           Attn: Jerry D Seiter                     3307 Old Greenwood Road       Suite A                                                 Fort Smith             AR           72903
29954229          Fort Wayne City Utilities             200 E Berry St                           #130                                                                                  Fort Wayne             IN           46802
29954229          Fort Wayne City Utilities             200 E Berry St                           #130                                                                                  Fort Wayne             IN           46802
29920403          FORT WORTH WATER DEPARTMENT           908 MONROE ST                                                                                                                  FORTH WORTH            TX           76102
29920404          FORTERRA INC                          525 COLUMBIA ST NW, #204                                                                                                       OLYMPIA                WA           98501
30285178          Name on file                          Address on file
29920405          FORTNA INC                            333 BUTTONWOOD ST.                                                                                                             WEST READING           PA           19611
30256618          Name on file                          Address on file
30297632          Name on file                          Address on file
30285345          Name on file                          Address on file
29920407          FOSS PERFORMANCE MATERIALS LLC        11 MERRILL INDUSTRIAL DRIVE                                                                                                    HAMPTON                NH           03843
30274971          Foster, Charles                       Address on file
30331815          Name on file                          Address on file
30276746          Name on file                          Address on file
30262398          Name on file                          Address on file
30289470          Name on file                          Address on file
30221900          Name on file                          Address on file
30260525          Name on file                          Address on file
30273932          Name on file                          Address on file
29920410          FOUNDATION FOR THE CAROLINAS          E4E RELIEF                               PO BOX 896796                                                                         CHARLOTTE              NC           28289‐6796
29920411          FOUNDATION INDUSTRIES                 880B WEST WATERLOO RD                                                                                                          AKRON                  OH           44314
30263100          Name on file                          Address on file
29920413          FOUNTAINS SC LLC                      ATTN: ACCOJNTS PAYABLE                   814 COMMERCE DR., #300                                                                OAK BROOK              IL           60523
29917098          FOUR FLAGGS SHOPPING CENTER LLC       550 7TH AVE., 15TH FL.                                                                                                         NEW YORK               NY           10018
29917100          FOUR J LLC                            TOPSHAM FAIR MALL                        49 TOPSHAM FAIR MALL RD                                                               TOPSHAM                ME           04086
29917102          FOUR SEASONS FLOWERS                  121 S QUARANTINA STREET                                                                                                        SANTA BARBARA          CA           93103
30263182          Name on file                          Address on file
30256620          Name on file                          Address on file
30228882          Name on file                          Address on file
30255544          Name on file                          Address on file
30286142          Name on file                          Address on file
30279162          Name on file                          Address on file
30289491          Name on file                          Address on file
29917104          FOX RIVER OWNER LLC                   PO BOX 171                                                                                                                     EMERSON                NJ           07630
30331926          Fox River TEI Equities LLC            c/o R3M Law, LLP                         Jeffrey N. Rich, Esq.         6 East 43rd Street             21st Floor               New York               NY           10017
30258753          Name on file                          Address on file
30259493          Name on file                          Address on file
30229161          Name on file                          Address on file
30260559          Name on file                          Address on file
30273564          Name on file                          Address on file
30275036          Name on file                          Address on file
30261337          Name on file                          Address on file
29920416          FPC CORPORATION                       355 HOLLOW HILL DRIVE                                                                                                          WAUCONDA               IL           60084
29920418          FPL ‐ FLORIDA POWER & LIGHT COMPANY   700 UNIVERSE BLVD                                                                                                              JUNO BEACH             FL           33408

29920420          FPL NORTHWEST FL                      NEXTERA ENERGY, INC.                     FLORIDA POWER & LIGHT COMPANY 700 UNIVERSE BOULEVARD                                  JUNO BEACH             FL           33408
30259622          Name on file                          Address on file
30296382          Name on file                          Address on file
30262824          Name on file                          Address on file
                                                        19/F Huanya Building, 19, Taipei A Rd,
30161887          Frameunion Industrial Co., Limited    Hankou                                                                                                                         Wuhan, Hubei                        430015          China
                                                                                                 253‐261 HENNESSY ROAD,
29920422          FRAMEUNION INDUSTRIAL CO., LIMITED    RM 1902, EASEY COMM. BLDG.               WANCHAI                                                                               HONGKONG                            999077          CHINA
30261750          Name on file                          Address on file
30262148          Name on file                          Address on file
30274772          Name on file                          Address on file
30261205          Name on file                          Address on file
30331415          Name on file                          Address on file
30274197          Name on file                          Address on file




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  ADDRESS ID                           NAME                         ADDRESS 1                         ADDRESS 2                      ADDRESS 3                       ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30222080          Name on file                         Address on file
30258303          Name on file                         Address on file
30259198          Name on file                         Address on file
30256696          Name on file                         Address on file
30284042          Name on file                         Address on file
30257856          Name on file                         Address on file
30260447          Name on file                         Address on file
30274090          Name on file                         Address on file
30280529          Name on file                         Address on file
30261604          Name on file                         Address on file
30274172          Name on file                         Address on file
30260773          Name on file                         Address on file
30257729          Name on file                         Address on file
30221984          Name on file                         Address on file
30280097          Name on file                         Address on file
30259347          Name on file                         Address on file
30259196          Name on file                         Address on file
30200884          FRED W ALBRECHT GROCERY CO           DBA ACME STORES                    PO BOX 1910                                                                            AKRON                  OH           44309
30285259          Name on file                         Address on file
29920505          FREDERICK CNTY SQUARE IMPROVEMENTS   PO BOX 847693                                                                                                             BOSTON                 MA           02284‐7693
29920513          FREDERICK WATER                      315 TASKER RD.                                                                                                            STEPHENS CITY          VA           22655
30284229          Name on file                         Address on file
30296496          Name on file                         Address on file
30273944          Name on file                         Address on file
30331571          Name on file                         Address on file
29920521          FREE RANGE ASHBRIDGE LLC             120 PENNSYLVANIA AVE.                                                                                                     MALVERN                PA           19355
30293632          Name on file                         Address on file
30289270          Name on file                         Address on file
30280234          Name on file                         Address on file
29920524          FREEDOMPAY INC                       75 REMITTANCE DR., #1127                                                                                                  CHICAGO                IL           60675‐1127
30331736          Name on file                         Address on file
30331981          Name on file                         Address on file
30257523          Name on file                         Address on file
29920528          FREEWAY ASSOCIATES LLC               C/O SELIG ENTERPRISES INC          1100 SPRING ST NW #550                                                                 ATLANTA                GA           30309‐2848
                                                       Bodker Ramsey Andrews Winograd &
30296022          Freeway Associates, LLC              Wildstein, PC                      c/o Jacob A. Maurer, Esq.      3490 Piedmont Rd NE            Suite 1400               Atlanta                GA           30305
30260761          Name on file                         Address on file
30274229          Name on file                         Address on file
29920532          FREMONT WATER OFFICE                 323 SOUTH FRONT ST                                                                                                        FREMONT                OH           43420‐3069
30331983          Name on file                         Address on file
30261393          Name on file                         Address on file
30331707          Name on file                         Address on file
29920535          FRESHWATER MZL LLC                   C/O KPR CENTERS LLC                535 FIFTH AVE., 12TH FLOOR                                                             NEW YORK               NY           10017
30273728          Name on file                         Address on file
30257163          Name on file                         Address on file
30259628          Name on file                         Address on file
30262446          Name on file                         Address on file
30285135          Name on file                         Address on file
30259999          Name on file                         Address on file
30224002          Name on file                         Address on file
30224167          Name on file                         Address on file
30285984          Name on file                         Address on file
30285133          Name on file                         Address on file
30290159          Name on file                         Address on file
30296299          Name on file                         Address on file
30227426          Name on file                         Address on file
30276256          Name on file                         Address on file
30262111          Name on file                         Address on file
30289103          Name on file                         Address on file
30259961          Name on file                         Address on file
30273801          Name on file                         Address on file
30262731          Name on file                         Address on file
30257030          Name on file                         Address on file
30292720          Name on file                         Address on file




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  ADDRESS ID                            NAME                                       ADDRESS 1                            ADDRESS 2                        ADDRESS 3                            ADDRESS 4                  CITY        STATE     POSTAL CODE        COUNTRY
30290989          Name on file                                      Address on file
30291205          Name on file                                      Address on file
30279140          Name on file                                      Address on file
30224171          Name on file                                      Address on file
30224171          Name on file                                      Address on file
30331973          Name on file                                      Address on file
29920560          FRY ROAD MUD                                      20111 SAUMS RD                                                                                                                        KATY                  TX           77449
30261554          Name on file                                      Address on file
30262476          Name on file                                      Address on file
30263062          Name on file                                      Address on file
30260607          Name on file                                      Address on file
30295057          Name on file                                      Address on file
30276785          Name on file                                      Address on file
30284937          Name on file                                      Address on file
30280689          Name on file                                      Address on file
30275299          Name on file                                      Address on file
30274183          Name on file                                      Address on file
30284981          Name on file                                      Address on file
30258771          Name on file                                      Address on file
30259979          Name on file                                      Address on file
30258825          Name on file                                      Address on file
30285972          Name on file                                      Address on file
30263310          Name on file                                      Address on file
29920561          FUJIAN SAILLIA LIGHT INTL GROUP CO                B3‐0426 FULI CENTRE SHANGPU ROAD        TAIJIANG DISTRICT                                                                             FUZHOU                             350001          CHINA
30277661          Name on file                                      Address on file
30262725          Name on file                                      Address on file
30331979          Name on file                                      Address on file
30331910          Name on file                                      Address on file
30222691          Name on file                                      Address on file
30285888          Name on file                                      Address on file
30259053          Name on file                                      Address on file
30256885          Name on file                                      Address on file
30297066          Name on file                                      Address on file
30287168          Name on file                                      Address on file
30257977          Name on file                                      Address on file
30293362          Name on file                                      Address on file
30259157          Name on file                                      Address on file
30232304          Name on file                                      Address on file
29920570          FURNITURE ENTERPRISES OF ALASKA INC               940 EAST 38TH AVE                                                                                                                     ANCHORAGE             AK           99503
30256656          Name on file                                      Address on file

30289403          FVR Illinois, LLC fka NADG NNN JFAB (BLO‐IL) LP   Attn: Drew M. Ireland                   3131 McKinney Ave., L10                                                                       Dallas                TX           75204
29920575          FW CA‐POINT LOMA PLAZA LLC                        DBA POINT LOMA PLAZA                    PO BOX 31001‐1087                                                                             PASADENA              CA           91110
30280973          FW CA‐Point Loma Plaza, LLC                       Regency Centers, LP                     Attn: Legal Dept                 1 Independent Drive                  Suite 114               Jacksonville          FL           32202
30280921          FW CO‐Arapahoe Village, LLC                       Regency Centers, LP                     Attn: Legal Dept                 1 Independent Drive                  Suite 114               Jacksonville          FL           32202

29974320          G&I IX Empire McKinley Milestrip LLC              c/o Dana S. Plon, Esquire               Sirlin Leser & Benson, P.C.      123 South Broad Street, Suite 2100                           Philadelphia          PA           19109
29920588          G&I IX PRIMROSE MARKETPLACE LLC                   PO BOX 850722                                                                                                                         MINNEAPOLIS           MN           55485‐0722
29920591          G&I X CENTERPOINT LLC                             PO BOX 850003                                                                                                                         MINNEAPOLIS           MN           55485‐0003
30166664          G.A. Export (Thailand) Co., Ltd                   1055/488‐489                            27th flr.                        R.C.K. Tower,                        Silom Rd                Bangkok                            10500           Thailand
                                                                    1055/488‐489,27th flr., R.C.K. Tower,
30166931          G.A. Export (Thailand) Co., Ltd.                  Silom Rd                                                                                                                              Bangkok                            10500           Thailand

29958113          GA CAYMAN HOLDCO LLC                              GA BUS. PURCH. DBA GUARDIAN ALARM C PO BOX 713263                                                                                     CHICAGO               IL           60677‐1263
29958114          GA EXPORT (THAILAND) CO LTD                       R.C.K. TOWER, SILOM ROAD            1055/488‐489 27TH FLOOR              BANGRAK                                                      BANGKOK                            10500           THAILAND
30293905          Name on file                                      Address on file
30260360          Name on file                                      Address on file
30200696          GABRIEL NUNEZ                                     C/O TERMECHI EMPLOYMENT LAW         ATTN: BABAK TERMECHI                 15760 VENTURA BLVD                   STE 2000                ENCINO                CA           91436‐3050
30275229          Name on file                                      Address on file
30273594          Name on file                                      Address on file
29920633          GABRIELA CASTILLO                                 Address on file
30283636          Name on file                                      Address on file
30225347          Name on file                                      Address on file
30257513          Name on file                                      Address on file




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30259662          Name on file                     Address on file
30295082          Name on file                     Address on file
30259471          Name on file                     Address on file
30285045          Name on file                     Address on file
30287946          Name on file                     Address on file
30282527          Name on file                     Address on file
29920820          GAINESVILLE REGIONAL UTILITIES   301 SE 4TH AVENUE                                                                                                      GAINESVILLE               FL           32601
30281126          Name on file                     Address on file
30292818          Name on file                     Address on file
30288034          Name on file                     Address on file
30273999          Name on file                     Address on file
30277542          Name on file                     Address on file
30256975          Name on file                     Address on file
29920838          GALLATIN MALL GROUP LLC          C/O CORNING COMPANIES       PO BOX 80510                                                                               BILLINGS                  MT           59108
30260378          Name on file                     Address on file
30229362          Name on file                     Address on file
30281093          Name on file                     Address on file
30289139          Name on file                     Address on file
30294620          Name on file                     Address on file
30259618          Name on file                     Address on file
30262107          Name on file                     Address on file
30259405          Name on file                     Address on file
30260372          Name on file                     Address on file
30284935          Name on file                     Address on file
30331376          Name on file                     Address on file
30276839          Name on file                     Address on file
30288758          Name on file                     Address on file
30222689          Name on file                     Address on file
30251205          Name on file                     Address on file
30225336          Ganga Acrowools Limited          Amit Thapar, President      249 Industrial Area ‐A                                                                     Ludhiana, Punjab                       141003          India
29920841          GANGA ACROWOOLS LIMITED          249, INDUSTRIAL AREA 'A'                                                                                               LUDHIANA                               141003          INDIA
30285834          Name on file                     Address on file
30282858          Name on file                     Address on file
30294921          Name on file                     Address on file
30260866          Name on file                     Address on file
30284915          Name on file                     Address on file
30286600          Name on file                     Address on file
30257806          Name on file                     Address on file
30289291          Name on file                     Address on file
30274316          Name on file                     Address on file
30277494          Name on file                     Address on file
30259769          Name on file                     Address on file
30258135          Name on file                     Address on file
30331837          Name on file                     Address on file
30260330          Name on file                     Address on file
30221930          Name on file                     Address on file
30259801          Name on file                     Address on file
30273712          Name on file                     Address on file
30257139          Name on file                     Address on file
30207333          Garda CL Great Lakes, Inc.       c/o Baker & Hostetler LLP   Attn: Alexis Beachdell      Key Tower                      127 Public Square, Suite 2000   Cleveland                 OH           44114
30290163          Name on file                     Address on file
29920849          GARDNER TRUCKING INC             PO BOX 747                                                                                                             CHINO                     CA           91708
30287219          Name on file                     Address on file
30284787          Name on file                     Address on file
30277241          Name on file                     Address on file
30257299          Name on file                     Address on file
30257074          Name on file                     Address on file
30259307          Name on file                     Address on file
30275147          Name on file                     Address on file
30292990          Name on file                     Address on file
30288304          Name on file                     Address on file
30278531          Name on file                     Address on file
30227757          Name on file                     Address on file
30276433          Name on file                     Address on file




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30257636          Name on file                          Address on file
30259693          Name on file                          Address on file
30273838          Name on file                          Address on file
30263064          Name on file                          Address on file
30258865          Name on file                          Address on file
29920861          GARRISON FOREST ASSOC LTD             C/O M LEO STORCH MGT CORP          25 HOOKS LANE STE 312                                                             BALTIMORE              MD           21208
30256718          Name on file                          Address on file
30258265          Name on file                          Address on file
30283373          Name on file                          Address on file
30285303          Name on file                          Address on file
29920889          GAS SOUTH/530552                      3625 CUMBERLAND BOULEVARD          SUITE 1500                                                                        ATLANTA                GA           30339
30262657          Name on file                          Address on file
30289563          Name on file                          Address on file
30289439          Name on file                          Address on file
30289453          Name on file                          Address on file
30290062          Name on file                          Address on file
30294197          Name on file                          Address on file
30258553          Name on file                          Address on file
30257273          Name on file                          Address on file
29920892          GATEWAY AZCO GP LLC                   DBA GATEWAY SHOPPING CENTER        PO BOX 644019                                                                     PITTSBURGH             PA           15264
29920894          GATEWAY FASHION MALL LLC              CO PRIMERO MGMT INC                450 NEWPORT CTR DR. #200                                                          NEWPORT BEACH          CA           92660
30280768          Name on file                          Address on file
30285311          Name on file                          Address on file
30258111          Name on file                          Address on file
30262865          Name on file                          Address on file
30290517          Name on file                          Address on file
30223329          Name on file                          Address on file
30223329          Name on file                          Address on file
30261367          Name on file                          Address on file
30280304          Name on file                          Address on file
30331863          Name on file                          Address on file
30280246          Name on file                          Address on file
30274457          Name on file                          Address on file
29920915          GAVORA INC                            PO BOX 70021                                                                                                         FAIRBANKS              AK           99707
30331552          Gavora, Inc.                          Miller Nash LLP                    John R. Knapp, Jr.           605 5th Ave S                  Ste 900               Seattle                WA           98104
30257599          Name on file                          Address on file
                                                                                           ATATURK MAH.ADNAN MENDERES
29920933          GAZZAL IPLIK SAN VE TIC LTD STI       NO: 48/2 ESENYURT/ISTANBUL         CAD.                                                                              ISTANBUL                            34522           TURKEY
                                                                                           ATATURK MH. ADNAN MENDERES
30166807          Gazzal Iplik San. Ve Tic. Ltd. Sti.   GOKHAN ATAMER                      CD.48/3 ESENYURT                                                                  ISTANBUL                            34522           TURKEY
                                                        ATATURK MAH. ADNAN MENDERES CAD.
30297068          GAZZAL IPLIK SAN. VE TIC. LTD. STI.   NO:48/3                            ESENYURT                                                                          ISTANBUL                            34522           TURKEY
29920934          GB MALL LTD                           C/O QUANTUM COMPANIES              4912 DEL RAY AVE                                                                  BETHESDA               MD           20814
29920935          GBR NEIGHBORHOOD RD LLC               C/O GIBRALTAR MGT CO INC           150 WHITE PLAINS RD                                                               TARRYTOWN              NY           10591
29920939          GCE INTERNATIONAL INC                 1385 BROADWAY                                                                                                        NEW YORK               NY           10018
29920941          GCSED                                 667 DAYTON‐XENIA ROAD                                                                                                XENIA                  OH           45385‐2605
29920941          GCSED                                 667 DAYTON‐XENIA ROAD                                                                                                XENIA                  OH           45385‐2605
30273668          Name on file                          Address on file
30263238          Name on file                          Address on file
30262949          Name on file                          Address on file
30287706          Name on file                          Address on file
30331035          Name on file                          Address on file
30261706          Name on file                          Address on file
30287361          Name on file                          Address on file
30224871          Name on file                          Address on file
30282247          Name on file                          Address on file
30277653          Name on file                          Address on file
30262891          Name on file                          Address on file
29920945          GELLI ARTS LLC                        525 S. 4TH STREET SUITE 246                                                                                          PHILADELPHIA           PA           19147
30279822          Gelli Arts LLC                        525 S 4th St                       Suite 246                                                                         Philadelphia           PA           19147
30260519          Name on file                          Address on file
30274888          Name on file                          Address on file
29920949          GEN3 INVESTMENTS LLC                  8529 100TH AVE                                                                                                       STANWOOD               MI           49346
29950399          GENE J GEORGE U FRIENDSHUH PTR        G&G DEVELOPMENT                    35581 KENAI SPUR HWY                                                              SOLDOTNA               AK           99669




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  ADDRESS ID                           NAME                        ADDRESS 1                          ADDRESS 2                    ADDRESS 3                      ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30200859          GENERAL TRANSPORT INC               PO BOX 7727                                                                                                             AKRON                OH           44306
30263329          Name on file                        Address on file
30256852          Name on file                        Address on file
30284883          Name on file                        Address on file
30283237          Name on file                        Address on file
30274665          Name on file                        Address on file
30292322          Name on file                        Address on file
30276102          Name on file                        Address on file
30396306          Georgia Department of Revenue       2595 Century Parkway NE              Ste 339                                                                            Atlanta              GA           30345
29921041          GEORGIA POWER                       75 5TH ST NW                         STE 150                                                                            ATLANTA              GA           30308
30229360          Name on file                        Address on file
29921063          GERALD M SNEIRSON                   Address on file
30278685          Name on file                        Address on file
30261137          Name on file                        Address on file
30282030          Name on file                        Address on file
30257127          Name on file                        Address on file
30223817          Name on file                        Address on file
30276704          Name on file                        Address on file
29921084          GERRITY ATLANTIC RETAIL PART. LLC   SANTA SUSANA GARP LLC                P.O. BOX 743455                                                                    LOS ANGELES          CA           90074
30282799          Name on file                        Address on file
30280064          Name on file                        Address on file
30261105          Name on file                        Address on file

29921096          GFS REALTY INC                      C/O THE STOP & SHOP SUPERMARKET CO   PO BOX 3797                                                                        BOSTON               MA           02241‐3797
30287655          Name on file                        Address on file
30282525          Name on file                        Address on file
29921098          GHI INC                             305 WILDBERRY COURT, SUITE B‐1                                                                                          SCHAUMBURG           IL           60193
30164390          GHI Inc.                            Robert M. Marshall, Esq.             155 Willowbrook Blvd.       Suite 420                                              Wayne                NJ           07470
30181467          GHI Inc.                            Robert M. Marshall, LLC              Robert Marshall, Esq.       155 Willowbrook Boulevard      Suite 420               Wayne                NJ           07470
30282850          Name on file                        Address on file
29921105          GIA KHANH LLC                       6939 MARIPOSA CIRCLE                                                                                                    DUBLIN               CA           94568
29921107          GIACOMINI FAMILY PROPERTIES         NORTH BAY COMMERCIAL                 100 STONY POINT RD., #250                                                          SANTA ROSA           CA           95401
30288763          Name on file                        Address on file
30279001          Name on file                        Address on file
30274148          Name on file                        Address on file
30282697          Name on file                        Address on file
30260495          Name on file                        Address on file
30277225          Name on file                        Address on file
30232576          Name on file                        Address on file
30256612          Name on file                        Address on file
30261698          Name on file                        Address on file
30257658          Name on file                        Address on file
30286660          Name on file                        Address on file
30285437          Name on file                        Address on file
30273652          Name on file                        Address on file
30263076          Name on file                        Address on file
30331018          Name on file                        Address on file
30261481          Name on file                        Address on file
30255124          Name on file                        Address on file
30291434          Name on file                        Address on file
30261043          Name on file                        Address on file
30261787          Name on file                        Address on file
30257549          Name on file                        Address on file
30213824          GIFTWARES COMPANY INC               436 1ST AVE                                                                                                             ROYERSFORD           PA           19468
29921141          GIFTWARES COMPANY INC               436 1ST AVE                                                                                                             ROYERSFORD           PA           19468
30286468          Name on file                        Address on file
30225196          Name on file                        Address on file
30274348          Name on file                        Address on file
30276744          Name on file                        Address on file
30261254          Name on file                        Address on file
30223363          Name on file                        Address on file
30225177          Name on file                        Address on file
30200619          GILDA MILLER                        Address on file
29921149          GILDAN USA INC                      1980 CLEMENTS FERRY ROAD                                                                                                CHARLESTON           SC           29492




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  ADDRESS ID                             NAME                                     ADDRESS 1                            ADDRESS 2                       ADDRESS 3                      ADDRESS 4                      CITY        STATE     POSTAL CODE           COUNTRY
30258969          Gildan USA LLC                                    c/o Bryan Cave Leighton Paisner LLP   Attn: Jarret P. Hitchings       301 S. College Street          Suite 2150               Charlotte                 NC           28202
30224115          Name on file                                      Address on file
30258801          Name on file                                      Address on file
30259565          Name on file                                      Address on file
30274269          Name on file                                      Address on file
30285678          Name on file                                      Address on file
30258452          Name on file                                      Address on file
29921151          GILLETTE CHILDRENS HOSPITAL FOUND.                200 UNIVERSITY AVE E                                                                                                          SAINT PAUL                MN           55101
30293527          Name on file                                      Address on file
30279227          Name on file                                      Address on file
30286673          Name on file                                      Address on file
30281812          Name on file                                      Address on file
29958145          GINA LIRA                                         Address on file
30163778          GINNIS COLLECTIONS                                B 39 SECTOR 5                                                                                                                 NOIDA, UP                              201301          INDIA
29921204          GINNIS COLLECTIONS                                B 39, SECTOR 5                        NOIDA                                                                                   NORTH                                  201301          INDIA
30263152          Name on file                                      Address on file
30257963          Name on file                                      Address on file
30295090          Name on file                                      Address on file
30273771          Name on file                                      Address on file
30288680          Name on file                                      Address on file
30200661          GISELA ALANIS                                     ATTN: CECILIA GARZA                   202 E. SPRAGUE STREET                                                                   EDINBURG                  TX           78539
30289396          Name on file                                      Address on file
30257295          Name on file                                      Address on file
30275187          Name on file                                      Address on file
30277698          Name on file                                      Address on file
30260453          Name on file                                      Address on file
30279229          Name on file                                      Address on file
30288604          Name on file                                      Address on file
29921252          GLASGOW WATER CO.                                 301 W MAIN ST                                                                                                                 GLASGOW                   KY           42141
30259584          Name on file                                      Address on file
30260005          Name on file                                      Address on file
30331407          Name on file                                      Address on file
30285649          Name on file                                      Address on file
30282421          Name on file                                      Address on file
30258635          Name on file                                      Address on file
30262382          Name on file                                      Address on file
30261896          Name on file                                      Address on file
30263166          Name on file                                      Address on file
30261426          Name on file                                      Address on file
29921277          GLIMCHER PROPERTIES, L.P.                         ATC GLIMCHER, LLC                     PO BOX 200835                                                                           DALLAS                    TX           75320‐0835
29921278          GLL SELECTION II FLORIDA LP                       PO BOX 934872                                                                                                                 ATLANTA                   GA           31193
30297296          GLL Selection II Florida LP                       Baker & Hostetler LLP                 Attn: Jimmy Parrish             200 S. Orange Ave.             Suite 2300               Orlando                   FL           32801
30259014          Global Creative, Inc                              2645 Suzanne Way, Suite 1‐F                                                                                                   Eugene                    OR           97408
29921281          GLOBAL CREATIVE, INC                              2645 SUZANNE WAY, SUITE 1F                                                                                                    EUGENE                    OR           97408
                                                                                                          C‐4‐3, C‐DISTRICT, CHICHENG 5
30200783          GLOBAL EDGE DESIGN AMERICA INC                    C/O YANGDONG XINTAI MFTG CO. LTD      ROAD                                                                                    YANGJIANG                              529932          CHINA
29975592          Global Edge Design America Inc                    1985 Wedgewood Circle                                                                                                         Romeoville                IL           60446
29921287          GLOBAL MAIL INC                                   DHL ECOMMERCE                         2700 S. COMMERCE PKWY #300                                                              WESTON                    FL           33331
30206887          Global Mail, Inc.                                 DHL eCommerce                         Attn: Mike Cagiano              2700 S. Commerce Parkway       Suite 300                Weston                    FL           33331
29921288          GLOBAL SOURCING GRP INC                           DBA SAKON                             PO BOX 1210                                                                             BURLINGTON                VT           05402
29921290          GLOBALTRANZ ENTERPRISES LLC                       PO BOX 735167                                                                                                                 CHICAGO                   IL           60673
30295180          Name on file                                      Address on file
29921308          GLORIA I. LOPEZ                                   Address on file
30181377          Gloster Limited                                   Ajay Kumar Agarwal                    21 Strand Road                                                                          Kolkata, West Bengal                   700001          India
29921333          GLOSTER LIMITED                                   21 STRAND ROAD                        KOLKATA                                                                                 WEST BENGAL                            700001          INDIA
30280787          Name on file                                      Address on file
30259081          Name on file                                      Address on file
30259751          Name on file                                      Address on file
30257891          Name on file                                      Address on file
29921335          GLOWFORGE INC                                     2200 1ST AVE S, STE 100                                                                                                       SEATTLE                   WA           98134
30165863          Glowforge, Inc.                                   1938 Occidental Ave S., Suite C                                                                                               Seattle                   WA           98134
                                                                    C/O MID AMERICA ASSET MANAGEMENT
29921337          GLP FLINT LLC                                     IN                                    ONE PARKVIEW PLAZA 9TH FLOOR                                                            OAKBROOK TERRACE          IL           60181
30276326          GLP Flint LLC, Pollack Flint LLC, TJS Flint LLC   Theodore J. Schmidt                   111 W. Washington Street        Suite 1300                                              Chicago                   IL           60602




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  ADDRESS ID                           NAME                             ADDRESS 1                      ADDRESS 2                         ADDRESS 3          ADDRESS 4                    CITY        STATE     POSTAL CODE           COUNTRY
29921339          GLUE DOTS ADHESIVES                       N117 W18711 FULTON DRIVE                                                                                    GERMANTOWN              WI           53022
30284669          Glue Dots International LLC               N117 W18711 Fulton Drive                                                                                    Germantown              WI           53022
                                                                                             PLOT NO606 MAKWANA ROAD,
29921342          GM FABRICS PVT LTD                        GMF HOUSE                        MAROL                           ANDHERI (E), MUMBAI                        MAHARASHTRA                          400059          INDIA
30259246          Name on file                              Address on file
30257229          Name on file                              Address on file
30273795          Name on file                              Address on file
30257915          Name on file                              Address on file
30280950          Name on file                              Address on file
30277119          Name on file                              Address on file
30287467          Name on file                              Address on file
30261894          Name on file                              Address on file
30331661          Name on file                              Address on file
30260467          Name on file                              Address on file
30261246          Name on file                              Address on file
30331888          Name on file                              Address on file
30285553          Name on file                              Address on file
30292716          Name on file                              Address on file
30222511          Name on file                              Address on file
30286748          Name on file                              Address on file
30286212          Name on file                              Address on file
29921346          GOLDEN ACE INDUSTRIAL CO LTD              107 LIUQUAN RD                   RM 2005 20F GUOMAO BLDG                                                    ZIBO                                 255000          CHINA
29921349          GOLDEN ISLES PLAZA LLC                    C/O SKYLINE SEVEN REAL ESTATE    800 MT. VERNON HWY NE #425                                                 ATLANTA                 GA           30328
29954026          GOLDEN STATE WATER CO.                    630 E FOOTHILL BLVD                                                                                         SAN DIMAS               CA           91773‐1212
29954028          GOLDEN VALLEY ELECTRIC ASSOCIATION        758 ILLINOIS ST                                                                                             FAIRBANKS               AK           99701
30258515          Name on file                              Address on file
30283728          Name on file                              Address on file
30276139          Name on file                              Address on file
30295120          Name on file                              Address on file
30278498          Name on file                              Address on file
30295752          Name on file                              Address on file
30258652          Name on file                              Address on file
30228884          Name on file                              Address on file
30260479          Name on file                              Address on file
30287118          Name on file                              Address on file
30331985          Name on file                              Address on file
30289646          Name on file                              Address on file
30258400          Name on file                              Address on file
30285198          Name on file                              Address on file
30263126          Name on file                              Address on file
30258913          Name on file                              Address on file
30355344          Name on file                              Address on file
30296179          Name on file                              Address on file
30262342          Name on file                              Address on file
                                                            MAHMUT BEY MAHALLESI ISTOC
                                                            CEVREYOLU NO 33 34217 BAGCILAR
30351349          GONPA EV GEREÇLER DI TCARET LMTED RKET    ISTANBUL                                                                                                    ISTANBUL, BAGCILAR                   34218           TURKEY

29954033          GONPA EV GERECLERI DIS TICARET            LIMITED SIRKETI                  GONDOL PLAZA ISTOC CEVRE YOLU                                              ISTANBUL                             34522           TURKEY
                                                            MAHMUTBEY MAHALLESI ISTOC
30181508          GONPA EV GERECLERI DIS TICARET LTD STI.   CEVREYOLU NO 33                                                                                             ISTANBUL, BAGCILAR                   34217           TURKEY
30285672          Name on file                              Address on file
30284841          Name on file                              Address on file
30291763          Name on file                              Address on file
30261296          Name on file                              Address on file
30284475          Name on file                              Address on file
30260348          Name on file                              Address on file
30276837          Name on file                              Address on file
30278811          Name on file                              Address on file
30279487          Name on file                              Address on file
30284243          Name on file                              Address on file
30294380          Name on file                              Address on file
30278707          Name on file                              Address on file
30264035          Name on file                              Address on file




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  ADDRESS ID                           NAME                     ADDRESS 1                              ADDRESS 2                      ADDRESS 3                         ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30200622          GONZALO M. ELICEA ARENAS        Address on file
30290044          Name on file                    Address on file
30256674          Name on file                    Address on file
30259113          Name on file                    Address on file
30260777          Name on file                    Address on file
30291588          Name on file                    Address on file
30275857          Name on file                    Address on file
30225004          Name on file                    Address on file
30225004          Name on file                    Address on file
30262518          Name on file                    Address on file
30224105          Name on file                    Address on file
29954035          GOODMEN BIG OAKS LLC            TRI INC MGMT C/O EMILY MEEKS            PO BOX B                                                                                  TUPELO                MS           38802
29954037          GOODMUN MANAGEMENT LLC          636 OLD YORK RD., 2ND FL.                                                                                                         JENKINTOWN            PA           19046
30274521          Name on file                    Address on file
30274567          Name on file                    Address on file
30260435          Name on file                    Address on file
30273997          Name on file                    Address on file
30279750          Name on file                    Address on file
30287225          Name on file                    Address on file
30280504          Name on file                    Address on file
29921356          GOOGLE INC                      PO BOX 883654                                                                                                                     LOS ANGELES           CA           90088‐3654
30257060          Name on file                    Address on file
30225295          Name on file                    Address on file
29921359          GORDON COMPANIES INC            85 INNSBRUCK DR                                                                                                                   CHEEKTOWAGA           NY           14227
30167783          Gordon Companies Inc            85 Innsbruck Drive                                                                                                                Cheektowaga           NY           14127
30261199          Name on file                    Address on file
30290999          Name on file                    Address on file
30286477          Name on file                    Address on file
30274864          Name on file                    Address on file
30274781          Name on file                    Address on file
30289668          Name on file                    Address on file
30259299          Name on file                    Address on file

30261680          Gorge Leasing Company           c/o Schwabe, Williamson & Wyatt, P.C.   Attn: Daniel R. Kubitz          1211 SW 5th Ave.                 Suite 1900               Portland              OR           97204
30222921          Name on file                    Address on file
30296362          Name on file                    Address on file
30288335          Gorilla Glue Company            Dinsmore & Shohl LLP                    c/o Sara A. Johnston, Esq.      100 West Main Street             Suite 900                Lexington             KY           40507
30296406          Name on file                    Address on file
30286841          Name on file                    Address on file
30285397          Name on file                    Address on file
30284993          Name on file                    Address on file
29921368          GOSHEN WATER & SEWER            308 N 5TH ST                                                                                                                      GOSHEN                IN           46528
30278535          Goss, Makenzie                  Address on file
30281888          Name on file                    Address on file
30226720          Name on file                    Address on file
30261995          Name on file                    Address on file
30274011          Name on file                    Address on file
30280298          Name on file                    Address on file
30290346          Name on file                    Address on file
30274819          Name on file                    Address on file
30285057          Name on file                    Address on file
30297718          Name on file                    Address on file
29921374          GOVERNORS CROSSING OWNER LLC    C/O URBAN RETAIL PROPERTIES LLC         PO BOX 784045                                                                             PHILADELPHIA          PA           19178‐4045
30331930          Governor's Crossing Owner LLC   c/o R3M Law, LLP                        Jeffrey N. Rich, Esq.           6 East 43rd Street, 21st Floor                            New York              NY           10017

30200691          GOVERNORS SQUARE COMPANY IB     GOVERNORS SQUARE PLAZA AC #136906 PO BOX 7545                                                                                     CAROL STREAM          IL           60197‐7545
30294584          Name on file                    Address on file
30285772          GP Retail I LLC                 c/o Brad Dempsey Law LLC          14143 Denver West Parkway             Suite 100                                                 Golden                CO           80401

29921378          GP RETAIL I LLC                 DBA:SRV INVESTORS C/O GART PROPERTI 240 ST PAUL STREET, STE 200                                                                   DENVER                CO           80206
29921380          GPD ASSOCIATES                  520 S MAIN STREET STE 2531                                                                                                        AKRON                 OH           44311
30296316          Name on file                    Address on file
30282355          Name on file                    Address on file
30200693          GRACE SOREL                     Address on file




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  ADDRESS ID                           NAME                                 ADDRESS 1                              ADDRESS 2                    ADDRESS 3                     ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30222734          Name on file                               Address on file
30293897          Name on file                               Address on file
30263308          Name on file                               Address on file
30260826          Name on file                               Address on file
30233038          Name on file                               Address on file
30260868          Name on file                               Address on file
30273534          Name on file                               Address on file
30273759          Name on file                               Address on file
30223683          Name on file                               Address on file
30331833          Name on file                               Address on file
30286265          Name on file                               Address on file
30262144          Name on file                               Address on file
30283467          Name on file                               Address on file
30257757          Granby Public Library                      15 North Granby Rd                                                                                                           Granby               CT           06035
29921523          GRAND & BENEDICTS INC                      6140 S MACADAM AVE                                                                                                           PORTLAND             OR           97239
30257223          Grand & Benedicts, Inc.                    Brownstein Rask LLP                       c/o Scott L. Jensen         1 SW Columbia Street           Suite 900               Portland             OR           97204
29921527          GRAND FORKS ASSOCIATES                     C/O SPATZ CENTERS INC                     PO BOX 188                                                                         DEMOTTE              IN           46310
29966492          Grand Forks Limited Partnership            2901 Clint Moore Road                     Ste 2‐332                                                                          Boca Raton           FL           33496
29921531          GRAND FORKS UTILITY BILLING                255 N 4TH ST                                                                                                                 GRAND FOLKS          ND           58203
30200877          GRAND HAVEN CUSTOM MOLDING LLC             DBA EFFIZIENT                             1500 S BEECHTREE ST                                                                GRAND HAVEN          MI           49417
30214450          Grand Haven Custom Molding LLC             DBA Effizient                             1500 S Beechtree St                                                                Grand Haven          MI           49417
                  Grand Teton Systems Inc as Transferee of
30401078          PlayMonster Group, LLC                     Attn: Michael Bottjer                     1509 Bent Ave.                                                                     Cheyenne             WY           82001
30257700          Name on file                               Address on file
30258965          Name on file                               Address on file
30291633          Name on file                               Address on file
30165213          Granite Telecommunications, LLC            1 Heritage Drive                                                                                                             Quincy               MA           02171
29921544          GRANITE VILLAGE WEST LP                    C/O ATHENA PROPERTY MGMT                  730 EL CAMINO WAY STE 200                                                          TUSTIN               CA           92780
30284907          Name on file                               Address on file
30289612          Name on file                               Address on file
30294767          Name on file                               Address on file
30274322          Name on file                               Address on file
30332720          Name on file                               Address on file
30280561          Name on file                               Address on file
30259425          Name on file                               Address on file
30256540          Name on file                               Address on file
29921554          GRANTS PASS VENTURE LLC                    2200 PASEO VERDE PKWY, STE 260                                                                                               HENDERSON            NV           89052
30296271          Grants Pass Venture, LLC                   c/o Barbra Parlin, Holland & Knight LLP   787 7th Ave.                31st Floor                                             New York             NY           10019
30200839          GRANVILLE ASSOCIATES                       DBA VISION BUSINESS PRODUCTS              PO BOX 643897                                                                      PITTSBURGH           PA           15264‐3897
30291041          Name on file                               Address on file
30227138          Name on file                               Address on file
30277034          Name on file                               Address on file
30278717          Name on file                               Address on file
30258326          Name on file                               Address on file
30260083          Name on file                               Address on file
30263262          Name on file                               Address on file
30285395          Name on file                               Address on file
30260570          Name on file                               Address on file
30261892          Name on file                               Address on file
30292682          Name on file                               Address on file
30293462          Name on file                               Address on file
30295436          Name on file                               Address on file
30257951          Name on file                               Address on file
30286180          Name on file                               Address on file
30200594          GRAYBILL, PATRICIA                         Address on file
30293346          Name on file                               Address on file
30227066          Name on file                               Address on file
29921571          GREAT LAKES ENERGY                         2183 NORTH WATER RD                                                                                                          HART                 MI           49420‐9007
30256762          Name on file                               Address on file
30287639          Name on file                               Address on file
30259469          Name on file                               Address on file
30291203          Green Mountain Power                       163 Acorn Ln                                                                                                                 Colchester           VT           05446
29921584          GREEN MOUNTAIN POWER CORPORATION           163 ACORN LN                                                                                                                 COLCHESTER           VT           05446‐6611
30257981          Name on file                               Address on file




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30276935          Name on file                             Address on file
30277147          Name on file                             Address on file
30257034          Name on file                             Address on file
30256989          Name on file                             Address on file
30280031          Name on file                             Address on file
29921591          GREENFIELD LP                            PO BOX 856884                                                                                                                      MINNEAPOLIS          MN           55485‐6884
30263226          Name on file                             Address on file

30331569          Greenfield, L.P.                         Burke, Warren, MacKay & Serritella, P.C.   c/o Jeremy C. Kleinman          330 North Wabash Avenue        Suite 2100               Chicago              IL           60611‐3607
30256499          Name on file                             Address on file
30256633          Name on file                             Address on file
30296352          Name on file                             Address on file
30224932          Greenville Water                         PO Box 687                                                                                                                         Greenville           SC           29602
29921602          GREENVILLE WATER, SC                     407 W BROAD ST                                                                                                                     GREENVILLE           SC           29601

29921605          GREENWOOD SANITATION DEPT/INDIANAPOLIS   367 S WASHINGTON ST                                                                                                                GREENWOOD            IN           46143
29921606          GREER ENTERPRISES, INC.                  COLLIERS INTERNATIONAL                     5051 JOURNAL CTR BLVD NE #200                                                           ALBUQUERQUE          NM           87109
30274982          Name on file                             Address on file
30331898          Name on file                             Address on file
30276331          Name on file                             Address on file
30294384          Name on file                             Address on file
30200702          GREGORY BERNARD                          C/O KRAMON & GRAHAM                        750 EAST PRATT STREET           SUITE 1100                                              BALTIMORE            MD           21202
30290068          Name on file                             Address on file
30222326          Name on file                             Address on file
30286898          Name on file                             Address on file
30227595          Name on file                             Address on file
30287237          Name on file                             Address on file
30331776          Name on file                             Address on file
30280011          Name on file                             Address on file
30259007          Name on file                             Address on file
30275137          Name on file                             Address on file
30257196          Name on file                             Address on file
30181689          GRESKE, JANET LYNN                       Address on file
30166130          GRESKE, JANET LYNN                       Address on file
30256983          Name on file                             Address on file
30263160          Name on file                             Address on file
30291626          Name on file                             Address on file
29921679          GREYSTONE POWER CORPORATION (ELEC)       3400 HIRAM‐DOUGLASVILLE HWY                                                                                                        HIRAM                GA           30141
30263248          Name on file                             Address on file
30281449          Name on file                             Address on file
30227329          Name on file                             Address on file
30278898          Name on file                             Address on file
30224857          Name on file                             Address on file
30259783          Name on file                             Address on file
30165281          Grieco, Cobrina                          Address on file
30222018          Name on file                             Address on file
30222018          Name on file                             Address on file
30274801          Name on file                             Address on file
30260595          Name on file                             Address on file
30260163          Name on file                             Address on file
30286119          Name on file                             Address on file
30291788          Name on file                             Address on file
30291875          Name on file                             Address on file
30284467          Name on file                             Address on file
30331588          Name on file                             Address on file
30258819          Name on file                             Address on file
30257048          Name on file                             Address on file
30287484          Name on file                             Address on file
30273749          Name on file                             Address on file
30256710          Name on file                             Address on file
30261383          Name on file                             Address on file
30261385          Name on file                             Address on file
30260284          Name on file                             Address on file
30331697          Name on file                             Address on file




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  ADDRESS ID                           NAME                              ADDRESS 1                          ADDRESS 2                               ADDRESS 3                    ADDRESS 4                        CITY        STATE     POSTAL CODE       COUNTRY
30224889          Name on file                              Address on file
30284895          Name on file                              Address on file
30222129          Name on file                              Address on file
30287172          Name on file                              Address on file
30284979          Name on file                              Address on file
30276525          Name on file                              Address on file
30281978          Name on file                              Address on file
30259212          Name on file                              Address on file
30285591          Name on file                              Address on file
30286890          Name on file                              Address on file
30276017          Name on file                              Address on file
30258394          Name on file                              Address on file
30253681          Name on file                              Address on file
30279096          Name on file                              Address on file
30275255          Name on file                              Address on file
30283119          Name on file                              Address on file
30260239          Name on file                              Address on file
30259204          Name on file                              Address on file
30257135          Name on file                              Address on file
30258215          Name on file                              Address on file
30225287          Name on file                              Address on file
30293360          Name on file                              Address on file
30282537          Name on file                              Address on file
30278541          Name on file                              Address on file
30287437          Name on file                              Address on file
30289733          Name on file                              Address on file
30197811          Grove Technologies LLC                    3104 E Camelback Rd #559                                                                                                             Phoenix                 AZ           85016
29921697          GROVE TECHNOLOGIES LLC                    DBA GROVESITE                       3104 EAST CAMELBACK RD #559                                                                      PHOENIX                 AZ           85016
30286813          Name on file                              Address on file
29921698          GRUBHUB HOLDINGS INC                      111 W. WASHINGTON ST., #2100                                                                                                         CHICAGO                 IL           60602
30257090          Name on file                              Address on file
30224829          Name on file                              Address on file
29921699          GSD PRADSAVI COLONIAL COMMONS LLC         PO BOX 200804                                                                                                                        DALLAS                  TX           75320‐0804
                                                                                                BAOYUN 4TH ROAD AND ZHENXING
29921719          GUANGDONG YIBOXUAN CERAMICS CO LTD        DONGSHAN LAKE MODERN                AVE                          GUANGDONG                                 INDUSTRIAL PARK, CHAOAN   CHAOZHOU                             515646          CHINA
                                                                                                BAOYUN 4TH ROAD AND ZHENXING
29921719          GUANGDONG YIBOXUAN CERAMICS CO LTD        DONGSHAN LAKE MODERN                AVE                          GUANGDONG                                 INDUSTRIAL PARK, CHAOAN   CHAOZHOU                             515646          CHINA
29921720          GUANGZHOU XY PAPER CO LTD                 NO 32 XINZHUANG 2ND ROAD            YONGHE, HUANGPU DISCTICT,                                                                        GUANGZHOU                            510700          CHINA
29921724          GUARDIAN/011237                           1650 WATERMARK DR STE 170                                                                                                            COLUMBUS                OH           43215
30280908          Name on file                              Address on file
30260685          Name on file                              Address on file
30284058          Name on file                              Address on file
30292871          Name on file                              Address on file
30280197          Name on file                              Address on file
30253748          Name on file                              Address on file
29921735          GUILFORD TOWNSHIP AUTHORITY/SEWER         115 SPRING VALLEY ROAD                                                                                                               CHAMBERSBURG            PA           17201
30330929          Name on file                              Address on file
30281392          Name on file                              Address on file
30232419          Name on file                              Address on file

29974190          Gul Ahmed Textile Mills Limited           Attn: Asif Baig, Director           Plot no. HT 08 Landhi Industrial Area                                                            Karachi, Sindh                       75120           Pakistan
29921739          GUL AHMED TEXTILE MILLS LTD               PLOT HT/08 LANDHI INDUSTRIAL AREA                                                                                                    KARACHI                              75120           PAKISTAN
30286873          Name on file                              Address on file
30276779          Name on file                              Address on file
30276767          Name on file                              Address on file
30279261          Name on file                              Address on file
30258438          Name on file                              Address on file
30274793          Name on file                              Address on file
30294745          Name on file                              Address on file
30330998          Name on file                              Address on file
29921742          GULSONS LLC                               GULSONS RETAIL LLC                  307 LEWERS ST., 6TH FL.                                                                          HONOLULU                HI           96815
30200804          GUMBERG ASSOC CRANBERRY MALL              C/O LG REALTY ADVISORS INC          141 S. SAINT CLAIR ST., #201                                                                     PITTSBURGH              PA           15206
30297593          Gumberg Associates ‐ Cranberry Mall       c/o LG Realty Advisors Inc.         141 S. Saint Clair Street               Suite 201                                                Pittsburgh              PA           15206
30297628          Gumberg Associates ‐ Springfield Square   c/o LG Realty Advisors Inc.         141 S. Saint Clair Street               Suite 201                                                Pittsburgh              PA           15206




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  ADDRESS ID                           NAME                    ADDRESS 1                       ADDRESS 2                    ADDRESS 3          ADDRESS 4                   CITY                 STATE     POSTAL CODE           COUNTRY
30274777          Name on file                      Address on file
30224070          Name on file                      Address on file
30273767          Name on file                      Address on file
30259411          Name on file                      Address on file
30259260          Name on file                      Address on file
30274225          Name on file                      Address on file
30260850          Name on file                      Address on file
30232007          Name on file                      Address on file
30283734          Name on file                      Address on file
30273797          Name on file                      Address on file
30292777          Name on file                      Address on file
30262005          Name on file                      Address on file
29921751          GUTERMANN OF AMERICA              C/O AMERICAN & EFIRD LLC        24 AMERICAN STREET                                                     MOUNT HOLLY                     NC           28120
30288772          Name on file                      Address on file
30258295          Name on file                      Address on file
30259955          Name on file                      Address on file
30217636          Name on file                      Address on file
30261218          Name on file                      Address on file
30274366          Name on file                      Address on file
30261868          Name on file                      Address on file
30296684          Name on file                      Address on file
30262915          Name on file                      Address on file
30278787          Name on file                      Address on file
30258849          Name on file                      Address on file
30262119          Name on file                      Address on file
30274585          Name on file                      Address on file
30274400          Name on file                      Address on file
30260362          Name on file                      Address on file
30200766          GVD COMMERCIAL PROPERTIES INC     1915‐A E KATELLA AVE                                                                                   ORANGE                          CA           92867
30330987          GVD Commercial Properties, Inc.   1413 Savannah Rd                                                                                       Lewes                           DE           19958
29921756          GW REAL ESTATE OF GEORGIA LLC     2300 PLEASANT HILL RD B6                                                                               DULUHE                          GA           30096
29954057          GWEN STUDIOS                      1377 BROADCLOTH ST SUITE 202                                                                           FORT MILL                       SC           29715
29954056          GWEN STUDIOS                      Address on file
                                                    PUDIMADAKA ROAD, ATCHUTAPURAM
29949520          GWEN STUDIOS LLC                  MANDAL                          Z03                                                                    VISAKHAPATNAM, ANDHRA PRADESH                531011          INDIA
30296102          Gwen Studios LLC                  John Pouliot                    1377 Broadcloth Street      Suite 202                                  Fort Mill                       SC           29715
29921777          GWINNETT CO WATER RESOURCES       684 WINDER HWY                                                                                         LAWRENCEVILLE                   GA           30045
30263040          Name on file                      Address on file
30200787          H LEFF ELECTRIC COMPANY INC       4700 SPRING RD.                                                                                        CLEVELAND                       OH           44131
29952585          H&H ASIA LTD                      27F NO 4013 SHENNAN ROAD                                                                               SHENZHEN                                     518026          CHINA
29952585          H&H ASIA LTD                      27F NO 4013 SHENNAN ROAD                                                                               SHENZHEN                                     518026          CHINA
30258517          Name on file                      Address on file
30290135          Name on file                      Address on file
30279092          Name on file                      Address on file
30262240          Name on file                      Address on file
30280308          Name on file                      Address on file
30224153          Name on file                      Address on file
30225100          Name on file                      Address on file
30279571          Name on file                      Address on file
30331559          Name on file                      Address on file
30297029          Name on file                      Address on file
30275281          Name on file                      Address on file
30281545          Name on file                      Address on file
30281271          Name on file                      Address on file
30296567          Name on file                      Address on file
30275010          Name on file                      Address on file
30261638          Name on file                      Address on file
30261406          Name on file                      Address on file
30260445          Name on file                      Address on file
30286253          Name on file                      Address on file
30260659          Name on file                      Address on file
30260719          Name on file                      Address on file
30293034          Name on file                      Address on file
30258155          Name on file                      Address on file




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  ADDRESS ID                           NAME                                   ADDRESS 1                         ADDRESS 2                              ADDRESS 3         ADDRESS 4                    CITY               STATE     POSTAL CODE       COUNTRY
30277000          Name on file                                 Address on file
30262340          Name on file                                 Address on file
30291879          Hahn Loeser & Parks LLP                      Attn: Daniel A. DeMarco, Esq.         200 Public Square                    Suite 2800                                 Cleveland                      OH           44114
29921807          HAHN LOESER & PARKS LLP                      65 EAST STATE ST., #1400                                                                                              COLUMBUS                       OH           43215
30258739          Name on file                                 Address on file
30222373          Name on file                                 Address on file
30222373          Name on file                                 Address on file
29921808          HAILAN GUOYUE TRADING CO LTD                 FLAT D3 4/FL, KA TO FACTORY BLDG.     CHEUNG SHA WAN                                                                  KOWLOON                                     999077          HONG KONG

30182191          Hailan Guoyue Trading Co. Ltd.               1616, 16/F, Vanta Industrial Centre   21‐33 Tai Lin Pai Road, Kwan Chung N.T.                                         Hong Kong                                                   Hong Kong

30182209          Hailan Guoyue Trading Co. Ltd.               1616, 16/F, Vanta Industrial Centre   21‐33 Tai Lin Pai Road, Kwun Chung                                              Hong Kong                                                   Hong Kong
                  Hain Capital Investors Master Fund, LTD as
30352972          Transferee of HTL Limited                    Attn: Keenan Austin                   301 Route 17 North                   Suite 816A                                 Rutherford                     NJ           07070
                  Hain Capital Investors Master Fund, LTD as
30352991          Transferee of HTL Limited                    Attn: Keenan Austin                   301 Route 17 North                   Suite 816A                                 Rutherford                     NJ           07070
                  Hain Capital Investors Master Fund, LTD as
30385792          Transferee of Vardhman Textiles Limited      Attn: Keenan Austin                   301 Route 17 North                   Suite 816A                                 Rutherford                     NJ           07070
                  Hain Capital Investors Master Fund, LTD as
30385839          Transferee of Vardhman Textiles Limited      Attn: Keenan Austin                   301 Route 17 North                   Suite 816A                                 Rutherford                     NJ           07070
                  Hain Capital Investors Master Fund, LTD as
30385480          Transferee of Vardhman Textiles Limited      Attn: Keenan Austin                   301 Route 17 North                   Suite 816A                                 Rutherford                     NJ           07070
30284827          Name on file                                 Address on file
30296251          Name on file                                 Address on file
30259540          Name on file                                 Address on file
29921898          HALCRAFT USA INC                             12 SHIHUO NORTH ROAD                                                                                                  XINHUA DISTRICT SHIJIAZHUANG                                CHINA
30331952          Name on file                                 Address on file
30257372          Name on file                                 Address on file
30274059          Name on file                                 Address on file
30330859          Name on file                                 Address on file
30257965          Name on file                                 Address on file
29921940          HALEY PRUITT                                 Address on file
30258919          Name on file                                 Address on file
30273660          Name on file                                 Address on file
30294511          Name on file                                 Address on file
30279776          Name on file                                 Address on file
30275131          Name on file                                 Address on file
30280615          Name on file                                 Address on file
30257581          Name on file                                 Address on file
30263194          Name on file                                 Address on file
30276882          Name on file                                 Address on file
30229424          Name on file                                 Address on file
30223829          Name on file                                 Address on file
30273803          Name on file                                 Address on file
30221966          Name on file                                 Address on file
30331959          Name on file                                 Address on file
30260909          Name on file                                 Address on file
30288556          Name on file                                 Address on file
30296253          Name on file                                 Address on file
30261357          Name on file                                 Address on file
30261692          Name on file                                 Address on file
30262276          Name on file                                 Address on file
30284680          Name on file                                 Address on file
30258737          Name on file                                 Address on file
30263419          Name on file                                 Address on file
30285190          Name on file                                 Address on file
30274273          Name on file                                 Address on file
29921984          HAMHIC LLC                                   ATTN: ACCOUNTS RECEIVABLE             300 PARK BLVD #201                                                              ITASCA                         IL           60143

29921986          HAMILTON CHASE INC                           DBA HAMILTON CHASE SANTA MARIA LLC PO BOX 468                                                                         SOLVANG                        CA           93464
30274217          Name on file                                 Address on file
30224246          Name on file                                 Address on file
30287752          Name on file                                 Address on file
30262021          Name on file                                 Address on file




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  ADDRESS ID                           NAME                           ADDRESS 1                          ADDRESS 2                   ADDRESS 3          ADDRESS 4                   CITY        STATE     POSTAL CODE       COUNTRY
30258627          Name on file                          Address on file
30225024          Name on file                          Address on file
30278489          Name on file                          Address on file
30282668          Name on file                          Address on file
30282695          Name on file                          Address on file
30285798          Name on file                          Address on file
30276529          Name on file                          Address on file
30260067          Name on file                          Address on file
30260707          Name on file                          Address on file
30282904          Name on file                          Address on file
30291483          Name on file                          Address on file
30200510          Hampton Inn Seattle/Southcenter       7200 S 156th Street                                                                                         Tukwila                WA           98188
30285231          Hampton Plaza LLC                     1334 Maplelawn Dr                                                                                           Troy                   MI           48084

29958246          HAMPTON PLAZA LLC                     C/O STUART FRANKEL DEVELOPMENT CO   1334 MAPLELAWN                                                          TROY                   MI           48084
30255133          Name on file                          Address on file
30259691          Name on file                          Address on file
30287020          Name on file                          Address on file
30278508          Name on file                          Address on file
29922005          HANDS CRAFT US, INC.                  5151 HELIOTROPE AVE                                                                                         VERNON                 CA           90058
30258125          Name on file                          Address on file
30166903          Hanes Fabrics Company                 c/o Husch Blackwell                 Attn: John J. Cruciani       4801 Main Street, Suite 1000               Kansas City            MO           64112
29922007          HANES INDUSTRIES                      500 N MCLIN CREEK RD                                                                                        CONOVER                NC           28613
30330955          Name on file                          Address on file
30257141          Name on file                          Address on file
30277398          Name on file                          Address on file
30295541          Name on file                          Address on file
30273704          Name on file                          Address on file
30284728          Name on file                          Address on file
30284732          Name on file                          Address on file
30257036          Name on file                          Address on file
30284347          Name on file                          Address on file
30285840          Name on file                          Address on file
30273249          Name on file                          Address on file
30279158          Name on file                          Address on file
30292147          Name on file                          Address on file
30284752          Name on file                          Address on file
30262609          Name on file                          Address on file
30261805          Name on file                          Address on file
30331961          Name on file                          Address on file
30285039          Name on file                          Address on file
30260923          Name on file                          Address on file
30291553          Name on file                          Address on file
30258531          Name on file                          Address on file
30200694          HAPAG‐LLOYD AKTIENGESELLSCHAFT        HAPAG‐LLOYD (AMERICA), LLC          3 RAVINA DR., STE. 1600                                                 ATLANTA                GA           30346
30253847          Name on file                          Address on file
30261594          Name on file                          Address on file
30291881          Name on file                          Address on file
30283945          HARD FIRE SUPPRESSION SYSTEMS, INC.   400 A E WILSON BRIDGE RD            ATTN: MICHAEL D. HARD                                                   WORTHINGTON            OH           43085
30258875          Name on file                          Address on file
30284893          Name on file                          Address on file
30258366          Name on file                          Address on file
30293624          Name on file                          Address on file
30296094          Name on file                          Address on file
29975865          Hardicraft/Hardick BV                 Hardick BV                          Nicky Brouwer                8‐10 oosterveldsingel                      HENGELO, OV                         7558PK          Netherlands
29949521          HARDICRAFT/HARDICK BV                 AQUAMARIJNSTRAAT 155                                                                                        HENGELO                             7554 NP         NETHERLANDS
30287000          Name on file                          Address on file
29922184          HARDIN COUNTY WATER DISTRICT # 2      1951 WEST PARK ROAD                                                                                         ELIZABETHTOWN          KY           42701
30257533          Name on file                          Address on file
30331306          Name on file                          Address on file
30281561          Name on file                          Address on file
30227078          Name on file                          Address on file
30285457          Name on file                          Address on file
30258777          Name on file                          Address on file




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  ADDRESS ID                           NAME                   ADDRESS 1                  ADDRESS 2                  ADDRESS 3          ADDRESS 4                  CITY        STATE     POSTAL CODE       COUNTRY
30259069          Name on file                    Address on file
30292836          Name on file                    Address on file
30296968          Name on file                    Address on file
30279237          Name on file                    Address on file
30259107          Name on file                    Address on file
30280976          Name on file                    Address on file
30263316          Name on file                    Address on file
30296618          Name on file                    Address on file
30256544          Name on file                    Address on file
30251261          Name on file                    Address on file
29949522          HARMONY PAPER COMPANY LLC       & YONGDINGHE RD            PLAIN MODEL DIST           180                                        XINXIAN CITY                       453514          CHINA
29958322          HARMONY PAPER COMPANY LLC       352 FANKER ROAD                                                                                  HARMONY               PA           16037
30261670          Name on file                    Address on file
30292767          Name on file                    Address on file
30284675          Name on file                    Address on file
30261436          Name on file                    Address on file
30274402          Name on file                    Address on file
30261947          Name on file                    Address on file
30276582          Name on file                    Address on file
30183682          Harriell, Marcy                 Address on file
30292735          Name on file                    Address on file
30275313          Name on file                    Address on file
30285814          Name on file                    Address on file
30285335          Name on file                    Address on file
30285375          Name on file                    Address on file
30224337          Name on file                    Address on file
30224340          Name on file                    Address on file
30224327          Name on file                    Address on file
30224334          Name on file                    Address on file
30260125          Name on file                    Address on file
30261333          Name on file                    Address on file
30279251          Name on file                    Address on file
30280760          Name on file                    Address on file
30286542          Name on file                    Address on file
30284917          Name on file                    Address on file
30280748          Name on file                    Address on file
30258835          Name on file                    Address on file
30285862          Name on file                    Address on file
30261574          Name on file                    Address on file
30331969          Harris, Tyisha Rachell          Address on file
30296147          Harrison Street Investors LLC   1017 South Gilbert Road    Suite 106                                                             Mesa                  AZ           85204
30259989          Name on file                    Address on file
30263192          Name on file                    Address on file
30276872          Name on file                    Address on file
30258909          Name on file                    Address on file
29922227          HARRY SEE                       Address on file
29922228          HARRY T DRIVER                  Address on file
30297496          Name on file                    Address on file
30259202          Name on file                    Address on file
30284837          Name on file                    Address on file
30284829          Name on file                    Address on file
30262031          Name on file                    Address on file
30284525          Name on file                    Address on file
30223367          Name on file                    Address on file
30257448          Name on file                    Address on file
30276765          Name on file                    Address on file
30227026          Name on file                    Address on file
30278732          Name on file                    Address on file
29922229          HARTER SECREST & EMERY LLP      1600 BAUSCH & LOMB PLACE                                                                         ROCHESTER             NY           14604
30286241          Name on file                    Address on file
30284959          Name on file                    Address on file
30258293          Name on file                    Address on file
30287289          Name on file                    Address on file
30257735          Name on file                    Address on file




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  ADDRESS ID                           NAME                     ADDRESS 1                   ADDRESS 2                     ADDRESS 3          ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30257066          Name on file                Address on file
30261099          Name on file                Address on file
30260293          Name on file                Address on file
30256966          Name on file                Address on file
30258841          Name on file                Address on file
30293920          Name on file                Address on file
30293295          Name on file                Address on file
30221976          Name on file                Address on file
30294433          Name on file                Address on file
30263544          Name on file                Address on file
30275093          Name on file                Address on file
30278713          Name on file                Address on file
30259133          Name on file                Address on file
30287217          Name on file                Address on file
30251331          Name on file                Address on file
30222149          Name on file                Address on file
30285287          Name on file                Address on file
30260651          Name on file                Address on file
30222151          Name on file                Address on file
30222153          Name on file                Address on file
30260340          Name on file                Address on file
30259689          Name on file                Address on file
30260237          Name on file                Address on file
30222932          Name on file                Address on file
30262346          Name on file                Address on file
30331938          Name on file                Address on file

29952258          HAUCK HOLDINGS LTD          DBA HAUCK HOLDINGS ALEXANDRIA LLC   4334 GLENDALE MILFORD ROAD                                             CINCINNATI           OH           45242
30293180          Name on file                Address on file
30294156          Name on file                Address on file
30291838          Name on file                Address on file
30286650          Name on file                Address on file
30291474          Hauppauge Properties LLC    1975 Hempstead Turnpike             Suite 309                                                              East Meadow          NY           11554
30291614          Hauppauge Properties LLC    1975 Hempstead Turnpike             Suite 309                                                              East Meadow          NY           11554
29952261          HAUPPAUGE PROPERTIES LLC    CROSSWINDS COMMONS LLC              1975 HEMPSTEAD TPKE, #309                                              EAST MEADOW          NY           11554
29952259          HAUPPAUGE PROPERTIES LLC    EAST CHASE PROPERTIES LLC           1975 HEMPSTEAD TPKE, 309                                               EAST MEADOW          NY           11554
30296784          Name on file                Address on file
30257253          Name on file                Address on file
30257137          Name on file                Address on file
30274685          Name on file                Address on file
30331057          Name on file                Address on file
30200662          HAWA SARJO                  ATTN: W. KEITH WILLIAMS II          710Â½ CHURCH LANE                                                      YEADON               PA           19050
30257947          Name on file                Address on file
30257830          Name on file                Address on file
29922245          HAWKINS SMITH               Address on file
30257670          Name on file                Address on file
30224068          Name on file                Address on file
30224299          Name on file                Address on file
30223950          Name on file                Address on file
30276855          Name on file                Address on file
30293299          Name on file                Address on file
30262400          Name on file                Address on file
30280498          Name on file                Address on file
30288619          Name on file                Address on file
30296780          Name on file                Address on file
30260312          Name on file                Address on file
30259664          Name on file                Address on file
30276984          Name on file                Address on file
30291215          Name on file                Address on file
30289568          Name on file                Address on file
29958357          HAYS PARTNERS II LLC        1950 S. WEST STREET                                                                                        WICHITA              KS           67213
30261095          Name on file                Address on file
30287369          Name on file                Address on file
30293352          Name on file                Address on file




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  ADDRESS ID                           NAME                           ADDRESS 1                     ADDRESS 2                      ADDRESS 3                       ADDRESS 4                    CITY        STATE     POSTAL CODE       COUNTRY
30284857          Name on file                          Address on file
30260382          Name on file                          Address on file
30331769          Hazel Totem LLC                       Cosgrave Vergeer Kester LLP     c/o Chester D. Hill            900 SW Fifth Avenue            24th Floor               Portland                OR           97204
30262939          Name on file                          Address on file
30262220          Name on file                          Address on file
29922293          HBX NATURAL LIVING                    HERENWEG 100                                                                                                           NOORDWIJK                            2201 AL         NETHERLANDS
30167234          HBX Natural Living BV                 Herenweg 100                                                                                                           Noordwijk                            2201AL.         Netherlands
                                                                                        CENTERE, 87‐105 CHATHAM ROAD
29922294          HC PACKAGING ASIA LIMITED             UNIT 1307, BEVERLY COMMERCIAL   SOUTH,                                                                                 KOWLOON CITY                         999077          HONG KONG
30290966          Name on file                          Address on file
30276155          Name on file                          Address on file
29922300          HEALTHEQUITY, INC                     PO BOX 14374                                                                                                           LEXINGTON               KY           40512
30284499          Name on file                          Address on file
30261829          Name on file                          Address on file
30258269          Name on file                          Address on file
30232109          Name on file                          Address on file
30256511          Name on file                          Address on file
29922329          HEATHER D JOY                         Address on file
29922356          HEATHER HOLODY                        Address on file
29922384          HEATHER OBOYLE HOLISTIC BEAUTY & WE   3262 CHADBOURNE ROAD                                                                                                   SHAKER HEIGHTS          OH           44120
29922384          HEATHER OBOYLE HOLISTIC BEAUTY & WE   3262 CHADBOURNE ROAD                                                                                                   SHAKER HEIGHTS          OH           44120
29922394          HEATHER ROBINSON                      Address on file
29958397          HEATHER SHERMAN                       Address on file
29922414          HEATHER TUPELO ROSS                   Address on file
30276811          Name on file                          Address on file
29958412          HEBEI BESTONE JEWELRY CO LTD          NO. 662, HEPING WEST ROAD                                                                                              SHIJIAZHUANG                         50000           CHINA
30289677          Name on file                          Address on file
30256954          Name on file                          Address on file
30277266          Name on file                          Address on file
30262959          Name on file                          Address on file
30285479          Name on file                          Address on file
30274378          Name on file                          Address on file
30275197          Name on file                          Address on file
30297341          Name on file                          Address on file
30260785          Name on file                          Address on file
30225006          Name on file                          Address on file
30275633          Name on file                          Address on file
30290376          Name on file                          Address on file
29922476          HEIDI KOKULAK                         Address on file
29922478          HEIDI L. SCHWABE                      Address on file
30200623          HEIDI R. STOLLE                       Address on file
30200608          HEIDI SUMNER                          Address on file
30294261          Name on file                          Address on file
30274104          Name on file                          Address on file
30222264          Name on file                          Address on file
30285411          Name on file                          Address on file
30280880          Name on file                          Address on file
30262855          Name on file                          Address on file
30263683          Name on file                          Address on file
30274559          Name on file                          Address on file
30287451          Name on file                          Address on file
30274019          Name on file                          Address on file
30260925          Name on file                          Address on file
30260270          Name on file                          Address on file
30261075          Name on file                          Address on file
29922522          HELEN MILLARD                         Address on file
29922529          HELEN SCHOENING                       Address on file
30200638          HELENA WARREN                         Address on file
30290133          Name on file                          Address on file
30258799          Name on file                          Address on file
30257028          Name on file                          Address on file
30289193          Name on file                          Address on file
30297514          Name on file                          Address on file
30275331          Name on file                          Address on file




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  ADDRESS ID                           NAME                              ADDRESS 1              ADDRESS 2                          ADDRESS 3          ADDRESS 4                CITY        STATE     POSTAL CODE   COUNTRY
30285838          Name on file                         Address on file
30263136          Name on file                         Address on file
30274675          Name on file                         Address on file
30222655          Name on file                         Address on file
30222655          Name on file                         Address on file
30277295          Name on file                         Address on file
30285754          Name on file                         Address on file
30285748          Name on file                         Address on file
30260051          Name on file                         Address on file
30260318          Name on file                         Address on file
30217939          Name on file                         Address on file
30274601          Name on file                         Address on file
30257412          Name on file                         Address on file
30277006          Name on file                         Address on file
                                                                                     1350 Avenue of the Americas, 2nd
30160338          Henan QKH Paper Products Co., Ltd.   c/o Mazzola Lindstrom LLP     Floor                                                                        New York            NY           10019
30274296          Name on file                         Address on file
30278458          Name on file                         Address on file
30286243          Name on file                         Address on file
30292141          Name on file                         Address on file
30286556          Name on file                         Address on file
30282241          Name on file                         Address on file
30251325          Name on file                         Address on file
30275105          Name on file                         Address on file
30286662          Name on file                         Address on file
30256868          Name on file                         Address on file
30284697          Name on file                         Address on file
30296303          Name on file                         Address on file
30278734          Name on file                         Address on file
30278059          Name on file                         Address on file
30224103          Name on file                         Address on file
30295842          Name on file                         Address on file
30285093          Name on file                         Address on file
30274507          Name on file                         Address on file
30285720          Name on file                         Address on file
30232395          Name on file                         Address on file
30261258          Name on file                         Address on file
30260753          Name on file                         Address on file
30274451          Name on file                         Address on file
30279186          Name on file                         Address on file
30281931          Name on file                         Address on file
30285996          Name on file                         Address on file
30223948          Name on file                         Address on file
30218633          Name on file                         Address on file
30277840          Name on file                         Address on file
30280746          Name on file                         Address on file
30281028          Name on file                         Address on file
30257537          Name on file                         Address on file
30273979          Name on file                         Address on file
29922583          HERMITAGE TOWNE PLAZA                C/O JJ GUMBERG CO.            1051 BRINTON ROAD                                                            PITTSBURGH          PA           15221
30275928          Name on file                         Address on file
30279667          Name on file                         Address on file
30222103          Name on file                         Address on file
30279974          Name on file                         Address on file
30274100          Name on file                         Address on file
30259475          Name on file                         Address on file
30286327          Name on file                         Address on file
30263546          Name on file                         Address on file
30288777          Name on file                         Address on file
30288028          Name on file                         Address on file
30277030          Name on file                         Address on file
30259375          Name on file                         Address on file
30288262          Name on file                         Address on file
30286704          Name on file                         Address on file




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  ADDRESS ID                           NAME                                      ADDRESS 1                ADDRESS 2                  ADDRESS 3          ADDRESS 4                      CITY         STATE     POSTAL CODE           COUNTRY
30260123          Name on file                                 Address on file
30280762          Name on file                                 Address on file
30273666          Name on file                                 Address on file
30288981          Name on file                                 Address on file
30263520          Name on file                                 Address on file
30297324          Name on file                                 Address on file
30289561          Name on file                                 Address on file
30232121          Name on file                                 Address on file
30274120          Name on file                                 Address on file
30253979          Name on file                                 Address on file
30222685          Name on file                                 Address on file
30260266          Name on file                                 Address on file
30288154          Name on file                                 Address on file
30278482          Name on file                                 Address on file
30285263          Name on file                                 Address on file
29922592          HESPERIA WATER DISTRICT, CA                  9700 7TH AVE                                                                                         HESPERIA                   CA           92345‐3495
30259258          Name on file                                 Address on file
30261850          Name on file                                 Address on file
30224195          Name on file                                 Address on file
30256577          Name on file                                 Address on file
30275287          Name on file                                 Address on file
30285477          Name on file                                 Address on file
30331619          Name on file                                 Address on file
30276465          Name on file                                 Address on file
30292840          Name on file                                 Address on file
30274746          Name on file                                 Address on file
30286150          Name on file                                 Address on file
30296364          Name on file                                 Address on file

30223764          Hewlett‐Packard Financial Services Company   1701 East Mossy Oaks Road                                                                            Spring                     TX           77389

30296145          Hewlett‐Packard Financial Services Company   200 Connell Drive             Suite 5000                                                             Berkeley Heights           NJ           07922

30332520          Hewlett‐Packard Financial Services Company   1701 East Mossy Oaks Road                                                                            Spring                     TX           77389
30290931          Name on file                                 Address on file
30257235          Name on file                                 Address on file
30257003          Name on file                                 Address on file
29922596          HEZE MAXWELL WOODEN PRODUCTS CO LTD          NO 88 HANJIANG ROAD           CAOXIAN COUNTY                                                         HEZE CITY                                               CHINA
30206586          Heze Maxwell Wooden Products Co., Ltd        No.88 Hanjiang Road           Caoxian County                                                         Heze, SD                                27440           China
29922599          HH GOLDEN GATE                               P.O. BOX 74008052                                                                                    CHICAGO                    IL           60674
29950934          HIBBING PUBLIC UTILITIES COMMISSION          1902 EAST 6TH AVENUE                                                                                 HIBBING                    MN           55746‐0249
30224042          Name on file                                 Address on file
30278637          Name on file                                 Address on file
30280017          Name on file                                 Address on file
29950936          HICKMAN PROPERTIES II                        ATTN: DONALD HICKMAN          1091 HOLTON ROAD                                                       GROVE CITY                 OH           43123
30279877          Name on file                                 Address on file
30297416          Hickory Plaza Shopping Center, Inc.          c/o J.J. Gumberg Co.          1051 Brinton Road                                                      Pittsburgh                 PA           15221
30331349          Name on file                                 Address on file
30284644          Name on file                                 Address on file
30331109          Name on file                                 Address on file
30259709          Name on file                                 Address on file
30291917          Name on file                                 Address on file
30276539          Name on file                                 Address on file
30262925          Name on file                                 Address on file
30284875          Name on file                                 Address on file
29950941          HIGH INTENCITY                               22‐08 ROUTE 208 SOUTH                                                                                FAIR LAWN                  NJ           07410
30198963          High Standard Products                       Old ice factory                                                                                      Moradabad, Uttar Pradesh                244001          INDIA
29922601          HIGH STANDARD PRODUCTS                       GALSHAHEED, OLD ICE FACTORY   MORADABAD                                                              UTTAR PRADESH                           244001          INDIA
29922606          HIGHLAND SEWER & WATER AUTHORITY             120 TANK DRIVE                                                                                       JOHNSTOWN                  PA           15904
29922607          HIGHMEN (SHANGHAI) INTERNATIONAL CO          NO 2285 DUNHUI ROAD           SHANGHAI                                                               MINHANG DISTRICT                        201108          CHINA
29922608          HIGHYON SC INV FUNDS NO 106 LP               C/O LIBERTY UM                314 E. ANDERSON ST.                                                    ORLANDO                    FL           32801
30259529          Name on file                                 Address on file
30296790          Name on file                                 Address on file
29922621          HILCO ELECTRIC COOPERATIVE INC               115 EAST MAIN STREET          P.O. BOX 127                                                           ITASCA                     TX           76055




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  ADDRESS ID                           NAME                             ADDRESS 1                         ADDRESS 2                    ADDRESS 3          ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30331114          HILCO Electric Cooperative, Inc.       115 East Main Street                  P.O. Box 127                                                           Itasca               TX           76055
29922622          HILCO MERCHANT RESOURCES LLC           5 REVERE DR SUITE 206                                                                                        NORTHBROOK           IL           60062
29922624          HILDA CARRANZA                         Address on file
29922625          HILDA I. CARRANZA                      Address on file
30223893          Name on file                           Address on file
30223957          Name on file                           Address on file
30224000          Name on file                           Address on file
30262965          Name on file                           Address on file
30280105          Name on file                           Address on file
30276527          Name on file                           Address on file
30263512          Name on file                           Address on file
30257430          Name on file                           Address on file
30292542          Name on file                           Address on file
30258713          Name on file                           Address on file
30262320          Name on file                           Address on file
30285768          Name on file                           Address on file
30260303          Hillcrest MO, LLC                      c/o Block Real Estate Services, LLC   4622 Pennsylvania Avenue    Suite 700                                  Kansas City          MO           64112
30273824          Name on file                           Address on file
30290056          Name on file                           Address on file
30223401          Name on file                           Address on file
                  HILLSBOROUGH COUNTY WATER RESOURCE ‐
29922648          BOCC                                   925 E. TWIGGS ST.                                                                                            TAMPA                FL           33602
29922650          HILLTOP DEVELOPMENT INC                301 WEST WASHINTON AVE #200                                                                                  JONESBORO            AR           72401
30257032          Name on file                           Address on file
30256850          Name on file                           Address on file
30296549          Name on file                           Address on file
30259220          Name on file                           Address on file
30258428          Name on file                           Address on file
30288922          Name on file                           Address on file
30296817          Name on file                           Address on file
30287647          Name on file                           Address on file
30276111          Name on file                           Address on file
30279223          Name on file                           Address on file
30284038          Name on file                           Address on file
30262597          Name on file                           Address on file
30259179          Name on file                           Address on file
30261977          Name on file                           Address on file
30260641          Name on file                           Address on file
30296739          Name on file                           Address on file
30285777          Name on file                           Address on file
30287651          Name on file                           Address on file
30258885          Name on file                           Address on file
30257406          Name on file                           Address on file
30262176          Name on file                           Address on file
30225172          Name on file                           Address on file
30225172          Name on file                           Address on file
30260145          Name on file                           Address on file
30259717          Name on file                           Address on file
29953255          HJH IOWA 1 LLC                         300 W DOUGLAS AVE., STE 1031                                                                                 WICHITA              KS           67202
30331780          HMM Co., Ltd.                          Attn: Hobin (Kevin) Kang              222 West Colinas Blvd.      Suite 700                                  Irving               TX           75039
30278993          Name on file                           Address on file
30258525          Name on file                           Address on file
30262424          Name on file                           Address on file
30285874          Name on file                           Address on file
30296507          Name on file                           Address on file
30260775          Name on file                           Address on file
30294037          Name on file                           Address on file
30258001          Name on file                           Address on file
30331648          Name on file                           Address on file
30259723          Name on file                           Address on file
30293252          Name on file                           Address on file
30257897          Name on file                           Address on file
30286259          Name on file                           Address on file
30294602          Name on file                           Address on file




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  ADDRESS ID                           NAME                         ADDRESS 1                         ADDRESS 2                     ADDRESS 3          ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
30256724          Name on file                        Address on file
30261884          Name on file                        Address on file
30285934          Name on file                        Address on file
30290856          Name on file                        Address on file
30258143          Name on file                        Address on file
30225361          Name on file                        Address on file
30297178          Name on file                        Address on file
30279079          Name on file                        Address on file
30286245          Name on file                        Address on file
30287500          Name on file                        Address on file
30289121          Name on file                        Address on file
30232690          Name on file                        Address on file
30277998          Name on file                        Address on file
30277222          Name on file                        Address on file
30258861          Name on file                        Address on file
30280632          Name on file                        Address on file
30261314          Name on file                        Address on file
30262951          Name on file                        Address on file
30260374          Name on file                        Address on file
30259077          Name on file                        Address on file
30277442          Name on file                        Address on file
30263104          Name on file                        Address on file
30275307          Name on file                        Address on file
29922663          HOLLAND BOARD OF PUBLIC WORKS       625 HASTINGS AVENUE                                                                                          HOLLAND                   MI           49423
29952672          HOLLAND CHARTER TOWNSHIP, MI        353 NORTH 120TH AVENUE                                                                                       HOLLAND                   MI           49424
30273528          Name on file                        Address on file
30284919          Name on file                        Address on file
30262919          Name on file                        Address on file
30296402          Name on file                        Address on file
30355692          Name on file                        Address on file
30276179          Name on file                        Address on file
30257838          Name on file                        Address on file
30285271          Name on file                        Address on file
30225222          Name on file                        Address on file
30276519          Name on file                        Address on file
30296672          Name on file                        Address on file
30259075          Name on file                        Address on file
30222004          Name on file                        Address on file
30222960          Name on file                        Address on file
30285229          Name on file                        Address on file
30297303          Name on file                        Address on file
30274850          Name on file                        Address on file
30292608          Hollywood Center, Inc.              Attn: Mark K. Teramana, President   200 Stanton Blvd., Suite 200                                             Steubenville              OH           43952
30294164          Name on file                        Address on file
30263679          Name on file                        Address on file
30274126          Name on file                        Address on file
30275358          Name on file                        Address on file
30284385          Name on file                        Address on file
30277004          Name on file                        Address on file
30292869          Name on file                        Address on file
30331549          Holobeam, Inc.                      240 Main Road                                                                                                Montville                 NJ           07045
30261725          Name on file                        Address on file
30262192          Name on file                        Address on file
30274289          Name on file                        Address on file
30281416          Name on file                        Address on file
30275249          Name on file                        Address on file
29922728          HOLYOKE GAS & ELECTRIC DEPARTMENT   99 SUFFOLK ST                                                                                                HOLYOKE                   MA           01040
30285740          Name on file                        Address on file
30287429          Name on file                        Address on file
30291129          Name on file                        Address on file
30224625          Name on file                        Address on file
29922731          HOME DEPOT PLAZA ASSOCIATES LTD     5858 CENTRAL AVE                                                                                             SAINT PETERSBURG          FL           33707
29953742          HOMER ELECTRIC ASSOC., INC.         3977 LAKE STREET                                                                                             HOMER                     AK           99603
30260253          Name on file                        Address on file




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  ADDRESS ID                           NAME                               ADDRESS 1                          ADDRESS 2                  ADDRESS 3          ADDRESS 4                CITY        STATE     POSTAL CODE       COUNTRY
30286963          Name on file                             Address on file
30276809          Name on file                             Address on file
29953748          HONEY CAN DO INTERNATIONAL               5300 ST CHARLES ROAD                                                                                        BERKELEY            IL           60163
29953748          HONEY CAN DO INTERNATIONAL               5300 ST CHARLES ROAD                                                                                        BERKELEY            IL           60163
29953750          HONEY CAN DO INTERNATIONAL LLC           5300 ST CHARLES RD                                                                                          BERKELEY            IL           60163
30211651          Honey Can Do‐International               5300 St. Charles Rd                   Suite 420                                                             Berkeley            IL           60163
30262677          Name on file                             Address on file
30260907          Name on file                             Address on file
30275408          Name on file                             Address on file
29922737          HONGKONG SIMPLE ELEMENT GLOBAL LIMI      NO. 1498 JIANGNAN ROAD                3‐4F, NO.1 BUILDING                                                   NINGBO                           315040          CHINA
30192824          HongKong Simple Element Global Limited   3‐4F, No.1 Building, Hi‐tech square   No.1498 Jiangnan Road                                                 Ningbo                           315040          China
30282217          Name on file                             Address on file
30273526          Name on file                             Address on file
29922743          HOOKSETT SEWER COMMISSION, NH            1 EGAWES DR                                                                                                 HOOKSETT            NH           03106‐1814
30279213          Name on file                             Address on file
30331252          Name on file                             Address on file
30262551          Name on file                             Address on file
30278750          Name on file                             Address on file
30282500          Name on file                             Address on file
30275201          Name on file                             Address on file
30262252          Name on file                             Address on file
29958455          HOPE GAS INC/646049                      179 INNOVATION DR                                                                                           JANE LEW            WV           26378‐1402
30251467          Name on file                             Address on file
30256997          Name on file                             Address on file
30296823          Name on file                             Address on file
30277513          Name on file                             Address on file
30222107          Name on file                             Address on file
30293707          Name on file                             Address on file
30256700          Name on file                             Address on file
30283652          Name on file                             Address on file
30165055          Horizon Freight System                   8777 Rockside Rd                                                                                            Cleveland           OH           44125
29922771          HORIZON FREIGHT SYSTEM INC               PO BOX 70242                                                                                                CLEVELAND           OH           44190‐0242
29922772          HORIZON GROUP USA INC                    45 TECHNOLOGY DRIVE                                                                                         WARREN              NJ           07059
30257469          Name on file                             Address on file
30287494          Name on file                             Address on file
30260314          Name on file                             Address on file
30293753          Name on file                             Address on file
30228823          Name on file                             Address on file
30262051          Name on file                             Address on file
30287306          Name on file                             Address on file
30284260          Name on file                             Address on file
30261672          Name on file                             Address on file
30276423          Name on file                             Address on file
30182759          Horton, James                            Address on file
30277733          Name on file                             Address on file
30225055          Name on file                             Address on file
30261702          Name on file                             Address on file
30280005          Name on file                             Address on file
30275221          Name on file                             Address on file
30331022          Name on file                             Address on file
30225086          Name on file                             Address on file
30261862          Name on file                             Address on file
30261222          Name on file                             Address on file
30331433          Name on file                             Address on file
30275918          Name on file                             Address on file
30258079          Name on file                             Address on file
29922777          HOUSEWORKS LTD                           2388 PLEASANTDALE ROAD                                                                                      ATLANTA             GA           30340
30163969          Houseworks Ltd.                          2388 Pleasantdale Road                                                                                      Atlanta             GA           30340
29922782          HOUSTON LAKES RETAIL CTR LLC             CO NEYER MGMT                         1111 META DRIVE, #100                                                 CINCINNATI          OH           45237
30259606          Name on file                             Address on file
30289654          Name on file                             Address on file
30262826          Name on file                             Address on file
30257366          Name on file                             Address on file
30223333          Howard, Tamara Lynn                      Address on file




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  ADDRESS ID                           NAME                              ADDRESS 1                         ADDRESS 2                    ADDRESS 3              ADDRESS 4                    CITY        STATE     POSTAL CODE       COUNTRY
30256854          Name on file                               Address on file
30276254          Name on file                               Address on file
30296257          Name on file                               Address on file
30284703          Name on file                               Address on file
30293319          Name on file                               Address on file
30260880          Name on file                               Address on file
30257591          Name on file                               Address on file
30259252          Name on file                               Address on file
30285019          Name on file                               Address on file
29922791          HPC‐KCB MONTEREY MARKETPLACE LLC           18321 VENTURAL BLVD, STE. 980                                                                                 TARZANA                 CA           91356
29922793          HPI                                        C/O TIMOTHY DEVLIN LAW FIRM LLC   ATTN: TIMOTHY DEVLIN         1526 GILPIN AVE.                               WILMINGTON              DE           19806
30278890          Name on file                               Address on file
                                                             RCC MERCH WALK LLC C/O NEW LINK
29922795          HRE RETAIL FUND II LP                      MGM                               6809 PARAGON PLACE STE 120                                                  RICHMOND                VA           23230
29922798          HRSD/HRUBS                                 1434 AIR RAIL AVENUE                                                                                          VIRGINIA BEACH          VA           23455
30262842          Name on file                               Address on file
30278821          Name on file                               Address on file
30222799          Name on file                               Address on file
                                                                                                                            1350 Avenue of the Americas, 2nd
29966897          Huai An Fullya International Corporation   c/o Mazzola Lindstrom LLP         Attn: Katie O'Leary          Floor                                          New York                NY           10019
29922800          HUAIAN FULLYA INTERNATIONAL                NO 98 EAST SHENZHEN ROAD                                                                                      HUAIAN                               223005          CHINA
30164028          Huaian Fullya International Corp.          Hengsheng Science Park            No.98 East Shenzhen Road                                                    Huaian, JS                                           China
30283013          Name on file                               Address on file
29922801          HUANGYAN FOREVER ARTS & CRAFTS FACT        CHENGJIANG INDUSTRY ZONE          FENGGUANG ROAD NO 76                                                        TAIZHOU                              318020          CHINA
30260211          Name on file                               Address on file
30294904          Name on file                               Address on file
29922802          HUB GROUP ASSOCIATES INC                   33773 TREASURY CTR                                                                                            CHICAGO                 IL           60694
30297290          Hub Group, Inc.                            2001 Hub Group Way                                                                                            Oak Brook               IL           60523
30276700          Name on file                               Address on file
30261748          Name on file                               Address on file
30296034          Name on file                               Address on file
30295192          Name on file                               Address on file
30260161          Name on file                               Address on file
30261931          Name on file                               Address on file
30285760          Name on file                               Address on file
30331965          Name on file                               Address on file
30284955          Name on file                               Address on file
30294500          Name on file                               Address on file
30275247          Name on file                               Address on file
30297150          Hudnell, Deborah                           Address on file
30260739          Name on file                               Address on file
30256766          Name on file                               Address on file
30279253          Name on file                               Address on file
30285872          Name on file                               Address on file
30287209          Name on file                               Address on file
30293094          Name on file                               Address on file
30292999          Name on file                               Address on file
30293139          Name on file                               Address on file
30256810          Name on file                               Address on file
30291618          Name on file                               Address on file
30261420          Name on file                               Address on file
30260533          Name on file                               Address on file
30263052          Name on file                               Address on file
30282862          Name on file                               Address on file
30286787          Name on file                               Address on file
30274075          Name on file                               Address on file
30224761          Name on file                               Address on file
30280013          Name on file                               Address on file
30331245          Name on file                               Address on file
30262836          Name on file                               Address on file
30276096          Name on file                               Address on file
30277814          Name on file                               Address on file
30285700          Name on file                               Address on file
30280559          Name on file                               Address on file




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  ADDRESS ID                           NAME                             ADDRESS 1                          ADDRESS 2                        ADDRESS 3         ADDRESS 4                 CITY        STATE     POSTAL CODE       COUNTRY
30262230          Name on file                           Address on file
30262105          Name on file                           Address on file
30260175          Name on file                           Address on file
30255985          Name on file                           Address on file
30284967          Name on file                           Address on file
30287824          Name on file                           Address on file
30262953          Name on file                           Address on file
30224321          Name on file                           Address on file
30263260          Name on file                           Address on file
30274312          Name on file                           Address on file
30261662          Name on file                           Address on file
30282939          Name on file                           Address on file
30255718          Name on file                           Address on file
30256740          Name on file                           Address on file
30278697          Name on file                           Address on file
30259222          Name on file                           Address on file
30282948          Name on file                           Address on file
30276845          Name on file                           Address on file
30292086          Name on file                           Address on file
30290921          Name on file                           Address on file
30277174          Name on file                           Address on file
30259983          Name on file                           Address on file
30277491          Name on file                           Address on file
29922836          HUNTER CALL                            Address on file
30261628          Name on file                           Address on file
30280140          Name on file                           Address on file
30257551          Name on file                           Address on file
29922852          HUNTSVILLE UTILITIES, AL               112 SPRAGINS STREET                                                                                              HUNTSVILLE           AL           35801
30279529          Name on file                           Address on file
30257459          Name on file                           Address on file
30279800          Name on file                           Address on file
30256556          Name on file                           Address on file
29922855          HURSAN HAVLU URETIM SAN VE TIC AS      OSB 1.BOLGE                          TURAN BAHADIR CADDESI NO:10       HONAZ                                     DENIZLI                           20330           TURKEY
30166964          Hursan Havlu Uretim Sanayl Ve Tic AS   Organize Sanayl Bolgesi              Turan Bahadir Cad No : 10                                                   Denizli                           20330           Turkey
30261248          Name on file                           Address on file
30258809          Name on file                           Address on file
30279515          Name on file                           Address on file
30165210          Husch Blackwell LLP                    Attn: Mark T. Benedict               4801 Main Street, Suite 1000                                                Kansas City          MO           64112
30285192          Name on file                           Address on file
30281079          Name on file                           Address on file
30222324          Name on file                           Address on file
30284887          Name on file                           Address on file
30275049          Name on file                           Address on file
30263019          Name on file                           Address on file

30200799          HUTCHINSON MALL REALTY GROUP LLC       C/O LEXINGTON REALTY INTERNATIONAL   911 EAST COUNTY LINE RD STE 207                                             LAKEWOOD             NJ           08701
30280967          Name on file                           Address on file
30224163          Name on file                           Address on file
30283099          Name on file                           Address on file
30281674          Name on file                           Address on file
30295930          Name on file                           Address on file
30262601          Name on file                           Address on file
30225359          Name on file                           Address on file
30254868          Name on file                           Address on file
30331992          Name on file                           Address on file
30277559          Name on file                           Address on file
30224835          Name on file                           Address on file
30274392          Name on file                           Address on file
30262653          Hydrofire LLC                          1401 Park Lane                       PO Box 470                                                                  West Point           GA           31833
30200848          HYDROFIRE LLC                          PO BOX 470, 1401 PARK LN                                                                                         WEST POINT           GA           31833
30261771          Name on file                           Address on file
30276926          Name on file                           Address on file
30283747          Name on file                           Address on file
30288264          Name on file                           Address on file




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  ADDRESS ID                           NAME                                   ADDRESS 1                               ADDRESS 2                    ADDRESS 3                           ADDRESS 4                          CITY        STATE     POSTAL CODE       COUNTRY
29922864          HY‐TEK INTRALOGISTICS                         2222 RICKENBACKER PKY WEST                                                                                                         COLUMBUS                      OH           43217
29922865          HYUNDAI AMERICA SHIPPING                      222 WEST LAS COLINAS STE 700                                                                                                       IRVING                        TX           75039
30288958          Name on file                                  Address on file
30276455          Name on file                                  Address on file
29922903          IBG LLC                                       4660 S EASTERN AVE SUITE 202                                                                                                       LAS VEGAS                     NV           89119
30259319          IBM Corp                                      2200 Camino A El Castillo                                                                                                          Guadalajara, Jalisco                       45680           Mexico
29922908          ICA BFC VENTURE LLC                           CO HSA COMMER REAL EST ATTN:AR           100 S WACKER DR 9TH FL                                                                    CHICAGO                       IL           60606
29922913          ICR OPCO LLC                                  ICR LLC                                  761 MAIN AVE.                                                                             NORWALK                       CT           06851
29922919          IDAHO POWER                                   1221 W IDAHO ST                                                                                                                    BOISE                         ID           83702‐5627
30282662          Name on file                                  Address on file
30256728          Name on file                                  Address on file
30257343          Name on file                                  Address on file
30330871          IG Design Group Americas, Inc.                James B. Sowka, Seyfarth Shaw LLP        233 S. Wacker Drive          Suite 8000                                                   Chicago                       IL           60606
30330943          IG Design Group Americas, Inc.                James B. Sowka, Seyfarth Shaw LLP        233 S. Wacker Drive          Suite 8000                                                   Chicago                       IL           60606
30331401          IG Design Group Americas, Inc.                Seyfarth Shaw LLP                        James B. Sowka,              233 South Wacker Drive              Suite 8000               Chicago                       IL           60606
30297315          IGI21 Katy LLC                                c/o J. Ellsworth Summers, Jr.            Burr & Forman LLP            50 North Laura Street               Suite 3000               Jacksonville                  FL           32202
30257903          Name on file                                  Address on file
29958501          IHWOP LLC                                     4350 WESTOWN PKWY, STE 100                                                                                                         WEST DES MOINES               IA           50266
                  Iki Auburn Mile, LP, Samex Properties, LLC,
30284776          Sunray Property Investments, LLC              c/o The Niki Group, LLC                  11720 El Camino Real         Suite 250                                                    San Diego                     CA           92130
30274023          Name on file                                  Address on file
29951878          ILLAHE INC                                    LAQUINTA INN & STES BY WYNDHAM           3480 HUTTON STREET                                                                        SPRINGFIELD                   OR           97477
30285353          Name on file                                  Address on file
30208082          Illinois Department of Revenue                Bankruptcy Section, P.O. Box 19035                                                                                                 Springfield                   IL           62794
30207621          Illinois Department of Revenue                Bankruptcy Section, P.O. Box 19035                                                                                                 Springfield                   IL           62794
30211649          Illinois Department of Revenue                Bankruptcy Section, P.O. Box 19035                                                                                                 Springfield                   IL           62794
29922944          ILLUMAX CHINA LIMITED                         UNIT 7A D2 PLACE TWO                     15 CHEUNG SHUN STREET                                                                     LAI CHI KOK                                999077          HONG KONG
30257501          Name on file                                  Address on file
30262182          Name on file                                  Address on file
30258869          Name on file                                  Address on file
29922955          IMPACT ANALYTICS INC                          368, 9TH AVENUE, 11‐103                                                                                                            NEW YORK                      NY           10001
29922956          IMPACT FUND                                   2728 N HAMPDEN CT UNIT 205                                                                                                         CHICAGO                       IL           60614
30200798          INDEED INC                                    MAIL CODE 5160                           PO BOX 660367                                                                             DALLAS                        TX           75266‐0367
30292630          Indeed, Inc                                   177 Broad Street                         4th Floor                                                                                 Stamford                      CT           06901
29922968          INDIAN HILLS PLAZA LLC                         101 20TH St,                                                                                                                       Miami Beach                  FL           33139‐1903
29922975          INDIAN RIVER COUNTY UTILITIES, FL             1921 US HIGHWAY 1                                                                                                                  SEBASTIAN                     FL           32958
29922979          INDIAN WELLS VALLEY WATER DISTRICT            500 W. RIDGECREST BLVD                                                                                                             RIDGECREST                    CA           93555
29922980          INDIANA AMERICAN WATER                        153 N. EMERSON AVENUE                                                                                                              GREENWOOD                     IN           46143

30207309          Indiana Department Workforce Development      Attn: Tax Collection Enforcement Unit    10 N. Senate Avenue SE 109                                                                Indianapolis                  IN           46204
29922982          INDIANA MICHIGAN POWER                        110 E. WAYNE ST.                                                                                                                   FORT WAYNE                    IN           46801
30275869          Indiana Michigan Power Company                Attn: Jason Edward Reid                  1 Riverside Plaza            13th Floor                                                   Columbus                      OH           43215
                                                                Attn: Joel Dachner, Senior Portfolio
30331380          Industrial Realty Group, LLC                  Manager                                  4020 Kinross Lakes Parkway                                                                Richfield                     OH           44286
                                                                Attn: Joel Dachner, Senior Portfolio
30331388          Industrial Realty Group, LLC                  Manager                                  4020 Kinross Lakes Parkway                                                                Richfield                     OH           44286
29950022          INDUSTRIAL SERVICE & SUPPLY INC               PO BOX 158                                                                                                                         VALLEY                        AL           36854
30217666          Industrial Service & Supply, Inc              6401 25th Ave                            PO Box 158                                                                                Valley                        AL           36854
29950029          INEZ GUERENA                                  Address on file
                                                                Benesch, Friedlander, Coplan & Aronoff
30261683          Infosys Limited                               LLP                                      Kevin M. Capuzzi             1313 N. Market Street, Suite 1201                            Wilmington                    DE           19801
29922999          INFOSYS LTD                                   2300 CABOT DR.                                                                                                                     LISLE                         IL           60532
29923000          ING, ING & FOON LLP                           C/O AZOSE COMMERCIAL PROPERTIES          8451 SE 68TH ST., #200                                                                    MERCER ISLAND                 WA           98040
30273576          Name on file                                  Address on file
30229383          Name on file                                  Address on file
30274649          Name on file                                  Address on file
30289425          Name on file                                  Address on file
30273538          Name on file                                  Address on file
30274473          Name on file                                  Address on file
30229397          Name on file                                  Address on file
29953903          INLAND COMMER REAL ESTATE SERV LLC            BLDG 51573                               32533 COLLECTION CTR DR                                                                   CHICAGO                       IL           60693‐0325
29923006          INNOVATIVE DESIGNS                            132 W 36TH ST., SUITE 800                                                                                                          NEW YORK                      NY           10018
29923007          INNOVATIVE LOGISTICS SERVICES INC             201 E. TWINSBURG RD                                                                                                                NORTHFIELD                    OH           44067
30192506          Innovative Logistics Services Inc.            201 E Twinsburg Road                                                                                                               Northfield                    OH           44067




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  ADDRESS ID                           NAME                                 ADDRESS 1                           ADDRESS 2                     ADDRESS 3         ADDRESS 4                     CITY        STATE     POSTAL CODE           COUNTRY
29923010          INSIGHT STAFFING SOLUTIONS INC              PO BOX 3271                                                                                                   VISALIA                  CA           93278
30166999          Intco International (HK) Co., Limited       Janet Chu                             #18 Qingtian Rd              Linzi                                      Zibo                                  255400          China
                                                                                                    183 QUEEN'S ROAD EAST HONG
29953641          INTCO INTERNATIONAL (HK) CO., LTD           LEVEL 54 HOPEWELL CENTRE              KONG                                                                    WANCHAI                                               HONG KONG
29953642          INTEGRIS VENTURES‐ TC LLC                   C/O INTEGRIS VENTURES MGMT LLC        655 CRAIG RD., SUITE 100                                                CREVE COEUR              MO           63141
29949529          INTERCOM INC                                55 SECOND ST.                         #400                                                                    SAN FRANCISCO            CA           94105
30201981          Intermountain Gas Co.                       400 N 4th St                                                                                                  Bismarck                 ND           58501
29953647          INTERMOUNTAIN GAS COMPANY                   555 S COLE RD.                                                                                                BOISE                    ID           83706‐0940
29953651          INTERNATIONAL PAPER CO‐ CA                  CAMARILLO PLANT                       PO BOX 31001‐0780                                                       PASADENA                 CA           91110
29953652          INTERNATIONAL PAPER CO‐ OH                  DELAWARE PLANT                        PO BOX 31001‐0780                                                       PASADENA                 CA           91110
29923016          INTERNATIONAL PAPER CO‐AL                   FOREST PARK CONTAINER PLANT           PO BOX 31001‐0780                                                       PASADENA                 CA           91110
29923020          INTRAEDGE INC                               5660 W. CHANDLER BLVD., STE 1                                                                                 CHANDLER                 AZ           85226
30200814          INTUNE LOGISTICS INC                        208 ADLEY WAY                                                                                                 GREENVILLE               SC           29607
30183663          Intune Logistics, Inc.                      208 ADLEY WAY                                                                                                 GREENVILLE               SC           29607
30200813          INVISORS LLC                                2000 PGA BLVD STE 4440                                                                                        PALM BEACH GARDENS       FL           33408
29923032          IOWA AMERICAN WATER COMPANY                 500 SW 7TH STREET                     SUITE 101                                                               DES MOINES               IA           50309
29923046          IRC RETAIL CENTERS INC                      LEASE 24565                           75 REMITTANCE DR DEPT 3128                                              CHICAGO                  IL           60675‐3128
30200765          IRC RETAIL CENTERS INC                      LEASE 24567                           PO BOX 854619                                                           MINNEAPOLIS              MN           55485‐4619
30254176          IRC Schaumburg, L.L.C.                      Karen C. Bifferato, Esq.              1201 North Market Street     20th Floor                                 Wilmington               DE           19801
30260801          Name on file                                Address on file
30200697          IRIS HENDERSON                              Address on file
30274840          Name on file                                Address on file
30217922          Name on file                                Address on file

30331214          Iron Mountain Information Management, LLC   Joseph P Corrigan                     1101 Enterprise Drive                                                   Royersford               PA           19468
29923086          IRON MOUNTAIN INFORMATION MGT               DBA IRON MOUNTAIN                     PO BOX 27128                                                            NEW YORK                 NY           10087
29923088          IRONGATE ASSOCIATES LLC                     C/O BUCKINGHAM PROP MGMT LLC          657 E. MAIN ST., STE. 6                                                 MOUNT KISCO              NY           10549
30275119          Name on file                                Address on file
30263583          Name on file                                Address on file
30294787          Irvine Ranch Water District                 Attn: Customer Service                15600 Sand Canyon Ave                                                   Irvine                   CA           92618
29923093          IRVINE RANCH WATER DISTRICT                 15600 SAND CANYON AVENUE                                                                                      IRVINE                   CA           92618
29923095          IRVING ENERGY/70712                         190 COMMERCE WAY                                                                                              PORTSMOUTH               NH           03801
30285752          Name on file                                Address on file
30280607          Name on file                                Address on file
29923103          ISAAC HOME DEPOT FINDLAY LTD                C/O REICHLE KLEIN GROUP               1 SEAGATE 26TH FLOOR                                                    TOLEDO                   OH           43604
29923114          ISAAC NORTHTOWNE EAST DEFIANCE LLC          C/O REICHLE KLEIN GROUP               1 SEAGATE 26TH FLOOR                                                    TOLEDO                   OH           43604
29923116          ISAAC PROPERTY & HOLD LLC                   5420 BECKLEY MALL LLC                 2081 NILES‐CORTLAND RD SE                                               WARREN                   OH           44484
30222907          Name on file                                Address on file
30297074          Name on file                                Address on file
30260915          Name on file                                Address on file
30259290          Name on file                                Address on file

29923366          ISRAM RIVERWALK LLC                         C/O ISRAM REALTY & MANAGEMENT INC 506 S DIXIE HIGHWAY                                                         HALLANDALE               FL           33009

29923378          ITF WASHINGTON STATE DEPT OF NAT RE         INTEGRATED REAL ESTATE SERVICES LLC   PO BOX 3588                                                             SEATTLE                  WA           98124
30227618          Name on file                                Address on file
30292852          Name on file                                Address on file
30181598          J & J Servic Solutions LLC                  1820 Franklin Street                                                                                          Columbia                 PA           17512
29923440          J & J SERVICE SOLUTIONS LLC                 1820 FRANKLIN ST                                                                                              COLUMBIA                 PA           17512
30181594          J & J Service Solutions LLC                 Beth A Hoover                         1820 Franklin Street                                                    Columbia                 PA           17512
30181596          J & J Service Solutions LLC                 Beth A. Hoover                        1820 Franklin Street                                                    Columbia                 PA           17512
30181602          J & J Service Solutions LLC                 1820 Franklin Street                                                                                          Columbia                 PA           17512
                                                              NO 201 ILKWANG BLDG 441‐1 CHEONHO‐
29923444          J AND J CORP                                DAERO                                 DONGDAEMUN‐GU                                                           SEOUL                                 2645            KOREA, REPUBLIC OF
                                                                                                    441‐1 Cheonho‐Daero,
30283072          J and J Corp.                               A‐201 Il‐Kwang Building               Dongdeamun‐Gu                                                           Seoul                                 02645           Korea
                                                                                                                                 441‐1 Cheonho‐Daero,
30283078          J and J Corp.                               NW Park                               A‐201 Il‐Kwang Building      Dongdeamun‐Gu                              Seoul                                 02645           Korea
29923452          J&H HOLLYWOOD BLVD LLC                      45 NW 21ST STREET                                                                                             MIAMI                    FL           33127
30261736          Name on file                                Address on file
30273654          Name on file                                Address on file
29958601          JACKSON ASSOCIATES                          2900 UNION LAKE ROAD STE 102                                                                                  COMMERCE                 MI           48382
30166758          Jackson Cross Partners LLC                  610 Freedom Business Center           Suite 310                                                               King of Prussia          PA           19406
30214581          JACKSON CROSS PARTNERS LLC                  610 FREEDOM BUSINESS CENTER           SUITE 318                    CATHERINE SWIFT SENNETT                    KING OF PRUSSIA          PA           19406




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  ADDRESS ID                           NAME                            ADDRESS 1                   ADDRESS 2                    ADDRESS 3          ADDRESS 4                    CITY            STATE     POSTAL CODE   COUNTRY
29923505          JACKSON ELECTRIC MEMBERSHIP CORP, GA   1000 Dawsonville Hwy.                                                                                 GAINSVILLE                  GA           30504
29923507          JACKSON ENERGY AUTHORITY               351 MARTIN LUTHER KING JR.                                                                            DR. JACKSON                 TN           38301
29958608          JACKSON GOJO 2014 LP                   550 HOWE AVENUE, SUITE 100                                                                            SACRAMENTO                  CA           95825
29958612          JACKSON LEWIS P.C.                     P.O. BOX 416019                                                                                       BOSTON                      MA           02241
30165818          Jackson Properties, LLC                2900 Union Lake Rd, Suite 102                                                                         Commerce Charter Township   MI           48382
30259634          Name on file                           Address on file
30275382          Name on file                           Address on file
30294221          Name on file                           Address on file
30284897          Name on file                           Address on file
30286746          Name on file                           Address on file
30276841          Name on file                           Address on file
30222519          Name on file                           Address on file
30222519          Name on file                           Address on file
30260639          Name on file                           Address on file
30296561          Name on file                           Address on file
30276533          Name on file                           Address on file
30261395          Name on file                           Address on file
30273672          Name on file                           Address on file
30261288          Name on file                           Address on file
30277002          Name on file                           Address on file
30279257          Name on file                           Address on file
29923537          JACOB CONNELLY                         Address on file
29923572          JACOB MORONI SHEPARD                   Address on file
30280708          Name on file                           Address on file
30295092          Name on file                           Address on file
30283583          Name on file                           Address on file
30280601          Name on file                           Address on file
30226812          Name on file                           Address on file
30279520          Name on file                           Address on file
30291244          Name on file                           Address on file
30283215          Name on file                           Address on file
30258103          Name on file                           Address on file
29958657          JACOBUS ENERGY LLC                     PO BOX 88249                                                                                          MILWAUKEE                   WI           53288‐8249
30296140          Jacobus Energy, LLC                    PO Box 88249                                                                                          Milwaukee                   WI           53288
30258591          Name on file                           Address on file
30260187          Name on file                           Address on file
30262971          Name on file                           Address on file
30332002          Name on file                           Address on file
30276957          Name on file                           Address on file
30262073          Name on file                           Address on file
30257682          Name on file                           Address on file
30259553          Name on file                           Address on file
29923814          JAIME KIMBLER                          Address on file
30255110          Name on file                           Address on file
30263646          JAKKS Pacific Inc.                     Attn: Melissa Shands            21749 Baker Pkwy                                                      Walnut                      CA           91789
29958734          JAKKS SALES CORP                       2951 28TH STREET                                                                                      SANTA MONICA                CA           90405
30285730          Name on file                           Address on file
30293379          Name on file                           Address on file
29958746          JAMES HOLLOWAY                         Address on file
29923920          JAMES HORTON                           Address on file
30282432          Name on file                           Address on file
30200577          JAMES W ROSS INC                       DBA SWIFT FIRST AID             4201 WYOGA LK RD #200                                                 STOW                        OH           44224
29958764          JAMES WEIKAMP                          Address on file
30223357          James, Sarah                           Address on file
30295304          James, Sarah Hilary                    Address on file
30275024          Name on file                           Address on file
30261292          Name on file                           Address on file
30278906          Name on file                           Address on file
30261438          Name on file                           Address on file
30200630          JANELLE PENA                           Address on file
30200708          JANET CARTER                           C/O KELMAN FANTICH              ATTN: BRIAN FANTICH        30833 NORTHWESTERN HWY                     FARMINGTON                  MI           48334
29924100          JANET GRESKE                           Address on file
30261226          Name on file                           Address on file
30282017          Name on file                           Address on file




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  ADDRESS ID                           NAME                                    ADDRESS 1                  ADDRESS 2                        ADDRESS 3                  ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
29924216          JANOME AMERICA INC                              10 INDUSTRIAL AVE SUITE 2                                                                                         MAHWAH                NJ           07430
29924217          JANOME AMERICA INC.                             10 INDUSTRIAL AVE. SUITE 2                                                                                        MAHWAH                NJ           07430
30291936          Janome America Inc.                             10 Industrial Avenue, S‐2                                                                                         Mahwah                NJ           07430
30263403          Name on file                                    Address on file
29924223          JAPM PLAZA LLC                                  C/O DIVERSIFIED MGMT PLUS    1125 OCEAN AVE.                                                                      LAKEWOOD              NJ           08701
30331052          JAPM Plaza, LLC                                 c/o Jeffrey Smith            20 Commerce Drive             Suite 326                                              Cranford              NJ           07016
30257593          Name on file                                    Address on file
30256588          Name on file                                    Address on file
30296735          Name on file                                    Address on file
                                                                  DBA PACIFIC TELEMANAGEMENT
29958852          JAROTH INC                                      SERVICES                     2001 CROW CANYON RD STE 200                                                          SAN RAMON             CA           94583
29924257          JA‐RU                                           12901 FLAGLER CENTER BLVD                                                                                         JACKSONVILLE          FL           32258
29976111          Ja‐Ru Inc                                       12901 Flagler Center Blvd                                                                                         Jacksonville          FL           32258
30262146          Name on file                                    Address on file
30200618          JASMINE ARNOLD                                  Address on file
29924403          JASPER MUNICIPAL UTILITIES                      610 MAIN ST                                                                                                       JASPER                IN           47549
30276560          Name on file                                    Address on file
30260151          Name on file                                    Address on file
29924444          JAY ROOF                                        Address on file
30293667          Name on file                                    Address on file
30200856          JB HUNT TRANSPORT INC                           PO BOX 98545                                                                                                      CHICAGO               IL           60693
                  JBL Savannah Centre Fashion,LLC; JBL Savannah
30331119          Centre NM‐Timberstone,LLC                       2028 Harrison Street         Suite 202                                                                            Hollywood             FL           33020
29924576          JBL SAVANNAH CENTRE NM‐TIMBERSTONE              C/O JBL ASSET MGMT LLC       2028 HARRISON ST., #202                                                              HOLLYWOOD             FL           33020
30200834          JC COLLEY LLC                                   212 JARRETT ST                                                                                                    VALLEY                AL           36854
30288213          JC Colley, LLC                                  212 Jarrett Street                                                                                                Valley                AL           36854
30224782          JC Colley, LLC                                  212 Jarrett Street                                                                                                Valley                AL           36854
29924580          JCPSD ‐ JEFFCO PUBLIC SEWER DISTRICT            4629 YEAGER ROAD                                                                                                  HILLSBORO             MO           63050
29924584          JEA                                             21 WEST CHURCH ST                                                                                                 JACKSONVILLE          FL           32202
29924600          JEAN ROBINSON                                   Address on file
29924602          JEAN SALATA                                     Address on file
30284949          Name on file                                    Address on file
30257070          Name on file                                    Address on file
30263335          Name on file                                    Address on file
30289596          Name on file                                    Address on file
30295959          Name on file                                    Address on file
30218576          Name on file                                    Address on file
29924737          JEFFREY LIPINSKI                                Address on file
30331592          Name on file                                    Address on file
30287730          Name on file                                    Address on file
30274994          Name on file                                    Address on file
30261608          Name on file                                    Address on file
30289711          Name on file                                    Address on file
30259051          Name on file                                    Address on file
30200663          JENNIFER ATES                                   C/O AYERBE & ARNOLD, LLC     ATTN: PAUL R. AYERBE, ESQ.    3605 VINEVILLE AVENUE          POST OFFICE BOX 31208   MACON                 GA           31208
29924940          JENNIFER EHRENBERG                              Address on file
29925077          JENNIFER REYNOLDS                               Address on file
30222746          Jennings, Audrey                                Address on file
30290048          Name on file                                    Address on file
29925177          JENNY RAMSAY                                    Address on file
30273791          Name on file                                    Address on file
30221864          Name on file                                    Address on file
30284923          Name on file                                    Address on file
30258743          Name on file                                    Address on file
30224248          Name on file                                    Address on file
30285534          Name on file                                    Address on file
30295953          Name on file                                    Address on file
30331699          Name on file                                    Address on file
30275173          Name on file                                    Address on file
29925222          JEREMY PYTEL                                    Address on file
30276485          Name on file                                    Address on file
30257305          Name on file                                    Address on file
30276978          Jersey Central Power & Light                    101 Crawford's Corner Rd     Bldg. #1                      Suite 1‐511                                            Holmdel               NJ           07733
29925250          JERSEY CENTRAL POWER & LIGHT                    76 S MAIN ST                                                                                                      AKRON                 OH           44308‐1812




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29925278          JESSE JAMES & CO INC                 950 JENNINGS STREET UNIT 1B                                                                                                  BETHLEHEM                PA           18017
30295759          Jesse James & Co Inc.                950 Jennings Street, Unit 1B                                                                                                 Bethlehem                PA           18017
29925344          JESSICA BUSTAMANTE                   Address on file
29953004          JESSICA LEWIS                        Address on file
29925540          JESSICA SLEANBECK                    Address on file
29959076          JESSIE REESE                         Address on file
                                                                                          Room 3A Building 4, Yingxiang
30166921          Jet Holdings HK limited              Celine Zhang                       Creative Works                                                                            SH                                                    China
30279221          Jet Holdings HK limited              Room 3A, Building 4                Yingxiang Creative Workshop    No.727 Dingxi Road              Changning District         Shanghai                                              China
                                                                                          NO. 727 DINGXI ROAD, CHANGNING
29925614          JET HOLDINGS HK LIMITED              ROOM 3A, BUILDING 4                DISTRICT                                                                                  SHANGHAI                              200050          CHINA
30257046          Name on file                         Address on file
30285059          Name on file                         Address on file
30335961          Name on file                         Address on file
30227753          Name on file                         Address on file
                                                                                          FLAT C, 12/F, BLK 2, CHARMING
30182691          JEWELRY MADE BY ME LIMITED           MICHELLE WONG                      GRADEN                          16 HOI TING RD                                            MONG KOK                                              HONG KONG
29959098          JEWELRY MADE BY ME LTD               FLAT/RM07A, 37/F CABLE TV TOWER    NO. 9 HOI SHING ROAD                                                                      TSUEN WAN NT                                          HONG KONG
30164015          Jewelry Made by Me, LLC              2840 W. Bay, #278                                                                                                            Belleair Bluffs          FL           33770
29959099          JEWELRY MADE BY ME, LLC              2840 W. BAY #278                                                                                                             BELLEAIR BLUFFS          FL           33770
30283023          Name on file                         Address on file
30260537          Name on file                         Address on file
                  JIANGSU PHOENIX ART MATERIALS
29959109          TECHNOLOGY CO LTD                    2# HUAYUAN ROAD, BINHU DISTRICT                                                                                              WUXI                                  214131          CHINA
                  JIANGSU PHOENIX ART MATERIALS
29975476          TECHNOLOGY CO., LTD.                 #2, HUAYUAN ROAD, BINHU DISTRICT                                                                                             WUXI, JS                              214131          CHINA
30285451          Name on file                         Address on file
30258358          Name on file                         Address on file
30222879          Name on file                         Address on file
30222872          Name on file                         Address on file
30260260          Name on file                         Address on file
30262136          Name on file                         Address on file
30262967          Name on file                         Address on file
29925724          JJD‐HOV ELK GROVE LLC                C/O DANA BUTCHER ASSOCIATES        6475 N. PALM AVE, #101                                                                    FRESNO                   CA           93704
30296026          JJD‐HOV Elk Grove, LLC               c/o Michael J. Joyce, Esq.         1225 King Street                Suite 800                                                 Wilmington               DE           19801
29925730          JMW SALES INC                        PO BOX 50245                                                                                                                 BELLEVUE                 WA           98015
30181434          JMW Sales Inc.                       101 A Street                                                                                                                 Ashland                  OR           97520
29925764          JOANIE GOODBOE                       Address on file
29925765          JOANIE R. GOODBOE                    Address on file
30290339          Name on file                         Address on file
30200583          JOANN INC.                           5555 DARROW ROAD                                                                                                             HUDSON                   OH           44236
30200584          JO‐ANN STORES SUPPORT CENTER, INC.   5555 DARROW ROAD                                                                                                             HUDSON                   OH           44236
30200578          JO‐ANN STORES, LLC                   5555 DARROW ROAD                                                                                                             HUDSON                   OH           44236
30200578          JO‐ANN STORES, LLC                   5555 DARROW ROAD                                                                                                             HUDSON                   OH           44236
30200578          JO‐ANN STORES, LLC                   5555 DARROW ROAD                                                                                                             HUDSON                   OH           44236
30200578          JO‐ANN STORES, LLC                   5555 DARROW ROAD                                                                                                             HUDSON                   OH           44236
30200578          JO‐ANN STORES, LLC                   5555 DARROW ROAD                                                                                                             HUDSON                   OH           44236
30200578          JO‐ANN STORES, LLC                   5555 DARROW ROAD                                                                                                             HUDSON                   OH           44236
30200578          JO‐ANN STORES, LLC                   5555 DARROW ROAD                                                                                                             HUDSON                   OH           44236
30200585          JOANN.COM, LLC                       5555 DARROW ROAD                                                                                                             HUDSON                   OH           44236
29925803          JOANNE YUSUF                         Address on file
30256646          Name on file                         Address on file
30275145          Name on file                         Address on file
30290070          Name on file                         Address on file
29964886          JOC INTERNATIONAL LIMITED            NO 1 ZHENNAN ROAD GULI TOWN        100                                                                                       CHANGSHU CITY                         215533          CHINA
30259355          Name on file                         Address on file
30295742          Name on file                         Address on file
30331749          Name on file                         Address on file
29959186          JOFFCO SQUARE SHOPPING CENTER LLC    550 7TH AVE., 15TH FLOOR                                                                                                     NEW YORK                 NY           10018
30260503          Name on file                         Address on file
30260183          Name on file                         Address on file
29925908          JOHN BEAD CORP.                      4271 LAKE AVENUE                                                                                                             BLASDELL                 NY           14219
29925909          JOHN BEAD CORPORATION LIMITED        20 BERTRAND AVE                                                                                                              TORONTO                  ON           M1L 2P4         CANADA
30222725          John Bead Corporation Limited        Hodgson Russ LLP                   c/o James C. Thoman, Esq.       140 Pearl Street               Suite 100                  Buffalo                  NY           14202




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  ADDRESS ID                           NAME                 ADDRESS 1             ADDRESS 2                     ADDRESS 3          ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30282597          Name on file                  Address on file
30278592          Name on file                  Address on file
29926028          JOHNSON BATTERY CO INC        6487 US HIGHWAY 19                                                                             ZEBULON               GA           30295
29926029          JOHNSON CITY PLAZA LLC        CO WIGGINS ASSOCIATES   2964 PEACHTREE RD #380                                                 ATLANTA               GA           30305
29926032          JOHNSON CITY UTILITY SYSTEM   601 E. MAIN STREET                                                                             JOHNSON CITY          TN           37601
30257076          Name on file                  Address on file
30222905          Name on file                  Address on file
30273989          Name on file                  Address on file
30260131          Name on file                  Address on file
30258767          Name on file                  Address on file
30296334          Name on file                  Address on file
30296490          Name on file                  Address on file
30261033          Name on file                  Address on file
30263461          Name on file                  Address on file
30275101          Name on file                  Address on file
30280640          Johnson, Dena Dionne          Address on file
30287170          Name on file                  Address on file
30331908          Name on file                  Address on file
30261981          Name on file                  Address on file
30261763          Name on file                  Address on file
30274813          Name on file                  Address on file
30275380          Name on file                  Address on file
30260958          Name on file                  Address on file
30257935          Name on file                  Address on file
30280677          Name on file                  Address on file
30261620          Name on file                  Address on file
30287613          Name on file                  Address on file
30264027          Name on file                  Address on file
30224101          Name on file                  Address on file
30258173          Name on file                  Address on file
30286831          Name on file                  Address on file
30257010          Name on file                  Address on file
30257434          Name on file                  Address on file
30224136          Name on file                  Address on file
30278908          Name on file                  Address on file
30258330          Name on file                  Address on file
30258149          Name on file                  Address on file
30331473          Name on file                  Address on file
30287734          Name on file                  Address on file
30331684          Name on file                  Address on file
30274055          Name on file                  Address on file
30292350          Name on file                  Address on file
30273612          Name on file                  Address on file
30261614          Name on file                  Address on file
30260459          Name on file                  Address on file
30259065          Name on file                  Address on file
30257467          Name on file                  Address on file
30293657          Name on file                  Address on file
30221885          Name on file                  Address on file
30263471          Name on file                  Address on file
30259561          Name on file                  Address on file
30285964          Name on file                  Address on file
30283130          Name on file                  Address on file
30280103          Name on file                  Address on file
30289750          Name on file                  Address on file
30261067          Name on file                  Address on file
30284925          Name on file                  Address on file
30263011          Name on file                  Address on file
30274453          Name on file                  Address on file
30291277          Name on file                  Address on file
30232502          Name on file                  Address on file
30285718          Name on file                  Address on file
30275103          Name on file                  Address on file
30278630          Name on file                  Address on file




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  ADDRESS ID                           NAME                                        ADDRESS 1               ADDRESS 2                   ADDRESS 3                       ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30260669          Name on file                                   Address on file
30256808          Name on file                                   Address on file
30258153          Name on file                                   Address on file
30353383          Name on file                                   Address on file
29926065          JON HEPLER                                     Address on file
                  Jonathan P. Rosen, Executor Estate of Miriam
30297638          Rosen d/b/a Horizon Development                Rogers Towers, P.A.           Mark S. Mitchell, Esq.      1301 Riverplace Blvd.          Suite 1500               Jacksonville          FL           32207
30276692          Name on file                                   Address on file
29959228          JONES LANG LASALLE AMERICAS INC                MAIL BIN CSCF‐JOANN           700 OAKMONT LANE 2ND FL.                                                            WESTMONT              IL           60559
30331452          Jones Lang LaSalle Americas, Inc.              200 E Randolph Street                                                                                             Chicago               IL           60601
30258313          Name on file                                   Address on file
30285708          Name on file                                   Address on file
30330966          Name on file                                   Address on file
30283672          Name on file                                   Address on file
30224175          Name on file                                   Address on file
30278939          Name on file                                   Address on file
30256780          Name on file                                   Address on file
30259757          Name on file                                   Address on file
30273816          Name on file                                   Address on file
30291079          Name on file                                   Address on file
30292585          Name on file                                   Address on file
30260278          Name on file                                   Address on file
30275315          Name on file                                   Address on file
30282995          Name on file                                   Address on file
30225096          Name on file                                   Address on file
30258557          Name on file                                   Address on file
30292223          Name on file                                   Address on file
30276507          Name on file                                   Address on file
30280302          Name on file                                   Address on file
30286095          Name on file                                   Address on file
30293464          Name on file                                   Address on file
30331609          Name on file                                   Address on file
30228154          Name on file                                   Address on file
30292248          Name on file                                   Address on file
30262208          Name on file                                   Address on file
30222466          Name on file                                   Address on file
30297014          Name on file                                   Address on file
30259559          Name on file                                   Address on file
30276163          Name on file                                   Address on file
30224155          Name on file                                   Address on file
30283107          Name on file                                   Address on file
30257899          Name on file                                   Address on file
30331782          Name on file                                   Address on file
30225329          Name on file                                   Address on file
30262907          Name on file                                   Address on file

29926186          JORDAN TAX SERVICE/TOWNSHIP OF COLLIER         102 RAHWAY ROAD                                                                                                   MCMYRRAT              PA           15317
30285530          Name on file                                   Address on file
30258611          Name on file                                   Address on file
30287578          Name on file                                   Address on file
30285188          Name on file                                   Address on file
30285208          Name on file                                   Address on file
30285212          Name on file                                   Address on file
30273614          Name on file                                   Address on file
30283668          Name on file                                   Address on file
29959243          JORGE GUTIERREZ                                Address on file
30257485          Name on file                                   Address on file
29959258          JOSE LUPERCIO                                  Address on file
29959259          JOSE LUPERCIO NAVARRO                          Address on file
29926276          JOSEFINA CRUZ                                  Address on file
29959295          JOSEPH M. PENNELLA                             Address on file
29951667          JOSEPH WILLIAMSON                              Address on file
30297422          Name on file                                   Address on file
30261660          Name on file                                   Address on file




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  ADDRESS ID                           NAME                ADDRESS 1                           ADDRESS 2                       ADDRESS 3         ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30273807          Name on file                 Address on file
29959314          JOSHEN PAPER & PACKAGING     BUNZL DISTRIBUTION MIDCENTRAL INC   PO BOX 7410087                                                            CHICAGO               IL           60674‐5087
29959315          JOSHEN PAPER AND PACKAGING   BUNZL DISTRIBUTION MIDCENTRAL INC   PO BOX 7410087                                                            CHICAGO               IL           60674‐5087
30251360          Name on file                 Address on file
30200852          JOST TIRE                    DBA ZIEGLER TIRE & SUPPLY CO        PO BOX 678                                                                MASSILLON             OH           44648
29959359          JOULE ASSOCIATES LLC         JOULE PARK WEST OWNER LLC           PO BOX 31001‐4091                                                         PASADENA              CA           91110‐4091
30295332          Joule Park West Owner, LLC   c/o Raider Hill Advisors            757 Third Avenue, 15th Floor                                              New York              NY           10017
30277140          Name on file                 Address on file
30200704          JOYCE IRELAND                C/O STARPOINT, LC                   15233 VENTURA BOULEVARD        SUITE PH16                                 SHERMAN OAKS          CA           91403
29959384          JOYCE MONDRY                 Address on file
30286584          Name on file                 Address on file
30282997          Name on file                 Address on file
30166060          J's Communications, Inc.     Attn: Sandy Range                   3733 S Bagley Ave, Ste C                                                  Fresno                CA           93725
30222940          Name on file                 Address on file
30275219          Name on file                 Address on file
29959413          JUDITH THURSTON              Address on file
29926622          JUDY PARNELL                 Address on file
30251333          Name on file                 Address on file
30200732          JULIA BARTELS                Address on file
30261057          Name on file                 Address on file
29959455          JULIE C. FREGOSO             Address on file
29959485          JULIE SCIMONE                Address on file
30276602          Name on file                 Address on file
30262290          Name on file                 Address on file
29927006          JXN WATER                    219 S. PRESIDENT ST                                                                                           JACKSON               MS           39201
29927012          K & M INTERNATIONAL          1955 MIDWAY DRIVE                                                                                             TWINSBURG             OH           44087
30261494          Name on file                 Address on file
30275345          Name on file                 Address on file
30331531          Name on file                 Address on file
30295216          Name on file                 Address on file
30273900          Name on file                 Address on file
30285948          Name on file                 Address on file
30280899          Name on file                 Address on file
30226699          Name on file                 Address on file
30226701          Name on file                 Address on file
30260529          Name on file                 Address on file
30296670          Name on file                 Address on file
30296676          Name on file                 Address on file
30296680          Name on file                 Address on file
30296606          Name on file                 Address on file
                                               C/O CHARLSON BREDEHOFT COHEN
30200700          KAITLIN COX                  BROWN & NADELHAFT, P.C              11260 ROGER BACON DRIVE        SUITE 201                                  RESTON                VA           20190
29927244          KAITLYN MONAGHAN             Address on file
30256532          Name on file                 Address on file
30285609          Name on file                 Address on file
30260755          Name on file                 Address on file
30292500          Name on file                 Address on file
30296918          Name on file                 Address on file
30262156          Name on file                 Address on file
30285257          Name on file                 Address on file
30229495          Name on file                 Address on file
30231623          Name on file                 Address on file
30229481          Name on file                 Address on file
30277481          Name on file                 Address on file
30258533          Name on file                 Address on file
30259439          Name on file                 Address on file
30289382          Name on file                 Address on file
30282515          Name on file                 Address on file
30254886          Name on file                 Address on file
30291709          Name on file                 Address on file
30259981          Name on file                 Address on file
30222458          Name on file                 Address on file
30200863          KANEXA                       MPN TECHNOLOGIES LLC                251 LITTLE FALLS DRIVE                                                    WILMINGTON            DE           19808
30258757          Name on file                 Address on file




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  ADDRESS ID                           NAME                    ADDRESS 1                   ADDRESS 2                         ADDRESS 3                      ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30275253          Name on file                    Address on file
30285519          Name on file                    Address on file
30258047          Name on file                    Address on file
30295651          Name on file                    Address on file
29927419          KANSAS CITY FALSE ALARMS        PO BOX 744924                                                                                                         LOS ANGELES            CA           90074‐4924
29927425          KANSAS GAS SERVICE              7421 W. 129TH ST                                                                                                      OVERLAND PARK          KS           66213
30262296          Name on file                    Address on file
30259789          Name on file                    Address on file
30256995          Name on file                    Address on file
30258257          Name on file                    Address on file
29959560          KARA A. WEY                     Address on file
30277176          Name on file                    Address on file
30279166          Name on file                    Address on file
30261195          Name on file                    Address on file
30225102          Name on file                    Address on file
30225102          Name on file                    Address on file
30200773          KAREN E. SANCHEZ                Address on file
29959595          KAREN E. SANCHEZ                Address on file
29927485          KAREN K. SPARKS                 Address on file
30200664          KAREN L. LADNER                 ATTN: JAMES E. CAZALOT, JR.   550 OLD SPANISH TRAIL            SUITE H                                                SLIDELL                LA           70458
29927529          KAREN WALL                      Address on file
30282251          Name on file                    Address on file
29927597          KARL SVENSSON                   Address on file
30262581          Name on file                    Address on file
30285828          Name on file                    Address on file
30263633          Name on file                    Address on file
30262879          Name on file                    Address on file
30273553          Name on file                    Address on file
30276475          Name on file                    Address on file
30274611          Name on file                    Address on file
30280756          Name on file                    Address on file
29927714          KASTNER WESTMAN & WILKINS LLC   3550 W. MARKET ST., STE 100                                                                                           AKRON                  OH           44333
29927719          KATALIN BERGER                  Address on file
30224796          Name on file                    Address on file
29928045          KATHI L. STACY                  Address on file
30200598          KATHLEEN BOWMAN                 Address on file
30200665          KATHLEEN WHITE                  C/O STOPPER LOPEZ, LLC        ATTN: WILLIAM J. STOPPER, ESQ.   1763 EAST MARLTON PIKE         SUITE 350               CHERRY HILL            NJ           08003
30292459          Name on file                    Address on file
29928220          KATHRYN M. HEATON               Address on file
30200827          KATHY DOUGHTY                   Address on file
30200831          KATHY DOUGHTY ROYALTY           Address on file
30285762          Name on file                    Address on file
30257105          Name on file                    Address on file
30227126          Name on file                    Address on file
30281267          Name on file                    Address on file
30285291          Name on file                    Address on file
30285459          Name on file                    Address on file
30285621          Name on file                    Address on file
30262041          Name on file                    Address on file
30253919          Name on file                    Address on file
30262414          Name on file                    Address on file
29928508          KAYLA K. CAESAR                 Address on file
29959806          KAYLA MARNEY                    Address on file
30296213          Kayne, Carol                    Address on file
30286125          Name on file                    Address on file
29928669          KC WATER                        1 NW BRIARCLIFF RD                                                                                                    KANSAS CITY            MO           64116
30222944          Name on file                    Address on file
30261097          Name on file                    Address on file
30278955          Name on file                    Address on file
30256586          Name on file                    Address on file
30283883          Name on file                    Address on file
30257694          Name on file                    Address on file
30331557          Keen, Sierra T                  Address on file
30260061          Name on file                    Address on file




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  ADDRESS ID                           NAME                    ADDRESS 1                               ADDRESS 2                     ADDRESS 3         ADDRESS 4                CITY        STATE     POSTAL CODE   COUNTRY
30260733          Name on file                   Address on file
30292440          Name on file                   Address on file
30293705          Name on file                   Address on file
30274915          Name on file                   Address on file
30285077          Name on file                   Address on file
30273960          Name on file                   Address on file
30291163          Name on file                   Address on file
30259214          Name on file                   Address on file
30276191          Name on file                   Address on file
30260241          Name on file                   Address on file
30296541          Name on file                   Address on file
29928765          KEIZER ENTERPRISES LLC         PO BOX 1583                                                                                                       CORVALLIS           OR           97339
30261047          Name on file                   Address on file
30289619          Keller Rohrback L.L.P.         1201 Third Avenue                        Suite 3400                                                               Seattle             WA           98101
30276706          Name on file                   Address on file
30258660          Name on file                   Address on file
30214808          KELLER, DEENA                  Address on file
30275157          Name on file                   Address on file
30282838          Name on file                   Address on file
30276928          Name on file                   Address on file
30296450          Name on file                   Address on file
30287264          Name on file                   Address on file
30260215          Name on file                   Address on file
30289748          Name on file                   Address on file
30288997          Name on file                   Address on file
29928839          KELLY KOVALESKI                Address on file
29928848          KELLY OESTER                   Address on file
30260846          Name on file                   Address on file
30274396          Name on file                   Address on file
30275473          Name on file                   Address on file
30273777          Name on file                   Address on file
30286164          Name on file                   Address on file
30231889          Name on file                   Address on file
30345546          Name on file                   Address on file
30293533          Name on file                   Address on file
30255799          Name on file                   Address on file
30274613          Name on file                   Address on file
30262033          Name on file                   Address on file
29928895          KELSEY KADEN                   Address on file
30279255          Name on file                   Address on file
30262250          Name on file                   Address on file
30282237          Name on file                   Address on file
30263415          Name on file                   Address on file
30257674          Name on file                   Address on file
30259571          Name on file                   Address on file
29929008          KENDYLL YNSON                  Address on file
29929012          KENERGY CORP                   3111 FARIVIEW DRIVE                                                                                               OWENSBORO           KY           42303
30276337          Name on file                   Address on file
30284437          Name on file                   Address on file
29929028          KENNEBEC WATER DISTRICT        131 DRUMMOND AVE                                                                                                  WATERVILLE          ME           04901
29929037          KENNEDY INTERNATIONAL          1800 WATER WORKS RD                                                                                               OLD BRIDGE          NJ           08857

30289296          Kennedy International Inc.     Coface North America Insurance Company 600 College Road East           Suite 1110                                 Princeton           NJ           08640
30286034          Name on file                   Address on file
30275428          Name on file                   Address on file
30288852          Name on file                   Address on file
30257438          Name on file                   Address on file
30263072          Name on file                   Address on file
29929044          KENNETH CURRY                  Address on file
30186304          Kenney Manufacturing Company   c/o Borges & Associates, LLC           575 Underhill Blvd., Ste. 118                                              Syosset             NY           11791
29959933          KENNEY MANUFACTURING COMPANY   1000 JEFFERSON BLVD                                                                                               WARWICK             RI           02886
30256987          Name on file                   Address on file
30276098          Name on file                   Address on file
30287477          Name on file                   Address on file




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  ADDRESS ID                           NAME                                 ADDRESS 1                   ADDRESS 2                     ADDRESS 3         ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30286087          Name on file                                Address on file
30275243          Name on file                                Address on file
30286000          Name on file                                Address on file
29959940          KENTUCKY AMERICAN WATER COMPANY             2300 RICHMOND ROAD                                                                                    LEXINGTON              KY           40502
                  Kentucky Power Company d/b/a Kentucky
30275908          Power                                       Attn: Jason Reid              1 Riverside Plaza            13th Floor                                 Columbus               OH           43215
30192776          Kentucky Utilities Company                  820 W. Broadway                                                                                       Louisville             KY           40202
30276773          Name on file                                Address on file
30275223          Name on file                                Address on file
30273532          Name on file                                Address on file
30287626          Name on file                                Address on file
30287662          Name on file                                Address on file
30290239          Name on file                                Address on file
30294720          Name on file                                Address on file
29929100          KERRY LEHRKE                                Address on file
30258505          Name on file                                Address on file
30285180          Name on file                                Address on file
30275335          Name on file                                Address on file
30229490          Name on file                                Address on file
30274241          Name on file                                Address on file
30280482          Name on file                                Address on file
30256562          Name on file                                Address on file
30200580          KETER ENVIRONMENTAL SERVICES LLC            PO BOX 417468                                                                                         BOSTON                 MA           02241‐7468

29929128          KETER ENVIRONMENTAL SERVICES LLC/41768      4 HIGH RIDGE PARK             #202                                                                    STAMFORD               CT           06905
30261163          Name on file                                Address on file
30262804          Name on file                                Address on file
29929133          KEVIN BEEGLE                                Address on file
29929144          KEVIN HART                                  Address on file
29929167          KEVIN SWEENEY                               Address on file
30280943          Name on file                                Address on file
29929187          KEYBANK NATIONAL ASSOCIATION                ARC LCROWTX001 LLC ET AL      PO BOX 715971                                                           CINCINNATI             OH           45271‐5971
30278973          Name on file                                Address on file

30286875          Keyspan Gas East Corporation DBA National Grid National Grid              300 Erie Boulevard West                                                 Syracuse               NY           13202
29929205          KEYSTONE REAL ESTATE GROUP LP                  DBA THE APARTMENT STORE    431 SCIENCE PARK RD., #301                                              STATE COLLEGE          PA           16803
30333035          Name on file                                   Address on file
30263003          Name on file                                   Address on file
29929226          KHALIK INVESTMENTS 2 LLC                       650 E. OLD HICKORY BLVD.                                                                           MADISON                TN           37115
30275384          Name on file                                   Address on file
30228460          Name on file                                   Address on file
30293884          Name on file                                   Address on file
30331510          Name on file                                   Address on file
30296098          KHP Limited Partnership                        Bonavista Management       950 N 72nd St                Suite 100                                  Seattle                WA           98103
30200777          KHP LTD PARTNERSHIP                            C/O GRAMOR DEVELOPMENT     950 72ND STREET N STE 100                                               SEATTLE                WA           98103
29929253          KIA HOWARD                                     Address on file
29929282          KIARA PRATHER                                  Address on file
30260663          Name on file                                   Address on file
30285399          Name on file                                   Address on file
30281743          Name on file                                   Address on file
30262075          Name on file                                   Address on file
30292903          Name on file                                   Address on file
30279710          Name on file                                   Address on file
30223374          Name on file                                   Address on file
30223374          Name on file                                   Address on file
30262605          Name on file                                   Address on file
30285497          Name on file                                   Address on file
29929335          KIKKERLAND DESIGN INC                          666 BROADWAY, 4TH FLOOR                                                                            NEW YORK               NY           10012
30286269          Name on file                                   Address on file
30275111          Name on file                                   Address on file
30276391          Name on file                                   Address on file
30285419          Name on file                                   Address on file
30287671          Name on file                                   Address on file
30262917          Name on file                                   Address on file




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  ADDRESS ID                           NAME                     ADDRESS 1                             ADDRESS 2                      ADDRESS 3          ADDRESS 4              CITY        STATE     POSTAL CODE   COUNTRY
30276684          Name on file                      Address on file
30259915          Name on file                      Address on file
30287684          Name on file                      Address on file
30257303          Name on file                      Address on file
29960019          KIMBERLEE DRENNON                 Address on file
29929396          KIMBERLY A. SCHWEINBERG           Address on file
30200637          KIMBERLY RUIZ                     Address on file
29929562          KIMBERLY TIMMINS                  Address on file
29929565          KIMBERLY VASQUEZ                  Address on file
29929589          KIMCO INCOME OP PARTNERSHIP LP    KIR MAPLE GROVE LP                   PO BOX 30344, #100140‐026854                                               TAMPA             FL           33630
29929592          KIMCO REALTY CORPORATION          COLUMBIA CROSSING OUTPARCEL LLC      PO BOX 30344                                                               TAMPA             FL           33630

30200805          KIMCO REALTY OP LLC               WEINGARTEN NOSTAT LLC                PO BOX 30344 AC #118400‐045478                                             TAMPA             FL           33630
30200797          KIMCO REALTY OP LLC               PK I SILVERDALE SHOPPING CTR LLC     PO BOX 30344, #114950‐025847                                               TAMPA             FL           33630
29929599          KIMCO REALTY OP LLC               CURLEW CROSSING SC LLC               PO BOX 30344, #111860‐043850                                               TAMPA             FL           33630
30200715          KIMCO REALTY OP LLC               RPT WEST OAKS II LLC ACT #125360‐0   PO BOX 30344                                                               TAMPA             FL           33630
30200742          KIMCO REALTY OP LLC               RPT REALTY LP ACC #125030‐048312     PO BOX 30344                                                               TAMPA             FL           33630
30200812          KIMCO REALTY OP LLC               FLAGLER SC ACCT # 115890‐044516      PO BOX 30344                                                               TAMPA             FL           33630
30200807          KIMCO REALTY OP LLC               RPT NEWNAN LLC ACC# 125380‐050112    PO BOX 30344                                                               TAMPA             FL           33630
30200846          KIMCO REALTY OP LLC               NORBER TRUST #103120‐044972          PO BOX 30344                                                               TAMPA             FL           33630
30256820          Name on file                      Address on file
30296505          Name on file                      Address on file
30258607          Name on file                      Address on file
30200835          KING COUNTY STATE OF WASHINGTON   500 FOURTH AVE RM 600                                                                                           SEATTLE           WA           98104
29960039          KING CROSSING LLC                 PO BOX 80510                                                                                                    BILLINGS          MT           59108
30256509          Name on file                      Address on file
30225301          Name on file                      Address on file
30295323          Name on file                      Address on file
30274388          Name on file                      Address on file
30293184          Name on file                      Address on file
29925955          KING, JOHN                        Address on file
30223849          Name on file                      Address on file
30286592          Name on file                      Address on file
30273549          Name on file                      Address on file
30260842          Name on file                      Address on file
30273852          Name on file                      Address on file
30200735          KINGART                           PO BOX 429                                                                                                      PURCHASE          NY           10577‐0429
30331845          Name on file                      Address on file
30279029          Name on file                      Address on file
30293188          Name on file                      Address on file
30280650          Name on file                      Address on file
30257812          Name on file                      Address on file
30259228          Name on file                      Address on file
30297595          Name on file                      Address on file
30279816          Name on file                      Address on file
30223421          Name on file                      Address on file
30331878          Name on file                      Address on file
30260665          Name on file                      Address on file
30222115          Name on file                      Address on file
30263518          Name on file                      Address on file
30274563          Name on file                      Address on file
30261983          Name on file                      Address on file
29929650          KIR FEDERAL WAY 035 LLC           PO BOX 30344                                                                                                    TAMPA             FL           33630
29929656          KIR TAMPA 003 LLC                 PO BOX 30344                                                                                                    TAMPA             FL           33630
30287877          Name on file                      Address on file
30276035          Name on file                      Address on file
30282586          Kirk Palmer & Associates Inc.     500 Fifth Avenue                     53rd Floor                                                                 New York          NY           10110
30276900          Name on file                      Address on file
30292450          Name on file                      Address on file
30232477          Name on file                      Address on file
30260647          Name on file                      Address on file
30281376          Name on file                      Address on file
30274098          Name on file                      Address on file
30331849          Name on file                      Address on file




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  ADDRESS ID                           NAME                                ADDRESS 1                           ADDRESS 2                    ADDRESS 3          ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30202119          Kissimmee Utility Authority                 1701 W. Carroll Street                                                                                       Kissimmee              FL           34741
29960065          KISSIMMEE UTILITY AUTHORITY                 1701 W. CARROLL ST.                                                                                          KISSIMMEE              FL           34741
29960066          KISSIMMEE WEST FLORIDA LP                   C/O CIMINELLI REAL ESTATE SERV. OF   4100 W. KENNEDY BLVD., #105                                             TAMPA                  FL           33609
30282068          Name on file                                Address on file
30260354          Name on file                                Address on file
29929719          KITE REALTY GROUP LP                        KRG BEL AIR SQUARE LLC               13068 COLLECTION CTR DR.                                                CHICAGO                IL           60693‐0130
29929722          KITSAP COUNTY PUBLIC WORKS                  614 DIVISION ST                                                                                              PORT ORCHARD           WA           98366‐4686
30283579          Name on file                                Address on file
30287857          Name on file                                Address on file
29929727          KLAMATH FALLS HOTEL CIMARRON INC            CIMARRON INN & SUITES                3060 S. 6TH ST.                                                         KLAMATH FALLS          OR           97603
29929728          KLAMATH JEFFERSON LLC                       PO BOX 1583                                                                                                  CORVALLIS              OR           97339
30279752          Name on file                                Address on file
29929733          KLARNA INC                                  800 N HIGH ST, FL 4                                                                                          COLUMBUS               OH           43215
30286085          Name on file                                Address on file
30286176          Name on file                                Address on file
30275075          Name on file                                Address on file
30279792          Name on file                                Address on file
30231638          Name on file                                Address on file
30280605          Name on file                                Address on file
30285277          Name on file                                Address on file
30297080          Name on file                                Address on file
30259010          Name on file                                Address on file
30200850          KLINE & KAVALI MECHANICAL CONT LLC          1294 BRIMFIELD DR                                                                                            KENT                   OH           44240
30184677          Kline & Kavali Mechanical Contractors LLC   1294 Brimfield Drive                                                                                         Kent                   OH           44240
30184677          Kline & Kavali Mechanical Contractors LLC   1294 Brimfield Drive                                                                                         Kent                   OH           44240
30286309          Name on file                                Address on file
30280015          Name on file                                Address on file
30331934          Name on file                                Address on file
30278069          Name on file                                Address on file
30278002          Name on file                                Address on file
30284743          Klingborg, Karen                            Address on file
30285167          Name on file                                Address on file
30259931          Name on file                                Address on file
30283021          Name on file                                Address on file
30286708          Name on file                                Address on file
30281445          Name on file                                Address on file
30261469          Name on file                                Address on file
30222760          Name on file                                Address on file
30281844          Name on file                                Address on file
30181620          KLX LLC                                     Lori Denise Utterback                6801 Ave 304                                                            Visalia                CA           93291
29960075          KLX LLC                                     PO BOX 488                                                                                                   MARSING                ID           83639‐0488
30278999          Name on file                                Address on file
30262973          Name on file                                Address on file
30279023          Name on file                                Address on file
30258019          Name on file                                Address on file
30257603          Name on file                                Address on file
30295022          Name on file                                Address on file
30263021          Name on file                                Address on file
30258482          Name on file                                Address on file
30263387          Name on file                                Address on file
30224078          Name on file                                Address on file
30286158          Name on file                                Address on file
30285463          Name on file                                Address on file
30261752          Name on file                                Address on file
30280621          Name on file                                Address on file
30281052          Name on file                                Address on file
30293765          Name on file                                Address on file
30274872          Name on file                                Address on file
30262591          Name on file                                Address on file
30284152          Name on file                                Address on file
30274667          Name on file                                Address on file
30282813          Name on file                                Address on file
30279033          Name on file                                Address on file
30279043          Name on file                                Address on file




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  ADDRESS ID                           NAME                                ADDRESS 1              ADDRESS 2                  ADDRESS 3          ADDRESS 4              CITY        STATE     POSTAL CODE   COUNTRY
30258815          Name on file                                 Address on file
30256758          Name on file                                 Address on file
30258243          Name on file                                 Address on file
30278935          Name on file                                 Address on file
30296259          Name on file                                 Address on file
30296690          Name on file                                 Address on file
30280523          Name on file                                 Address on file
30224084          Name on file                                 Address on file
30293628          Name on file                                 Address on file
30257216          Name on file                                 Address on file
30295105          Name on file                                 Address on file
30331207          Name on file                                 Address on file
30261793          Name on file                                 Address on file
30282610          Name on file                                 Address on file
30273745          Name on file                                 Address on file
30232080          Name on file                                 Address on file
30260783          Name on file                                 Address on file
30259161          Name on file                                 Address on file
30262007          Name on file                                 Address on file
30260449          Name on file                                 Address on file
30256864          Name on file                                 Address on file
30260889          Name on file                                 Address on file
30331105          Name on file                                 Address on file
30292041          Name on file                                 Address on file
30222287          Name on file                                 Address on file
30222287          Name on file                                 Address on file
29929767          KONICA MINOLTA BUSINESS SOLUTIONS            101 WILLIAMS DRIVE                                                                           RAMSEY            NJ           07446
30229196          Konica Minolta Business Solutions USA Inc.   101 Williams Drive                                                                           Ramsey            NJ           07446
30222958          Name on file                                 Address on file
30285157          Name on file                                 Address on file
30263090          Name on file                                 Address on file
30289167          Name on file                                 Address on file
30285295          Name on file                                 Address on file
30257770          Name on file                                 Address on file
30259117          Name on file                                 Address on file
30259579          Korber Supply Chain U.S., Inc.               Dept Ch 17044                                                                                Palatine          IL           60055
30260001          Korber Supply Chain U.S., Inc.               Dept CH 17044                                                                                Palatine          IL           60055
29929778          KORBER SUPPLY CHAIN US INC                   HIGH JUMP SOFTWARE INC   DEPT CH 17044                                                       PALATINE          IL           60055‐7091
30277465          Name on file                                 Address on file
30297301          Name on file                                 Address on file
30263033          Name on file                                 Address on file
30223387          Name on file                                 Address on file
30278691          Name on file                                 Address on file
30258911          Name on file                                 Address on file
30276509          Name on file                                 Address on file
30285365          Name on file                                 Address on file
30282329          Name on file                                 Address on file
30293537          Name on file                                 Address on file
30331720          Name on file                                 Address on file
30285942          Name on file                                 Address on file
30285724          Name on file                                 Address on file
30284795          Name on file                                 Address on file
30273779          Name on file                                 Address on file
30285555          Name on file                                 Address on file
30277576          Name on file                                 Address on file
30275125          Name on file                                 Address on file
30258388          Name on file                                 Address on file
30274834          Name on file                                 Address on file
30281129          Name on file                                 Address on file
30262468          Name on file                                 Address on file
30331835          Name on file                                 Address on file
30232627          Name on file                                 Address on file
30295052          Name on file                                 Address on file
30282638          Name on file                                 Address on file




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  ADDRESS ID                           NAME                              ADDRESS 1                  ADDRESS 2                  ADDRESS 3          ADDRESS 4                  CITY        STATE     POSTAL CODE       COUNTRY
30276945          Name on file                               Address on file
30229304          Name on file                               Address on file
30287128          Name on file                               Address on file
30285465          Name on file                               Address on file
30285333          Name on file                               Address on file
30277790          Name on file                               Address on file
30261848          Name on file                               Address on file
30256622          Name on file                               Address on file
30278937          Name on file                               Address on file
29929817          KRAUS‐ANDERSON INC                         PROPERTY ID 01‐0450          PO BOX 860582                                                       MINNEAPOLIS           MN           55486
30287490          Name on file                               Address on file
30263007          Name on file                               Address on file
30287798          Name on file                               Address on file
30256858          Name on file                               Address on file
30296614          Name on file                               Address on file
30276439          Name on file                               Address on file
30260671          Name on file                               Address on file
30279561          Name on file                               Address on file
30273586          Name on file                               Address on file
30251342          Name on file                               Address on file
29929824          KRG CREC KS PEMBROKE PINES LLC             COOL SPRINGS MARKET 001988   PO BOX 743806                                                       ATLANTA               GA           30374‐3810
30256788          Name on file                               Address on file
30225057          Name on file                               Address on file
30296832          Name on file                               Address on file
30283095          Name on file                               Address on file
29930028          KRISTINE WITTMAN                           Address on file
30287316          Name on file                               Address on file
30286208          Name on file                               Address on file
30274211          Name on file                               Address on file
30257973          Name on file                               Address on file
30258021          Name on file                               Address on file
30285812          Name on file                               Address on file
30261636          Name on file                               Address on file
30277932          Name on file                               Address on file
30256688          Name on file                               Address on file
30224128          Name on file                               Address on file
29960121          KRYSTAL A. SCHRINER                        Address on file
30217898          Name on file                               Address on file
29930090          KUB‐KNOXVILLE UTILITIES BOARD              4428 WESTERN AVE                                                                                 KNOXVILLE             TN           37921
30224193          Name on file                               Address on file
30295088          Name on file                               Address on file
30274986          Name on file                               Address on file
30296494          Name on file                               Address on file
30285251          Name on file                               Address on file
30258507          Name on file                               Address on file
30262755          Name on file                               Address on file
30286857          Name on file                               Address on file
30282729          Name on file                               Address on file
30331928          Name on file                               Address on file
29930092          KU‐KENTUCKY UTILITIES COMPANY              220 W MAIN ST                                                                                    LOUISVILLE            KY           40202
30262095          Name on file                               Address on file
30262899          Name on file                               Address on file
30288267          Name on file                               Address on file
30258953          Name on file                               Address on file
30256485          Kump, Ruth                                 Address on file
30286081          Name on file                               Address on file
30296388          Name on file                               Address on file
30258307          Name on file                               Address on file
30276922          Name on file                               Address on file
29960137          KUNSHAN JUN YUAN ARTS & CRAFTS CO LTD      NO 551 JUJIN RD              ZHANGPU TOW                                                         KUNSHAN                            215300          CHINA
30161927          Kunshan Jun Yuan Arts & Crafts Co., Ltd.   c/o Jun Yuan USA             Attn: Marty Mason        2508 Western Ave Ste B                     Connersville          IN           47331
30280215          Name on file                               Address on file
30287330          Name on file                               Address on file
30260555          Name on file                               Address on file




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  ADDRESS ID                           NAME                              ADDRESS 1                                 ADDRESS 2                       ADDRESS 3          ADDRESS 4                       CITY        STATE     POSTAL CODE       COUNTRY
30274641          Name on file                            Address on file
30280517          Name on file                            Address on file
30228843          Name on file                            Address on file
29960143          KURT PENA                               Address on file
30263629          Name on file                            Address on file
30222805          Name on file                            Address on file
30331774          Name on file                            Address on file
30262394          Name on file                            Address on file
30285680          Name on file                            Address on file
30279201          Name on file                            Address on file
30164255          Kuzemchak, Stephen                      Address on file
30259262          Name on file                            Address on file
                                                          SF 263/3F1 SALEM BYPASS ROAD
29975062          KWALITY EXPORTS                         KATHAPARAI (P.O)                           VENGAMEDU                                                                    KARUR, TAMIL NADU                       639006          INDIA
29964888          KWALITY EXPORTS                         SF NO 263/3F1                              SALEM BYPASS ROAD                KATHAPARAI                                  KARUR                                   639006          INDIA
30290341          Name on file                            Address on file
30284737          Name on file                            Address on file
30288602          Name on file                            Address on file
29930148          KYLE FLEMING                            Address on file
29930164          KYLE SNELL                              Address on file
30331066          Name on file                            Address on file
30296091          Kyndryl, Inc.                           c/o General Counsel                        One Vanderbilt Avenue            15th Floor                                  New York                   NY           10017
30287641          Name on file                            Address on file
29930250          L & L PROPERTIES OF STERLING LLC        218 W. 3RD STREET                                                                                                       STERLING                   IL           61081
29930252          L BRENT DAHLE FAMILY TRUST              Address on file
29930277          LA COUNTY WATERWORKS                    900 S. FREMONT AVE                                                                                                      ALHAMBRA                   CA           91803
30293734          Name on file                            Address on file
30284785          Name on file                            Address on file
29930283          LA HABRA WESTRIDGE PARTNERS LP          2222 E. 17TH STREET                                                                                                     SANTA ANA                  CA           92705

30289406          La Habra Westridge Partners, L.P.       Law Offices of Ronald K. Brown, Jr., APC   901 Dove St.                     Suite 120                                   Newport Beach              CA           92660
30273678          Name on file                            Address on file
30276967          Name on file                            Address on file
30258083          Name on file                            Address on file
30261987          Name on file                            Address on file
30224239          Name on file                            Address on file
30261723          Name on file                            Address on file
30333013          Name on file                            Address on file
30284707          Name on file                            Address on file
30297651          Ladner, Karen Lee                       Address on file
30277474          Name on file                            Address on file
30278594          Name on file                            Address on file
29954129          LAFAYETTE PLAZA LLC                     C/O EQUITY MANAGEMENT                      215 EAST 58 ST., #3A                                                         NEW YORK                   NY           10022
29954133          LAFAYETTE UTILITIES SYSTEMS (LUS)       1875 W. PINKHOOK RD                        SUITE B                                                                      LAFAYETTE                  LA           70508
30285571          Name on file                            Address on file
30285075          Name on file                            Address on file
30286036          Name on file                            Address on file
30331896          Name on file                            Address on file
30274661          Name on file                            Address on file
30258035          Name on file                            Address on file
30280668          Name on file                            Address on file
30286702          Name on file                            Address on file
30263082          Name on file                            Address on file
29930349          LAKE CHARLES PC LP                      900 TOWN & COUNTRY #210                                                                                                 HOUSTON                    TX           77024
30297636          Lake Charles PC, L.P.                   900 Town & Country Lane                    Suite 210                                                                    Houston                    TX           77024
29960276          LAKE DELTON UTILITY DEPT.               50 WISCONSIN DELLS PARKWAY SOUTH           P.O. BOX 87                                                                  LAKE DELTON                WI           53940
29930352          LAKE PARK INVESTORS LLC                 3265 MERIDIAN PKWY, #130                                                                                                WESTON                     FL           33331
30200862          LAKE VIEW PLAZA OWNER LLC               C/O THE HUTENSKY GROUP, LLC                100 CONSTITUTION PLAZA                                                       HARTFORD                   CT           06103
29960283          LAKELAND ELECTRIC/CITY OF LAKELAND,FL   501 E LEMON ST                                                                                                          LAKELAND                   FL           33801

30164414          Lakewood Village Shopping Park, LLC     Ashley Group, LLC                          Matthew Hankins, General Counsel 2851 Lakewood Village Drive                 North Little Rock          AR           72116
30262645          Name on file                            Address on file
30283819          Name on file                            Address on file
30277552          Name on file                            Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                   ADDRESS 2                   ADDRESS 3          ADDRESS 4               CITY        STATE     POSTAL CODE   COUNTRY
30222829          Name on file                            Address on file
30258551          Name on file                            Address on file
30256694          Name on file                            Address on file
30258332          Name on file                            Address on file
30260141          Name on file                            Address on file
30284379          Name on file                            Address on file
30273872          Name on file                            Address on file
30287584          Name on file                            Address on file
30261740          Name on file                            Address on file
30296543          Name on file                            Address on file
30261430          Name on file                            Address on file
30224845          Name on file                            Address on file
30224672          Name on file                            Address on file
30284927          Name on file                            Address on file
30221996          Name on file                            Address on file
30285974          Name on file                            Address on file
30277252          Name on file                            Address on file
30274904          Name on file                            Address on file
29930403          LANCASTER DEVELOPMENT COMPANY LLC       1701 SE COLUMBIA RIVER DRIVE                                                                        VANCOUVER          WA           98661
29930406          LANCASTER UTILITIES COLLECTION‐OFFICE   104 E MAIN ST                  #105                                                                 LANCASTER          OH           43130
30276787          Name on file                            Address on file
30223882          Name on file                            Address on file
30262802          Name on file                            Address on file
30275085          Name on file                            Address on file
30217903          Name on file                            Address on file
30217903          Name on file                            Address on file
30259993          Name on file                            Address on file
30331064          Name on file                            Address on file
30274461          Name on file                            Address on file
30275368          Name on file                            Address on file
30292154          Name on file                            Address on file
30285928          Name on file                            Address on file
30274669          Name on file                            Address on file
30287351          Name on file                            Address on file
30286200          Name on file                            Address on file
30274187          Name on file                            Address on file
30259139          Name on file                            Address on file
30274605          Name on file                            Address on file
30293241          Name on file                            Address on file
30285595          Name on file                            Address on file
30274637          Name on file                            Address on file
30263528          Name on file                            Address on file
30257245          Name on file                            Address on file
30275233          Name on file                            Address on file
29930443          LANSING BOARD OF WATER & LIGHT          1110 S PENNSYLVANIA AVE                                                                             LANSING            MI           48912‐1635
30218609          LANSING BOARD OF WATER AND LIGHT        PO BOX 13007                                                                                        LANSING            MI           48901‐3007
29930446          LANSING RETAIL CENTER, LLC              300 FRANDOR AVE., 2ND FL                                                                            LANSING            MI           48912
29930447          LANSING RETAIL CENTER, LLC              300 FRANDOR AVE., 2ND FLOOR                                                                         LANSING            MI           48912
30286065          Name on file                            Address on file
30295422          Name on file                            Address on file
30259505          Name on file                            Address on file
30263060          Name on file                            Address on file
30262885          Name on file                            Address on file
30257727          Name on file                            Address on file
30261598          Name on file                            Address on file
30330946          Name on file                            Address on file
30227297          Name on file                            Address on file
30258696          Name on file                            Address on file
30259047          Name on file                            Address on file
30261852          Name on file                            Address on file
30297543          Name on file                            Address on file
30274179          Name on file                            Address on file
30229264          LaRose Industries LLC                   Attn: Joseph W Rio             1578 Sussex Turnpike                                                 Randolph           NJ           07869
29930486          LAROSE INDUSTRIES LLC DBA               CRA‐Z‐ART                      1578 SUSSEX TURNPIKE                                                 RANDOLPH           NJ           07869




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  ADDRESS ID                           NAME               ADDRESS 1                      ADDRESS 2                      ADDRESS 3          ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30289206          Name on file                Address on file
30287231          Name on file                Address on file
30273884          Name on file                Address on file
30293085          Name on file                Address on file
30274825          Name on file                Address on file
30255907          Name on file                Address on file
30278448          Name on file                Address on file
30222379          Name on file                Address on file
30274459          Name on file                Address on file
29960305          LATHAM & WATKINS LLP        PO BOX 7247‐8181                                                                                         PHILADELPHIA           PA           19170
30256570          Name on file                Address on file
30287124          Name on file                Address on file
30277310          Name on file                Address on file
30277396          Name on file                Address on file
30276643          Name on file                Address on file
30259173          Name on file                Address on file
30200666          LAURA CARON                 C/O BARTLETT & GRIPPE, LLC      ATTN: FRANK P. BARLETT, JR.   143 MAIN STREET                            CHESHIRE               CT           06410
29930661          LAUREEN KAPRELIAN           Address on file
30200828          LAUREN HOOPER               Address on file
30200667          LAUREN OLSON                C/O AVREK LAW FIRM              ATTN: ANTHONY J. PEREZ        2350 SE BRISTOL STREET                     NEWPORT BEACH          CA           92660
30261902          Name on file                Address on file
30263891          Name on file                Address on file
30200817          LAVALE PLAZA LLC            11155 RED RUN BLVD, STE. #320                                                                            OWINGS MILLS           MD           21117
30331944          Name on file                Address on file
30277692          Name on file                Address on file
30278904          Name on file                Address on file
30287868          Name on file                Address on file
30256862          Name on file                Address on file
30262693          Name on file                Address on file
30331485          Name on file                Address on file
30296350          Name on file                Address on file
30294644          Name on file                Address on file
30263619          Name on file                Address on file
30258089          Name on file                Address on file
30225198          Name on file                Address on file
30225183          Name on file                Address on file
30278032          Name on file                Address on file
30279559          Name on file                Address on file
30273231          Name on file                Address on file
30260946          Name on file                Address on file
30262983          Name on file                Address on file
30274535          Name on file                Address on file
30263144          Name on file                Address on file
30290223          Name on file                Address on file
30274352          Name on file                Address on file
30274344          Name on file                Address on file
30277093          Name on file                Address on file
30257068          Name on file                Address on file
30296898          Name on file                Address on file
30287817          Name on file                Address on file
30281741          Name on file                Address on file
30257589          Name on file                Address on file
29930846          LBD PROPERTIES LLC          PO BOX 91                                                                                                MERIDIAN               MS           39302
29930846          LBD PROPERTIES LLC          PO BOX 91                                                                                                MERIDIAN               MS           39302
29930852          LCR WALPOLE LLC             C/O THE WILDER COMPANIES LTD    800 BOYLSTON ST., STE 1300                                               BOSTON                 MA           02199
30331692          LCR Walpole, LLC            c/o Jason B. Curtin             600 Atlantic Ave, Floor 19                                               Boston                 MA           02210
30277097          Name on file                Address on file
30253700          Name on file                Address on file
30222145          Name on file                Address on file
30259626          Name on file                Address on file
30285668          Name on file                Address on file
30297430          Name on file                Address on file
30286004          Name on file                Address on file
30286214          Name on file                Address on file




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  ADDRESS ID                           NAME                                   ADDRESS 1                     ADDRESS 2                       ADDRESS 3                       ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30262838          Name on file                                   Address on file
29930909          LEBANON PAD, LP                                C/O LAVIPOUR & COMPANY         6 EAST 45TH STREET, SUITE 801                                                           NEW YORK               NY           10017
30262282          Name on file                                   Address on file
30257316          Name on file                                   Address on file
30273628          Name on file                                   Address on file
30257597          Name on file                                   Address on file
30289182          Name on file                                   Address on file
30258853          Name on file                                   Address on file
30285810          Name on file                                   Address on file
30285842          Name on file                                   Address on file
30284869          Name on file                                   Address on file
29960505          LEDO INTERNATIONAL CORP LTD                    PO BOX 016727                                                                                                          MIAMI                  FL           33101
29930915          LEE COUNTY UTILITIES, FL                       7391 COLLEGE PARKWAY                                                                                                   FORTH MYERS            FL           33907
29930917          LEE ENTERPRISES INC                            ALABAMA COMMUNITY NEWSPAPERS   PO BOX 4690                                                                             CAROL STREAM           IL           60197‐4690
30257239          Name on file                                   Address on file
30276167          Name on file                                   Address on file
30276382          Name on file                                   Address on file
30289003          Name on file                                   Address on file
30258859          Name on file                                   Address on file
30256946          Name on file                                   Address on file
30263320          Name on file                                   Address on file
30256948          Name on file                                   Address on file
30259590          Name on file                                   Address on file
30286162          Name on file                                   Address on file
30258605          Name on file                                   Address on file
30259544          Name on file                                   Address on file
30256575          Name on file                                   Address on file
30218619          Name on file                                   Address on file
30260673          Name on file                                   Address on file
30278588          Name on file                                   Address on file
30285355          Name on file                                   Address on file
30331561          Name on file                                   Address on file
30261502          Name on file                                   Address on file
30284905          Name on file                                   Address on file
30259143          Name on file                                   Address on file
30280925          Name on file                                   Address on file
30277326          Name on file                                   Address on file
30277833          Legacy CB, LLC                                 Randall F. Scherck             10 South Broadway               Suite 2000                                              St. Louis              MO           63102
30288111          Legacy CB, LLC                                 UB Greensfelder LLP            Randall F. Scherck              10 South Broadway              Suite 2000               St. Louis              MO           63102
29952600          LEGACY LICENSING PARTNERS, LP                  1621 EAST 27TH STREET                                                                                                  LOS ANGELES            CA           90011
30291088          Name on file                                   Address on file

30213407          Legend Hills Properties, LLC ‐ Wayne Belleau   Attn: Ryan Belleau, CFO        1410 S. University Park Blvd    Suite 110                                               Clearfield             UT           84015
30260938          Name on file                                   Address on file
30296117          Name on file                                   Address on file
30263413          Name on file                                   Address on file
29930954          LEGIT KITS LLC                                 7701 N BROADWAY EXT, STE A‐1                                                                                           OKLAHOMA CITY          OK           73116
30168011          Legit Kits, LLC                                7701 Broadway Ext, Ste A1                                                                                              Oklahoma City          OK           73116
30222610          Name on file                                   Address on file
30222381          Name on file                                   Address on file
30222381          Name on file                                   Address on file
30260396          Name on file                                   Address on file
30261765          Name on file                                   Address on file
30292553          Name on file                                   Address on file
30280180          Name on file                                   Address on file
30251340          Name on file                                   Address on file
30251344          Name on file                                   Address on file
30276063          Name on file                                   Address on file
30280904          Name on file                                   Address on file
30273566          Name on file                                   Address on file
30257993          Name on file                                   Address on file
30291575          Name on file                                   Address on file
30284620          Leistico, Elaine                               Address on file
30284634          Name on file                                   Address on file




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  ADDRESS ID                           NAME                  ADDRESS 1                          ADDRESS 2                   ADDRESS 3          ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
29931005          LEISURE ARTS INC            104 CHAMPS BLVD, STE 100                                                                                     MAUMELLE             AR           72113
30224345          Name on file                Address on file
30296604          Name on file                Address on file
30224887          Name on file                Address on file
29931007          LEJ PROPERTIES LLC          CO LEVY MOSSE & CO                     11400 W OLYMPIC BLVD #330                                             LOS ANGELES          CA           90064
30217480          Name on file                Address on file
30275077          Name on file                Address on file
30280060          Name on file                Address on file
30275743          Name on file                Address on file
30273545          Name on file                Address on file
30289125          Name on file                Address on file
30286016          Name on file                Address on file
29931023          LEMOYNE BOROUGH, PA         510 HERMAN AVE                                                                                               LEMOYNE              PA           17043
30261023          Name on file                Address on file
30274328          Name on file                Address on file
30258829          Name on file                Address on file
30292617          Name on file                Address on file
30261381          Name on file                Address on file
30284424          Name on file                Address on file
30221894          Name on file                Address on file
29931051          LEO MA MALL LLC             C/O HULL PROPERTY GROUP LLC            PO BOX 204227                                                         AUGUSTA              GA           30917
                                              c/o Hull Property Group, LLC ‐ Attn:
30282023          Leo MA Mall, LLC            A.Dolce                                1190 Interstate Pkwy                                                  Augusta              GA           30909
30279659          Name on file                Address on file
30296598          Name on file                Address on file
30281286          Name on file                Address on file
30222318          Name on file                Address on file
30277095          Name on file                Address on file
30284618          Name on file                Address on file
30262573          Name on file                Address on file
30291724          Name on file                Address on file
30279071          Name on file                Address on file
30284214          Name on file                Address on file
30261519          Name on file                Address on file
30296342          Name on file                Address on file
30279713          Name on file                Address on file
30222621          Name on file                Address on file
30274231          Name on file                Address on file
29931143          LETICIA MELENDEZ            Address on file
30255923          Name on file                Address on file
30223413          Name on file                Address on file
30275053          Name on file                Address on file
30273682          Name on file                Address on file
30257927          Name on file                Address on file
30257050          Name on file                Address on file
30273793          Name on file                Address on file
30285992          Name on file                Address on file
30275794          Name on file                Address on file
30262448          Name on file                Address on file
30280646          Name on file                Address on file
30227038          Name on file                Address on file
30276878          Name on file                Address on file
30257257          Name on file                Address on file
30286756          Name on file                Address on file
30279005          Name on file                Address on file
30218685          Name on file                Address on file
30253744          Name on file                Address on file
30253786          Name on file                Address on file
30253752          Name on file                Address on file
30292024          Name on file                Address on file
30261286          Name on file                Address on file
30274774          Name on file                Address on file
30285619          Name on file                Address on file
30262196          Name on file                Address on file




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  ADDRESS ID                           NAME                           ADDRESS 1                           ADDRESS 2                             ADDRESS 3                    ADDRESS 4                CITY        STATE     POSTAL CODE       COUNTRY
30330934          Name on file                          Address on file
29931186          LEXINGTON‐FAYETTE URBAN COUNTY GOVT   200 E MAIN ST                                                                                                                    LEXINGTON           KY           40507
30223857          Name on file                          Address on file
30293125          Name on file                          Address on file
30280009          Name on file                          Address on file
29931205          LG&E ‐ LOUISVILLE GAS & ELECTRIC      220 W MAIN ST                                                                                                                    LOUISVILLE          KY           40202
                                                        Attn: Laurence Peter Rudge, General   7/F HK Spinners Industrial Building
30184385          Li & Fung (Trading) Limited           Counsel                               Phase I & II                          800 Cheung Sha Wan Road        Kowloon               Hong Kong                                        Hong Kong
30200711          LI AND FUNG (TRADING) LIMITED         888 CHEUNG SHA WAN ROAD                                                                                                          KOWLOON                                          HONG KONG
30222618          Name on file                          Address on file
30274571          Name on file                          Address on file
30251362          Name on file                          Address on file
30290504          Name on file                          Address on file
30286237          Name on file                          Address on file
30259230          Name on file                          Address on file
29931234          LIBBEY GLASS INC                      300 MADISON AVE                       300 MADISON AVENUE                                                                         TOLEDO              OH           43604
29974304          Libbey Glass LLC                      300 Madison Avenue                                                                                                               Toledo              OH           43604
30281667          Name on file                          Address on file
30200840          LIBERTY MUTUAL                        PO BOX 1449                                                                                                                      NEW YORK            NY           10116‐1449
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116
29931243          LIBERTY MUTUAL                        175 BERKELEY STREET                                                                                                              BOSTON              MA           02116




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29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116
29931243          LIBERTY MUTUAL              175 BERKELEY STREET                                                                 BOSTON          MA       02116




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29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931243          LIBERTY MUTUAL                           175 BERKELEY STREET                                                                                                      BOSTON                MA           02116
29931249          LIBERTY UTILITIES ‐ NH                   116 NORTH MAIN STREET                                                                                                    CONCORD               NH           03301
29931250          LIBERTY UTILITIES GEORGIA                2300 VICTORY DR                                                                                                          COLUMBUS              GA           31901
29931252          LIBERTY UTILITY MISSOURI/75660           354 DAVIS RD                                                                                                             OAKVILLE              ON           L6J 2X1          CANADA
30274223          Name on file                             Address on file
30221994          Name on file                             Address on file
                                                           C/O MARSHALL P. WHALLEY &
30200628          LIDIA BANDA                              ASSOCIATES P.C.                     ATTN: KARA BRODOWSKI          51 WEST 112TH AVENUE                                   CROWN POINT           IN           46307
30295206          Name on file                             Address on file
29931269          LIESL AND CO INC                         244 FIFTH AVE, STE 2192                                                                                                  NEW YORK              NY           10001
30285635          Liesl and Co., Inc.                      244 Fifth Ave.                      Suite 2192                                                                           New York              NY           10001
30285633          Liesl and Co., Inc.                      244 Fifth Ave.                      Suite 2192                                                                           New York              NY           10001
29931270          LIFE OF THE PARTY LLC                    PO BOX 24377                                                                                                             BROOKLYN              NY           11245‐4254
30287427          Name on file                             Address on file
30217668          Lighthouse for the Blind St Louis        10440 Trenton Ave                                                                                                        St Louis              MO           63132
29931276          LIGHTHOUSE TRANSPORTATION SERVICES       PO BOX 631416                                                                                                            CINCINNATI            OH           45263‐1416
30166929          Lighthouse Transportation Services LLC   722 Scott Street                                                                                                         Covington             KY           41011
30252473          Name on file                             Address on file
30276243          Name on file                             Address on file
30200567          LILLA J ROGERS                           Address on file
30273954          Name on file                             Address on file
29931364          LILLIAN MCPHERSON                        Address on file
30279107          Name on file                             Address on file
30200626          LILY SMITH                               Address on file
30262109          Name on file                             Address on file
30257802          Name on file                             Address on file
30286803          Limor Media                              14 Willett Avenue                   Suite 203                                                                            Port Chester          NY           10573
30262488          Name on file                             Address on file
30286002          Name on file                             Address on file
30285267          Name on file                             Address on file
30262244          LINCOLN COUNTY TAX COLLECTOR             225 WEST OLIVE STREET               ROOM 205                                                                             NEWPORT               OR           97365
29931466          LINCOLN HEIGHTS CENTER LLC               12906 N. ADDISON STREET                                                                                                  SPOKANE               WA           99218
30292901          Lincoln Heights Center, LLC              12906 N Addison St                                                                                                       Spokane               WA           99218
29931476          LINDA BARRETT PROPERTIES LLC             C/0 GREEN EARTH REALTY              6220 CAMPBELL RD., STE. 104                                                          DALLAS                TX           75248
30286613          Linda Barrett Properties, LLC            Attn: Michael DuBois                6220 Campbell Road            Ste. 104                                               Dallas                TX           75248
29931509          LINDA DIMAGGIO                           Address on file
30251277          Name on file                             Address on file
30331578          Lindale Mall Realty Holding LLC          c/o Kohan Retail Investment Group   Attn: Joseph M. Saponaro      1010 Northern Boulevard        Suite 234               Great Neck            NY           11021
29931648          LINDALE MALL REALTY HOLDING LLC          1010 NORTHERN BLVD., #212                                                                                                GREAT NECK            NY           11021
30287465          Name on file                             Address on file
30275083          Name on file                             Address on file
30282513          Name on file                             Address on file
30274599          Name on file                             Address on file
29931668          LINDSAY MANAOIS                          Address on file
30261157          Name on file                             Address on file
30259435          Name on file                             Address on file
30275095          Name on file                             Address on file
30331378          Name on file                             Address on file




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30292469          Name on file                Address on file
30260996          Name on file                Address on file
30181459          Link Logistics Group LLC    PO Box 896716                                                                                                       Charlotte              NC           28289
30275337          Name on file                Address on file
30331205          Name on file                Address on file
29931741          LINKEDIN CORPORATION        62228 COLLECTIONS CENTER DR                                                                                         CHICAGO                IL           60693
                                              10 ANSON ROAD INTERNATIONAL PLAZA#
29931742          LINKNOR TRADE LIMITED       13‐15                                                                                                               SINGAPORE                           79903           SINGAPORE
30163973          Linknor Trade Pte. Ltd.     Xiaoying Zou                         B101, 568 West Jinshajiang Road   Jiading                                      Shanghai                            201803          China
30164633          Linknor Trade Pte. Ltd.     Xiaoying Zou                         B101, 568 West Jinshajiang Road                                                Shanghai                            201803          China
30222740          Name on file                Address on file
30222740          Name on file                Address on file
30273773          Name on file                Address on file
30280262          Name on file                Address on file
30279677          Name on file                Address on file
29931755          LION BRAND YARN CO          125 CHUBB AVE                                                                                                       LYNDHURST              NJ           07071
30257832          Name on file                Address on file
30291467          Name on file                Address on file
30279101          Name on file                Address on file
30283113          Name on file                Address on file
30276843          Name on file                Address on file
29931803          LISA CRISSEY                Address on file
29931873          LISA PEPE‐DOUGLAS           Address on file
29931912          LISA WILLIAMSSELF           Address on file
30285794          Name on file                Address on file
29960690          LISTRAK INC                 100 WEST MILLPORT RD.                                                                                               LITITZ                 PA           17543
30192808          Listrak Inc.                c/o Director of Legal Services       100 W Millport Road                                                            Lititz                 PA           17543
30225311          Name on file                Address on file
30257020          Name on file                Address on file
30285176          Name on file                Address on file
30285249          Name on file                Address on file
30200855          LITTLE LIZARD KING          Address on file
30224109          Name on file                Address on file
30222807          Name on file                Address on file
30257123          Name on file                Address on file
30280500          Name on file                Address on file
30280515          Name on file                Address on file
30259073          Name on file                Address on file
30281439          Name on file                Address on file
30260497          Name on file                Address on file
30277159          Name on file                Address on file
30184161          LITTLER MENDELSON PC        501 W. BROADWAY                      SUITE 900                                                                      SAN DIEGO              CA           92101‐3577
29960698          LITTLER MENDELSON PC        PO BOX 207137                                                                                                       DALLAS                 TX           75320‐7137
30282591          Name on file                Address on file
30290129          Name on file                Address on file
30295194          Name on file                Address on file
30286228          Name on file                Address on file
30222976          Name on file                Address on file
30257875          Name on file                Address on file
30218145          Name on file                Address on file
30280952          Name on file                Address on file
30273650          Name on file                Address on file

29931972          LJ CBG ACQUISITION CO       CBG MIDWEST, DBA BASS SECURITY SERV 3064 SALEM INDUSTRIAL DRIVE                                                     WINSTON‐SALEM          NC           27127
30332971          Name on file                Address on file
30331912          Name on file                Address on file
30275004          Name on file                Address on file
30257579          Name on file                Address on file
30285011          Name on file                Address on file
30293229          Name on file                Address on file
29931981          LLUVIA ARZATE               Address on file
29931982          LLUVIA E. ARZATE            Address on file
29931986          LMC COMPANY                 13 CORPORATE PLAZA, SUITE 214                                                                                       NEWPORT BEACH          CA           92660
30260243          LNN ENTERPRISES, INC.       9 W CHERRY AVENUE                   SUITE A                                                                         FLAGSTAFF              AZ           86001




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  ADDRESS ID                           NAME                             ADDRESS 1                          ADDRESS 2                  ADDRESS 3          ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30295736          Name on file                            Address on file
29974352          LOBDOTCOM INC                           2261 Market Street                    Suite 5668                                                           San Francisco          CA           94114
30200575          LOBDOTCOM INC                           LOB.COM INC                           PO BOX 121900                                                        DALLAS                 TX           75312‐1900
30222588          Name on file                            Address on file
30200713          LOCAL 48U‐32                            20939 LORAIN ROAD                                                                                          FAIRVIEW PARK          OH           44126
30261610          Name on file                            Address on file
30286107          Name on file                            Address on file
30226430          Name on file                            Address on file
30278863          Name on file                            Address on file
30259555          Name on file                            Address on file
30284239          Name on file                            Address on file
30331320          Name on file                            Address on file
30257072          Name on file                            Address on file
30287789          Name on file                            Address on file
30258601          Name on file                            Address on file
30263397          Name on file                            Address on file
30295576          Name on file                            Address on file
30276604          Name on file                            Address on file
30283038          Name on file                            Address on file
30258115          Name on file                            Address on file
30283086          Name on file                            Address on file
30223771          Name on file                            Address on file
30281138          Name on file                            Address on file
30276913          Name on file                            Address on file
30222938          Name on file                            Address on file
30227003          Name on file                            Address on file
30285373          Name on file                            Address on file
30286261          Name on file                            Address on file
30257192          Name on file                            Address on file
30287300          Name on file                            Address on file
30278004          Name on file                            Address on file
30260960          Name on file                            Address on file
30263351          Name on file                            Address on file
30278474          Name on file                            Address on file
30276686          Name on file                            Address on file
30288999          Name on file                            Address on file
30256979          Name on file                            Address on file
30259272          Name on file                            Address on file
30348508          Name on file                            Address on file
29932068          LONGBOW ADVANTAGE USA INC               455 E. EISENHOWER PKWY, #60                                                                                ANN ARBOR              MI           48108
30278900          Longbow Advantage USA, Inc.             455 E. Eisenhower Parkway             Suite 60                                                             Ann Arbor              MI           48408
30197344          Longbow Advantage USA, Inc.             455 E. Eisenhower Parkway, Suite 60                                                                        Ann Arbor              MI           48108
30262304          Name on file                            Address on file
30260139          Name on file                            Address on file
30222383          Name on file                            Address on file
30278865          Name on file                            Address on file
30260299          Name on file                            Address on file
30262410          Name on file                            Address on file
30274334          Name on file                            Address on file
30263443          Name on file                            Address on file
30258454          Name on file                            Address on file
30260858          Name on file                            Address on file
30227116          Name on file                            Address on file
30279313          Name on file                            Address on file
30280832          Name on file                            Address on file
30260507          Name on file                            Address on file
29932171          LORI PATTERSON                          Address on file
30200620          LORIE ESTRADA                           Address on file
29932204          LORRAINE OLIVER                         Address on file
29932212          LORRETTA ROGERS                         Address on file
30200772          LORRI A. MARCIAL                        Address on file
29932215          LORRI BENGOCHEA                         Address on file

29932232          LOS ANGELES DEPT OF WATER & POWER/30808 111 N HOPE STREET                                                                                          LOS ANGELES            CA           90012




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30227755          Name on file                          Address on file
30287007          Name on file                          Address on file
29932247          LOUDOUN WATER                         44865 LOUDOUN WATER WAY                                                                                  ASHBURN                VA           20147
30331250          Name on file                          Address on file
30287728          Name on file                          Address on file
30274807          Name on file                          Address on file
30260469          Name on file                          Address on file
29950597          LOUISIANA REVITALIZATION FUND LLC     C/O CORPORATE REALTY INC         1450 POYDRAS ST., STE. 404                                              NEW ORLEANS            LA           70112
30297528          Louisiana Revitalization Fund, LLC    601 Poydras St.                  Suite 2775                                                              New Orleans            LA           70130
30206903          Louisville Gas and Electric Company   820 W. Broadway                                                                                          Louisville             KY           40202
29932266          LOUISVILLE WATER COMPANY              550 SOUTH THIRD ST                                                                                       LOUISVILLE             KY           40202
30331936          Name on file                          Address on file
30285051          Name on file                          Address on file
29932275          LOVE PEACE YOGA LLC                   YOGA LOUNGE & BARRE              89 1ST STREET, #207                                                     HUDSON                 OH           44236
30274193          Name on file                          Address on file
30263899          Name on file                          Address on file
30221982          Name on file                          Address on file
30260350          Name on file                          Address on file
30297512          Name on file                          Address on file
30260649          Name on file                          Address on file
30276233          Name on file                          Address on file
                                                                                         510 MEADOWMONT VILLAGE
29960739          LOW TECH TOY CLUB LLC                 DBA THE WOOBLES                  CIRCLE                       STE 311                                    CHAPEL HILL            NC           27517
30292725          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293231          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293245          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293254          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293279          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293053          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293078          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293098          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293112          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293166          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293196          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293211          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30293224          Low Tech Toys Club, LLC               510 Meadowmont Village Cir       Ste 311                                                                 Chapel Hill            NC           27517
30280459          Name on file                          Address on file
30285978          Name on file                          Address on file
30296794          Name on file                          Address on file
30277235          Name on file                          Address on file
30258101          Name on file                          Address on file
30285880          Name on file                          Address on file
30294571          Name on file                          Address on file
30291075          Name on file                          Address on file
30262629          Name on file                          Address on file
30331354          Name on file                          Address on file
30278843          Name on file                          Address on file
30274332          Name on file                          Address on file
30331308          Name on file                          Address on file
30261089          Name on file                          Address on file
30225194          Name on file                          Address on file
30225194          Name on file                          Address on file
29932277          LRG SANTIAM ALBANY LLC                BLUESTONE REAL ESTATE SERVICES   PO BOX 7139                                                             SAN FRANCISCO          CA           94120‐7139
29932280          LTC RETAIL, LLC                       C/O COLLETT & ASSOC., LLC        P.O. BOX 36799                                                          CHARLOTTE              NC           28236‐6799
30297581          Name on file                          Address on file
30258117          Name on file                          Address on file
30273524          Name on file                          Address on file
30280221          Name on file                          Address on file
30291439          Name on file                          Address on file
30297200          Name on file                          Address on file
30262132          Name on file                          Address on file
29951026          LUCIANA SPEARS                        Address on file
30274902          Name on file                          Address on file
30260499          Name on file                          Address on file




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30292531          Name on file                                   Address on file
30223886          Name on file                                   Address on file
                                                                                                      10F, NO.97, Section 2, Nan Kang
29976011          Lucky Star Enterprise & Co., Ltd.              Attn: Elaine Chen, Account Manager   Road                                                                                     Taipei                                            Taiwan
29932334          LUCKY STAR ENTERPRISE AND CO LTD               10F NO.97 SEC.2 NAN KANG ROAD                                                                                                 TAIPEI                            11578           TAIWAN
30251832          Name on file                                   Address on file
30225065          Name on file                                   Address on file
30221906          Name on file                                   Address on file
30225131          Name on file                                   Address on file
30285015          Name on file                                   Address on file
30259145          Name on file                                   Address on file
30273834          Name on file                                   Address on file
30257477          Name on file                                   Address on file
30293148          Name on file                                   Address on file
29932390          LUISA LLAMAS                                   Address on file
30258051          Name on file                                   Address on file
30283463          Name on file                                   Address on file
30285866          Name on file                                   Address on file
29932401          LUMBERMENS MUTUAL CASUALTY CO                  TWO CORPORATE DR #110                                                                                                         LAKE ZURICH          IL           60047
30252711          Name on file                                   Address on file
30252715          Name on file                                   Address on file
30331292          Name on file                                   Address on file
30287780          Name on file                                   Address on file
30263156          Name on file                                   Address on file
30285413          Name on file                                   Address on file
30259833          Name on file                                   Address on file
30280240          Name on file                                   Address on file
30280876          Name on file                                   Address on file
29932410          LUNIESKI & ASSOCIATES                          7645 LYNDALE AVE. S., #250                                                                                                    RICHFIELD            MN           55423
30296483          Name on file                                   Address on file
30260249          Name on file                                   Address on file

30200668          LUPITA GONZALEZ                                C/O LAW OFFICE OF MARIO DAVILA, PLLC ATTN: MARTIN L. PEREZ             PO BOX 3726                                            MCALLEN              TX           78502
30260043          Name on file                                   Address on file
30257979          Name on file                                   Address on file
30253998          Name on file                                   Address on file
30258167          Name on file                                   Address on file
30259489          Name on file                                   Address on file
30262869          Name on file                                   Address on file
30262859          Name on file                                   Address on file
30296743          Name on file                                   Address on file
30227118          Name on file                                   Address on file
29932425          LUZ E. JARAMILLO                               Address on file
29960768          LUZ MORAN                                      Address on file

30296911          LVP Center, LLC and Richmond Road Plaza, LLC   840 East High Street                                                                                                          Lexington            KY           40502
30331767          Name on file                                   Address on file
30280265          Name on file                                   Address on file
30280165          Name on file                                   Address on file
29960788          LYDIA HERNANDE                                 Address on file
30256872          Name on file                                   Address on file
30257208          Name on file                                   Address on file
30263015          Name on file                                   Address on file
30258013          Name on file                                   Address on file
30279142          Name on file                                   Address on file
30262715          Name on file                                   Address on file
30282766          Name on file                                   Address on file
30285844          Name on file                                   Address on file
30222464          Name on file                                   Address on file

30200669          LYNN KILKENNY                                  C/O THE BOTTARO LAW FIRM, LLC        ATTN: GREGORY P. SORBELLO, ESQ. MICHAEL R. BOTTARO, ESQ.         756 EDDY STREET         PROVIDENCE           RI           02903
30257265          Name on file                                   Address on file
30274426          Name on file                                   Address on file
30274430          Name on file                                   Address on file




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  ADDRESS ID                           NAME                        ADDRESS 1                  ADDRESS 2                         ADDRESS 3                       ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30261785          Name on file                        Address on file
29932550          LYNNWOOD TOWER LLC                  PO BOX 749829                                                                                                         LOS ANGELES          CA           90074
30279349          Name on file                        Address on file
30296432          Name on file                        Address on file
30282533          Name on file                        Address on file
30283430          Name on file                        Address on file
30253717          Name on file                        Address on file
30224159          Name on file                        Address on file
29932572          M C CORP                            PO BOX 30344                                                                                                          TAMPA                FL           33630
30292921          Name on file                        Address on file
30259898          Name on file                        Address on file
30257206          Name on file                        Address on file
30283589          Name on file                        Address on file
30276971          Name on file                        Address on file
30261529          Name on file                        Address on file
30273513          Name on file                        Address on file
30261508          Name on file                        Address on file
30285868          Name on file                        Address on file
30261109          Name on file                        Address on file
30296565          Name on file                        Address on file
29932619          MACK13 LLC                          C/O VEC LLC                 35975 WOODWARD AVE, STE 200                                                               BIRMINGHAM           MI           48009
30257092          Name on file                        Address on file
30257913          Name on file                        Address on file
30263421          Name on file                        Address on file
30276239          Name on file                        Address on file
30273698          Name on file                        Address on file
30296850          Name on file                        Address on file
30284142          Name on file                        Address on file
30275912          Name on file                        Address on file
30296269          Name on file                        Address on file
30282999          Name on file                        Address on file
30286075          Name on file                        Address on file
30261523          Name on file                        Address on file
30291287          Name on file                        Address on file
30286658          Name on file                        Address on file
30227494          Name on file                        Address on file
29960848          MADISON COLANTUONO                  Address on file
29932886          MADISON CYPHERT                     Address on file
30263481          Madison Gas and Electric            623 Railroad St                                                                                                       Madison              WI           53703
30289257          Madison Gas and Electric            PO Box 1231                                                                                                           Madison              WI           53788
29932907          MADISON GAS AND ELECTRIC, WI        623 RAILROAD ST                                                                                                       MADISON              WI           53703
30285214          Madison Place LLC                   1334 Maplelawn Dr                                                                                                     Troy                 MI           48084
29960887          MADISON SUBURBAN UTILITY DIST       108 WEST WEBSTER STREET                                                                                               MADISON              TN           37115
30257283          Madison Suburban Utility District   721 Myatt Dr                                                                                                          Madison              TN           37115
30263170          Madison Suburban Utility District   721 Myatt Dr                                                                                                          Madison              TN           37115
29960889          MADISON VICTORY GROUP LLC           C/O PLAID HAT MGMT          1400 MADISON AVE., STE 311                                                                MANKATO              MN           56001
30282036          Madison Victory Group, LLC          c/o Kimberly Ross Clayson   Taft Stettinius & Hollister LLP   27777 Franklin Road            Suite 2500               Southfield           MI           48034
30286006          Name on file                        Address on file
30260485          Name on file                        Address on file
30285601          Name on file                        Address on file
30285329          Name on file                        Address on file
30258666          Name on file                        Address on file
30259594          Name on file                        Address on file
30258923          Name on file                        Address on file
30260948          Name on file                        Address on file
30261773          Name on file                        Address on file
30331386          Name on file                        Address on file
30274565          Name on file                        Address on file
30276710          Name on file                        Address on file
30261300          Name on file                        Address on file
30286152          Name on file                        Address on file
30285994          Name on file                        Address on file
30259683          Name on file                        Address on file
29933088          MAHALA PEARSON                      Address on file




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  ADDRESS ID                           NAME                   ADDRESS 1                        ADDRESS 2                        ADDRESS 3         ADDRESS 4                    CITY        STATE     POSTAL CODE       COUNTRY
30165291          Mahar Jr., Robert John         Address on file
30274789          Name on file                   Address on file
30262206          Name on file                   Address on file
30261171          Name on file                   Address on file
30260255          Name on file                   Address on file
30260625          Name on file                   Address on file
30292728          Name on file                   Address on file
29933095          MAHONING COUNTY SANITARY       761 INDUSTRIAL ROAD                                                                                          YOUNGSTOWN              OH           44509
30259028          Name on file                   Address on file
30284699          Name on file                   Address on file
30261228          Name on file                   Address on file
30331200          Name on file                   Address on file
30287233          Name on file                   Address on file
30222614          Name on file                   Address on file
29933116          MAINE NATURAL GAS, ME          9 INDUSTRIAL PKWY                                                                                            BRUNSWICK               ME           04011
30283680          Name on file                   Address on file
30260227          Name on file                   Address on file
30289117          Name on file                   Address on file
29933131          MAKABE & MAKABE LLC            PROPERTY ID DEW001                PO BOX 6076                                                                HICKSVILLE              NY           11802
30296112          Makabe & Makabe, LLC           1801 South Hills St #200                                                                                     Loa Angeles             CA           90015
29933148          MAKAYLA CLEMENTS               Address on file
30200601          MAKEEBA MCNEELY                C/O FINE, STAUD AND LEVY LLC      ATTN: DAVID M. SANSWEET, ESQ.   1333 RACE STREET                           PHILADELPHIA            PA           19107‐1585
30257723          Name on file                   Address on file
30262741          Name on file                   Address on file
30284929          Name on file                   Address on file
30262547          Name on file                   Address on file
30211401          MALDEN INTERNATIONAL DESIGNS   19 COWAN DRIVE                                                                                               MIDDLEBOROUGH           MA           02346
29933235          MALDEN INTERNATIONAL DESIGNS   19 COWAN DRIVE                                                                                               MIDDLEBORO              MA           02346
30285775          Name on file                   Address on file
30263427          Name on file                   Address on file
30263383          Name on file                   Address on file
30222002          Name on file                   Address on file
30286582          Name on file                   Address on file
30275394          Name on file                   Address on file
30280738          Name on file                   Address on file
30256814          Name on file                   Address on file
29933289          MALONE PLAZA PARTNERS LLC      2926 B FOSTER CREIGHTON DR.                                                                                  NASHVILLE               TN           37204
30273753          Name on file                   Address on file
29933292          MALZINE CO LTD                 79‐6 CHAO‐AN LANE, CHAO‐AN LI     LUKANG TOWN                                                                CHANGHUA HSIEN                                       TAIWAN
30182067          MALZINE CO., LTD.              IRIS CHEN                         79‐6, CHAOAN LANE, CHANAN LI    LUKANG, CHANGHU                            CHANGHUA HSIEN                       50545           TAIWAN R.O.C
30258305          Name on file                   Address on file
29933305          MANCINI PROPERTIES INC         PO BOX 7216                                                                                                  RENO                    NV           89510
30258645          Mancini Properties, Inc.       c/o Ray Quinney & Nebeker P.C.    36 South State Street           Suite 1400                                 Salt Lake City          UT           84111
30285385          Name on file                   Address on file
30282531          Name on file                   Address on file
30283231          Name on file                   Address on file
30258751          Name on file                   Address on file
30275211          Name on file                   Address on file
30256662          Name on file                   Address on file
30285577          Name on file                   Address on file
30223419          Name on file                   Address on file
30257995          Name on file                   Address on file
30294698          Name on file                   Address on file
29933325          MANN ENTERPRISES INC           455 N. CITYFRONT PLAZA DR #2400                                                                              CHICAGO                 IL           60611
30280565          Name on file                   Address on file
30276115          Name on file                   Address on file
30257632          Name on file                   Address on file
30289176          Name on file                   Address on file
30280634          Name on file                   Address on file
30278902          Name on file                   Address on file
30263660          Name on file                   Address on file
30257840          Name on file                   Address on file
30223621          Name on file                   Address on file
30223621          Name on file                   Address on file




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  ADDRESS ID                           NAME                              ADDRESS 1                             ADDRESS 2                        ADDRESS 3          ADDRESS 4                      CITY        STATE     POSTAL CODE        COUNTRY
30282918          Name on file                              Address on file
29933327          MANOR DEVELOPMENT CO                      WELLS FARGO BANK 0535047476            PO BOX 5629                                                                 PORTLAND                  OR           97228
30285766          Name on file                              Address on file
30276109          Name on file                              Address on file
30287270          Name on file                              Address on file
30285734          Name on file                              Address on file
30222525          Name on file                              Address on file
30273562          Name on file                              Address on file
30257177          Name on file                              Address on file

29933340          MAP BELTON LLC                            C/O MIDLAND ATLANTIC DEVELOPMENT       8044 MONTGOMERY ROAD # 710                                                  CINCINNATI                OH           45236
30259602          Name on file                              Address on file
29960940          MARAL MARDIROSSIAN                        Address on file
30262322          Name on file                              Address on file
30282986          Name on file                              Address on file
30276421          Name on file                              Address on file
30258430          Name on file                              Address on file
30274134          Name on file                              Address on file
30262134          Name on file                              Address on file
30286892          Name on file                              Address on file
30284274          Name on file                              Address on file
30263174          Name on file                              Address on file
29933396          MARCO CONTRACTORS INC                     100 COMMONWEALTH DRIVE                                                                                             WARRENDALE                PA           15086
30224831          Marco Contractors Inc.                    Attn to: Joseph Sutphin                100 Commonwealth Drive                                                      Warrendale                PA           15086
29933401          MARCO MUSCELLI                            Address on file
29933404          MARCORP MARKETING CONSULTANTS             10 EAGLE ROAD                          IMBONINI BUSINESS PARK                                                      SHAKA'S HEAD, KW                       4381            SOUTH AFRICA
30165805          Marcorp Marketing Consultants (Pty) Ltd   Green Leas                             Hampton Green                    Box                                        Stroud                                 GL6 9AD         United Kingdom
30164004          Marcorp Marketing Consultants (Pty) Ltd   Attn: Miles Rasmussen                  Green Leas, Hampton Green, Box                                              Stroud                                 GL69AD          United Kingdom
30200581          MARCO'S PIZZA                             1459 FOX RUN PARKWAY                                                                                               OPELIKA                   AL           36801
30283982          Marcum LLP                                PO Box 95000‐2288                                                                                                  Philadelphia              PA           19195
30274821          Name on file                              Address on file
30260751          Name on file                              Address on file
30259811          Name on file                              Address on file
29960962          MARGARET A. WALSH                         Address on file
29933452          MARGARET CROCKER                          Address on file
29933489          MARGARET MOORE                            Address on file
29960991          MARGARET R. SCHULTZ                       Address on file
30200635          MARGARET VENTRINI                         Address on file
29945558          Margraf, Teresa                           Address on file
30297285          Name on file                              Address on file
30200671          MARIA ARRIAGA SANCHEZ                     C/O LAHMANI LAW, APC                   ATTN: NICOLE LAHMANI, ESQ.       1539 E. FOURTH STREET                      SANTA ANA                 CA           92701
30200633          MARIA CENICEROS                           Address on file

30200672          MARIA DELACRUZ                            C/O LAW OFFICES OF MARC S. WARD, LLC   ATTN: ANTHONY M. CECALA, ESQ.    1030 WEST PATRICK STREET                   FREDERICK                 MD           21703
29933601          MARIA GOMEZ                               Address on file
29950329          MARIA JAIME DE GARCIA                     Address on file
29950334          MARIA KULIG                               Address on file
30200673          MARIA MARGARITA AGUILAR MARTINEZ          Law Offices Of Jacob Emrani, APC       ATTN: Robert L. Booker II        714 W. Olympic Blvd, Ste 300               LOS ANGELES               CA           90015
30251289          Name on file                              Address on file
29933748          MARIBEL MORENO                            Address on file
29933749          MARIBEL MORENO                            Address on file
30200607          MARILYN MCCARTHY                          Address on file
29933853          MARINER PLAZA                             TALCOR COMMERCIAL REAL ESTATE          1018 THOMASVILLE RD STE 200A                                                TALLAHASSEE               FL           32303
30263559          Name on file                              Address on file
29933855          MARINETTE WATER UTILITY                   501 WATER ST                                                                                                       MARINETTE                 WI           54143
30280163          Name on file                              Address on file
29953059          MARION MUNICIPAL UTILITIES, IN            1540 N. WASHINGTON STREET                                                                                          MARION                    IN           46952
30260803          Name on file                              Address on file
29933876          MARISA R. MACHADO ROJAS                   Address on file
29934002          MARK RICHARDS ENTERPRISES INC             85 HOFFMAN LANE                        SUITE A                                                                     ISLANDIA                  NY           11749
29975937          MARK RICHARDS ENTERPRISES, INC            215 ROGERS WAY SUITE N                                                                                             WEST HAMPTON BEACH        NY           11978
30262302          Name on file                              Address on file
29961048          MARKET PLACE SHOPPING CENTER LLC          C/O FRANKLIN STREET                    1311 N. WESTSHORE BLVD., #200                                               TAMPA                     FL           33607
29961050          MARKET POINTE I LLC                       15807 E INDIANA AVENUE                                                                                             SPOKANE VALLEY            WA           99216




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  ADDRESS ID                           NAME                     ADDRESS 1                             ADDRESS 2                           ADDRESS 3          ADDRESS 4                    CITY        STATE     POSTAL CODE           COUNTRY
30287975          Market Pointe I, LLC            15807 E Indiana Avenue                                                                                                 Spokane Valley          WA           99216
30289050          Market Pointe I, LLC            15807 E Indiana Avenue                                                                                                 Spokane Valley          WA           99216
30261465          Name on file                    Address on file
30259234          Name on file                    Address on file
30257967          Name on file                    Address on file
30278878          Name on file                    Address on file
30279209          Name on file                    Address on file
29934073          MARPLE XYZ ASSOCIATES           CO BLANK ASCHKENASY PROPERTIES           PO BOX 444                                                                    EMERSON                 NJ           07630
30164029          Marple XYZ Associates, L.P.     Paul Ashkenasy, Managing Partner         925 West Lancaster Avenue          Suite 200                                  Bryn Mawr               PA           19010
                                                                                           925 West Lancaster Avenue, Suite
30165865          Marple XYZ Associates, L.P.     Attn: Paul Ashkenasy, Managing Partner   200                                                                           Bryn Mawr               PA           19010
30281706          Name on file                    Address on file
30289506          Name on file                    Address on file
30283105          Name on file                    Address on file
30293473          Name on file                    Address on file
30293479          Name on file                    Address on file
30293475          Name on file                    Address on file
30260981          Name on file                    Address on file
30263078          Name on file                    Address on file
30263359          Name on file                    Address on file
30286771          Name on file                    Address on file
30223884          Name on file                    Address on file
30274428          Name on file                    Address on file
30278848          Name on file                    Address on file
30276523          Name on file                    Address on file
30289280          Name on file                    Address on file
30292016          Name on file                    Address on file
30296920          Name on file                    Address on file
30294956          Name on file                    Address on file
30331825          Name on file                    Address on file
30260864          Name on file                    Address on file
30286383          Name on file                    Address on file
29934122          MARSHFIELD CENTRE LLC           631 S HICKORY ST                                                                                                       FOND DU LAC             WI           54935
30260258          Name on file                    Address on file
30200847          MARTCO EXPORT PRIVATE LIMITED   LODHIPUR RAJPUT, DELHI, ROAD                                                                                           MORADABAD                            244001          INDIA
30274364          Name on file                    Address on file
30256610          Name on file                    Address on file
30260521          Name on file                    Address on file
29934130          MARTEN TRANSPORT SERVICES       129 MARTEN STREET                                                                                                      MONDOVI                 WI           54755
30255925          Name on file                    Address on file
30224268          Name on file                    Address on file
29934137          MARTHA CORRAL                   Address on file
29961079          MARTHA N. MOTA                  Address on file
29934178          MARTIN MORENO                   Address on file
30278793          Name on file                    Address on file
30278764          Name on file                    Address on file
30273676          Name on file                    Address on file
30290120          Name on file                    Address on file
30331867          Name on file                    Address on file
30281384          Name on file                    Address on file
30261876          Name on file                    Address on file
30259937          Name on file                    Address on file
30257392          Name on file                    Address on file
30331393          Name on file                    Address on file
30285153          Name on file                    Address on file
30284622          Name on file                    Address on file
30287777          Name on file                    Address on file
30283009          Name on file                    Address on file
30258787          Name on file                    Address on file
30258414          Name on file                    Address on file
30274065          Name on file                    Address on file
30261318          Name on file                    Address on file
30295327          Name on file                    Address on file
30293541          Name on file                    Address on file




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30274326          Name on file                                  Address on file
30261927          Name on file                                  Address on file
30296678          Name on file                                  Address on file
30286224          Name on file                                  Address on file
30261644          Name on file                                  Address on file
30330936          Martinez, Maria Margarita Aguilar             Address on file
30287653          Name on file                                  Address on file
30262641          Name on file                                  Address on file
30258519          Name on file                                  Address on file
30276316          Name on file                                  Address on file
30331033          Name on file                                  Address on file
30229269          Name on file                                  Address on file
30200865          MARVEL FRAGRANCES COMPANY                     401 A‐WING FULCRUM BUILDING           SAHAR ROAD, ASHOK NAGAR         ANDHERI EAST                               MUMBAI                            400099          INDIA
                                                                                                      R.S. NO. 228/1,228/2 & 231/1,
29964956          MARVELLITE AROMATICS PRIVATE LIMITE           PLOT NO 19 TO 22 & 35 TO 38, SECTOR   MATHAK                          GANDHIDHAM MUNDRA ROAD                     GUJARAT                           370110          INDIA
30292697          Marwedel, Minichello & Reeb, P.C.             303 W. Madison Street                 Suite 1100                                                                 Chicago              IL           60606
29917059          MARY ANN GOORY                                Address on file
29934275          MARY ELLEN PRODUCTS                           9437 GARFIELD AVE S, SUITE 110                                                                                   BLOOMINGTON          MN           55420
30222843          Mary Ellen Products, Inc.                     2910 Waters Rd.                       STE 160                                                                    Eagan                MN           55121
29961125          MARY GRESKO                                   Address on file
29934332          MARY KOTLINSKI HANVILLE                       Address on file
29934335          MARY L. WORRALL                               Address on file
29934470          MARYBETH SHEA                                 Address on file
30296088          Name on file                                  Address on file
30224185          Name on file                                  Address on file
30276380          Name on file                                  Address on file
30331705          Name on file                                  Address on file
29934495          MASON A. ANDERSON                             Address on file
29934498          MASON CITY PUBLIC UTILITIES, IA               10 FIRST STREET NORTHWEST                                                                                        MASON CITY           IA           50401
30285182          Name on file                                  Address on file
30261242          Name on file                                  Address on file
30296004          Name on file                                  Address on file
30296018          Name on file                                  Address on file
30274479          Name on file                                  Address on file
                  Massachusetts Electric Company DBA National
30297310          Grid                                          300 Erie Boulevard West                                                                                          Syracuse             NY           13202
30280619          Name on file                                  Address on file
30260677          Name on file                                  Address on file
29934520          MASTER MAGNETICS INC                          1211 ATCHISON COURT                                                                                              CASTLE ROCK          CO           80109
30192637          Masterpiece Art Gallery                       4950 South Santa Fe Avenue                                                                                       Vernon               CA           90058
29949551          MASTERPIECE ART GALLERY                       4950 SOUTH SANTA FE AVENUE                                                                                       VERNON               CA           90058
30165114          MasterPieces Puzzle Co., Inc.                 12475 N Rancho Vistoso Blvd.                                                                                     Oro Valley           AZ           85755
29934523          MASTERPIECES PUZZLE COMPANY                   12475 N RANCHO VISTOSO BLVD                                                                                      ORO VALLEY           AZ           85755
29934523          MASTERPIECES PUZZLE COMPANY                   12475 N RANCHO VISTOSO BLVD                                                                                      ORO VALLEY           AZ           85755
30282461          Name on file                                  Address on file
30274842          Name on file                                  Address on file
30261919          Name on file                                  Address on file
30259041          Name on file                                  Address on file
30286186          Name on file                                  Address on file
30257987          Name on file                                  Address on file
30296729          Name on file                                  Address on file
30287098          Name on file                                  Address on file
30274697          Name on file                                  Address on file
30276616          Name on file                                  Address on file
30279027          Name on file                                  Address on file
30292438          Name on file                                  Address on file
29934558          MATR/TOWNSHIP OF ROBINSON,PA                  4200 CAMPBELLS RUN ROAD                                                                                          PITTSBURGH           PA           15205
30228901          Name on file                                  Address on file
30262679          Name on file                                  Address on file
30278584          Name on file                                  Address on file
29949552          MATTHEWS INTERNATIONAL CORP                   W229 N2510 DUPLAINVILLE RD                                                                                       WAUKESHA             WI           53186
30297520          Name on file                                  Address on file
30259807          Name on file                                  Address on file
30285850          Name on file                                  Address on file




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30285055          Name on file                          Address on file
30260599          Name on file                          Address on file
30224058          Name on file                          Address on file
30257436          Name on file                          Address on file
30258446          Name on file                          Address on file
30257949          Name on file                          Address on file
30285313          Name on file                          Address on file
30281389          Name on file                          Address on file
30274569          Name on file                          Address on file
30284221          Name on file                          Address on file
30284232          Name on file                          Address on file
30331520          Name on file                          Address on file
30285427          Name on file                          Address on file
29934663          MAURICIO MESSIAS DE PAULA             Address on file
30297265          Name on file                          Address on file
30277556          Name on file                          Address on file
30291877          Name on file                          Address on file
29934668          MAVERICK BOX V LLC                    4100 E OCEAN BLVD                                                                                        LONG BEACH          CA           90803
30273993          Name on file                          Address on file
30259685          Name on file                          Address on file
30286843          Name on file                          Address on file
29949553          MAY FUNG PLASTIC FACTORY (HK) LIMIT   9‐13 WONG CHUK YEUNG ST SHATIN                                                                           HONG KONG                                        HONG KONG
29975521          MAY FUNG PLASTIC FACTORY (HK) LTD     ROOM 7, 10/F, YAN HING CENTRE    9‐13 WONG CHUK YEUNG STREET                                             HONG KONG                                        HONG KONG
30279783          Name on file                          Address on file
30289658          Name on file                          Address on file
30276988          Name on file                          Address on file
30261316          Name on file                          Address on file
30279215          Name on file                          Address on file
30200830          MAYA DONENFELD ROYALTY                Address on file
30288687          Name on file                          Address on file
30256993          Name on file                          Address on file
30222598          Name on file                          Address on file
30296366          Name on file                          Address on file
30293060          Name on file                          Address on file
30255890          Name on file                          Address on file
30284766          Name on file                          Address on file
30257064          Name on file                          Address on file
30262138          Name on file                          Address on file
30280151          Name on file                          Address on file
30231663          Name on file                          Address on file
30263363          Name on file                          Address on file
30260003          Name on file                          Address on file
30275374          Name on file                          Address on file
30262180          Name on file                          Address on file
30296255          Name on file                          Address on file
30224144          MCA Financial Group Ltd.              4909 N. 44th Street                                                                                      Phoenix             AZ           85018
30280469          Name on file                          Address on file
30287498          Name on file                          Address on file
30273630          Name on file                          Address on file
30260455          Name on file                          Address on file
30285005          Name on file                          Address on file
30260621          Name on file                          Address on file
29934747          MCCALL KWIK SEW                       120 BROADWAY 34TH FLOOR                                                                                  NEW YORK            NY           10271
29934748          MCCALL PATTERN COMPANY                1411 BROADWAY                    FLOOR 5                                                                 NEW YORK            NY           10018
29934749          MCCALL SEE & SEW                      11 PENN PLAZA ‐ 19TH FLOOR                                                                               NEW YORK            NY           10001
30286544          Name on file                          Address on file
30262565          Name on file                          Address on file
30259519          Name on file                          Address on file
30225061          Name on file                          Address on file
30293810          Name on file                          Address on file
30284971          Name on file                          Address on file
30287073          Name on file                          Address on file
30284494          Name on file                          Address on file
30289105          Name on file                          Address on file




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  ADDRESS ID                           NAME               ADDRESS 1                 ADDRESS 2                     ADDRESS 3                      ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30262689          Name on file                Address on file
30223029          Name on file                Address on file
30276091          Name on file                Address on file
30273761          Name on file                Address on file
30274485          Name on file                Address on file
30296356          Name on file                Address on file
30286204          Name on file                Address on file
30294962          Name on file                Address on file
30256568          Name on file                Address on file
30261414          Name on file                Address on file
30259650          Name on file                Address on file
30257519          Name on file                Address on file
30286115          Name on file                Address on file
30287473          Name on file                Address on file
30275231          Name on file                Address on file
30282333          Name on file                Address on file
30261490          Name on file                Address on file
30286805          Name on file                Address on file
30262559          Name on file                Address on file
30274587          Name on file                Address on file
30257382          Name on file                Address on file
30279513          Name on file                Address on file
30258119          Name on file                Address on file
30256842          Name on file                Address on file
30280642          Name on file                Address on file
30284995          Name on file                Address on file
30275422          Name on file                Address on file
30275289          Name on file                Address on file
30274635          Name on file                Address on file
30288845          Name on file                Address on file
30286795          Name on file                Address on file
30260481          Name on file                Address on file
30273820          Name on file                Address on file
30261718          Name on file                Address on file
30273876          Name on file                Address on file
30280205          Name on file                Address on file
30278852          Name on file                Address on file
30257628          Name on file                Address on file
30256650          Name on file                Address on file
29934752          MCCUE CORPORATION           PO BOX 200639                                                                                                  DALLAS                TX           75320‐0639
30257862          Name on file                Address on file
30221910          Name on file                Address on file
30256778          Name on file                Address on file
30279247          Name on file                Address on file
30259043          Name on file                Address on file
30263196          Name on file                Address on file
30259719          Name on file                Address on file
30289368          Name on file                Address on file
30262745          Name on file                Address on file
30224189          Name on file                Address on file
30289525          Name on file                Address on file
30262422          Name on file                Address on file
30285892          Name on file                Address on file
30262063          Name on file                Address on file
30280882          MCD‐RC CA‐EI Cerrito, LLC   Regency Centers, LP         Attn: Legal Dept            1 Independent Drive            Suite 114               Jacksonville          FL           32202
29934753          MCD‐RC CA‐EL CERRITO LLC    C/O REGENCY CENTERS CORP.   ONE INDEPENDENT DR., #114                                                          JACKSONVILLE          FL           32202‐5019
30258181          Name on file                Address on file
30258494          Name on file                Address on file
30260322          Name on file                Address on file
30261341          Name on file                Address on file
30274925          Name on file                Address on file
30276847          Name on file                Address on file
30276831          Name on file                Address on file
30274878          Name on file                Address on file




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  ADDRESS ID                           NAME                       ADDRESS 1                   ADDRESS 2                      ADDRESS 3            ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30289413          Name on file                       Address on file
30274144          Name on file                       Address on file
30274140          Name on file                       Address on file
30278641          Name on file                       Address on file
30284851          Name on file                       Address on file
30259857          Name on file                       Address on file
30251368          Name on file                       Address on file
30258424          Name on file                       Address on file
30274515          Name on file                       Address on file
30278450          Name on file                       Address on file
30276781          Name on file                       Address on file
30290361          Name on file                       Address on file
30274205          Name on file                       Address on file
30262326          Name on file                       Address on file
30281209          Name on file                       Address on file
30281955          Name on file                       Address on file
30287262          Name on file                       Address on file
30225088          Name on file                       Address on file
29961264          MCGRATH‐RHD PARTNERS LP            PO BOX 845740                                                                                            LOS ANGELES          CA           90084‐5723
30296209          Name on file                       Address on file
30280099          Name on file                       Address on file
30279037          Name on file                       Address on file
30258702          Name on file                       Address on file
30229415          Name on file                       Address on file
30286111          Name on file                       Address on file
30277578          Name on file                       Address on file
30257931          Name on file                       Address on file
30285239          Name on file                       Address on file
30279342          Name on file                       Address on file
30256950          Name on file                       Address on file
30281368          Name on file                       Address on file
30289374          Name on file                       Address on file
30331922          Name on file                       Address on file
29961266          MCKAY COMMERCIAL PROPERTIES LLC    76 CENTENNIAL LOOP SUITE D                                                                               EUGENE               OR           97401
30292539          McKay Commercial Properties, LLC   c/o Margolis Edelstein       Attn: James E. Huggett, Esq.   300 Delaware Avenue, Suite 800               Wilmington           DE           19801
30275008          Name on file                       Address on file
30285902          Name on file                       Address on file
30290141          Name on file                       Address on file
30288905          Name on file                       Address on file
30257214          Name on file                       Address on file
30286754          Name on file                       Address on file
30258565          Name on file                       Address on file
30287211          Name on file                       Address on file
30279649          Name on file                       Address on file
30284463          Name on file                       Address on file
30331942          Name on file                       Address on file
30224319          Name on file                       Address on file
30258474          Name on file                       Address on file
30290237          Name on file                       Address on file
30222738          Name on file                       Address on file
30260119          Name on file                       Address on file
30262873          Name on file                       Address on file
30259109          Name on file                       Address on file
30258955          Name on file                       Address on file
30285101          Name on file                       Address on file
30222841          Name on file                       Address on file
30255898          Name on file                       Address on file
30287174          Name on file                       Address on file
30293659          Name on file                       Address on file
30259057          Name on file                       Address on file
30289664          Name on file                       Address on file
29934806          MCMASTER‐CARR SUPPLY COMPANY       PO BOX 7690                                                                                              CHICAGO              IL           60680‐7690
30227344          Name on file                       Address on file
30257646          Name on file                       Address on file




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30290122          Name on file                                Address on file
30291307          Name on file                                Address on file
29934809          MCMINNVILLE WATER & LIGHT                   855 NE MARSH LANE                                                                                                                   MCMINNVILLE              OR           97128‐9309
30165838          McMinnville Water and Light Department      PO Box 638                                                                                                                          McMinnville              OR           97128
29909694          MCNALLY‐JOHNSON, AYSHA                      Address on file
30296941          Name on file                                Address on file
30286767          Name on file                                Address on file
30289432          Name on file                                Address on file
30297518          McNeely, Makeeba                            Address on file
30225368          Name on file                                Address on file
30278030          Name on file                                Address on file
30276618          Name on file                                Address on file
30294851          Name on file                                Address on file
30261568          Name on file                                Address on file
30281516          Name on file                                Address on file
30280248          Name on file                                Address on file
30295761          MCS Far East, Inc.                          2280 Newlins Mill Rd                                                                                                                Easton                   PA           18045
30331166          MCS Far East, Inc.                          2280 Newlins Mill Rd                                                                                                                Easton                   PA           18045
30260095          Name on file                                Address on file
30331792          Name on file                                Address on file
30287347          Name on file                                Address on file
30293127          Name on file                                Address on file
29934815          MCWAIN LIMITED PARTNERSHIP                  C/O CUSHMAN & WAKEFIELD #SF011             PO BOX 511335                                                                            LOS ANGELES              CA           90051‐7890
30331810          McWain Limited Partnership                  c/o Cushman & Wakefield                    200 SW Market St.                 Suite 200                                              Portland                 OR           97201
30297532          Name on file                                Address on file
29934822          MDM EQUITY 2012 LLC                         C/O DENNY ELWELL COMPANY LC                PO BOX 187                                                                               ANKENY                   IA           50021
                  MDR Dover Limited Partnership, a Delaware                                              Attn: Robert Delapeyrouse & Peggie
30297373          limited partnership                         c/o Capitol Investments Associates Corp.   Zinnamon                           8101 Glenbrook Road           Suite 220               Bethesda                 MD           20814
30200808          MDR DOVER LP                                C/O DIERMAN REALTY GROUP                   2071 CHAIN BRIDGE RD., #320                                                              VIENNA                   VA           22182
29934826          ME AND MY BIG IDEAS                         17777 NEWHOPE STREET                                                                                                                FOUNTAIN VALLEY          CA           92708
30280007          Name on file                                Address on file
30294190          Name on file                                Address on file
30259532          Name on file                                Address on file
30280525          Name on file                                Address on file
30256526          Name on file                                Address on file
30287367          Name on file                                Address on file
29951231          MEDFORD WATER COMMISSION, OR                200 SOUTH IVY STREET                                                                                                                MEDFORD                  OR           97501‐3189
30356303          Medina County Sanitary Engineers            PO Box 542                                                                                                                          Medina                   OH           44258
29934842          MEDINA COUNTY SANITARY ENGINEERS            791 W SMITH ROAD                                                                                                                    MEDINA                   OH           44256
29934844          MEDINA GRANDE SHOPS LLC                     C/O NASSIMI REALTY LLC                     550 SEVENTH AVE., 15TH FLOOR                                                             NEW YORK                 NY           10018
30273952          Name on file                                Address on file
30278995          Name on file                                Address on file
30290420          Name on file                                Address on file
30285573          Name on file                                Address on file
30261622          Name on file                                Address on file
30276258          Name on file                                Address on file
30279698          Name on file                                Address on file
30275356          Name on file                                Address on file
30279518          Name on file                                Address on file
29935005          MEGUMI L INOUYE                             Address on file
30275960          Name on file                                Address on file
30256768          Name on file                                Address on file
30262818          Name on file                                Address on file
29935021          MEKOTEX PVT LIMITED                         PLOT #495, DEH LANDHI                      MAIN NATIONAL HIGHWAY             KARACHI                                                SINDH                                 75160           PAKISTAN
30331284          Mekotex Pvt Limited                         Plot 495 Deh Landhi                        Main Natl Hwy                                                                            Karachi                               75160           Pakistan
29935056          MELANIE K. CORGIAT                          Address on file
29935072          MELANIE ROONEY                              Address on file
30277036          Name on file                                Address on file
30258057          Name on file                                Address on file
29961372          MELINDA LOCKEMER                            Address on file
29935136          MELISSA CLOTHIER                            Address on file
29935165          MELISSA GATES                               Address on file
29935176          MELISSA HIATT                               Address on file
29935212          MELISSA PALLINI                             Address on file




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  ADDRESS ID                           NAME                         ADDRESS 1                         ADDRESS 2                      ADDRESS 3                ADDRESS 4                CITY        STATE     POSTAL CODE   COUNTRY
30274497          Name on file                          Address on file
30273636          Name on file                          Address on file
30261556          Name on file                          Address on file
30274623          Name on file                          Address on file
30223023          Name on file                          Address on file
30261513          Name on file                          Address on file
30260274          Name on file                          Address on file
30227748          Name on file                          Address on file
30259795          Name on file                          Address on file
30275059          Name on file                          Address on file
30224947          Memphis Light, Gas & Water            POB 430                                                                                                           Memphis             TN           38101
30231864          Memphis Light, Gas & Water            POB 430                                                                                                           Memphis             TN           38101
29935326          MEMPHIS LIGHT, GAS & WATER DIVISION   245 SOUTH MAIN STREET                                                                                             MEMPHIS             TN           38103
30233013          Name on file                          Address on file
30257955          Name on file                          Address on file
30333045          Name on file                          Address on file
30273842          Name on file                          Address on file
30261854          Name on file                          Address on file
30261915          Name on file                          Address on file
30258817          Name on file                          Address on file
30263035          Name on file                          Address on file
30263224          Name on file                          Address on file
30221962          Name on file                          Address on file
30286012          Name on file                          Address on file
30256666          Name on file                          Address on file
30261985          Name on file                          Address on file
30279748          Name on file                          Address on file
30218607          Name on file                          Address on file
30355707          Name on file                          Address on file
30331288          Name on file                          Address on file
30296338          Name on file                          Address on file
30256590          Name on file                          Address on file
30260564          Name on file                          Address on file
30293309          Name on file                          Address on file
30292798          Name on file                          Address on file
30278053          Name on file                          Address on file
30274647          Name on file                          Address on file
30217880          Name on file                          Address on file
30274959          Name on file                          Address on file
30284815          Name on file                          Address on file
30292595          Name on file                          Address on file
30274015          Name on file                          Address on file
30273536          Name on file                          Address on file
30260159          Name on file                          Address on file
30293160          Name on file                          Address on file
30261674          Name on file                          Address on file
30291700          Name on file                          Address on file
30286712          Name on file                          Address on file
30217648          Name on file                          Address on file
30257301          Name on file                          Address on file
30291094          Name on file                          Address on file
30222780          Messenger, Maria L                    Address on file
30263266          Name on file                          Address on file
30262200          Name on file                          Address on file
30273688          Name on file                          Address on file
30258893          Name on file                          Address on file
30273928          Name on file                          Address on file
30200791          META PLATFORMS INC                    15161 COLLECTIONS CTR DR                                                                                          CHICAGO             IL           60693

30280623          Meta Platforms, Inc.                  McMahon Serepca LLP               c/o David Serepca, Esq.      1900 South Norfolk Street, Suite 350               San Mateo           CA           94403
30256670          Name on file                          Address on file
30277040          Met‐Ed                                101 Crawford's Corner Rd          Bldg #1                      Suite 1‐511                                        Holmdel             NJ           07733
29935387          MET‐ED/371422                         76 SOUTH MAIN STREET                                                                                              AKRON               OH           44308
29935389          METLIFE CORE PROPERTY REIT LLC        MCP‐WELLINGTON LLC C/O PEBB MGR   7900 GLADES RD, #600                                                            BOCA RATON          FL           33434




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  ADDRESS ID                           NAME                                 ADDRESS 1                               ADDRESS 2                             ADDRESS 3         ADDRESS 4                   CITY        STATE     POSTAL CODE       COUNTRY
30200821          METLIFE LEGAL PLANS INC                    DEPT 781523, PO BOX 78000                                                                                                  DETROIT                MI           48278‐1523

30182172          Metro Group (Industrial) Limited           Rm 1616, 16/F, Vanta Industrial Centre     21‐33 Tai Lin Pai Road, Kwai Chung   N.T.                                       Hong Kong                                           Hong Kong
29935391          METRO GROUP (INDUSTRIAL) LTD               FLAT D3 4/FL., KA TO FACTORY BLDG          CHEUNG SHA WAN                                                                  KOWLOON                             999077          HONG KONG

30182211          Metro Group (Industrial) Ltd.              1616, 16/F, Vanta Industrial Centre        21‐33 Tai Lin Pai Road, Kwai Chung   N.T.                                       Hong Kong                                           Hong Kong
29935394          METRO TRAILER LEASING INC                  100 METRO PARKWAY                                                                                                          PELHAM                 AL           35124
30181394          Metro Trailer Leasing, Inc.                Megan Bryan                                1255 S. River Industrial Blvd SE                                                Atlanta                GA           30315
29935396          METRO WATER SERVICES TN                    1700 THIRD AVENUE NORTH                                                                                                    NASHVILLE              TN           37208
30200730          METROPOLITAN GROUP PROPERTY                AND CASUALTY INSURANCE COMPANY             PO BOX 8500‐783895                                                              PHILADELPHIA           PA           19178
29935401          METROPOLITAN ST. LOUIS SEWER DIST/437      2350 MARKET STREET                                                                                                         ST. LOUIS              MO           63103‐2555
                                                                                                        7350 WORLD COMMUNICATIONS
29935405          METROPOLITAN UTILITIES DISTRIC/2166/3600   METROPOLITAN UTILITIES DISTRICT            DR.                                                                             OMAHA                  NE           68122‐4041
30260493          Name on file                               Address on file
30294696          Name on file                               Address on file
30289417          Name on file                               Address on file
30279544          Name on file                               Address on file
30285299          Name on file                               Address on file
30275205          Name on file                               Address on file
30275099          Name on file                               Address on file
30275366          Name on file                               Address on file
30261467          Name on file                               Address on file
30274768          Name on file                               Address on file
30262462          Name on file                               Address on file
30296219          Name on file                               Address on file
30285279          Name on file                               Address on file
30285954          Name on file                               Address on file
30227128          Name on file                               Address on file
30260954          Name on file                               Address on file
30277026          Name on file                               Address on file
30291223          Name on file                               Address on file
30263027          Name on file                               Address on file
30297522          Name on file                               Address on file
29935414          MFBY OCALA LLC                             C/O RD MANAGEMENT LLC                      810 7TH AVE, 10TH FLOOR                                                         NEW YORK               NY           10019
29935416          MFN EQUITIES LLC                           ATTN EDWARD EDEN                           244 W 39TH ST, 4TH FL                                                           NEW YORK               NY           10018
30200745          MGP XII REIT LLC                           MGP XII SUNRISE VILLAGE LLC 803‐36         425 CALIFORNIA ST 10TH FL                                                       SAN FRANCISCO          CA           94104
29935454          MIA PEREZ                                  Address on file

30335955          Miami Dade Water and Sewer Department      Attn: Collection Branch/ Bankruptcy Unit   P.O. Box 149089                                                                 Coral Gables           FL           33114
30287166          Name on file                               Address on file
30200674          MICHAEL WITCHER                            ATTN: RAYMOND GHERMEZIAN                   8383 WILSHIRE BLVD.                  SUITE 1030                                 BEVERLY HILLS          CA           90211
30281733          Name on file                               Address on file
30262567          Name on file                               Address on file
29961504          MICHELE BROWN                              Address on file
29961508          MICHELE JOSEPH                             Address on file
30200612          MICHELLE COOPER                            Address on file
29961517          MICHELLE E. CORREA                         Address on file
29935860          MICHELLE RITTER                            Address on file
30254860          Name on file                               Address on file
30160157          MICHIGAN GAS UTILITIES                     PO BOX 19003                                                                                                               GREEN BAY              WI           54307‐9003
30285031          Name on file                               Address on file
29935937          MICROFRAME CORPORATION                     604 SOUTH 12TH ST.                                                                                                         BROKEN ARROW           OK           74012
30292809          Microsoft Corporation                      c/o Fox Rothschild LLP                     Attn: David P. Papiez                1001 4th Ave, Suite 4400                   Seattle                WA           98154
30200758          MICROSOFT ONLINE INC                       PO BOX 847543                                                                                                              DALLAS                 TX           75284‐7543
                                                             N GENEVA COMMONS LLC C/O MID‐
29935941          MIDAMCO                                    AMERIC                                     3333 RICHMOND RD., #350                                                         BEACHWOOD              OH           44122
30165168          MidAmerican Energy Company                 PO Box 4350 ‐ Credit                                                                                                       Davenport              IA           52808
30200571          MIDAMERICAN ENERGY COMPANY                 PO BOX 657                                                                                                                 DES MOINES             IA           50306‐0657
29935946          MIDAMERICAN ENERGY SERVICES LLC            4299 NW URBANDALE DR                                                                                                       URBANDALE              IA           50322
30278580          MidAmerican Energy Services, LLC           PO Box 8019                                                                                                                Davenport              IA           52808‐4290
30217572          Middle Tennessee Electric                  PO Box 330008                                                                                                              Murfreesboro           TN           37133
29935949          MIDDLE TENNESSEE ELECTRIC                  555 NEW SALEM HWY                                                                                                          MURFREESBORO           TN           37129
30296492          Name on file                               Address on file




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29935956          MIDDLETON MUNICIPAL ELECTRIC DEPARTMENT 197 NORTH MAIN STREET                                                                                                                   MIDDLETON              MA           01949‐1655
30278466          Name on file                               Address on file
29961542          MIDLO YOUNGER LLC                          PO BOX 674980                                                                                                                        DALLAS                 TX           75267‐4980
                  Midtown Industrial Center, LLC and JCRS II
30281484          Colfax, LLC                                Katie Mitchell                               1805 S. Bellaire St.            Ste.400                                                 Denver                 CO           80222

29961549          MIDTOWN INDUSTRIAL CTR LLC                      MIDTOWN COMMONS C/O MATRIX GRP          1805 S BELLAIRE ST #400                                                                 DENVER                 CO           80222
29961550          MIDWAY MARKET SQ ELYRIA LLC                     C/O MADISON PROPERTIES                  3611 14TH AVE., #420                                                                    BROOKLYN               NY           11218
30168046          Midway Market Square LLC                        3611 14th Ave, Suite 420                                                                                                        Brooklyn               NY           11218
30194020          Midway Market Square LLC                        3611 14th Ave, Suite 420                                                                                                        Brooklyn               NY           11218
30280913          Midway Shopping Center, L.P.                    Regency Centers, LP                     Attn: Legal Dept                1 Independent Drive            Suite 114                Jacksonville           FL           32202
30274085          Midwest Bioclean Inc.                           PO Box 7191                                                                                                                     Canton                 OH           44705

29935961          MIDWEST CENTERS LP                              MACERICH MGMT CO, ITF (AMES LINCOLN DEPT #880549, PO BOX 29650                                                                  PHOENIX                AZ           85038‐9650
30281921          Name on file                                    Address on file
30273836          Name on file                                    Address on file
30251335          Name on file                                    Address on file
29935967          MIGHTY MITES ELK RIVER                          140 E. HINKS LANE                                                                                                               SIOUX FALLS            SD           57104
30278987          Mighty Mites Elk River, LLC                     140 East Hinks Lane                                                                                                             Sioux Falls            SD           57104
30282266          Name on file                                    Address on file
29936032          MIKE KENNEDY                                    Address on file
30274320          Name on file                                    Address on file
30226185          Name on file                                    Address on file
30257190          Name on file                                    Address on file
30275002          Name on file                                    Address on file
29936053          MILAN REAL ESTATE INVESTMENTS LLC               PO BOX 846924                                                                                                                   LOS ANGELES            CA           90084‐6924
30288689          Name on file                                    Address on file
30192744          Milberg Factors, Inc.                           99 Park Avenue                      21 Floor                                                                                    New York               NY           10016
30224979          Milberg Factors, Inc.                           99 Park Avenue                      21 Floor                                                                                    New York               NY           10016
30332840          Milberg Factors, Inc.                           99 Park Avenue                      21 Floor                                                                                    New York               NY           10016
30291865          Name on file                                    Address on file
30260207          Name on file                                    Address on file
30293746          Name on file                                    Address on file
30256940          Name on file                                    Address on file
30279031          Name on file                                    Address on file
30332769          Name on file                                    Address on file
29961581          MILFORD WATER DEPARTMENT                        66 DILLA ST                                                                                                                     MILFORD                MA           01757
30256736          Name on file                                    Address on file
29961583          MILKMEN DESIGN LLC                              387 MEDINA RD                                                                                                                   MEDINA                 OH           44256
30292473          Name on file                                    Address on file
30262522          Name on file                                    Address on file
                  Millbrae Square Company, a California limited
30222874          partnership                                     Buchalter, a Professional Corporation   c/o Valerie Bantner Peo, Esq.   425 Market St                  Suite 2900               San Francisco          CA           94105
30285569          Name on file                                    Address on file
30256722          Name on file                                    Address on file
30278472          Name on file                                    Address on file
30257499          Name on file                                    Address on file
30275153          Name on file                                    Address on file
30287602          Name on file                                    Address on file
30261686          Name on file                                    Address on file
30285910          Name on file                                    Address on file
30287143          Name on file                                    Address on file
30293220          Name on file                                    Address on file
30262154          Name on file                                    Address on file
30278953          Name on file                                    Address on file
30284975          Name on file                                    Address on file
30262091          Name on file                                    Address on file
30288924          Name on file                                    Address on file
30222412          Name on file                                    Address on file
30294211          Name on file                                    Address on file
30263250          Name on file                                    Address on file
30256816          Name on file                                    Address on file
30259697          Name on file                                    Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                        ADDRESS 2                      ADDRESS 3                      ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
30276649          Name on file                            Address on file
30251319          Name on file                            Address on file
30285559          Name on file                            Address on file
30262478          Name on file                            Address on file
30292510          Name on file                            Address on file
30294207          Name on file                            Address on file
30289423          Name on file                            Address on file
30259353          Name on file                            Address on file
30260578          Name on file                            Address on file
30259387          Name on file                            Address on file
30275410          Name on file                            Address on file
30296336          Name on file                            Address on file
30259061          Name on file                            Address on file
30256794          Name on file                            Address on file
30296939          Name on file                            Address on file
30275325          Name on file                            Address on file
30278791          Name on file                            Address on file
30260023          Name on file                            Address on file
30260860          Name on file                            Address on file
30282253          Name on file                            Address on file
30296346          Name on file                            Address on file
30276657          Name on file                            Address on file
30274645          Name on file                            Address on file
30261446          Name on file                            Address on file
29918298          MILLSAP, EFFERIN                        Address on file
30257561          Name on file                            Address on file
30284745          Name on file                            Address on file
30200675          MILORA ARUTIUNOVA                       C/O MARTINIAN & ASSOCIATES, INC.   ATTN: ANUSH MELKONYAN         2801 CAHUENGA BLVD                                     WEST LOS ANGELES          CA           90068
30277063          Name on file                            Address on file
29936090          MILTON D BROWN                          Address on file
30289699          Name on file                            Address on file
30297428          Ming Retail Plaza LLC                   CNA Enterprises, Inc.              Attn: Lawrence Sloan          1901 Avenue of the Stars       Suite 855               Los Angeles               CA           90067
29936121          MING RETAIL PLAZA LLC                   LOCKBOX 328250                     PO BOX 913282                                                                        DENVER                    CO           80291
30296320          Name on file                            Address on file
30258213          Name on file                            Address on file
30275275          Name on file                            Address on file
30224120          Minnesota Department of Revenue         PO Box 64447 ‐ BKY                                                                                                      St. Paul                  MN           55164‐0447
30160239          MINNESOTA ENERGY RESOURCES              PO BOX 19003                                                                                                            GREEN BAY                 WI           54307‐9003
29936128          MINNESOTA ENERGY RESOURCES              2665 145TH STREET WEST                                                                                                  ROSEMOUNT                 MN           55068
30295927          Minnesota Power                         PO Box 77065                                                                                                            Minneapolis               MN           55480‐7765
29936130          MINNESOTA POWER                         30 W SUPERIOR STREET                                                                                                    DULUTH                    MN           55802‐2093
29936136          MINOT TOWN & COUNTRY INVESTORS          PO BOX 2025                                                                                                             MINOT                     ND           58702‐2025

30202140          MINOT TOWN & COUNTY INVESTORS, L.L.P.   C/O KOSTENKO LAW, P.C.             ATTN: REMINGTON M. KOSTENKO   P.O. BOX 667                                           MINOT                     ND           58702
29936141          MIRACLE CLEAN SERVICES                  PO BOX 26469                                                                                                            AKRON                     OH           44319
30275317          Name on file                            Address on file
29936161          MIRANDA OLSON                           Address on file
30297573          Name on file                            Address on file
30263649          Name on file                            Address on file
30277052          Name on file                            Address on file
30285469          Name on file                            Address on file
30279225          Name on file                            Address on file
30257410          Name on file                            Address on file
30282225          Name on file                            Address on file
30263393          Name on file                            Address on file
30281806          Name on file                            Address on file
29936210          MISHAWAKA UTILITIES, IN                 107 NORTH MAIN ST                                                                                                       MISHAWAKA                 IN           46544
30256792          Name on file                            Address on file
30259093          Name on file                            Address on file
30262705          Name on file                            Address on file
29936225          MISSOURI AMERICAN WATER                 727 CRAIG ROAD                                                                                                          ST. LOUIS                 MO           63141
30397764          Missouri Department Of Revenue          PO Box 475                                                                                                              Jefferson City            MO           65105
30159827          Missouri Department Of Revenue          PO Box 475                                                                                                              Jefferson City            MO           65105
30397800          Missouri Department of Revenue          PO Box 475                                                                                                              Jefferson City            MO           65105




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  ADDRESS ID                           NAME                              ADDRESS 1                     ADDRESS 2                   ADDRESS 3          ADDRESS 4                    CITY        STATE     POSTAL CODE       COUNTRY
30397768          Missouri Department Of Revenue           PO Box 475                                                                                             Jefferson City          MO           65105
30397798          Missouri Department Of Revenue           PO Box 475                                                                                             Jefferson City          MO           65105
30397792          Missouri Department of Revenue           PO Box 475                                                                                             Jefferson City          MO           65105
30397794          Missouri Department of Revenue           PO Box 475                                                                                             Jefferson City          MO           65105
30290032          Name on file                             Address on file
30290040          Name on file                             Address on file
30285161          Name on file                             Address on file
30292684          Name on file                             Address on file
30274314          Name on file                             Address on file
30295569          Name on file                             Address on file
30259125          Name on file                             Address on file
30262707          Name on file                             Address on file
30273975          Name on file                             Address on file
30260819          Name on file                             Address on file
30283753          Name on file                             Address on file
30227080          Name on file                             Address on file
30260805          Name on file                             Address on file
30283055          Name on file                             Address on file
30287845          Name on file                             Address on file
30277695          Name on file                             Address on file
30286030          Name on file                             Address on file
30284361          Name on file                             Address on file
30293364          Name on file                             Address on file
30200258          MJM Architects Inc                       2948 Sidco Drive                                                                                       Nashville               TN           37204
29936266          MJM ARCHITECTS LLC                       2948 SIDCO DRIVE                                                                                       NASHVILLE               TN           37204
30260838          Name on file                             Address on file
30277014          Name on file                             Address on file
29936274          MN TEXTILES PVT LTD                      LANDHI INDUSTRIAL AREA          LX‐5 & 6, SCHEME 3 & 4      KARACHI                                    SINDH                                75120           PAKISTAN
29936276          MNG MANAGEMENT LLC                       415 S. CEDROS AVE., #240                                                                               SOLANA BEACH            CA           92075
29951506          MOB INVESTMENTS, INC.                    HAZEL TOTEM, LLC                8320 NE HIGHWAY 99                                                     VANCOUVER               WA           98665
30295592          Name on file                             Address on file

29951508          MOBILE AREA WATER & SEWER SYSTEM‐MAWSS 4725 MOFFETT ROAD                                                                                        MOBILE                  AL           36618
30292722          Mobile Festival Acquisition LLC        The Woodmont Company              2100 W. 7th Street                                                     Fort Worth              TX           76107
29951514          MOBILE FESTIVAL ACQUISITION LLC        C/O THE WOODMONT CO.              2100 W. 7TH STREET                                                     FORT WORTH              TX           76107
30165895          Mobile Mentor                          330 Franklin Rd                   Suite 135A – 179                                                       Brentwood               TN           37027
30279173          Mobile Mentor                          330 Franklin Rd                   Suite 135A‐179                                                         Brentwood               TN           37027
29951515          MOBILE MENTOR INC                      330 FRANKLIN RD., STE. 135A‐179                                                                          BRENTWOOD               TN           37027
30200838          MOBILE MINI INC                        4646 EAST VAN BUREN ST            SUITE 400                                                              PHOENIX                 AZ           85008
30258410          Name on file                           Address on file
30284443          Name on file                           Address on file
30261504          Name on file                           Address on file
30283518          Name on file                           Address on file
30285233          Name on file                           Address on file
29936285          MODERN STORE FIXTURES CO INC           10421 INDUSTRIAL DR                                                                                      GARRETTSVILLE           OH           44231
30232019          Name on file                           Address on file
29936287          MODESTO IRRIGATION DISTRICT            1231 11TH STREET                                                                                         MODESTO                 CA           95352‐4060
30297692          Name on file                           Address on file
30295341          Name on file                           Address on file
30258985          Name on file                           Address on file
30256635          Name on file                           Address on file
29936297          MOHAVE ELECTRIC COOPERATIVE            928 HANCOCK ROAD                                                                                         BULLHEAD CITY           AZ           86442
30229507          Mohawk Factoring                       Kevin Hayes                       160 S Industrial Blvd                                                  Calhoun                 GA           30703
29936298          MOHAWK HOME                            3032 SUGAR VALLEY ROAD                                                                                   SUGAR VALLEY            GA           30746
30281600          Name on file                           Address on file
30259787          Name on file                           Address on file
29936304          MOITOZOEL CAMINO PROMENADE             C/O GILMOR & ASSOC                1201 FRANKLIN MALL                                                     SANTA CLARA             CA           95050
30287570          Name on file                           Address on file
30275115          Name on file                           Address on file
30261898          Name on file                           Address on file
30258929          Name on file                           Address on file
30286385          Name on file                           Address on file
30258973          Name on file                           Address on file
30261059          Name on file                           Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                            ADDRESS 2                  ADDRESS 3                       ADDRESS 4                   CITY        STATE     POSTAL CODE       COUNTRY
30261053          Name on file                            Address on file
30263110          Momenta Inc                             865 Islington Street               Suite 100                                                                             Portsmouth             NH           03801
29961634          MOMENTA INC                             601 ISLINGTON ST, STE 104                                                                                                PORTSMOUTH             NH           03801
30258328          Mon Power                               5001 NASA Blvd                                                                                                           Fairmont               WV           26554
30259823          Name on file                            Address on file
30286590          Name on file                            Address on file
30283623          Name on file                            Address on file
30285660          Name on file                            Address on file
29936402          MONICA WILLOUGHBY                       Address on file
30276471          Name on file                            Address on file
29936441          MONITOR RETAIL ADVISORY GROUP LLC       ATTN: JOSEPH HARTSIG               950 EASTWOOD RD.                                                                      GLENCOE                IL           60022
30285956          Name on file                            Address on file
30229176          MONOGRAM PRODUCTS (H.K.) LTD.           16/F WING ON CENTRE                111 CONNAUGHT ROAD                                                                    HONG KONG                                           CHINA
                                                          16/F WING ON CENTRE, 111 CONNAUGHT
29950259          MONOGRAM PRODUCTS HK LTD                ROAD CENTRAL                                                                                                             HONG KONG                           999077          CHINA
30295208          Name on file                            Address on file
30262089          Name on file                            Address on file
30260601          Name on file                            Address on file
29936444          MONROEVILLE MUNICIPAL AUTHORITY         219 SPEELMAN LANE                                                                                                        MONROEVILLE            PA           15146
30259735          Name on file                            Address on file
30275321          Name on file                            Address on file
30287953          Name on file                            Address on file
30263242          Name on file                            Address on file
30261566          Name on file                            Address on file
30197731          Montana‐Dakota Utilities Co             400 N 4th St                                                                                                             Bismarck               ND           58501
29936459          MONTANA‐DAKOTA UTILITIES CO             400 N. FOURTH STREET                                                                                                     BISMARCK               ND           58501‐4092
30296439          Name on file                            Address on file
30297577          Name on file                            Address on file
29936470          MONTGOMERY COMMONS ASSOCIATES           PENNMARK MANAGEMENT CO.            1000 GERMANTOWN PIKE, #A‐2                                                            PLYMOUTH MEETING       PA           19462

30281923          Montgomery County Environmental Services 1850 Spaulding Rd.                                                                                                      Kettering              OH           45432
                  MONTGOMERY COUNTY ENVIRONMENTAL SVS,
29951652          OH                                       1850 SPAULDING ROAD                                                                                                     KETTERING              OH           45432
30295756          Montgomery Realty Group LLC              Fennemore LLP                        Mark S. Bostick            1111 Broadway                  24th Floor               Oakland                CA           94607

29951659          MONTGOMERY REALTY GROUP LLC             C/O MICHAEL G KASOLAS, CHP 7 TRUST.   PO BOX 27526                                                                       SAN FRANCISCO          CA           94127‐0526
30257231          Montgomery Water Works                  2000 Interstate Park Dr                                                                                                  Montgomery             AL           36109
29936475          MONTGOMERY WATER WORKS                  2000 INTERSTATE PARK DRIVE                                                                                               MONTGOMERY             AL           36109
30226960          Name on file                            Address on file
30257553          Name on file                            Address on file
30274398          Name on file                            Address on file
30256270          Name on file                            Address on file
30258105          Name on file                            Address on file
30279193          Name on file                            Address on file
30385236          Name on file                            Address on file
30274551          Name on file                            Address on file
30291431          Name on file                            Address on file
30258676          Name on file                            Address on file
30257852          Name on file                            Address on file
30285551          Name on file                            Address on file
30287504          Name on file                            Address on file
30275057          Name on file                            Address on file
30259266          Name on file                            Address on file
30261654          Name on file                            Address on file
30275972          Name on file                            Address on file
30297292          Name on file                            Address on file
30260368          Name on file                            Address on file
30286429          Name on file                            Address on file
30275426          Name on file                            Address on file
30256760          Name on file                            Address on file
30261825          Name on file                            Address on file
30295228          Name on file                            Address on file
30223407          Name on file                            Address on file
30277416          Name on file                            Address on file




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  ADDRESS ID                           NAME                   ADDRESS 1    ADDRESS 2                  ADDRESS 3          ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30222693          Name on file                     Address on file
30262757          Name on file                     Address on file
30274629          Name on file                     Address on file
30284911          Name on file                     Address on file
30262330          Name on file                     Address on file
30285786          Name on file                     Address on file
30263070          Name on file                     Address on file
30258251          Name on file                     Address on file
30280766          Name on file                     Address on file
30274923          Name on file                     Address on file
30256660          Name on file                     Address on file
30260045          Name on file                     Address on file
30280258          Name on file                     Address on file
30286479          Name on file                     Address on file
30260057          Name on file                     Address on file
30225181          Name on file                     Address on file
30285944          Name on file                     Address on file
30278971          Name on file                     Address on file
30284564          Name on file                     Address on file
30331831          Name on file                     Address on file
30283076          Name on file                     Address on file
30289656          Name on file                     Address on file
30274493          Name on file                     Address on file
30275309          Name on file                     Address on file
30335972          Name on file                     Address on file
30263341          Name on file                     Address on file
30255930          Name on file                     Address on file
30274783          Name on file                     Address on file
30279121          Name on file                     Address on file
30261729          Name on file                     Address on file
30285155          Name on file                     Address on file
30293107          Name on file                     Address on file
30286255          Name on file                     Address on file
30261997          Name on file                     Address on file
30291165          Name on file                     Address on file
30277054          Name on file                     Address on file
30331437          Name on file                     Address on file
30258472          Name on file                     Address on file
30273557          Name on file                     Address on file
30331576          Name on file                     Address on file
30262822          Morse, Crystal R.                Address on file
30291060          Name on file                     Address on file
30331759          Name on file                     Address on file
30257426          Name on file                     Address on file
30293634          Name on file                     Address on file
30256812          Name on file                     Address on file
30285351          Name on file                     Address on file
29936586          MOSES LAKE 96000 BUILDING, LLC   P.O. BOX 58997                                                                    SEATTLE               WA           98138
30294894          Name on file                     Address on file
30227068          Name on file                     Address on file
30256616          Name on file                     Address on file
30262701          Name on file                     Address on file
30232574          Name on file                     Address on file
30258059          Name on file                     Address on file
30285641          Name on file                     Address on file
30222934          Name on file                     Address on file
30222934          Name on file                     Address on file
30274503          Name on file                     Address on file
30285001          Name on file                     Address on file
29961689          MOULTON NIGUEL WATER             26161 GORDON ROAD                                                                 LAGUNA HILLS          CA           92653
30276165          Name on file                     Address on file
30261147          Name on file                     Address on file
29936594          MOUNTAINEER GAS/580211           501 56TH ST SE                                                                    CHARLESTON            WV           25304‐2323
30285830          Name on file                     Address on file




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  ADDRESS ID                           NAME                       ADDRESS 1                          ADDRESS 2                      ADDRESS 3                       ADDRESS 4                   CITY        STATE     POSTAL CODE           COUNTRY
30277772          Name on file                       Address on file
30277770          Name on file                       Address on file
30222730          Name on file                       Address on file
30222730          Name on file                       Address on file
30296686          Name on file                       Address on file
30276247          Moyal Group Inc.                   c/o Matthew Moyal                   9455 Collins Avenue            Apt. 307                                                Surfside               FL           33154
30261149          Name on file                       Address on file
30280692          Name on file                       Address on file
30261069          MP Elko LLC                        1801 Tiburon Blvd                   Suite 800                                                                              Tiburon                CA           94920
29936596          MP ELKO LLC                        1801 TIBURON BLVD STE 800                                                                                                  TIBURON                CA           94920
30218597          MP Elko, LLC                       1801 Tiburon Blvd                   Suite 800                                                                              Tiburon                CA           94920
29950179          MP NORTHGLENN INVESTORS LLC        C/O THE HUTENSKY GRP LLC, ATTN AR   100 CONSTITUTION PLAZA 7 FL.                                                           HARTFORD               CT           06103
30331099          MPG Huntsville Plaza LLC           8 W 40th St                         4th Floor                                                                              New York               NY           10018
29950182          MPG HUNTSVILLE PLAZA LLC           PO BOX 531124                                                                                                              BIRMINGHAM             AL           35253
29949564          MRE LIMITED INC                    CHINNAANDAN KOVIL ROAD              Z11                                                                                    KARUR, TAMIL NADUR                  639002          INDIA
30164838          MRE Limited Inc.                   215 Rogers Way                      Suite N                                                                                West Hampton Beach     NY           11978
30276093          MRK TECHNOLOGIES LTD               ATTN: STEVE HEWITT                  31390 VIKING PARKWAY                                                                   WESTLAKE               OH           44145
30200876          MRK TECHNOLOGIES LTD               INVERSION6                          31390 VIKING PARKWAY                                                                   WESTLAKE               OH           44145
29950187          MROF I ‐ NAMPA LLC                 FILE 2568                           1801 W. OLYMPIC BLVD.                                                                  PASADENA               CA           91199‐2568
30282716          Name on file                       Address on file
30289392          MSCI 2007‐IQ Crossings Road, LLC   30195 Chagrin Blvd., Suite 300                                                                                             Pepper Pike            OH           44124

29936599          MSCI CROSSINGS ROAD                C/O LIEBERMAN, DVORIN & DOWD, LLC   ATTN: DUSTIN S. LEWIS, ESQ.    30195 CHAGRIN BLVD.            SUITE #300               PEPPER PIKE            OH           44124
29936606          MT VERNON PLAZA ASSOCIATES         C/O EILAT MANAGEMENT CO             18915 142ND AVE NE             STE 155                                                 WOODINVILLE            WA           98072
30222036          Name on file                       Address on file
30291457          Name on file                       Address on file
30257376          Name on file                       Address on file
30290072          Name on file                       Address on file
30296972          Name on file                       Address on file
30257609          Name on file                       Address on file
30284873          Name on file                       Address on file
30292599          Name on file                       Address on file
30260568          Name on file                       Address on file
30260876          Name on file                       Address on file
30259232          Name on file                       Address on file
30222056          Name on file                       Address on file
30291268          Name on file                       Address on file
30285269          Name on file                       Address on file
30261453          Name on file                       Address on file
30258141          Name on file                       Address on file
30276505          Name on file                       Address on file
30280244          Name on file                       Address on file
30274756          Name on file                       Address on file
30274547          Name on file                       Address on file
30261252          Name on file                       Address on file
30262607          Name on file                       Address on file
30293096          Name on file                       Address on file
30297526          Name on file                       Address on file
30281822          Name on file                       Address on file
30261335          Name on file                       Address on file
30257557          Name on file                       Address on file
29936610          MUNCIE SANITARY DISTRICT           300 N HIGH ST                                                                                                              MUNCIE                 IN           47305
30275014          Name on file                       Address on file
30285184          Name on file                       Address on file
30277943          Name on file                       Address on file
30292863          Name on file                       Address on file
30274539          Name on file                       Address on file
30297395          Name on file                       Address on file
30282603          Name on file                       Address on file
30259598          Name on file                       Address on file
30257497          Name on file                       Address on file
                  MURFREESBORO WATER RESOURCES
29936617          DEPARTMENT                         300 NORTHWEST BROAD STREET                                                                                                 MURFREESBORO           TN           37139
30297219          Name on file                       Address on file




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  ADDRESS ID                           NAME                      ADDRESS 1                          ADDRESS 2                        ADDRESS 3          ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30296230          Name on file                       Address on file
30231955          Name on file                       Address on file
30225053          Name on file                       Address on file
30261165          Name on file                       Address on file
30263401          Name on file                       Address on file
30288691          Name on file                       Address on file
30224847          Name on file                       Address on file
30262577          Name on file                       Address on file
30263548          Name on file                       Address on file
30262053          Name on file                       Address on file
29936623          MURRAY BART ASSOCIATES             C/O ECHO REAL ESTATE SERV CO      560 EPSILON DR                                                               PITTSBURGH            PA           15238
30284258          Name on file                       Address on file
30281754          Name on file                       Address on file
30225028          Name on file                       Address on file
30331594          Name on file                       Address on file
30287256          Name on file                       Address on file
30285976          Name on file                       Address on file
30297437          Murray‐Bart Associates             11 Stanwix Street                 Suite 1100                                                                   Pittsburgh            PA           15222
30273656          Name on file                       Address on file
29936630          MUSCATINE MALL MANAGEMENT II LLC   DBA MUSCATINE MALL                1903 PARK AVENUE                                                             MUSCATINE             IA           52761
29936633          MUSCATINE POWER AND WATER          3205 CEDAR STREET                                                                                              MUSCATINE             IA           52761
30287075          Name on file                       Address on file
30273618          Name on file                       Address on file
30331742          Name on file                       Address on file
30263666          Name on file                       Address on file
30200858          MUZAK LLC                          DBA MOOD MEDIA                    PO BOX 71070                                                                 CHARLOTTE             NC           28272‐1070
30222322          Name on file                       Address on file
30284701          Name on file                       Address on file
30280828          Name on file                       Address on file
30259389          Name on file                       Address on file
30286067          Name on file                       Address on file
30218611          Name on file                       Address on file
30258625          Name on file                       Address on file
30263455          Name on file                       Address on file
30331409          Name on file                       Address on file
30273826          Name on file                       Address on file
30228485          Name on file                       Address on file
30286888          Name on file                       Address on file
29936676          MYLINEGO INC                       TAILORNOVA                        1900 SOUTH NORFOLK STREET         SUITE 350                                  SAN MATEO             CA           94403
30285756          Name on file                       Address on file
30280966          Name on file                       Address on file
29936682          MYRTLE BEACH FARMS CO INC          PO BOX 7277                                                                                                    MYRTLE BEACH          SC           29572
30274118          Name on file                       Address on file
29936688          N & H LAPEER LIMITED PTNRSHP       C/O PROFESSIONAL PROPERTY MGT     115 W BROWN                                                                  BIRMINGHAM            MI           48009
30166896          N.J. Croce Co.                     8437 Track Road                                                                                                Nampa                 ID           83686
30166622          N.J. Croce Co.                     8437 Track Road                                                                                                Nampa                 ID           83686
30257038          Name on file                       Address on file
30274663          Name on file                       Address on file
30279109          Name on file                       Address on file
29936703          NADG NNN JFAB (BLO‐IL) LP          NADG NNN REIT                     3131 MCKINNEY AVE., STE. L‐10                                                DALLAS                TX           75204
29936704          NADG/ TRC LAKEPOINTE LP            C/O CONNECTED MGMT SERVICES LLC   2525 MCKINNON ST., SUITE 700                                                 DALLAS                TX           75201
29936706          NADG/SG RIVERDALE VILLAGE LP       C/O CENTRECORP MGMT SERV. LLLP    12761 RIVERDALE BLVD #104                                                    COON RAPIDS           MN           55448
30295812          NADG/SG Riverdale Village LP       Patty Heinl                       12761 Riverdale Blvd NW                                                      Coon Rapids           MN           55448
30331541          NADG/TRC Lakepointe LP             Attn: Carla Neel                  2525 Mckinnon Street, Suite 700                                              Dallas                TX           75201
30285896          Name on file                       Address on file
30284366          Name on file                       Address on file
30290285          Name on file                       Address on file
30292337          Name on file                       Address on file
30280878          Name on file                       Address on file
30278042          Name on file                       Address on file
30280733          Name on file                       Address on file
29961753          NAKOMA PRODUCTS LLC                8407 S 77TH STREET                                                                                             BRIDGEVIEW            IL           60455
30286427          Name on file                       Address on file
30221948          Name on file                       Address on file




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30281810          Name on file                                 Address on file
30297225          Name on file                                 Address on file
30282900          Name on file                                 Address on file
30200676          NANCY KANE                                   ATTN: CHRISTINE LASALVIA                    815 SUPERIOR AVE. E             SUITE 2100                                                CLEVELAND                 OH           44114
30293038          Name on file                                 Address on file
30261027          Name on file                                 Address on file
29936808          NANJING ZHAOHONG TEXTILE CO LTD              LISHUI DISTRICT, NANJING CITY               NO.8 JINTENG RD, DONGPING ST                                                              NANJING                                211212          CHINA
30165070          Nanjing Zhaohong Textile Co., Ltd            No. 8 Chaoyang Road                         Dongping Street, Lishui         Jiangsu province                                          Nanjing, CN                            21120           China
                                                               No.8 Chaoyang Road, Dongping Street,
30181370          Nanjing Zhaohong Textile Co., Ltd            Lishui District                                                                                                                       Nanjing, Jiangsu                       211200          China
30260705          Name on file                                 Address on file
29936838          NAPERW LLC                                   C/O BONNIE MANAGEMENT CORP                  1350 E. TOUHY AVE., STE. 360E                                                             DES PLAINES               IL           60018
30276341          Name on file                                 Address on file
30294862          Name on file                                 Address on file
30284833          Name on file                                 Address on file
30284839          Name on file                                 Address on file
30258805          Name on file                                 Address on file
30295671          Nash, Richel                                 Address on file
30262639          Name on file                                 Address on file
29936853          NASHUA WASTE WATER SYSTEM                    2 SAWMILL RD                                                                                                                          NASHUA,                   NH           03060
30278039          Nashville Electric Service                   Attn; Credit Department                     1214 Church Street                                                                        Nashville                 TN           37246
29936855          NASHVILLE ELECTRIC SERVICE                   1214 CHURCH STREET                                                                                                                    NASHVILLE                 TN           37246
30257624          Name on file                                 Address on file
29936859          NASSAU COUNTY POLICE DEPARTMENT              POLICE ALARM PERMITS                        1194 PROSPECT AVENUE                                                                      WESTBURY                  NY           11590
30222038          Name on file                                 Address on file
30290927          Name on file                                 Address on file
30331103          National Fuel Gas Distribution Corporation   Attn: Bankruptcy Department                 6363 Main Street                                                                          Williamsville             NY           14221
29937093          NATIONAL FUEL/371835                         6363 MAIN STREET                                                                                                                      WILLIAMSVILLE             NY           14221
30200734          NATIONAL GRID ‐ NEW YORK/371376              1 ‐ 3 STRAND                                                                                                                          LONDON                                 WC2N 5EH        UNITED KINGDOM
29937096          NATIONAL GRID ‐ PITTSBURGH/371338            1 ‐ 3 STRAND                                                                                                                          LONDON                                 WC2N 5EH        UNITED KINGDOM
29953851          NATIONAL GRID/371396                         1 ‐ 3 STRAND                                                                                                                          LONDON                                 WC2N 5EH        UNITED KINGDOM
29961808          NATIONAL NONWOVENS INC                       PO BOX 150 110 PLEASANT ST                                                                                                            EASTHAMPTON               MA           01027
                                                               ATTN: MAUREEN LUNETTA AND JOE
30260935          NATIONAL RETAIL TRANSPORTATION INC           BRADY                                       125 CHUBB AVENUE                STE 400S                                                  LYNDHURST                 NJ           07071
30260461          Name on file                                 Address on file
30181506          Natraj Home Furnishings Pvt Ltd              Deepak Wadhwani                             318, Phase‐IV                   Sector‐57                      Hsiidc Industrial Estate   Kundli, Haryana                        131028          India
                                                               318, Phase‐IV, Sector 57, HSIIDC Industrial
30344991          Natraj Home Furnishings Pvt Ltd              Estate                                                                                                                                Kundli, Haryana                        131028          India
29961816          NATRAJ HOME FURNISHINGS PVT LTD              INDUSTRIAL ESTATE BARHI                     PLOT NO 676 PHASE II HSIIDC     SONIPAT                                                   HARYANA                                131001          INDIA
29961817          NATTAN LLC                                   C/O KESSINGER HUNTER & CO.                  2600 GRAND BLVD., #700                                                                    KANSAS CITY               MO           64108
30285846          Name on file                                 Address on file
30284376          Name on file                                 Address on file
30276377          Name on file                                 Address on file
30284503          Name on file                                 Address on file
30285013          Name on file                                 Address on file
30295190          Name on file                                 Address on file
30258991          Name on file                                 Address on file
30257388          Nearly Natural LLC                           3870 W 108th St                             Suite 20                                                                                  Hialeah                   FL           33018
29937144          NEARLY NATURAL LLC                           3870 W. 108 STREET                          SUITE 20                                                                                  HIALEAH                   FL           33018
30276057          Name on file                                 Address on file
30296390          Name on file                                 Address on file
29961821          NEDGRAPHICS INC                              C/O US BANK                                 9575 W. HIGGINS RD                                                                        ROSEMONT                  IL           60018
30260539          Name on file                                 Address on file
30260409          Name on file                                 Address on file
30283543          Needle Industries (India) Private Limited    9PHV+GWX, NH‐67                                                                                                                       Tamil Nadu                             643243          India
29961825          NEEDLE INDUSTRIES (INDIA) PVT LTD            DOOR NO. 7/57, NH 181                                                                                                                 THE NILGIRIS                           643243          INDIA
29961827          NEEDLEART WORLD (HONG KONG) LTD              ROOMS 1001‐1003 10/F                        345 NATHAN RD                                                                             WING ON KOWLOON CENTER                 999077          HONG KONG
30261477          Name on file                                 Address on file
30262504          Name on file                                 Address on file
30262334          Name on file                                 Address on file
30287838          Name on file                                 Address on file
30258440          Name on file                                 Address on file
30261473          Name on file                                 Address on file
30257483          Name on file                                 Address on file




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30259427          Name on file                                   Address on file
30278622          Name on file                                   Address on file
30276870          Name on file                                   Address on file
30260745          Name on file                                   Address on file
30289637          Name on file                                   Address on file
30276143          Name on file                                   Address on file
30331829          Name on file                                   Address on file
30288899          Name on file                                   Address on file
30279623          Name on file                                   Address on file
30276477          Name on file                                   Address on file
30221952          Name on file                                   Address on file
30289384          Name on file                                   Address on file
30281884          Name on file                                   Address on file
30259821          Name on file                                   Address on file
30263291          Name on file                                   Address on file
30263361          Name on file                                   Address on file
30287686          Name on file                                   Address on file
30284549          Name on file                                   Address on file
30295805          Name on file                                   Address on file

29937177          NEO CASTA INTERNATIONAL                        5TH FLOOR, UNIT NO.514‐516           BUILDING‐NOIDA ONE, TOWER‐B,                                             NOIDA                                  201301          INDIA
29937179          NEO WONDERWAY INC                              NO 129 CHUNG SHAN N ROAD, SEC 2      11‐1 FLOOR                                                               TAIPEI                                 10448           TAIWAN
30192964          Neo Wonderway Inc.                             11‐1FL No. 129 Chung Shan N.         RD, SEC#2                                                                Taipei                                 10448           Taiwan
30285261          Name on file                                   Address on file
30279779          Name on file                                   Address on file
30281116          Name on file                                   Address on file
30290351          Name on file                                   Address on file
30285966          Name on file                                   Address on file
30297530          Netwrix Corporation                            Dept. LA 35338                                                                                                Pasadena                  CA           91185‐5338
30288562          Name on file                                   Address on file
30279191          Name on file                                   Address on file
30257547          Nevada Power Company d/b/a NV Energy           6100 Neil Road M/S S1A20                                                                                      Reno                      NV           89511
30287564          Name on file                                   Address on file
30280157          Name on file                                   Address on file
29937206          NEW BRAUNFELS POLICE‐ ALARMS                   PO BOX 140457                                                                                                 IRVING                    TX           75014‐0457
29937209          NEW BRAUNFELS UTILITIES, TX                    263 E MAIN PLAZA                                                                                              NEW BRAUNFELS             TX           78130
                  NEW JERSEY AMERICAN WATER
29954194          COMPANY/371331                                 1 WATER STREET                                                                                                CAMDEN                    NJ           08102

30335120          New Jersey Unclaimed Property Administration   PO Box 214                                                                                                    Trenton                   NJ           08625
29937221          NEW MEXICO GAS COMPANY                         1625 RIO BRAVO SW SUITE 27 8710                                                                               ALBUQUERQUE               NM           87105
29937226          NEW PHILADELPHIA WATER OFFICE                  150 E HIGH AVE STE 015                                                                                        NEW PHILADELPHIA          OH           44663‐2540
29937227          NEW PORT RICHEY DEVELOPMENT CO LLC             C/O CHASE PROPERTIES LTD             3333 RICHMOND ROAD #320                                                  BEACHWOOD                 OH           44122
30181676          New View Gifts & Accessories, Ltd              311 E Baltimore Ave.                 Suite 300                                                                Media                     PA           19063

29937235          NEW VIEW GIFTS AND ACCESSORIES                 FKA DCWV ACQUISITION CORP INC/BLUE   311 E BALTIMORE AVENUE                                                   MEDIA                     PA           19063
30261860          Name on file                                   Address on file
30274025          Name on file                                   Address on file
30285684          Name on file                                   Address on file
30273702          Name on file                                   Address on file
30285732          Name on file                                   Address on file
30288170          Name on file                                   Address on file
29937246          NEWINGTON POLICE DEPT                          ATTN: FINANCE DEPT.                  300 GARFIELD STREET                                                      NEWINGTON                 CT           06111
30261143          Name on file                                   Address on file
30284983          Name on file                                   Address on file
30261113          Name on file                                   Address on file
30273732          Name on file                                   Address on file
30284374          Name on file                                   Address on file
30224674          Name on file                                   Address on file
30259517          Name on file                                   Address on file
29950888          NEWPORT NEWS WATERWORKS                        700 TOWN CENTER DRIVE                                                                                         NEWPORT NEWS              VA           23606
30280591          Name on file                                   Address on file
30279810          Name on file                                   Address on file
30276631          Name on file                                   Address on file




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  ADDRESS ID                           NAME                                        ADDRESS 1                           ADDRESS 2                            ADDRESS 3          ADDRESS 4                      CITY        STATE     POSTAL CODE           COUNTRY
29950890          NEXAMP INC                                     PO BOX 1466                                                                                                               NEW YORK                  NY           10008
30260813          Name on file                                   Address on file
30286123          Name on file                                   Address on file
30274207          Name on file                                   Address on file
30258690          Name on file                                   Address on file
30296856          Name on file                                   Address on file
30256881          Name on file                                   Address on file
30283190          Name on file                                   Address on file
30276947          Name on file                                   Address on file
30296863          Name on file                                   Address on file
                  Niagara Mohawk Power Corporation DBA
30294943          National Grid                                  300 Erie Boulevard West                                                                                                   Syracuse                  NY           13202
29937264          NIAGARA SQUARE LLC                             PO BOX 823201                                                                                                             PHILADELPHIA              PA           19182
30258694          Name on file                                   Address on file
30283676          Name on file                                   Address on file
30258603          Name on file                                   Address on file
30275227          Name on file                                   Address on file
30290291          Name on file                                   Address on file
30256734          Name on file                                   Address on file
30280652          Name on file                                   Address on file
30262863          Name on file                                   Address on file
30273638          Name on file                                   Address on file
30283132          Name on file                                   Address on file
30222801          Name on file                                   Address on file
29937445          NICOLE SCHNEIDER                               Address on file
30261236          Name on file                                   Address on file
30167302          Nicor Gas                                      PO Box 549                                                                                                                Aurora                    IL           60507
29937490          NICOR GAS/2020/0632/5407                       1844 FERRY RD                                                                                                             NAPERVILLE                IL           60563
30288993          Name on file                                   Address on file
30289285          Name on file                                   Address on file
30260817          Name on file                                   Address on file
30262097          Name on file                                   Address on file
30262085          Name on file                                   Address on file
30296152          Niemann Holdings, LLC                          1501 N 12th Street                                                                                                        Quincy                    IL           62301
30295438          Name on file                                   Address on file
30259681          Name on file                                   Address on file
30275343          Name on file                                   Address on file
30274201          Name on file                                   Address on file
30274939          Name on file                                   Address on file
29961895          NIKI AUBURN MILE LP                            C/O THE NIKI GROUP LLC                     11720 EL CAMINO REAL #250                                                      SAN DIEGO                 CA           92130
30261935          Name on file                                   Address on file
30259743          Name on file                                   Address on file
30285118          Name on file                                   Address on file
30292457          Name on file                                   Address on file
                                                                                                            SOUTH PART WEST HUANCHENG
29961918          NINGBO ARISTE INTERNATIONAL CO LTD             11/F., TOWER B, NO.39 LANE 158             ROAD                                                                           NINGBO                                 315012          CHINA

30163986          Ningbo Ariste International Co., Ltd.          Guoju Zhang‐ Manager                       11/F. No. 39 Lane 158             South Part West Huancheng Road               Ningbo                                 315012          China

29961919          NINGBO BOHONGCHUANGYI INT CO LTD               FLR 4TH, BLDING 1, NO 25 YUXI ROAD         ZHUANGSHI TOWN, ZHENHAI DISC                                                   NINGBO                                 315201          CHINA
                                                                 Fl 4th, Unit 3, Building 9, No. 1688
30166887          Ningbo Bohongchuangyi International Co., Ltd   Zhaolong Rd                                                                                                               Ningbo, Zhejiang                       31520           China

29961920          NINGBO GENERAL UNION CO LTD                    YONGJIANG AVENUE, YINZHOU DISTRICT 15F, BUILDING B16, #2560                  ZHEJIANG                                     NINGBO                                 315040          CHINA
                                                                                                        YONGJIANG AVENUE,YINZHOU
30164349          NINGBO GENERAL UNION CO., LTD                  15F, BUILDING B16 (WEST AREA), NO.2560 DISTRICT                                                                           NINGBO, ZHEJIANG                       315048          CHINA

30166416          Ningbo MH Industry Co Ltd                      Attn: Wendy Ma                             MH Bldg. #18 Ningnan North Road                                                Ningbo                                 315100          China
29961924          NINGBO MH INDUSTRY CO LTD                      MH BLDG. #18 NINGNAN NORTH ROAD                                                                                           NINGBO                                 315192          CHINA
29961925          NINGBO SHUYANG WRAPPING CO LTD                 #36 LANE 68, FENGLIN ROAD                  BUILDING 9, PHASE II              BEILUN                                       NINGBO                                 315821          CHINA
                                                                 #9, Phase II, Binjiang Equipment Pioneer
29976075          Ningbo Shuyang Wrapping Co. Ltd.               Park                                       #36 Lane 68, Fenglin Road                                                      Ningbo ZJ                              31582           China
29961926          NINGBO SINOMAKER INDUSTRY & TRADE C            RM904‐3 QIAOSHANG BUILDING                 YINZHOU                                                                        NINGBO                                 315100          CHINA
29961927          NINGBO SRS INTERNATIONAL TRADING CO            108# JINGHUA ROAD, HI‐TECH ZONE            5F DEBANG BUILDING                                                             NINGBO                                 315040          CHINA




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  ADDRESS ID                           NAME                                   ADDRESS 1                               ADDRESS 2                   ADDRESS 3                      ADDRESS 4                      CITY        STATE     POSTAL CODE       COUNTRY
29937542          NINGBO TOFOAM STATIONERY CO LTD.             ROOM 501, YIDU CULTURE PLAZA              130                                                                                 NINGBO                                 315012          CHINA

30291809          Ningbo Tofoam Stationery Co Ltd.             c/o Bankruptcy Collection Services, LLC   84 Herbert Ave              Building B                     Suite 202                Closter                   NJ           07624

30333025          Ningbo Tofoam Stationery Co Ltd.             c/o Bankruptcy Collection Services, LLC   84 Herbert Ave              Building B                     Suite 202                Closter                   NJ           07624
                                                                                                         10/F, 4TH BUILDING, #1035
29937543          NINGBO WINLEAD ORNAMENT CO LTD               SCIENCE AND TECHNOLOGY PLAZA              GUANGXIAN RD                ZHEJIANG                                                NINGBO                                 315000          CHINA
30206624          Ningbo Winlead Ornament Co., Ltd             10/F, 4th Building                        No. 1035 Guangxian Road     Hi‐and‐New Tech Park                                    Ningbo                                 315000          China
29937544          NINGBO WORLD MALL IMPORT & EXPORT            ROOM 2‐1, 2‐4, NO.1277‐1,                 ZHONGGUAN WEST ROAD,        130                                                     NINGBO CITY                                            CHINA
                                                               Room 2‐1, 2‐4, No.1277‐1, Zhongguan
30295287          Ningbo World Mall Import & Export Co., Ltd   West Road, Zhuangshi Street                                                                                                   Ningbo                                 315000          China
30285071          Ningbo World Mall Import&Export Co.,Ltd      Room 2‐1, 2‐4, No.1277‐1                  Zhongguan West Road         Zhuangshi Street                                        Ningbo, Zhejiang                       315000          China
29937545          NINGBO XINTENG NEEDLE CO LTD                 DONGQIAN LAKE                             YUTANG INDUSTRIAL ZONE                                                              NINGBO                                 315133          CHINA
30166918          Ningbo Xinteng Needle Co., Ltd               No 1, Yutang Industrial Zone              DongqianLake                                                                        Ningbo, Zhejiag                        315133          China

29949573          NIPKOW & KOBELT INC                          411 EUNGASN‐RI                            JINWI‐MYEON                 GYEON                          Z01                      PYEONGTAEK‐SI                          712882          KOREA, REPUBLIC OF
30282607          Nipkow and Kobelt Inc.                       Halperin Battaglia Benzija, LLP           Attn: Keara Waldron         40 Wall Street                 37th Floor               New York                  NY           10005
30282630          Nipkow and Kobelt Inc.                       Halperin Battaglia Benzija, LLP           Attn: Keara Waldron         40 Wall Street                 37th Floor               New York                  NY           10005

29937551          NIPSCO ‐ NORTHERN INDIANA PUBLIC SERV CO     135 NORTH PENNSYLVANIA STREET             SUITE 1610                                                                          INDIANAPOLIS              IN           46204
29973469          Nishat Chunian Ltd                           31‐Q Gulberg II, Lahore                                                                                                       Lahore, Punjab                         54660           Pakistan
29937555          NISHAT CHUNIAN LTD                           31‐Q GULBERG‐II                                                                                                               LAHORE                                 54660           PAKISTAN
30285453          Name on file                                 Address on file
30263184          Name on file                                 Address on file
30261727          Name on file                                 Address on file
29937563          NIURKA ARIAS                                 Address on file
30286202          Name on file                                 Address on file
30274884          Name on file                                 Address on file
30280159          Name on file                                 Address on file
30261882          Name on file                                 Address on file
29949575          Name on file                                 Address on file
29937575          NJNG                                         1415 WYCKOFF ROAD                                                                                                             WALL                      NJ           07719
30257630          Name on file                                 Address on file
30385608          NM Taxation & Revenue Department             PO Box 8575                                                                                                                   Albuquerque               NM           87198‐8575
                                                               NNN YULEE FL OWN LP ATT APOLLO
29937584          NNN INVESTOR 1 LP                            MGMT                                      420 S ORANGE AVE #950                                                               ORLANDO                   FL           32801
29937585          NNN REIT INC                                 NNN REIT LP                               PO BOX 945205                                                                       ATLANTA                   GA           30394‐5205
30291493          NNN Reit, LP                                 c/o David G. Byrnes, Jr.                  450 S. Orange Avenue        Suite 900                                               Orlando                   FL           32801
30291507          NNN REIT, LP                                 c/o David G. Byrnes, Jr.                  450 S. Orange Avenue        Suite 900                                               Orlando                   FL           32801
30257394          Name on file                                 Address on file
30275349          Name on file                                 Address on file
30280636          Name on file                                 Address on file
30258486          Name on file                                 Address on file
30263425          Name on file                                 Address on file
30262611          Name on file                                 Address on file
30276014          Name on file                                 Address on file
30289725          Name on file                                 Address on file
30257463          Name on file                                 Address on file
30262903          Name on file                                 Address on file
30288782          Name on file                                 Address on file
30292686          Name on file                                 Address on file
29937637          NONNENMANN FAMILY LLC                        10211 35TH ST WEST                                                                                                            ROCK ISLAND               IL           61201
30275175          Name on file                                 Address on file
30262103          Name on file                                 Address on file
30257704          Name on file                                 Address on file
30282335          Name on file                                 Address on file
30282946          Name on file                                 Address on file
30276023          Name on file                                 Address on file
30256962          Name on file                                 Address on file
30287771          Name on file                                 Address on file
30260870          Name on file                                 Address on file
29937680          NORMA LUDEN                                  Address on file
30200677          NORMA MARQUEZ                                ATTN: PIUS JOSEPH, ESQ.                   595 E. COLORADO BOULEVARD   SUITE 801                                               PASADENA                  CA           91101
30257605          Name on file                                 Address on file




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30287104          Name on file                                       Address on file
30260572          Name on file                                       Address on file
30276853          Name on file                                       Address on file
30285489          Name on file                                       Address on file
30287760          Name on file                                       Address on file
30287732          Name on file                                       Address on file
30279663          Name on file                                       Address on file
30276322          Name on file                                       Address on file
30259415          Name on file                                       Address on file
29937695          NORTH AMERICAN PLASTICS & CHEMICALS                1400 E. 222ND STREET                                                                                                                      EUCLID                     OH           44117
29937697          NORTH ATTLEBORO MARKETPLACE II LLC                 1414 ATWOOD AVE STE 260                                                                                                                   JOHNSTON                   RI           02919
30294860          North Attleboro Marketplace II LLC                 Attn: Holly Weidele, Controller           1414 Atwood Avenue, Suite 260                                                                   Johnston                   RI           02919

29937699          NORTH ATTLEBOROUGH ELECTRIC DEPARTMENT 275 LANDRY AVENUE                                                                                                                                     NORTH ATTLEBOROUGH         MA           02760
29937700          NORTH BECKLEY PSD                      122 CLEAR WATER LANE                                                                                                                                  BECKLEY                    WV           25801‐3159
29951543          NORTH COVENTRY MUNICIPAL AUTHORITY     WATER AUTHORITY                                       1485 E SCHUYLKILL RD                                                                            POTTSTOWN                  PA           19465
29951546          NORTH COVENTRY WATER AUTHORITY         845 S HANOVER ST                                                                                                                                      POTTSTOWN                  PA           19465
30263150          Name on file                           Address on file
29937721          NORTH LITTLE ROCK ELECTRIC             700 W 29TH ST                                                                                                                                         NORTH LITTLE ROCK          AR           72114
29937723          NORTH MAIN PHASE II & III LLC          C/O CHILDRESS KLEIN PROP: RET DIV                     301 S. COLLEGE STREET, STE 2800                                                                 CHARLOTTE                  NC           28202
29937727          NORTH PACIFIC MANAGEMENT INC           PO BOX 820570                                                                                                                                         VANCOUVER                  WA           98682‐5505
30292512          North Point Centre, LLP                Attn: John Sileno                                     5429 North 118th Court                                                                          Milwaukee                  WI           53225
29937729          NORTH POINTE CENTRE LLP                C/O SCI REAL ESTATE INC                               5429 NORTH 118TH COURT                                                                          MILWAUKEE                  WI           53225
29937733          NORTH SHORE GAS                        200 E. RANDOLPH ST                                                                                                                                    CHICAGO                    IL           60601‐6436
30208363          Name on file                           Address on file
30208363          Name on file                           Address on file
30208363          Name on file                           Address on file
30332921          North Wales Water Authority            200 West Walnut Street                                                                                                                                North Wales                PA           19454
30258579          Name on file                           Address on file

29961954          NORTHEAST OHIO REGIONAL SEWER DISTRICT             MCMONAGLE ADMINISTRATION BUILDING 3900 EUCLID AVENUE                                                                                      CLEVELAND                  OH           44115
30206577          Northern Indiana Public Service Company            801 E 86th Ave Street                                                                                                                     Merrillville               IN           46410
29961955          NORTHERN LIGHTS                                    3474 ANDOVER ROAD                                                                                                                         WELLSVILLE                 NY           14895

30165161          Northern Lights Enterprises Inc                    Attention: Cheryl Smith, Credit Manager   33 Barbour Street                                                                               Bradford                   PA           16701
29961957          NORTHERN ROSE HANOVER                              600 LORING AVE SUITE 5                                                                                                                    SALEM                      MA           01970

30292537          Northern Rose‐Hanover Limited Partnership          c/o Goulston & Storrs PC                  Attn: Vanessa P. Moody            One Post Office Square, 25th Floor                            Boston                     MA           02109

30281613          Northern States Power Co MN dba Xcel Energy        Attn: Bankruptcy Dept                     Katie Ann Miller                  414 Nicollet Mall                                             Minneapolis                MN           55401

30281714          Northern States Power CO WI dba Xcel Energy        Attn: Bankruptcy Dept                     414 Nicollet Mall                                                                               Minneapolis                MN           55401
29937742          NORTHERN WASCO COUNTY PUD                          2345 RIVER RD                                                                                                                             THE DALLES                 OR           97058

29937746          NORTHFIELD TELECOMMUNICATIONS INC                  ADVANCED WIRELESS COMMUNICATIONS 20809 KENSINGTON BLVD                                                                                    LAKEVILLE                  MN           55044
29937749          NORTHGATE RETAIL PARTNERS                          CO BROOKSIDE PROPERTIES INC      2002 RICHARD JONES RD #C‐200                                                                             NASHVILLE                  TN           37215
                  Northgate Retail Partners, successor in interest
30331507          to Northgate Limited Liability                     Burr & Forman LLP                         c/o Emily C. Taube                222 Second Avenue South              Suite 2000               Nashville                  TN           37201
29937751          NORTHGATE STATION, LP                              C/O AZOSE COMMERCIAL PROP.                8451 SE 68TH ST., STE 200                                                                       MERCER ISLAND              WA           98040
30223773          Name on file                                       Address on file
29937752          NORTHWESTERN ENERGY, MT                            11 E PARK ST                                                                                                                              BUTTE                      MT           59701‐1711
30227136          Name on file                                       Address on file
30283900          Name on file                                       Address on file
30225049          Name on file                                       Address on file
30287475          Name on file                                       Address on file
29937756          NORWICH PUBLIC UTILITIES                           173 NORTH MAIN STREET                                                                                                                     NORWICH                    CT           06360

29937759          NOTIONS MARKETING CORP                             CREATIVE FULFILLMENT SOLUTIONS DIV        517 CROFTON ST SE                                                                               GRAND RAPIDS               MI           49507
30184603          Notions Marketing Corporation                      517 Crofton St SE                                                                                                                         Grand Rapids               MI           49507‐1862
29937762          NOTTINGHAM SPIRK DESIGN ASSOC INC                  2200 OVERLOOK RD                                                                                                                          CLEVELAND                  OH           44106
30259401          Name on file                                       Address on file
30200802          NOVAKS CONSTRUCTION INC                            40384 STATE RT 303                                                                                                                        LAGRANGE                   OH           44050
30200882          NOVAKS WAREHOUSE INC                               40384 STATE RT 303                                                                                                                        LAGRANGE                   OH           44050
30278651          Novus‐Crestwood Sam's, LLC                         20 Allen Avenue                           Suite 400                                                                                       Webster Groves             MO           63119




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  ADDRESS ID                           NAME                             ADDRESS 1                       ADDRESS 2                      ADDRESS 3          ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
29937766          NOVUS‐CRESTWOOD SAM'S, LLC              COMMERCE PLAZA                     20 ALLEN AVE., STE. 400                                                  WEBSTER GROVES            MO           63119
30260073          Name on file                            Address on file
30200642          NOWAK, KATHLEEN                         Address on file
30200642          NOWAK, KATHLEEN                         Address on file
30291885          Name on file                            Address on file
30280626          Name on file                            Address on file
30261312          Name on file                            Address on file
29937768          NPC GLOBAL CORPORATION                  NONMERCHANDISE VENDOR              100 MIDDLESEX AVE 2A#FRONT                                               CARTERET                  NJ           07008
29937767          NPC GLOBAL CORPORATION                  100 MIDDLESEX AVE 2A#FRONT                                                                                  CARTERET                  NJ           07008
29937770          NRG BUSINESS MARKETING/32179            804 CARNEGIE CENTER                                                                                         PRINCETON                 NJ           08540
29937771          NSI INTERNATIONAL INC                   235 WEST 23RD ST, 4TH FLOOR                                                                                 NEW YORK                  NY           10010
30200303          NSI INTERNATIONAL, INC.                 121 WAST 27TH STREET, SUITE 604                                                                             NEW YORK                  NY           10001
30297643          NSTAR                                   EVERSOURCE LEGAL                   ATTN: HONOR HEATH             107 SELDEN AVE                             BERLIN                    CT           06037
30216150          NTT Inc. dba Fabric Traditions          530 7th Avenue                     Suite305‐306                                                             New York                  NY           10018
30261010          Name on file                            Address on file
30286861          Name on file                            Address on file
30261842          Name on file                            Address on file
30284855          Name on file                            Address on file
30274465          Name on file                            Address on file
30256786          Name on file                            Address on file
30260899          Name on file                            Address on file
29937779          NV ENERGY/30073 NORTH NEVADA            6226 W. SAHARA AVE.                                                                                         LAS VEGAS                 NV           89146
29937781          NV ENERGY/30150 SOUTH NEVADA            6226 W. SAHARA AVE.                                                                                         LAS VEGAS                 NV           89146
29937784          NVR INVESTMENTS LLC                     PO BOX 202                                                                                                  MANAKIN SABOT             VA           23103
30289713          NW Natural                              Attn: Bankruptcy                   PO Box 3288                                                              Portland                  OR           97208
29937787          NW NATURAL                              250 SW TAYLOR ST                                                                                            PORTLAND                  OR           97204‐3034
30259904          NW Natural                              Attn: Bankruptcy                   PO Box 3288                                                              Portland                  OR           97208
30276963          Name on file                            Address on file
30261363          Name on file                            Address on file
30256834          Name on file                            Address on file
30285449          Name on file                            Address on file
30292442          NYSEG                                   Attn: Bankruptcy Department        PO Box 5240                                                              Binghamton                NY           13902
29951774          NYSEG‐NEW YORK STATE ELECTRIC & GAS     18 LINK DR                                                                                                  BINGHAMTON                NY           13904
30221958          Name on file                            Address on file
30224757          Name on file                            Address on file
30257664          Name on file                            Address on file
30263258          Name on file                            Address on file
30200837          OAK HARBOR FREIGHT LINES INC            PO BOX 1469                                                                                                 AUBURN                    WA           98071
29937822          OAK VALLEY CENTRE LLC                   6735 TELEGRAPH RD SUITE 110                                                                                 BLOOMFIELD HILLS          MI           48301
29937826          OAKLAND UTILITIES SERVICE COMPANY, MI   712 W 11 MILE RD                                                                                            ROYAL OAK                 MI           48067‐2411
30253060          Name on file                            Address on file
30288841          Name on file                            Address on file
30287643          Name on file                            Address on file
30281497          Name on file                            Address on file
30331590          Name on file                            Address on file
30260811          Name on file                            Address on file
30259270          Name on file                            Address on file
30200757          OCEAN NETWORK EXPRESS PTE LTD           8730 STONY POINT PARKWAY                                                                                    RICHMOND                  VA           23235
                                                          c/o Ocean Network Express (North
30331335          Ocean Network Express Pte. Ltd.         America) Inc.                      8730 Stony Point Parkway      Suite 400                                  Richmond                  VA           23235
29917071          OCEANSTAR DESIGN GROUP INC.             P.O. BOX 5076                                                                                               DIAMOND BAR               CA           91765
30223417          Name on file                            Address on file
30259929          Name on file                            Address on file
30259711          Name on file                            Address on file
30256716          Name on file                            Address on file
30285527          Name on file                            Address on file
30287447          Name on file                            Address on file
30262150          Name on file                            Address on file
30283233          Name on file                            Address on file
30275388          Name on file                            Address on file
30222762          Name on file                            Address on file
30258426          Name on file                            Address on file
30285405          Name on file                            Address on file
29917072          OCS TECHNOLOGIES INC                    OHIO COUNTING SCALE INC            14901 EMERY AVENUE                                                       CLEVELAND                 OH           44135




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  ADDRESS ID                           NAME                                    ADDRESS 1                         ADDRESS 2                     ADDRESS 3                ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30280130          Name on file                                  Address on file
30286980          Name on file                                  Address on file
30262130          Name on file                                  Address on file
30280710          Name on file                                  Address on file
30261412          Name on file                                  Address on file
30164084          ODP Business Solutions, LLC                   Shraiberg Page P.A.                  Attn: Bradley Shraiberg      2385 NW Executive Center Dr.   #300               Boca Raton             FL           33431
30259421          Name on file                                  Address on file
30257943          Name on file                                  Address on file
29951798          OEC‐OKLAHOMA ELECTRIC COOPERATIVE             2520 HEMPHILL DR.                                                                                                   NORMAN                 OK           73069
30259403          Name on file                                  Address on file
30257329          Name on file                                  Address on file
30186352          Off Duty Security Inc                         3387 KIRK RIDGE ROAD                                                                                                MURRAY                 KY           42071
29951801          OFF DUTY SECURITY INC                         3387 KIRK RIDGE ROAD                                                                                                MURRAY                 KY           42071
30262280          Off Duty, Inc.                                3387 Kirk Ridge Road                                                                                                Murray                 KY           42971
29937838          OFFICE OF ENVIRONMENTAL HEALTH HAZA           ASSESSMENT                           1001 I STREET                                                                  SACRAMENTO             CA           95814
30222010          Name on file                                  Address on file
29937846          OG&E ‐OKLAHOMA GAS & ELECTRIC SERVICE         321 N HARVEY, PO BOX 321                                                                                            OKLAHOMA CITY          OK           73101‐0321
30257062          Name on file                                  Address on file
30257221          Name on file                                  Address on file
30261630          Name on file                                  Address on file
30286971          Name on file                                  Address on file
29937848          OGLETREE DEAKINS NASH                         SMOAK & STEWART PC                   PO BOX 89                                                                      COLUMBIA               SC           29202

29972656          Ogletree, Deakins, Nash, Smoak, & Stewart. P.C PO BOX 89                                                                                                          Columbia               SC           29202
30262162          Name on file                                   Address on file
30258857          Name on file                                   Address on file
30292614          OH Waterville LLC                              c/o Metropolis Prop Mgmt GRP Inc.   1662 Elm Street                                                                Manchester             NH           03101

29937850          OH WATERVILLE LLC                             C/O METROPOLIS PROP MGMT GRP INC     1662 ELM STREET                                                                MANCHESTER             NH           03101
30286131          Name on file                                  Address on file
30296396          Name on file                                  Address on file
30259226          Name on file                                  Address on file
30260994          Ohio Bureau of Workers’ Compensation          PO Box 15567                                                                                                        Columbus               OH           43215‐0567
30258537          Ohio Bureau of Workers’ Compensation          PO Box 15567                                                                                                        Columbus               OH           43215‐0567
30263287          Ohio Edison                                   5001 NASA Blvd                                                                                                      Fairmont               WV           26554
29937858          OHIO EDISON                                   76 S MAIN ST BSMT                                                                                                   AKRON                  OH           44308‐1817
30256598          Ohio Edison                                   5001 NASA Blvd                                                                                                      Fairmont               WV           6554
29937860          OHIO GAS COMPANY                              200 W HIGH ST                                                                                                       BRYAN                  OH           43506
30275863          Ohio Power Company d/b/a AEP Ohio             Attn: Jason Reid                     1 Riverside Plaza            13th Floor                                        Columbus               OH           43215
30284754          Name on file                                  Address on file
30259437          Name on file                                  Address on file
29937871          OKALOOSA GAS DISTRICT, FL                     364 VALPARAISO PKWY                                                                                                 VALPARAISO             FL           32580
30262003          Name on file                                  Address on file
30261827          Name on file                                  Address on file
30258793          Oklahoma Gas and Electric                     Nate Kern                            PO Box 321 M223                                                                Oklahoma City          OK           73101
29961978          OKLAHOMA NATURAL GAS CO: KANSAS CITY          401 N. HARVEY                                                                                                       OKLAHOMA CITY          OK           73101‐0401
29949404          OKLAHOMA STATE TREASURER                      UNCLAIMED PROPERTY DIVISION          9520 NORTH MAY AVE           LOWER LEVEL                                       OKLAHOMA CITY          OK           73120
30206974          Oklahoma Tax Commission                       General Counsel's Office             PO Box 269056                                                                  Oklahoma City          OK           73126
30206579          Oklahoma Tax Commission                       General Counsel's Office             PO Box 269056                                                                  Oklahoma City          OK           73126
30256806          Name on file                                  Address on file
30296881          Name on file                                  Address on file
30222915          Name on file                                  Address on file
30280770          Name on file                                  Address on file
30275319          Name on file                                  Address on file
30260797          Name on file                                  Address on file
30294810          Name on file                                  Address on file
29937893          OLFA U.S.A. INC                               5201 E US HIGHWAY 36                 STE 213                                                                        AVON                   IN           46123‐7839
29973836          OLFA U.S.A. Inc.                              5201 E. US Hwy 36, Suite 213                                                                                        Avon                   IN           46123
30274673          Name on file                                  Address on file
30260115          Name on file                                  Address on file
30278756          Name on file                                  Address on file
29937910          OLIVER D OUSTERHOUT                           Address on file
30295488          Name on file                                  Address on file
30289107          Name on file                                  Address on file




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  ADDRESS ID                           NAME                                 ADDRESS 1                             ADDRESS 2                         ADDRESS 3                           ADDRESS 4                         CITY        STATE     POSTAL CODE        COUNTRY
29938082          OLIVIA WRIGHT                               Address on file
30276937          Name on file                                Address on file
30277010          Name on file                                Address on file
30276726          Name on file                                Address on file
30261355          Name on file                                Address on file
30222289          Name on file                                Address on file
30282896          Name on file                                Address on file
30282914          Name on file                                Address on file
30275914          Name on file                                Address on file
30258961          Name on file                                Address on file
30225341          Name on file                                Address on file
30262747          Name on file                                Address on file
30273995          Name on file                                Address on file
30285347          Name on file                                Address on file
30257925          Name on file                                Address on file
30259185          Name on file                                Address on file
30282774          Name on file                                Address on file
30160501          Omaha Public Power Disctict                 PO Box 3995                                                                                                                           Omaha                        NE           68103
29938089          OMAHA PUBLIC POWER DISTRICT                 444 S 16TH ST. MALL                                                                                                                   OMAHA                        NE           68102‐2247
30281849          Name on file                                Address on file
29938098          OMG HOME DECO LIMITED                       ROOM 1003, 10/F, TOWER 1, LIPPO CEN     89 QUEENSWAY, ADMIRALTY                                                                       HONG KONG                                 852             HONG KONG
29938099          OMNI SYSTEMS INC                            OMNI‐ITW                                PO BOX 735536                                                                                 CHICAGO                      IL           60673‐5536
30257794          Name on file                                Address on file
30289195          Name on file                                Address on file
30225291          Name on file                                Address on file
30280496          Name on file                                Address on file
30296563          Name on file                                Address on file
30262697          Name on file                                Address on file
30260962          Name on file                                Address on file
30281332          Name on file                                Address on file
30224151          OOCL (USA) Inc.                             Metro Group Maritime                    Bryan D. Press                    49 W. Mt. Pleasant Ave., #2371                              Livingston                   NJ           07039
29938114          OOCL USA INC                                801 WARRENVILLE RD, SUITE 300                                                                                                         LISLE                        IL           60532
30285467          Name on file                                Address on file
30262328          Name on file                                Address on file
29966218          Optimum Buying Ltd                          Half Oak House                          28 Watford Road                                                                               Northwood                                 HA6 3NT         United Kingdom
30183192          Optimum Buying Ltd.                         Half Oak House                          28 Watford Road                                                                               Northwood                                 HA6 3NT         United Kingdom
30291077          Name on file                                Address on file
30331014          Oracle America, Inc. ("Oracle")             Buchalter, a Professional Corporation   c/o Shawn M. Christianson, Esq.   425 Market St.                   Suite 2900                 San Francisco                CA           94105
29938125          ORANGE AND ROCKLAND UTILITIES (O&R)         390 W. ROUTE 59                                                                                                                       SPRING VALLEY                NY           10977
29950700          ORCHARD YARN & THREAD CO INC                DBA LION BRAND YARN                     125 CHUBB AVE                                                                                 LYNDHURST                    NJ           07071
30197809          Orchard Yarn and Thread Company Inc         Attn: Philip Ferrigno                   125 Chubb Ave                                                                                 Lyndhurst                    NJ           07071
30280784          Name on file                                Address on file

30200803          ORCHARDS MARKET CENTER LLC                  C/O CBRE, INC ATTN: MELANIE REASON      6070 POPLAR AVE., SUITE 500                                                                   MEMPHIS                      TN           38119
30331920          Orchards Market TEI Equities LLC            c/o R3M Law, LLP                        Jeffrey N. Rich                   6 East 43rd Street               21st Floor                 New York                     NY           10017
30282446          Name on file                                Address on file
30287241          Name on file                                Address on file
30293531          Name on file                                Address on file
29938138          OREM FAMILY CENTER LLC                      C/O ARCADIA MGMT GROUP INC              PO BOX 10                                                                                     SCOTTSDALE                   AZ           85252
                                                                                                      11770 HAYNES BRIDGE RD., #205‐
29938141          ORF VII FELCH STREET LLC                    PINNACLE LEASING & MGMT LLC             542                                                                                           ALPHARETTA                   GA           30009
29938143          ORF VIII LAKELAND PLAZA LLC                 11770 HAYNES BRIDGE RD #205‐542                                                                                                       ALPHARETTA                   GA           30009
29938145          ORF X WATERSIDE LLC                         C/O PINNACLE LEASING & MGMT LLC         11770 HAYNES BRIDGE RD.,                                                                      ALPHARETTA                   GA           30009
30288226          Name on file                                Address on file
29938153          ORIENTAL CRAFT IND CO LTD                   TECHNOLOGY PARK                         18 ON LAI STREET                                                                              SHATIN, N.T.                              999077          HONG KONG
30206570          Oriental Craft Industries Company Limited   Rm 01, 19/F                             Technology Park                   18 On Lai St.                    Shatin, N.T.               Hong Kong                                                 Hong Kong
30331859          Name on file                                Address on file
29938156          ORION K. SANGUINE                           Address on file
29938165          ORLANDO UTILITIES COMMISSION                100 WEST ANDERSON STREET                                                                                                              ORLANDO                      FL           32801
30285523          Name on file                                Address on file
                                                                                                      MERKEZ MAH.BAGLAR CAD.NO:
29975489          ORMO ITHALAT IHRACAT A.S                    KEZBAN OZLEM KARAKAS                    14/B                                                                                          ISTANBUL, TR                              34406           TURKEY
30259193          Ormo Ithalat Ihracat A.S.                   c/o Ask LLP                             Attn: Marianna Udem               2600 Eagan Woods Drive,          Suite 400                  Saint Paul                   MN           55121
30182382          Ormo Ithalat Ve Ihracat A.S                 Merkez Mahallesi, Baglar Caddesi 14/B                                                                                                 Kagithane, Istanbul                       34406           Turkey




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                                                        KAGITHANE OFISPARK, MERKEZ        FAITH CAD. GOLYOLU HARMANSAZI
29938169          ORMO ITHALAT VE IHRACAT AS            MAHALLES                          MEVKIT                                                                                  ORHANGAZI                             16800           TURKEY
30258043          Name on file                          Address on file
30224368          Name on file                          Address on file
30274764          Name on file                          Address on file
30284859          Name on file                          Address on file
30285079          Name on file                          Address on file
30224358          Name on file                          Address on file
30289511          Name on file                          Address on file
30295763          Name on file                          Address on file
30258338          Name on file                          Address on file
30276252          Name on file                          Address on file
30273662          Name on file                          Address on file
30289145          Name on file                          Address on file
30275199          Name on file                          Address on file
30275279          Name on file                          Address on file
30222113          Name on file                          Address on file
30257672          Name on file                          Address on file
29938186          OSJ OF SEEKONK LLC                    ATTN: ACCOUNTS RECEIVABLE         375 COMMERCE PARK RD.                                                                   NORTH KINGSTOWN          RI           02852
30278537          OSMENT MODELS, INC.                   3500 Lacey Rd                     Suite 220                                                                               Downers Grove            IL           60515
30275087          Name on file                          Address on file
30221992          Name on file                          Address on file
30221992          Name on file                          Address on file
30224036          Name on file                          Address on file
30291038          Name on file                          Address on file
30200678          OTIS ALSTON                           C/O W. CALVIN SMITH II, PC        ATTN: COURTNEE HOOD             3560 LENOX RD. N.E.            SUITE 3020               ATLANTA                  GA           30326
30222772          Name on file                          Address on file
30222772          Name on file                          Address on file
30231678          Name on file                          Address on file
30258360          Name on file                          Address on file
30292919          Name on file                          Address on file
30273582          Name on file                          Address on file
30262492          Name on file                          Address on file
29938194          OTTER TAIL POWER COMPANY              215 SOUTH CASCADE STREET                                                                                                  FERGUS FALLS             MN           56537
30273233          Name on file                          Address on file
29938195          OTTLITE TECHNOLOGIES INC              1715 N WESTSHORE BLVD SUITE 400                                                                                           TAMPA                    FL           33607
29938195          OTTLITE TECHNOLOGIES INC              1715 N WESTSHORE BLVD SUITE 400                                                                                           TAMPA                    FL           33607
29938196          OTTLITE TECHNOLOGIES, INC.            1715 N WESTSHORE BLVD, STE 950                                                                                            TAMPA                    FL           33607
30331071          Name on file                          Address on file
30274124          Name on file                          Address on file
29938201          OUTER DRIVE 39 DEVELOP CO LLC         PO BOX 72481                                                                                                              CLEVELAND                OH           44192
30200660          Outlaw, Felicia                       Address on file
30200660          Outlaw, Felicia                       Address on file
30261408          Name on file                          Address on file
30295113          Name on file                          Address on file
30274817          Name on file                          Address on file
30285069          Name on file                          Address on file
30260165          Name on file                          Address on file
30280754          Name on file                          Address on file
30256874          Name on file                          Address on file
30282664          Name on file                          Address on file
30276720          Name on file                          Address on file
30281728          Name on file                          Address on file
30224959          Name on file                          Address on file
30262258          Name on file                          Address on file
30291945          Name on file                          Address on file
30276851          Name on file                          Address on file
30258779          Name on file                          Address on file
30286103          Name on file                          Address on file
30291680          Name on file                          Address on file
30274693          Name on file                          Address on file
30260717          Name on file                          Address on file
29938223          OWENSBORO MUNICIPAL UTILITIES (OMU)   2070 TAMARACK ROAD                                                                                                        OWENSBORO                KY           42301
30284611          Name on file                          Address on file




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  ADDRESS ID                           NAME                               ADDRESS 1                             ADDRESS 2                        ADDRESS 3          ADDRESS 4                     CITY        STATE     POSTAL CODE       COUNTRY
30278910          Name on file                             Address on file
30167169          Oxford Valley Road Associates            Jeffrey Kurtzman, Esquire                101 N. Washington Avenue         Suite 4A                                   Margate                  NJ           08402
30184557          Oxford Valley Road Associates            Jeffrey Kurtzman,Esquire                 101 N Washington Avenue          Suite 4A                                   Margate                  NJ           08402
29962026          OXFORD VALLEY ROAD ASSOCIATES LP         PO BOX 935775                                                                                                        ATLANTA                  GA           31193‐5775
30297630          Name on file                             Address on file
29938233          P/KAUFMANN                               Address on file
30224366          Name on file                             Address on file
30274619          Name on file                             Address on file
30331812          Name on file                             Address on file
29938237          PACIFIC GAS & ELECTRIC                   300 LAKESIDE DRIVE, SUITE 210                                                                                        OAKLAND                  CA           94612
29938239          PACIFIC ISLAND CREATIONS CO LTD          6F, NO8, LANE 321, YANGGUANG ST                                                                                      NEIHU DIST, TPE                       11491           TAIWAN
30201550          PACIFIC ISLAND CREATIONS CO., LTD.       6F NO8 LANE 321 YANG GUANG ST            NEIHU DIST                                                                  TAIPEI                                11491           TAIWAN
30181628          PACIFIC ISLAND CREATIONS CO.,LTD.        6F, NO.8, Lane 321, YANG GUANG ST        NEIHU DIST                                                                  TAIPEI                                11491           TAIWAN
29938242          PACIFIC POWER‐ROCKY MOUNTAIN POWER       825 NE MULTNOMAH ST                      STE 1800                                                                    PORTLAND                 OR           97232‐2149
29938243          PACIFIC REALTY ASSOCIATES LP             COS334/JOANN2101                         PO BOX 4500 UNIT 98                                                         PORTLAND                 OR           97208
                                                           Attn: Jeffrey Alan Oswald, Real Estate
30341915          Pacific Realty Associates, L.P.          Counsel                                  15350 SW Sequoia Parkway         Suite 300                                  Portland                 OR           97224
29938248          PACKARD PLAZA PARTNERS LLC               1970 BEACON ST.                                                                                                      WABAN                    MA           02468
30275311          Name on file                             Address on file
30295243          Name on file                             Address on file
30261424          Name on file                             Address on file
30221998          Name on file                             Address on file
30287697          Name on file                             Address on file
30257804          Name on file                             Address on file
30258725          Name on file                             Address on file
30222046          Name on file                             Address on file
30276159          Name on file                             Address on file
30285087          Name on file                             Address on file
30279704          Name on file                             Address on file
30260821          Name on file                             Address on file
30257569          Name on file                             Address on file
30285103          Name on file                             Address on file
30276417          Name on file                             Address on file
30292343          Name on file                             Address on file
29976223          Paisley Crafts LLC                       5661 E. Shields Ave.                                                                                                 Fresno                   CA           93727
29962062          PAISLEY CRAFTS LLC DBA I LOVE TO CR      5673 E SHIELDS AVE                                                                                                   FRESNO                   CA           93727
30231901          Paisley Crafts, LLC                      5661 E Shields Ave                                                                                                   Fresno                   CA           93727
30280902          Name on file                             Address on file

29938307          PAL PROPERTIES                           C/O GARY A TAYLOR INVESTMENT CO          2574 CHRISTMASVILLE COVE STE H                                              JACKSON                  TN           38305
30263297          Name on file                             Address on file
30224591          Name on file                             Address on file
29949620          PALITEX                                  LANTING INDUSTRIAL ZONE                  130                                                                         SHAOXING                              312000          CHINA
30331111          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331232          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331235          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331242          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331247          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331116          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331121          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331121          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331129          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331202          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331211          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331221          Palitex, Inc.                            1384 Broadway                            Suite 500                                                                   New York                 NY           10018
30331226          Palitex, Inc.                            384 Broadway                             Suite 500                                                                   New York                 NY           10018
30274215          Name on file                             Address on file
30222480          Name on file                             Address on file
30294205          Name on file                             Address on file
30282353          Palm Beach County Water Utilities Dept   301 N. Olive Ave                         7th Floor                                                                   West Palm Beach          FL           33401
30200872          PALM OCCUPATIONAL MEDICINE &             WALK IN CLINIC                           235 EAST NOBLE AVE                                                          VISALIA                  CA           93277
30274481          Name on file                             Address on file
30286127          Name on file                             Address on file
30261600          Name on file                             Address on file




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30257822          Name on file                      Address on file
30331435          Name on file                      Address on file
30283003          Name on file                      Address on file
30260384          Name on file                      Address on file
30263570          Name on file                      Address on file
30262264          Name on file                      Address on file
30227086          Name on file                      Address on file
30288558          Name on file                      Address on file
29938328          PALOUSE MALL LLC                  US BANK NATIONAL ASSOCIATION            PO BOX 94105                                                                             SEATTLE                WA           98124‐6405
30285962          Name on file                      Address on file
30256890          Pam Transport                     PO BOX 188                                                                                                                       Tontitown              AR           72770‐0188
29938336          PAM TRANSPORT INC                 PO BOX 1000 DEPT 340                                                                                                             MEMPHIS                TN           38148‐0340
29938365          PAMELA HEATON                     Address on file
                                                    GUAN GUANG RD 1104# MISSION HILLS
29938418          PAN ASIAN CREATIONS LIMITED       RD                                      Z11                                                                                      SHENZHEN                                            CHINA
30166359          Pan Asian Creations Ltd.          Law Office of Nathan A. Schultz, P.C.   Nathan A. Schultz                10621 Craig Road                                        Traverse City          MI           49686
30165072          Pan Asian Creations Ltd.          Law Office of Nathan A. Schultz, P.C.   10621 Craig Road                                                                         Traverse City          MI           49686
30275097          Name on file                      Address on file
30276384          Panacea Products Corporation      Attention To: Matt Frame                2711 International Street                                                                Columbus               OH           43228
29938420          PANACEA PRODUCTS CORPORATION      4343 WILLIAMS RD.                                                                                                                GROVEPORT              OH           43125
29938421          PANACHE (INDIA) INTERNATIONAL     804 UDYOG VIHAR PHASE‐5                 GURGAON                                                                                  HARYANA                             122016          INDIA
30292914          Name on file                      Address on file
30296006          Name on file                      Address on file
                                                    6850 E GREEN LAKE WAY NORTH SUITE
29938425          PANOS PROPERTIES LLC              201                                                                                                                              SEATTLE                WA           98115
30261008          Name on file                      Address on file
30293416          Name on file                      Address on file
30274088          Name on file                      Address on file
30295567          Name on file                      Address on file
29917087          PAPER HOUSE PRODUCTIONS           160 MALDEN TURNPIKE, BLDG #2                                                                                                     SAUGERTIES             NY           12477
29917088          PAPER HOUSE PRODUCTIONS INC       160 MALDEN TURNPIKE BUILDING #2                                                                                                  SAUGERTIES             NY           12477
30165131          Paper House Productions, Inc      160 Malden Tpk                                                                                                                   Saugerties             NY           12477
29917089          PAPER MAGIC GROUP (HONG KONG)     LIMITED                                 21 MA TAU WAI ROAD                                                                       HUNG HORN                                           HONG KONG
30331533          PAPF Roseburg, LLC                101 Larkspur Landing Circle             Suite 120                                                                                Larkspur               CA           94939
30279835          Name on file                      Address on file
29917093          PARADISE ATLANTIC HOLDINGS LLC    2801 E. CAMELBACK RD., #450                                                                                                      PHOENIX                AZ           85016
30296228          Paradise Atlantic Holdings, LLC   Burch & Cracchiolo, PA                  c/o Alan Meda                    1850 N Central Ave             Suite 1700               Phoenix                AZ           85004

30197880          Name on file                      Address on file
29938433          Name on file                      Address on file
30339348          Name on file                      Address on file
30332823          Name on file                      Address on file
30402053          Name on file                      Address on file
30273724          Name on file                      Address on file
30276797          Name on file                      Address on file
30274336          Name on file                      Address on file
30274308          Name on file                      Address on file
30284877          Name on file                      Address on file
30263391          Name on file                      Address on file
30292771          Name on file                      Address on file
30274998          Name on file                      Address on file
29938440          PARIS CORPORATION OF NJ           800 HIGHLAND DRIVE                                                                                                               WESTAMPTON             NJ           08060
30279671          Name on file                      Address on file
30296332          Name on file                      Address on file
29938455          PARK ASSOCIATES                   PO BOX 76558                                                                                                                     CLEVELAND              OH           44101‐6500
30296981          Park Associates LP                c/o Zamagias Properties                 Attn: Daniel P. Gustine          336 Fourth Avenue                                       Pittsburgh             PA           15222
29949627          PARK PLACE TECHNOLOGIES LLC       5910 LANDERBROOK DR                                                                                                              CLEVELAND              OH           44124
29938457          PARK PLAZA COMPANIES              723 GRANVILLE RD                                                                                                                 NEWARK                 OH           43055
29938458          PARK PLAZA JOINT VENTURE LLC      C/O THE STAENBERG GROUP                 2127 INNERBELT BUS CTR DR #200                                                           SAINT LOUIS            MO           63114
30291590          Park Plaza Joint Venture, LLC     2127 Innerbelt Business Center          Suite 200                                                                                Overland               MO           63114
30279058          Name on file                      Address on file
30283157          Name on file                      Address on file
30262538          Name on file                      Address on file
30181606          Parker Associates                 2560 Ninth Street                       Suite 117                                                                                Berkeley               CA           94710




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  ADDRESS ID                           NAME                                   ADDRESS 1                             ADDRESS 2                        ADDRESS 3                       ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY
                                                               ATTN: SHAUNA ROBERTS, ELENA
29938463          PARKER ASSOCIATES                            HOLSMAN                                  2560 NINTH ST., SUITE 117                                                                BERKELEY                 CA           94710
30261858          Name on file                                 Address on file
30256784          Name on file                                 Address on file
30290064          Name on file                                 Address on file
30276698          Name on file                                 Address on file
30275964          Name on file                                 Address on file
30284065          Name on file                                 Address on file
30260201          Name on file                                 Address on file
30285557          Name on file                                 Address on file
30273958          Name on file                                 Address on file
30263130          Name on file                                 Address on file
30273916          Name on file                                 Address on file
29938476          PARKINDY LLC                                 PO BOX 2251                                                                                                                       INDIANAPOLIS             IN           46206
30255362          Name on file                                 Address on file
29938479          PARKVIEW PLAZA ASSOC I LLC                   PO BOX 72353                                                                                                                      CLEVELAND                OH           44192
30295744          Parkview Plaza Associates I, L.L.C.          c/o Riverview Management Company         3200 West Market Street,         Suite 200                                               Fairlawn                 OH           44333
29938482          PARKWAY VF LLC                               C/O BOLLAG REALTY                        1009 EAST 14TH STREET                                                                    BROOKLYN                 NY           11230
30357078          Name on file                                 Address on file
30278861          Name on file                                 Address on file
30296032          Name on file                                 Address on file
30292045          Name on file                                 Address on file
30287126          Name on file                                 Address on file
30285493          Name on file                                 Address on file
30276653          Name on file                                 Address on file
30259963          Name on file                                 Address on file
30284183          Partners, Azco                               Regency Centers, LP / Attn: Legal Dept   1 Independent Drive, Suite 114                                                           Jacksonville             FL           32202
30281819          Name on file                                 Address on file
30274380          Name on file                                 Address on file
30262743          Name on file                                 Address on file
30285702          Name on file                                 Address on file
30284131          Name on file                                 Address on file
29938500          PASCO COUNTY UTILITIES                       8731 CITIZENS DR                                                                                                                  NEW PORT RICHEY          FL           34654
30285455          Name on file                                 Address on file
30276427          Name on file                                 Address on file
30273886          Name on file                                 Address on file
30260693          Name on file                                 Address on file
30293268          Name on file                                 Address on file
30257422          Name on file                                 Address on file
30260087          Name on file                                 Address on file
30274410          Name on file                                 Address on file
30260225          Name on file                                 Address on file
30260697          Name on file                                 Address on file
30200709          PATRICIA K. MONROE                           Address on file
30200679          PATRICK O'CONNOR                             C/O GRIFFEN & STEVENS                    ATTN: RYAN STEVENS               609 N HUMPHREYS ST.                                     FLAGSTAFF                AZ           86001
30285371          Name on file                                 Address on file
30257601          Name on file                                 Address on file
30285495          Name on file                                 Address on file
30276029          Name on file                                 Address on file
30259656          Name on file                                 Address on file
30262631          Name on file                                 Address on file
30225141          Name on file                                 Address on file
30273718          Name on file                                 Address on file
30284642          Name on file                                 Address on file
30293950          Name on file                                 Address on file
29938699          PAUL FERGUSON                                Address on file
30297380          Name on file                                 Address on file
30259849          Name on file                                 Address on file
30279511          Name on file                                 Address on file
30262390          Name on file                                 Address on file
30332849          Name on file                                 Address on file
30261943          Name on file                                 Address on file
                  Pavilion North Shopping Center 18, LLC and
30291706          Pavilion North Shopping Center 18B, LLC      Fennemore Craig, P.C.                    Patrick R. Akers                 3615 Delgany Street            Suite 1100               Denver                   CO           80216




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30285824          Name on file                          Address on file
30222048          Name on file                          Address on file
30256824          Name on file                          Address on file
30167119          Pay Governance LLC                    PO Box M                                                                                                                       Yardley                PA           19067
29962163          PAY GOVERNANCE LLC                    56 S. MAIN ST., UNIT M                                                                                                         YARDLEY                PA           19067
30261801          Name on file                          Address on file
30286357          Name on file                          Address on file
30262627          Name on file                          Address on file
30331821          Name on file                          Address on file
30285210          Name on file                          Address on file
30261754          Name on file                          Address on file
30292523          Name on file                          Address on file
30278711          Name on file                          Address on file
30258704          Name on file                          Address on file
30275026          Name on file                          Address on file
30274227          Name on file                          Address on file
29938795          PBA II LLC                            C/O CROSSPOINT REALTY SERVICES         PO BOX 45577                                                                            SAN FRANCISCO          CA           94145‐0577
29938798          PC II VERTICAL LLC                    FBO CCRE LENDING LP                    7103 SOLUTION CTR                                                                       CHICAGO                IL           60677
29938800          PCP GROUP LLC                         DBA PELLON CONSUMER JOANN.COM          4801 ULMERTON ROAD                                                                      CLEARWATER             FL           33762
30294677          PCP Group, LLC                        c/o Forchelli Deegan Terrana LLP       Attn: Gerard R. Luckman, Esq.   333 Earle Ovington Boulevard   Suite 1010               Uniondale              NY           11553
30295578          PCP Group, LLC                        c/o Forchelli Deegan Terrana LLP       Attn: Gerard R. Luckman, Esq.   333 Earle Ovington Boulevard   Suite 1010               Uniondale              NY           11553
29938801          PCP GROUP, LLC                        C/O FORCHELLI DEEGAN TERRANA LLP       ATTN: GERARD LUCKMAN            333 EARLE OVINGTON BLVD.       SUITE 1010               UNIONDALE              NY           11553
30163954          PCT VINYL                             5790 Cote De Liesse                                                                                                            Montreal               QC           H4T 1B1         Canada
30261220          PCT VINYL                             PO BOX 382                             SUCC SNOWDON                                                                            MONTREAL               QC           H3X 3T6         CANADA
30296983          PCT VINYL                             422 ISABEY STREET                                                                                                              MONTREAL, QC                        H4T 1V3         CANADA
29938802          PCT VINYL                             1704 US STATE ROUTE 11                                                                                                         MOOERS                 NY           12958
30258069          Name on file                          Address on file
30287741          Name on file                          Address on file
30278951          Name on file                          Address on file
30274271          Name on file                          Address on file
30260093          Name on file                          Address on file
30263108          Name on file                          Address on file
                                                                                               G‐104 Yamuna Apartments
30164352          Pebbles                               A Thomas Abraham                       Alaknanda                                                                               New Delhi                           110019          India
29938815          PEBBLES                               G‐104 YAMUNA APARTMENTS                ALAKNANDA, NEW DELHI,                                                                   DELHI                               110019          INDIA
30284340          Name on file                          Address on file
30258555          Name on file                          Address on file
30225030          Name on file                          Address on file
30273720          Name on file                          Address on file
30292992          Peckham KF, LLC and Peckham PH, LLC   c/o Law Offices of Amy N. Tirre, APC   1495 Ridgeview Drive            Suite 90                                                Reno                   NV           89519
29938817          PECKHAM SQUARE LLC                    C/O KAMPAR CORP                        6338 WILSHIRE BLVD                                                                      LOS ANGELES            CA           90048
29938820          PECO/37629                            2301 MARKET STREET                                                                                                             PHILADELPHIA           PA           19103
30200778          PECO‐ARC INSTITUTIONAL REIT LLC       RICHMOND STATION LLC DEPT 3145         PO BOX 2252                                                                             BIRMINGHAM             AL           35246‐3145
30275183          Name on file                          Address on file
30274854          Name on file                          Address on file
30213107          Pedersen, Floyd                       Address on file
30274310          Name on file                          Address on file
30260757          Name on file                          Address on file
30259101          Name on file                          Address on file
30279103          Name on file                          Address on file
30260679          Name on file                          Address on file
30276920          Name on file                          Address on file
30278736          Name on file                          Address on file
30275453          Name on file                          Address on file
30260457          Name on file                          Address on file
30290106          Name on file                          Address on file
30279025          Name on file                          Address on file
29962188          PELLON CONSUMER PRODUCTS/PCP GROUP    4801 ULMERTON ROAD                                                                                                             CLEARWATER             FL           33762‐4148
30273606          Name on file                          Address on file
30276612          Name on file                          Address on file
30262665          Name on file                          Address on file
29962193          PENAS DISPOSAL INC                    DBA COUNTYWIDE SHREDDING               12094 AVENUE #408                                                                       CUTLER                 CA           93615
30260471          Name on file                          Address on file
30261580          Name on file                          Address on file




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30281310          Penelec                                         First Energy                               101 Crawford's Corner Rd Bldg. #1   Suite 1‐511                                             Holmdel                  NJ           07733
29962195          PENELEC                                         14997 PARK AVENUE EXT                                                                                                                  MEADVILLE                PA           16335‐9493
30285007          Name on file                                    Address on file
29962199          PENN POWER                                      76 S MAIN ST BSMT                                                                                                                      AKRON                    OH           44308‐1817
30260017          Penn Power                                      5001 NASA Blvd                                                                                                                         Fairmont                 WV           26554
30259067          Name on file                                    Address on file
30261306          Name on file                                    Address on file
29962206          PENNICHUCK WATER WORKS, INC.                    25 WALNUT STREET                                                                                                                       NASHUA                   NH           03061‐0428
29962207          PENNMARK COVENTRY HOLDINGS LLC                  1000 GERMANTOWN PIKE #A2                                                                                                               PLYMOUTH MEETING         PA           19462
29938866          PENNSYLVANIA AMERICAN WATER                     852 WESLEY DRIVE                                                                                                                       MECHANICSBURG            PA           17055
29938884          PENNY RACINE LLC                                CIBM‐ELM GROVE                             12700 W. BLUEMOUND RD., #150                                                                ELM GROVE                WI           53122
30221968          Name on file                                    Address on file
30221968          Name on file                                    Address on file
29938898          PENSHURST REALTY OF DE LLC                      PO BOX 946748                                                                                                                          ATLANTA                  GA           30394‐6748
30295898          Penta, Cheryl Ann                               Address on file
29938902          PEOPLES GAS                                     200 E. RANDOLPH ST.                                                                                                                    CHICAGO                  IL           60601
30295325          Peoples Gas Light & Coke Company                200 East Randolph St                                                                                                                   Chicago                  IL           60601
29938905          PEOPLES/644760                                  200 E. RANDOLPH ST.                                                                                                                    CHICAGO                  IL           60601‐6302

29938908          PEPCO (POTOMAC ELECTRIC POWER COMPANY) 701 9TH STREET NW                                                                                                                               WASHINGTON               DC           20001
29938909          PEPPERELL BRAIDING                     22 LOWELL ST                                                                                                                                    PEPPERELL                MA           01463
29938909          PEPPERELL BRAIDING                     22 LOWELL ST                                                                                                                                    PEPPERELL                MA           01463
30164313          Pepperell Braiding Company Inc.        22 Lowell St                                                                                                                                    Pepperell                MA           01463
29938910          PEPPERELL CRAFTS OF NINGBO             NO 1ST OF XIAOFENG ROAD                             XIAOWANGMIAO STREET                                                                         FENGHUA NINGBO                                        CHINA

30297563          PepsiCo Sales, Inc.                             Burke, Warren, MacKay & Serritella, P.C.   c/o Jeremy C. Kleinman              330 North Wabash Avenue        Suite 2100               Chicago                  IL           60611‐3607
29938911          PEPSICOLA BEVERAGE SALES LLC                    700 ANDERSON HILL ROAD                                                                                                                 PURCHASE                 NY           10577
30222040          Name on file                                    Address on file
30288236          Name on file                                    Address on file
30260169          Name on file                                    Address on file
30256985          Name on file                                    Address on file
30263323          Name on file                                    Address on file
30282220          Name on file                                    Address on file
30276479          Name on file                                    Address on file
30200568          PERFORMANCE HORIZON GROUP LTD                   PARTNERIZE                                 PO BOX 22736                                                                                NEW YORK                 NY           10087‐2736

30260402          Performance Horizon Group Ltd. t/a Partnerize   8th Floor, West One                        Forth Banks                                                                                 New Castle Upon Tyne                  NE1 3PA         United Kingdom
30277291          Name on file                                    Address on file
30257320          Name on file                                    Address on file
29962211          PERLER                                          2015 W FRONT STREET                                                                                                                    BERWICK                  PA           18603
30257818          Name on file                                    Address on file
30262125          Name on file                                    Address on file
30274603          Name on file                                    Address on file
30275245          Name on file                                    Address on file
30330907          Name on file                                    Address on file
30286716          Name on file                                    Address on file
30296398          Name on file                                    Address on file
30277352          Name on file                                    Address on file
30331665          Name on file                                    Address on file
30280826          Name on file                                    Address on file
30200705          PERSEPHONE MIRANDA                              C/O WILSHIRE LAW FIRM                      3055 WILSHIRE BOULEVARD             12TH FLOOR                                              LOS ANGELES              CA           90010
30260597          Name on file                                    Address on file
29938926          PERU GKD PARTNERS LLC                           ATTN: MELISSA BORGMANN                     3940 ROUTE 251, SUITE E‐1                                                                   PERU                     IL           61354
30257233          Peru Gkd Partners, LLC                          c/o GK Development, Inc.                   257 E. Main Street, Suite 200                                                               Barrington               IL           60010
30297534          PERU GKD PARTNERS, LLC                          C/O GK REAL ESTATE                         257 EAST MAIN STREET                SUITE 200                                               BARRINGTON               IL           60010
30285475          Name on file                                    Address on file
30287239          Name on file                                    Address on file
30294321          Name on file                                    Address on file
30275378          Name on file                                    Address on file
30262812          Name on file                                    Address on file
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30331894          Name on file                                    Address on file
30280694          Name on file                                    Address on file




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  ADDRESS ID                           NAME                                   ADDRESS 1                            ADDRESS 2                       ADDRESS 3          ADDRESS 4                       CITY        STATE     POSTAL CODE           COUNTRY
30282852          Name on file                                  Address on file
30331726          Name on file                                  Address on file
30257933          Name on file                                  Address on file
30261731          Name on file                                  Address on file
30217428          Name on file                                  Address on file
30274003          Name on file                                  Address on file
30222022          Name on file                                  Address on file
30260725          Name on file                                  Address on file
30284482          Name on file                                  Address on file
30276141          Name on file                                  Address on file
30294406          Name on file                                  Address on file
30225166          Name on file                                  Address on file
30274108          Name on file                                  Address on file
30259861          Name on file                                  Address on file
30260771          Name on file                                  Address on file
30278748          Name on file                                  Address on file
30287510          Name on file                                  Address on file
30287506          Name on file                                  Address on file
30284881          Name on file                                  Address on file
30287459          Name on file                                  Address on file
30261071          PH 706‐750 N Casaloma Dr LLC                  272 Market Sq Suite 211                                                                                           Lake Forest                IL           60045
29938978          PH 706‐750 N CASALOMA DR LLC                  PRAIRIE HILL HOLDINGS LLC           272 MARKET SQ., STE. 211                                                      LAKE FOREST                IL           60045
30279180          Name on file                                  Address on file
30283139          Name on file                                  Address on file
30224305          Name on file                                  Address on file
30251378          Name on file                                  Address on file
30225127          Name on file                                  Address on file
30281764          Name on file                                  Address on file
30259236          Name on file                                  Address on file
30258963          Name on file                                  Address on file
29962228          PHIL SIMON ENTERPRISES INC                    1457 44TH ST SE #200                                                                                              GRAND RAPIDS               MI           49508
30164008          Phil Simon Enterprises, Inc.                  P.O. Box 8577                                                                                                     Grand Rapids               MI           49518
29962232          PHILADELPHIA GAS WORKS                        1429 W CAYUGA ST                                                                                                  PHILADELPHIA               PA           19140‐1934
30282721          Name on file                                  Address on file
29938992          PHILIPS EDISON GROC CTR OP PART I L           BEAVERCREEK TOWNE STATION LLC       P.O. BOX 645414                                                               PITTSBURGH                 PA           15264‐5414
30200611          PHILLIP BROOKS                                Address on file
30261492          Name on file                                  Address on file
30296119          Name on file                                  Address on file
29939011          PHILLIPS EDISON ARC SHOP CTR OP PRT           HAMILTON VILLAGE STATION LLC        PO BOX 645414                                                                 PITTSBURGH                 PA           15264‐5414
29939012          PHILLIPS EDISON‐ ARC SHOPPING CTR             LAKEWOOD STATION LLC                DEPT 6581                          PO BOX 11407                               BIRMINGHAM                 AL           35246‐6581
29939013          PHILLIPS EDISON GROC CTR OP PART I            BEAR CREEK STATION LLC              P.O. BOX 645414                                                               PITTSBURGH                 PA           15264
30277854          Phillips Murrah P.C.                          Attn: Clayton Ketter                424 N.W. 10th St.                  Suite 300                                  Oklahoma City              OK           73103
30260324          Name on file                                  Address on file
30274803          Name on file                                  Address on file
30259305          Name on file                                  Address on file
30263587          Name on file                                  Address on file
30285832          Name on file                                  Address on file
30338047          Name on file                                  Address on file
30286991          Name on file                                  Address on file
30259701          Name on file                                  Address on file
30224827          Name on file                                  Address on file
30277930          Name on file                                  Address on file
29962235          PHOENIX POLICE DEPARTMENT                     ALARM PERMIT RENEWALS               PO BOX 29115                                                                  PHOENIX                    AZ           85038
                                                                LOT 92‐93 LINH TRUNG EPZ&IP III, AN
29962237          PHOENIX STATIONERY VIETNAM CO LTD             TINH                                TRANG BANG                                                                    TAY NINH PROVINCE                       840000          VIETNAM
                                                                c/o Jiangsu Phoenix Art Materials
30167102          Phoenix Stationery Vietnam Co., Ltd           Technology Co., Ltd                 #2, Huayuan Road, Binhu District                                              Wuxi, JS                                214131          China
                                                                LOT 92‐93, LINH TRUNG EXPORT
                                                                PROCESSING ZONE AND INDUSTRIAL PARK
30223433          PHOENIX STATIONERY VIETNAM CO., LTD           III, AN TINH WARD                                                                                                 TRANG BANG, TAY NINH                    840000          VIETNAM
30200712          PHYLICIA BURFORD                              Address on file
30260433          Name on file                                  Address on file
                  PICC a/a/o Taizhou Honfront Import & Export
30330878          Co., Ltd                                      c/o Dundon Advisers LLC               10 Bank St                       Ste 1100                                   White Plains               NY           10606




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30331865          Name on file                    Address on file
30280603          Name on file                    Address on file
30286809          Name on file                    Address on file
30256822          Name on file                    Address on file
30274937          Name on file                    Address on file
30331445          Name on file                    Address on file
30259501          Name on file                    Address on file
30257285          Name on file                    Address on file
30296237          Name on file                    Address on file
29939049          PIEDMONT NATURAL GAS            4720 PIEDMONT ROW DRIVE                                                                                                      CHARLOTTE           NC           28210
30274261          Name on file                    Address on file
30261870          Name on file                    Address on file
30224323          Name on file                    Address on file
30259127          Name on file                    Address on file
30296616          Name on file                    Address on file
30275191          Name on file                    Address on file
30259679          Name on file                    Address on file
30256678          Name on file                    Address on file
30331975          Name on file                    Address on file
30227100          Name on file                    Address on file
30285381          Name on file                    Address on file
30276647          Name on file                    Address on file
29939059          PIK PAK INDUSTRIES              PAKKA PEYA, S.I.E. DEFENCE ROAD         SIALKOT                                                                              PUNJAB                           51310           PAKISTAN
30261061          Name on file                    Address on file
30289602          Name on file                    Address on file
30278014          Name on file                    Address on file
30277567          Name on file                    Address on file
30285742          Name on file                    Address on file
30296731          Name on file                    Address on file
29949634          PIMLICO CONFECTIONERS LIMITED   UNIT 27, HARDMANS MILL                                                                                                       ROSSENDALE                       BB4 6HH         UNITED KINGDOM

30164913          Pimlico Confectioners Ltd       Hardmans Mill Business Centre/Unit 27                                                                                        Rossendale                       BB4 6HH         United Kingdom
30256530          Name on file                    Address on file
30255610          Name on file                    Address on file
30277990          Name on file                    Address on file
30257828          Name on file                    Address on file
29939067          PINE TREE PARTNERS LLC          BIN #88144                                                                                                                   MILWAUKEE           WI           53288‐0144
30276031          Pine Tree Partners, LLC         555 W Brown Deer Road                   Suite 220                                                                            Milwaukee           WI           53217
30258147          Name on file                    Address on file
30283477          Pinellas County Utilities       14 S. Ft. Harrison Ave                                                                                                       Clearwater          FL           33756
29939070          PINELLAS COUNTY UTILITIES, FL   1620 RIDGE RD S A                                                                                                            LARGO               FL           33778‐1225
30295447          Name on file                    Address on file
30200800          PING IDENTITY CORPORATION       1001 17TH ST STE 100                                                                                                         DENVER              CO           80202
30262691          Name on file                    Address on file
29939072          PINK LIGHT DESIGNS LLC          1037 NE 65TH ST., STE. 337                                                                                                   SEATTLE             WA           98115
30259749          Name on file                    Address on file
30278063          Name on file                    Address on file
30283650          Name on file                    Address on file
                                                                                          ATTN: LAWRENCE SCHWAB/ GAYE
30289549          PINTEREST, INC.                 C/O BIALSON, BERGEN & SCHWAB            HECK                          830 MENLO AVE.                 SUITE 201               MENLO PARK          CA           94025
29939077          PINTEREST, INC.                 P.O. BOX 74008066                                                                                                            CHICAGO             IL           60674‐8066
30331734          Name on file                    Address on file
30331686          Name on file                    Address on file
30286234          Name on file                    Address on file
29939080          PIONEER PHOTO ALBUMS            9801 DEERING AVENUE                                                                                                          CHATSWORTH          CA           91311
30224403          Pioneer Photo Albums, Inc.      9801 Deering Avenue                                                                                                          Chatsworth          CA           91311
30282830          Name on file                    Address on file
30285116          Name on file                    Address on file
30278586          Name on file                    Address on file
30257517          Name on file                    Address on file
30257188          Name on file                    Address on file
30258863          Name on file                    Address on file
30260011          Name on file                    Address on file
30277105          Name on file                    Address on file




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30262761          Name on file                      Address on file
30293377          Name on file                      Address on file
29962261          PITT REALTY LLC                   C/O NAMDAR REALTY GRP LLC               PO BOX 25078                                                                   TAMPA                      FL           33622
29962264          PITTSFIELD CHARTER TOWNSHIP, MI   6201 WEST MICHIGAN AVENUE                                                                                              ANN ARBOR                  MI           48108
29962264          PITTSFIELD CHARTER TOWNSHIP, MI   6201 WEST MICHIGAN AVENUE                                                                                              ANN ARBOR                  MI           48108
30273922          Name on file                      Address on file
30288047          Name on file                      Address on file
29939101          PK LIFESTYLES                     3 PARK AVENUE 35TH FLOOR                                                                                               NEW YORK                   NY           10016
29939101          PK LIFESTYLES                     3 PARK AVENUE 35TH FLOOR                                                                                               NEW YORK                   NY           10016
30257885          Name on file                      Address on file
30215492          Placer Labs, Inc.                 440 N Barranca Ave #1277                                                                                               Covina                     CA           91723
30257846          Name on file                      Address on file
29939105          PLAID ENTERPRISES                 3225 WESTECH DRIVE                                                                                                     NORCROSS                   GA           30092
29949635          PLAID ENTERPRISES INC             NGUYEN SON HA STREET                    Z01                                                                            HAI PHONG                               35000           VIETNAM
29966938          Plaid Enterprises, Inc.           3225 Westech Drive                                                                                                     Norcross                   GA           30092
30224191          Name on file                      Address on file
30280960          Name on file                      Address on file
30274237          Name on file                      Address on file
30261837          Name on file                      Address on file
29939111          PLATTE PURCHASE PLAZA             C/O MD MANAGEMENT INC                   PO BOX 11332                                                                   OVERLAND PARK              KS           66207
30297446          Platte Purchase Plaza, LLC        c/o MD Management LLC                   4600 College Blvd.                  Suite 102                                  Overland Park              KS           66211
30167208          Playmonster Group, LLC            1400 E. Inman Parkway                                                                                                  Beloit                     WI           53511
29939115          PLAYMONSTER LLC                   1400 E INMAN PKWY                                                                                                      BELOIT                     WI           53511
29939117          PLAZA 20 INC                      2600 DODGE ST, STE. D4                                                                                                 DUBUQUE                    IA           52003
30331304          Plaza 20, Inc.                    Attn: Michael J. Kahle, President       2600 Dodge Street                   Suite #D4                                  Dubuque                    IA           52003

30297387          Plaza 41 LLC                      c/o Solutions Property Management LLC   517 W 22nd St                                                                  Sioux Falls                SD           57105
29939119          PLAZA 41 LLC                      CO SOLUTIONS PROP. MGMT., LLC           517 WEST 22ND ST                                                               SIOUX FALLS                SD           57105
29939125          PLAZA AT COUNTRYSIDE, LLC         COUNTRYSIDE PLAZA                       867885 RELIABLE PARKWAY                                                        CHICAGO                    IL           60686
29939127          PLAZA ENTERPRISES                 49 LONDON TURNPIKE                                                                                                     NORWICH                    CT           06360
30279920          Name on file                      Address on file
30257515          Name on file                      Address on file
29939133          PLOVER WI HOLDINGS LLC            ATTN: JOE DONOVAN                       PO BOX 8487                                                                    TRENTON                    NJ           08650
30279369          Name on file                      Address on file
30285085          Name on file                      Address on file
30283533          Name on file                      Address on file
30277192          Name on file                      Address on file
30291719          Name on file                      Address on file
30279683          Name on file                      Address on file
30182387          PNM                               414 Silver Ave SW                                                                                                      Albuquerque                NM           87102
30200774          PNM                               PNM RESOURCES HEADQUARTERS                                                                                             ALBUQUERQUE                NM           87158‐1275
30287213          Name on file                      Address on file
30263459          Name on file                      Address on file
30292701          Name on file                      Address on file
30275341          Name on file                      Address on file
30285579          Name on file                      Address on file
30273572          Name on file                      Address on file
29939145          POLARIS TOWNE CENTER SC LLC       814 COMMERCE DR., STE 300                                                                                              OAK BROOK                  IL           60523
30297434          Polaris Towne Center SC, LLC      Karen C. Bifferato, Esq.                1201 North Market Street            20th Floor                                 Wilmington                 DE           19801
30256752          Name on file                      Address on file
30257656          Name on file                      Address on file
30260878          Name on file                      Address on file
30289261          Name on file                      Address on file
30259250          Name on file                      Address on file
30296768          Name on file                      Address on file
30290091          Name on file                      Address on file
29939149          POLLOCK INVESTMENTS INC           POLLOCK ORORA                           PO BOX 735070                                                                  DALLAS                     TX           75373‐5070
29939150          POLLOCK PAPER DISTRIBUTORS        PO BOX 735070                                                                                                          DALLAS                     TX           75373‐5070
30285139          Name on file                      Address on file
30276409          Name on file                      Address on file
29939157          POLYFORM PRODUCTS COMPANY         1901 ESTES AVENUE                                                                                                      ELK GROVE VILLAGE          IL           60007
30223707          Polyform Products Company, Inc    1901 Estes Avenue                                                                                                      Elk Grove Village          IL           60007
30276386          Polytek Development Corporation   Kevin M. Capuzzi                        1313 N. Market Street, Suite 1201                                              Wilmington                 DE           19801
30256564          Name on file                      Address on file




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30223705          Name on file                       Address on file
30262651          Name on file                       Address on file
29939160          POMPANO MZL LLC                    C/O KPR CENTERS LLC              535 FIFTH AVE., 12TH FLOOR                                              NEW YORK                  NY           10017
30283192          Name on file                       Address on file
30331946          Name on file                       Address on file
30217892          Name on file                       Address on file
29939163          PONTIAC MALL LIMITED PARTNERSHIP   31500 NORTHWESTERN HWY STE 100                                                                           FARMINGTON HILLS          MI           48334
30297654          Name on file                       Address on file
30295689          Name on file                       Address on file
30262298          Name on file                       Address on file
30262806          Name on file                       Address on file
30261169          Name on file                       Address on file
30222736          Name on file                       Address on file
30262121          Name on file                       Address on file
30288328          Name on file                       Address on file
30289370          Name on file                       Address on file
30331518          Name on file                       Address on file
29939176          PORT ANGELES PL ASSOC              C/O EILAT MANAGEMENT CO          18915 142ND AVE NE           STE 155                                    WOODINVILLE               WA           98072
30284484          Name on file                       Address on file
30283836          Name on file                       Address on file
29939188          PORTLAND GENERAL ELECTRIC (PGE)    121 SW SALMON STREET                                                                                     PORTLAND                  OR           97204
30192726          Portland General Electric (PGE)    7895 SW Mohawk St.                                                                                       Tualatin                  OR           97062
30288284          Portland Water District            225 Douglass ST                  PO Box 3553                                                             Portland                  ME           04104
29939190          PORTLAND WATER DISTRICT ‐ ME       225 DOUGLASS STREET                                                                                      PORTLAND                  ME           04104‐3553
30274436          Name on file                       Address on file
30331778          Name on file                       Address on file
30260019          Name on file                       Address on file
30257622          Name on file                       Address on file
30257404          Name on file                       Address on file
30285425          Name on file                       Address on file
30256600          Potomac Edison                     5001 NASA Blvd                                                                                           Fairmont                  WV           26554
29950991          POTOMAC EDISON                     76 SOUTH MAIN STREET                                                                                     AKRON                     OH           44308
30276734          Name on file                       Address on file
29950996          POUGHKEEPSIE PLAZA MALL LLC        CO MEHLICH ASSOCIATES            8 DEPOT SQUARE                                                          TUCKAHOE                  NY           10707
30280815          Name on file                       Address on file
30222527          Name on file                       Address on file
30276892          Name on file                       Address on file
30251311          Name on file                       Address on file
30282710          Name on file                       Address on file
30232004          Name on file                       Address on file
30282459          Name on file                       Address on file
30277308          Name on file                       Address on file
29939196          POWER SALES & ADVERTISING          9909 LAKEVIEW AVE                                                                                        LENEXA                    KS           66219
30286793          Name on file                       Address on file
30286222          Name on file                       Address on file
30297508          Name on file                       Address on file
30276562          Name on file                       Address on file
29939198          PPL ELECTRIC UTILITIES/419054      2 NORTH 9TH ST CPC‐GENN1                                                                                 ALLENTOWN                 PA           18101‐1175
30200723          PPL ELECTRIC UTILITIES/ALLENTOWN   2 NORTH 9TH ST CPC‐GENN1                                                                                 ALLENTOWN                 PA           18101‐1175
29939199          PPNC PLAYBALLS                     C/O PETER PAN NOVELTY COMPANY    22925 SAVI RANCH PKWY                                                   YORBA LINDA               CA           92887
30290096          Name on file                       Address on file
30263621          Name on file                       Address on file
30290502          Name on file                       Address on file
30222101          Name on file                       Address on file
30261913          Name on file                       Address on file
30291822          Name on file                       Address on file
30256560          Name on file                       Address on file
30280569          Name on file                       Address on file
30261193          Name on file                       Address on file
30227096          Name on file                       Address on file
30227094          Name on file                       Address on file
30222422          Name on file                       Address on file
30276333          Name on file                       Address on file
30295586          Name on file                       Address on file




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  ADDRESS ID                           NAME                           ADDRESS 1                              ADDRESS 2                        ADDRESS 3                     ADDRESS 4                   CITY        STATE     POSTAL CODE           COUNTRY
30284036          Name on file                          Address on file
29939219          PREFERRED MILFORD LLC                 GP‐ MILFORD REALTY TRUST                 111 FOUNDERS PLAZA, #301                                                               EAST HARTFORD          CT           06108
30166685          Prem Textiles International           32 Ramkrishnapuram East                                                                                                         Karur, TN                           639001          India
29939221          PREM TEXTILES INTERNATIONAL           32, RAMAKRISHNAPURAM EAST                                                                                                       KARUR                               639001          INDIA
30200690          PREMIER BIOTECH LLC                   PO BOX 713238                                                                                                                   CHICAGO                IL           60677‐1238
29939224          PREMIER PRINTS INC                    PO BOX 305                                                                                                                      SHERMAN                MS           38869
30200874          PREMIER TRAILERS LLC                  PO BOX 206553                                                                                                                   DALLAS                 TX           75320‐6553
30263670          Name on file                          Address on file
30254089          Name on file                          Address on file
30260197          Name on file                          Address on file
30228273          Name on file                          Address on file
30263283          Name on file                          Address on file
29939241          PRESTON MASTERSON                     Address on file
30279156          Name on file                          Address on file
30259322          Name on file                          Address on file
30286524          Name on file                          Address on file
30259153          Name on file                          Address on file
30282666          Name on file                          Address on file
30222328          Name on file                          Address on file
30276329          Name on file                          Address on file
30279450          Name on file                          Address on file
30258747          Name on file                          Address on file
30282980          Name on file                          Address on file
29939248          PRIDE CENTER LLC                      C/O FINANCIAL MGMT GROUP                 345 N. MAPLE DR., SUITE #284                                                           BEVERLY HILLS          CA           90210
30286148          Name on file                          Address on file
30286156          Name on file                          Address on file
30276874          Name on file                          Address on file
30258448          Name on file                          Address on file
30200756          PRIMARY COLOR SYSTEMS CORP            11130 HOLDER ST. #210                                                                                                           CYPRESS                CA           90630
30283630          Name on file                          Address on file
30259781          Name on file                          Address on file
30200592          PRINCESS WHITE‐CHAMBERS               C/O THE DENNIS LAW FIRM, LLC             ATTN: ASHLAN ROSIER              101 MARIETTA ST NW             STE 2200               ATLANTA                GA           30303
30200871          PRINCIPAL LIFE INSURANCE COMPANY      MARKETPLACE AT VERNON HILLS LLC          PO BOX 734754, PROP 027110                                                             CHICAGO                IL           60673‐4754
30273894          Name on file                          Address on file
30200806          PRITT ENTERTAINMENT GROUP             380 SOUTH MAIN ST                                                                                                               AKRON                  OH           44311
30181497          Pritt Entertainment Group, LLC        201 S. Main St.                                                                                                                 Akron                  OH           44308
29939286          PRK HOLDINGS I LLC                    PK L GRESHAM TOWN FAIR LLC               PO BOX 30344                                                                           TAMPA                  FL           33630
30224301          Name on file                          Address on file
30285445          Name on file                          Address on file
30261963          Name on file                          Address on file
30274277          Name on file                          Address on file
29939295          PROGRESS SQUARE PARTNERS LP           101 LARKSPUR LANDING CIR #120                                                                                                   LARKSPUR               CA           94939
30331499          Progress Square Partners, LP          101 Larkspur Landing Circle              Suite 120                                                                              Larkspur               CA           94939
30294870          Name on file                          Address on file
29939299          PROMAX MANUFACTURING CO LTD           9F‐2 NO21 SEC1 DUN HUA SOUTH RD          TAIPEI                                                                                 SONGSHAN                            105045          TAIWAN
30258353          Promax Manufacturing Co., Ltd.        Kevin M. Capuzzi, Esq.                   1313 N. Market St., Suite 1201                                                         Wilmington             DE           19801
30258684          Name on file                          Address on file
30257941          Name on file                          Address on file
30297457          Provco Creekview Warrington, LLC      636 Old York Road                        2nd Floor                                                                              Jenkintown             PA           19046
29939307          PRTC LP A CALIFORNIA LIMITED PARTNE   C/O SHAPELL PROPERTIES INC               1990 S BUNDY DR #500                                                                   LOS ANGELES            CA           90025
30257555          Name on file                          Address on file
30285536          Name on file                          Address on file
29939309          PRUDENTIAL INSURANCE CO OF AMERICA    DBA DANADA SQ C/O CBRE INC               PO BOX 730521                                                                          DALLAS                 TX           75373
30263399          Name on file                          Address on file
30282760          Name on file                          Address on file
30297414          Name on file                          Address on file
29952832          PRYM CONSUMER USA INC                 950 BRISACK RD                                                                                                                  SPARTANBURG            SC           29303
29939311          PRYM CONSUMER USA INC                 PO BOX 5028                                                                                                                     SPARTANBURG            SC           29304

30273972          Prym Consumer USA Inc.                Nelson Mullins Riley & Scarborough LLP   c/o Jody A. Bedenbaugh           P.O. Box 11070                                        Columbia               SC           29211

30273540          Prym Consumer USA Inc.                Nelson Mullins Riley & Scarborough LLP   c/o Jody A. Bedenbaugh           P.O. Box 11070                                        Columbia               SC           29211
30285047          Name on file                          Address on file
29952833          PSC MEDFORD LLC                       C/O ARGONAUT INVESTMENTS                 101 LARKSPUR LANDING CIR #120                                                          LARKSPUR               CA           94939




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30331505          PSC Medford, LLC                             101 Larkspur Landing Circle                Suite 120                                                                             Larkspur                     CA           94939
30257440          PSE&G                                        Attn: Bankruptcy Dept                      PO Box 709                                                                            Newark                       NJ           07101
29952836          PSE&G‐PUBLIC SERVICE ELEC & GAS CO           80 PARK PLZ                                                                                                                      NEWARK                       NJ           07102
30224442          PSEG Long Island                             15 Park Drive                                                                                                                    Melville                     NY           11747
29952838          PSEGLI                                       175 E OLD COUNTRY RD                                                                                                             HICKSVILLE                   NY           11801‐4257
29952839          PSG ENERGY SOLUTIONS LLC                     800 BATTERY AVE SE 410                                                                                                           ATLANTA                      GA           30339
30331087          Name on file                                 Address on file
30275265          Name on file                                 Address on file
29939312          PTP TRANSPORT LLC                            PO BOX 1810                                                                                                                      AUBURN                       AL           36831
30292804          Ptp Transport, LLC                           P O Box 1810                                                                                                                     Auburn                       AL           36831‐1810
30281610          Public Service Company dba Xcel Energy       Attn: Bankruptcy Dept                      414 Nicollet Mall                                                                     Minneapolis                  MN           55401
30275910          Public Service Company of Oklahoma           Attn: Jason Reid                           1 Riverside Plaza              13th Floor                                             Columbus                     OH           43215
30297671          Public Service of NH dba Eversource          Eversource Legal                           Attn: Honor Heath              107 Selden Ave                                         Berlin                       CT           06037
29939321          PUBLIC WORKS & UTILITIES, KS                 455 N. MAIN ST.                            8TH FLOOR                                                                             WICHITA                      KS           67202
29939322          PUBLICIS SAPIENT                             40 WATER STREET                                                                                                                  BOSTON                       MA           02109
29953709          PUBLIX SUPER MARKETS INC                     REAL SUB LLC                               PO BOX 32010                                                                          LAKELAND                     FL           33802‐2010
30277684          Name on file                                 Address on file
30256942          Name on file                                 Address on file
30273560          Name on file                                 Address on file
30289631          Name on file                                 Address on file
29953711          PUGET SOUND ENERGY                           BOT‐01H                                                                                                                          BELLEVUE                     WA           98009‐9269
30260905          Name on file                                 Address on file
30258408          Name on file                                 Address on file
29953716          PULLMAN SQUARE ASSOCIATES                    C/O LG REALTY ADVISORS INC (AGENT)         141 S. SAINT CLAIR ST., #201                                                          PITTSBURGH                   PA           15206

30297602          Pullman Square Associates ‐ Pullman Square   Pullman Square Associates                  c/o LG Realty Advisors Inc.    141 S. Saint Clair Street      Suite 201               Pittsburgh                   PA           15206
30275532          Name on file                                 Address on file
30278046          Name on file                                 Address on file
30257173          Name on file                                 Address on file
29939323          PURE FISHING DBA PLANO MOLDING               7 SCIENCE COURT                                                                                                                  COLUMBIA                     SC           29203
30282435          Pure Fishing, Inc.                           7 Science Court                                                                                                                  Columbia                     SC           29203
30208568          Puskarich Public Library                     200 E. Market St                                                                                                                 Cadiz                        OH           43907
30262975          Name on file                                 Address on file
30286057          Name on file                                 Address on file
30251323          Name on file                                 Address on file
30257129          Name on file                                 Address on file

29939328          PVAM ARGONAUT PROPERTY FUND LP               PAPF ROSEBURG LLC C/O ARGONAUT INV         101 LARKSPUR LAND. CIR #120                                                           LARKSPUR                     CA           94939
30290936          PVSC Company                                 PO Box 331                                                                                                                       Altoona                      PA           16603
29939330          PVSC COMPANY                                 PO BOX 331                                                                                                                       ALTOONA                      PA           16603
30263050          Name on file                                 Address on file
30262739          Name on file                                 Address on file
30258827          Name on file                                 Address on file
30227521          Name on file                                 Address on file
30285744          Name on file                                 Address on file
30292692          PZ Southern Limited Partnership              630 Fifth Avenue                           Suite 2820                                                                            New York                     NY           10111
29962292          PZ SOUTHERN LP                               DBA GREAT SOUTHERN                         PO BOX 713750                                                                         PHILADELPHIA                 PA           19171‐3750
30398430          PZ Southland Limited Partnership             630 Fifth Avenue                           Suite 2820                                                                            New York                     NY           10111
30295293          PZ Southland Limited Partnership             630 Fifth Avenue                           Suite 2820                                                                            New York                     NY           10111
29962294          PZ SOUTHLAND LP                              PO BOX 784930                                                                                                                    PHILADELPHIA                 PA           19178‐4930
29962297          QBW INVESTMENTS LLC                          HIGH DESERT PROPERTY MGMT                  1515 SW REINDEER AVE.                                                                 REDMOND                      OR           97756
30184169          QBW INVESTMENTS, LLC                         STEVEN BRETT WERNKE                        62744 NW MEHAMA DR                                                                    BEND                         OR           97703

29962300          QINGDAO LIBANG KINGTONE TRADE CO LT          RM902 NO2B HEILONGJIANG SOUTH RD           SHIBEI DISTRICT                                                                       QINGDAO                                   266035          CHINA

30164407          Qingdao Libang Kingtone Trade Co., Ltd       RM 902, No. 2b Heliongjiang South Road     Shibei District                                                                       Qingdao, Shandong Province                266011          China

30164002          Qingdao Yinlongfei Handicraft Co., Ltd       Kingking 2 Road Environmental Park, Jimo                                                                                         Qingdao, Shandong                         266200          China

29962301          QINGDAO YINLONGFEI HANDICRAFT CO.,LTD        KINGKING 2 ROAD ENVIROMENTAL PARK                                                                                                QINGDAO                                   266201          CHINA
30285898          Name on file                                 Address on file
29939335          QUAD GRAPHICS INC                            DBA QUAD GRAPHICS MARKETING LLC            PO BOX 644840                                                                         PITTSBURGH                   PA           15264‐4840
29939336          QUAD GRAPHICS INCORP                         PRINT SERVICES                             PO BOX 644840                                                                         PITTSBURGH                   PA           15264‐4840
30284632          Quad/Graphics, Inc.                          Attn: Credit Department                    N61 W23044 Harry's Way                                                                Sussex                       WI           53089




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30256550          Name on file                                    Address on file
30331027          Name on file                                    Address on file
30200692          QUAKERTOWN HOLDING CORP                         ADCO, AMERICAN DEVELOPMENT CO       715 MONTGOMERY AVE                                                       NARBERTH                  PA           19072
30282656          Quality Growers Floral Company Inc              PO Box 1640                                                                                                  Deleon Springs            FL           32130
29939341          QUALITY GROWERS FLORAL COMPANY INC              PO BOX 1640                                                                                                  DE LEON SPRINGS           FL           32130
30279448          Qualtrics, LLC                                  333 W River Park Drive                                                                                       Provo                     UT           84604
30261634          Name on file                                    Address on file
30297571          Quantum Metric, Inc.                            10807 New Allegiance Drive          Ste. 155                                                                 Colorado Springs          CO           80921
30285503          Name on file                                    Address on file
30206565          Queen Crafts Limited                            Ningbo Zhongyi Ornament Co., Ltd.   508 Taian Road                                                           Ningbo                                 315100          China
                                                                                                      6TH FLOOR, CREATIVE DESIGN
29962307          QUEEN CRAFTS LIMITED                            TAIAN ROAD, SOUTH CBD               BUILDING                      YINZHOU DISTRICT                           NINGBO                                 315100          CHINA
30285930          Name on file                                    Address on file
30260029          Name on file                                    Address on file
29962310          QUEENSBURY PLAZA I LLC                          ILENE L FLAUM                       400 ANDREWS STREET #500                                                  ROCHESTER                 NY           14604

30231960          Questar Gas Company DBA Enbridge Gas Utah       Bankruptcy DNR 132                  1140 W 200 S                  PO Box 3194                                Salt Lake City            UT           84110
30225317          Name on file                                    Address on file
30274951          Name on file                                    Address on file
30259497          Name on file                                    Address on file
30401639          Quincy‐Cullinan LLC                             420 N Main Street                                                                                            East Peoria               IL           61611
29939358          QUINCY‐CULLINAN LLC                             C/O CULLINAN PROPERTIES LTD         420 NORTH MAIN STREET                                                    EAST PEORIA               IL           61611
30293123          Quinn Company                                   10006 Rose Hills Road                                                                                        City of Industry          CA           90601
30293109          Name on file                                    Address on file
30296211          Name on file                                    Address on file
30224759          Name on file                                    Address on file
30263302          Name on file                                    Address on file
30226458          Name on file                                    Address on file
29939389          R.M. PALMER COMPANY LLC                         1800 ELMWOOD AVENUE                                                                                          BUFFALO                   NY           14207
29939390          R/M VACAVILLE LTD                               C/O THE RODDE COMPANY               710 S BRAODWAY SUITE 211                                                 WALNUT CREEK              CA           94596
                  R/M Vacaville LTD, L.P., a California limited
30293031          partnership                                     c/o Buchalter PC                    Attn: Jarrett Osborne‐Revis   500 Capitol Mall, Suite 1900               Sacramento                CA           95814
30259825          Name on file                                    Address on file
30262711          Name on file                                    Address on file
29962329          RACHEL KURTZ‐RIVERA                             Address on file
30259799          Name on file                                    Address on file
30258468          Name on file                                    Address on file
30200815          RADAR LABS INC                                  841 BROADWAY                        7TH FLOOR                                                                NEW YORK                  NY           10003
30281865          Name on file                                    Address on file
30260306          Name on file                                    Address on file
30261151          Name on file                                    Address on file
30279619          Name on file                                    Address on file
30255760          Name on file                                    Address on file
29939612          RADIUM CREATION LIMITED                         C‐32 TTC INDUSTRIAL AREA            MIDC PAWANE                   NAVI MUMBAI                                MAHARASHTRA                            400705          INDIA
                  Radium Creation PVT. LTD (erstwhile known as
30167936          Radium Creation LTD)                            C‐32, TTC Industrial Area           Behind NOCIL, MIDC            Pawane                                     Navi Mumbai, MH                        400705          India
30258763          Radius Networks Inc                             3299 K Street NW                    Ste 400                                                                  Washington DC             DC           20007
29939613          RADIUS NETWORKS INC                             PO BOX #3507                                                                                                 MERRIFIELD                VA           22116‐3507
30280463          Name on file                                    Address on file
30257473          Name on file                                    Address on file
29939636          RAF INVESTMENTS LTD                             130 CHURCHILL HUBBARD RD                                                                                     YOUNGSTOWN                OH           44505
30259949          Name on file                                    Address on file
30285273          Rainingbird, Alanna                             Address on file
30276924          Name on file                                    Address on file
29939678          RALEIGH ENTERPRISES LLC                         PO BOX 824610                                                                                                PHILADELPHIA              PA           19182‐4610
30291595          Raleigh Enterprises, LLC                        Attention To: Russell J. Cannane    803 Commonwealth Drive                                                   Warrendale                PA           15086
30263180          Name on file                                    Address on file
30259288          Name on file                                    Address on file
30291854          Name on file                                    Address on file
30296374          Name on file                                    Address on file
30286121          Name on file                                    Address on file
30282110          Name on file                                    Address on file
30257261          Name on file                                    Address on file
30257613          Name on file                                    Address on file




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30285147          Name on file                                    Address on file
30257149          Name on file                                    Address on file
30263013          Name on file                                    Address on file
30260055          Name on file                                    Address on file
29939703          RANCHO CALIFORNIA WATER DISTRICT                42135 WINCHESTER RD                                                                                                    TEMECULA                   CA           92590
30257678          Rancho Dowlen LLC                               2725 Congress Street, 1E                                                                                               San Diego                  CA           92110
29939704          RANCHO DOWLEN LLC                               C/O PACIFIC COMMERCIAL MGT INC   2725 CONGRESS STREET           STE. 1E                                                SAN DIEGO                  CA           92110
29939706          RANCHO LEBANON LLC                              C/O BERKSHIRE BANK               PO BOX 96                                                                             WORCESTER                  MA           01613‐0096
30200738          RANDALL BENDERSON 1993‐1 TRUST                  LEASE# 59562                     PO BOX 713201                                                                         PHILADELPHIA               PA           19171‐3201
30257721          Name on file                                    Address on file
30285441          Name on file                                    Address on file
30275926          Name on file                                    Address on file
30251285          Name on file                                    Address on file
30254221          Name on file                                    Address on file
30262840          Name on file                                    Address on file
30279467          Name on file                                    Address on file
30293275          Name on file                                    Address on file
30294737          Name on file                                    Address on file
30262673          Name on file                                    Address on file
30258503          Name on file                                    Address on file
29939725          RANDY COCHRAN                                   Address on file
30273511          Name on file                                    Address on file
30222099          Name on file                                    Address on file
30262749          Name on file                                    Address on file
30285654          Name on file                                    Address on file
30294883          Name on file                                    Address on file
30294889          Name on file                                    Address on file
30227064          Name on file                                    Address on file
30227064          Name on file                                    Address on file
30223335          Name on file                                    Address on file
30285692          Name on file                                    Address on file
30258521          Name on file                                    Address on file
29939748          RAPPAHANNOCK ELECTRIC COOP                      247 INDUSTRIAL COURT                                                                                                   FREDERICKSBURG             VA           22408
30275285          Name on file                                    Address on file
30274545          Name on file                                    Address on file
30201748          RATAN PAPERS PVT LTD                            F‐199 EPIP                       SITAPURA IND AREA                                                                     JAIPUR, RAJASTHAN                       302022          INDIA
29939774          RATAN PAPERS PVT LTD                            F 199, EPIP SITAPURA IND AREA    JAIPUR                                                                                RAJASTHAN                               302022          INDIA
30223341          Name on file                                    Address on file
30274856          Name on file                                    Address on file
30297713          Name on file                                    Address on file
30259567          Name on file                                    Address on file
30286550          Name on file                                    Address on file
30274643          Name on file                                    Address on file
30285339          Name on file                                    Address on file
30278854          Name on file                                    Address on file
30224212          Name on file                                    Address on file
30222891          Name on file                                    Address on file
30200703          RAY GLASS BATTERIES INC                         BATTERY SOURCE                   104 GENESIS PKWY                                                                      THOMASVILLE                GA           31792
30225051          Ray Glass Batteries Inc D.B.A. Battery Source   104 Genesis Pkwy                                                                                                       Thomasville                GA           31792
30259753          Name on file                                    Address on file
30223946          Name on file                                    Address on file
30286146          Name on file                                    Address on file
30258811          Name on file                                    Address on file
30275073          Name on file                                    Address on file
29939828          RAYMOND STORAGE CONCEPTS INC                    5480 CREEK RD                                                                                                          CINCINNATI                 OH           45242
30331528          Raymond Storage Concepts, Inc.                  Swanson, Martin & Bell, LLP      c/o Charles S. Stahl, Jr.      2525 Cabot Drive               Suite 204               Lisle                      IL           60532
30256507          Name on file                                    Address on file
29952182          RAYNHAM CENTER WATER DISTRICT                   280 PLEASANT STREET                                                                                                    RAYNHAM                    MA           02767
29952184          RAYNHAM STATION LLC                             33340 COLLECTION CTR DR                                                                                                CHICAGO                    IL           60693‐0333
30285515          Name on file                                    Address on file
30259292          Name on file                                    Address on file
29939838          RB MERCHANTS LLC                                C/O RD MGMT LLC                  810 7TH AVE., 10TH FL.                                                                NEW YORK                   NY           10019
29939842          RCG‐ POCATELLO VII LLC                          PO BOX 53483                                                                                                           ATLANTA                    GA           30355
29939843          RCG‐BRADLEY VII LLC                             PO BOX 53483                                                                                                           ATLANTA                    GA           30355




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29962402          RCG‐ROCKWELL LLC                    C/O RCG VENTURES I LLC                     PO BOX 53483                                                                          ATLANTA                GA           30355

30291001          Real Sub, LLC                       c/o Stephanie C. Lieb, Esq. | Trenam Law   101 E Kennedy Boulevard       Suite 2700                                              Tampa                  FL           33602
30200748          REALTY INCOME CORPORATION           SPIRIT BD READING PA LLC RI#16185          11995 EL CAMINO REAL                                                                  SAN DIEGO              CA           92130
29962419          REALTY INCOME CORPORATION           DEPT 2428                                                                                                                        LOS ANGELES            CA           90084
30200740          REALTY INCOME CORPORATION           SPIRIT MASTER FUNDING IV RI#16187          11995 EL CAMINO REAL                                                                  SAN DIEGO              CA           92130
29962416          REALTY INCOME CORPORATION           SPIRIT SPE LOAN PORTFOLIO 2013‐3 LL        11995 EL CAMINO REAL                                                                  SAN DIEGO              CA           92130

29962420          REALTY INCOME PROPERTIES 31 LLC     C/O REALTY INCOME CORP, ATT: PORT M        PO BOX 842428                                                                         LOS ANGELES            CA           90084‐2428
30222606          Name on file                        Address on file
30296858          Name on file                        Address on file
30296301          Name on file                        Address on file
30286014          Name on file                        Address on file
30281616          Name on file                        Address on file
29940113          RECURLY INC                         400 ALABAMA ST., STE 202                                                                                                         SAN FRANCISCO          CA           94110
29940115          RED CHAIR ON A GREEN HILL           2223 S PLUMBEROSA RD.                                                                                                            FAYETTEVILLE           AR           72701
29940116          RED DOOR INTERACTIVE INC            2436 MARKET STREET                                                                                                               SAN DIEGO              CA           92102
29967038          Red Door Interactive, Inc.          2436 Market Street                                                                                                               San Diego              CA           92102
30331009          Red Mountain Asset Fund I           Ervin Cohen & Jessup LLP                   c/o Byron Z. Moldo            9401 Wilshire Blvd.            12th Floor               Beverly Hills          CA           90212
29940119          RED MOUNTAIN ASSET FUND I LLC       RMAF I                                     PO BOX 3490                                                                           SEAL BEACH             CA           90740
29940121          RED QUEEN LLC                       PO BOX 1583                                                                                                                      CORVALLIS              OR           97339
30221902          Name on file                        Address on file
30257450          Name on file                        Address on file
30332861          Redding MHP Estates LP              960 N. San Antonio Rd                      Suite 114                                                                             Los Altos              CA           94022
29940124          REDDING MHP ESTATES LP              DE ANZA PROPERTIES, ATT: J. TERSIGN        960 N. SAN ANTONIO RD, #114                                                           LOS ALTOS              CA           94022
30224291          Name on file                        Address on file
30290078          Name on file                        Address on file
30283042          Name on file                        Address on file
30260735          Name on file                        Address on file
30296348          Name on file                        Address on file
30261349          Name on file                        Address on file
30278452          Name on file                        Address on file
30226344          Name on file                        Address on file
30280795          Name on file                        Address on file
30279470          Name on file                        Address on file
30258420          Name on file                        Address on file
30251297          Name on file                        Address on file
30223785          Name on file                        Address on file
30274376          Name on file                        Address on file
30290110          Name on file                        Address on file
30262324          Name on file                        Address on file
30261815          Name on file                        Address on file
30258887          Name on file                        Address on file
30331596          Name on file                        Address on file
30293018          Name on file                        Address on file
30280785          Name on file                        Address on file
30296434          Name on file                        Address on file
30221898          Name on file                        Address on file
30221944          Name on file                        Address on file
30285932          Name on file                        Address on file
30262909          Name on file                        Address on file
30274699          Name on file                        Address on file
30222885          Name on file                        Address on file
30259149          Name on file                        Address on file
30224297          Name on file                        Address on file
30224297          Name on file                        Address on file
30258729          Name on file                        Address on file
30276718          Name on file                        Address on file
30280947          Regency Centers, LP                 Regency Centers, LP                        Attn: Legal Dept              1 Independent Drive            Suite 114                Jacksonville           FL           32202
29940156          REGENCY INDIANA ENTERPRISES LP      P.O. BOX 62336‐11                                                                                                                BALTIMORE              MD           21264
30291488          Regency Indiana Enterprises, L.P.   Attn: Russell J. Cannane                   803 Commonwealth Drive                                                                Warrendale             PA           15086
30200741          REGENCY VERNAL LLC                  CSP FUND II LOCKBOX LE T0002480            PO BOX 931011                                                                         ATLANTA                GA           31193‐1011
30291152          Regency Vernal LLC                  Stoll Keenon Ogden PLLC                    Emily L. Pagorski             400 West Market Street         Suite 2700               Louisville             KY           40202
29940183          REGINALD B. EBERHART                Address on file




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29940197          REGIONAL WATER AUTHORITY                   DEER ISLAND                          90 SARGENT DRIVE                                                    NEW HAVEN            CT           06511
30279686          Name on file                               Address on file
30258523          Name on file                               Address on file
30276435          Name on file                               Address on file
30262266          Name on file                               Address on file
30292335          Name on file                               Address on file
30257505          Name on file                               Address on file
30218625          Name on file                               Address on file
30260089          Name on file                               Address on file
30260451          Name on file                               Address on file
29940212          REINEZ DURAN                               Address on file
30331714          Name on file                               Address on file
30284985          Name on file                               Address on file
30287114          Name on file                               Address on file
30285607          Name on file                               Address on file
30261759          Name on file                               Address on file
30259191          Name on file                               Address on file
30224038          Name on file                               Address on file
30279669          Name on file                               Address on file
30288399          Name on file                               Address on file
30285124          Name on file                               Address on file
30277065          Name on file                               Address on file
30222768          Name on file                               Address on file
29940215          RELIABLE CORPORATION                       5‐100 WINGOLD AVENUE                                                                                     TORONTO              ON           M6B 4K7         CANADA
30181908          Reliable Corporation                       100 Wingold Avenue                   Unit 5                                                              Toronto              ON           M6B4K7          Canada
30200851          RELIABLE FIRE & SECURITY SOLUTIONS         6339 HIGHWAY 145                                                                                         MADERA               CA           93637
30256626          Reliable Fire & Security Solutions, Inc.   6339 Hwy 145                                                                                             Madera               CA           93637
30287620          Name on file                               Address on file
29940229          RENAISSANCE PARTNERS I LLC                 PO BOX 3689, DEPT 563                                                                                    SUGAR LAND           TX           77487
30287445          Name on file                               Address on file
29940235          RENEE BERNACKI                             Address on file
30257848          Name on file                               Address on file
30262935          Name on file                               Address on file
30276375          Name on file                               Address on file
30288617          Name on file                               Address on file
29940262          REPUBLIC SERVICES #183                     18500 N. ALLIED WAY                                                                                      PHOENIX              AZ           85054
29940269          RESINVENTURES INC                          2300 APOLLO CIRCLE                                                                                       CARROLLTON           TX           75006
30167320          Resource Point of Sale                     1765 N Elston Ave, Suite 201                                                                             Chicago              IL           60642
29940270          RESOURCE POINT OF SALE LLC                 1765 N. ELSTON AVE.                                                                                      CHICAGO              IL           60642
30285788          Name on file                               Address on file
29940276          RETAIL INDUSTRY LEADERS ASSOCIATION        PO BOX 418421                                                                                            BOSTON               MA           02241
29940279          RETAIL PROPERTIES OF AMERICA INC           RPAI PACIFIC PROPERTY SERVICES LLC   PO BOX 57519                                                        LOS ANGELES          CA           90074‐7519
30200767          RETAIL SERVICES WIS CORP                   DBA WIS INTERNATIONAL                PO BOX 200081                                                       DALLAS               TX           75320
30224092          Name on file                               Address on file
30257881          Name on file                               Address on file
30229358          Name on file                               Address on file
29940288          REV.COM INC                                DEPT LA 24706                                                                                            PASADENA             CA           91185‐4706
30276053          Name on file                               Address on file
30261941          Name on file                               Address on file
30273632          Name on file                               Address on file
29940297          REX BERRY                                  Address on file
30259105          Name on file                               Address on file
30277651          Name on file                               Address on file
30288004          Name on file                               Address on file
30280702          Name on file                               Address on file
29940307          REYNA R. JIMENEZ                           Address on file
30287215          Name on file                               Address on file
30260917          Name on file                               Address on file
30280752          Name on file                               Address on file
30290172          Name on file                               Address on file
30259997          Name on file                               Address on file
30261965          Name on file                               Address on file
30259705          Name on file                               Address on file
30258795          Name on file                               Address on file




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30293301          Name on file                      Address on file
30280758          Name on file                      Address on file
30292638          RG&E                              Attention: Shannon Lawson                 180 S Clinton Ave                                                                     Rochester          NY           14604
29940311          RG&E ‐ ROCHESTER GAS & ELECTRIC   180 SOUTH CLINTON AVENUE                                                                                                        ROCHESTER          NY           14604
29940342          RHINO HOLDINGS ARDEN LLC          GALLELLI REAL ESTATE                      3005 DOUGLAS BLVD. #200                                                               ROSEVILLE          CA           95661
30296266          Rhino Holdings Arden, LLC         Holland & Knight LLP                      c/o Barbra Parlin             787 7th Ave.                   31st Floo                New York           NY           10019
30296313          Rhino Holdings Rockford, LLC      c/o Barbra Parlin, Holland & Knight LLP   787 7th Ave.                  31st Floor                                              New York           NY           10019
29950192          RHINO HOLDINGS TURLOCK LLC        C/O GRE MGMT SERVICES INC                 3005 DOUGLAS BLVD., STE 200                                                           ROSEVILLE          CA           95661
30296322          Rhino Holdings Turlock, LLC       Holland & Knight LLP                      c/o Barbra Parlin             787 7th Ave.                   31st Floor               New York           NY           10019
30261688          Name on file                      Address on file
30262115          Name on file                      Address on file
30282652          Name on file                      Address on file
30275329          Name on file                      Address on file
30224955          Name on file                      Address on file
30222012          Name on file                      Address on file
30257743          Name on file                      Address on file
30274701          Name on file                      Address on file
30232767          Name on file                      Address on file
29940369          RIBBLR LTD                        4TH FLOOR, 18 ST. CROSS STREET                                                                                                  LONDON                          EC1N8UN         UNITED KINGDOM

30254501          Ribblr Ltd                        c/o Bankruptcy Collection Services, LLC   84 Herbert Ave                Building B                     Suite 202                Closter            NJ           07624

30331188          Ribblr Ltd                        c/o Bankruptcy Collection Services, LLC   84 Herbert Avenue             Building B                     Suite 202                Closter            NJ           07624

30394229          Ribblr Ltd                        c/o Bankruptcy Collection Services, LLC   84 Herbert Ave                Building B                     Suite 202                Closter            NJ           07624
29940376          RICARDO SANCHEZ                   Address on file
30274892          Name on file                      Address on file
30289472          Name on file                      Address on file
30289590          Name on file                      Address on file
30289598          Name on file                      Address on file
30289600          Name on file                      Address on file
30289607          Name on file                      Address on file
30289635          Name on file                      Address on file
30289639          Name on file                      Address on file
30289586          Name on file                      Address on file
30289446          Name on file                      Address on file
30221980          Name on file                      Address on file
30221980          Name on file                      Address on file
30296848          Name on file                      Address on file
30260543          Name on file                      Address on file
30276010          Name on file                      Address on file
30285998          Name on file                      Address on file
30260380          Name on file                      Address on file
30260334          Name on file                      Address on file
30296608          Name on file                      Address on file
29940435          RICHARD VOLLMER III               Address on file
30262828          Name on file                      Address on file
30284297          Name on file                      Address on file
30294575          Name on file                      Address on file
30257088          Name on file                      Address on file
30222831          Name on file                      Address on file
30256638          Name on file                      Address on file
30282517          Name on file                      Address on file
30285143          Name on file                      Address on file
30259334          Name on file                      Address on file
30280467          Name on file                      Address on file
30282519          Name on file                      Address on file
30296115          Name on file                      Address on file
30291279          Name on file                      Address on file
30260895          Name on file                      Address on file
30258717          Name on file                      Address on file
30280954          Name on file                      Address on file
30256750          Name on file                      Address on file
29940446          RICHLOOM FABRICS                  261 FIFTH AVENUE, 12TH FLOOR                                                                                                    NEW YORK           NY           10016




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  ADDRESS ID                           NAME                                   ADDRESS 1                          ADDRESS 2                       ADDRESS 3                      ADDRESS 4                       CITY        STATE     POSTAL CODE       COUNTRY
30332791          Richloom Fabrics Group, Inc.                  261 Fifth Ave                       12th Floor                                                                              New York                   NY           10016
29940447          RICHLOOM FAR EAST TRADING CO LTD              11M & 11N NO 899 LINGLING ROAD                                                                                              SHANGHAI                                200030          CHINA
30225333          Richloom Far East Trading Co. Ltd.            Richloom Fabrics Group              261 Fifth Ave, 12th Fl.                                                                 New York                   NY           10016
29940452          RICHMOND POWER & LIGHT                        2000 US HWY 27 SOUTH                                                                                                        RICHMOND                   IN           47375
30287318          Name on file                                  Address on file
29940457          RICHWAL LLC                                   4201 SPRINGHURST BLVD., #201                                                                                                LOUISVILLE                 KY           40241
30255128          Name on file                                  Address on file
30276370          Name on file                                  Address on file
30278760          Name on file                                  Address on file
30289588          Name on file                                  Address on file
30284741          Name on file                                  Address on file
30262202          Name on file                                  Address on file
30290168          Name on file                                  Address on file
30222813          Name on file                                  Address on file
30222813          Name on file                                  Address on file
30258109          Name on file                                  Address on file
30285507          Name on file                                  Address on file
30261127          Name on file                                  Address on file
29949648          RILEY BLAKE DESIGNS                           435 QIBING ROAD                     BINHAI INDUSTRIAL ZONE           130                                                    SHAOXING                                312072          CHINA
29940492          RILEY BLAKE DESIGNS                           9646 SOUTH 500 WEST                                                                                                         SANDY                      UT           84070
29940501          RILEY FLEMING                                 Address on file
30331427          Name on file                                  Address on file
30263246          Name on file                                  Address on file
30288779          Rimini Street, Inc.                           Attn: Scott S. Hoffmann             1700 S. Pavillion Center Drive   Suite 330                                              Las Vegas                  NV           89135
30285637          Name on file                                  Address on file
30258005          Name on file                                  Address on file
30274760          Name on file                                  Address on file
30296408          Name on file                                  Address on file
30288850          Name on file                                  Address on file
30222420          Name on file                                  Address on file
30222420          Name on file                                  Address on file
30293029          Name on file                                  Address on file
30274128          Name on file                                  Address on file
30280230          Name on file                                  Address on file
30295222          Name on file                                  Address on file
30285940          Name on file                                  Address on file
30258418          Name on file                                  Address on file
30258460          Name on file                                  Address on file
30332767          Name on file                                  Address on file
29940553          RITA N. IYANDA                                Address on file
30260635          Name on file                                  Address on file

30282583          Rithum, LLC (f/k/a Commerce Technologies, LLC) 1201 Peachtree St.                 NE ‐ Building 400                Suite 600                                              Atlanta                    GA           30361
30285916          Name on file                                   Address on file
30278549          Name on file                                   Address on file
29940562          RIVER PARK PLAZA LP                            255 E. RIVER PARK CIR, SUITE 120                                                                                           FRESNO                     CA           93720
30283155          Name on file                                   Address on file
30275151          Name on file                                   Address on file
30282894          Name on file                                   Address on file
30282337          Name on file                                   Address on file
30331441          Name on file                                   Address on file
30331904          Name on file                                   Address on file
30287481          Name on file                                   Address on file
29940570          RIVERCHASE CC LP                               945 HEIGHTS BLVD.                                                                                                          HOUSTON                    TX           77008
30295420          Riverdale Crossing, LLC                        c/o Rubin LLC                      Attn: Paul Rubin                 11 Broadway                    Suite 715               New York                   NY           10004
30394426          Riverside Public Utilities                     3901 Orange St                                                                                                             Riverside                  CA           92501
29940579          RIVERSIDE PUBLIC UTILITIES, CA                 3900 MAIN STREET                                                                                                           RIVERSIDE                  CA           92522‐0144
29940581          RIVERSIDE WOODMAN PARTNERS                     C/O THE HOROWITZ GROUP             11661 SAN VICENTE BLVD           STE 301                                                LOS ANGELES                CA           90049‐5111
29940584          RIVERWOOD RUSKIN LLC                           C/O MCGUCKEN & ASSOCIATES LLC      PO BOX 10124                                                                            TAMPA                      FL           33679
30224034          Name on file                                   Address on file
30258529          Name on file                                   Address on file
30278578          Name on file                                   Address on file
29940590          RJR VACAVILLE LLC                              C/O PICOR                          5151 E. BROADWAY BLVD #115                                                              TUCSON                     AZ           85711
29940591          RK PEMBROKE PINES LLC                          C/O RK CENTERS                     17100 COLLINS AVE #225                                                                  SUNNY ISLES BEACH          FL           33160




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  ADDRESS ID                           NAME                       ADDRESS 1                         ADDRESS 2                       ADDRESS 3                      ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
29940593          RLJ LODGING TRUST MASTER TRS INC   EMBASSY SUITES HOTEL DOWNEY        8425 FIRESTONE BLVD.                                                                   DOWNEY                 CA           90241
30293036          Name on file                       Address on file
30291663          Name on file                       Address on file
30258656          Name on file                       Address on file
30286431          Name on file                       Address on file
30261590          Name on file                       Address on file
30276157          Roanoke Gas Company                Kerri Brunner                      519 Kimball Ave NE                                                                     Roanoke                VA           24016
29962569          ROANOKE GAS COMPANY                519 KIMBALL AVENUE NORTHEAST                                                                                              ROANOKE                VA           24016
30277611          Name on file                       Address on file
29962570          ROATS WATER SYSTEM, INC.           61147 HAMILTON LANE                                                                                                       BEND                   OR           97702
30353721          Name on file                       Address on file
30262402          Name on file                       Address on file
30277149          Name on file                       Address on file
30293171          Name on file                       Address on file
30275360          Name on file                       Address on file
30258650          Name on file                       Address on file
30331630          Robert Half Inc                    Recovery Dept.                     Attn: Amber Baptiste            3001 Bishop Dr                 Suite 130               San Ramon              CA           94583
29962580          ROBERT HALF INTERNATIONAL INC      12400 COLLECTIONS CENTER DR                                                                                               CHICAGO                IL           60693
29949649          ROBERT JOHN MAHAR JR               Address on file
29962600          ROBERT SCHWALL                     Address on file
29962602          ROBERT SHAFFER                     Address on file
29940650          ROBERT W FROEMMING PTR             Address on file
30200701          ROBERTA MATULA                     Address on file
30277020          Name on file                       Address on file
30261410          Name on file                       Address on file
30259687          Name on file                       Address on file
30260815          Name on file                       Address on file
30260157          Name on file                       Address on file
30225162          Name on file                       Address on file
30297354          Name on file                       Address on file
30283074          Name on file                       Address on file
30292680          Name on file                       Address on file
30260465          Name on file                       Address on file
30286079          Name on file                       Address on file
30286989          Name on file                       Address on file
30258484          Name on file                       Address on file
30222732          Name on file                       Address on file
30263389          Name on file                       Address on file
30259286          Name on file                       Address on file
30260326          Name on file                       Address on file
30282243          Name on file                       Address on file
30282325          Name on file                       Address on file
30227054          Name on file                       Address on file
30257259          Name on file                       Address on file
30274039          Name on file                       Address on file
30331827          Name on file                       Address on file
30224254          Name on file                       Address on file
30224254          Name on file                       Address on file
30280485          Name on file                       Address on file
30262808          Name on file                       Address on file
30331479          Name on file                       Address on file
30274029          Name on file                       Address on file
30261361          Name on file                       Address on file
30263405          Name on file                       Address on file
30259147          Name on file                       Address on file
29940722          ROCE LLC                           FAIRFIELD INN & STES, AKRON STOW   4170 STEELS POINTE                                                                     STOW                   OH           44224
30200680          ROCHELLE NASH                      ATTN: PIUS JOSEPH, ESQ.            595 E. COLORADO BOULEVARD       SUITE 801                                              PASADENA               CA           91101
29940732          ROCHESTER CROSSING LLC             PO BOX 11499                                                                                                              NEWARK                 NJ           07101
30331600          Rochester Crossing, LLC            Cafe of: Jason B. Curtin           600 Atlantic Ave, Floor 19                                                             Boston                 MA           02210
29940739          ROCHESTER PUBLIC UTILITIES         4000 EAST RIVER ROAD NE                                                                                                   ROCHESTER              MN           55906
29940740          ROCHFORD SUPPLY                    7624 BOONE AVE N STE 200                                                                                                  BROOKLYN PARK          MN           55428
30251376          Name on file                       Address on file
30251299          Name on file                       Address on file




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  ADDRESS ID                           NAME                                   ADDRESS 1                         ADDRESS 2                        ADDRESS 3          ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
                                                                  ROCKDALE COUNTY ADMINISTRATION &
29962671          ROCKDALE WATER RESOURCES                        SERVICES BUILDING                  958 MILSTEAD AVE.               ROOM 321, 2ND FLOOR                        CONYERS                GA           30012
30260015          Name on file                                    Address on file
29962676          ROCKSTEP WILLMAR LLC                            ATTN PROPERTY MANAGER              1605 S 1ST STREET                                                          WILLMAR                MN           56201
30277246          Name on file                                    Address on file
30297404          Name on file                                    Address on file
30296819          Name on file                                    Address on file
30276268          Name on file                                    Address on file
30282102          Name on file                                    Address on file
30257082          Name on file                                    Address on file
30276059          Name on file                                    Address on file
30262717          Name on file                                    Address on file
30281016          Name on file                                    Address on file
29918238          Rodriguez, Edna                                 Address on file
30276905          Name on file                                    Address on file
30259557          Name on file                                    Address on file
30284547          Name on file                                    Address on file
30222470          Name on file                                    Address on file
30331395          Name on file                                    Address on file
30274251          Name on file                                    Address on file
30258599          Name on file                                    Address on file
30259953          Name on file                                    Address on file
30277526          Name on file                                    Address on file
30285315          Name on file                                    Address on file
30261807          Name on file                                    Address on file
30263048          Name on file                                    Address on file
29940774          ROETZEL & ANDRESS LPA                           222 S MAIN STREET                                                                                             AKRON                  OH           44308
30185248          Roetzel & Andress, LPA                          Attn: John J. Rutter, Esq.         222 South Main Street                                                      Akron                  OH           44308
29975673          Roetzel & Andress, LPA                          Attn: John J. Rutter, Esq.         222 South Main Street                                                      Akron                  OH           44308
30287283          Name on file                                    Address on file
30284933          Name on file                                    Address on file
30225299          Name on file                                    Address on file
30225299          Name on file                                    Address on file
29951535          ROGERS WATER UTILITIES                          601 S 2ND ST                                                                                                  ROGERS                 AR           72756
                  Rogers Water Utilities of the City of Rogers,
30294951          Arkansas                                        c/o Frazier Law Firm, PLC          3333 Pinnacle Hills Parkway     Ste 423                                    Rogers                 AR           72758
30274509          Name on file                                    Address on file
30289437          Name on file                                    Address on file
30222889          Name on file                                    Address on file
30283634          Name on file                                    Address on file
30276397          Name on file                                    Address on file
30222612          Name on file                                    Address on file
30331892          Name on file                                    Address on file
30262470          Name on file                                    Address on file
30280575          Name on file                                    Address on file
30288800          Name on file                                    Address on file
30262989          Name on file                                    Address on file
29951538          ROHLIG USA LLC                                  6909 ENGLE RD, UNIT A‐1                                                                                       MIDDLEBURG HEIGHTS     OH           44130
30261510          Rohlig USA, LLC                                 1743 S. Linneman Road                                                                                         Mount Prospect         IL           60056
30165269          Rohlig USA, LLC.                                1743 S. Linneman Road                                                                                         Mount Prospect         IL           60056
30260135          Name on file                                    Address on file
30296692          Name on file                                    Address on file
30276884          Name on file                                    Address on file
30275392          Name on file                                    Address on file
30330890          Name on file                                    Address on file
29940781          ROIC FULLERTON CROSSROADS LLC                   MS 631099                          PO BOX 3953                                                                SEATTLE                WA           98124‐3953
30165950          ROIC Fullerton Crossroads, LLC                  c/o Merino Yebri LLP               1925 Century Park E, Ste 2100                                              Los Angeles            CA           90067
30257929          Name on file                                    Address on file
30297131          Name on file                                    Address on file
30259902          Name on file                                    Address on file
30225224          Name on file                                    Address on file
30200588          ROLLINS INC                                     NORTHWEST EXTERMINATING CO LLC     830 KENNESAW AVENUE                                                        MARIETTA               GA           30060
30258351          Name on file                                    Address on file
30274408          Name on file                                    Address on file




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  ADDRESS ID                           NAME                           ADDRESS 1                             ADDRESS 2                        ADDRESS 3              ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30226995          Name on file                          Address on file
30226995          Name on file                          Address on file
30253556          Name on file                          Address on file
30257739          Name on file                          Address on file
30257525          Name on file                          Address on file
30223385          Name on file                          Address on file
30223385          Name on file                          Address on file
30261783          Name on file                          Address on file
30279828          Name on file                          Address on file
30279007          Name on file                          Address on file
30262857          Name on file                          Address on file
30277848          Name on file                          Address on file
30263314          Name on file                          Address on file
30273751          Name on file                          Address on file
30263463          Name on file                          Address on file
30279113          Name on file                          Address on file
30281604          Name on file                          Address on file
30274830          Name on file                          Address on file
30275251          Name on file                          Address on file
30292699          Name on file                          Address on file
30292632          Name on file                          Address on file
29962686          Name on file                          Address on file
30257583          Name on file                          Address on file
29940845          ROOT CANDLES                          623 W. LIBERTY ST                                                                                                       MEDINA                OH           44256
30295957          Name on file                          Address on file
30259733          Name on file                          Address on file
30285091          Name on file                          Address on file
30258839          Name on file                          Address on file
30257210          Name on file                          Address on file
30290030          Name on file                          Address on file
30295582          Name on file                          Address on file
30200681          ROSE M. RIVERA                        C/O NELSON & NATALE, LLP                ATTN: DANIEL L. NELSON           13144 PRAIRIE AVE.                             HAWTHORNE             CA           90250
30279834          Name on file                          Address on file
30275209          Name on file                          Address on file
30273799          Name on file                          Address on file
30285617          Name on file                          Address on file
30228379          Name on file                          Address on file
30285750          Name on file                          Address on file
30287312          Name on file                          Address on file
30293615          Name on file                          Address on file
30224307          Rosenthal & Rosenthal, Inc.           Attn: Melinda DeJesus                   1370 Broadway                    3rd Floor                                      New York              NY           10018
30224283          Rosenthal & Rosenthal, Inc.           Attn: Melinda DeJesus                   1370 Broadway, 3rd Floor                                                        New York              NY           10018
30224311          Rosenthal & Rosenthal, Inc.           Attn: Melinda DeJesus                   1370 Broadway                    3rd Floor                                      New York              NY           10018
30224293          Rosenthal & Rosenthal, Inc.           Attn: Melinda DeJesus                   1370 Broadway                    3rd Floor                                      New York              NY           10018
30260193          Name on file                          Address on file
30294858          Name on file                          Address on file
29940987          ROSS TOWNSHIP, PA                     1000 ROSS MUNICIPAL DRIVE                                                                                               PITTSBURGH            PA           15237
30297685          Name on file                          Address on file
30284825          Name on file                          Address on file
30285473          Name on file                          Address on file
30274913          Name on file                          Address on file
30281518          Name on file                          Address on file
29940991          ROSTRAVER TOWNSHIP SEWAGE AUTHORITY   1744 ROSTRAVER ROAD                                                                                                     ROSTRAVER TOWNSHIP    PA           15012
30200586          ROTH BROS INC                         C/O SODEXO INC & AFFILIATES             PO BOX 360170                                                                   PITTSBURGH            PA           15251‐6170
30280236          Roth Bros., Inc. (a Sodexo Company)   Sodexo c/o Joshua Morris, Esquire       Commercial Litigation Attorney   915 Meeting Street                             North Bethesda        MD           20852
30259342          Name on file                          Address on file
30290368          Name on file                          Address on file
30285383          Name on file                          Address on file
30295639          Name on file                          Address on file
30259419          Name on file                          Address on file
30331425          Rouse Companies, LLC                  Hitchcock Wyatt, Tarrant & Combs, LLP   Attn: Daniel E.                  250 West Main Street, Suite 1600               Lexington             KY           40507
30258045          Name on file                          Address on file
30284251          Name on file                          Address on file
30286882          Name on file                          Address on file




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  ADDRESS ID                           NAME                      ADDRESS 1                           ADDRESS 2                       ADDRESS 3                      ADDRESS 4                    CITY           STATE     POSTAL CODE           COUNTRY
30262456          Name on file                      Address on file
30289388          Name on file                      Address on file
30287250          Name on file                      Address on file
30286993          Name on file                      Address on file
30290462          Name on file                      Address on file
30285890          Name on file                      Address on file
30261365          Name on file                      Address on file
30279657          Name on file                      Address on file
30284931          Name on file                      Address on file
30296235          Name on file                      Address on file
30284096          Name on file                      Address on file
30286089          Name on file                      Address on file
29962716          ROYAL ACME CORPORATION            3110 PAYNE AVENUE                                                                                                           CLEVELAND                  OH           44114
29962718          Royal Consumer Information        Products Inc (Ecom)                  1011 US Highway 22 West        Suite 202                                               Bridgewater                NJ           08807
30297668          Royal Consumer Products LLC       Meister Seelig & Fein PLLC           Attn: Christopher J. Major     125 Park Avenue                7th Floor                New York                   NY           10017
29962719          ROYAL CONSUMER PRODUCTS LLC       108 MAIN STREET                                                                                                             NORWALK                    CT           06851
29962722          ROYAL TALENS NORTH AMERICA, INC   30 INDUSTRIAL DRIVE                                                                                                         NORTHAMPTON                MA           01060
30287435          Name on file                      Address on file
30287122          Name on file                      Address on file
29952756          RPI RIDGMAR TOWN SQUARE LTD       2929 CARLISLE STREET #170                                                                                                   DALLAS                     TX           75204
29941061          RR INDUSTRIES                     F69‐73 NEEMRANA INDUSTRIAL AREA      DISTT ALWAR NEEMRANA                                                                   RAJASTHAN                               301705          INDIA
29941063          RSS WFRBS2011‐C3‐DE PMHN LLC      LOCKBOX #411882                      PO BOX 411882                                                                          BOSTON                     MA           02241‐1882
30262751          Name on file                      Address on file
30224879          Name on file                      Address on file
30259491          Name on file                      Address on file
30200682          RUBY STEVENS                      C/O HAUG BARRON LAW GROUP, LLC       ATTN: SOMALIA D. DIXON, ESQ.   8237 DUNWOODY PLACE            BLDG. 18                 ATLANTA                    GA           30350
                                                    D 40, SECTOR 11, NOIDA INDUSTRIAL
29967490          RUCHICAZ OVERSEAS                 AREA                                 G. B. NAGAR, 201301            U.P, INDIA                                              G B NAGAR, UTTAR PRADESH                201301          INDIA
29941090          RUCHICAZ OVERSEAS                 D‐40 SECT 11 NOIDA INDUSTRIAL AREA   NOIDA                                                                                  UTTAR PRADESH                           201301          INDIA
30297126          Name on file                      Address on file
30296215          Name on file                      Address on file
30260501          Name on file                      Address on file
30286188          Name on file                      Address on file
30275400          Name on file                      Address on file
30258077          Name on file                      Address on file
30279806          Name on file                      Address on file
30279651          Name on file                      Address on file
30278662          Name on file                      Address on file
30286247          Name on file                      Address on file
30286251          Name on file                      Address on file
30277867          Name on file                      Address on file
30262683          Name on file                      Address on file
30263164          Name on file                      Address on file
30255550          Name on file                      Address on file
30222157          Name on file                      Address on file
30260143          Name on file                      Address on file
30260952          Name on file                      Address on file
30262079          Name on file                      Address on file
30259670          Name on file                      Address on file
30259248          Name on file                      Address on file
30273700          Name on file                      Address on file
30285435          Name on file                      Address on file
29941103          RURAL KING REALTY LLC             4216 DEWITT AVE                                                                                                             MATTOON                    IL           61938
30332892          Name on file                      Address on file
30284568          Name on file                      Address on file
30282529          Name on file                      Address on file
30286611          Russell Tobin & Associates LLC    Attn: Legal Department               Daniel Kohn, Esq.              420 Lexington Avenue           30th Floor               New York                   NY           10170
29941111          RUSSELL TOBIN & ASSOCIATES LLC    420 LEXINGTON AVE #2903                                                                                                     NEW YORK                   NY           10170
30296927          Name on file                      Address on file
30277778          Name on file                      Address on file
30257446          Name on file                      Address on file
30350567          Name on file                      Address on file
30257810          Name on file                      Address on file
30259648          Name on file                      Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                     ADDRESS 2                     ADDRESS 3                     ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY
30258073          Rust‐Oleum Corporation                  Credit Department              11 E. Hawthorn Parkway                                                              Vernon Hills             IL           60061
29941114          RUST‐OLEUM CORPORATION                  11 HAWTHORN PARKWAY                                                                                                VERNON HILLS             IL           60061
29962736          RUTH JONES                              Address on file
30200683          RUTH KUMP                               C/O FLETCHER LAW OFFICE, LLC   ATTN: NICHOLAS ZEVENBERGEN   751 EAST 63RD ST.              SUITE 430               KANSAS CITY              MO           64110
30261045          Name on file                            Address on file
30275165          Name on file                            Address on file
30262204          Name on file                            Address on file
30293471          Name on file                            Address on file
30263473          Name on file                            Address on file
30331332          RVA West Broad, LLC                     Hirschler Fleischer, P.C.      Kollin G. Bender             2100 East Cary Street                                  Richmond                 VA           23223
29941213          RYAN SHUSTER                            Address on file
30258571          Name on file                            Address on file
30276149          Name on file                            Address on file
30296368          Name on file                            Address on file
30279798          Name on file                            Address on file
30261797          Name on file                            Address on file
30291379          Name on file                            Address on file
30256870          Name on file                            Address on file
30295588          Name on file                            Address on file
30258989          Name on file                            Address on file
30276237          Name on file                            Address on file
30285321          Name on file                            Address on file
30257241          Name on file                            Address on file
29962775          RYLEE HALL                              Address on file
30278807          Name on file                            Address on file
29941255          S & M HEIGHTS                           DBA MADISON PLACE              1334 MAPLELAWN DRIVE                                                                TROY                     MI           48084
29941274          S2G‐OHIO INC                            SSG OHIO                       PO BOX 635065                                                                       CINCINNATI               OH           45263‐5065
30263577          Name on file                            Address on file
30274185          Name on file                            Address on file
30259240          Name on file                            Address on file
30290036          Name on file                            Address on file
30292925          Name on file                            Address on file
30274894          Name on file                            Address on file
30293089          Name on file                            Address on file
30276145          Name on file                            Address on file
30274921          Name on file                            Address on file
30274079          Name on file                            Address on file
30274695          Name on file                            Address on file
30261911          Name on file                            Address on file
30258386          Name on file                            Address on file
30295241          Name on file                            Address on file
30280638          Name on file                            Address on file
30222089          Name on file                            Address on file
29941361          SAFAVIEH                                40 HARBOR PARK DRIVE                                                                                               PORT WASHINGTON          NY           11050
29941363          SAFETY‐KLEEN SYSTEMS INC                PO BOX 975201                                                                                                      DALLAS                   TX           75397‐5201
30224881          Name on file                            Address on file
30277380          Name on file                            Address on file
29962796          SAGINAW CENTER LLC                      C/O CHASE PROPERTIES           3333 RICHMOND RD #320                                                               BEACHWOOD                OH           44122
30288401          Name on file                            Address on file
30285826          Name on file                            Address on file
30280906          Name on file                            Address on file
30258959          Name on file                            Address on file
30280910          Name on file                            Address on file
30275418          Name on file                            Address on file
29941387          SAKAR INTERNATIONAL INC                 195 CARTER DRIVE                                                                                                   EDISON                   NJ           08817
30287015          Sakar International Inc.                Edward Schnitzer, Esq.         950 Third Avenue             Suite 2400                                             New York                 NY           10022
30279913          Name on file                            Address on file
30262384          Name on file                            Address on file
30166654          Sakura Color Products of America, Inc   30780 San Clemente St                                                                                              Hayward                  CA           94544
29941388          SAKURA OF AMERICA                       30780 SAN CLEMENTE STREET                                                                                          HAYWARD                  CA           94544‐7131
30296741          Name on file                            Address on file
30284853          Name on file                            Address on file
30260583          Name on file                            Address on file
30263827          Name on file                            Address on file




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  ADDRESS ID                           NAME                       ADDRESS 1                            ADDRESS 2                        ADDRESS 3                      ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
                                                                                          ATTN: LAWRENCE SCHWAB/ GAYE
30287699          SALESFORCE, INC.                 C/O BIALSON, BERGEN & SCHWAB           HECK                              830 MENLO AVE.                 SUITE 201               MENLO PARK            CA           94025
30281720          Name on file                     Address on file
30257133          Name on file                     Address on file
30259413          Name on file                     Address on file
30274823          Name on file                     Address on file
30273610          Name on file                     Address on file
30259254          Name on file                     Address on file
30290231          Name on file                     Address on file
30261485          Name on file                     Address on file
30331481          Name on file                     Address on file
30401293          Salt City Development Co., LLC   Attn: David Muraco                     112 S. Burdick St.                                                                       Fayetteville          NY           13066
30259737          Name on file                     Address on file
30256846          Name on file                     Address on file
30296835          Name on file                     Address on file
30279557          Name on file                     Address on file
29965287          Sam Pievac Company               3390 Enterprise Dr.                                                                                                             Bloomington           CA           92316
29941437          SAM PIEVAC COMPANY INC           DBA SPC RETAIL DISPLAY GR              PO BOX 970                                                                               SAN JOSE              CA           95108
30260053          Name on file                     Address on file
30331537          Name on file                     Address on file
29941686          SAMMUT BROTHERS                  1149 WESTRIDGE PKWY                                                                                                             SALINAS               CA           93907
30256554          Name on file                     Address on file
30224595          Name on file                     Address on file
30282290          Name on file                     Address on file
30274263          Name on file                     Address on file
30274990          Name on file                     Address on file
29941733          SAN DIEGO GAS & ELECTRIC         8330 CENTURY PARK CT                                                                                                            SAN DIEGO             CA           92123‐1530
30280207          SAN DIEGO GAS AND ELECTRIC       BANKRUPTCY CPEC/CP11W1                 PO BOX 129831                                                                            SAN DIEGO             CA           92112‐9831
29941734          SAN DIEGO POLICE‐ ALARMS         PO BOX 121431                                                                                                                   SAN DIEGO             CA           92112
30281300          Name on file                     Address on file
30275121          Name on file                     Address on file
30287149          Name on file                     Address on file
30283235          Name on file                     Address on file
30261244          Name on file                     Address on file
30273602          Name on file                     Address on file
30276081          Name on file                     Address on file
30197467          Sand Capital VI LLC              10689 N. Pennsylvania St., Suite 100                                                                                            Indianapolis          IN           46280

29941751          SAND CAPITAL VI LLC              ATTN ACCOUNTS PAYABLE                  10689 N PENNSYLVANIA ST STE 100                                                          INDIANAPOLIS          IN           46280
30258336          Name on file                     Address on file
30275139          Name on file                     Address on file
30262911          Name on file                     Address on file
30259238          Name on file                     Address on file
30282834          Name on file                     Address on file
30260505          Name on file                     Address on file
30274302          Name on file                     Address on file
30260473          Name on file                     Address on file
30275016          Name on file                     Address on file
30274406          Name on file                     Address on file
30285664          Name on file                     Address on file
30227060          Name on file                     Address on file
30206546          Sandoval, Maria Garcia           Address on file
30202135          Sandoval, Maria Garcia           Address on file
29941843          SANDRA TURBIDES                  Address on file
29941853          SANDRALEE WELCH                  Address on file
30260185          Name on file                     Address on file
30262846          Name on file                     Address on file
30287872          Name on file                     Address on file
30280182          Name on file                     Address on file
30260956          Name on file                     Address on file
30276431          Name on file                     Address on file
30262553          Name on file                     Address on file
30251348          Name on file                     Address on file
30260439          Name on file                     Address on file




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  ADDRESS ID                           NAME                                  ADDRESS 1                    ADDRESS 2                  ADDRESS 3                      ADDRESS 4                    CITY        STATE     POSTAL CODE        COUNTRY
30257493          Name on file                                 Address on file
30251267          Name on file                                 Address on file
30229143          Santa's Workshop Inc                         1650 Trumbull Avenue                                                                                             Girard                  OH           44420
29941893          SANTA'S WORKSHOP INC                         1650 TRUMBULL AVE                                                                                                GIRARD                  OH           44420
29941895          SANTEE COOPER                                Address on file
29953173          SANTEE PRINT WORKS                           58 WEST 40TH STREET                                                                                              NEW YORK                NY           10018
30275038          Name on file                                 Address on file
30278616          Name on file                                 Address on file
29953178          SANTOKI LLC                                  1100 N OPDYKE ROAD                                                                                               AUBURN HILLS            MI           48326
30263355          Name on file                                 Address on file
30279575          SAP America, Inc.                            Attn to: Joe Mitchell, Esq.     4521 Derby Lane                                                                  Smyrna                  GA           30082
30288608          Sapient Corporation d/b/a Publicis Sapient   c/o Troutman Pepper Locke LLP   Attn: Hanna J. Redd       111 Huntington Ave.            9th Floor               Boston                  MA           02199
29941916          SARA CANDLE                                  Address on file
29963011          SARAH BAKER                                  Address on file
29963062          SARAH FORMAN                                 Address on file
30279340          Name on file                                 Address on file
29942088          SARAH JAMES                                  Address on file
29942129          SARAH LOUISE BOND                            Address on file
29953234          SARAHS CRAFTS                                BARANGAY KAULUSAN                                                                                                LAGUNA                               4017            PHILIPPINES
29942271          SARASOTA COUNTY PUBLIC UTILITIES             1660 RINGLING BLVD                                                                                               SARASOTA                FL           34236
30256704          Name on file                                 Address on file
30223403          Name on file                                 Address on file
30289451          Sarjo, Hawa                                  Address on file
29942293          SARONI REAL ESTATE LLC                       C/O KIM HERREN                  PO BOX 71641                                                                     TUSCALOOSA              AL           35407
30284817          Name on file                                 Address on file
30332081          Name on file                                 Address on file
30284951          Name on file                                 Address on file
30274130          Name on file                                 Address on file
30256844          Name on file                                 Address on file
30263357          Name on file                                 Address on file
30285567          Name on file                                 Address on file
30283802          Name on file                                 Address on file
30291375          Name on file                                 Address on file
30292487          Name on file                                 Address on file
30257808          Name on file                                 Address on file
30162193          Saunders Midwest LLC                         29 E Madison                    Ste 900                                                                          Chicago                 IL           60602
29942327          SAUNDERS MIDWEST LLC                         29 MADISON STREET STE 900                                                                                        CHICAGO                 IL           60602
30279421          Name on file                                 Address on file
30287229          Name on file                                 Address on file
30274257          Name on file                                 Address on file
30285095          Name on file                                 Address on file
30231621          Name on file                                 Address on file
30259473          Name on file                                 Address on file
30282825          Name on file                                 Address on file
30253401          Name on file                                 Address on file
30222687          Name on file                                 Address on file
30274477          Name on file                                 Address on file
30258686          Name on file                                 Address on file
30227056          Name on file                                 Address on file
30274517          Name on file                                 Address on file
30279239          Name on file                                 Address on file
29942443          SAWGRASS                                     420 WANDO PARK BLVD.                                                                                             MOUNT PLEASANT          SC           29466
30192947          Sawgrass Technologies, Inc.                  420 Wando Park Blvd.                                                                                             Mount Pleasant          SC           29464
29942444          SAWNEE EMC                                   543 ATLANTA ROAD                                                                                                 CUMMING                 GA           30040
30294475          Name on file                                 Address on file
30263591          Name on file                                 Address on file
30273708          Name on file                                 Address on file
30258123          Name on file                                 Address on file
30280577          Name on file                                 Address on file
30331987          Name on file                                 Address on file
30274132          Name on file                                 Address on file
30294660          Name on file                                 Address on file
30284997          Name on file                                 Address on file
30296733          Name on file                                 Address on file




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30259546          Name on file                    Address on file
30331262          Name on file                    Address on file
30262039          Name on file                    Address on file
30273262          Name on file                    Address on file
30279930          Name on file                    Address on file
30280232          Name on file                    Address on file
30288477          Name on file                    Address on file
30331918          Name on file                    Address on file
30274992          Name on file                    Address on file
30260047          Name on file                    Address on file
29942472          SCENTSIBLE LLC DBA POO‐POURRI   4901 KELLER SPRINGS DR, SUITE 106D                                                             ADDISON          TX           75001
30288903          Name on file                    Address on file
30262248          Name on file                    Address on file
30281067          Name on file                    Address on file
30262011          Name on file                    Address on file
30296100          Name on file                    Address on file
30262069          Name on file                    Address on file
30260009          Name on file                    Address on file
30292794          Name on file                    Address on file
30221915          Name on file                    Address on file
30275293          Name on file                    Address on file
30256614          Name on file                    Address on file
30262210          Name on file                    Address on file
30278643          Name on file                    Address on file
30273690          Name on file                    Address on file
30260887          Name on file                    Address on file
30292052          Name on file                    Address on file
30289129          Name on file                    Address on file
30262013          Name on file                    Address on file
30261795          Name on file                    Address on file
30258983          Name on file                    Address on file
30288951          Name on file                    Address on file
30293016          Name on file                    Address on file
30289621          Name on file                    Address on file
30292790          Name on file                    Address on file
30285525          Name on file                    Address on file
30232051          Name on file                    Address on file
30294419          Name on file                    Address on file
30281522          Name on file                    Address on file
30281114          Name on file                    Address on file
30260799          Name on file                    Address on file
30285509          Name on file                    Address on file
30278539          Name on file                    Address on file
30291603          Name on file                    Address on file
30257113          Name on file                    Address on file
30280890          Name on file                    Address on file
30285938          Name on file                    Address on file
30285952          Name on file                    Address on file
30278624          Name on file                    Address on file
30278582          Name on file                    Address on file
30295810          Name on file                    Address on file
30283121          Name on file                    Address on file
30232738          Name on file                    Address on file
30275237          Name on file                    Address on file
30279231          Name on file                    Address on file
30263581          Name on file                    Address on file
30279344          Name on file                    Address on file
30258889          Name on file                    Address on file
30229368          Name on file                    Address on file
30274471          Name on file                    Address on file
30274146          Name on file                    Address on file
30257644          Name on file                    Address on file
30276896          Name on file                    Address on file
30223337          Name on file                    Address on file




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  ADDRESS ID                           NAME                        ADDRESS 1                    ADDRESS 2                    ADDRESS 3          ADDRESS 4               CITY        STATE     POSTAL CODE   COUNTRY
30294372          Name on file                        Address on file
30200809          SCHNEIDER NATIONAL CARRIERS INC     PO BOX 281496                                                                                         ATLANTA            GA           30384‐1496
30295765          Schneider National Carriers, Inc.   3101 S. Packerland Drive                                                                              Green Bay          WI           54313
30281877          Name on file                        Address on file
30258404          Name on file                        Address on file
30280797          Name on file                        Address on file
30279281          Name on file                        Address on file
30232409          Name on file                        Address on file
30274330          Name on file                        Address on file
30257923          Name on file                        Address on file
30290412          Name on file                        Address on file
30277856          Name on file                        Address on file
30297569          Schnitzer Investment Properties     c/o Diana Hodge               1121 SW Salmon St            Ste 500                                    Portland           OR           97205
29942483          SCHNITZER PROPERTIES LLC            CANYON PLACE SHOPPING CTR     UNIT #39, P.O. BOX 4500                                                 PORTLAND           OR           97208‐4500
30274487          Name on file                        Address on file
30262669          Name on file                        Address on file
30282535          Name on file                        Address on file
30260966          Name on file                        Address on file
30284264          Name on file                        Address on file
30290028          Name on file                        Address on file
30261664          Name on file                        Address on file
30258672          Name on file                        Address on file
30292877          Name on file                        Address on file
30261710          SCHOTT TEXTILES INC                 2850 GILCHRIST RD             PO BOX 472                                                              AKRON              OH           44305
30292546          Schott Textiles Inc                 PO Box 472                    2850 Gilchrist Rd                                                       Akron              OH           44309
29951094          SCHOTT TEXTILES INC                 2850 GILCHRIST ROAD                                                                                   AKRON              OH           44305
30280789          Name on file                        Address on file
30280269          Name on file                        Address on file
29951095          SCHOTTENSTEIN REALTY LLC            SRL CROSSINGS AT TAYLOR LLC   DEPT. L‐3705                                                            COLUMBUS           OH           43260‐3705
29951096          SCHOTTENSTEIN REALTY LLC            DBA TJ CENTER I LLC           DEPARTMENT L 2633                                                       COLUMBUS           OH           43260
30257939          Name on file                        Address on file
30285241          Name on file                        Address on file
30280471          Name on file                        Address on file
30295024          Name on file                        Address on file
30273964          Name on file                        Address on file
30274943          Name on file                        Address on file
30224893          Name on file                        Address on file
30286052          Name on file                        Address on file
30274671          Name on file                        Address on file
30281655          Name on file                        Address on file
30275637          Name on file                        Address on file
30282832          Name on file                        Address on file
30257567          Name on file                        Address on file
30291254          Name on file                        Address on file
30259745          Name on file                        Address on file
30279090          Name on file                        Address on file
30263685          Name on file                        Address on file
30276089          Name on file                        Address on file
30279123          Name on file                        Address on file
30273870          Name on file                        Address on file
30296547          Name on file                        Address on file
30286758          Name on file                        Address on file
30284501          Name on file                        Address on file
30263534          Name on file                        Address on file
30261371          Name on file                        Address on file
30274404          Name on file                        Address on file
30296239          Name on file                        Address on file
30284144          Name on file                        Address on file
30274110          Name on file                        Address on file
30221934          Name on file                        Address on file
30261658          Name on file                        Address on file
30257058          Name on file                        Address on file
30222782          Name on file                        Address on file
30290170          Name on file                        Address on file




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  ADDRESS ID                           NAME                             ADDRESS 1                         ADDRESS 2                          ADDRESS 3        ADDRESS 4                   CITY        STATE     POSTAL CODE           COUNTRY
30260767          Name on file                             Address on file
30289735          Name on file                             Address on file
30225185          Name on file                             Address on file
30258075          Name on file                             Address on file
30337646          Name on file                             Address on file
29951102          SCHYLLING INC                            21 HIGH STREET, SUITE 400                                                                                      NORTH ANDOVER          MA           01845
29972607          Schylling Inc.                           21 HIGH STREET, STE 400                                                                                        NORTH ANDOVER          MA           01845
30222766          Name on file                             Address on file
30284302          Name on file                             Address on file
29942510          SCOTT SEKELLA                            Address on file
30284471          Name on file                             Address on file
30286154          Name on file                             Address on file
30289746          Name on file                             Address on file
30257396          Name on file                             Address on file
30280242          Name on file                             Address on file
30263345          Name on file                             Address on file
30251315          Name on file                             Address on file
30282245          Name on file                             Address on file
30280115          Name on file                             Address on file
30256964          Name on file                             Address on file
30254884          Name on file                             Address on file
30262867          Name on file                             Address on file
30275277          Name on file                             Address on file
30331924          Name on file                             Address on file
30261181          Name on file                             Address on file
29942526          SCV WATER ‐ VALENCIA DIVISION            27234 BOUQUET CANYON ROAD                                                                                      SANTA CLARITA          CA           91350‐2173
29942530          SDM DEVELOPMENT CO LLC                   5190 OLSEN SPRINGS CT                                                                                          WYOMING                MI           49509
29942538          SEACOAST UTILITY AUTHORITY               4200 HOOD RD                                                                                                   PALM BEACH GARDENS     FL           33410
30263337          Name on file                             Address on file
                                                           C/O BLUME FORTE FRIED ZERRES &
30200684          SEAN F. MONTEITH                         MOLINARI                            ATTN: BRIAN M. RIEHL, ESQ.      26 JOURNAL SQUARE                          JERSEY CITY            NJ           07306
29951128          SEARCE INC                               3663 N. SAM HOUSTON PKWY E., #600                                                                              HOUSTON                TX           77032
30294450          Searce Inc.                              Attn: Abhishek Jhagarawat           3663 North Sam Houston Pkwy E   Suite # 600                                Houston                TX           77032
30262152          Name on file                             Address on file
30258033          Name on file                             Address on file
29975562          Seasonal Visions International Limited   Rm610, Kwai Choeng Ctr,             50Kwai Cheong Rd.                                                          Hong Kong                                           Hong Kong
29951130          SEASONAL VISIONS INTERNATIONAL LTD       ROOM 10, 6F, KWAI CHEONG CENTRE     50 KWAI CHEONG ROAD                                                        KWAI CHUNG                                          HONG KONG
29951131          SEASONS (HK) LTD                         6TH FL BLOCK A CHUNG MEI CENTER     15 HING YIP ST                                                             KWUN TONG                                           HONG KONG
29951134          SEASONS SPECIAL CO LTD                   2F #8 LANE44 JINMEN ST              TAIPEI                                                                     ZONGZHENG                           100033          TAIWAN
29951134          SEASONS SPECIAL CO LTD                   2F #8 LANE44 JINMEN ST              TAIPEI                                                                     ZONGZHENG                           100033          TAIWAN
30257102          Seasons Special Co., Ltd.                c/o Kevin M. Capuzzi, Esq.          1313 N. Market St.              Suite 1201                                 Wilmington             DE           19801
30206620          Seasons Tex                              135, Venus Nagar                    Kolathur                                                                   Chennai, TN                         600099          India
29951135          SEASONS TEX                              135 VENUS NAGAR KOLATHUR            CHENNAI                                                                    TAMILNADU                           600099          INDIA
30261155          Name on file                             Address on file
30260081          Seattle Public Utilities                 PO Box 35177                                                                                                   Seattle                WA           98124‐5177
30287077          Name on file                             Address on file
30224094          Name on file                             Address on file
29942584          SECO ENERGY                              330 SOUTH US HIGHWAY 301                                                                                       SUMTERVILLE            FL           33585
30274797          Name on file                             Address on file
29942589          SECURITAS TECHNOLOGY CORP                PO BOX 643731                                                                                                  PITTSBURGH             PA           15264‐5253
29942595          SEDGWICK CLAIMS MGMT SERVICE IN          PO BOX 207834                                                                                                  DALLAS                 TX           75320‐7834
30263469          Name on file                             Address on file
30292838          Name on file                             Address on file
30262655          Name on file                             Address on file
30261457          Name on file                             Address on file
30222594          Name on file                             Address on file
30263074          Name on file                             Address on file
30274420          Name on file                             Address on file
30295466          Name on file                             Address on file
30262569          Name on file                             Address on file
30257991          Name on file                             Address on file
30273622          Name on file                             Address on file
30279673          Sekella, Scott                           Address on file
30279696          Sekella, Scott                           Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                             ADDRESS 2                       ADDRESS 3                       ADDRESS 4                   CITY        STATE     POSTAL CODE       COUNTRY
30279041          Name on file                            Address on file
29942605          SE‐KURE CONTROLS INC                    3714 RUNGE ST                                                                                                                  FRANKLIN PARK          IL           60131‐1112
30258535          Name on file                            Address on file
29942607          SELCO ‐ 9269                            299 E 11TH AVE                                                                                                                 EUGENE                 OR           97401
30200737          SELIG ENTERPRISES INC                   #39459‐002503                          1100 SPRING ST STE 550                                                                  ATLANTA                GA           30309
                                                          Ramsey Andrews Winograd & Wildstein,
30296125          Selig Enterprises, Inc.                 PC                                     c/o Jacob A. Maurer Bodker      3490 Piedmont Rd NE            Suite 1400               Atlanta                GA           30305
30290100          Name on file                            Address on file
30273828          Name on file                            Address on file
30283656          Name on file                            Address on file
30258981          Name on file                            Address on file
30285864          Name on file                            Address on file
29942639          SEMCO ENERGY GAS COMPANY                1411 THIRD STREET                      SUITE A                                                                                 PORT HURON             MI           48060
30275849          Name on file                            Address on file
30273981          Name on file                            Address on file
29942643          SEMRUSH INC                             800 BOYLSTON ST., #2475                                                                                                        BOSTON                 MA           02199
30292324          Name on file                            Address on file
30263088          Name on file                            Address on file
30222044          Name on file                            Address on file
30293611          Name on file                            Address on file
30297113          Name on file                            Address on file
30262571          Name on file                            Address on file
30215496          Name on file                            Address on file
30263369          Name on file                            Address on file
30224792          Name on file                            Address on file
30290295          Name on file                            Address on file
29942658          SEQUOIA PLAZA ASSOCIATES LP             UNITED SECURITY BANK/ C. A. FBO KEY    7088 N FIRST STREET                                                                     FRESNO                 CA           93720
30274239          Name on file                            Address on file
30258733          Name on file                            Address on file
29963148          SERVICENOW INC                          PO BOX 731647                                                                                                                  DALLAS                 TX           75373
30290086          ServiceNow, Inc.                        Cooley LLP                             Attn: Robert L. Eisenbach III   3 Embarcadero Center           20th Floor               San Francisco          CA           94111
30281549          Name on file                            Address on file
30294468          Name on file                            Address on file
30258342          Name on file                            Address on file
30283815          Name on file                            Address on file
30282770          Sevier County Electric System           Julie K. Floodquist                    PO Box 4870                                                                             Sevierville            TN           37864
29942716          SEVIER COUNTY ELECTRIC SYSTEM           315 E. MAIN STREET                                                                                                             SEVIERVILLE            TN           37862
29942718          SEVIER COUNTY UTILITY DISTRICT (SCUD)   420 ROBERT HENDERSON RD                                                                                                        SEVIERVILLE            TN           37862
29942721          SEW EASY INDUSTRIES                     1717 SOUTH 450 WEST                                                                                                            LOGAN                  UT           84321
30262292          Sew Easy Industries, Inc.               1717 S 450 W                                                                                                                   Logan                  UT           84321
30200784          SEWPLUS NINGBO CO LTD                   NO 68 Caijiayan, Lanjiang St           130                                                                                     YUYAO                               315400          CHINA
30276187          Name on file                            Address on file
30295563          Name on file                            Address on file

30200785          SEYOU CORPORATION LTD                   C/O #605676                            #405, DAEHO NEW BLDE                                                                    SEOUL                               03128           KOREA, REPUBLIC OF
                                                          A‐G216, 201 SONGPA‐DAERO, SONGPA‐
29963154          SFT INC                                 GU                                                                                                                             SEOUL                               5854            KOREA, REPUBLIC OF
30297715          SFT Inc.                                A‐G216 201Songpa‐Daero                 Songpa‐Gu                                                                               Seoul                               05854           Korea
30297604          SFT Inc.                                A‐G216 201 Songpa‐Daero                Songpa‐Gu                                                                               Seoul                               05854           South Korea
30330911          SFT Inc.                                A‐G216 201Songpa‐Daero, Songpa‐Gu                                                                                              Seoul                               05854           South Korea
30330914          SFT Inc.                                A‐G216 201 Songpa‐Daero                Songpa‐Gu                                                                               Seoul                               05854           South Korea
30330924          SFT Inc.                                A‐G216 201 Songpa‐Daero                Songpa‐Gu                                                                               Seoul                               05854           South Korea
30330931          SFT Inc.                                A‐G216 201 Songpa‐Daero                Songpa‐Gu                                                                               Seoul                               05854           South Korea
30297646          SFT Inc.                                A‐G216 201 Songpa‐Daero                Songpa‐Gu                                                                               Seoul                               05854           South Korea
30297659          SFT Inc.                                A‐G216 201 Songpa‐Daero                Songpa‐Gu                                                                               Seoul                               05854           South Korea
30297676          SFT Inc.                                A‐G216 201 Songpa‐Daero                Songpa‐Gu                                                                               Seoul                               05854           South Korea
30297689          SFT Inc.                                A‐G216 201 Songpa‐Daero                Songpa‐Gu                                                                               Seoul                               05854           South Korea
30297696          SFT Inc.                                A‐G216 201 Songpa‐Daero                Songpa‐Gu                                                                               Seoul                               05854           South Korea
30330885          SFT Inc.                                A‐G216 201 Songpa‐Daero                Songpa‐Gu                                                                               Seoul                               05854           South Korea
30330894          SFT Inc.                                A‐G216 201Songpa‐Daero,                Songpa‐Gu                                                                               Seoul                               05854           South Korea
30227112          Name on file                            Address on file
30227112          Name on file                            Address on file
30222377          Name on file                            Address on file
30286263          Name on file                            Address on file




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  ADDRESS ID                           NAME                                     ADDRESS 1                            ADDRESS 2                         ADDRESS 3                      ADDRESS 4                        CITY        STATE     POSTAL CODE           COUNTRY
30221956          Name on file                                    Address on file
30222936          Name on file                                    Address on file
30258741          Name on file                                    Address on file
30282351          Name on file                                    Address on file
30278709          Name on file                                    Address on file
30224216          Name on file                                    Address on file
30273822          Name on file                                    Address on file
30290038          Name on file                                    Address on file
30166632          Shakopee Public Utilities                       255 Sarazin St                                                                                                                  Shakopee                    MN           55379
29942761          SHAKOPEE PUBLIC UTILITY                         255 SARAZIN STREET                                                                                                              SHAKOPEE                    MN           55379
                  SHANDONG EXCEL LIGHT INDUSTRIAL
29942808          PRODUCTS CO LTD                                 168 MINXIANG ROAD                                                                                                               ZIBO                                     255088          CHINA
                  Shandong Excel Light Industrial Products CO.,
29975965          Ltd.                                            Jesse Gao                              168, Minxiang Road                                                                       Zibo, SD                                 25508           China
29942813          SHANE CERVANTES                                 Address on file
30166137          SHANGHAI ALLTEX TECHNOLOGY CO LTD               3 F NO 12 LANE 688 HENGNAN ROAD                                                                                                 SHANGHAI                                 201112          CHINA
29942828          SHANGHAI ALLTEX TECHNOLOGY CO LTD               3/F NO 12 LANE 688 HENGNAN ROAD                                                                                                 PUJIANG TOWN                             201112          CHINA
30181525          SHANGHAI LIFETEX INDUSTRY CO LTD                NO 17, LANE 688, HENGNAN ROAD          MINHANG DISTRICT                                                                         SHANGHAI                                 201112          CHINA
29942829          SHANGHAI LIFETEX INDUSTRY CO LTD                NO17, LANE 688 HENGNAN ROAD                                                                                                     MINHANG DISTRICT                         201112          CHINA

29942830          SHANGHAI MORE DESIGNERS TRADING                 TIANBAOHUATING,HONG KONG DISTRICT      ROOM 1405, BUILDING 2,                                                                   SHANGHAI                                 200086          CHINA
30286670          Name on file                                    Address on file
30286652          Name on file                                    Address on file
30285235          Name on file                                    Address on file
30225343          Name on file                                    Address on file
30164648          Shaoxing Ador Imp & Exp Co., Ltd.               2nd Floor HongDa Xiyi Village          Anchang Town                                                                             Shaoxing, Zhejiang                       312030          China
29963212          SHAOXING ADOR IMPORT & EXPORT CO LTD            2ND FLOOR HONGDA BUILDING              ANCHANG TOWN, KEQIAO                                                                     SHAOXING                                 312030          CHINA
29963213          SHAOXING ENYI TEXTILE CO LTD                    LUXI INDUSTRIAL PARK                   THE 2ND FLOOR, BUILDING 2                                                                SHAOXING                                 312000          CHINA
                                                                                                         No. 263 Fanlijin Wuyang Village
30192665          Shaoxing Keqiao Yuzhou Textile Co., Ltd         Guohai Yu                              Fuquan St.                        Keqiao District                                        Shaoxing Zhejiang, CN                    312000          China
29963214          SHAOXING KEQIAO YUZHOU TEXTILECOLTD             FUQUAN STREET, KEQIAO DI                                                                                                        SHAOXING                                 312000          CHINA
29963215          SHAOXING MINYING TRADING CO LTD                 NO 7 KAIYUAN ROAD                                                                                                               SHAOXING                                 31200           CHINA
30181523          SHAOXING MINYING TRADING CO., LTD               NO.7, KAIYUAN ROAD, PAOJIANG                                                                                                    SHAOXING, ZHEJAING                       312000          CHINA
30162911          Shaoxing Minying Trading Co., Ltd.              C/o: Mazzola Lindstrom LLP             1350 Avenue of the Americas       2nd Floor                                              New York                    NY           10019
30164619          Shaoxing Minying Trading., Ltd.                 No. 1394                               Shaoxing Textile Trading Center   Keqiao                                                 Shaoxing, ZJ                                             China
30181375          SHAOXING ROBB IMP & EXP CO LTD                  SUITE B19018 WONDER PLAZA KEQIAO                                                                                                SHAOXING, ZHEJAING                       312030          CHINA
29963216          SHAOXING ROBB IMP & EXP CO LTD                  KEQIAO                                 SUITE B 19018 WONDER PLAZA                                                               SHAOXING KEQIAO                          312030          CHINA
30164405          SHAOXING ROBB IMP & EXP CO., LTD                SUITE B19018 WONDER PLAZA              KEIQAO                                                                                   SHAOXIN                                                  CHINA
30164125          SHAOXING ROBB IMP & EXP CO., LTD                SUITE B19018 WONDER PLAZA              KEIQAO                                                                                   SHAOXING                                                 CHINA
30167623          Shaoxing Robb Imp & Exp Co., LTD                Wonder Plaza Keqiao                    Suite B19018                                                                             Shaoxing, Zhejiang                                       China
29963217          SHAOXING XINZEZHOU IMP & EXP CO LTD             WUYANG VILLAGE, FUQUAN TOWN            KEJIAO DISTRICT                                                                          SHAOXING                                                 CHINA
30206640          Shaoxing Xinzezhou Imp. &Exp. Co., Ltd          Shoushui Dai                           Wuyang Village                    Fuquan Town                    Keqiao District         Shaoxing, Zhejiang                       31200           China
30261738          Name on file                                    Address on file
30200685          SHARON K. ALVAREZ                               C/O LEEDER LAW                         ATTN: THOMAS H. LEEDER            8551 W. SUNRISE BLVD.                                  PLANTATION                  FL           33322
30296305          Name on file                                    Address on file
30263066          Name on file                                    Address on file
30222320          Name on file                                    Address on file
30260027          Name on file                                    Address on file
30275323          Name on file                                    Address on file
30256648          Name on file                                    Address on file
30285431          Name on file                                    Address on file
30258464          Name on file                                    Address on file
30282772          Name on file                                    Address on file
29943124          SHAWNNA SCOTT                                   Address on file
30260929          Name on file                                    Address on file
30278019          Name on file                                    Address on file
30335967          Name on file                                    Address on file
30262218          Name on file                                    Address on file
30297442          Shelby Town Center I, LLC                       c/o Center Management Services, Inc    Attn: Catherine Allen             34120 Woodward Ave                                     Birmingham                  MI           48009
30260643          Shelby Town Center I, LLC                       c/o Center Management Services, Inc.   Attn: Catherine Allen             34120 Woodward Avenue                                  Birmingham                  MI           48009
29943231          SHELBY TOWN CENTER PHASE I, LLC                 34120 WOODWARD                                                                                                                  BIRMINGHAM                  MI           48009
29943243          SHELBYVILLE ROAD PLAZA LLC                      C/O HAGAN PROPERTIES INC               12911 REAMERS ROAD                                                                       LOUISVILLE                  KY           40245
30254976          Name on file                                    Address on file
30262142          Name on file                                    Address on file




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  ADDRESS ID                           NAME                                     ADDRESS 1                          ADDRESS 2                         ADDRESS 3                    ADDRESS 4                      CITY        STATE     POSTAL CODE           COUNTRY
30260589          Name on file                                   Address on file
30287463          Name on file                                   Address on file
30276890          Name on file                                   Address on file
30228275          Name on file                                   Address on file
30283664          Name on file                                   Address on file
30164626          Shenyang Large Circle Art & Crafts, Co., Ltd   10/F, Building C                     Liyang Mansion                     110 South HuangHe St                                 ShenYang, LN                           11003           China
                  SHENYANG LARGE CIRCLE ARTS & CRAFTS CO
29950343          LTD                                            WORKSTATION 0614, ROOM 201           LIAONING                                                                                SHENYANG                               110031          CHINA
                  SHENYANG LARGE CIRCLE ARTS & CRAFTS CO
29950343          LTD                                            WORKSTATION 0614, ROOM 201           LIAONING                                                                                SHENYANG                               110031          CHINA
                                                                                                      RONGCHAO BINHAI BLDG B,
30200727          SHENZHEN RIZEE CULTURAL CREATIVITY             UNIT 1301                            NO.2021, HAIXIU RD                 XIN'AN ST                      190                   SHENZHEN                               518100          CHINA

30164366          Shenzhenrizee Cultural Creativity Co, Ltd      Zeng Jinqing                         Unit 1301 Rongchao Binhai Building B Haixiu Road                                        Shenzhen, CN                           51810           China
30294946          Name on file                                   Address on file
30289358          Name on file                                   Address on file
29950346          SHEPHERD HARDWARE                              6961 US HWY 12 WEST                                                                                                          THREE OAKS                MI           49128
30259612          Name on file                                   Address on file
                                                                 C/O LINEBARGER, GOGGAN, BLAIR &
29943319          SHERMAN SCHOOL DISTRICT                        SAMPSON, LLP                         115 EAST LAMAR STREET                                                                   SHERMAN                   TX           75090
30258633          Name on file                                   Address on file
30224317          Name on file                                   Address on file
30261626          Name on file                                   Address on file
30200615          SHERYL ABRAMS                                  Address on file
30259829          Name on file                                   Address on file
30273694          Name on file                                   Address on file
30222797          Name on file                                   Address on file
30222369          Name on file                                   Address on file
30286827          Name on file                                   Address on file
30224755          Name on file                                   Address on file
30402075          Name on file                                   Address on file
29943393          SHIELD INDUSTRIES INC                          131 SMOKEHILL LANE                                                                                                           WOODSTOCK                 GA           30188
30164879          Shield Industries, Inc.                        Robert Ian Lasnik, VP Operations     131 Smokehill Lane                                                                      Woodstock                 GA           30188
30276241          Name on file                                   Address on file
29943394          SHIENQ HUONG ENTERPRISE CO LTD                 NO 466 SHIHGUAN RD                   CAOTUN TOWNSHIP                                                                         NANTOU COUNTY                          54254           TAIWAN
30166667          Shienq Huong Enterprise Co., LTD.              No. 446, Shihguan Rd.                Caotun Township                                                                         Nantou County, Taiwan                  54254           China
30273962          Name on file                                   Address on file
30285858          Name on file                                   Address on file
30259676          Name on file                                   Address on file
30283188          Name on file                                   Address on file
30274306          Name on file                                   Address on file
30262294          Name on file                                   Address on file
30275022          Name on file                                   Address on file
30276606          Name on file                                   Address on file
30275352          Name on file                                   Address on file
30286437          Name on file                                   Address on file
30295519          Name on file                                   Address on file
30200686          SHIRLEY P. COTTON                              C/O SPIROS LAW, P.C.                 ATTN: JORDAN A. BUTLER, ESQ.       2807 N. VERMILION              SUITE 3               DANVILLE                  IL           61832
30287455          Name on file                                   Address on file
30261921          Name on file                                   Address on file
30262274          Name on file                                   Address on file
29943418          SHIV SHAKTI HOME                               PASSINA KALAN ROAD                   PO BOX 180                         PANIPAT                                              HARYANA                                132103          INDIA

30215629          SHIV SHAKTI HOME                               VILLAGE PASSINA KALAN ROAD PANIPAT                                                                                           PANIPAT, HARYANA                       132103          INDIA
30285870          Name on file                                   Address on file
29943421          SHJR LLC                                       11111 SANTA MONICA BLVD #520                                                                                                 LOS ANGELES               CA           90025
30277454          Name on file                                   Address on file
30282361          Name on file                                   Address on file
30258927          Name on file                                   Address on file
30225208          Name on file                                   Address on file
30274069          Name on file                                   Address on file
29943431          SHOPPES AT RIVER CROSSING LLC                  SDS‐12‐2746                          PO BOX 86                                                                               MINNEAPOLIS               MN           55486
29943435          SHOPPING CENTER ASSOC‐PERRING PLAZA            C/O FEDERAL REALTY INVEST TRUST      PO BOX 8500‐9320                                                                        PHILADELPHIA              PA           19178
30295318          Shops at St. Johns, LLC                        c/o Simon Property Group, Inc.       225 West Washington St                                                                  Indianapolis              IN           46204




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  ADDRESS ID                           NAME                                     ADDRESS 1                        ADDRESS 2                       ADDRESS 3                   ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30260137          Name on file                                Address on file
30274555          Name on file                                Address on file
30285603          Name on file                                Address on file
29943445          SHRI SWAMINE LLC                            PO BOX 2022                                                                                                                DANVERS                MA           01923
29952424          SHULAMIT N. NELSON                          Address on file
29952425          SHULAMIT NELSON                             Address on file
30331617          Name on file                                Address on file
30224262          Name on file                                Address on file
30287227          Name on file                                Address on file
30222867          Name on file                                Address on file
30296992          Name on file                                Address on file
30283501          Name on file                                Address on file
30279138          Name on file                                Address on file
30275259          Name on file                                Address on file
30259965          Name on file                                Address on file
30222893          Name on file                                Address on file
30263489          Name on file                                Address on file
30295748          Name on file                                Address on file
30259763          Name on file                                Address on file
30293305          Name on file                                Address on file
30258527          Name on file                                Address on file
30200617          SIERRA KEEN                                 Address on file
30295066          Name on file                                Address on file
30258398          Name on file                                Address on file
30294610          Name on file                                Address on file
30262545          Name on file                                Address on file

30196715          Sigma Computing, Inc.                       116 New Montgomery Street, Suite 700                                                                                       San Francisco          CA           94105
30260195          Name on file                                Address on file
29943544          SILHOUETTE AMERICA                          618 NORTH 2000 WEST BLDG 2                                                                                                 LINDON                 UT           84042
29943545          SILHOUETTE AMERICA INC.                     618 N 2000 W BDLG 2                                                                                                        LINDON                 UT           84042
30184213          SILHOUETTE AMERICA, INC.                    NORIKO SLIJK                           CFO/ SILHOUETTE AMERICA, INC.   618 N 2000 W                   BLDG#2               LINDON                 UT           84042
30218578          Name on file                                Address on file
30274919          Name on file                                Address on file
30261021          Name on file                                Address on file
30260580          Name on file                                Address on file
29943553          SILVER LAKE CENTER LLC                      SILVER LAKE MALL, ATTN: MGMT           200 WEST HANLEY AVE.                                                                COEUR D'ALENE          ID           83815‐6081
29943558          SILVERNAIL ASSOCIATES                       W228N745 WESTMOUND DRIVE                                                                                                   WAUKESHA               WI           53186
29943559          Silvernail Associates Limited Partnership   c/o Tomar Management, Inc.             Attn: Colleen Sikora            W228 N745 Westmound Drive                           Waukesha               WI           53186
30284764          Name on file                                Address on file
30261302          Name on file                                Address on file
30297072          Name on file                                Address on file
30226481          Name on file                                Address on file
30256652          Name on file                                Address on file
29943573          SIMMER COACHMAN                             Address on file
30290127          Name on file                                Address on file
30284991          Name on file                                Address on file
30282922          Name on file                                Address on file
30283049          Name on file                                Address on file
30273763          Name on file                                Address on file
30274683          Name on file                                Address on file
30274862          Name on file                                Address on file
30274984          Name on file                                Address on file
30224099          Name on file                                Address on file
30225137          Name on file                                Address on file
30261933          Name on file                                Address on file
30284272          Name on file                                Address on file
30259588          Name on file                                Address on file
30257086          Name on file                                Address on file
30297681          Name on file                                Address on file
30261775          Name on file                                Address on file
30284961          Name on file                                Address on file
30257237          Name on file                                Address on file
30200721          SIMPLER POSTAGE INC                         EASYPOST                               39120 ARGONAUT WAY, #460                                                            FREMONT                CA           94538




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  ADDRESS ID                           NAME                               ADDRESS 1                 ADDRESS 2                     ADDRESS 3          ADDRESS 4                      CITY            STATE     POSTAL CODE       COUNTRY
29943593          SIMPLICITY CREATIVE GROUP                450 PLYMOUTH RD                                                                                       PLYMOUTH MEETING              PA           19462
29943594          SIMPLICITY CREATIVE GROUP                261 MADISON AVE, 4TH FLOOR                                                                            NEW YORK                      NY           10016
29943593          SIMPLICITY CREATIVE GROUP                450 PLYMOUTH RD                                                                                       PLYMOUTH MEETING              PA           19462
30285736          Name on file                             Address on file
30297235          Name on file                             Address on file
30284118          Name on file                             Address on file
30224179          Name on file                             Address on file
30259385          Name on file                             Address on file
30285854          Name on file                             Address on file
30258492          Name on file                             Address on file
30279073          Name on file                             Address on file

30164231          SINCERE CREATES & MANUFACTURES LIMITED   BLK 2, FLAT E & G, 17/F,     KINGSWAY INDUSTRIAL BUILDING                                             KWAI CHUNG, N.T., HONG KONG                999077          CHINA

29943599          SINCERE CREATES & MANUFACTURES LTD       BLK 2, FLAT E & G, 17/F      KINGSWAY INDUSTRIAL BUILDING                                             KWAI CHUNG, NT                             999077          HONG KONG
30255054          Name on file                             Address on file
30256682          Name on file                             Address on file
30260629          Name on file                             Address on file
30276730          Name on file                             Address on file
30258376          Name on file                             Address on file
30261035          Name on file                             Address on file
30259363          Single Source Security, LLC              383 Main Avenue              Suite 505                                                                Norwalk                       CT           06851
30280465          Name on file                             Address on file
30281959          Name on file                             Address on file
30262945          Name on file                             Address on file
30275283          Name on file                             Address on file
29952331          SISER                                    C/O SISER NORTH AMERICA      12900 HALL RD STE 270                                                    STERLING HEIGHTS              MI           48313
29952332          SISER NORTH AMERICA                      12900 HALL RD STE 270                                                                                 STERLING HEIGHTS              MI           48313
30282542          Name on file                             Address on file
30282660          Name on file                             Address on file
30276012          Name on file                             Address on file
29952334          SITE CENTERS CORP                        DEPT 103173 30042 15978      PO BOX 931650                                                            CLEVELAND                     OH           44193
30260155          Name on file                             Address on file
30285297          Name on file                             Address on file
30293250          Name on file                             Address on file
29943612          SKADDEN, ARPS, SLATE, MEAGHER & FLO      PO BOX 1764                                                                                           WHITE PLAINS                  NY           10602
30258081          Name on file                             Address on file
30260585          Name on file                             Address on file
30285627          Name on file                             Address on file
30259835          Name on file                             Address on file
30258843          Name on file                             Address on file
30262172          Name on file                             Address on file
30257151          Name on file                             Address on file
30259715          Name on file                             Address on file
30257080          Name on file                             Address on file
29943620          SKULLDUGGERY INC                         5433 E LA PALMA AVENUE                                                                                ANAHEIM                       CA           92807
30165140          Skullduggery, Inc.                       5433 E La Palma Avenue                                                                                Anaheim                       CA           92807
                                                           C/O FOUR POINTS PROPERTY
30200860          SKY MIDLAND HOLDINGS LLC                 MANAGEMENT LLC               10101 FONDREN RD., SUITE 545                                             HOUSTON                       TX           77096
30274096          Name on file                             Address on file
30260117          Name on file                             Address on file
30274265          Name on file                             Address on file
30259276          Name on file                             Address on file
30258255          Name on file                             Address on file
30260517          Name on file                             Address on file
30292494          Name on file                             Address on file
30258015          Name on file                             Address on file
30256515          Name on file                             Address on file
30285779          Name on file                             Address on file
30257615          Name on file                             Address on file
30279762          Name on file                             Address on file
30285968          Name on file                             Address on file
30279067          Name on file                             Address on file
30293655          Name on file                             Address on file




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  ADDRESS ID                           NAME                                ADDRESS 1                ADDRESS 2                          ADDRESS 3                       ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30284771          Name on file                               Address on file
30277167          Name on file                               Address on file
30261455          Name on file                               Address on file
30229255          Name on file                               Address on file
29963395          SM MESA MALL LLC                           DBA MESA MALL               PO BOX 713165                                                                             CHICAGO                IL           60677‐0365
30287622          Name on file                               Address on file
30264037          Name on file                               Address on file
30274907          Name on file                               Address on file
30290901          Name on file                               Address on file
30274996          Name on file                               Address on file
30274162          Name on file                               Address on file
29963398          SMART CIENEGA LLC                          SMART CIENEGA SPE LLC       PO BOX 3329                                                                               SEAL BEACH             CA           90740
                                                                                         c/o Byron Z. Moldo and Chase A.
30331049          Smart Cienega SPE, LLC                     Ervin Cohen & Jessup LLP    Stone                             9401 Wilshire Blvd.            12th Floor               Beverly Hills          CA           90212‐2974
29963400          SMART TOYS & GAMES INC                     480 2ND STREET, SUITE 203                                                                                             SAN FRANCISCO          CA           94107
30164082          Smart Toys and Games Inc                   Serghio Payiatas ‐ COO      480 2nd Street                    Suite 203                                               San Francisco          CA           94107
29963401          SMARTEK USA INC.                           12 HINSDALE STREET                                                                                                    BROOKLYN               NY           11207
30261602          Name on file                               Address on file
30260974          SMB Holdings, LLC                          Tonkon Torp LLP             c/o Ava L. Schoen                 888 SW Fifth Ave.              Ste. 1600                Portland               OR           97204

29963403          SMECO (SOUTHERN MARYLAND ELECTRIC COOP) 15065 BURNT STORE ROAD                                                                                                   HUGHESVILLE            MD           20637
30296620          Name on file                            Address on file
30277571          Name on file                            Address on file
30294656          Name on file                            Address on file
30331728          Name on file                            Address on file
30279501          Name on file                            Address on file
30256764          Name on file                            Address on file
30258107          Name on file                            Address on file
29943674          SMITH LAND & IMPROVEMENT CORP           DBA WEST SHORE PLAZA           1810 MARKET ST                                                                            CAMP HILL              PA           17011
30297214          Smith Land & Improvement Corporation    c/o Scott F. Landis, Esquire   Barley Snyder                     126 East King Street                                    Lancaster              PA           17602
30288916          Name on file                            Address on file
30282453          Name on file                            Address on file
30218635          Name on file                            Address on file
30296813          Name on file                            Address on file
30259187          Name on file                            Address on file
30292593          Name on file                            Address on file
30283005          Name on file                            Address on file
30257263          Name on file                            Address on file
30258497          Name on file                            Address on file
30261979          Name on file                            Address on file
30258877          Name on file                            Address on file
30283001          Name on file                            Address on file
30273648          Name on file                            Address on file
30263381          Name on file                            Address on file
30336060          Name on file                            Address on file
30231654          Name on file                            Address on file
30292475          Name on file                            Address on file
30274529          Name on file                            Address on file
30261216          Name on file                            Address on file
30285716          Name on file                            Address on file
30224837          Name on file                            Address on file
30224837          Name on file                            Address on file
30258547          Name on file                            Address on file
30289744          Name on file                            Address on file
30259309          Name on file                            Address on file
30257171          Name on file                            Address on file
30260787          Name on file                            Address on file
30331012          Name on file                            Address on file
30280956          Name on file                            Address on file
30276953          Name on file                            Address on file
30284835          Name on file                            Address on file
30260219          Name on file                            Address on file
30275063          Name on file                            Address on file
30283891          Name on file                            Address on file




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  ADDRESS ID                           NAME                ADDRESS 1        ADDRESS 2                  ADDRESS 3          ADDRESS 4                CITY        STATE     POSTAL CODE   COUNTRY
30286091          Name on file                Address on file
30276724          Name on file                Address on file
30259913          Name on file                Address on file
30256517          Name on file                Address on file
30257820          Name on file                Address on file
30274001          Name on file                Address on file
30279307          Name on file                Address on file
30290024          Name on file                Address on file
30274868          Name on file                Address on file
30254898          Name on file                Address on file
30284003          Name on file                Address on file
30284809          Name on file                Address on file
30279205          Name on file                Address on file
30282349          Name on file                Address on file
30282359          Name on file                Address on file
30282341          Name on file                Address on file
30276777          Name on file                Address on file
30224823          Name on file                Address on file
30278873          Name on file                Address on file
30259703          Name on file                Address on file
30282041          Name on file                Address on file
30258271          Name on file                Address on file
30282704          Name on file                Address on file
30257921          Name on file                Address on file
30261135          Name on file                Address on file
30222371          Name on file                Address on file
30260489          Name on file                Address on file
30224751          Name on file                Address on file
30296782          Name on file                Address on file
30258434          Name on file                Address on file
30291790          Name on file                Address on file
30223668          Name on file                Address on file
30222163          Name on file                Address on file
30280585          Name on file                Address on file
30256991          Name on file                Address on file
30253715          Name on file                Address on file
30274253          Name on file                Address on file
30224138          Name on file                Address on file
30285738          Name on file                Address on file
30227122          Name on file                Address on file
30227122          Name on file                Address on file
30281156          Name on file                Address on file
30222024          Name on file                Address on file
30283036          Name on file                Address on file
29943676          SMITHERS OASIS COMPANY      295 WATER STREET, SUITE 201                                                             KENT                OH           44240
30288560          Name on file                Address on file
30222523          Name on file                Address on file
30297063          Name on file                Address on file
30277089          Name on file                Address on file
30258979          Name on file                Address on file
30260511          Name on file                Address on file
30254042          Name on file                Address on file
30254049          Name on file                Address on file
29943678          SMUD                        6301 S ST.                                                                              SACRAMENTO          CA           95817
30274219          Name on file                Address on file
30281929          Name on file                Address on file
30256606          Name on file                Address on file
30259487          Name on file                Address on file
30223942          Name on file                Address on file
30259181          Name on file                Address on file
30288790          Name on file                Address on file
30294219          Name on file                Address on file
30295508          Name on file                Address on file
30257917          Name on file                Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                        ADDRESS 2                   ADDRESS 3          ADDRESS 4                   CITY        STATE     POSTAL CODE           COUNTRY
29943681          SNOHOMISH COUNTY PUD                    2320 CALIFORNIA STREET                                                                                   EVERETT                WA           98201
30165238          Snohomish County Pud                    Pamela J Gerber                   2320 California St                                                     Everett                WA           98201
30165186          SNOHOMISH COUNTY PUD                    2320 CALIFORNIA ST                                                                                       EVERETT                WA           98201
30165236          SNOHOMISH COUNTY PUD                    2320 CALIFORNIA ST                                                                                       EVERETT                WA           98201
30259894          Name on file                            Address on file
29963408          SNOW WHITE WOOLLEN MILLS PVT LTD        K 2 TEXTILE COLONY                INDUSTRIAL AREA A           LUDHIANA                                   PUNJAB                              141003          INDIA
30285549          Name on file                            Address on file
30222074          Name on file                            Address on file
30330869          Name on file                            Address on file
30279094          Name on file                            Address on file
30251366          Name on file                            Address on file
30274627          Name on file                            Address on file
30274338          Name on file                            Address on file
30285904          Name on file                            Address on file
30289706          Name on file                            Address on file
30280033          Name on file                            Address on file
30279818          Name on file                            Address on file
30275065          Name on file                            Address on file
30261230          Name on file                            Address on file
30262619          Name on file                            Address on file
29963411          SOAP CHAMPAIGN LLC                      HORIZON MANAGEMENT                1540 E. DUNDEE ROAD, #240                                              PALATINE               IL           60074
30258225          Name on file                            Address on file
30261991          Name on file                            Address on file
30293261          Name on file                            Address on file
30229231          SoCalGas                                P.O. Box 30337                                                                                           Los Angeles            CA           90030
29966912          SocialSign.in Inc                       248 Route 25A                     Suite 24                                                               East Setauket          NY           11733
29963414          SOCIALSIGN.IN INC                       248 ROUTE 25A STE 24                                                                                     EAST SETAUKET          NY           11733
30258392          Name on file                            Address on file
30287659          Name on file                            Address on file
30281169          Soft Flex Company                       PO Box 80                                                                                                Sonoma                 CA           95476
29943707          SOFT FLEX COMPANY                       22678 BROADWAY SUITE 1                                                                                   SONOMA                 CA           95476
30256558          Name on file                            Address on file
30262771          Name on file                            Address on file
30259586          Name on file                            Address on file
30259797          Name on file                            Address on file
29943712          SOLARTEX CORPORATION                    7F NO 477 SEC 2, TIDING BLVD                                                                             TAIPEI                              114‐93          TAIWAN
30286959          Name on file                            Address on file
30274927          Name on file                            Address on file
30278892          Name on file                            Address on file
30293408          Name on file                            Address on file
30287722          Name on file                            Address on file
30258334          Name on file                            Address on file
30274221          Name on file                            Address on file
30275412          Name on file                            Address on file
30257096          Name on file                            Address on file
30261418          Name on file                            Address on file
30260977          Name on file                            Address on file
30224233          Name on file                            Address on file
30274848          Name on file                            Address on file
30225008          Name on file                            Address on file
30225008          Name on file                            Address on file
30256528          Name on file                            Address on file
30260213          Name on file                            Address on file
                                                          COUNTY‐CITY BUILDING 227 WEST
29950373          SOUTH BEND MUNICIPAL UTILITIES          JEFFERSON BLVD.                                                                                          SOUTH BEND             IN           46601
29950382          SOUTH END INVESTORS LLC                 3265 MERIDIAN PKWY, STE. 130                                                                             WESTON                 FL           33331
30331711          South Frisco Village SC, LP             c/o Rachael L. Smiley, FBFK Law   2500 Dallas Parkway         Suite 600                                  Plano                  TX           75093
29943902          SOUTH JERSEY GAS COMPANY                1 S JERSEY PLZ                                                                                           HAMMONTON              NJ           08037‐9100
29943906          SOUTH PARK PLAZA INC                    19040 PARK AVENUE PLAZA                                                                                  MEADVILLE              PA           16335
30259111          Name on file                            Address on file
29963451          SOUTHERN CALIFORNIA EDISON              2244 WALNUT GROVE AVE                                                                                    ROSEMEAD               CA           91770‐3714
29943910          SOUTHERN CALIFORNIA GAS (THE GAS CO.)   1801 S. ATLANTIC BLVD.                                                                                   MONTEREY PARK          CA           91754
29943913          SOUTHERN CONNECTICUT GAS (SCG)          60 MARSH HILL ROAD                                                                                       ORANGE                 CT           06477
30192578          Southern Connecticut Gas Company        100 Marsh Hill Road                                                                                      Orange                 CT           06477




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  ADDRESS ID                           NAME                                    ADDRESS 1                          ADDRESS 2                          ADDRESS 3                       ADDRESS 4                   CITY        STATE     POSTAL CODE      COUNTRY
30200795          SOUTHERN UNION STATE                          COMMUNITY COLLEGE                     750 ROBERTS ST                                                                             WADLEY                 AL           36276
29963460          SOUTHINGTON RT 10 ASSOCIATES LP               C/O CORNERSTONE                       231 FARMINGTON AVENUE                                                                      FARMINGTON             CT           06032
29943920          SOUTHTOWN PLAZA REALTY LLC                    C/O NAMDAR REALTY GRP LLC             PO BOX 25078                                                                               TAMPA                  FL           33622
30291765          Southwest Commons 05 A, LLC                   Fennemore Craig, P.C.                 Attn: Patrick R. Akers             3615 Delgany Street            Suite 1100               Denver                 CO           80216
29943923          SOUTHWEST COMMONS 05A LLC                     PO BOX 511479                                                                                                                    LOS ANGELES            CA           90051‐8034
29943924          SOUTHWEST GAS                                 8360 S DURANGO DR                                                                                                                LAS VEGAS              NV           89113
30277142          Southwest Gas Corporation                     Attn: Bankruptcy                      P.O.Box 1498                                                                               Victorville            CA           92393
30277262          SOUTHWEST SIGN GROUP INC                      APEX SIGN GROUP                       7208 SOUTH WW WHITE RD.                                                                    SAN ANTONIO            TX           78222
29943926          SOUTHWEST SIGN GROUP INC                      APEX SIGN GROUP                       7208 SOUTH WW WHITE RD.                                                                    SAN ANTONIO            TX           78222
29943928          SOUTHWESTERN ELECTRIC POWER                   1 RIVERSIDE PLAZA,14TH FLOOR                                                                                                     COLUMBUS               OH           43215

30281717          Southwestern Public Service dba Xcel Energy   Attn: Bankruptcy Dept                 414 Nicollet Mall                                                                          Minneapolis            MN           55401
29943929          SOUTHWESTERN VA GAS COMPANY                   208 LESTER STREET                                                                                                                MARTINSVILLE           VA           24112‐2821
30206618          Southwick Technologies LLC                    27 Plaza Drive                                                                                                                   Clear Lake             IA           50428
30283632          Name on file                                  Address on file
29963467          SP 35 LP                                      NATIONAL R&D CORP                     3 MANHATTANVILLE ROAD                                                                      PURCHASE               NY           10577
30224885          Name on file                                  Address on file
30283971          Name on file                                  Address on file
30281796          Name on file                                  Address on file
30274382          Name on file                                  Address on file
30279756          Name on file                                  Address on file
29963471          SPANISH FORK CITY UT                          40 SOUTH MAIN                                                                                                                    SPANISH FORK           UT           84660‐5510
30339283          Name on file                                  Address on file
29963475          SPARROW INNOVATIONS INC                       2451 Old Lake Mary Rd # 101                                                                                                      SANFORD                FL           32771‐4103
30290457          Name on file                                  Address on file
29943932          SPARTAN GRAPHICS INC                          200 APPLEWOOD DRIVE, P.O. BOX 218                                                                                                SPARTA                 MI           49345
29943935          SPARTANBURG WATER SYSTEM                      200 COMMERCE STREET                                                                                                              SPARTANBURG            SC           29304
30279611          Name on file                                  Address on file
30279599          Name on file                                  Address on file
30279605          Name on file                                  Address on file
30279609          Name on file                                  Address on file
30283488          Name on file                                  Address on file
30279119          Name on file                                  Address on file
30166901          Spectrum                                      1600 Dublin Road                                                                                                                 Columbus               OH           43215
30166839          Spectrum                                      1600 Dublin Road                                                                                                                 Columbus               OH           43215
30290793          Name on file                                  Address on file
29943940          SPELLBINDERS                                  1125 W PINNACLE PEAK RD, STE 124                                                                                                 PHOENIX                AZ           85027
30261819          Name on file                                  Address on file
30257836          Name on file                                  Address on file
30263114          Name on file                                  Address on file
30262113          Name on file                                  Address on file
30281443          Name on file                                  Address on file
30257444          Name on file                                  Address on file
30222388          Name on file                                  Address on file
30290509          Name on file                                  Address on file
30254837          Name on file                                  Address on file
30257680          Name on file                                  Address on file
30260282          Name on file                                  Address on file

29943946          SPINRITE CORP                                 320 LIVINGSTONE AVE SOUTH PO BOX 40                                                                                              LISTOWEL               ON           N4W 3H3         CANADA

30331746          Spinrite Corp                                 McDermott Will & Emery LLP            Care of: Bradley Thomas Giordano   444 W Lake St.                                          Chicago                IL           60606
30291465          Spire Alabama Inc                             PO Box 2224                                                                                                                      Birmingham             AL           35246
30297391          SPIRE ENERGY                                  C/O SPIRE BANKRUPTCY                  605 Richard Arrington Jr. Blvd N                                                           Birmingham             AL           35203
30297367          Spire Energy                                  c/o Spire Bankruptcy                  605 Richard Arrington Jr. Blvd N                                                           Birmingham             AL           35203
                                                                                                      605 RICHARD ARRINGTON JR. BLVD
30297384          SPIRE ENERGY                                  C/O SPIRE BANKRUPTCY                  N                                                                                          BIRMINGHAM             AL           35203
30297420          Spire Energy                                  c/o Spire Bankruptcy                  605 Richard Arrington Jr. Blvd N                                                           Birmingham             AL           35203
30297451          Spire Energy                                  605 Richard Arrington Jr. Blvd N      c/o Spire Bankruptcy                                                                       Birmingham             AL           35203
30297440          Spire Energy                                  c/o Spire Bankruptcy                  605 Richard Arrington Jr. Blvd N                                                           Birmingham             AL           35203
30297432          Spire Energy                                  c/o Spire Bankruptcy                  605 Richard Arrington Jr. Blvd N                                                           Birmingham             AL           35203
29943948          SPIRE/CHARLOTTE                               700 MARKET ST.                                                                                                                   ST. LOUIS              MO           63101
29943950          SPIRE/ST LOUIS                                700 MARKET ST                         FL 6                                                                                       SAINT LOUIS            MO           63101
29963489          SPIRIT PROPERTIES, LTD                        21070 CENTRE POINTE PKWY                                                                                                         SANTA CLARITA          CA           91350




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  ADDRESS ID                           NAME                                ADDRESS 1                             ADDRESS 2                       ADDRESS 3                     ADDRESS 4                      CITY        STATE     POSTAL CODE           COUNTRY
                                                             c/o Greenberg Glusker Fields Claman &
30331512          Spirit Properties, Ltd.                    Machtinger LLP                          Keith Patrick Banner           2049 Century Park East         Ste. 2600               Los Angeles               CA           90067
30233020          Name on file                               Address on file
29943955          SPOKANE FIRE DEPARTMENT                    44 W RIVERSIDE AVENUE                                                                                                         SPOKANE                   WA           99201
30223474          Name on file                               Address on file
30223474          Name on file                               Address on file
29943956          SPORTICULTURE INC                          14812 BURNTWOODS ROAD                                                                                                         GLENWOOD                  MD           21738
30281435          SPORTICULTURE INC                          14812 BURNTWOODS ROAD                                                                                                         GLENWOOD                  MD           21738
30181573          Sporticulture, Inc.                        Tracy Morgan                            14812 Burntwoods Road                                                                 Glenwood                  MD           21738
30279901          Spotsylvania County Treasurers Office      PO Box 100                                                                                                                    Spotsylvania              VA           22553
30279884          Name on file                               Address on file
30261572          Name on file                               Address on file
29943963          SPRING CREEK OWNER LLC                     PO BOX 844                                                                                                                    LOWELL                    AR           72745
30293401          Name on file                               Address on file
30292765          Name on file                               Address on file
30257889          Name on file                               Address on file
30287328          Name on file                               Address on file
30285790          Name on file                               Address on file
29951005          SPRINGFIELD PLAZA ASSOCIATES LLC           11155 RED RUN BLVD. #320                                                                                                      OWINGS MILLS              MD           21117
29951008          SPRINGFIELD SQUARE                         C/O LG REALTY ADVISORS INC, LIBERTY     141 S. SAINT CLAIR ST., #201                                                          PITTSBURGH                PA           15222
30331851          SPRINGFIELD UTILITY BOARD                  PO BOX 300                                                                                                                    SPRINGFIELD               OR           97477
29943965          SPRINGS CREATIVE PRODUCTS GROUP            300 CHATHAM AVENUE, SUITE 100                                                                                                 ROCK HILL                 SC           29730
30280508          Springs Creative Products Group, Inc.      Claude Close                            220 W. White Street            Suite 140                                              Rock Hill                 SC           29730
30331808          Name on file                               Address on file
30223819          Name on file                               Address on file
30290112          Name on file                               Address on file
29943969          SPT CRE PROPERTY HOLD 2015 LLC             200 LINCOLN RETAIL, C/O LUND CO         450 REGENCY PKWY #200                                                                 OMAHA                     NE           68114
30261596          Name on file                               Address on file
30294554          Name on file                               Address on file
29943972          SQUARE ONE PARTNERS LLC                    4663 E LAFAYETTE BLVD                                                                                                         PHOENIX                   AZ           85018
29943971          SQUARE ONE PARTNERS LLC                    C/O PRETIUM PROPERTY MGMT LLC           PO BOX 2155                                                                           HADDONFIELD               NJ           08033

30288403          Square One Partners, LLC                   c/o Premium Property Management, LLC    30 Washington Avenue           Suite B5                                               Haddonfield               NJ           08033
30296423          Name on file                               Address on file
30286985          Name on file                               Address on file
30200801          SQUISHABLE                                 20 W 22ND ST                            STE 1101                                                                              NEW YORK                  NY           10010‐5844
30286301          Sri Ramlakshman Fabs                       No.1/65‐12, Thendral Nagar              Kottaimedu, Komarapalayam      Namakkal(Dt)                                           Erode, Tamilnadu                       638183          India

30193507          SRI RAMLAKSHMAN FABS                       NO.1/65‐12                              THENDRAL NAGAR, KOTTAIMEDU,    KOMARAPALAYAM                  NAMAKKAL(DT)            ERODE, TAMILNADU                       638183          INDIA

29963501          SRI RAMLAKSHMAN FABS                       1/65‐12 THENDRAL NAGAR KOTTAIMEDU       KOMARAPALAYAM                  ERODE                                                  TAMILNADU                              638183          INDIA
29963505          SRK LADY LAKE 21 SPE LLC                   4053 MAPLE RD., SUITE 200                                                                                                     AMHERST                   NY           14226
30297444          SRL Crossings at Taylor LLC                c/o Tod Friedman, Chief Legal Officer   4300 E. Fifth Ave.                                                                    Columbus                  OH           43219
30294458          SRP LLC a/k/a Shelbyville Road Plaza LLC   McCarter & English LLP                  Kate R. Buck, Esquire          405 N King Street, Suite 800                           Wilmington                DE           19801
30222919          Name on file                               Address on file
30222919          Name on file                               Address on file
30257652          Name on file                               Address on file
30276805          Name on file                               Address on file
30255154          Name on file                               Address on file
30351047          St. Charles County Collector               201 North Second Street                 Suite 134                                                                             St Charles                MO           63301‐2889
29963517          ST. JOHNS TOWN CENTER LLC                  PO BOX 713569                                                                                                                 CHICAGO                   IL           60677‐0093
30281752          Name on file                               Address on file
30223859          Name on file                               Address on file
30224090          Name on file                               Address on file
30276570          Name on file                               Address on file
30258789          Name on file                               Address on file
30282699          Name on file                               Address on file
30256802          Name on file                               Address on file
30275327          Name on file                               Address on file
29944079          STAEDTLER INC                              850 MATHESON BLVD WEST UNIT 4                                                                                                 MISSISSAUGA               ON           L5V 0B4         CANADA
30273696          Name on file                               Address on file
30277472          Name on file                               Address on file
30223359          Name on file                               Address on file
30292136          Name on file                               Address on file




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30223389          Name on file                             Address on file
30223389          Name on file                             Address on file
30256973          Name on file                             Address on file
30262675          Name on file                             Address on file
30292022          Name on file                             Address on file
30278519          Name on file                             Address on file
30284628          Name on file                             Address on file
30273846          Name on file                             Address on file
30258121          Name on file                             Address on file
30284989          Name on file                             Address on file
30274876          Name on file                             Address on file
30221974          Name on file                             Address on file
30274071          Name on file                             Address on file
30262254          Name on file                             Address on file
30273938          Name on file                             Address on file
30279176          Name on file                             Address on file
30273874          Name on file                             Address on file
30259200          Name on file                             Address on file
30258380          Name on file                             Address on file
30257491          Name on file                             Address on file
29944106          STARLITE CREATIONS INC                   727 BREA CANYON RD SUITE 4                                                                                        WALNUT               CA           91789
30227637          Name on file                             Address on file
30282960          Name on file                             Address on file
30262834          Name on file                             Address on file
30276676          Name on file                             Address on file
29944115          STATE INSURANCE FUND                     NYSIF DISABILITY BENEFITS    PO BOX 5520                                                                          BINGHAMTON           NY           13902‐5520
30160310          State of Delaware Division of Revenue    Attn: MS 28                  P.O. Box 8763                                                                        Wilmington           DE           19899‐8763
30207458          State of Nevada Department of Taxation   3850 Arrowhead Drive                                                                                              Carson City          NV           89706
30260615          Name on file                             Address on file
30260021          Name on file                             Address on file
30261111          Name on file                             Address on file
30229184          Staybridge Suites Great Falls            201 3rd St NW                                                                                                     Great Falls          MT           59404
30278884          Staybridge Suites Great Falls Mt         201 3rd St NW                                                                                                     Great Falls          MT           59404
30285283          Name on file                             Address on file
30275061          Name on file                             Address on file
30257487          Name on file                             Address on file
30259727          Name on file                             Address on file
30259668          Name on file                             Address on file
30259423          Name on file                             Address on file
30259759          Name on file                             Address on file
30284381          Name on file                             Address on file
30260731          Name on file                             Address on file
30295548          Steelworkers Pension Trust               Tucker Arensberg, P.C.       c/o Joanna Studeny            1500 One PPG Place                                     Pittsburgh           PA           15222
                                                           ATTN: WITHDRAWAL LIABILITY
29949668          STEELWORKERS PENSION TRUST               DEPARTMENT                   60 BLVD.                      OF THE ALLIES‐ SUITE 600                               PITTSBURGH           PA           15222
                                                           ATTN: WITHDRAWAL LIABILITY
29949668          STEELWORKERS PENSION TRUST               DEPARTMENT                   60 BLVD.                      OF THE ALLIES‐ SUITE 600                               PITTSBURGH           PA           15222
                                                           ATTN: WITHDRAWAL LIABILITY
29904954          STEELWORKERS PENSION TRUST               DEPARTMENT                   STEEL WORKERS PENSION TRUST   60 BLVD OF THE ALLIES          SUITE 600               PITTSBURGH           PA           15222
                                                           ATTN: WITHDRAWAL LIABILITY
29949668          STEELWORKERS PENSION TRUST               DEPARTMENT                   60 BLVD.                      OF THE ALLIES‐ SUITE 600                               PITTSBURGH           PA           15222
                                                           ATTN: WITHDRAWAL LIABILITY
29949668          STEELWORKERS PENSION TRUST               DEPARTMENT                   60 BLVD.                      OF THE ALLIES‐ SUITE 600                               PITTSBURGH           PA           15222
                                                           ATTN: WITHDRAWAL LIABILITY
29904954          STEELWORKERS PENSION TRUST               DEPARTMENT                   STEEL WORKERS PENSION TRUST   60 BLVD OF THE ALLIES          SUITE 600               PITTSBURGH           PA           15222
                                                           ATTN: WITHDRAWAL LIABILITY
29904954          STEELWORKERS PENSION TRUST               DEPARTMENT                   STEEL WORKERS PENSION TRUST   60 BLVD OF THE ALLIES          SUITE 600               PITTSBURGH           PA           15222
                                                           ATTN: WITHDRAWAL LIABILITY
29904954          STEELWORKERS PENSION TRUST               DEPARTMENT                   STEEL WORKERS PENSION TRUST   60 BLVD OF THE ALLIES          SUITE 600               PITTSBURGH           PA           15222
                                                           ATTN: WITHDRAWAL LIABILITY
29904954          STEELWORKERS PENSION TRUST               DEPARTMENT                   STEEL WORKERS PENSION TRUST   60 BLVD OF THE ALLIES          SUITE 600               PITTSBURGH           PA           15222
                                                           ATTN: WITHDRAWAL LIABILITY
29949668          STEELWORKERS PENSION TRUST               DEPARTMENT                   60 BLVD.                      OF THE ALLIES‐ SUITE 600                               PITTSBURGH           PA           15222




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  ADDRESS ID                           NAME                         ADDRESS 1                    ADDRESS 2                     ADDRESS 3                      ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
                                                       ATTN: WITHDRAWAL LIABILITY
29904954          STEELWORKERS PENSION TRUST           DEPARTMENT                    STEEL WORKERS PENSION TRUST   60 BLVD OF THE ALLIES          SUITE 600               PITTSBURGH            PA           15222
                                                       ATTN: WITHDRAWAL LIABILITY
29904954          STEELWORKERS PENSION TRUST           DEPARTMENT                    STEEL WORKERS PENSION TRUST   60 BLVD OF THE ALLIES          SUITE 600               PITTSBURGH            PA           15222
                                                       ATTN: WITHDRAWAL LIABILITY
29949668          STEELWORKERS PENSION TRUST           DEPARTMENT                    60 BLVD.                      OF THE ALLIES‐ SUITE 600                               PITTSBURGH            PA           15222
30283040          Name on file                         Address on file
30259218          Name on file                         Address on file
30256742          Name on file                         Address on file
30276413          Name on file                         Address on file
30279195          Name on file                         Address on file
29949669          STEFFI LYNN LLC                      1173 GREENE AVE.              3A                                                                                   BROOKLYN              NY           11221
30256493          Name on file                         Address on file
30253674          Name on file                         Address on file
30292612          Name on file                         Address on file
30279088          Name on file                         Address on file
30282902          Name on file                         Address on file
30292619          Name on file                         Address on file
30259652          Name on file                         Address on file
30261197          Name on file                         Address on file
30283143          Name on file                         Address on file
30287223          Name on file                         Address on file
30259165          Name on file                         Address on file
30258783          Name on file                         Address on file
30273775          Name on file                         Address on file
30263339          Name on file                         Address on file
30331798          Name on file                         Address on file
30263493          Name on file                         Address on file
30263273          Name on file                         Address on file
30261063          Name on file                         Address on file
30284219          Name on file                         Address on file
30285629          Name on file                         Address on file
29944387          STEPHEN KUZEMCHAK                    Address on file
29944391          STEPHEN M BERREY TRUST               Address on file
30273616          Name on file                         Address on file
30286391          Name on file                         Address on file
30258761          Name on file                         Address on file
30251279          Name on file                         Address on file
30286010          Name on file                         Address on file
30200606          STEPHENSON, NANCY                    Address on file
30200606          STEPHENSON, NANCY                    Address on file
30282954          Sterling                             6150 Oak Tree Boulevard       Suite 490                                                                            Independence          OH           44131
29944402          STERLING INFOSYSTEMS INC             PO BOX 35626                                                                                                       NEWARK                NJ           07193
29944405          STERLING VALUE ADD INVESTMENTS III   SVAP III CORAL LANDINGS LLC   PO BOX 209372                                                                        AUSTIN                TX           78720‐9372
30296612          Name on file                         Address on file
30259141          Name on file                         Address on file
30296854          Name on file                         Address on file
30259721          Name on file                         Address on file
30279144          Name on file                         Address on file
30227074          Name on file                         Address on file
30224356          Name on file                         Address on file
30261185          Name on file                         Address on file
30274209          Name on file                         Address on file
30256680          Name on file                         Address on file
30257012          Name on file                         Address on file
30261387          Name on file                         Address on file
30192608          Stevens, Ruby                        Address on file
30262729          Name on file                         Address on file
30290143          Name on file                         Address on file
30285023          Name on file                         Address on file
30222756          Name on file                         Address on file
30286837          Name on file                         Address on file
30260513          Name on file                         Address on file
30276688          Name on file                         Address on file




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  ADDRESS ID                           NAME                        ADDRESS 1                 ADDRESS 2                  ADDRESS 3          ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
30283726          Name on file                      Address on file
30256840          Name on file                      Address on file
30277391          Name on file                      Address on file
30291137          Name on file                      Address on file
30223378          Name on file                      Address on file
30286896          Name on file                      Address on file
29944443          STG INTERMODAL SOLUTIONS INC      PO BOX 847210                                                                                      LOS ANGELES               CA           90084‐7210
30259055          Name on file                      Address on file
29944444          STI GLOBAL INC                    5105 WALDEN LN                                                                                     BRUNSWICK                 OH           44212
30167197          Sti Global, Inc                   5105 Walden Lane                                                                                   Brunswick                 OH           44212
29972572          STI GLOBAL, INC.                  5105 WALDEN LANE                                                                                   BRUNSWICK                 OH           44212
30278500          Name on file                      Address on file
30275739          Name on file                      Address on file
30226836          Name on file                      Address on file
30280750          Name on file                      Address on file
30278945          Name on file                      Address on file
30295830          Name on file                      Address on file
30224352          Name on file                      Address on file
30258490          Name on file                      Address on file
30260854          Name on file                      Address on file
30280573          Name on file                      Address on file
30258945          Name on file                      Address on file
30262486          Name on file                      Address on file
30331841          Name on file                      Address on file
30274653          Name on file                      Address on file
30222042          Name on file                      Address on file
30296261          Name on file                      Address on file
30285369          Name on file                      Address on file
29944452          STOCKBRIDGE COURTLAND CTR., LLC   P.O. BOX 8130                                                                                      BLOOMFIELD HILLS          MI           48302
29944453          STOCKDALE INVESTMENT GROUP INC    PRESTON FOREST SC LLC          PO BOX 209393                                                       AUSTIN                    TX           78720‐9393
30207454          Stockdale Investment Group, LLC   5950 Berkshire Ln, Suite 800                                                                       Dallas                    TX           75225
30207449          Stockdale Investment Group, LLC   5950 Berkshire Ln, Suite 800                                                                       Dallas                    TX           75225
30257907          Name on file                      Address on file
30273722          Name on file                      Address on file
30261031          Name on file                      Address on file
30284040          Name on file                      Address on file
30259761          Name on file                      Address on file
30276728          Name on file                      Address on file
30273908          Name on file                      Address on file
30297223          Name on file                      Address on file
30222058          Name on file                      Address on file
30222058          Name on file                      Address on file
30286578          Name on file                      Address on file
30261769          Name on file                      Address on file
30263289          Name on file                      Address on file
30257225          Name on file                      Address on file
30291033          Name on file                      Address on file
30276153          Name on file                      Address on file
30257212          Name on file                      Address on file
30295801          Name on file                      Address on file
30273710          Name on file                      Address on file
30262232          Name on file                      Address on file
30296417          Name on file                      Address on file
30263485          Name on file                      Address on file
30259119          Name on file                      Address on file
30283153          Name on file                      Address on file
30332993          Storopack Inc                     4758 Devitt Dr                                                                                     West Chester              OH           45246
30200716          STOROPACK INC                     DEPT C, LOCATION 00207                                                                             CINCINNATI                OH           45264‐0207
30281638          Name on file                      Address on file
30295178          Name on file                      Address on file
30260007          Name on file                      Address on file
30223393          Name on file                      Address on file
30280824          Name on file                      Address on file
30261041          Name on file                      Address on file




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  ADDRESS ID                           NAME                    ADDRESS 1                       ADDRESS 2                   ADDRESS 3          ADDRESS 4                   CITY                STATE     POSTAL CODE       COUNTRY
30262995          Name on file                    Address on file
30259773          STOW HOTEL ASSOCIATES TWO LLC   4351 STEELS POINTE DR                                                                                   STOW                           OH           44224‐6819

29944471          STOW HOTEL ASSOCIATES TWO LLC   DBA STAYBRIDGE SUITES AKRON/STOW   4351 STEELS POINTE DRIVE                                             STOW                           OH           44224
30258674          Name on file                    Address on file
30257094          Name on file                    Address on file
30256860          Name on file                    Address on file
30276943          Name on file                    Address on file
30263158          Name on file                    Address on file
30223868          Name on file                    Address on file
30223868          Name on file                    Address on file
29944482          STREAMLINE IMPORTING INC        229 NORTH ROUTE 303, SUITE 107                                                                          CONGERS                        NY           10920
30261214          Streamline Importing, Inc.      225 North Route 303                Ste 102                                                              Congers                        NY           10920
30261183          Name on file                    Address on file
30282006          Name on file                    Address on file
30259373          Name on file                    Address on file
30259654          Name on file                    Address on file
30287116          Name on file                    Address on file
30259775          Name on file                    Address on file
30260370          Name on file                    Address on file
30296498          Name on file                    Address on file
30337040          Name on file                    Address on file
30285884          Name on file                    Address on file
30331716          Name on file                    Address on file
30232103          Name on file                    Address on file
30274340          Name on file                    Address on file
30280211          Name on file                    Address on file
30295111          Name on file                    Address on file
30285690          Name on file                    Address on file
30262613          Name on file                    Address on file
30286054          Name on file                    Address on file
30258891          Name on file                    Address on file
30297332          Name on file                    Address on file
30200587          STROTHER & HERRINE              DBA TRI‐STATE SAFETY               PO BOX 4096                                                          OPELIKA                        AL           36803
30331290          Name on file                    Address on file
30285583          Name on file                    Address on file
30263106          Name on file                    Address on file
30280841          Name on file                    Address on file
30256772          Name on file                    Address on file
30224210          Name on file                    Address on file
30278048          STUDIO DESIGNS                  6027 BANDINI BLVD                                                                                       COMMERCE                       CA           90040
29944487          STUDIO DESIGNS                  6027 BANDINI BLVD                                                                                       COMMERCE                       CA           90040
29949670          STUDIO DESIGNS INC              NO 43 HONGLIAN ROAD                100                                                                  HENGLIN TOWN, CHANGZHOU CITY                213101          CHINA
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30164393          Studio Eluceo Ltd               3Fl‐19, No.3                       Tien Mou W. Road                                                     Taipei, TW                                  100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China
30163912          Studio Eluceo Ltd               3FL‐19, No.3, Tien Mou W. Road                                                                          Taipei,Taiwan                               100             China




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30163912          Studio Eluceo Ltd                     3FL‐19, No.3, Tien Mou W. Road                                                                                         Taipei,Taiwan                       100             China
29944489          STUDIO ELUCEO LTD                     3FL‐19, NO 3 TIEN MOU W. ROAD                                                                                          TAIPEI                              111049          TAIWAN
30167239          Studio Eluceo Ltd                     3FL‐19,NO.3, TIEN MOU W.ROAD                                                                                           TAIPEI                              100             TAIWAN
30166696          Studio Eluceo Ltd                     3FL‐19, No.3, Tien Mou W. Road                                                                                         Taipei                              100             Taiwan
30164249          Studio Eluceo Ltd                     3FL‐19,NO.3, TIEN MOU W.ROAD       Tien Mou W. Road                                                                    TAIPEI, TW                          100             TAIWAN
30182064          Studio Eluceo Ltd                     3FL‐19, No.3, Tien Mou W. Road                                                                                         Taipei, TW                          100             Taiwan
30164319          Studio Eluceo Ltd                     3Fl‐19, No.3                       Tien Mou W. Road                                                                    Taipei, TW                          100             Taiwan
30167765          Studio Eluceo Ltd                     3FL‐19, No.3                       Tien Mou W. Road                                                                    Taipei, TW                          100             Taiwan
30164917          Studio Eluceo Ltd                     3FL‐19, No.3                       Tien Mou W. Road                                                                    Taipei                              100             Taiwan
30263304          Name on file                          Address on file
30289493          Name on file                          Address on file
30261999          Name on file                          Address on file
30294968          Name on file                          Address on file
30274880          Name on file                          Address on file
30258023          Name on file                          Address on file
30283535          Name on file                          Address on file
30251906          Name on file                          Address on file
30282924          Name on file                          Address on file
30200726          SUAVE GLOBAL LLC                      1726 25TH AVENUE                                                                                                       NASHVILLE              TN           37208
30183065          SUAVE GLOBAL LLC                      Claudia Rodriguez                  2916 N Miami Avenue         632                                                     Miami                  FL           33127
30262117          Name on file                          Address on file
30261093          Suburban Natural Gas Company          PO Box 130                                                                                                             Cygnet                 OH           43413
29953832          SUBURBAN NATURAL GAS COMPANY          2626 LEWIS CENTER RD                                                                                                   LEWIS CENTER           OH           43035‐9206
29953834          SUBURBAN PLAZA INVESTMENTS LLLP       SUBURBAN PLAZA LLC                 1100 SPRING ST #550                                                                 ATLANTA                GA           30309‐2848
                                                        Bodker Ramsey Andrews Winograd &
30296156          Suburban Plaza, LLC                   Wildstein, PC                      c/o Jacob A. Maurer         3490 Piedmont Rd NE            Suite 1400               Atlanta                GA           30305
29944491          SUBURBAN PROPANE‐2106                 240 ROUTE 10 WEST                                                                                                      WHIPPANY               NJ           07981‐0206
30282912          Name on file                          Address on file
29944505          SUEMAR REALTY INC                     27476 HOLIDAY LANE                                                                                                     PERRYSBURG             OH           43552
29944508          SUFFOLK COUNTY WATER AUTHORITY ‐ NY   4060 SUNRISE HIGHWAY                                                                                                   OAKDALE                NY           11769
29944514          SUGARLAND PLAZA LTD PARTNERSHIP       PO BOX 277830                                                                                                          ATLANTA                GA           30384‐7830
30224266          Name on file                          Address on file
30260547          Name on file                          Address on file
30259206          Name on file                          Address on file
30224287          Name on file                          Address on file
29963602          SULKY OF AMERICA                      980 COBB PLACE BLVD, SUITE 130                                                                                         KENNESAW               GA           30144
30260221          Sulky of America, Inc.                Attention: Jason Prater            980 Cobb Place Blvd. #130                                                           Kennesaw               GA           30144
30273906          Name on file                          Address on file
30331107          Name on file                          Address on file
30258444          Name on file                          Address on file
30258797          Name on file                          Address on file
30295574          Name on file                          Address on file
30274047          Name on file                          Address on file
30286900          Name on file                          Address on file
30282593          Name on file                          Address on file
30262170          Name on file                          Address on file
30289419          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30288926          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30289300          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30289428          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30289289          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30289520          Sullivans USA                         4341 Middaugh ave.                                                                                                     Downers Grove          IL           60515
30289489          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30288909          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30289497          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30291500          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30289380          Sullivans USA                         4341 Middaugh ave.                                                                                                     Downers Grove          IL           60515
30291383          Sullivans USA                         4341 Middaugh ave.                                                                                                     Downers Grove          IL           60515
30289390          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30288895          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30289415          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30289455          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30289278          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515
30288918          Sullivans USA                         4341 Middaugh Ave.                                                                                                     Downers Grove          IL           60515




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  ADDRESS ID                           NAME                ADDRESS 1    ADDRESS 2                  ADDRESS 3          ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30289477          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30289401          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30288907          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30289394          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30291377          Sullivans USA               4341 Middaugh ave.                                                                  Downers Grove          IL           60515
30289444          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30288983          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30289386          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30289272          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30291363          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30291463          Sullivans USA               4341 Middaugh ave.                                                                  Downers Grove          IL           60515
30282795          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30283827          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284541          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284032          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286389          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286425          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286475          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30282836          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286485          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284262          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284626          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286487          Sullivans USA               4341 Middaugh ave.                                                                  Downers Grove          IL           60515
30286435          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284223          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284616          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60154
30284603          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284408          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286470          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286483          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284562          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30282723          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286459          Sullivans USA               4341 Middaugh ave.                                                                  Downers Grove          IL           60515
30286540          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286526          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286466          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284249          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284636          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284395          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284397          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30283838          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284383          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30283889          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30282605          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284505          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284490          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284529          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286598          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284063          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284480          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286588          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30282782          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284069          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286423          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284469          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30283912          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30282706          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286381          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286604          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30283906          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284551          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30284357          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515
30286433          Sullivans USA               4341 Middaugh ave.                                                                  Downers Grove          IL           60515
30284044          Sullivans USA               4341 Middaugh Ave.                                                                  Downers Grove          IL           60515




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  ADDRESS ID                           NAME                         ADDRESS 1                           ADDRESS 2                        ADDRESS 3                          ADDRESS 4                        CITY        STATE     POSTAL CODE           COUNTRY
30282806         Sullivans USA                       4341 Middaugh Ave.                                                                                                                 Downers Grove               IL           60515
30283881         Sullivans USA                       4341 Middaugh Ave.                                                                                                                 Downers Grove               IL           60515
30283920         Sullivans USA                       4341 Middaugh Ave.                                                                                                                 Downers Grove               IL           60515
30286532         Sullivans USA                       4341 Middaugh Ave.                                                                                                                 Downers Grove               IL           60515
30282819         Sullivans USA                       4341 Middaugh Ave.                                                                                                                 Downers Grove               IL           60515
30284270         Sullivans USA                       4341 Middaugh Ave.                                                                                                                 Downers Grove               IL           60515
29963606         SULLIVANS USA INC                   4341 MIDDAUGH AVE                                                                                                                  DOWNERS GROVE               IL           60515
30281025         Name on file                        Address on file
29944522         SUMMA ENTERPRISE GROUP LLC          DBA SUMMA WELLNESS INSTITUTE           5625 HUDSON DR                                                                              HUDSON                      OH           44236
30292037         Name on file                        Address on file
30296386         Name on file                        Address on file
30261351         Name on file                        Address on file
29944560         SUMMERVILLE CPW                     215 NORTH CEDAR STREET                                                                                                             SUMMERVILLE                 SC           29483
30256818         Name on file                        Address on file
30165107         Summit Fire and Protection          Summit Companies                       1250 Northland Drive             Suite 200                                                  Mendota Heights             MN           55120
29944567         SUMMIT NATURAL GAS OF MAINE INC     442 CIVIC CENTER DRIVE                 SUITE 425                                                                                   AUGUSTA                     ME           04330
29944569         SUMMIT TOWNE CENTRE INC             CO BALDWIN BROS INC                    PO BOX 6182                                                                                 HERMITAGE                   PA           16148‐0922
30292688         Summit Towne Centre, Inc.           c/o Joseph B. Spero, Esquire           3213 West 26th Street                                                                       Erie                        PA           16506
29944571         SUMMIT TOWNSHIP WATER AUTHORITY     1230 TOWNHALL RD W                                                                                                                 ERIE                        PA           16509
29944573         SUMMIT UTILITIES ARKANSAS INC       10825 E GEDDES AVE                     STE 410                                                                                     CENTENNIAL                  CO           80112
29944575         SUMMIT UTILITIES OKLAHOMA INC       101 SW H AVE                                                                                                                       LAWTON                      OK           73501
30331097         Sumter Electric Cooperative, Inc.   Attn: Legal                            P.O. Box 301                                                                                Sumterville                 FL           35585
30285255         Name on file                        Address on file
30225363         Name on file                        Address on file
30293202         Name on file                        Address on file
29944581         SUNBEAM DEVELOPMENT CORP            1401 79TH ST CAUSEWAY                                                                                                              MIAMI                       FL           33141
29944584         SUNBELT POWER EQUIPMENT LLC         5213 W RIO VISTA AVE                                                                                                               TAMPA                       FL           33634
30274300         Name on file                        Address on file
29944588         SUNMARK PROPERTY LLC                CO 1ST COMMERCIAL RTY GRP INC          2009 PORTERFIELD WAY STE P                                                                  UPLAND                      CA           91786
29950810         SUNSET RIVER LLC                    C/O KEIZER ENTERPRISES LLC             PO BOX 1583                                                                                 CORVALLIS                   OR           97339
29950814         SUNTECK TRANSPORT CO LLC            PO BOX 536665                                                                                                                      PITTSBURGH                  PA           15253‐5908
29950815         SUNYIN (HK) HOLDING LIMITED         UNIT A 25/F ONE ISLAND SOUTH           2 HEUNG YIP ROAD                 WONG CHUK HANG                                             HONG KONG                                999077          HONG KONG
30289609         SunYin (HK) Holding Limited         Gellert Seitz Busenkell & Brown, LLC   c/o Michael Busenkell, Esquire   1201 N. Orange Street              Suite 300               Wilmington                  DE           19801
30225289         Name on file                        Address on file
                                                                                            Att: Akos Horvath, Chief Legal
30200508         Support Services Group Inc.         601 Texas Central Pkwy                 Officer                                                                                     Waco                        TX           76712
29944604         SURGE STAFFING LLC                  4 EASTON OVAL                                                                                                                      COLUMBUS                    OH           43219
30291381         Surge Staffing, LLC                 Vorys, Sater, Seymour and Pease LLP    c/o Melissa S. Giberson          52 East Gay Street                                         Columbus                    OH           43215
29944686         SUSAN MCGUIRE                       Address on file
29944726         SUSAN R. HEIL                       Address on file
29944789         SUSANA SANCHEZ                      Address on file
29944807         SUSO 4 FOREST LP                    BLDG ID FTM001                         PO BOX 74773                                                                                CLEVELAND                   OH           44194
29944809         SUSO 5 NORTHLAKE LP                 SLATE GROCERY HOLDING (NO. 5) LP       PO BOX 74875                                                                                CLEVELAND                   OH           44194‐0958
30262344         Name on file                        Address on file
30277365         Name on file                        Address on file
29944811         Name on file                        Address on file
30276608         Name on file                        Address on file
30223327         Name on file                        Address on file
30259666         Name on file                        Address on file
30256628         Name on file                        Address on file
30253829         Name on file                        Address on file
30288269         Name on file                        Address on file
30263140         Name on file                        Address on file
30256968         Name on file                        Address on file
29944819         SUZANNE CHEEK                       Address on file
30280260         Name on file                        Address on file
29944836         SUZHOU LEJING KNITTING CO LTD       WUZHONG RD SHENGZE                                                                                                                 SUZHOU                                   215228          CHINA
                                                                                                                             1350 Avenue of the Americas, 2nd
29966854          Suzhou Lejing Knitting Co Ltd      c/o Mazzola Lindstrom LLP              Attn: Katie O'Leary              Floor                                                      New York                    NY           10019
30163999          Suzhou Lejing Knitting Co., Ltd.   No. 158 Wuzhong Road                   Shengze Town                                                                                Wujiang Suzhou, JS                       215228          China
30253447          Name on file                       Address on file
30225094          Name on file                       Address on file
30225094          Name on file                       Address on file
30257824          Name on file                       Address on file




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30286865          Name on file                   Address on file
30396620          Name on file                   Address on file
30260262          Name on file                   Address on file
29944846          SVP SEWING BRANDS LLC          300 2ND AVENUE S, SUITE 300                                                                                   NASHVILLE               TN           37201‐2311
29944847          SVP SEWING BRANDS LLC          300 2ND AVE. SUITE 300                                                                                        NASHVILLE               TN           37201
29944846          SVP SEWING BRANDS LLC          300 2ND AVENUE S, SUITE 300                                                                                   NASHVILLE               TN           37201‐2311
                                                                                  Attn: Andrew Harmeyer and Alex
30331681          SVP Sewing Brands LLC          c/o Milbank LLP                  Miller                            55 Hudson Yards                            New York                NY           10001
30274811          Name on file                   Address on file
30291150          Name on file                   Address on file
30273783          Name on file                   Address on file
30258133          Name on file                   Address on file
30263058          Name on file                   Address on file
30276197          Name on file                   Address on file
30260723          Name on file                   Address on file
30259210          Name on file                   Address on file
30282768          Name on file                   Address on file
30221978          Name on file                   Address on file
29944851          SWAVELLE/MILL CREEK FABRICS    135 5TH AVE                                                                                                   NEW YORK                NY           10010
30278744          Name on file                   Address on file
30222809          Name on file                   Address on file
30284793          Name on file                   Address on file
30274386          Name on file                   Address on file
30280698          Name on file                   Address on file
30257368          Name on file                   Address on file
30293277          Name on file                   Address on file
30262212          Name on file                   Address on file
30287566          Name on file                   Address on file
30279485          Name on file                   Address on file
30262472          Name on file                   Address on file
30274941          Name on file                   Address on file
29944855          SWIFT RESPONSE LLC             P.O. BOX 266948                                                                                               WESTON                  FL           33326
30297449          Name on file                   Address on file
30259523          Name on file                   Address on file
30260113          Name on file                   Address on file
30276521          Name on file                   Address on file
30286720          Name on file                   Address on file
30276708          Name on file                   Address on file
30277446          Name on file                   Address on file
29944858          SWP WABASH PROPERTIES I LLC    2144 S MACARTHUR BLVD                                                                                         SPRINGFIELD             IL           62704
30297378          SWP Wabash Properties I, LLC   3051 Hollis Drive                Third Floor, c/o Georgia Morton                                              Springfield             IL           62704
30333782          SWP Wabash Properties I, LLC   c/o Georgia Morgon               3051 Hollis Drive                 Third Floor                                Springfield             IL           62704
30276803          Name on file                   Address on file
30222705          Name on file                   Address on file
30280779          Name on file                   Address on file
30200707          SYLVIA RIVAS                   22120 CLARENDON STREET           SUITE 200                                                                    WOODLAND HILLS          CA           91367
29944965          SYLVIA RIVAS                   Address on file
30263092          Name on file                   Address on file
30284432          Name on file                   Address on file
30223423          Name on file                   Address on file
30258561          Name on file                   Address on file
30262396          Name on file                   Address on file
30290084          Name on file                   Address on file
30273830          Name on file                   Address on file
29974315          T Mesquite MKT WVS TX LLC      Attn: Legal Department           16600 Dallas Parkway, Suite 300                                              Dallas                  TX           75248
29944993          T PEORIA IL LLC                PO BOX 209277                                                                                                 AUSTIN                  TX           78720‐9277
29944995          T SOUTHERN TIER NY LLC         PO BOX 209277                                                                                                 AUSTIN                  TX           78720‐9277
30217838          TA Services                    PO Box 2127                                                                                                   Birmingham              AL           35201
29945014          TA SERVICES INC                9920 EAST 30TH ST.                                                                                            INDIANAPOLIS            IN           46229
30200870          TABITHA SEWER                  Address on file
30260376          TACOMA PUBLIC UTILITIES        3628 S 35TH ST                                                                                                Tacoma                  WA           98409
30224214          Tacoma Public Utilities        3628 S 35th St                                                                                                Tacoma                  WA           98409
30294144          Name on file                   Address on file
29963709          TAG DE LLC                     C/O GENTILOZZI REAL ESTATE INC   201 N. WASHINGTON SQ., #900                                                  LANSING                 MI           48933




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  ADDRESS ID                           NAME                                    ADDRESS 1                              ADDRESS 2                           ADDRESS 3                      ADDRESS 4                             CITY        STATE     POSTAL CODE       COUNTRY
30278073          Tag DE, LLC                                   Hafke Legal Service PC                    Attn: Tag DE ‐ Joann               James Hafke                    4170 Charlar Drive, Suite A   Holt                        MI           48842
30259947          Name on file                                  Address on file
30284939          Name on file                                  Address on file
30181368          TAIXING TONGJI FOREIGN TRADE CO LTD           LONG YANG WUJIN NO. 2 BUILDING            PAOJIANG KAIYUAN RD                                                                             SHAOXING, ZHEJAING                       312000          CHINA
                                                                Longyang Wujin No. 2 Building, Paojiang
30166728          Taixing Tongji Foreign Trade Co Ltd           Kaiyuan RD                                                                                                                                Shaoxing, Zhejiang                       312000          China
29963722          TAIXING TONGJI FOREIGN TRADE CO LTD           PAOJIANG KAIYUAN ROAD                     LONGYANG WUJIN 2# BUILDING         SHAOXING                                                     ZHEJIANG                                 312000          CHINA
29963725          TAIZHOU HONFONT IMPORT & EXPORT CO            WEST INDUSTRIAL PARK                      NO.12 GONGXIN AVENUE                                                                            TAIZHOU CITY                             318020          CHINA
                                                                                                          1350 Avenue of the Americas, 2nd
30193149          Taizhou Honfont Import & Export Co., Ltd.     c/o Mazzola Lindstrom LLP                 Floor                                                                                           New York                    NY           10019
                  TAIZHOU HONFONT IMPORT AND EXPORT CO.,
30164952          LTD.                                          NO. 12 GONGXIN AVENUE                     HUANGYAN ARE                                                                                    TAIZHOU, CN                              31802           CHINA
29963726          TAIZHOU SUNUP TECH CO LTD                     5 HENGXING ROAD                           TAIZHOU                                                                                         HUANGYAN                                 318020          CHINA
30263080          Name on file                                  Address on file
30285389          Name on file                                  Address on file
30251269          Name on file                                  Address on file
30331800          Name on file                                  Address on file
30273738          Name on file                                  Address on file
30273787          Name on file                                  Address on file
29945090          TALLAPOOSA RIVER ELECTRIC COOPERATIVE         15163 U.S. HWY 431                                                                                                                        SOUTH LAFAYETTE             AL           36862
30263627          Name on file                                  Address on file
30286093          Name on file                                  Address on file
30275042          Name on file                                  Address on file
30293529          Name on file                                  Address on file
30262246          Name on file                                  Address on file
29945129          TAMARACK VILLAGE SHOPPING CTR LP              C/O CUSHMAN & WAKEFIELD                   SDS‐12‐2659, PO BOX 86                                                                          MINNEAPOLIS                 MN           55486‐0086
30284802          Name on file                                  Address on file
29951821          TAMBURRO PROPERTIES II LLC                    CO ROBERT TAMBURRO                        401 SUNSHINE BLVD                                                                               LADY LAKE                   FL           32159
30274525          Name on file                                  Address on file
30274543          Name on file                                  Address on file
30282469          Name on file                                  Address on file
29963786          TAMPA PALMS SHOPPING PLAZA LLC                PO BOX 765                                                                                                                                SHORT HILLS                 NJ           07078‐0765
30295427          Tampa Palms Shopping Plaza, LLC               c/o Rubin LLC                             Attn: Paul Rubin                   11 Broadway                    Suite 715                     New York                    NY           10004
30257712          Name on file                                  Address on file
30225139          Name on file                                  Address on file
30226989          Name on file                                  Address on file
30288240          Name on file                                  Address on file
30293158          Name on file                                  Address on file
30287345          Name on file                                  Address on file
30263429          Name on file                                  Address on file
30281863          Name on file                                  Address on file
30295214          Name on file                                  Address on file
30264008          Name on file                                  Address on file
30263439          Name on file                                  Address on file
30257267          Name on file                                  Address on file
30274573          Name on file                                  Address on file
30254937          Name on file                                  Address on file
30261668          Name on file                                  Address on file
30278818          Tata Consultancy Services Limited             Attn: Legal                               101 Park Avenue                    26th Floor                                                   New York                    NY           10178
29952874          TATA CONSULTANCY SERVICES LTD                 379 THORNALL ST                                                                                                                           EDISON                      NJ           08837
30276915          Name on file                                  Address on file
30263154          Name on file                                  Address on file
30275067          Name on file                                  Address on file

29945321          TAUNTON MUNI LIGHTING PLANT (TMLP) ‐ 870      55 WEIR STREET                                                                                                                            TAUNTON                     MA           02780
30288221          Taunton Municipal Light Plant                 33 Weir St                                                                                                                                Taunton                     MA           02780
30296143          Tax Advisors Group, LLC                       12400 Coit Road                           Suite 960                                                                                       Dallas                      TX           75251
30223391          Name on file                                  Address on file

30292020          Taylor Oswald, LLC and Affiliated Companies   Unison Risk Advisors Inc.                 c/o Arun Kottha                    950 Main Avenue                Suite 1800                    Cleveland                   OH           44113
30274591          Name on file                                  Address on file
30284535          Name on file                                  Address on file
30260921          Name on file                                  Address on file
30262719          Name on file                                  Address on file




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30287439          Name on file                                   Address on file
30258099          Name on file                                   Address on file
30278521          Name on file                                   Address on file
30273805          Name on file                                   Address on file
30276965          Name on file                                   Address on file
30256686          Name on file                                   Address on file
30224771          Name on file                                   Address on file
30260031          Name on file                                   Address on file
30286829          Name on file                                   Address on file
30285882          Name on file                                   Address on file
30285960          Name on file                                   Address on file
30224963          Name on file                                   Address on file
30276183          Name on file                                   Address on file
30285764          Name on file                                   Address on file
30284671          Name on file                                   Address on file
30282457          Name on file                                   Address on file
30257243          Name on file                                   Address on file
30276189          Name on file                                   Address on file
30224869          Name on file                                   Address on file
29945496          TECHNOLOGY RECOVERY GROUP                      PO BOX 933260                                                                                                                   CLEVELAND            OH           44193
30218658          Technology Recovery Group, LTD                 31390 Viking Pkwy                                                                                                               Westlake             OH           44145
29963896          TECO TAMPA ELECTRIC COMPANY                    702 NORTH FRANKLIN STREET                                                                                                       TAMPA                FL           33602
29963898          TECO: PEOPLES GAS                              702 N FRANKLIN ST                                                                                                               TAMPA                FL           33602
30254104          Name on file                                   Address on file
30251253          Name on file                                   Address on file
30342757          Name on file                                   Address on file
30217953          Name on file                                   Address on file
30217953          Name on file                                   Address on file
30278010          Name on file                                   Address on file
30222911          Name on file                                   Address on file
29945512          TEMA ROOFING SERVICES LLC                      1596 MOTOR INN DRIVE                                                                                                            GIRARD               OH           44420
30292092          Name on file                                   Address on file
29963921          TEMPO PRODUCTS                                 PO BOX 2005                                                                                                                     HIGH POINT           NC           27261
30284789          Name on file                                   Address on file
29963922          TENNANT SALES AND SERVICE CO                   PO BOX #71414                                                                                                                   CHICAGO              IL           60694‐1414
29963923          TENNESSEE AMERICAN WATER COMPANY               109 WIEHL STREET                                                                                                                CHATTANOOGA          TN           37403
30331419          Tennessee Department of Revenue                c/o Bankruptcy Unit                   PO Box 20207                                                                              Nashville            TN           37202‐0207
30297674          Name on file                                   Address on file
30274691          Name on file                                   Address on file
30283813          Name on file                                   Address on file
30278798          Name on file                                   Address on file
30200609          TERESA VIDES                                   C/O THE PARKS LAW FIRM                ATTN: CLYDE R. PARKS            1816 NORWOOD DRIVE                                        HURST                TX           76054
30285922          Name on file                                   Address on file
29963964          TERRA WORLDWIDE LOGISTICS LLC                  AMERICAN GLOBAL LOGISTICS             PO BOX 96494                                                                              CHARLOTTE            NC           28296‐0494
                  Terra Worldwide Logistics LLC d/b/a American
30331266          Global Logistics                               GKG Law P.C.                          Attn: Brendan Collins           1055 Thomas Jefferson Street NW   Suite 620               Washington           DC           20007
29963973          TERRANOMICS CROSSROADS ASSOCIATES              MS 631099 PO BOX 3953                                                                                                           SEATTLE              WA           98124‐3953
30165952          Terranomics Crossroads Associates, LP          c/o Merino Yebri, LLP                 1925 Century Park E, Ste 2100                                                             Los Angeles          CA           90067

30165958          TERRANOMICS CROSSROADS ASSOCIATES, LP          c/o Merino Yebri LLP                  1925 Century Park E             Ste 2100                                                  Los Angeles          CA           90067
30274549          Name on file                                   Address on file
29963975          TERRI CAILIN                                   Address on file
30258947          Name on file                                   Address on file
30285220          Name on file                                   Address on file
30273518          Name on file                                   Address on file
30274961          Name on file                                   Address on file
30278701          Name on file                                   Address on file
30296360          Name on file                                   Address on file
30331522          Name on file                                   Address on file
29945687          TESTRITE INSTRUMENT CO, INC.                   216 SOUTH NEWMAN STREET                                                                                                         HACKENSACK           NJ           07601
29945696          TEXAS GAS SERVICE                              1301 S. MOPAC EXPRESSWAY,             SUITE 400                                                                                 AUSTIN               TX           78746
30200576          TEXAS PROPERTY & CASUALTY GUARANTY             8911 North Capital of Texas Highway   Building 2, Suite 2200                                                                    Austin               TX           78759
                  Texas Property & Casualty Insurance Guaranty
30280252          Association                                    8911 North Capital of Texas Highway   Building 2, Suite 2200                                                                    Austin               TX           78759




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  ADDRESS ID                           NAME                             ADDRESS 1                            ADDRESS 2                  ADDRESS 3                       ADDRESS 4                      CITY        STATE     POSTAL CODE           COUNTRY
30289184          Name on file                            Address on file
29949692          TEXTILE CREATIONS INC                   6/1 SILAMBU STREET                    PADMANABA NAGAR             Z03                                                     TAMIL NADU                             600094          INDIA
29972613          TEXTILE CREATIONS INC                   P.O BOX 3169                                                                                                              MERCERVILLE               NJ           08619
30181396          Textile Creations Inc.                  PO Box 3169                                                                                                               Mercerville               NJ           08619
30201746          TH Honey Shops LLC                      10689 N. Pennsylvania St.             Suite 100                                                                           Indianapolis              IN           46280
30284987          Name on file                            Address on file
30254416          Name on file                            Address on file
30287449          Name on file                            Address on file
30262593          Name on file                            Address on file
29945709          THE BEADERY C/O TONER PLASTICS          35 INDUSTRIAL DR                                                                                                          EAST LONGMEADOW           MA           01028
29972538          THE BEADSMITH                           37 HAYWARD AVENUE                                                                                                         CARTERET                  NJ           07008
29972540          THE BEADSMITH                           37 HAYWARD AVENUE                                                                                                         CARTERET                  NJ           07008
30296014          The California Credits Group, LLC       Attn To: John Simpson                 87 N. Raymond Ave #522                                                              Pasadena                  CA           91103
                  The Carrington Company, a California
30296154          corporation                             707 H Street                                                                                                              Eureka                    CA           95501
29945718          THE CENTRE AT DEANE HILL GP             750 HAMMOND DR., BLDG 10‐250                                                                                              ATLANTA                   GA           30328‐6116
30165892          The City of Mesa                        55 North Center Street                                                                                                    Mesa                      AZ           85201
30257634          The City of Niles                       34 W State Street                                                                                                         Niles                     OH           44446
30295284          The City of Oklahoma City               Oklahoma City Utilities Department    1 North Walker Ave                                                                  Oklahoma City             OK           73102
29945739          THE DAYLIGHT COMPANY LLC                PO BOX 96                                                                                                                 RICHFIELD                 OH           44286
29945744          THE ENERGY COOPERATIVE                  1500 GRANVILLE RD                                                                                                         NEWARK                    OH           43058
30200729          THE FELDMAN CO INC                      241 W. 37TH ST., STE. 524                                                                                                 NEW YORK                  NY           10018
30296221          The Feldman Co. Inc. and affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296471          The Feldman Co. Inc. and Affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296480          The Feldman Co. Inc. and affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296487          The Feldman Co. Inc. and affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296500          The Feldman Co. Inc. and affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296412          The Feldman Co. Inc. and affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296419          The Feldman Co. Inc. and affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296429          The Feldman Co. Inc. and affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296436          The Feldman Co. Inc. and Affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296441          The Feldman Co. Inc. and affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296444          The Feldman Co. Inc. and affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296447          The Feldman Co. Inc. and affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
30296454          The Feldman Co. Inc. and affiliates     126 Spruce Street                                                                                                         Cedarhurst                NY           11516
29945753          THE GORILLA GLUE COMPANY                2101 E KEMPER RD                                                                                                          CINCINNATI                OH           45241
29945754          THE GRACE COMPANY                       C/O GRACEWOOD MANAGEMENT INC          2225 S 3200 W                                                                       WEST VALLEY CITY          UT           84119
29945760          THE HILLMAN GROUP INC                   10590 HAMILTON AVENUE                                                                                                     CINCINNATI                OH           45231
30261642          The Illuminating Company                5001 NASA Blvd                                                                                                            Fairmont                  WV           26554
29945761          THE ILLUMINATING COMPANY                76 SOUTH MAIN STREET                                                                                                      AKRON                     OH           44308
                                                          Attn: Jaime Lynn Pearson, Corporate
30184506          The Image Group                         Controller                            1255 Corporate Drive                                                                Holland                   OH           43528
29945762          THE IMAGE GROUP OF TOLEDO INC           1255 CORPORATE DRIVE                                                                                                      HOLLAND                   OH           43528
30200786          THE KYJEN COMPANY LLC                   7337 S REVERE PKWY                                                                                                        DENVER                    CO           80012
29945767          THE LANG COMPANIES INC (CONSIGNMENT     20825 SWENSON DRIVE, SUITE 100                                                                                            WAUKESHA                  WI           53186
29945771          THE LIGHTHOUSE FOR THE BLIND            FALCON SAFETY PRODUCTS                10440 TRENTON AVENUE                                                                SAINT LOUIS               MO           63132
30291600          The Marketplace Tavares, LLC            Robert J. Tamburro                    401 Sunshine Blvd                                                                   Lady Lake                 FL           32159
30197799          The Meyers Printing Companies Inc       7277 Boone Avenue North                                                                                                   Minneapolis               MN           55428
29945784          THE PEGGS COMPANY INC                   PO BOX 907                                                                                                                MIRA LOMA                 CA           91752
30184171          THE PEGGS COMPANY, INC                  PO BOX 907                                                                                                                MIRA LOMA                 CA           91752
29945788          THE PM COMPANY                          1000 GRAND CENTRAL MALL               THE PM CENTER SUITE 201                                                             VIENNA                    WV           26105
29945789          THE PRICE REIT INC                      PO BOX 30344                                                                                                              TAMPA                     FL           33630
29945794          THE ROUSE COMPANIES LLC                 2201 REGENCY RD #602                                                                                                      LEXINGTON                 KY           40503
30297376          The Sherwin‐Williams Company            Vorys, Sater, Seymour and Pease LLP   c/o Kari B. Coniglio        200 Public Square              Suite 1400               Cleveland                 OH           44114
29945799          THE SHERWIN‐WILLIAMS COMPANY            101 W PROSPECT AVE                                                                                                        CLEVELAND                 OH           44115
29945800          THE SHOPPES LP                          STARWOOD MORT CAP LLC #918523528      PO BOX 772105                                                                       DETROIT                   MI           48277
29945805          THE TERMINIX INTERNATIONAL CO LP        150 PEABODY PLACE                                                                                                         MEMPHIS                   TN           38103
29945808          THE TORRINGTON WATER COMPANY            835 MAIN ST                                                                                                               BRIDGEPORT                CT           06604
29945811          THE UNITED ILLUMINATING COMPANY         100 MARSH HILL RD                                                                                                         ORANGE                    CT           06477
                  THE UNITED STEEL, PAPER AND FORESTRY,
                  RUBBER, MANUFACTURING, ENERGY, ALLIED
29945813          INDUSTRIAL AND SERVICE W                60 BOULEVARD OF THE ALLIES                                                                                                PITTSBURGH                PA           15222
29945819          THE WIDEWATERS GROUP INC                ATTN: LEASE ADMINISTRATION            5845 WIDEWATERS PKWY #100                                                           EAST SYRACUSE             NY           13057
29945823          THE WILLIAMS FAMILY TRUST               230 OHIO STREET, STE #200                                                                                                 OSHKOSH                   WI           54902




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  ADDRESS ID                           NAME                   ADDRESS 1                     ADDRESS 2                      ADDRESS 3                            ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30281334          Name on file                   Address on file
30275113          Name on file                   Address on file
30282920          Name on file                   Address on file
30223762          Name on file                   Address on file
30331299          Name on file                   Address on file
30200636          THERESA A. FEIST               Address on file
30259785          Name on file                   Address on file
29945855          THERESA D CULPEPPER            Address on file
29945882          THERESA TIPPY                  Address on file
30296307          Therm O Web Inc                Karen L Grandt                   770 Glenn Avenue                                                                          Wheeling              IL           60090
29945906          THERM O WEB INC                770 GLENN AVENUE                                                                                                           WHEELING              IL           60090
30296274          Therm O Web Inc                Karen L Grandt                   770 Glenn Avenue                                                                          Wheeling              IL           60090
30193165          Therm O Web Inc                770 Glenn Avenue                                                                                                           Wheeling              IL           60090
30193160          Therm O Web, Inc.              770 Glenn Avenue                                                                                                           Wheeling              IL           60090
29945907          THERM O WEB, INC.              770 GLENN AVE                                                                                                              WHEELING              IL           60090

30297536          THF Greengate Development LP   Manning Gross + Massenburg LLP   Attn: David P. Primack       125 High Street, Oliver Street Tower 6th Floor               Boston                MA           02110
29951781          THF GREENGATE DEVELOPMENT LP   C/O TKG MANAGEMENT INC           211 N STADIUM BLVD STE 201                                                                COLUMBIA              MO           65203
30274625          Name on file                   Address on file
30273757          Name on file                   Address on file
30291350          Name on file                   Address on file
29951787          THINK UTILITY SERVICES INC     4685 118TH AVE N                                                                                                           CLEARWATER            FL           33762
30261017          Name on file                   Address on file
30288784          Name on file                   Address on file
30257044          Name on file                   Address on file
30227110          Name on file                   Address on file
30225170          Name on file                   Address on file
30285946          Name on file                   Address on file
30281087          Name on file                   Address on file
30274988          Name on file                   Address on file
30286548          Name on file                   Address on file
30296311          Name on file                   Address on file
30263044          Name on file                   Address on file
30292621          Name on file                   Address on file
30287479          Name on file                   Address on file
30294972          Name on file                   Address on file
30274593          Name on file                   Address on file
30285804          Name on file                   Address on file
29945968          THOMPSON ELECTRIC INC          49 NORTHMORELAND AVE.                                                                                                      MUNROE FALLS          OH           44262
29945969          THOMPSON TRACTOR CO INC        2401 PINSON VALLEY PARKWAY                                                                                                 BIRMINGHAM            AL           35217
30223361          Name on file                   Address on file
30279099          Name on file                   Address on file
30275020          Name on file                   Address on file
30224165          Name on file                   Address on file
30253878          Name on file                   Address on file
30277228          Name on file                   Address on file
30280744          Name on file                   Address on file
30222414          Name on file                   Address on file
30261652          Name on file                   Address on file
30282906          Name on file                   Address on file
30290938          Name on file                   Address on file
30259672          Name on file                   Address on file
30257161          Name on file                   Address on file
30263636          Name on file                   Address on file
30286136          Name on file                   Address on file
30276659          Name on file                   Address on file
30279069          Name on file                   Address on file
30276051          Name on file                   Address on file
30276320          Name on file                   Address on file
30293630          Name on file                   Address on file
30259813          Name on file                   Address on file
30285186          Name on file                   Address on file
30277132          Name on file                   Address on file
30274007          Name on file                   Address on file




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30279534          Name on file                            Address on file
30274945          Name on file                            Address on file
30258831          Name on file                            Address on file
30258277          Name on file                            Address on file
30258949          Name on file                            Address on file
30262617          Name on file                            Address on file
30285065          Name on file                            Address on file
30262563          Name on file                            Address on file
30200569          THYSSENKRUPP ELEVATOR CORP              PO BOX 3795                                                                                                                               CAROL STREAM              IL           60132‐3796
29967293          TI Acquisition CO., LLC DBA Tsukineko   720 132nd St SW, Suite 203                                                                                                                Everett                   WA           98204‐9359
30274304          Name on file                            Address on file
30274318          Name on file                            Address on file
30260153          Name on file                            Address on file
30259604          Name on file                            Address on file
30282294          Name on file                            Address on file
29964072          TIFFANY GARCIA                          Address on file
29946029          TIFFANY KIESS                           Address on file
29964075          TIFFANY T. GARCIA                       Address on file
30257826          Name on file                            Address on file
29946082          TIFTON PLAZA OWNER LLC                  C/O IN‐REL PROPERTIES INC            200 LAKE AVE, 2ND FLOOR                                                                              LAKE WORTH BEACH          FL           33460
30276888          Name on file                            Address on file
30258063          Name on file                            Address on file
29946088          TIK TOK INC                             ATTN: ACCOUNTING                     5800 BRISTOL PKWY, STE. 100                                                                          CULVER CITY               CA           90230
30165178          TikTok Inc                              5800 Bristol Pkway, Suite 100                                                                                                             Culver City               CA           90230
30276085          Name on file                            Address on file
30216127          Name on file                            Address on file
30283902          Name on file                            Address on file
29964088          TIMELESS TREASURES FABRIC               483 BROADWAY                                                                                                                              NEW YORK                  NY           10013
29964089          TIMELESS TREASURES FABRICS OF SOHO      483 BROADWAY                                                                                                                              NEW YORK                  NY           10013
30222701          Name on file                            Address on file
29964106          TIMOTHY HARTMAN                         Address on file
30273624          Name on file                            Address on file
30297424          Name on file                            Address on file
30257895          Name on file                            Address on file
30276833          Name on file                            Address on file
30261904          Name on file                            Address on file
30200820          TINUITI INC                             PO BOX 28415                                                                                                                              NEW YORK                  NY           10087
                                                          Obermayer Rebmann Maxwell & Hippel
30295950          Tinuiti, Inc.                           LLP                                  D. Alexander Barnes, Esq.      Centre Square West                   1500 Market Street, Suite 3400   Philadelphia              PA           19102
30283918          Name on file                            Address on file
30279197          Name on file                            Address on file
30262921          Name on file                            Address on file
30259569          Name on file                            Address on file
30292331          Name on file                            Address on file
30297397          TJ Center I LLC                         c/o Tod Friedman, General Counsel    4300 E. Fifth Ave                                                                                    Columbus                  OH           43219

30297524          TKG Colerain Towne Center LLC           Manning Gross + Massenburg LLP       Attn: David P. Primack         125 High Street, Oliver Street Tower 6th Floor                        Boston                    MA           02110
29964136          TKG COLERAIN TOWNE CENTER LLC           211 NORTH STADIUM BLVD STE 201                                                                                                            COLUMBIA                  MO           65203
29964139          TKG ROCK BRIDGE CENTER LLC              C/O TKG MANAGEMENT INC               211 N STADIUM BLVD STE 201                                                                           COLUMBIA                  MO           65203
29946209          TM SHEA PRODUCTS INC                    1950 AUSTIN DRIVE                                                                                                                         TROY                      MI           48083
30296206          TMA‐LIVCOM LLC                          c/o James Day, Wasinger Daming LC    1401 S Brentwood Blvd.         Ste #875                                                              Brentwood                 MO           63144
29946210          TMA‐LIVCOM LLC                          CO NATIONAL REAL ESTATE MGMT         9986 MANCHESTER RD                                                                                   SAINT LOUIS               MO           63122
30284060          TNA‐Livcom LLC                          Wasinger Daming LC                   c/o James Day                  1401 S Brentwood Blvd.               Ste 875                          Bretntwood                MO           63144
29946220          TODAY IS ART DAY CREATIONS INC.         6010 CAJON BLVD                                                                                                                           SAN BERNARDINO            CA           92407
29964899          TODAYS TREASURES INC                    NO. 101 LIANXIN ROAD                 190                                                                                                  SHEN ZHEN                              518116          CHINA
29946229          TODD M. BARTLETT                        Address on file
30222513          Name on file                            Address on file
30263514          Name on file                            Address on file
30284705          Name on file                            Address on file
30284861          Name on file                            Address on file
30257200          Name on file                            Address on file
29946235          TOGALEI HOFF                            Address on file
29946236          TOHO WATER AUTHORITY ‐ 30527            951 MARTIN LUTHER KING BLVD                                                                                                               KISSIMMEE                 FL           34741
29946241          TOLEDO EDISON                           76 S MAIN ST BSMT                                                                                                                         AKRON                     OH           44308‐1817




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  ADDRESS ID                           NAME                                  ADDRESS 1                             ADDRESS 2                          ADDRESS 3         ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
30260013          Toledo Edison                               5001 NASA Blvd                                                                                                        Fairmont                  WV           26554
30274917          Name on file                                Address on file
30296166          Name on file                                Address on file
30200869          TOLL GLOBAL FORWARDING (USA) INC            PO BOX 89 4160                                                                                                        LOS ANGELES               CA           90189
30331264          Toll Global Forwarding (USA) Inc.           1055 Thomas Jefferson Street NW          Suite 620                                                                    Washington                DC           20007

30398347          Toll Global Forwarding (USA) Inc.           Attn: Bredan Collins                     1055 thomas Jefferson Street NW   Suite 620                                  Washingotn                DC           20007
30293420          Name on file                                Address on file
30296105          Name on file                                Address on file

29964157          TOMBIGBEE ELECTRIC POWER ASSOC‐TUPELO       1346 AUBURN ROAD                                                                                                      TUPELO                    MS           38804
30260913          Name on file                                Address on file
30274758          Name on file                                Address on file
30261203          Name on file                                Address on file
30286393          Name on file                                Address on file
30281879          Name on file                                Address on file
30224274          Name on file                                Address on file
30284158          Name on file                                Address on file
29946252          TONER PLASTICS INC                          35 INDUSTRIAL DRIVE                                                                                                   EAST LONGMEADOW           MA           01028
30288030          Name on file                                Address on file
30200613          TONY GONZALEZ                               Address on file
                  TONY SAMMUT INVESTMENTS, MANAGER FOR
                  LANDLORD ANTHONY SAMMUT AND CHRISTINE
30213476          SAMMUT, AS TRUSTEES OF TH                   ATTN: TONY SAMMUT & TERRY SAMMUT 60 D CORRAL DE TIERRA ROAD                                                           SALINAS                   CA           93908
29946301          TOOELE CITY CORPORATION                     90 NORTH MAIN STREET                                                                                                  TOOELE                    UT           84074
30274213          Name on file                                Address on file
29946305          TOP NOTCH CLEANING INC                      2219 CENTERHILL DRIVE                                                                                                 OPELIKA                   AL           36801
30257814          Top Notch Cleaning Inc.                     2219 Center Hill Drive                                                                                                Opelika                   AL           36801
30288897          Name on file                                Address on file
30260891          Name on file                                Address on file
29946309          TOPOCEAN CONSOLID SERV (LA) INC             2727 WORKMAN MILL RD                                                                                                  CITY OF INDUSTRY          CA           90601
29954095          TORI KOLAR                                  Address on file
30261864          Name on file                                Address on file
30297098          Name on file                                Address on file
30286168          Name on file                                Address on file
30256566          Name on file                                Address on file
30274114          Name on file                                Address on file
30280696          Name on file                                Address on file
30261704          Name on file                                Address on file
30331753          Name on file                                Address on file
29946330          TORRINGTON PLAZA LLC                        550 7TH AVENUE, 15TH FL.                                                                                              NEW YORK                  NY           10018
29964191          TOTAL DISTRIBUTION SERVICE INC              10801 WALKER STREET, #230                                                                                             CYPRESS                   CA           90630
30218601          Total Distribution Service, Inc.            10801 Walker St.                    Suite 230                                                                         Cypress                   CA           90630
29964192          TOTAL LINE REFRIGERATION INC                33530 PIN OAK PKWY                                                                                                    AVON LAKE                 OH           44012
30292345          Name on file                                Address on file
30290378          Name on file                                Address on file
30221874          Name on file                                Address on file
30287052          Name on file                                Address on file
29964197          TOURMALINE CAPITAL II REIT LLC              BLI SUNSET SQUARE LLC C/O FIRST WES 2940 FAIRVIEW AVE. E                                                              SEATTLE                   WA           98102
30279152          Name on file                                Address on file
30293182          Name on file                                Address on file
29946337          TOWN & COUNTRY CHICAGO ASSOC LLC            PO BOX 809040                                                                                                         CHICAGO                   IL           60680‐9040

29946341          TOWN CENTER I FAMILY PARTNERSHIP LP         CO: GLACIER PEAK MGMT SERVICES INC       5755 OBERLIN DR # 312,                                                       SAN DIEGO                 CA           92121‐4717
                  Town Center I Family Partnership, L.P., a
30295967          California limited partnership              Town Center I Family Partnership, L.P.   17542 E. 17th Street              Suite 420                                  Tustin                    CA           92780
                  Town Center I Family Partnership, L.P., a
30338124          California Limited Partnership              17542 E. 17th Street                     Suite 420                                                                    Tustin                    CA           92780
29951069          TOWN OF BILLERICA, MA                       365 BOSTON ROAD                                                                                                       BILLERICA                 MA           01821
30401370          TOWN OF BROOKFIELD ‐ TAX COLLECTOR          ROBERTA Q. SINATRA                       100 POCONO RD                     PO BOX 508                                 BROOKFIELD                CT           06752
29946345          TOWN OF BURLINGTON ‐ DEPT 520               29 CENTER STREET                                                                                                      BURLINGTON                MA           01803
29946347          TOWN OF CARY, NC                            316 N. ACADEMY                                                                                                        ST. CARY                  NC           27513
29946350          TOWN OF CHRISTIANSBURG, VA                  100 EAST MAIN STREET                                                                                                  CHRISTIANSBURG            VA           24073‐3029
29946355          TOWN OF CULPEPER, VA                        400 S MAIN ST STE 100                                                                                                 CULPEPER                  VA           22701‐3146




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29946364          TOWN OF GILBERT, AZ                         90 E. CIVIC CENTER DRIVE                                                                                                 GILBERT                    AZ           85296
30260181          Town of Lady Lake                           Lady Lake Utilities              409 Fennell Blvd                                                                        Lady Lake                  FL           32159
29946373          TOWN OF LADY LAKE UTILITIES                 409 FENNELL BOULEVARD                                                                                                    LADY LAKE                  FL           32159
29953841          TOWN OF NIAGARA, NY                         7105 LOCKPORT ROAD                                                                                                       NIAGARA FALLS              NY           14305
29953844          TOWN OF NORTH ATTLEBOROUGH                  43 SOUTH WASHINGTON ST                                                                                                   NORTH ATTLEBOROUGH         MA           02760
29946378          TOWN OF QUEEN CREEK WATER, AZ               22358 S. ELLSWORTH ROAD                                                                                                  QUEEN CREEK                AZ           85142
29946380          TOWN OF QUEENSBURY ‐NY                      742 BAY RD                                                                                                               QUEENSBURY                 NY           12804
29946390          TOWN OF SCHERERVILLE, IN                    10 EAST JOLIET ST                                                                                                        SCHERERVILLE               IN           46375
29946405          TOWN OF WALLKILL, NY                        ATTN: WATER & SEWER DEPARTMENT   99 TOWER DRIVE                  BUILDING A                                              MIDDLETOWN                 NY           10941
30349815          Town of Walpole                             135 School Street                                                                                                        Walpole                    MA           02081
29974196          Town of Walpole                             135 School Street                                                                                                        Walpole                    MA           02081
29946410          TOWN OF WALPOLE MA                          135 SCHOOL ST                                                                                                            WALPOLE                    MA           02081
29946412          TOWN OF WARRENTON, VA                       21 MAIN STREET                                                                                                           WARRENTON                  VA           20186
30296394          Name on file                                Address on file
30252720          Name on file                                Address on file
30356193          TOWNSHIP OF ALPENA, MI                      4385 US 23 NORTH                                                                                                         ALPENA                     MI           49707
30164120          ToyHouse LLC                                P.O. Box 443                                                                                                             Mystic                     CT           06355
29946423          TOYHOUSE LLC                                PO BOX 443                                                                                                               MYSTIC                     CT           06355
30287009          Name on file                                Address on file
30224853          Name on file                                Address on file
30200687          TRALANTHIA WALLACE                          C/O PENDLAND LAW FIRM            ATTN: JEREMY C. PENLAND, ESQ.   7411 NASHVILLE STREET                                   RINGGOLD                   GA           30736
30253669          Name on file                                Address on file
30257717          Name on file                                Address on file
30262226          Name on file                                Address on file
30258309          Name on file                                Address on file
30289364          Name on file                                Address on file
30183359          Transform Bohemia NY LLC                    5407 Trillium Boulevard, B120                                                                                            Hoffman Estates            IL           60192
29946499          TRANSFORM HOLDCO LLC                        TRANSFORM BOHEMIA NY LLC         PO BOX 200272                                                                           DALLAS                     TX           75320‐0272
30286710          Transport Security Inc                      820 S Pine Street                                                                                                        Waconia                    MN           55387
30200883          TRANSPORT SECURITY INC                      820 SOUTH PINE STREET                                                                                                    WACONIA                    MN           55387
29946501          TRANSUNION RISK & ALTERNATIVE DATA          SOLUTIONS, INC.                  P.O. BOX 209047                                                                         DALLAS                     TX           75320‐9047
30279456          Name on file                                Address on file
30293418          Name on file                                Address on file
30294444          Name on file                                Address on file
30260173          Name on file                                Address on file
30282621          Name on file                                Address on file
29946533          TREASURER ‐ SPOTSYLVANIA COUNTY             9104 COURTHOUSE ROAD                                                                                                     SPOTSYLVANIA               VA           22553
30279481          Name on file                                Address on file
30251307          Name on file                                Address on file
29946550          TRENDS INTERNATIONAL LLC                    5188 WEST 74TH STREET                                                                                                    INDIANAPOLIS               IN           46268
30262796          Name on file                                Address on file
30331989          Name on file                                Address on file
29946586          TRI D'ART INTERNATIONAL LIMITED             6F NO 1 LN 10 JIHU RD                                                                                                    NEIHU DIST                              114             TAIWAN
30185068          TRI Inc. MGMT                               P.O. Drawer B                                                                                                            Tupelo                     MS           38802
30184225          Tri Marsh Realty LLC                        Attn: Boaz Avnery                4801 Harbor Dr                                                                          Flower Mound               TX           75022
30222050          Tri Marsh Realty LLC                        4801 Harbor Dr                                                                                                           Flowwer Mound              TX           75022
29946589          TRI W GROUP MOHAWK                          ATTN: MARGARETHE VIA             PO BOX 937                                                                              BEND                       OR           97709
30281056          Name on file                                Address on file
30261548          Name on file                                Address on file
29972082          Triburg Imtiara Consultants LLP             Ashok Kumar Sharma               182, Udyog Vihar, Phase ‐ I                                                             Gurugram, Haryana                       122016          India
30224122          Name on file                                Address on file
30200760          TRI‐CITY INDUSTRIAL POWER LLC               PO BOX 268                                                                                                               MIAMISBURG                 OH           45343‐0268
30284624          Tri‐County Plaza 1989 Limited Partnership   c/o Glimcher Group Inc           Attn: Michael Sundo             500 Grant Street               Suite 2000               Pittsburgh                 PA           15219
29946599          TRI‐COUNTY PLAZA 1989 LTD PARTNERSH         C/O GLIMCHER GROUP INC, MGR.     500 GRANT ST., STE. 2000                                                                PITTSBURGH                 PA           15219
30258227          Name on file                                Address on file
29946641          TRIPAR INTERNATIONAL INC                    20 PRESIDENTIAL DRIVE                                                                                                    ROSELLE                    IL           60172‐3913
29946642          TRIPLE BAR PRINCE WILLIAM LLC               224 ST. CHARLES WAY, #290                                                                                                YORK                       PA           17402
29946644          TRIPLE NET CLINTON LLC                      PO BOX 356                                                                                                               EMERSON                    NJ           07630
30274447          Name on file                                Address on file
30259087          Name on file                                Address on file
30331890          Name on file                                Address on file
30285237          Name on file                                Address on file
30274150          Name on file                                Address on file
30164953          Tri‐W Group                                 100 SE Crystal Lake Drive                                                                                                Corvallis                  OR           97333




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30291687          Name on file                                     Address on file
30273626          Name on file                                     Address on file
30284227          Name on file                                     Address on file

29946699          TROPICAL LAWN SERVICE INC                        DBA TROPICAL LANDSCAPE DES & MAINT      PO BOX 403                                                                   VISALIA                   CA           93279
30278762          Name on file                                     Address on file
30331219          Name on file                                     Address on file
30296852          Name on file                                     Address on file
30222135          Name on file                                     Address on file
30260541          Name on file                                     Address on file
30290293          Name on file                                     Address on file
30282573          Name on file                                     Address on file
30297600          Truesource LLC                                   2929 Expressway Drive N                 Suite 300B                                                                   Islandia                  NY           11749
30263146          Name on file                                     Address on file
30293626          Name on file                                     Address on file
30259256          Name on file                                     Address on file
30297502          Truss Greenwood IN LLC                           c/o Tod Friedman, Chief Legal Counsel   4300 E. Fifth Ave.                                                           Columbus                  OH           43219
29946721          TRUSTEDSEC LLC                                   3485 SOUTHWESTERN BLVD                                                                                               FAIRLAWN                  OH           44333
30165000          TRX Inc                                          8777 Rockside Rd                                                                                                     Cleveland                 OH           44125‐6112
30200755          TRX INC                                          PO BOX 92916                                                                                                         CLEVELAND                 OH           44194
30217930          Tsai, Steffi                                     Address on file
30279814          Name on file                                     Address on file
29946733          TSUKINEKO                                        13633 NE 126TH PLACE                                                                                                 KIRKLAND                  WA           98034
29946736          TTK CONFECTIONERY LTD                            UNIT 15 ROBIN HOOD INDUST. EST.                                                                                      NOTTINGHAM                             NG31GE          UNITED KINGDOM
29946738          TUALATIN VALLEY WATER DISTRICT                   1850 SW 170TH AVENUE                                                                                                 BEAVERTON                 OR           97003
30280611          Name on file                                     Address on file
                  Tucanada Holdings Ltd., Midtown National
                  Group, LP, HPE L12 LMY, LLC, HPE S12 LMY, LLC,
30297679          and SEYCO 21                                     415 S. Cedors Avenue                    Suite #240                                                                   Solana Beach              CA           92075
30297087          Name on file                                     Address on file
30296036          Name on file                                     Address on file
29946744          TUCSON ELECTRIC POWER COMPANY                    88 E BROADWAY BLVD                                                                                                   TUCSON                    AZ           85701
30200688          Tuder, Vicky L.                                  Address on file
30285206          Name on file                                     Address on file
30258285          Name on file                                     Address on file
30276939          Name on file                                     Address on file

29946746          TUFKO INTERNATIONAL                              ANAKKAL P.O.                            KOLLAMKULAM BUILDING# 1/51A    KANJIRAPALLY, KOTTAYAM (DIST.),               KERALA                                 686508          INDIA
30161058          TUFKO INTERNATIONAL                              KOLLAMKULAM BUILDING# 1/51A,            ANAKKAL P.O, KANJIRAPALLY                                                    KOTTAYAM, KERALA                       686508          INDIA
30217951          TUFKO INTERNATIONAL                              KOLLAMKULAM BUILDING # 1/51A,           ANAKKAL P.O., KANJIRAPALLY     KOTTAYAM, KERALA                              KOTTAYAM, KERALA                       686508          INDIA
30290682          Name on file                                     Address on file
29946754          TULLAHOMA UTILITIES AUTHORITY                    901 SOUTH JACKSON STREET                                                                                             TULLAHOMA                 TN           37388
30259317          Name on file                                     Address on file
30274523          Name on file                                     Address on file
30297217          Name on file                                     Address on file
29946761          TUPELO WATER & LIGHT DEPT                        333 COURT STREET.                                                                                                    TUPELO                    MS           38804
30222117          Name on file                                     Address on file
30288020          Name on file                                     Address on file
29946764          TURLOCK IRRIGATION DISTRICT                      333 E. CANAL DRIVE                                                                                                   TURLOCK                   CA           95381
30296745          Name on file                                     Address on file
30225210          Name on file                                     Address on file
30289096          Name on file                                     Address on file
30225164          Name on file                                     Address on file
30285796          Name on file                                     Address on file
30273740          Name on file                                     Address on file
30295832          Name on file                                     Address on file
30285393          Name on file                                     Address on file
29946768          TURTLE ROCK LLC                                  231 WILLOW STREET                                                                                                    YARMOUTH PORT             MA           02675
30285471          Name on file                                     Address on file
30261308          Name on file                                     Address on file
29946780          TWIN CITY ESTATE CORP                            17195 NEW COLLEGE AVENUE                                                                                             WILDWOOD                  MO           63040
29946786          TWIN PEAK HOLDINGS LLC                           C/O MID‐AMERICA REAL ESTATE‐ WI         600 N. PLANKINTON AVE., #301                                                 MILWAUKEE                 WI           53203
30279915          Twin Peaks Holdings LLC                          Messerli Kramer c/o David Tanabe        1400 Fifth Street Towers       100 South Fifth Street                        Minneapolis               MN           55402
30284768          Two Guys Limited Partnership                     The Cash Law Firm, LLC                  Paul Martin Cash               P.O. Box 20718                                Albuquerque               NM           87111




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29946790          TWO GUYS LIMITED PARTNERSHIP                   PO BOX 7459                                                                                                         ALBUQUERQUE                NM           87194
30165094          Two Guys Partners, LLC                         Paul M. Cash                             The Cash Law Firm LLC           PO Box 20718                               Albuquerque                NM           87154
30181687          Two Guys Partners, LLC                         P.O. Box 20718                                                                                                      Albuquerque                NM           87111
30228355          Name on file                                   Address on file
30330948          TXU Energy Retail Company LLC                  PO Box 650393                                                                                                       Dallas                     TX           75265
30330964          TXU Energy Retail Company LLC                  PO Box 650393                                                                                                       Dallas                     TX           75265
30330922          TXU Energy Retail Company LLC                  PO Box 650393                                                                                                       Dallas                     TX           75265
30297704          TXU Energy Retail Company LLC                  PO Box 650393                                                                                                       Dallas                     TX           75265
30330892          TXU Energy Retail Company LLC                  PO Box 650393                                                                                                       Dallas                     TX           75265
30330880          TXU Energy Retail Company LLC                  PO Box 650393                                                                                                       Dallas                     TX           75265
29946806          TXU ENERGY/650638                              6555 SIERRA DRIVE                                                                                                   IRVING                     TX           75039
30167993          Ty Inc                                         PO Box 5377                                                                                                         Oak Brook                  IL           60522
29946810          TY INC                                         280 CHESTNUT AVE                                                                                                    WESTMONT                   IL           60559
29946819          TYCO FIRE & SECURITY MGMT INC                  JOHNSON CONTROLS SECUR SOL LLC           PO BOX 371967                                                              PITTSBURGH                 PA           15250‐7967
30331443          Name on file                                   Address on file
30263331          Name on file                                   Address on file
30259642          Name on file                                   Address on file
29964296          U BLAINE PROPERTIES LLC                        C/O COLLIERS INTERNATIONAL               833 E. MICHIGAN ST., STE. 500                                              MILWAUKEE                  WI           53202
29946920          UB MIDWAY LLC                                  C/O URSTADT BIDDLE PROPERTIES INC        321 RAILROAD AVENUE                                                        GREENWICH                  CT           06830
30295673          U‐Blaine Properties, LLC                       c/o Colliers                             833 East Michigan Street        Suite 500                                  Milwaukee                  WI           53202
30331134          U‐Blaine Properties, LLC                       c/o Colliers                             833 Michigan Street             Suite 500                                  Milwaukee                  WI           53202
30297500          U‐Blaine Properties, LLC                       833 East Michigan Street                 Suite 500                                                                  Milwaukee                  WI           53202
29946922          UBS‐UTILITY BILLING SERVICES                   2151 EATONTON RD                         SUITE H‐1                                                                  MADISON                    GA           30650
30283147          Name on file                                   Address on file
30275091          Name on file                                   Address on file
30276748          Name on file                                   Address on file
29951984          UFPTFC LLC                                     C/O ARCADIA MGMT GROUP                   PO BOX 10                                                                  SCOTTSDALE                 AZ           85252
30289001          UGI Utilities Inc                              PO Box 13009                                                                                                        Reading                    PA           19612‐3009
29951986          UGI UTILITIES INC                              1 UGI DRIVE                                                                                                         DENVER                     PA           17517
30288854          UGI Utilities, Inc.                            Kristin S. Werner                        PO Box 13009                                                               Reading                    PA           19612‐3009
30258662          Name on file                                   Address on file
30231676          Name on file                                   Address on file
30289660          Name on file                                   Address on file
30331217          Name on file                                   Address on file
30256800          Name on file                                   Address on file
30263552          Name on file                                   Address on file
30167721          Uline                                          12575 Uline Drive                                                                                                   Pleasant Prairie           WI           53158
29951993          ULINE                                          PO BOX 88741                                                                                                        CHICAGO                    IL           60680
30262332          Name on file                                   Address on file
30275305          Name on file                                   Address on file
29946932          UNCANNY BRANDS                                 350 SENTRY PARKWAY                                                                                                  BLUE BELL                  PA           19422
29946940          UNION HOME CO LTD                              7F, 529# NORTH ZONGZE ROAD                                                                                          YIWU                                    322000          CHINA
30164021          Union Home Co., Ltd                            Floor 7, No. 529, North Zongze Road      Beiyuan Street                                                             Yiwu, Zhejiang Provice                  322000          China
29946946          UNIQUE TECHNICAL SERVICES INC                  22950 W. INDUSTRIAL DR                                                                                              SAINT CLAIR SHORES         MI           48080
30200728          UNITED AIRLINES INC                            ATTN: MONICA                             233 SOUTH WACKER DRIVE                                                     CHICAGO                    IL           60606
30262262          United Indy Investments LLC                    580 E Carmel Drive                       Ste 100                                                                    Carmel                     IN           46032
29946951          UNITED INDY INVESTMENTS LLC                    ATTN: HIMAN GARG                         580 E. CARMEL DR., STE. 100                                                CARMEL                     IN           46032
30224919          United Rentals (North America), Inc.           c/o Mark A. Kirkorsky, P.C.              Joseph L. Whipple               PO Box 25287                               Tempe                      AZ           85285
30258488          United Rentals (North America), Inc.           c/o Mark A Kirkorsky PC                  PO Box 25287                                                               Tempe                      AZ           85285
29946953          UNITED STAFFING ASSOCIATES LLC                 505 HIGUERA STREET                                                                                                  SAN LUIS OBISPO            CA           93401
30258935          United Staffing Associates, LLC                C/o United Staffing                      505 Higuera St                                                             San Luis Obispo            CA           93401
                  United Steel, Paper and Forestry, Rubber,
                  Manufacturing, Energy, Allied Industrial and
30282227          Service Worke                                  Attn: David Jury, General Counsel        60 Boulevard of the Allies      Room 807                                   Pittsburgh                 PA           15222
30331796          Unitil Corp                                    c/o Credit Department                    5 McGuire St                                                               Concord                    NH           03301
30200842          UNITIL ME GAS OPERATIONS                       6 LIBERTY LANE WEST                                                                                                 HAMPTON                    NH           03842‐1720
29953853          UNITIL NH ELECTRIC OPERATIONS                  6 LIBERTY LANE WEST                                                                                                 HAMPTON                    NH           03842‐1720
29946957          UNITIL NH GAS OPERATIONS                       6 LIBERTY LANE WEST                                                                                                 HAMPTON                    NH           03842‐1720
30166606          Universal Candle Company Ltd                   Flat B&D, 15/F, E Wah Factory Building   56‐60 Wong Chuk Hang Road,                                                 Aberdeen, Hong Kong                                     Hong Kong
29964297          UNIVERSAL CANDLE COMPANY LTD                   FLAT B & D 15/F, E WAH FACTORY BLDG      55‐60 WONG CHUK HANG RD                                                    ABERDEEN                                                HONG KONG
29964299          UNIVERSAL OIL INC                              265 JEFFERSON AVENUE                                                                                                CLEVELAND                  OH           44113
29964300          UNIVERSAL PROTECTION SERV LP                   DBA ALLIED UNIVERSAL SECUR SER           PO BOX 828854                                                              PHILADELPHIA               PA           19182‐8854
30331132          University Games Corp.                         2030 Harrison Street                                                                                                San Francisco              CA           94110
29964301          UNIVERSITY GAMES CORPORATION                   2030 HARRISON STREET                                                                                                SAN FRANCISCO              CA           94110




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29964302          UNIVERSITY HILLS PLAZA LLC                       6900 E BELLEVIEW AVE #300                                                                                                        GREENWOOD VILLAGE         CO           80111
29964303          UNIVERSITY HILLS PLAZA MERCH ASSOC               C/O MILLER REAL ESTATE INV LLC      6900 E. BELLEVIEW AVE, STE 300                                                               GREENWOOD VILLAGE         CO           80111

30398410          University Park Associates Limited Partnership   Richland Plaza                      1219 Scalp Avenue                                                                            Johnstown                 PA           15904

30284255          University Park Associates Limited Partnership   1219 Scalp Avenue                                                                                                                Johnstown                 PA           15904
29946961          UNIVERSITY PARK ASSOCIATES LP                    C/O STARWOOD MORTGAGE CAP., LLC     P.O. BOX 5193                                                                                JOHNSTOWN                 PA           15904‐5193
29946964          UNIVERSITY PL. IMPROV. OWNER LLC                 C/O DLC MANAGEMENT CORP             P.O. BOX 847693                                                                              BOSTON                    MA           02284‐7693
29946966          UNIVERSITY SP LLC                                2221 W. LINDSEY ST., STE 201                                                                                                     NORMAN                    OK           73069
29946968          UNIVIC FLORAL COMPANY LIMITED                    UNIT 12, 19/F, SEAPOWER TOWER       NO 1 SCIENCE MUSEUM ROAD                                                                     TSIMSHATSUI                                            HONG KONG
30165079          Univic Floral Company Limited                    No1 Science Museum Rd                                                                                                            Tsimshatsui,KL,HK‐ CN                                  China
29946969          UNOVO LLC DBA OLISO                              1200 HARBOUR WAY SOUTH, SUITE 215                                                                                                RICHMOND                  CA           94804
29976077          Unovo, LLC dba Oliso                             Attn: John Melot                    548 Market St #89615                                                                         San Francisco             CA           94104
29946971          UNS GAS INC/5176                                 6405 WILKINSON DR                                                                                                                PRESCOTT                  AZ           86301‐6165
30286546          Untouchable Marketing LLC                        13918 E Mississippi Ave #69456                                                                                                   Aurora                    CO           80012
30200844          UNTOUCHABLE MARKETING LLC                        UNTOUCHABLE CONSULTING              13918 E. MISSISSIPPI AVE #69456                                                              AURORA                    CO           80012
30222087          Name on file                                     Address on file
30258091          Name on file                                     Address on file
30273664          Name on file                                     Address on file
30282612          Name on file                                     Address on file
30292134          Name on file                                     Address on file
30227569          Name on file                                     Address on file
30227092          Urbano, Savannah                                 Address on file
30285359          Name on file                                     Address on file
30260041          Name on file                                     Address on file
30289629          Name on file                                     Address on file
30293358          Name on file                                     Address on file
30260097          Name on file                                     Address on file
29946989          US CUSTOMS & BORDER PROTECTION                   PO BOX 979126                                                                                                                    SAINT LOUIS               MO           63197‐9000
29949999          US RETAIL PARTNERS LLC                           C/O ARAPAHOE VILLAGE                PO BOX 676143                                                                                DALLAS                    TX           75267

                  USA Debt Recovery Solutions, Inc. assignee of
30293313          Shenzhen Rizee Cultural Creativity Co., Ltd      255 W Foothill Blvd                 Suite 205                                                                                    Upland                    CA           91786
                  USA Debt Recovery Solutions, Inc. Assingnee of
30338782          Ningbo General Union Co., Ltd                    255 W Foothill Blvd                 Suite 205                                                                                    Upland                    CA           91786
29950000          USABLENET INC                                    DEPT 781768                         PO BOX 78000                                                                                 DETROIT                   MI           48278‐1768
30181622          UsableNet, Inc.                                  228 Park Ave S                      Ste #62305                                                                                   New York                  NY           10003
30273743          Name on file                                     Address on file
30297411          USI Consulting Group Inc.                        Saul Ewing LLC                      c/o Turner N. Falk, Esq.          1500 Market Street             Centre Square W. 38th Fl.   Philadelphia              PA           19102
30280283          Name on file                                     Address on file
30225129          UTAH STATE TAX COMMISSION                        ATTN: BANKRUPTCY UNIT               210 N 1950 W                                                                                 SALT LAKE CITY            UT           84134‐9000
29947001          UTAH‐WRI HOLDINGS LLC                            WRI‐URS MERIDIAN LLC                PO BOX 30344                                                                                 TAMPA                     FL           33630
30287320          Name on file                                     Address on file
30285666          Name on file                                     Address on file
29964309          UTILITY PAYMENT PROCESSING/BR WATER              BATON ROUGE WATER COMPANY           8755 GOODWOOD BLVD                                                                           BATON ROUGE               LA           70806‐7916
30289008          Name on file                                     Address on file
30273890          Name on file                                     Address on file
30274073          Name on file                                     Address on file
30295643          Name on file                                     Address on file
30262025          Name on file                                     Address on file
30259793          Name on file                                     Address on file
30331740          Name on file                                     Address on file
29947016          VALARI VAUGHN                                    Address on file
30258823          Name on file                                     Address on file
30263281          Name on file                                     Address on file
30259503          Name on file                                     Address on file
30280287          Name on file                                     Address on file
30259171          Name on file                                     Address on file
30278527          Name on file                                     Address on file
30261531          Name on file                                     Address on file
30261177          Name on file                                     Address on file
30258631          Name on file                                     Address on file
30274931          Name on file                                     Address on file
30231657          Name on file                                     Address on file




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30231661          Name on file                          Address on file
30294750          Name on file                          Address on file
30256970          Name on file                          Address on file
30279235          Name on file                          Address on file
30331037          Valley Cottage Library                Attn: Christy Blanchette     110 Route 303                                                         Valley Cottage            NY           10989
29947100          VALLEY FORGE FABRICS INC              1650 WEST MCNAB ROAD                                                                               FORT LAUDERDALE           FL           33309
30331900          Name on file                          Address on file
30258039          Name on file                          Address on file
30259244          Name on file                          Address on file
30291472          Van Gundy, Anita Lee                  Address on file
30253659          Name on file                          Address on file
30280527          Name on file                          Address on file
30281968          Name on file                          Address on file
30280870          Name on file                          Address on file
30280609          Name on file                          Address on file
30262168          Name on file                          Address on file
30259985          Name on file                          Address on file
30286279          Name on file                          Address on file
30293887          Name on file                          Address on file
30263479          Name on file                          Address on file
30261077          Name on file                          Address on file
30260832          Name on file                          Address on file
30331950          Name on file                          Address on file
29947118          VANDERWALL FAMILY LP                  CO BARBARA PADMOS            1885 LADD ROAD                                                        MODESTO                   CA           95356
30274655          Name on file                          Address on file
30273300          Name on file                          Address on file
30290903          Name on file                          Address on file
30285900          Name on file                          Address on file
30261521          Name on file                          Address on file
30274160          Name on file                          Address on file
29964347          VANGUARD ID SYSTEMS INC               480 BOOT ROAD                                                                                      DOWNINGTOWN               PA           19335
30276931          Name on file                          Address on file
30257860          Name on file                          Address on file
30224951          Name on file                          Address on file
30224951          Name on file                          Address on file
30274955          Name on file                          Address on file
30225214          Name on file                          Address on file
30225214          Name on file                          Address on file
30258071          Name on file                          Address on file
30296860          Vardhman Textiles Limited             Corporate Legal department   Chandigarh Road, Ludhiana                                             Ludhiana, Punjab                       141010          INDIA
30343620          Vardhman Textiles Limited             Corporate Legal Department   Chandigarh Road                                                       Ludhiana, Punjab                       141010          India
30197877          Vardhman Textiles Limited             Chandigarh Road                                                                                    Ludhiana, Punjab                       141010          India
30279895          Name on file                          Address on file
30287042          Name on file                          Address on file
30280087          Name on file                          Address on file
30224354          Name on file                          Address on file
30331869          Name on file                          Address on file
30263417          Name on file                          Address on file
30260972          Name on file                          Address on file
30284067          Name on file                          Address on file
30276783          Name on file                          Address on file
30281800          Name on file                          Address on file
30275396          Name on file                          Address on file
30258501          Name on file                          Address on file
30291176          Name on file                          Address on file
30296896          Name on file                          Address on file
29947218          VAULT AVENIDA ROSEVILLE FABRICS LLC   1750 S. TELEGRAPH RD. #310                                                                         BLOOMFIELD HILLS          MI           48302
30331515          Name on file                          Address on file
30289499          Name on file                          Address on file
30261618          Name on file                          Address on file
30263275          Name on file                          Address on file
30260637          Name on file                          Address on file
30297662          VCCG Grapevine Centre, LLC            1340 S. Main Street          Suite 305                                                             Grapevine                 TX           76051
29947220          VDS HOLDING LLC                       155 N. ABERDEEN ST., #305                                                                          CHICAGO                   IL           60607




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30201842          VDS Holding LLC dba Verite Data       155 N Aberdeen Street                 Suite 305                                                                 Chicago                IL           60607
30284202          Name on file                          Address on file
30263477          Name on file                          Address on file
30260683          Name on file                          Address on file
30257909          Name on file                          Address on file
29947224          VELCRO USA INC                        95 SUNDIAL AVE                                                                                                  MANCHESTER             NH           03103
30256519          Velcro USA Inc.                       Attn to: Brian Kelly                  95 Sundial Avenue                                                         Manchester             NH           03103
30296224          Name on file                          Address on file
30296183          Name on file                          Address on file
30258509          Name on file                          Address on file
30228219          Name on file                          Address on file
30286664          Name on file                          Address on file
30273555          Name on file                          Address on file
30276343          Name on file                          Address on file
30222602          Name on file                          Address on file
30259610          Name on file                          Address on file
30287736          Name on file                          Address on file
29947240          VENTURE HULEN LP                      C/O VENTURE COMMERCIAL MGMT LLC       5751 KROGER DR                 STE 202                                    FORT WORTH             TX           76244
29947244          VENTURES KARMA LLC                    C/O FLAKE & KELLEY COMMERCIAL         425 W. CAPITOL AVE., #300                                                 LITTLE ROCK            AR           72201
30331337          Ventures Karma, LLC                   Karl Williams                         354 Brass Lantern Ct.                                                     Bozeman                MT           59715
30260149          Name on file                          Address on file
29947254          VEOLIA WATER PENNSYLVANIA             53 STATE STREET                       14TH FLOOR                                                                BOSTON                 MA           02109
29947255          VEOLIA WATER TOMS RIVER               1451 NJ‐37, SUITE 2                                                                                             TOMS RIVER             NJ           08755
30332864          Name on file                          Address on file
29947265          VEREIT OPERATING PARTNERSHIP LP       VEREIT REAL ESTATE LP                 PO BOX 103127                                                             PASADENA               CA           91189‐3127
30283577          Name on file                          Address on file
30296945          Name on file                          Address on file
29947279          VERMONT GAS SYSTEMS, INC.             85 SWIFT STREET                                                                                                 SOUTH BURLINGTON       VT           05402
29947288          VERNCO BELKNAP LLC                    70 WASHINGTON ST., STE. 310                                                                                     SALEM                  MA           01970

30213672          VERNCO BELKNAP, LLC                   ATTN: GEORGE C. VERNET III, MANAGER   70 WASHINGTON STREET           STE 310                                    SALEM                  MA           01970
29951086          VERONICA ORTEGACAMACHO                Address on file
30182594          Versant Power                         P.O. Box 932                                                                                                    Bangor                 ME           04402
29947347          VERSANT POWER/16044                   28 PENOBSCOT MEADOW DRIVE                                                                                       HAMPDEN                ME           04444
30224205          Name on file                          Address on file
30258390          Name on file                          Address on file
30330874          Name on file                          Address on file
30273670          Name on file                          Address on file
29947353          VESTAR BEST IN THE WEST PROP LLC      PO BOX 30412                                                                                                    TAMPA                  FL           33630
30259324          Name on file                          Address on file
30282021          Name on file                          Address on file
29947361          VIBES MEDIA LLC                       DEPT CH 18039                                                                                                   PALATINE               IL           60055‐8039
30294422          Name on file                          Address on file
29947363          VICKERRY DE MALL LLC                  PO BOX 851698                                                                                                   MINNEAPOLIS            MN           55485‐1698
30273592          Name on file                          Address on file
30263042          Name on file                          Address on file
30200591          VICKI MOORE                           C/O GEMMA LAW ASSOCIATES, INC .       ATTN: HENRY S. MONTI           231 RESERVOIR AVE.                         PROVIDENCE             RI           02907
30200610          VICTORIA COSTELLO                     Address on file
29947471          VICTORIA HARMAN                       Address on file
30200614          VICTORIA THOMAS                       C/O JENNINGS & JENNINGS, PA           ATTN: MATTHEW C. HICKS         PO BOX 106                                 BISHOPVILLE            SC           29010‐0106
30331632          Name on file                          Address on file
29947544          VICTORY REAL ESTATE INVESTMENTS LLC   WILSHIRE PLAZA INVESTORS LLC          PO BOX 4767                                                               COLUMBUS               GA           31914
30258289          Name on file                          Address on file
30279283          Name on file                          Address on file
30218662          Name on file                          Address on file
30281802          Name on file                          Address on file
30261019          Name on file                          Address on file
30262071          Name on file                          Address on file
30259935          Name on file                          Address on file
30292601          VIITION (ASIA) LIMITED                FLAT/RM D03,BLK A, 12/F               UNIVERSAL IND CTR              19‐25 SHAN MEI ST, SHATIN                  HONG KONG                           999077          CHINA
29964399          VIITION (ASIA) LIMITED                FLAT/RM D03, BLK A, 12/F              19‐25 SHAN MEI ST                                                         SHA TIN, N.T.                       999077          HONG KONG
29964403          VIKING PLAZA REALTY GROUP LLC         VIKING PLAZA MALL                     PO BOX 82552, BLDG ID VPM001                                              GOLETA                 CA           93118‐2552
30274067          Name on file                          Address on file
29947551          VILLAGE CROSSING PARTNERS LLC         11155 RED RUN BLVD. #320                                                                                        OWINGS MILLS           MD           21117




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29947554          VILLAGE LIGHTING CO                    5079 W. 2100 S. UNIT A                                                                                                        WEST VALLEY               UT           84120
30168026          Village Lighting Co. (ECOM)            5079 2100 S                           Building A                                                                              West Valley City          UT           84120
29947555          VILLAGE OF ALGONQUIN, IL               2200 HARNISH DRIVE                                                                                                            ALGONQUIN                 IL           60102
29947559          VILLAGE OF BLOOMINGDALE, IL            201 SOUTH BLOOMINGDALE ROAD                                                                                                   BLOOMINGDALE              IL           60108
29947562          VILLAGE OF CRESTWOOD, IL               13840 SOUTH CICERO AVENUE                                                                                                     CRESTWOOD                 IL           60445
29947569          VILLAGE OF MENOMONEE FALLS UTILITIES   W156 N8480 PILGRIM ROAD                                                                                                       MENOMONEE FALLS           WI           53051‐3140
29947572          VILLAGE OF NILES, IL                   1000 CIVIC CTR DR                                                                                                             NILES                     IL           60714
29947575          VILLAGE OF NORRIDGE, IL                4000 NORTH OLCOTT AVENUE                                                                                                      NORRIDGE                  IL           60706‐1199
30290289          Name on file                           Address on file
30278067          Name on file                           Address on file
30261975          Name on file                           Address on file
30222901          Name on file                           Address on file
30284630          Name on file                           Address on file
30263001          Name on file                           Address on file
30285950          Name on file                           Address on file
30261440          Name on file                           Address on file
30260515          Name on file                           Address on file
29947591          VINCENNES WATER DEPARTMENT, IN         403 BUSSERON STREET                                                                                                           VINCENNES                 IN           47591
30276969          Name on file                           Address on file
30292152          Name on file                           Address on file
30293227          Name on file                           Address on file
30290161          Name on file                           Address on file
30278626          Name on file                           Address on file
30258901          Name on file                           Address on file
30274033          Name on file                           Address on file
30262528          Name on file                           Address on file
29947632          VIRA INSIGHT LLC                       2701 S. VALLEY PKWY                                                                                                           LEWISVILLE                TX           75067
30186374          VIRA Insight, LLC                      2701 S. Valley Parkway                                                                                                        Lewisville                TX           75067
30275376          Name on file                           Address on file
29947660          VIRGINIA NATURAL GAS/5409              544 S. INDEPENDENCE BLVD                                                                                                      VIRGINIA BEACH            VA           23452
29947690          VIRK HOSPITALIITY GREAT FALLS LLC      STAYBRIDGE SUITES                     201 3RD STREET NW                                                                       GREAT FALLS               MT           59404
30286077          Name on file                           Address on file
30200796          VIRTUAL MARKETING LLC                  FUSION92                              440 W. ONTARIO STREET                                                                   CHICAGO                   IL           60654
30201870          Virtual Marketing, LLC DBA Fusion92    222 Merchandise Mart Plaza            Suite 2200                                                                              Chicago                   IL           60654
30259837          Virtual Marketing, LLC DBA Fusion92    222 Merchandise Mart Plaza            Suite 2200                                                                              Chicago                   IL           60654
29947696          VISALIA FRIENDS OF THE FOX THEATRE     308 WEST MAIN STREET                                                                                                          VISALIA                   CA           93291
30331462          Name on file                           Address on file
30332793          Name on file                           Address on file
29947698          VISION FABRICS                         853 S COLUMBIA ROAD, SUITE 125                                                                                                PLAINFIELD                IN           46168
29947700          VISIONARY MEDIA INC                    PO BOX 090360                                                                                                                 BROOKLYN                  NY           11209
29947701          VISTA PARTNERS INC                     C/O PA DISTRIBUTION                   4310 W 5TH ST                                                                           EUGENE                    OR           97402
30197836          Vistar                                 188 Inverness Dr, Suite 700                                                                                                   Englewood                 CO           80112
29947704          VISTAR CORPORATION                     188 INVERNESS DRIVE WEST, SUITE 800                                                                                           ENGLEWOOD                 CO           80112
30280478          Name on file                           Address on file
30287713          Name on file                           Address on file
30295645          Viviano, Mary C                        Address on file
30200695          VIVVENTE S. BROWN                      C/O JULIAN RUDOLPH LAW, P.A.          ATTN: JULIAN RUDOLPH, ESQ.      THE INGRAHAM BUILDING          25 SE 2ND AVENUE         MIAMI                     FL           33131
29947734          VIZMEG LANDSCAPE INC                   778 MCCAULEY ROAD # 100                                                                                                       STOW                      OH           44224
30181390          Vizmeg Landscape, Inc.                 778 McCauley Road                     Suite 100                                                                               Stow                      OH           44224
30331652          Vizmeg Landscaping, Inc.               Brennnan Manna & Diamond              c/o Michael A. Steel, Esq.      75 East Market Street                                   Akron                     OH           44308
30263453          Name on file                           Address on file
30253827          Name on file                           Address on file
30260883          Name on file                           Address on file
30217924          Name on file                           Address on file
30273570          Name on file                           Address on file
30257686          Name on file                           Address on file
30285924          Name on file                           Address on file
30279603          Name on file                           Address on file
30264041          Name on file                           Address on file
29947738          VOGUE                                  PO BOX 871                                                                                                                    ALTOONA                   PA           16603
30167218          Volante Investments LLLP               3084 E. Lanark St.                                                                                                            Meridian                  ID           83642
29964409          VOLANTE INVESTMENTS LLLP               3084 EAST LANARK ST.                                                                                                          MERIDIAN                  ID           83642
30286859          Name on file                           Address on file
30274191          Name on file                           Address on file




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  ADDRESS ID                           NAME                                ADDRESS 1                 ADDRESS 2                  ADDRESS 3          ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
29964411          VON KARMAN PLAZA LLC                         PO BOX 4900 UNIT 78                                                                             PORTLAND              OR           97208
30297589          Von Karman Plaza, LLC                        c/o Diana Hodge            1211 SW Salmon St.        Ste 500                                    Portland              OR           97205
30297649          Name on file                                 Address on file
29964417          VOORHEES & BAILEY LLP                        990 AMARILLO AVENUE                                                                             PALO ALTO             CA           94303
29947739          VOTUM ENTERPRISES, LLC                       1 CARDINAL DR                                                                                   LITTLE FALLS          NJ           07424‐1638
30263491          Name on file                                 Address on file
30262362          Name on file                                 Address on file
30273634          Name on file                                 Address on file
29947742          VSI GLOBAL LLC                               9090 BANK STREET                                                                                VALLEY VIEW           OH           44125
30274886          Name on file                                 Address on file
30257322          Name on file                                 Address on file
30276732          Name on file                                 Address on file
29947746          VULCAN PROPERTIES INC                        PROPERTY ID: JQJ001        PO BOX 209427                                                        AUSTIN                TX           78720
30222596          Name on file                                 Address on file
30258245          Name on file                                 Address on file
29952822          W W GRAINGER INC 160                         DEPARTMENT 160‐802145763                                                                        PALATINE              IL           60038‐0001
30331475          WA DNR c/o Integrated Real Estate Services   1015 3rd Avenue            Suite 900                                                            Seattle               WA           98104
30222968          WA State Dept of Labor and Industries        c/o Bankruptcy Unit        PO BOX 4171                                                          Olympia               WA           98504
30224763          Name on file                                 Address on file
30263318          Name on file                                 Address on file
30276909          Name on file                                 Address on file
30263277          Name on file                                 Address on file
30258879          Name on file                                 Address on file
30295233          Name on file                                 Address on file
30258261          Name on file                                 Address on file
30276019          Name on file                                 Address on file
30290139          Name on file                                 Address on file
30260280          Name on file                                 Address on file
30273864          Name on file                                 Address on file
30262947          Name on file                                 Address on file
30293539          Name on file                                 Address on file
30262286          Name on file                                 Address on file
30274874          Name on file                                 Address on file
30274957          Name on file                                 Address on file
30256746          Name on file                                 Address on file
30225122          Name on file                                 Address on file
30257945          Name on file                                 Address on file
30261397          Name on file                                 Address on file
30287310          Name on file                                 Address on file
30262877          Name on file                                 Address on file
30222468          Name on file                                 Address on file
30275127          Name on file                                 Address on file
30285800          Name on file                                 Address on file
30222020          Name on file                                 Address on file
30275069          Name on file                                 Address on file
30263631          Name on file                                 Address on file
30223681          Name on file                                 Address on file
30255706          Name on file                                 Address on file
30293186          Name on file                                 Address on file
30257481          Name on file                                 Address on file
30286249          Name on file                                 Address on file
30285585          Name on file                                 Address on file
30256804          Name on file                                 Address on file
30280644          Name on file                                 Address on file
30331963          Name on file                                 Address on file
30260749          Name on file                                 Address on file
30279259          Name on file                                 Address on file
30291739          Name on file                                 Address on file
30331977          Name on file                                 Address on file
30278740          Name on file                                 Address on file
30287268          Name on file                                 Address on file
30297426          Name on file                                 Address on file
30222060          Name on file                                 Address on file
30296096          Name on file                                 Address on file




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  ADDRESS ID                           NAME                             ADDRESS 1                     ADDRESS 2                  ADDRESS 3          ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY
30257424          Name on file                           Address on file
30278981          Name on file                           Address on file
30280587          Name on file                           Address on file
30293617          Name on file                           Address on file
30196719          WALLA WALLA ELECTRIC CO INC            1225 W POPLAR ST                                                                                       WALLA WALLA              WA           99362
29947765          WALLA WALLA ELECTRIC, INC.             1225 W POPLAR STREET                                                                                   WALLA WALLA              WA           99362
30274531          Name on file                           Address on file
30286210          Name on file                           Address on file
30287492          Name on file                           Address on file
30273646          Name on file                           Address on file
30259888          Name on file                           Address on file
30286198          Name on file                           Address on file
30289666          Name on file                           Address on file
30281925          Name on file                           Address on file
30262685          Name on file                           Address on file
30227013          Name on file                           Address on file
30279744          Name on file                           Address on file
30262432          Name on file                           Address on file
30251305          Name on file                           Address on file
30262348          Name on file                           Address on file
30287341          Name on file                           Address on file
30297156          Name on file                           Address on file
30255005          Name on file                           Address on file
30283053          Name on file                           Address on file
30262820          Name on file                           Address on file
30282727          Name on file                           Address on file
30262087          Name on file                           Address on file
30275920          Name on file                           Address on file
30286020          Name on file                           Address on file
30274860          Name on file                           Address on file
30331539          Name on file                           Address on file
30293370          Name on file                           Address on file
30275040          Name on file                           Address on file
30256883          Name on file                           Address on file
29947777          WALZ CAPITAL KENNESAW LLC              3621 N. WILTON AVE., #3                                                                                CHICAGO                  IL           60613
30261817          Name on file                           Address on file
29947786          WANDA HARDY                            Address on file
29947789          WANDA LANKFORD                         Address on file
30261260          Name on file                           Address on file
30288392          Name on file                           Address on file
30277994          Name on file                           Address on file
30262767          Name on file                           Address on file
30258957          Name on file                           Address on file
30263333          Name on file                           Address on file
30258855          Name on file                           Address on file
30274342          Name on file                           Address on file
30257455          Name on file                           Address on file
30274432          Name on file                           Address on file
30263084          Name on file                           Address on file
30260713          Name on file                           Address on file
30257181          Name on file                           Address on file
30284170          Name on file                           Address on file
30284208          Name on file                           Address on file
30224769          Name on file                           Address on file
30285443          Name on file                           Address on file
30262814          Name on file                           Address on file
30282235          Name on file                           Address on file
30194037          Warehouse on Wheels and Subsidiaries   740 Centre View Blvd, 6th Floor                                                                        Crestview Hills          KY           41017
30274267          Name on file                           Address on file
30166555          Warm Productions Inc 104629            Michael Chumbley                  5529 186th PL SW                                                     Lynnwood                 WA           98037
29947811          WARM PRODUCTS INC                      5529 186TH PL SW                                                                                       LYNNWOOD                 WA           98037
29947812          WARM PRODUCTS INC                      5529 186TH PLACE SW                                                                                    LYNNWOOD                 WA           98037
30164043          Warm Products Inc (Ecom)               Michael Chumbley                  5529 186th Pl Sw                                                     Lynnwood                 WA           98037
30294958          Name on file                           Address on file




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30296344          Name on file                               Address on file
30261402          Name on file                               Address on file
30260613          Name on file                               Address on file
30289570          Name on file                               Address on file
30286904          Name on file                               Address on file
30295824          Name on file                               Address on file
30222119          Name on file                               Address on file
30277725          Name on file                               Address on file
30223347          Name on file                               Address on file
30280024          Name on file                               Address on file
29954315          WARWICK REALTY LLC                         WARWICK REALTY‐ADRIAN LLC            PO BOX 851377                                                               MINNEAPOLIS                 MN           55485‐1377
30330941          Warwick Realty, LLC                        Attn: Mark S. Rosen                  4100 Pier North Blvd.          Suite C                                      Flint                       MI           48504
30282339          Name on file                               Address on file
30282323          Name on file                               Address on file
30259264          Name on file                               Address on file
29954320          WASHINGTON CITY, UT                        111 NORTH 100 EAST                                                                                               WASHINGTON                  UT           84780
                                                             1000 MAINE AVENUE SOUTH WEST, 6TH
29947833          WASHINGTON GAS/37747                       FLOOR                                                                                                            WASHINGTON                  DC           20024
                  WASHINGTON SUBURBAN SANITARY
29953384          COMMISSION                                 14501 SWEITZER LANE                                                                                              LAUREL                      MD           20707‐5901
30274752          Name on file                               Address on file
30290287          Name on file                               Address on file
30261781          Name on file                               Address on file
30260759          Name on file                               Address on file
30331526          Waste Management National Services, Inc.   Attn: Jacquolyn Mills                800 Capitol Street             Ste. 3000                                    Houston                     TX           77002
30200747          WASTE MGMT NATIONAL SERVICES INC           PO BOX 930580                                                                                                    ATLANTA                     GA           31193
29947838          WASTE RECYCLING INC                        P.O. BOX 508                                                                                                     MONTGOMERY                  AL           36101

29947839          WATER & SEWER COMMISSION ‐ FREEPORT, IL    314 WEST STEPHENSON ST                                                                                           FREEPORT                    IL           61032

29947843          WATERLOO CROSSROADS PROPERTY LLC           CENTRAL PROP MGMT, ATT; CROSSROADS PO BOX 447                                                                    WAUKEE                      IA           50263
30331563          Waterloo Crossroads Property, LLC          P.O. Box 447                                                                                                     Waukee                      IA           50263
30165042          Waterloo Crossroads Property, LLC          P.O. Box 447                                                                                                     Waukee                      IA           50263
30200763          WATERPRO INC.                              ?9977 JOHN CLAYTON MEMORIAL HWY                                                                                  GLOUCESTER                  VA           23061
30224250          Name on file                               Address on file
30262961          Name on file                               Address on file
30259841          Name on file                               Address on file
30257858          Name on file                               Address on file
30291883          Name on file                               Address on file
30257733          Name on file                               Address on file
30259381          Name on file                               Address on file
30258899          Name on file                               Address on file
30273934          Name on file                               Address on file
30255812          Name on file                               Address on file
30289360          Name on file                               Address on file
30260223          Name on file                               Address on file
30285033          Name on file                               Address on file
30274621          Name on file                               Address on file
30285623          Name on file                               Address on file
30293164          Name on file                               Address on file
30226442          Name on file                               Address on file
30331871          Name on file                               Address on file
30282786          Name on file                               Address on file
29947852          WAYNE A BELLEAU                            Address on file
29947853          WAYNE A BELLEAU                            Address on file
29947859          WAYNE HWANG                                Address on file
29947868          WD JOANN LLC                               ATTN: DAVID BURNETT                204 N. ROBINSON, STE. 700                                                     OKLAHOMA CITY               OK           73102
30295251          We Energies                                Attn Bankruptcy                    333 W Everett St                                                              Milwaukee                   WI           53203
29947870          WE ENERGIES/WISCONSIN ELECTRIC/GAS         231 W. MICHIGAN ST                                                                                               MILWAUKEE                   WI           53233
30276680          Name on file                               Address on file
                                                                                                Landmark East 100 How Ming St.
30166787          Wealth Concept Ltd                         Suite 2701 AXA Tower               Kwu Tong                                                                      Kowloon, Hong Kong                       00000           Hong Kong
29947873          WEALTH CONCEPT LTD                         UNIT 10, 29F, TOWER A, SOUTHMARK   11 YIP HING ST                   WONG CHUK HANG                               ABERDEEN                                                 HONG KONG
30291894          Name on file                               Address on file




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30263295          Name on file                                 Address on file
30253895          Name on file                                 Address on file
30251293          Name on file                                 Address on file
30262816          Name on file                                 Address on file
30275155          Name on file                                 Address on file
30262659          Name on file                                 Address on file
30295300          Name on file                                 Address on file
30263005          Name on file                                 Address on file
30200733          WEB ACTIVE DIRECTORY, LLC                    2770 MAIN ST., STE. #185                                                                                       FRISCO              TX           75033
30285009          Name on file                                 Address on file
30285704          Name on file                                 Address on file
30222778          Name on file                                 Address on file
30261506          Name on file                                 Address on file
30296761          Name on file                                 Address on file
30273530          Name on file                                 Address on file
30277597          Name on file                                 Address on file
30227488          Name on file                                 Address on file
30274442          Name on file                                 Address on file
30277846          Name on file                                 Address on file
30257521          Name on file                                 Address on file
30275028          Name on file                                 Address on file
30276961          Name on file                                 Address on file
30275263          Name on file                                 Address on file
30291012          Name on file                                 Address on file
29964437          WEGMANS FOOD MARKETS                         C/O REAL ESTATE ACCT                     PO BOX 24470                                                          ROCHESTER           NY           14624

30259296          Wegmans Food Markets, Inc.                   c/o Michelle Daubert, Rsq., Senior Counsel 1500 Brooks Avenue       P.O. Box 30844                             Rochester           NY           14603

30291485          Wegmans Food Markets, Inc.                   c/o Michelle Daubert, Esq., Senior Counsel 1500 Brooks Avenue       P.O. Box 30844                             Rochester           NY           14603
30275269          Name on file                                 Address on file
30274195          Name on file                                 Address on file
30258589          Name on file                                 Address on file
30259614          Name on file                                 Address on file
30259817          Name on file                                 Address on file
30286668          Name on file                                 Address on file
30258541          Name on file                                 Address on file
30274595          Name on file                                 Address on file
30275354          Name on file                                 Address on file
30273866          Name on file                                 Address on file
30274577          Name on file                                 Address on file
30274583          Name on file                                 Address on file
30287056          Name on file                                 Address on file
30282808          Name on file                                 Address on file
30263068          Name on file                                 Address on file
30263457          Name on file                                 Address on file
30274836          Name on file                                 Address on file
30278635          Name on file                                 Address on file
30273658          Name on file                                 Address on file
30285415          Name on file                                 Address on file
30286908          Name on file                                 Address on file
30262077          Name on file                                 Address on file
30262905          Name on file                                 Address on file
30262306          Name on file                                 Address on file
30279569          Name on file                                 Address on file
30259509          Name on file                                 Address on file
30256770          Name on file                                 Address on file
29947886          WELLMAN FAMILY LIMITED PARTNERSHIP           DBA WELLMAN REALTY TRUST                   40 WYMAN DRIVE                                                      SUDBURY             MA           01776
30284527          Name on file                                 Address on file
30225036          Wells Fargo Bank, N.A.                       800 Walnut Street                          MAC F0006‐052                                                       Des Moines          IA           50309
30225582          Wells Fargo Vendor Financial Services, LLC   800 Walnut Street MAC F0006‐052                                                                                Des Moines          IA           50309
30294593          Name on file                                 Address on file
30262260          Name on file                                 Address on file
30279700          Name on file                                 Address on file
30281261          Name on file                                 Address on file




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30263572          Name on file                           Address on file
30258273          Name on file                           Address on file
30223010          Name on file                           Address on file
30257040          Name on file                           Address on file
30285686          Name on file                           Address on file
30261592          Name on file                           Address on file
30223670          Name on file                           Address on file
30276025          Name on file                           Address on file
29947893          WENDY ARRIAGA                          Address on file
29947936          WENDY RATH                             C/O BURSOR & FISHER                ATTN: YITZ KOPEL             1330 AVENUE OF THE AMERICAS                            NEW YORK              NY           10019
30200706          WENDY VASQUEZ                          C/O KING & SIEGEL LLP              724 S. SPRING STREET         SUITE 201                                              LOS ANGELES           CA           90014
30279062          Name on file                           Address on file
30293143          Name on file                           Address on file
30258462          Name on file                           Address on file
30164059          Wenzhou Jinghuan Craft Co. Ltd.        Mazzola Lindstrom LLP              Attn: Katie O'Leary          1350 Avenue of the Americas    2nd Floor               New York              NY           10019
30281151          Name on file                           Address on file
30254018          Name on file                           Address on file
30262883          Name on file                           Address on file
30274809          Name on file                           Address on file
30283551          Name on file                           Address on file
30262981          Name on file                           Address on file
30290131          Name on file                           Address on file
30257465          Name on file                           Address on file
29947971          WEST BROADWAY DISTRIBUTION SERVICES    5520 PGA BOULEVARD                 SUITE 212                                                                           PALM BEACH GARDENS    FL           33418
29947971          WEST BROADWAY DISTRIBUTION SERVICES    5520 PGA BOULEVARD                 SUITE 212                                                                           PALM BEACH GARDENS    FL           33418
29947975          WEST MICHIGAN TRANSPORT LLC            PO BOX 18                                                                                                              ZEELAND               MI           49464
29947979          WEST PENN POWER                        75 SOUTH MAIN STREET                                                                                                   AKRON                 OH           44308
30260407          West Penn Power                        5001 NASA Blvd                                                                                                         Fairmont              WV           26554
30256602          West Penn Power                        5001 NASA Blvd                                                                                                         Fairmont              WV           26554
29947983          WEST VIEW WATER AUTHORITY              210 PERRY HIGHWAY                                                                                                      PITTSBURGH            PA           15229

29964476          WEST VIRGINIA AMERICAN WATER COMPANY   1600 PENNSYLVANIA AVE.                                                                                                 CHARLESTON            WV           25302

29964476          WEST VIRGINIA AMERICAN WATER COMPANY   1600 PENNSYLVANIA AVE.                                                                                                 CHARLESTON            WV           25302
29964481          WEST WILSON UTILITY DISTRICT           10960 LEBANON RD.                                                                                                      MT. JULIET            TN           37122
30286196          Name on file                           Address on file
30273266          Name on file                           Address on file
30290089          Name on file                           Address on file
30258219          Name on file                           Address on file
30287326          Name on file                           Address on file
30281264          Name on file                           Address on file
29964486          WEST‐CAMP PRESS, INC.                  39 COLLEGEVIEW RD                                                                                                      WESTERVILLE           OH           43081
30292508          Name on file                           Address on file
30258715          Name on file                           Address on file
30259409          Name on file                           Address on file
30277603          Name on file                           Address on file
29964488          WESTFORD VALLEY MKETPLACE INC          PO BOX 412776                                                                                                          BOSTON                MA           02241‐2776
29964489          WESTFORD WATER DEPT                    60 FORGE VILLAGE RD                                                                                                    WESTFORD              MA           01886‐2811
29964490          WESTGATE MALL REALTY GROUP LLC         C/O LEXINGTON REALTY LLC STE 206   911 EAST COUNTY LINE RD                                                             LAKEWOOD              NJ           08701
30200764          WESTGATE WOODLAND LLC                  C/O ETHAN CONRAD PROPERTIES        1300 NATIONAL DR. STE. 100                                                          SACRAMENTO            CA           95834
30227032          Name on file                           Address on file
30227028          Name on file                           Address on file
29964496          WESTMINSTER GRANITE MAIN LLC           C/O ROSENTHAL PROPERTIES LLC       1945 OLD GALLOWS RD., #300                                                          VIENNA                VA           22182
30222418          Name on file                           Address on file
30262001          Name on file                           Address on file
30222418          Name on file                           Address on file
30287819          Name on file                           Address on file
30262494          Name on file                           Address on file
30296879          Name on file                           Address on file
30274787          Name on file                           Address on file
30273644          Name on file                           Address on file
30287343          Name on file                           Address on file
30224264          Name on file                           Address on file
30258847          Name on file                           Address on file




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  ADDRESS ID                           NAME                    ADDRESS 1              ADDRESS 2                  ADDRESS 3          ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30285563          Name on file                      Address on file
30223851          Name on file                      Address on file
30259630          Name on file                      Address on file
30222460          Name on file                      Address on file
29950278          WHEATON PLAZA REGIONAL S/C LLC    DBA WESTFIELD WHEATON   P.O. BOX 55275                                                      LOS ANGELES          CA           90074
30263102          Name on file                      Address on file
30286275          Name on file                      Address on file
30259463          Name on file                      Address on file
30260627          Name on file                      Address on file
30259819          Name on file                      Address on file
30292867          Name on file                      Address on file
30259399          Name on file                      Address on file
30286220          Name on file                      Address on file
30259332          Name on file                      Address on file
30275339          Name on file                      Address on file
30263672          Name on file                      Address on file
30257959          Name on file                      Address on file
30224360          Name on file                      Address on file
30263327          Name on file                      Address on file
29948013          WHITE LAKE TOWNSHIP WATER DEPT.   7525 HIGHLAND ROAD                                                                          WHITE LAKE           MI           48383
30259831          Name on file                      Address on file
30286576          Name on file                      Address on file
30221908          Name on file                      Address on file
30275347          Name on file                      Address on file
30260721          Name on file                      Address on file
30260441          Name on file                      Address on file
30225303          Name on file                      Address on file
30225303          Name on file                      Address on file
30257052          Name on file                      Address on file
30257006          Name on file                      Address on file
30279052          Name on file                      Address on file
30282982          Name on file                      Address on file
30282984          Name on file                      Address on file
30273714          Name on file                      Address on file
30293731          Name on file                      Address on file
30280613          Name on file                      Address on file
30261304          Name on file                      Address on file
30224875          Name on file                      Address on file
30228827          Name on file                      Address on file
30395729          Name on file                      Address on file
30258025          Name on file                      Address on file
30263495          Name on file                      Address on file
30259855          Name on file                      Address on file
30260968          Name on file                      Address on file
30283111          Name on file                      Address on file
30260127          Name on file                      Address on file
30222883          Name on file                      Address on file
30285391          Name on file                      Address on file
30257336          Name on file                      Address on file
30224668          Name on file                      Address on file
30262268          Name on file                      Address on file
30276264          Name on file                      Address on file
30287243          Name on file                      Address on file
30259328          Name on file                      Address on file
30258297          Name on file                      Address on file
30262508          Name on file                      Address on file
30295590          Name on file                      Address on file
30258688          Name on file                      Address on file
30284414          Name on file                      Address on file
30262735          Name on file                      Address on file
30282487          Name on file                      Address on file
30274607          Name on file                      Address on file
30282451          Name on file                      Address on file
30288606          Name on file                      Address on file




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30263023          Name on file                   Address on file
30274976          Name on file                   Address on file
30263142          Name on file                   Address on file
30263300          Name on file                   Address on file
30277799          Name on file                   Address on file
30262709          Name on file                   Address on file
30286849          Name on file                   Address on file
30257816          Name on file                   Address on file
30224883          Name on file                   Address on file
30258837          Name on file                   Address on file
30223349          Name on file                   Address on file
30226862          Name on file                   Address on file
30260049          Name on file                   Address on file
30332958          Name on file                   Address on file
30260477          Name on file                   Address on file
30294986          Name on file                   Address on file
30281684          Name on file                   Address on file
30261708          Name on file                   Address on file
30276161          Name on file                   Address on file
30279601          Name on file                   Address on file
30293101          Name on file                   Address on file
30274281          Name on file                   Address on file
30261690          Name on file                   Address on file
30231606          Name on file                   Address on file
30258563          Name on file                   Address on file
29964532          WILLIAM HANSEN                 Address on file
29964536          WILLIAM HERRON                 Address on file
29948139          WILLIAMS SONOMA, INC.          C/O WARNER NORCROSS + JUDD LLP   ATTN: BRIAN D. WASSOM         12900 HALL ROAD                SUITE 200               STERLING HEIGHTS          MI           48313‐1150
30295011          Name on file                   Address on file
30262378          Name on file                   Address on file
30257873          Name on file                   Address on file
30331772          Name on file                   Address on file
30257107          Name on file                   Address on file
30200602          WILLIAMS, CORA                 Address on file
30331847          Name on file                   Address on file
30263306          Name on file                   Address on file
30257953          Name on file                   Address on file
30261451          Name on file                   Address on file
30291109          Name on file                   Address on file
30252641          Name on file                   Address on file
30285165          Name on file                   Address on file
30274346          Name on file                   Address on file
30291027          Name on file                   Address on file
30263651          Name on file                   Address on file
30332902          Name on file                   Address on file
30286166          Name on file                   Address on file
30338045          Name on file                   Address on file
30256487          Name on file                   Address on file
30257867          Name on file                   Address on file
30262941          Name on file                   Address on file
30288090          Name on file                   Address on file
30224004          Name on file                   Address on file
30331198          Name on file                   Address on file
30280457          Name on file                   Address on file
30279241          Name on file                   Address on file
30257796          Name on file                   Address on file
30286863          Name on file                   Address on file
30262737          Name on file                   Address on file
30280153          Name on file                   Address on file
30259351          Name on file                   Address on file
30262775          Name on file                   Address on file
29948142          WILLIAMSBURG DEVELOPERS LLC    C/O DEVELOPERS REALTY            1224 MILL ST., BLDG D, #103                                                          EAST BERLIN               CT           06023
30295077          Williamsburg Developers, LLC   Attn: Gita E. Carter, Esquire    1224 Mill Street              Building D                     Suite 103               East Berlin               CT           06023
30260828          Name on file                   Address on file




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30281077          Name on file                                  Address on file
30293651          Name on file                                  Address on file
30256828          Name on file                                  Address on file
30260109          Name on file                                  Address on file
30279117          Name on file                                  Address on file
30285696          Name on file                                  Address on file
30257098          Name on file                                  Address on file
30261971          Name on file                                  Address on file
30277637          Name on file                                  Address on file
30286528          Willmar Municipal Utilities                   PO Box 937                                                                                                                      Willmar               MN           56201
29948158          WILLMAR MUNICIPAL UTILITIES                   700 LITCHFIELD AVENUE SW                                                                                                        WILLMAR               MN           56201
30331369          Willow Creek Center Outlot II, LLC            Wilson, Egge & Loya, P.C.                   222 NW Sunrise Drive                                                                Waukee                IA           50263
30331000          Name on file                                  Address on file
30261945          Name on file                                  Address on file
29964547          Name on file                                  Address on file
29964547          Name on file                                  Address on file
29964547          Name on file                                  Address on file

30281886          Wilson Elser Moskowitz Edelman & Dicker LLP   1133 Westchester Ave                                                                                                            White Plains          NY           10604
30287471          Name on file                                  Address on file
30275189          Name on file                                  Address on file
30222776          Name on file                                  Address on file
30257595          Name on file                                  Address on file
30287108          Name on file                                  Address on file
30262943          Name on file                                  Address on file
30262933          Name on file                                  Address on file
30260699          Name on file                                  Address on file
30280563          Name on file                                  Address on file
30262769          Name on file                                  Address on file
30275071          Name on file                                  Address on file
30294242          Name on file                                  Address on file
30287082          Name on file                                  Address on file
30287063          Name on file                                  Address on file
30168077          Wilson, Michael                               Address on file
30285309          Name on file                                  Address on file
30280022          Name on file                                  Address on file
30258698          Name on file                                  Address on file
30258971          Name on file                                  Address on file
30232474          Name on file                                  Address on file
29948184          WILTON INDUSTRIES                             535 E DIEHL ROAD STE 300                                                                                                        NAPERVILLE            IL           60563

30232667          Wilton Industries Inc.                        Attn: Thomas R. Fawkes / Tucker Ellis LLP   233 S. Wacker Dr.           Suite 6950                                              Chicago               IL           60606
30257617          Wilton Industries, Inc.                       Tucker Ellis LLP                            Attn: Thomas R. Fawkes      233 S. Wacker Dr.              Suite 6950               Chicago               IL           60606
30285120          Name on file                                  Address on file
30261209          Name on file                                  Address on file
29948185          WIN HANG ENTERPRISE LIMITED                   288 DES VOEUX ROAD CENTRAL                  UNIT A, 8/F ETON BUILDING                                                           HONG KONG                          999077          HONG KONG
30165134          Win Hang Enterprise Ltd.                      SANDY LUI                                   FUQIAO STREET NO. 537       GAOSHAN INDUSTRIAL ZONE                                 HONG KONG                          362000          HONG KONG
30257194          Name on file                                  Address on file
30260527          Name on file                                  Address on file
30262099          Name on file                                  Address on file
30260405          Name on file                                  Address on file
30257539          Name on file                                  Address on file
30257648          Name on file                                  Address on file
30257247          Name on file                                  Address on file
29948202          WINKAL HOLDINGS LLC                           10 RYE RIDGE PLAZA STE 200                                                                                                      RYE BROOK             NY           10573
30259371          WINNEFOX LIBRARY SYSTEM                       106 WASHINGTON AVE                                                                                                              OSHKOSH               WI           54901
30260177          Name on file                                  Address on file
30261929          Name on file                                  Address on file
29950388          WINTER HAVEN WATER                            451 THIRD STREET NW                                                                                                             WINTER HAVEN          FL           33881
30291678          Name on file                                  Address on file
30263465          Name on file                                  Address on file
30284605          Name on file                                  Address on file
30291258          Name on file                                  Address on file
30228825          Name on file                                  Address on file




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  ADDRESS ID                           NAME                              ADDRESS 1                               ADDRESS 2                     ADDRESS 3                       ADDRESS 4                  CITY        STATE     POSTAL CODE       COUNTRY
30288678          Name on file                            Address on file
30260069          Name on file                            Address on file
30261298          Name on file                            Address on file
30260661          Name on file                            Address on file
30262681          Name on file                            Address on file
30162028          WISCONSIN PUBLIC SERVICE                PO BOX 19003                                                                                                                     GREEN BAY             WI           54307‐9003
29948216          WISCONSIN PUBLIC SERVICE                2830 S ASHLAND AVE                                                                                                               GREEN BAY             WI           54307
30160122          WISCONSIN PUBLIC SERVICE                PO BOX 19003                                                                                                                     GREEN BAY             WI           54307‐9003
30296404          Name on file                            Address on file
30257279          Name on file                            Address on file
30285802          Name on file                            Address on file
30258769          Name on file                            Address on file
30258053          Name on file                            Address on file
30286140          Name on file                            Address on file
30223835          Name on file                            Address on file
30294938          Name on file                            Address on file

29948223          WITHLACOOCHEE RIVER ELECTRIC COOPERATIVE 14651 21ST ST                                                                                                                   DADE CITY             FL           33523
30258067          Name on file                             Address on file
30200545          Witte Plaza Ltd                          1500 McGowen, Suite 200                                                                                                         Houston               TX           77004
30259646          Name on file                             Address on file
30291848          Wittman Wenatchee LLC                    Kristine Wittman                          13502 SW 248th St.                                                                    Vashon                WA           98070
30294914          Name on file                             Address on file
29948228          WLPX HESPERIA LLC                        1156 NORTH MOUNTAIN AVE                                                                                                         UPLAND                CA           91786

30331459          WLPX Hesperia LLC                       c/o Buchalter, A Professional Corportion   Attn: Brian T. Harvey         1000 Wilshire Boulevard        Suite 1500               Los Angeles           CA           90017
29948230          WM WRIGHT CO                            2015 W FRONT STREET                                                                                                              BERWICK               PA           18603
29948231          WMS PROPERTIES LLC                      C/O RIVERCREST REALTY ASSOC LLC            8816 SIX FORKS ROAD STE 201                                                           RALEIGH               NC           27615
                  WMWA ‐ WILLIAMSPORT MUNICIPAL WATER
29948232          AUTH                                    253 WEST FOURTH STREET                                                                                                           WILLIAMSPORT          PA           17701
30222095          Name on file                            Address on file
30222330          Name on file                            Address on file
30281003          Name on file                            Address on file
30280300          Name on file                            Address on file
29948235          WOJCIK BUILDERS INC                     7579 FIRST PLACE                                                                                                                 BEDFORD               OH           44146
30257999          Name on file                            Address on file
30287618          Name on file                            Address on file
30223959          Name on file                            Address on file
30290124          Name on file                            Address on file
30291542          Name on file                            Address on file
30258291          Name on file                            Address on file
30296392          Name on file                            Address on file
30261416          Name on file                            Address on file
30331457          Name on file                            Address on file
30160257          Wolfsdorf Rosenthal LLP                 1416 2nd St                                                                                                                      Santa Monica          CA           90401
29948238          WOLFSDORF ROSENTHAL LLP                 1416 2ND STREET                                                                                                                  SANTA MONICA          CA           90401
30258668          Name on file                            Address on file
30222070          Name on file                            Address on file
30288206          Name on file                            Address on file
30222070          Name on file                            Address on file
30296372          Name on file                            Address on file
30258575          Name on file                            Address on file
30260824          Name on file                            Address on file
29948239          WOLTER CORP DBA IMPRESSART              40‐H CORBIN AVE                                                                                                                  BAY SHORE             NY           11706
30192306          Wolter Corp. DBA ImpressArt             100 Executive Dr.                          Ste. D                                                                                Edgewood              NY           11717
30221988          Name on file                            Address on file
30285625          Name on file                            Address on file
30258283          Name on file                            Address on file
30260338          Name on file                            Address on file
30287363          Name on file                            Address on file
30222476          Name on file                            Address on file

30163991          Woo Jin Corp                            2 FL, 13‐17, Pyeongni‐Ro, 35Gil, Seo‐Gu                                                                                          Daegu, KR                          41845           Korea




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29948241          WOO JIN CORP                         2ND FLOOR, 13‐17 PYEONGNI‐RO, 35GIL                                                                             SEO‐GU, DAEGU                        41845           KOREA, REPUBLIC OF
29948242          WOOD INVESTMENT PROPERTY LLC         DYNAMERICAN                           1011 LAKE ROAD                                                            MEDINA                  OH           44256
30261101          Name on file                         Address on file
30259135          Name on file                         Address on file
30276813          Name on file                         Address on file
30287433          Name on file                         Address on file
30261734          Name on file                         Address on file
30223399          Name on file                         Address on file
30261282          Name on file                         Address on file
30286714          Name on file                         Address on file
30331940          Name on file                         Address on file
30260862          Name on file                         Address on file
30281592          Name on file                         Address on file
30292168          Name on file                         Address on file

29948244          WOODA CORP LTD                       74 SEJONG‐DAERO                       17FL SAMJUNG BUILDING                                                     SEOUL                                4526            KOREA, REPUBLIC OF
30283375          Wooda Corp. LTD                      17th Floor Samjung Building           74 Saejong‐Daero Jung‐Ku                                                  Seoul                                04526           Korea
30283379          Wooda Corp. Ltd                      17th Floor Samjung Bldg.              74 Saejong‐Daero Jung‐Ku                                                  Seoul                                04526           Korea
30276702          Name on file                         Address on file
30280793          Name on file                         Address on file
29948247          WOODEN PROPERTIES OF ROCHESTER LLC   3399 S SERVICE DR                                                                                               RED WING                MN           55066
30294936          Name on file                         Address on file
30200792          WOODLAND                             PO BOX 98, 101 EAST VALLEY DRIVE                                                                                LINN CREEK              MO           65052
29950067          WOODMONT CRITERION SLIDELL GP LLC    THE WOODMONT COMPANY                  2100 W. 7TH STREET                                                        FORT WORTH              TX           76107
29950069          WOODPARK SC LLC                      C/O UNILEV MANAGEMENT                 2211 FRY ROAD                                                             KATY                    TX           77449
30292535          Name on file                         Address on file
30224315          Name on file                         Address on file
30293005          Name on file                         Address on file
30295633          Name on file                         Address on file
30292800          Name on file                         Address on file
30331613          Name on file                         Address on file
30275364          Name on file                         Address on file
30260101          Name on file                         Address on file
30225345          Name on file                         Address on file
30297699          Name on file                         Address on file
29950072          WOODSIDE WATER DISTRICT              TOWN OF CLAY                          4483 ROUTE 31                                                             CLAY                    NY           13041
29950073          WOODSON CARY WHITEHEAD               83 WYCHEWOOD DR                                                                                                 MEMPHIS                 TN           38117
30274896          Name on file                         Address on file
30287371          Name on file                         Address on file
30262228          Name on file                         Address on file
30259479          Name on file                         Address on file
30283537          Name on file                         Address on file
30277928          Name on file                         Address on file
30276651          Name on file                         Address on file
30277424          Name on file                         Address on file
30263441          Name on file                         Address on file
30286192          Name on file                         Address on file
30296292          Name on file                         Address on file
29948254          WORKFRONT INC                        345 PARK AVENUE                                                                                                 SAN JOSE                CA           95110
30278462          Workfront, Inc                       c/o: Danny Wheeler                    3900 Adobe Way                                                            Lehi                    UT           84043
30283585          Name on file                         Address on file
30263279          Name on file                         Address on file
30260983          Name on file                         Address on file
30286182          Name on file                         Address on file
30259951          Name on file                         Address on file
30200714          WP BUCKLAND REIT LLC                 PLAZA AT BUCKLAND HILLS LLC           PO BOX 645349                                                             CINCINNATI              OH           45264‐5349

29948258          WP CAREY INC                         WPC HOLDCO LLC                        ONE MANHATTAN W., 395 9TH AVE                                             NEW YORK                NY           10001
30200836          WP WATERFORD REIT LLC                WATERFORD LAKES TOWN CENTER LLC       620 LIBERTY AVENUE                                                        PITTSBURGH              PA           15222
29948263          WRD HANOVER LP                       C/O POMEGRANATE RE                    33 ROCK HILL RD #350                                                      BALA CYNWYD             PA           19004
30258171          Name on file                         Address on file
30200582          WRH PHYSICIANS INC                   OCCUPATIONAL MEDICINE                 PO BOX 67069                                                              CUYAHOGA FALLS          OH           44222
30223603          Name on file                         Address on file




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                                                                                                                                        Served via first class mail

  ADDRESS ID                           NAME                                     ADDRESS 1                           ADDRESS 2                      ADDRESS 3                          ADDRESS 4                       CITY        STATE     POSTAL CODE           COUNTRY
29948273          WRIGHT FAMILY ENTERPRISES LLC                   1775 INDIAN VALLEY RD                                                                                                           NOVATO                     CA           94947
30261330          Name on file                                    Address on file
30284999          Name on file                                    Address on file
30286170          Name on file                                    Address on file
30261612          Name on file                                    Address on file
30285517          Name on file                                    Address on file
30261274          Name on file                                    Address on file
30279922          Name on file                                    Address on file
30274844          Name on file                                    Address on file
30257573          Name on file                                    Address on file
30276537          Name on file                                    Address on file
30278506          Name on file                                    Address on file
30274609          Name on file                                    Address on file
30277858          Name on file                                    Address on file
29948279          WUJIANG FANFEI IM/EX CO LTD                     NO 388 NAN SAN HUAN ROAD              SHENGZ WUJIANG                                                                            SUZHOU                                  215228          CHINA
30192667          Wujiang Fanfei Im/ex Co., Ltd                   No. 388 Nan san Huan Rd               Shengze Wujiang                                                                           Suzhou Jiangsu                          215228          China
                                                                                                        500 RENMIN RD INTERNATIONAL
29948280          WUJIANG FOREIGN TRADE CORP                      SILK EX/IM CO LTD                     BLDG                                                                                      WUJIANG CITY                            215000          CHINA
                  Wujiang Foreign Trade Corp.(Group) Silk Ex/Im
30164881          Co.(Ltd.)                                       Andy Xu                               Rm 303                         International Bldg No. 2           500 Renmin Road         Wujiang City, Jiangsu                   215200          China
                  WUJIANG FOREIGN TRADE CORP.(GROUP) SILK         ROOM 2303 INTERNATIONAL BUILDING
30183470          EX/IM CO.,LTD.                                  NO.500 REN MIN ROAD                                                                                                             WUJIANG, JIANGSU                        215200          CHINA
                  WUJIANG FOREIGN TRADE CORP.(GROUP)SILK          ROOM 2303 INTERNATIONAL BUILDING
30183485          EX/IM CO.,LTD.                                  NO.500 REN MIN ROAD                                                                                                             WUJIANG, JIANGSU                        215200          CHINA
                  WUJIANG FOREIGN TRADE CORP.(GROUP)SILK          ROOM 2303 INTERNATIONAL BUILDING
30183487          EX/IM CO.,LTD.                                  NO.500 REN MIN ROAD                                                                                                             WUJIANG, JIANGSU                        215200          CHINA
                  WUJIANG FOREIGN TRADE CORP.(GROUP)SILK          ROOM 2303 INTERNATIONAL BUILDING
30183472          EX/IM CO.,LTD.                                  NO.500 REN MIN ROAD                                                                                                             WUJIANG, JIANGSU                        215200          CHINA
                  WUJIANG FOREIGN TRADE CORP.(GROUP)SILK          ROOM 2303 INTERNATIONAL BUILDING
30183489          EX/IM CO.,LTD.                                  NO.500 REN MIN ROAD                                                                                                             WUJIANG, JIANGSU                        215200          CHINA
                  WUJIANG FOREIGN TRADE CORP.(GROUP)SILK          ROOM 2303 INTERNATIONAL BUILDING
30183483          EX/IM CO.,LTD.                                  NO.500 REN MIN ROAD                                                                                                             WUJIANG, JIANGSU                        215200          CHINA
                  WUJIANG FOREIGN TRADE CORP.(GROUP)SILK          ROOM 2303 INTERNATIONAL BUILDING
30183491          EX/IM CO.,LTD.                                  NO.500 REN MIN ROAD                                                                                                             WUJIANG, JIANGSU                        215200          CHINA
30223351          Name on file                                    Address on file
30284410          Name on file                                    Address on file
30259596          Name on file                                    Address on file
30164106          Wunderkind Corporation                          One World Trade Center                Floor 74                                                                                  New York                   NY           10007
30260268          Name on file                                    Address on file
30258559          Name on file                                    Address on file
30260297          Name on file                                    Address on file
30261404          Name on file                                    Address on file
30260033          Name on file                                    Address on file
30261696          Name on file                                    Address on file
30258593          Name on file                                    Address on file
29948304          XCCOMMERCE INC                                  1155 RENE‐LEVESQUE W., #2700                                                                                                    MONTREAL                   QC           H3B 2K8         CANADA
29948305          XCEL ENERGY/660553                              414 NICOLLET MALL                                                                                                               MINNEAPOLIS                MN           55401‐1993
29948311          XIAMEN TEXEM TRADE CO., LTD                     JIMEI NORTH ROAD, PHASE III           UNIT F12‐1601, NO. 1116        FUJIAN                                                     XIAMEN                                  361022          CHINA
30164821          Xiamen Texem Trade Co., Ltd.                    Mazzola Lindstrom LLP                 Attn: Katie O'Leary            1350 Avenue of the Americas        2nd Floor               New York                   NY           10019
30279203          Name on file                                    Address on file
30273914          Name on file                                    Address on file
30277844          Name on file                                    Address on file
29964585          XPO LOGISTICS FREIGHT INC                       29559 NETWORK PLACE                                                                                                             CHICAGO                    IL           60673

30291682          XPO Logistics Freight, Inc.                     Maynard Nexsen PC                     c/o Julio E. Mendoza, Jr.      1230 Main Street, Suite 700 (29201) P.O. Box 2426          Columbia                   SC           29202
30296135          XTRA Lease LLC                                  c/o Bryan Cave Leighton Paisner LLP   Attn: David Unseth             211 N. Broadway                     Suite 3600             St. Louis                  MO           63102
30285131          Name on file                                    Address on file
29948325          XZAVIER LOPEZ                                   Address on file
30261232          Name on file                                    Address on file
30262579          Name on file                                    Address on file
30278006          Name on file                                    Address on file
30297710          Yankee Gas Company dba Eversource               Eversource Legal                      Attn: Honor Heath              107 Selden Ave                                             Berlin                     CT           06037
30293798          Name on file                                    Address on file
30291659          Name on file                                    Address on file




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  ADDRESS ID                           NAME                    ADDRESS 1                           ADDRESS 2                       ADDRESS 3          ADDRESS 4                  CITY             STATE     POSTAL CODE       COUNTRY
30278777          Name on file                     Address on file
30276245          Name on file                     Address on file
30287508          Name on file                     Address on file
30287496          Name on file                     Address on file
30331399          Name on file                     Address on file
30280805          Name on file                     Address on file
30331996          Name on file                     Address on file
30262798          Name on file                     Address on file
30296123          Name on file                     Address on file
30259513          Name on file                     Address on file
30277594          Name on file                     Address on file
30274449          Name on file                     Address on file
30262408          Name on file                     Address on file
30285305          Name on file                     Address on file
30286277          Name on file                     Address on file
30331994          Name on file                     Address on file
30251255          Name on file                     Address on file
30262530          Name on file                     Address on file
29948395          YENI GARCIA                      Address on file
30290060          Name on file                     Address on file
30224849          Name on file                     Address on file
29964603          YESENIA NEWBERN                  Address on file
30221960          Name on file                     Address on file
30222659          Name on file                     Address on file
30277766          Name on file                     Address on file
30257690          Name on file                     Address on file
30259397          Name on file                     Address on file
30256738          Name on file                     Address on file
30286101          Name on file                     Address on file
30331439          Name on file                     Address on file
30261552          Name on file                     Address on file
30280656          Name on file                     Address on file
29948430          YOO JIN LODGING INC              PONY VILLAGE MALL                     1611 VIRGINIA AVENUE BOX 503                                             NORTH BEND                 OR           97459
29951851          YORK VALUE CENTER LMTD PNTSHP    C/O BLACK OAK MGMNT INC               1635 MARKET STREET             16TH FLOOR                                PHILADELPHIA               PA           19103
29951853          YORK WALLCOVERINGS               750 LINDEN AVENUE                                                                                              YORK                       PA           17404
30291623          YORK WALLCOVERINGS INC           C/O MICHELE MALLICOTE                 750 LINDEN AVE                                                           YORK                       PA           17404
30282331          Name on file                     Address on file
30280581          Name on file                     Address on file
29951856          YOSEMITE PARK SHOP CNT 05A LLC   C/O ACF PROPERTY MANAGEMENT INC       12411 VENTURA BLVD                                                       STUDIO CITY                CA           91604
30282455          Name on file                     Address on file
30289617          Name on file                     Address on file
30279924          Name on file                     Address on file
30273584          Name on file                     Address on file
30222699          Name on file                     Address on file
30281773          Name on file                     Address on file
30224006          Name on file                     Address on file
30224006          Name on file                     Address on file
30278979          Name on file                     Address on file
30276481          Name on file                     Address on file
30287245          Name on file                     Address on file
30259777          Name on file                     Address on file
30297683          Name on file                     Address on file
30255713          Name on file                     Address on file
                                                   B‐1108 240‐21 WOOLIM BLUE9 BUSINESS
29950252          YOUNGDO VELVET CO LTD            CENTER                                Z01                                                                      SEOUL                                   157‐861         KOREA, REPUBLIC OF
30291495          YOUNGDO VELVET CO., LTD.         580 SYLVAN AVENUE, STE 2H                                                                                      ENGLEWOOD CLIFFS BOROUGH   NJ           07632‐3316
30273896          Name on file                     Address on file
30273598          Name on file                     Address on file
30263411          Name on file                     Address on file
30287488          Name on file                     Address on file
30292143          Name on file                     Address on file
29948443          YUBA RALEYS 2003 LLC             550 HOWE AVE., STE. 100                                                                                        SACRAMENTO                 CA           95825
29948463          YUNKER INDUSTRIES INC            ATTN: ACCOUNTS RECEIVABLE             310 O'CONNOR DR., PO BX 917                                              ELKHORN                    WI           53121
29948464          YUNKER INDUSTRIES INC INSTALL    ATTN: ACCOUNTS RECEIVABLE             310 O'CONNOR DR., PO BOX 917                                             ELKHORN                    WI           53121




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  ADDRESS ID                           NAME                               ADDRESS 1                          ADDRESS 2                     ADDRESS 3         ADDRESS 4                       CITY        STATE     POSTAL CODE           COUNTRY
30297538          Yunker Industries, Inc.                    Attn: Accounts Receivables      310 O'Connor Drive               PO Box 917                                 Elkhorn                    WI           53121
29948465          YUNUS TEXTILE MILL PVT LTD                 H‐23/1 LANDHI INDUSTRIAL AREA                                    KARACHI                                    SINDH                                   75120           PAKISTAN
30258374          Name on file                               Address on file
30273970          Name on file                               Address on file
30275974          Name on file                               Address on file
30273684          Name on file                               Address on file
30273942          Name on file                               Address on file
29964655          ZAFAR PROJECTS INC                         1047 SUNNYDALE DRIVE                                                                                        CLEARWATER                 FL           33755
30294401          Name on file                               Address on file
30275297          Name on file                               Address on file
30286050          Name on file                               Address on file
30331790          Name on file                               Address on file
30280256          Name on file                               Address on file
30280170          Name on file                               Address on file
30260545          Name on file                               Address on file
30262338          Name on file                               Address on file
30295932          Name on file                               Address on file
30259465          Name on file                               Address on file
30331876          Name on file                               Address on file
29964670          ZANE PLAZA LLC                             PO BOX 855575                                                                                               MINNEAPOLIS                MN           55485‐5575
30259525          Name on file                               Address on file
30262027          Name on file                               Address on file
30293263          Name on file                               Address on file
30279154          Name on file                               Address on file
30253721          Name on file                               Address on file
29948568          ZASHIN & RICH CO. LPA                      950 MAIN AVE, 4TH FL.                                                                                       CLEVELAND                  OH           44113
30336049          Name on file                               Address on file
30259923          Name on file                               Address on file
30279003          Name on file                               Address on file
30279311          Name on file                               Address on file
29948581          ZEBRA PEN CORPORATION                      242 RARITAN CENTER PARKWAY                                                                                  EDISON                     NJ           08837
30164063          Zeffy LLC                                  Chelsea Reagan                  825 President Street             Apartment 3                                Brooklyn                   NY           11215
30261500          Name on file                               Address on file
29948589          ZEIER TOV LLC                              1274 49TH STREET, STE. 140                                                                                  BROOKLYN                   NY           11219
30258895          Name on file                               Address on file
30287806          Name on file                               Address on file
30274275          Name on file                               Address on file
30330917          Name on file                               Address on file
30293988          Name on file                               Address on file
30222695          Name on file                               Address on file
30259658          Name on file                               Address on file
30260059          Name on file                               Address on file
30262536          Name on file                               Address on file
30252403          Name on file                               Address on file
30223428          Zeng Hsing Industrial Co., Ltd.            No. 78, Yong Cheng Rd.          Taiping Dist.                                                               Taichung City                           41102           Taiwan
29949745          ZENG HSING INDUSTRIAL CO., LTD.            NO. 78 YONG CHEN RD                                                                                         TAICHUNG                                411025          TAIWAN
30263407          Name on file                               Address on file
30222026          Name on file                               Address on file
30280451          Name on file                               Address on file
30262849          Name on file                               Address on file
30224157          Name on file                               Address on file
30291106          Name on file                               Address on file
30260191          Name on file                               Address on file
30226275          Name on file                               Address on file
30226273          Name on file                               Address on file
                                                                                             FLAT 908, BLDNG 3, DONGFANG XIN
29964969          ZHANGJIAGANG FREE TRADE ZONE                 MAYWOOD TEXTILE CO LTD        TIAN DI 2                        BAIZIGANG RD                               ZHANGJIAGANG                            214199          CHINA
                  Zhangjiagang Free Trade Zone Maywood Textile                               2f building C1, Donggang Science
30207443          Trading Co., Ltd                             Seaman Gu                     and Technolgy                    Pioneer Park, Donggang town                Wuxi, Jiangsu                           21410           China
29949746          ZHEJIANG TONG FENG ARTS & CRAFTS CO          NO 42 GONGXIN ROAD            130                                                                         HUANGYAN EDZ, TAIZHOU                   318020          CHINA
                                                                                             Huangyan Economic Development
30276933          Zhejiang Tongfeng Arts&Crafts Co.,ltd      No. 42 Gongxin Road             Zone                                                                        Taizhou, Zhejiang                       318020          China
30256977          Name on file                               Address on file
30257416          Name on file                               Address on file




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  ADDRESS ID                           NAME                                         ADDRESS 1                 ADDRESS 2                     ADDRESS 3                       ADDRESS 4                      CITY        STATE     POSTAL CODE           COUNTRY
29948600          ZHUHAI ZE YUAN CRAFT FLORAL               DOUMEN TOWN, DOUMEN DISTRICT           #9 DOUMEN PARKWAY                                                                    ZHUHAI                                                 CHINA
30165005          ZHUHAI ZEYUAN CRAFT FLORAL                SUNLITE TRADING COMPANY LIMITED        RM 1003 HOLLYWOOD PLAZA      610 NATHAN                                              RD KL ‐ HONGKONG                                       HONG KONG
                  ZIBO ZHAOHAI LIGHT INDUSTRIAL PRODUCTS CO
29948602          LTD                                       112, WANJIE ROAD, ZIBO DEVP. ZONE      SHANDONG                                                                             ZIBO                                   255086          CHINA

30165039          Zibo Zhaohai Light Industrial Products Co., Ltd.   112, Wanjie Road                                                                                                   Zibo‐ Shandong                         255086          China
30262687          Ziegler Tire & Supply Co., Inc.                    4150 Millennium Blvd                                                                                               Massillon                 OH           44646
30259344          Name on file                                       Address on file
30278975          Name on file                                       Address on file
30283674          Name on file                                       Address on file
30280830          Name on file                                       Address on file
30262480          Name on file                                       Address on file
30258545          Name on file                                       Address on file
29948605          ZIM INTEGRATED SHIPPING SERV LTD                   5405 GARDEN GROVE BLVD #100                                                                                        WESTMINSTER               CA           92683
30276055          Name on file                                       Address on file
30273574          Name on file                                       Address on file
30222416          Name on file                                       Address on file
30260591          Name on file                                       Address on file
30261831          Name on file                                       Address on file
30222014          Name on file                                       Address on file
30280628          Name on file                                       Address on file
30261347          Name on file                                       Address on file
30258175          Name on file                                       Address on file
30293150          Name on file                                       Address on file
30287598          Name on file                                       Address on file
30285912          Name on file                                       Address on file
29948707          ZOLO LLC                                           PO BOX 31001‐4116                                                                                                  PASADENA                  CA           91110‐4116
30263435          Name on file                                       Address on file
29948709          ZONAPART LLC                                       BIRCH RUN STATION LLC         8300 N. HAYDEN RD., #A 200                                                           SCOTTSDALE                AZ           85258
30285852          Name on file                                       Address on file
30278071          Name on file                                       Address on file
30262216          Name on file                                       Address on file
30293087          Name on file                                       Address on file
30258368          Name on file                                       Address on file
30216148          ZRP Crosspointe Plaza LLC                          PO Box 751554                                                                                                      Charlotte                 NC           28275
29948721          ZRP CROSSPOINTE PLAZA LLC                          C/O ZIFF PROPERTIES INC       PO BOX 751554                                                                        CHARLOTTE                 NC           28275
30259908          Name on file                                       Address on file
30262272          Name on file                                       Address on file
30259099          Name on file                                       Address on file
30262987          Name on file                                       Address on file
30258402          Name on file                                       Address on file
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                            Fox Swibel Levin & Carroll    c/o Ken Thomas               200 W. Madison St.             Suite 3000               Chicago                   IL           60606
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                            Fox Swibel Levin & Carroll    c/o Ken Thomas               200 W. Madison St.             Suite 3000               Chicago                   IL           60606
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                            Fox Swibel Levin & Carroll    c/o Ken Thomas               200 W. Madison St.             Suite 3000               Chicago                   IL           60606
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                            Fox Swibel Levin & Carroll    c/o Ken Thomas               200 W. Madison St.             Suite 3000               Chicago                   IL           60606
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                            Fox Swibel Levin & Carroll    c/o Ken Thomas               200 W. Madison St.             Suite 3000               Chicago                   IL           60606
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                            Fox Swibel Levin & Carroll    c/o Ken Thomas               200 W. Madison St.             Suite 3000               Chicago                   IL           60606
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                            Fox Swibel Levin & Carroll    c/o Ken Thomas               200 W. Madison St.             Suite 3000               Chicago                   IL           60606




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  ADDRESS ID                           NAME                                 ADDRESS 1               ADDRESS 2                  ADDRESS 3                       ADDRESS 4             CITY        STATE     POSTAL CODE   COUNTRY
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                    Fox Swibel Levin & Carroll   c/o Ken Thomas           200 W. Madison St.             Suite 3000               Chicago          IL           60606
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                    Fox Swibel Levin & Carroll   c/o Ken Thomas           200 W. Madison St.             Suite 3000               Chicago          IL           60606
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                    Fox Swibel Levin & Carroll   c/o Ken Thomas           200 W. Madison St.             Suite 3000               Chicago          IL           60606
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292292          Company                                    Fox Swibel Levin & Carroll   c/o Ken Thomas           200 W. Madison St.             Suite 3000               Chicago          IL           60606
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                    Fox Swibel Levin & Carroll   c/o Ken Thomas           200 W. Madison St.             Suite 3000               Chicago          IL           60606
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30292387          Company                                    Fox Swibel Levin & Carroll   c/o Ken Thomas           200 W. Madison St.             Suite 3000               Chicago          IL           60606
30273736          Name on file                               Address on file
30261570          Name on file                               Address on file
30276100          Name on file                               Address on file
30295892          Name on file                               Address on file




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ADDRESS ID                             NAME                          ADDRESS 1                               ADDRESS 2                              ADDRESS 3      ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
                                                                                                  C/O GORDON BROTHERS GROUP
29953573     1903P LOAN AGENT, LLC                    ATTN: KYLE SHONAK                           LLC                                   800 BOYLSTON STREET     27TH FLOOR     BOSTON                 MA           02199
                                                      Attention: Joel Dachner, Senior Portfolio
30331294     1943 Holdings LLC                        Manager                                     4020 Kinross Lakes Parkway                                                   Richfield              OH           44286
                                                      Attention: Joel Dachner, Senior Portfolio
30331323     1943 Holdings LLC                        Manager                                     4020 Kinross Lakes Parkway                                                   Richfield              OH           44286
30295887     Name on file                             Address on file
30277967     Name on file                             Address on file
30232435     Name on file                             Address on file
30294980     Name on file                             Address on file
30291774     Name on file                             Address on file
30167885     AKG Squared LLC                          12357 Potomac Hunt Rd                                                                                                    North Potomac          MD           20878
30165333     Alexander, Jody                          Address on file
30263385     Name on file                             Address on file
                                                      Attn: David L. Bruck, Esq., Greenbaum,
30167312     Almaden Properties                       Rowe, Smith & Davis LLP                     99 Wood Avenue South, 4th Floor                                              Iselin                 NJ           08830
30261444     Almaden Properties                       Antony Chrysostom                           100 Busch Street                      Suite 218                              San Francisco          CA           94104
30294270     Almaden Properties LLC                   GRS&D LLP                                   David L. Bruck, Esq.                  99 Wood Avenue South    4th Floor      Iselin                 NJ           08830
30257626     Name on file                             Address on file
30276886     Name on file                             Address on file
30261029     Name on file                             Address on file
30257503     Name on file                             Address on file
30223339     Name on file                             Address on file
30282952     Name on file                             Address on file
30258581     Name on file                             Address on file
30222105     Name on file                             Address on file
30281429     Name on file                             Address on file
30291367     Name on file                             Address on file
30207607     Aquarion Water Company of CT             200 Monroe Turnpike                                                                                                      Monroe                 CT           06468
30222877     ARAPAHOE COUNTY TREASURER                ATTN: BANKRUPTCY DIVISION                   5334 SOUTH PRINCE STREET                                                     LITTLETON              CO           80120
                                                      Francine Petrosino, Executive Legal
30331140     Arch Insurance Company                   Assistant                                   210 Hudson Streeet                    Suite 600                              Jersey City            NJ           07311
30290335     Name on file                             Address on file
30224142     Name on file                             Address on file
30222034     Name on file                             Address on file
30262765     Name on file                             Address on file
30289495     Avery, Crystal                           Address on file
30259791     Name on file                             Address on file
30274005     Name on file                             Address on file
30256714     Name on file                             Address on file
30225477     Name on file                             Address on file
30227046     Name on file                             Address on file
29909789     BANK OF AMERICA, N.A.                    ATTN: COURTNEY KOLB                         100 FEDERAL STREET                                                           BOSTON                 MA           02110
30286869     Name on file                             Address on file
30259431     Name on file                             Address on file
30224539     Barren River Plaza Project LLC           372 N L Rogers Wells Blvd                                                                                                Glasgow                KY           42141
30223598     Name on file                             Address on file
30292807     Name on file                             Address on file
30262442     Name on file                             Address on file
29976216     Baybrook Municipal Utility District #1   Attn: Damion Millington                     1235 North Loop West, Suite 600                                              Houston                TX           77008
30224860     Bearrr LLC                               Yihuan Xiong                                4117 Crescent St, Apt 7N                                                     Long Island City       NY           11101
30286998     Name on file                             Address on file
30257119     Name on file                             Address on file
30262526     Name on file                             Address on file



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ADDRESS ID                             NAME                 ADDRESS 1                             ADDRESS 2                            ADDRESS 3    ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30287106     Name on file                     Address on file
30224773     Name on file                     Address on file
30260809     Name on file                     Address on file
30258543     Name on file                     Address on file
30288693     Name on file                     Address on file
30261846     Name on file                     Address on file
                                              c/o Linebarger Goggan Blair & Sampson,
29976127     Bexar County                     LLP                                      112 E. Pecan Street, Suite 2200                                          San Antonio          TX           78205
30257731     Name on file                     Address on file
30286018     Name on file                     Address on file
30286008     Name on file                     Address on file
30275420     Name on file                     Address on file
30222608     Name on file                     Address on file
30222835     Name on file                     Address on file
30282636     Name on file                     Address on file
30276425     Name on file                     Address on file
30262506     Name on file                     Address on file
30331751     Name on file                     Address on file
30257269     Name on file                     Address on file
30261479     Name on file                     Address on file
30232070     Name on file                     Address on file
30290118     Name on file                     Address on file
30292467     Name on file                     Address on file
30258917     Name on file                     Address on file
30279207     Name on file                     Address on file
30294765     Name on file                     Address on file
30385696     BONNEVILLE COUNTY TREASURERS     605 N CAPITAL AVE                                                                                                 IDAHO FALLS          ID           83402
30293410     Name on file                     Address on file
30292753     Name on file                     Address on file
30284711     Name on file                     Address on file
30274154     Name on file                     Address on file
30254127     Name on file                     Address on file
30280067     Name on file                     Address on file
30284943     Name on file                     Address on file
30287693     Name on file                     Address on file
30274501     Name on file                     Address on file
30222375     Name on file                     Address on file
30182467     Brevard County Tax Collector     PO Box 2500                                                                                                       Titusville           FL           32781
30275257     Name on file                     Address on file
30331584     Name on file                     Address on file
30231966     Name on file                     Address on file
30227076     Name on file                     Address on file
30286206     Name on file                     Address on file
30254440     Name on file                     Address on file
30290221     Name on file                     Address on file
30273858     Name on file                     Address on file
30263379     Name on file                     Address on file
30262458     Name on file                     Address on file
30292461     Name on file                     Address on file
30192451     Bumby Jo LLC                     Attn: Terry Robertson                    69 Lafayette Street                                                      Alex City            AL           35010
30260944     Name on file                     Address on file
30282019     Name on file                     Address on file
30273237     Name on file                     Address on file
30294881     Name on file                     Address on file



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             CAB assignee of Ningbo Zhong Yi Ornaments Co
30356405     Ltd                                            4340 Fulton Avenue, Third Fl.                                                                                            Sherman Oaks              CA           91423
30293259     Name on file                                   Address on file
30282463     Cache County Assessor                          179 N Main Street                          Ste 205                                                                       Logan                     UT           84321
30285712     Name on file                                   Address on file
30341139     Calvert County, Maryland                       Meyers, Rodbell & Rosenbaum, P.A.          Nicole C. Kenworthy                     6801 Kenilworth Ave.   Ste 400        Riverdale Park            MD           20737
30331621     Name on file                                   Address on file
30296821     Name on file                                   Address on file
30262438     Name on file                                   Address on file
                                                            WANGLOU(QINGDAO) INDUSTRIAL PARK, NO.001, QINGHE MIDDLE ROAD,
30181503     CAOXIAN LUYI GUANGFA ART & CRAFT CO., LTD      CAOXIAN COUNTY                             CAOXIAN COUNTY                                                                HEZE, SHANDONG PROVINCE                274400          CHINA
30167889     Caoxian Luyi Guangfa Art And Craft Co., LTD    No 001 Qinghe Middle Road                  Caoxian County                                                                Heze‐Shandong‐China                    27440           China
30167110     Caoxian Luyi Guangfa Art And Craft. Co, Ltd    Benny Zhang                                No 001 Qinghe Middle Road               Caoxian County                        Heze, SD                               27440           China
30274969     Name on file                                   Address on file
30284268     Name on file                                   Address on file
30284368     Name on file                                   Address on file
30284389     Name on file                                   Address on file
30257374     Name on file                                   Address on file
30287568     Name on file                                   Address on file
30285670     Name on file                                   Address on file
30331466     Name on file                                   Address on file
                                                            Attn: Candice S. Thomas, Associate General
30297687     CBTS Technology Solutions LLC                  Counsel                                    25 Merchant Street                                                            Cincinnati                OH           45246
29972501     Central Appraisal District of Taylor County    McCreary, Veselka, Bragg & Allen, P.C.     Attn: Julie Anne Parsons                P.O. Box 1269                         Round Rock                TX           78680‐1269

30182719     Central Appraisal District of Taylor County    c/o McCreary, Veselka, Bragg & Allen, P.C.   Attn: Julie Anne Parsons              P.O. Box 1269                         Round Rock                TX           78680‐1269
30254144     Name on file                                   Address on file
30158572     CHALFIN, EUDOCIA                               Address on file
30222505     Name on file                                   Address on file
30274009     Name on file                                   Address on file
30222697     Cherry Design Partners LLC                     147 W 35th ST Ste 307                                                                                                    New York                  NY           10001
30262496     Name on file                                   Address on file
30331005     Chinatex Inc.                                  c/o DeHeng Chen LLC                          233 Broadway                          Suite 2205                            New York                  NY           10279
29913760     CHRISTOPHER DITULLIO                           Address on file
30286293     Name on file                                   Address on file
30222521     Name on file                                   Address on file
29956436     CITY OF AUBURN HILLS LOCKBOX, MI               1500 BROWN RD                                                                                                            AUBURN HILLS              MI           48326
30293737     City of Burton                                 4303 S Center Rd                                                                                                         Burton                    MI           48519
30181510     CITY OF CLARKSVILLE                            PO BOX 928                                                                                                               CLARKSVILLE               TN           37041
                                                            LINEBARGER GOGGAN BLAIR & SAMPSON,
30164018     CITY OF EL PASO                                LLP                                          112 E. PECAN STREET, SUITE 2200                                             SAN ANTONIO               TX           78205
30335920     City of El Paso                                Linebarger Goggan Blair & Sampson, LLP       Don Stecker                           112 E. Pecan Street    Suite 2200     San Antonio               TX           78205
29972542     City of Frisco                                 Linebarger Goggan Blair & Sampson, LLP       c/o John Kendrick Turner              3500 Maple Avenue      Suite 800      Dallas                    TX           75219
30167856     City of Grapevine                              c/o Perdue Brandon Fielder Et AL             Elizabeth Banda Calvo                 500 East Border St     Suite 640      Arlington                 TX           76010
                                                            Perdue, Brandon, Fielder, Collins & Mott,
30181530     City of Houston                                L.L.P.                                       Melissa E Valdez                      1235 North Loop West   Suite 600      Houston                   TX           77008
30192431     City of Houston                                Linebarger Goggan Blair & Sampson, LLP       Tara L. Grundemeier                   PO Box 3064                           Houston                   TX           77253‐3064
30192423     City of Humble                                 Linebarger Goggan Blair & Sampson, LLP       PO Box 3064                                                                 Houston                   TX           77253‐3064
30202103     City of Lapeer                                 576 Liberty Park                                                                                                         Lapeer                    MI           48446
30224891     CITY OF LIVONIA TREASURER                      33000 CIVIC CENTER DR                                                                                                    LIVONIA                   MI           48154
30206915     City of Novi                                   45175 Ten Mile Rd                                                                                                        Novi                      MI           48375
30206592     City of Sherman                                Abernathy, Roeder, Boyd & Hullett, P.C.      1700 Redbud Blvd.                     Suite 300                             McKinney                  TX           75069
29972504     City of Waco and/or Waco ISD                   McCreary, Veselka, Bragg & Allen, P.C.       Attn: Julie Anne Parsons              P.O. Box 1269                         Round Rock                TX           78680‐1269




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30182717     City of Waco and/or Waco ISD              c/o McCreary, Veselka, Bragg & Allen, P.C.   Attn: Julie Anne Parsons              P.O. Box 1269                          Round Rock           TX           78680‐1269
30401847     Clark County Treasurer                    POB 5000                                                                                                                  VANCOUVER            WA           98666
30401867     Clark County Treasurer                    POB 5000                                                                                                                  Vancouver            WA           98666
30097771     Clear Creek Independent School District   Attn: Damion Millington                      1235 North Loop West, Suite 600                                              Houston              TX           77008
30286190     Name on file                              Address on file
30279746     Name on file                              Address on file
30206595     Collin County Tax Assessor/Collector      Abernathy, Roeder, Boyd & Hullett, P.C.      1700 Redbud Blvd.                     Suite 300                              McKinney             TX           75069
30259636     Name on file                              Address on file
30296539     Name on file                              Address on file
30279978     Name on file                              Address on file
30331639     Name on file                              Address on file

29915266     COUNTY OF SACRAMENTO                      DEPT.OF AGRICULTURE / WEIGHTS & MEA          4137 BRANCH CENTER ROAD                                                      SACRAMENTO           CA           95827‐3823
30257766     Name on file                              Address on file
30288995     Name on file                              Address on file
30278961     Name on file                              Address on file
30281836     Name on file                              Address on file
30297042     Name on file                              Address on file
30331545     Name on file                              Address on file
30331582     Name on file                              Address on file
30293763     Name on file                              Address on file
30262931     Name on file                              Address on file
30192413     Cypress‐Fairbanks ISD                     Linebarger Goggan Blair & Sampson, LLP       PO Box 3064                                                                  Houston              TX           77253‐3064
30192648     Cypress‐Fairbanks ISD                     Linebarger Goggan Blair & Sampson, LLP       PO BOX 3064                                                                  Houston              TX           77253‐3064
30295937     D & H Hawley LLC                          338 N 137th St.                                                                                                           Seattle              WA           98133
29972570     Dallas County                             Linebarger Goggan Blair & Sampson, LLP       c/o John Kendrick Turner              3500 Maple Avenue       Suite 800      Dallas               TX           75219
30283510     Name on file                              Address on file
30258499     Name on file                              Address on file
30331543     Name on file                              Address on file
30278543     Name on file                              Address on file
30294335     Name on file                              Address on file
30274233     Name on file                              Address on file
29916436     Davis County Assessor                     PO Box 618                                                                                                                Farmington           UT           84025
30285682     Name on file                              Address on file
30222956     Name on file                              Address on file
30282046     Name on file                              Address on file
29952107     DELAWARE COUNTY TREASURER                 ROOM 102 COUNTY BUILDING                                                                                                  MUNCIE               IN           47305
30291403     Name on file                              Address on file
30224555     Deschutes County Tax Collector            PO Box 7559                                                                                                               Bend                 OR           97708
30258233     Name on file                              Address on file
30223855     Name on file                              Address on file
30258897     Name on file                              Address on file
30279665     DiTullio, Christopher                     Address on file
30279653     DiTullio, Christopher                     Address on file
30258253     Name on file                              Address on file
30289274     Name on file                              Address on file
30276437     Name on file                              Address on file
30218595     Name on file                              Address on file
29950108     EAST WENATCHEE WATER DISTRICT             692 EASTMONT AVE                                                                                                          EAST WENATCHEE       WA           98802‐7608
30228852     Name on file                              Address on file

30164920     Ector CAD                                 Linebarger Goggan Blair & Shampson, LLP      112 E. Pecan Street                   Suite 2200                             San Antonio          TX           78205




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                                                               c/o Linebarger Goggan Blair & Sampson,
30183172     Ector CAD                                         LLP                                      112 E. Pecan Street, Suite 2200                                                           San Antonio          TX           78205
30227721     Name on file                                      Address on file
30285128     Name on file                                      Address on file
30257024     Name on file                                      Address on file
30278491     Name on file                                      Address on file
                                                               c/o Linebarger Goggan Blair & Sampson,
29972611     Ellis County                                      LLP                                      Attn: John Kendrick Turner              3500 Maple Avenue, Suite 800                      Dallas               TX           75219
30258157     Name on file                                      Address on file
30222159     Name on file                                      Address on file
30277220     Name on file                                      Address on file
30206581     Escambia County Tax Collector                     c/o Sarah Walton                         25 West Cedar Street                    Suite 550                                         Pensacola            FL           32502
30274035     Name on file                                      Address on file
30274866     Name on file                                      Address on file
30331602     FacilitySource LLC dba CBRE Retail & Multi‐Site   Saul Ewing LLP                           Attn: Lucian B. Murley, Esq.            1201 North Market Street       Suite 2300         Wilmington           DE           19801
30261761     Name on file                                      Address on file
30258700     Name on file                                      Address on file
30277937     Name on file                                      Address on file
30274967     Name on file                                      Address on file
30284421     Name on file                                      Address on file
30257175     Name on file                                      Address on file
30277731     Name on file                                      Address on file
30260344     Name on file                                      Address on file
30277657     Name on file                                      Address on file
30206600     Fort Bend County                                  Linebarger Goggan Blair & Sampson, LLP   PO Box 3064                                                                               Houston              TX           77253‐3064
             FORT BEND COUNTY LEVEE IMPROVEMENT                                                         1235 NORTH LOOP WEST, SUITE
30197246     DISTRICT # 2                                      ATTN: MELISSA E. VALDEZ                  600                                                                                       HOUSTON              TX           77008
                                                                                                        1235 NORTH LOOP WEST, SUITE
30197270     FORT BEND INDEPENDENT SCHOOL DISTRICT             ATTN: MELISSA E. VALDEZ                  600                                                                                       HOUSTON              TX           77008
30259707     Name on file                                      Address on file
30279086     Name on file                                      Address on file
30291025     Name on file                                      Address on file
30262937     Name on file                                      Address on file
30167789     Frisco Independent School District                c/o Perdue Brandon Fielder Et Al         Attn: Linda D. Reece                    1919 S. Shiloh Road            Suite 640, LB 40   Garland              TX           75042
30281107     Name on file                                      Address on file
30275207     Name on file                                      Address on file
30278517     Name on file                                      Address on file
30278061     Name on file                                      Address on file
30260229     Name on file                                      Address on file
30259095     Name on file                                      Address on file
30261175     Name on file                                      Address on file
30164219     Golden Ace Industrial Co., Ltd                    107 Liuquan Rd                                                                                                                     Zibo, SD                          255000          China
30192457     Golden Ace Industrial Co., Ltd                    107 Liuquan Rd                                                                                                                     Zibo, SD                          255000          China
30257911     Name on file                                      Address on file
30293856     Name on file                                      Address on file
30257251     Name on file                                      Address on file

30167144     Grapevine‐Colleyville Independent School District C/o Perdue Brandon Fielder Et Al         Elizabeth Banda Calvo                   500 East Border st             Suite 640          Arlington            TX           76010
                                                               c/o Linebarger Goggan Blair & Sampson,
30165856     Grayson County                                    LLP                                      Attn: John Kendrick Turner              3500 Maple Avenue, Suite 800                      Dallas               TX           75219
30282011     Name on file                                      Address on file
30262923     Name on file                                      Address on file
30254287     Name on file                                      Address on file
30274898     Name on file                                      Address on file



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ADDRESS ID                             NAME                                  ADDRESS 1                                 ADDRESS 2                           ADDRESS 3            ADDRESS 4                CITY          STATE     POSTAL CODE     COUNTRY

30166993     Guangdong Yiboxuan Ceramics Co Ltd               The South Side of the junction of Baoyun 4                                                                                    Chaozhou, Guangdong                515646          China
30258049     Name on file                                     Address on file
30262404     Name on file                                     Address on file
30286379     Name on file                                     Address on file
30282601     Name on file                                     Address on file
30229424     Name on file                                     Address on file
30259103     Name on file                                     Address on file
30221896     Name on file                                     Address on file
30282071     Name on file                                     Address on file
30261179     Name on file                                     Address on file
30282581     Name on file                                     Address on file
30261399     Hansen, Karen C                                  Address on file
30331880     Hapag‐Lloyd AG                                   Attn: Jason W. Drouyor, Esq.                 3 Ravinia Drive                                                                  Atlanta               GA           30346
30285758     Name on file                                     Address on file
30183684     Harriell, Marcy                                  Address on file
30183682     Harriell, Marcy                                  Address on file
30183682     Harriell, Marcy                                  Address on file
30206613     Harris Co ESD #09                                Linebarger Goggan Blair & Sampson, LLP       Tara L. Grundemeier                    PO Box 3064                               Houston               TX           77253‐3064
30206610     Harris Co ESD #47                                Linebarger Goggan Blair & Sampson, LLP       Tara L. Grundemeier                    PO Box 3064                               Houston               TX           77253‐3064
29972686     Harris County Municipal Utillity District #186   c/o Carl O. Sandin                           1235 North Loop West, Suite 600                                                  Houston               TX           77008
             Harris County Water Control & Improvement
29973986     District 145                                     c/o Carl O. Sandin                           1235 North Loop West, Suite 600                                                  Houston               TX           77008
30192617     Harris County, et al.                            Office of the Harris County Attorney         P.O. Box 2848                                                                    Houston               TX           77252
30192455     Harris County, et al.                            Office of the Harris County Attorney         Harris County Tax Office               P.O. Box 2848                             Houston               TX           77252
30222123     Name on file                                     Address on file
30165130     HEBEI BESTONE JEWELRY CO LTD                     NO. 662                                      HEPING WEST ROAD                                                                 SHIJIAZHUANG, JI                   050000          CHINA
30286349     Name on file                                     Address on file
30262585     Name on file                                     Address on file
30255612     Name on file                                     Address on file
30260105     Name on file                                     Address on file
30262889     Name on file                                     Address on file
30192700     Hidalgo County                                   Linebarger Goggan Blair & Sampson, LLP       PO Box 17428                                                                     Austin                TX           78760‐7428
30192406     Highmen (Shanghai) International Co              No. 2285 DuHui Road                          Minhang District                                                                 Shanghai                           20110           China
30281554     Hillsborough County Tax Collector                Nancy C. Millan Tax Collector                P.O.Box 30012                                                                    Tampa                 FL           33630‐3012
30281599     Hillsborough County Tax Collector                Nancy C. Millan Tax Collector                P.O. Box 30012                                                                   Tampa                 FL           33630‐3012
30281747     Hillsborough County Tax Collector                Attn: Nancy C. Millan, Tax Collector         P.O. Box 30012                                                                   Tampa                 FL           33630‐3012
30287357     Name on file                                     Address on file
30259216     Name on file                                     Address on file
30290116     Name on file                                     Address on file
30192707     Houston Comm Coll System                         Linebarger Goggan Blair & Sampson, LLP       PO BOX 3064                                                                      Houston               TX           77253‐3064
30206606     Houston ISD                                      Linebarger Goggan Blair & Sampson, LLP       Tara L. Grundemeier                    PO Box 3064                               Houston               TX           77253‐3064
30290958     Name on file                                     Address on file
30260609     Name on file                                     Address on file
30223345     Name on file                                     Address on file
30286071     Name on file                                     Address on file
29974080     Humble Independent School District               c/o Melissa E. Valdez                        1235 North Loop West, Suite 600                                                  Houston               TX           77008
30257291     Name on file                                     Address on file
30331214     Iron Mountain Information Management, LLC        Joseph P Corrigan                            1101 Enterprise Drive                                                            Royersford            PA           19468
30222869     Name on file                                     Address on file
30293545     J & H Hollywood Blvd, LLC                        Assouline & Berlowe PA                       Care of: Eric N. Assouline, Esq.       100 SE 2nd St., Suite 3650                Miami                 FL           33131
30284135     Name on file                                     Address on file
29923920     JAMES HORTON                                     Address on file
30263395     Name on file                                     Address on file



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30280028     Name on file                          Address on file
30192478     Jefferson County                      Linebarger Goggan Blair & Sampson, LLP   PO Box 3064                                                           Houston               TX           77253‐3064
30297504     Jefferson County Treasurer Colorado   100 Jefferson County Pkwy                2520                                                                  Golden                CO           80419‐2520
30276682     Name on file                          Address on file
30287044     Name on file                          Address on file
30257692     Name on file                          Address on file
30274416     Name on file                          Address on file
30257850     Name on file                          Address on file
30277996     Name on file                          Address on file
30282345     Name on file                          Address on file
29926065     JON HEPLER                            Address on file
30261207     Name on file                          Address on file
30285029     Name on file                          Address on file
30275133     Name on file                          Address on file
30259379     Name on file                          Address on file
30206603     Katy ISD                              Linebarger Goggan Blair & Sampson, LLP   PO Box 3064                                                           Houston               TX           77253‐3064
30294687     Name on file                          Address on file
30285491     Name on file                          Address on file
30277188     Name on file                          Address on file
30257400     Name on file                          Address on file
30259827     Name on file                          Address on file
30290330     Name on file                          Address on file
30228899     Name on file                          Address on file
30223411     Name on file                          Address on file
30258011     Name on file                          Address on file
29929133     KEVIN BEEGLE                          Address on file
30274815     Name on file                          Address on file
30276318     King County Treasury                  Ana L Schoenecker                        201 S Jackson St                   #710                               Seattle               WA           98104
30260985     Name on file                          Address on file
30251352     Name on file                          Address on file
30223405     Name on file                          Address on file
30292583     Name on file                          Address on file
30262418     Name on file                          Address on file
30257620     Name on file                          Address on file
30225084     Name on file                          Address on file
30260795     Name on file                          Address on file
30223837     Name on file                          Address on file
30289351     Name on file                          Address on file
30262045     Name on file                          Address on file
30282860     Name on file                          Address on file
30273983     Name on file                          Address on file
30200710     LAFAYETTE II, KENNETH J.              Address on file
30200710     LAFAYETTE II, KENNETH J.              Address on file
30258573     Name on file                          Address on file
30293209     Name on file                          Address on file
30348487     Lake County Treasurer                 2293 N. Main St.                                                                                               Crown Point           IN           46307
30348442     Lake County Treasurer                 2293 N. Main St.                                                                                               Crown Point           IN           46307
30277061     Name on file                          Address on file
30260711     Name on file                          Address on file
30181754     Larimer County Treasurer              Jenn MacArthur                           200 W Oak St                       Suite 2100                         Fort Collins          CO           80521
30181756     Larimer County Treasurer              200 W Oak St                             Suite 2100                                                            Fort Collins          CO           80521
30289644     Name on file                          Address on file
30275737     Name on file                          Address on file
30225183     Name on file                          Address on file



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30225183     Name on file                               Address on file
30295156     Name on file                               Address on file
30297350     Name on file                               Address on file
30260523     Name on file                               Address on file
30258999     Name on file                               Address on file
30284691     Name on file                               Address on file
30286032     Name on file                               Address on file
30222318     Name on file                               Address on file
30276169     Name on file                               Address on file
29972665     Lewisville ISD                             Linebarger Goggan Blair & Sampson, LLP      c/o John Kendrick Turner              3500 Maple Avenue       Suite 800      Dallas           TX           75219
30295073     Liberty Mutual Insurance Company           Attn: Nina Durante, Regional VP             1001 Fourth Avenue, Suite 3800                                               Seattle          WA           98154
30294974     Liberty Mutual Insurance Company           Attn: Nina Durante                          1001 Fourth Avenue                    Suite 3800                             Seattle          WA           98154
             Liberty Mutual Insurance Company and its
30297540     Affiliates and Subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
             Liberty Mutual Insurance Company and its
30330864     Affiliates and Subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
             Liberty Mutual Insurance Company and its
30330957     Affiliates and Subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
             Liberty Mutual Insurance Company and its
30330882     Affiliates and Subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
             Liberty Mutual Insurance Company and its
30297583     Affiliates and Subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
             Liberty Mutual Insurance Company and its
30297701     affiliates and subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
             Liberty Mutual Insurance Company and its
30330904     Affiliates and Subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
             Liberty Mutual Insurance Company and its
30330938     Affiliates and Subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
             Liberty Mutual Insurance Company and its
30297625     Affiliates and Subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
             Liberty Mutual Insurance Company and its
30330919     Affiliates and Subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
             Liberty Mutual Insurance Company and its
30297597     Affiliates and Subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
             Liberty Mutual Insurance Company and its
30330990     affiliates and subsidiaries                Choate Hall & Stewart LLP                   c/o Douglas R. Gooding                2 International Place                  Boston           MA           02110
30221994     Name on file                               Address on file
30225293     Name on file                               Address on file
30262244     LINCOLN COUNTY TAX COLLECTOR               225 WEST OLIVE STREET                       ROOM 205                                                                     NEWPORT          OR           97365
30274291     Name on file                               Address on file
30273590     Name on file                               Address on file
30262015     Name on file                               Address on file
30224032     Name on file                               Address on file
30192468     Lone Star College System                   Linebarger Goggan Blair & Sampson, LLP      PO BOX 3064                                                                  Houston          TX           77253‐3064
30192501     Lone Star College System                   Linebarger Goggan Blair & Sampson, LLP      PO Box 3064                                                                  Houston          TX           77253‐3064
30227124     Name on file                               Address on file
30222143     Name on file                               Address on file
30263031     Name on file                               Address on file
                                                        Perdue, Brandon, Fielder, Collins & Mott,
30181814     Lubbock Central Appraisal District         L.L.P.                                      c/o Laura J. Monroe                   PO Box 817                             Lubbock          TX           79408
30295527     Name on file                               Address on file
30260398     Name on file                               Address on file
30296358     Name on file                               Address on file
30257408     Name on file                               Address on file



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ADDRESS ID                             NAME                        ADDRESS 1                         ADDRESS 2                          ADDRESS 3       ADDRESS 4                 CITY              STATE     POSTAL CODE     COUNTRY
30291778     Madison County, Alabama                  Attn: J. Jeffery Rich, County Attorney 100 Northside Square           Suite 700                               Huntsville                 AL           35801
30262851     Name on file                             Address on file
30276580     Name on file                             Address on file
30284333     Name on file                             Address on file
30182712     Manatee County Tax Collector             1001 3rd Ave W, Suite 240                                                                                     Bradenton                  FL           34205
30223419     Name on file                             Address on file
30284427     MANOR DEVELOPMENT CO.                    3100 DUTTON AVENUE, #222                                                                                      SANTA ROSA                 CA           95407
30225063     Name on file                             Address on file
30222525     Name on file                             Address on file
                                                      OPP. CNG STATION, LODHIPUR RAJPUT, NH‐
30161021     MARTCO EXPORT PVT LTD                    24, DELHI ROAD                                                                                                MORADABAD, UTTAR PRADESH                244001          INDIA
30259969     Name on file                             Address on file
30287180     Name on file                             Address on file
30294199     Name on file                             Address on file
30294279     Name on file                             Address on file
30294272     Name on file                             Address on file
30294195     Name on file                             Address on file
30294274     Name on file                             Address on file
30294188     Name on file                             Address on file
30294378     Name on file                             Address on file
30262043     Name on file                             Address on file
30258569     Name on file                             Address on file
30293841     Name on file                             Address on file
30256548     Name on file                             Address on file
30262093     Name on file                             Address on file
30281034     Name on file                             Address on file
30257869     Name on file                             Address on file
30289265     Name on file                             Address on file
30256503     Name on file                             Address on file
30259499     Name on file                             Address on file
30192441     McLennan County                          Linebarger Goggan Blair & Sampson, LLP PO Box 17428                                                           Austin                     TX           78760‐7428
30294166     Name on file                             Address on file
30286273     Name on file                             Address on file
30222657     Name on file                             Address on file
30296815     Name on file                             Address on file
             Metropolitan Government of Nashville &   Metro Government of Nashville ‐ Legal
30232653     Davidson County Tennessee                Dept.                                  Ann Mikkelsen                  Post Office Box 196300                  Nashville                  TN           37219
30293405     Metropolitan Life Insurance Company      c/o Stacey Eilbaum                     200 Park Avenue                                                        New York                   NY           10166
30181575     Mighty Mites Elk River, LLC              Furniture Mart USA, Inc.               David Howe                     140 E Hinks Lane                        Sioux Falls                SD           57104
30297096     Mile High Hotels Dba Laquinta Butte      Kevin James Butori, General Manager    1 Holiday Park Dr.                                                     Butte                      MT           59701
                                                                                             GENERAL MANAGER MILE HIGH
30184132     MILE HIGH HOTELS DBA LAQUINTA BUTTE      KEVIN JAMES BUTORI                     HOTELS                         1 HOLIDAY PARK DR                       BUTTE                      MT           59701
30259030     Name on file                             Address on file
30166855     Miller, Curtis R                         Address on file
30296890     Name on file                             Address on file
30260103     Name on file                             Address on file
30181614     Ming Retail Plaza LLC                    M.D. Atkinson Co                       Jeanie Chiu                    1401 19th St             Ste 400        Bakersfield                CA           93301
30283101     Name on file                             Address on file
30261813     Name on file                             Address on file
30289513     Mondry, Joyce                            Address on file
30192448     Montgomery County                        Linebarger Goggan Blair & Sampson, LLP PO Box 3064                                                            Houston                    TX           77253‐3064
30222456     Montgomery County Treasurer              755 Roanoke Street                     Suite 1B                                                               Christiansburg             VA           24073
30276049     Name on file                             Address on file
30260852     Name on file                             Address on file



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ADDRESS ID                             NAME                                    ADDRESS 1                             ADDRESS 2                        ADDRESS 3           ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30285281     Name on file                                      Address on file
30281143     Name on file                                      Address on file
30284921     Name on file                                      Address on file
30333196     Name on file                                      Address on file
30287822     Name on file                                      Address on file
29962112     Moss, Patricia                                    Address on file
30261149     Name on file                                      Address on file
30285222     Name on file                                      Address on file
30285770     Name on file                                      Address on file
30274021     Name on file                                      Address on file
30297437     Murray‐Bart Associates                            11 Stanwix Street                        Suite 1100                                                                    Pittsburgh           PA           15222
30231870     Name on file                                      Address on file
30283840     Name on file                                      Address on file
30285647     Name on file                                      Address on file
30260217     Name on file                                      Address on file
30277659     Name on file                                      Address on file
30224484     New York State Department of Labor                1220 Washington Ave                      Bldg 12‐Rm 256                                                                Albany               NY           12226
30283821     Name on file                                      Address on file
30281919     Name on file                                      Address on file
30296175     Name on file                                      Address on file
30287726     Name on file                                      Address on file
30261359     Name on file                                      Address on file
30257078     Name on file                                      Address on file
30278875     Novak's Construction Inc.                         Meyers Roman Friedberg & Lewis           David M. Neumann, Esq.               28601 Chagrin Boulevard   Suite 600      Cleveland            OH           44122
30192803     Nueces County                                     Linebarger Goggan Blair & Sampson, LLP   PO Box 17428                                                                  Austin               TX           78760‐7428
30260071     Name on file                                      Address on file

30336240     Office of Doris Maloy, Tax Collector ‐ Leon County Attn: Tax Administration                P.O. Box 1835                                                                 Tallahassee          FL           32302‐1835
30260233     Ohio Bureau of Workers’ Compensation               PO Box 15567                                                                                                          Columbus             OH           43215‐0567
30258537     Ohio Bureau of Workers’ Compensation               PO Box 15567                                                                                                          Columbus             OH           43215‐0567
30261721     Name on file                                       Address on file
30263009     Name on file                                       Address on file
30256698     Name on file                                       Address on file
30257153     Name on file                                       Address on file
30262047     Orange County Tax Collector                        P.O BOX 545100                                                                                                        Orlando              FL           32854
30197815     Orchard Yarn and Thread Company Inc                Attn: Philip Ferrigno                   125 Chubb Ave, Suite 300S                                                     Lyndhurst            NJ           07071
30225323     Osceola County Tax Collector                       PO Box 422105                                                                                                         Kissimmee            FL           34742‐2105
30285379     Name on file                                       Address on file
30182773     Ousterhout, Oliver                                 Address on file
30224080     Name on file                                       Address on file
30257370     Name on file                                       Address on file
30222837     Palm Beach County Tax Collector                    Attn Legal Services                     PO Box 3715                                                                   West Palm Beach      FL           33402
30222839     Palm Beach County Tax Collector                    Attn Legal Services                     PO Box 3715                                                                   West Palm Beach      FL           33402
30276021     Name on file                                       Address on file
30295828     Name on file                                       Address on file
30281512     Name on file                                       Address on file
30296553     Name on file                                       Address on file
30285407     Name on file                                       Address on file
30293543     Name on file                                       Address on file
30282283     Name on file                                       Address on file
30262844     Name on file                                       Address on file
30261173     Name on file                                       Address on file
30287809     Name on file                                       Address on file
30259911     Name on file                                       Address on file



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ADDRESS ID                             NAME                                ADDRESS 1                               ADDRESS 2                          ADDRESS 3       ADDRESS 4                        CITY        STATE     POSTAL CODE   COUNTRY
30286809     Name on file                                    Address on file
30181441     PIERCE COUNTY FINANCE DEPARTMENT                ATTN: JASON THIESSEN                     950 FAWCETT AVE                       STE 100                                   TACOMA                  WA           98402
30181436     PIERCE COUNTY FINANCE DEPARTMENT                ATTN: JASON THIESSEN                     950 FAWCETT AVE                       STE 100                                   TACOMA                  WA           98402
30259481     Name on file                                    Address on file
30296476     Name on file                                    Address on file
             Pima County, Arizona c/o Pima County Attorney's
30207436     Office                                          32 N. Stone Avenue, Suite 2100                                                                                           Tucson                  AZ           85701
             Pima County, Arizona c/o Pima County Attorney's
30207476     Office                                          32 N. Stone Avenue                       Suite 2100                                                                      Tucson                  AZ           85701
             Pima County, Arizona c/o Pima County Attorney's
30207474     Office                                          32 N. Stone Avenue                       Suite 2100                                                                      Tucson                  AZ           85701
             Pima County, Arizona c/o Pima County Attorney's
30207468     Office                                          32 N. Stone Avenue                       Suite 2100                                                                      Tucson                  AZ           85701
             Pima County, Arizona c/o Pima County Attorney's
30207470     Office                                          32 N. Stone Avenue                       Suite 2100                                                                      Tucson                  AZ           85701
             Pima County, Arizona c/o Pima County Attorney's
30207472     Office                                          32 N. Stone Avenue                       Suite 2100                                                                      Tucson                  AZ           85701
30283217     Name on file                                    Address on file
30167872     Plano Independent School District               Linda D. Reece                           C/o Perdue Brandon Fielder Et Al      1919 S.Shiloh Road     Suite 640, LB 40   Garland                 TX           75042
30294414     Name on file                                    Address on file
30257879     Name on file                                    Address on file
30275179     Name on file                                    Address on file
30296610     Name on file                                    Address on file
30286801     Name on file                                    Address on file
30296309     Name on file                                    Address on file
30338049     PRICE, VONITA                                   Address on file
30341324     Prince George's County, Maryland                Meyers, Rodbell & Rosenbaum, P.A.        Nicole C. Kenworthy                   6801 Kenilworth Ave.   Ste 400            Riverdale Park          MD           20737
30341321     Prince George's County, Maryland                Meyers, Rodbell & Rosenbaum, P.A.        Nicole C. Kenworthy                   6801 Kenilworth Ave.   Ste 400            Riverdale Park          MD           20737
30261000     Name on file                                    Address on file
30282776     PSG Energy Services LLC                         800 Battery Ave SE                       Suite 410                                                                       Atlanta                 GA           30339
30261322     Name on file                                    Address on file
30260741     Name on file                                    Address on file
30262358     Name on file                                    Address on file
30257905     Name on file                                    Address on file
30289649     Ramirez, Jose Alejandro                         Address on file
30276459     Name on file                                    Address on file
30276373     Name on file                                    Address on file
30254491     Regional Water Authority                        Louise D'amico                           90 Sargent Dr                                                                   New Haven               CT           06511
30280490     Name on file                                    Address on file
30218548     Name on file                                    Address on file
30281726     Name on file                                    Address on file
30259315     Name on file                                    Address on file
30262186     Name on file                                    Address on file
30293169     Name on file                                    Address on file
30262083     Name on file                                    Address on file
30277565     Name on file                                    Address on file
30274615     Name on file                                    Address on file
30279956     Name on file                                    Address on file
30256958     Name on file                                    Address on file
30257708     Name on file                                    Address on file
30292941     Name on file                                    Address on file
29972679     Rockwall CAD                                    Linebarger Goggan Blair & Sampson, LLP   c/o John Kendrick Turner              3500 Maple Avenue      Suite 800          Dallas                  TX           75219
30273515     Name on file                                    Address on file
30262029     Name on file                                    Address on file



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ADDRESS ID                             NAME                               ADDRESS 1                             ADDRESS 2                         ADDRESS 3      ADDRESS 4              CITY        STATE     POSTAL CODE   COUNTRY
30253966     Name on file                                   Address on file
30331240     Name on file                                   Address on file
30280003     Name on file                                   Address on file
30291200     Name on file                                   Address on file
30264029     Name on file                                   Address on file
30280718     Name on file                                   Address on file
30279048     Name on file                                   Address on file
30276566     Name on file                                   Address on file
30222474     Name on file                                   Address on file
30273716     Name on file                                   Address on file
30287604     Name on file                                   Address on file
30223952     Name on file                                   Address on file
30260931     Name on file                                   Address on file
30258223     Name on file                                   Address on file
30287757     Name on file                                   Address on file
30274031     Name on file                                   Address on file
30287048     Name on file                                   Address on file
30283678     Name on file                                   Address on file
30294917     Name on file                                   Address on file
30294534     Name on file                                   Address on file
30276515     Name on file                                   Address on file
30283666     Name on file                                   Address on file
30331598     Name on file                                   Address on file
30225365     Name on file                                   Address on file
30274687     Name on file                                   Address on file
30225168     Name on file                                   Address on file
30284027     Name on file                                   Address on file
29942510     SCOTT SEKELLA                                  Address on file
30274057     Name on file                                   Address on file
30291904     Name on file                                   Address on file
30279696     Sekella, Scott                                 Address on file
30279673     Sekella, Scott                                 Address on file
30285105     Name on file                                   Address on file
30331644     Name on file                                   Address on file
30296354     Name on file                                   Address on file
30278019     Name on file                                   Address on file
30224111     Name on file                                   Address on file
30295519     Name on file                                   Address on file
30292792     Name on file                                   Address on file
30288163     Name on file                                   Address on file
30262434     Name on file                                   Address on file
30229345     Name on file                                   Address on file
30258281     Name on file                                   Address on file
30263343     Sierra Pacific Power Company d/b/a NV Energy   6100 Neil Road MS/S1A20                                                                                          Reno              NV           89511
30222016     Name on file                                   Address on file
30276714     Name on file                                   Address on file
30281959     Name on file                                   Address on file
30282444     Skagit County Treasurer                        PO BOX 518                                                                                                       Mount Vernon      WA           98284
30259839     Name on file                                   Address on file
29972681     Smith County                                   Linebarger Goggan Blair & Sampson, LLP   c/o John Kendrick Turner            3500 Maple Avenue    Suite 800      Dallas            TX           75219
30162114     Smith, Brandon                                 Address on file
30181835     Smith, Brandon Michael                         Address on file
30284957     Name on file                                   Address on file
30281202     Name on file                                   Address on file



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ADDRESS ID                             NAME                                ADDRESS 1                                 ADDRESS 2                           ADDRESS 3       ADDRESS 4                CITY        STATE     POSTAL CODE     COUNTRY
30232059     Snohomish County Treasurer                     3000 Rockefeller Ave                         M/S 501                                                                     Everett             WA           98201
30222600     Name on file                                   Address on file
30257390     Name on file                                   Address on file
30291765     Southwest Commons 05 A, LLC                    Fennemore Craig, P.C.                        Attn: Patrick R. Akers                3615 Delgany Street    Suite 1100     Denver              CO           80216
                                                            Perdue, Brandon, Fielder, Collins & Mott,
30181527     Spring Branch Independent School District      L.L.P.                                       Melissa E Valdez                      1235 North Loop West   Suite 600      Houston             TX           77008
30283432     Name on file                                   Address on file
30229439     Name on file                                   Address on file
30284560     Name on file                                   Address on file
30262979     Name on file                                   Address on file
30225134     Name on file                                   Address on file
30286083     Name on file                                   Address on file
30276990     Name on file                                   Address on file
29944387     STEPHEN KUZEMCHAK                              Address on file
30257418     Name on file                                   Address on file
30277212     Name on file                                   Address on file
30279661     Name on file                                   Address on file
30276655     Name on file                                   Address on file
30294358     Name on file                                   Address on file
30282318     Name on file                                   Address on file
30222744     Name on file                                   Address on file
30280704     Name on file                                   Address on file
30295574     Name on file                                   Address on file
30164933     Sun Li Fung Trading                            Leong Wai Keong                              Rua Central Da Areia Preta            Tower 2                16/H           Macau, CN                                        China
30277016     Name on file                                   Address on file
30232123     Name on file                                   Address on file
                                                                                                         Attn: Andrew Harmeyer and Alex
30331694     SVP Sewing Brands LLC                          c/o Milbank LLP                              Miller                                55 Hudson Yards                       New York            NY           10001
                                                                                                         Attn: Andrew Harmeyer and Alex
30331681     SVP Sewing Brands LLC                          c/o Milbank LLP                              Miller                                55 Hudson Yards                       New York            NY           10001
29972684     Tarrant County                                 Linebarger Goggan Blair & Sampson, LLP       c/o John Kendrick Turner              3500 Maple Avenue      Suite 800      Dallas              TX           75219
29976118     Taxing Districts Collected by Randall County   Alysia Córdova                               P.O. Box 9132                                                               Amarillo            TX           79105
30257016     Name on file                                   Address on file
30294607     Name on file                                   Address on file
30279188     Name on file                                   Address on file
30258939     Name on file                                   Address on file
30262166     Name on file                                   Address on file
30282015     The City and County of Denver                  Attn: Bankruptcy                             201 W. Colfax Ave., MC 1001           Dept 1009                             Denver              CO           80202
29972456     The County of Brazos, Texas                    McCreary, Veselka, Bragg & Allen, P.C.       Attn: Julie Anne Parsons              P.O. Box 1269                         Round Rock          TX           78680‐1269

30197728     The County of Brazos, Texas                    c/o McCreary, Veselka, Bragg & Allen, P.C.   Attn: Julie Anne Parsons              P.O. Box 1269                         Round Rock          TX           78680‐1269
29972459     The County of Comal, Texas                     McCreary, Veselka, Bragg & Allen, P.C.       Attn: Julie Anne Parsons              P.O. Box 1269                         Round Rock          TX           78680‐1269

30182729     The County of Comal, Texas                     c/o McCreary, Veselka, Bragg & Allen, P.C.   Attn: Julie Anne Parsons              P.O. Box 1269                         Round Rock          TX           78680‐1269
29972462     The County of Denton, Texas                    McCreary, Veselka, Bragg & Allen, P.C.       Attn: Julie Anne Parsons              P.O. Box 1269                         Round Rock          TX           78680‐1269

30182722     The County of Denton, Texas                    c/o McCreary, Veselka, Bragg & Allen, P.C.   Attn: Julie Anne Parsons              P.O. Box 1269                         Round Rock          TX           78680‐1269
29972506     The County of Williamson, Texas                McCreary, Veselka, Bragg & Allen, P.C.       Attn: Julie Anne Parsons              P.O. Box 1269                         Round Rock          TX           78680‐1269

30182714     The County of Williamson, Texas                c/o McCreary, Veselka, Bragg & Allen, P.C.   Attn: Julie Anne Parsons              P.O. Box 1269                         Round Rock          TX           78680‐1269
30277103     Name on file                                   Address on file
30289421     Thomas, Victoria                               Address on file
30262158     Name on file                                   Address on file
30291019     Name on file                                   Address on file



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ADDRESS ID                             NAME                                    ADDRESS 1                       ADDRESS 2                             ADDRESS 3      ADDRESS 4                   CITY        STATE     POSTAL CODE     COUNTRY
             TNT Investments One, a CA general partnership,
             and Judy Zimmerer, Trustee of the Judy M.
30331806     Zimmerer Tr                                      7090 N Marks Ave.                    Suite 102                                                                    Fresno                 CA           93711
30165120     Today's Treasures Inc                            8F., No. 8, Sec. 2, Nanjing E. Rd.                                                                                Taipei, TW                          10417           China
30222513     Name on file                                     Address on file
30260593     Name on file                                     Address on file
30401370     TOWN OF BROOKFIELD ‐ TAX COLLECTOR               ROBERTA Q. SINATRA                   100 POCONO RD                         PO BOX 508                             BROOKFIELD             CT           06752
29946358     TOWN OF DARTMOUTH, MA                            400 SLOCUM ROAD                                                                                                   DARTMOUTH              MA           02747
30217640     Town of Southington Tax Collector                75 Main St PO Box 579                                                                                             Southington            CT           06489
30276907     Name on file                                     Address on file
30287681     Traverse City Light & Power (TCLP)               1131 Hastings St                                                                                                  Traverse City          MI           49686
30347099     Treasurer Chesterfield County                    PO Box 70                                                                                                         Chesterfield           VA           23832
30283115     Name on file                                     Address on file
30258719     Name on file                                     Address on file
30163101     Tri d'Art International Ltd.                     4F NO. 32, LN. 407 SEC. 2,           TIDING BLVD., NEIHU                                                          TAIPEI, TW                                          TAIWAN
30184225     Tri Marsh Realty LLC                             Attn: Boaz Avnery                    4801 Harbor Dr                                                               Flower Mound           TX           75022
30263264     Name on file                                     Address on file
30260426     Name on file                                     Address on file
30224046     Name on file                                     Address on file
30200506     United Staffing Associates, LLC                  505 HIGUERA ST                       C/o United Staffing                                                          San Luis Obispo        CA           93401
             United Steel, Paper and Forestry, Rubber,
             Manufacturing, Energy, Allied Industrial and
30282227     Service Worke                                    Attn: David Jury, General Counsel    60 Boulevard of the Allies            Room 807                               Pittsburgh             PA           15222
30279687     Name on file                                     Address on file
30260091     Name on file                                     Address on file
30273547     Name on file                                     Address on file
30211664     Name on file                                     Address on file
30297662     VCCG Grapevine Centre, LLC                       1340 S. Main Street                  Suite 305                                                                    Grapevine              TX           76051
30280285     Name on file                                     Address on file
30280847     Name on file                                     Address on file
29953769     VILLEGAS, VICTORIA                               Address on file
30292152     Name on file                                     Address on file
30285035     Name on file                                     Address on file
30275414     Name on file                                     Address on file
30276027     Name on file                                     Address on file
30331526     Waste Management National Services, Inc.         Attn: Jacquolyn Mills                800 Capitol Street                    Ste. 3000                              Houston                TX           77002
30256513     Name on file                                     Address on file
30331641     West Broadway Distribution Services, LLC         c/o Leichtman Law PLLC               Maura I Russell                       185 Madison Avenue      15th Floor     New York               NY           10016
30293311     Name on file                                     Address on file
30289487     Name on file                                     Address on file
30292708     Name on file                                     Address on file
30257457     Name on file                                     Address on file
30222111     Name on file                                     Address on file
30287559     Name on file                                     Address on file
29964532     WILLIAM HANSEN                                   Address on file
30200602     WILLIAMS, CORA                                   Address on file
30274372     Name on file                                     Address on file
30262901     Name on file                                     Address on file
30218679     Name on file                                     Address on file
                                                              ATTN: PATRICK HEALY, SENIOR VICE
29948181     WILMINGTON SAVINGS FUND SOCIETY, FSB             PRESIDENT, GLOBAL CAPITAL MARKETS    500 DELAWARE AVENUE                   11TH FLOOR                             WILMINGTON             DE           19801
30287457     Name on file                                     Address on file
30258364     Name on file                                     Address on file
29947538     WILSON‐HENSLEY, VICTORIA                         Address on file



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                                                                                                                  Exhibit I
                                                                                                            Unimpaired Service List
                                                                                                            Served via first class mail


ADDRESS ID                             NAME                     ADDRESS 1                         ADDRESS 2                           ADDRESS 3         ADDRESS 4                CITY        STATE     POSTAL CODE     COUNTRY
30295740     Name on file                        Address on file
30259177     Name on file                        Address on file
30280706     Name on file                        Address on file
30357219     WOO JIN CORP                        SUYEON KIM                            2 FL, 13‐17, PYEONGNI‐RO             35GIL, SEO‐GU                           DAEGU                            41845           SOUTH KOREA
30357221     WOO JIN CORP                        SUYEON KIM                            2 FL, 13‐17, PYEONGNI‐RO             35GIL, SEO‐GU                           DAEGU                            41845           SOUTH KOREA
30224839     Name on file                        Address on file
30216146     Woodmont Criterion Slidell GP LLC   2100 W 7th Street                                                                                                  Fort Worth          TX           76107
30257577     Name on file                        Address on file
30258567     Name on file                        Address on file
30292447     Workday, Inc.                       Perkins Coie LLP                      Attn: Bradley A. Cosman              2525 E. Camelback Road   Suite 500      Phoenix             AZ           85016
30261527     Name on file                        Address on file
30296135     XTRA Lease LLC                      c/o Bryan Cave Leighton Paisner LLP   Attn: David Unseth                   211 N. Broadway          Suite 3600     St. Louis           MO           63102
30163946     Yakima County Treasurer             PO Box 22530                                                                                                       Yakima              WA           98907
30284419     Name on file                        Address on file
30286762     YAVAPAI COUNTY TREASURER            1015 FAIR ST                                                                                                       PRESCOTT            AZ           86305
30259927     Name on file                        Address on file
30260897     Name on file                        Address on file
30296688     Name on file                        Address on file




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                         Exhibit J
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                                                                               Exhibit J
                                                                         Impaired Service List
                                                                         Served via first class mail

  ADDRESS ID                      NAME                       ADDRESS 1                         ADDRESS 2         CITY        STATE     POSTAL CODE     COUNTRY
29904959           BARINGS CLO LTD 2015 I            300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904960           BARINGS CLO LTD 2015 II           300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904961           BARINGS CLO LTD 2016 I            300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904962           BARINGS CLO LTD 2017 I            300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904963           BARINGS CLO LTD 2018 I            300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904964           BARINGS CLO LTD 2018 II           300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904965           BARINGS CLO LTD 2018 III          300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904966           BARINGS CLO LTD 2018 IV           300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904967           BARINGS CLO LTD 2019 I            300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904968           BARINGS CLO LTD 2019 II           300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904969           BARINGS CLO LTD 2019 IV           300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904970           BARINGS CLO LTD 2020 I            300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904971           BARINGS CLO LTD 2020 IV           300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904972           BARINGS CLO LTD 2021 I            300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904973           BARINGS CLO LTD 2021 II           300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904974           BARINGS CLO LTD 2021 III          300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904975           BARINGS LOAN PARTNERS CLO LTD 1   300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904976           BARINGS LOAN PARTNERS CLO LTD 2   300 SOUTH TRYON ST           SUITE 2500                  CHARLOTTE     NC       28202
29904978           CEDE & CO                         570 WASHINGTON BLVD                                      JERSEY CITY   NJ       07310
29904977           JEFFERIES CAPITAL SERVICES LLC    ATTN DENISE JACQUES          520 MADISON AVE 3RD FLOOR   NEW YORK      NY       10022
29904958           SPINRITE INC                      320 LIVINGSTONE AVE SOUTH                                LISTOWEL      ON       N4W 3H3         CANADA




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                         Exhibit K
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                                                                                                 Exhibit K
                                                                                    Core/2002 First Class Mail Service List
                                                                                          Served via first class mail

                        NAME                           NOTICE NAME                               ADDRESS 1                                       ADDRESS 2                        CITY       STATE POSTAL CODE
INTERNAL REVENUE SERVICE                    CENTRALIZED INSOLVENCY OPERATION   1111 PENNSYLVANIA AVE NW                                                                      WASHINGTON      DC   20004‐2541
INTERNAL REVENUE SERVICE                    CENTRALIZED INSOLVENCY OPERATION   P.O. BOX 7346                                                                                 PHILADELPHIA    PA   19101‐7346
MEYERS, RODBELL & ROSENBAUM, P.A.           ATTN: NICOLE C. KENWORTHY          6801 KENILWORTH AVENUE                         SUITE 400                                      RIVERDALE       MD   20737‐1385
NATIONAL ASSOCIATION OF ATTORNEYS GENERAL   ATTN: KAREN CORDRY                 1850 M ST., NW 12TH FLOOR                                                                     WASHINGTON      DC   20036
PUERTO RICO ATTORNEY GENERAL                ATTN: BANKRUPTCY DEPT              PO BOX 9020192                                                                                SAN JUAN        PR   00902‐0192
STATE OF ALABAMA ATTORNEY GENERAL           ATTN: BANKRUPTCY DEPT              501 WASHINGTON AVE.                            P.O. BOX 300152                                MONTGOMERY      AL   36130‐0152
STATE OF ARKANSAS ATTORNEY GENERAL          ATTN: BANKRUPTCY DEPT              323 CENTER ST.                                 SUITE 200                                      LITTLE ROCK     AR   72201‐2610
STATE OF COLORADO ATTORNEY GENERAL          ATTN: BANKRUPTCY DEPT              RALPH L. CARR COLORADO JUDICIAL CENTER         1300 BROADWAY, 10TH FLOOR                      DENVER          CO   80203
STATE OF FLORIDA ATTORNEY GENERAL           ATTN: BANKRUPTCY DEPT              THE CAPITOL, PL 01                                                                            TALLAHASSEE     FL   32399‐1050
STATE OF GEORGIA ATTORNEY GENERAL           ATTN: BANKRUPTCY DEPT              40 CAPITAL SQUARE, SW                                                                         ATLANTA         GA   30334‐1300
STATE OF HAWAII ATTORNEY GENERAL            ATTN: BANKRUPTCY DEPT              425 QUEEN ST                                                                                  HONOLULU        HI   96813
STATE OF IDAHO ATTORNEY GENERAL             ATTN: BANKRUPTCY DEPT              700 W. JEFFERSON STREET, SUITE 210             P.O. BOX 83720                                 BOISE           ID   83720‐1000
STATE OF INDIANA ATTORNEY GENERAL           ATTN: BANKRUPTCY DEPT              302 W. WASHINGTON ST.                          5TH FLOOR                                      INDIANAPOLIS    IN   46204
STATE OF KANSAS ATTORNEY GENERAL            ATTN: BANKRUPTCY DEPT              120 SW 10TH AVE., 2ND FLOOR                                                                   TOPEKA          KS   66612‐1597
STATE OF KENTUCKY ATTORNEY GENERAL          ATTN: BANKRUPTCY DEPT              700 CAPITOL AVENUE, SUITE 118                                                                 FRANKFORT       KY   40601‐3449
STATE OF MASSACHUSETTS ATTORNEY GENERAL     ATTN: BANKRUPTCY DEPT              ONE ASHBURTON PLACE                                                                           BOSTON          MA   02108‐1698
STATE OF MINNESOTA ATTORNEY GENERAL         ATTN: BANKRUPTCY DEPT              SUITE 102. STATE CAPITAL                       75 DR. MARTIN LUTHER KING JR. BLVD.            ST. PAUL        MN   55155
STATE OF MISSISSIPPI ATTORNEY GENERAL       ATTN: BANKRUPTCY DEPT              550 HIGH STREET                                SUITE 1200                                     JACKSON         MS   39201
STATE OF NEW MEXICO ATTORNEY GENERAL        ATTN: BANKRUPTCY DEPT              P.O. DRAWER 1508                                                                              SANTA FE        NM   87504‐1508
STATE OF NEW YORK ATTORNEY GENERAL          ATTN: BANKRUPTCY DEPT              DEPT. OF LAW                                   THE CAPITOL, 2ND FLOOR                         ALBANY          NY   12224‐0341
STATE OF NORTH CAROLINA ATTORNEY GENERAL    ATTN: BANKRUPTCY DEPT              DEPT. OF JUSTICE                               P.O. BOX 629                                   RALEIGH         NC   27602‐0629
STATE OF OHIO ATTORNEY GENERAL              ATTN: BANKRUPTCY DEPT              STATE OFFICE TOWER                             30 E. BROAD ST., 14TH FLOOR                    COLUMBUS        OH   43266‐0410
STATE OF OKLAHOMA ATTORNEY GENERAL          ATTN: BANKRUPTCY DEPT              313 NE 21ST STREET                                                                            OKLAHOMA CITY   OK   73105
STATE OF PENNSYLVANIA ATTORNEY GENERAL      ATTN: BANKRUPTCY DEPT              STRAWBERRY SQUARE                              16TH FLOOR                                     HARRISBURG      PA   17120
STATE OF RHODE ISLAND ATTORNEY GENERAL      ATTN: BANKRUPTCY DEPT              150 SOUTH MAIN STREET                                                                         PROVIDENCE      RI   02903‐0000
STATE OF SOUTH CAROLINA ATTORNEY GENERAL    ATTN: BANKRUPTCY DEPT              REMBERT C. DENNIS OFFICE BLDG.                 P.O. BOX 11549                                 COLUMBIA        SC   29211‐1549
STATE OF VERMONT ATTORNEY GENERAL           ATTN: BANKRUPTCY DEPT              109 STATE ST.                                                                                 MONTPELIER      VT   05609‐1001
STATE OF VIRGINIA ATTORNEY GENERAL          ATTN: BANKRUPTCY DEPT              202 NORTH NINTH STREET                                                                        RICHMOND        VA   23219
STATE OF WASHINGTON ATTORNEY GENERAL        ATTN: BANKRUPTCY DEPT              1125 WASHINGTON ST. SE                         P.O. BOX 40100                                 OLYMPIA         WA   98504‐0100
STATE OF WISCONSIN ATTORNEY GENERAL         ATTN: BANKRUPTCY DEPT              WISCONSIN DEPARTMENT OF JUSTICE                STATE CAPITOL, ROOM 114 EAST, P. O. BOX 7857   MADISON         WI   53707‐7857
STATE OF WYOMING ATTORNEY GENERAL           ATTN: BANKRUPTCY DEPT              123 CAPITOL BUILDING                           200 W. 24TH STREET                             CHEYENNE        WY   82002
UNITED STATES DEPARTMENT OF JUSTICE         ATTN: BANKRUPTCY DEPT              955 PENNSLYVANIA AVENUE, NW                                                                   WASHINGTON      DC   20530‐0001
UNITED STATES OF AMERICA ATTORNEY GENERAL   ATTN: BANKRUPTCY DEPT              US DEPT OF JUSTICE                             950 PENNSYLVANIA AVE NW                        WASHINGTON      DC   20530‐0001




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                                                                                                                                       Exhibit L
                                                                                                                       Master Mailing First Class Mail Service List
                                                                                                                                 Served via first class mail


  ADDRESS ID                           NAME                          ADDRESS 1                           ADDRESS 2                           ADDRESS 3                      ADDRESS 4                     CITY        STATE     POSTAL CODE        COUNTRY
30211229          /N SOFTWARE INC                       101 EUROPA DR, STE 110                                                                                                          CHAPEL HILL              NC           27517
29904979          0313 BLOOMINGDALE COURT LLC           867625 RELIABLE PARKWAY                                                                                                         CHICAGO                  IL           60686
29904980          0728 DOWNEAST ASSOCIATES LIMITED PS   THE PLAZA AT BUCKLAND HILLS           PO BOX 713120                                                                             CHICAGO                  IL           60677‐0320
30211230          100 LAYER CAKE                        12827 BONAPARTE AVE                                                                                                             LOS ANGELES              CA           90066
                                                                                                 ATTN: RAYMOND CHENG, ACCOUNT
30213096          1000 BOSTON TURNPIKE LLC              139 FRONT STREET                         MGR.                                                                                   FALL RIVER               MA           02721
29950621          1397225 ONTARIO LIMITED               160 FRONT ST WEST, SUITE 3200                                                                                                   TORONTO                  ON           M5J 2L6         CANADA
30213402          1645 N. SPRING STREET, LLC            ATTN: TODD HEDBERG                       718 PARK AVENUE                                                                        BEAVER DAM               WI           53916
29953572          1800 CRAWFORD RD LLC                  172 S. BROADWAY                                                                                                                 WHITE PLAINS             NY           10605
30211232          1‐800‐GOT‐JUNK LLC                    DEPT 3419                                PO BOX 123419                                                                          DALLAS                   TX           75312‐3419
29953574          1903P LOAN AGENT, LLC                 C/O CHAOTT, HALL & STEWART LLP           TWO INTERNATIONAL PLACE                                                                BOSTON                   MA           02110
30211638          1943 HOLDINGS LLC                     4020 KINROSS LAKES PARKWAY               SUITE 200                                                                              RICHFIELD                OH           44286
                                                        c/o Benesch Friedlander Coplan & Aronoff
30331295          1943 Holdings LLC                     LLPL                                     Attn: Elliot M. Smith        127 Public Square                  Suite 4900             Cleveland                OH           44114
                                                        c/o Benesch, Friedlander, Coplan &
30331324          1943 Holdings LLC                     Aronoff LLP                              Attn: Elliot M. Smith        127 Public Square                  Suite 4900             Cleveland                OH           44114
                                                                                                 4020 KINROSS LAKES PARKWAY,
30213633          1943 HOLDINGS LLC                     C/O IRG REALTY ADVISORS, LLC             SUITE 200                                                                              RICHFIELD                OH           44286

30213433          200 LINCOLN RETAIL LLC                C/O THE LUND COMPANY                  450 REGENCY PARKWAY, SUITE 200                                                            OMAHA                    NE           68114

30213574          24 HR VEGAS, LLC                      2200 PASEO VERDE PARKWAY, SUITE 260 ATTN: SANJIV CHOPRA                                                                         HENDERSON                NV           89052
30296264          24 HR Vegas, LLC                      Attn: CEO or COO                    2200 Paseo Verde Parkway             Suite 260                                              Henderson                NV           89052
30213591          259 INDIANA HOLDING, LLC              543 BAY STREET                      ATTN: ALEXANDER LEVIN                                                                       STATEN ISLAND            NY           10304
29953582          2MARKET VISUALS                       903 E. DOUGLAS AVE., STE. B                                                                                                     VISALIA                  CA           93292
29904985          Name on file                          Address on file
29904986          32ND INDIAN SCHOOL INVESTORS LLC      9120 E TALKING STICK WAY                                                                                                        SCOTTSDALE               AZ           85250
29950622          3551300 CANADA INC.                   74 TURGEON                                                                                                                      MONTREAL                 QC           H4C 2N1         CANADA

29950623          37 CAPITAL CLO 1, LTD.                100 FEDERAL STREET, MAIL STOP M26A    ATTENTION: PUTNAM LEGAL TEAM                                                              BOSTON                   MA           02110

29904987          380 TOWNE CROSSING LP                 C/O YOUNGER PARTNERS INVESTMENTS      ATTN: MICAH ASHFORD           14643 DALLAS PKWY.                   STE. 950               DALLAS                   TX           75254
                                                                                              ATTN: BENJAMIN SMITH, YOUNGER
30213381          380 YOUNGER LLC                       14643 DALLAS PARKWAY, SUITE 950       PARTNERS                                                                                  DALLAS                   TX           75254
29904989          3CLOUD LLC                            3025 HIGHLAND PKWY, #525                                                                                                        DOWNERS GROVE            IL           60515
29904991          3L CORPORATION                        3710 RIVER RD, SUITE 400                                                                                                        FRANKLIN PARK            IL           60131
30213244          4101 TRANSIT REALTY, LLC              C/O GEORGE BUTSIKARIS REALTY, INC.    9210 4TH AVENUE                                                                           BROOKLYN                 NY           11209
30213653          4107 TELEGRAPH, LLC                   1995 BALMORAL DRIVE                   ATTN: MRS. JUDITH PRIMAK                                                                  DETROIT                  MI           48203
30213176          4405 MILESTRIP HD LESSEE LLC          C/O NORTHPATH INVESTMENTS             144 EAST 44TH STREET, SUITE 601                                                           ELMSFORD                 NY           10523
29954212          45755 NORTHPORT LOOP WEST LLC         DE ANZA PROPERTIES 4 LLC              PO BOX 207595                                                                             DALLAS                   TX           75320‐7595
29954213          48FORTY SOLUTIONS LLC                 PO BOX 849729                                                                                                                   DALLAS                   TX           75284‐9729
30210984          4908 ASSOCIATES LLC                   C/O KOENIG MANAGEMENT LTD.            151 N. MAIN STREET, SUITE 400                                                             NEW CITY                 NY           10956
                                                                                              ATTN: BYRON A. MARSHALL,
29954214          4908 ASSOCIATES LLC                   C/O KOENIG MANAGEMENT LTD.            COMMERICAL                         151 N. MAIN STREET, SUITE 400                          NEW CITY                 NY           10956
29954216          Name on file                          Address on file
30213658          5‐MILE INVESTMENT COMPANY             ATTN: STEJER DEVELOPMENT              PO BOX 9368                                                                               SPOKANE                  WA           99209
30210869          700 ALAMA INVESTMENTS, LLC            C/O MADISON PARTNERS, LLC             2622 COMMERCE STREET                                                                      DALLAS                   TX           75226
29954219          700 ALAMA INVESTMENTS, LLC            C/O MADISON PARTNERS, LLC             ATTN: MARK CARTER                  2622 COMMERCE STREET                                   DALLAS                   TX           75226
29904996          700 ALMA INVESTMENTS LLC              C/O MADISON PARTNERS, LLC             2622 COMMERCE STREET                                                                      DALLAS                   TX           75226
30279826          700 Alma Investments, LLC             2622 Commerce Street                                                                                                            Dallas                   TX           75226
29904997          Name on file                          Address on file
29904998          86 LLC                                MATTER MEDIA GROUP                    527 W. 7TH STREET, STE. 607                                                               LOS ANGELES              CA           90017
29949780          93 FLRPT LLC                          7978 COOPER CREEK BLVD.                                                                                                         UNIVERSITY PARK          FL           34201‐2139
29904999          93 FLRPT LLC                          PO BOX 713201                                                                                                                   PHILADELPHIA             PA           19171‐3201
30395780          93 NYRPT, LLC                         570 Delaware Avenue                                                                                                             Buffalo                  NY           14202
29949779          93 NYRPT, LLC                         7978 COOPER CREEK BLVD.               STE 100                                                                                   UNIVERSITY PARK          FL           34201‐2139
29905000          93 NYRPT, LLC                         PO BOX 713201                                                                                                                   PHILADELPHIA             PA           19171‐3201
29905002          9395 CH LLC                           95 ORRPT LLC                          PO BOX 823201                                                                             PHILADELPHIA             PA           19182‐3201
                                                        7978 COOPER CREEK BOULEVARD, SUITE
30213690          95 ORRPT, LLC                         100                                   ATTN: LEGAL DEPARTMENT                                                                    UNIVERSITY PARK          FL           34201
29905004          Name on file                          Address on file
30296108          A I Longview LLC                      c/o American Industries Inc.          5440 SW Westgate Drive             Suite 250                                              Portland                 OR           97221
30296107          A I Longview LLC                      Perkins Coie LLP                      Attn: Douglas A P                  1120 NW Couch Street            Tenth Floor            Portland                 OR           97209




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                                                                                                                                  Exhibit L
                                                                                                                  Master Mailing First Class Mail Service List
                                                                                                                            Served via first class mail


  ADDRESS ID                           NAME                      ADDRESS 1                           ADDRESS 2                         ADDRESS 3                 ADDRESS 4                     CITY        STATE     POSTAL CODE         COUNTRY
29905006          Name on file                      Address on file
30214410          A W FABER CASTELL USA INC         9450 ALLEN DRIVE                                                                                                         CLEVELAND                OH           44125
29954466          Name on file                      Address on file
29972785          Name on file                      Address on file
29954467          A. ADILI                          Address on file
29954468          A. BEY                            Address on file
29954469          A. CARAVELLA                      Address on file
29954470          A. CAYLAK                         Address on file
29954471          A. COHN                           Address on file
29954472          A. DENISE                         Address on file
29954473          A. GARCIA                         Address on file
29954474          A. GHISLETTA                      Address on file
29954475          A. HARRIS                         Address on file
29905007          A. HUNTLEY                        Address on file
29905008          A. IVERSON                        Address on file
29905009          A. KUZNIA                         Address on file
29905010          A. OROPEZA                        Address on file
29905011          A. PENNYCOOKE                     Address on file
29905012          A. THAO                           Address on file
29905013          A. VARELA                         Address on file
                                                                                          5440 SW WESTGATE DRIVE, SUITE
30213142          A.I. LONGVIEW LLC                 DBA HEDINGER GROUP                    250                                                                                PORTLAND                 OR           97221
30262451          Name on file                      Address on file
30341154          A.W. FABER‐CASTELL USA INC        9000 RIO NERO DRIVE                                                                                                      CLEVELAND                OH           44131
29953883          A‐1 EMPLOYMENT INC                400 S 8TH ST #101                                                                                                        OPELIKA                  AL           36801
29953884          A‐1 HOSPITALITY HOTELS LLC        FAIRFIELD INN KENNEWICK, WA.          7809 W. QUINAULT AVE.                                                              KENNEWICK                WA           99336
29953885          AA BLUEPRINT COMPANY INC          2757 GILCHRIST ROAD                                                                                                      AKRON                    OH           44305‐4400
29953886          AAA COOPER TRANSPORTATION         PO BOX 935003                                                                                                            ATLANTA                  GA           31193
30415057          Name on file                      Address on file
29905025          AALIYAH MCGRIFF                   Address on file
30354810          Name on file                      Address on file
29905029          AARON BINKLEY                     Address on file
29905035          AARON CLOUSE                      Address on file
30212147          AARON CUTLER MEMORIAL LIBRARY     269 CHARLES BANCROFT HIGHWAY                                                                                             LITCHFIELD               NH           03052
30212983          AARON FRENCH                      Address on file
30211234          Name on file                      Address on file
29905064          AASD TAX OFFICE STEVENS BLDG      200 E CRAWFORD AVE REAR                                                                                                  ALTOONA                  PA           16602
                                                    ATTN: HAMMAD HASSAN, GENERAL          LASANI PULLI, NEAR KHAYABAN
29904951          AB EXPORTS                        MANAGER                               GARDENS                           SERGODHA ROAD                                    FAISALABAD, PUNJAB                    38000           PAKISTAN
30211235          Name on file                      Address on file

29954491          ABB CONSTRUCTION LLC              DBA ACCELERATED CONSTRUC. SERV. LLC   300 BUSINESS PARK DR.                                                              MORGANTOWN               WV           26505
30351212          Name on file                      Address on file
30357771          Name on file                      Address on file
IC_001            Abby Houston                      Address on file
29905105          Name on file                      Address on file
29905106          ABCWUA                            PO BOX 27226                                                                                                             ALBUQUERQUE              NM           87125‐7226
30394727          Name on file                      Address on file
30342535          Name on file                      Address on file
30340695          Name on file                      Address on file
30210687          ABG INTERMEDIATE HOLDINGS 2 LLC   1411 BROADWAY, 2181 FLOOR                                                                                                NEW YORK                 NY           10018
30229373          ABG Intermediate Holdings 2 LLC   c/o Authentic Brands Group            Attn: Finance Department          1411 Broadway, 21st Floor                        New York                 NY           10018
29905118          ABH DIVISION OF CH ROBINSON       WORLDWIDE INC                         PO BOX 9121                                                                        MINNEAPOLIS              MN           55480
29905120          ABHISHEK AGGARWAL                 Address on file
29952529          ABIGAIL DRURY                     Address on file
29905196          ABIGAIL J HOUSTON                 Address on file
29905261          ABIGAIL TREGO                     Address on file
29951519          ABIGALE FRANCHINO                 Address on file
29951527          ABILENE CLACK STREET LLC          PARK CENTRAL SHOPPING CTR             1700 GEORGE BUSH DR E. #240                                                        COLLEGE STATION          TX           77840‐3302
30213501          ABILENE CLACK STREET, LLC         1700 GEORGE BUSH DRIVE E, SUITE 240   ATTN: JOHN C. CULPEPPER                                                            COLLEGE STATION          TX           77840‐3302
30209575          ABILENE PUBLIC LIBRARY            202 N. CEDAR                                                                                                             ABILENE                  TX           79601
29905282          ABM INDUSTRIES GROUPS LLC         PO BOX 643823                                                                                                            PITTSBURGH               PA           15264‐3823
29905286          Name on file                      Address on file




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                                                                                                                          Master Mailing First Class Mail Service List
                                                                                                                                    Served via first class mail


  ADDRESS ID                           NAME                               ADDRESS 1                           ADDRESS 2                          ADDRESS 3               ADDRESS 4                   CITY        STATE     POSTAL CODE           COUNTRY
30340470          Name on file                               Address on file
30213055          ABRAMS & MOCKINGBIRD #1, LTD.              ATTN: STEVE SHELLENBERGER             7557 RAMBLER ROAD, SUITE 915                                                      DALLAS                 TX           75231
29954521          ABRAMS MOCKINGBIRD #1 LTD                  C/O MACLAY PROPERTIES CO              7557 RAMBLER ROAD STE 965                                                         DALLAS                 TX           75231
29905294          Name on file                               Address on file
29905296          ABSOLUTE MEDIA INC                         1150 SUMMER STREET                                                                                                      STAMFORD               CT           06905
30401540          Name on file                               Address on file
29905299          A‐C ELECTRIC COMPANY                       BOX#81977                                                                                                               BAKERSFIELD            CA           93380
                                                                                                   5151 E. BROADWAY BLVD, SUITE
30213385          ACACIA‐TUCSON, LLC                         C/O CUSHMAN & WAKEFIELD L PICOR       115                                                                               TUCSON                 AZ           85711
29905303          ACADIA MERRILLVILLE REALTY LP              ACCOUNT #0005‐004509                  PO BOX 415980                                                                     BOSTON                 MA           02241‐5980
                                                                                                   411 THEODORE FREMD AVENUE,
30213434          ACADIA MERRILLVILLE REALTY, L.P.           C/O ACADIA REALTY TRUST               SUITE 300                                                                         RYE                    NY           10580
29905309          ACBM HOLDINGS INC                          IRONMARKETS                           201 NORTH MAIN STREET, #350                                                       FORT ATKINSON          WI           53538
29905310          ACC WATER BUSINESS                         PO BOX 106058                                                                                                           ATLANTA                GA           30348‐6058
30211237          ACCEL GROUP                                325 QUADRAL DR                                                                                                          WADSWORTH              OH           44281‐9571
30211239          ACCESS FLOOR SPECIALISTS LLC               PO BOX 758                                                                                                              HUDSON                 OH           44236
29905312          ACCHROMA INC                               4747 MANUFACTURING AVE.                                                                                                 CLEVELAND              OH           44135
30200535          ACCUQUILT, LLC                             PO Box 771470                                                                                                           St Louis               MO           63177‐2470
29905315          ACE AMERICAN INSURANCE CO                  ESIS                                  CHUBB, DEPT CH 10123                                                              PALATINE               IL           60055‐0123
29905316          Name on file                               Address on file
30211240          ACE GIFT & CRAFT (NINGBO) CO LTD           8# DONGBEI ROAD                       130                                                                               NINGBO                              315157          CHINA
29950625          ACELLORIES INC                             5 JULES LANE                                                                                                            NEW BRUNSWICK          NJ           08901
30335429          Name on file                               Address on file
30213599          ACS REYNOLDS PLAZA OH, LLC                 350 PINE STREET, SUITE 800                                                                                              BEAUMONT               TX           77701
29905322          ACTION BASED RESEARCH LLC                  2966 WEST BATH ROAD                                                                                                     AKRON                  OH           44333
30211241          ACTION BOYD LLC                            ACTION MARINE                         2481 HWY 431 N.                                                                   DOTHAN                 AL           36303
29949433          ACTION RETAIL GRP II LLC                   P.O. BOX 101391                                                                                                         ATLANTA                GA           30392
29905324          ACTIVE COUNTERMEASURES                     115 WEST HUDSON                                                                                                         SPEARFISH              SD           57783
29905325          Name on file                               Address on file
30209725          ACTON MEMORIAL LIBRARY                     486 MAIN STREET                                                                                                         ACTON                  MA           12720
30209882          ACTON MEMORIAL LIBRARY                     86 MAIN ST                                                                                                              ACTON                  MA           01720
30352772          Name on file                               Address on file
30212317          ACUSHNET PUBLIC LIBRARY                    232 MIDDLE RD                                                                                                           ACUSHNET               MA           02743
30210207          ADA COMMUNITY LIBRARIES                    10664 W. VICTORY ROAD                                                                                                   BOISE                  ID           83709
29905329          Name on file                               Address on file
29905330          ADA COUNTY TAX COLLECTOR                   PO BOX 2868                                                                                                             BOISE                  ID           83701
                  ADA COUNTY, ID COUNTY CONSUMER
30207682          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION    954 W. JEFFERSON, 2ND FLOOR                                                       BOISE                  ID           83720
29905335          Name on file                               Address on file
30208257          ADAIR COUNTY PUBLIC LIBRARY                LIBRARY LN                                                                                                              KIRKSVILLE             MO           63501
30208106          ADAIR COUNTY PUBLIC LIBRARY                PNE LIBRARY LANE                                                                                                        KIRKSVILLE             MO           63501
29954543          ADAM QUINTERO                              Address on file
30394475          Name on file                               Address on file
30356665          Name on file                               Address on file
30184140          ADAMS AND REESE LLP                        100 N. TAMPA STREET, SUITE 4000                                                                                         TAMPA                  FL           33602
                                                             Varuna Snowden, A/R and Collections
30295309          Adams and Reese LLP                        Manager                               701 Poydras Street               Suite 4500                                       New Orleans            LA           70139
30210615          ADAMS AND REESE, LLP                       101E KENNEDY BOULEVARD                SUITE 40001                                                                       TAMPA                  FL           33602
30223031          ADAMS AND REESE, LLP                       ATTN: APRIL SMITH                     11 NORTH WATER ST.               SUITE 23200                                      MOBILE                 AL           36602
29954553          ADAMS AND REESE, LLP                       DEPT. 5208, P.O. BOX 2153                                                                                               BIRMINGHAM             AL           35287
29905353          Name on file                               Address on file
29905354          ADAMS COUNTY TREASURER                     PO BOX 869                                                                                                              BRIGHTON               CO           80601‐0869
                  ADAMS COUNTY, IL COUNTY CONSUMER
30207683          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 507 VERMONT ST                                                                       QUINCY                 IL           62301
30211242          ADAMS MANUFACTURING                        109 WEST PARK ROAD                                                                                                      PORTERSVILLE           PA           16051

30208672          ADAMS STATE UNIVERSITY ‐ NIELSEN LIBRARY   208 EDGEMENT BLVD                     STE 4010                                                                          ALAMOSA                CO           81101
29905355          Name on file                               Address on file
30344923          Name on file                               Address on file
30396661          Name on file                               Address on file
30349762          Name on file                               Address on file
30416554          Name on file                               Address on file
30415289          Name on file                               Address on file




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30399587          Name on file                          Address on file
30337373          Name on file                          Address on file
30384940          Name on file                          Address on file
30338774          Name on file                          Address on file
30395393          Name on file                          Address on file
30262128          Name on file                          Address on file
30262127          Name on file                          Address on file
30340859          Name on file                          Address on file
30341224          Name on file                          Address on file
30348058          Name on file                          Address on file
30398466          Name on file                          Address on file
30211972          ADDISON PUBLIC LIBRARY                4 FRIENDSHIP PLAZA                                                                                                         ADDISON                IL           60101
30208939          ADDISON PUBLIC LIBRARY                FRIENDSHIP PLAZA                                                                                                           ADDISON                IL           60101
29905387          ADDLYN HEALTH LLC                     THE CLINIC ON SIXTH                  207 NORTH 6TH ST                                                                      OPELIKA                AL           36801
30358186          Name on file                          Address on file
29905419          Name on file                          Address on file
30344685          Name on file                          Address on file
30332169          Name on file                          Address on file
29905420          ADP INC                               PO BOX 31001‐2939                                                                                                          PASADENA               CA           91110‐2939
29905421          ADP TAX CREDIT SERVICES INC           PO BOX 830272                                                                                                              PHILADELPHIA           PA           19182‐0272
30212067          ADRIAN DISTRICT LIBRARY               143 E MAUMEE ST                                                                                                            ADRIAN                 MI           49221
29905474          ADRIANE PAYNE                         Address on file
30392954          Name on file                          Address on file
30182019          Adswerve, Inc.                        PO BOX 669258                                                                                                              Dallas                 TX           75866
29905515          Name on file                          Address on file
30297695          Advance Carts Inc.                    Green & Sklarz LLC                   Robert M. Fleischer              One Audubon Street             3rd Fl.               New Haven              CT           06511
30214155          ADVANCED CARTS INC                    2799 NW 2ND AVE                                                                                                            BOCA RATON             FL           33431
29905516          ADVANCED CARTS INC                    4160 NW 1ST AVENUE #18                                                                                                     BOCA RATON             FL           33431

29905517          ADVANCED COMMUNICATIONS CABLING INC   3900 JENNINGS ROAD                                                                                                         CLEVELAND              OH           44109
29905519          Name on file                          Address on file
29905520          ADVANTAGE SALES & MARKETING INC       DBA ADLUCENT                         PO BOX 744347                                                                         ATLANTA                GA           30374‐4347
29905521          ADVANTCO INTERNATIONAL LLC            125 REMOUNT RD., SUITE C1 #382                                                                                             CHARLOTTE              NC           28203
29904949          ADVANTUS CORP                         ATTN: KEVIN CARPENTER, PRESIDENT     12276 SAN JOSE BLVD.             BUILDING 618                                         JACKSONVILLE           FL           32223

29949434          ADVANTUS CORPORATION                  ROOM 703 SUN‐MOON‐STAR BUILDING      130                                                                                   NINGBO                              315100          CHINA
29905525          ADVANTUS CORPORATION                  12276 SAN JOSE BLVD., SUITE 618                                                                                            JACKSONVILLE           FL           32223
30295940          Advantus, Corp.                       Kevin Carpenter                      12276 San Jose Blvd.             Bldg. 618                                            Jacksonville           FL           32223
30393002          Name on file                          Address on file
29905526          Name on file                          Address on file
30393565          Name on file                          Address on file
29905539          AES INDIANA                           PO BOX 110                                                                                                                 INDIANAPOLIS           IN           46206‐0110
29905541          AES OHIO                              PO BOX 740598                                                                                                              CINCINNATI             OH           45274‐0598
30350490          Name on file                          Address on file
29905545          AFC WORLDWIDE EXPRESS INC             R+L GLOBAL LOGISTICS                 16520 S. TAMIAMI TRAIL #180                                                           FORT MYERS             FL           33908
29905546          AFFIRM INC                            650 CALIFORNIA ST FL 12                                                                                                    SAN FRANCISCO          CA           94108
29905547          Name on file                          Address on file
29954588          AFP INTERESTS LTD                     AFP ROCKRIDGE 2019 LLC #7190420400   PC BANK, 5010 UNIVERSITY AVE                                                          LUBBOCK                TX           79413
                                                        C/O GRACO REAL ESTATE DEVELOPMENT,
30210872          AFP ROCKRIDGE 2019, LLC               INC.                                 5307 W. LOOP 289, SUITE 302                                                           LUBBOCK                TX           79414
                                                        C/O GRACO REAL ESTATE DEVELOPMENT,   ATTN: GINA CLIFTON, LEASE
29954589          AFP ROCKRIDGE 2019, LLC               INC.                                 ADMINISTRATOR                    5307 W. LOOP 289, SUITE 302                          LUBBOCK                TX           79414
30344157          Name on file                          Address on file
29949435          AG CC FUNDING I LTD                   C/O ANGELO, GORDON & CO., L.P.       245 PARK AVENUE                  FL 26                                                NEW YORK               NY           10167
29949436          AG CC FUNDING II LTD                  245 PARK AVENUE                                                                                                            NEW YORK               NY           10167
30167175          Ag Container Transport                Pappas Trucking                      Jason Myers, VP of Operations    433 London Groveport Rd                              Lockbourne             OH           43137
29954590          AG CONTAINER TRANSPORT LLC            PAPPAS TRUCKING                      PO BOX 268                                                                            LOCKBOURNE             OH           43137
30211243          AG ENGINEERING & CONTRACT LLC         2030 LOUIE LANE                                                                                                            BATAVIA                OH           45103
29954593          AGATHA WALLEN                         Address on file
29954595          AGILENCE, INC.                        1020 BRIGGS ROAD, STE. 110                                                                                                 MOUNT LAUREL           NJ           08054
30224011          Agilence, Inc.                        PO BOX 23677                                                                                                               New York               NY           10087‐3677
30340633          Name on file                          Address on file
30223032          AGROSCAPES INC                        11471 GOODMAN RD                                                                                                           ASHVILLE               OH           43103




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30394550          Name on file                            Address on file
30394549          Name on file                            Address on file
30394551          Name on file                            Address on file
30401048          Name on file                            Address on file
30394160          Name on file                            Address on file
30352704          Name on file                            Address on file
29905554          AGUIRRE PRINTING & EMBROIDERY           9610 WEST NICHOLAS                                                                                                   VISALIA                  CA           93291
30384730          Name on file                            Address on file
30401079          Name on file                            Address on file
30209208          AH MEADOWS LIBRARY                      923 S 9TH ST                                                                                                         MIDLOTHIAN               TX           76065
30215209          AHEAD INC.                              444 W LAKE ST                     30TH FLOOR                                                                         CHICAGO                  IL           60606
30181791          Ahead Inc.                              75 Remittance Drive               Dept 6980                                                                          Chicago                  IL           60675‐6980
29905560          AHIP MN WOODBURY 205 ENTERPRISES LL     RESIDENCE INN ST. PAUL WOODBURY   205 RADIO DRIVE                                                                    WOODBURY                 MN           55125
30349278          Name on file                            Address on file
29954600          Name on file                            Address on file
29917179          AIDANT FIRE PROTECTION CO               PO BOX 25280                                                                                                         SCOTTSDALE               AZ           85255
29905593          AIDEN BOYETT                            Address on file
30210528          AIG                                     1271 AVE OF AMERICAS              FL 37                                                                              NEW YORK                 NY           10020‐1304
29905606          AIG                                     1271 AVE OF THE AMERICAS          FL 37                                                                              NEW YORK                 NY           10020
30223033          AIG                                     FINANCIAL LINES CLAIMS            P.O. BOX 25947                                                                     SHAWNEE MISSION          KS           66225
30210530          AIG                                     P.O. BOX 25947                                                                                                       SHAWNEE MISSION          KS           66225
29949797          AIG SPECIALITY                          1271 AVE OF THE AMERICAS FL 41                                                                                       NEW YORK                 NY           10020‐1304
30210745          AIG SPECIALTY INSURANCE COMPANY         1271 AVENUE OF THE AMERICAS       FL 37                                                                              NEW YORK                 NY           10020‐1304
30396616          Name on file                            Address on file
30396615          Name on file                            Address on file
30223034          AIMEE ALANIS                            Address on file
30394670          Name on file                            Address on file
29905628          AINSLEY ANDERSON                        Address on file
29954626          AIR FORCE ONE LLC                       5800 SHIER RINGS RD.                                                                                                 DUBLIN                   OH           43016
29954627          AIR RITE SERVICE SUPPLY                 1290 WEST 117TH ST                                                                                                   CLEVELAND                OH           44107
29905631          AIRGAS INC                              DBA AIRGAS USA, LLC               PO BOX 734445                                                                      CHICAGO                  IL           60673‐4445
29954637          AISLINN HENDRIX                         Address on file
30345544          Name on file                            Address on file
30335414          Name on file                            Address on file
29905651          Name on file                            Address on file
29905657          AJAX EDWARDS                            Address on file
30212953          AJAY JAIN                               Address on file

29905664          AK REMOTE SELLER SALES TAX COMMISSION   ONE SEALASKA PLAZA                STE. 200                                                                           JUNEAU                   AK           99801
30401514          Name on file                            Address on file
29905666          AKAMAI TECHNOLOGIES INC                 PO BOX 26590                                                                                                         NEW YORK                 NY           10087
29905669          AK‐COM‐SALES TAX MUNI                   3111 C STREET                                                                                                        ANCHORAGE                AK           99503
30397227          Name on file                            Address on file
30395811          Name on file                            Address on file
29905672          AKG SQUARED LLC                         DBA DAMASK LOVE                   951 BRICKELL AVE #911                                                              MIAMI                    FL           33131
30343724          Name on file                            Address on file
29905682          AKRON AIR PRODUCTS INC                  715 POWELL AVE                                                                                                       HARTVILLE                OH           44632
29905683          AKRON BLACK STOCKINGS                   Address on file
30213606          AKRON CENTER ASSOCIATES, LLC            C/O COLLIERS INTERNATIONAL        200 PUBLIC SQUARE, SUITE 3100                                                      CLEVELAND                OH           44114
29905687          AKRON URBAN LEAGUE                      440 VERNON ODOM BLVD.                                                                                                AKRON                    OH           44307
LC_0004           Akron‐Summit Cnty Public Library        60 S. High St.                                                                                                       Akron                    OH           44326‐1000
30209319          AKRON‐SUMMIT COUNTY PUBLIC LIBRARY      60 S. HIGH ST.                                                                                                       AKRON                    OH           44326
29905689          AKROSTEAM CBAM INC                      AKROSTEAM                         2215 E. WATERLOO RD #310                                                           AKRON                    OH           44312
30214717          AKROSTEAM CBAM INC                      AKROSTEAM                         910 KILLIAN ROAD                  STE B                                            AKRON                    OH           44312
30396380          Name on file                            Address on file
29905691          AL_CITY OF ANNISTON                     C/O PREMA CORP.                   P.O. BOX 934668                                                                    ATLANTA                  GA           31193‐4668
29952934          AL_CITY OF HUNTSVILLE                   CITY CLERK TREASURER              PO BOX 040003                                                                      HUNTSVILLE               AL           35804‐4003
29952935          AL_MONTGOMERY COUNTY                    50 NORTH RIPLEY ST                                                                                                   MONTGOMERY               AL           36132
29952937          ALABAMA DEPARTMENT OF REVENUE           GORDON PERSONS BLDNG              50 NORTH RIPLEY STREET                                                             MONTGOMERY               AL           36104
29952938          ALABAMA DEPARTMENT OF REVENUE           PO BOX 831199                                                                                                        BIRMINGHAM               AL           35283‐1199
                  ALABAMA DEPARTMENT OF REVENUE, SALES
29952939          AND USE TAX DIVISION                    PO BOX 327790                                                                                                        MONTGOMERY               AL           36132‐7790
29952940          ALABAMA MOTOR EXPRESS                   PO BOX 487                                                                                                           ASHFORD                  AL           36312




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29952941          ALABAMA POWER                        PO BOX 242                                                                                                                      BIRMINGHAM               AL           35292
29952943          Name on file                         Address on file
30209332          ALACHUA COUNTY LIBRARY DISTRICT      401 E UNIVERSITY AVE.                                                                                                           GAINESVILLE              FL           32601
29952944          Name on file                         Address on file
29952945          ALACHUA TAX COLLECTOR                LOCAL BUSINESS TAX DEPT                PO BOX 140960                                                                            GAINESVILLE              FL           32614‐0960
29905692          Name on file                         Address on file
30209352          ALAMANCE COUNTY PUBLIC LIBRARIES     342 S. SPRING ST.                                                                                                               BURLINGTON               NC           27215
29954650          Name on file                         Address on file
30209360          ALAMANCE COUNTY PUBLIC LIBRARIES     342 SOUTH SPRING ST                                                                                                             BURLINGTON               NC           27212
                  ALAMEDA COUNTY COMMUNITY DEVELOPMENT
29948748          AGENCY                               DEPT OF WEIGHT & MEASURES              333 FIFTH ST                                                                             OAKLAND                  CA           94607
                  ALAMEDA COUNTY DEPARTMENT OF
29954651          ENVIRONMENTAL HEALTH                 1131 HARBOR BAY PARKWAY                                                                                                         ALAMEDA                  CA           94502

29948749          ALAMEDA COUNTY ENVIRONMENTAL HEALTH    1131 HARBOR BAY PARKWAY                                                                                                       ALAMEDA                  CA           94502
30212138          ALAMEDA COUNTY LIBRARY                 2450 STEVENSON BLVD                                                                                                           FREMONT                  CA           94538
                  ALAMEDA COUNTY, CA COUNTY CONSUMER
30207684          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   1221 OAK ST                       STE 555                                                OAKLAND                  CA           94612
30213270          ALAMEDA CROSSING STATION LLC           ATTN: ROBERT F. MYERS, COO           11501 NORTHLAKE DRIVE                                                                    CINCINNATI               OH           45249
29905703          ALAMEDA CROSSING STATION LLC           NW 601202                            PO BOX 1450                                                                              MINNEAPOLIS              MN           55485‐1202
30212139          ALAMEDA FREE LIBRARY                   1550 OAK ST                                                                                                                   ALAMEDA                  CA           94501
30349632          Name on file                           Address on file
                                                         C/O COMMERCIAL REAL ESTATE
30213076          ALAMO CENTER, LLC                      MANAGEMENT (CREM)                    5951 JEFFERSON NE, SUITE A                                                               ALBUQUERQUE              NM           87109
                                                                                              Solomon Ward Seidenwurm & Smith
30416389          Alamo Center, LLC                      c/o Michael Breslauer Esq.           LLP                             401 B Street Suite 1200                                  San Diego                CA           92101
30416390          Alamo Center, LLC                      Commercial Real Estate Management    Attn: Jodie Stone               5951 Jefferson Street NE Suite A                         Albuquerque              NM           87109
30209403          ALAMOSA PUBLIC LIBRARY                 300 HUNT AVENUE                                                                                                               ALAMOSA                  CO           81101
30262541          Name on file                           Address on file
29905749          ALARM MANAGEMENT PROGRAM               30 YAPHANK AVE                                                                                                                YAPHANK                  NY           11980
30416042          Name on file                           Address on file
29905751          ALASKA DEPARTMENT OF REVENUE           ALASKA INCOME TAX                    PO BOX 110420                                                                            JUNEAU                   AK           99811‐0420
29905750          ALASKA DEPARTMENT OF REVENUE           STATE OFFICE BUILDING                333 WILLOUGHBY AVENUE             11TH FLOOR                       P.O. BOX 110410       JUNEAU                   AK           99811‐0410
29905752          ALASKA DEPT OF LABOR                   AND WORKFORCE                        1251 MULDOON RD.                                                                         ANCHORAGE                AK           99504
                                                                                              333 WILLOUGHBY AVENUE 11TH
29950553          ALASKA DEPT OF REVENUE‐TRES DIV        UNCLAIMED PROPERTY UNIT              FLR                                                                                      JUNEAU                   AK           99801‐1770
30340416          Name on file                           Address on file
30209421          ALBANY COUNTY PUBLIC LIBRARY           310 SOUTH EIGHTH STREET                                                                                                       LARAMIE                  WY           82070
                  ALBANY COUNTY, NY COUNTY CONSUMER
30207685          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION CONSUMER AFFAIRS                    112 STATE ST                     ROOM 1212             ALBANY                   NY           12207
29905773          ALBANY DOUGHERTY TAX DEPT              PO BOX 1827                                                                                                                   ALBANY                   GA           31703
30212161          ALBANY PUBLIC LIBRARY                  161 WASHINGTON AVE                                                                                                            ALBANY                   NY           12210
29905776          ALBANY UTILITIES ‐ GA                  401 PINE AVENUE                                                                                                               ALBANY                   GA           31701
29905777          ALBEMARLE COUNTY                       FALSE ALARM REDUCTION PROGRAM      P.O. BOX 719326                                                                            PHILADELPHIA             PA           19171
                  ALBEMARLE COUNTY, VA COUNTY CONSUMER
30207686          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 401 MCINTIRE RD                                                                            CHARLOTTESVILLE          VA           22902
29905781          ALBERT HERMAN DRAPERIES INC            2949 OLD MILL ROAD                                                                                                            HUDSON                   OH           44236‐1519
30344432          Name on file                           Address on file
30332599          Name on file                           Address on file
30340408          Name on file                           Address on file
30349070          Name on file                           Address on file
30213206          ALBRECHT INCORPORATED                  17 S. MAIN STREET, SUITE 401       PO BOX 1714                                                                                AKRON                    OH           44309
30395861          Name on file                           Address on file
30343889          Name on file                           Address on file
29954655          AL‐COM‐PPT‐EXT                         50 NORTH RIPLEY ST                                                                                                            MONTGOMERY               AL           36132
30384903          Name on file                           Address on file
30354678          Name on file                           Address on file
30395733          Name on file                           Address on file
29905837          ALEJANDRO PADILLASEGOVIA               Address on file
29905869          ALETHEA HARAMPOLIS DBA STUDIO CHOO     339 BADEN AVE                                                                                                                 SOUTH SAN FRANCISCO      CA           94080
30209447          ALEX ROBERTSON PUBLIC LIBRARY          BOX 5680                                                                                                                      LA RONGE                 SK           S0J 1L0          CANADA
30215050          ALEXA KEMP                             Address on file
29905953          ALEXANDER LOBOS                        Address on file




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30348579          Name on file                             Address on file
30262543          Name on file                             Address on file
30274900          Name on file                             Address on file
29905991          ALEXANDRA BLUH                           Address on file
29906008          ALEXANDRA GITTENS                        Address on file
29906061          ALEXANDRA TRUJILLO                       Address on file
29906064          ALEXANDRA WAHAB                          Address on file
29906075          ALEXANDRIA CHICATELLI                    Address on file
30212910          ALEXANDRIA CHICATELLI                    Address on file
29906097          ALEXANDRIA MAZZIOTTA                     Address on file
29906108          ALEXANDRIA SCHROEDLE                     Address on file
29954679          ALEXIS CARLSON                           Address on file
29954680          ALEXIS CARTER                            Address on file
29906201          ALEXIS JOHNSON                           Address on file
29954688          ALEXIS SIMMONS                           Address on file
30285108          Name on file                             Address on file
30356640          Name on file                             Address on file
30209468          ALGONQUIN AREA PUBLIC LIBRARY            2600 HARNISH DRIVE                                                                                                      ALGONQUIN           IL           60102
29906318          Name on file                             Address on file
LC_0008           Algonquin Area Public Library District   2600 Harnish Drive                                                                                                      Algonquin           IL           60102‐5900

30209489          ALGONQUIN AREA PUBLIC LIBRARY DISTRICT   2600 W HAMISH DRIVE                                                                                                     ALGONQUIN           IL           60102
29906319          AL‐HLD‐CPT‐EXT                           50 NORTH RIPLEY ST                                                                                                      MONTGOMERY          AL           36132
29906335          ALICE BLODGETT                           Address on file
29906349          ALICE WESSON                             Address on file
30223036          ALICIA A. DAMIANO                        Address on file
29954698          ALICIA ELIZABETH WADE                    Address on file
29906399          ALICIA PATTERSON                         Address on file
29906421          Name on file                             Address on file
29906451          ALISON CARSON                            Address on file
30212919          ALISON CHIURAZZI                         Address on file
29954730          ALISON HANSEN                            Address on file
30212921          ALISON RIFE                              Address on file
29954741          ALISSAH ASHTON                           Address on file
29954745          ALITHYA RANZAL LLC                       PO BOX 845183                                                                                                           BOSTON              MA           02284‐5183
30209512          ALIX BLÜH                                Address on file
30223037          ALIX PARTNERS LLP                        909 3RD AVE                                                                                                             NEW YORK            NY           10022
                                                                                             INCOME TAX ADMINISTRATION,        GORDON PERSONS BLDG, ROOM
29906518          AL‐JAC‐CITYCOUNTY 04800                  DEPT OF REVENUE                   WITHHOLDING TAX SECTION           4326                           50 N RIPLEY ST       MONTGOMERY          AL           36104
                                                                                             INCOME TAX ADMINISTRATION,        GORDON PERSONS BLDG, ROOM
29906519          AL‐JAC‐SELLERSUSE 04400                  DEPT OF REVENUE                   WITHHOLDING TAX SECTION           4326                           50 N RIPLEY ST       MONTGOMERY          AL           36104
29906520          AL‐JAC‐SLS‐CITY OF HUNTSVILLE            FINANCE DEPT‐ TAX ADMIN           308 FOUNTAIN CIRCLE                                                                   HUNTSVILLE          AL           35801
29906521          AL‐JAC‐SLS‐CITY OF MADISON               REVENUE DEPT                      PO BOX 99                                                                             MADISON             AL           35758
29906522          AL‐JAC‐SLS‐CITY OF MOBILE                PO BOX 11407                                                                                                            BIRMINGHAM          AL           35246‐1519
30353569          Name on file                             Address on file
29906523          AL‐JAS‐ESTIMATE                          50 NORTH RIPLEY STREET                                                                                                  MONTGOMERY          AL           36104
29906524          AL‐JAS‐PS‐EXT                            50 NORTH RIPLEY STREET                                                                                                  MONTGOMERY          AL           36104
                                                                                             INCOME TAX ADMINISTRATION,        GORDON PERSONS BLDG, ROOM
29906525          AL‐JAS‐SALES 04115                       DEPT OF REVENUE                   WITHHOLDING TAX SECTION           4326                           50 N RIPLEY ST       MONTGOMERY          AL           36104
29906526          AL‐JAS‐SLS‐CITY OF MOBILE                DEPT 1519, PO BOX 11407                                                                                                 BIRMINGHAM          AL           35246‐1519
                                                                                             INCOME TAX ADMINISTRATION,        GORDON PERSONS BLDG, ROOM
29906527          AL‐JAS‐USE 04500                         DEPT OF REVENUE                   WITHHOLDING TAX SECTION           4326                           50 N RIPLEY ST       MONTGOMERY          AL           36104
29906528          ALL COURTESY INTERNATIONAL LIMITED       FLAT/RM E, 9/F HOLLYWOOD CENTRE   77‐91 QUEEN'S ROAD WEST                                                               SHEUNG WAN                                       HONG KONG
29906529          Name on file                             Address on file
29906530          ALL STATE BROKERAGE INC.                 4663 EXECUTIVE DR STE 12                                                                                                COLUMBUS            OH           43220
30397728          All The Rages Inc                        103 Eisenhower Parkway            Suite 308                         Suite 101                                           Roseland            NJ           07068
30260063          Name on file                             Address on file
29906532          Name on file                             Address on file
30212593          ALLAN CHAREK                             Address on file
29906536          ALLAN L DAHLE                            Address on file
29948752          ALLEGANY COUNTY TAX OFFICE               PERS PROPERTY TAX                 701 KELLY ROAD                                                                        CUMBERLAND          MD           21502
29906545          ALLEGANY COUNTY TAX OFFICE               PERS PROPERTY TAX F 0527895       701 KELLY ROAD                                                                        CUMBERLAND          MD           21502




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                  ALLEGANY COUNTY, MD COUNTY CONSUMER
30207687          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION   701 KELLY RD                                                                        CUMBERLAND             MD           21502
29906546          ALLEGHENY COUNTY                            HEALTH DEPT.‐ PERMIT SEC             542 4TH AVENUE                                                                      PITTSBURGH             PA           15219
29948753          ALLEGHENY COUNTY HEALTH DEPARTMENT          HEALTH DEPT. PERMIT SEC              542 4TH AVENUE                                                                      PITTSBURGH             PA           15219
29906547          Name on file                                Address on file
30209527          ALLEGHENY COUNTY LIBRARY ASSOCIATION        22 WABASH ST                         SUITE 202                                                                           PITTSBURGH             PA           01522
                  ALLEGHENY COUNTY, PA COUNTY CONSUMER
30207688          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION 436 GRANT STREET                                                                      PITTSBURGH             PA           15219
LC_0009           Allen County Public Library                 PO Box 2270                                                                                                              Fort Wayne             IN           46801
29906550          Name on file                                Address on file
30209549          ALLEN COUNTY PUBLIC LIBRARY                 900 LIBRARY PLAZA                                                                                                        FORT WAYNE             IN           46802
30209540          ALLEN COUNTY PUBLIC LIBRARY                 PO BOX 2270                                                                                                              UNITED                 IN           46801
30192614          Allen County Treasurer                      1 East Main Street                 Suite 104                                                                             Fort Wayne             IN           46802
29906551          ALLEN COUNTY TREASURER                      PO BOX 2540                                                                                                              FORT WAYNE             IN           46801‐2540
                  ALLEN COUNTY, OH COUNTY CONSUMER
30207689          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION 204 N MAIN ST                        STE 301                                          LIMA                   OH           45801
                  ALLEN MATKINS LECK GAMBLE MALLORY &
30197212          NATSIS LLP                                  ATTN: IVAN GOLD                      Three Embarcadero Center           12th Floor                                       San Francisco          CA           94111
30340586          Name on file                                Address on file
30346679          Name on file                                Address on file
30347936          Name on file                                Address on file
30261551          Name on file                                Address on file
30338025          Name on file                                Address on file
30340930          Name on file                                Address on file
30357057          Name on file                                Address on file
30357058          Name on file                                Address on file
30395735          Name on file                                Address on file
30209562          ALLENSTOWN PUBLIC LIBRARY                   59 MAIN STREET                                                                                                           ALLENSTOWN             NH           03275
29906556          Name on file                                Address on file
30401486          Name on file                                Address on file
30279249          Name on file                                Address on file
29954753          ALLIANCE CORPORATE SOLUTIONS LLC            15560 LAKEVIEW DRIVE                                                                                                     MANHATTAN              IL           60442
29954754          ALLIANCE SALES                              2240 BUSH DRIVE SUITE 100                                                                                                MC KINNEY              TX           75070
29954756          ALLIANT ENERGY/IPL                          PO BOX 3060                                                                                                              CEDAR RAPIDS           IA           52406‐3060
29952131          ALLIANT ENERGY/WPL                          ALLIANT ENERGY                       4902 N BILTMORE LN                                                                  MADISON                WI           53718
29954758          ALLIANT ENERGY/WPL                          PO BOX 3062                                                                                                              CEDAR RAPIDS           IA           52406‐3062
29954759          ALLIANZ GLOBAL CORPORATE & SPECIALTY        2350 W. EMPIRE AVENUE                                                                                                    BURBANK                CA           90514
30210536          ALLIANZ GLOBAL CORPORATE & SPECIALTY        AGCS NORTH AMERICA                   915 WILSHIRE BLVD.                 7TH & 8TH FLOORS                                 LOS ANGELES            CA           90017
30223038          ALLIANZ GLOBAL CORPORATE & SPECIALTY        ATTN: CLAIMS DEPARTMENT ONE          PROGRESS POINT PARKWAY             SUITE 200                                        O FALLON               MO           63368
                  ALLIANZ GLOBAL CORPORATE & SPECIALTY ‐
29954760          ENTERTAINMENT                               225 WEST WASHINGTON STREET           SUITE 1800                                                                          CHICAGO                IL           60606‐3484
                  ALLIANZ GLOBAL RISKS US INSURANCE
30210538          COMPANY                                     225 WEST WASHINGTON STREET           SUITE 1800                                                                          CHICAGO                IL           60606‐3484
29906562          ALLIED PACKAGING CORP                       PO BOX 8010                                                                                                              PHOENIX                AZ           85066
30297322          Allied Universal Security Services          Attn: Michael DiPilato               1395 University Blvd.                                                               Jupiter                FL           33458
29949793          ALLIED WORLD                                27 RICHMOND ROAD                                                                                                         PEMBROKE                            HM 08           BERMUDA
30210580          ALLIED WORLD                                27 RICHMOND ROAD                                                                                                         PEMBROKE                            HM 8            BERMUDA
                  ALLIED WORLD ASSURANCE COMPANY
29949794          HOLDINGS, LTD                               260 FRANKLIN STREET SUITE 930                                                                                            BOSTON                 MA           02110
29906566          ALLISA JACOBS                               Address on file
29906609          Name on file                                Address on file
30394162          Name on file                                Address on file
30334534          Name on file                                Address on file
29954766          ALLSTAR PRODUCTS GROUP                      2 SKYLINE DRIVE                                                                                                          HAWTHORNE              NY           10532
29954767          ALLSUP HEALTHCARE INSUR SERV LLC            300 ALLSUP PLACE                                                                                                         BELLEVILLE             IL           62223
30335264          Allsup Healthcare Insurance Services, LLC   Joel Douglas Shaw                    300 Allsup Place                                                                    Belleville             IL           62223
29954769          ALLY EDGAR                                  Address on file
30223039          ALLYSON DURK                                Address on file
30167313          Almaden Properties                          Attn: Antony Chrysostom              100 Bush Street, Suite 218                                                          San Francisco          CA           94104
30261445          Almaden Properties                          Greenbaum, Rowe, Smith & Davis LLP   David L. Bruck, Esq.               99 Wood Avenue South                             Iselin                 NJ           08830
30193080          Almaden Properties LLC                      Attn: Antony Chrysostom              100 Bush Street, Suite 218                                                          San Francisco          CA           94104
30213151          ALMADEN PROPERTIES, LLC                     100 BUSH STREET, SUITE 218                                                                                               SAN FRANCISCO          CA           94104
30251409          Name on file                                Address on file




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29906695          Name on file                              Address on file
29906703          ALOR STYLE CORP                           251 BUTTONWOOD WAY                                                                                                          HOPEWELL JUNCTION        NY           12533
29906706          ALP UTILITIES                             P.O. BOX 609                                                                                                                ALEXANDRIA               MN           56308
                  ALPENA COUNTY, MI COUNTY CONSUMER
30207690          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION    720 WEST CHISHOLM STREET                                                              ALPENA                   MI           49707
29906708          ALPENA POWER COMPANY                      P.O. BOX 188                                                                                                                ALPENA                   MI           49707‐0188
30209600          ALPHA PARK PUBLIC LIBRARY                 3527 S AIRPORT RD                                                                                                           BARTONVILLE              IL           61607
29906710          Name on file                              Address on file
29952992          ALPINE POWER SYSTEMS INC                  24355 CAPITOL                                                                                                               REDFORD                  MI           48239
29952993          ALPINE TOWNSHIP                           5255 ALPINE AVENUE NW                                                                                                       COMSTOCK PARK            MI           49321
30394129          Name on file                              Address on file
30338363          Name on file                              Address on file
30258007          Name on file                              Address on file
29952994          AL‐SSC‐ESTIMATE                           50 NORTH RIPLEY STREET                                                                                                      MONTGOMERY               AL           36104
29952995          AL‐SSC‐EXTENSION                          50 NORTH RIPLEY STREET                                                                                                      MONTGOMERY               AL           36104
30349314          Name on file                              Address on file
30401974          Name on file                              Address on file
30350328          Name on file                              Address on file
29952996          ALTA FIBER                                221 E 4TH ST                                                                                                                CINCINNATI               OH           45202
29964954          ALTA FUNDAMENTAL ADVISERS                 1500 BROADWAY, SUITE 704                                                                                                    NEW YORK                 NY           10036
29949438          ALTA FUNDAMENTAL ADVISERS MASTER LP       1500 BROADWAY                         SUITE 704                                                                             NEW YORK                 NY           10036
30333896          Name on file                              Address on file
29949439          ALTERNATIVE CREDIT INCOME FUND            ALTERNATIVE CREDIT INCOME FUND        650 MADISON AVENUE                3RD FLOOR                                           NEW YORK                 NY           10002
29952997          ALTERYX INC                               3345 MICHELSON DR., #400                                                                                                    IRVINE                   CA           92612
30209264          ALTITUDE SUMMIT                           6114 LA SALLE AVE #427                                                                                                      OAKLAND                  CA           94611
30293072          ALTO Conyers Plaza, LP                    2093 Philadelphia Pike #1971                                                                                                Claymont                 DE           19703
30213425          ALTO CONYERS PLAZA, LP                    2093 PHILADELPHIA PIKE, #1971         ATTN: DOR DEZALOVSKY                                                                  CLAYMONT                 DE           19703
30292815          ALTO Conyers Plaza, LP                    Dor Dezalovsky                        2093 Philadelphia Pike #1971                                                          Claymont                 DE           19703
30293071          ALTO Conyers Plaza, LP                    Holland & Knight LLP                  c/o Barbra Parlin                 787 7th Ave.                   31st Floor           New York                 NY           10019
29906712          ALTO PRINCE WILLIAM SQUARE LP             C/O ROSENTHAL PROPERTIES LLC          1945 OLD GALLOWS RD, #300                                                             VIENNA                   VA           22182
29906714          ALTO SYSTEMS INCORP                       2867 SURVEYOR STREET                                                                                                        POMONA                   CA           91768

29948755          ALTOONA AREA SCHOOL DISTRICT TAX OFFICE   200 E CRAWFORD AVE REAR                                                                                                     ALTOONA                  PA           16602
29906715          Name on file                              Address on file
30209608          ALTOONA PUBLIC LIBRARY                    700 EIGHTH ST SW                                                                                                            ALTOONA                  IA           50009
29906717          ALTOONA WATER AUTHORITY                   900 CHESTNUT AVENUE                                                                                                         ALTOONA                  PA           16601
29906716          ALTOONA WATER AUTHORITY                   P.O. BOX 3150                                                                                                               ALTOONA                  PA           16603
29906718          ALTURAS WHITE MOUNTAIN LLC                ATTN: TRAVIS BARNEY                   500 E. SHORE DR., SUITE 120                                                           EAGLE                    ID           83616
30213431          ALTURAS WHITE MOUNTAIN, LLC               250 EAST EAGLES GATE DR., SUITE 340   ATTN: TRAVIS BARNEY                                                                   EAGLE                    ID           83616
29906720          ALTUS RECEIVABLES MANAGEMENT              2121 AIRLINE DR., STE. 520                                                                                                  METAIRIE                 LA           70001
29906721          Name on file                              Address on file
30209621          ALVA PUBLIC LIBRARY                       504 SEVENTH STREET                                                                                                          ALVA                     OK           73717
29906722          Name on file                              Address on file
30209637          ALVAH N. BELDING MEMORIAL LIBRARY         302 EAST MAIN STREET                                                                                                        BELDING                  MI           48809
29906723          ALVANON INC                               ACCOUNTS DEPT.                        102 W 38TH ST                                                                         NEW YORK                 NY           10018
29906724          ALVARADO MFG CO INC                       12660 COLONY ST                                                                                                             CHINO                    CA           91710

29906725          ALVAREZ & MARSAL HOLDINGS LLC             ALVAREZ & MARSAL CONSUMER & RETAIL 600 MADISON AVE., FL 8                                                                   NEW YORK                 NY           10022‐1758
30397337          Name on file                              Address on file
30351335          Name on file                              Address on file
30340410          Name on file                              Address on file
30355614          Name on file                              Address on file
30197858          ALVAREZ, SHARON                           Address on file
30333042          Name on file                              Address on file
LC_0330           Alvin Sherman Library NSU                 3100 Ray Ferrero Jr. Blvd.                                                                                                  Fort Lauderdale          FL           33314
30285908          Name on file                              Address on file
30223040          ALWAYS BE FORWARD LLC                     95 GRAND STREET, 3RD FL                                                                                                     NEW YORK                 NY           10013
29906757          ALYSE KUNZE                               Address on file
29954788          ALYSIA STOLMAN                            Address on file
30212951          ALYSSA CHOLLEY                            Address on file
29951630          ALYSSA COLE                               Address on file
29906814          ALYSSA GRAEFF                             Address on file
29954818          ALZHEIMERS ASSOCIATION                    23215 COMMERCE PARK DR. #300                                                                                                BEACHWOOD                OH           44122




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29906895          AMADOR COUNTY                           810 COURT STREET                                                                                                         JACKSON                  CA           95642‐2132
                  AMADOR COUNTY, CA COUNTY CONSUMER
30207691          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 810 COURT ST                                                                          JACKSON                  CA           95642
30223041          AMALIA GALLEGOS                         Address on file
29906904          AMALIA GARCIA ELIAS                     Address on file
30223042          AMANDA ALESSANDRA                       Address on file
29954822          AMANDA BOYETT                           Address on file
30212438          AMANDA BROWN                            Address on file
29906946          AMANDA COX                              Address on file
29906951          AMANDA DAVIS                            Address on file
29906953          AMANDA DAY                              Address on file
29906960          AMANDA DOYLE                            Address on file
29906965          AMANDA ELLIS                            Address on file
29954833          AMANDA GENTRY                           Address on file
29906992          AMANDA KINGLOFF INC                     43 REEVE PL                                                                                                              BROOKLYN                 NY           11238‐1305
29907001          AMANDA LEEANN BROWN ROYALTY             Address on file

29907002          AMANDA LEEANN BROWN ROYALTY SPRUCE      Address on file
29907003          AMANDA LEEANN BROWN SPRUCE              Address on file
29907031          AMANDA MCBRIDE                          Address on file
29907034          AMANDA MCCLURE                          Address on file
29951277          AMANDA PEIRCE                           Address on file
30210657          AMANDA SMRSTICK                         Address on file
29954856          AMANDA TODARO                           Address on file
IC_002            Amanda Todaro of Ditto                  Address on file
29954863          Name on file                            Address on file
30209661          AMARGOSA VALLEY PUBLIC LIBRARY          1660 E. AMARGOSA FARM RD.                                                                                                AMARGOSA VALLEY          NV           89020
29907129          AMATRIYANA BRANCH                       Address on file
29954881          AMAYA SHULTZ                            Address on file
29907137          AMAZON CAPITAL SERVICES                 AMAZON.COM LLC                     PO BOX 035184                                                                         SEATTLE                  WA           98124‐5184
29907165          AMBER BROOME                            Address on file
30210740          AMBER KEMP‐GERSTEL                      Address on file
30210658          AMBER SHERRILL                          Address on file
29907222          AMBER SMITH                             Address on file
29954924          Name on file                            Address on file
29907239          AMBROSIA KRAMER                         Address on file
30355798          Name on file                            Address on file
29907275          AMELIA STRADER                          Address on file
30399702          Name on file                            Address on file
29907287          AMEREN ILLINOIS                         PO BOX 88034                                                                                                             CHICAGO                  IL           60680‐1034
29907289          AMEREN MISSOURI                         PO BOX 88068                                                                                                             CHICAGO                  IL           60680‐1068
30291586          American & Efird LLC                    Attn: Brian C. Zaldivar            121 W. Trade Street                                                                   Charlotte                NC           28202
30291587          American & Efird LLC                    Parker Poe Adams & Bernstein LLP   Hailey Wren Klabo                  301 Fayetteville Street        Suite 1400          Raleigh                  NC           27601
30223043          AMERICAN CLAIMS MANAGEMENT              PO BOX 9060                                                                                                              CARLSBAD                 CA           92018‐9060
                                                          ATTN: WAYNE MITCHELL, CHIEF
29904934          AMERICAN CRAFTS                         EXECUTIVE OFFICER                  588 W 400 S                        SUITE 300                                          LINDON                   UT           84042
30211596          AMERICAN ELECTRIC POWER/24002           PO BOX 371496                                                                                                            PITTSBURGH               PA           15250‐7496
29907296          AMERICAN ELECTRIC POWER/24418           PO BOX 371496                                                                                                            PITTSBURGH               PA           15250‐7496
29907297          AMERICAN EXPRESS                        PO BOX 1270                                                                                                              NEWARK                   NJ           07101‐1270
29907300          AMERICAN FOOD & VENDING                 124 METROPOLITAN PARK DR.                                                                                                LIVERPOOL                NY           13088
30297576          American Food and Vending Corporation   Robert M. Cote                     124 Metropolitan Park Drive                                                           Syracuse                 NY           13088
29950944          AMERICAN FORK CITY                      51 EAST MAIN STREET                                                                                                      AMERICAN FORK            UT           84003
29907301          AMERICAN FORK POLICE DEPT               75 EAST 80 NORTH                                                                                                         AMERICAN FORK            UT           84003
                  AMERICAN GUARANTEE AND LIABILITY
30212653          COMPANY                                 1299 ZURICH WAY                                                                                                          SCHAUMBURG               IL           60196
                  AMERICAN GUARANTEE AND LIABILITY
30210542          INSURANCE COMPANY                       1299 ZURICH WAY                                                                                                          SCHAUMBURG               IL           60196
29907303          AMERICAN HEART ASSOCIATION              1575 CORPORATE WOODS PKWY#150                                                                                            UNIONTOWN                OH           44685
29907304          AMERICAN INC                            1345 N AMERICAN ST                                                                                                       VISALIA                  CA           93291
29907307          AMERICAN LEBANESE SYRIAN ASSOC INC      ST JUDE CHILDREN'S RESEARCH HOSP   501 ST JUDE PLACE                                                                     MEMPHIS                  TN           38105
29907308          AMERICAN LIBRARY ASSOCIATION            225 N. MICHIGAN AVE., #1300                                                                                              CHICAGO                  IL           60601‐7616
29907309          AMERICAN LOCK & KEY INC                 4644 WOODBINE ROAD                                                                                                       PACE                     FL           32571
29907310          AMERICAN MINORITY BUSINESS FORMS IN     AMERICAN DIVERSITY                 PO BOX 337                                                                            GLENWOOD                 MN           56334




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29907313          AMERICAN PAYROLL ASSOC                660 NORTH MAIN AVE STE 100                                                                                              SAN ANTONIO             TX           78205‐1217
29907316          AMERICAN REGISTRY FOR                 INTERNET NUMBERS LTD                PO BOX 719477                                                                       PHILADELPHIA            PA           19171‐9477
29907317          Name on file                          Address on file
30224946          American Water                        PO Box 371412                                                                                                           Pittsburg               PA           15250
30225046          American Water                        PO Box 371880                                                                                                           Pittsburgh              PA           15250
30225042          American Water                        PO Box 6029                                                                                                             Carol Stream            IL           60197
30210736          AmericasMart Real Estate, LLC         240 PEACHTREE STREET N.W.           SUITE 2200                                                                          ATLANTA                 GA           30303
30331047          Americasmart Real Estate, LLC         800 Kennesaw Avenue                 Suite 400                                                                           Marietta                GA           30060
30342485          AMERICASMART REAL ESTATE, LLC         C/O WILES & WILES, LLP              ATTN: JOHN J. WILES, ESQ.         800 KENNESAW AVENUE           SUITE 400           MARIETTA                GA           30060‐7946
30211574          AMERICORP INTERNATIONAL GROUP, INC.   550 N. BRAND BLVD                   SUITE 910                                                                           GLENDALE                CA           91203
30209687          AMERY PUBLIC LIBRARY                  104 MAPLE ST.                                                                                                           AMERY                   WI           54001
30209699          AMES FREE LIBRARY                     53 MAIN STREET                                                                                                          NORTH EASTON            MA           02356
30209727          AMES FREE LIBRARY OF EASTON, INC.     53 MAIN ST.                                                                                                             NORTH EASTON            MA           02356
29907325          AMES MUNICIPAL UTILITIES              P.O. BOX 811                                                                                                            AMES                    IA           50010
30348521          Name on file                          Address on file
30209750          AMESBURY PUBLIC LIBRARY               149 MAIN STREET                                                                                                         AMESBURY                MA           01913
30211245          A‐MEZZ INDUST STRUCTURES LLC          PO BOX 1389                                                                                                             HUDSON                  OH           44236
30212235          AMHERST PUBLIC LIBRARY                221 SPRING ST                                                                                                           AMHERST                 OH           44001
30395223          Name on file                          Address on file
30209775          AMIE STONE                            Address on file
29907348          AMIE STONE                            Address on file
29907363          Name on file                          Address on file
29954945          Name on file                          Address on file
30394473          Name on file                          Address on file
30416432          Name on file                          Address on file
30394785          Name on file                          Address on file
30342911          Name on file                          Address on file
30213262          AMSOURCE DRAPER LUMBER YARD LLC       358 S. RIO GRANDE, SUITE 200                                                                                            SALT LAKE CITY          UT           84101
29907369          AMSOURCE SPANISH FORK LLC             358 RIO GRANDE, SUITE 200                                                                                               SALT LAKE CITY          UT           84101
30210955          AMSOURCE SPANISH FORK, LLC            358 SOUTH RIO GRANDE, SUITE 200     ATTN: PRESIDENT                                                                     SALT LAKE CITY          UT           84101

29907370          AMSOURCE SPANISH FORK, LLC            ATTN: PRESIDENT, LISA VANDERSTEEN   358 SOUTH RIO GRANDE, SUITE 200                                                     SALT LAKE CITY          UT           84101
30345055          Name on file                          Address on file
29907371          AMW DESIGNS, INC                      PO BOX 85                                                                                                               CENTERVILLE             TN           37033
29907389          AMY BONILLA                           Address on file
30209807          AMY BUTLER, LTD                       Address on file
29907405          AMY DEROSE                            Address on file
29907408          AMY E BURTON                          Address on file
29907409          AMY ELIZABETH HICKSON                 Address on file
29907410          AMY ENGLISH                           Address on file
29907420          AMY GRAY                              Address on file
30212599          AMY HOLTSCLAW                         Address on file
29907430          AMY HOLTSCLAW                         Address on file
29907434          AMY HUBBARD                           Address on file
29907439          AMY JIMENEZ                           Address on file
30209819          AMY KARO                              Address on file
29907443          AMY KAROL                             Address on file
29907449          Name on file                          Address on file
29907453          AMY LOSTROH                           Address on file
29907475          AMY NESBITT                           Address on file
29907476          AMY NGUYEN                            Address on file
29907487          AMY PENALOZA                          Address on file
29907488          AMY PENNELL INC                       7327 DIAGONAL RD.                                                                                                       KENT                    OH           44240
29954955          AMY ROSENTHAL                         Address on file
29907519          AMY STANDER                           Address on file
29907525          AMY SUMMERS                           Address on file
29907560          ANA BARNETT                           Address on file
29907589          ANABELLE MCELHANEY                    Address on file
30397226          ANAHEIM FEED & PET SUPPLY, INC.       1730 N LEMON ST                                                                                                         ANAHEIM                 CA           92801
29907613          ANALICIA ECKLAND                      Address on file
29907620          ANALYCIA BUCHER                       Address on file
29907641          ANASTASIA CHATZKA                     Address on file
29907642          ANASTASIA CHATZKA CB ARTIST           2041 W. CARROLL AVE., UNIT 209‐D                                                                                        CHICAGO                 IL           60612




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29953707          ANASTASIA MITCHELL                     Address on file
29907668          ANCHOR SIGN INC                        PO BOX 22737                                                                                                        CHARLESTON            SC           29413
                  ANCHORAGE COUNTY, AK COUNTY CONSUMER
30207692          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 632 WEST 6TH AVENUE                                                              ANCHORAGE             AK           99501
29907669          ANCHORAGE FIRE DEPARTMENT              MOA FIRE INSPECTION                PO BOX 269110                                                                    SACRAMENTO            CA           95826‐9110

29907670          ANCHORAGE WATER & WASTEWATER UTILITY   P.O. BOX 196626                                                                                                     ANCHORAGE             AK           99519‐6626
30358126          Name on file                           Address on file
30338001          Name on file                           Address on file
30348643          Name on file                           Address on file
30337346          Name on file                           Address on file
30209855          ANDERSON COUNTY LIBRARY                300 N. MCDUFFIE STREET                                                                                              ANDERSON              SC           29621
LC_0016           Anderson County Public Library         114 N. Main Street                                                                                                  Lawrenceburg          KY           40342‐1193
29954062          ANDERSON COUNTY TREASURER              PO BOX 1658                                                                                                         ANDERSON              SC           29622‐1658
                  ANDERSON COUNTY, SC COUNTY CONSUMER
30207693          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION PO BOX 8002                                                                      ANDERSON              SC           29622
30209869          ANDERSON PUBLIC LIBRARY                111 E. 12TH STREET                                                                                                  ANDERSON              IN           46016
30212270          ANDERSON PUBLIC LIBRARY                114 N MAIN ST                                                                                                       LAWRENCEBURG          KY           40342
30341040          Name on file                           Address on file
30347962          Name on file                           Address on file
30398123          Name on file                           Address on file
30334578          Name on file                           Address on file
30358242          Name on file                           Address on file
30355717          Name on file                           Address on file
30353641          Name on file                           Address on file
30339021          Name on file                           Address on file
30356734          Name on file                           Address on file
30332747          Name on file                           Address on file
30339047          Name on file                           Address on file
30356847          Name on file                           Address on file
30397371          Name on file                           Address on file
30398386          Name on file                           Address on file
30396497          Name on file                           Address on file
30357477          Name on file                           Address on file
29954071          ANDOLENA KOVACS                        Address on file
29954987          ANDREA CAREY                           Address on file
29954990          ANDREA CHRISTIAN                       Address on file
29953461          ANDREA GALVEZ BORJA                    Address on file
29907715          ANDREA HEALY                           Address on file
30285041          Name on file                           Address on file
30353840          Name on file                           Address on file
29907792          ANDRES ISMAEL CANTU                    Address on file
29907808          ANDREW BAWULSKI                        Address on file
30212787          ANDREW CHAMBERLAIN                     Address on file
29907814          ANDREW DEVORE                          Address on file
29955031          ANDREW VARGO                           Address on file
29907873          ANDREW WRIGHT                          Address on file
30350873          Name on file                           Address on file
30351511          Name on file                           Address on file
30340835          Name on file                           Address on file
30345268          Name on file                           Address on file
30350508          Name on file                           Address on file
30356164          Name on file                           Address on file
                  ANDROSCOGGIN COUNTY, ME COUNTY
30207694          CONSUMER PROTECTION AGENCY             ATTN: CONSUMER PROTECTION DIVISION 2 TURNER ST                                                                      AUBURN                ME           04210
30385258          Name on file                           Address on file
29955041          ANDY BYERS                             Address on file
29907884          ANEST IWATA‐MEDEA INC                  1336 N MASON STREET                                                                                                 PORTLAND              OR           97217
29907900          ANGEL DECKER                           Address on file
29907929          ANGEL ROJAS                            Address on file
29955056          ANGEL SWANSON                          Address on file
30347968          Name on file                           Address on file
29907943          Name on file                           Address on file




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29955063          ANGELA ASMUS                               Address on file
29955082          ANGELA DIONNO                              Address on file
30212633          ANGELA HALE                                Address on file

30210833          ANGELA M. BUCHANAN, PHILLIPS MURRAH P. C. Address on file
29953223          ANGELA NELSON                             Address on file
29953631          ANGELA RIFFLE                             Address on file
29908072          ANGELINA BECERRA                          Address on file
29908133          ANGELIQUE STABILE                         Address on file
30349306          Name on file                              Address on file
29908141          ANGELLA BOLLWAHN                          Address on file
29908145          ANGELO A SPADARO                          Address on file
29949441          ANGELO GORDON                             245 PARK AVENUE                                                                                                     NEW YORK             NY           10167
30212567          ANGELO SPADARO                            Address on file
30340665          Name on file                              Address on file
30258207          Name on file                              Address on file
29908153          ANGIE BROWN                               Address on file
30394391          Name on file                              Address on file
30213689          ANGOLA SQUARE, LLC                        1048 GOODLETTE RD. N, SUITE 202                                                                                     NAPLES               FL           34102
                  ANHUI QIAOXING TECHNOLOGY DEVELOPME CO
29952309          LTD                                       TECHNICAL ECONOMIC DEVELOPMENT A   NO 788, NO EAST RD, H CHUZHOU                                                    ANHUI                             239000          CHINA
                  ANHUI QIAOXING TECHNOLOGY DEVELOPME CO
30211097          LTD                                       TECHNICAL ECONOMIC DEVELOPMENT A                                                                                    TONGLING                          244000          CHINA
29955093          ANJANI HOTELS LLC                         HAMPTON INN SUITES                 1910 S. COLLEGE ROAD                                                             LAFAYETTE            LA           70508
29908220          ANKENY POLICE DEPARTMENT                  ALARM REDUCTION UNIT               411 SW ORDNANCE ROAD                                                             ANKENY               IA           50023
29908221          ANKER PLAY PRODUCTS LLC                   420 LINCOLN RD, SUITE 240                                                                                           MIAMI BEACH          FL           33139
                                                                                               NO 45‐51 SOUTH CHATHAM ROAD,
29908223          ANKYO DEVELOPMENT LTD                      ROOM 101, 1/F, CHEVALIER HOUSE    TST                                                                              KOWLOON                           852             HONG KONG
30212728          ANN ABER                                   Address on file
30209921          ANN ARBOR DISTRICT LIBRARY                 343 S. 5TH AVENUE                                                                                                  ANN ARBOR            MI           48104
29908227          Name on file                               Address on file
29908255          ANN M LAY                                  Address on file
29908257          ANN MARIE ELABAN                           Address on file
29908271          ANN SMITH                                  Address on file
30211246          ANN WILLIAMS GROUP LLC                     1400 E. INMAN PARKWAY                                                                                              BELOIT               WI           53511
29955099          ANNA CADMAN                                Address on file
29908290          ANNA CAYTONDION                            Address on file
30209936          ANNA CLARK JOYCE                           Address on file
29908300          ANNA GRIFFIN INC.                          99 ARMOUR DRIVE NE                                                                                                 ATLANTA              GA           30324
IC_005            Anna Hultin                                Address on file
29908319          Name on file                               Address on file
30209953          ANNA MARIA HOMER                           Address on file
29908327          ANNA MARIA HORNER                          Address on file
30209982          ANNA MARIA HORNER                          Address on file
IC_116            ANNA MARIA PARRY                           Address on file
30212893          ANNA OLSEN                                 Address on file
29908364          ANNA SHORT                                 Address on file
29908373          ANNA WARREN                                Address on file
IC_117            ANNABEL KATE WRIGLEY                       Address on file

30209995          ANNABEL WRIGLEY LITTLE PINCUSHION STUDIO   Address on file
29908389          ANNABELLE PULLEN                           Address on file
29908402          ANNAJEANETTE WOODALL                       Address on file
29953281          ANNALYN SMITH                              Address on file
29908409          ANNAMARIE GOLDAY‐STORER                    Address on file
30210009          ANNAPOLIS VALLEY REGIONAL LIBRARY          236 COMMERCIAL STREET                                                                                              BERWICK              NS           B0P 1E0         CANADA
29955162          Name on file                               Address on file
30210026          ANNE ARUNDEL COUNTY PUBLIC LIBRARY         HARRY S. TRUMAN PARKWAY                                                                                            ANNAPOLIS            MD           21401
29955178          ANNE MARIE LARAMEE                         Address on file
29908430          ANNE MEHLMAN                               Address on file
30210077          ANNE WEIL                                  Address on file
30210064          ANNE WEIL                                  Address on file
30212325          ANNE WEST LINDSEY LIBRARY DISTRICT         600 N DIVISION STREET                                                                                              CARTERVILLE          IL           62918




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29955186          ANNEMARIE BONELLA                  Address on file
29955189          ANNEMARIE MENEAR                   Address on file
29955191          ANNEMARIE OSWALD                   Address on file
29908463          ANNERENEE DAWSON                   Address on file
30414776          Name on file                       Address on file
29908468          ANNETTA FARMER                     Address on file
29955202          ANNETTE JOHNSON                    Address on file
29955211          Name on file                       Address on file
29908497          ANNIN FLAGMAKERS                   430 MOUNTAIN AVE‐SUITE 410                                                                                              NEW PROVIDENCE          NJ           07974
30210119          ANOKA COUNTY LIBRARY               707 COUNTY ROAD 10 NE                                                                                                   BLAINE                  MN           55434‐2398
29908510          Name on file                       Address on file
                  ANOKA COUNTY, MN COUNTY CONSUMER
30207695          PROTECTION AGENCY                  ATTN: CONSUMER PROTECTION DIVISION   2100 3RD AVE                                                                       ANOKA                   MN           55303
30397463          Name on file                       Address on file
30284355          Name on file                       Address on file
30289740          Name on file                       Address on file
30289741          Name on file                       Address on file
29908520          ANTHEM BLUECROSS LIFE &            HEALTH INSURANCE COMPANY             PO BOX 105187                                                                      ATLANTA                 GA           30348
29908548          ANTHONY ELLIS                      Address on file
29908559          ANTHONY MEDINA                     Address on file
29908570          ANTHONY PROCHNOW                   Address on file
29908571          ANTHONY R DAVILA                   Address on file
29908579          ANTHONY SCHMIDT                    Address on file
29908590          ANTHONY VANNJR                     Address on file
30353465          Name on file                       Address on file
30288238          Name on file                       Address on file
29908599          Name on file                       Address on file
30210139          ANTIOCH PUBLIC LIBRARY             757 NORTH MAIN ST                                                                                                       ANITOCH                 IL           60002
LC_0019           Antioch Public Library District    757 Main Street                                                                                                         Antioch                 IL           60002‐1398
30210154          ANTIOCH PUBLIC LIBRARY DISTRICT    757 N MAIN ST                                                                                                           ANTIOCH                 IL           60002
30275109          Name on file                       Address on file
29908608          ANTOINETTE G. POLLOCK              Address on file
29908617          ANTOINIA CHANDLER                  Address on file
30356884          Name on file                       Address on file
30213624          ANTONIO B. POMERLEAU, LLC          C/O POMERLEAU REAL ESTATE            69 COLLEGE STREET                                                                  BURLINGTON              VT           05401
29908625          ANTONIO LONGO                      Address on file
29908627          ANTONIO MALONE                     Address on file
29955235          ANTONIOS PIZZA FOOD TRUCK LLC      2906 CENTER ROAD                                                                                                        BRUNSWICK               OH           44212
30353329          Name on file                       Address on file
29908632          ANTWAN STEELE LLC                  23220 CHAGRIN BLVD. #481                                                                                                BEACHWOOD               OH           44122
29908644          ANYBILL FINANCIAL SERVICES INC     PO BOX 34781                                                                                                            BETHESDA                MD           20827‐0781
29908647          ANYROAD INC                        PO BOX 640                                                                                                              SAN FRANCISCO           CA           94104‐0640
29908650          Name on file                       Address on file
30210165          ANYTHINK LIBRARIES                 5877 EAST 120TH AVENUE                                                                                                  THORNTON                CO           80602
30210175          ANYTHINK LIBRARY                   10530 HURON STREET                                                                                                      NORTHGLENN              CO           80234
30350440          Name on file                       Address on file
30347205          Name on file                       Address on file
29908652          Name on file                       Address on file
30210844          AON                                1211 HIGHLAND ROAD                                                                                                      MACEDONIA               OH           44056‐2307
30210846          AON                                1625 FRANK ROAD                                                                                                         COLUMBUS                OH           43223‐3726
30210553          AON RISK SERVICES CENTRAL INC      1299 ZURICH WAY                                                                                                         SCHAUMBURG              IL           60196
30210555          AON RISK SERVICES CENTRAL INC      175 BERKELEY ST.                     6TH FLOOR                                                                          BOSTON                  MA           02116
30210552          AON RISK SERVICES CENTRAL INC      200 E RANDOLPH ST                    FL 13                                                                              CHICAGO                 IL           60601
30210554          AON RISK SERVICES CENTRAL INC      ONE PENN PLAZA 32ND FLOOR                                                                                               NEW YORK                NY           10119
29908657          AON RISK SERVICES CENTRAL INC.     AON CENTER                           200 EAST RANDOLPH STREET          FL 13                                            CHICAGO                 IL           60601
29908656          AON RISK SERVICES CENTRAL INC.     AON CENTER                           200 EAST RANDOLPH STREET                                                           CHICAGO                 IL           60601
30210556          AON RISK SERVICES CENTRAL INC.     DEPT REGULATORY                      505 EAGLEVIEW BLVD.               SUITE 100                                        EXTON                   PA           19341
30210850          AON RISK SERVICES CENTRAL, INC     200 E. RANDOLPH STREET                                                                                                  CHICAGO                 IL           60601
30210559          AON RISK SERVICES CENTRAL, INC.    100 EVEREST WAY                                                                                                         WARREN                  NJ           07059
30210558          AON RISK SERVICES CENTRAL, INC.    151 N. FRANKLIN ST.                                                                                                     CHICAGO                 IL           60606
30210565          AON RISK SERVICES CENTRAL, INC.    155 N WACKER DRIVE                   SUITE 3700                                                                         CHICAGO                 IL           60606
30210566          AON RISK SERVICES CENTRAL, INC.    155 W WACKER DRIVE                   SUITE 3700                                                                         CHICAGO                 IL           60601
30210567          AON RISK SERVICES CENTRAL, INC.    ATTN: LOUIE JOLLEY                   200 EAST RANDOLPH STREET          11TH FLOOR                                       CHICAGO                 IL           60601




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30210853          AON RISK SERVICES CENTRAL,INC.                  200 E RANDOLPH ST                     FL 13                                                                                 CHICAGO               IL           60601‐6424
29908658          AON RISK SERVICES COMPANIES INC                 CENTRAL‐ PREMIUM                      PO BOX 955816                                                                         ST. LOUIS             MO           63195‐5816
29908659          AON RISK SERVICES NORTHEAST INC                 ONE LIBERTY PLAZA                     165 BROADWAY                                                                          NEW YORK              NY           10006
30210570          AON RISK SERVICES NORTHEAST INC                 SKYLIGHT OFFICE TWR                   1527 W 6TH ST.                                                                        CLEVELAND             OH           44113
30210854          AON RISK SERVICES NORTHEAST, INC.               1775 DOVE LANE                                                                                                              CARLSBAD              CA           92011
30210855          AON RISK SERVICES NORTHEAST, INC.               445 HUTCHINSON AVENUE                 SUITE 900                                                                             COLUMBUS              OH           43235
30210572          AON RISK SERVS CENTRAL                          200 E RANDOLPH ST                     LBBY 9TH                                                                              CHICAGO               IL           60601
30210571          AON RISK SERVS CENTRAL                          ONE TOWER                             SQUARE                                                                                HARTFORD              CT           06183
                  AON/ALBERT G. RUBEN INSURANCE SERVICE,
30223045          INC.                                            AGCS NORTH AMERICA                    2350 W. EMPIRE AVENUE                                                                 BURBANK               CA           91504
30394469          Name on file                                    Address on file
29908661          Name on file                                    Address on file
29949443          APEX CREDIT CLO 2020 II LTD                     520 MADISON AVENUE                                                                                                          NEW YORK              NY           10022
29953265          APEX CREDIT CLO 2021‐2 LTD                      520 MADISON AVENUE                                                                                                          NEW YORK              NY           10022
29949804          APEX CREDIT PARTNERS LLC                        520 MADISON AVENUE                                                                                                          NEW YORK              NY           10022
30223046          APEX SYSTEMS LLC                                3750 COLLECTIONS CENTER DR.                                                                                                 CHICAGO               IL           60693
29908665          Name on file                                    Address on file
29908666          Name on file                                    Address on file
29908667          APPLE EMPLOYMENT SERVICES INC                   606 JOHNSON AVE. #3                                                                                                         BOHEMIA               NY           11716
30354036          Name on file                                    Address on file
30208108          APPLETON EAST HIGH SCHOOL                       2121 E EMMERS DR.                                                                                                           APPLETON              WI           54913
30208123          APPLETON PUBLIC LIBRARY                         200 N. APPLETON STREET                                                                                                      APPLETON              WI           54911
29908671          Name on file                                    Address on file
29908684          APRIL DICKERSON                                 Address on file
29955238          APRIL DRAKE                                     Address on file
29908698          APRIL ROMEO                                     Address on file
29908709          APRIL WARNER                                    Address on file
29955263          APS                                             PO BOX 37812                                                                                                                BOONE                 IA           50037‐0812

30333574          APSC LLC as Successor to Annapolis Plaza, LLC   TSCQ Investors LLC                    c/o David B. Huntley              92 Hopmeadow Street             Second Floor        Simsbury              CT           06089
                                                                                                                                          300 GALLERIA PARKWAY, 12TH
29955266          APSC, LLC                                       C/O THE SHOPPING CENTER GROUP, LLC    ATTN: PROPERTY MANAGER            FLOOR                                               ATLANTA               GA           30339
29955267          AQUA IL                                         PO BOX 70279                                                                                                                PHILADELPHIA          PA           19176‐0279
29955269          AQUA INDIANA, INC.                              14421 ILLINOIS RD                                                                                                           FORT WAYNE            IN           46814
29908718          AR WORKSHOP                                     11164 DOWNS ROAD                                                                                                            PINEVILLE             NC           28134
29908719          Name on file                                    Address on file
29908720          Name on file                                    Address on file
29908721          Name on file                                    Address on file
29908722          Name on file                                    Address on file
29908723          Name on file                                    Address on file
29908724          Name on file                                    Address on file

29908725          AR_JAS_SALES 04020                              STATE OF ARKANSAS ‐ SALES & USE TAX   PO BOX 3566                                                                           LITTLE ROCK           AR           72203‐3566

29955271          AR_JAS_SALES 04201                              STATE OF ARKANSAS ‐ SALES & USE TAX   PO BOX 3566                                                                           LITTLE ROCK           AR           72203‐3566

29955272          AR_JAS_SALES 04202                              STATE OF ARKANSAS ‐ SALES & USE TAX   PO BOX 3566                                                                           LITTLE ROCK           AR           72203‐3566
30332655          Name on file                                    Address on file
30351251          Name on file                                    Address on file
29908736          ARAMARK REFRESHMENT SERVICES                    PO BOX 21971                                                                                                                NEW YORK              NY           10087‐1971
30349393          Name on file                                    Address on file
30351008          Name on file                                    Address on file
29908739          ARAPAHOE COUNTY TREASURER                       PO BOX 571                                                                                                                  LITTLETON             CO           80160
                  ARAPAHOE COUNTY, CO COUNTY CONSUMER
30207696          PROTECTION AGENCY                               ATTN: CONSUMER PROTECTION DIVISION 5334 S PRINCE ST                                                                         LITTLETON             CO           80120
29908740          Name on file                                    Address on file
30208143          ARAPAHOE LIBRARIES                              12855 EAST ADAM AIRCRAFT CIRCLE                                                                                             ENGLEWOOD             CO           80112
30208164          ARAPAHOE LIBRARY DISTRICT                       12855 E. ADAM AIRCRAFT CIRCLE                                                                                               ENGLEWOOD             CO           80112
30337330          Name on file                                    Address on file
30394420          Name on file                                    Address on file
29908742          ARBON EQUIPMENT CORP                            25464 NETWORK PLACE                                                                                                         CHICAGO               IL           60673‐1254
                                                                                                                                          250 CIVIC CENTER DRIVE, SUITE
29908743          ARBOR SQUARE LLC                                ATTN: RHONDA CARVER                   C/O CASTO                         #500                                                COLUMBUS              OH           43215




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                                                                                                  250 CIVIC CENTER DRIVE, SUITE
30210920          ARBOR SQUARE LLC                     C/O CASTO                                  #500                                                                                      COLUMBUS                  OH           43215
29908745          ARBOR WALK MALL LLC                  DBA THE SHOPS AT ARBOR WALK                PO BOX 200894                                                                             DALLAS                    TX           75320‐0894
                                                                                                  ATTN: SHAWN BROWN, PORTFOLIO ONE OAKBROOK TERRACE, SUITE
29908746          ARC CLORLFL001, LLC, 050019          C/O HIFFMAN NATIONAL, LLC                  MANAGER                       400                                                         OAKBROOK TERRACE          IL           60181
29908747          ARC DOCUMENT SOLUTIONS LLC           PO BOX 645913                                                                                                                        CINCINNATI                OH           45264‐4913
30213589          ARC NLLKLFL001, LLC                  C/O HIFFMAN NATIONAL, LLC                  ONE OAKBROOK TERRACE #400                                                                 OAKBROOK TERRACE          IL           60181
29908749          ARC PROP OPERATING PARTNERSHIP LP    DBA COLE JO SHAKOPEE MN LLC                PO BOX 732931 0/ID: PT3A20                                                                DALLAS                    TX           75373‐2931
30213260          ARC SMWMBFL001, LLC                  C/O GLOBAL NET LEASE, INC.                 650 5TH AVENUE, 30TH FLOOR                                                                NEW YORK                  NY           10019
                                                       C/O DE RITO PARTNERS DEVELOPMENT,          ATTN: CHARLES R. CARLISE,            9120 E TALKING STICK WAY SUITE
29908751          ARCADIA FIESTA LP                    INC.                                       PRESIDENT                            E1                                                   SCOTTSDALE                AZ           85250
30208174          ARCADIA PUBLIC LIBRARY               20 W. DUARTE ROAD                                                                                                                    ARCADIA                   CA           91006
29908754          ARCBEST                              PO BOX 10048                                                                                                                         FORT SMITH                AR           72917‐0048
29908755          ARCH INSURANCE COMPANY               C/O BANK OF AMERICA                        PO BOX 505198                                                                             ST. LOUIS                 MO           63150
30346332          Name on file                         Address on file
30333564          Name on file                         Address on file
29908757          AR‐COM‐SALES TAX                     PO BOX 3566                                                                                                                          LITTLE ROCK               AR           72203
29908758          AR‐CORP‐INCOME‐JAS 02101             STATE OF ARKANSAS                          1816 W 7TH ST                        ROOM 2250                                            LITTLE ROCK               AR           72203
                                                       C/O HIGHLAND MANAGEMENT
30213071          ARD MACARTHUR, LLC                   CORPORATION                                310 YORKTOWN PLAZA                                                                        ELKINS PARK               PA           19027
30358343          Name on file                         Address on file
29908769          ARDRON‐MACKIE LTD                    6690 COLUMBUS RD.                                                                                                                    MISSISSAUGA               ON           L5T 2G1         CANADA
30356913          Name on file                         Address on file
30223047          ARENTFOX SCHIFF                      1717 K STREET NW                                                                                                                     WASHINGTON                DC           20006
30210610          ARENTFOX SCHIFF LLP                  1301 AVENUE OF THE AMERICAS                42ND FLOOR                                                                                NEW YORK                  NY           10019
30213462          ARG JAFPTIL001, LLC                  C/O GLOBAL NET LEASE                       38 WASHINGTON SQUARE                                                                      NEWPORT                   RI           02840
30213397          ARG MHMORNC001, LLC                  C/O AR GLOBAL INVESTMENTS, LLC             650 FIFTH AVENUE, 30TH FLOOR                                                              NEW YORK                  NY           10019
                                                       C/O HIFFMAN ASSET MANAGEMENT, LLC
30213341          ARG OTOWEKY001, LLC                  (DBA HIFFMAN NATIONAL, LLC)                ONE OAKBROOK TERRACE, STE. 400                                                            OAKBROOK TERRACE          IL           60181
29955284          ARGENT SNYDER                        Address on file
30277533          Name on file                         Address on file
30213159          AR‐GL&ERIE, LLC                      C/O AMERICA'S REALTY                       11155 RED RUN BLVD., SUITE 320                                                            OWINGS MILLS              MD           21117
                                                                                                  101 LARKSPUR LANDKING CIRCLE,
30213312          ARGO IDAHO FALLS, LLC                C/O ARGONAUT INVESTMENTS, LLC              SUITE 120                                                                                 LARKSPUR                  CA           94939
                                                                                                  101 LARKSPUR LANDING CIRCLE,
30213657          ARGO TIETON, LLC                     C/O ARGONAUT INVESTMENTS, LLC              SUITE 120                                                                                 LARKSPUR                  CA           94939
29955291          Name on file                         Address on file
30213444          ARIA INVESTMENTS LLC                 1330 J LEE CIRCLE                          ATTN: MIKE SAJJADIEH                                                                      GLENDALE                  CA           91208
30333576          Aria Investments LLC                 Law Offices Of George A. Shohet, APC       George A. Shohet, Esq.               269 S. Beverly Drive             Suite 1800          Beverly Hills             CA           90212‐3851
29908794          ARIAN LAND                           Address on file
29908813          ARIANA PELLERIN                      Address on file
29908826          ARIANNA DIXIE                        Address on file
30353439          Name on file                         Address on file
30212932          ARIEL HAWKINS                        Address on file
29955302          ARIEL KEMPA                          Address on file
29908874          ARIEL PUMPELLY                       Address on file
IC_006            Arina from BellaCreme                Address on file
29908905          ARIZONA CART SERVICES                120 EAST PIERCE ST                                                                                                                   PHOENIX                   AZ           85004
29908906          ARIZONA DEPARTMENT OF REVENUE        1600 W MONROE ST.                                                                                                                    PHOENIX                   AZ           85007‐2650
29908907          ARIZONA DEPARTMENT OF REVENUE        1600 WEST MONROE                                                                                                                     PHOENIX                   AZ           85007‐2650
                                                       Attn: Lorraine Averitt, Bankruptcy
30160116           Arizona Department of Revenue       Collector                                  1600 W. Monroe 7th Floor                                                                  Phoenix                   AZ           85007
                                                       Office of the Arizona Attorney General ‐   c/o Tax, Bankruptcy and Collection
30160115          Arizona Department of Revenue        BCE                                        Sct                                  2005 N Central Ave, Suite 100                        Phoenix                   AZ           85004
                                                                                                  1600 WEST MONROE ST DIV CODE
29950554          ARIZONA DEPARTMENT OF REVENUE        UNCLAIMED PROPERTY UNIT                    10                                                                                        PHOENIX                   AZ           85007
29950949          ARIZONA DEPT OF REVENUE              1600 WEST MONROE                                                                                                                     PHOENIX                   AZ           85007‐2650
29950948          ARIZONA DEPT OF REVENUE              PO BOX 29032                                                                                                                         PHOENIX                   AZ           85038‐9032
                  ARIZONA PARTNERS RETAIL INVESTMENT
30213579          GROUP, LLC                           C/O BIRCH RUN STATION, LLC                 8300 N. HAYDEN RD., STE. A‐200                                                            SCOTTSDALE                AZ           85258
                  ARKANSAS DEPARTMENT OF FINANCE AND
29908911          ADMINISTRATION                       1509 WEST 7TH STREET                                                                                                                 LITTLE ROCK               AR           72201




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                  ARKANSAS DEPARTMENT OF FINANCE AND
29908910          ADMINISTRATION                                SALES AND USE TAX DIVISION               LEDBETTER BUILDING               1816 W 7TH STE 1330                              LITTLE ROCK                           AR           72201
30223048          ARKANSAS INSURANCE DEPARTMENT                 1 COMMERCE WAY                           SUITE 102                                                                         LITTLE ROCK                           AR           72202
29908912          ARKANSAS OKLAHOMA GAS CORP (AOG)              PO BOX 207539                                                                                                              DALLAS                                TX           75320‐7539
29908914          ARKANSAS SECRETARY OF STATE                   CORP FRANCHISE TAX DIVISION              1401 W CAPITOL AVE # 250                                                          LITTLE ROCK                           AR           72201
30167793          ARL Inc                                       ARL, Inc dba Riley Blake Designs         Jeff Goldenberg                  9646 South 500 West                              Sandy                                 UT           84070
30297722          ARL Inc                                       Jeff Goldenberg                          9646 South 500 West                                                               Sandy                                 UT           84070
30297723          ARL Inc                                       Riley Blake Designs                      PO Box 709750                                                                     Sandy                                 UT           84070
30348937          Name on file                                  Address on file
29908926          ARLINGTON CONSTRUCTION INC                    519 E 11TH AVE                                                                                                             COLUMBUS                              OH           43211
LC_0023           Arlington Heights Memorial Library            500 North Dunton Avenue                                                                                                    Arlington Heights                     IL           60004‐5910
30211699          ARLINGTON HEIGHTS MEMORIAL LIBRARY            500 N. DUNTON AVENUE                                                                                                       ARLINGTON HEIGHTS                     IL           60004
29955318          Name on file                                  Address on file

30208213          ARMAND J. BRINKHAUS COMMUNITY LIBRARY         235 MARIE STREET                                                                                                           SUNSET                                LA           70584
                  Armand J. Brinkhaus South St. Landry
LC_0024           Community Library                             235 Marie Street                                                                                                           St. Landry                            LA           70584‐6107
                  ARMAND J. BRINKHAUS SOUTH ST. LANDRY
30208228          COMMUNITY LIBRARY                             235 MARIE STREET                                                                                                           SUNSET                                LA           70584
30335257          Name on file                                  Address on file
30414677          Name on file                                  Address on file
30273812          Name on file                                  Address on file
30384715          Name on file                                  Address on file
29908938          ARNESHA PRICE                                 Address on file
29908940          Name on file                                  Address on file
29908942          ARNOLD WOODS                                  Address on file
30401225          Name on file                                  Address on file
                                                                                                                                          HUNG DAO‐ DUONG KINH‐ HAI
29904937          AROMA BAY CANDLES CO                          ATTN: ELLEN MA, HEAD OF SALES            TIEU TRA/ RESIDENT GROUP 6       PHONG                                            HAIPHONG                                           18000           VIETNAM
                                                                                                         Tieu Tra, Hungdao Ward, Duong
30281897           Aroma Bay Candles Co Ltd                     Zhang Yi Wen                             Kinh                                                                              Haiphong                                           180000          VIETNAM
                                                                                                         Tieu Tra area, Hung Dao Ward,
30281896          Aroma Bay Candles Co Ltd                      Li Xu                                    Duong Kinh District                                                               Haiphong                                           18000           Vietnam
30349732          Name on file                                  Address on file
29908944          AROUNNA KHOUNNORAJ                            Address on file
30356899          Name on file                                  Address on file
29908945          Name on file                                  Address on file
30349945          Name on file                                  Address on file
30211715          ARROWHEAD LIBRARY SYSTEM                      5528 EMERALD AVE                                                                                                           MOUNTAIN IRON                         MN           55768
29953266          ARROWMARK PARTNERS                            100 FILLMORE ST #325                                                                                                       DENVER                                CO           80206
30353844          Name on file                                  Address on file
30213315          ARSENAL PLAZA ASSOCIATES, LLC                 C/O NIGRO COMPANIES                      20 CORPORATE WOODS BLVD.                                                          ALBANY                                NY           12211
30258347          Arsenal Plaza Associates, LLC                 c/o Nigro Retail Properties              20 Corporate Woods Blvd.                                                          Albany                                NY           12211
29908958          Name on file                                  Address on file

29953267          ART SUPPLY ENTERPRISES                        NO 288 OUFAN ROAD                        Z06                                                                               OUJIANGKOU INDUSTRIAL ZONE, WENZHOU                                CHINA
29908959          ART SUPPLY ENTERPRISES                        2935 SHAWNEE INDUSTRIAL WAY                                                                                                SUWANEE                               GA           30024

29908960          ART SUPPLY ENTERPRISES                        DBA MACPHERSON'S                         2935 SHAWNEE INDUSTRIAL WAY                                                       SUWANEE                               GA           30024
30278703          Art Supply Enterprises DBA MacPhersons        2935 Shawnee Industrial Way              Suite 100                                                                         Suwanee                               GA           30024‐4644

30165192          Art Supply Enterprises Inc. dba MacPhersons   2935 Shawnee Industrial Way, Suite 100                                                                                     Suwanee                               GA           30024‐4644
29908961          ART WIRE WORKS INC                            6711 S LECLAIRE AVE                                                                                                        BEDFORD PARK                          IL           60638
29908963          ARTBIN BY FLAMBEAU                            15981 VALPLAST STREET                                                                                                      MIDDLEFIELD                           OH           44062
30211727          ARTESIA PUBLIC LIBRARY                        205 W QUAY AVE                                                                                                             ARTESIA                               NM           88210
29908965          ARTESPRIX                                     7680 MATOAKA ROAD                                                                                                          SARASOTA                              FL           34243
30395313          Name on file                                  Address on file
30213017          AR'TINA JONES                                 Address on file
30211247          ARTISAN HOME LLC                              HACIENDA DEL COLORADO 21603‐T2                                                                                             PRESIDENTES CP 22215                               22215           MEXICO
29908978          Name on file                                  Address on file
30354784          Name on file                                  Address on file
29908980          ARTSKILLS                                     3935 RABOLD CIRCLE SOUTH                                                                                                   BETHLEHEM                             PA           18020
29908981          ARTUR EXPRESS INC                             PO BOX 870931                                                                                                              KANSAS CITY                           MO           64187‐0931




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29908984          Name on file                           Address on file
30211248          ARTWORK PORTFOLIO LTD                  BLDG 67,59 EUROPE BUSINESS PARK        BIRD HALL LANE                   CH                                                              STOCKPORT                            SK3 OXA         UNITED KINGDOM
30337555          Name on file                           Address on file
30398413          Name on file                           Address on file
LC_0027           Ascension Parish Library               500 Mississippi Street                                                                                                                  Ascension               LA           70346‐2535
30208272          ASCENSION PARISH LIBRARY               500 MISSISSIPPI ST                                                                                                                      DONALDSVILLE            LA           70346
30208282          ASCENSION PARISH LIBRARY               708 S. IRMA BLVD.                                                                                                                       GONZALES                LA           70737
29909002          ASCO MECHANICAL AND PLUMBING INC       1905 N. STRONGS ROAD                                                                                                                    COPIAGUE                NY           11726
30333331          Name on file                           Address on file
30333963          Name on file                           Address on file
30394769          Name on file                           Address on file
30208291          ASHLAND PUBLIC LIBRARY                 224 CLAREMONT AVE.                                                                                                                      ASHLAND                 OH           44805
29952909          ASHLEE WRIGHT                          Address on file
29909037          ASHLEIGH HUNTSMAN                      Address on file
29952735          ASHLEY CHESNA                          Address on file
29909099          ASHLEY FAYE NICKELS                    Address on file

30396622          Ashley Furniture Industries, LLC       Attn: Bradley Shraiberg, Esq.          Shraiberg Page P.A.              2385 NW Executive Center Dr., #300                              Boca Raton              FL           33431
29955352          ASHLEY GILL                            Address on file
29909107          ASHLEY GREGORY                         Address on file
29909117          ASHLEY HENNESSEY                       Address on file
30213019          ASHLEY JOHNSTON                        Address on file
29909148          ASHLEY LOTZ                            Address on file
30212800          ASHLEY MARTIN                          Address on file
29955361          ASHLEY MARTIN                          Address on file
30208309          ASHLEY NICKELS                         Address on file

30213234          ASHLEY REAL ESTATE, LLC                C/O ASHLEY FURNITURE INDUSTRIES, LLC   1670 EAST 8TH AVENUE                                                                             TAMPA                   FL           33605
29955391          ASHLEY STERTZBACH                      Address on file
29909226          ASHLEY TAPP                            Address on file
30357711          Name on file                           Address on file
30334854          Name on file                           Address on file
30342755          Name on file                           Address on file
29909270          ASHLYN HERRON                          Address on file
29952421          Name on file                           Address on file
29952422          ASHTABULA MALL REALTY HOLDING LLC      C/O KOHAN RETAIL INV GRP LLC           1010 NORTHERN BLVD. #212                                                                         GREAT NECK              NY           11021
29955400          ASHWAUBENON PUBLIC SAFETY              C/O FIRE RECOVERY USA LLC              PO BOX 935667                                                                                    ATLANTA                 GA           31193‐5667
30396180          Name on file                           Address on file
30336783          Name on file                           Address on file
30355408          Name on file                           Address on file
30212638          ASKIA SHAHEER                          Address on file
                                                                                                Manager/Presidnet ‐ ASL          c/o Charles Dunn Company, attn:
30289705          ASL Investments LLC                    Adrian Lee                             Investmnets, LLC                 Ms. Grace Kong                       800 W. 6th Street, # 600   Los Angeles             CA           90017
30289704          ASL Investments LLC                    c/o Reeder Law Corporation             Attn: David M. Reeder, Esq.      1801 Century Park East               16th Flr                   Los Angeles             CA           90067
30416372          ASL Investments LLC                    c/o Charles Dunn Co.                   Attn: Ms. Grace Kong             800 W. 6th St., #600                                            Los Angeles             CA           90017
30416373          ASL Investments LLC                    Reeder Law Corporation                 Attn: David M. Reeder, Esq       1801 Century Park E, 16th Flr.                                  Los Angeles             CA           90067
30213059          ASL INVESTMENTS, LLC                   C/O CHARLES DUNN RES, INC.             800 WEST 6TH STREET, SUITE 600                                                                   LOS ANGELES             CA           90017
29950952          ASOTIN ASOTIN COUNTY TREASURER         PO BOX 99                                                                                                                               ASOTIN                  WA           99402‐0099
29909307          ASOTIN COUNTY PUD #1                   PO BOX 605                                                                                                                              CLARKSTON               WA           99403‐0605
29909309          ASOTIN COUNTY TREASURER                PO BOX 99                                                                                                                               ASOTIN                  WA           99402‐0099
                  ASOTIN COUNTY, WA COUNTY CONSUMER
30207697          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 135 SECOND ST                                                                                        ASOTIN                  WA           99402
30340595          Name on file                           Address on file

30208324          ASPHODEL‐NORWOOD TWP. PUBLIC LIBRARY   2363 COUNTY RD 45                                                                                                                       NORWOOD                 ON           K0L 2V0         CANADA
30334395          Name on file                           Address on file
29955416          ASSA ABLOY ENTRANCE SYSTEMS US INC     FKA BESAM US INC                       PO BOX 827375                                                                                    PHILADELPHIA            PA           19182‐7375
29955418          ASSESSMENT & TAX DEPARTMENT            LANE COUNTY PERS PROPERTY TAX          125 E 8TH AVE                                                                                    EUGENE                  OR           97401
29955419          ASSESSMENT AND TAXATION                WASHINGTON CO PERS PROP TAX            PO BOX 3587                                                                                      PORTLAND                OR           97208
29955420          ASSESSOR                               COLLECTOR OF TAXES                     PO BOX 2810                                                                                      CORPUS CHRISTI          TX           78403‐2810
29955424          ASTAGE GLOBAL INC                      729 SEVENTH AVENUE 17TH FLOOR                                                                                                           NEW YORK                NY           10019
30214493          ASTAGE GLOBAL INC                      810 SEVENTH AVE                        SUITE405                                                                                         NEW YORK                NY           10019
30211249          ASTEK                                  15924 ARMINTA STREET                                                                                                                    VAN NUYS                CA           91406




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29909316          Name on file                             Address on file
29909325          Name on file                             Address on file
29909326          AT&T                                     208 S. AKARD ST.                                                                                                           DALLAS                 TX           75202
30211252          AT&T DATACOMM INC                        P.O. BOX 9012                                                                                                              CAROL STREAM           IL           60197‐9012
29909327          AT&T MOBILITY                            1025 LENOX PARK BLVD NE              RM A325                                                                               BROOKHAVEN             GA           30319‐5309
29953848          AT&T MOBILITY‐CC                         1025 LENOX PARK BLVD NE              RM A325                                                                               BROOKHAVEN             GA           30319‐5309
29951460          ATC GLIMCHER LLC                         1000 E DUBLIN GRANVILLE RD                                                                                                 COLUMBUS               OH           43081‐7651
29909330          ATC GLIMCHER LLC                         PO BOX 200835                                                                                                              DALLAS                 TX           75320‐0835
                                                                                                                                4900 EAST DUBLIN GRANVILLE RD.,
29909331          ATC GLIMCHER, LLC                        ATTN: ROB DASCOLI                    C/O WPG                         4TH FLOOR                                             COLUMBUS               OH           43081
                                                                                                4900 EAST DUBLIN GRANVILLE RD.,
30210958          ATC GLIMCHER, LLC                        C/O WPG                              4TH FLOOR                                                                             COLUMBUS               OH           43081
30342499          Name on file                             Address on file
29909333          Name on file                             Address on file
30213439          ATHENS CENTER, LLC                       C/O ELFORD ASSET MANAGMENT           1220 DUBLIN ROAD                                                                      COLUMBUS               OH           43215

30261657          Athens Center, LLC                       Michael P. Shuster                   Porter Wright Morris & Arthur LLP   950 Main Avenue               Suite 500           Cleveland              OH           44113
30208343          ATHENS COUNTY PUBLIC LIBRARIES           95 W. WASHINGTON                                                                                                           NELSONVILLE            OH           45764
29909350          Name on file                             Address on file
                  ATHENS COUNTY, OH COUNTY CONSUMER
30207698          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 15 S COURT ST                                                                           ATHENS                 OH           45701
30212946          ATIF AHMAD                               Address on file
30334156          Name on file                             Address on file
30285613          Name on file                             Address on file
30398192          Name on file                             Address on file
30256749          Name on file                             Address on file
30414828          Name on file                             Address on file
29909358          ATLANTIC CITY ELECTRIC                   PO BOX 13610                                                                                                               PHILADELPHIA           PA           13610
30193079          Atlantic City Electric Company           PO Box 13610                                                                                                               Philadelphia           PA           19101
29909359          Name on file                             Address on file
                  ATLANTIC COUNTY, NJ COUNTY CONSUMER
30207699          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION   1333 ATLANTIC AVE                                                                     ATLANTIC CITY          NJ           08401
29909360          Name on file                             Address on file
30208353          ATLANTIC PUBLIC LIBRARY                  ATTN: FOOD ACQUISITION PROGRAM       507 POPLAR ST.                                                                        ATLANTIC               IA           50022
29909361          Name on file                             Address on file
29909362          ATLANTIS LLC                             HOME2 SUITES                         621 WATIKI WAY                                                                        BOX ELDER              SD           57719
30211253          ATLAS STUDIO CO.                         1000 BRICKELL AVENUE SUITE 715                                                                                             MIAMI                  FL           33131
30260618          Atmos Energy Corporation                 Gregory Wofford                      Bankruptcy Specialist               Atmos Energy Corporation                          Dallas                 TX           75265
29909365          ATMOS ENERGY/630872/740353               PO BOX 630872                                                                                                              CINCINNATI             OH           45263‐0872
29955426          Name on file                             Address on file
29955431          Name on file                             Address on file
30358232          Name on file                             Address on file
30345192          Name on file                             Address on file
29955433          ATWORK FRANCHISE INC                     PO BOX 202992                                                                                                              DALLAS                 TX           75320‐2992
30284049          AtWork Franchise Inc.                    3215 W Gov John Savier Hwy                                                                                                 Knoxville              TN           37920
30395182          Name on file                             Address on file
30208382          AUBURN HILLS PUBLIC LIBRARY              3400 E. SEYBURN DR.                                                                                                        AUBURN HILLS           MI           48326
29955458          Name on file                             Address on file
30208403          AUBURN PUBLIC LIBRARY                    ATTN: NICHOLAS                       749 E. THATCH AVE                                                                     AUBURN                 AL           36830
30353637          Name on file                             Address on file
30393473          Name on file                             Address on file
29909390          AUDITBOARD INC                           12900 PARK PLAZA DR., #200                                                                                                 CERRITOS               CA           90703

29950555          AUDITOR OF STATE                         UNCLAIMED PROPERTY DIVISION          1401 W CAPITOL AVENUE STE 325                                                         LITTLE ROCK            AR           72201
29955468          AUGUST LARSON                            Address on file
29909448          Name on file                             Address on file

29950953          AUGUSTA PLANNING AND DEVELOPMENT DEPT    PO BOX 9270                                                                                                                AUGUSTA                GA           30916‐9270
29909449          AUGUSTA UTILITIES DEPARTMENT             P.O. BOX 1457                                                                                                              AUGUSTA                GA           30903‐1457
29909451          AUGUSTA‐RICHMOND COUNTY                  PO BOX 9270                                                                                                                AUGUSTA                GA           30916‐9270
29909452          Name on file                             Address on file

30208417          AUGUSTA‐ROSS TOWNSHIP DISTRICT LIBRARY   105 S WEBSTER ST.                                                                                                          AUGUSTA                MI           49012




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30208429          AUGUSTA‐ROSS TOWNSHIP DISTRICT LIBRARY   P.O.BOX 215                                                                                                            AUGUSTA                    MI           49012
30399643          Name on file                             Address on file
30385817          Name on file                             Address on file
29909463          AURELIO VOLTAIRE HERNANDEZ               Address on file
30347033          Aurient International Corp.              8F‐3, 106 Chang An West Road                                                                                           Taipei                                  10351           TAIWAN
30208444          AURORA PUBLIC LIBRARY                    15145 YONGE STREET                                                                                                     AURORA                     ON           L4G 1M1         CANADA
29909478          Name on file                             Address on file
30208462          AURORA PUBLIC LIBRARY DISTRICT           101 SOUTH RIVER STREET                                                                                                 AURORA                     IL           60506
29909485          AURORA WATER/CITY OF AURORA, CO          15151 E. ALAMEDA PARKWAY                                                                                               AURORA                     CO           80012
29909484          AURORA WATER/CITY OF AURORA, CO          PO BOX 719117                                                                                                          DENVER                     CO           80271‐9117
30211254          AURORA WORLD INC                         8820 MERCURY LANE                                                                                                      PICO RIVERA                CA           90660
30210618          AURUS, INC.                              1 EDGEWATER DRIVE                    SUITE # 200                                                                       NORWOOD                    MA           02062
30355340          Name on file                             Address on file
29909520          AUSTIN NELSON                            Address on file
30357382          Name on file                             Address on file
30340948          Name on file                             Address on file
30291901          Name on file                             Address on file
30223050          AUTHENTIC BRANDS GROUP, LLC              ATTN: APPROVALS DEPARTMENT           1411 BROADWAY                     2181 FLOOR                                      NEW YORK                   NY           10018
                                                           ATTN: FINANCE DEPARTMENT 1411
30223051          AUTHENTIC BRANDS GROUP, LLC              BROADWAY 21'* FLOOR                                                                                                    NEW YORK                   NY           10018
30223052          AUTHENTIC BRANDS GROUP, LLC              ATTN: LEGAL DEPARTMENT               1411 BROADWAY                     21ST FLOOR                                      NEW YORK                   NY           10018
29909535          AUTHENTIC KNITTING BOARD                 60 CARYSBROOK RD                                                                                                       FORK UNION                 VA           23055
30339246          Name on file                             Address on file
29909537          AUTOMATED LOGIC CORPORATION              ECOENERGY                            1150 ROBERTS BLVD                                                                 KENNESAW                   GA           30144
29909538          AUTOMATIC DOOR & GLASS LLC               5049 W. DIABLO DR.                                                                                                     LAS VEGAS                  NV           89118
29909540          AUTOMATION MAILING & SHIPPING SOLUT      12309 PLAZA DR.                                                                                                        PARMA                      OH           44130
29909541          AUTOW NATIONALEASE OF ALABAMA LLC        PO BOX 100403                                                                                                          NASHVILLE                  TN           37224
29955480          AUTUMN KEMP                              Address on file
30354052          Name on file                             Address on file
30211850          AVALON FREE PUBLIC LIBRARY               235 32ND ST                                                                                                            AVALON                     NJ           08202
30210620          AVANTI, INC.                             222 N. GARDEN ST.                    SUITE 400                                                                         VISALIA                    CA           93291
                                                           Attn: Matthew Warmerdam, Lagomarsino
30398470          Avanti, Inc.                             Group                                222. N. Garden St.                Ste 400                                         Visalia                    CA           93291
29909610          AVENU TAX REMITTANCE DEPARTMENT          PO BOX 830725                                                                                                          BIRMINGHAM                 AL           35283‐0725
30358347          Name on file                             Address on file
30402044          Name on file                             Address on file
30211256          AVERY DENNISON RETAIL INFO SERVICES      Address on file
30213663          AVEST LIMITED PARTNERSHIP                ATTN: SHAWNA ALLEN                   PO BOX 140075                                                                     BOISE                      ID           83714
29909650          AVI KASCH                                Address on file
29909651          AVIANA COMPANY II LTD                    C/O CARNEGIE MANAGEMENT              PO BOX 72522                                                                      CLEVELAND                  OH           44192
                                                           C/O CARNEGIE MANAGEMENT &
30213195          AVIANA COMPANY LTD                       DEVELOPMENT CORP.                    27500 DETROIT RD., SUITE 300                                                      WESTLAKE                   OH           44145
29909655          AVIANCA AYALA                            Address on file
30338896          Name on file                             Address on file
30394640          Name on file                             Address on file
30397207          Name on file                             Address on file
30352660          Name on file                             Address on file
29909660          AVNISH LLC                               RESIDENCE INN BY MARRIOTT            9299 HAVEN AVE.                                                                   RANCHO CUCAMONGA           CA           91730
29909661          Name on file                             Address on file
30208514          AVON PUBLIC LIBRARY                      280 WEST MAIN ST.                                                                                                      AVON                       MA           02322
30292318          AVR CPC Associates, LLC                  c/o AVR Realty Co.                   Attn: Andrew Vitale               One Executive Boulevard                         Yonkers                    NY           10701
30213082          AVR CPC ASSOCIATES, LLC                  C/O AVR REALTY COMPANY               ONE EXECUTIVE BOULEVARD                                                           YONKERS                    NY           10701
30353071          Name on file                             Address on file
30414822          Name on file                             Address on file
29952922          AWARDS & SIGNS UNLIMITED INC             2262 E MAIN ST                                                                                                         VISALIA                    CA           93292
29909664          AWESOME SUPPLY CHAIN LIMITED             RM 2302 HONGAN PLAZA                 258 DIEYUAN ROAD                  NINGBO                                          YINGZHOU DISTRICT                       315199          CHINA
VC_001            AWS                                      PO BOX 84023                                                                                                           SEATTLE                    WA           98124‐8423
30332269          Name on file                             Address on file

29909667          AXA XL                                   100 CONSTITUTION PLAZA, 17TH FLOOR                                                                                     HARTFORD                   CT           06103
30212655          AXA XL                                   111 SOUTH WACKER DR, SUITE 4000                                                                                        CHICAGO                    IL           60606
29909670          AXA XL                                   DEPT: REGULATORY                      505 EAGLEVIEW BLVD., SUITE 100                                                   EXTON                      PA           19341‐0636




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  ADDRESS ID                           NAME                   ADDRESS 1                         ADDRESS 2                        ADDRESS 3                   ADDRESS 4                  CITY        STATE     POSTAL CODE        COUNTRY
29909668          AXA XL                         SEAVIEW HOUSE                     70 SEAVIEW AVENUE                                                                     STAMFORD              CT           06902‐6040
29909671          AXIS INSURANCE COMPANY         92 PITTS BAY ROAD AXIS HOUSE                                                                                            PEMBROKE                           HM 08           BERMUDA
30212678          AXIS INSURANCE COMPANY         555 BURRARD ST #400 (BOX 275)                                                                                           VANCOUVER             BC           V7X 1M8         CANADA
29909673          AXIS INSURANCE COMPANY         10000 AVALON BLVD.                SUITE 200                                                                             ALPHARETTA            GA           30009
29909672          AXIS INSURANCE COMPANY         111 SOUTH WACKER DRIVE            SUITE 3500                                                                            CHICAGO               IL           60606
29953268          AXIS SPECIALTY LIMITED         250 PARK AVENUE, 15TH FLOOR                                                                                             NEW YORK              NY           10177
29955537          AYAII TOLLEY                   Address on file
30332504          Name on file                   Address on file
30356937          Name on file                   Address on file
30401995          Name on file                   Address on file
30332374          Name on file                   Address on file
30401472          Name on file                   Address on file
30358298          Name on file                   Address on file
29909697          AZAR INTERNATIONAL INC         PO BOX 567                                                                                                              PARAMUS               NJ           07653
                                                                                   ONE INDEPENDENT DRIVE, SUITE
30213053          AZCO PARTNERS                  C/O REGENCY CENTERS CORPORATION   114                                                                                   JACKSONVILLE          FL           32202‐5019
29909701          AZ‐INCOME TAX 02103            1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955548          AZ‐JAC‐SALES                   1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955549          AZ‐JAS‐SALES 04101             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955550          AZ‐JAS‐SALES 04102             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955551          AZ‐JAS‐SALES 04103             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955552          AZ‐JAS‐SALES 04104             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955553          AZ‐JAS‐SALES 04105             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955554          AZ‐JAS‐SALES 04106             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955555          AZ‐JAS‐SALES 04107             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955556          AZ‐JAS‐SALES 04108             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955557          AZ‐JAS‐SALES 04109             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955558          AZ‐JAS‐SALES 04110             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29955559          AZ‐JAS‐SALES 04111             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29909705          AZ‐JAS‐SALES 04112             1600 WEST MONROE                                                                                                        PHOENIX               AZ           85007‐2650
29909706          Name on file                   Address on file
30349849          Name on file                   Address on file
29909710          Name on file                   Address on file
30213168          B&B SOUTH PLAZA HOLDINGS LLC   C/O BRUCE STRUMPF, INC.           2120 DREW STREET                                                                      CLEARWATER            FL           33765
29909713          B&H FOTO & ELECTRONICS CORP    DBA B&H PHOTO VIDEO               420 9TH AVE                                                                           NEW YORK              NY           10001
30340379          Name on file                   Address on file
29909715          B. FLEHARTYSTREVIG             Address on file
29954443          B. SMITH REID                  Address on file
29954444          B. WAGNER                      Address on file
29954445          B. WEIRICH                     Address on file
29954446          B2 PAYMENT SOLUTIONS INC       16790 CHARLES RIVER DR.                                                                                                 DELRAY BEACH          FL           33446
30331756          B33 Bandera Point III LLC      Bridge33 Capital                  Alex Banchero                      601 Union Street               Suite 1115          Seattle               WA           98101
30331755          B33 Bandera Point III LLC      c/o Michelle E. Shriro            Singer and Levick, P.C.            16200 Addison Road             Suite 140           Addison               TX           75001
30213355          B33 BANDERA POINTE III LLC     TWO UNION SQUARE                  601 UNION ST., SUITE 1115                                                             SEATTLE               WA           98101
29954448          B33 CENTEREACH II LLC          PO BOX 6304                                                                                                             HICKSVILLE            NY           11802‐6304
30331668          B33 Great Northern II LLC      Bridge33 Capital                  Alex Banchero                      601 Union Street               Suite 1115          Seattle               WA           98101
30331667          B33 Great Northern II LLC      Singer and Levick, P.C.           c/o Michelle E. Shriro             16200 Addison Road             Suite 140           Addison               TX           75001
30213169          B33 GREAT NORTHERN II, LLC     TWO UNION SQUARE                  601 UNION STREET, SUITE 1115                                                          SEATTLE               WA           98101
                                                                                   ATTN: ARSHAD SULTAN, HEAD OF
30213264          B33 MILFORD CROSSING LLC       601 UNION STREET, SUITE 1115      PROPERTY MANAGEMENT                                                                   SEATTLE               WA           98101
30213649          BA TWO REIT LLC                DBA: POOL 2 INDUSTRIAL OH LLC     C/O EQT EXETER                                                                        RADNOR                PA           19087
30338262          Name on file                   Address on file
30347664          Name on file                   Address on file
30348481          Name on file                   Address on file
30355545          Name on file                   Address on file
30341148          Name on file                   Address on file
30353671          Babbs, Shana                   Address on file
30344240          Name on file                   Address on file
30357094          Name on file                   Address on file
30356317          Name on file                   Address on file
30332324          Name on file                   Address on file
30350733          Name on file                   Address on file
29909720          Name on file                   Address on file




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  ADDRESS ID                           NAME                        ADDRESS 1                            ADDRESS 2                            ADDRESS 3               ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30356726          Name on file                        Address on file
30357999          Name on file                        Address on file
30223053          BADGLEY MISCHKA                     Address on file
29909722          BADGLEY MISCHKA LLC                 15342 GRAHAM STREET                                                                                                        HUNTINGTON BEACH      CA           92649
                                                      KAY VOSBURGH‐LEGRAND VICE
30223054          BADGLEY MISCHKA, LLC                PRESIDENT LICENSING                    15342 GRAHAM ST.                                                                    HUNTINGTON BEACH      CA           92649
29909724          BADWATIE HARRILALMOHAMMED           Address on file
30344315          Name on file                        Address on file
30397155          Name on file                        Address on file
30340918          Name on file                        Address on file
30399877          Name on file                        Address on file
30347906          Name on file                        Address on file
30355721          Name on file                        Address on file
30337785          Name on file                        Address on file
30197203          BAILEY CAVALIERI LLC                ATTN: ROBERT BERNER                    409 E. Monument Ave                Suite 103                                        Dayton                OH           45402
30415203          Name on file                        Address on file
30394658          Name on file                        Address on file
30332185          Name on file                        Address on file
30218632          Name on file                        Address on file
30401061          Name on file                        Address on file
30333959          Name on file                        Address on file
30223055          BAILEY‐HARRIS CONSTRUCTION CO INC   1600 BAILEY HARRIS DR.                                                                                                     AUBURN                AL           36830
29955567          BAILIWICK                           4260 NOREX DRIVE                                                                                                           CHASKA                MN           55318
30345413          Name on file                        Address on file
29972758          Name on file                        Address on file
30345540          Name on file                        Address on file
30396671          Name on file                        Address on file
30211258          BAKER & HOSTETLER LLP               P O BOX 70189                                                                                                              CLEVELAND             OH           44190‐0189
29955570          BAKER VEHICLE SYSTEMS INC           9035 FREEWAY DRIVE                                                                                                         MACEDONIA             OH           44056
30356732          Name on file                        Address on file
30344004          Name on file                        Address on file
30415752          Name on file                        Address on file
30357660          Name on file                        Address on file
30393195          Name on file                        Address on file
30261321          Name on file                        Address on file
30350658          Name on file                        Address on file
30334980          Name on file                        Address on file
30393506          Name on file                        Address on file
30332004          Name on file                        Address on file
30355891          Name on file                        Address on file
30394668          Name on file                        Address on file
30296474          Name on file                        Address on file

30210874          BAKER/TEMPLE GREENSBORO, L.L.C.     C/O BAKER COMMERCIAL PROPERTIES        1400 PICKENS STREET, 5TH FLOOR                                                      COLUMBIA              SC           29201

29909767          BAKER/TEMPLE GREENSBORO, L.L.C.     C/O BAKER COMMERCIAL PROPERTIES        ATTN: STEVE ANASTASION, MGR.       1400 PICKENS STREET, 5TH FLOOR                   COLUMBIA              SC           29201
29909768          BAKERSFIELD FARP                    PO BOX 749899                                                                                                              LOS ANGELES           CA           90074‐9899
29909769          BAKER‐TEMPLE GREENSBORO LLC         C/O BAKER & BAKER                      PO BOX 12397                                                                        COLUMBIA              SC           29211
29909771          Name on file                        Address on file
30355719          Name on file                        Address on file
30401291          Name on file                        Address on file
30341084          Name on file                        Address on file
29909772          Name on file                        Address on file
30393826          Name on file                        Address on file
30332271          Name on file                        Address on file
30357976          Name on file                        Address on file
30296205          Name on file                        Address on file
                                                      ATTN: LESLIE HEILMAN, LAUREL ROGLEN,
30197209          BALLARD SPAHR LLP                   MARGARET VESPER                        2029 Century Park East             Suite 1400                                       Los Angeles           CA           90067‐2915
                                                      ATTN: LESLIE HEILMAN, LAUREL ROGLEN,
30197206          BALLARD SPAHR LLP                   MARGARET VESPER                        919 N. Market Street               11th Floor                                       Wilmington            DE           19801‐3034
30340968          Name on file                        Address on file
30256777          Name on file                        Address on file




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  ADDRESS ID                           NAME                                    ADDRESS 1                       ADDRESS 2                        ADDRESS 3                 ADDRESS 4                    CITY        STATE     POSTAL CODE        COUNTRY
30348570           Name on file                              Address on file
29909777           Name on file                              Address on file

29953269          BALLYROCK CLO 14 TAX SUBSIDIARY LTD        1555 NORTH RIVERCENTER DRIVE ST 302   ATTN: PHYSICAL PROCESSING                                                          MILWAUKEE               WI           53212

29953270          BALLYROCK CLO 15 TAX SUBSIDIARY LTD        1555 NORTH RIVERCENTER DRIVE ST 302   ATTN: PHYSICAL PROCESSING                                                          MILWAUKEE               WI           53212

29953271          BALLYROCK CLO 16 TAX SUBSIDIARY LTD        1555 NORTH RIVERCENTER DRIVE ST 302   ATTN: PHYSICAL PROCESSING                                                          MILWAUKEE               WI           53212

29953272          BALLYROCK CLO 17 TAX SUBSIDIARY LTD        1555 NORTH RIVERCENTER DRIVE ST 302   ATTN: PHYSICAL PROCESSING                                                          MILWAUKEE               WI           53212

29953273          BALLYROCK CLO 18 TAX SUBSIDIARY LTD        1555 NORTH RIVERCENTER DRIVE ST 302   ATTN: PHYSICAL PROCESSING                                                          MILWAUKEE               WI           53212

29949444          BALLYROCK CLO 19 TAX SUBSIDIARY LTD        1555 NORTH RIVERCENTER DRIVE ST 302   ATTN: PHYSICAL PROCESSING                                                          MILWAUKEE               WI           53212

29949445          BALLYROCK CLO 2018‐1 TAX SUB LTD           1555 NORTH RIVERCENTER DRIVE ST 302   ATTN: PHYSICAL PROCESSING                                                          MILWAUKEE               WI           53212

29949446          BALLYROCK CLO 2019‐1 TAX SUB LTD           1555 NORTH RIVERCENTER DRIVE ST 302   ATTN: PHYSICAL PROCESSING                                                          MILWAUKEE               WI           53212

29949447          BALLYROCK CLO 2019‐2 TAX SUB LTD           1555 NORTH RIVERCENTER DRIVE ST 302   ATTN: PHYSICAL PROCESSING                                                          MILWAUKEE               WI           53212

29949448          BALLYROCK CLO 2020‐2 TAX SUB LTD           1555 NORTH RIVERCENTER DRIVE ST 302   ATTN: PHYSICAL PROCESSING                                                          MILWAUKEE               WI           53212
30345359          Name on file                               Address on file
29949449          BALOISE SENIOR SECURED LOAN                250 PARK AVENUE                       15TH FLOOR                                                                         NEW YORK                NY           10177
30258362          Name on file                               Address on file
30345368          Name on file                               Address on file
30332282          Name on file                               Address on file
29909778          BALTIMORE COUNTY CLERK                     BUSINESS LICENSE                      PO BOX 6754                                                                        TOWSON                  MD           21285
29909779          BALTIMORE COUNTY MD                        ROOM 150, COURTHOUSE                                                                                                     TOWSON                  MD           41204
                  BALTIMORE COUNTY, MD COUNTY CONSUMER
30207700          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION    400 WASHINGTON AVENUE                                                              TOWSON                  MD           21204
30416791          Name on file                               Address on file
30356608          Name on file                               Address on file
30261016          Banda, Lidia                               Address on file
30263177          Banda, Lidia                               Address on file
29949450          BANDERA STRATEGIC CREDIT PARTNERS          250 PARK AVENUE                       15TH FLOOR                                                                         NEW YORK                NY           10177
29909784          BANEY CORPORATION                          DBA OXFORD SUITES                     9550 N W SILVERDALE WAY                                                            SILVERDALE              WA           98383
30356837          Name on file                               Address on file
29909785          BANGOR GAS, ME                             PO BOX 980                                                                                                               BANGOR                  ME           04402‐0980
29909787          BANGOR WATER DISTRICT                      P.O. BOX 1129                                                                                                            BANGOR                  ME           04402‐1129
30332746          Name on file                               Address on file
30332745          Name on file                               Address on file
29949845          BANK OF AMERICA                            150 N COLLEGE STREET                                                                                                     CHARLOTTE               NC           28202
29949421          BANK OF AMERICA                            ACCOUNT ANALYSIS                      FILE #719880/PO BOX 61000                                                          SAN FRANCISCO           CA           94161

29950619          BANK OF AMERICA                            BANK OF AMERICA CORPORATE CENTER      100 NORTH TRYON STREET                                                             CHARLOTTE               NC           28255
29949420          BANK OF AMERICA                            BRANCH SUPPORT CENTER #1558           PO BOX 1540                                                                        RANCHO CORDOVA          CA           95741‐1540

30223056          BANK OF AMERICA HONG KONG BOFAHKHX         55/F                                  CHEUNG KONG CENTRE                2 QUEEN'S ROAD CENTRAL                           HONG KONG                                            HONG KONG
29949422          BANK OF AMERICA N A                        ACCOUNT ANALYSIS                      PO BOX 550588                                                                      TAMPA                   FL           33655
29949423          BANK OF AMERICA NA                         ACCOUNT ANALYSIS                      100 NORTH TRYON STREET                                                             CHARLOTTE               NC           28202
30200749          BANK OF AMERICA, N.A.                      100 FEDERAL STREET                    9TH FLOOR                                                                          BOSTON                  MA           02110
29949451          BANK OF AMERICA, N.A.                      150 N COLLEGE ST                                                                                                         CHARLOTTE               NC           28202
30212729          BANK OF AMERICA, N.A.                      ATTN: COURTNEY KOLB                   100 FEDERAL STREET                                                                 BOSTON                  MA           02110
29909790          BANK OF AMERICA, N.A.                      C/O MORGAN, LEWIS & BOCKIUS LLP       ATTN: MAJORIE S. CRIDER           ONE FEDERAL STREET                               BOSTON                  MA           02110

                  BANK OF AMERICA, N.A., AS ADMINISTRATIVE
29964925          AGENT AND COLLATERAL AGENT                 901 MAIN ST., 14TH FLOOR                                                                                                 DALLAS                  TX           75202

29949452          BANK OF AMERICA, N.A., AS COLLATERAL AGENT 100 FEDERAL STREET                    9TH FLOOR                                                                          BOSTON                  MA           02110
30337244          Name on file                               Address on file
30398186          Name on file                               Address on file
29909791          Name on file                               Address on file




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  ADDRESS ID                           NAME                          ADDRESS 1                         ADDRESS 2                           ADDRESS 3              ADDRESS 4                CITY        STATE     POSTAL CODE        COUNTRY
30208566          BANNING LIBRARY DISTRICT              21 WEST NICOLET STREET                                                                                                BANNING             CA           92220
29909792          BANNOCK COUNTY TREASURER              ATTN: SHELLEY SHANNON                PO BOX 4626                                                                      POCATELLO           ID           83205‐4626
30338808          Name on file                          Address on file
30358264          Name on file                          Address on file
30227646          Name on file                          Address on file
30335112          Name on file                          Address on file
30350673          Name on file                          Address on file
29955581          BARBARA GLASSON                       Address on file
29953735          BARBARA J WILLIAMS                    Address on file
IC_120            BARBARA JOY BLAIR                     Address on file
30208577          BARBARA JOY BLAIR                     Address on file
29909829          BARBARA KAISER                        Address on file
29909836          BARBARA LATTUR                        Address on file
29955584          BARBARA PALOMBINI                     Address on file
29955601          BARBARA SCHWEITZER                    Address on file
29909879          BARBARA TAPPAN                        Address on file
29909899          BARBARAANN WEBB                       Address on file
30342025          Name on file                          Address on file
30397070          Name on file                          Address on file
29909905          Name on file                          Address on file
30354939          Name on file                          Address on file
29909907          BARCODES LLC                          BARCODES INC                         PO BOX 0776                                                                      CHICAGO             IL           60690‐0776
30399591          Name on file                          Address on file
29949453          BARING GLOBAL ADVISORS LIMITED        20 OLD BAILEY                                                                                                         LONDON                           EC4M 7BF        UNITED KINGDOM
30397157          Name on file                          Address on file
30344006          Name on file                          Address on file
30396984          Name on file                          Address on file
30356619          Name on file                          Address on file
30210688          BARNES & NOBLE, INC.                  33 E 17TH ST                                                                                                          NEW YORK            NY           10003
30332280          Name on file                          Address on file
30355380          Name on file                          Address on file
30354020          Name on file                          Address on file
30345442          Name on file                          Address on file
30342783          Name on file                          Address on file
30342784          Name on file                          Address on file
30384982          Name on file                          Address on file
30350669          Name on file                          Address on file
30340697          Name on file                          Address on file
30416404          Name on file                          Address on file
30287663          Name on file                          Address on file
30353394          Name on file                          Address on file
30340769          Name on file                          Address on file
                  BARNSTABLE COUNTY, MA COUNTY CONSUMER
30207701          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION   3195 MAIN ST                                                                     BARNSTABLE          MA           02630
29909911          BARREN COUNTY SHERIFF                 117‐1B N. PUBLIC SQ.                                                                                                  GLASGOW             KY           42141
                  BARREN COUNTY, KY COUNTY CONSUMER
30207702          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION   117 NORTH PUBLIC SQ             STE 3A                                           GLASGOW             KY           42141
30213463          BARREN RIVER PLAZA PROJECT, LLC       372 NORTH L. RODGERS WELLS BLVD      ATTN: HUNTER VANN                                                                GLASGOW             KY           42141
30416647          Name on file                          Address on file
30337286          Name on file                          Address on file
30357779          Name on file                          Address on file
29909915          Name on file                          Address on file
30208591          BARRIE PUBLIC LIBRARY                 60 WORSLEY ST                                                                                                         BARRIE              ON           L4N 0C2         CANADA
30208604          BARRINGTON AREA LIBRARY               505 N NORTHWEST HIGHWAY                                                                                               BARRINGTON          IL           60010
30211892          BARRINGTON PUBLIC LIBRARY             105 RAMSDELL LANE                                                                                                     BARRINGTON          NH           03825
30211897          BARRINGTON PUBLIC LIBRARY             505 N. NORTHWEST HIGHWAY                                                                                              BARRINGTON          IL           60010
30208649          BARRINGTON PUBLIC LIBRARY DISTRICT    505 N. NORTHWEST HIGHWAY                                                                                              BARRINGTON          IL           60010
29909918          BARRIO BROS LLC                       3190 WEST 63RD STREET                                                                                                 CLEVELAND           OH           44102
29909919          BARROW INDUSTRIES INC                 3 EDGEWATER DRIVE                                                                                                     NORWOOD             MA           02062
30394739          Name on file                          Address on file
30394131          Name on file                          Address on file
30399804          Name on file                          Address on file
30355303          Name on file                          Address on file




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  ADDRESS ID                           NAME                        ADDRESS 1                     ADDRESS 2                        ADDRESS 3                 ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY
30353227          Name on file                       Address on file
30211906          BARRY‐LAWRENCE REGIONAL LIBRARY    213 6TH STREET                                                                                                     MONETT                   MO           65708
30397299          Name on file                       Address on file
30332045          Name on file                       Address on file
29909925          BARTHOLOMEW COUNTY TREASURER       PO BOX 1986                                                                                                        COLUMBUS                 IN           47202‐1986
                  BARTHOLOMEW COUNTY, IN COUNTY
30207703          CONSUMER PROTECTION AGENCY         ATTN: CONSUMER PROTECTION DIVISION 234 WASHINGTON ST                                                               COLUMBUS                 IN           47201
30416175          Name on file                       Address on file
30288072          Name on file                       Address on file
30211912          BARTLESVILLE PUBLIC LIBRARY        600 S JOHNSTONE                                                                                                    BARTLESVILLE             OK           74003
30211915          BARTLETT PUBLIC LIBRARY            800 S BARTLETT RD                                                                                                  BARTLETT                 IL           60103
30208706          BARTLETT PUBLIC LIBRARY DISTRICT   800 SOUTH BARTLETT ROAD                                                                                            BARTLETT                 IL           60103
30415741          Name on file                       Address on file
30338387          Name on file                       Address on file
30349636          Name on file                       Address on file
30385428          Name on file                       Address on file
30385734          Name on file                       Address on file
30340749          Name on file                       Address on file
30415794          Name on file                       Address on file
30395859          Name on file                       Address on file
29909928          BARTOW STAFFING                    CSR PERSONNEL                      347 NE HOOD AVE.                                                                GRESHAM                  OR           97030
30393797          Name on file                       Address on file
30211923          BASALT REGIONAL LIBRARY DISTRICT   14 MIDLAND AVE                                                                                                     BASALT                   CO           81621
30416365          Name on file                       Address on file
30416377          Name on file                       Address on file
30347819          Name on file                       Address on file
30399989          Name on file                       Address on file
30262664          Name on file                       Address on file
29909933          BASIC FUN                          301 YAMATO ROAD STE 2112                                                                                           BOCA RATON               FL           33431
30355796          Name on file                       Address on file
30332207          Name on file                       Address on file
30210633          BASTIAN SOLUTIONS LLC.             10585 N. MERIDIAN ST                                                                                               CARMEL                   IN           46290
30352688          Name on file                       Address on file
29909935          Name on file                       Address on file
30208759          BATAVIA PUBLIC LIBRARY DISTRICT    10 SOUTH BATAVIA AVENUE                                                                                            BATAVIA                  IL           60510
30396219          Name on file                       Address on file
29909936          BATES METAL PRODUCTS INC           PO BOX 68                                                                                                          PORT WASHINGTON          OH           43837‐0068
30333467          Name on file                       Address on file
30353946          Name on file                       Address on file
30355484          Name on file                       Address on file
29909937          BATH‐AKRON‐FAIRLAWN JEDD           P.O. BOX 80538                                                                                                     AKRON                    OH           44308
30341769          Name on file                       Address on file
30356828          Name on file                       Address on file
30399706          Name on file                       Address on file
30356533          Name on file                       Address on file
30332028          Name on file                       Address on file
30399862          Name on file                       Address on file
30358158          Name on file                       Address on file
30295059          Name on file                       Address on file
30416550          Name on file                       Address on file
30346943          Name on file                       Address on file
30295754          Name on file                       Address on file
30394564          Name on file                       Address on file
30256690          Name on file                       Address on file
30344770          Name on file                       Address on file
29909938          BAUM BROS IMPORTS, INC             432 PARK AVE SOUTH 14TH FLOOR                                                                                      NEW YORK                 NY           10016
29909939          BAUM TEXTILE MILLS INC             812 JERSEY AVE                                                                                                     JERSEY CITY              NJ           07310
30353631          Name on file                       Address on file
30286109          Name on file                       Address on file
30347910          Name on file                       Address on file
29909940          BAW PLASTICS INC                   2148 CENTURY DRIVE                                                                                                 JEFFERSON HILLS          PA           15025
30211941          BAXTER COUNTY LIBRARY              300 LIBRARY HILL                                                                                                   MOUNTAIN HOME            AR           72653
30208775          BAXTER COUNTY LIBRARY SYSTEM       MOUNTAIN HOME 300 LIBRARY                                                                                          HILL                     AR           72653




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30333487          Name on file                             Address on file
29909942          BAY COUNTY DEPT OF WATER & SEWER MI      3933 PATTERSON RD                                                                                                                   BAY CITY             MI           48706
29909943          BAY COUNTY DEPT OF WATER & SEWER MI      3933 PATTERSON ROAD                                                                                                                 BAY CITY             MI           48706‐1993
30208790          BAY COUNTY LIBRARY SYSTEM                500 CENTER AVENUE                                                                                                                   BAY CITY             MI           48708
29909945          Name on file                             Address on file
                  BAY COUNTY PUBLIC LIBRARY, NW REGIONAL
30208799          LIBRARY SYSTEM                           898 W 11TH ST.                                                                                                                      PANAMA CITY          FL           32401
                  BAY COUNTY, MI COUNTY CONSUMER
30207704          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION     515 CENTER AVENUE                                                                            BAY CITY             MI           48708
29909947          BAYBROOK M.U.D. #1                       PO BOX 1368                                                                                                                         FRIENDSWOOD          TX           77549‐1368
29976217          Baybrook Municipal Utility District #1   P.O. Box 1368                                                                                                                       Friendswood          TX           77549
30416306          Name on file                             Address on file
29953551          BAYMARD INSTITUTE                        KASTANIE ALLE 41                                                                                                                    FARUM                             3520            DENMARK
29953552          Name on file                             Address on file
29953553          Name on file                             Address on file
30208809          BAYPORT‐BLUE POINT PUBLIC LIBRARY        203 BLUE POINT AVE                                                                                                                  BLUE POINT           NY           11715
30182744          Bayshore Village (US), Inc.              12 Ames Crescent                                                                                                                    Aurora               ON           L4G 0C3         Canada
30213075          BAYSHORE VILLAGE (US), INC.              C/O EQUITY INVESTMENT SERVICES         7575 DR. PHILLIPS BLVD., STE 390                                                             ORLANDO              FL           32819
29953556          BAZA LLC                                 TRU BY HILTON CLEARFIELD               640 N. FALCON HILL DR.                                                                       CLEARFIELD           UT           84015
29953557          Name on file                             Address on file
29953558          BAZAARVOICE INC                          PO BOX 671654                                                                                                                       DALLAS               TX           75267
30333892          Name on file                             Address on file
30348625          Name on file                             Address on file
29949846          BC PARTNERS ADVISORS L.P.                40 PORTMAN SQ                                                                                                                       LONDON                            W1H 6DA         UNITED KINGDOM
29949455          BC PARTNERS ADVISORS L.P.                40 PORTMAN SQ                                                                                                                       GB, LONDON                        W1H 6DA         UNITED KINGDOM
30213485          BCS HOPPER, LLC                          ATTN: TOM HOPPER                       PO BOX 1628                                                                                  ROGERS               AR           72757
29909968          BCWSA (BUCKS COUNTY WATER & SEWER)       1275 ALMSHOUSE ROAD                                                                                                                 WARRINGTON           PA           18976
29909967          BCWSA (BUCKS COUNTY WATER & SEWER)       PO BOX 3895                                                                                                                         LANCASTER            PA           17604‐3895
29909969          Name on file                             Address on file
29909970          BDS SOLUTIONS GROUP LLC                  25692 Atlantic Ocean Drive ,                                                                                                        Lake Forest          CA           92630
30211134          BDS SOLUTIONS GROUP LLC                  APOLLO RETAIL SPECIALISTS LLC          3802 CORPOREX PARK DR              SUITE 225                                                 TAMPA                FL           33619
29909972          BEA SCOTT                                Address on file
29909973          BEACH IMPROVEMENTS OWN., LLC             C/O DLC MANAGEMENT CORP                P.O. BOX 847693                                                                              BOSTON               MA           02284‐7693
30385967          Name on file                             Address on file
30341014          Name on file                             Address on file
30334669          Name on file                             Address on file
30213214          BEALL GRAPEVINE CENTER, LLC              5712 COLLEYVILLE BLVD., SUITE 200      ROBERT S. BEALL (MANAGER)                                                                    COLLEYVILLE          TX           76034
29955605          BEALL GRAPEVINE CTR LLC                  5712 COLLEYVILLE BLVD #200                                                                                                          COLLEYVILLE          TX           76034
30344411          Name on file                             Address on file
30392868          Name on file                             Address on file
30347932          Name on file                             Address on file
30395378          Name on file                             Address on file

30397816          Bear Creek Station LLC                   Saul Ewing LLP                         c/o Monique B. DiSabatino, Esquire 1201 N. Market Street         Suite 2300, P.O. Box 1266   Wilmington           DE           19899
                                                                                                  ATTN: ALEX STANFORD, SR. PROP
29955606          BEAR CREEK STATION, LLC                  C/O PHILLIPS EDISON & COMPANY          MGR.                               11501 NORTHLAKE DRIVE                                     CINCINNATI           OH           45249
30210878          BEAR CREEK STATION, LLC                  C/O PHILLIPS EDISON & COMPANY          ATTN; LEGAL DEPARTMENT                                                                       CINCINNATI           OH           45249
29955607          BEAR CREEK TOWNSHIP                      CONNIE GOLDING, TREASURER              373 N DIVISION ROAD                                                                          PETOSKEY             MI           49770

30213594          BEAR POINTE VENTURES, LLC                C/O LEGACY REAL ESTATE ADVISORS, LLC   29777 TELEGRAPH RD., SUITE 4526                                                              SOUTHFIELD           MI           48034
30385938          Name on file                             Address on file
30340027          Name on file                             Address on file
30333919          Name on file                             Address on file
29948761          BEARHFTI LICENSING                       LICENSING TECHNICIAN                   4244 S MARKET COURT STE D                                                                    SACRAMENTO           CA           95843
29955611          BEARING DISTRIBUTORS INC                 BDI                                    PO BOX 17947                                                                                 DENVER               CO           80217‐0947
30333333          Name on file                             Address on file
30399843          Name on file                             Address on file
30343358          Name on file                             Address on file
30357777          Name on file                             Address on file
30354489          Name on file                             Address on file
30349959          Name on file                             Address on file
30335426          Name on file                             Address on file
30350779          Name on file                             Address on file




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  ADDRESS ID                           NAME                         ADDRESS 1                            ADDRESS 2                          ADDRESS 3                 ADDRESS 4                  CITY    STATE     POSTAL CODE           COUNTRY
29909998          Name on file                         Address on file
29909999          BEAVER DAM WATER UTILITY             205 SOUTH LINCOLN AVENUE                                                                                                   BEAVER DAM            WI       53916
29910000          BEAVERCREEK TOWNE STATION LLC        C/O PHILLIPS EDISON & COMPANY           ATTN: ROBERT F. MYERS, COO        11501 NORTHLAKE DR                               CINCINNATI            OH       45249
30210990          BEAVERCREEK TOWNE STATION LLC        C/O PHILLIPS EDISON & COMPANY           ATTN: ROBERT F. MYERS, COO                                                         CINCINNATI            OH       45249
30356760          Name on file                         Address on file
30354405          Name on file                         Address on file
29910002          Name on file                         Address on file
30332492          Name on file                         Address on file
30353930          Name on file                         Address on file
30351739          Name on file                         Address on file
29910004          BECKLEY WATER COMPANY, WV            P.O. BOX 2400                                                                                                              BECKLEY               WV       25802
30337248          Name on file                         Address on file
29910012          BECKY HIPKE                          Address on file
29910021          BEDDING UPHOLSTERED FURNITURE        6606 TUSSING RD                         PO BOX 4009                                                                        REYNOLDSBURG          OH       43068‐9009
30281692          Name on file                         Address on file
30347757          Name on file                         Address on file
29910022          BEDFORD CITY UTILITIES IN            1614 L STREET                                                                                                              BEDFORD               IN       47421‐3730
30208828          BEDFORD PUBLIC LIBRARY               3 MEETINGHOUSE ROAD                                                                                                        BEDFORD               NH       03110
30347964          Name on file                         Address on file
30356952          Name on file                         Address on file
30356634          Name on file                         Address on file
30348064          Name on file                         Address on file
30339817          Name on file                         Address on file
30353848          Name on file                         Address on file
                                                                                               NO 1 OF BUILDING 3, NO 1 OF
29910027          BEIFA GROUP CO LTD                   68 XIAOGANG WEILIU ROAD                 BUILDIN                                                                            NINGBO                         315801          CHINA
30358230          Name on file                         Address on file
30398220          Name on file                         Address on file
30332410          Name on file                         Address on file
IC_008            Bel Mills of Scrap Paper Circus      Address on file
30347077          Name on file                         Address on file
30386611          Name on file                         Address on file
30394141          Name on file                         Address on file

29949762          BELDEN PARK DELAWARE LLC             C/O ROBERT L. STARK ENTERPRISES, INC.   1350 WEST 3RD STREET                                                               CLEVELAND             OH       44113
29910031          BELDEN PARK DELAWARE LLC             PO BOX 72240                                                                                                               CLEVELAND             OH       44193

29910032          BELDEN PARK DELAWARE, LLC            C/O ROBERT L. STARK ENTERPRISES, INC.   ATTN: ROBERT L. STARK             629 EUCLID AVE SUITE 1300                        CLEVELAND             OH       44114

30210893          BELDEN PARK DELAWARE, LLC            C/O ROBERT L. STARK ENTERPRISES, INC.   ATTN: ROBERT L. STARK                                                              CLEVELAND             OH       44114
30350520          Name on file                         Address on file
30211984          BELFAST FREE LIBRARY                 106 HIGH STREET                                                                                                            BELFAST               ME       04915
30332032          Name on file                         Address on file
                  BELKNAP COUNTY, NH COUNTY CONSUMER
30207705          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION 34 COUNTY DR                                                                            LACONIA               NH       03246
30357063          Name on file                         Address on file
30396812          Name on file                         Address on file
30285203          Name on file                         Address on file
30345581          Name on file                         Address on file
30348018          Name on file                         Address on file
30256838          Name on file                         Address on file
30355701          Name on file                         Address on file
29910049          BELLA STEPANIAN                      Address on file
29910052          BELLADANETTA MICKENS                 Address on file
30349302          Name on file                         Address on file
29910055          BELLE ALBOHN                         Address on file
30416235          Name on file                         Address on file
30208854          BELLEVILLE PUBLIC LIBRARY            121 EAST WASHINGTON STREET                                                                                                 BELLEVILLE            IL       62220
30208866          BELLEVILLE PUBLIC LIBRARY            221 WASHINGTON AVE.                                                                                                        BELLEVILLE            NJ       07109
29910059          BELLEVUE FALSE ALARMS                PO BOX 740664                                                                                                              LOS ANGELES           CA       90074‐0664
29910060          BELLINGHAM 1 LLP                     4040 NORTHWEST AVE.                SPRINGHILL SUITES BELLINGHAM                                                            BELLINGHAM            WA       98226
30208875          BELLINGHAM PUBLIC LIBRARY            100 BLACKSTONE STREET                                                                                                      BELLINGHAM            MA       02019




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29910062          BELMONT COUNTY WATER & SEWER DISTRICT   PO BOX 457                                                                                                              ST CLAIRSVILLE           OH           43950
                  BELMONT COUNTY, OH COUNTY CONSUMER
30207706          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 101 WEST MAIN ST                                                                     ST. CLAIRSVILLE          OH           43950
LC_0044           Belmont Public Library                  P.O.Box 125                                                                                                             Belmont                  MA           02478
30212015          BELMONT PUBLIC LIBRARY                  336 CONCORD AVE                                                                                                         BELMONT                  MA           02478
29910065          BELTRAMI COUNTY SOLID WASTE             751 INDUSTRIAL PARK DR SE                                                                                               BEMIDJI                  MN           56601
                  BELTRAMI COUNTY, MN COUNTY CONSUMER
30207707          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION    701 MINNESOTA AVE NW                                                              BEMIDJI                  MN           56601
30348106          Name on file                            Address on file
30212019          BELVEDERE‐TIBURON LIBRARY               1501 TIBURON BLVD                                                                                                       TIBURON                  CA           94920
29910068          BEMIDJI HOLDINGS LLC, NJ                911 E COUNTY LINE RD                                                                                                    LAKEWOOD                 NJ           08701
                                                          C/O LEXINGTON REALTY INTERNATIONAL,
30213103          BEMIDJI HOLDINGS, LLC                   LLC                                   2361 NOSTRAND AVENUE                                                              BROOKLYN                 NY           11210
29910070          Name on file                            Address on file
29910073          Name on file                            Address on file
29910074          Name on file                            Address on file
29910075          Name on file                            Address on file
29910076          Name on file                            Address on file
29910079          Name on file                            Address on file
30164889          Benchmark Industrial Inc                Attn: Robin Lifter                    950 Claycraft Rd                                                                  Gahanna                  OH           43230
30341133          Name on file                            Address on file
30213175          BENDERSON REALTY DEVELOPMENT, INC.      ATTN: LEASE ADMINISTRATION            570 DELAWARE AVENUE                                                               BUFFALO                  NY           14202
30394460          Name on file                            Address on file
30355641          Name on file                            Address on file
30347234          Name on file                            Address on file
30332440          Name on file                            Address on file
30396221          Name on file                            Address on file
30213003          BENJAMIN BRYSON                         Address on file
29910100          BENJAMIN BUKOWIEC                       Address on file
29910110          BENJAMIN HIERSCHE                       Address on file
IC_121            Benjamin Mach                           Address on file
29910120          BENJAMIN P MILLETT                      Address on file
30344421          Name on file                            Address on file
30332948          Name on file                            Address on file
30394536          Name on file                            Address on file
30340699          Name on file                            Address on file
30344935          Name on file                            Address on file
30294774          Bennett, Barbara                        Address on file
30339413          Name on file                            Address on file
30347887          Name on file                            Address on file
30414520          Name on file                            Address on file
30396378          Name on file                            Address on file
30258065          Name on file                            Address on file
30401794          Name on file                            Address on file
                  BENSENVILLE COMMUNITY PUBLIC LIBRARY
30208925          DISTRICT                                200 SOUTH CHURCH ROAD                                                                                                   BENSENVILLE              IL           60106
29910137          Name on file                            Address on file
30353475          Name on file                            Address on file
30342643          Name on file                            Address on file
30353903          Name on file                            Address on file
30351820          Name on file                            Address on file
29948762          BENTON CHARTER TWP TREASURER            PERSONAL PROPERTY TAX                 1725 TERRITORIAL                                                                  BENTON HARBOR            MI           49022
29910140          BENTON CHARTER TWP TREASURER            PERSONAL PROPERTY TAXES ‐ 342         1725 TERRITORIAL                                                                  BENTON HARBOR            MI           49022
30283660          Benton County Tax Collector             2113 W. Walnut St.                                                                                                      Rogers                   AR           72756
29955626          BENTON COUNTY TAX COLLECTOR             PO BOX 964                                                                                                              CORVALLIS                OR           97339
29910141          BENTON COUNTY TAX COLLECTOR             ROOM 101                              215 E CENTRAL AVE                                                                 BENTONVILLE              AR           72712
29955627          BENTON COUNTY TREASURER                 C/O CLAUDE OLIVER                     PO BOX 630                                                                        PROSSER                  WA           99350‐0630
                  BENTON COUNTY, OR COUNTY CONSUMER
30207708          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 4500 SW RESEARCH WAY                                                                 CORVALLIS                OR           97333
29955628          BENTON PUD                              PO BOX 6270                                                                                                             KENNEWICK                WA           99336‐0270
30353968          Name on file                            Address on file
30335622          Name on file                            Address on file




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30358325          Name on file                           Address on file
30353093          Name on file                           Address on file
29955635          BERENICE ZARCO                         Address on file
30332217          Name on file                           Address on file
30340532          Name on file                           Address on file
30262124          Name on file                           Address on file
30345548          Name on file                           Address on file
30396302          Name on file                           Address on file
30259208          Name on file                           Address on file
29910142          BERKELEY COUNTY TREASURER              PO BOX 6122                                                                                                             MONCKS CORNER             SC           29461‐6120
29910143          Name on file                           Address on file
30208953          BERKELEY HEIGHTS FREE PUBLIC LIBRARY   29 PARK AVENUE                                                                                                          BERKELEY HEIGHTS          NJ           07922
30208964          BERKELEY HEIGHTS PUBLIC LIBRARY        29 PARK AVE                                                                                                             BERKELEY HEIGHTS          NJ           07922
                                                                                            720 SOUTH LAFAYETTE ST.
30213356          BERKELEY MALL, LLC                     ATTN: DAVID W. ROYSTER, III        (OVERNIGHT ADDRESS)                                                                  SHELBY                    NC           28150
29910145          Name on file                           Address on file
30208982          BERKELEY PUBLIC LIBRARY                1637 NORTH TAFT AVENUE                                                                                                  BERKELEY                  IL           60163
30209008          BERKELEY PUBLIC LIBRARY                2 NORTH MAIN STREET                                                                                                     BERKLEY                   MA           02779
30212044          BERKELEY PUBLIC LIBRARY                2031 BANCROFT WAY                                                                                                       BERKELEY                  CA           94704
30350046          Name on file                           Address on file
30394584          Name on file                           Address on file
30210509          BERKLEY CRIME                          433 SOUTH MAIN STREET              SUITE 200                                                                            WEST HARTFORD             CT           06110
30212657          BERKLEY INSURANCE COMPANY              433 SOUTH MAIN STREET, SUITE 200                                                                                        WEST HARTFORD             CT           06110
30210511          BERKLEY INSURANCE COMPANY              475 STEAMBOAT ROAD                                                                                                      GREENWICH                 CT           06830
30210510          BERKLEY INSURANCE COMPANY              ADMINISTRATIVE OFFICE              475 STEAMBOAT ROAD                                                                   GREENWICH                 CT           06830
LC_0052           Berkley Public Library                 2 North Main Street                                                                                                     Berkley                   MA           02779‐1311
29910149          Name on file                           Address on file
30221884          Name on file                           Address on file
                  BERKS COUNTY, PA COUNTY CONSUMER
30207709          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 633 COURT STREET                                                                     READING                   PA           19601
29910150          BERKS EIT BUREAU                       TAX ADMINISTRATOR/COLLECTOR        1125 BERKSHIRE BLVD #115                                                             WYOMISSING                PA           19610
                  BERKSHIRE COUNTY, MA COUNTY CONSUMER
30207710          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 333 EAST ST                                                                          PITTSFIELD                MA           01201
29910151          BERKSHIRE GAS COMPANY                  PO BOX 847821                                                                                                           BOSTON                    MA           02284‐7821
30209088          BERLIN‐PECK MEMORIAL LIBRARY           234 KENSINGTON RD                                                                                                       BERLIN                    CT           06037
30340275          Name on file                           Address on file
29910157          Name on file                           Address on file
29910159          BERNADETTE ABIGAN                      Address on file
29910163          BERNADETTE GONZALES                    Address on file
29910172          BERNALILLO COUNTY TREASURER            PO BOX 269                                                                                                              ALBUQUERQUE               NM           87103‐0269
30353665          Name on file                           Address on file
30348818          Name on file                           Address on file
                  BERRIEN COUNTY, MI COUNTY CONSUMER
30207711          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 701 MAIN STREET                                                                      ST. JOSEPH                CA           49085
30257155          Name on file                           Address on file
30356646          Name on file                           Address on file
30397229          Name on file                           Address on file
30386092          Name on file                           Address on file
30398340          Name on file                           Address on file
30397848          Name on file                           Address on file
30353075          Name on file                           Address on file
30342724          Name on file                           Address on file
29910192          BERWICK OFFRAY LLC                     2015 WEST FRONT ST                                                                                                      BERWICK                   PA           18603
30334663          Name on file                           Address on file
30335356          Name on file                           Address on file
30335496          Name on file                           Address on file
29910199          Name on file                           Address on file
29910200          BETA ALPHA PSI (KSU)                   C/O MINDY NETT                     475 TERRACE DR., ROOM 552                                                            KENT                      OH           44242
29910214          BETH E RICHENBACHER‐LUTZ               Address on file
29910218          BETH MAHN                              Address on file
30212956          BETH SANGER                            Address on file
29910233          Name on file                           Address on file
29955644          BETHANY BAILEY                         Address on file




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29910236          BETHANY BRIDENSTINE                             Address on file
29910240          BETHANY CLAY                                    Address on file
29910247          Name on file                                    Address on file
30347002          Name on file                                    Address on file
30209105          BETHEL PUBLIC LIBRARY                           189 GREENWOOD AVE.                                                                                                       BETHEL                   CT           06801
29910264          Name on file                                    Address on file
30209121          BETHLEHEM PUBLIC LIBRARY                        451 DELAWARE AVENUE                                                                                                      DELMAR                   NY           12054
29910269          BETSY BLOOMFIELD                                Address on file
29910278          BETSY SPAK                                      Address on file
30209136          BETTENDORF PUBLIC LIBRARY                       2950 LEARNING CAMPUS DRIVE                                                                                               BETTENDORF               IA           52722

LC_0054           Bettendorf Public Library Information Center    2950 Learning Campus Dr                                                                                                  Bettendorf               IA           52722‐7710
30358375          Name on file                                    Address on file
30223057          BETTY BOLT                                      Address on file
29910290          BETTY BUCCHIERI                                 Address on file
29910295          Name on file                                    Address on file
IC_122            BETZ WHITE PRODUCTIONS LLC                      1728 PARKER RD.                                                                                                          ELMIRA                   NY           14905
29910311          BETZ WHITE PRODUCTIONS LLC ROYAL                1728 PARKER RD.                                                                                                          ELMIRA                   NY           14905
30340649          Name on file                                    Address on file
30415311          Name on file                                    Address on file
30347952          Name on file                                    Address on file
29910313          BEVERIDGE & DIAMOND PC                          1900 N. ST. NW STE. #100                                                                                                 WASHINGTON               DC           20036

30184141          BEVERIDGE & DIAMOND, PC                         456 MONTGOMERY STREET, SUITE 1800                                                                                        SAN FRANCISCO            CA           94104
29910325          BEVERLY EMMONS                                  Address on file
30336261          Name on file                                    Address on file
30416688          Name on file                                    Address on file
30263057          Name on file                                    Address on file
30340562          Name on file                                    Address on file
30164844          Bexar County                                    Attn: Tax Assessor Collector        233 N Pecos La Trinidad                                                              San Antonio              TX           78207
29910342          BEXAR COUNTY                                    TAX ASSESSOR COLLECTOR              PO BOX 839950                                                                        SAN ANTONIO              TX           78283‐3950
                  BEXAR COUNTY, TX COUNTY CONSUMER
30207712          PROTECTION AGENCY                               ATTN: CONSUMER PROTECTION DIVISION 100 DOLOROSA                                                                          SAN ANTONIO              TX           78205
30257732          Name on file                                    Address on file
30397619          Name on file                                    Address on file
30211259          BEYONDTRUCKS INC                                1633 OLD BAYSHORE HMY, STE 280                                                                                           BURLINGAME               CA           94010
29910344          Name on file                                    Address on file
29910345          BGE                                             P.O. BOX 13070                                                                                                           PHILADELPHIA             PA           19101‐3070
30338092          Name on file                                    Address on file
30211584          BHAVIK SYSTEMS PRIVATE LIMITED                  KALAKUNJ, AMARDEEP SOCIETY         D‐5, PLOT NO.714, SECTOR‐7           CHARKOP, KANDIVALI (W)                           MUMBAI                                400067          INDIA
30358216          Name on file                                    Address on file
30350322          Name on file                                    Address on file
30211261          BIANCA SPRINGER                                 Address on file
30394525          Name on file                                    Address on file
                  BIBB COUNTY, GA COUNTY CONSUMER
30207713          PROTECTION AGENCY                               ATTN: CONSUMER PROTECTION DIVISION 700 POPLAR ST                                                                         MACON                    GA           31201
30337274          Name on file                                    Address on file
                  BIBLIOTHEQUE EL ARCHIVES NATIONALES DU
30209150          QUEBEC                                          475 BOULEVARD DE MAISONNEUVE EST                                                                                         MONTREAL                 QC           H2L 5C4         CANADA
29910370          Name on file                                    Address on file

LC_0335           Bibliothèque et Archives nationales du Québec   475, boulevard De Maisonneuve Est                                                                                        Montréal                 QC           H2L 5C4         Canada
                  BIBLIOTHEQUE ET ARCHIVES NATIONALES DU
30209166          QUEBEC                                          475 BOUL. DE MAISONNEUVE EST                                                                                             MONTREAL                 QC           H2L 5C4         CANADA
                  BIBLIOTHÈQUE ET ARCHIVES NATIONALES DU
30209178          QUÉBEC                                          475 BOULEVARD DE MAISONNEUVE EST                                                                                         MONTREAL                 QC           H2L 5C4         CANADA
                  BIBLIOTHÈQUE PUBLIQUE ELEANOR LONDON
30209186          CÔTE SAINT‐LUC PUBLIC LIBRARY                   5801 CAVENDISH BLVD                                                                                                      COTE SAINT‐LUC           QC           H4W 2X8         CANADA
                  BIBLIOTHEQUE REGIONALE JOLYS REGIONAL
30209202          LIBRARY                                         505 HEBER ST N                                                                                                           ST‐PIERRE‐JOLYS          MB           R0A 1V0         CANADA
                  BIBLIOTHEQUE REGIONALE JOLYS REGIONAL
30209209          LIBRARY                                         C.P. 118 / BOX 118                                                                                                       ST‐PIERRE‐JOLYS          MB           R0A 1V0         CANADA




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                  BIBLIOTHEQUE REGIONALE JOLYS REGIONAL
30209207          LIBRARY                                 P.O. BOX 118                         505 HEBERT AVE. N.                                                                 ST‐PIERRE‐JOLYS          MB           R0A 1V0         CANADA
29910371          Name on file                            Address on file
29910372          Name on file                            Address on file
30209210          BIBLIOTHÈQUE TACHÉ LIBRARY              1082 DAWSON RD                                                                                                          LORETTE                  MB           R5K 0S8         CANADA
30341018          Name on file                            Address on file
30346976          Name on file                            Address on file
30332145          Name on file                            Address on file
30347305          Name on file                            Address on file
30350326          Name on file                            Address on file
29910374          BIELLA MANIFATTURE TESSILI SRL          LARGO S. MARGHERTIRA 1                                                                                                  VALDAGNO                              36078           ITALY
30341115          Name on file                            Address on file
30213568          BIG B1, INC                             655 SOUTH 700 EAST                   ATTN: BANKIM (BOBBY") PATEL                                                        OREM                     UT           84097
30209211          BIG RAPIDS COMMUNITY LIBRARY            426 S. MICHIGAN AVE.                                                                                                    BIG RAPIDS               MI           49307
30211262          BIG TIME TOYS LLC                       2821 DOGWOOD PLACE                                                                                                      NASHVILLE                TN           37204
                                                          2145 ROOSEVELT AVENUE, PO BOX 7840
30211000          BIG Y FOODS, INC.                       ZIP: 01102                           ATTN: REAL ESTATE DEPARTMENT                                                       SPRINGFIELD              MA           01104
                                                          ATTN: PAMELA MCCARTHY, DIRECTOR,     2145 ROOSEVELT AVENUE, PO BOX
29910381          BIG Y FOODS, INC.                       REAL ESTATE DEPARTMENT               7840                                                                               SPRINGFIELD              MA           01104
30297306          Big Y Foods, Inc.                       Shatz, Schwartz & Fentin, P.C.       c/o Andrea M. O'Connor, Esq.  1441 Main Street                 Suite 1100          Springfield              MA           01103
30209212          BIGELOW FREE PUBLIC LIBRARY             54 WALNUT ST.                                                                                                           CLINTON                  MA           01510
30396434          Name on file                            Address on file
30358331          Name on file                            Address on file
29910385          BILGUTEI TSENDAYUSH                     Address on file
30210585          BILL WALL                               Address on file
30345636          Name on file                            Address on file
29951839          BILLERICA HEALTH DEPT ‐ TOWN HALL       BOARD OF HEALTH                      365 BOSTON RD                                                                      BILLERICA                MA           01821
30209216          BILLERICA PUBLIC LIBRARY                15 CONCORD ROAD                                                                                                         BILLERICA                MA           01821
30212102          BILLINGS PUBLIC LIBRARY                 510 NORTH BROADWAY                                                                                                      BILLINGS                 MT           59101
30263268          Name on file                            Address on file
30340369          Name on file                            Address on file
30222085          Name on file                            Address on file
30222086          Name on file                            Address on file
30253948          Billy Hammock Revenue Commissioner      200 S. Court St                                                                                                         Florence                 AL           35630
30395172          Name on file                            Address on file
30414518          Name on file                            Address on file
29910405          BIOWORLD MERCHANDISING                  1159 COTTONWOOD LANE                                                                                                    IRVING                   TX           75038
30393133          Name on file                            Address on file
30336809          Name on file                            Address on file
30332641          Name on file                            Address on file
30335723          Name on file                            Address on file
30184142          BIRD & BIRD LLP                         535 MISSION STREET, 14TH FLOOR                                                                                          SAN FRANCISCO            CA           94105
30344282          Name on file                            Address on file
30353962          Name on file                            Address on file
30273948          Name on file                            Address on file
30415835          Name on file                            Address on file
30386456          Name on file                            Address on file
30358192          Name on file                            Address on file
30395849          Name on file                            Address on file
30337361          Name on file                            Address on file
30338900          Name on file                            Address on file
30356325          Name on file                            Address on file
29955672          BLACK HILLS ENERGY                      PO BOX 7966                                                                                                             CAROL STREAM             IL           60197‐7966
29955674          Name on file                            Address on file
30211263          BLACK LAMB STUDIO                       516 CHEROKEE DR.                                                                                                        ORLANDO                  FL           32801
30397287          Name on file                            Address on file
30336923          Name on file                            Address on file
30332157          Name on file                            Address on file
30338258          Name on file                            Address on file
30353980          Name on file                            Address on file
30385632          Name on file                            Address on file
29949456          Name on file                            Address on file
30211264          BLACKHAWK NETWORK INC ‐ CLOSED LOOP     ATTN: CHRIS CRUM                     6220 STONERIDGE MALL RD                                                            PLEASANTON               CA           94588




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  ADDRESS ID                           NAME                             ADDRESS 1                          ADDRESS 2                        ADDRESS 3                 ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
29955675          Name on file                            Address on file
30211267          BLACKHAWKNETWORK                        PO BOX 932859                                                                                                           ATLANTA                   GA           31193
30358150          Name on file                            Address on file
30357656          Name on file                            Address on file
29955677          BLACKSTONE IMC HOLDINGS Q LLC J         JUNIPER                             PO BOX 745974                                                                       ATLANTA                   GA           30374
                  BLACKSTONE STRATEGIC CAPITAL ADVISORS
30210655          L.L.C                                   345 PARK AVENUE                                                                                                         NEW YORK                  NY           10154
29949457          BLACKWELL PARTNERS LLC ‐ SERIES A       1500 BROADWAY                       SUITE 704                                                                           NEW YORK                  NY           10036
29949458          BLACKWELL PARTNERS LLC‐ SERIES A        3201 DANVILLE BLVD                  STE 100                                                                             ALAMO                     CA           94507
30356114          Name on file                            Address on file
30341117          Name on file                            Address on file
                  BLAIR COUNTY, PA COUNTY CONSUMER
30207714          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 423 ALLEGHENY ST                    STE 102                                          HOLLIDAYSBURG             PA           16648
29955681          BLAIR DOMER                             Address on file
29955682          BLAIR HOLDINGS LLC                      357 O'NEIL STREET                                                                                                       LAKE MILLS                WI           53551
29910413          BLAIR KELLER                            Address on file
30354920          Name on file                            Address on file
30350465          Name on file                            Address on file
30356824          Name on file                            Address on file
30397335          Name on file                            Address on file
30342777          Name on file                            Address on file
30385042          Name on file                            Address on file
30351345          Name on file                            Address on file
30333335          Name on file                            Address on file
30384705          Name on file                            Address on file
30357987          Name on file                            Address on file
30352721          Name on file                            Address on file
30353964          Name on file                            Address on file

30223061          BLD DOOR SERVICE LLC                    OVERHEAD DOOR COMPANY OF AKRON      1750 NEWBERRY STREET                                                                CUYAHOGA FALLS            OH           44221
30354446          Name on file                            Address on file
30342401          Name on file                            Address on file
30350434          Name on file                            Address on file
29910434          Name on file                            Address on file

30213118          BLI SUNSET SQUARE LLC                   C/O TOURMALINE CAPITAL              11250 EL CAMINO REAL, SUITE 102                                                     SAN DIEGO                 CA           92130
29910436          Name on file                            Address on file
30347654          Name on file                            Address on file
30346717          Name on file                            Address on file
30347773          Name on file                            Address on file
30279455          Name on file                            Address on file
30394515          Name on file                            Address on file
30333223          Name on file                            Address on file
30414505          Name on file                            Address on file
29910437          Name on file                            Address on file
30209217          BLOOMFIELD PUBLIC LIBRARY               90 BROAD STREET                                                                                                         BLOOMFIELD                NJ           07003
29910438          BLOOMFIELD TOWNSHIP                     4200 TELEGRAPH ROAD                 PO BOX 489                                                                          BLOOMFIELD HILLS          MI           48303‐0489
29910439          Name on file                            Address on file
29910441          BLOOMFIELD TOWNSHIP, MI                 4200 TELEGRAPH ROAD                                                                                                     BLOOMFIELD TWP            MI           48303‐0489
29910440          BLOOMFIELD TOWNSHIP, MI                 P.O. BOX 489                                                                                                            BLOOMFIELD TOWNSHIP       MI           48303‐7731
29910442          BLOOMFIELD VILLAGE SQUARE               C/O STUART FRANKEL DEV CO           1334 MAPLELAWN DRIVE                                                                TROY                      MI           48084
                                                                                              100 CONSTITUTION PLAZA, 7TH
30223062          BLOOMINGDALE OWNER LLC                  C/O THE HUTENSKY GROUP, LLC         FLOOR                                                                               HARTFORD                  CT           06103‐1703
30212103          BLOOMINGDALE PUBLIC LIBRARY             101 FAIRFIELD WAY                                                                                                       BLOOMINGDALE              IL           60108
30351180          Name on file                            Address on file
30351026          Name on file                            Address on file
29910446          Name on file                            Address on file
30341060          Name on file                            Address on file
30341061          Name on file                            Address on file
29910447          Name on file                            Address on file
                  BLUE EARTH COUNTY, MN COUNTY CONSUMER
30207715          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 410 S 5TH ST                                                                         MANKATO                   MN           56001
29910448          BLUE GEM INC                            1846 BANKING STREET                                                                                                     GREENSBORO                NC           27408




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  ADDRESS ID                           NAME                          ADDRESS 1                                ADDRESS 2                         ADDRESS 3                 ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
30209222          BLUE ISLAND PUBLIC LIBRARY          2433 YORK STREET                                                                                                                BLUE ISLAND               IL           60406
30213110          BLUE LAKES PLAZA, LLC               C/O GENEVA EQUITIES III, LLC                120 N 2ND AVE # 206                                                                 KETCHUM                   ID           83340

29910451          BLUE LAKES PLAZA, LLC               C/O GENEVA EQUITIES III, LLC                270 NORTHWOOD WAY, SUITE 104                                                        KETCHUM                   ID           83340
29910452          BLUE ORANGE USA                     1415 OAKLAND BLVD, SUITE 202                                                                                                    WALNUT CREEK              CA           94596
30210952          BLUE RIDGE MALL LLC                 DBA: HULL PROPERTY GROUP, LLC               1190 INTERSTATE PARKWAY                                                             AUGUSTA                   GA           30909
                                                                                                  ATTN: DONNA J. REDD, TENANT
29910453          BLUE RIDGE MALL LLC                 DBA: HULL PROPERTY GROUP, LLC               RELATIONSHIP MGR                   1190 INTERSTATE PARKWAY                          AUGUSTA                   GA           30909
29910455          BLUE SKY CLAYWORKS                  2075 S ATLANTIC AVE, SUITE H                                                                                                    MONTEREY PARK             CA           91754
29910456          BLUE SKY THE COLOR OF IMAGINATION   410 EXCHANGE SUITE 250                                                                                                          IRVINE                    CA           92602
30210663          BLUE TORCH CAPITAL LP               150 EAST 58TH STREET                        39TH FLOOR                                                                          NEW YORK                  NY           10155
29910457          BLUE YONDER INC                     PO BOX 841983                                                                                                                   DALLAS                    TX           75284‐1983
30331017          Blue Yonder, Inc.                   15059 North Scottdale Road, Suite 400                                                                                           Scottsdale                AZ           85254
30260886          Blue Yonder, Inc.                   Daniel J. Maynard                           15059 North Scottsdale Road        Suite 400                                        Scottsdale                AZ           85254
                                                                                                                                     15059 North Scottsdale Road, Suite
30346704          Blue Yonder, Inc.                   Daniel J. Maynard                           President, Blue Yonder, Inc.       400                                              Scottsdale                AZ           85254
                                                      Squire Patton Boggs (US) LLP, c/o Mark A.
30346703          Blue Yonder, Inc.                   Salzberg                                    2550 M Street, NW                                                                   Washington                DC           20037
30213616          BLUEJAY CAPITAL LLC                 ATTN: MARC JACOBWITZ                        301 MILL ROAD, SUITE L6                                                             HEWLETT                   NY           11557
29910460          BLUM BOULDERS I LLC                 C/O BLUM BOULDERS ASSOC. T000015            PO BOX 103969                                                                       PASADENA                  CA           91189‐3969
30358146          Name on file                        Address on file
30213334          BMA JOLIET COMMONS LLC              C/O BERENGARIA DEVELOPMENT, LLC             301 N. BROADWAY, SUITE 300                                                          MILWAUKEE                 WI           53202
29910464          BMC SOFTWARE INC                    PO BOX 301165                                                                                                                   DALLAS                    TX           75303
29910465          BMI MECHANICAL INC                  PO BOX 279                                                                                                                      TULARE                    CA           93275
30287267          BMI Mechanical Inc.                 Rey Tan                                     1115 S Blackstone St                                                                Tulare                    CA           93274
30226565          BMI Mechanical, Inc.                Rachel Arroyo                               1115 S. Blackstone St.                                                              Tulare                    CA           93274
29910466          Name on file                        Address on file
30398241          Name on file                        Address on file
29910470          BOARD OF COUNTY COMMISSIONER        PALM BEACH COUNTY FINANCE DEPT              PO BOX 3977                                                                         WEST PALM BEACH           FL           33402
29910471          BOARD OF COUNTY COMMISSIONERS       NASSAU COUNTY FIRE RESCUE                   96160 NASSAU PLACE                                                                  YULEE                     FL           32097
29910472          BOARD OF HEALTH                     CITY HALL ANNEX ROOM 306                    20 KOREAN VETERANS PLAZA                                                            HOLYOKE                   MA           01040
29910473          BOARDPROSPECTS INC                  18 SHIPYARD DR. STE 3D                                                                                                          HINGHAM                   MA           02043
30332573          Name on file                        Address on file
30209235          BOAZ PUBLIC LIBRARY                 404 THOMAS AVE.                                                                                                                 BOAZ                      AL           35957
30356606          Name on file                        Address on file
29910490          BOBER MARKEY FEDOROVICH & CO        3421 RIDGEWOOD RD., #300                                                                                                        AKRON                     OH           44333
30210689          BOBS DISCOUNT FURNITURE             5760 ANTIOCH ROAD                                                                                                               MERRIAM                   KS           66202
30333427          Name on file                        Address on file
30348714          Name on file                        Address on file
30384950          Name on file                        Address on file
30351012          Name on file                        Address on file
30356186          Name on file                        Address on file
30335002          Name on file                        Address on file
30355813          Name on file                        Address on file
30283823          Name on file                        Address on file
30346315          Name on file                        Address on file
30332079          Name on file                        Address on file
30293965          Name on file                        Address on file
29910492          Name on file                        Address on file
30209255          BOGOTA PUBLIC LIBRAY                375 LARCH AVENUE                                                                                                                BOGOTA                    NJ           07603
30278678          Name on file                        Address on file
30261480          Name on file                        Address on file
30211268          BOHANON & CO LLC                    28545 BISHOP PARK DR., #210                                                                                                     WILLOUGHBY HILLS          OH           44092
30351237          Name on file                        Address on file
29910493          Name on file                        Address on file
30343800          Name on file                        Address on file
30346653          Name on file                        Address on file
29910495          Name on file                        Address on file
30385512          Name on file                        Address on file
30350826          Name on file                        Address on file
30345454          Name on file                        Address on file
30337382          Name on file                        Address on file
29910496          Name on file                        Address on file




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30347885          Name on file                           Address on file
29910497          Name on file                           Address on file
30347422          Name on file                           Address on file
30345577          Name on file                           Address on file
30332151          Name on file                           Address on file
30414640          Name on file                           Address on file
30358114          Name on file                           Address on file
30396176          Name on file                           Address on file
30335086          Name on file                           Address on file
30357563          Name on file                           Address on file
30414697          Name on file                           Address on file
30211269          BONIP PAZARLAMA SANAYI TICARET AS      4.CAD NO5/1/Z Kadirli/Osmaniye                                                                                     OSMANIYE                              80750           TURKEY
29955701          BONITA SPRINGS UTILITIES, INC          P.O. BOX 11689                                                                                                     NAPLES                   FL           34101‐1689
30347736          Name on file                           Address on file
30212104          BONNECHERE UNION PUBLIC LIBRARY        74 MAPLE ST                                                                                                        EGANVILLE                ON           K0J 1T0         CANADA
30384696          Name on file                           Address on file
30401326          Name on file                           Address on file
30347330          Name on file                           Address on file
29910498          BONNEVILLE COUNTY TREASURER            500 N CAPITAL AVE                                                                                                  IDAHO FALLS              ID           83402
29910499          Name on file                           Address on file
29955706          BONNIE GOERS                           Address on file
29955712          BONNIE MCCARTHY                        Address on file
30338266          Name on file                           Address on file
30222062          Name on file                           Address on file
30262440          Name on file                           Address on file
30332304          Name on file                           Address on file
30402077          Name on file                           Address on file
29951050          BOONE COUNTY                           GOVERNMENT CENTER                 801 EAST WALNUT RM 118                                                           COLUMBIA                 MO           65201
29951051          BOONE COUNTY                           OCCUPATIONAL LICENSE DEPT         PO BOX 960                                                                       BURLINGTON               KY           41005
30416069          Boone County Collector                 Brian McCollum                    801 E. Walnut St.               Room 118                                         Columbia                 MO           65201
29951842          BOONE COUNTY COLLECTOR OF REVENUE      GOVERNMENT CENTER                 801 EAST WALNUT RM 118                                                           COLUMBIA                 MO           65201
29951052          BOONE COUNTY FISCAL COURT              2950 WASHINGTON ST.               PO BOX 960                                                                       BURLINGTON               KY           41005
29951053          BOONE COUNTY PLANNING COMM.            2950 WASHINGTON ST., RM. 317      PO BOX 958                                                                       BURLINGTON               KY           41005
29951054          Name on file                           Address on file
30209271          BOONE COUNTY PUBLIC LIBRARY DISTRICT   1786 BURLINGTON PIKE                                                                                               BURLINGTON               KY           41005
                  BOONE COUNTY, KY COUNTY CONSUMER
30207716          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 2950 WASHINGTON SQ                                                              BURLINGTON               KY           41005
30278456          Name on file                           Address on file
30358013          Name on file                           Address on file
30209274          BOONSLICK REGIONAL LIBRARY             219 W THIRD STREET                                                                                                 SEDALIA                  MO           65301
30354536          BOOT BARN HOLDINGS, INC.               15345 BARRANCA PKWY                                                                                                IRVINE                   CA           92618
30344051          Name on file                           Address on file
30334087          Name on file                           Address on file
30395111          Name on file                           Address on file
30397186          Name on file                           Address on file
30333780          Name on file                           Address on file
30209279          BOROONDARA LIBRARY SERVICES            336 WHITEHORSE RD                                                                                                  BALWYN, VIC                           3103            AUSTRALIA
29951057          Name on file                           Address on file
30209276          BOROONDARA LIBRARY SERVICES            8 INGLESBY ROAD                                                                                                    CAMBERWELL, VIC                       3124            AUSTRALIA
29951058          BOROUGH OF DICKSON CITY                901 ENTERPRISE STREET                                                                                              DICKSON CITY             PA           18519
29910518          Name on file                           Address on file
29910519          BOROUGH OF PARAMUS                     1 JOCKISH SQUARE                                                                                                   PARAMUS                  NJ           07652
                  BOROUGH OF PARAMUS ‐ BOARD OF HEALTH
29951845          AND HUMAN SER                          1 JOCKISH SQUARE                                                                                                   PARAMUS                  NJ           07652
29910520          BOROUGH OF PARAMUS, NJ                 1 JOCKISH SQUARE                                                                                                   PARAMUS                  NJ           07652
29910521          BOROUGH OF POTTSTOWN                   BOROUGH HALL                      100 E HIGH STREET                                                                POTTSTOWN                PA           19464
29910523          BOROUGH OF SHREWSBURY                  BUSINESS LICENSE RENEWAL          PO BOX 7420                                                                      SHREWSBURY               NJ           07701
29951847          BOROUGH OF SHREWSBURY ‐ CLERK          BUSINESS LICENSE RENEWAL          PO BOX 7420                                                                      SHREWSBURY               NJ           07701
29910524          BOROUGH OF WYOMISSING                  22 READING BLVD                                                                                                    WYOMISSING               PA           19610
30394767          Name on file                           Address on file
30342955          Name on file                           Address on file
30259378          Name on file                           Address on file
30263348          Name on file                           Address on file




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30332300          Name on file                           Address on file
30340277          Name on file                           Address on file
30338023          Name on file                           Address on file
30350583          Name on file                           Address on file
30340747          Name on file                           Address on file
29910525          Name on file                           Address on file
30286765          Boston Gas Company DBA National Grid   Attn: Linda Demauro                  PO Box 4706                                                                       Syracuse              NY           13221
LC_0066           Boston Public Library                  700 Boylston Street                                                                                                    Boston                MA           02116‐2813
29910526          Name on file                           Address on file
29910527          BOSTON WAREHOUSE                       59 DAVIS AVE                                                                                                           NORWOOD               MA           02062
30335756          Name on file                           Address on file
29910529          Name on file                           Address on file
30209284          BOTETOURT COUNTY LIBRARY               28 AVERY RD                                                                                                            ROANOKE               VA           24012
30356265          Name on file                           Address on file
29910530          BOTTOMLINE TECHNOLOGIES INC            PO BOX 412377                                                                                                          BOSTON                MA           02241‐2377
30344311          Name on file                           Address on file
30397283          Name on file                           Address on file
30355264          Name on file                           Address on file
29910531          Name on file                           Address on file
30209285          BOULDER CITY LIBRARY                   701 ADAMS BOULEVARD                                                                                                    BOULDER CITY          NV           89005
30212105          BOULDER CITY LIBRARY DISTRICT          701 ADAMS BLVD                                                                                                         BOULDER CITY          NV           89005
29910533          BOULDER COUNTY TREASURER               PO BOX 471                                                                                                             BOULDER               CO           80306‐0471
                  BOULDER COUNTY, CO COUNTY CONSUMER
30207717          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   1520 SOUTH EMERY ST                                                               LONGMONT              CO           80501
29910534          BOULDER POLICE DEPT                    FALSE ALARM REDUCTION PROGRAM        PO BOX 19936                                                                      BOULDER               CO           80308
LC_0068           Boulder Public Library                 Po Drawer H                                                                                                            Boulder               CO           80306
30212106          BOULDER PUBLIC LIBRARY                 1001 ARAPAHOE AVE                                                                                                      BOULDER               CO           80302
30209287          BOULDER PUBLIC LIBRARY DISTRICT        1001 ARAPAHOE AVE                                                                                                      BOULDER               CO           80302
29910536          Name on file                           Address on file
30213515          BOULEVARD CENTRE LLC                   5577 YOUNGSTOWN‐WARREN ROAD                                                                                            NILES                 OH           44446
29910538          BOULEVARD CENTRE LLC                   CAFCO LOCKBOX BOND FUND LP           PO BOX 7535                                                                       CAROL STREAM          IL           60197‐7535
30209288          BOURBONNAIS PUBLIC LIBRARY             250 W JOHN CASEY RD                                                                                                    BOURBONNAIS           IL           60914
29910539          Name on file                           Address on file
30209289          BOURBONNAIS PUBLIC LIBRARY DISTRICT    250 WEST JOHN CASEY ROAD                                                                                               BOURBONNAIS           IL           60914
30346588          Name on file                           Address on file
30397441          Name on file                           Address on file
30342934          Name on file                           Address on file
30337841          Name on file                           Address on file
30416675          Name on file                           Address on file
30350667          Name on file                           Address on file
30394544          Name on file                           Address on file
30212107          BOWEN ISLAND PUBLIC LIBRARY            430 BOWEN ISLAND TRUNK RD                                                                                              BOWEN ISLAND          BC           V0N 1G0         CANADA
30352668          Name on file                           Address on file
30395219          Name on file                           Address on file
30385561          Name on file                           Address on file
30401685          Name on file                           Address on file
30394696          Name on file                           Address on file
30386029          Name on file                           Address on file
30340246          Name on file                           Address on file
30396799          Name on file                           Address on file
29910542          BOWIE STEADHAM                         Address on file
30401129          Name on file                           Address on file
30357119          Name on file                           Address on file
30397417          Name on file                           Address on file
29910544          BOWLING GREEN WD                       1995 PROSPECT AVENUE                                                                                                   EAST MEADOW           NY           11554
30184143          BOWMAN AND BROOKE LLP                  970 WEST 190TH STREET, SUITE 700                                                                                       TORRANCE              CA           90502
29910545          BOWMAN AND BROOKE LLP                  PO BOX 1450 NW5834                                                                                                     MINNEAPOLIS           MN           55485
30165913          Bowman Hollis Manufacturing Co Inc     Sam Bowman                           2925 Old Steele Creek Road                                                        Charlotte             NC           28208
29910546          BOWMAN HOLLIS MFG INC                  P.O. BOX 19249                                                                                                         CHARLOTTE             NC           28219
30358292          Name on file                           Address on file
30349817          Name on file                           Address on file
30337308          Name on file                           Address on file
30356655          Name on file                           Address on file




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30341177          Name on file                               Address on file
30332149          Name on file                               Address on file
30347671          Name on file                               Address on file
30397517          Name on file                               Address on file
30212114          BOYD COUNTY PUBLIC LIBRARY                 1740 CENTRAL AVE                                                                                                                  ASHLAND                KY           41101
29910548          BOYD COUNTY SHERIFF                        PO BOX 558                                                                                                                        CATLETTSBURG           KY           41129
                  BOYD COUNTY, KY COUNTY CONSUMER
30207718          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION   2800 LOUISA ST                                                                               CATLETTSBURG           KY           41129
30287462          Name on file                               Address on file
30348032          Name on file                               Address on file
30209296          BOYDEN LIBRARY                             10 BIRD ST.                                                                                                                       FOXBOROUGH             MA           02035
30209294          BOYDEN LIBRARY                             10 BIRD STREET                                                                                                                    FOXBORO                MA           02035
30345646          Name on file                               Address on file
30385251          Name on file                               Address on file
30340591          Name on file                               Address on file
30340590          Name on file                               Address on file
30209297          BOYERTOWN COMMUNITY LIBRARY                24 HI. READING AVE.                                                                                                               BOYERTOWN              PA           19512
29910550          Name on file                               Address on file
30384748          Name on file                               Address on file
30335266          Name on file                               Address on file
30353297          Name on file                               Address on file
30338256          Name on file                               Address on file
30223065          BOYNTON BEACH CITY LIBRARY                 100 E OCEAN AVE.                                                                                                                  BOYNTON BEACH          FL           03345
30209299          BOYNTON BEACH CITY LIBRARY                 100 E. OCEAN AVE.                                                                                                                 BOYNTON BEACH          FL           33435
29910552          BOYNTON BEACH FIRE DEPT                    PO BOX 310                                                                                                                        BOYNTON BEACH          FL           33425
30256830          Name on file                               Address on file
30212117          BOZEMAN PUBLIC LIBRARY                     626 E MAIN ST                                                                                                                     BOZEMAN                MT           59715
30334653          Name on file                               Address on file
30356866          Name on file                               Address on file
                                                             C/O GE COMMERCIAL FINANCE BUSINESS
30210744          BPVISALIA LLC                              PROPERTY CORPORATION                 10900 NE 4TH STREET             SUITE 500                                                    BELLEVUE               WA           98004
                                                             C/O GE COMMERCIAL FINANCE BUSINESS                                   ATTN: BILL MOORE ESQ. GENERAL   10900 NE 4TH STREET, SUITE
30223066          BPVISALIA LLC                              PROPERTY CORPORATION                 ATTN: STRUCTURED REAL ESTATE    COUNSEL                         500                          BELLEVUE               WA           98004
30336861          Name on file                               Address on file
30278051          Bradford Plaza Capital Venture, LLC        6608 N. Western                      #477                                                                                         Oklahoma City          OK           73116
30213377          BRADFORD PLAZA CAPITAL VENTURE, LLC        C/O FORAKER COMPANY                  6608 N. WESTERN AVE., #477                                                                   OKLAHOMA CITY          TX           73116

30209303          BRADFORD W. GWILLIMBURY PUBLIC LIBRARY     425 HOLLAND STREET WEST                                                                                                           BRADFORD               ON           L3Z 0J2          CANADA
29910573          Name on file                               Address on file
LC_0336           Bradford West Gwillimbury Public Library   425 Holland Street West                                                                                                           Bradford               ON           L3Z0J2           Canada
30338098          Name on file                               Address on file
30401394          Name on file                               Address on file
29910585          BRADLEY KISNER                             Address on file
29910588          Name on file                               Address on file
30337172          Name on file                               Address on file
30347759          Name on file                               Address on file
30345622          Name on file                               Address on file
30284486          Name on file                               Address on file
29910593          Name on file                               Address on file
30358308          Name on file                               Address on file
30348694          Name on file                               Address on file
30348692          Name on file                               Address on file
30337617          Name on file                               Address on file
30353553          Name on file                               Address on file
30353537          Name on file                               Address on file
30261006          Name on file                               Address on file
30211270          BRAIN TREE GAMES LLC                       4860 COX ROAD SUITE 200                                                                                                           GLEN ALLEN             VA           23060
29910606          BRAINERD PUBLIC UTILITIES                  P.O. BOX 373                                                                                                                      BRAINERD               MN           56401
30211588          BRAINLABS USA LLC                          501 N. MORTON ST., #212                                                                                                           BLOOMINGTON            IN           47404
30358074          Name on file                               Address on file
30335521          Name on file                               Address on file

29910608          BRAKEFIRE INC                              DBA SILCO FIRE PROTECTION COMPANY    10765 MEDALLION DRIVE                                                                        CINCINNATI             OH           45241




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LC_0193           Brampton Public Library          65 QUEEN ST E                                                                                                 Brampton              ON           L6W3L6          Canada
30209305          BRAMPTON PUBLIC LIBRARY          10935 65 QUEEN STREET EAST                                                                                    BRAMPTON              ON           L6W 3L6         CANADA
29910609          Name on file                     Address on file
30209304          BRAMPTON PUBLIC LIBRARY          65 QUEEN ST E                                                                                                 BRAMPTON              ON           L6W 2A8         CANADA
30209306          BRAMPTON PUBLIC LIBRARY          65 QUEEN STREET EAST                                                                                          BRAMPTON              ON           L6W 3L6         CANADA
30350243          Name on file                     Address on file
30209307          BRANCH DISTRICT LIBRARY          10 E. CHICAGO ST.                                                                                             COLDWATER             MI           49036
29910612          BRANCH METRICS INC               1400B SEAPORT BLVD, FL 2                                                                                      REDWOOD CITY          CA           94063
30166144          Branch Metrics, Inc              Dept 0602                    PO Box 120602                                                                    Dallas                TX           75312‐0602
30354448          Name on file                     Address on file
30416156          Name on file                     Address on file
30399685          Name on file                     Address on file
30358152          Name on file                     Address on file
29910642          BRANDI WALLACE                   Address on file
29910661          BRANDON BRUSEHABER               Address on file
29910685          BRANDON HATTERY                  Address on file
29910692          Name on file                     Address on file
29955716          BRANDON MARCELEWSKI              Address on file
29955733          BRANDON SIEGAL                   Address on file
29955735          BRANDON SMITH                    Address on file
30210746          BRANDON TWP PUBLIC LIBRARY       304 SOUTH ST                                                                                                  ORTONVILLE            MI           48462
29910706          Name on file                     Address on file
30213000          BRANDON VIOLI                    Address on file
29910710          BRANDON VIOLI                    Address on file
29910711          BRANDON WALKER                   Address on file
30385392          Name on file                     Address on file
29910716          BRANDY ANDERSON                  Address on file
29910729          BRANDY MORTON                    Address on file
30213281          BRANDYWINE CROSSING SC LLC       125 HALF MILE RD., STE 207                                                                                    RED BANK              NJ           07701
30339755          Name on file                     Address on file
30396256          Name on file                     Address on file
30397745          Name on file                     Address on file
30358086          Name on file                     Address on file
30358028          Name on file                     Address on file
30349124          Name on file                     Address on file
30275195          Name on file                     Address on file
30354395          Name on file                     Address on file
30340141          Name on file                     Address on file
30350324          Name on file                     Address on file
29910745          Name on file                     Address on file
30210748          BRAWLEY PUBLIC LIBRARY           400 MAIN ST.                                                                                                  BRAWLEY               CA           92227
30342236          Name on file                     Address on file
29910754          BRAY BUFFINGTON                  Address on file
30346617          Name on file                     Address on file
30209311          BRAZORIA COUNTY                  401 EAST CEDAR                                                                                                ANGLETON              TX           77515
30223067          BRAZORIA COUNTY AUDITOR          111 E. LOCUST ROOM 303                                                                                        ANGLETON              TX           77515
30209312          BRAZORIA COUNTY LIBRARY SYSTEM   HIE LOCUST BLDG A 29         STE 250                                                                          ANGLETON              TX           77515
29950144          Name on file                     Address on file
30209313          BRAZORIA COUNTY PURCHASING       451 N. VELASCO SUITE 100                                                                                      ANGLETON              TX           77515

29910757          BRAZOS COUNTY                    TAX ASSESSOR‐COLLECTOR       300 E WILLIAM JOEL BRYAN PKWY                                                    BRYAN                 TX           77803
29964911          BRE DDR GREAT NORTHERN LLC       425 LEXINGTON AVE.                                                                                            NEW YORK              NY           10017‐3903
29910759          BRE DDR GREAT NORTHERN LLC       PO BOX 9183404                                                                                                CHICAGO               IL           60691‐3404
29949781          BRE DDR IVA ASHRIDGE PA LLC      3300 ENTERPRISE PKWY                                                                                          BEACHWOOD             OH           44122‐7200
29910760          BRE DDR IVA ASHRIDGE PA LLC      PO BOX 930795                                                                                                 ATLANTA               GA           31193‐0795
29910761          BRE DDR POOL A HOLDINGS LLC      DEPT 368607 25510 61488      PO BOX 930795                                                                    ATLANTA               GA           31193‐0795
29910762          BRE RC RETAIL PARENT LLC         DBA BRE RC CREEKVIEW PA LP   PO BOX 845660                                                                    LOS ANGELES           CA           90084
30211575          BREAKTHROUGHFUEL LLC             1175 LOMBARDI AVENUE         SUITE 500                                                                        GREEN BAY             WI           54304
29910786          BREANNA CUNNINGHAM               Address on file
30350308          Name on file                     Address on file
29955738          BREIT OPERATING PARTNERSHIP LP   NEW MARKET‐CUMMING LLC       PO BOX 27324                                                                     SAN DIEGO             CA           92198‐1324
LC_0078           Bremen Public Library            P.O. Box 130                                                                                                  Bremen                IN           46506
29955742          Name on file                     Address on file




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30210749          BREMEN PUBLIC LIBRARY            304 NORTH JACKSON STREET                                                                                              BREMEN                IN           46506
30397403          Name on file                     Address on file
30337220          Name on file                     Address on file
29955747          BRENDA BENWARE                   Address on file
30212899          BRENDA FOREPAUGH                 Address on file
29910864          BRENDA LUX                       Address on file
29910878          BRENDA PORTER                    Address on file
29910906          BRENDT NEWELL BLANKS             Address on file
30394387          Name on file                     Address on file
30355809          Name on file                     Address on file
30212694          BRENTWOOD PUBLIC LIBRARY         34 SECOND AVE                                                                                                         BRENTWOOD             NY           11717
30212695          BRENTWOOD PUBLIC LIBRARY         8765 EULALIE AVE                                                                                                      BRENTWOOD             MO           63144
30213615          BRENTWOOD VILLAGE, LLC           C/O BENNETT WILLIAMS REALTY, INC.   3528 CONCORD ROAD                                                                 YORK                  PA           17402
30394702          Name on file                     Address on file
29910942          BRETT FODOR                      Address on file
30212944          BRETT MARQUIS                    Address on file
30395723          Name on file                     Address on file
29910947          BREVARD COUNTY TAX COLLECTOR     3550 SO WASHINGTON                                                                                                    TITUSVILLE            FL           32780‐5690
29948771          BREVARD COUNTY TAX COLLECTOR     400 SOUTH STREET 6TH FLOOR                                                                                            TITUSVILLE            FL           32780
30353707          Name on file                     Address on file
30347348          Name on file                     Address on file
30385576          Name on file                     Address on file
29910950          Name on file                     Address on file
30210751          BREWSTER LADIES' LIBRARY         1822 MAIN STREET                                                                                                      BREWSTER              MA           02631
29910952          BREWSTER WALLPAPER CORPORATION   67 PACELLA PARK DRIVE                                                                                                 RANDOLPH              MA           02368
30350312          Name on file                     Address on file
30350392          Name on file                     Address on file
30395322          Name on file                     Address on file
                                                   C/O BROAD REACH RETAIL
30213301          BRF II BAKER SQUARE, LLC         MANAGEMENT, LLC                     1111 BENFIELD BLVD., SUITE 100                                                    MILLERSVILLE          MD           21108
29910959          BRIAN ALVARADO                   Address on file
30212760          BRIAN BAILEY                     Address on file
29910966          BRIAN COBLE                      Address on file
30212870          BRIAN EDDY                       Address on file
30212947          BRIAN FANTOM                     Address on file
29910973          Name on file                     Address on file
29910975          BRIAN FRANTZ                     Address on file
29910977          BRIAN GAGNE                      Address on file
30223068          BRIAN HAVERKOS                   Address on file
29910988          BRIAN J BISSETT                  Address on file
29911009          BRIAN RYDEN                      Address on file
29911012          BRIANA AYALA                     Address on file
29911066          BRIANNA FRANZ                    Address on file
29911071          BRIANNA GARGANO                  Address on file
29911088          BRIANNA LIRA                     Address on file
29911097          BRIANNA MASON                    Address on file
29911128          BRIANNA SIPP                     Address on file
29955822          BRIANNE BOSH                     Address on file
30349226          Name on file                     Address on file
29955827          Name on file                     Address on file
30210752          BRIDGEPORT PUBLIC LIBRARY, WV    1200 JOHNSON AVE.                                                                                                     BRIDGEPORT            WV           26330
29911170          BRIDGETT WELLS                   Address on file
29911176          Name on file                     Address on file
30210754          BRIDGEWATER PUBLIC LIBRARY       15 SOUTH STREET                                                                                                       BRIDGEWATER           MA           02324
30258320          Name on file                     Address on file
30262562          Name on file                     Address on file
30335380          Name on file                     Address on file
30396349          Name on file                     Address on file
30211271          BRIGHT STRIPES LLC               71 LINDEN AVE                                                                                                         BLOOMFIELD            NJ           07003
30397333          Name on file                     Address on file
30332909          Name on file                     Address on file
29911183          BRIGHTEDGE TECHNOLOGIES INC      DEPT CH 17960                                                                                                         PALATINE              IL           60055‐7960
30210756          BRIGHTON DISTRICT LIBRARY        100 LIBRARY DRIVE                                                                                                     BRIGHTON              MI           48116




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29911184          Name on file                               Address on file
                  BRIGHTON MALL ASSOCIATES LIMITED
30213197          PARTNERSHIP                                C/O DETROIT DEVELOPMENT CO., INC      5640 W. MAPLE ROAD, SUITE 101                                                         WEST BLOOMFIELD          MI           48322
30212121          BRIGHTON PUBLIC LIBRARY                    35 ALICE ST                                                                                                                 BRIGHTON                 ON           K0K 1H0         CANADA
30209328          BRIGHTON PUBLIC LIBRARY                    P.O. BOX 129                          35 ALICE ST.                                                                          BRIGHTON                 ON           K0K 1H0         CANADA
29911189          BRIGHTRIDGE                                P.O. BOX 2058                                                                                                               JOHNSON CITY             TN           37605
29950419          BRIGIT YOUNGBLUTT                          Address on file
LC_0274           Brimbank Libraries                         LEVEL 5                                                                                                                     Sunshine, VIC                         3020            Australia
29950427          Name on file                               Address on file
30358353          Name on file                               Address on file
30356791          Brink's Inc.                               555 Dividend Dr                                                                                                             Coppell                  TX           75019
29950429          BRINK'S INCORPORATED                       7373 SOLUTIONS CENTER                                                                                                       CHICAGO                  IL           60677‐7003
30343287          Name on file                               Address on file
30341197          Name on file                               Address on file
                  BRISTOL COUNTY, MA COUNTY CONSUMER
30207719          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 9 COURT ST RM 24                                                                         TAUNTON                  MA           02780
30212122          BRISTOL PUBLIC LIBRARY                     5 HIGH ST                                                                                                                   BRISTOL                  CT           06010
29955858          BRITNEY LEFEVER                            Address on file
30351304          Name on file                               Address on file
29911227          BRITTANY BARLEY                            Address on file
29911244          BRITTANY CONNELL                           Address on file
29911253          BRITTANY ENGLAND                           Address on file
29911263          BRITTANY HEFFNER                           Address on file
IC_010            Brittany J Jones                           Address on file
29911294          BRITTANY MYERS                             Address on file
29911311          BRITTANY SNIDER                            Address on file
29911313          BRITTANY STEWART                           Address on file
30396797          Name on file                               Address on file
30354430          Name on file                               Address on file
30397842          Name on file                               Address on file
30213683          BRIXMOR CAPITOL SC LLC                     C/O BRIXMOR PROPERTY GROUP         200 RIDGE PIKE, SUITE 100                                                                CONSHOHOCKEN             PA           19428

30213643          BRIXMOR EXCHANGE PROPERTY OWNER IV, LLC C/O BRIXMOR PROPERTY GROUP               200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428
30213528          BRIXMOR GA HILLTOP PLAZA LLC            C/O BRIXMOR PROPERTY GROUP               200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428

30213671          BRIXMOR GA SEACOAST SHOPPING CENTER LLC C/O BRIXMOR PROPERTY GROUP               200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428
                  BRIXMOR GA SOUTHLAND SHOPPING CENTER
30213083          LLC                                     C/O BRIXMOR PROPERTY GROUP               200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428
30210957          BRIXMOR GA WESTMINSTER, LLC             C/O BRIXMOR PROPERTY GROUP               200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428
                                                                                                   ATTN: ATTN: JULIE ANDRUSIA, SR.
29911351          BRIXMOR GA WESTMINSTER, LLC                C/O BRIXMOR PROPERTY GROUP            PROPERTY MGR                         200 RIDGE PIKE, SUITE 100                        CONSHOHOCKEN             PA           19428
29964912          BRIXMOR HOLDINGS 10 SPE LLC                450 LEXINGTON AVE.                                                                                                          NEW YORK                 NY           10017‐3904
29911353          BRIXMOR HOLDINGS 10 SPE LLC                PO BOX 645321                                                                                                               CINCINNATI               OH           45264‐5321
30213273          BRIXMOR HOLDINGS 10 SPE, LLC               C/O BRIXMOR PROPERTY GROUP            200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428
29949784          BRIXMOR LAKES CROSSING LLC                 601 ABBOT RD.                                                                                                               EAST LANSING             MI           48823‐3366
29911355          BRIXMOR LAKES CROSSING LLC                 PO BOX 645346                                                                                                               CINCINNATI               OH           45264‐5346

29911358          BRIXMOR OPERATING PARTNERSHIP LP           HK NEW PLAN ERP PROP HOLDINGS LLC     PO BOX 645321                                                                         CINCINNATI               OH           45264‐5321
29949964          BRIXMOR OPERATING PTNRSP LP                C/O BRIXMOR GA HILLTOP PL LLC         P.O. BOX 645341                                                                       CINCINNATI               OH           45264

29949965          BRIXMOR OPERATING PTSHP LP                 BRIXMOR EXCH PROP OWN IV C/O BRIX P P.O. BOX 645346                                                                         CINCINNATI               OH           45264

29949966          BRIXMOR OPERATING PTSHP LP                 BRIXMOR‐LAKES CR. LLC C/O BRIXMOR P   P.O. BOX 645346                                                                       CINCINNATI               OH           45264
                  BRIXMOR RESIDUAL DICKSON CITY CROSSINGS,
30213566          LLC                                        C/O BRIXMOR PROPERTY GROUP            200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428
30213414          BRIXMOR SPE 3, LLC                         C/O BRIXMOR PROPERTY GROUP            200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428
30213608          BRIXMOR SPE 4 LP                           C/O BRIXMOR PROPERTY GROUP            200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428
30213497          BRIXMOR SPE 5 LLC                          C/O BRIXMOR PROPERTY GROUP            200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428
30213317          BRIXMOR SPE 5, LLC                         C/O BRIXMOR PROPERTY GROUP            200 RIDGE PIKE, SUISTE 100                                                            CONSHOHOCKEN             PA           19428
30213047          BRIXMOR VENICE VILLAGE SHOPPES LLC         C/O BRIXMOR PROPERTY GROUP INC.       200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428
29949747          BRIXMOR/IA CAYUGA PLAZA LLC                BRIXMOR                               100 PARK AVENUE                      SUITE 600N                                       NEW YORK                 NY           10017
29911369          BRIXMOR/IA CAYUGA PLAZA LLC                PO BOX 645341                                                                                                               CINCINNATI               OH           45264‐5341
30213412          BRIXMOR/IA CAYUGA PLAZA, LLC               C/O BRIXMOR PROPERTY GROUP            200 RIDGE PIKE, SUITE 100                                                             CONSHOHOCKEN             PA           19428




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30213258          BRIXMOR‐LAKES CROSSING, LLC                C/O BRIXMOR PROPERTY GROUP             200 RIDGE PIKE, SUITE 100                                                              CONSHOHOCKEN              PA           19428
                  BRIXTON HHU FORK TIC, LLC, BRIXTON AM FORK TIC, LLC, AND BRIXTON FORK TIC, LLC
30213406          TIC, LLC, BRIXTON MP FORK                  (LANDLORD)                             120 S. SIERRA AVENUE                                                                   SOLANA BEACH              CA           92075
29911377          BROADMOOR PLAZA IN LLC                     C/O DIVARIS PROP MGMT CORP             4525 MAIN ST., STE. 900                                                                VIRGINIA BEACH            VA           23462

30213466          BROADMOOR PLAZA INDIANA, LLC                222 CENTRAL PARK AVENUE, SUITE 2100   ATTN: ASSET MANAGEMENT                                                                 VIRGINIA BEACH            VA           23462
30348255          Name on file                                Address on file

29911379          BROADRIDGE INVESTOR COMMUNICATIONS          SOLUTIONS INC                         PO BOX 416423                                                                          BOSTON                    MA           02241
29911380          BROADSPIRE SERVICES INC.                    PO BOX 936631                                                                                                                ATLANTA                   GA           31193‐6361
29911381          Name on file                                Address on file
30332735          Name on file                                Address on file
30394430          Name on file                                Address on file
30356576          Name on file                                Address on file
30262270          Name on file                                Address on file
30349430          Name on file                                Address on file
30210761          BROCKTON PUBLIC LIBRARY                     304 MAIN ST.                                                                                                                 BROCKTON                  MA           02301
30210762          BROCKTON PUBLIC LIBRARY SYSTEM              304 MAIN STREET                                                                                                              BROCKTON                  MA           02301
30212123          BROCKVILLE PUBLIC LIBRARY                   23 BUELL ST                                                                                                                  BROCKVILLE                ON           K6V 5T7         CANADA
30209339          BROCKVILLE PUBLIC LIBRARY                   P.O. BOX 100                                                                                                                 BROCKVILLE                ON           K6V 5T7         CANADA
30223069          BROCON CONSTRUCTION INC                     2120 HARDY PKWY STREET                                                                                                       GROVE CITY                OH           43123
30332689          Name on file                                Address on file
29911388          BRODSKY & SMITH, LLC                        TRUST ACCOUNT                         333 EAST CITY AVE., STE. 510                                                           BALA CYNWYD               PA           19004
30354285          Name on file                                Address on file
30333566          Name on file                                Address on file
30349389          Name on file                                Address on file
29955872          BRONWYN GRAFFHAM                            Address on file
29955875          Name on file                                Address on file
29955880          Name on file                                Address on file
29911449          BROOKFIELD (E & A), LLC                     C/O EDENS                             ATTN: LEGAL DEPARTMENT              1221 MAIN ST SUITE 1000                            COLUMBIA                  SC           29201
                                                                                                                                        BROOKFIELD PLACE,250 VESEY
30210926          BROOKFIELD (E & A), LLC                     C/O EDENS                             ATTN: LEGAL DEPARTMENT              STREET                         15TH FLOOR          NEW YORK                  NY           10281‐0221
30212697          BROOKFIELD PUBLIC LIBRARY                   1900 N CALHOUN ROAD                                                                                                          BROOKFIELD                WI           53005
29911450          Name on file                                Address on file
29911452          BROOKFIELD TAX COLLECTOR                    PO BOX 508                                                                                                                   BROOKFIELD                CT           06804
29911453          BROOKHAVEN ENTERPRISES INC                  3740 MABRY RD                                                                                                                ROSWELL                   GA           30075
                  BROOKINGS COUNTY, SD COUNTY CONSUMER
30207720          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION 520 3RD ST                                                                                BROOKINGS                 SD           57006
29911455          BROOKINGS MUNICIPAL UTILITIES               P.O. BOX 588                                                                                                                 BROOKINGS                 SD           57006‐0588
29955882          Name on file                                Address on file
29955885          Name on file                                Address on file
30212698          BROOKLYN PUBLIC LIBRARY                     10 GRAND ARMY PLAZA                                                                                                          BROOKLYN                  NY           11238
30210766          BROOKLYN PUBLIC LIBRARY                     31‐11 THOMSON AVENUE                                                                                                         LONG ISLAND CITY          NY           11101
30398464          Name on file                                Address on file
29911468          BROOKS MONE                                 Address on file
30356722          Name on file                                Address on file
30337320          Name on file                                Address on file
30355829          Name on file                                Address on file
30335364          Name on file                                Address on file
30211576          BROOKSIDE CUSTOM CARPENTRY LLC              ATTN: NATHAN MILLER                255 HUME DR NE                                                                            NORTH CANTON              OH           44720
29911470          BROOME COUNTY                               WEIGHTS & MEASURES                 PO BOX 1766                                                                               BINGHAMTON                NY           13902

29948773          BROOME COUNTY WEIGHTS AND MEASURES          WEIGHTS & MEASURES                    PO BOX 1766                                                                            BINGHAMTON                NY           13902
29911471          Name on file                                Address on file

30210767          BROOMFIELD/EISENHOWER PUBLIC LIBRARY        3 COMMUNITY PARK ROAD                                                                                                        BROOMFIELD                CO           80020
30354521          Name on file                                Address on file
29972773          Name on file                                Address on file
                                                              ATTN: MIKE LYNCH, VICE PRESIDENT AND
29904931          BROTHER INTERNATIONAL CORPORATION           GENERAL COUNSEL                      200 CROSSING BLVD.                                                                      BRIDGEWATER               NJ           08807‐0911
30179523          BROTHER INTERNATIONAL CORPORATION           C/O BECKER LLC                       ATTN: ERIC R. PERKINS                354 EISENHOWER PARKWAY         SUITE 1500          LIVINGSTON                NJ           07039
                                                              C/O MCELROY, DEUTSCH, MULVANEY &
30179522          BROTHER INTERNATIONAL CORPORATION           CARPENTER LLP                        ATTN: GARY D. BRESSLER               300 DELAWARE AVENUE            SUITE 1014          WILMINGTON                DE           19801




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                                                                                               Senior Corp Counsel of Brother
30260690          Brother International Corporation    Kelly A. Hartman                        International Corp                  200 Crossing Boulevard                         Bridgewater              NJ           08807
                                                                                               Senior Corporate Counsel Brother
30166832          Brother International Corporation    Kelly A. Hartman                        International                       200 Crossing Boulevard                         Bridgewater              NJ           08807

30261213          Brother International Corporation    Kelly A. Hartman, Senior Corp Counsel   Brother International Corporation   200 Crossing Boulevard                         Bridgewater              NJ           08807
30350857          Name on file                         Address on file
29911474          BROWARD CO REVENUE COLLECTOR         GOVERNMENTAL CENTER ANNEX               115 S ANDREWS AVENUE                                                               FORT LAUDERDALE          FL           33301‐1895
29911475          BROWARD COUNTY                       TAX COLLECTOR                           115 S ANDREWS AVE RM A 100                                                         FORT LAUDERDALE          FL           33301
29948775          BROWARD COUNTY TAX COLLECTOR         TAX COLLECTOR                           115 S ANDREWS AVE RM A 100                                                         FORT LAUDERDALE          FL           33301
                  BROWARD COUNTY, FL COUNTY CONSUMER
30207721          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION 1 N UNIVERSITY DR                        BOX 302                                        PLANTATION               FL           33324
29911476          BROWN COUNTY CLERK OF                COURTS OFFICE                      PO BOX 23600                                                                            GREEN BAY                WI           54305‐3600
29911477          Name on file                         Address on file
29955892          BROWN QIARAH D                       Address on file
30345597          Name on file                         Address on file
30340717          Name on file                         Address on file
30347142          Name on file                         Address on file
30340447          Name on file                         Address on file
30398243          Name on file                         Address on file
30349220          Name on file                         Address on file
30414802          Name on file                         Address on file
30414739          Name on file                         Address on file
30396335          Name on file                         Address on file
30395841          Name on file                         Address on file
30356621          Name on file                         Address on file
30262514          Name on file                         Address on file
30259616          Name on file                         Address on file
30397361          Name on file                         Address on file
30355705          Name on file                         Address on file
30358056          Name on file                         Address on file
30355414          Name on file                         Address on file
30274294          Name on file                         Address on file
30342062          Name on file                         Address on file
30337757          Name on file                         Address on file
30357115          Name on file                         Address on file
30281875          Name on file                         Address on file
30333449          Name on file                         Address on file
30358220          Name on file                         Address on file
30340873          Name on file                         Address on file
30193148          Brown, Vivvente S                    Address on file
29955893          BROWNE USA INC.                      100 CAMPUS TOWN CIRCLE, SUITE 103                                                                                          EWING                    NJ           08638
30214301          BROWNE USA INC.                      802 CENTERPOINT BLVD                                                                                                       NEW CASTLE               DE           19720‐8123
30345644          Name on file                         Address on file
30353647          Name on file                         Address on file
29955894          Name on file                         Address on file
30355282          Name on file                         Address on file
30414588          Name on file                         Address on file
30347711          Name on file                         Address on file
30395478          Name on file                         Address on file
30260950          Name on file                         Address on file
30260951          Name on file                         Address on file
30397329          Name on file                         Address on file
30350591          Name on file                         Address on file
30351660          Name on file                         Address on file
29911478          BRUNSWICK‐GLYNN COUNTY JOINT         PO BOX 96401                                                                                                               CHARLOTTE                NC           28296‐0401
30338806          Name on file                         Address on file
30335669          Name on file                         Address on file
30416379          Name on file                         Address on file
30347771          Name on file                         Address on file
29911480          Name on file                         Address on file
29911489          BRYAN HARRIS                         Address on file
29911496          BRYAN TEXAS UTILITIES (BTU)          P.O. BOX 8000                                                                                                              BRYAN                    TX           77805




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30333865          Name on file                          Address on file
30332486          Name on file                          Address on file
30354790          Name on file                          Address on file
30259169          Name on file                          Address on file
30337609          Name on file                          Address on file
30357991          Name on file                          Address on file
30223070          BUCHALTER                             PHILIP NULUD ESQ.                    1000 WILSHIRE BLVD.               SUITE 1500                                              LOS ANGELES               CA           90017
30393625          Name on file                          Address on file
30353515          Name on file                          Address on file
                  BUCHANAN COUNTY COLLECTOR OF THE
29948777          REVENUE                               BUCHANAN COUNTY COURT HOUSE          411 JULES                                                                                 SAINT JOSEPH              MO           64501‐1788
                  BUCHANAN COUNTY, MO COUNTY CONSUMER
30207722          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 411 JULE                                                                                    ST. JOSEPH                MO           64501
30394749          Name on file                          Address on file
30350444          Name on file                          Address on file
29955912          BUCKEYE POWER SALES CO INC            PO BOX 489                                                                                                                     BLACKLICK                 OH           43004
                                                                                                                               CORPORATION TRUST CENTER 1209
29955913          BUCKEYE RETAIL JV LLC                 TAYLOR SQ OWNER LLC CO CASTRO        L‐3784                            ORANGE ST                                               WILMINGTON                DE           19801
29911529          BUCKEYE RETAIL JV LLC/3784            L‐3784                                                                                                                         COLUMBUS                  OH           43260
29911531          BUCKEYE WATER DISTRICT, OH            1925 CLARK AVENUE                                                                                                              WELLSVILLE                OH           43968
29911530          BUCKEYE WATER DISTRICT, OH            P.O. BOX 105                                                                                                                   WELLSVILLE                OH           43968‐0015
29911532          Name on file                          Address on file
30332917          Name on file                          Address on file
30358170          Name on file                          Address on file
30335354          Name on file                          Address on file
30335676          Name on file                          Address on file
29911533          BUCKS COUNTY CONSUMER PROTECTION      50 NORTH MAIN ST                                                                                                               DOYLESTOWN                PA           18901
                  BUCKS COUNTY, PA COUNTY CONSUMER
30207723          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION   55 E COURT STREET                 2ND FLOOR                                               DOYLESTOWN                PA           18901
30209356          BUD WERNER MEMORIAL LIBRARY           1289 LINCOLN AVE.                                                                                                              STEAMBOAT SPRINGS         CO           80487
29911538          BUDDY MOORE TRUCKING INC              925 34TH STREET N                                                                                                              BIRMINGHAM                AL           35222
30384796          Name on file                          Address on file
30386061          Name on file                          Address on file
30396408          Name on file                          Address on file
30212699          BUENA VISTA PUBLIC LIBRARY            131 LINDERMAN AVE                                                                                                              BUENA VISTA               CO           81211
29955916          Name on file                          Address on file
30340651          Name on file                          Address on file
30353361          Name on file                          Address on file
30347420          Name on file                          Address on file
30214568          BUG BITE THING INC                    611 NW MERCANTILE PL                                                                                                           PORT SAINT LUCIE          FL           34986
29955918          BUG BITE THING INC                    611 NW MERCANTILE PLACE                                                                                                        STUART                    FL           34997
30395403          Name on file                          Address on file
30357090          Name on file                          Address on file
29955919          BUILDER.IO INC                        95 3RD STREET, 2ND FLOOR                                                                                                       SAN FRANCISCO             CA           94103
29955920          BUILDERS EMPORIUMM INC                536 EAST HIGHLAND RD                                                                                                           MACEDONIA                 OH           44056
30335627          Name on file                          Address on file
30347374          Name on file                          Address on file
LC_0089           Bullitt County Library District       127 N. Walnut                                                                                                                  Shepherdsville            KY           40165
29955921          Name on file                          Address on file
30210769          BULLITT COUNTY PUBLIC LIBRARY         127 WALNUT ST                                                                                                                  SHEPHERDSVILLE            KY           40165
30415225          Name on file                          Address on file
29955922          BULLSEYE ACTIVEWEAR INC               2947 NATIONWIDE PKWY                                                                                                           BRUNSWICK                 OH           44212
29955923          Name on file                          Address on file
30193075          Bumby Jo LLC                          William Terry Robertson              185 Fairlane Rd                                                                           Alex City                 AL           35010
30210771          BUMBYJO, LLC                          69 LAFAYETTE STREET                                                                                                            ALEXANDER CITY            AL           35010
30331363          Bumirang Corporation                  2nd Floor, #4 Dongsomun‐Ro 3‐Gil     Seongbuk‐GU                                                                               Seoul, NY                              136‐031         Korea, Republic of
30331385          Bumirang Corporation                  Balasiano and Associates PLLC        Reuven Sujnow                     6701 Bay Pkwy                   3rd Floor               Brooklyn                  NY           11204
30333407          Bumirang Corporation                  c/o Bernath & Rosenberg, P.C.        126 Spruce St                                                                             Cedarhurst                NY           11516
30349357          Name on file                          Address on file
29955925          BUNCOMBE COUNTY                       TAX COLLECTOR                        35 WOODFIN STREET, SUITE 204                                                              ASHEVILLE                 NC           28801‐3014
                  BUNCOMBE COUNTY, NC COUNTY CONSUMER
30207724          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 200 COLLEGE ST                      STE 300                                                 ASHEVILLE                 NC           28801
29911540          Name on file                          Address on file




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  ADDRESS ID                           NAME                                 ADDRESS 1                       ADDRESS 2                        ADDRESS 3                       ADDRESS 4                  CITY        STATE     POSTAL CODE          COUNTRY
30334349           Name on file                           Address on file
30340894           Name on file                           Address on file
30399657           Name on file                           Address on file
30354889           Name on file                           Address on file
30416233           Name on file                           Address on file
30340691           Name on file                           Address on file

30211272          BUREAU VERITAS COMSUMER PRODUCTS SR     PO BOX 26987                                                                                                                   NEW YORK              NY           10087
29911543          BUREAU VERITAS CONS PROD SERV INC       14624 COLLECTIONS CTR DRIVE                                                                                                    CHICAGO               IL           60693
30350482          Name on file                            Address on file
30385616          Name on file                            Address on file
30274476          Name on file                            Address on file
30336725          Name on file                            Address on file
29911544          BURKE COUNTY TAX COLLECTOR              P.O. BOX 219                                                                                                                   MORGANTON             NC           28680
                  BURKE COUNTY, NC COUNTY CONSUMER
30207725          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 200 AVERY AVE                                                                               MORGANTON             NC           28655
30415263          Name on file                            Address on file
30354916          Name on file                            Address on file
30354034          Name on file                            Address on file
30338602          Name on file                            Address on file
30338603          Name on file                            Address on file
29911545          Name on file                            Address on file
30337142          Name on file                            Address on file
                  BURLINGTON COAT FACTORY WAREHOUSE
30210772          CORPORATION                             1830 ROUTE 130 NORTH                                                                                                           BURLINGTON            NJ           08016
29911547          Name on file                            Address on file
29911546          Name on file                            Address on file
30212130          BURLINGTON COUNTY LIBRARY               5 PIONEER BLVD                                                                                                                 WESTAMPTON            NJ           08060
                  BURLINGTON COUNTY, NJ COUNTY CONSUMER
30207726          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION   49 RANCOCAS RD                                                                            MT HOLLY              NJ           08060
30210773          BURLINGTON HIGH SCHOOL                  209 WAINWRIGHT AVENUE                                                                                                          BURLINGTON            WI           53105
29911550          BURLINGTON MUNICIPAL WATERWORKS,IA      P.O. BOX 786                                                                                                                   BURLINGTON            IA           52601
30212701          BURLINGTON PUBLIC LIBRARY               2331 NEW STREET                                                                                                                BURLINGTON            ON           L7R 1J4         CANADA
30210774          BURLINGTON PUBLIC LIBRARY               210 COURT ST.                                                                                                                  BURLINGTON            IA           52601
30212702          BURLINGTON PUBLIC LIBRARY               22 SEARS ST                                                                                                                    BURLINGTON            MA           01803
29955930          Name on file                            Address on file
30210775          BURLINGTON PUBLIC LIBRARY               P.O. BOX 1379                                                                                                                  BURLINGTON            CT           06013
29955931          Name on file                            Address on file
29955932          Name on file                            Address on file
30354537          BURLINGTON STORES, INC.                 2006 ROUTE 130 NORTH                                                                                                           BURLINGTON            NJ           08016
30331024          Burmiang Corporation                    2nd Floor, #4 Dongsomun‐Ro 3‐Gil     Seongbuk‐GU                                                                               Seoul                              136‐031         Korea, Republic of
30331091          Burmiang Corporation                    Balasiano and Associates PLLC        6701 Bay Pkwy                      3rd Floor                                              Brooklyn              NY           11204
30331086          Burmiang Corporation                    Balasiano and Associates PLLC        Reuven Sujnow                      6701 Bay Pkwy                  3rd Floor               Brooklyn              NY           11204
30331025          Burmiang Corporation                    C/O Bernath & Rosenberg, P.C.        126 Spruce St                                                                             Cedarhurst            NY           11516
30330863          Burmiang Corporation                    Reuven Sujnow                        Balasiano and Associates PLLC      6701 Bay Pkwy                  3rd Floor               Brooklyn              NY           11204
30354812          Name on file                            Address on file
30262957          Name on file                            Address on file
30354893          Name on file                            Address on file
30340422          Name on file                            Address on file
30385120          Name on file                            Address on file
30401532          Name on file                            Address on file
30344442          Name on file                            Address on file
30293685          Name on file                            Address on file
30334856          Name on file                            Address on file
29955934          BURRELLES INFORMATION SERVICES          BURRELLESLUCE                        PO BOX 674                                                                                FLORHAM PARK          NJ           07932
30401879          Name on file                            Address on file
30340340          Name on file                            Address on file
30397313          Name on file                            Address on file
30356956          Name on file                            Address on file
30395328          Name on file                            Address on file
30346334          Name on file                            Address on file
30225220          Name on file                            Address on file
30337144          Name on file                            Address on file




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30340029          Name on file                             Address on file
30395790          Name on file                             Address on file
30341024          Name on file                             Address on file
30285253          Name on file                             Address on file
30341113          Name on file                             Address on file
30355671          Name on file                             Address on file
30210778          BUSHNELL‐SAGE LIBRARY                    48 MAIN STREET                                                                                                          SHEFFIELD            MA           01257
30346885          Name on file                             Address on file
30353976          Name on file                             Address on file
30349423          Name on file                             Address on file
                  BUTLER COUNTY, OH COUNTY CONSUMER
30207727          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 315 HIGH ST, 6TH FLOOR                                                               HAMILTON             OH           45011
                  BUTLER COUNTY, PA COUNTY CONSUMER
30207728          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 124 W DIAMOND STREET                                                                 BUTLER               PA           16001
30290281          Name on file                             Address on file
30386240          Name on file                             Address on file
29955936          BUTTE COUNTY PUBLIC HEALTH               ENVIRONMENTAL HEALTH DIV.          202 MIRA LOMA DRIVE                                                                  OROVILLE             CA           95965
                  BUTTE COUNTY PUBLIC HEALTH ‐
29964708          ENVIRONMENTAL HEALTH                     ENVIRONMENTAL HEALTH DIV.             202 MIRA LOMA DRIVE                                                               OROVILLE             CA           95965
29955937          BUTTE COUNTY TAX COLLECTOR               DICK PUELICHER                        25 COUNTY CENTER DRIVE                                                            OROVILLE             CA           95965‐3384
                  BUTTE COUNTY, CA COUNTY CONSUMER
30207729          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 25 COUNTY CENTER DR                                                                  OROVILLE             CA           95965
29911551          BUTTE SILVER BOW TREASURER               155 WEST GRANITE STREET            PO BOX 611                                                                           BUTTE                MT           59703

30213673          BUTTE‐IFUL, LLC                          C/O DICKERHOOF PROPERTIES, LLC        777 NE SECOND STREET, SUITE 200                                                   CORVALLIS            OR           97330
30416132          Name on file                             Address on file
                  BUTTE‐SILVER BOW COUNTY, MT COUNTY
30207730          CONSUMER PROTECTION AGENCY               ATTN: CONSUMER PROTECTION DIVISION 155 W GRANITE ST                                                                     BUTTE                MT           59701
29911556          BUTTREY REALTY CO                        PO BOX 2907                                                                                                             GREAT FALLS          MT           59403‐2907
30358120          Name on file                             Address on file
29911557          BUYHIVE TECHNOLOGIES INC                 600 WICKLOW RD.                                                                                                         DEERFIELD            IL           60015
30416525          Name on file                             Address on file
                                                                                              2194 SNAKE RIVER PARKWAY, SUITE
30213477          BV WACO CENTRAL TEXAS MARKETPLACE, LLC   C/O BALL VENTURES, LLC             300                                                                                  IDAHO FALLS          ID           83402
30221913          BV Waco Central Texas Marketplace, LLC   PO Box 51298                                                                                                            Idaho Falls          ID           83405

30213488          BV WOLF CREEK, LLC                       2194 SNAKE RIVER PARKWAY, SUITE 300   ATTN: THEL CASPER                                                                 IDAHO FALLS          ID           83402
30213562          BVA DEERBROOK SPE LLC                    C/O BIG V PROPERTIES LLC              176 N. MAIN STREET, SUITE #210                                                    FLORIDA              NY           10921
29911564          BVA DEERBROOK SPE LLC                    PO BOX 6288                                                                                                             HICKSVILLE           NY           11802‐6288
                                                                                                 176 NORTH MAIN STREET, SUITE
30213563          BVA SPM SPE LLC                          C/O BIG V PROPERTIES LLC              210                                                                               FLORIDA              NY           10921
29911566          BVA SPM SPE LLC                          PO BOX 6288                                                                                                             HICKSVILLE           NY           11802‐6288
30213550          BVCV UNION PLAZA, LLC                    2184 SNAKE RIVER PKWY, SUITE 300      PO BOX 51298                                                                      IDAHO FALLS          ID           83402
30221888          BVCV Union Plaza, LLC                    PO Box 51298                                                                                                            Idaho Falls          ID           83405
30209367          BY ELKE LLC                              4593 NORTH BROADWAY, C‐108                                                                                              BOULDER              CO           80304
30335206          Name on file                             Address on file
30396618          Name on file                             Address on file
30345310          Name on file                             Address on file
30353850          Name on file                             Address on file
30341050          Name on file                             Address on file
29911570          BYNDER LLC                               734 EL CAMINO REAL                                                                                                      SAN CARLOS           CA           94070
30401445          Name on file                             Address on file
30338336          Name on file                             Address on file
30257275          Name on file                             Address on file
30212703          BYRON PUBLIC LIBRARY DISTRICT            100 S WASHINGTON ST                                                                                                     BYRON                IL           61010
30336675          Name on file                             Address on file
30346947          Name on file                             Address on file
30213524          BZA INDIAN SPRINGS, LLC                  C/O BEARS MANAGEMENT GROUP            604 BANYAN TRAIL, UNIT 811240                                                     BOCA RATON           FL           33481
30223071          C & C LEASING INC                        PO BOX 394                                                                                                              ELBA                 AL           36323
29911576          Name on file                             Address on file
29911577          Name on file                             Address on file

29911578          C&K SILVERDALE LLC                       PK I SILVERDALE SHOPPING CTR LLC      PO BOX 30344, AC#114950‐015643                                                    TAMPA                FL           33630




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29911579          Name on file                              Address on file
29911580          C. BASUA                                  Address on file
29911581          C. BELL                                   Address on file
29911582          C. BRUSS                                  Address on file
29911583          C. COLLINS                                Address on file
29911584          C. ELISABETH                              Address on file
29911585          C. FERGUSON                               Address on file
29911586          C. GILLETTE                               Address on file
29911587          C. JOLIVETTE M                            Address on file
29911588          C. LEWIS                                  Address on file
29911589          C. MILLER                                 Address on file
29911590          C. PALMER                                 Address on file
29911591          C. PERRA                                  Address on file
29911592          C. PETERSON                               Address on file
29911593          C. SEGOVIA                                Address on file
29911594          C. SZMYD                                  Address on file
                  C.E. BREHM MEMORIAL PUBLIC LIBRARY
30209368          DISTRICT                                  101 S 7TH STREET                                                                                                       MT VERNON            IL           62864
30213109          C.H.M. DEVELOPMENT                        P.O. BOX 4953                         ATTN: NANCY DREYER                                                               KETCHUM              ID           83340

29911596          C/O NAMCO REALTY LLC MALONE PLAZA REALT   PO BOX 25078                                                                                                           TAMPA                FL           33622
30223072          CAA BRANDS USA, LLC                       ATTN: LEGAL AND BUSINESS AFFAIRS      2000 AVENUE OF THE STARS                                                         LOS ANGELES          CA           90067
30335033          Name on file                              Address on file
30414606          Name on file                              Address on file

30213678          CABREL COMPANY                            C/O EPSTEIN COMMERCIAL REAL ESTATE    6 STATE STREET                                                                   BANGOR               ME           04402
30351178          Name on file                              Address on file
30356919          Name on file                              Address on file
29911600          CACHE COUNTY ASSESSOR                     179 N MAIN STREET                                                                                                      LOGAN                UT           84321
30348082          Name on file                              Address on file
                  CADDO PARISH COUNTY, LA COUNTY
30207731          CONSUMER PROTECTION AGENCY                ATTN: CONSUMER PROTECTION DIVISION 505 TRAVIS ST                      STE 800                                          SHREVEPORT           LA           71101
29911604          CADDO SHREVEPORT TAX COMMISS              PO BOX 104                                                                                                             SHREVEPORT           LA           71161
                  CADDO‐SHREVEPORT SALES AND USE TAX
29911605          COMMISSION                                PO BOX 104                                                                                                             SHREVEPORT           LA           71161
29955942          CADY VIOLETT                              Address on file
29911629          CAETLIN BROADMEYER                        Address on file
29911631          CAFFCO INTERNATIONAL LTD                  RM 1203‐5 12/F TOWER B                37‐39 MA TAU WAI RD                                                              HUNGHOM KOWLOON                                   HONG KONG
29911632          Name on file                              Address on file
29911633          CA‐FRANCHISE TAX 02125                    PO BOX 942857                                                                                                          SACRAMENTO           CA           94279‐0035
29911634          CA‐FRANCHISE TAX 02127                    PO BOX 942857                                                                                                          SACRAMENTO           CA           94279‐0035
29911635          CA‐FRANCHISE TAX 02414                    PO BOX 942857                                                                                                          SACRAMENTO           CA           94279‐0035
30394648          Name on file                              Address on file
30340775          Name on file                              Address on file
30332358          Name on file                              Address on file
30352964          Name on file                              Address on file
                  CAHILL ROAD PARTNERS, LLC, J2H 127        2075 FORD PARKWAY, L.L.C. AND EBH 127                                 (MANAGING FOR ROCHESTER
30213565          BUILDING, LLC,                            BUILDING, LLC                         C/O LUNIESKI & ASSOCIATES       MARKETPLACE)                                     RICHFIELD            MN           55423
29911638          Name on file                              Address on file
30414687          Name on file                              Address on file
30345335          Name on file                              Address on file
29911686          CAITLIN MALLICK                           Address on file
29911709          CAITLYN DAMBROSIO                         Address on file
29955955          CAITLYN LINN                              Address on file

29911728          CA‐JAC‐SALES‐01008                        CALIFORNIA BOARD OF EQUALIZATION      PO BOX 942879                                                                    SACRAMENTO           CA           94279‐0035
29911729          CA‐JAC‐SALES‐06008                        PO BOX 942879                                                                                                          SACRAMENTO           CA           94279‐0035
29911730          CA‐JAC‐SALES‐07008                        PO BOX 942879                                                                                                          SACRAMENTO           CA           94279‐0035
29911731          CA‐JAS‐SALES TAX 01008                    PO BOX 942879                                                                                                          SACRAMENTO           CA           94279‐0035
29911732          CA‐JAS‐SALES TAX 06008                    PO BOX 942879                                                                                                          SACRAMENTO           CA           94279‐0035
29911733          CA‐JAS‐SALES TAX 07008                    PO BOX 942879                                                                                                          SACRAMENTO           CA           94279‐0035
29911734          CAKE CRAFT LLC                            2001 PLATINUM STREET                                                                                                   GARLAND              TX           75042
29911735          CAL APPAREL INC                           316 S. BRIDGE STREET                                                                                                   VISALIA              CA           93291




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  ADDRESS ID                           NAME                                       ADDRESS 1                  ADDRESS 2                        ADDRESS 3                 ADDRESS 4                      CITY        STATE     POSTAL CODE        COUNTRY
30209375          CAL PATCH                                     Address on file
                                                                                                   ATTN: TOM YEARSLEY, CEO AND
30213330          C‐A‐L STORES COMPANIES, INC.                  976 CURLEW DRIVE                   KEITH D. OWENS                                                                   AMMON                     ID           83406
30333772          C‐A‐L Stores Companies, Inc.                  Attn: Derik Nielsen                976 Curlew Dr.                                                                   Ammon                     ID           83406
30333771          C‐A‐L Stores Companies, Inc.                  Olsen Taggart PLLC                 P.O. Box 3005                                                                    Idaho Falls               ID           83403‐3005
30416046          Name on file                                  Address on file
30348632          Name on file                                  Address on file
30354362          Name on file                                  Address on file
30336853          Name on file                                  Address on file
29911739          Name on file                                  Address on file
30210781          CALEDON PUBLIC LIBRARY                        150 QUEEN ST                                                                                                        BOLTON                    ON           L7E 1E3         CANADA
29911763          Name on file                                  Address on file
30209379          CALEDON PUBLIC LIBRARY                        50 QUEEN ST S                                                                                                       BOLTON                    ON           L7E 1E3         CANADA
29911771          Name on file                                  Address on file
                  CALHOUN COUNTY, MI COUNTY CONSUMER
30207732          PROTECTION AGENCY                             ATTN: CONSUMER PROTECTION DIVISION 315 WEST GREEN STREET                                                            MARSHALL                  MI           49068
29911772          Name on file                                  Address on file
29911782          CALIBER 1 CONSTRUCTION INC                    110 WEST MONTGOMERY ST.                                                                                             VILLA RICA                GA           30180
29911783          CALIFA GROUP                                  330 TOWNSEND ST, STE 133                                                                                            SAN FRANCISCO             CA           94107
                  CALIFORNIA AGRICULTURE/WEIGHTS &
29964714          MEASURES                                      555 AIRPORT WAY, STE E                                                                                              CAMARILLO                 CA           93010
                  CALIFORNIA DEPARTMENT OF TAX AND FEE
29911784          ADMINISTRATION                                450 N ST                                                                                                            SACRAMENTO                CA           95814
                  CALIFORNIA DEPARTMENT OF TAX AND FEE
29964716          ADMINISTRATION                                ENVIRONMENTAL FEES DIVISION        PO BOX 942879                                                                    SACRAMENTO                CA           94279
                  California Department of Tax and Fee
30399998          Administration                                PO BOX 942879                                                                                                       Sacramento                CA           94279‐0029
29911785          CALIFORNIA DEPT OF PUBLIC HEALTH              FOOD AND DRUG BRANCH               PO BOX 997435                   MS7602                                           SACRAMENTO                CA           95899
29911786          CALIFORNIA FRANCHISE TAX BOARD                PO BOX 942857                                                                                                       SACRAMENTO                CA           94257
30211274          CALIFORNIA FRUIT EXCHANGE LLC                 6011 E PINE ST                                                                                                      LODI                      CA           95240

29911787          CALIFORNIA STATE BOARD OF EQUALIZATION        15350 SHERMAN WAY 250 VAN NUYS                                                                                      VAN NUYS                  CA           91406
29955960          CALIFORNIA STATE CONTROLLER'S OFF.            UNCLAIMED PROPERTY DIVISION        10600 WHITE ROCK RD. STE 141                                                     RANCHO CORDOVA            CA           95670
29955961          CALIFORNIA STATE TEACHERS RETIREMEN           DBA CSHV CROSSROADS LLC            26360 NETWORK PLACE                                                              CHICAGO                   IL           60673
29949463          CALIFORNIA STREET CLO IX LIMITED              555 CALIFORNIA STREET              SUITE 3100                                                                       SAN FRANCISCO             CA           94104
29955966          CALIFORNIA WATER SERVICE‐VISALIA              PO BOX 7229                                                                                                         SAN FRANCISCO             CA           94120‐7229
30353381          Name on file                                  Address on file
30416684          Name on file                                  Address on file
30416685          Name on file                                  Address on file
30397535          Name on file                                  Address on file
30333477          Name on file                                  Address on file
29911803          CALLIE N. MARSCH                              Address on file
29911807          CALLIE WHITE                                  Address on file
30210782          CALLODINE COMMERCIAL FINANCE, LLC             545 BOYLSTON STREET                10TH FLOOR                                                                       BOSTON                    MA           02116
30210784          CALLOWAY COUNTY PUBLIC LIBRARY                710 MAIN STREET                                                                                                     MURRAY                    KY           42071
30344857          Name on file                                  Address on file
29911811          CALLUM MCLAUGHLIN                             Address on file
30354554          Name on file                                  Address on file
29964718          CALVERT COUNTY CLERK OF THE COURT             CLERK OF CIRCUIT COURT             175 MAIN STREET                                                                  PRINCE FREDERICK          MD           20678
29911814          CALVERT COUNTY GOVERNMENT, MD                 175 MAIN STREET                                                                                                     PRINCE FREDERICK          MD           20678
                  CALVERT COUNTY, MD COUNTY CONSUMER
30207733          PROTECTION AGENCY                             ATTN: CONSUMER PROTECTION DIVISION 175 MAIN ST                                                                      PRINCE FREDERICK          MD           20678
29911816          Name on file                                  Address on file
30395839          Name on file                                  Address on file
30356493          Name on file                                  Address on file
29911828          Name on file                                  Address on file

LC_0136           CAMALS (Carroll and Madison Library System)   44 KINGSHIGHWAY                                                                                                     Eureka Springs            AR           72632
                  CAMALS (CARROLL AND MADISON LIBRARY
30209385          SYSTEM)                                       44 KINGSHIGHWAY                    STE A3                                                                           EUREKA SPRINGS            AR           72632
30333967          Name on file                                  Address on file
29911829          Name on file                                  Address on file




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                  CAMBRIA COUNTY, PA COUNTY CONSUMER
30207734          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 625 MAIN ST                                                                          JOHNSTOWN               PA           15901
30210786          CAMBRIDGE COMMUNITY LIBRARY             101 SPRING WATER ALY.                                                                                                   CAMBRIDGE               WI           53523
30210787          CAMBRIDGE COMMUNITY LIBRARY             PO BOX 490                                                                                                              CAMBRIDGE               WI           53523
29911831          CAMBRIDGE COMPUTER SERVICES INC         271 WAVERLY OAKS ROAD #301                                                                                              WALTHAM                 MA           02452
29911832          Name on file                            Address on file
30209389          CAMBRIDGE PUBLIC LIBRARY                449 BROADWAY                                                                                                            CAMBRIDGE               MA           02138
29911833          Name on file                            Address on file
30209391          CAMDEN COUNTY LIBRARY SYSTEM            203 LAUREL RD                                                                                                           VOORHEES                NJ           08043
30210788          CAMDEN COUNTY LIBRARY SYSTEM            203 LAUREL ROAD                                                                                                         VOORHEES                NY           08043
29911838          Name on file                            Address on file
29911843          Name on file                            Address on file
29911848          CAMEON STRONG                           Address on file
29972770          Name on file                            Address on file
IC_011            Camilla d'Errico                        Address on file
29911917          CAMILLE DRIGHT                          Address on file
30288837          Name on file                            Address on file
29911929          Name on file                            Address on file
29911930          Name on file                            Address on file
30353561          Name on file                            Address on file
30394628          Name on file                            Address on file
29911931          CAMPAIGN WORKHUB LLC                    PROOFJUMP                          240 CHATTANOOGA ST., #26                                                             SAN FRANCISCO           CA           94114
29911932          Name on file                            Address on file

30209393          CAMPBELL COUNTY PUBLIC LIBRARY SYSTEM   2101 S 4‐J ROAD                                                                                                         GILLETTE                WY           82718
29911933          CAMPBELL COUNTY TREASURER               P.O. BOX 1027                                                                                                           GILLETTE                WY           82717‐1027
                  CAMPBELL COUNTY, VA COUNTY CONSUMER
30207735          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION   47 COURTHOUSE LANE                STE 1                                            RUSTBURG                VA           24588
30211275          CAMPBELL TRANSPORT LLC                  10850 JOHN EDWARD DRIVE                                                                                                 MANTUA                  OH           44255
30347744          Name on file                            Address on file
30294569          Name on file                            Address on file
30347785          Name on file                            Address on file
30345687          Name on file                            Address on file
29911935          CAMPBELLS EXPRESS                       PO BOX 119                                                                                                              PITMAN                  NJ           08071
29911936          CAMPBELLSVILLE INDEPEN. SCHOOL          TAX COLLECTOR                        203 NORTH COURT STREET                                                             CAMPBELLSVILLE          KY           42718
30416573          Name on file                            Address on file
30278931          Name on file                            Address on file
30397357          Name on file                            Address on file
29911958          CANAN IPLIKCILIK SAN VE TIC A.S.        TEKSTIL KENT MAHALLESI               DEMOKRASI BULVARI NO 7/2          GAZIANTEP                                        BASPINAR                             27120           TURKEY
29949464          CANARAS CAPITAL MANAGEMENT              1540 BROADWAY                        SUITE 1630                                                                         NEW YORK                NY           10036
30356849          Name on file                            Address on file
30212925          CANDICE KIRK                            Address on file
29911981          CANDICE KIRK                            Address on file
29955974          CANDICE REMPHREY                        Address on file
30215121          CANDLE WARMERS ETC                      12397 S 300 E                        SUITE 400                                                                          DRAPER                  UT           84020
30393706          Candle Warmers Etc                      12397 S 300 E #300                                                                                                      Draper                  UT           84020
30384726          Name on file                            Address on file
30351804          Name on file                            Address on file
30348000          Name on file                            Address on file
30283724          Name on file                            Address on file
30401451          Name on file                            Address on file
29911990          CANTEEN OF FRESNO INC                   527 L STREET                                                                                                            FRESNO                  CA           93721
30395837          Name on file                            Address on file
30210789          CANTON FREE LIBRARY                     8 PARK ST.                                                                                                              CANTON                  NY           13617
29955983          Name on file                            Address on file
30212704          CANTON PUBLIC LIBRARY                   40 DYER AVE                                                                                                             CANTON                  CT           06019
29955985          CANTON TOWNSHIP WATER DEPT, MI          1150 S CANTON CENTER ROAD                                                                                               CANTON                  MI           48188‐1699
29955986          CANTON TOWNSHIP WATER DEPT, MI          PO BOX 87680                                                                                                            CANTON                  MI           48187‐0680
30334091          Name on file                            Address on file
30348052          Name on file                            Address on file
30340900          Name on file                            Address on file
30211276          CANVAS PRINT STUDIO LTD                 20 WATERSON ST.                                                                                                         LONDON                               E2 8HL          UNITED KINGDOM
29955987          Name on file                            Address on file




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29955989          CAOXIAN LUYI GUANGFA ART & CRAFT     CAOXIAN COUNTY                     LUYI QUANYE INDUSTRIAL PARK                                                              HEZE, SHANDONG                       274400          CHINA
30211277          CAP & ASSOCIATES INC                 CAP FIXTURES                       445 MCCORMICK BLVD                                                                       COLUMBUS                OH           43213
30340821          Name on file                         Address on file
29955990          CAPE FEAR PUBLIC UTILITY AUTHORITY   235 GOVERNMENT CTR DR                                                                                                       WILMINGTON              NC           28403‐0235

30213081          CAPITAL MALL JC 1, LLC               P.O. BOX 104960                    ATTN: DONNA VAIL , GENERAL MGR.                                                          JEFFERSON CITY          MO           65110
30339841          Capital Plaza Partners, Ltd          Dye Law Firm, P.A.                 Jimmy Dye                       2940 Kerry Forest Parkway         Suite 201              Tallahassee             FL           32309
                                                                                          C/O TALCOR COMMERCIAL REAL
30213654          CAPITAL PLAZA PARTNERS, LTD.         MONTICELLO SQUARE                  ESTATE                                                                                   TALLAHASSEE             FL           32303
29911992          CAPITOL FUNDS INC                    BERKELEY MALL LLC                  C/O CKR 301 S COLLEGE ST #2800                                                           CHARLOTTE               NC           28282
30348971          Name on file                         Address on file
30340257          Name on file                         Address on file
30358118          Name on file                         Address on file
                                                       C/O CAPSTONE GROUP ‐ LEASE         730 COOL SPRINGS BLVD., SUITE
30213101          CAPREALTY 14‐VILLAGE, LLC            ADMINISTRATION                     630                                                                                      FRANKLIN                TN           37067
30341831          Name on file                         Address on file
30295102          Capstone Law APC                     Dundon Advisers LLC                April Kimm                         10 Bank St                     Ste 1100               White Plains            NY           10606
30334713          Name on file                         Address on file
29911998          CAR APPLE VALLEY SQUARE, LLC         3141 SOLUTION CENTER                                                                                                        CHICAGO                 IL           60677‐3001
                                                                                          ONE INDEPENDENT DRIVE, SUITE
30213188          CAR APPLE VALLEY SQUARE, LLC         C/O REGENCY CENTERS CORPORATION    114                                                                                      JACKSONVILLE            FL           32202
30222652          Name on file                         Address on file
30353505          Name on file                         Address on file
29912014          CARAUSTAR IND & CON PROD GRP INC     GREIF RECEIVABLES FUNDING          PO BOX 734739                                                                            CHICAGO                 IL           60673‐4739
30351157          Name on file                         Address on file
30353591          Cardenaz, Olivia Denise              Address on file
30335454          Name on file                         Address on file
30347749          Name on file                         Address on file
29912016          CAREERMINDS GROUP INC                PO BOX 5530                                                                                                                 NEWARK                  DE           19714
29912022          Name on file                         Address on file
30397471          Name on file                         Address on file
30385244          Name on file                         Address on file
30347958          Name on file                         Address on file
29912027          CARIE CANFIELD                       Address on file
29912028          CARIE FINAN                          Address on file
29912031          CARIOCA                              LUTZ AND PARTNERS OR SALES AGENT   4363 BEEKMAN PLACE                                                                       SARASOTA                FL           34235
30210661          CARISSA PANASCI                      Address on file
30209395          CARLA S. SCOTT                       Address on file
IC_125            Carla Scott                          Address on file
30209396          CARLETON COLLEGE                     ONE NORTH COLLEGE STREET                                                                                                    NORTHFIELD              MN           55057
30212705          CARLETON COLLEGE GOULD LIBRARY       ONE NORTH COLLEGE ST                                                                                                        NORTHFIELD              MN           55057
30354385          Name on file                         Address on file
30347902          Name on file                         Address on file
30232029          Name on file                         Address on file
29956028          Name on file                         Address on file
30334643          Name on file                         Address on file
30358320          Name on file                         Address on file
30337813          Name on file                         Address on file
30342781          Name on file                         Address on file
30353891          Name on file                         Address on file
30414735          Name on file                         Address on file
30212939          CARLY FULLERTON                      Address on file
29956049          CARLY WAMBOLDT                       Address on file
30353685          Name on file                         Address on file
30337296          Name on file                         Address on file
29956056          Name on file                         Address on file
30340783          Name on file                         Address on file
29920424          CARMONA, FRANCES                     Address on file
30337256          CARMONA, FRANCES                     Address on file
30338416          Name on file                         Address on file
29912144          Name on file                         Address on file
30210791          CARNEGIE LIBRARY OF PITTSBURGH       4400 FORBES AVE                                                                                                             PITTSBURGH              PA           15213




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                  Carnegie Library of Pittsburgh on behalf of
LC_0337           Allegheny County Libraries                    4400 Forbes Avenue                                                                                                  Pittsburgh           PA           15220

                  CARNEGIE LIBRARY OF PITTSBURGH ON BEHALF
30209399          OF ALLEGHENY COUNTY PUBLIC LIBRARIES     22 WABASH STREET | SUITE 202 PI?                                                                                         SBURGH               PA           15220

                  CARNEGIE LIBRARY OF PITTSBURGH ON BEHALF
30209400          OF ALLEGHENY COUNTY PUBLIC LIBRARIES     50 ALEXANDER STREET                                                                                                      PITTSBURGH           PA           15220
29912145          Name on file                             Address on file

30210792          CARNEGIE PUBLIC LIBRARY OF STEUBEN COUNTY 322 S WAYNE STREET                                                                                                      ANGOLA               IN           46703
30414863          Name on file                              Address on file
30340302          Name on file                              Address on file
30342913          Name on file                              Address on file
29912152          CAROL AROCHO                              Address on file
29956061          CAROL CHURCHEY                            Address on file
29956080          CAROL MAYNARD                             Address on file
29912220          Name on file                              Address on file
30351054          Name on file                              Address on file
29912232          CAROLE A BIXLER                           Address on file
29912233          CAROLE ACCESSORIES                        1607 S GRAND AVE                                                                                                        LOS ANGELES          CA           90015
29912241          Name on file                              Address on file
30211278          Name on file                              Address on file
29912243          Name on file                              Address on file
29912244          CAROLINA CREATIVE PRODUCTS                7025 AUGUSTA ROAD                                                                                                       GREENVILLE           SC           29605
30210709          CAROLINA POWER & LIGHT CORPORATION        410 S WILMINGTON ST                                                                                                     RALEIGH              NC           27601
29964931          CAROLINA POWER & LIGHT CORPORATION        410 S. WILMINGTON STREET                                                                                                RALEIGH              NC           27601‐1748
29912271          CAROLINE FOSDICK                          Address on file
30212796          CAROLINE MAIMBOURG                        Address on file
30209410          CAROLYN ANN FRIEDLANDER                   Address on file
29912315          CAROLYN CRAMER                            Address on file
IC_126            CAROLYN FRIEDLANDER LLC                   PO BOX 32                                                                                                               LAKE WALES           FL           33859
29912323          CAROLYN GAVIN                             Address on file
29956089          CAROLYN M PATCH                           Address on file
29956100          CAROLYN SCHLOBOHM                         Address on file
29956104          CAROLYN SPENCE                            Address on file
30211279          CAROLYN YAKO                              Address on file
30343309          Name on file                              Address on file
30340863          Name on file                              Address on file
30350432          Name on file                              Address on file
30414557          Name on file                              Address on file
30396860          Name on file                              Address on file
30416098          Name on file                              Address on file
30333855          Name on file                              Address on file
30415249          Name on file                              Address on file
30385138          Name on file                              Address on file
30358068          Name on file                              Address on file
30336641          Name on file                              Address on file
30394686          Name on file                              Address on file
30393726          Name on file                              Address on file
30415277          Name on file                              Address on file
30401814          Name on file                              Address on file

29948782          CARROLL CO COMMISSIONERS                      PERSONAL PROPERTY TAX              COLLECTION OFF 225 N CENTER ST                                                   WESTMINSTER          MD           21157

29912370          CARROLL CO COMMISSIONERS                      PERSONAL PROPERTY TAX FO527895     COLLECTION OFF 225 N CENTER ST                                                   WESTMINSTER          MD           21157
29912371          Name on file                                  Address on file
                  CARROLL COUNTY, MD COUNTY CONSUMER
30207736          PROTECTION AGENCY                             ATTN: CONSUMER PROTECTION DIVISION 225 NORTH CENTER STREET                                                          WESTMINSTER          MD           21157
30333724          Name on file                                  Address on file
29912372          CARRON NET COMPANY INC                        PO BOX 177                                                                                                          TWO RIVERS           WI           54241
30334860          Name on file                                  Address on file
30414288          Name on file                                  Address on file




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29912375          CARSON CITY ASSESOR                      201 N CARSON STREET #6                                                                                                   CARSON CITY               NV           89701
29948784          CARSON CITY BUSINESS LICENSE             CARSON CITY BUSINESS LICENSE       2621 NORTHGATE LANE #6                                                                CARSON CITY               NV           89706
29912376          Name on file                             Address on file
29912377          CARSON CITY TREASURER                    CARSON CITY BUSINESS LICENSE       2621 NORTHGATE LANE #6                                                                CARSON CITY               NV           89706
30340867          Name on file                             Address on file
30354153          Name on file                             Address on file
29912391          CARTER MCLAWS                            Address on file
30339759          Name on file                             Address on file
30339530          Name on file                             Address on file
30401757          Name on file                             Address on file
30340705          Name on file                             Address on file
30209412          CARTERET FREE PUBLIC LIBRARY             100 COOKE AVENUE                                                                                                         CARTERET                  NJ           07008
30397809          Name on file                             Address on file
30212144          CARTHAGE PUBLIC LIBRARY                  612 S GARRISON AVE                                                                                                       CARTHAGE                  MO           64836
30336703          Name on file                             Address on file
30348909          Name on file                             Address on file
30333526          Name on file                             Address on file
30340611          Name on file                             Address on file
30358021          Name on file                             Address on file
30335424          Name on file                             Address on file

30213684          CARWOOD SKYPARK LLC                      C/O INVESTEC MANAGEMENT            200 E. CARRILLO STREET, SUITE 200                                                     SANTA BARBARA             CA           93101
30212146          CARY AREA PUBLIC LIBRARY                 1606 THREE OAKS RD                                                                                                       CARY                      IL           60013
30209413          CARY AREA PUBLIC LIBRARY DISTRICT        1606 THREE OAKS RD                                                                                                       CARY                      IL           60013
29912401          Name on file                             Address on file
30209417          CARY MEMORIAL LIBRARY                    1974 MASSACHUSETTS AVE                                                                                                   LEXINGTON                 MA           02420
29912404          Name on file                             Address on file
29912405          CASA COLLECTIVE LIMITED                  10/F PARK FOOK IND BLDG            615‐617 TAI NAN WEST STREET                                                           CHEUNG SHA WAN                         852             HONG KONG
30386283          Casa De Luna Ventures, LP                3900 Pelandale Ave                 Suite 160                                                                             Modesto                   CA           95356
                  CASA DEL SOL VENTURES, LLC AND CASA DE
30213240          LUNA VENTURES, LP                        C/O VINTAGE PROPERTIES, LP         3900 PELANDALE AVE., SUITE 160                                                        MODESTO                   CA           95356
29912408          CASA GRANDE FALSE ALARM                  PO BOX 842447                                                                                                            LOS ANGELES               CA           90084
29912409          Name on file                             Address on file
30340797          Name on file                             Address on file
30340817          Name on file                             Address on file
29912418          CASCADE COUNTY TREASURER                 PO BOX 2549                                                                                                              GREAT FALLS               MT           59403‐2549
29912419          CASCADE CROSSING LLC                     4005 E 11 MILE RD. #336                                                                                                  WARREN                    MI           48092
29912420          CASCADE NATURAL GAS                      PO BOX 5600                                                                                                              BISMARCK                  ND           58506‐5600
29912424          Cascade Square, LLC                      c/o Mercury Development            Attn: Sarah Gram                    15350 SW Sequoia Parkway      Suite 140           Portland                  OR           97224
29912426          Name on file                             Address on file
30346988          Name on file                             Address on file
30256744          Name on file                             Address on file
30396851          Name on file                             Address on file
30416086          Name on file                             Address on file
29912428          CASE‐BARLOW FARM                         PO BOX 2143                                                                                                              HUDSON                    OH           44236
30209420          CASEY CARDINIA LIBRARIES                 65 BERWICK‐CRANBOURNE ROAD                                                                                               CRANBOURNE, VIC                        3977            AUSTRALIA
30209424          CASEY CARDINIA LIBRARY CORPORATION       65 BERWICK‐CRANBOURNE ROAD                                                                                               CRANBOURNE, VIC                        3977            AUSTRALIA
29956129          Name on file                             Address on file
29956135          CASEYVILLE TOWNSHIP SEWER SYSTEM (IL)    P.O. BOX 1900                                                                                                            FAIRVIEW HEIGHTS          IL           62208
30353901          Name on file                             Address on file
29912442          CASHMERETTE LLC                          54 HUTCHINSON RD                                                                                                         ARLINGTON                 MA           02474
29912443          CASHSTAR INC                             PO BOX 913248                                                                                                            DENVER                    CO           80291‐3248
30337288          Name on file                             Address on file
29912449          CASS COUNTY COLLECTOR                    201 WEST WALL STREET STE A                                                                                               HARRISONVILLE             MO           64701
29912450          CASS COUNTY ELECTRIC COOPERATIVE         PO BOX 6088                                                                                                              FARGO                     ND           58108‐6088
30212150          CASS COUNTY PUBLIC LIBRARY               400 E MECHANICS ST                                                                                                       HARRISONVILLE             MO           64701
29912453          CASS COUNTY TAX COLLECTOR                2725 CANTRELL ROAD                                                                                                       HARRISONVILLE             MO           64701‐4004
                  CASS COUNTY, MO COUNTY CONSUMER
30207737          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 102 E WALL ST                                                                         HARRISONVILLE             MO           64701
30209427          CASS DISTRICT LIBRARY                    319 M 62                                                                                                                 CASSOPOLIS                MI           49031
29912454          Name on file                             Address on file
29912475          CASSANDRA BUTTERFIELD                    Address on file
29912501          CASSANDRA KELLER                         Address on file




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30211280          CASSANDRA KELLER I                        Address on file
30212801          CASSIDY JONES                             Address on file
29956143          CASSIDY POLEN                             Address on file
29912555          CASSIDY TALBOT                            Address on file
29956153          CASSIE HILLARD                            Address on file
29949465          CASSINI PARTNERS, L.P.                    3201 DANVILLE BLVD                    STE 100                                                                          ALAMO                  CA           94507
30416269          Name on file                              Address on file
29912566          CASSIUS CASILLAS                          Address on file
30386012          Name on file                              Address on file
29912570          Name on file                              Address on file
30342639          Name on file                              Address on file
30397465          Name on file                              Address on file
30396657          Name on file                              Address on file
30210876          CASTLETON INVESTORS, LLC                  ONE LAW GROUP S.C.                    ATTN: MARK BARTELS              2181 S ONEIDA ST.                                GREEN BAY              WI           54304
30416158          Name on file                              Address on file
30212151          CATAHOULA PARISH LIBRARY                  300 BUSHLEY                                                                                                            HARRISONBURG           LA           71340
29912578          Name on file                              Address on file
29949466          CATAMARAN CLO 2014‐1 LTD.                 600 LEXINGTON AVENUE                  FLOOR 7                                                                          NEW YORK               NY           10022
29912580          CATAN GLOBAL IMPORTS                      2867 FOREST LAKE DRIVE                                                                                                 WESTLAKE               OH           44145
29912583          CATAWBA COUNTY TAX COLLECTOR              PO BOX 368                                                                                                             NEWTON                 NC           28658‐0368
29912629          CATHERINE GLOVER                          Address on file
29912655          CATHERINE NIE‐PHAN                        Address on file
29956161          CATHERINE RAGLAND                         Address on file
30212578          CATHERINE SIMON                           Address on file
30349602          Name on file                              Address on file
29956173          CATHY AAKRE                               Address on file
29956179          CATHY BIDDLE                              Address on file
30212865          CATHY BIDDLE                              Address on file
IC_127            Cathy Callahan                            Address on file
29956183          CATHY THOMPSON                            Address on file
30261489          Catrette, Barbara Ann                     Address on file
                  CATTARAUGUS COUNTY, NY COUNTY
30207738          CONSUMER PROTECTION AGENCY                ATTN: CONSUMER PROTECTION DIVISION    303 COURT ST                                                                     LITTLE VALLEY          NY           14755
29912711          CAVALIERS OPERATING COMPANY LLC           DBA CLEVELAND CAVALIERS               PO BOX 5758                                                                      CLEVELAND              OH           44101
30209429          CAVAN MONAGHAN PUBLIC LIBRARY             1 DUFFERIN STREET                                                                                                      MILLBROOK              ON           L0A 1G0         CANADA
30345063          Name on file                              Address on file
30353869          Name on file                              Address on file
30398298          Name on file                              Address on file
30354540          CAVENDER STORES, L.P.                     7820 SOUTH BROADWAY                                                                                                    TYLER                  TX           75703
30340438          Name on file                              Address on file
30347307          Name on file                              Address on file
30355418          Name on file                              Address on file
29912727          Name on file                              Address on file
30213503          CB PASO, LLC                              C/O MIMCO, INC.                       6500 MONTANA AVE., STE A                                                         EL PASO                TX           79925
29912732          CBL & ASSOCIATES LP                       CO FRONTIER MALL ASSOC LP             P.O. BOX 531778                                                                  ATLANTA                GA           30353‐1778
29912735          CBL & ASSOCIATES LTD PARTNERSHIP          JEFFERSON MALL CMBS LLC               PO BOX 746399                                                                    ATLANTA                GA           30374‐6399
                                                            C/O CBL & ASSOCIATES MANAGEMENT,      2030 HAMILTON PLACE
30213325          CBL WESTGATE CROSSING PROPCO, LLC         INC.                                  BOULEVARD, SUITE 500                                                             CHATTANOOGA            TN           37421
30210793          CBRE, INC.                                950 MAIN AVENUE                       #200                                                                             CLEVELAND              OH           44113
29912737          CBTS                                      25 MERCHANT ST                                                                                                         CINCINNATI             OH           45246
IC_015            CC MEDIA LLC                              195 S. BRYANT STREET                                                                                                   DENVER                 CO           80219
29912741          CCA AND B LLC DBA THE LUMISTELLA CO       3350 RIVERWOOD PARKWAY SE                                                                                              ATLANTA                GA           30339
29912743          CCA DIVISION OF TAXATION                  1701 LAKESIDE AVE                                                                                                      CLEVELAND              OH           44114‐1179
29912742          CCA DIVISION OF TAXATION                  PO BOX 94810                                                                                                           CLEVELAND              OH           44101‐4810
                  CCA‐RENAISSANCE SQUARE SHOPPING CENTER,
30213305          LLC                                       5670 WILSHIRE BOULEVARD, SUITE 1250   ATTN: STEVEN USDAN                                                               LOS ANGELES            CA           90036
29912746          CCH INCORPORATED                          PO BOX 4307                                                                                                            CAROL STREAM           IL           60197‐4307
29912747          Name on file                              Address on file
30209431          CCLS (CHESTER COUNTY LIBRARY SYSTEM)      450 EXTON SQUARE PARKWAY                                                                                               EXTON                  PA           19341
30212690          CDE LIGHTBAND                             2021 WILMA RUDOLPH BLVD.                                                                                               CLARKSVILLE            TN           37040
30297300          CDE LIGHTBAND                             TAMMIE L HOGUE                        2021 WILMA RUDOLPH BLVD                                                          CLARKSVILLE            TN           37040
29912748          Name on file                              Address on file
29912749          Name on file                              Address on file




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29912750          CDP NORTH AMERICA INC                  127 W. 26TH ST., #300                                                                                                       NEW YORK                NY           10001
29912751          CDW LLC                                DBA CDW DIRECT LLC                        PO BOX 75723                                                                      CHICAGO                 IL           60675‐5723
29912752          CDW LLC S                              SIRIUS COMPUTER SOLUTIONS LLC             PO BOX 202289                                                                     DALLAS                  TX           75320‐2289
30209432          CECELIA MURPHY‐MCMILLAN                Address on file
29952701          Name on file                           Address on file
30356999          Name on file                           Address on file
29912797          CEDAR CITY                             10 NORTH MAIN                                                                                                               CEDAR CITY              UT           84720
29948789          CEDAR CITY CORPORATION                 10 NORTH MAIN                                                                                                               CEDAR CITY              UT           84720
30213640          CEDAR CREST SQUARE ASSOCIATES, LP      C/O LAVIPOUR & COMPANY, LLC               6 EAST 45TH STREET, SUITE 801                                                     NEW YORK                NY           10017
30212156          CEDAR FALLS PUBLIC LIBRARY             524 MAIN ST                                                                                                                 CEDAR FALLS             IA           50613
LC_0108           Cedar Grove Free Public Library        One Municipal Plaza                                                                                                         Cedar Grove             NJ           07009
30212158          CEDAR GROVE PUBLIC LIBRARY             1 MUNICIPAL PLAZA                                                                                                           CEDAR GROVE             NJ           07009
LC_0109           Cedar Park Public Library              550 Discovery Blvd                                                                                                          Cedar Park              TX           78613‐2200
29912803          CEDAR PCP‐SAN SOUCI, LLC               C/O WHEELER REAL ESTATE COMPANY           ATTN: COO [SAN SOUCI PLAZA]       2529 VIRGINIA BEACH BLVD,                       VIRGINIA BEACH          VA           23452
30210983          CEDAR PCP‐SAN SOUCI, LLC               C/O WHEELER REAL ESTATE COMPANY           ATTN: COO [SAN SOUCI PLAZA]                                                       VIRGINIA BEACH          VA           23452
29912804          CEDAR RAPIDS MUNICIPAL UTILITIES       ATTN: REMITTANCE PROCESSING               1111 SHAVER RD NE                                                                 CEDAR RAPIDS            IA           52402
30209434          CEDARBURG PUBLIC LIBRARY               W63 N589 HANOVER AVE.                                                                                                       CEDARBURG               WI           53012
30341068          Name on file                           Address on file
29912815          CELENA MEADOWS                         Address on file
30283138          Name on file                           Address on file
29912832          Name on file                           Address on file
30224962          Cellco Partnership d/b/a Verizon Wireless
                                                         Paul Adamec                               500 Technology Drive                                                              Weldon Spring           MO           63304
30395459          Name on file                           Address on file
29912834          CEMI INC                               CEMI GENERAL CONTRACTORS                  3300 BUCKEYE RD NE #602                                                           ATLANTA                 GA           30341
30395399          Name on file                           Address on file
30358100          Name on file                           Address on file
30284493          CENTER ASSOCIATES REALTY CORP.         1146 FREEPORT RD                                                                                                            PITTSBURGH              PA           15238
                                                         AGENT FOR CENTER‐EAST LIVERPOOL
30213582          CENTER ASSOCIATES REALTY CORP.         ASSOCIATES                                P.O. BOX 38427                                                                    PITTSBURGH              PA           15238
29912840          Name on file                           Address on file
29912841          Name on file                           Address on file
30223074          CENTERBRIDGE CREDIT CS, L.P.           375 PARK AVE FL 12C                                                                                                         NEW YORK                NY           10152
29912842          CENTERPOINT ENERGY MINNEGASCO/4671     PO BOX 4671                                                                                                                 HOUSTON                 TX           77210‐4671
29952134          CENTERPOINT ENERGY/1325/4981/2628      CENTERPOINT ENERGY                        1111 LOUISIANA ST                                                                 HOUSTON                 TX           77002
29912844          CENTERPOINT ENERGY/1325/4981/2628      P.O. BOX 4981                                                                                                               HOUSTON                 TX           77210‐4981
29952135          CENTERPOINT ENERGY/1423                CENTERPOINT ENERGY                        1111 LOUISIANA ST                                                                 HOUSTON                 TX           77002
29912846          CENTERPOINT ENERGY/1423                PO BOX 1423                                                                                                                 HOUSTON                 TX           77251‐1423
29952136          CENTERPOINT ENERGY/2006                CENTERPOINT ENERGY                        1111 LOUISIANA ST                                                                 HOUSTON                 TX           77002
29912847          CENTERPOINT ENERGY/2006                PO BOX 2006                                                                                                                 HOUSTON                 TX           77252‐2006
29952137          CENTERPOINT ENERGY/4849                CENTERPOINT ENERGY                        1111 LOUISIANA ST.                                                                HOUSTON                 TX           77002
29912848          CENTERPOINT ENERGY/4849                PO BOX 4849                                                                                                                 HOUSTON                 TX           77210‐4849
29912850          CENTERRA PUBLIC IMPROVEMENT COLL CO    C/O CITY OF LOVELAND TAX ADMIN            PO BOX 892                                                                        LOVELAND                CO           80539
                  CENTERRA PUBLIC IMPROVEMENT COLLECTION PUBLIC IMPROVEMENT FEE                    C/O CITY OF LOVELAND SALES TAX
29912851          CORPORATION                            ADMINISTRATION                            ADMINISTRATION                    PO BOX 892                                      LOVELAND                CO           80539
29912852          CENTERRA RETAIL SALES FEE CORP         C/O CITY OF LOVELAND TAX ADMIN            PO BOX 1405                                                                       LOVELAND                CO           80539
                                                                                                   C/O CITY OF LOVELAND SALES TAX
29912853          CENTERRA RETAIL SALES FEE CORPORATION       RETAIL SALES FEE ADMINISTRATION      ADMINISTRATION                    PO BOX 1405                                     LOVELAND                CO           80539
                                                              2725 ROCKY MOUNTAIN AVENUE, SUITE
30213265          CENTERRA RETAIL SHOPS, LLC                  200                                  ATTN: PROPERTY MANAGEMENT                                                         LOVELAND                CO           80538
                                                              C/O MCWHINNEY REAL ESTATE SERVICES
29912855          CENTERRA RETAIL SHOPS, LLC                  INC                                                                                                                    LOVELAND                CO           80538
29912856          CENTERTON SQUARE OWNERS LLC                 546 5TH AVE 15TH FLOOR                                                                                                 NEW YORK                NY           10036
                                                              C/O PRESTIGE PROPERTIES &
30213245          CENTERTON SQUARE OWNERS, LLC                DEVELOPMENT CO., INC.                546 5TH AVENUE, 15TH FLOOR                                                        NEW YORK                NY           10036
30210794          CENTERVIEW PARTNERS LLC                     31 WEST 52ND STREET                  FLOOR 22                                                                          NEW YORK                NY           10019
                                                              ATTN: DANIEL BENDETSON, KARN
30184123          CENTERVIEW PARTNERS LLC                     CHOPRA, RYAN KIELTY                  31 W 52ND ST #22                                                                  NEW YORK                NY           10019
29912858          CENTERVILLE CITY CORP                       655 NORTH 1250 WEST                                                                                                    CENTERVILLE             UT           84014
                  CENTERVILLE CITY CORPORATION ‐ BUSINESS
29964721          LICENSING                                   655 NORTH 1250 WEST                                                                                                    CENTERVILLE             UT           84014

29912859          CENTERVILLE MARKETPLACE LLC                 C/O SOMERSET PROPERTY MGMT           1178 LEGACY CROSSING BLVD. #100                                                   CENTERVILLE             UT           84014
29912860          CENTIMARK CORPORATION                       PO BOX 536254                                                                                                          PITTSBURGH              PA           15253‐5904




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  ADDRESS ID                           NAME                                 ADDRESS 1                             ADDRESS 2                        ADDRESS 3                 ADDRESS 4                    CITY        STATE     POSTAL CODE           COUNTRY
29912861          CENTRAL ALABAMAWORKS                          600 S. COURT ST., STE. 450                                                                                               MONTGOMERY              AL           36104
29912862          CENTRAL APPRAISAL DISTRICT                    OF TAYLOR COUNTY                       PO BOX 1800                                                                       ABILENE                 TX           79604
29972502          Central Appraisal District of Taylor County   P.O. Box 1800                                                                                                            Abilene                 TX           79604‐1800
30209437          CENTRAL ARKANSAS LIBRARY SYSTEM               100 ROCK ST.                                                                                                             LITTLE ROCK             AR           72201
29912863          CENTRAL FLOORING & ACOUSTICS INC              90 16TH STREET SW                                                                                                        BARBERTON               OH           44203
30211595          CENTRAL GEORGIA EMC (ELEC)                    PO BOX 70878                                                                                                             CHARLOTTE               NC           28272‐0872
29912866          CENTRAL HOOKSETT WATER                        P.O. BOX 16322                                                                                                           HOOKSETT                NH           03106
30209440          CENTRAL LIBRARY CONSORTIUM                    101 SOUTH STYGLER ROAD                                                                                                   GAHANNA                 OH           43230
29912868          Name on file                                  Address on file
29912869          CENTRAL MAINE POWER (CMP)                     PO BOX 847810                                                                                                            BOSTON                  MA           02284‐7810
                                                                C/O CENTRAL MALL MANAGEMENT
30213035          CENTRAL MALL REALTY HOLDINGS, LLC             OFFICE                                 2259 S. 9TH STREET, SUITE 110                                                     SALINA                  KS           67401
30342503          Name on file                                  Address on file
30213284          CENTRAL PLAZA MZL LLC                         C/O KPR CENTERS                        535 FIFTH AVENUE, 12TH FLOOR                                                      NEW YORK                NY           10017
30200557          CENTRAL SHOPPING CENTERS CC LLC               c/o Marino Juric                       851 NE 1st Ave, Unit 1409                                                         Miami                   FL           33132
                                                                C/O COLLIERS INTERNATIONAL /
30213201          CENTRAL SHOPPING CENTERS CC, LLC              ALABAMA                                880 MONTCLAIR RD., SUITE 250                                                      BIRMINGHAM              AL           35213
29912877          Name on file                                  Address on file
                  CENTRAL SKAGIT RURAL PARTIAL COUNTY
30209442          LIBRARY                                      100 W STATE ST                          STE C                                                                             SEDRO WOOLEY            WA           98284
                  CENTRAL SKAGIT RURAL PARTIAL COUNTY
30209441          LIBRARY                                      110 W STATE ST                                                                                                            SEDRO‐WOOLEY            WA           98284
29912878          CENTRAL VALLEY GOLF & UTILITY VEHIC          3430 WEST ASHLAN STE 101                                                                                                  FRESNO                  CA           93722
29912879          CENTRAL VALLEY REFRIGERATION INC             PO BOX 1567                                                                                                               TULARE                  CA           93275
29912881          CENTRAL VERMONT SHOPPING CENTER, LLC         C/O POMERLEAU REAL ESTATE               69 COLLEGE STREET                                                                 BURLINGTON              VT           05402
29949757          CENTRAL VT SHOPPING CTR LLC                  69 COLLEGE STREET                       P.O. BOX 6                                                                        BURLINGTON              VT           05402
29952980          CENTRAL VT SHOPPING CTR LLC                  PO BOX 6                                                                                                                  BURLINGTON              VT           05401
30209443          CENTRALIA PUBLIC LIBRARY                     515 E. BROADWAY                                                                                                           CENTRALIA               IL           62801
30212162          CENTRALIA REGIONAL LIBRARY DISTRICT          515 EAST BROADWAY AVE                                                                                                     CENTRALIA               IL           62801
                  CENTRE COUNTY, PA COUNTY CONSUMER
30207739          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION      WILLOWBANK OFFICE BUILDING       420 HOLMES STREET                                BELLEFONTE              PA           16823
29952982          CENTURY DISTRIBUTION SYS INC                 140 EAST SHORE DR. #210                                                                                                   GLEN ALLEN              VA           23059
30223075          CENTURY DISTRIBUTION SYSTEMS INC             CENTURY DOMESTIC DISTRIB SERV LLC       4860 COX ROAD, STE 210                                                            GLEN ALLEN              VA           23060
29952983          CENTURY PLAZA COMMERCIAL LLC                 C/O SIERRA PACIFIC PROPERTIES INC       1800 WILLOW PASS COURT                                                            CONCORD                 CA           94520
29952984          CENTURYLINK                                  100 CENTURYLINK DR                                                                                                        MONROE                  LA           71203
                  CenturyLink Communications, LLC( f/k/a Qwest
30197348          Communications Company, LLC)                 Centurylink Communications‐Bankruptcy   220 N 5th St                                                                      Bismarck                ND           58501
30213181          CERES NEWINGTON ASSOCIATES LLC               C/O GILMAN MANAGEMENT CORP              55 WATERMILL LANE                                                                 GREAT NECK              NY           11022‐2143
30357959          Name on file                                 Address on file
                  CERRO GORDO COUNTY, IA COUNTY CONSUMER
30207740          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION      220 N WASHINGTON AVE                                                              MASON CITY              IA           50401
30397479          Name on file                                 Address on file
                                                               C/O SPINOSO REAL ESTATE GROUP, DLS,
30213601          CGCMT 2006‐C4‐5422 SHAFFER RD LLC            LLC                                     112 NORTHERN CONCOURSE                                                            NORTH SYRACUSE          NY           13212
29912894          Name on file                                 Address on file
30385014          Name on file                                 Address on file
30340578          Name on file                                 Address on file
29912906          CHAHAT EXPORT                                DELHI SAHARANPUR ROAD                   KHEKRA                                                                            BAGHAPAT                             250101          INDIA
30353879          Name on file                                 Address on file
30260940          Name on file                                 Address on file
30385557          Name on file                                 Address on file
30396835          Name on file                                 Address on file
30401508          Name on file                                 Address on file
29912916          CHAMBER OF COMMERCE                          107 WASHINGTON AVE                                                                                                        ALBANY                  NY           12210‐2200
30297591          Name on file                                 Address on file
30340480          Name on file                                 Address on file
30356789          Name on file                                 Address on file
29912918          Name on file                                 Address on file
                  CHAMBERS COUNTY LIBRARY & COBB
30209446          MEMORIAL                                     3419 20TH AVENUE                                                                                                          VALLEY                  AL           36854
30209450          CHAMBERS COUNTY LIBRARY SYSTEM               202 CUMMINGS STREET                                                                                                       ANAHUAC                 TX           77514
30209452          CHAMBERS COUNTY LIBRARY SYSTEM               PO BOX 520                                                                                                                ANAHUAC                 TX           77514
30222506          Name on file                                 Address on file




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30345300          Name on file                            Address on file
30212164          CHAMPAIGN COUNTY LIBRARY                1060 SCIOTO STREET                                                                                                     URBANA                        OH           43078
                  CHAMPAIGN COUNTY, IL COUNTY CONSUMER
30207741          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 1776 E WASHINGTON ST                                                                URBANA                        IL           61802
30209454          CHAMPAIGN PUBLIC LIBRARY                200 W GREEN ST.                                                                                                        CHAMPAIGN                     IL           61820
29912923          CHAMPAIGN/PROSPECT TOWN CENTER LLC      CTC RETAIL, LLC                    ONE PARKVIEW PLAZA 9TH FLR                                                          OAKBROOK TERRACE              IL           60181
30394582          Name on file                            Address on file
30340308          Name on file                            Address on file
30358176          Name on file                            Address on file
30355635          Name on file                            Address on file
30355618          Name on file                            Address on file
30394082          Name on file                            Address on file
30350241          Name on file                            Address on file
30223076          CHANDRA BARBEE                          Address on file
30398158          Name on file                            Address on file
30353715          Name on file                            Address on file
30335235          Name on file                            Address on file
30343007          Name on file                            Address on file
30333020          Name on file                            Address on file

29904942          CHANGSHU WINWAY TEXTILE CO LTD          ATTN: DAVID WANG, GENERAL MANAGER BUILDING A, GULI TOWN               4/F, 10# FUCHUNJIANG EAST ROAD                   CHANGSHU CITY, 100 JIANGSHU                215533          CHINA
29953755          CHANNIN DAWSON                          Address on file
30333785          Name on file                            Address on file
30398156          Name on file                            Address on file
30210862          CHANTEL FRANCIS                         Address on file
29956218          CHANYA PECH                             Address on file
30334251          Name on file                            Address on file
30333923          Name on file                            Address on file
29956220          CHAPATI NORTH OLMSTED LLC               10500 ANTENUCCI BLVD. #101                                                                                             GARFIELD HEIGHTS              OH           44125
30346574          Name on file                            Address on file
30334493          Name on file                            Address on file
30394616          Name on file                            Address on file
30395831          Name on file                            Address on file
30342529          Name on file                            Address on file
29956223          CHARGEPOINT, INC.                       DEPT LA 24104                                                                                                          PASADENA                      CA           91185
30223077          CHARISSA RENEE MYERS                    Address on file
29956226          CHARLENE HAYES                          Address on file
29912989          CHARLES D CROWSON JR                    COMM OF REVENUE, CITY HALL        2400 WASHINGTON AVENUE                                                               NEWPORT NEWS                  VA           23607
29912993          CHARLES FOSTER                          Address on file
30212916          CHARLES HULISZ                          Address on file
29912994          CHARLES JOHNSON                         Address on file
29913003          CHARLES MAYS JR                         Address on file
29913010          CHARLES POWELL                          Address on file
30333453          Name on file                            Address on file
29913019          CHARLESTON COUNTY TREASURER             PO BOX 100242                                                                                                          COLUMBIA                      SC           29202‐3242
                  CHARLESTON COUNTY, SC COUNTY CONSUMER
30207742          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION   OT WALLACE COUNTY OFFICE BLDG 101 MEETING ST                                      CHARLESTON                    SC           29402
29913026          CHARLIE GREY                            Address on file
30211604          CHARLOTTE ANDERSON                      Address on file
29913034          CHARLOTTE COUNTY                        TAX COLLECTOR                        18500 MURDOCK CIRCLE                                                              PORT CHARLOTTE                FL           33948‐1075
29913035          CHARLOTTE COUNTY TAX COLLECTOR          18500 MURDOCK CIRCLE                                                                                                   PORT CHARLOTTE                FL           33948
29964724          CHARLOTTE COUNTY TAX COLLECTOR          TAX COLLECTOR                        18500 MURDOCK CIRCLE                                                              PORT CHARLOTTE                FL           33948‐1075
29913041          CHARLOTTE FLANAGAN                      Address on file
29913046          CHARLOTTE HAMILTON                      Address on file
29913062          CHARLOTTE THERIAULT                     Address on file
29913075          CHARMY LTD                              C/O #605682                          ST. SEVER 64A NORTH                                                               PLOVDIV                                    4003            BULGARIA
29913078          CHARTER COMMUNICATIONS                  400 WASHINGTON BLVD.                                                                                                   STAMFORD                      CT           06902
30211282          CHARTER COMMUNICATIONS HOLD LLC         SPECTRUM                             PO BOX 6030                                                                       CAROL STREAM                  IL           60197‐6030
29913079          CHARTER TOWNSHIP OF FLINT               RICHARD L WOOD TRESURER              1490 S DYE ROAD                                                                   FLINT                         MI           48532
29913080          CHARTER TOWNSHIP OF LANSING             3209 WEST MICHIGAN AVENUE                                                                                              LANSING                       MI           48917
29913082          CHARTER TOWNSHIP OF UNION               2010 S LINCOLN ROAD                                                                                                    MOUNT PLEASANT                MI           48858
29913083          CHARTER TOWNSHIP OF WHITE LAKE          7525 HIGHLAND ROAD                                                                                                     WHITE LAKE                    MI           48383
29913084          CHARTER TWP OF CHESTERFIELD             47275 SUGARBUSH                                                                                                        CHESTERFIELD                  MI           48047




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29913085          CHARTER TWP OF FLINT                       1490 S DYE ROAD                                                                                                          FLINT                    MI           48532
29913086          CHARTER WARWICK LLC                        PO BOX 823201                                                                                                            PHILADELPHIA             PA           19182
                                                                                               7978 COOPER CREEK BLVD., SUITE
30213266          CHARTER WARWICK, LLC                       ATTN: LEGAL DEPARTMENT            100                                                                                    UNIVERSITY PARK          FL           34201
30397387          Name on file                               Address on file
30395731          Name on file                               Address on file
29956249          CHARTPAK INC                               1 RIVER RD                                                                                                               LEEDS                    MA           01053
30354442          Name on file                               Address on file
                  CHASE GREEN MOUNTAIN LIMITED
29964908          PARTNERSHIP                                225 ASYLUM ST., FL 29                                                                                                    HARTFORD                 CT           06103‐1534
30401020          Chase Green Mountain Limited Partnership   Lisa Catarino Riccio, Esq         C/o: Chase Enterprises             225 Asylum Street               29th Floor          Hartford                 CT           06103
                  CHASE GREEN MOUNTAIN LIMITED
29956255          PARTNERSHIP                                PO BOX 783163                                                                                                            PO BOX 783163            PA           19178‐3163
30401019          Chase Green Mountain Limited Partnership   Rogin Nassau LLC                  C/o: Barry S. Feigenbaum, Esq.     185 Asylum Street               22nd Floor          Hartford                 CT           06103

29956257          CHASE GREEN MOUNTAIN LTD. PARTNERSHIP      C/O CHASE ENTERPRISES             ATTN: CHERYL A. CHASE              225 ASYLUM STREET, 29TH FLOOR                       HARTFORD                 CT           06103

30210977          CHASE GREEN MOUNTAIN LTD. PARTNERSHIP      C/O CHASE ENTERPRISES             ATTN: CHERYL A. CHASE                                                                  HARTFORD                 CT           06103
30258239          Name on file                               Address on file
30351607          Name on file                               Address on file
30348748          Name on file                               Address on file
30287065          Name on file                               Address on file
30351782          Name on file                               Address on file
30394735          Name on file                               Address on file
29956266          Name on file                               Address on file
29956267          CHATHAM COUNTY                             TAX COMMISSIONER                  PO BOX 9827                                                                            SAVANNAH                 GA           31412
30209458          CHATHAM‐KENT PUBLIC LIBRARY                120 QUEEN STREET                                                                                                         CHATHAM                  ON           N7M 2G6         CANADA
30223078          CHATHAM‐KENT PUBLIC LIBRARY                315 KING ST W                                                                                                            CHATHAM                  ON           N7M 2G6         CANADA
30209457          CHATHAM‐KENT PUBLIC LIBRARY                315 KING ST W                                                                                                            CHATHAM                  ON           N7M 5K8         CANADA
29956269          Name on file                               Address on file
29913097          CHATTANOOGA CITY TREASURER                 PO BOX 191                                                                                                               CHATTANOOGA              TN           37401
29913098          CHATTANOOGA GAS COMPANY/5408               PO BOX 5408                                                                                                              CAROL STREAM             IL           60197‐5408
30352658          Name on file                               Address on file
30338268          Name on file                               Address on file
30353974          Name on file                               Address on file
29913103          CHAUTAUQUA COUNTY                          WEIGHTS AND MEASURES              1 NORTH ERIE ST COURTHOUSE                                                             MAYVILLE                 NY           14757
                  CHAUTAUQUA COUNTY, NY COUNTY
30207743          CONSUMER PROTECTION AGENCY                 ATTN: CONSUMER PROTECTION DIVISION 3 N ERIE ST                                                                           MAYVILLE                 NY           14757
                                                             C/O KOHAN RETAIL INVESTMENT GROUP,
30210978          CHAUTAUQUA MALL REALTY HOLDING LLC         LLC                                ATTN: LEGAL DEPARTMENT            1010 NORTHERN BOULEVARD         SUITE 212           GREAT NECK               NY           11021
30347426          Name on file                               Address on file
30262175          Name on file                               Address on file
30211283          CHECKPOINT SECURITY SYSTEMS                NW 8990 BOX 1450                                                                                                         MINNEAPOLIS              MN           55485
29913114          CHECKPOINT SYSTEMS INC                     PO BOX 742884                                                                                                            ATLANTA                  GA           30374‐2931
30394546          Name on file                               Address on file
29913117          Name on file                               Address on file
29913121          CHELSEA BALLENGER                          Address on file
30213018          CHELSEA DEITERS                            Address on file

IC_014            Chelsea from Friday Pattern Company NULL   DBA FRIDAY PATTERN CO             5300 U STREET                                                                          SACRAMENTO               CA           95817
29913151          Name on file                               Address on file
30209465          CHELSEA PUBLIC LIBRARY                     16623 US 280                                                                                                             CHELSEA                  AL           35043
29913173          Name on file                               Address on file
                  CHELTENHAM‐OGONTZ REALTY PARTNERS, L.P.;
                  CHALFONT REALTY PARTNERS, L.P.; PROVO      WARRINGTON, LLC AND GOOD‐MUN
29913174          CREEKVIEW                                  CREEKVIEW WARRINGTON LLC          C/O GOODMAN MANAGEMENT, LLC 636 OLD YORK RD SECOND FLOOR                               JENKINTOWN               PA           19046
                  CHELTENHAM‐OGONTZ REALTY PARTNERS, L.P.;
                  CHALFONT REALTY PARTNERS, L.P.; PROVO      WARRINGTON, LLC AND GOOD‐MUN
30210953          CREEKVIEW                                  CREEKVIEW WARRINGTON LLC          C/O GOODMAN MANAGEMENT, LLC                                                            JENKINTOWN               PA           19046
29913175          Name on file                               Address on file
                  CHEMEKETA COOPERATIVE REGIONAL LIBRARY
30209470          SERVICE                                    4000 LANCASTER DR NE                                                                                                     SALEM                    OR           97305




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                  CHEMEKETA COOPERATIVE REGIONAL LIBRARY
30209467          SERVICE                                    4000 LANCASTER DRIVE NE BUILDING   9 ROOM 136                                                                           SALEM                     OR           97309
                  CHEMEKETA COOPERATIVE REGIONAL LIBRARY
30209469          SERVICE                                    PO BOX 14007                                                                                                            SALEM                     OR           97309
                  CHEMUNG COUNTY, NY COUNTY CONSUMER
30207744          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 210 LAKE ST                                                                          ELMIRA                    NY           14901
30347974          Name on file                               Address on file
30415255          Name on file                               Address on file
30354519          Name on file                               Address on file
30211284          CHENAB LIMITED                             NISHATABAD                                                                                                              FAISALABAD                             38000           PAKISTAN
30401273          Name on file                               Address on file
30349245          Name on file                               Address on file
29913182          CHERI HEINECKE                             Address on file
29956294          CHERIE BISHOP                              Address on file
30356233          Name on file                               Address on file
29913189          Name on file                               Address on file
29913196          CHERRY DESIGN PARTNERS LLC                 147 WEST 35TH STREET #307                                                                                               NEW YORK                  NY           10001
30209473          CHERRY HILL FREE PUBLIC LIBRARY            1100 KINGS HIGHWAY NORTH                                                                                                CHERRY HILL               NJ           08034
29913197          Name on file                               Address on file
29913198          CHERRY HILL TOWNSHIP                       820 MERCER STREET                                                                                                       CHERRY HILL               NJ           08002
29913202          CHERYL & CO                                PO BOX 13764                                                                                                            NEWARK                    NJ           07188
29913206          Name on file                               Address on file
29913214          CHERYL BEBIAK                              Address on file
29956325          CHERYL SKRZAT                              Address on file
29952652          Name on file                               Address on file
29951455          CHESAPEAKE TREASURER                       306 CEDAR RD.                                                                                                           CHESAPEAKE                VA           23322
29952653          CHESAPEAKE TREASURER                       PO BOX 16495                                                                                                            CHESAPEAKE                VA           23328‐6495
29952654          CHESAPEAKE UTILITIES                       PO BOX 826531                                                                                                           PHILADELPHIA              PA           19182‐6531
29952656          CHESLEY CARELE LLC                         34254 ARIZONA ST.                                                                                                       UNION CITY                CA           94587
30354041          Name on file                               Address on file
                  CHESTER COUNTY, PA COUNTY CONSUMER
30207745          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 313 WEST MARKET STREET                                                               WEST CHESTER              PA           19380
29952659          Name on file                               Address on file
30209475          CHESTER PUBLIC LIBRAY                      1784 KING'S HIGHWAY                                                                                                     CHESTER                   NY           10918
29952660          CHESTERFIELD COUNTY TREASURER              PO BOX 26585                                                                                                            RICHMOND                  VA           23285
LC_0116           Chesterfield Public Library                524 Route 63                                                                                                            Chesterfield              NH           03443‐3607
29913269          Name on file                               Address on file
29913270          CHESTERFIELD TOWNSHIP POLICE               46525 CONTINENTAL                                                                                                       CHESTERFIELD              MI           48047
                                                             C/O MID‐AMERICA ASSET MANAGEMENT,
30213302          CHESTNUT COURT DARIEN IL, LLC              INC.                               ONE PARKVIEW PLAZA, 9TH FLOOR                                                        OAKBROOK TERRACE          IL           60181
30396296          Name on file                               Address on file
30354004          Name on file                               Address on file
30262497          Name on file                               Address on file
30262499          Name on file                               Address on file
30262498          Name on file                               Address on file
29956341          CHEYANNE RAYMER                            Address on file
                  CHEYENNE NEWSPAPERS INC DBA WYOMING
29913306          TRIB                                       702 W LINCOLNWAY                                                                                                        CHEYENNE                  WY           82001
30285784          Name on file                               Address on file
30350757          Name on file                               Address on file
29913321          CHIALIN WU                                 Address on file
30354509          Name on file                               Address on file
29913329          Name on file                               Address on file
29913330          CHICO FALSE ALARM                          REDUCTION PROGRAM                  PO BOX 888492                                                                        LOS ANGELES               CA           90088‐8492
29913331          Name on file                               Address on file
30395305          Name on file                               Address on file
                                                             CHILDRENS MIRACLE NETWORK
29913333          CHILDRENS MIRACLE NETWORK                  HOSPITALS                          205 WEST 700 SOUTH                                                                   SALT LAKE CITY            UT           84101

30209483          CHILLICOTHE & ROSS COUNTY PUBLIC LIBRARY   PO BOX 185                                                                                                              CHILLICOTHE               OH           45601
29913334          Name on file                               Address on file
                  CHILLICOTHE AND ROSS COUNTY PUBLIC
30209486          LIBRARY                                    140 S. PAINT ST.                                                                                                        CHILLICOTHE               OH           45601




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                  CHILLICOTHE AND ROSS COUNTY PUBLIC
30209485          LIBRARY                                         BOX 185                                                                                                                 CHILLICOTHE                       OH           45601
29913336          CHILLICOTHE UTILITIES DEPT, OH                  PO BOX 630                                                                                                              CHILLICOTHE                       OH           45601‐3243

30213400          CHIMNEY ROCK RETAIL ASSOCIATES, LLC             C/O FIDELIS REALTY PARTNERS            4500 BISSONNET STREET, SUITE 200                                                 BELLAIRE                          TX           77401
                                                                  NORTH WING FORTUNE TIMES BUILDING
30210795          CHINA EXPORT & CREDIT INSURANCE CORP            11 FENGHUIYUAN                         XICHENG DISTRICT                                                                 BEIJING                                        100032          CHINA
                                                                  NORTH WING FORTUNE TIMES BUILDING
30210796          CHINA EXPORT & CREDIT INSURANCE CORP.           11 FENGHNIYUAN                         XICHENG DISTRICT                                                                 BEIJING                                        100032          CHINA
30182402          China Manufacturing Solution Limited            12 Tak Hing Street                     Jordan                             Kowloon                                       Hong Kong                                                      China
                  China National Art & Crafts Imp & Exp Huayong
30258586          Corp.                                           Jiaping Chen                           No. 37, 4F, 199 Lane               Yong Feng Road                                Ningbo, ZJ                                     31500           China
                                                                  ATTN: KATHY CHEN, CHIEF EXECUTIVE      NO 37 4F 199 LANE YONG FENG
29904935          CHINA NATIONAL ARTS & CRAFTS                    OFFICER                                ROAD                               199 LANE                                      NINGBO, 130 ZHEJIANG                           315010          CHINA
30397268          Name on file                                    Address on file
30355680          Name on file                                    Address on file
30332388          Name on file                                    Address on file
29913346          Name on file                                    Address on file
30263675          Name on file                                    Address on file
30347879          Name on file                                    Address on file
29913348          Name on file                                    Address on file
29913349          Name on file                                    Address on file
30401148          Name on file                                    Address on file
30346955          Name on file                                    Address on file
30345640          Name on file                                    Address on file
29913353          Name on file                                    Address on file
29913354          Name on file                                    Address on file
30347835          Name on file                                    Address on file
30349080          Name on file                                    Address on file
30340655          Name on file                                    Address on file
29956350          CHLOE BROWN                                     Address on file
29913386          CHLOE JACKMAN                                   Address on file
29913396          CHLOE KING                                      Address on file
29913399          CHLOE KLINGMAN                                  Address on file
30223079          CHOATE HALL AND STEWARD LLP                     TWO INTERNATIONAL PLACE                                                                                                 BOSTON                            MA           02110
30414544          Name on file                                    Address on file
30337190          Name on file                                    Address on file
30351058          Name on file                                    Address on file
30394822          Name on file                                    Address on file
29913441          CHOPRA DEVELOPMENT GROUP LLC                    128 BROWN ROAD                                                                                                          VESTAL                            NY           13850
30385977          Name on file                                    Address on file
29913442          CHORUS CALL INC                                 2420 MOSSIDE BLVD.                                                                                                      MONROEVILLE                       PA           15146
30386129          Name on file                                    Address on file
30339151          Name on file                                    Address on file
30353573          Name on file                                    Address on file
29948794          CHRIS MOLENDORP, CASS CO COLLECTOR              201 WEST WALL STREET STE A                                                                                              HARRISONVILLE                     MO           64701
29913459          Name on file                                    Address on file
30348907          Name on file                                    Address on file
29913462          Name on file                                    Address on file
LC_0279           Christchurch City Libraries                     P O BOX 73045                                                                                                           CHRISTCHURCH, Canterbury Region                8154            New Zealand
30209490          CHRISTCHURCH CITY LIBRARIES                     P O BOX 73045                          CANTERBURY REGION                                                                CHRISTCHURCH                                   8154            NEW ZEALAND
29913467          Name on file                                    Address on file
29913472          Name on file                                    Address on file
30396279          Name on file                                    Address on file
30350082          Name on file                                    Address on file
30332498          Name on file                                    Address on file
29956374          CHRISTI REEVES                                  Address on file
29913497          CHRISTIAN MCMAHON                               Address on file
30210906          CHRISTIANA TOWN CENTER, LLC                     ATTN: MANAGER                          P.O. BOX 7189                                                                    WILMINGTON                        DE           19803
                                                                  ATTN: MANAGER, JIM OESTE, VP OF REAL
29913522          CHRISTIANA TOWN CENTER, LLC                     ESTATE                                 P.O. BOX 7189                                                                    WILMINGTON                        DE           19803
30340920          Name on file                                    Address on file
29956385          CHRISTINA COOK                                  Address on file




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29913556          CHRISTINA ESPOSITO                      Address on file
30356968          CHRISTINA L MANUEL                      Address on file
29956391          Name on file                            Address on file
29956395          CHRISTINA STAFFORD                      Address on file
29913619          CHRISTINA WINTERS                       Address on file
30209228          CHRISTINE HOSTETLER                     Address on file
29913697          CHRISTINE LUDWIG                        Address on file
29951390          CHRISTINE MECKLEY                       Address on file
29913709          CHRISTINE MULHEREN                      Address on file
30223080          CHRISTINE PETREANU                      Address on file

30209498          CHRISTINE SCHMIDT YELLOW OWL WORKSHOP   Address on file
30414582          Name on file                            Address on file
29913734          Name on file                            Address on file
30212860          CHRISTOPHER CIANCIO                     Address on file
30213007          CHRISTOPHER JOHNSON                     Address on file
29913779          CHRISTOPHER LEE                         Address on file
29913794          CHRISTOPHER MONYAK                      Address on file
29913820          CHRISTOPHER SCULLY                      Address on file
29913860          CHRISTY STENCE                          Address on file
29913864          CHRISTY VINCENT                         Address on file
29913870          CHRONICLE BOOKS                         C/O HACHETTE BOOK GROUP            53 STATE STREET, 9TH FLOOR                                                       BOSTON                 MA           02109
30358367          Name on file                            Address on file
29913873          CHRYSTAL DANIEL                         Address on file
29913876          CHRYSTAL HOLDEN                         Address on file
29913881          Name on file                            Address on file
30397243          Name on file                            Address on file
30333961          Name on file                            Address on file
30354937          Name on file                            Address on file
30399583          Name on file                            Address on file
30414796          Name on file                            Address on file
30351780          Name on file                            Address on file
30210533          CHUBB                                   17 IMCLONE DRIVE                                                                                                    BRANCHBURG             NJ           08876‐3903
30223081          CHUBB                                   202B HALL S MILL ROAD                                                                                               WHITEHOUSE STATION     NJ           08889
29949792          CHUBB                                   550 MADISON AVENUE                                                                                                  NEW YORK               NY           10022
30223082          CHUBB CLAIMS DEPARTMENT CHUBB           P.O. BOX 5122                                                                                                       SCRANTON               PA           18505
29913882          CHUCK TEECE                             Address on file
30338690          Name on file                            Address on file
29913883          CHUGACH ELECTRIC ASSOCIATION            PO BOX 196760                                                                                                       ANCHORAGE              AK           99519‐6760
30355819          Name on file                            Address on file
30340424          Name on file                            Address on file
30354910          Name on file                            Address on file
30342718          Name on file                            Address on file
30333884          Name on file                            Address on file
29913886          CHURCH & DWIGHT CO INC                  500 CHARLES EWING BLVD                                                                                              EWING                  NJ           08628
30397339          Name on file                            Address on file
30209499          CHURCHILL COUNTY LIBRARY                553 S MAINE STREET                                                                                                  FALLON                 NV           89406
29913888          Name on file                            Address on file
30335573          Name on file                            Address on file

30213507          CI WARNER ROBBINS, LLC                  C/O FICKLING MANAGEMENT SERVICES   577 MULBERRY STREET, SUITE 1100                                                  MACON                  GA           31202
30332404          Name on file                            Address on file
29949995          CIARRA THURSTON                         Address on file
30223083          CIBURBANITY LLC                         175 WELLINGTON DR.                                                                                                  FAIRFIELD              CT           06824
29913906          CIC PLUS LLC                            PO BOX 841971                                                                                                       LOS ANGELES            CA           90084‐1971
30332611          Name on file                            Address on file
30332219          Name on file                            Address on file
30337344          Name on file                            Address on file
30353657          Name on file                            Address on file
29949469          CIFC ASSET MANAGEMENT LLC               875 3RD AVENUE                     24TH FLOOR                                                                       NEW YORK               NY           10022
29949470          CIFC FALCON 2020 LTD.                   71 FORT STREET                     PO BOX 500                                                                       GRAND CAYMAN                        KY1‐1106        CAYMAN ISLANDS

29949471          CIFC FUNDING 2013‐II, LTD.              QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                       GRAND CAYMAN                        KY1‐1102        CAYMAN ISLANDS




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29949472          CIFC FUNDING 2013‐III‐R, LTD.         QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                         GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS

29949473          CIFC FUNDING 2013‐I‐R, LTD.           QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                         GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS

29949474          CIFC FUNDING 2013‐IV, LTD.            QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                         GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS

29964871          CIFC FUNDING 2014, LTD.               QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                         GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS

29964872          CIFC FUNDING 2014‐III, LTD.           QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                         GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS

29964873          CIFC FUNDING 2014‐II‐R, LTD.          QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                         GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS

29964874          CIFC FUNDING 2014‐IV‐R, LTD.          QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                         GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS

29964875          CIFC FUNDING 2014‐V, LTD.             QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                         GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS

29964876          CIFC FUNDING 2015‐I, LTD.             QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                         GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS

29964877          CIFC FUNDING 2015‐IV, LTD.            QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                         GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS

29964878          CIFC FUNDING 2016‐I, LTD              QUEENSGATE HOUSE, SOUTH CHURCH ST   PO BOX 1093                                                                       GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS
29964879          CIFC FUNDING 2017‐II, LTD.            WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29964880          CIFC FUNDING 2017‐III, LTD.           WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29949475          CIFC FUNDING 2017‐IV, LTD.            WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29949476          CIFC FUNDING 2017‐V, LTD.             WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29949477          CIFC FUNDING 2018‐I, LTD.             WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29949478          CIFC FUNDING 2018‐II, LTD             WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29949479          CIFC FUNDING 2018‐III, LTD.           WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29949480          CIFC FUNDING 2018‐IV, LTD.            WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29949481          CIFC FUNDING 2018‐V, LTD.             WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29949482          CIFC FUNDING 2019‐I, LTD.             WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29949483          CIFC FUNDING 2019‐II, LTD.            WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29951574          CIFC FUNDING 2019‐III, LTD.           WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29951575          CIFC FUNDING 2019‐IV, LTD.            WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29951576          CIFC FUNDING 2019‐V, LTD.             WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29951577          CIFC FUNDING 2019‐VI, LTD.            WINDWARD 3, REGATTA OFFICE PARK     PO BOX 1350                                                                       GRAND CAYMAN                   KY1‐1108        CAYMAN ISLANDS
29951578          CIFC FUNDING 2020‐I, LTD.             71 FORT STREET                      PO BOX 500                                                                        GRAND CAYMAN                   KY1‐1106        CAYMAN ISLANDS
29951579          CIFC FUNDING 2020‐II, LTD             71 FORT STREET                      PO BOX 500                                                                        GRAND CAYMAN                   KY1‐1106        CAYMAN ISLANDS
29951580          CIFC FUNDING 2020‐III, LTD.           71 FORT STREET                      PO BOX 500                                                                        GRAND CAYMAN                   KY1‐1106        CAYMAN ISLANDS
29951581          CIFC FUNDING 2021‐I, LTD.             71 FORT STREET                      PO BOX 500                                                                        GRAND CAYMAN                   KY1‐1106        CAYMAN ISLANDS
29951582          CIFC FUNDING 2021‐II, LTD.            71 FORT STREET                      PO BOX 500                                                                        GRAND CAYMAN                   KY1‐1106        CAYMAN ISLANDS
29951583          CIFC FUNDING 2021‐III, LTD.           71 FORT STREET                      PO BOX 500                                                                        GRAND CAYMAN                   KY1‐1106        CAYMAN ISLANDS
29951584          CIFC FUNDING 2021‐IV, LTD.            71 FORT STREET                      PO BOX 500                                                                        GRAND CAYMAN                   KY1‐1106        CAYMAN ISLANDS
29949484          CIFC FUNDING 2021‐V, LTD              71 FORT STREET                      PO BOX 500                                                                        GRAND CAYMAN                   KY1‐1106        CAYMAN ISLANDS
29949485          CIFC FUNDING 2021‐VI, LTD.            71 FORT STREET                      PO BOX 500                                                                        GRAND CAYMAN                   KY1‐1106        CAYMAN ISLANDS

29949486          CIFC LOAN OPPORTUNITY FUND, LTD.      QUEENSGATE HOUSE, SOUTH CHURCH ST PO BOX 1093                                                                         GRAND CAYMAN                   KY1‐1102        CAYMAN ISLANDS
30395317          Name on file                          Address on file
30397351          Name on file                          Address on file
29913927          Name on file                          Address on file
29913928          Name on file                          Address on file
                  CINCINNATI & HAMILTON COUNTY PUBLIC
30209501          LIBRARY                               800 VINE ST.                                                                                                          CINCINNATI            OH       45202
30263139          Cindoco Wood Products Co.             Melissa Hacker, President           135 Oak Street                                                                    Mount Orab            OH       45154
29913956          CINDY HARRIS                          Address on file
29913968          CINDY KALAR                           Address on file
30223084          CINDY M. CARROLL                      Address on file
29913981          CINDY MORELAND                        Address on file
29956420          CINDY TOLCHIN                         Address on file
29956423          CINDY WILLINGHAM                      Address on file
29913988          Name on file                          Address on file
30223085          CINNAMON JOE STUDIO LLC               16 BALLYCLOSH LANE                                                                                                    CULLYBACKEY                    BT43 5PG        IRELAND




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  ADDRESS ID                           NAME                               ADDRESS 1                            ADDRESS 2                        ADDRESS 3                 ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
29913990          CINTAS CORP                                LOCATION #256                        PO BOX 630910                                                                       CINCINNATI             OH           45263‐0910
29913991          CINTAS CORP NO 2 OFC                       CINTAS CORP NO 2                     PO BOX 630803                                                                       CINCINNATI             OH           45263‐0803
29913992          CINTAS CORPORATION                         LOC 310                              PO BOX 630910                                                                       CINCINNATI             OH           45263‐0910
29913993          CINTAS CORPORATION #621                    PO BOX 29059                                                                                                             PHOENIX                AZ           85039
30353695          Name on file                               Address on file
29913997          CION ANDERSON                              Address on file
30353697          Name on file                               Address on file

29948795          CIRCUIT COURT FOR ANNE ARUNDEL COUNTY      LICENSE DEPT.                        8 CHURCH CIRCLE                                                                     ANNAPOLIS              MD           21401
29913999          CIRCUIT COURT, ANNE ARUNDEL CO.            LICENSE DEPT.                        8 CHURCH CIRCLE                                                                     ANNAPOLIS              MD           21401
29914000          CIRCUIT COURT‐ST MARY'S CO                 COURTHOUSE PO BOX 676                                                                                                    LEONARDTOWN            MD           20650
29914001          Name on file                               Address on file
29914005          CIRILIA ROSE ROYALTY                       2107 N 80TH ST.                                                                                                          SEATTLE                WA           98103
29914007          CISCO AIR SYSTEMS INC                      214 27TH ST                                                                                                              SACRAMENTO             CA           95816
29914008          CISCO SYSTEMS CAPITAL CORP                 PO BOX 825736                                                                                                            PHILADELPHIA           PA           19182‐5736
29914009          CISION US INC                              PO BOX 417215                                                                                                            BOSTON                 MA           02241‐7215
29914011          CITIZENS ENERGY GROUP/7056                 PO BOX 7056                                                                                                              INDIANAPOLIS           IN           46207‐7056
30386094          Name on file                               Address on file
29914017          CITY & COUNTY OF BUTTE‐SILVER BOW          P.O. BOX 667                                                                                                             BUTTE                  MT           59703‐0667
29914019          CITY AND BOROUGH OF JUNEAU                 155 S. SEWARD ST.                                                                                                        JUNEAU                 AK           99801
29914020          CITY AND BOROUGH OF JUNEAU                 155 SOUTH SEWARD ST                                                                                                      JUNEAU                 AK           99801‐1397
29914022          CITY AND COUNTY OF DENVER                  144 W COLFAX                         PO BOX 17420                                                                        DENVER                 CO           80217‐0420

29914021          CITY AND COUNTY OF DENVER                  DEPT OF FINANCE, TREASURY DIVISION   PO BOX 660860                                                                       DALLAS                 TX           75266‐0860

                  CITY AND COUNTY OF DENVER, DEPARTMENT
29914023          OF FINANCE, TREASURY DIVISION              P.O. BOX 660860                                                                                                          DALLAS                 TX           75266‐0860
29914024          CITY CLERK DUNBAR WV                       ATTN: BUSINESS LICENSE DEPT          PO BOX 216                                                                          DUNBAR                 WV           25064‐0216
29949487          CITY NATIONAL ROCHDALE FIXED INCOME        1 MAYNARD DRIVE                      SUITE 3200                                                                          PARK RIDGE             NJ           07656
29914025          CITY OF ABILENE                            PO BOX 141596                                                                                                            IRVING                 TX           75014‐1596
29914026          CITY OF ABILENE, TX                        PO BOX 3479                                                                                                              ABILENE                TX           79604‐3479
29914028          CITY OF AKRON                              1 CASCADE PLAZA                      SUITE 11                                                                            AKRON                  OH           44308‐1100
29914029          CITY OF AKRON                              INCOME TAX DIVISION                  1 CASCADE PLAZA, STE. 100                                                           AKRON                  OH           44308‐1161
29914030          CITY OF AKRON‐UTILITIES BUSINESS OFFICE    PO BOX 3674                                                                                                              AKRON                  OH           44309‐3674
29914032          CITY OF ALBANY                             PO BOX 447 SUITE 150                                                                                                     ALBANY                 GA           31702‐0447
29914033          CITY OF ALBUQUERQUE                        P.O. BOX 25700                                                                                                           ALBUQUERQUE            NM           87125
29914035          CITY OF ALBUQUERQUE NM                     C/O BERNALILLO COUNTY TREASURER      P.O. BOX 27800                                                                      ALBUQUERQUE            NM           87125‐7800
29914036          CITY OF ALEXANDRIA                         BUSINESS OFFICE                      PO BOX 71                                                                           ALEXANDRIA             LA           71309
29914037          CITY OF ALEXANDRIA, LA                     PO BOX 1925                                                                                                              LAKE CHARLES           LA           70602‐1925
29914039          CITY OF ALHAMBRA                           111 SOUTH FIRST STREET                                                                                                   ALHAMBRA               CA           91801‐3796
29914040          CITY OF ALHAMBRA, CA                       PO BOX 6304                                                                                                              ALHAMBRA               CA           91801
29914042          CITY OF ALLEN PARK                         16850 SOUTHFIELD RD                                                                                                      ALLEN PARK             MI           48101
29952621          CITY OF ALLEN PARK ‐ CITY CLERK            16850 SOUTHFIELD RD                                                                                                      ALLEN PARK             MI           48101
29914043          CITY OF ALLEN PARK ‐ WATER                 PO BOX 554868                                                                                                            DETROIT                MI           48255‐4868

29956426          CITY OF ALPHARETTA                         FINANCE DEPT TAX                     2400 LAKEVIEW PARKWAY STE 175                                                       ALPHARETTA             GA           30004
29956425          CITY OF ALPHARETTA                         FINANCE DEPT‐TAX                     PO BOX 117022                                                                       ATLANTA                GA           30368‐7022
                  CITY OF ALPHARETTA ‐ BUSINESS OCCUPATION
29952623          TAX                                        FINANCE DEPT‐TAX                     PO BOX 117022                                                                       ATLANTA                GA           30368‐7022

29956427          CITY OF ALPHARETTA GA PROPERTY TAX OFFICE C/O ALPHARETTA CITY HALL              2 PARK PLAZA                                                                        ALPHARETTA             GA           30009
29956428          CITY OF ALTAMONTE SPRINGS                 225 NEWBURYPORT AVE                                                                                                       ALTAMONTE SPRINGS      FL           32701
29956430          CITY OF ANDERSON                          601 SOUTH MAIN ST                                                                                                         ANDERSON               SC           29624

29952626          CITY OF ANDERSON BUSINESS LICENSE OFFICE   601 SOUTH MAIN ST                                                                                                        ANDERSON               SC           29624
29956432          CITY OF ANNISTON                           PO BOX 935145                                                                                                            ATLANTA                GA           31193‐5145
29956433          CITY OF ARLINGTON                          18204 59TH AVE NE                                                                                                        ARLINGTON              WA           98223
29956434          CITY OF ARLINGTON                          FIRE PREVENTION OFFICE               PO BOX 90231                                                                        ARLINGTON              TX           76004
29914044          CITY OF ASHEVILLE, NC                      70 COURT PLAZA                                                                                                           ASHEVILLE              NC           28802
29956435          CITY OF ASHEVILLE, NC                      PO BOX 733                                                                                                               ASHEVILLE              NC           28802
29914045          CITY OF ASHLAND                            PO BOX 1839                                                                                                              ASHLAND                KY           41105
29914046          CITY OF ASHLAND, DEPT. OF FINANCE          P.O. BOX 1839                                                                                                            ASHLAND                KY           41105‐1839
29914047          CITY OF ASHLAND, KY                        P.O. BOX 1839                                                                                                            ASHLAND                KY           41105




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  ADDRESS ID                           NAME                              ADDRESS 1                           ADDRESS 2                        ADDRESS 3                 ADDRESS 4                      CITY    STATE     POSTAL CODE         COUNTRY
29914049          CITY OF ASHTABULA                         MUNICIPAL BLDG., INCOME TAX DEPT.   4717 MAIN AVE.                                                                      ASHTABULA                 OH       44004
29914050          CITY OF ATHENS GA PROPERTY TAX OFFICE     P.O. BOX 1868                                                                                                           ATHENS                    GA       30603

29914051          CITY OF ATHENS, INCOME TAX DEPARTMENT     8 EAST WASHINGTON ST.                                                                                                   ATHENS                    OH       45701‐2444
29914052          CITY OF AUBURN                            TAX COLLECTOR                       60 COURT ST STE 154                                                                 AUBURN                    ME       04210
29914053          CITY OF AUBURN HILLS                      1827 N SQUIRREL RD                                                                                                      AUBURN HILLS              MI       48326
29914054          CITY OF AUBURN HILLS LOCKBOX, MI          PO BOX 772120                                                                                                           DETROIT                   MI       48277‐2120
29956437          CITY OF AURORA                            15151 E ALAMEDA PWY                                                                                                     AURORA                    CO       80012
29956438          CITY OF AURORA TAX & LICENSING            PO BOX 913200                                                                                                           DENVER                    CO       80291‐3200
29956439          CITY OF AURORA, CO                        TAX & LICENSING DIV                 PO BOX 913200                                                                       DENVER                    CO       80291‐3200
30291695          CITY OF AUSTIN UTILITIES                  PO BOX 2267                                                                                                             AUSTIN                    TX       78783‐2267
29948813          CITY OF AUSTIN, MN                        500 FOURTH AVENUE NE                                                                                                    AUSTIN                    MN       55912
29956440          CITY OF AUSTIN, TX                        PO BOX 2267                                                                                                             AUSTIN                    TX       78783‐2267
30223086          CITY OF AVONDALE                          11465 W CIVIC CENTER DR #270                                                                                            AVONDALE                  AZ       85323

29964731          CITY OF AVONDALE ‐ TAX & LICENSING UNIT   SALES TAX                           11465 W CIVIC CENTER DR #270                                                        AVONDALE                  AZ       85323
29956442          CITY OF AVONDALE, AZ                      PO BOX 29650                                                                                                            PHOENIX                   AZ       85038‐9650
29964732          CITY OF BABYLON                           200 E SUNRISE HWY                                                                                                       LINDENHURST               NY       11757
29956444          CITY OF BAKERSFIELD                       PO BOX 2057                                                                                                             BAKERSFIELD               CA       93303
29964734          CITY OF BALLWIN                           14811 MANCHESTER RD                                                                                                     BALLWIN                   MO       63011
29956445          CITY OF BANGOR                            PERSONAL PROPERTY TAX               73 HARLOW STREET                                                                    BANGOR                    ME       04401
29956446          CITY OF BANGOR, ME                        73 HARLOW STREET                                                                                                        BANGOR                    ME       04401‐5132
29951449          CITY OF BATAVIA WATER & SEWER ‐ NY        ONE BATAVIA CITY CENTRE                                                                                                 BATAVIA                   NY       14020
29956447          CITY OF BATAVIA WATER & SEWER ‐ NY        PO BOX 5211                                                                                                             BINGHAMTON                NY       13902‐5211
29956448          CITY OF BATON ROUGE                       PARISH‐DEPT OF FINANCE              REVENUE DIV. PO BOX 2590                                                            BATON ROUGE               LA       70821‐2590

                  CITY OF BATON ROUGE ‐ PARISH OF EAST BATON
29914055          ROUGE, DEPT OF FINANCE ‐ REVENUE DIVISION PO BOX 2590                                                                                                             BATON ROUGE               LA       70821‐2590
29914056          CITY OF BATTLE CREEK                       CITY TREASURER                     PO BOX 239                                                                          BATTLE CREEK              MI       49016‐0239
29914057          CITY OF BATTLE CREEK, MI                   P.O. BOX 235                                                                                                           BATTLE CREEK              MI       49016
29914061          CITY OF BEAUMONT, TX                       P.O. BOX 521                                                                                                           BEAUMONT                  TX       77704
29914063          CITY OF BEAVER DAM TREASURER               205 SOUTH LINCOLN AVENUE                                                                                               BEAVER DAM                WI       53916
29914064          CITY OF BEAVERTON                          BUSINESS LICENSE                   4755 SW GRIFFITH DRIVE                                                              BEAVERTON                 OR       97076
29914065          CITY OF BEAVERTON                          POLICE DEPT‐ ALARM UNIT            P.O. BOX 4755                                                                       BEAVERTON                 OR       97076‐4755
29964739          CITY OF BEAVERTON, FINANCE DEPT            BUSINESS LICENSE                   4755 SW GRIFFITH DRIVE                                                              BEAVERTON                 OR       97076
29953512          CITY OF BECKLEY                            RECORDER TREASURERS OFFICE         PO BOX 2514                                                                         BECKLEY                   WV       25802‐2514
29953514          CITY OF BELLEVUE                           ALARMS                             PO BOX 142465                                                                       IRVING                    TX       75014
29953513          CITY OF BELLEVUE                           LOCKBOX                            PO BOX 34372                                                                        SEATTLE                   WA       98124‐1372
29953515          CITY OF BELLINGHAM                         FINANCE DEPARTMENT                 210 LOTTIE STREET                                                                   BELLINGHAM                WA       98225
29964742          CITY OF BELLINGHAM ‐ FINANCE DEPT          FINANCE DEPARTMENT                 210 LOTTIE STREET                                                                   BELLINGHAM                WA       98225
29953516          Name on file                               Address on file

30209505          CITY OF BELMONT ‐ RUTH FAULKNER LIBRARY   213 WRIGHT ST                                                                                                           CLOVERDALE, WA                     6105            AUSTRALIA
29948814          CITY OF BELTON                            BUSINESS LICENSE                    506 MAIN STREET                                                                     BELTON                    MO       64012
29953517          CITY OF BELTON, MO                        BUSINESS LICENSE                    506 MAIN STREET                                                                     BELTON                    MO       64012
29953519          CITY OF BEND                              710 WALL STREET                                                                                                         BEND                      OR       97709
29953520          CITY OF BEND, OR/34533                    PO BOX 34533                                                                                                            SEATTLE                   WA       98124‐1533
29953522          CITY OF BIG RAPIDS                        226 N MICHIGAN AVENUE                                                                                                   BIG RAPIDS                MI       49307
29953523          CITY OF BIG RAPIDS                        INCOME TAX PROCESSING CENTER        PO BOX 536                                                                          EATON RAPIDS              MI       48827‐0536

29953524          CITY OF BIG RAPIDS, INCOME TAX DEPARTMENT 226 N MICHIGAN AVE                                                                                                      BIG RAPIDS                MI       49307
29914066          CITY OF BILOXI                            PRIVILEGE TAX LICENSE               PO BOX 508                                                                          BILOXI                    MS       39533
29948818          CITY OF BILOXI ‐ LICENSE ADMINISTRATOR    PRIVILEGE TAX LICENSE               PO BOX 508                                                                          BILOXI                    MS       39533
29914067          CITY OF BISMARCK                          PO BOX 5503                                                                                                             BISMARCK                  ND       58506
29914068          CITY OF BISMARCK, ND                      PO BOX 5555                                                                                                             BISMARCK                  ND       58506‐5555
29914070          CITY OF BLOOMFIELD HILLS MI               C/O CITY TREASURER                  45 E LONG LAKE ROAD                                                                 BLOOMFIELD HILLS          MI       48304
29914071          CITY OF BLOOMINGTON ‐ 801214              P.O. BOX 3157                                                                                                           BLOOMINGTON               IL       61702‐5216
29914073          CITY OF BLOOMINGTON UTILITIES, IN         P.O. BOX 2500                                                                                                           BLOOMINGTON               IN       47402
                                                            C/O BOARDMAN TOWNSHIP
29914075          CITY OF BOARDMAN OH                       GOVERNMENT CENTER                   8299 MARKET STREET                                                                  BOARDMAN                  OH       44512
29914076          CITY OF BOULDER COLORADO                  SALES & USE TAX DIVISION            PO BOX 791                                                                          BOULDER                   CO       80306‐0791
29956449          CITY OF BOULDER FINANCE DEPARTMENT        DEPT 1128                                                                                                               DENVER                    CO       80263‐0001
30209506          CITY OF BOULDER PUBLIC LIBRARY            1001 ARAPAHOE AVE                                                                                                       BOULDER                   CO       80102




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  ADDRESS ID                           NAME                                ADDRESS 1                        ADDRESS 2                        ADDRESS 3                 ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY
29956450          CITY OF BOYNTON BEACH                       PO BOX 310                                                                                                           BOYNTON BEACH            FL           33425‐0310
29956452          CITY OF BOYNTON BEACH, FL                   100 E OCEAN AVE                                                                                                      BOYNTON BEACH            FL           33435
29956451          CITY OF BOYNTON BEACH, FL                   PO BOX 310                                                                                                           BOYNTON BEACH            FL           33425‐0310
29956453          CITY OF BOZEMAN                             PO BOX 1230                                                                                                          BOZEMAN                  MT           59771‐1230
29956454          CITY OF BOZEMAN, MT                         P.O. BOX 1230                                                                                                        BOZEMAN                  MT           59771‐1230
29956456          CITY OF BRIDGEPORT                          BUSINESS TAX DEPT                 PO BOX 1310                                                                        BRIDGEPORT               WV           26330‐6310
29956457          CITY OF BRIGHTON                            200 NORTH FIRST STREET                                                                                               BRIGHTON                 MI           48116
29964745          CITY OF BROCKTON                            45 SCHOOL STREET                                                                                                     BROCKTON                 MA           02301
29956459          CITY OF BROCKTON                            PO BOX 1000                                                                                                          BROCKTON                 MA           02303‐1000
29956460          CITY OF BROOKFIELD                          2000 N CALHOUN RD                 PO BOX 1018                                                                        BROOKFIELD               WI           53005
29956461          CITY OF BROOKFIELD, WI                      2000 N CALHOUN RD                                                                                                    BROOKFIELD               WI           53005‐5095
29914078          CITY OF BRUNSWICK                           INCOME TAX DEPARTMENT             PO BOX 0816                                                                        BRUNSWICK                OH           44212
29914077          CITY OF BRUNSWICK                           PO BOX 816                                                                                                           BRUNSWICK                OH           44212‐0816
29914079          CITY OF BUENA PARK                          6640 BEACH BLVD                                                                                                      BUENA PARK               CA           90622
29964748          CITY OF BUENA PARK ‐ FINANCE DEPT           6640 BEACH BLVD                                                                                                      BUENA PARK               CA           90622
29914080          CITY OF BUENA PARK, CA                      P.O. BOX 5009                                                                                                        BUENA PARK               CA           90622‐5009
29914082          CITY OF BULLHEAD CITY                       2355 TRANE ROAD                                                                                                      BULLHEAD CITY            AZ           86439
                  CITY OF BULLHEAD CITY ‐ BUSINESS LICENSE
29964749          DEPT                                        2355 TRANE ROAD                                                                                                      BULLHEAD CITY            AZ           86439
29914083          CITY OF BULLHEAD CITY, AZ                   PO BOX 37793                                                                                                         BOONE                    IA           50037‐0793
29914085          CITY OF BURLINGTON                          400 WASHINGTON                                                                                                       BURLINGTON               IA           52601
29914086          CITY OF BURTON                              4303 S CENTER ROAD                                                                                                   BURTON                   MI           48519
30209507          CITY OF CAMBRIDGE                           449 BROADWAY                                                                                                         CAMBRIDGE                MA           02138
29914087          Name on file                                Address on file
29914088          CITY OF CAMPBELLSVILLE                      110 SOUTH COLUMBIA AVE STE B                                                                                         CAMPBELLSVILLE           KY           42718

29956462          CITY OF CAMPBELLSVILLE, OCCUPATIONAL TAX    203 N. COURT ST.                  SUITE 10                                                                           CAMPBELLSVILLE           KY           42718
29956464          CITY OF CARBONDALE, IL                      P.O. BOX 2947                                                                                                        CARBONDALE               IL           62902‐2947
30210797          CITY OF CARLSBAD                            1775 DOVE LANE                                                                                                       CARLSBAD                 CA           92011
29956465          CITY OF CASA GRANDE                         510 E FLORENCE BLVD                                                                                                  CASA GRANDE              AZ           85122‐4100
29964753          CITY OF CASA GRANDE ‐ FINANCE DEPT          510 E FLORENCE BLVD                                                                                                  CASA GRANDE              AZ           85122‐4100
29956466          CITY OF CEDAR RAPIDS                        CITY TREASURER'S OFFICE           PO BOX 2148                                                                        CEDAR RAPIDS             IA           52406
29956467          CITY OF CENTENNIAL                          PO BOX 17383                                                                                                         DENVER                   CO           80217‐0383
29956468          CITY OF CENTENNIAL REMITTANCE CENTER        PO BOX 17383                                                                                                         DENVER                   CO           80217‐0383
29956469          CITY OF CHAMPAIGN                           ALARMS                            PO BOX 142375                                                                      IRVING                   TX           75014‐2375
29956470          CITY OF CHARLESTON                          PO BOX 22009                                                                                                         CHARLESTON               SC           29413
29956471          CITY OF CHARLOTTE                           PO BOX 31032                                                                                                         CHARLOTTE                NC           28231‐1032
29956472          CITY OF CHARLOTTESVILLE, VA                 P.O. BOX 591                                                                                                         CHARLOTTESVILLE          VA           22902
30356890          City of Chattanooga                         100 E. 11th Street                Suite 200                                                                          Chattanooga              TN           37402
29914089          CITY OF CHATTANOOGA, TN                     PO BOX 591                                                                                                           CHATTANOOGA              TN           37401‐0591
29914091          CITY OF CHESAPEAKE                          BARBARA O CARRAWAY TREASURER      PO BOX 16495                                                                       CHESAPEAKE               VA           23328‐6495
                  CITY OF CHESAPEAKE ‐ COMMISSIONER OF THE
29948826          REVENUE                                     PO BOX 15245                                                                                                         CHESAPEAKE               VA           23328‐5245
29914092          CITY OF CHESAPEAKE‐TREASURER                PO BOX 15245                                                                                                         CHESAPEAKE               VA           23328‐5245
29914095          CITY OF CHICAGO                             DEPT OF ADMINISTRATIVE HEARINGS   PO BOX 71429                                                                       CHICAGO                  IL           60694‐1429
29914093          CITY OF CHICAGO                             DEPT OF FINANCE                   121 N LASALLE ST., CITY HALL                                                       CHICAGO                  IL           60602
29914096          CITY OF CHICAGO                             DEPT OF REVENUE                   1618 W CHICAGO                                                                     CHICAGO                  IL           60622
29914094          CITY OF CHICAGO                             HANSEN IPI                        PO BOX 95242                                                                       CHICAGO                  IL           60694‐5242
29948828          CITY OF CHICAGO ‐ DEPT OF FINANCE           DEPT OF FINANCE                   121 N LASALLE ST., CITY HALL                                                       CHICAGO                  IL           60602
29914097          CITY OF CHICO                               FINANCE OFFICE                    411 MAIN STREET                                                                    CHICO                    CA           95926
29948829          CITY OF CHICO BUSINESS LICENSING            FINANCE OFFICE                    411 MAIN STREET                                                                    CHICO                    CA           95926
29914098          CITY OF CHICO, CA                           PO BOX 45038                                                                                                         SAN FRANCISCO            CA           94145‐0038
29956474          Name on file                                Address on file
                  CITY OF CHILLICOTHE, INCOME TAX
29956475          DEPARTMENT                                  P.O. BOX 457                                                                                                         CHILLICOTHE              OH           45601‐0457
29956476          CITY OF CHINO                               BUSINESS LICENSE                  P.O. BOX 667                                                                       CHINO                    CA           91708‐0667
29956477          CITY OF CHINO                               FINANCE DEPT                      PO BOX 667                                                                         CHINO                    CA           91708‐0667

29948831          CITY OF CHINO ‐ BUSINESS LICENSE DIVISION   BUSINESS LICENSE                  P.O. BOX 667                                                                       CHINO                    CA           91708‐0667
29956478          CITY OF CHINO, CA                           P.O. BOX 667                                                                                                         CHINO                    CA           91708‐0667

29956480          CITY OF CINCINNATI, INCOME TAX DIVISION     805 CENTRAL AVENUE                SUITE 600                                                                          CINCINNATI               OH           45202‐5799
29956481          CITY OF CITRUS HEIGHTS                      6237 FOUNTAIN SQUARE DR                                                                                              CITRUS HEIGHTS           CA           95621




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                                                                                                                     Master Mailing First Class Mail Service List
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  ADDRESS ID                           NAME                                    ADDRESS 1                 ADDRESS 2                        ADDRESS 3                 ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
29956482          CITY OF CLARKSTON, WA                         829 FIFTH STREET                                                                                                CLARKSTON                 WA           99403
29956483          CITY OF CLARKSVILLE                           PO BOX 928                                                                                                      CLARKSVILLE               TN           37041‐0928
29956484          CITY OF CLEVELAND DIVISION OF WATER           P.O. BOX 94540                                                                                                  CLEVELAND                 OH           44101‐4540
29956486          CITY OF CLOVIS                                1033 FIFTH STREET                                                                                               CLOVIS                    CA           93612

29948835          CITY OF CLOVIS ‐ BUSINESS REGISTRATION DEPT   1033 FIFTH STREET                                                                                               CLOVIS                    CA           93612
29914100          CITY OF CLOVIS, CA                            PO BOX 3007                                                                                                     CLOVIS                    CA           93613‐3007
29953617          CITY OF COLONIAL HEIGHTS                      PO BOX 3401                                                                                                     COLONIAL HEIGHTS          VA           23834‐9001
29914102          CITY OF COLONIAL HEIGHTS TREAS                PO BOX 3401                                                                                                     COLONIAL HEIGHTS          VA           23834‐9001
29914104          CITY OF COLONIAL HEIGHTS, VA                  ATTN: UTILITY DEPARTMENT      201 JAMES AVENUE                                                                  COLONIAL HEIGHTS          VA           23834
29914103          CITY OF COLONIAL HEIGHTS, VA                  P.O. BOX 3401                                                                                                   COLONIAL HEIGHTS          VA           23834‐9001
29914105          CITY OF COLORADO SPRINGS                      DEPT 2408                                                                                                       DENVER                    CO           80256‐0001
29914107          CITY OF COLORADO SPRINGS                      PO BOX 1575                                                                                                     COLORADO SPRINGS          CO           80901
29914106          CITY OF COLORADO SPRINGS                      SALES & USE TAX               DEPT 2408                                                                         DENVER                    CO           80256
29914108          CITY OF COLUMBIA                              BUSINESS LICENSE OFFICE       PO BOX 6015                                                                       COLUMBIA                  MO           65205

29953621          CITY OF COLUMBIA ‐ BUSINESS LICENSE DIVISION BUSINESS LICENSE OFFICE        PO BOX 6015                                                                       COLUMBIA                  MO           65205
29914109          CITY OF COLUMBIA, MO                         P.O. BOX 1676                                                                                                    COLUMBIA                  MO           65205
29914111          CITY OF COLUMBIA, SC ‐ WATER                 PO BOX 7997                                                                                                      COLUMBIA                  SC           29202‐7997
30223087          CITY OF COLUMBUS                             WEIGHTS AND MEASURES           750 PIEDMONT RD                                                                   COLUMBUS                  OH           43224
29953622          CITY OF COLUMBUS, TREASURER                  WEIGHTS AND MEASURES           750 PIEDMONT RD                                                                   COLUMBUS                  OH           43224
30209513          CITY OF COMMERCE PUBLIC LIBRARY              5655 JILLSON ST.                                                                                                 COMMERCE                  CA           90040
29953623          CITY OF CONCORD                              PLANNING DIVISION              1950 PARKSIDE DR                                                                  CONCORD                   CA           94519
29914115          CITY OF CONCORD NH                           HEALTH SERVICES                37 GREEN STREET                                                                   CONCORD                   NH           03301
29914116          CITY OF CONCORD, CALIFORNIA                  PLANNING DIVISION              1950 PARKSIDE DR                                                                  CONCORD                   CA           94519
29914118          CITY OF CONYERS                              PO DRAWER 1259                                                                                                   CONYERS                   GA           30012

29953626          CITY OF CONYERS ‐ BILLING AND COLLECTIONS     PO DRAWER 1259                                                                                                  CONYERS                   GA           30012
29914119          CITY OF COON RAPIDS, MN                       11155 ROBINSON DRIVE                                                                                            COON RAPIDS               MN           55433
29914120          CITY OF CORBIN                                PO BOX 1343                                                                                                     CORBIN                    KY           40702
29914121          CITY OF CORONA                                BUSINESS LICENSE DIVISION     400 S VICENTIA AVE                                                                CORONA                    CA           92878
29914122          CITY OF CORONA, CA                            PO BOX 950                                                                                                      CORONA                    CA           92878
30185130          CITY OF CORPUS CHRISTI                        ADELITA CAVADA                ATTN: BANKRUPTCY ATTORNEY        1201 LEOPARD                                     Corpus Christi            TX           78401
29914124          CITY OF CORPUS CHRISTI                        ALARM PERMITS                 PO BOX 33940                                                                      SAN ANTONIO               TX           78265‐3940
29914125          CITY OF CORPUS CHRISTI/659880                 PO BOX 659880                                                                                                   SAN ANTONIO               TX           78265‐9143
29914127          CITY OF CORTLAND                              25 COURT STREET                                                                                                 CORTLAND                  NY           13045
29914128          CITY OF CORVALLIS, OR                         P.O. BOX 3015                                                                                                   CORVALLIS                 OR           97339‐3015
29914130          CITY OF COUNTRYSIDE                           BUSINESS LICENSE REGIST 622   5550 EAST AVE                                                                     COUNTRYSIDE               IL           60525
29948836          CITY OF COUNTRYSIDE CITY CLERK                BUSINESS LICENSE REGIST 622   5550 EAST AVE                                                                     COUNTRYSIDE               IL           60525
29914132          CITY OF COVINA                                125 EAST COLLEGE STREET                                                                                         COVINA                    CA           91723‐2199
29914133          CITY OF COVINA‐ALARM PERMIT                   PO BOX 141565                                                                                                   IRVING                    TX           75014
29914134          CITY OF CRYSTAL CITY                          130 MISSISSIPPI AVENUE                                                                                          CRYSTAL CITY              MO           63019
29948839          CITY OF CUDAHY HEALTH DEPT                    5050 SOUTH LAKE DRIVE                                                                                           CUDAHY                    WI           53110
29914135          CITY OF CUDAHY TREASURER                      5050 SOUTH LAKE DRIVE                                                                                           CUDAHY                    WI           53110
29914137          CITY OF CUMMING, GA                           100 MAIN STREET                                                                                                 CUMMING                   GA           30040
29914136          CITY OF CUMMING, GA                           P.O. BOX 669                                                                                                    CUMMING                   GA           30028‐0669
29914138          CITY OF CUPERTINO                             10300 TORRE AVENUE                                                                                              CUPERTINO                 CA           95014
29948841          CITY OF CUPERTINO ‐ FINANCE DEPT              10300 TORRE AVENUE                                                                                              CUPERTINO                 CA           95014
29914141          CITY OF DALY CITY                             ACCOUNTS RECEIVABLE           333 90TH STREET                                                                   DALY CITY                 CA           94015
29914140          CITY OF DALY CITY                             PO BOX 27947                                                                                                    FRESNO                    CA           93729‐7947
29914142          CITY OF DARIEN                                1702 PLAINFIELD ROAD                                                                                            DARIEN                    IL           60561
29914143          CITY OF DAVENPORT                             226 WEST FOURTH ST                                                                                              DAVENPORT                 IA           52801
29914145          CITY OF DAVENPORT, IA                         226 W 4TH ST                                                                                                    DAVENPORT                 IA           52801
29914144          CITY OF DAVENPORT, IA                         P.O. BOX 8003                                                                                                   DAVENPORT                 IA           52808‐8003
29914146          CITY OF DAYTONA BEACH                         OCCUPATIONAL LICENSE          PO BOX 2451                                                                       DAYTONA BEACH             FL           32115
                  CITY OF DAYTONA BEACH ‐ PERMITS &
29948845          LICENSING DIV                                 OCCUPATIONAL LICENSE          PO BOX 2451                                                                       DAYTONA BEACH             FL           32115
29914147          CITY OF DAYTONA BEACH, FL                     P.O. BOX 2455                                                                                                   DAYTONA BEACH             FL           32115‐2455
29914149          CITY OF DECATUR, IL                           1 GARY K. ANDERSON PLAZA                                                                                        DECATUR                   IL           62523

29914150          CITY OF DEFIANCE, INCOME TAX DEPARTMENT       P.O. BOX 669                                                                                                    DEFIANCE                  OH           43512
29914151          CITY OF DEFIANCE, OH                          PO BOX 425                                                                                                      DEFIANCE                  OH           43512‐0425
30217854          City of Denton, Denton Municipal Utilities    601 E. Hickory St                                                                                               Denton                    TX           76201




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29914153          CITY OF DENTON, TX                         PO BOX 660150                                                                                                            DALLAS                    TX           75266‐0150
29914155          CITY OF DOTHAN                             BUSINESS LICENSE                     PO BOX 2128, RM 315                                                                 DOTHAN                    AL           36302
29948847          CITY OF DOTHAN ‐ LICENSE DIVISION          BUSINESS LICENSE                     PO BOX 2128, RM 315                                                                 DOTHAN                    AL           36302
29914156          CITY OF DOUGLASVILLE                       PO BOX 219                                                                                                               DOUGLASVILLE              GA           30133
29914157          CITY OF DOVER                              PO BOX 475 DEPT INSPECTOR                                                                                                DOVER                     DE           19903
29952389          CITY OF DOVER ‐ DEPT OF INSPECTIONS        PO BOX 475 DEPT INSPECTOR                                                                                                DOVER                     DE           19903
29914158          CITY OF DOVER UTILITY                      PO BOX 15040                                                                                                             WILMINGTON                DE           19886‐5040
29951709          CITY OF DUBLIN                             100 CIVIC PLAZA                                                                                                          DUBLIN                    CA           94568

29952390          CITY OF DUBLIN ‐ FINANCE/ADMIN SERVICES    100 CIVIC PLAZA                                                                                                          DUBLIN                    CA           94568
29951710          CITY OF DUBUQUE, IA                        P.O. BOX 1063                                                                                                            DUBUQUE                   IA           52004‐1063
29951712          CITY OF DULUTH COMFORT SYSTEMS             PO BOX 860643                                                                                                            MINNEAPOLIS               MN           55486‐0643
29951714          CITY OF DUNBAR                             CITY CLERK‐TREASURER                 PO BOX 483                                                                          DUNBAR                    WV           25064‐0483
29952392          CITY OF DUNBAR ‐ CLERK'S OFFICE            ATTN: BUSINESS LICENSE DEPT          PO BOX 216                                                                          DUNBAR                    WV           25064‐0216
29951715          CITY OF DUNBAR, WV                         P.O. BOX 483                                                                                                             DUNBAR                    WV           25064‐0216
29951717          CITY OF DURHAM FIRE DEPT                   C/O FIRE RECOVERY USA                PO BOX 935667                                                                       ATLANTA                   GA           31193‐5667
29951719          CITY OF DURHAM, NC (SEWER/WATER)           101 CITY HALL PLAZA                                                                                                      DURHAM                    NC           27701
29951718          CITY OF DURHAM, NC (SEWER/WATER)           PO BOX 580520                                                                                                            CHARLOTTE                 NC           28258‐0520
29951720          CITY OF EAU CLAIRE                         PO BOX 909                                                                                                               EAU CLAIRE                WI           54702
29914160          CITY OF EAU CLAIRE, WI                     203 S FARWELL ST                                                                                                         EAU CLAIRE                WI           54701
29951721          CITY OF EAU CLAIRE, WI                     PO BOX 1087                                                                                                              EAU CLAIRE                WI           54702‐1087
29914161          CITY OF EL CAJON                           BUSINESS LICENSE DIVISION            200 EAST MAIN STREET                                                                EL CAJON                  CA           92020
29952393          CITY OF EL CAJON ‐ BUSINESS LICENSE        BUSINESS LICENSE DIVISION            200 EAST MAIN STREET                                                                EL CAJON                  CA           92020
29914162          CITY OF EL CERRITO                         FINANCIAL SERVICES DIV               10890 SAN PABLO AVE                                                                 EL CERRITO                CA           94530‐2392
29952394          CITY OF EL CERRITO ‐ FINANCE DEPT ‐ BL     FINANCIAL SERVICES DIV               10890 SAN PABLO AVE                                                                 EL CERRITO                CA           94530‐2392
30164019          CITY OF EL PASO                            PO BOX 2992                                                                                                              EL PASO                   TX           79999‐2992
29914163          CITY OF ELIZABETHTOWN                      DIRECTOR OF FINANCE                  PO BOX 550                                                                          ELIZABETHTOWN             KY           42702
                  CITY OF ELIZABETHTOWN, DIRECTOR OF
29914164          FINANCE                                    200 W. DIXIE AVE                     3RD FLOOR OF CITY HALL             PO BOX 550                                       ELIZABETHTOWN             KY           42702‐0550
29914165          CITY OF ELK GROVE                          8400 LAGUNA PALMS WAY                                                                                                    ELK GROVE                 CA           95758
29914166          CITY OF ELKO                               1751 COLLEGE AVENUE                                                                                                      ELKO                      NV           89801
29914167          CITY OF ELYRIA ‐ ELYRIA PUBLIC UTILITIES   PO BOX 94594                                                                                                             CLEVELAND                 OH           44101‐4594
29952399          CITY OF ESCONDIDO                          BUSINESS LICENSE DEPARTMENT          201 NORTH BROADWAY                                                                  ESCONDIDO                 CA           92025
29914169          CITY OF ESSEXVILLE MI                      C/O CITY TREASURER                   DAWN HODER                         1107 WOODSIDE AVENUE                             ESSEXVILLE                MI           48732
29914170          CITY OF EUREKA                             531 K STREET                                                                                                             EUREKA                    CA           95501‐1165
29948849          CITY OF EUREKA ‐ FINANCE DEPT              531 K STREET                                                                                                             EUREKA                    CA           95501‐1165
                                                                                                  15 NW MARTIN LUTHER KING JR
29951152          CITY OF EVANSVILLE POLICE DEPARTMEN        ATTN: ALARM COORDINATOR              BLVD                                                                                EVANSVILLE                IN           47708
29951153          CITY OF EVANSVILLE POLICE DEPARTMENT       15 NW MLK JR BLVD                    ATTN: ALARM COORDINATOR                                                             EVANSVILLE                IN           47708
29951154          CITY OF EVERETT                            BUSINESS & OCCUPATION TAX            CITY HALL                          2930 WETMORE AVE                                 EVERETT                   WA           98201
29948850          CITY OF EVERETT LOCKBOX                    BUSINESS & OCCUPATION TAX            CITY HALL                                                                           EVERETT                   WA           98201
29951155          CITY OF FAIRBANKS                          800 CUSHMAN STREET                                                                                                       FAIRBANKS                 AK           99701
29951157          CITY OF FAIRLAWN                           INCOME TAX DEPARTMENT                PO BOX 5433                                                                         FAIRLAWN                  OH           44334
30181681          City of Fairlawn                           Jacob D Kaufman, Tax Administrator   3487 S Smith Rd                                                                     Fairlawn                  OH           44333
29951156          CITY OF FAIRLAWN                           PO BOX 5433                                                                                                              FAIRLAWN                  OH           44334
29951158          CITY OF FAIRVIEW HEIGHTS                   10027 BUNKUM ROAD                                                                                                        FAIRVIEW HEIGHTS          IL           62208
29951160          CITY OF FARGO, ND                          225 4TH ST N                                                                                                             FARGO                     ND           58102
29951159          CITY OF FARGO, ND                          P.O. BOX 1066                                                                                                            FARGO                     ND           58107‐1066
29951162          CITY OF FARMINGTON                         800 MINICIPAL DRIVE                                                                                                      FARMINGTON                NM           87401‐2663
                  CITY OF FARMINGTON ‐ BUSINESS REG AND
29948854          LICENSING                                  800 MINICIPAL DRIVE                                                                                                      FARMINGTON                NM           87401‐2663
29914172          CITY OF FAYETTEVILLE                       125 WEST MOUNTAIN STREET                                                                                                 FAYETTEVILLE              AR           72701
29914171          CITY OF FAYETTEVILLE                       240 SOUTH GLYNN STREET                                                                                                   FAYETTEVILLE              GA           30214
29914173          CITY OF FEDERAL WAY                        FINANCE DEPARTMENT                   33325 8TH AVENUE S                                                                  FEDERAL WAY               WA           98003
                  CITY OF FEDERAL WAY ‐ BUSINESS
29914174          REGISTRATION                               33325 8TH AVE SOUTH                                                                                                      FEDERAL WAY               WA           98003

29914175          CITY OF FINDLAY, INCOME TAX DEPARTMENT     P.O. BOX 862                                                                                                             FINDLAY                   OH           45839‐0862
29914178          CITY OF FLINT MI                           C/O CITY ASSESSOR                    1101 SAGINAW ST                                                                     FLINT                     MI           48502
29914179          CITY OF FLORENCE                           PO BOX 1327                                                                                                              FLORENCE                  KY           41022‐1327
29914180          CITY OF FLORENCE                           PO BOX 98                                                                                                                FLORENCE                  AL           35631
29952402          CITY OF FLORENCE ‐ CITY CLERKS OFFICE      PO BOX 98                                                                                                                FLORENCE                  AL           35631
29914181          CITY OF FLORENCE SC                        BUSINESS LICENSE OFFICE              324 WEST EVANS STREET                                                               FLORENCE                  SC           29501




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29954278          CITY OF FLORENCE, SC                         PO BOX 63010                                                                                                        CHARLOTTE               NC           28263‐3010
                  CITY OF FLORENCE, SC ‐ BUSINESS LICENSE
29952403          OFFICE                                       BUSINESS LICENSE OFFICE         324 WEST EVANS STREET                                                               FLORENCE                SC           29501
29954280          CITY OF FOLSOM                               ATTN BUSINESS LICENSE           50 NATOMA STREET                                                                    FOLSOM                  CA           95630
29954281          CITY OF FOLSOM FIRE DEPARTMENT               535 GLENN DRIVE                                                                                                     FOLSOM                  CA           95630
29952404          CITY OF FOLSOM, CA                           ATTN BUSINESS LICENSE           50 NATOMA STREET                                                                    FOLSOM                  CA           95630
29954282          CITY OF FOND DU LAC                          P O BOX 150                                                                                                         FOND DU LAC             WI           54936‐0150
29952406          CITY OF FOND DU LAC CITY TREASURER           PO BOX 150                                                                                                          FOND DU LAC             WI           54936‐0150
29954284          CITY OF FOND DU LAC, WI                      160 SOUTH MACY STREET                                                                                               FOND DU LAC             WI           54935
29954283          CITY OF FOND DU LAC, WI                      PO BOX 830                                                                                                          FOND DU LAC             WI           54936‐0830
29954285          CITY OF FONTANA                              BUSINESS LICENSE                8353 SIERRA AVENUE                                                                  FONTANA                 CA           92335
29952407          CITY OF FONTANA ‐ BUSINESS LICENSE           BUSINESS LICENSE                8353 SIERRA AVENUE                                                                  FONTANA                 CA           92335
29954286          CITY OF FORT COLLINS                         DEPT OF FINANCE                 PO BOX 440                                                                          FORT COLLINS            CO           80522‐0440

29954287          CITY OF FORT COLLINS, SALES TAX DEPARTMENT P.O. BOX 440                                                                                                          FORT COLLINS            CO           80522‐0439
29954288          CITY OF FORT MYERS                         OCCUPATIONAL LICENSE              PO DRAWER 2465                                                                      FORT MYERS              FL           33902‐2465

29952409          CITY OF FORT MYERS ‐ BUSINESS TAX RECEIPTS   OCCUPATIONAL LICENSE            PO DRAWER 2465                                                                      FORT MYERS              FL           33902‐2465
29954289          CITY OF FORT MYERS, FL                       PO BOX 30185                                                                                                        TAMPA                   FL           33630‐3185
29914182          CITY OF FORT SMITH                           COLLECTIONS DEPT                PO BOX 1908                                                                         FORT SMITH              AR           72902
29914183          CITY OF FORT SMITH ‐ WATER                   PO BOX 1907                                                                                                         FORT SMITH              AR           72902
29914185          CITY OF FORT WALTON BEACH                    107 MIRACLE STRIP PKY SW                                                                                            FORT WALTON BEACH       FL           32548
29914188          CITY OF FRANKFORT                            315 W SECOND ST                                                                                                     FRANKFORT               KY           40602
29914187          CITY OF FRANKFORT                            DIRECTOR OF FINANCE             PO BOX 697                                                                          FRANKFORT               KY           40602
29914189          CITY OF FRANKFORT, LICENSE FEE DIVISION      P.O. BOX 697                                                                                                        FRANKFORT               KY           40602
29914190          CITY OF FREDERICK FINANCE DIR                101 N COURT STREET                                                                                                  FREDERICK               MD           21701
29914191          CITY OF FREEPORT IL                          C/O FINANCE DEPARTMENT          50 WEST DOUGLAS                    SUITE 503                                        FREEPORT                IL           61032
29948864          CITY OF FREMONT ‐ REVENUE DIVISION           PO BOX 5006                                                                                                         FREMONT                 CA           94537‐5006
29914192          CITY OF FRESNO                               TREASURY DIVISION               PO BOX 45017                                                                        FRESNO                  CA           93718‐5017
29954254          CITY OF FRESNO CA PROPERTY TAX OFFICE        2281 TULARE ST                  SUITE 105                                                                           FRESNO                  CA           93721
29954255          CITY OF FRESNO, CA                           P.O. BOX 2069                                                                                                       FRESNO                  CA           93718
29954257          CITY OF FRISCO POLICE DEPARTMENT             7200 STONEBROOK PKWY                                                                                                FRISCO                  TX           75034
29954259          CITY OF FRISCO, TX                           6101 FRISCO SQUARE BOULEVARD.                                                                                       FRISCO                  TX           75034
29954258          CITY OF FRISCO, TX                           PO BOX 2730                                                                                                         FRISCO                  TX           75034
29954260          CITY OF FULLERTON                            303 WEST COMMONWEALTH                                                                                               FULLERTON               CA           92832‐1775
                  CITY OF FULLERTON ‐ BUSINESS REGISTRATION
29948866          DIVISION                                     303 WEST COMMONWEALTH                                                                                               FULLERTON               CA           92832‐1775
29954262          CITY OF FULLERTON, CA                        303 W. COMMONWEALTH AVE.                                                                                            FULLERTON               CA           92832
29954261          CITY OF FULLERTON, CA                        PO BOX 7190                                                                                                         PASADENA                CA           91109‐7190
29954265          CITY OF GAINESVILLE                          BILLING & COLLECTION            P.O. BOX 490 STATION 47                                                             GAINESVILLE             FL           32627
29954264          CITY OF GAINESVILLE                          FINANCE DEPT/BILLING            P.O. BOX 490‐ MAIL STATION 47                                                       GAINESVILLE             FL           32602‐0490
29954263          CITY OF GAINESVILLE                          PO BOX 2496                                                                                                         GAINESVILLE             GA           30503
                  CITY OF GAINESVILLE BUSINESS/OCCUPATION
29948869          TAX                                          PO BOX 2496                                                                                                         GAINESVILLE             GA           30503
29954266          CITY OF GAINESVILLE, GA                      PO BOX 779                                                                                                          GAINESVILLE             GA           30501
29914195          CITY OF GALESBURG, IL                        P.O. BOX 1589                                                                                                       GALESBURG               IL           61402‐1589
30223088          CITY OF GENEVA                               22 S. FIRST ST.                                                                                                     GENEVA                  IL           60134
29914196          CITY OF GENEVA, IL                           PO BOX 87618                                                                                                        CHICAGO                 IL           60680‐0618
29914198          CITY OF GERMANTOWN                           PO BOX 38809                                                                                                        GERMANTOWN              TN           38183‐0809
29914199          CITY OF GLASGOW                              P.O. BOX 278                                                                                                        GLASGOW                 KY           42142‐0278
29914200          CITY OF GLASGOW, LICENSE FEE OFFICE          126 EAST PUBLIC SQUARE          P.O. BOX 278                                                                        GLASGOW                 KY           42142‐0278
29914201          CITY OF GLENDALE                             PO BOX 51462                                                                                                        LOS ANGELES             CA           90051

29914202          CITY OF GLENDALE CA PROPERTY TAX OFFICE      613 E. BROADWAY                                                                                                     GLENDALE                CA           91206
29914203          CITY OF GLENDALE, CA ‐ WATER & POWER         PO BOX 29099                                                                                                        GLENDALE                CA           91209‐9099
29956487          CITY OF GOLDSBORO                            PRIVILEGE LICENSE               PO DRAWER A                                                                         GOLDSBORO               NC           27530
29956488          CITY OF GOLDSBORO, NC                        PO BOX 88                                                                                                           GOLDSBORO               NC           27533
29956490          CITY OF GRAND FORKS                          PUBLIC SAFETY ANSWERING POINT   122 SOUTH 5TH STREET RM 155                                                         GRAND FORKS             ND           58201
29956491          CITY OF GRAND ISLAND                         100 EAST FIRST STREET                                                                                               GRAND ISLAND            NE           68802
29956493          CITY OF GRAND JUNCTION                       250 NORTH 5TH STREET                                                                                                GRAND JUNCTION          CO           81501‐2668
29956492          CITY OF GRAND JUNCTION                       PO BOX 2088                                                                                                         GRAND JUNCTION          CO           81502
29956494          CITY OF GRAND RAPIDS TREASURER               300 MONROE AVE NW ROOM 220                                                                                          GRAND RAPIDS            MI           49503‐2296
29956495          CITY OF GRANDVILLE                           P.O. BOX 2545, DEPT #200                                                                                            GRANDVILLE              MI           49418‐2545




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29956497          CITY OF GRANDVILLE, MI                     3195 WILSON AVE SW                                                                                                     GRANDVILLE              MI           49418
29956496          CITY OF GRANDVILLE, MI                     PO BOX 30516                                                                                                           LANSING                 MI           48909‐8016
29956498          CITY OF GRANTS PASS                        101 NW A STREET                                                                                                        GRANTS PASS             OR           97526‐2091
29914205          CITY OF GRAPEVINE, TX                      PO BOX 734208                                                                                                          DALLAS                  TX           75373‐4208
29914207          CITY OF GREAT FALLS                        COMMUNITY DEVELOPMENT              PO BOX 5021                                                                         GREAT FALLS             MT           59403‐5021
29914208          CITY OF GREAT FALLS                        GREAT FALLS FIRE RESCUE            105 NINTH ST S                                                                      GREAT FALLS             MT           59401
29954182          CITY OF GREAT FALLS ‐ FIRE RESCUE          COMMUNITY DEVELOPMENT              PO BOX 5021                                                                         GREAT FALLS             MT           59403‐5021
29914209          CITY OF GREELEY                            1000 TENTH STREET                                                                                                      GREELEY                 CO           80631
29914211          CITY OF GREEN                              INCOME TAX DEPARTMENT              PO BOX 460                                                                          GREEN                   OH           44232
29914210          CITY OF GREEN                              PO BOX 460                                                                                                             GREEN                   OH           44232‐0460
29914212          CITY OF GREENBELT                          15 CRESCENT ROAD, STE 200                                                                                              GREENBELT               MD           20770
29914213          CITY OF GREENFIELD, WI                     PO BOX 20739                                                                                                           GREENFIELD              WI           53220
29914215          CITY OF GREENSBORO                         C/O FIRE RECOVERY USA, LLC         PO BOX 935667                                                                       ATLANTA                 GA           31193‐5667
29914216          CITY OF GREENSBORO, NC/1170                P.O. BOX 1170                                                                                                          GREENSBORO              NC           27402‐1170
29956500          CITY OF GREENVILLE                         BUSINESS LICENSE REV DIV 4TH FLR   PO BOX 2207                                                                         GREENVILLE              SC           29602
29956501          CITY OF GRESHAM                            1333 NW EASTMAN PARKWAY                                                                                                GRESHAM                 OR           97030

29948871          CITY OF GRESHAM ‐ BUSINESS LICENSE SECTION 1333 NW EASTMAN PARKWAY                                                                                                GRESHAM                 OR           97030
29956502          CITY OF GRETNA                             740 2ND ST, PO BOX 404                                                                                                 GRETNA                  LA           70054
29948873          CITY OF GRETNA ‐ TAX & LICENSES            740 2ND ST, PO BOX 404                                                                                                 GRETNA                  LA           70054
29956503          CITY OF GRETNA, LA                         P.O. BOX 404                                                                                                           GRETNA                  LA           70054
29956505          CITY OF GROSSE POINT FARMS, MI             90 KERBY ROAD                                                                                                          GROSSE POINTE FARMS     MI           48236
29956507          CITY OF GROSSE POINTE FARMS                90 KERBY ROAD                                                                                                          GROSSE POINTE FARMS     MI           48236
29956508          CITY OF GROSSE POINTE MI                   C/O PROPERTY TAX OFFICE            20025 MACK PLAZA                                                                    GROSSE POINTE WOODS     MI           48236
29956509          CITY OF HAGERSTOWN                         TREASURER'S OFFICE                 1 EAST FRANKLIN STREET                                                              HAGERSTOWN              MD           21740
29956510          CITY OF HAMPTON VIRGINIA                   PO BOX 636                                                                                                             HAMPTON                 VA           23669‐0636
29914217          CITY OF HATTIESBURG                        TAX DEPT                           PO BOX 1898                                                                         HATTIESBURG             MS           39401
29914218          CITY OF HEATH, INCOME TAX DEPARTMENT       1287 HEBRON RD.                                                                                                        HEATH                   OH           43056
29914219          CITY OF HELENA                             DEPT OF FINANCE                    316 NORTH PARK AVE                                                                  HELENA                  MT           59623
29914220          CITY OF HELENA, MT                         316 NORTH PARK AVENUE                                                                                                  HELENA                  MT           59623
29914223          CITY OF HENDERSON                          BUILDING & FIRE SAFETY DEPT.       P.O. BOX 95050                                                                      HENDERSON               NV           89009‐5050
29914222          CITY OF HENDERSON                          PO BOX 95007                                                                                                           HENDERSON               NV           89009
                  CITY OF HENDERSON ‐ BUSINESS LICENSE
29948880          DIVISION                                   PO BOX 95007                                                                                                           HENDERSON               NV           89009
29914224          CITY OF HENDERSONVILLE FIRE DEPT           160 6TH AVE. E                                                                                                         HENDERSONVILLE          NC           28792‐3775
29914225          CITY OF HERMITAGE                          BUSINESS LICENSE                   800 N HERMITAGE ROAD                                                                HERMITAGE               PA           16148
29914226          CITY OF HERMITAGE, PA                      PO BOX 6078                                                                                                            HERMITAGE               PA           16148‐1078
29914228          CITY OF HERNDERSON NC                      200 N. GROVE ST.                                                                                                       HENDERSONVILLE          NC           28792
29949950          CITY OF HESPERIA                           BUSINESS LICENSE                   9700 SEVENTH AVENUE                                                                 HESPERIA                CA           92345
29954398          CITY OF HESPERIA ‐ BUSINESS LICENSING      BUSINESS LICENSE                   9700 SEVENTH AVENUE                                                                 HESPERIA                CA           92345
29949952          CITY OF HICKORY, NC                        76 N CENTER ST                                                                                                         HICKORY                 NC           28601
29949951          CITY OF HICKORY, NC                        PO BOX 580069                                                                                                          CHARLOTTE               NC           28258‐0069
29949953          CITY OF HILLSBORO                          150 E MAIN STREET                                                                                                      HILLSBORO               OR           97123‐4028
29949954          CITY OF HILLSBORO, OR                      150 E MAIN ST                                                                                                          HILLSBORO               OR           97123‐4028
                  CITY OF HOLLYWOOD ‐ BUSINESS TAX PAYMENT
29954400          CENTER                                     PO BOX 229045                                                                                                          HOLLYWOOD               FL           33022‐9045
29949955          CITY OF HOLLYWOOD, FL                      PO BOX 229045                                                                                                          HOLLYWOOD               FL           33022‐9045
29949956          CITY OF HOLLYWOOD, FL                      PO BOX 229187                                                                                                          HOLLYWOOD               FL           33022‐9187
29949958          CITY OF HOLYOKE                            536 DWIGHT ST STE 6                                                                                                    HOLYOKE                 MA           01040‐5019

29949959          CITY OF HOLYOKE                            BOARD OF HEALTH                    20 KOREAN VETERANS PLAZA #306                                                       HOLYOKE                 MA           01040
29954402          CITY OF HOLYOKE, CLERK'S OFFICE            CITY CLERKS OFFICE                 536 DWIGHT ST                                                                       HOLYOKE                 MA           01040
29949960          CITY OF HOOVER                             PO BOX 11407                                                                                                           HOOVER                  AL           35246‐0144
29949961          CITY OF HOOVER                             PO BOX 11407                                                                                                           BIRMINGHAM              AL           35246‐0144
29949962          CITY OF HOOVER                             PO BOX 360628                                                                                                          HOOVER                  AL           35236
29914231          CITY OF HOUSTON                            BURGLAR ALARM ADMINISTRATOR        PO BOX 203887                                                                       HOUSTON                 TX           77216‐3887
29914230          CITY OF HOUSTON                            DEPARTMENT OF HEALTH               P. O. BOX 300008                                                                    HOUSTON                 TX           77230‐0008
29914232          CITY OF HOUSTON                            FALSE FIRE ALARM                   PO BOX 3625                                                                         HOUSTON                 TX           77253
29914229          CITY OF HOUSTON                            OCCUPANCY INSPECTIONS SECTION      PO BOX 2688                                                                         HOUSTON                 TX           77252
30192767          City of Houston                            PO Box 4576                                                                                                            Houston                 TX           77210‐4576
29954405          CITY OF HOUSTON ‐ SIGN ADMINISTRATION      OCCUPANCY INSPECTIONS SECTION      PO BOX 2688                                                                         HOUSTON                 TX           77252

29914234          CITY OF HOUSTON, TX ‐ WATER/WASTEWATER     PO BOX 1560                                                                                                            HOUSTON                 TX           77251‐1560




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29914236          CITY OF HOUSTON‐ALARMS                    PO BOX 3625                                                                                                                HOUSTON                 TX           77253‐3625
29914237          CITY OF HUDSON OH                         C/O SUMMIT COUNTY FISCAL OFFICE   175 SOUTH MAIN STREET                                                                    AKRON                   OH           44308
29914238          CITY OF HUDSON, OH                        PO BOX 30922                                                                                                               AKRON                   OH           44309‐3922
30193101          City of Humble                            PO Box 4576                                                                                                                Houston                 TX           77210‐4576
29956512          CITY OF HUNTINGTON BEACH                  ALARMS                            PO BOX 142915                                                                            IRVING                  TX           75014
29956513          CITY OF HUNTINGTON BEACH                  PO BOX 711                                                                                                                 HUNTINGTON BEACH        CA           92648
29956514          CITY OF HUNTINGTON BEACH, CA              PO BOX 711                                                                                                                 HUNTINGTON BEACH        CA           92648‐0711
29964933          CITY OF HUNTSVILLE                        305 FOUNTAIN CIRCLE                                                                                                        HUNTSVILLE              AL           35801
29954408          CITY OF HUNTSVILLE FINANCE DEPT           PO BOX 308                                                                                                                 HUNTSVILLE              AL           35801
29956516          CITY OF HUNTSVILLE FINANCE DEPT           PO BOX 308                                                                                                                 HUNTSVILLE              AL           35804
29956517          CITY OF HURST UTILITY BILLING             PO BOX 200621                                                                                                              DALLAS                  TX           75320‐0621
29956519          CITY OF IDAHO FALLS, ID                   P.O. BOX 50220                                                                                                             IDAHO FALLS             ID           83405
                                                            FINANCE DEPARTMENT‐ACCOUNTS
29956521          CITY OF INDEPENDENCE                      RECEIVA                           PO BOX 1019                                                                              INDEPENDENCE            MO           64051
                  CITY OF INDEPENDENCE ‐ REGULATED          FINANCE DEPARTMENT‐ACCOUNTS
29948882          INDUSTRIES                                RECEIVA                           PO BOX 1019                                                                              INDEPENDENCE            MO           64051
30186349          City of Independence Utilities            Denise Clark                      Customer Service Manager           P.O. Box 410                   17221 E. 23rd St. S.   Independence            MO           64057
30193126          City of Independence Utilities            Denise Clark                      P.O. Box 410                       17221 E. 23rd St. S                                   Independence            MO           64057
29956522          CITY OF INDEPENDENCE UTILITIES            PO BOX 219362                                                                                                              KANSAS CITY             MO           64121‐9362
29914240          CITY OF INDIANAPOLIS                      REVENUE RECOVERY UNIT             200 EAST WASHINGTON ST.                                                                  INDIANAPOLIS            IN           46204
29914241          Name on file                              Address on file
30209515          CITY OF INGLEWOOD LIBRARY                 1010 W. MANCHESTER BLVD.                                                                                                   INGLEWOOD               CA           90301
29914243          CITY OF IRVINE                            PO BOX 19575                                                                                                               IRVINE                  CA           92623
29914244          CITY OF IRVINE BUSINESS LICENSE           PO BOX 19575                                                                                                               IRVINE                  CA           92623‐9575
29914246          CITY OF JACKSON                           101 E MAIN STREET STE 101                                                                                                  JACKSON                 TN           38301
29914245          CITY OF JACKSON                           200 S PRESIDENT STREET                                                                                                     JACKSON                 MS           39225
29914247          CITY OF JACKSON                           33 BROADWAY                                                                                                                JACKSON                 CA           95642
29914248          CITY OF JACKSON                           CITY CLERK                        161 WEST MICHIGAN                                                                        JACKSON                 MI           49201
29948887          CITY OF JACKSON CITY TREASURERS OFFICE    161 W MICHIGAN AVE                                                                                                         JACKSON                 MI           49201
29914249          CITY OF JACKSON INCOME TAX DIVISION       161 W MICHIGAN AVE                                                                                                         JACKSON                 MI           49201

29956525          CITY OF JAMESTOWN BOARD OF PUBLIC UTIL    92 STEELE STREET                                                                                                           JAMESTON                NY           14701

29956524          CITY OF JAMESTOWN BOARD OF PUBLIC UTIL    P.O. BOX 700                                                                                                               JAMESTOWN               NY           14702‐0700
29956527          CITY OF JANESVILLE ‐ WI                   18 N. JACKSON STREET                                                                                                       JANESVILLE              WI           53548
29956526          CITY OF JANESVILLE ‐ WI                   PO BOX 5005                                                                                                                JANESVILLE              WI           53547‐5005
29948889          CITY OF JEFFERSON                         BUSINESS LICENSE SERVICES         320 EAST MCCARTY STREET                                                                  JEFFERSON CITY          MO           65101
29956528          CITY OF JEFFERSON‐FINANCE DEPT            BUSINESS LICENSE SERVICES         320 EAST MCCARTY STREET                                                                  JEFFERSON CITY          MO           65101
29956529          CITY OF JOHNSON CITY                      ATTN BUSINESS LICENSE             PO BOX 2150                                                                              JOHNSON CITY            TN           37605
29956530          CITY OF JOLIET                            BUSINESS SERVICES                 150 WEST JEFFERSON STREET                                                                JOLIET                  IL           60432
29948891          CITY OF JOLIET ‐ BUSINESS SERVICES        BUSINESS SERVICES                 150 WEST JEFFERSON STREET                                                                JOLIET                  IL           60432
29956531          CITY OF JOLIET, IL                        PO BOX 5001                                                                                                                JOLIET                  IL           60432‐4148
29956533          CITY OF JONESBORO                         CITY COLLECTORS OFFICE            300 S CHURCH ST                                                                          JONESBORO               AR           72401
29956534          CITY OF JOPLIN                            602 S MAIN STREET                                                                                                          JOPLIN                  MO           64801
29948893          CITY OF JOPLIN ‐ FINANCE DEPT             602 S MAIN STREET                                                                                                          JOPLIN                  MO           64801
29952683          CITY OF KANSAS CITY MISSOURI              PO BOX 840101                                                                                                              KANSAS CITY             MO           64184‐0101
29956535          CITY OF KANSAS CITY, MO                   REVENUE DIVISION                  PO BOX 843322                                                                            KANSAS CITY             MO           64184‐3322
29914252          CITY OF KELSO                             TAX DEPARTMENT                    PO BOX 819                                                                               KELSO                   WA           98626
29952685          CITY OF KELSO ‐ TAX DEPT                  TAX DEPARTMENT                    PO BOX 819                                                                               KELSO                   WA           98626
29914254          CITY OF KENNEWICK, WA                     1010 E CHEMICAL DRIVE                                                                                                      KENNEWICK               WA           99336
29914253          CITY OF KENNEWICK, WA                     P.O. BOX 6108                                                                                                              KENNEWICK               WA           99336‐0108
29914255          CITY OF KENT                              ATTN: CUSTOMER SERVICES           220 4TH AVENUE SOUTH                                                                     KENT                    WA           98032‐5895
29914256          CITY OF KENT                              BUSINESS LICENSING                220 4TH AVENUE SOUTH                                                                     KENT                    WA           98032
29952686          CITY OF KENT ‐ FINANCE DEPT               BUSINESS LICENSING                220 4TH AVENUE SOUTH                                                                     KENT                    WA           98032
29914257          CITY OF KINGSPORT                         225 W CENTER STREET                                                                                                        KINGSPORT               TN           37660
29914258          CITY OF KLAMATH FALLS                     PLANNING DEPT                     PO BOX 237                                                                               KLAMATH FALLS           OR           97601
                  CITY OF KLAMATH FALLS ‐ ATTN: BUSINESS
29952688          LICENSES                                  PLANNING DEPT                     PO BOX 237                                                                               KLAMATH FALLS           OR           97601
29914259          CITY OF KLAMATH FALLS, OR                 P.O. BOX 237                                                                                                               KLAMATH FALLS           OR           97601
29914261          CITY OF KNOXVILLE                         PO BOX 15001                                                                                                               KNOXVILLE               TN           37901‐5001
29914262          CITY OF KOKOMO                            ATTN ALARM PERMITS                100 S UNION ST                                                                           KOKOMO                  IN           46901
                  CITY OF LA CANADA FLINTRIDGE ‐ BUSINESS
29952690          LICENSE                                   1327 FOOTHILL BLVD                                                                                                         LACANADA FLINTRIDG      CA           91011




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29914263          CITY OF LA HABRA                               PO BOX 785                                                                                                            LA HABRA                CA           90631
29956537          CITY OF LA VERNE                               3660 D STREET                                                                                                         LA VERNE                CA           91750

29952692          CITY OF LA VERNE ‐ BUSINESS LICENSE DIVISION   3660 D STREET                                                                                                         LA VERNE                CA           91750
29956538          CITY OF LA VERNE, CA                           3660 D STREET                                                                                                         LA VERNE                CA           91750
29956539          CITY OF LACANADA FLINTRIDGE                    1327 FOOTHILL BLVD                                                                                                    LACANADA FLINTRIDG      CA           91011
29956540          CITY OF LAFAYETTE                              REVENUE COLLECTION DIVISION        PO BOX 4024‐C                                                                      LAFAYETTE               LA           70502
29956541          CITY OF LAFAYETTE                              UTILITY BILLING OFFICE             PO BOX 1688                                                                        LAFAYETTE               IN           47902‐1688
29956542          CITY OF LAFAYETTE, IN                          P.O. BOX 1688                                                                                                         LAFAYETTE               IN           47902‐1688
29956544          CITY OF LAKE FOREST CA                         C/O TREASURER/TAX COLLECTOR        100 CIVIC CENTER DR.                                                               LAKE FOREST             CA           92630
29956545          CITY OF LAKE GENEVA                            CITY CLERK                         626 GENEVA STREET                                                                  LAKE GENEVA             WI           53147
29948895          CITY OF LAKE GENEVA ‐ CITY CLERK               CITY CLERK                         626 GENEVA STREET                                                                  LAKE GENEVA             WI           53147
29956546          CITY OF LAKELAND                               OCCUPATIONAL LICENSE OFFICE        PO BOX 32006                                                                       LAKELAND                FL           33802‐2006
29948896          CITY OF LAKELAND ‐ BUSINESS TAX OFFICE         OCCUPATIONAL LICENSE OFFICE        PO BOX 32006                                                                       LAKELAND                FL           33802‐2006
29956547          CITY OF LAKEWOOD                               12805 DETROIT AVE                                                                                                     LAKEWOOD                OH           44107
29914265          CITY OF LAKEWOOD                               DIVISION OF MUNICIPAL INCOME TAX   12805 DETROIT AVE                                                                  LAKEWOOD                OH           44107
29914266          CITY OF LAKEWOOD                               FINANCE DEPARTMENT                 PO BOX 220                                                                         LAKEWOOD                CA           90714
29914264          CITY OF LAKEWOOD                               REVENUE DIVISION                   PO BOX 17479                                                                       DENVER                  CO           80217
29914267          CITY OF LAKEWOOD, CA                           PO BOX 1038                                                                                                           LAKEWOOD                CA           90714‐1038
29914269          CITY OF LAKEWOOD, REVENUE DIVISION             PO BOX 17479                                                                                                          DENVER                  CO           80217‐0479
29914270          CITY OF LANCASTER, OH, PO BOX 128              104 E. MAIN STREET                                                                                                    LANCASTER               OH           43130

29914271          CITY OF LANSING INCOME TAX DEPARTMENT          124 W MICHIGAN AVE                 1ST FLOOR                                                                          LANSING                 MI           48933
29914272          CITY OF LAPEER                                 576 LIBERTY PARK                                                                                                      LAPEER                  MI           48446
29914273          CITY OF LAPEER TREASURER                       576 LIBERTY PARK                                                                                                      LAPEER                  MI           48446
29914274          CITY OF LAPEER, MI                             P.O. BOX 1030                                                                                                         LAPEER                  MI           48446
29956549          CITY OF LAS CRUCES                             ATTN: BUSINESS REGISTRATION        PO BOX 20000                                                                       LAS CRUCES              NM           88004

29948903          CITY OF LAS CRUCES ‐ BUSINESS REGISTRATION     ATTN: BUSINESS REGISTRATION        PO BOX 20000                                                                       LAS CRUCES              NM           88004
29956550          CITY OF LAS CRUCES, NM                         P.O. BOX 20000                                                                                                        LAS CRUCES              NM           88004
29956552          CITY OF LAS VEGAS                              333 NORTH RANCHO DR.               BUSINESS LICENSE, 6TH FLOOR                                                        LAS VEGAS               NV           89106
29948904          CITY OF LAS VEGAS ‐ BUSINESS LICENSE           333 NORTH RANCHO DR.               BUSINESS LICENSE, 6TH FLOOR                                                        LAS VEGAS               NV           89106
29956554          CITY OF LEOMINSTER                             25 WEST STREET                                                                                                        LEOMINSTER              MA           01453
                  CITY OF LEOMINSTER DEPT OF WEIGHTS &
29950235          MEASURES                                       25 WEST STREET                                                                                                        LEOMINSTER              MA           01453
29956555          CITY OF LEWISVILLE‐                            ALARM SECTION                      PO BOX 299002                                                                      LEWISVILLE              TX           75029‐9002

29950236          CITY OF LEWISVILLE ATTN: HEALTH SERVICES  PO BOX 299002                                                                                                              LEWISVILLE              TX           75029‐9002
29956556          CITY OF LEWISVILLE/731962                 PO BOX 731962                                                                                                              DALLAS                  TX           75373‐1962
29956558          CITY OF LIMA ‐ UTILITIES, OH              PO BOX 183199                                                                                                              COLUMBUS                OH           43218‐3199
29956560          CITY OF LINCOLN CITY                      801 SW HIGHWAY 101                      PO BOX 50                                                                          LINCOLN CITY            OR           97367
30337202          City of Lincoln City                      Michelle L Ballard                      801 SW Hwy 101                                                                     Lincoln City            OR           97367
29950237          CITY OF LINCOLN CITY ‐ FINANCE DEPT       801 SW HIGHWAY 101                      PO BOX 50                                                                          LINCOLN CITY            OR           97367
29914276          CITY OF LINCOLN CITY, OR                  PO BOX 478                                                                                                                 PLEASANT GROVE          UT           84062‐0478
29914278          CITY OF LITTLE ROCK                       500 WEST MARKHAM STREET                                                                                                    LITTLE ROCK             AR           72201
                  CITY OF LITTLE ROCK ‐ TREASURY MANAGEMENT
29950238          DIVISION                                  500 WEST MARKHAM STREET                                                                                                    LITTLE ROCK             AR           72201
29914279          CITY OF LIVERMORE                         BUSINESS LICENSE COORDINATOR            1052 LIVERMORE AVE                                                                 LIVERMORE               CA           94550‐4899

29950239          CITY OF LIVERMORE ‐ ATTN: BUSINESS LICENSE     BUSINESS LICENSE COORDINATOR       1052 LIVERMORE AVE                                                                 LIVERMORE               CA           94550‐4899
29914281          CITY OF LIVONIA                                33000 CIVIC CENTER DR.                                                                                                LIVONIA                 MI           48154‐3060
29914280          CITY OF LIVONIA                                33000 CIVIC CENTER DRIVE                                                                                              LIVONIA                 MI           48154
29914283          CITY OF LOGAN                                  BUSINESS LICENSE DIV               290 NORTH 100 WEST                                                                 LOGAN                   UT           84321
29950241          CITY OF LOGAN ‐ BUSINESS LICENSING             BUSINESS LICENSE DIV               290 NORTH 100 WEST                                                                 LOGAN                   UT           84321
29914284          CITY OF LOGAN, UT                              PO BOX 328                                                                                                            LOGAN                   UT           84323‐0328
29914286          CITY OF LONG BEACH                             PO BOX 630                                                                                                            LONG BEACH              CA           90842
29964905          CITY OF LONGVIEW, WA                           1525 BROADWAY ST.                                                                                                     LONGVIEW                WA           98632
29956561          CITY OF LONGVIEW, WA                           P.O. BOX 128                                                                                                          LONGVIEW                WA           98632
29956564          CITY OF LOS ANGELES                            FINANCE FALSE ALARMS LBX           PO BOX 102655                                                                      PASADENA                CA           91189‐2655
29956563          CITY OF LOS ANGELES                            OFFICE OF FINANCE                  PO BOX 53200                                                                       LOS ANGELES             CA           90053‐0200
29956565          CITY OF LOS ANGELES                            OFFICE OF FINANCE‐ APPLICATIONS    PO BOX 30359                                                                       LOS ANGELES             CA           90030‐0359
29956562          CITY OF LOS ANGELES                            PO BOX 30879                                                                                                          LOS ANGELES             CA           90030
29950243          CITY OF LOS ANGELES ‐ OFFICE OF FINANCE        OFFICE OF FINANCE                  PO BOX 53200                                                                       LOS ANGELES             CA           90053‐0200




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29956566          CITY OF LOUISVILLE                           215 S. MILL STREET                                                                                                  LOUISVILLE               OH       44641‐1665
29956567          CITY OF LOUISVILLE                           TAX DEPT                        215 SOUTH MILL STREET                                                               LOUISVILLE               OH       44641
29956568          CITY OF LOVELAND                             SALES TAX ADMINISTRATION        500 EAST THIRD STREET #320                                                          LOVELAND                 CO       80537
29956569          CITY OF LOVELAND, CO                         PO BOX 3500                                                                                                         LOVELAND                 CO       80539‐3500
29956571          CITY OF LOVELAND, SALES TAX DIVISION         PO BOX 0845                                                                                                         LOVELAND                 CO       80539‐0845
29956572          CITY OF LUBBOCK UTILITIES, TX                1401 AVENUE K                                                                                                       LUBBOCK                  TX       79401
29914287          CITY OF LYNCHBURG                            COMMISSIONER OF THE REVENUE     PO BOX 858                                                                          LYNCHBURG                VA       24505‐0858
29914289          CITY OF LYNCHBURG COLL DIV                   PO BOX 603                                                                                                          LYNCHBURG                VA       24505
29914291          CITY OF LYNNWOOD, WA                         ATTN: UTILITY DEPARTMENT        19100 44TH AVE W                                                                    LYNNWOOD                 WA       98036
29914290          CITY OF LYNNWOOD, WA                         PO BOX 24164                                                                                                        SEATTLE                  WA       98124‐0164
29914292          CITY OF MADISON                              PO BOX 99                                                                                                           MADISON                  AL       35758
29914293          CITY OF MADISON                              WEIGHTS & MEASURES INSPECTION   PO BOX 2984                                                                         MADISON                  WI       53701
29914294          CITY OF MADISON HEIGHTS                      300 W THIRTEEN MILE RD                                                                                              MADISON HEIGHTS          MI       48071
29914295          CITY OF MADISON TREASURER                    PO BOX 2999                                                                                                         MADISON                  WI       53701‐2999
29948910          CITY OF MADISON TREASURER                    WEIGHTS & MEASURES INSPECTION   PO BOX 2984                                                                         MADISON                  WI       53701
29914296          CITY OF MANHATTAN, KS                        P.O. BOX 309                                                                                                        MANHATTAN                KS       66505‐0309
29914298          CITY OF MANTECA                              1001 W CENTER STREET                                                                                                MANTECA                  CA       95337
29914299          CITY OF MANTECA, CA                          PO BOX 888637                                                                                                       LOS ANGELES              CA       90088‐8637
29914301          CITY OF MAPLEWOOD                            7601 MANCHESTER AVENUE                                                                                              MAPLEWOOD                MO       63143
29914303          CITY OF MARGATE                              901 NW 66TH AVE                                                                                                     MARGATE                  FL       33063
29914304          CITY OF MARGATE, FL                          PO BOX 30318                                                                                                        TAMPA                    FL       33630‐3318

29914306          CITY OF MARIETTA, INCOME TAX DEPARTMENT 301 PUTNAM ST.                       SUITE 1100                                                                          MARIETTA                 OH       45750
29914308          CITY OF MARIETTA, OH                    PO BOX 774                                                                                                               MARIETTA                 OH       45750
29914309          CITY OF MARINETTE                       C/O CITY CLERK'S OFFICE              1905 HALL AVE                                                                       MARINETTE                WI       54143

29948915          CITY OF MARINETTE, C/O CITY CLERK'S OFFICE   C/O CITY CLERK'S OFFICE         1905 HALL AVE                                                                       MARINETTE                WI       54143
29914310          CITY OF MARSHFIELD                           630 S CENTRAL AVE #502                                                                                              MARSHFIELD               WI       54449‐4108
29914311          CITY OF MARTINSVILLE                         CITY TREASURER‐BL.TAX           PO BOX 1023                                                                         MARTINSVILLE             VA       24114‐1023
29953525          CITY OF MARTINSVILLE ‐ TREASURER             CITY TREASURER‐BL.TAX           PO BOX 1023                                                                         MARTINSVILLE             VA       24114‐1023
29914312          CITY OF MARTINSVILLE, VA                     P.O. BOX 1023                                                                                                       MARTINSVILLE             VA       24114
29914314          CITY OF MARYSVILLE, WA                       PO BOX 128                                                                                                          CALDWELL                 ID       83606‐0128
29914315          CITY OF MARYSVILLE, WA                       PUBLIC WORKS                    80 COLUMBA AVENUE                                                                   MARYSVILLE               WA       98270
30333629          CITY OF MATTOON, IL                          208 N 19TH                                                                                                          MATTOON                  IL       61938
29914317          CITY OF MATTOON, IL                          208 NORTH 19TH STREET                                                                                               MATTOON                  IL       61938
29914319          CITY OF MCHENRY                              ATTN CNS DEPT                   333 SOUTH GREEN STREET                                                              MCHENRY                  IL       60050
29914321          CITY OF MCKINNEY                             2200 TAYLOR BURK DR.                                                                                                MC KINNEY                TX       75071
29914322          CITY OF MCKINNEY, TX                         P.O. BOX 8000                                                                                                       MCKINNEY                 TX       75070‐8000
29914324          CITY OF MEDFORD                              CITY BUSINESS LICENSE           FINANCE DEPT 411 W8TH                                                               MEDFORD                  OR       97501
29914325          CITY OF MEDFORD                              PO BOX 2327                                                                                                         PORTLAND                 OR       97208‐2327
29914326          CITY OF MEDFORD, OR                          PO BOX 2327                                                                                                         PORTLAND                 OR       97208‐2327
30209518          CITY OF MELBOURNE LIBRARIES                  253 FLINDERS LANE                                                                                                   MELBOURNE, VIC                                    AUSTRALIA
29914328          Name on file                                 Address on file
30209520          CITY OF MELBOURNE LIBRARIES                  COUNCIL HOUSE 2                 240 LITTLE COLLINS STREET                                                           MELBOURNE,VIC                     3000            AUSTRALIA
30209519          CITY OF MELBOURNE LIBRARIES                  PO BOX 1603                                                                                                         MELBOURNE                                         AUSTRALIA
29914330          CITY OF MERCED                               678 WEST 18TH STREET                                                                                                MERCED                   CA       95340‐4700
29914329          CITY OF MERCED                               FINANCE DEPARTMENT              678 W 18TH ST                                                                       MERCED                   CA       95340
29953528          CITY OF MERCED ‐ FINANCE OFFICE              FINANCE DEPARTMENT              678 W 18TH ST                                                                       MERCED                   CA       95340
29914331          CITY OF MERCED‐ ALARMS                       PO BOX 141415                                                                                                       IRVING                   TX       75014
29914332          CITY OF MERCED CA                            C/O CITY TREASURER              2222 M STREET                                                                       MERCED                   CA       95340
29914333          CITY OF MERIDIAN                             PO BOX 1430                                                                                                         MERIDIAN                 MS       39302
29914334          CITY OF MESA                                 PO BOX 1466                                                                                                         MESA                     AZ       85211‐1466
29914335          CITY OF MESA, AZ                             P.O. BOX 1878                                                                                                       MESA                     AZ       85211‐1878
29914338          CITY OF MESQUITE HEALTH DEPT                 1515 N GALLOWAY                                                                                                     MESQUITE                 TX       75149
29953531          CITY OF MESQUITE HEALTH DIVISION             1515 N GALLOWAY                                                                                                     MESQUITE                 TX       75149
29914339          CITY OF MESQUITE, TX/850287                  P.O. BOX 850287                                                                                                     MESQUITE                 TX       75185‐0287

29914341          CITY OF METHUEN                              METHUEN HEALTH DEPT             90 HAMPSHIRE ST QUINN BUILDING                                                      METHUEN                  MA       01844

29953532          CITY OF METHUEN ‐ HEALTH DEPT                METHUEN HEALTH DEPT             90 HAMPSHIRE ST QUINN BUILDING                                                      METHUEN                  MA       01844
29914343          CITY OF MIDLAND, MI                          333 WEST ELLSWORTH STREET                                                                                           MIDLAND                  MI       48640
29914342          CITY OF MIDLAND, MI                          PO BOX 1647                                                                                                         MIDLAND                  MI       48641‐1647
29953534          CITY OF MILLCREEK                            1330 E CHAMBERS AVE                                                                                                 MILLCREEK                UT       84106




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  ADDRESS ID                           NAME                                ADDRESS 1                         ADDRESS 2                        ADDRESS 3                 ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
29914344          CITY OF MILLCREEK                           3330 SOUTH 1300 EAST                                                                                                  MILLCREEK                 UT           84106
29914345          CITY OF MILWAUKEE/3268                      PO BOX 3268                                                                                                           MILWAUKEE                 WI           53201‐3268

29953535          CITY OF MILWAUKIE ‐ BUSINESS REGISTRATION   LICENSING                         10722 SE MAIN STREET                                                                MILWAUKIE                 OR           97222
29914347          CITY OF MINNETONKA                          14600 MINNETONKA BLVD                                                                                                 MINNETONKA                MN           55345
29953536          CITY OF MINNETONKA ‐ LICENSING ‐ FOOD       14600 MINNETONKA BLVD                                                                                                 MINNETONKA                MN           55345
29914348          CITY OF MINOT TREASURERS OFFICE             ACCOUNTS RECEIVABLE               PO BOX 5006                                                                         MINOT                     ND           58702
29914349          CITY OF MISSOULA                            ALARM PERMITS                     435 RYMAN STREET                                                                    MISSOULA                  MT           59802‐4297
29953537          CITY OF MISSOULA                            CITY BUSINESS LICENSE             435 RYMAN STREET                                                                    MISSOULA                  MT           59802
29914350          CITY OF MISSOULA, MT                        PO BOX 5388                                                                                                           MISSOULA                  MT           59806‐5388
29914352          CITY OF MOBILE DEPARTMENT 1519              PO BOX 11407                                                                                                          BIRMINGHAM                AL           35246‐1519
29948918          CITY OF MOBILE DEPT                         PO BOX 3065                                                                                                           MOBILE                    AL           36652‐3065
29914353          CITY OF MOBILE REVENUE DEPT                 PO BOX 3065                                                                                                           MOBILE                    AL           36652‐3065
29914354          CITY OF MODESTO                             PO BOX 3442                                                                                                           MODESTO                   CA           95353
29914356          CITY OF MODESTO CA                          C/O CITY CLERK OFFICE             10TH STREET PLACE                  1010 10TH ST #6600                               MODESTO                   CA           95354
29914355          CITY OF MODESTO CA                          C/O STANISLAUS COUNTY             1010 TENTH STREET, SUITE 2500                                                       MODESTO                   CA           95354
29914357          CITY OF MODESTO CA                          PO BOX 767                                                                                                            MODESTO                   CA           95353‐0767
29914359          CITY OF MOLINE                              ACCOUNTS & FINANCE                1630 8 AVE                                                                          MOLINE                    IL           61265
29914360          CITY OF MOLINE, IL                          PO BOX 965                                                                                                            BEDFORD PARK              IL           60499‐0965
29914362          CITY OF MONROE                              P.O. BOX 69                                                                                                           MONROE                    NC           28111‐0069
30333689          CITY OF MONROE                              PAULA LYNN TAYLOR                 201 E. WINDSOR ST.                                                                  MONROE                    NC           28112
29914363          CITY OF MONROE, NC                          P.O. BOX 69                                                                                                           MONROE                    NC           28111‐0069
29914365          CITY OF MONTGOMERY                          PO BOX 830469                                                                                                         BIRMINGHAM                AL           35283‐0469
29914366          CITY OF MONTGOMERY                          REVENUE LICENSE DIVISION          PO BOX 1111                                                                         MONTGOMERY                AL           36101‐1111
                  CITY OF MONTGOMERY C/O DEPARTMENT RBT
29914367          #3                                          PO BOX 830525                                                                                                         BIRMINGHAM                AL           35283‐0525
29914368          CITY OF MONTPELIER, VT                      39 MAIN ST                                                                                                            MONTPELIER                VT           05602
29914369          CITY OF MONTROSE                            433 S. FIRST ST                   PO BOX 790                                                                          MONTROSE                  CO           81402‐0790
29948927          CITY OF MONTROSE                            P.O. BOX 790                                                                                                          MONTROSE                  CO           81402‐0790
29914370          CITY OF MORGAN HILL                         FINANCE DEPT                      17575 PEAK AVE                                                                      MORGAN HILL               CA           95037
29956573          CITY OF MORGAN HILL (CAL FIRE)              C/O FIRE RECOVERY USA LLC         PO BOX 548                                                                          ROSEVILLE                 CA           95678‐0548
29956575          CITY OF MORGANTON                           PO BOX 3448                                                                                                           MORGANTON                 NC           28680‐3448
29956576          CITY OF MORGANTON, NC                       P.O. BOX 3448                                                                                                         MORGANTON                 NC           28680‐3448
29956579          CITY OF MOSCOW, ID                          ATTN: UTILITY DEPARTMENT          206 E THIRD STREET                                                                  MOSCOW                    ID           83843
29956578          CITY OF MOSCOW, ID                          P.O. BOX 9203                                                                                                         MOSCOW                    ID           83843
30223089          CITY OF MOSES LAKE                          321 S. BALSAM, P.O. DRAWER 1579                                                                                       MOSES LAKE                WA           98837
29956580          CITY OF MOSES LAKE                          ATTN: BUSINESS LICENSING          PO BOX 1579                                                                         MOSES LAKE                WA           98837
29956582          CITY OF MOUNTAIN VIEW                       ATTN: BUSINESS LICENSE            500 CASTRO ST                      PO BOX 7540                                      MOUNTAIN VIEW             CA           94039‐7540
29956583          CITY OF MT JULIET                           ATTN: ALARM REGISTRATION          PO BOX 322                                                                          MOUNT JULIET              TN           37121
29956584          CITY OF MT JULIET, TN                       P.O. BOX 679                                                                                                          MOUNT JULIET              TN           37121
29914372          CITY OF MURFREESBORO                        PO BOX 1139                                                                                                           MURFREESBORO              TN           37133‐1139
29914373          CITY OF MYRTLE BEACH                        PO BOX 2468                                                                                                           MYRTLE BEACH              SC           29578
29914374          CITY OF MYRTLE BEACH, SC                    PO BOX 2468                                                                                                           MYRTLE BEACH              SC           29578‐2468
29914376          CITY OF NAMPA, ID                           401 3RD ST S                                                                                                          NAMPA                     ID           83651
29914377          CITY OF NAPERVILLE, IL                      400 SOUTH EAGLE STREET                                                                                                NAPERVILLE                IL           60540
29914378          CITY OF NASHUA POLICE DEPT                  28 OFFICER JAMES ROCHE DR.        PO BOX 785                                                                          NASHUA                    NH           03061‐0785
29952608          CITY OF NATIONAL CITY ‐ FINANCE DEPT        FINANCE DEPARTMENT                1243 NATIONAL CITY BLVD                                                             NATIONAL CITY             CA           91950‐4301
29914379          CITY OF NATIONAL CITY, CA                   FINANCE DEPARTMENT                1243 NATIONAL CITY BLVD                                                             NATIONAL CITY             CA           91950‐4301
29914380          Name on file                                Address on file
                  CITY OF NEW PHILADELPHIA, DEPARTMENT OF
29914381          TAXATION                                    150 EAST HIGH AVENUE              SUITE 041                                                                           NEW PHILADELPHIA          OH           44663
29956585          CITY OF NEWPORT NEWS TREASURER              PO BOX 975                                                                                                            NEWPORT NEWS              VA           23607‐0975
29956587          CITY OF NORMAN                              PO BOX 370                                                                                                            NORMAN                    OK           73070
29952611          CITY OF NORMAN ‐ CITY CLERKS OFFICE         PO BOX 370                                                                                                            NORMAN                    OK           73070
29956588          CITY OF NORMAN, OK                          PO BOX 5599                                                                                                           NORMAN                    OK           73070
29956590          CITY OF NORTH BEND                          PO BOX B                                                                                                              NORTH BEND                OR           97459
29956592          CITY OF NORTH LITTLE ROCK                   PO BOX 5757                                                                                                           NO LITTLE ROCK            AR           72119
29956593          Name on file                                Address on file
29956594          Name on file                                Address on file
29956595          CITY OF NORTH OLMSTED                       FINANCE DEPT                      5200 DOVER CTR RD                                                                   NORTH OLMSTED             OH           44070
29956596          CITY OF NORTHGLENN                          11701 COMMUNITY CENTER DRIVE      PO BOX 330061                                                                       NORTHGLENN                CO           80233
29956597          CITY OF NORTHGLENN                          DEPT OF FINANCE                   PO BOX 5305                                                                         DENVER                    CO           80217‐5305
29952613          CITY OF NORTHGLENN ‐ FINANCE DEPT           11701 COMMUNITY CENTER DRIVE      PO BOX 330061                                                                       NORTHGLENN                CO           80233




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29952614          CITY OF NORTHGLENN ‐ FINANCE DEPT             DEPT OF FINANCE                   PO BOX 5305                                                                         DENVER                  CO           80217‐5305
                  CITY OF NORTHGLENN SALES AND USE TAX
29914382          RETURN                                        PO BOX 5305                                                                                                           DENVER                  CO           80217‐5305
29914383          CITY OF NORTON SHORES                         2743 HENRY STREET #302                                                                                                MUSKEGON                MI           49441
29914384          CITY OF NORTON SHORES                         4814 HENRY STREET                                                                                                     NORTON SHORES           MI           49441
                                                                                                                                     CITY HALL, ROOM 105, 100
29914386          CITY OF NORWICH                               TAX COLLECTOR                     CITY HALL BUILDING                 BROADWAY                                         NORWICH                 CT           06360‐4431
29948932          CITY OF NORWICH                               TAX COLLECTOR                     CITY HALL BUILDING                                                                  NORWICH                 CT           06360
29914387          CITY OF NOVI                                  TAX PROCESSING                    PO BOX 674258                                                                       DETROIT                 MI           48267
29914389          CITY OF NOVI, MI                              ATTN: WATER AND SEWAGE DIVISION   45175 TEN MILE ROAD                                                                 NOVI                    MI           48375
29914388          CITY OF NOVI, MI                              PO BOX 33321                                                                                                          DETROIT                 MI           48232‐5321
29914390          CITY OF OAKLAND                               250 FRANK H OGAWA PLAZA #1320                                                                                         OAKLAND                 CA           94612
29948935          CITY OF OCALA                                 ACCOUNTS RECEIVABLE               110 SE WATULA AVE. 3RD FL                                                           OCALA                   FL           34471
29914391          CITY OF OCALA, FL                             201 SE 3RD STREET                                                                                                     OCALA                   FL           34471‐2174
29914392          CITY OF OCALA, FLA.                           ACCOUNTS RECEIVABLE               110 SE WATULA AVE. 3RD FL                                                           OCALA                   FL           34471
29956598          CITY OF OCEANSIDE                             BUSINESS LICENSE DIVISION         300 N COAST HWY                                                                     OCEANSIDE               CA           92054
                  CITY OF OCEANSIDE ‐ BL ‐ ATTN: CENTRAL
29948936          CASHIER                                       BUSINESS LICENSE DIVISION         300 N COAST HWY                                                                     OCEANSIDE               CA           92054
29956599          CITY OF OCEANSIDE, CA                         PO BOX 513106                                                                                                         LOS ANGELES             CA           90051‐1106
29956601          CITY OF ODESSA, TX                            P.O. BOX 2552                                                                                                         ODESSA                  TX           79760‐2552
29956604          CITY OF OKLAHOMA CITY                         420 WEST MAIN STE 130                                                                                                 OKLAHOMA CITY           OK           73102
29956605          CITY OF OKLAHOMA CITY, OK                     PO BOX 26570                                                                                                          OKLAHOMA CITY           OK           73126‐0570
29956607          CITY OF OLYMPIA                               ACCOUNTS RECEIVABLE               PO BOX 7966                                                                         OLYMPIA                 WA           98507
29956609          CITY OF OLYMPIA, WA                           ATTN: WATER RESOURCES             601 4TH AVENUE E                                                                    OLYMPIA                 WA           98507‐1967
29956608          CITY OF OLYMPIA, WA                           P.O. BOX 7966                                                                                                         OLYMPIA                 WA           98507‐7966
29956610          CITY OF ONALASKA                              CITY HALL                         415 MAIN STREET                                                                     ONALASKA                WI           54650‐2953
29914393          CITY OF ONTARIO                               BUSINESS LICENSE DIVISION         303 E B STREET                                                                      ONTARIO                 CA           91764

29948939          CITY OF ONTARIO ‐ BUSINESS LICENSE DIVISION BUSINESS LICENSE DIVISION           303 E B STREET                                                                      ONTARIO                 CA           91764

29914395          CITY OF ONTARIO, INCOME TAX DEPARTMENT        555 STUMBO ROAD                                                                                                       ONTARIO                 OH           44906
29914397          CITY OF OPELIKA                               PO BOX 390                                                                                                            OPELIKA                 AL           36803
29948941          CITY OF OPELIKA, ALABAMA REVENUE DEPT         PO BOX 390                                                                                                            OPELIKA                 AL           36803
30330950          CITY OF ORANGE                                300 E CHAPMAN AVE                                                                                                     ORANGE                  CA           92866
29914398          CITY OF ORANGE                                BUSINESS LICENSE DIVISION         300 E CHAPMAN                                                                       ORANGE                  CA           92666

29948942          CITY OF ORANGE ‐ BUSINESS LICENSE DIVISION    BUSINESS LICENSE DIVISION         300 E CHAPMAN                                                                       ORANGE                  CA           92666
29914399          CITY OF ORANGE, CA                            PO BOX 30146                                                                                                          LOS ANGELES             CA           90030‐0146
29914400          CITY OF ORANGE, CA                            PUBLIC WORKS DEPARTMENT           300 EEAST CHAPMAN AVENUE                                                            ORANGE                  CA           92866
29914401          CITY OF OREGON CITY                           BUSINESS LICENSE DIVISION         PO BOX 3040                                                                         OREGON CITY             OR           97045‐0304

29948943          CITY OF OREGON CITY ‐ BUSINESS LICENSE DEPT   BUSINESS LICENSE DIVISION         PO BOX 3040                                                                         OREGON CITY             OR           97045‐0304
29914402          CITY OF OREGON CITY, OR                       PO BOX 3530                                                                                                           PORTLAND                OR           97208‐3530
29914404          CITY OF OREM                                  56 NORTH STATE STREET                                                                                                 OREM                    UT           84057‐5597
29948944          CITY OF OREM ‐ BUSINESS LICENSE OFFICE        56 NORTH STATE STREET                                                                                                 OREM                    UT           84057‐5597
29956611          CITY OF OREM FIRE DEPT.                       PO BOX 27768                                                                                                          SALT LAKE CITY          UT           84127

29956613          CITY OF ORLANDO                               400 S ORANGE AVE                  CENTRALIZED REVENUE 1ST FLOOR                                                       ORLANDO                 FL           32801‐3365

29948945          CITY OF ORLANDO ‐ REVENUE COLLECTION          400 S ORANGE AVE                  CENTRALIZED REVENUE 1ST FLOOR                                                       ORLANDO                 FL           32801‐3365
29956614          CITY OF OSAGE BEACH                           ATTN CITY CLERKS OFFICE           1000 CITY PARKWAY                                                                   OSAGE BEACH             MO           65065

29948946          CITY OF OSAGE BEACH ‐ CITY CLERK'S OFFICE     ATTN CITY CLERKS OFFICE           1000 CITY PARKWAY                                                                   OSAGE BEACH             MO           65065
29956615          CITY OF OSHKOSH                               ATTN INSPECTION SERVICES          215 CHURCH AVENUE RM 205                                                            OSHKOSH                 WI           54903
29948947          CITY OF OSHKOSH ‐ WEIGHTS & MEASURES          ATTN INSPECTION SERVICES          215 CHURCH AVENUE RM 205                                                            OSHKOSH                 WI           54903
29956616          CITY OF OSHKOSH, WI                           PO BOX 94350                                                                                                          PALATINE                IL           60094‐4350
29956618          CITY OF OWENSBORO                             PERSONAL PROPERTY TAX             PO BOX 638                                                                          OWENSBORO               KY           42302
29956619          CITY OF OWENSBORO                             PO BOX 10008                                                                                                          OWENSBORO               KY           42302
29956620          CITY OF OXNARD                                LICENSE SERVICES                  214 SOUTH C STREET                                                                  OXNARD                  CA           93030
29956621          CITY OF OXNARD, CA                            214 SOUTH C ST                                                                                                        OXNARD                  CA           93030‐5712
29956622          CITY OF PALM BEACH GARDENS                    LICENSE RENEWAL                   10500 N MILITARY TRAIL                                                              PALM BEACH GARDENS      FL           33410
29914405          CITY OF PALMDALE                              38250 SIERRA HIGHWAY                                                                                                  PALMDALE                CA           93550
29948951          CITY OF PALMDALE ‐ BUSINESS LICENSE           38250 SIERRA HIGHWAY                                                                                                  PALMDALE                CA           93550




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29914406          CITY OF PANAMA CITY                        LICENSE DEPARTMENT BOX 1880                                                                                           PANAMA CITY             FL           32402
29914408          CITY OF PARAMUS NJ                         C/O TAX COLLECTOR                 1 WEST JOCKISH SQUARE                                                               PARAMUS                 NJ           07652
29914409          CITY OF PARKERSBURG                        BUSINESS & OCC PRIV TAX           FINANCE DEPT PO BOX 1627                                                            PARKERSBURG             WV           26102
29914410          CITY OF PARMA                              6611 RIDGE RD.                                                                                                        PARMA                   OH           44129
29914411          CITY OF PARMA                              TAXATION DIVISION                 6611 RIDGE RD                                                                       PARMA                   OH           44129
29914412          CITY OF PEEKSKILL                          BUILDING DEPT                     840 MAIN STREET                                                                     PEEKSKILL               NY           10566
29914413          CITY OF PEMBROKE PINES                     10100 PINES BLVD                  4TH FLOOR A/R                                                                       PEMBROKE PINES          FL           33026
29914414          CITY OF PEMBROKE PINES                     601 CITY CENTER WAY               3RD FLOOR A/R                                                                       PEMBROKE PINES          FL           33025
29914415          CITY OF PEMBROKE PINES, FL                 PO BOX 269005                                                                                                         PEMBROKE PINES          FL           33026
29956625          CITY OF PEORIA                             8401 W MONROE STREET                                                                                                  PEORIA                  AZ           85345
29956624          CITY OF PEORIA                             8401 WEST MONROE                                                                                                      PEORIA                  AZ           85345
29948956          CITY OF PEORIA                             CITY HALL BUILDING                419 FULTON STREET                                                                   PEORIA                  IL           61602
29948957          CITY OF PEORIA BUSINESS LICENSING          8401 W MONROE STREET                                                                                                  PEORIA                  AZ           85345
29956626          CITY OF PEORIA DEPT OF FINANCE             CITY HALL BUILDING                419 FULTON STREET                                                                   PEORIA                  IL           61602
29956627          CITY OF PEORIA, AZ                         PO BOX 52155                                                                                                          PHOENIX                 AZ           85072‐2155
29956629          CITY OF PEORIA‐ALARMS                      PO BOX 143337                                                                                                         IRVING                  TX           75014
29964934          CITY OF PERU                               1901 4TH STREET                                                                                                       PERU                    IL           61354
29956630          CITY OF PERU, IL                           PO BOX 299                                                                                                            PERU                    IL           61354‐0299
29956633          CITY OF PHARR                              118 S CAGE BLVD                                                                                                       PHARR                   TX           78577
29956634          CITY OF PHILADELPHIA                       DEPARTMENT OF REVENUE             PO BOX 1018                                                                         PHILADELPHIA            PA           19105‐1018
                  CITY OF PHILADELPHIA, DEPARTMENT OF
29956635          REVENUE                                    PO BOX 1660                                                                                                           PHILADELPHIA            PA           19105‐1660
29914416          CITY OF PHOENIX, AZ ‐ 29100                PO BOX 29100                                                                                                          PHOENIX                 AZ           85038‐9100
29914419          CITY OF PITTSBURG                          PO BOX 1518                                                                                                           PITTSBURG               CA           94565
29914420          CITY OF PITTSFIELD                         PO BOX 981063                                                                                                         BOSTON                  MA           02298‐1063
29914421          CITY OF PLANTATION                         400 NW 73RD AVE.                                                                                                      PLANTATION              FL           33317
29914422          CITY OF PLANTATION, FL                     PO BOX 31132                                                                                                          TAMPA                   FL           33631
29914424          CITY OF POCATELLO, ID                      P.O. BOX 4169                                                                                                         POCATELLO               ID           83205‐4169
29914427          CITY OF POMPANO BEACH                      ALARM BILLING                     PO DRAWER 1300                                                                      POMPANO BEACH           FL           33061
29914426          CITY OF POMPANO BEACH                      PO DRAWER 1300                                                                                                        POMPANO BEACH           FL           33061
                  CITY OF POMPANO BEACH ‐ BUSINESS TAX
29948963          RECEIPT                                    PO DRAWER 1300                                                                                                        POMPANO BEACH           FL           33061
29950317          CITY OF PORT ORCHARD, WA                   216 PROSPECT STREET                                                                                                   PORT ORCHARD            WA           98366
29950319          CITY OF PORTAGE                            7900 S WESTNEDGE AVE                                                                                                  PORTAGE                 MI           49002
29950318          CITY OF PORTAGE                            7900 SOUTH WESTNEDGE                                                                                                  PORTAGE                 MI           49002
29950320          CITY OF PORTAGE MI                         C/O PROPERTY TAX OFFICE           7900 S WESTNEDGE AVENUE                                                             PORTAGE                 MI           49002
29950323          CITY OF PORTLAND                           PERSONAL PROPERTY TAXES           PO BOX 544‐1 CANAL PL                                                               PORTLAND                ME           04112
30288932          City of Portland                           Portland Water District           Thomas A. Quirk                   225 Douglass ST                PO Box 3553        Portland                ME           04104
29950322          CITY OF PORTLAND                           REVENUE BUREAU                    111 SW COLUMBIA STE 600                                                             PORTLAND                OR           97201‐5840
29950324          CITY OF PORTSMOUTH, NH                     PO BOX 1318                                                                                                           PORTSMOUTH              NH           03802‐6660
29950325          CITY OF PORTSMOUTH, NH                     WATER DEPARTMENT                  680 PEVERLY HILL ROAD                                                               PORTSMOUTH              NH           03801
29950326          CITY OF POWAY                              PO BOX 789                                                                                                            POWAY                   CA           92074‐0789
29950327          CITY OF POWAY                              PO BOX 789                                                                                                            SANTA ANA               CA           92704‐0789
29914429          CITY OF PUEBLO                             DEPT OF FINANCE ‐ SALES TAX DIV   PO BOX 1427                                                                         PUEBLO                  CO           81002
29914428          CITY OF PUEBLO                             P.O. BOX 1427                                                                                                         PUEBLO                  CO           81002
29914431          CITY OF QUINCY                             ATTN: CITY TREASURER              1305 HANCOCK ST, 1ST FLOOR                                                          QUINCY                  MA           02169
29953588          CITY OF RACINE ‐ CITY CLERK                OFFICE OF THE CITY CLERK          730 WASHINGTON AVE                                                                  RACINE                  WI           53403‐1146
29914432          CITY OF RACINE WI                          OFFICE OF THE CITY CLERK          730 WASHINGTON AVE                                                                  RACINE                  WI           53403‐1146
29914433          CITY OF RALEIGH                            REVENUE SERVICES 33               PO BOX 590                                                                          RALEIGH                 NC           27602‐0590
29914435          CITY OF RALEIGH, NC                        222 W. HARGETT ST.                                                                                                    RALEIGH                 NC           27601
29914434          CITY OF RALEIGH, NC                        PO BOX 71081                                                                                                          CHARLOTTE               NC           28272‐1081
29914436          CITY OF RANCHO CUCAMONGA                   10500 CIVIC CENTER DRIVE                                                                                              RANCHO CUCAMONGA        CA           91730
29914437          CITY OF RANCHO MIRAGE                      FINANCE DIVISION                  69‐825 HIGHWAY III                                                                  RANCHO MIRAGE           CA           92270
                  CITY OF RANCHO MIRAGE ‐ BUSINESS LICENSE
29953590          DIVISION                                   FINANCE DIVISION                  69‐825 HIGHWAY III                                                                  RANCHO MIRAGE           CA           92270
29914438          CITY OF REDDING                            PO BOX 496071                                                                                                         REDDING                 CA           96049‐6071
29953591          CITY OF REDDING ‐ CITY CLERK               PO BOX 496071                                                                                                         REDDING                 CA           96049‐6071
29956636          CITY OF REDDING CA                         C/O SHASTA COUNTY TAX COLLECTOR   1450 COURT STREET                 SUITE 227                                         REDDING                 CA           96001
29956637          CITY OF REDDING, CA/496081                 PO BOX 496081                                                                                                         REDDING                 CA           96049‐6081
29953593          CITY OF REDLANDS                           CITY OF REDLANDS                  PO BOX 3005                                                                         REDLANDS                CA           92373
30296295          City of Redlands                           Yvette Abich Garcia               300 E State Street                Ste 690                                           Redlands                CA           92373
29956639          CITY OF REDLANDS, CA/6903                  P.O. BOX 6903                                                                                                         REDLANDS                CA           92375‐0903
29956641          CITY OF REDMOND                            BUSINESS LICENSE                  716 SW EVERGREEN AVENUE                                                             REDMOND                 OR           97756




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                  CITY OF REDMOND ‐ BUSINESS LICENSE
29953594          RENEWAL                                      BUSINESS LICENSE                    716 SW EVERGREEN AVENUE                                                             REDMOND                  OR           97756
29956643          CITY OF REDWOOD CITY                         BUSINESS LICENSE                    PO BOX 3355                                                                         REDWOOD CITY             CA           94064‐3355
29956645          CITY OF RENO                                 ALARM PROGRAM                       PO BOX 142857                                                                       IRVING                   TX           75014
29956644          CITY OF RENO                                 BUSINESS LICENSE RENEWALS           PO BOX 1900                                                                         RENO                     NV           89505
29948965          CITY OF RENO ‐ BUSINESS LICENSE DIVISION     BUSINESS LICENSE RENEWALS           PO BOX 1900                                                                         RENO                     NV           89505
29956646          CITY OF RENTON                               ATTN: FINANCE/ AR                   1055 SOUTH GRADY WAY                                                                RENTON                   WA           98057
29948966          CITY OF RENTON ‐ TAX & LICENSE               QUARTERLY LICENSE FEE               1055 S GRADY WAY                                                                    RENTON                   WA           98055
29956647          CITY OF RENTON WASHINGTON                    QUARTERLY LICENSE FEE               1055 S GRADY WAY                                                                    RENTON                   WA           98055
29956648          CITY OF RENTON, WA                           PO BOX 9119                                                                                                             RENTON                   WA           98057‐3002
29914440          CITY OF RICHMOND, VA                         PO BOX 71210                                                                                                            CHARLOTTE                NC           28272‐1210
29914442          CITY OF RIDGECREST                           100 WEST CALIFORNIA AVENUE                                                                                              RIDGECREST               CA           93555
29914443          CITY OF RIVERDALE                            BUSINESS LICENSE                    4600 SOUTH WEBER RIVER DR                                                           RIVERDALE                UT           84405
29914444          CITY OF RIVERSIDE                            CITY HALL                           3900 MAIN ST                                                                        RIVERSIDE                CA           92522
29914445          CITY OF RIVERSIDE ‐ FINANCE DEPT             3900 MAIN STREET                                                                                                        RIVERSIDE                CA           92522‐0144
29964935          CITY OF RIVERSIDE PUBLIC UTILITIES           3900 MAIN ST.                                                                                                           RIVERSIDE                CA           92522
29914447          CITY OF ROANOKE                              COMMISSIONER OF REVENUE             215 CHURCH AVE SW RM 251                                                            ROANOKE                  VA           24011
29914446          CITY OF ROANOKE                              P O BOX 1451                        ATTN TREASURER                                                                      ROANOKE                  VA           24007
29914448          CITY OF ROANOKE, TREASURER                   P O BOX 1451                                                                                                            ROANOKE                  VA           24007‐1451
29914449          CITY OF ROCHESTER                            DEPT OF BUILDING SAFETY             31 WAKEFIELD STREET                                                                 ROCHESTER                NH           03867
                  CITY OF ROCHESTER ‐ BUILDING, ZONING &
29948969          LICENSING                                    DEPT OF BUILDING SAFETY             31 WAKEFIELD STREET                                                                 ROCHESTER                NH           03867
29951675          CITY OF ROCHESTER HILLS                      1000 ROCHESTER HILLS DR                                                                                                 ROCHESTER HILLS          MI           48309
29951674          CITY OF ROCHESTER HILLS                      16748 COLLECTION CENTER DRIVE                                                                                           CHICAGO                  IL           60693‐6748
29951677          CITY OF ROCHESTER HILLS WATER & SEWER        ATTN: UTILITY DEPARTMENT            1000 ROCHESTER HILLS DR.                                                            ROCHESTER HILLS          MI           48309
29951676          CITY OF ROCHESTER HILLS WATER & SEWER        PO BOX 94593                                                                                                            CLEVELAND                OH           44101‐4593
29951678          CITY OF ROCK SPRINGS                         212 D STREET                                                                                                            ROCK SPRINGS             WY           82901
29951679          CITY OF ROCKFORD ‐ ALARMS                    PO BOX 6112                                                                                                             CONCORD                  CA           94524
29951682          CITY OF ROCKY MOUNT                          P.O. BOX 1180                                                                                                           ROCKY MOUNT              NC           27802‐1180
29951681          CITY OF ROCKY MOUNT                          PO BOX 1180                                                                                                             ROCKY MOUNT              NC           27802
30263169          CITY OF ROCKY MOUNT                          TIFFANY TAYLOR                      224 S FRANKLIN ST                                                                   ROCKY MOUNT              NC           27802
29951684          CITY OF ROGERS                               CITY CLERK'S OFFICE                 301 WEST CHESTNUT                                                                   ROGERS                   AR           72756
29951685          CITY OF ROHNERT PARK                         FINANCE OFFICE                      PO BOX 1489                                                                         ROHNERT PARK             CA           94927
29914450          CITY OF ROSEBURG, OR                         900 SE DOUGLAS AVENUE                                                                                                   ROSEBURG                 OR           97470‐3397
29914452          CITY OF ROSEVILLE                            29777 GRATIOT AVE                                                                                                       ROSEVILLE                MI           48066
29951312          CITY OF ROSEVILLE                            8839 N CEDAR AVE #212                                                                                                   FRESNO                   CA           93720‐1832
29914451          CITY OF ROSEVILLE                            CITY CLERK                          PO BOX 290                                                                          ROSEVILLE                MI           48066
29914453          CITY OF ROSEVILLE                            FIRE MARSHAL‐ ROSEVILLE FIRE DEPT   18750 COMMON ROAD                                                                   ROSEVILLE                MI           48066
29951313          CITY OF ROSEVILLE ‐ CITY CLERKS OFFICE       CITY CLERK                          PO BOX 290                                                                          ROSEVILLE                MI           48066
29914454          CITY OF ROSEVILLE, CA                        PO BOX 619136                                                                                                           ROSEVILLE                CA           95661‐9136
29914456          CITY OF ROSEVILLE, MI                        29777 GRATIOT AVE                                                                                                       ROSEVILLE                MI           48066
29914458          CITY OF SACRAMENTO ZONING ADMIN.             827 7TH STREET, RM 102                                                                                                  SACRAMENTO               CA           95814
29914459          CITY OF SALEM, OR                            PO BOX 2795                                                                                                             PORTLAND                 OR           97208‐2795
29914460          CITY OF SALEM, OR                            PUBLIC WORKS DEPARTMENT             555 LIBERTY STREET SE              ROOM 325                                         SALEM                    OR           97301
29914461          CITY OF SALINA, KS                           P.O. BOX 1307                                                                                                           SALINA                   KS           67402‐1307
29953196          CITY OF SALINAS                              200 LINCOLN AVENUE                                                                                                      SALINAS                  CA           93901‐2639
29953197          CITY OF SALINAS                              PO BOX 269110                                                                                                           SACRAMENTO               CA           95826‐9110
29951314          CITY OF SALINAS ‐ FINANCE DEPT               200 LINCOLN AVENUE                                                                                                      SALINAS                  CA           93901‐2639
29953198          CITY OF SALINAS CA                           C/O TREASURER/TAX COLLECTOR         168 WEST ALISAL STREET             1ST FLOOR                                        SALINAS                  CA           93901
29953200          CITY OF SAN ANTONIO                          332 W COMMERCE ST ROOM 101                                                                                              SAN ANTONIO              TX           78205
29953199          CITY OF SAN ANTONIO                          FINANCIAL SERVICES DIVISION         PO BOX 60                                                                           SAN ANTONIO              TX           78291‐0060
29953201          CITY OF SAN ANTONIO                          POLICE DEPARTMENT ALARMS OFFICE     315 SOUTH SANTA ROSA STREET                                                         SAN ANTONIO              TX           78207
                  CITY OF SAN ANTONIO ‐ FINANCIAL SERVICES ‐
29951316          REVENUE                                      FINANCIAL SERVICES DIVISION         PO BOX 60                                                                           SAN ANTONIO              TX           78291‐0060
                  CITY OF SAN ANTONIO ‐ FINANCIAL SERVICES
29951317          DIVISION                                     332 W COMMERCE ST ROOM 101                                                                                              SAN ANTONIO              TX           78205
29953202          CITY OF SAN DIEGO                            TREASURER                           PO BOX 129039                                                                       SAN DIEGO                CA           92112
29951318          CITY OF SAN DIEGO ‐ CITY TREASURER           PO BOX 121536                                                                                                           SAN DIEGO                CA           92112
29953203          CITY OF SAN JOSE                             PO BOX 45710                                                                                                            SAN FRANCISCO            CA           94145
29953204          CITY OF SAN LEANDRO                          FINANCE DEPT                        835 EAST 14TH STREET                                                                SAN LEANDRO              CA           94577
29953205          CITY OF SAN MATEO                            FINANCE DEPT.                       330 W 20TH AVE                                                                      SAN MATEO                CA           94403
29953206          CITY OF SANFORD                              PO BOX 1788                                                                                                             SANFORD                  FL           32772
29914462          CITY OF SANTA FE                             ACCOUNTS RECEIVABLE UNIT            PO BOX 909                                                                          SANTA FE                 NM           87504‐0909




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29914463          CITY OF SANTA FE                            FALSE ALARM REDUCTION PROGRAM    PO BOX 912695                                                                       DENVER                    CO           80291‐2695
                  CITY OF SANTA FE ‐ BUSINESS
29951323          REGISTRATION/LICENSING                      ACCOUNTS RECEIVABLE UNIT         PO BOX 909                                                                          SANTA FE                  NM           87504‐0909
29914465          CITY OF SANTA FE, NM                        200 LINCOLN AVE                                                                                                      SANTA FE                  NM           87501
29914464          CITY OF SANTA FE, NM                        PO BOX 842004                                                                                                        LOS ANGELES               CA           90084‐2004
29914466          CITY OF SANTA MARIA                         110 EAST COOK STREET RM 5                                                                                            SANTA MARIA               CA           93454
29914467          CITY OF SANTA MARIA CALIF                   FINANCE DIVISION                 206 E. COOK STREET                                                                  SANTA MARIA               CA           93454‐5136
29914469          CITY OF SANTA ROSA                          BUSINESS LICENSES                PO BOX 1678                                                                         SANTA ROSA                CA           95402
                  CITY OF SANTA ROSA ‐ BUSINESS TAX SUPPORT
29948977          CENTER                                      BUSINESS LICENSES                PO BOX 1678                                                                         SANTA ROSA                CA           95402
29914470          CITY OF SAULT STE MARIE                     CITY TREASURER'S OFFICE          225 EAST PORTAGE AVENUE                                                             SAULT SAINTE MARIE        MI           49783‐2181
29914472          CITY OF SAVANNAH, GA                        2 E BAY ST                                                                                                           SAVANNAH                  GA           31401
29914471          CITY OF SAVANNAH, GA                        PO BOX 1968                                                                                                          SAVANNAH                  GA           31402‐1968
29914473          CITY OF SAVANNAH‐REVENUE DEPT               132 E BROUGHTON ST               PO BOX 1228                                                                         SAVANNAH                  GA           31402‐1228
29951733          CITY OF SEATTLE                             DEPT FINANCES & ADMIN SERVICES   PO BOX 34214                                                                        SEATTLE                   WA           98124‐4214
29951734          CITY OF SEATTLE                             REVENUE AND CONSUMER AFFAIRS     PO BOX 34907                                                                        SEATTLE                   WA           98124‐1907
                  CITY OF SEATTLE ‐ DEPT OF FINANCE & ADMIN
29948981          SERVICE                                     DEPT FINANCES & ADMIN SERVICES   PO BOX 34214                                                                        SEATTLE                   WA           98124‐4214
                                                              C/O KING COUNTY TREASURY
29951735          CITY OF SEATTLE WA                          OPERATIONS                       201 SOUTH JACKSON STREET #710                                                       SEATTLE                   WA           98104
29951736          CITY OF SEATTLE/SEATTLE CITY LIGHT          PO BOX 35178                                                                                                         SEATTLE                   WA           98124‐5178
29951739          CITY OF SEVIERVILLE                         PO BOX 5500                                                                                                          SEVIERVILLE               TN           37864
29951740          CITY OF SHAKOPEE                            485 GORMAN STREET                                                                                                    SHAKOPEE                  MN           55379
29951741          CITY OF SHAWNEE                             11110 JOHNSON DRIVE                                                                                                  SHAWNEE                   KS           66203‐2799
29951742          CITY OF SHAWNEE, OK                         PO BOX 248939                                                                                                        OKLAHOMA CITY             OK           73124‐8939
29951744          CITY OF SHERMAN                             CITY CLERK                       PO BOX 1106                                                                         SHERMAN                   TX           75091
30206985          City of Sherman                             Grayson County Tax Office        P.O. Box 2107                                                                       Sherman                   TX           75091
29914474          CITY OF SHERMAN, TX                         PO BOX 1106                                                                                                          SHERMAN                   TX           75091‐1106
29914476          CITY OF SHORELINE                           PO BOX 84226                                                                                                         SEATTLE                   WA           98124‐5526
29914477          CITY OF SHREVEPORT                          REVENUE DIVISION                 PO BOX 30168                                                                        SHREVEPORT                LA           71130‐0168
29914478          CITY OF SHREVEPORT, LA ‐ 30065              P.O. BOX 30065                                                                                                       SHREVEPORT                LA           71153
29914480          CITY OF SIERRA VISTA                        1011 NORTH CORONADO DRIVE                                                                                            SIERRA VISTA              AZ           85635
29914481          CITY OF SIMI VALLEY                         PO BOX 1680                                                                                                          SIMI VALLEY               CA           93062‐1680
                  CITY OF SIMI VALLEY ‐ BUSINESS SUPPORT
29950785          CENTER                                      PO BOX 1680                                                                                                          SIMI VALLEY               CA           93062‐1680
29914482          CITY OF SIMI VALLEY, CA                     2929 TAPO CANYON RD                                                                                                  SIMI VALLEY               CA           93063
29914483          CITY OF SLIDELL                             PO BOX 828                                                                                                           SLIDELL                   LA           70459
29950786          CITY OF SLIDELL OCCUPATIONAL LICENSE        PO BOX 828                                                                                                           SLIDELL                   LA           70459
29914484          CITY OF SLIDELL, LA                         PO BOX 828                                                                                                           SLIDELL                   LA           70459‐0828
29950578          CITY OF SNELLVILLE                          PO BOX 844                                                                                                           SNELLVILLE                GA           30078
29950579          CITY OF SONORA                              94 N WASHINGTON STREET                                                                                               SONORA                    CA           95370
29950580          CITY OF SOUTHAVEN                           8710 NORTHWEST DRIVE                                                                                                 SOUTHAVEN                 MS           38671
29950789          CITY OF SOUTHAVEN ‐ CITY CLERK              8710 NORTHWEST DRIVE                                                                                                 SOUTHAVEN                 MS           38671
30209522          CITY OF SOUTHLAKE TEXAS PUBLIC LIBRARY      1400 MAIN STREET                 SUITE 130                                                                           SOUTHLAKE                 TX           76092
29950583          CITY OF SPOKANE FIRE DEPARTMENT             44 W RIVERSIDE AVE                                                                                                   SPOKANE                   WA           99201
29950584          CITY OF SPOKANE VALLEY                      POLICE DEPT                      12710 E SPRAGUE                                                                     SPOKANE VALLEY            WA           99216
29950585          CITY OF SPOKANE, WA                         808 WEST SPOKANE FALLS BLVD                                                                                          SPOKANE                   WA           99256‐0001
29950586          CITY OF SPRINGFIELD                         PO BOX 8368                                                                                                          SPRINGFIELD               MO           65801‐8368
                  CITY OF SPRINGFIELD ‐ DEPT OF FINANCE
29950790          LICENSE DIV                                 PO BOX 8368                                                                                                          SPRINGFIELD               MO           65801‐8368
29950587          CITY OF ST JOSEPH                           1100 FREDERICK AVE                                                                                                   SAINT JOSEPH              MO           64501
29950589          CITY OF ST PETERS                           CITY COLLECTOR                   PO BOX 9                                                                            SAINT PETERS              MO           63376‐0009
29950588          CITY OF ST PETERS                           PO BOX 9                                                                                                             SAINT PETERS              MO           63376
29950792          CITY OF ST PETERS ‐ BUSINESS LICENSING      CITY COLLECTOR                   PO BOX 9                                                                            SAINT PETERS              MO           63376‐0009
29914486          CITY OF ST PETERS, MO                       ONE ST. PETERS CENTRE BLVD                                                                                           ST. PETERS                MO           63376
29950590          CITY OF ST PETERS, MO                       PO BOX 9                                                                                                             SAINT PETERS              MO           63376
29914487          CITY OF ST PETERSBURG                       PO BOX 2842                                                                                                          SAINT PETERSBURG          FL           33731
                  CITY OF ST PETERSBURG ‐ BUSINESS TAX
29950793          DIVISION                                    PO BOX 2842                                                                                                          SAINT PETERSBURG          FL           33731
29914489          CITY OF ST. CLOUD, MN                       1201 7TH STREET SOUTH                                                                                                ST. CLOUD                 MN           56301
29914488          CITY OF ST. CLOUD, MN                       P.O. BOX 1501                                                                                                        ST. CLOUD                 MN           56302‐1501

30209524          CITY OF ST. LOUIS MUNICIPAL LIBRARY DISTRICT 1415 OLIVE STREET                                                                                                   ST. LOUIS                 MO           63103




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29914490          CITY OF ST. MATTHEWS                        PO BOX 7097                                                                                                         LOUISVILLE             KY           40257
                  CITY OF ST. MATTHEWS ‐ BUSINESS LICENSE/OCC
29950794          TAX                                         CITY OF ST MATTHEWS BUS LICENSE   PO BOX 7097                                                                       LOUISVILLE             KY           40257‐0097
29914492          CITY OF STEUBENVILLE, OH                    P.O. BOX 4700                                                                                                       STEUBENVILLE           OH           43952‐2194
29964936          CITY OF STILLWATER OKLAHOMA                 723 SOUTH LEWIS STREET                                                                                              STILLWATER             OK           74074
30210696          CITY OF STILLWATER OKLAHOMA                 PO BOX 1725                                                                                                         STILLWATER             OK           74076
29914493          CITY OF STILLWATER, OK                      P.O. BOX 1449                                                                                                       STILLWATER             OK           74076
29914495          CITY OF STOCKTON                            BUSINESS LICENSE                  PO BOX 1570                                                                       STOCKTON               CA           95201‐1570
29956649          CITY OF STOCKTON POLICE DEPT                22 E WEBER ST #350                                                                                                  STOCKTON               CA           95202
29956650          CITY OF STOW, INCOME TAX DIVISION           P.O. BOX 1668                                                                                                       STOW                   OH           44224
30209525          CITY OF SUBIACO LIBRARY SERVICES            237 ROKEBY RD                                                                                                       SUBIACO, WA                                         AUSTRALIA
30209526          CITY OF SUBIACO LIBRARY SERVICES            PO BOX 270                                                                                                          SUBIACO, WA                         6904            AUSTRALIA
29956651          Name on file                                Address on file
29956652          CITY OF SUGAR LAND, TX                      PO BOX 5029                                                                                                         SUGAR LAND             TX           77487‐5029
29956654          CITY OF TACOMA                              TAX & LICENSE DIVISION            PO BOX 11640                                                                      TACOMA                 WA           98411‐6640
29948988          CITY OF TACOMA DEPT OF FINANCE              TAX & LICENSE DIVISION            PO BOX 11640                                                                      TACOMA                 WA           98411‐6640
29956655          CITY OF TACOMA FIRE DEPT                    CITY TREASURER                    747 MARKET ST., RM 246                                                            TACOMA                 WA           98402
29956656          CITY OF TACOMA PUBLIC UTILITIES             PO BOX 11010                                                                                                        TACOMA                 WA           98411‐1010
29956659          CITY OF TAMPA                               LICENSE TAX DIVISION              PO BOX 2200                                                                       TAMPA                  FL           33601‐2200
29956660          CITY OF TAMPA                               PO BOX 23328                                                                                                        TAMPA                  FL           33623‐3328
29948989          CITY OF TAMPA ‐ BUSINESS TAX DIVISION       LICENSE TAX DIVISION              PO BOX 2200                                                                       TAMPA                  FL           33601‐2200
29914498          CITY OF TAVARES                             PO BOX 1068                                                                                                         TAVARES                FL           32778
29914499          CITY OF TAVARES, FL                         P.O. BOX 1068                                                                                                       TAVARES                FL           32778
29914501          CITY OF TAYLOR                              BUSINESS LICENSE                  23555 GODDARD RD                                                                  TAYLOR                 MI           48180
29914502          CITY OF TAYLOR, MI ‐ WATER DEPT             P.O. BOX 298                                                                                                        TAYLOR                 MI           48180
29914504          CITY OF TAYLORSVILLE                        2600 WEST TAYLORSVILLE BLVD                                                                                         TAYLORSVILLE           UT           84118
30223090          CITY OF TEMECULA                            41000 MAIN STREET                                                                                                   TEMECULA               CA           92590

29948994          CITY OF TEMECULA ‐ ATTN: BUSINESS LICENSE   ATTN: BUSINESS LICENSE            41000 MAIN STREET                                                                 TEMECULA               CA           92590
29914505          CITY OF TERRE HAUTE/SEWER                   PO BOX 21043                                                                                                        TULSA                  OK           74121‐1043
29914507          CITY OF THOUSAND OAKS                       BUSINESS LICENSE TAX SECTION      2100 E THOUSAND OAKS BLVD                                                         THOUSAND OAKS          CA           91362‐2903

29948995          CITY OF THOUSAND OAKS ‐ BUSINESS TAX DEPT   BUSINESS LICENSE TAX SECTION      2100 E THOUSAND OAKS BLVD                                                         THOUSAND OAKS          CA           91362‐2903
29914508          CITY OF TIFTON                              BUSINESS LICENSE DIVISION         204 NORTH RIDGE AVENUE                                                            TIFTON                 GA           31793
29914509          CITY OF TIFTON, GA                          PO BOX 229                                                                                                          TIFTON                 GA           31793
29914511          CITY OF TIGARD                              BUSINESS TAX DEPARTMENT           13125 SW HALL BLVD                                                                TIGARD                 OR           97223
29914512          CITY OF TIGARD                              POLICE DEPARTMENT                 13125 SW HALL BLVD                                                                TIGARD                 OR           97223
29948997          CITY OF TIGARD ‐ ATTN: BUSINESS LICENSE     BUSINESS TAX DEPARTMENT           13125 SW HALL BLVD                                                                TIGARD                 OR           97223
29914513          CITY OF TIGARD, OR                          PO BOX 4800                                                                                                         PORTLAND               OR           97208‐4800
29914515          CITY OF TOLEDO, INCOME TAX DIVISION         ONE GOVERNMENT CENTER #2070                                                                                         TOLEDO                 OH           43604
29914516          CITY OF TOLEDO‐DEPT OF PUBLIC UTILITIES     PO BOX 88093                                                                                                        CHICAGO                IL           60680‐1093
29914518          CITY OF TOPEKA, KS                          PO BOX 957904                                                                                                       ST LOUIS               MO           63195‐7904
29914520          CITY OF TORRANCE                            3031 TORRANCE BLVD                                                                                                  TORRANCE               CA           90503

29951289          CITY OF TORRANCE ‐ BUSINESS LICENSE DIVISION 3031 TORRANCE BLVD                                                                                                 TORRANCE               CA           90503
29914521          CITY OF TORRANCE UTILITIES                   PO BOX 845629                                                                                                      LOS ANGELES            CA           90084‐5629
29914524          CITY OF TRAVERSE CITY, MI                    PO BOX 592                                                                                                         TRAVERSE CITY          MI           49696‐5920
                  CITY OF TROTWOOD, INCOME TAX SUPPORT
29914525          SERVICES                                     4 STRADER DRIVE                                                                                                    TROTWOOD               OH           45426‐3395
29914528          CITY OF TUCSON                               COLLECTIONS                      PO BOX 27320                                                                      TUCSON                 AZ           85726
29914527          CITY OF TUCSON                               FINANCE DEPT REVENUE DIVISION    PO BOX 27320                                                                      TUCSON                 AZ           85726‐7320
29914526          CITY OF TUCSON                               POLICE DEPT/ ALARM UNIT          1310 W MIRACLE MILE                                                               TUCSON                 AZ           85705
29951292          CITY OF TUCSON ATTN: COLLECTIONS             COLLECTIONS                      PO BOX 27320                                                                      TUCSON                 AZ           85726
29914529          CITY OF TUCSON, AZ                           PO BOX 51040                                                                                                       LOS ANGELES            CA           90051‐5340
29951293          CITY OF TUKWILA                              PO BOX 9034                                                                                                        OLYMPIA                WA           98507
29914532          CITY OF TULSA                                DEPT 2583                                                                                                          TULSA                  OK           74182
29914533          CITY OF TULSA UTILITIES                      UTILITIES SERVICES               175 EAST 2ND ST, STE 690                                                          TULSA                  OK           74103
29914535          CITY OF TUPELO                               PO BOX 1485                                                                                                        TUPELO                 MS           38804
29914536          CITY OF TURLOCK                              156 S BROADWAY STE 114                                                                                             TURLOCK                CA           95380‐5454
29914537          CITY OF TURLOCK, CA                          PO BOX 1230                                                                                                        SUISUN CITY            CA           94585‐1230
29951296          CITY OF TUSCALOOSA REVENUE DIVISION          REVENUE DEPT                     PO BOX 2089                                                                       TUSCALOOSA             AL           35403
29914540          CITY OF TUSCALOOSA, AL                       PO BOX 71293                                                                                                       CHARLOTTE              NC           28272‐1293
29914542          CITY OF TUSCALOOSA, REVENUE DEPT.            P. O. BOX 2089                                                                                                     TUSCALOOSA             AL           35403




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  ADDRESS ID                           NAME                                    ADDRESS 1                         ADDRESS 2                        ADDRESS 3                 ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
29914543          CITY OF VACAVILLE                              660 MERCHANT STREET                                                                                                    VACAVILLE                 CA           95688
29951298          CITY OF VACAVILLE ‐ BUSINESS LICENSE           660 MERCHANT STREET                                                                                                    VACAVILLE                 CA           95688
29914546          CITY OF VANCOUVER                              PO BOX 1995                                                                                                            VANCOUVER                 WA           98668‐1995
29914545          CITY OF VANCOUVER                              PO BOX 8995                                                                                                            VANCOUVER                 WA           98668‐8995
29914547          CITY OF VANCOUVER, WA/35195                    PO BOX 35195                                                                                                           SEATTLE                   WA           98124‐5195
29964937          CITY OF VERO BEACH                             1053 20TH PL                                                                                                           VERO BEACH                FL           32960
30210697          CITY OF VERO BEACH                             PO BOX 1180                                                                                                            VERO BEACH                FL           32961
                  CITY OF VIRGINIA BEACH COMMISSIONER OF
29951299          THE REVENUE                                    ROBERT P VAUGHAN                    CITY HALL                                                                          VIRGINIA BEACH            VA           23456‐9002
29914549          CITY OF VIRGINIA BEACH TREASURER               2401 COURTHOUSE DRIVE                                                                                                  VIRGINIA BEACH            VA           23456
29914550          CITY OF VISALIA                                PO BOX 4002                                                                                                            VISALIA                   CA           93278‐4002
29914551          CITY OF VISALIA U                              UTILITIES                           PO BOX 80268                                                                       CITY OF INDUSTRY          CA           91716
29914552          CITY OF VISALIA, CA ‐ UTILITY BILLING          PO BOX 80268                                                                                                           CITY OF INDUSTRY          CA           91716‐8268
30168063          City of Waco Water                             City of Waco Water Office           P.O. Box 2649                                                                      Waco                      TX           76702
29914554          CITY OF WACO WATER OFFICE                      P.O. BOX 2649                                                                                                          WACO                      TX           76702‐2649
29956661          CITY OF WARNER ROBINS                          OCCUPATION TAX DIVISION             202 N DAVIS DR PMB 718                                                             WARNER ROBINS             GA           31093
29914557          CITY OF WARNER ROBINS                          TAX OFFICE                          PO BOX 8629                                                                        WARNER ROBINS             GA           31095
29956662          CITY OF WARNER ROBINS, GA                      PO BOX 8659                                                                                                            WARNER ROBINS             GA           31095‐8659
29956664          CITY OF WARRENTON                              225 S MAIN AVENUE                                                                                                      WARRENTON                 OR           97146
29956665          CITY OF WARRENTON, OR                          P.O. BOX 250                                                                                                           WARRENTON                 OR           97146
29956667          CITY OF WARWICK TAX COLLECTOR                  TAX COLLECTORS OFFICE               PO BOX 981027                                                                      BOSTON                    MA           02298‐1027
29956668          CITY OF WASHINGTON                             CITY COLLECTOR'S OFFICE             405 JEFFERSON STREET                                                               WASHINGTON                MO           63090
                  CITY OF WASHINGTON, MO ‐ BUSINESS LICENSE
29949003          DEPT                                           CITY COLLECTOR'S OFFICE             405 JEFFERSON STREET                                                               WASHINGTON                MO           63090
29956670          CITY OF WASILLA                                290 E HERNING AVENUE                                                                                                   WASILLA                   AK           99654
29956671          CITY OF WASILLA                                290 E HERNING AVENUE                                                                                                   WASILLA                   AK           99654‐7091
29956672          CITY OF WASILLA                                FINANCE DEPT                        290 EAST HERNING AVE                                                               WASILLA                   AK           99654‐7091
29949005          CITY OF WASILLA ‐ FINANCE DEPT                 FINANCE DEPT                        290 EAST HERNING AVE                                                               WASILLA                   AK           99654‐7091
29914560          CITY OF WATERVILLE                             ONE COMMON STREET                                                                                                      WATERVILLE                ME           04901
29914561          Name on file                                   Address on file
29914562          CITY OF WAUKESHA TREASURER                     201 DELAFIELD STREET                                                                                                   WAUKESHA                  WI           53188‐3693
29914563          CITY OF WEST COLUMBIA                          PO BOX 4044                                                                                                            WEST COLUMBIA             SC           29171‐4044
29914565          CITY OF WEST COLUMBIA, SC                      200 N. 12TH STREET                                                                                                     WEST COLUMBIA             SC           29169
29914564          CITY OF WEST COLUMBIA, SC                      P.O. BOX 4044                                                                                                          WEST COLUMBIA             SC           29171‐4044
29914566          CITY OF WEST MELBOURNE                         2240 MINTON RD.                                                                                                        WEST MELBOURNE            FL           32904
29914567          CITY OF WEST MELBOURNE, FL                     PO BOX 120009                                                                                                          WEST MELBOURNE            FL           32912‐0009
29914569          CITY OF WESTMINSTER                            PO BOX 17107                                                                                                           DENVER                    CO           80217
29952968          CITY OF WESTMINSTER                            TAX DEPT                            56 W MAIN STREET                                                                   WESTMINSTER               MD           21157
29952969          CITY OF WESTMINSTER, MD                        45 W MAIN ST                                                                                                           WESTMINSTER               MD           21157

29952970          CITY OF WESTMINSTER, SALES TAX DIVISION        4800 W. 92ND AVE                                                                                                       WESTMINSTER               CO           80031
29952971          CITY OF WHITTIER                               13230 PENN STREET                                                                                                      WHITTIER                  CA           90602‐1772
29952972          CITY OF WHITTIER                               FALSE ALARM DEPT                    13230 EAST PENN ST                                                                 WHITTIER                  CA           90602‐1772

29952367          CITY OF WHITTIER ‐ BUSINESS LICENSE DIVISION   13230 PENN STREET                                                                                                      WHITTIER                  CA           90602‐1772
29952973          CITY OF WILMINGTON                             COLLECTIONS DIVISION                PO BOX 1810                                                                        WILMINGTON                NC           28402
29952974          CITY OF WINSTON‐SALEM                          CITY REVENUE OFFICE, CITY HALL S.   100 E. FIRST ST., PO BOX 2756                                                      WINSTON SALEM             NC           27101
29952975          CITY OF WINSTON‐SALEM                          CITY‐CNTY UTILITIES DIVISION        PO BOX 2756                                                                        WINSTON SALEM             NC           27102‐2756
29952976          CITY OF WINSTON‐SALEM NC                       C/O TAX ASSESSOR/COLLECTOR          201 NORTH CHESTNUT STREET                                                          WINSTON‐SALEM             NC           27101
29952978          CITY OF WINSTON‐SALEM, NC                      101 NORTH MAIN STREET                                                                                                  WINSTON‐SALEM             NC           27101
29952977          CITY OF WINSTON‐SALEM, NC                      PO BOX 580055                                                                                                          CHARLOTTE                 NC           28258‐0055
29952979          CITY OF WINTER GARDEN                          300 WEST PLANT STREET                                                                                                  WINTER GARDEN             FL           34787
29914571          CITY OF WINTER HAVEN                           OCCUPATIONAL LICENSE DIVISION       PO BOX 2277                                                                        WINTER HAVEN              FL           33883‐2277
29914573          CITY OF WOODLAND                               ATTENTION: AR                       300 FIRST STREET                                                                   WOODLAND                  CA           95695
29914574          CITY OF WOODLAND                               ATTN: AR (ALARMS)                   300 FIRST STREET                                                                   WOODLAND                  CA           95695

29952370          CITY OF WOODLAND ‐ COMM DEVELOP DEPT           ATTENTION: AR                       300 FIRST STREET                                                                   WOODLAND                  CA           95695

29914575          CITY OF WOOSTER, INCOME TAX DEPARTMENT         P.O. BOX 1088                                                                                                          WOOSTER                   OH           44691
29914576          CITY OF YAKIMA                                 129 N 2ND ST                        2ND FLOOR                                                                          YAKIMA                    WA           98901
29914577          CITY OF YAKIMA                                 ACCOUNTS RECEIVABLE                 129 NORTH 2ND STREET                                                               YAKIMA                    WA           98901‐2521
29914579          CITY OF YAKIMA, WA                             ATTN: UTILITY DEPARTMENT            129 NORTH SECOND STREET                                                            YAKIMA                    WA           98901
29914578          CITY OF YAKIMA, WA                             PO BOX 22720                                                                                                           YAKIMA                    WA           98907‐2720




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29914580          CITY OF YUBA CITY                            1201 CIVIC CENTER BLVD                                                                                                  YUBA CITY               CA           95993
29952373          CITY OF YUBA CITY ‐ BUSINESS LICENSING       1201 CIVIC CENTER BLVD                                                                                                  YUBA CITY               CA           95993

29954360          CITY OF ZANESVILLE, DIVISION OF INCOME TAX   401 MARKET ST.                      RM 122                                                                              ZANESVILLE              OH           43701
29954361          Name on file                                 Address on file
29954364          CITY TREASURER                               BUSINESS LICENSE 783                129 NORTH SECOND STREET                                                             YAKIMA                  WA           98901
29954363          CITY TREASURER                               CITY BUSINESS LICENSE               435 RYMAN STREET                                                                    MISSOULA                MT           59802
29954365          CITY TREASURER                               PO BOX 121536                                                                                                           SAN DIEGO               CA           92112
29954362          CITY TREASURER                               PO BOX 150                                                                                                              FOND DU LAC             WI           54936‐0150
29954366          CITY TREASURER KANSAS                        PO BOX 840101                                                                                                           KANSAS CITY             MO           64184‐0101
29954367          CITY TREASURER MADISON ‐ WI                  P.O. BOX 2997                                                                                                           MADISON                 WI           53701
29952375          CITY TREASURER OLYMPIA                       PO BOX 2009                                                                                                             OLYMPIA                 WA           98507‐2009
29954370          CITY TREASURER‐PUBLIC UTILITIES DEPT         PO BOX 129020                                                                                                           SAN DIEGO               CA           92112‐9020
29954372          CITY TREASURERS OFFICE                       161 W MICHIGAN AVE                                                                                                      JACKSON                 MI           49201
29914581          CITY TREASURES OFFICE                        CITY OF REDLANDS                    PO BOX 3005                                                                         REDLANDS                CA           92373
29914582          CITY UTILITIES COMMISSION (CORBIN, KY)       PO BOX 1350                                                                                                             CORBIN                  KY           40702‐1350
29914584          CITY UTILITIES OF SPRINGFIELD, MO            P.O. BOX 551                                                                                                            SPRINGFIELD             MO           65801‐0551
29914586          CITY WATER & LIGHT (CWL)                     P.O. BOX 1289                                                                                                           JONESBORO               AR           72403‐1289

29914588          CITY WATER LIGHT & POWER, SPRINGFIELD IL     300 S 7TH ST RM 101                                                                                                     SPRINGFIELD             IL           62757‐0001
30347378          Name on file                                 Address on file
30394527          Name on file                                 Address on file
29914589          CIW LLC                                      1780 MILLER PARKWAY                                                                                                     STREETSBORO             OH           44241
29914590          CKK HOME DECOR                               5050 QUORUM DRIVE #420                                                                                                  DALLAS                  TX           75254
30350785          CL SERVICES INC                              JAMES HAMPTON MATTHEWS              4220 INTERNATIONAL PARKWAY         SUITE # 300                                      ATLANTA                 GA           30354
29914592          CLACKAMAS COUNTY SHERIFF‐                    ALARMS                              2223 KAEN RD.                                                                       OREGON CITY             OR           97045
29953561          CLACKAMAS COUNTY TAX COLLECTOR               PERSONAL PROPERTY TAX               168 WARNER‐MILNE ROAD                                                               OREGON CITY             OR           97045
                  CLACKAMAS COUNTY, OR COUNTY CONSUMER
30207746          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 2051 KAEN ROAD                                                                       OREGON CITY             OR           97045
29953562          CLACKAMAS RIVER WATER                        PO BOX 3277                                                                                                             PORTLAND                OR           37208‐3277

29953564          CLACKAMAS WATER ENVIRONMENT SERVICES         PO BOX 6940                                                                                                             PORTLAND                OR           97228
30396512          Name on file                                 Address on file

30211286          CLAIMCO LLC                                  DBA SPECTRUM SETTLEMENT RECOVERY    PO BOX 480                                                                          SAN FRANCISCO           CA           94104
29914594          CLAIRE BOSTON                                Address on file
29914603          CLAIRE DEMARCO                               Address on file
29914639          CLAIRE SCHERMERHORN                          Address on file
29956681          CLALLAM COUNTY TREASURER                     PERSONAL PROPERTY TAX               PO BOX 2129                                                                         PORT ANGELES            WA           98362
                  CLALLAM COUNTY, WA COUNTY CONSUMER
30207747          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 223 EAST 4TH STREET                                                                  PORT ANGELES            WA           98362
29956682          Name on file                                 Address on file
29956689          CLARA TYREL                                  Address on file
29956690          Name on file                                 Address on file
30209534          CLARENDON COUNTY LIBRARY                     215 N. BROOKS ST                                                                                                        MANNING                 SC           29102
30209533          CLARENDON COUNTY LIBRARY                     25 N BROOK ST                                                                                                           MANNING                 SC           29102
29914657          Name on file                                 Address on file
29914659          Name on file                                 Address on file

30209535          CLARINGTON LIBRARY MUSEUMS & ARCHIVES        163 CHURCH STREET                                                                                                       BOWMANVILLE             ON           L1C 1T7         CANADA
29914672          CLARK COUNTY ASSESSOR                        500 S GRAND CENTRAL PARKWAY         PO BOX 551401                                                                       LAS VEGAS               NV           89155‐1401
29949012          CLARK COUNTY CLERK, ATTN: FFN                ATTN: FFN                           PO BOX 551604                                                                       LAS VEGAS               NV           89155
29914673          Name on file                                 Address on file
30212165          CLARK COUNTY PUBLIC LIBRARY                  370 S BURNS AVE                                                                                                         WINCHESTER              KY           40391
29914675          CLARK COUNTY SHERIFF'S OFFICE                PO BOX 410                                                                                                              VANCOUVER               WA           98666
29914677          CLARK COUNTY TREASURER                       PO BOX 1508                                                                                                             JEFFERSONVILLE          IN           47131‐1508
29914676          CLARK COUNTY TREASURER                       PO BOX 9808                                                                                                             VANCOUVER               WA           98666‐8808
29914678          CLARK COUNTY TREASURERS OFFICE               FIRE/SAFETY INSPECTIONS             PO BOX 5000                                                                         VANCOUVER               WA           98666
                  CLARK COUNTY, IN COUNTY CONSUMER
30207748          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 300 CORPORATE DR                                                                     JEFFERSONVILLE          IN           47130
                  CLARK COUNTY, OH COUNTY CONSUMER
30207749          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 3130 EAST MAIN STREET                                                                SPRINGFIELD             OH           45503
30209537          CLARK MEMORIAL LIBRARY                       538 AMITY RD.                                                                                                           BETHANY                 CT           06524




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  ADDRESS ID                           NAME                              ADDRESS 1                        ADDRESS 2                         ADDRESS 3                ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
30209538          CLARK PUBLIC LIBRARY                      03 WESTFIELD AVENUE                                                                                                  CLARK                NJ           07066
30209539          CLARK PUBLIC LIBRARY                      303 WESTFIELD AVENUE                                                                                                 CLARK                NJ           07066
30257715          Clark Public Utilities                    1200 Fort Vancouver Way                                                                                              Vancouver            WA           98663
29914682          CLARK PUBLIC UTILITIES                    PO BOX 8900                                                                                                          VANCOUVER            WA           98668
30261646          Name on file                              Address on file
30335282          Name on file                              Address on file
30348739          Name on file                              Address on file
30351081          Name on file                              Address on file
30277569          Name on file                              Address on file
30353675          Name on file                              Address on file
30351826          Name on file                              Address on file
30396520          Name on file                              Address on file
30396521          Name on file                              Address on file
30343934          Name on file                              Address on file
30353415          Name on file                              Address on file
30333366          Name on file                              Address on file
30341004          Name on file                              Address on file
30345407          Name on file                              Address on file
                  CLARKE COUNTY, GA COUNTY CONSUMER
30207750          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 325 E WASHINGTON ST               STE 450                                         ATHENS               GA           30601
29914684          CLARKE COUNTY‐TAX COMMISSIONER            PO BOX 1768                                                                                                          ATHENS               GA           30603
30354932          Name on file                              Address on file
30393816          Clarke, Sarah Frances Maya                Address on file
29914685          Name on file                              Address on file

30209541          CLARKSTON INDEPENDENCE DISTRICT LIBRARY   6495 CLARKSTON RD                                                                                                    CLARKSTON            MI           48346
29914686          CLARKSTON LODGING GROUP                   RIVERTREE INN & SUITES              1257 BRIDGE STREET                                                               CLARKSTON            WA           99403
29914687          CLARKSVILLE DEPARTMENT OF ELECTRICITY     PO BOX 31509                                                                                                         CLARKSVILLE          TN           37040
29914689          CLARKSVILLE GAS & WATER DEPARTMENT        PO BOX 31329                                                                                                         CLARKSVILLE          TN           37040‐0023
29914691          CLARKSVILLE HOSPITALITY LLC               1624 LEISURE WAY                    CANDLEWOOD SUITES                                                                CLARKSVILLE          IN           47129
29914692          Name on file                              Address on file

29914693          CLARKSVILLE WASTEWATER TREATMENT DEPT, I BOX 2668                                                                                                              CLARKSVILLE          IN           47131
30401449          Name on file                             Address on file
29914696          CLATSOP COUNTY TAX COLLECTOR             820 EXCHANGE ST STE 210                                                                                               ASTORIA              OR           97103
                  CLATSOP COUNTY, OR COUNTY CONSUMER
30207751          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION   800 EXCHANGE STREET, SUITE 410                                                   ASTORIA              OR           97103
29914720          CLAUDIA MBEM                             Address on file
30340729          Name on file                             Address on file
30332075          Name on file                             Address on file
30340244          Name on file                             Address on file
30340245          Name on file                             Address on file
30395664          Name on file                             Address on file
30341002          Name on file                             Address on file
30333776          Name on file                             Address on file
LC_0342           CLC (Central Library Consortium)         274 E 1st Ave #100                                                                                                    Columbus             OH           43212
30209542          CLC (CENTRAL LIBRARY CONSORTIUM)         1685 WEST FIRST AVE                                                                                                   COLUMBUS             OH           43212
29914741          CLEAR CHANNEL OUTDOOR HOLDINGS INC       CLEAR CHANNEL OUTDOOR LLC            PO BOX 847247                                                                    DALLAS               TX           75284
30097772          Clear Creek Independent School District  P.O. Box 799                                                                                                          League City          TX           77574
29914742          CLEAR CREEK ISD TAX OFFICE               PO BOX 650395                                                                                                         DALLAS               TX           75265‐0395
30212169          CLEAR LAKE PUBLIC LIBRARY                200 N 4TH ST                                                                                                          CLEAR LAKE           IA           50428
                  CLEARFIELD COUNTY, PA COUNTY CONSUMER
30207752          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION   212 EAST LOCUST ST                                                               CLEARFIELD           PA           16830
30209543          CLEARVIEW LIBRARY DISTRICT               720 3RD ST                                                                                                            WINDSOR              CO           80550
30212171          CLEARVIEW LIBRARY DISTRICT               720 THIRD STREET                                                                                                      WINDSOR              CO           80550
29964938          CLECO                                    2030 DONAHUE FERRY ROAD                                                                                               PINEVILLE            LA           71360
29914746          CLECO POWER LLC                          1010 W MOCKINGBIRD LN STE 100                                                                                         DALLAS               TX           75266
30215409          CLECO POWER LLC                          2030 DONAHUE FERRY ROAD              PO BOX 5000                                                                      PINEVILLE            LA           71361
30333732          Name on file                             Address on file
30342745          Name on file                             Address on file
30344834          Name on file                             Address on file
29956698          CLEO PAPANIKOLAS                         Address on file
29956703          CLERK CIRCUIT COURT                      11 NORTH WASHINGTON ST # 16                                                                                           EASTON               MD           21601




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29956702          CLERK CIRCUIT COURT                          ALLEGANY COUNTY COURTHOUSE           30 WASHINGTON STREET                                                              CUMBERLAND              MD           21502
29956704          CLERK CIRCUIT COURT                          BUSINESS LICENSE                     50 MARYLAND AVENUE RM 111                                                         ROCKVILLE               MD           20850
29956701          CLERK CIRCUIT COURT                          TRADERS LICENSE                      100 WEST PATRICK STREET                                                           FREDERICK               MD           21701
29914748          CLERK OF CIRCUIT COURT                       CARROLL COUNTY                       55 N COURT STREET RM G‐8                                                          WESTMINSTER             MD           21157‐5155
29956705          CLERK OF CIRCUIT COURT                       PRINCE GEORGE'S COUNTY               14735 MAIN STREET                                                                 UPPER MARLBORO          MD           20772
29914749          CLERK OF CIRCUIT COURT                       WASHINGTON COUNTY                    95 WEST WASHINGTON STREET                                                         HAGERSTOWN              MD           21740

29949018          CLERK OF CIRCUIT COURT ‐ ALLEGANY COUNTY     ALLEGANY COUNTY COURTHOUSE           30 WASHINGTON STREET                                                              CUMBERLAND              MD           21502

29949019          CLERK OF CIRCUIT COURT ‐ BALTIMORE COUNTY BUSINESS LICENSE                        PO BOX 6754                                                                       TOWSON                  MD           21285

29949020          CLERK OF CIRCUIT COURT ‐ CARROLL COUNTY      CARROLL COUNTY                       55 N COURT STREET RM G‐8                                                          WESTMINSTER             MD           21157‐5155
                  CLERK OF CIRCUIT COURT ‐ PRINCE GEORGE'S
29964756          COUNTY                                       PRINCE GEORGE'S COUNTY               14735 MAIN STREET                                                                 UPPER MARLBORO          MD           20772
                  CLERK OF THE CIRCUIT COURT ‐ HARFORD
29964757          COUNTY                                       20 W COURTLAND ST‐COURTHOUSE                                                                                           BEL AIR                 MD           21014‐3790
                  CLERK OF THE CIRCUIT COURT ‐ WASHINGTON
29964758          COUNTY                                       WASHINGTON COUNTY                    95 WEST WASHINGTON STREET                                                         HAGERSTOWN              MD           21740
                  CLERK OF THE CIRCUIT COURT FOR
29964759          MONTGOMERY COUNTY                            BUSINESS LICENSE                     50 MARYLAND AVENUE RM 111                                                         ROCKVILLE               MD           20850
                  CLERK OF THE CIRCUIT COURT FOR ST. MARY'S
29964760          COUNTY                                       COURTHOUSE PO BOX 676                                                                                                  LEONARDTOWN             MD           20650
29964761          CLERK TALBOT COUNTY CIRCUIT COURT            11 NORTH WASHINGTON ST # 16                                                                                            EASTON                  MD           21601
30398289          Name on file                                 Address on file
29914750          Name on file                                 Address on file
29914751          Name on file                                 Address on file
29914752          CLEVELAND CLINIC                             PO BOX 92967                                                                                                           CLEVELAND               OH           44194‐2967
29914753          Name on file                                 Address on file
29914754          CLEVELAND COUNTY TREASURER                   201 S JONES STE 100                                                                                                    NORMAN                  OK           73069
29914755          Name on file                                 Address on file
29914756          CLEVELAND FOODBANK                           13815 COLT RD                                                                                                          CLEVELAND               OH           44110
29914757          CLEVELAND HOSPITALITY LLC                    HILTON GARDEN INN NORMAN             700 COPPERFIELD DR.                                                               NORMAN                  OK           73072
LC_0132           Cleveland Public Library                     325 Superior Ave.                                                                                                      Cleveland               OH           44114‐1205
30209545          CLEVELAND PUBLIC LIBRARY                     5806 WOODLAND AVENUE                                                                                                   CLEVELAND               OH           44104‐2743
29914758          Name on file                                 Address on file
29914759          CLEVELAND STATE UNIVERSITY                   FOUNDATION                           2121 EUCLID AVE                                                                   CLEVELAND               OH           44115
30347372          Name on file                                 Address on file
30347956          Name on file                                 Address on file
29914762          Name on file                                 Address on file
30401527          Name on file                                 Address on file
29914763          CLIFTON COUNTRY ROAD ASSOCIATE               C/O WINDSOR DEVELOPMENT GROUP        PO BOX 1549                                                                       CLIFTON PARK            NY           12065
29949774          CLIFTON COUNTRY ROAD ASSOCIATES LLC          15 PARK AVE.                                                                                                           CLIFTON PARK            NY           12065‐2927
29914764          CLIFTON COUNTRY ROAD ASSOCIATES LLC          PO BOX 1549                                                                                                            CLIFTON PARK            NY           12065
30213091          CLIFTON COUNTRY ROAD ASSOCIATES, LLC         C/O THE WINDSOR COMPANIES            5 SOUTHSIDE DRIVE, SUITE 200                                                      CLIFTON PARK            NY           12065
29914767          Name on file                                 Address on file
30209546          CLIFTON PARK‐HALFMOON PUBLIC LIBRARY         475 MOE RD                                                                                                             CLIFTON PARK            NY           12065
29914768          Name on file                                 Address on file
30341442          Name on file                                 Address on file
29964763          CLINTON CITY COMMUNITY DEVELOPMENT           2267 NORTH 1500 WEST                                                                                                   CLINTON                 UT           84015
29914771          CLINTON CITY CORPORATION                     2267 NORTH 1500 WEST                                                                                                   CLINTON                 UT           84015
29914774          CLINTON PINES LLC                            1178 LEGACY CROSSING BLVD #100                                                                                         CENTERVILLE             UT           84014
29914776          Name on file                                 Address on file
30414914          Name on file                                 Address on file
29914779          CLO VIRTUAL FASHION LLC                      285 FULTON ST FL58 STE T                                                                                               NEW YORK                NY           10007
30211607          CLO VIRTUAL FASHION, LLC                     ATTN: CHIEF EXECUTIVE OFFICER        285 FULTON STREET 58TH FL         STE T.                                          NEW YORK                NY           10007
30396417          Name on file                                 Address on file
30211287          CLOUD9 FABRICS INC                           331 CENTENNIAL AVE SUITE 221                                                                                           CRANFORD                NJ           07016
30196636          Clover Needlecraft, Inc.                     Attn: George Anthony Rodriguez       1441 S Carlos Ave                                                                 Ontario                 CA           91761

30213467          CLOVIS‐HERNDON CENTER, LLC                   PAYNTER REALTY & INVESTMENTS, INC.   195 SOUTH "C" STREET, SUITE 200                                                   TUSTIN                  CA           91780
30416106          Name on file                                 Address on file
LC_0362           Clutha District Council ‐ Clutha Libraries   23 John St.                                                                                                            Balclutha                            9230            New Zealand




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30209547          CLUTHA DISTRICT COUNCIL ‐ CLUTHA LIBRARY   1 ROSEBANK TERRACE                                                                                                       BALCLUTHA                                            NEW ZEALAND

30209548          CLUTHA DISTRICT COUNCIL ‐ CLUTHA LIBRARY   23 JOHN STREET                                                                                                           BALCLUTHA                            9230            NEW ZEALAND
29914789          Name on file                               Address on file
29914795          Name on file                               Address on file
30416406          CMA CGM (America) LLC                      1 CMA CGM Way                                                                                                            Norfolk                 VA           23502
30416407          CMA CGM (America) LLC                      Diane Kushlan                       5701 Lake Wright Dr                                                                  Norfolk                 VA           23502
29914796          CMC MARKETING AND DESIGN                   6945 DEER RUN DR.                                                                                                        MIDDLEBURG HEIGHTS      OH           44130
29914797          CMS PAYMENTS INTELLIGENCE INC              55 ALLEN PLAZA, STE 320             55 IVAN ALLEN JR BLVD                                                                ATLANTA                 GA           30308
30223094          CNA CLAIMS REPORTING                       P.O. BOX 8317                                                                                                            CHICAGO                 IL           60680‐8317
30210798          CNA COMMERCIAL INSURANCE                   CNA PLAZA 38S‐420                                                                                                        CHICAGO                 IL           60685‐0001
30210535          CNA INSURANCE                              151 N. FRANKLIN ST.                                                                                                      CHICAGO                 IL           60606
30223095          CNTI LLC                                   3998 KUL CIRCLE S.                                                                                                       HILLIARD                OH           43026
29914798          COACHELLA VALLEY WATER DISTRICT            P.O. BOX 5000                                                                                                            COACHELLA               CA           92236‐5000
29914800          Name on file                               Address on file
30209552          COAL CITY PUBLIC LIBRARY DISTRICT          85 NORTH GARFIELD STREET                                                                                                 COAL CITY               IL           60416
29914801          Name on file                               Address on file
29914802          COATS & CLARK                              3430 TORINGDON WAY SUITE 301                                                                                             CHARLOTTE               NC           28277
30331788          Coats and Clark, Inc.                      Attn: Shane Kalmusky                PO Box 101611                                                                        Atlanta                 GA           30392
29964939          COBB                                       1000 EMC PARKWAY                                                                                                         MARIETTA                GA           30060
29964940          COBB                                       P. O. BOX 745711                                                                                                         MARIETTA                GA           30374‐5711
29914804          COBB COUNTY                                BUSINESS LICENSE                    P.O. BOX 649                                                                         MARIETTA                GA           30061‐0649
29964764          COBB COUNTY BUSINESS LICENSE DIVISION      BUSINESS LICENSE                    P.O. BOX 649                                                                         MARIETTA                GA           30061‐0649
29914805          COBB COUNTY TAX COMMISSIONER               PO BOX 100127                                                                                                            MARIETTA                GA           30061‐7027
29914806          COBB COUNTY WATER SYSTEM                   PO BOX 580440                                                                                                            CHARLOTTE               NC           28258‐0440
29914808          COBB EMC                                   PO BOX 745711                                                                                                            ATLANTA                 GA           30374‐5711
29964766          COCHISE COUNTY TREASURER                   P.O. BOX 1778                                                                                                            BISBEE                  AZ           85603‐2778
29914811          Name on file                               Address on file
30209555          COCHRANE PUBLIC LIBRARY                    178 FOURTH AVENUE                                                                                                        COCHRANE                ON           P0L 1C0         CANADA
29914813          CO‐COM‐SALES TAX                           PO BOX 17087                                                                                                             DENVER                  CO           80214
29914814          COCONINO COUNTY TREASURER                  100 EAST CHERRY AVE                                                                                                      FLAGSTAFF               AZ           86001
                  COCONINO COUNTY, AZ COUNTY CONSUMER
30207753          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 219 EAST CHERRY AVE                                                                   FLAGSTAFF               AZ           86001
30213538          COCONUT POINT TOWN CENTER, LLC             C/O SIMON PROPERTY GROUP           225 W. WASHINGTON STREET                                                              INDIANAPOLIS            IN           46204
30295425          Coconut Point Town Center, LLC             PO Box 643913                                                                                                            Pittsburgh              PA           15264‐3913
29914817          CO‐CORP‐INCOME‐HLD 01212                   TREASURER, STATE OF COLORADO       1881 PIERCE ST                     ENTRANCE B                                         LAKEWOOD                CO           80214
30384868          Name on file                               Address on file
30213219          COFAL PARTNERS, LP                         535 SMITHFIELD STREET, SUITE 1035                                                                                        PITTSBURGH              PA           15222
29914850          COFE ZM DADELAND, LLC                      2950 SW 27TH AVE., STE. 100                                                                                              MIAMI                   FL           33133
                  COFFEE COUNTY, TN COUNTY CONSUMER
30207754          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 300 HILLSBORO BLVD                                                                    MANCHESTER              TN           37355
30398342          Name on file                               Address on file
30333589          Name on file                               Address on file
30348880          Name on file                               Address on file
30256524          Name on file                               Address on file
30355737          Name on file                               Address on file
30338070          Name on file                               Address on file
29914851          Name on file                               Address on file
29914852          CO‐JAC‐CENTENNIAL                          13133 E ARAPAHOE RD                                                                                                      CENTENNIAL              CO           80112
29914853          CO‐JAC‐MONTROSE                            PO BOX 790                                                                                                               MONTROSE                CO           81402‐0790
29914854          CO‐JAS‐CENTENNIAL                          13133 E ARAPAHOE RD                                                                                                      CENTENNIAL              CO           80112
29914855          CO‐JAS‐MONTROSE                            PO BOX 790                                                                                                               MONTROSE                CO           81402‐7980
29914856          CO‐JAS‐SALES 042                           STATE CAPITOL ANNEX                1881 PIERCE ST                     ENTRANCE B                                         LAKEWOOD                CO           80214
30340603          Name on file                               Address on file
                                                                                                400 MEMORIAL DRIVE EXT. ‐ SUITE
30213049          COL 1005 @ COLUMBIA, LLC                   C/O POINT PLACE MANAGEMENT, LLC    200                                                                                   GREER                   SC           29651
30401693          Name on file                               Address on file
30295769          Colart Americas Inc.                       Attn: Mark Lerner, Esq.            Duane Morris LLP                   230 Park Avenue                Suite 1130          New York                NY           10169
30295770          Colart Americas Inc.                       Colart Americas Inc.               Attn: Mark S. Triano               2 Corporate Place South                            Piscataway              NJ           08854
30394127          Name on file                               Address on file
30331733          Name on file                               Address on file
29914867          COLE COUNTY COLLECTOR                      301 EAST HIGH STREET               COURTHOUSE ANNEX                                                                      JEFFERSON CITY          MO           65101




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                  COLE COUNTY, MO COUNTY CONSUMER
30207755          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 311 E HIGH ST                                                                        JEFFERSON CITY            MO           65101
30332899          Name on file                           Address on file
30347891          Name on file                           Address on file
30397343          Name on file                           Address on file
30344774          Name on file                           Address on file
30353307          Name on file                           Address on file
30346701          Name on file                           Address on file
30398190          Name on file                           Address on file
30393738          Name on file                           Address on file
                  COLES COUNTY, IL COUNTY CONSUMER
30207756          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   651 JACKSON AVE                                                                    CHARLESTON                IL           61920
30347843          Name on file                           Address on file
29914898          COLLECTOR OF REVENUE                   JEFFERSON COUNTY                     PO BOX 100                                                                         HILLSBORO                 MO           63050
29914897          COLLECTOR OF REVENUE                   ST LOUIS COUNTY                      PO BOX 11491                                                                       CLAYTON                   MO           63105‐0291
29914899          COLLECTOR OF TAXES                     PERSONAL PROPERTY TAX                MEMORIAL TOWN HALL                2750 DIXWELL AVE                                 HAMDEN                    CT           06518
29914900          COLLECTOR OF THE REVENUE               BUCHANAN COUNTY COURT HOUSE          411 JULES                                                                          SAINT JOSEPH              MO           64501‐1788
29956709          COLLEEN GALYA                          Address on file
29956727          COLLEEN SOULEY                         Address on file
29914923          Name on file                           Address on file
30209557          COLLEGE OF SAN MATEO LIBRARY           1700 W. HILLSDALE BLVD BUILDING 9                                                                                       SAN MATEO                 CA           94402

29914924          COLLEGE TOWNSHIP WATER AUTHORITY, PA   1481 EAST COLLEGE AVENUE                                                                                                STATE COLLEGE             PA           16801
30348836          Name on file                           Address on file
30341271          Name on file                           Address on file
30346833          Name on file                           Address on file
29914930          Name on file                           Address on file
30209558          COLLIER COUNTY PUBLIC LIBRARY          2385 ORANGE BLOSSOM DR.                                                                                                 NAPLES                    FL           34109
29914931          COLLIER COUNTY TAX COLLECTOR           2800 N HORSESHOE DR                                                                                                     NAPLES                    FL           34104‐6998
                  COLLIER COUNTY, FL COUNTY CONSUMER
30207757          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   3299 TAMIAMI TRAIL EAST                                                            NAPLES                    FL           34112
29949025          COLLIER TOWNSHIP ‐ BUILDING DEPT       2418 HILLTOP RD                                                                                                         PRESTO                    PA           15142
29914932          COLLIER TOWNSHIP POLICE DEPT           2418 HILLTOP ROAD STE 400                                                                                               PRESTO                    PA           15142
29914933          COLLIER TWP EIT COLLECTOR              2418 HILLTOP RD                                                                                                         PRESTO                    PA           15142
30394638          Name on file                           Address on file
30394676          Name on file                           Address on file
30393193          Name on file                           Address on file
30224018          Name on file                           Address on file
29914934          Name on file                           Address on file
29914936          COLLIN COUNTY                          TAX ASSESS‐COLLECTOR                 PO BOX 8006                                                                        MC KINNEY                 TX           75070‐8006
30206984          Collin County Tax Assessor/Collector   P.O. Box 8046                                                                                                           McKinney                  TX           75070
30394395          Name on file                           Address on file
30416092          Name on file                           Address on file
30345361          Name on file                           Address on file
30414564          Name on file                           Address on file
30355506          Name on file                           Address on file
30355807          Name on file                           Address on file
30394578          Name on file                           Address on file
30399655          Name on file                           Address on file
30394493          Name on file                           Address on file
29914945          Name on file                           Address on file
30209559          COLONA DISTRICT PUBLIC LIBRARY         911 FIRST STREET                                                                                                        COLONA                    IL           61241
                                                         C/O ROSEN ASSOCIATES MANAGEMENT.
30213046          COLONIA LIMITED PARTNERSHIP            CORP.                                33 SOUTH SERVICES RD.                                                              JERICHO                   NY           11753
29914949          Name on file                           Address on file
29914951          COLONY SQUARE MALL OWNER LLC           3575 MAPLE AVE                                                                                                          ZANESVILLE                OH           43701
29914950          COLONY SQUARE MALL OWNER LLC           C/O URBAN RETAIL PROPERTIES          PO BOX 788311                                                                      PHILADELPHIA              PA           19178‐8311
29914952          COLORADO DEPARTMENT OF REVENUE         1375 SHERMAN ST.                                                                                                        DENVER                    CO           80261
29914953          COLORADO DEPT OF AGRICULTURE           305 INTERLOCKEN PKWY                                                                                                    BROOMFIELD                CO           80021
29914954          COLORADO DEPT OF REVENUE               1375 SHERMAN STREET                                                                                                     DENVER                    CO           80261
29914955          COLORADO SECRETARY OF STATE            1700 BROADWAY #550                                                                                                      DENVER                    CO           80290
29914956          COLORADO SPRINGS UTILITIES             PO BOX 340                                                                                                              COLORADO SPRINGS          CO           80901
29949377          COLORADO STATE TREASURY                UNCLAIMED PROPERTY DIVISION          200 E. COLFAX AVE, ROOM 141                                                        DENVER                    CO           80203‐1722




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29914958          COLORID LLC                            PO BOX 1350                                                                                                              CORNELIUS                NC           28031

30213299          COLUMBIA (NORTHPOINTE) WMS, LLC        C/O RIVERCREST REALTY ASSOCIATES, LLC 8816 SIX FORKS ROAD, SUITE 201                                                     RALEIGH                  NC           27615

29914966          COLUMBIA CASCADE PLAZA LLC            C/O REGENCY CENTERS                    ATTN: LEGAL DEPARTMENT            ONE INDEPENDENT DRIVE SUITE 114                  JACKSONVILLE             FL           32202
30210997          COLUMBIA CASCADE PLAZA LLC            C/O REGENCY CENTERS                    ATTN: LEGAL DEPARTMENT                                                             JACKSONVILLE             FL           32202
29914968          COLUMBIA COUNTY ALARM PROGRAM         PO BOX 141327                                                                                                             IRVING                   TX           75014
29914969          Name on file                          Address on file
                  COLUMBIA COUNTY, NY COUNTY CONSUMER
30207758          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION     401 STATE ST                                                                       HUDSON                   NY           12534
30213158          COLUMBIA CROSSING OUTPARCEL, LLC      500 NORTH BROADWAY, SUITE 201          PO BOX 9010                                                                        JERICHO                  NY           11753
29914971          COLUMBIA GAS OF KENTUCKY              PO BOX 4660                                                                                                               CAROL STREAM             IL           60197‐4660
29954386          COLUMBIA GAS OF MARYLAND              PO BOX 70322                                                                                                              PHILADELPHIA             PA           19176‐0322
29954387          COLUMBIA GAS OF OHIO                  PO BOX 4629                                                                                                               CAROL STREAM             IL           60197‐4629
29954389          COLUMBIA GAS OF PENNSYLVANIA          PO BOX 70285                                                                                                              PHILADELPHIA             PA           19176‐0285
29954391          COLUMBIA GAS OF VIRGINIA              PO BOX 70319                                                                                                              PHILADELPHIA             PA           19176‐0319
30295546          Columbia Mall Partnership             6130 Paysphere Circle                                                                                                     Chicago                  IL           60674
30213569          COLUMBIA MALL PARTNERSHIP             C/O SIMON PROPERTY GROUP               225 W. WASHINGTON STREET                                                           INDIANAPOLIS             IN           46204
29954394          COLUMBIA MALL PARTNERSHIP             COLUMBIA CENTER                        6130 PAYSPHERE CIRCLE                                                              CHICAGO                  IL           60674
29954395          Name on file                          Address on file
29954396          COLUMBIANA COUNTY WATER & SEWER       P.O. BOX 423                                                                                                              LISBON                   OH           44432
                  COLUMBIANA COUNTY, OH COUNTY CONSUMER
30207759          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION     105 S. MARKET ST                                                                   LISBON                   OH           44432
29914973          COLUMBUS ‐ CITY TREASURER             PO BOX 182882                                                                                                             COLUMBUS                 OH           43218‐2882
29914975          COLUMBUS CITY TREASURER               4252 GROVES RD                                                                                                            COLUMBUS                 OH           43232
29914976          COLUMBUS CITY TREASURER               COLUMBUS INCOME TAX DIVISION           PO BOX 182158                                                                      COLUMBUS                 OH           43218‐2158
29914978          COLUMBUS CITY UTILITIES               P.O. BOX 1987                                                                                                             COLUMBUS                 IN           47202‐1987
29914980          COLUMBUS CONSOLIDATED GOVERN          DEPT OF FINANCE REVENUE DIV            PO BOX 1397                                                                        COLUMBUS                 GA           31902‐1397
29949030          COLUMBUS CONSOLIDATED GOVERNMENT      DEPT OF FINANCE REVENUE DIV            PO BOX 1397                                                                        COLUMBUS                 GA           31902‐1397
29914981          COLUMBUS FIRE & SAFETY EQUIP          PO BOX 791                                                                                                                COLUMBUS                 GA           31902
30334933          COLUMBUS FIRE & SAFETY EQUIP          THOMAS W WILLIAMS, PRESIDENT           3101 2ND AVE                                                                       COLUMBUS                 GA           31904
29914982          COLUMBUS INCOME TAX DIVISION          PO BOX 182158                                                                                                             COLUMBUS                 OH           43218‐2158
30209560          COLUMBUS METROPOLITAN LIBRARY         400 W JOHNSTOWN RD                     SUITE 100                                                                          GAHANNA                  OH           43230
30212176          COLUMBUS METROPOLITAN LIBRARY         96 S. GRANT AVE                                                                                                           COLUMBUS                 OH           43215
29953117          COLUMBUS PEST CONTROL INC             1510 W. BROAD STREET                                                                                                      COLUMBUS                 OH           43222
30209561          COLUMBUS PUBLIC LIBRARY               223 W. JAMES ST.                                                                                                          COLUMBUS                 WI           53925
29953119          COLUMBUS REGIONAL AIRPORT AUTHORITY   ACCOUNTS RECEIVABLE                    L‐3459                            7250 STAR CHECK DRIVE, #100                      COLUMBUS                 OH           43217
30211157          COLUMBUS REGIONAL AIRPORT AUTHORITY   ACCOUNTS RECEIVABLE                    L‐3459                                                                             COLUMBUS                 OH           43260
29953120          COLUMBUS TIRE CO INC                  DBA COMPLETE TIRE & SERVICE            1133 4TH ST                                                                        COLUMBUS                 GA           31901
29953121          COLUMBUS WATER WORKS                  PO BOX 1600                                                                                                               COLUMBUS                 GA           31902‐1600
30259164          Columbus Water Works                  Sonja Alissa Bryant                    1421 Veterans Parkway                                                              Columbus                 GA           31901
30335763          Name on file                          Address on file
30289554          Name on file                          Address on file
30347859          Name on file                          Address on file
29953123          COMAL COUNTY TAX OFFICE               PO BOX 659480                                                                                                             SAN ANTONIO              TX           78265‐9480
29953124          Name on file                          Address on file
29953125          COMANCHE COUNTY TREASURER             315 SW 5TH STREET                      ROOM 300                                                                           LAWTON                   OK           73501‐4371
                  COMANCHE COUNTY, OK COUNTY CONSUMER
30207760          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION     315 SW 5TH ST                     RM. 300                                          LAWTON                   OK           73501
30351210          Name on file                          Address on file
30211581          COMBINED INSURANCE CO OF AMERICA      PO BOX 8500‐53678                                                                                                         PHILADELPHIA             PA           19178‐3678
30293383          Name on file                          Address on file
29953126          COMCAST                               1701 JFK BOULEVARD                                                                                                        PHILADELPHIA             PA           19103
29953127          COMED                                 PO BOX 6111                                                                                                               CAROL STREAM             IL           60197‐6111
30356307          Name on file                          Address on file
29914983          COMFORT SYSTEMS USA MID SOUTH         PO BOX 1966                                                                                                               MONTGOMERY               AL           36102
30397485          Name on file                          Address on file
                                                                                               5180 GOLDEN FOOTBALL PKWY,
29914985          COMM 2007‐C9 NORTHEAST D ST LLC        C/O PROEQUITY ASSET MGMT              #210                                                                               EL DORADO HILLS          CA           95762
29914987          Name on file                           Address on file
30212177          COMMACK PUBLIC LIBRARY                 18 HAUPPAUGE ROAD                                                                                                        COMMACK                  NY           11725
29914989          Name on file                           Address on file




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30209564          COMMERCE TOWNSHIP COMMUNITY LIBRARY      180 E COMMERCE ROAD MI                                                                                                     COMMERCE TOWNSHIP        MI           48382
29914991          COMMERCIAL FIRE INC                      2465 ST JOHNS BLUFF ROAD S                                                                                                 JACKSONVILLE             FL           32246
30223096          COMMERCIAL MANAGEMENT LIABILITY          ATTN: CLAIMS DEPARTMENT              1221 AVENUE OF THE AMERICAS                                                           NEW YORK                 NY           10020
                                                           ATTN: PROFESSIONAL LINES
30223097          COMMERCIAL MANAGEMENT LIABILITY          UNDERWRITING DEPARTMENT              1221 AVENUE OF THE AMERICAS                                                           NEW YORK                 NY           10020
                  COMMERCIAL REPOSITION PARTNERS 17, LLC                                        GENERAL CORRESPONDENCE GOES
30213512          ("CRP 17")                               270 ST. PAUL ST. STE.200             TO:                                                                                   DENVER                   CO           80206
29949917          COMMISSIONER OF THE REVENUE              COMM OF REVENUE, CITY HALL           2400 WASHINGTON AVENUE                                                                NEWPORT NEWS             VA           23607
29917186          COMMISSIONER OF THE REVENUE              N EVERETTE CARMICHAEL                PO BOX 124                                                                            CHESTERFIELD             VA           23832
29917187          COMMISSIONER OF THE REVENUE              ROBERT P VAUGHAN                     CITY HALL                   2401 COURTHOUSE DR                                        VIRGINIA BEACH           VA           23456
29917188          COMMONS ASSOCIATES LP                    PO BOX 781028                                                                                                              PHILADELPHIA             PA           19178‐1028
29949378          COMMONWEALTH OF MASSACHUSETTS            STATE TREASURERS OFFICE              UNCLAIMED PROPERTY DIVISION                                                           BOSTON                   MA           02108‐1608
29917189          COMMONWEALTH OF PENNSYLVANIA             BUREAU OF UNCLAIMED PROPERTY         #783473, 401 MARKET ST                                                                PHILADELPHIA             PA           19106
                  Commonwealth of Virginia Department of
30260875          Taxation                                 Harris & Harris, Ltd                 Victoria Mendoza                   111 W. Jackson Blvd            Suite 600           Chicago                  IL           60604
                  Commonwealth of Virginia Department of
30260873          Taxation                                 Mykala Hook                          Harris & Harris, Ltd.              111 West Jackson Blvd          Suite 600           Chicago                  IL           60604
29917190          Name on file                             Address on file
                  COMMUNITY WATER COMPANY OF GREEN
29917191          VALLEY                                   PO BOX 31001‐3288                                                                                                          PASADENA                 CA           91110‐3288
30214687          COMPLIANCESIGNS LLC                      16228 FLIGHT PATH DR                                                                                                       BROOKSVILLE              FL           34604
29917193          COMPLIANCESIGNS LLC                      P.O. BOX 208363                                                                                                            DALLAS                   TX           75320‐8363
30351766          Name on file                             Address on file
29917194          COMPRODUCTS INC H                        B&C COMMUNICATIONS                   L‐2787                             1740 HARMON AVE                STE F               COLUMBUS                 OH           43223‐3355
30332512          Name on file                             Address on file
30332195          Name on file                             Address on file
29917195          COMPTROLLER OF MARYLAND                  80 CALVERT ST                                                                                                              ANNAPOLIS                MD           21401
29949380          COMPTROLLER OF MARYLAND                  UNCLAIMED PROPERTY UNIT              301 W PRESTON STREET RM 310                                                           BALTIMORE                MD           21201
29917196          COMPTROLLER OF NEW YORK STATE            OFFICE OF UNCLAIMED FUNDS            REMITTANCE CONTROL, 2ND FL                                                            ALBANY                   NY           12236
29917197          COMPUSYSTEMS INC                         2601 NAVISTAR DRIVE                                                                                                        LISLE                    IL           60532
29914994          COMPUTERSHARE INC                        DEPT CH 19228                                                                                                              PALATINE                 IL           60055‐9228
LC_0141           Comsewogue Public Library                170 Terryville Road                                                                                                        Port Jefferson Stati     NY           11776‐1369
30212178          COMSEWOGUE PUBLIC LIBRARY                170 TERRYVILLE RD                                                                                                          PORT JEFFERSON STATION   NY           11776
30209568          COMSEWOGUE PUBLIC LIBRARY                170 TERRYVILLE ROAD                                                                                                        PORT JEFFERSON STA?      NY           11776
30209569          COMSTOCK TOWNSHIP LIBRARY                6130 KING HIGHWAY                                                                                                          COMSTOCK                 MI           49041
30212179          COMSTOCK TOWNSHIP LIBRARY                6130 KING HWY                                                                                                              KALAMAZOO                MI           49048
30209570          COMSTOCK TOWNSHIP LIBRARY                P.O. BOX 25                                                                                                                COMSTOCK                 MI           49041
29972779          Name on file                             Address on file
30209572          CONANT FREE PUBLIC LIBRARY               4 MEETINGHOUSE HILL ROAD                                                                                                   STERLING                 MA           01564
29915002          CONCEPCION MALDONADO                     Address on file
29915004          CONCEPTS DESIGN AGENCY LTD               147 W. 35TH STREET                                                                                                         NEW YORK                 NY           10001
29915007          Name on file                             Address on file
29915008          CONCORD POLICE‐ ALARM UNIT               PO BOX 6112                                                                                                                CONCORD                  CA           94524
30209573          CONCORD PUBLIC LIBRARY                   129 MAIN STREET                                                                                                            CONCORD                  MA           01742
30209574          CONCORD PUBLIC LIBRARY                   45 GREEN STREET                                                                                                            CONCORD                  NH           03301
30213386          CONCORD RETAIL PARTNERS, L.P.            ATTN: PRESIDENT                      1301 LANCASTER AVENUE                                                                 BERWYN                   PA           19312
30398406          Concord Retail Partners, L.P.            Sirlin Lesser & Benson, P.C.         c/o Dana S. Plon, Esquire          123 South Broad Street         Suite 2100          Philadelphia             PA           19109
                                                           CONCORD‐LEROY‐PAINESVILLE YOUTH
29915012          CONCORD YOUTH BASEBALL LEAGUE            ATH                                  9401 MENTOR AVE., BOX 128                                                             MENTOR                   OH           44060
29915013          CONCRETE POLISHING & RES INC             2064 HIGHWAY 116                                                                                                           CARYVILLE                TN           37714
29915014          CONCUR TECHNOLOGIES INC                  62157 COLLECTIONS CENTER DRIVE                                                                                             CHICAGO                  IL           60693
30257453          Concur Technologies, Inc.                62156 Collections Center Drive                                                                                             Chicago                  IL           60693
30394566          Name on file                             Address on file

30213054          CONEJO VALLEY PLAZA 2, LLC               C/O MILAN CAPITAL MANAGEMENT, INC. 701 S. PARKER STREET, SUITE 5200                                                        ORANGE                   CA           92868
29915017          CONESTOGA REALTY LLC                     C/O NAMCO REALTY LLC               PO BOX 25078                                                                            TAMPA                    FL           33622
30385822          Name on file                             Address on file
30353703          Name on file                             Address on file
30356651          Name on file                             Address on file
30351435          Name on file                             Address on file
29915018          Name on file                             Address on file
30353265          Name on file                             Address on file




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  ADDRESS ID                           NAME                                     ADDRESS 1                           ADDRESS 2                          ADDRESS 3                  ADDRESS 4                        CITY        STATE     POSTAL CODE           COUNTRY
29915020          Name on file                               Address on file
                  CONNECTICUT CONNECTICUT DEPARTMENT OF
29915021          REVENUE SERVICES                           25 SIGOURNEY STREET                                                                                                                    HARTFORD              CT           06106
                                                             450 Columbus Blvd., Ste ‐ 1 ‐ Bankruptcy
30297406          Connecticut Department of Revenue Services Team                                                                                                                                   Hartford              CT           06103
30330898          Connecticut Light & Power dba Eversource   PO Box 270                                                                                                                             Hartford              CT           06106
29915022          CONNECTICUT NATURAL GAS CORP (CNG)         PO BOX 847820                                                                                                                          BOSTON                MA           02284‐7820
29915024          CONNECTICUT SECRETARY OF STATE             COMMERCIAL RECORDING DIVISION              30 TRINITY STREET                                                                           HARTFORD              CT           06106
30394308          Name on file                               Address on file
30395867          Name on file                               Address on file
30351035          CONNER, CHRISTINE AND JAMES                Address on file
30395401          Name on file                               Address on file
30339712          Name on file                               Address on file
30353988          Name on file                               Address on file
29950146          CONNEXUS ENERGY                            P.O. BOX 1808                                                                                                                          MINNEAPOLIS           MN           55480‐1808
30213004          CONNIE CASTEL                              Address on file
29915028          CONNIE CATHCART                            Address on file
29915033          CONNIE FIRMIN                              Address on file
29915043          CONNIE ORJALES                             Address on file
29915046          CONNIE RODRIGUEZ                           Address on file
30223098          CONNOR CONSTRUCTION LLC                    1001 LOWER LANDING RD., #102                                                                                                           BLACKWOOD             NJ           08012
30397377          Name on file                               Address on file
30397443          Name on file                               Address on file
30332179          Name on file                               Address on file
30336662          Name on file                               Address on file
29915062          Name on file                               Address on file
29915064          CONSERVICE ‐ 1530                          PO BOX 1530                                                                                                                            HEMET                 CA           92546‐1530
29915066          CONSERVICE LLC                             PO BOX 1530                                                                                                                            HEMET                 CA           92546‐1530
                  CONSOLIDATED EDISON COMPANY OF NEW
29964941          YORK                                       4 IRVING PLACE                                                                                                                         NEW YORK              NY           10003
                  CONSOLIDATED EDISON COMPANY OF NEW
30210710          YORK, INC.                                 411 W 201ST ST                                                                                                                         NEW YORK              NY           10034

30211288          CONSOLIDATED GRAPHICS GROUP INC               ROBERT SILVERMAN DIRECT MARKETING       1614 EAST 40TH ST                                                                           CLEVELAND             OH           44103
30397511          Name on file                                  Address on file
29915073          Name on file                                  Address on file
29956753          CONSTANCE MOORE                               Address on file
30414546          Name on file                                  Address on file

30295847          Constellation NewEnergy ‐ Gas Division, LLC   P.O. Box 5473                                                                                                                       Carol Stream          IL           60197

29949751          CONSTELLATION NEWENERGY GAS DIV LLC/5472 CONSTELLATION NEWENERGY GAS DIV LLC 9400 BUNSEN PKWY                             STE 100                                                 LOUISVILLE            KY           40220‐3788

29915079          CONSTELLATION NEWENERGY GAS DIV LLC/5472 PO BOX 5472                                                                                                                              CAROL STREAM          IL           60197‐5472
30295679          Constellation NewEnergy, Inc.            P.O. Box 4640                                                                                                                            Carol Stream          IL           60197
29915080          CONSTELLATION NEWENERGY/4640             PO BOX 4640                                                                                                                              CAROL STREAM          IL           60197‐4640
30211290          CONSTRUCTION ONE INC                     101 EAST TOWN STREET, SUITE 401                                                                                                          COLUMBUS              OH           43215
                                                           Attn: Oswaldo Enrique Rangel Labrador,
30197411          Constructor.io Corporation               Finance & A                                  Calle Calabria 247, 4‐2                                                                     Barcelona                          08029           Spain
29915086          CONSUMERS ENERGY                         PO BOX 740309                                                                                                                            CINCINNATI            OH           45274‐0309
30357105          Name on file                             Address on file
29952890          CONTENT SQUARE INC                       53 BEACH STREET, 6TH FLOOR                                                                                                               NEW YORK              NY           10013
29949796          CONTINENTAL CASUALTY (CNA)               151 N FRANKLIN STREET, FLOOR 9                                                                                                           CHICAGO               IL           60606
30212662          CONTINENTAL CASUALTY CO.                 151 N FRANKLIN ST                                                                                                                        CHICAGO               IL           60606
30223099          CONTINENTAL CASUALTY COMPANY             200 E RANDOLPH ST                            FL 13                                                                                       CHICAGO               IL           60601
29953847          CONTINENTAL INSURANCE COMPANY            151 N FRANKLIN STREET                                                                                                                    CHICAGO               IL           60606
29952892          CONTRA COSTA COUNTY                      ALFRD P LOMELI TAX COLLECTOR                 PO BOX 631                                                                                  MARTINEZ              CA           94553
29952893          CONTRA COSTA COUNTY                      DIVISION OF WEIGHTS/MEASURES                 2366 A STANWELL CIRCLE                                                                      CONCORD               CA           94520

29949922          CONTRA COSTA COUNTY DEPT OF AGRICULTURE DIVISION OF WEIGHTS/MEASURES       2366 A STANWELL CIRCLE                                                                                 CONCORD               CA           94520
                  CONTRA COSTA COUNTY, CA COUNTY
30207761          CONSUMER PROTECTION AGENCY              ATTN: CONSUMER PROTECTION DIVISION SPECIAL OPERATIONS DIVISION                    CONSUMER PROTECTION UNIT       900 WARD ST, 4TH FLOOR   MARTINEZ              CA           94553
29952894          CONTRA COSTA ENVIRONMENTAL HEALTH       2120 DIAMOND BLVD STE 200                                                                                                                 EL CERRITO            CA           94530




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29949923          CONTRA COSTA HEALTH SERVICES            2120 DIAMOND BLVD STE 200                                                                                            EL CERRITO            CA           94530
29952895          CONTRACT DATASCAN LP                    DATASCAN                            PO BOX 1348                                                                      INDIANA               PA           15701
29952896          CONTRERAS LAW LLC                       1550 OLD HENDERSON RD. #126                                                                                          COLUMBUS              OH           43220
29952898          CONTROLLER‐ANNE ARUNDEL COUNTY          PERSONAL PROPERTY TAX               FINANCE OFFICE PO BOX 427                                                        ANNAPOLIS             MD           21404
30212180          CONVERSE COUNTY LIBRARY                 300 E WALNUT ST                                                                                                      DOUGLAS               WY           82633
30401484          Name on file                            Address on file
30211292          CONVOY INC                              1501 4TH AVE                                                                                                         SEATTLE               WA           98101
30332109          Name on file                            Address on file
30342767          Name on file                            Address on file
30297196          Name on file                            Address on file
29952900          COOK COUNTY COLLECTOR                   ENVIRONMENTAL CONTROL               25831 NETWORK PLACE                                                              CHICAGO               IL           60673‐1258
29949925          COOK COUNTY DEPT OF REVENUE             ENVIRONMENTAL CONTROL               25831 NETWORK PLACE                                                              CHICAGO               IL           60673‐1258
                  COOK COUNTY, IL COUNTY CONSUMER
30207762          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 118 N CLARK ST                                                                    CHICAGO               IL           60602
29915089          Name on file                            Address on file
LC_0146           Cook Memorial Public Library District   413 North Milwaukee Avenue                                                                                           Libertyville          IL           60048‐2247
30209580          COOK MEMORIAL PUBLIC LIBRARY DISTRICT   413 N MILWAUKEE AVE                                                                                                  LIBERTYVILLE          IL           60048
30339126          Name on file                            Address on file
30346762          Name on file                            Address on file
30353379          Name on file                            Address on file
30353978          Name on file                            Address on file
30351446          Name on file                            Address on file
30395535          Name on file                            Address on file
                                                                                             10689 NORTH PENNSYLVANIA ST. ,
30210940          COOKEVILLE TN INVESTMENT PARTNERS       C/O SANDOR DEVELOPMENT COMPANY SUITE 100                                                                             INDIANAPOLIS          IN           46280
                                                                                             ATTN: LEASING: JUSTIN ELLER      10689 NORTH PENNSYLVANIA ST. ,
29915090          COOKEVILLE TN INVESTMENT PARTNERS       C/O SANDOR DEVELOPMENT COMPANY 480949‐9011                          SUITE 100                                        INDIANAPOLIS          IN           46280
29915093          Name on file                            Address on file
29915094          Name on file                            Address on file
30397820          Name on file                            Address on file
30396871          Name on file                            Address on file
30396870          Name on file                            Address on file
30355735          Name on file                            Address on file
30340777          Name on file                            Address on file
29915097          COOPER FIRE PROTECTION SERVICES INC     604 W. PINON STREET                                                                                                  FARMINGTON            NM           87401
30396392          Name on file                            Address on file
30351786          Name on file                            Address on file
30395409          Name on file                            Address on file
30414316          Name on file                            Address on file
30358198          Name on file                            Address on file
30350620          Name on file                            Address on file
30416686          Name on file                            Address on file
29915100          COOS COUNTY TAX COLLECTOR               COUNTY COURTHOUSE                  250 NORTH BAXTER STREET                                                           COQUILLE              OR           97423
                  COOS COUNTY, OR COUNTY CONSUMER
30207763          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 250 NORTH BAXTER ST                                                               COQUILLE              OR           97423
30353950          Name on file                            Address on file
30341217          Name on file                            Address on file
30332243          Name on file                            Address on file
30354804          Name on file                            Address on file
30344619          Name on file                            Address on file
LC_0274           Copiague Memorial Public Library        50 Deauville Boulevard                                                                                               Copiague              NY           11726‐4100
29915101          Name on file                            Address on file
30209586          COPIAGUE MEMORIAL PUBLIC LIBRARY        50 DEAUVILLE BLVD                                                                                                    COPIAGUE              NY           11726
30212182          COQUITLAM PUBLIC LIBRARY                575 POIRIER ST                                                                                                       COQUITLAM             BC           V3J 6A9         CANADA
29915103          COR ROUTE 5 COMPANY LLC                 540 TOWNE DRIVE                                                                                                      FAYETTEVILLE          NY           13066

30213231          COR ROUTE 5 COMPANY, LLC                C/O COR DEVELOPMENT COMPANY, LLC    540 TOWNE DRIVE                                                                  FAYETTEVILLE          NY           13066
30355372          Name on file                            Address on file
30401631          Name on file                            Address on file
30349116          Name on file                            Address on file
                                                                                              10 PARKWAY NORTH BLVD, SUITE
30210881          CORE AURORA CS, LLC                     ? CORE ACQUISITIONS, LLC            120                                                                              DEERFIELD             IL           60015




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                                                                                              10 PARKWAY NORTH BLVD, SUITE
29915121          CORE AURORA CS, LLC                      CORE ACQUISITIONS, LLC             120                                                                                DEERFIELD               IL           60015
29915123          CORE HOME                                42 WEST 39TH STREET, 4TH FLOOR                                                                                        NEW YORK                NY           10018
29915146          CORI EMMONS                              Address on file
29915169          CORINNE LORENZ                           Address on file
29915174          Name on file                             Address on file
30333485          Name on file                             Address on file
30349128          Name on file                             Address on file
30332318          Name on file                             Address on file
29915177          CORNELL OVERSEAS                         B32, SECTOR 65                     NOIDA                                                                              UTTAR PRADESH                        201301          INDIA
29915178          CORNELL STOREFRONT SYSTEMS INC           140 MAFFET ST, STE 200                                                                                                WILKES‐BARRE            PA           18705
30348054          Name on file                             Address on file
29915179          Name on file                             Address on file
30213333          CORNERSTONE SOUTH COUNTY LLC             4503 MARBURG AVENUE                ATTN: JOHN CLANCY                                                                  CINCINNATI              OH           45209
30338094          Name on file                             Address on file
29915182          Name on file                             Address on file
30393807          Name on file                             Address on file
30332000          Name on file                             Address on file
29915183          CORONA POLICE DEPT.                      ATTN: ALARM COORDINATOR            730 PUBLIC SAFETY WAY                                                              CORONA                  CA           92880
29951458          CORPORATE SERVICES CONSULTANTS, LLC      1015 GAY ST.                                                                                                          DANDRIDGE               TN           37725
29915184          CORPORATE SERVICES CONSULTANTS, LLC      PO BOX 1048                                                                                                           DANDRIDGE               TN           37725
29915186          CORPUS CHRISTI PUBLIC HEALTH DEPT        1702 HOME RD.                                                                                                         CORPUS CHRISTI          TX           78416
29915185          CORPUS CHRISTI PUBLIC HEALTH DEPT        1702 HORNE RD.                                                                                                        CORPUS CHRISTI          TX           78416
30213207          CORR COMMERCIAL REAL ESTATE, INC         300 FRANDOR AVE, 2ND FLOOR                                                                                            LANSING                 MI           48912
30355651          Name on file                             Address on file
30395397          Name on file                             Address on file
29915189          CORRIE BETH HOGG                         Address on file
29915190          CORRIGAN MOVING AND STORAGE CO           DBA CORRIGAN MOVING SYSTEMS        7409 EXPRESSWAY CT                                                                 GRAND RAPIDS            MI           49548
30290109          Name on file                             Address on file
30334491          Name on file                             Address on file
30261588          Name on file                             Address on file
                  CORTLAND COUNTY, NY COUNTY CONSUMER
30207764          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 60 CENTRAL AVE                                                                     CORTLAND                NY           13045
29915206          CORTLAND WATER BOARD                     25 COURT ST                                                                                                           CORTLAND                NY           13045‐2576
29915211          CORTNEY SMITH                            Address on file
29915215          CORTNI BOWSER                            Address on file
29915217          CORVALLIS FALSE ALARM PROGRAM            PO BOX 743082                                                                                                         LOS ANGELES             CA           90074‐3082
29915218          Name on file                             Address on file

30209587          CORVALLIS‐BENTON COUNTY PUBLIC LIBRARY   645 NW MONROE AVENUE                                                                                                  CORVALLIS               OR           97330
29915230          CORY SCARNECCHIA                         Address on file
30395491          Name on file                             Address on file
29915237          COSCO SHIPPING LINES N AMER INC          100 LIGHTING WAY                                                                                                      SECAUCUS                NJ           07094
29915238          COSMA TEXTILE CORP LTD                   2104 SAMSUNG CHERE VILLE           JANGAN 1‐DONG                                                                      DONG DAE MUN‐GU SEOUL                2624            KOREA, REPUBLIC OF
29915239          Name on file                             Address on file
30336913          Name on file                             Address on file
30353435          Name on file                             Address on file
29972783          Name on file                             Address on file
30350864          Name on file                             Address on file
30340464          Name on file                             Address on file
29915243          Name on file                             Address on file
30209588          CÔTE SAINT‐LUC PUBLIC LIBRARY            5851 BOUL. CAVENDISH BLVD.                                                                                            COTE SAINT‐LUC          QC           H4W 2X8         CANADA
30347097          Name on file                             Address on file
29915244          COTTON MILL II LLC                       PO BOX 840205                                                                                                         LOS ANGELES             CA           90084‐0205
30395407          Name on file                             Address on file
30351703          Name on file                             Address on file
30355368          Name on file                             Address on file
30341076          Name on file                             Address on file
29915247          COUNCIL BLUFFS WATER WORKS               P.O. BOX 309                                                                                                          COUNCIL BLUFFS          IA           51502
30353525          Name on file                             Address on file
29915249          Name on file                             Address on file
29915251          Name on file                             Address on file
29915252          Name on file                             Address on file




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  ADDRESS ID                           NAME                             ADDRESS 1                          ADDRESS 2                               ADDRESS 3              ADDRESS 4                     CITY        STATE     POSTAL CODE        COUNTRY
30213070          COUNTRYSIDE CENTER CORONA                C/O AYRES GROUP                      355 BRISTOL ST., SUITE A                                                              COSTA MESA               CA           92626
30289200          Countryside Center‐Corona, LP            Attn: Maria Goliac                   355 Bristol Street                   Ste. A                                           Costa Mesa               CA           92626
29915254          COUNTY CLERK                             ATTN: FFN                            PO BOX 551604                                                                         LAS VEGAS                NV           89155
29915255          COUNTY OF ALAMEDA                        DEPT OF WEIGHT & MEASURES            333 FIFTH ST                                                                          OAKLAND                  CA           94607
                                                                                                                                     DEPARTMENT OF FINANCE, 401
29956772          COUNTY OF ALBEMARLE                      PERSONAL PROPERTY TAX                DEPARTMENT OF FINANCE                MCINTIRE RD                                      CHARLOTTESVILLE          VA           22902
29949033          COUNTY OF ALBEMARLE                      PERSONAL PROPERTY TAX                DEPARTMENT OF FINANCE                                                                 CHARLOTTESVILLE          VA           22901
                  COUNTY OF ALBEMARLE ‐ ASSESSMENTS
29949034          DIVISION                                 ALBEMARLE COUNTY BUSIN LICENSE       401 MCINTIRE RD                                                                       CHARLOTTESVILLE          VA           22901
29956773          COUNTY OF BIBB                           PO BOX 4724                                                                                                                MACON                    GA           31208
30210799          COUNTY OF BRANT PUBLIC LIBRARY           12 WILLIAM STREET                                                                                                          PARIS                    ON           N3L 1K7         CANADA
29949036          COUNTY OF BUCKS                          50 NORTH MAIN ST                                                                                                           DOYLESTOWN               PA           18901
29956775          COUNTY OF DELAWARE                       WEIGHTS & MEASURES                   201 W FRONT STREET                                                                    MEDIA                    PA           19063

29949037          COUNTY OF DELAWARE ‐ WEIGHTS & MEASURES WEIGHTS & MEASURES                    201 W FRONT STREET                                                                    MEDIA                    PA           19063
29956776          COUNTY OF ERIE                          BUREAU OF WEIGHTS AND MEASURES        2380 CLINTON STREET                                                                   CHEEKTOWAGA              NY           14227
29956777          COUNTY OF ERIE COMPTROLLERS OFF         95 FRANKLIN ST., RM 1100                                                                                                    BUFFALO                  NY           14202‐3925
29956778          COUNTY OF FAIRFAX                       DEPT OF TAX ADMINISTRATION            PO BOX 10203                                                                          FAIRFAX                  VA           22035‐0201
29956779          COUNTY OF FAIRFAX                       FALSE ALARM REDUCTION UNIT            12099 GOVT CENTER PKWY                                                                FAIRFAX                  VA           22035
29949039          COUNTY OF FAIRFAX ‐ DEPT OF TAX ADMIN   DEPT OF TAX ADMINISTRATION            PO BOX 10203                                                                          FAIRFAX                  VA           22035‐0201

29949040          COUNTY OF FRESNO ‐ DEPT OF AGRICULTURE   AGRICULTURAL COMMISSIONER            1730 SOUTH MAPLE AVE                                                                  FRESNO                   CA           93702
29956780          COUNTY OF HENRICO                        DEPT OF FINANCE,LICENSE SECTN        PO BOX 27032                                                                          RICHMOND                 VA           23273‐0001
                  COUNTY OF HENRICO ‐ DEPT OF FINANCE ‐
29949042          LOCKBOX 4732                             DEPT OF FINANCE,LICENSE SECTN        PO BOX 27032                                                                          RICHMOND                 VA           23273‐0001
29956781          COUNTY OF JAMES CITY                     PO BOX 8701                                                                                                                WILLIAMSBURG             VA           23187‐8701
                  COUNTY OF KERN ‐ DEPT OF AG &
29964768          MEASUREMENT STANDARD                     1001 S MT VERNON AVE                                                                                                       BAKERSFIELD              CA           93307‐2851
29956782          COUNTY OF LEXINGTON                      OFFICE OF TREASURER                  212 SOUTH LAKE DRIVE                                                                  LEXINGTON                SC           29072
                  COUNTY OF LOS ANGELES DEPT OF PUBLIC
29964770          HEALTH                                   TAX COLLECTOR                        PO BOX 54978                                                                          LOS ANGELES              CA           90054‐0978
29956783          COUNTY OF LOUDOUN                        1 HARRISON ST SE 1ST FLOOR           PO BOX 7000                                                                           LEESBURG                 VA           20177‐7000
29915256          COUNTY OF LOUDOUN TREASURER              PO BOX 1000                                                                                                                LEESBURG                 VA           20177‐1000
29915257          Name on file                             Address on file
29915258          COUNTY OF MARIN                          DEPT OF AGRI, WTS, MEASURES          1682 NOVATO BOULEVARD                                                                 NOVATO                   CA           94947
                  COUNTY OF MARIN ‐ ENVIRONMENTAL HEALTH
29964773          SERVICES                                 3501 CIVIC CENTER DRIVE RM 236                                                                                             SAN RAFAEL               CA           94903
29964774          COUNTY OF MARIN WEIGHTS & MEASURES       DEPT OF AGRI, WTS, MEASURES          1682 NOVATO BOULEVARD                                                                 NOVATO                   CA           94947
29915259          COUNTY OF MOBILE                         3925‐F MICHAEL BOULEVARD             P.O. DRAWER 161009                                                                    MOBILE                   AL           36616
29915260          COUNTY OF MONTGOMERY                     TAX ASSESSOR‐COLLECTOR               400 N SAN JACINTO                                                                     CONROE                   TX           77301
29964779          COUNTY OF ORANGE                         1241 E DYER RD #120                                                                                                        SANTA ANA                CA           92705
29915261          COUNTY OF ORANGE                         ATTN COUNTY TREASURER                PO BOX 4005                                                                           SANTA ANA                CA           92702‐4005

29915262          COUNTY OF ORANGE                           HEALTH CARE AGENCY‐ENVIRONMENTAL 1241 EAST DYER ROAD STE 120                                                             SANTA ANA                CA           92705‐5611
30232497          County of Orange Treasurer‐Tax Collector   PO Box 1438                                                                                                              Santa Ana                CA           92702‐1438
30232026          County of Orange Treasurer‐Tax Collector   PO Box 4515                                                                                                              Santa Ana                CA           92702‐4515
30288192          County of Orange Treasurer‐Tax Collector   Po Box1438                                                                                                               Santa Ana                CA           92702‐4515
29915263          COUNTY OF PRINCE WILLIAM                   PO BOX 2467                                                                                                              WOODBRIDGE               VA           22195‐2467
29915264          COUNTY OF PRINCE WILLIAM                   POLICE FALSE ALARM UNIT             8406 KAO CIRCLE                                                                      MANASSAS                 VA           20110
29915265          COUNTY OF RIVERSIDE                        DEPT OF WEIGHTS & MEASURES          PO BOX 1089                                                                          RIVERSIDE                CA           92502
                  COUNTY OF RIVERSIDE ‐ DEPT ENVIRONMENTAL
29949045          HEALTH                                     DEPT OF WEIGHTS & MEASURES          PO BOX 1089                                                                          RIVERSIDE                CA           92502
                  COUNTY OF RIVERSIDE ‐ DIVISION OF WEIGHT &
29949046          MEASURE                                    AGRICULTURE WEIGHTS AND MEASURES PO BOX 1089                                                                             RIVERSIDE                CA           92502
29951013          COUNTY OF SACRAMENTO                       10590 ARMSTRONG AVENUE                                                                                                   MATHER                   CA           95655
                  COUNTY OF SACRAMENTO ‐ ENVIRONMENTAL
29951014          MGMT DEPT                                  10590 ARMSTRONG AVE                 STE C                                                                                MATHER                   CA           95655‐4153
                  COUNTY OF SACRAMENTO DEPT OF
29949048          AGRICULTURE                                DEPT.OF AGRICULTURE / WEIGHTS & MEA 4137 BRANCH CENTER ROAD                                                              SACRAMENTO               CA           95827‐3823
29951015          COUNTY OF SAN BERNARDINO                   172 W THIRD STREET                  1ST FLOOR                                                                            SAN BERNARDINO           CA           92415‐0360
29951016          COUNTY OF SAN BERNARDINO                   DEPT OF ENVIRONMENTAL HEALTH        385 N ARROWHEAD AVE 2ND FLR                                                          SAN BERNARDINO           CA           92415‐0010
29951017          COUNTY OF SAN DIEGO                        AGRICULTURE, WEIGHTS, MEASURES      9325 HAZARD WAY STE 100                                                              SAN DIEGO                CA           92123
29951018          COUNTY OF SAN DIEGO                        DEPT OF ENVIRONMENTAL HEALTH        PO BOX 129261                                                                        SAN DIEGO                CA           92112‐9261




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                  COUNTY OF SAN DIEGO ‐ DEPT OF WEIGHTS &
29949051          MEASURES                                  AGRICULTURE, WEIGHTS, MEASURES    9325 HAZARD WAY STE 100                                                           SAN DIEGO              CA           92123
                  COUNTY OF SAN DIEGO DEPT OF
29949052          ENVIRONMENTAL HEALTH                     DEPT OF ENVIRONMENTAL HEALTH       PO BOX 129261                                                                     SAN DIEGO              CA           92112‐9261
                                                           DEPT OF AGRICULTURE WEIGHTS
29951019          COUNTY OF SAN MATEO                      MEASURE                            PO BOX 999                                                                        REDWOOD CITY           CA           94064
29951021          COUNTY OF SANTA BARBARA                  AGRICULTURAL COMMISSIONER          263 CAMINO DEL REMEDIO                                                            SANTA BARBARA          CA           93110‐1335
29951020          COUNTY OF SANTA BARBARA                  TREASURER TAX COLLECTOR            PO BOX 579                                                                        SANTA BARBARA          CA           93102‐0579
                  COUNTY OF SANTA BARBARA, DEPT OF WEIGHTS
29949054          & MEASURE                                AGRICULTURAL COMMISSIONER          263 CAMINO DEL REMEDIO                                                            SANTA BARBARA          CA           93110‐1335
29951022          COUNTY OF SANTA CLARA                    WEIGHTS & MEASURES                 1553 BERGER DRIVER BLDG 1                                                         SAN JOSE               CA           95112
                  COUNTY OF SANTA CLARA WEIGHTS AND
29949870          MEASURES                                 WEIGHTS & MEASURES                 1553 BERGER DRIVER BLDG 1                                                         SAN JOSE               CA           95112
29951023          COUNTY OF SONOMA                         WEIGHTS AND MEASURES DIVISION      133 AVIATION BLVD. STE.110                                                        SANTA ROSA             CA           95403
                  COUNTY OF SONOMA DEPT OF HEALTH
29949871          SERVICES                                 DEPT OF HEALTH SERVICES            3313 CHANATE ROAD                                                                 SANTA ROSA             CA           95404‐1795
                  COUNTY OF SONOMA WEIGHTS & MEASURES
29949872          DIVISION                                 WEIGHTS AND MEASURES DIVISION      133 AVIATION BLVD. STE.110                                                        SANTA ROSA             CA           95403
30211293          COUNTY OF SUMMIT                         DEPT OF COMMUNITY & ECON DEVEL.    175 SOUTH MAIN ST.,STE. 207                                                       AKRON                  OH           44308
29951024          COUNTY OF TUOLUMNE                       AGRICULTURE COMMISSIONER           2 SOUTH GREEN STREET                                                              SONORA                 CA           95370
                  COUNTY OF VENTURA ‐ ENVIRONMENTAL
29949874          HEALTH DIVISION                          ENVIRONMENTAL HEALTH DIVISION      800 S VICTORIA AVE                                                                VENTURA                CA           93009‐1730
29915268          COUNTY OF VOLUSIA                        OCCUPATIONAL LICENSE               123 WEST INDIANA AVE                                                              DELAND                 FL           32720
29915267          COUNTY OF VOLUSIA                        TAX PROCESSING CENTER              PO BOX 628237                                                                     ORLANDO                FL           32862‐8237
29915269          COUNTY TAX COLLECTOR                     800 SOUTH VICTORIA AVE                                                                                               VENTURA                CA           93009‐1290
29915270          COUNTY TREASURER                         100 JEFFERSON COUNTY PKWY                                                                                            GOLDEN                 CO           80419
29915271          COUNTY TREASURER                         1015 FAIR STREET                                                                                                     PRESCOTT               AZ           86301
30337697          Name on file                             Address on file
30349202          Name on file                             Address on file
30212444          COURTNEY CERRUTI                         Address on file
29915310          COURTNEY EMERSON                         Address on file
29915333          COURTNEY JOHNSON                         Address on file
29956793          COURTNEY PETITT                          Address on file
30212735          COURTNEY TALKINGTON                      Address on file
30395593          Name on file                             Address on file
29956804          COUSIN CORPORATION OF AMERICA            12333 ENTERPRISE BLVD                                                                                                LARGO                  FL           33773
30264040          Name on file                             Address on file
30396419          Name on file                             Address on file
30385200          Name on file                             Address on file
29956805          Name on file                             Address on file
29915348          COVINA POLICE DEPT‐ ALARMS               DEPT 25484                                                                                                           PASADENA               CA           91185
30225125          Covington Fabric & Design LLC            PO Box 603467                                                                                                        Charlotte              NC           28260‐3467
29915350          COVINGTON FABRIC AND DESIGN LLC          470 SEVENTH AVENUE SUITE 900                                                                                         NEW YORK               NY           10018
30357061          Name on file                             Address on file
30257638          Name on file                             Address on file
30346549          Name on file                             Address on file
29915352          COWETA COUNTY                            BUSINESS TAX                       22 E BROAD STREET                                                                 NEWNAN                 GA           30263
29915351          COWETA COUNTY                            TAX COMMISSIONER                   87 NEWNAN STATION DR             STE 100                                          NEWNAN                 GA           30265‐2659

29949880          COWETA COUNTY                             TAX COMMISSIONER                  87 NEWNAN STATION DR STE 100                                                      NEWNAN                 GA           30265‐2959
29949881          COWETA COUNTY BUSINESS TAX OFFICE         BUSINESS TAX                      22 E BROAD STREET                                                                 NEWNAN                 GA           30263
                  COWETA COUNTY, GA COUNTY CONSUMER
30207765          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 22 EAST BROAD ST                                                                 NEWNAN                 GA           30263
29949834          COWETA‐FAYETTE EMC                        192 TEMPLE AVE                                                                                                      NEWNAN                 GA           30263
29949833          COWETA‐FAYETTE EMC                        807 COLLINSWORTH ROAD                                                                                               PALMETTO               GA           30268
30211594          COWETA‐FAYETTE EMC                        PO BOX 70878                                                                                                        CHARLOTTE              NC           28272‐0878
29915354          COWLITZ COUNTY PUD                        P.O. BOX 3007                                                                                                       LONGVIEW               WA           98632
29915356          COWLITZ COUNTY TREASURER                  PERSONAL PROPERTY TAX              207 FOURTH AVE NORTH                                                             KELSO                  WA           98626
30212432          COX LIBRARY MILTON ACADEMY                170 CENTRE ST                                                                                                       MILTON                 MA           02186
30297657          Cox, Kaitlin                              Address on file
30395776          Name on file                              Address on file
29953402          Name on file                              Address on file
29953403          Name on file                              Address on file




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29953404          Name on file                           Address on file
30213243          CPC MADISON, LLC                       C/O CORE PROPERTY MGMT., LLC           944 EAST GORHAM STREET                                                                MADISON                 WI           53703
29953406          CPC MADISON, LLC                       C/O CORE PROPERTY MGMT., LLC           TOWER PLACE 100                                                                       ATLANTA                 GA           30326
                                                         C/O COLUMBIA PACIFIC ADVISORS, LLC     ATTN: ROBERT BARNES, ASSET
29953408          CPIF NUGGET MALL, LLC                  (CPA)                                  MANAGER                           1910 FAIRVIEW AVE E SUITE 200                       SEATTLE                 WA           98102
                                                         C/O COLUMBIA PACIFIC ADVISORS, LLC     ATTN: ROBERT BARNES, ASSET
30210867          CPIF NUGGET MALL, LLC                  (CPA)                                  MANAGER                                                                               SEATTLE                 WA           98102
29953409          CPP RIVER FALLS SOLE MEMBER I, LLC     CPP RIVER FALLS SPE I LLC              1313 FOOTHILL BLVD, STE. 2                                                            LA CANADA FLINTRIDGE    CA           91011
29953410          CPS ENERGY                             P.O. BOX 2678                                                                                                                SAN ANTONIO             TX           78289‐0001
29953412          CPT ‐ ARLINGTON HIGHLANDS 1, LP        C/O FAIRBOURNE PROPERTIES              ATTN: VIVIAN FIELDS, SVP          200 S MICHIGAN AVE SUITE 400                        CHICAGO                 IL           60604
30210918          CPT ‐ ARLINGTON HIGHLANDS 1, LP        C/O FAIRBOURNE PROPERTIES              ATTN: VIVIAN FIELDS, SVP          200 SOUTH MICHIGAN AVENUE       SUITE 400           CHICAGO                 IL           60604
29915360          CPT NETWORK SOLUTIONS                  950 IL‐83                              ST F                                                                                  WOOD DALE               IL           60191
30215355          CPT NETWORK SOLUTIONS INC              1062 W SOUTH THORNDALE AVE                                                                                                   BENSENVILLE             IL           60106

30213465          CPT RIVERSIDE PLAZA, LLC               C/O AEW CAPITAL MANAGEMENT, L.P.       2 SEAPORT LANE,                                                                       BOSTON                  MA           02210

29915362          CPT RIVERSIDE PLAZA, LLC               C/O AEW CAPITAL MANAGEMENT, L.P.       601 S. FIGUEROA ST., SUITE 2150                                                       LOS ANGELES             CA           90017
29915363          CRACKER BARREL OLD CTRY ST INC         PO BOX 787                                                                                                                   LEBANON                 TN           37087‐0787
30347809          Name on file                           Address on file
30346647          Name on file                           Address on file
30211294          CRAFT A BREW                           2311 MERCATOR DR., SUITE A                                                                                                   ORLANDO                 FL           32807
29915364          Name on file                           Address on file
29915365          Name on file                           Address on file
29915366          CRAFT EXPRESS                          620 DOBBIN ROAD                                                                                                              CHARLESTON              SC           29414
29915367          CRAFT EXPRESS US, LLC                  620 DOBBIN ROAD SUITE 103                                                                                                    CHARLESTON              SC           29414
30163967          Craft Express US, LLC                  Vik Patel                              620 Dobbin Road                   Suite 103                                           Charleston              SC           29414
29915368          Name on file                           Address on file
                                                         NO. 121 EAST QIANMING RD FENGJING
30223102          CRAFT RITE INC                         TOWN, JINSHAN DISTRICT                 20                                                                                    SHANGHAI                             201501          CHINA
29974708          Craft Rite Inc                         1169 W Autumn View Circle                                                                                                    Lehi                    UT           84043
29974707          Craft Rite Inc                         7533 S Center View Ct #4433                                                                                                  West Jordan             UT           84084
30211295          CRAFT SMITH LLC                        19312 CANYON DRIVE                                                                                                           VILLA PARK              CA           92861
29915369          Name on file                           Address on file
29954325          CRAFTLAND INC                          NAN KING EAST ROAD                     8TH FLOOR, NO. 95, SECTION 2                                                          TAIPEI                               10457           TAIWAN
30211296          CRAFT‐RITE INC                         3400 N. ASHTON BLVD SUITE 170                                                                                                LEHI                    UT           84043
29954326          Name on file                           Address on file
29954327          Name on file                           Address on file
29954328          Name on file                           Address on file
30210803          CRAFTY (AL) LLC                        395 9TH AVENUE 58TH                    FLOOR                                                                                 NEW YORK                NY           10001
                                                         C/O W.P. CAREY INC. ONE MANHATTAN
30210804          CRAFTY (AL) LLC                        WEST                                   395 9TH AVENUE 58TH FLOOR                                                             NEW YORK                NY           10001
30213648          CRAFTY (AL) LLC                        C/O W.P. CAREY, INC.                   ONE MANHATTAN WEST                                                                    NEW YORK                NY           10001
30386483          Crafty (AL) LLC                        Chaffetz Lindsey LLP                   Alan J. Lipkin, ESQ                170 Broadway, 33rd Floor                           New York                NY           10019
30386484          Crafty (AL) LLC                        Morris, Nichols, Arsht & Tunnell LLP   1201 North Market Street           PO Box 1347                                        Wilmington              DE           19899‐1347
                                                                                                c/o W.P. Carey Inc., One Manhattan
30386212          Crafty (AL) LLC                        Sam Rubenstein ‐ Vice President        West                               395 9th Avenue                 58th Floor          New York                NY           10001
29954331          Name on file                           Address on file
29954332          Name on file                           Address on file
29954333          Name on file                           Address on file
29954334          Name on file                           Address on file
30212857          CRAIG EDGE                             Address on file
29915370          CRAIG EDGE                             Address on file
30348066          Name on file                           Address on file
30401881          Name on file                           Address on file
29915379          CRAIGHEAD COUNTY COLLECTOR             511 UNION STREET, STE 107                                                                                                    JONESBORO               AR           72401
30224399          Craighead County Tax Collector         511 Union St                           Suite 107                                                                             Jonesboro               AR           72401
                  CRAIGHEAD COUNTY, AR COUNTY CONSUMER
30207767          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 511 S MAIN ST                         STE 200                                             JONESBORO               AR           72401
30357831          Name on file                           Address on file
30339469          Name on file                           Address on file
30274177          Name on file                           Address on file
30353425          Name on file                           Address on file
29956806          CRANBERRY TOWNSHIP, PA                 PO BOX 6075                                                                                                                  HERMITAGE               PA           16148‐1075




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  ADDRESS ID                           NAME                                         ADDRESS 1                      ADDRESS 2                          ADDRESS 3                   ADDRESS 4                    CITY        STATE     POSTAL CODE        COUNTRY
30212184          CRANFORD PUBLIC LIBRARY                          224 WALNUT AVENUE                                                                                                          CRANFORD                NJ           07016
30293020          Name on file                                     Address on file
30397539          Name on file                                     Address on file
                  CRAWFORD COUNTY, PA COUNTY CONSUMER
30207768          PROTECTION AGENCY                                ATTN: CONSUMER PROTECTION DIVISION 903 DIAMOND PARK                                                                        MEADVILLE               PA           16335
30358312          Name on file                                     Address on file
29956810          Name on file                                     Address on file

30209594          CRAWFORDSVILLE DISTRICT PUBLIC LIBRARY           205 S. WASHINGTON ST.                                                                                                      CRAWFORDSVILLE          IN           47933
29956812          CRAYON SOFTWARE EXPERTS LLC                      12221 MERIT DR. STE 1400                                                                                                   DALLAS                  TX           75251
30342595          Crayon Software Experts, LLC                     Jennifer P. Sanders                12221 Merit Drive                                                                       Dallas                  TX           75251
                                                                                                      Legal Director, U.S.; Crayong Group
30215482          Crayon Software Experts, LLC                     Jennifer P. Sanders                US                                  12221 Merit Drive                                   Dallas                  TX           75251
30395207          Name on file                                     Address on file
                                                                                                      C/O CONTINENTAL REALTY
29956813          CRC TAYLORSVILLE COINVEST LLC                    DBA: CR TAYLORSVILLE LLC           CORPORATION                        1427 CLARKVIEW RD STE 500                            BALTIMORE               MD           21209
                                                                                                      C/O CONTINENTAL REALTY
30210909          CRC TAYLORSVILLE COINVEST LLC                    DBA: CR TAYLORSVILLE LLC           CORPORATION                                                                             BALTIMORE               MD           21209
29956816          CREATE A CASTLE, LLC                             15 GLENBROOK DR                                                                                                            NEW MILFORD             CT           06776
29915380          Name on file                                     Address on file
29915381          Name on file                                     Address on file
30211297          CREATIONS ROBERT VERNET                          22 RUE LAURE DIEBOLD                                                                                                       LYON                                 69009           FRANCE
30333593          Creative Bug                                     Address on file
29915382          CREATIVE COLOR                                   17413 WOODFORD AVE                                                                                                         LAKEWOOD                OH           44107‐2223
29915383          Name on file                                     Address on file
29915385          CREATIVE KIDS FAR EAST INC.                      750 CHESTNUTE RIDGE RD SUITE 301                                                                                           POMONA                  NY           10970
30211299          CREATIVE PALETTE INC                             310 N YEARLING RD                                                                                                          COLUMBUS                OH           43213
30223103          CREATIVE POINTE DESIGNS LLC                      419 THE PARKWAY PMB209                                                                                                     GREER                   SC           29650
30211301          CREATIVE SAFETY SUPPLY LLC                       8030 SW NIMBUS AVE.                                                                                                        BEAVERTON               OR           97008
30211302          CREATIVE SPARROW LTD                             12 CONQUEROR COURT                 KE                                                                                      SITTINGBOURNE                        ME10 5BH        UNITED KINGDOM
29915386          Name on file                                     Address on file
30211645          CREATIVE TECH SOLUTIONS LLC                      5555 DARROW ROAD                                                                                                           HUDSON                  OH           44236
30211646          CREATIVEBUG, LLC                                 5555 DARROW ROAD                                                                                                           HUDSON                  OH           44236
29949057          CREATIVEBUG, LLC ‐ (201416010062)                ANNUAL FOREIGN CORP STATEMENT      PO BOX 944230                                                                           SACRAMENTO              CA           94244
29949058          CREATIVEBUG, LLC ‐ NEW JERSEY                    ANNUAL FOREIGN CORP STATEMENT      PO BOX 944230                                                                           SACRAMENTO              CA           94244
29949059          CREATIVEBUG, LLC ‐ WASHINGTON                    ANNUAL FOREIGN CORP STATEMENT      PO BOX 944230                                                                           SACRAMENTO              CA           94244
30347747          Name on file                                     Address on file
30211303          CRESCENT ELECTRIC SUPPLY CO                      5520 CLOVERLEAF PKWY #4815                                                                                                 CLEVELAND               OH           44125
30223104          CRESCENT MEZZANINE                               ATTN: CHRIS WRIGHT                 11100 SANTA MONICA BLVD.           SUITE 2000                                           LOS ANGELES             CA           90025
29915391          CRESCENTA VALLEY WATER DISTRICT                  2700 FOOTHILL BLVD                                                                                                         LA CRESENTA             CA           91214
30209595          CRESCHENDOH, LLC                                 2335 POINSETTIA STREET                                                                                                     SANTA ANA               CA           92706
30356756          Name on file                                     Address on file
29915393          CRG FINANCIAL LLC                                84 HERBERT AVE., BLDG B, #202                                                                                              CLOSTER                 NJ           07624
                  CRG Financial LLC (as assignee of NTT Inc. dba
30332927          Fabric Traditions)                               84 Herbert Ave                     Building B                         Suite 202                                            Closter                 NJ           07624
                  CRG Financial LLC (As Assignee of Richloom
30333266          Fabrics)                                         84 Herbert Ave                     Building B                         Suite 202                                            Closter                 NJ           07624
                  CRG Financial LLC (As Assignee of Richloom Far
30332761          East Trading Co. Ltd.)                           84 Herbert Ave                     Building B                         Suite 202                                            Closter                 NJ           07624
                                                                                                      ATTN: LEGAL
29915395          CRI EASTON SQUARE, LLC                           C/O CASTO                          DEPARTMENT/LEASING                 250 CIVIC CENTER DR. SUITE 500                       COLUMBUS                OH           43215
                                                                                                      ATTN: LEGAL
30210899          CRI EASTON SQUARE, LLC                           C/O CASTO                          DEPARTMENT/LEASING                                                                      COLUMBUS                OH           43215
29972774          Name on file                                     Address on file
30296764          Cricut Inc.                                      c/o Donald Olsen                   10855 South River Front Parkway                                                         South Jordan            UT           84095
30296765          Cricut Inc.                                      Snell & Wilmer LLP                 James G. Florentine                One E Washington St.             Ste. 2700           Phoenix                 AZ           85004
30215071          CRICUT, INC.                                     20966 S.RIVER FRONT PKWY                                                                                                   SOUTH JORDAN            UT           84095
                                                                                                      ATTN: PAMELA DAY, MANAGING
30210972          CRIMSON 1031 PORTFOLIO, LLC                      6100 CAMP BOWIE BLVD. #23          PARTNER, MIKE RISO                 PROPERTY MGR.                                        FORT WORTH              TX           76116
30333726          Name on file                                     Address on file
30353713          Cristobal, Veronidia Salazar                     Address on file
29915443          CRITICAL MENTION INC                             CRITICAL MEDIA                     PO BOX 4458, DEPT. 569                                                                  HOUSTON                 TX           77210‐4458
30347867          Name on file                                     Address on file




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  ADDRESS ID                           NAME                          ADDRESS 1                         ADDRESS 2                          ADDRESS 3               ADDRESS 4                     CITY        STATE     POSTAL CODE           COUNTRY
30386203          Name on file                           Address on file
29915444          Name on file                           Address on file
30209597          CROMWELL BELDEN PUBLIC LIBRARY         39 WEST STREET                                                                                                       CROMWELL                 CT           06416
30355284          Name on file                           Address on file
30347130          Name on file                           Address on file
30344419          Name on file                           Address on file
29915446          CROSBY ELECTRIC CO INC                 PO BOX 240368                                                                                                        MONTGOMERY               AL           36124
30355790          Name on file                           Address on file
29915447          CROSS CREEK PLAZA DR LLC               C/O GFD MGMT INC, EXEC VP          6350 QUADRANGLE DR, STE 205                                                       CHAPEL HILL              NC           27517
30256999          Name on file                           Address on file
30345212          Name on file                           Address on file
30345211          Name on file                           Address on file
30257187          Name on file                           Address on file
                                                                                            1975 HEMPSTEAD TURNPIKE, SUITE
30213469          CROSSWINDS COMMONS, LLC                C/O HAUPPAUGE PROPERTIES, LLC      309                                                                               EAST MEADOW              NY           11554
30414671          Name on file                           Address on file
30342413          Name on file                           Address on file
30394152          Name on file                           Address on file
30386143          Name on file                           Address on file
30210805          CROWLEY FLECK PLLP                     PO BOX 10969                                                                                                         BOZEMAN                  MT           59719‐0969
30350054          Name on file                           Address on file
29915454          CROWN EQUIPMENT CORPORATION            PO BOX 641173                                                                                                        CINCINNATI               OH           45264
29915455          Name on file                           Address on file

30209599          CROWN POINT COMMUNITY PUBLIC LIBRARY   122 NORTH MAIN STREET                                                                                                CROWN POINT              IN           46307
30339251          Name on file                           Address on file
29915456          CRST THE TRANSPORTATION SOLUTION IN    PO BOX 71573                                                                                                         CHICAGO                  IL           60694
30348014          Name on file                           Address on file
30210541          CRUM & FORSTER (CLAIMS DEPARTMENT)     305 MADISON AVENUE                                                                                                   MORRISTOWN               NJ           07962
30223105          CRUM & FORSTER EXECUTIVE RISK          305 MADISON AVENUE                                                                                                   MORRISTOWN               NJ           07962
30335208          Name on file                           Address on file
30351194          Name on file                           Address on file
29915458          CRUSHFTP LLC                           PO BOX 4470                                                                                                          STATELINE                NV           89449‐4470
30342674          Name on file                           Address on file
30347332          Name on file                           Address on file
29915494          CRYSTAL HUSEBY                         Address on file
30212185          CRYSTAL LAKE PUBLIC LIBRARY            126 PADDOCK STREET                                                                                                   CRYSTAL LAKE             IL           60014
29956833          CRYSTAL LATOURRETTE                    Address on file
30224512          CS International (HK) Toys, Limited    7th FL, Edward Wong Tower          910 Cheung Sha Wan Road                                                           Kowloon, HK                                           China
29951448          CSC COLONIAL COMMONS LP                44 S BAYLES AVE., STE 304                                                                                            PORT WASHINGTON          NY           10050
29956847          CSC COLONIAL COMMONS LP                PO BOX 200804                                                                                                        DALLAS                   TX           75320‐0804
29972771          Name on file                           Address on file
29956848          CSHV CROSSROADS LLC                    26360 NETWORK PLACE                                                                                                  CHICAGO                  IL           60673‐1263
30386401          Name on file                           Address on file
                                                         500 WASHINGTON AVENUE SOUTH, SUITE
30213611          CSM CORPORATION                        3000                               ATTN: GENERAL COUNSEL                                                             MINNEAPOLIS              MN           55415
29915533          CT CORPORATION                         DBA LIEN SOLUTIONS                 PO BOX 301133                                                                     DALLAS                   TX           75303
29915534          CT CORPORATION SYSTEM                  PO BOX 4349                                                                                                          CAROL STREAM             IL           60197‐4349
29915535          CT‐BUG‐SALES TAX                       25 SIGOURNEY STREET                                                                                                  HARTFORD                 CT           06106
29915536          CT‐CORP‐02101                          STATE OF CONNECTICUT               PO BOX 2990                                                                       HARTFORD                 CT           06104‐2990
29915538          CT‐JAC‐SALES TAX                       TWENTY FIVE SIGOURNEY STREET                                                                                         HARTFORD                 CT           06106
29915539          CT‐JAS‐SALES TAX 04100                 25 SIGOURNEY STREET                                                                                                  HARTFORD                 CT           06106
30213625          CTL PROPERTY MANAGEMENT, LLC           C/O EAST MOLINE GLASS              1033 7TH STREET                                                                   EAST MOLINE              IL           61244
29915542          CTO REALTY GROWTH INC                  CTO23 ROCKWALL LLC                 PO BOX 95893                                                                      CHICAGO                  IL           60694‐5893

30213316          CTO23 ROCKWALL LLC                     C/O CTO REALTY GROWTH, INC.        1140 WILLIAMSON BLVD., SUITE 140                                                  DAYTONA BEACH            FL           32114

30213352          CTO24 CAROLINA LLC                     C/O CTO REALTY GROWTH, INC.        1140 WILLIAMSON BLVD., SUITE 140                                                  DAYTONA BEACH            FL           32114
30213669          CTS FIDUCIARY, LLC, TRUSTEE,           ROUTE 132 REAL ESTATE TRUST        C/O TURTLE ROCK, LLC                                                              YARMOUTHPORT             MA           02675
30393179          Name on file                           Address on file
30342617          Name on file                           Address on file
30414715          Name on file                           Address on file
30335468          Cullinan Pensacola, LLC                Attn: Robin Lukehart               420 N Main Street                                                                 East Peoria              IL           61611




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30213255          CULLINAN PENSACOLA, LLC               C/O CULLINAN PROPERTEIS, LTD                   420 NORTH MAIN STREET                                                                 PEORIA                   IL           61611
30356653          Name on file                          Address on file
30351043          Name on file                          Address on file
29915553          CULPEPER COUNTY TREASURER             PO BOX 1447                                                                                                                          CULPEPER                 VA           22701‐6447
                  CULPEPER COUNTY, VA COUNTY CONSUMER
30207769          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION             302 N MAIN ST                                                                         CULPEPER                 VA           22701
29915555          CUMBERLAND COUNTY                     310 ALLEN ROAD STE 701                                                                                                               CARLISLE                 PA           17013
29915554          CUMBERLAND COUNTY                     TAX COLLECTOR                                  PO BOX 1070                                                                           CHARLOTTE                NC           28201‐1070
                  CUMBERLAND COUNTY, PA COUNTY CONSUMER
30207770          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION             1 COURTHOUSE SQUARE                                                                   CARLISLE                 PA           17013
30353701          Name on file                          Address on file
30385841          Name on file                          Address on file
30332362          Name on file                          Address on file
30401764          Name on file                          Address on file
30200368          Cupixel                               1234 Chestnut St                               Suite 112                                                                             Newton                   MA           02464
30260437          Cupixel                               1234 Chestnut St                               Suite 112                                                                             West Newton              MA           01748
30337199          Cupixel Inc                           Sarah Euezyn Ardila                            1234 Chestnut St.                  Suite 112                                          West Newton              MA           02464
30334513          CUPIXEL INC                           SARAH EVELYN ARDILA                            BUS DEZ                            1234 CHESTNUT ST.              SUITE 112           WEST NEWTON              NA           02464
30211304          CURALATE INC                          1628 JOHN F KENNEDY BLVD                       SUITE 1400                                                                            PHILADELPHIA             PA           19103
30352798          Name on file                          Address on file
30213211          CURLEW CROSSING S.C., LLC             500 NORTH BROADWAY, SUITE 201                                                                                                        JERICHO                  NY           11753
29915559          CURLEW CROSSING SC LLC                PO BOX 30344                                                                                                                         TAMPA                    FL           33630
30332510          Name on file                          Address on file
30396225          Name on file                          Address on file
30415188          Name on file                          Address on file
30350875          Name on file                          Address on file
30342682          Name on file                          Address on file
30212189          CURTIS MEMORIAL LIBRARY               23 PLEASANT ST                                                                                                                       BRUNSWICK                ME           04011
30209601          CURTIS MEMORIAL LIBRARY               3 PLEASANT STREET                                                                                                                    BRUNSWICK                ME           04011
29950649          CURTIS VALDEZ                         Address on file
29950650          CURTIS WAGNER PLASTICS CORP           5630 BRYSTONE DR                                                                                                                     HOUSTON                  TX           77041
30415243          Name on file                          Address on file
30395551          Name on file                          Address on file
30332113          Name on file                          Address on file
30340914          Name on file                          Address on file
30358172          Name on file                          Address on file
30350533          Name on file                          Address on file
30398398          Name on file                          Address on file
29950652          CUSTODIO & DUBEY, LLP                 445 S. FIGUEROA ST., STE 2520                                                                                                        LOS ANGELES              CA           90071
29950653          Name on file                          Address on file
29950654          Name on file                          Address on file
29950655          CUSTOM COMMUNICATIONS INC             DBA CUSTOM ALARM                               1661 GREENVIEW DRIVE SW                                                               ROCHESTER                MN           55902
29950656          Name on file                          Address on file

30385613          Custom Floral Design dba the Greenhous Florist   Gregg Lauck                         12 Clinton                                                                            Hudson                   OH           44236
30209602          CUTCHOGUE NEW SUFFOLK FREE LIBRARY               27550 MAIN RD                       PO BOX 935                                                                            CUTCHOGUE                NY           11935
29950658          Name on file                                     Address on file
30260634          Name on file                                     Address on file
30394519          Name on file                                     Address on file
30394031          Name on file                                     Address on file
30223577          Name on file                                     Address on file
29950659          CUYAHOGA CATERING CO                             DBA ROBERT J EVENTS & CATERING      815 E. TALLMADGE AVE                                                                  AKRON                    OH           44310
29915566          Name on file                                     Address on file
30209604          CUYAHOGA COUNTY PUBLIC LIBRARY                   2111 SNOW ROAD                                                                                                            PARMA                    OH           44134‐2728
                  CUYAHOGA COUNTY, OH COUNTY CONSUMER
30207771          PROTECTION AGENCY                                ATTN: CONSUMER PROTECTION DIVISION 2079 EAST NINTH STREET                                                                 CLEVELAND                OH           44115
29915567          CVS‐ CAREMARK                                    P.O. BOX 848001                                                                                                           DALLAS                   TX           75284
29915568          CWC ‐ CONNECTICUT WATER                          PO BOX 981015                                                                                                             BOSTON                   MA           02298‐1015
                                                                   ATTN: GARDNER HALL ATTN: SERVICING
30223106          CWCAPITAL LLC                                    DEPARTMENT ONE                     CHARLES RIVER PLACE                 63 KENDRICK STREET                                 NEEDHAM                  MA           02494
30211305          CYNERGIES CONSULTING INC                         3701 ALGONQUIN RD                  SUITE 508                                                                              ROLLING MEADOWS          IL           60008
29915582          CYNTHIA A CHEEKS                                 Address on file
29956862          CYNTHIA DEURMEIER                                Address on file




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29915633          CYNTHIA MARTZ                       Address on file
29915676          Name on file                        Address on file
29956906          CYPRESS FAIRBANK ISD                TAX ASSESSOR COLLECTOR              10494 JONES RD STE 106                                                              HOUSTON                     TX           77065
30193098          Cypress‐Fairbanks ISD               10494 Jones Rd RM 106                                                                                                   Houston                     TX           77065‐4210
30342128          Name on file                        Address on file
30210806          CYRENIUS H. BOOTH LIBRARY           25 MAIN ST                                                                                                              NEWTOWN                     CT           06470
29956914          CYRUS HEITMAN                       Address on file
30296675          Name on file                        Address on file
30344161          Name on file                        Address on file
30351150          Name on file                        Address on file
30213661          D & C WONG I, LLC                   C/O HANNAH WONG                     6311 SEWARD PARK AVE. S.                                                            SEATTLE                     WA           98118
30213116          D & H HAWLEY LLC                    C/O HAWLEY REALTY INC.              338 N. 137TH ST.                                                                    SEATTLE                     WA           98133
29915681          D H PACE COMPANY INC                1901 EAST 119TH ST.                                                                                                     OLATHE                      KS           66061
29915682          D VAN SICKLE                        Address on file
29915683          D. BERNARD                          Address on file
29915684          D. DOLEZAL PLODZEEN                 Address on file
29915685          D. FIORITTO                         Address on file
29915686          D. GOREE                            Address on file
29915687          D. HERNANDEZ                        Address on file
29915688          D. JONES                            Address on file
29915689          D. MCDERMOTT                        Address on file
29915690          D. MUSTAIN                          Address on file
29915691          D. RANKINN                          Address on file
29915692          D. RIVERA                           Address on file
29915693          D. SCHWEITZER                       Address on file
29915694          D. ZECCA                            Address on file
29915695          D. ZEMLOCK                          Address on file

30213438          DAANE'S DEVELOPMENT COMPANY         PO BOX 340                          ATTN: DANIEL DAANE, PRESIDENT                                                       OSPREY                      FL           34229
30261640          Name on file                        Address on file
29915708          DADE COUNTY COLLECTION              OCCUPATIONAL LICENSE TAX            140 W FLAGLER ST 14TH                                                               MIAMI                       FL           33130
29915709          DADE COUNTY TAX COLLECTOR           PO BOX 025218                                                                                                           MIAMI                       FL           33102‐5218
                                                      200 SOUTH BISCAYNE BLVD., SEVENTH
30213687          DADELAND GREENERY LP                FLOOR                                                                                                                   MIAMI                       FL           33131
30289399          Dadeland Greenery, LP               c/o Nicholas B. Bangos              2560 RCA Blvd.                     Suite 114                                        Palm Beach Gardens          FL           33410
30289400          Dadeland Greenery, LP               Dadeland Greenery, LP               Attn: Nicholas Basil Bangos        5141 SE Great Pocket Trail                       Stuart                      FL           34997
30353595          Dady, Christopher James             Address on file
29915713          Name on file                        Address on file
29915723          Name on file                        Address on file
29915726          Name on file                        Address on file
30358365          Name on file                        Address on file
30211306          DAHLE NORTH AMERICA INC (ECOM)      49 VOSE FARM RD                                                                                                         PETERBOROUGH                NH           03458
30291612          Name on file                        Address on file
30291613          Name on file                        Address on file
30415201          Name on file                        Address on file
30401059          Name on file                        Address on file
30331405          Name on file                        Address on file
30214275          DAILY SERVICES                      SURGE                               PO BOX 779076                                                                       CHICAGO                     IL           60677‐9076
30291370          Daily Services, LLC dba Surge       Robert C. Whipple                   General Counsel                    4 Easton Oval                                    Columbus                    OH           43219
30353409          Name on file                        Address on file
29956925          DAISY MORENO                        Address on file
                  DAKOTA COUNTY, MN COUNTY CONSUMER
30207772          PROTECTION AGENCY                   ATTN: CONSUMER PROTECTION DIVISION 1590 HIGHWAY 55                                                                      HASTINGS                    MN           55033
30340462          Name on file                        Address on file
29915802          DALE HAMILTON                       Address on file
30354172          Name on file                        Address on file
29915813          DALLAS COUNTY TAX COLLECTOR         JOHN R AMES                        PO BOX 139066                                                                        DALLAS                      TX           75313
                  DALLAS COUNTY, TX COUNTY CONSUMER
30207773          PROTECTION AGENCY                   ATTN: CONSUMER PROTECTION DIVISION 600 COMMERCE ST                     STE 103                                          DALLAS                      TX           75202
29915816          DALLAS POLICE DEPT                  ALARM PERMIT COMP UNIT             PO BOX 840186                                                                        DALLAS                      TX           75284‐0186
30340819          Name on file                        Address on file
30349078          Name on file                        Address on file
30414835          Name on file                        Address on file




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29915828          DALY CITY FALSE ALARMS                    PO BOX 142856                                                                                                                    IRVING                    TX           75014
30401189          Name on file                              Address on file
29956943          DAMIEN JAMES                              Address on file
30211608          DAMIEN JOHNSON                            Address on file
30223107          DAMN INDUSTRIES LLC                       DAMN FILTERS                       1443 N. RIDGE ROAD                                                                            WICHITA                   KS           67212
                                                            C/O THOMASON DEVELOPMENT
30213421          DANA DRIVE INVESTORS                      COMPANY                            7090 N MARKS AVENUE                                                                           FRESNO                    CA           93711
30212601          DANA NELSON                               Address on file

30213495          DANA RAPID CITY LLC                       ATTN: JIM STANEK, MANAGING MEMBER 718 EAST ST. ANDREWS                                                                           DAKOTA DUNES              SD           57049
30211609          DANA ROWAN DBA BACK TO YOU DESIGNS        Address on file
30212802          DANA SAPORITO                             Address on file
29915896          DANA SOUTHWARD                            Address on file
30345341          Name on file                              Address on file

30213066          DANADA SQUARE WEST SHOPPING CENTER, LLC   C/O CBRE, INC.                     2100 MCKINNEY AVENUE, SUITE 800                                                               DALLAS                    TX           75201
                  DANE COUNTY, WI COUNTY CONSUMER
30207774          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 5201 FEN OAK DR                   STE 138                                                     MADISON                   WI           53718
30262313          Name on file                              Address on file
30414667          Name on file                              Address on file
LC_0085           Daniel Boone Regional Library             Po Box 1267                                                                                                                      Columbia                  MO           65205
30212706          DANIEL BOONE REGIONAL LIBRARY             100 W BROADWAY                                                                                                                   COLUMBIA                  MO           65203
29915950          DANIEL G KAMIN EASTBROOK ENT              PO BOX 10234                                                                                                                     PITTSBURGH                PA           15232
30402017          Daniel G. Kamin Eastbrook Enterprises     40‐ S. Highland Avenue                                                                                                           Pittsburgh                PA           15206

30210969          DANIEL G. KAMIN EASTBROOK ENTERPRISES     C/O KAMIN REALTY COMPANY          ATTN: DANIEL G. KAMIN                                                                          PITTSBURGH                PA           15206
                                                                                              ATTN: DANIEL G. KAMIN, KELLY
29964961          DANIEL G. KAMIN EASTBROOK ENTERPRISES     C/O KAMIN REALTY COMPANY          SERENKO                            DIR OF LEASE ADMIN.                490 S. HIGHLAND AVENUE   PITTSBURGH                PA           15206
30414395          Daniel G. Kamin Eastbrook Enterprises     Kamin Realty Management LLC       Kelly Serenko                      Director of Lease Administration   490 S, Highland Avenue   Pittsburgh                PA           15206
29915961          DANIEL HAMMETT                            Address on file
29956959          DANIEL LORONA                             Address on file
29915967          DANIEL MARQUEZ‐TOVAR                      Address on file
29956961          Name on file                              Address on file
30350088          Name on file                              Address on file
30340954          Name on file                              Address on file
29916031          DANIELLE BEJAR                            Address on file
29916040          DANIELLE BUNKER                           Address on file
29916134          DANIELLE SUZANNE KRYSA                    Address on file
30337140          Name on file                              Address on file
30344324          Name on file                              Address on file
30354323          Name on file                              Address on file
30332635          Name on file                              Address on file
30385142          Name on file                              Address on file
29916161          DANNIELL SCHWARTZ                         Address on file
29916169          Name on file                              Address on file
30209609          DANVERS TOWNSHIP LIBRARY                  117 EAST EXCHANGE STREET                                                                                                         DANVERS                   IL           61732
                                                            C/O MID‐AMERICA ASSET MANAGEMENT,
30213487          DANVILLE MALL, LLC                        INC.                              ONE PARKVIEW PLAZA, 9TH FLOOR                                                                  OAKBROOK TERRACE          IL           60181
29916172          Name on file                              Address on file
30210807          DANVILLE PUBLIC LIBRARY                   319 NORTH VERMILLION SR                                                                                                          DANVILLE                  IL           61832
30347877          Name on file                              Address on file
30332661          Name on file                              Address on file
30212708          DARE COUNTY LIBRARY                       700 US‐64                                                                                                                        MANTEO                    NC           27954
30210808          DARE COUNTY LIBRARY                       PO BOX 1000                                                                                                                      MANTEO                    NC           27954
29957006          DARIAN JEFFERSON                          Address on file
29957012          Name on file                              Address on file
30354774          Name on file                              Address on file
29916196          DARIO L PINI                              Address on file
29957019          DARKO INC                                 26401 RICHMOND RD.                                                                                                               BEDFORD HEIGHTS           OH           44146
30214384          DARN GOOD YARN, INC.                      11A SOLAR DRIVE                                                                                                                  CLIFTON PARK              NY           12065
29957031          DARN GOOD YARN, INC.                      11A SOLAR DRIVE                                                                                                                  HALFMOON                  NY           12065
30354676          Name on file                              Address on file
30210583          DARRELL HORN                              Address on file




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29916238          DARRELL WEBB                               Address on file
29916248          DARRIUS TAYLOR                             Address on file
30223108          DART TRANSIT CO.                           PO BOX 64110                                                                                                               SAINT PAUL             MN           55164‐0110
29951180          DARTMOUTH BOARD OF HEALTH                  TOWN OF DARTMOUTH                   PO BOX 79399                                                                           DARTMOUTH              MA           02747

30213126          DARTMOUTH MARKETPLACE ASSOCIATES, L.L.C.   C/O PEGASUS LANDING CORPORATION    6065 ROSWELL ROAD, SUITE 800                                                            SANDY SPRINGS          GA           30328
30331587          Dasada Property Management LLC             Padway & Padway, Ltd.              Atty. Ethan M. Padway              5150 N. Port Washington Rd.    Ste 151               Milwaukee              WI           53217
30213343          DASADA PROPERTY MANAGEMENT, LLC            107 LEGEND WAY                     ATTN: MR. SHARIF MALIK                                                                  WALES                  WI           53183
29916267          DATA.AI INC                                FKA APP ANNIE INC                  44 MONTGOMERY ST., 3RD FL.                                                              SAN FRANCISCO          CA           94104
29916268          DATACAMP INC                               350 FIFTH AVE STE 7720                                                                                                     NEW YORK               NY           10118
29916269          DATACOLOR INC                              5 PRINCESS RD                                                                                                              LAWRENCEVILLE          NJ           08648
30223109          DATASITE LLC                               BAKER CENTER                        733 S. MARQUETTE AVE,             SUITE 600                                            MINNEAPOLIS            MN           55402
30258236          Datasite LLC                               P. O. Box 74007252                                                                                                         Chicago                IL           60674‐7252
30355659          Name on file                               Address on file
29916273          DAVACO INC                                 DEPT 8055                           PO BOX 650002                                                                          DALLAS                 TX           75265
29916277          DAVE PEARSON                               Address on file
30416385          Name on file                               Address on file
30332034          Name on file                               Address on file
30210809          DAVID & JOYCE MILNE PUBLIC LIBRARY         1095 MAIN STREET                                                                                                           WILLIAMSTOWN           MA           01267
30212637          DAVID BARNHART                             Address on file
29957042          DAVID CROSS                                Address on file
29916309          DAVID DRAINER                              Address on file
30212867          DAVID DUDA                                 Address on file
29916316          Name on file                               Address on file
30212904          DAVID GEIBEL                               Address on file
29957057          DAVID HOWARD                               Address on file
30212610          DAVID KOLARIK                              Address on file
29916349          DAVID LATOURRETTE                          Address on file
29916363          DAVID MESSINO                              Address on file
30212960          DAVID OKESON                               Address on file
29916373          DAVID P MILLER                             Address on file
29916389          DAVID ROSENBERG                            Address on file
29916392          DAVID S WILSON                             Address on file
30212902          DAVID SHOLTIS                              Address on file
29916401          DAVID SIMMONS                              Address on file
29916411          DAVID TENORIO                              Address on file
29916422          DAVID YEOMAN                               Address on file
30397095          Name on file                               Address on file
30351788          Name on file                               Address on file
30352978          Name on file                               Address on file
30397274          Name on file                               Address on file
29916425          DAVIESS COUNTY SHERIFF                     212 ST ANN STREET                                                                                                          OWENSBORO              KY           42303‐4146
                  DAVIESS COUNTY, KY COUNTY CONSUMER
30207775          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 212 ST ANN ST                      ROOM 202                                             OWNESBORO              KY           42303
30397550          Name on file                               Address on file
30223110          DAVINA NATHAN DESIGN                       Address on file
30296961          Davis County Assessor                      61 S Maint St                                                                                                              Farmington             UT           84025
30296958          Davis County Assessor                      P.O. Box 4100                                                                                                              Farmington             UT           84025
                  DAVIS COUNTY, UT COUNTY CONSUMER
30207776          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 61 S MAIN ST                                                                            FARMINGTON             UT           84025
30394462          Name on file                               Address on file
30354712          Name on file                               Address on file
30340827          Name on file                               Address on file
30395372          Name on file                               Address on file
30334429          Name on file                               Address on file
30416577          Name on file                               Address on file
30355346          Name on file                               Address on file
30347839          Name on file                               Address on file
30331857          Name on file                               Address on file
30398293          Name on file                               Address on file
30394931          Name on file                               Address on file
30414647          Name on file                               Address on file
30394678          Name on file                               Address on file




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30394680          Name on file                              Address on file
30395334          Name on file                              Address on file
30275160          Name on file                              Address on file
30332944          Name on file                              Address on file
30393680          Name on file                              Address on file
30257689          Name on file                              Address on file
30340855          Name on file                              Address on file
30257471          Name on file                              Address on file
30395801          Name on file                              Address on file
30351146          Name on file                              Address on file
30342720          Name on file                              Address on file
29916438          DAVONNA PERRY                             Address on file
29916444          DAWLINE‐JANE ONI‐ESELEH                   Address on file
30209616          DAWN DEVRIES SOKOL                        Address on file
30209615          DAWN DEVRIES SOKOL                        Address on file
29916460          DAWN DINEHART                             Address on file
29957075          DAWN M CARDONADO                          Address on file
29916485          DAWN OLIVEIRA                             Address on file
29916489          DAWN REIMAN                               Address on file
30397431          Name on file                              Address on file
30352754          Name on file                              Address on file
30401258          Name on file                              Address on file
30395853          Name on file                              Address on file
29950823          DAYLIGHT COMPANY LLC                      140 CYPRESS STATION DR SUITE 130A                                                                                     HOUSTON               TX           77090
29916532          Name on file                              Address on file
29916539          Name on file                              Address on file
30209618          DC PUBLIC LIBRARY                         901 G STREET N.W.                   ROOM 301                                                                          WASHINGTON            DC           20001
29916540          DCBS                                      FISCAL SERVICES SECT‐ OREGON OSHA   PO BOX 14610                                                                      SALEM                 OR           97309‐0445
                                                                                                ATTN: BRENNA A. WADLEIGH,
30213383          DCTN3 509 PANAMA CITY FL, LLC             1240 N. KIMBALL AVENUE              PRESIDENT                                                                         SOUTHLAKE             TX           76092
29916544          DDR CAROLINA PAVILION LP                  C/O CANAL TC LLC DEPOSIT ACCOUNT    PO BOX 809217                                                                     CHICAGO               IL           60680‐9201
29916545          DDR CORP FKA DEVELOPERS DIVERSIFIED       DDR PTC LLC                         POB 854833, 330503 21093 43007                                                    MINNEAPOLIS           MN           55485‐4833
29916546          DDR CORP, BRE DDR FAIRFAX TOWN CENT       DEPT 103173 21421 55194             PO BOX 931650                                                                     CLEVELAND             OH           44193
29949782          DDR LAKE BRANDON PLAZA LLC                3300 ENTERPRISE PKWY                                                                                                  BEACHWOOD             OH           44122‐7200
29916548          DDR LAKE BRANDON PLAZA LLC                PO BOX 535274                                                                                                         ATLANTA               GA           30353‐5274
29949783          DDR PTC LLC                               3300 ENTERPRISE PKWY                                                                                                  BEACHWOOD             OH           44122‐7200
29916549          DDR PTC LLC                               PO BOX 854833                                                                                                         MINNEAPOLIS           MN           55485‐4833
29949763          DDR SOUTHEAST SNELLVILLE LLC              3300 ENTERPRISE PKWY                                                                                                  BEACHWOOD             OH           44122
29916550          DDR SOUTHEAST SNELLVILLE LLC              PO BOX 931650                                                                                                         CLEVELAND             OH           44193
                                                                                                ATTN: EMILIA PUPELLO, VICE
30213274          DDR WINTER GARDEN LLC                     3300 ENTERPRISE PARKWAY             PRESIDENT OF LEASING                                                              BEACHWOOD             OH           44122
29949761          DDRTC NEWNAN PAVILION LLC                 730 THIRD AVENUE                                                                                                      NEW YORK              NY           10017
29916553          DDRTC NEWNAN PAVILION LLC                 PO BOX 745474                                                                                                         ATLANTA               GA           30374‐5474
29916554          DDRTC T&C LLC                             PO BOX 745490                                                                                                         ATLANTA               GA           30374‐5496

30210956          DE ANZA PROPERTIES 4, LLC                 C/O CORINTHIAN REAL ESTATE INC.     3217 MONTROSE BLVD, SUITE 228                                                     HOUSTON               TX           77006
29916555          DE ANZA PROPERTIES 4, LLC                 C/O CORINTHIAN REAL ESTATE INC.     PO BOX 27356                                                                      HOUSTON               TX           77227‐7356
30296233          De Anza Properties 4, LLC                 c/o Oldham Goodwin                  1901 NW Military Highway         Suite 201                                        San Antonio           TX           78213
30358399          Name on file                              Address on file
30397198          Name on file                              Address on file
30350167          Name on file                              Address on file
30345274          Name on file                              Address on file
29916556          DE LAGE LANDEN FINANCIAL SERV INC         PO BOX 825736                                                                                                         PHILADELPHIA          PA           19182‐5736

29949491          DE LAGE LANDEN FINANCIAL SERVICES, INC.   1111 OLD EAGE SCHOOL ROAD                                                                                             WAYNE                 PA           19087
30339765          Name on file                              Address on file
29957094          Name on file                              Address on file
30209619          DE SOTO PUBLIC LIBRARY                    712 SOUTH MAIN STREET                                                                                                 DE SOTO               MO           63020
29957102          Name on file                              Address on file
30385618          Name on file                              Address on file
30279346          Name on file                              Address on file
29957106          DEANA PRESSLEY                            Address on file
30213196          DEANCARSON WMSPT, LLLP.                   C/O SPM MANAGEMENT, INC.            24 W. RAILROAD AVE. ‐ PMB 278                                                     TENAFLY               NJ           07670




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30351365          Name on file                          Address on file
29916572          DEANNA BRONSINK                       Address on file
29916577          Name on file                          Address on file
29916588          DEANNA LAYNE                          Address on file
30224459          Deanna Mahoney / Paralegal Services   633 Stewart St. 14                                                                                                    Manteca                CA           95336
30212882          DEANNA SCHREFFLER                     Address on file
29916603          DEAR HANDMADE LIFE LLC                736 BRIGHAM AVE.                                                                                                      SANTA ROSA             CA           95404
30210810          DEARBORN PUBLIC LIBRARY               16301 MICHIGAN AVE.                                                                                                   DEARBORN               MI           48126
29916605          DEARLY DAWN STUDIO LLC                335 EAST AVENUE                                                                                                       NORTH AUGUSTA          SC           29841
29916607          DEATHERAGE DESIGNS                    C/O UNDERSCORE TALENT MGMT, LLC    8383 WILSHIRE BLVD., #240                                                          BEVERLY HILLS          CA           90211
30355240          Name on file                          Address on file
29916618          DEBBIE GIFFIN                         Address on file
29916626          DEBBIE MONGEAU                        Address on file
30209628          DEBBIE STOLLER                        Address on file
30396594          Name on file                          Address on file
29957134          DEBORA BRITT                          Address on file
29953192          DEBORAH J MILLER                      Address on file
IC_025            Deborah Kreiling                      Address on file
29916708          DEBORAH STOLLER                       Address on file
29916717          DEBORAH WILSON                        Address on file
29916721          DEBORAH YERKS                         Address on file
29916723          DEBORAH YUNA                          Address on file
29916725          DEBORD PLUMBING & HEATING CO          DBA BENJAMIN FRANKLIN PLUMB        12043 MAYFIELD RD                                                                  CHARDON                OH           44024
29957177          DEBRA COLLINS                         Address on file
29916765          DEBRA IMMERGUT                        Address on file
29916770          DEBRA KAMPS                           Address on file
30211309          DEBRA KINZEL                          Address on file
29916788          DEBRA MCGINNIS                        Address on file
30348834          Name on file                          Address on file
29916828          Name on file                          Address on file
29916829          DECATUR CROSSING LLC                  C/O LEE AND ASSOCIATES             10260 ALLIANCE RD., #200                                                           CINCINNATI             OH           45242
30212709          DECATUR PUBLIC LIBRARY                504 CHERRY STREET NE                                                                                                  DECATUR                AL           35601
29916833          DECOART (PRIVATE LABEL)               49 COTTON AVENUE                                                                                                      STANFORD               KY           40484
30331040          DecoArt, LLC                          PO Box 297                                                                                                            Stanford               KY           40484
30211310          DECORATIVE TRIMMINGS LLC              327 West 36th St 11th Floor        3RD FLOOR                                                                          NEW YORK               NY           10018
29949492          DECORWARE INC                         CAILAN INDUSTRIAL ZONE                                                                                                HALONG CITY                                         VIETNAM
30209629          DEDHAM PUBLIC LIBRARY                 257 MOUNT VERNON ST                                                                                                   DEDHAM                 MA           02026
30212713          DEDHAM PUBLIC LIBRARY                 43 CHURCH STREET                                                                                                      DEDHAM                 MA           02026
30346497          Name on file                          Address on file
29916849          DEEANNA PARSLEY                       Address on file
29916851          DEENA KELLER                          Address on file
30213391          DEER CREEK MZL LLC                    C/O KPR CENTERS                    535 FIFTH AVENUE, 12TH FLOOR                                                       NEW YORK               NY           10017
30209630          DEERFIELD ACADEMY LIBRARY             7 BOYDEN LANE                      PO BOX 87                                                                          DEERFIELD              MA           01342
29916858          Name on file                          Address on file
29916859          Name on file                          Address on file
30353669          Name on file                          Address on file
                  DEFIANCE COUNTY, OH COUNTY CONSUMER
30207777          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 500 COURT ST                      STE A111                                         DEFIANCE               OH           43512
30211311          DEFLECTO LLC                          7035 EAST 86TH STREET                                                                                                 INDIANAPOLIS           IN           46250
30209634          DEFOREST AREA PUBLIC LIBRARY          03 LIBRARY STREET                                                                                                     DEFOREST               WI           53532
30212199          DEFOREST AREA PUBLIC LIBRARY          203 LIBRARY ST                                                                                                        DEFOREST               WI           53532
30353403          Name on file                          Address on file
30332263          Name on file                          Address on file
30358144          Name on file                          Address on file
30355591          Name on file                          Address on file
30393793          Name on file                          Address on file
30395430          Name on file                          Address on file
30340911          Name on file                          Address on file
30339448          Name on file                          Address on file
30335398          Name on file                          Address on file
30277517          Name on file                          Address on file
30341086          Name on file                          Address on file
29916883          Name on file                          Address on file




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29952130          DEKALB COUNTY/71224/105942            DEKALB COUNTY                        1300 COMMERCE DRIVE                                                               DECATUR               GA           30030
29916884          DEKALB COUNTY/71224/105942            PO BOX 71224                                                                                                           CHARLOTTE             NC           28272‐1224
29916886          DEKALB CTY TAX COMMISSIONER           PO BOX 100004                                                                                                          DECATUR               GA           30031‐7004
30209635          DEKALB PUBLIC LIBRARY                 09 OAK ST                                                                                                              DEKALB                IL           60115
29952242          Name on file                          Address on file
29952243          Name on file                          Address on file
30295441          Del Amo Fashion Center                Operating Company, LLC               P.O. Box 409657                                                                   Atlanta               GA           30384‐9657
                  DEL AMO FASHION CENTER OPERATING
30213165          COMPANY, L.L.C.                       C/O M.S. MANAGEMENT ASSOCIATES, INC. 225 WEST WASHINGTON STREET                                                        INDIANAPOLIS          IN           46204
29952249          DEL AMO FASHION CTR OPER. CO., LLC    P.O. BOX 409657                                                                                                        ATLANTA               GA           30384‐9657
30386141          Name on file                          Address on file
30262524          Name on file                          Address on file
30334045          Name on file                          Address on file
30396194          Name on file                          Address on file
30340564          Name on file                          Address on file
29916916          DELAWARE COUNTY TREASURER             ROOM 102 COUNTY BUILDING                                                                                               MUNCIE                IN           47305
                  DELAWARE COUNTY, IN COUNTY CONSUMER
30207778          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 100 W MAIN ST                                                                       MUNCIE                IN           47305
                  DELAWARE COUNTY, OH COUNTY CONSUMER
30207779          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 91 N SANDUSKY ST, 3RD FLOOR                                                         DELAWARE              OH           43015
                  DELAWARE COUNTY, PA COUNTY CONSUMER
30207780          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION   201 W. FRONT ST.                                                                  MEDIA                 PA           19063
29916917          DELAWARE DEPT OF FINANCE              OFFICE UNCLAIMED FUNDS               820 N FRENCH ST                                                                   WILMINGTON            DE           19801
29916918          DELAWARE DEPT. OF REVENUE             DELAWARE DEPT. OF REVENUE            820 N FRENCH ST                                                                   WILMINGTON            DE           19801
29916919          DELAWARE DIVISION OF REVENUE          CARVEL STATE OFFICE BUILDING         820 NORTH FRENCH STREET          NEW CASTLE COUNTY                                WILMINGTON            DE           19801
29916920          DELAWARE DIVISION OF REVENUE          GROSS RECEIPTS TAX                   PO BOX 2340                                                                       WILMINGTON            DE           19899‐2340
29916921          DELAWARE DIVISION OF REVENUE          PO BOX 8750                                                                                                            WILMINGTON            DE           19899‐8750
29916922          DELAWARE FALSE ALARM PROGRAM          LOCKBOX 7072 PO BOX 8500                                                                                               PHILADELPHIA          PA           19178‐7072
29916923          DELAWARE SECRETARY OF STATE           DEPARTMENT 74072                                                                                                       BALTIMORE             MD           21274
30385076          Name on file                          Address on file
30393672          Name on file                          Address on file
30347270          Name on file                          Address on file
30397623          Name on file                          Address on file
30211314          DELL                                  PO BOX 643561                                                                                                          PITTSBURGH            PA           15264‐3561
30356219          Name on file                          Address on file

29957201          DELMARVA POWER DE/MD/VA/17000/13609   PO BOX 13609                                                                                                           PHILADELPHIA          PA           19101‐3609
30263563          Name on file                          Address on file
30337363          Name on file                          Address on file
30335416          Name on file                          Address on file
29916940          DELOITTE                              DBA DELOITTE TAX LLP                 PO BOX 844736                                                                     DALLAS                TX           75284‐4736
30184144          DELOITTE & TOUCHE LLP                 127 PUBLIC SQUARE SUITE 3300                                                                                           CLEVELAND             OH           44114
29916941          DELOITTE & TOUCHE LLP                 PO BOX 844708                                                                                                          DALLAS                TX           75284‐4708
29916942          DELOITTE CONSULTING LLP               P.O. BOX 844717                                                                                                        DALLAS                TX           75284‐4717
                  DELOITTE TRANSACTIONS AND BUSINESS
30351130          ANALYTICS LLP                         127 PUBLIC SQUARE SUITE 3300                                                                                           CLEVELAND             OH           44114
30349204          Name on file                          Address on file
30209642          DELPHI PUBLIC LIBRARY                 222 E MAIN ST.                                                                                                         DELPHI                IN           46923
29957209          DELTA NATURAL GAS CO INC              PO BOX 747108                                                                                                          PITTSBURGH            PA           15274‐7108
                                                        C/O CAMPBELL COMMERCIAL REAL
29957212          DELTA OAKS GROUP, LLC                 ESTATE                               ATTN: TIM CAMPBELL               701 HIGH SUITE 300                               EUGENE                OR           97401
                                                        C/O CAMPBELL COMMERCIAL REAL
30210948          DELTA OAKS GROUP, LLC                 ESTATE                               ATTN: TIM CAMPBELL                                                                EUGENE                OR           97401
30212202          DELTA TOWNSHIP DISTRICT LIBRARY       5130 DAVENPORT DR                                                                                                      LANSING               MI           48917
29916949          DELUXE SMALL BUSINESS SALES INC       LOCKBOX 229                          PO BOX 7247                                                                       PHILADELPHIA          PA           19170
30415147          Name on file                          Address on file
30399645          Name on file                          Address on file
30400049          Name on file                          Address on file
30398417          Name on file                          Address on file
30385731          Name on file                          Address on file
30394664          Name on file                          Address on file
29916965          Name on file                          Address on file
30347815          Name on file                          Address on file




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30414814          Name on file                                Address on file
30345634          Name on file                                Address on file
29957225          DENA DOVER                                  Address on file
30223111          DENA M JOY                                  Address on file
29917006          DENISE TURA                                 Address on file
30414769          Name on file                                Address on file
29917014          DENNIS JOHNSON                              Address on file
30212843          DENNIS SHELDON                              Address on file
29917018          DENNIS SHELDON                              Address on file
30344972          Name on file                                Address on file
30397196          Name on file                                Address on file
30333602          Name on file                                Address on file
30336518          Name on file                                Address on file
30356764          Name on file                                Address on file
29917023          Name on file                                Address on file
30340787          Name on file                                Address on file
30340803          Name on file                                Address on file
30351822          Name on file                                Address on file
29917027          DENTON COUNTY                               TAX ASSESSOR‐COLLECTOR               PO BOX 90223                                                                       DENTON                 TX           76202‐5223
                  DENTON COUNTY, TX COUNTY CONSUMER
30207781          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION   1 COURTHOUSE DR                                                                    DENTON                 TX           76208
29917028          DENTONS CANADA LLP                          77 KING ST. WEST                     SUITE 400, TD CENTRE                                                               TORONTO                ON           M5K 0A1         CANADA
30384864          Name on file                                Address on file
29917029          DENVER WATER                                PO BOX 173343                                                                                                           DENVER                 CO           80217‐3343
IC_135            DENYSE SCHMIDT                              Address on file
30209647          DENYSE SCHMIDT                              Address on file
29952719          DEPARTMENT OF FINANCE AND ADMINISTR         CORPORATION INCOME TAX SECTION       PO BOX 919                                                                         LITTLE ROCK            AR           72203‐0919
29952720          DEPARTMENT OF INDUSTRIAL RELATIONS          CAL/OSHA PENALTIES                   PO BOX 516547                                                                      LOS ANGELES            CA           90051‐0595
29952721          DEPARTMENT OF LABOR & INDUSTRIES            PO BOX 24106                                                                                                            SEATTLE                WA           98124‐6524
29952722          DEPARTMENT OF LABOR & INDUSTRY              TOY REGISTRATION CERTIFICATE         7TH & FORSTER, ROOM 1539                                                           HARRISBURG             PA           17120
29952723          DEPARTMENT OF THE TREASURY                  INTERNAL REVENUE SERVICE CENTER                                                                                         OGDEN                  UT           84201‐0012

29949383          DEPARTMENT OF THE TREASURY                  UNCLAIMED PROPERTY ADMINISTRATION PO BOX 214                           50 WEST STATE STREET, 6TH FLOOR                  TRENTON                NJ           08625
                  Department of Treasury ‐ Internal Revenue
30232488          Service                                     4051 Ogletown Stanton Rd             Suite 212                                                                          Newark                 DE           19713‐5445
30415169          Name on file                                Address on file
30357886          Name on file                                Address on file
30347899          Name on file                                Address on file
29952725          DEPT OF CONSUMER AFFAIRS                    LICENSING TECHNICIAN                 4244 S MARKET COURT STE D                                                          SACRAMENTO             CA           95843
29952726          DEPT OF CONSUMER PROTECTION                 PO BOX 1869                                                                                                             HARTFORD               CT           06144‐1869
29952112          DEPT OF FINANCE TREASURY DIVISION           1375 SHERMAN STREET                                                                                                     DENVER                 CO           80261
29952727          DEPT OF HEALTH & HUMAN SERVICES             2425 REEDIE DR 9TH FLOOR                                                                                                WHEATON                MD           20906
29952114          DEPT OF LABOR AND INDUSTRY                  TOY REGISTRATION CERTIFICATE         7TH & FORSTER, ROOM 1539                                                           HARRISBURG             PA           17120

29952728          DEPT OF WATER WORKS ‐ SANITARY DISTRICT     P.O. BOX 888                                                                                                            MICHIGAN CITY          IN           46361
29917042          DEPT. OF REVENUE SERVICES                   STATE OF CONNECTICUT                 PO BOX 2937                                                                        HARTFORD               CT           06104‐2937
29917043          DEPTFORD FIRE DISTRICT                      OFFICE OF THE FIRE MARSHAL           1370 DELSEA DR                                                                     DEPTFORD               NJ           08096
29917044          DEPTFORD FIRE DISTRICT                      OFFICE OF THE FIRE MARSHALL          1370 DELSEA DRIVE                                                                  DEPTFORD               NJ           08096
30212205          DEPTFORD FREE PUBLIC LIBRARY                670 WARD DR                                                                                                             DEPTFORD               NJ           08096
29917046          DEPTFORD PLAZA ASSOCIATES LLC               C/O JAMES STREETER                   1555 RIVER OAKS DRIVE SE                                                           ADA                    MI           49301
30213551          DEPTFORD PLAZA ASSOCIATES, LLC              1555 RIVER OAKS DRIVE SE             ATTN: JAMES STREETER                                                               ADA                    MI           49301‐9353
29917049          DEPTFORD TOWNSHIP                           1011 COOPER STREET                                                                                                      DEPTFORD               NJ           08096
29917048          DEPTFORD TOWNSHIP                           ATT: MERCANTILE LICENSE              1011 COOPER STREET                                                                 DEPTFORD               NJ           08096
29952115          DEPTFORD TOWNSHIP                           OFFICE OF THE FIRE MARSHALL          1370 DELSEA DRIVE                                                                  DEPTFORD               NJ           08096
29917050          DEPTFORD TOWNSHIP MUA, NJ                   PO BOX 5428                                                                                                             DEPTFORD               NJ           08096
30331785          Depth Commerce LLC                          c/o Aaron Washington                 1 S. Wacker Drive                 Suite 2250                                       Chicago                IL           60606
29952116          DEPUTY TAX COMMISSIONER                     PO BOX 4724                                                                                                             MACON                  GA           31208
30209648          DERBY NECK LIBRARY                          307 HAWTHORNE AVENUE                                                                                                    DERBY                  CT           06418
30332326          Name on file                                Address on file
29957240          DEREK D. MCCOLLIM                           Address on file
29917210          DEREK SANCHEZ                               Address on file
30385714          Name on file                                Address on file
30415223          Name on file                                Address on file




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  ADDRESS ID                           NAME                          ADDRESS 1                             ADDRESS 2                         ADDRESS 3                     ADDRESS 4                   CITY        STATE     POSTAL CODE           COUNTRY
30340831          Name on file                           Address on file
30212206          DERRY PUBLIC LIBRARY                   64 EAST BROADWAY                                                                                                              DERRY                  NH           03038
29917233          Name on file                           Address on file
30352725          Name on file                           Address on file
30209652          DES MOINES PUBLIC LIBRARY              1000 GRAND AVENUE                                                                                                             DES MOINES             IA           50309
29917235          Name on file                           Address on file
30211315          DESCARTES US HOLDING INC               DESCARTES SYSTEMS (USA) LLC           PO BOX 404037                                                                           ATLANTA                GA           30384‐4037
29917238          DESCHUTES COUNTY TAX COLLECTOR         DESCHUTES SERVICES BUILDING           1340 NW WALL STREET                                                                     BEND                   OR           97701‐1939
                  DESCHUTES COUNTY, OR COUNTY CONSUMER
30207782          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION    1300 NW WALL ST                                                                         BEND                   OR           97703
30212207          DESCHUTES PUBLIC LIBRARY DISTRICT      507 NW WALL ST                                                                                                                BEND                   OR           97703
29950479          Name on file                           Address on file
29950480          Name on file                           Address on file
29950481          Name on file                           Address on file
30332010          Name on file                           Address on file
                                                         ATTN: ERIK SJOGREN, CHIEF EXECUTIVE
29904943          DESIGN GROUP AMERICAS                  OFFICER                               5555 GLENRIDGE CONNECTOR          SUITE 300                                             ATLANTA                GA           30342
                                                         Herman Pearl Company dba Design
30167191          Design Imports                         Imports                               Mayumi Frame ‐ AR Manager         18125 Andover Park W                                  Tukwila                WA           98188
30164115          Design Imports                         PO Box 58410                                                                                                                  Seattle                WA           98138
29917241          DESIGN WORKS CRAFTS                    70 ORVILLE DR                         SUITE 1                                                                                 BOHEMIA                NY           11716
30386419          Designco Private Limited               Lakri Fazalpur, Delhi Road                                                                                                    Moradabad, UP                       244001          India
29917243          Name on file                           Address on file
                                                         ATTN: TIM TOMPKINS, CHIEF EXECUTIVE
29904930          DESIGNS FOR ALL SEASONS LTD            OFFICER                               41 MAN YUE STREET                 FLAT B 5F KAISER ESTATE PHASE 1                       HUNGHOM, KOWLOON                                    HONG KONG
29917247          DESIRAE FISHER                         Address on file
30394213          Name on file                           Address on file
29917293          DESOTO COUNTY TAX COLLECTOR            365 LOSHER STREET STE 110                                                                                                     HERNANDO               MS           38632
30340548          Name on file                           Address on file
29917305          DESTIN WATER USERS, INC.               P.O. BOX 308                                                                                                                  DESTIN                 FL           32540
29957248          DESTINEE RICHARDSON                    Address on file
29917333          DESTINY HOLGUIN                        Address on file
29917372          DES‐UI TAX                             ARIZONA DEPT OF ECON SECURITY         PO BOX 6028                                                                             PHOENIX                AZ           85005
30347982          Name on file                           Address on file
30334645          Name on file                           Address on file
30213198          DEUTER 65, LLC                         24384 RAVINE DR.                      ATTN: JAY CHOI                                                                          SOUTH LYON             MI           48178
29917387          DEVELOPERS DIVERSIFIED REALTY CORP     DEPT 322900‐30352‐30231 DDR SE FOU    26536 NETWORK PLACE                                                                     CHICAGO                IL           60673
29917389          DEVELOPMENT SERVICE DEPT. ALARMS       PO BOX 1088                                                                                                                   AUSTIN                 TX           78767
30332139          Name on file                           Address on file
30414759          Name on file                           Address on file
30344151          Name on file                           Address on file
IC_098            Devlin Mannle                          Address on file
30333479          Name on file                           Address on file
29917422          DEVON RAY                              Address on file
30223112          DEVONIA ANDREW                         Address on file
29917428          DEVONSHIRE OPERATING PARTNERSHIP LP    DFG‐MENTOR ERIE COMMONS LLC           P.O. BOX 74895                                                                          CHICAGO                IL           60694‐4895
29966951          DeVries Public Relations, Ltd          P.O. Box 74008248                                                                                                             Chicago                IL           60674‐8248
29917432          Name on file                           Address on file
30340888          Name on file                           Address on file
30414711          Name on file                           Address on file
29917434          DEX IMAGING LLC                        PO BOX 17299                                                                                                                  CLEARWATER             FL           33762‐0299
30385424          Name on file                           Address on file
30397709          Name on file                           Address on file
30396300          Name on file                           Address on file
30358345          Name on file                           Address on file
29917457          DIALOG HEALTH INC                      99 EAST MAIN ST., STE 200                                                                                                     FRANKLIN               TN           37064
29917460          DIAMOND ART CLUB LLC                   66 WEST FLAGLER ST STE 900                                                                                                    MIAMI                  FL           33130
30293201          Diamond Art Club, LLC                  Citrin Cooperman                      Jewelle Sison                     5411 Avenida Encinas              Suite #110          Carlsbad               CA           92008
30345366          Name on file                           Address on file
IC_137            DIANA I FAYT                           Address on file
29917493          DIANA I FAYT                           Address on file
29917495          DIANA I FAYT ROYALTY                   Address on file
29917494          DIANA I FAYT ROYALTY                   Address on file




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30223113          DIANA MEDINA                          Address on file
30212849          DIANE ASAMOTO GRANT                   Address on file
30279949          Name on file                          Address on file
                                                        C/O GOLDSTEIN & GOLDSTEIN,       ATTN: MICHAEL GOLDSTEIN, DAVID
29949495          DIANE ROBINSON                        ATTORNEYS AT LAW                 KULWICKI                       25550 CHARGIN BLVD., SUITE 240                       BEACHWOOD                OH           44122
29917589          Name on file                          Address on file
29957320          DIANNE ADAMS                          Address on file
29917622          DIANNE LANGSTON                       Address on file
30395727          Name on file                          Address on file
30337534          Name on file                          Address on file
30351468          Name on file                          Address on file
30284196          Name on file                          Address on file
30334064          Name on file                          Address on file
30347767          Name on file                          Address on file
30257529          Name on file                          Address on file
30401297          Name on file                          Address on file
30209662          DICKINSON MEMORIAL LIBRARY            115 MAIN STREET                                                                                                      NORTHFIELD               MA           01360
30184145          DICKINSON WRIGHT PLLC                 1626 WAZEE ST., SUITE 200                                                                                            DENVER                   CO           80202
30394416          Dickinson Wright PLLC                 c/o Jason Z. Brainer             2600 W. Big Beaver Rd.             Suite 300                                        Troy                     MI           48084
30347019          Name on file                          Address on file
30335532          Name on file                          Address on file
30351217          Name on file                          Address on file
30333507          Name on file                          Address on file
30354873          Name on file                          Address on file
30280271          Name on file                          Address on file
30386537          Name on file                          Address on file
30337353          Name on file                          Address on file
30339202          Name on file                          Address on file
30209663          DIGHTON PUBLIC LIBRARY                395 MAIN STREET                                                                                                      DIGHTON                  MA           02715
30209664          DIGHTON PUBLIC LIBRARY                979 SOMERSET AVENUE                                                                                                  DIGHTON                  MA           02715
29917646          Name on file                          Address on file
29917647          DIGITAL MEDIA INNOVATIONS LLC         PO BOX 74007143                                                                                                      CHICAGO                  IL           60674‐7143
30333300          Name on file                          Address on file
29917652          DILIGENT CORPORATION                  1111 19TH STREET NW, 8TH FLOOR                                                                                       WASHINGTON               DC           20036
30350695          Name on file                          Address on file
30340721          Name on file                          Address on file
30347376          Name on file                          Address on file
30345506          Name on file                          Address on file
29917658          Name on file                          Address on file
29917660          DILLON NAPIER                         Address on file
30351079          Name on file                          Address on file
30356673          Name on file                          Address on file
30356459          Name on file                          Address on file
30356457          Name on file                          Address on file
30386137          Name on file                          Address on file
30395809          Name on file                          Address on file
30397303          Name on file                          Address on file
30353545          Name on file                          Address on file
30351424          Name on file                          Address on file
30228256          Name on file                          Address on file
30344423          Name on file                          Address on file
30283066          Name on file                          Address on file
29917684          DIRECT DIGITAL GRAPHICS INC           1716 ENTERPRISE PKWY                                                                                                 TWINSBURG                OH           44087
30291787          Direct Energy Business, LLC           NRG Business                     Jonathan Love                      1001 Liberty Avenue                              Pittsburgh               PA           15222
29917685          DIRECT ENERGY/643249/660749           PO BOX 660749                                                                                                        DALLAS                   TX           75266
29952133          DIRECT ENERGY/70220                   DIRECT ENERGY                    910 LOUISIANA ST.                  STE B200                                         HOUSTON                  TX           77002
29917687          DIRECT ENERGY/70220                   PO BOX 70220                                                                                                         PHILADELPHIA             PA           19176‐0220
30223114          DIRECTIONS TALENT AGENCY INC          DBA DIRECTIONS USA               3922 WEST MARKET ST.                                                                GREENSBORO               NC           27407
29917688          DIRECTOR OF FINANCE                   ALBEMARLE COUNTY BUSIN LICENSE   401 MCINTIRE RD                                                                     CHARLOTTESVILLE          VA           22901
29917689          DIRECTOR OF FINANCE                   HOWARD COUNTY HEALTH DEPT‐ ENV   8930 STANFORD BLVD.                                                                 COLUMBIA                 MD           21045
29949068          DIRECTOR OF FINANCE, CHAUTAUQUA CO.   WEIGHTS AND MEASURES             1 NORTH ERIE ST COURTHOUSE                                                          MAYVILLE                 NY           14757
29917690          DIRECTOR OF FINANCE, HOWARD COUNTY    PO BOX 37213                                                                                                         BALTIMORE                MD           21297‐3213
29953789          DIRECTV                               2260 E. IMPERIAL HWY                                                                                                 EL SEGUNDO               CA           90245




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29953790          DIRECTV INC                           PO BOX 5006                                                                                                             DUPAGE                    IL           60197
29953791          DIRECTV INC                           PO BOX 5006                                                                                                             CAROL STREAM              IL           60197‐5006
29953794          DISABILITY MGMT EMP COALITION INC     DMEC                                  5173 WARING ROAD # 134                                                            SAN DIEGO                 CA           92120‐2705
30211317          DISCERNITY LLC                        3044 BARDSTOWN RD. STE 201                                                                                              LOUISVILLE                KY           40205
29953795          Name on file                          Address on file
30211318          DISCOVERY COMM HOLD LLC               DBA THE LEARNING CHANNEL              P.O. BOX 79961                                                                    BALTIMORE                 MD           21279
29953796          Name on file                          Address on file
29953798          Name on file                          Address on file
LC_0168           District Of Columbia Public Library   901 G Street, N.W. (Room 301)                                                                                           Washington                DC           20001
29953799          Name on file                          Address on file
30210814          DISTRICT OF COLUMBIA PUBLIC LIBRARY   901 G STREET N.W.                     ROOM 400                                                                          WASHINGTON                DC           20001
30414818          Name on file                          Address on file
29917692          DITTOPATTERNS LLC                     3200 WEST END AVE., SUITE 500                                                                                           NASHVILLE                 TN           37203‐1322
30210860          DITTOPATTERNS LLC                     5555 DARROW ROAD                                                                                                        HUDSON                    OH           44236
                                                        C/O ROBERT A. KUBICA, THE DAVIS
29949756          DIV SOUTH MAIN STREET LLC             COMPANIES                             125 HIGH STREET                  SUITE 2111                                       BOSTON                    MA           02110
29917693          DIV SOUTH MAIN STREET LLC             PO BOX 6022                                                                                                             BRATTLEBORO               VT           05302‐6022
29917697          DIVIDEND TRUST REIT SUB               DT AH FTHILL, DP 341618 25604 77146   PO BOX 734208                                                                     CHICAGO                   IL           60673‐4208
29917696          DIVIDEND TRUST REIT SUB               DT UNI CEN LP DP 399539 25600 76777   PO BOX 734208                                                                     CHICAGO                   IL           60673‐4208
30414576          Name on file                          Address on file
29917698          Name on file                          Address on file
29949069          DIVISION OF ENVIRONMENTAL HEALTH      CHEYENNE‐LARAMIE COUNTY               100 CENTRAL AVENUE                                                                CHEYENNE                  WY           82007

29917701          DIVISION OF OCCUPATIONAL &            PROFESSIONAL LICENSES‐ ELEVATOR PRO   11341 CHINDEN BLVD., BLDG #4                                                      BOISE                     ID           83714
30213621          DIVISION STREET ACQUISITION, LLC      ATTN: ALBERT ESTHER                   PO BOX 555                                                                        WAYZATA                   MN           55391
30280020          Division Street Acquisition, LLC      PO Box 555                                                                                                              Wayzata                   MN           55391
30338837          Name on file                          Address on file
30358349          Name on file                          Address on file
29957327          DIXIE ELECTRIC COOPERATIVE            PO BOX 2153                                                                                                             BIRMINGHAM                AL           35287‐1340
30212208          DIXON HOMESTEAD LIBRARY               180 WASHINGTON AVE                                                                                                      DUMONT                    NJ           07628
29957335          DIXON TICONDEROGA COMPANY (PACON)     2525 N CASALOMA DR                                                                                                      APPLETON                  WI           54913
30397066          Name on file                          Address on file
30385550          Name on file                          Address on file
30353499          Name on file                          Address on file
29917702          Name on file                          Address on file
30213327          DJK‐CASA GRANDE, LLC                  2654 W. CENTRAL PARK AVE., SUITE 1    ATTN: DAVID KEMPEN                                                                DAVENPORT                 IA           52804
30213150          DKS INVESTMENTS, INC.                 C/O KNORR MANAGEMENT, INC.            3736 FALLON RD. #509                                                              DUBLIN                    CA           94568
30184147          DLA PIPER LLP                         555 MISSION ST., SUITE 2400                                                                                             SAN FRANCISCO             CA           94105
30386293          Name on file                          Address on file
29917716          Name on file                          Address on file
29917718          DML PAINTINGS LLC                     829 CHERITON STREET                                                                                                     DELTONA                   FL           32725
29917719          DMV RENEWAL                           PO BOX 942897                                                                                                           SACRAMENTO                CA           94297
29917720          DNS TECHNOLOGIES INC                  80 HELWIG STREET                                                                                                        BEREA                     OH           44017
29917721          DO A DOT ART                          31192 LA BAYA DRIVE #F                                                                                                  WESTLAKE VILLAGE          CA           91362
30337025          Name on file                          Address on file
30351107          Name on file                          Address on file
30358371          Name on file                          Address on file
30334982          Name on file                          Address on file
30350400          Name on file                          Address on file
29917723          DOCHERTY AGENCY                       1151 FREEPORT RD., STE. 252                                                                                             PITTSBURGH                PA           15238
30353571          Name on file                          Address on file
29917724          DOCUSIGN INC                          PO BOX 735445                                                                                                           DALLAS                    TX           75373‐5445
30337238          Name on file                          Address on file
30394206          Name on file                          Address on file
                  DODGE COUNTY, WI COUNTY CONSUMER
30207783          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 127 EAST OAK ST                                                                      JUNEAU                    WI           53039
30401820          Name on file                          Address on file
30332235          Name on file                          Address on file
30342226          Name on file                          Address on file
30350642          Name on file                          Address on file
29917726          Name on file                          Address on file
30358138          Name on file                          Address on file
30333890          Name on file                          Address on file




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30351144          Name on file                            Address on file
30332541          Name on file                            Address on file
30259695          Name on file                            Address on file
29917727          Name on file                            Address on file
30354542          DOLLAR TREE, INC.                       500 VOLVO PARKWAY                                                                                                   CHESAPEAKE              VA           23320
29917730          DOLORES D LINEHAN                       Address on file
29917740          DOLORES WHITCOMB                        Address on file
30397822          Name on file                            Address on file
30332426          Name on file                            Address on file
29917741          Name on file                            Address on file
30209669          DOLTON PUBLIC LIBRARY DISTRICT          14037 LINCOLN AVE                                                                                                   DOLTON                  IL           60419
30398174          Name on file                            Address on file
30398176          Name on file                            Address on file
30223115          DOMETAG LLC                             3483 W 1500 S                                                                                                       SALT LAKE CITY          UT           84104
30384724          Name on file                            Address on file
29917758          DOMINIC SQUEO                           Address on file
30212689          DOMINION CUSTOMER CREDIT SERVICES       32 SOUTH ST.                                                                                                        BALTIMORE               MD           21202
30210698          DOMINION EAST OHIO                      15601 CHATFIELD AVE                                                                                                 CLEVELAND               OH           44111‐4313
29949836          DOMINION EAST OHIO                      2100 EASTWOOD AVE                                                                                                   AKRON                   OH           44305‐1974
29917762          DOMINION ENERGY NORTH CAROLINA          PO BOX 25715                                                                                                        RICHMOND                VA           23260‐5715
29917764          DOMINION ENERGY SOUTH CAROLINA          PO BOX 25973                                                                                                        RICHMOND                VA           23260‐5973
30337913          Dominion Energy Virginia                600 E Canal Street                                                                                                  Richmond                VA           23219
29949837          DOMINION HOPE                           BANK ONE CENTER W 3RD ST                                                                                            CLARKSBURG              WV           26301
30210711          DOMINION HOPE                           P.O. BOX 646049                                                                                                     PITTSBURGH              PA           15264
                                                                                             2825 SOUTH BOULEVARD, SUITE
30213518          DOMINION SQUARE‐CULPEPER, LLC           C/O ASTON PROPERTIES, INC.         300                                                                              CHARLOTTE               NC           28209
29917769          DOMINION VA/NC POWER/26543/26666        P.O. BOX 26543                                                                                                      RICHMOND                VA           23290‐0001
29957344          DOMINIQUE ROBINSON                      Address on file
30395497          Name on file                            Address on file
30340398          Name on file                            Address on file
29917785          DONA ANA COUNTY TREASURER               DONA ANA COUNTY COURTHOUSE         251 W AMADOR AVE                                                                 LAS CRUCES              NM           88005
                  DOÑA ANA COUNTY, NM COUNTY CONSUMER
30207784          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 845 N MOTEL BLVD                                                                 LAS CRUCES              NM           88007
29917795          DONALD R WHITE TREASURER &              TAX COLLECTOR                      1221 OAK ST                                                                      OAKLAND                 CA           94612‐4286
30357934          Name on file                            Address on file
30332819          Name on file                            Address on file
30414812          Name on file                            Address on file
30356663          Name on file                            Address on file
30261167          Name on file                            Address on file
30344841          Name on file                            Address on file
30332815          Name on file                            Address on file
29917802          DONGGUAN TEAM SUN CRAFTS CO LTD         72 OF XIA VILLAGE XIE GANG TOWN                                                                                     DONG GUAN CITY                       523590          CHINA
29917803          Name on file                            Address on file
30212792          DONNA GOFF DAVIS                        Address on file
30223116          DONNA GOMEZ                             Address on file
29917828          DONNA HAVILAND‐HELGESON                 Address on file
30223117          DONNA MARIE MIRANDA                     Address on file
29917870          DONNA PELLETT                           Address on file
30395192          Name on file                            Address on file
29957408          DONNELLEY FINANCIAL LLC                 DONNELLEY FINANCIAL SOLUTIONS      PO BOX 842282                                                                    BOSTON                  MA           02284‐2282
30334918          Name on file                            Address on file
30333900          Name on file                            Address on file
30347150          Name on file                            Address on file
29957409          DONNIE SEVILLA                          Address on file
30273641          Name on file                            Address on file
29917907          DONWIL COMPANY INC                      22 MCCORMICK RD.                                                                                                    MCKEES ROCKS            PA           15136
30261650          Name on file                            Address on file
                  DOOLEY & MACK CONSTRUCTORS OF GEORGIA
29917910          INC                                     4018 CHAMBLEE ROAD                                                                                                  OAKWOOD                 GA           30566
30209672          DOOR COUNTY LIBRARY                     107 S. 4TH AVENUE                                                                                                   STURGEON BAY            WI           54235
30350822          Name on file                            Address on file
30341096          Name on file                            Address on file
29917929          DOREEN PATTERSON                        Address on file




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  ADDRESS ID                           NAME                          ADDRESS 1                         ADDRESS 2                         ADDRESS 3                ADDRESS 4                    CITY        STATE     POSTAL CODE        COUNTRY
30340765          Name on file                          Address on file
30353960          Name on file                          Address on file
29917934          DORIS DAVIS                           Address on file
30212993          DORMICA OPPENHUIZEN                   Address on file
29917941          DOROTHY DAYTON                        Address on file
29957424          Name on file                          Address on file
29917958          DORSEY & WHITNEY LLP                  50 SOUTH SIXTH ST, STE #1500                                                                                          MINNEAPOLIS             MN           55402
29917961          DORTRONIC SERVICE‐TALLMADGE INC       DBA ACTION DOOR                     3878 HUDSON DR                                                                    STOW                    OH           44224
30337078          Name on file                          Address on file
29917966          Name on file                          Address on file
29949801          DOUBLELINE CAPITAL LLC                2002 N. TAMPA STREET, SUITE 200                                                                                       TAMPA                   FL           33602

29949496          DOUBLELINE INCOME SOLUTIONS FUND      C/O DOUBLELINE CAPITAL LP           2002 N. TAMPA STREET, SUITE 200                                                   TAMPA                   FL           33602

29949497          DOUBLELINE OPPORTUNISTIC              C/O DOUBLELINE CAPITAL LP           2002 N. TAMPA STREET, SUITE 200                                                   TAMPA                   FL           33602

29949498          DOUBLELINE YIELD OPPORTUNITIES FUND   C/O DOUBLELINE CAPITAL LP           2002 N. TAMPA STREET, SUITE 200                                                   TAMPA                   FL           33602
29917967          DOUG ANDREWS                          Address on file
30394403          Name on file                          Address on file
30401863          Name on file                          Address on file
30226106          Name on file                          Address on file
30346313          Name on file                          Address on file
30206622          Douglas Country, Nebraska             1717 Harney St.                     Ste. 600                                                                          Omaha                   NE           68183
29917976          DOUGLAS COUNTY                        TAX COMMISSIONER                    PO BOX 1177                                                                       DOUGLASVILLE            GA           30133
LC_0171           Douglas County Libraries              100 South Wilcox                                                                                                      Castle Rock             CO           80104‐1911
30209675          DOUGLAS COUNTY LIBRARIES              100 WILCOX STREET                                                                                                     CASTLE ROCK             CO           80104
30209676          DOUGLAS COUNTY LIBRARY                00 S. WILCOX STREET                                                                                                   CASTLE ROCK             CO           80104
29917977          Name on file                          Address on file
29917979          DOUGLAS COUNTY SEWER DISTRICT         692 EASTMONT AVE                                                                                                      EAST WENATCHEE          WA           98802
29917980          DOUGLAS COUNTY TAX COLLECTOR          PO BOX 5710                                                                                                           PORTLAND                OR           97228‐5710
29917981          DOUGLAS COUNTY TREASURER              1819 FARNAM STREET STE H‐02                                                                                           OMAHA                   NE           68183
                  DOUGLAS COUNTY, GA COUNTY CONSUMER
30207785          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 8700 HOSPITAL DR, 3RD FLOOR                                                        DOUGLASVILLE            GA           30134
                  DOUGLAS COUNTY, KS COUNTY CONSUMER
30207786          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION CONSUMER PROTECTION UNIT           111 E 11TH ST                                   LAWRENCE                KS           66044
                  DOUGLAS COUNTY, WA COUNTY CONSUMER
30207787          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 203 S RAINIER ST                                                                   WATERVILLE              WA           98858
29951268          DOUGLAS EFFA‐MBOUL                    Address on file
30209678          DOUGLAS LIBRARY OF HEBRON             22 MAIN ST.                                                                                                           HEBRON                  CT           06248
30212897          DOUGLAS LINDEN                        Address on file
30212573          DOUGLAS ROBINSON                      Address on file
29917984          DOUGLAS WRIGHT                        Address on file
30386219          Name on file                          Address on file
30332237          Name on file                          Address on file
29917985          DOUGLASVILLE‐DOUGLAS COUNTY GA        PO BOX 1178                                                                                                           DOUGLASVILLE            GA           30133
30212209          DOURO‐DUMMER PUBLIC LIBRARY           435 DOURO 4TH LINE                                                                                                    LAKEFIELD               ON           K0L 2H0         CANADA
30414507          Name on file                          Address on file
29917989          DOVE CAPISTRANO PARTNERS LLC          C/O CORENTAL PROPERTY MGMT INC     PO BOX 1894 435 S. MAIN ST.                                                        KALISPELL               MT           59901
30213113          DOVE CAPISTRANO PARTNERS, LLC         1227 5TH STREET                                                                                                       IMPERIAL BEACH          CA           91932
30397251          Name on file                          Address on file
30414655          Name on file                          Address on file
30337435          Name on file                          Address on file
LC_0173           Dover Public Library                  35 Lookerman Plaza                                                                                                    Dover                   DE           19901‐7327
30212211          DOVER PUBLIC LIBRARY                  35 LOOCKERMAN PLAZA                                                                                                   DOVER                   DE           19901
30209679          DOVER PUBLIC LIBRARY                  56 DEDHAM ST.                                                                                                         DOVER                   MA           02030
30212210          DOVER PUBLIC LIBRARY                  73 LOCUST STREET                                                                                                      DOVER                   NH           03820
30209681          DOVER TOWN LIBRARY                    P.O. BOX 669                                                                                                          DOVER                   MA           02030
30334591          Name on file                          Address on file
30358104          Name on file                          Address on file
30394123          Name on file                          Address on file
29917996          Name on file                          Address on file
30209685          DOWNER'S GROVE PUBLIC LIBRARY         1050 CURTISS ST                                                                                                       DOWNERS GROVE           IL           60515
30398314          Name on file                          Address on file




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                                                          HOME 2 SUITES BY HILTON
29917997          DOWNINGTOWN HOSPITALITY LLC             DOWNINGTOWN                         975 E. LANCASTER AVE.                                                              DOWNINGTOWN          PA           19335
29917998          DOWNTOWN CLEVELAND ALLIANCE             1010 EUCLID AVE., STE 300                                                                                              CLEVELAND            OH           44115
30333475          Name on file                            Address on file
30338323          Name on file                            Address on file
29918000          Name on file                            Address on file
30167202          DPG USA Inc.                            Mr. Nick Gupta                      305 Wildberry Court                Suite B1                                        Schaumburg           IL           60193
30340745          Name on file                            Address on file
30341896          Name on file                            Address on file
30337478          Name on file                            Address on file
30394513          Name on file                            Address on file
29918007          DRAPER CITY                             BUSINESS LICENSE NANCY BISHOP       1020 EAST PIONEER RD                                                               DRAPER               UT           84020
29918008          DRAPER JAMES LLC                        33 EAST 33RD ST., STE. 804                                                                                             NEW YORK             NY           10016
30210815          DRAPER JAMES, LLC                       33 EAST 33RD STREET                 8TH FLOOR                                                                          NEW YORK             NY           10016
30223119          DRAPER JAMES, LLC                       ATTN: CORY BAKER                    33 EAST 33RD STREET                8TH FLOOR                                       NEW YORK             NY           10016
29918011          Name on file                            Address on file
29918013          Name on file                            Address on file
29918014          DREAM SUNSHINE HOSPITALITY LLC          LA QUINTA INN                       1910 STEWART AVE                                                                   WAUSAU               WI           54401
29918016          Name on file                            Address on file
30336967          Name on file                            Address on file
30414634          Name on file                            Address on file
30332261          Name on file                            Address on file
30332181          Name on file                            Address on file
30397202          Name on file                            Address on file
30353357          Name on file                            Address on file
30347803          Name on file                            Address on file
30401070          Name on file                            Address on file
30338121          Name on file                            Address on file
30345071          Name on file                            Address on file
30349706          Name on file                            Address on file
30385240          Name on file                            Address on file
30211319          DRU CHRISTINE FABRICS & DESIGN          1615 E. 25TH STREET                                                                                                    CLEVELAND            OH           44114
30333797          Name on file                            Address on file
30415055          Name on file                            Address on file
30338539          Name on file                            Address on file
29918028          Name on file                            Address on file
29918029          DS WATERS OF AMERICA INC                KENTWOOD,SPARKLETTS,ALHAMBRA        PO BOX 660579                                                                      DALLAS               TX           75266‐0579
30211320          DSI SECURITY SERVICES                   PO BOX 7163                                                                                                            DOTHAN               AL           36302
29918030          DSM MB I LLC                            DEMOULAS SUPER MARKETS INC          PO BOX 419021                                                                      BOSTON               MA           02241‐9021
30213037          DSM MB IL LLC                           ATTN: LEASING                       875 EAST STREET                                                                    TEWKSBURY            MA           01876
29918033          DSSS                                    PO BOX 1259                                                                                                            AKRON                OH           44309‐1259
30213163          DT AHWATUKEE FOOTHILLS, LLC             C/O SITE CENTERS CORP.              3300 ENTERPRISE PARKWAY                                                            BEACHWOOD            OH           44122
30213403          DT ASHLEY CROSSING LLC                  C/O SITE CENTERS                    3300 ENTERPRISE PARKWAY                                                            BEACHWOOD            OH           44122
                                                                                              ATTN: EXECUTIVE VICE PRESIDENT ‐
30213073          DT UNIVERSITY CENTRE LP                 3300 ENTERPRISE PARKWAY             LEASING                                                                            BEACHWOOD            OH           44122
29957437          DTE ENERGY/630795/740786                PO BOX 630795                                                                                                          CINCINNATI           OH           45263‐0795
30340607          Name on file                            Address on file
30350320          Name on file                            Address on file
29957445          DUBOIS COUNTY TREASURER                 1 COURTHOUSE SQUARE, RM 105                                                                                            JASPER               IN           47546
                  DUBOIS COUNTY, IN COUNTY CONSUMER
30207788          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION ONE COURTHOUSE SQ                                                                   JASPER               IN           47546
29918036          DUBOIS MALL                             5522 SHAFFER RD, STE 125                                                                                               DUBOIS               PA           15801
30335249          Name on file                            Address on file
30394656          Name on file                            Address on file
30275923          Name on file                            Address on file
29918038          DUDLEY TRADING ASSOCIATES LP            C/O BERKSHIRE BANK                 PO BOX 96                                                                           WORCESTER            MA           01613‐0096
                                                                                             ONE VAN DE GRAAFF DRIVE, SUITE
30213674          DUDLEY TRADING ASSOCIATES NOMINEE TRUST C/O KEYPOINT PARTNERS LLC          402                                                                                 BURLINGTON           MA           01803
30345119          Name on file                            Address on file
30353413          Name on file                            Address on file
30397648          Name on file                            Address on file
30394029          Name on file                            Address on file
30394576          Name on file                            Address on file




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30351737          Name on file                        Address on file
30356529          Name on file                        Address on file
29949838          DUKE ENERGY CAROLINAS, LLC          525 SOUTH TRYON STREET                                                                                                             CHARLOTTE              NC           28202
30210716          DUKE ENERGY CAROLINAS, LLC          SOUTH CHURCH STREET                                                                                                                CHARLOTTE              NC           28202
30210719          DUKE ENERGY FLORIDA, LLC            2801 WEST SR 426                                                                                                                   OVIEDO                 FL           32765
29949839          DUKE ENERGY FLORIDA, LLC            299 1ST AVE N, ST.                                                                                                                 PETERSBURG             FL           33701
30291266          Duke Energy Indiana                 c/o Lynn Colombo                           525 S Tryon St                      Mail Code DEP‐09A                                   Charlotte              NC           28202
29949840          DUKE ENERGY INDIANA, INC.           1100 W. 2ND ST.                                                                                                                    BLOOMINGTON            IN           47403
30210720          DUKE ENERGY INDIANA, INC.           201 NORTH ILLINOIS STREET                  SUITE 1530                                                                              INDIANAPOLIS           IN           46204
30291249          Duke Energy Kentucky                c/o Lynn Colombo                           525 S Tryon St                      Mail Code DEP‐09A                                   Charlotte              NC           28202
30291261          Duke Energy Ohio                    Attn: Lynn Colombo                         525 S. Tryon St                     Mail Code DEP‐09A                                   Charlotte              NC           28202
30210721          DUKE ENERGY PROGRESS                411 FAYETTEVILLE ST                                                                                                                RALEIGH                NC           27601
29949841          DUKE ENERGY PROGRESS                525 SOUTH TRYON STREET                                                                                                             CHARLOTTE              NC           28202
30291252          Duke Energy Progress                c/o Lynn Colombo                           525 S Tryon St                      Mail Code DEP‐09A                                   Charlotte              NC           28202
29918041          DUKE ENERGY/1094                    PO BOX 1094                                                                                                                        CHARLOTTE              NC           28201‐1094
30340639          Name on file                        Address on file
30211065          DUNBAR GROUP                        3900 S HUALAPAI WAY                        SUITE 111                                                                               LAS VEGAS              NV           89147
29957450          DUNBAR GROUP                        3900 S HUALAPAI WAY STE 111                                                                                                        LAS VEGAS              NV           89147‐5725
29957451          DUNBAR SANITARY BOARD               PO BOX 97                                                                                                                          DUNBAR                 WV           25064
30211321          DUNBAR SECURITY PRODUCTS            8525 KELSO DR., STE. L                                                                                                             BALTIMORE              MD           21221
30215141          DUNBAR SECURITY PRODUCTS INC        235 SCHILLING CIRCLE                       SUITE 109                                                                               HUNT VALLEY            MD           21031
30292704          Dunbar Security Products, Inc.      Attn: Jeff Berg, Chief Financial Officer   235 Schilling Circle, Suite 109                                                         Hunt Valley            MD           21031
30347242          Name on file                        Address on file
30353355          Name on file                        Address on file
30396849          Name on file                        Address on file
30332063          Name on file                        Address on file
30396028          Name on file                        Address on file
30416034          Name on file                        Address on file
30342533          Name on file                        Address on file
30209686          DUNEDIN PUBLIC LIBRARIES            PO BOX 5542                                                                                                                        DUNEDIN                             9054            NEW ZEALAND
29957457          Name on file                        Address on file
30401400          Name on file                        Address on file
30349200          Name on file                        Address on file
30398166          Name on file                        Address on file
30332597          Name on file                        Address on file
30256709          Name on file                        Address on file
29918047          DUNNING FARMS LLC                   C/O CHASE ENTERPRISES                      225 ASYLUM ST., 29TH FL.                                                                HARTFORD               CT           06103

29918046          DUNNING FARMS LLC                   C/O CHASE ENTERPRISES                      ATTN: CHERYL A. CHASE               225 ASYLUM STREET, 29TH FLOOR                       HARTFORD               CT           06103
30211004          DUNNING FARMS LLC                   C/O CHASE ENTERPRISES                      ATTN: CHERYL A. CHASE                                                                   HARTFORD               CT           06103
30400093          Dunning Farms LLC                   Lisa Catarino Riccio, Esq.                 C/o: Chase Enterprises              225 Asylum Street               29th Floor          Hartford               CT           06103
30400092          Dunning Farms LLC                   Rogin Nassau LLC                           C/o: Barry S. Feigenbaum, Esq.      185 Asylum Street               22nd Floor          Hartford               CT           06103
30351167          Name on file                        Address on file
30348030          Name on file                        Address on file
30256631          DuPage County Public Works          Attn: Kristen Rios                         P.O. Box 4751                                                                           Carol Stream           IL           60197
29918049          DUPAGE COUNTY PUBLIC WORKS          PO BOX 4751                                                                                                                        CAROL STREAM           IL           60197‐4751
                  DUPAGE COUNTY, IL COUNTY CONSUMER
30207789          PROTECTION AGENCY                   ATTN: CONSUMER PROTECTION DIVISION 421 N COUNTY FARM RD                                                                            WHEATON                IL           60187
29918051          Name on file                        Address on file
30276614          Name on file                        Address on file
30289268          Duquesne Light Company              411 Seventh Avenue                 Mail Drop 16‐1                                                                                  Pittsburgh             PA           15219
30289283          Duquesne Light Company              411 Seventh Avenue                                                                                                                 Pittsburgh             PA           15219
29918052          DUQUESNE LIGHT COMPANY              PO BOX 371324                                                                                                                      PITTSBURGH             PA           15250‐7324
30332613          Name on file                        Address on file
29918055          DURHAM COUNTY TAX COLLECTOR         PO BOX 30090                                                                                                                       DURHAM                 NC           27702‐3090
30212212          DURHAM PUBLIC LIBRARY               7 MAPLE AVE                                                                                                                        DURHAM                 CT           06422
30416456          Name on file                        Address on file
30353922          Name on file                        Address on file
30397826          Name on file                        Address on file
30339494          Name on file                        Address on file
29953390          Name on file                        Address on file
30414530          Name on file                        Address on file
LC_0137           Dutchess County Libraries           488 FREEDOM PLAINS RD                                                                                                              Lagrangeville          NY           12540




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30212213          DUTCHESS COUNTY LIBRARIES                488 FREEDOM PLAINS RD                                                                                                POUGHKEEPSIE          NY           12603
                  DUTCHESS COUNTY, NY COUNTY CONSUMER
30207790          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 22 MARKET ST                                                                      POUGHKEEPSIE          NY           12601
30209689          DUTCHESS LIBRARIES GROUP PURCHASE        488 FREEDOM PLAINS ROAD                                                                                              POUGHKEEPSIE          NY           12603
30345382          Name on file                             Address on file
30385106          Name on file                             Address on file
29951165          DUVAL COUNTY TAX COLLECTOR               OCCUPATIONAL LICENSE CITY/CTY      231 EAST FORSYTH ROOM 130                                                         JACKSONVILLE          FL           32202
                  DUVAL COUNTY, FL COUNTY CONSUMER
30207791          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 501 W ADAMS ST                                                                    JACKSONVILLE          FL           32202
30209691          DUXBURY FREE LIBRARY                     77 ALDEN STREET                                                                                                      DUXBURY               MA           02332
30345456          Name on file                             Address on file
                                                                                              ATTN: GENE WONG, VICE
30213588          DW28 FREMONT, LLC                        5839 MONROE STREET                 PRESIDENT                                                                         SYLVANIA              OH           43560
29918070          Name on file                             Address on file
30213005          DWIGHT SCOTT                             Address on file
30414861          Name on file                             Address on file
30399859          Name on file                             Address on file
30356714          Name on file                             Address on file
30416430          Name on file                             Address on file
30414778          Name on file                             Address on file
29918082          Name on file                             Address on file
29918083          DYER COUNTY TRUSTEE                      PO BOX 1360                                                                                                          DYERSBURG             TN           38025‐1360
30355606          Name on file                             Address on file
29918089          DYLAN CUMMINS                            Address on file
30332147          Name on file                             Address on file
30223120          DYNAMIC COATINGS INC                     5629 E WESTOVER AVE, STE A                                                                                           FRESNO                CA           93727
29918114          DYNAMIC RESOURCES INC                    25 W 31ST STREET, 7TH FLOOR                                                                                          NEW YORK              NY           10001
30210722          DYNEGY ENERGY SERVICES EAST, LLC         6555 SIERRA DR                                                                                                       IRVING                TX           75039
29949818          DYNEGY ENERGY SERVICES EAST, LLC         PO BOX 650764                                                                                                        DALLAS                TX           75262‐0764
29949819          DYNEGY ENERGY SERVICES LLC               PO BOX 650764                                                                                                        DALLAS                TX           75262‐0764
                                                                                              80 PU XIA ROAD HENG GANG JIE
30211322          DYNO SEASONAL SOLUTIONS                  C/O SUN HING ORGANISATION PLASTIC  DAO                              190                                              SHENZHEN                           518173          CHINA
30332006          Name on file                             Address on file
30337188          Name on file                             Address on file
29918118          E BATTLE MURILLO                         Address on file
29918119          E BOND                                   1644 BUTTE STREET                                                                                                    RICHMOND              CA           94804
29918120          Name on file                             Address on file
29918122          E&A NORTHEAST LIMITED PARTNERSHIP        C/O EDENS LIMITED PARTNERSHIP      ATTN: LEGAL DEPARTMENT           1221 MAIN STREET SUITE 1000                      COLUMBIA              SC           29201
30210996          E&A NORTHEAST LIMITED PARTNERSHIP        C/O EDENS LIMITED PARTNERSHIP      ATTN: LEGAL DEPARTMENT                                                            COLUMBIA              SC           29201
29918123          Name on file                             Address on file
29918124          E. AMBROISE                              Address on file
29918125          E. CABALLERO                             Address on file
29918126          E. HEININGER                             Address on file
29918127          E. KEELING                               Address on file
29918128          E. LASHORNE                              Address on file
29918129          E. MATHIOTT                              Address on file
29918130          E. MOALES                                Address on file
29918131          E. RAVEBAUGH                             Address on file
29918132          E. WILLIAMS                              Address on file
30212216          E.D. LOCKE PUBLIC LIBRARY                5920 MILWAUKEE ST                                                                                                    MCFARLAND             WI           53558
30209692          E.D. LOCKE PUBLIC LIBRARY OF MCFARLAND   5920 MILWAUKEE STREET                                                                                                MCFARLAND             WI           53558
30332603          Name on file                             Address on file
29918138          Name on file                             Address on file
30212217          EAGLE VALLEY LIBRARY DISTRICT            200 MIKAELA WAY                                                                                                      AVON                  CO           81620
29918140          Name on file                             Address on file
30209694          EAGLE VALLEY LIBRARY DISTRICT            PO BOX 240                                                                                                           EAGLE                 CO           81631
30339631          Name on file                             Address on file
29918141          Name on file                             Address on file
30394620          Name on file                             Address on file
30215800          EAN SERVICES LLC                         ATTN: BANKRUPTCY PMT               PO BOX 402383                                                                     ATLANTA               GA           80384
30212890          EARL JONES                               Address on file
30342837          Name on file                             Address on file
30347857          Name on file                             Address on file




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30401321          Name on file                               Address on file
30395660          Name on file                               Address on file
30342771          Name on file                               Address on file
30416111          Name on file                               Address on file
29918146          EAST ALABAMA SOCIETY OF                    HUMAN RESOURCE MGT               PO BOX 4198                                                                        OPELIKA                   AL           36803
29918147          EAST ALABAMA TRACTOR TRAILER EQUIP         1803 MARKET ST                                                                                                      OPELIKA                   AL           36801
                                                                                              1/F WELL INDL BLDG 21‐23 LAM TIN
29918148          EAST ASIA ARTIFICIAL FLOWERS               FACTORY COMPANY LIMITED          STREET KWAI CHUNG                                                                  HONG KONG                              999077          CHINA
29918149          EAST BATON ROUGE FALSE ALARMS              PO BOX 141145                                                                                                       IRVING                    TX           75014
29918150          Name on file                               Address on file
LC_0181           East Baton Rouge Parish Library            7711 Goodwood Boulevard                                                                                             East Baton Rouge          LA           70806‐7699
30209697          EAST BATON ROUGE PARISH LIBRARY            7711 GOODWOOD BLVD                                                                                                  BATON ROUGE               LA           70806
29918151          EAST BATON ROUGE PARISH SHERIFF            P.O. BOX 91285                                                                                                      BATON ROUGE               LA           70821‐9285

30213605          EAST BAY PLAZA, LLC                        P.O.BOX 990                      ATTN: TOM MCINTYRE, MANAGER                                                        TRAVERSE CITY             MI           49685
29918154          Name on file                               Address on file

30209698          EAST BONNER COUNTY FREE LIBRARY DISTRICT   1407 CEDAR ST                                                                                                       SANDPOINT                 ID           83864
29918155          Name on file                               Address on file
30209700          EAST BRUNSWICK PUBLIC LIBRARY              2 JEAN WALLING CIVIC CENTER DR                                                                                      EAST BRUNSWICK            NJ           08816
29949820          EAST CAIN TOWNSHIP                         110 BELL TAVERN ROAD                                                                                                DOWNINGTOWN               PA           19335
29918156          EAST CALN TOWNSHIP                         110 BELL TAVERN ROAD                                                                                                DOWNINGTOWN               PA           19335

30213303          EAST CHASE MARKET CENTER, LLC              C/O EAST CHASE PROPERTIES, LLC   1975 HEMPSTEAD TPKE., SUITE 309                                                    EAST MEADOW               NY           11554
29918158          Name on file                               Address on file
29918159          Name on file                               Address on file
29918160          Name on file                               Address on file
30212218          EAST GREENBUSH COMMUNITY LIBRARY           10 COMMUNITY WAY                                                                                                    EAST GREENBUSH            NY           12061
30209706          EAST GWILLIMBURY PUBLIC LIBRARY            19513 YONGE STREET               P.O. BOX 1609                                                                      HOLLAND LANDING           ON           L9N 1P2         CANADA
29950098          Name on file                               Address on file
30209709          EAST HAMPTON PUBLIC LIBRARY                105 MAIN ST                      #1                                                                                 EAST HAMPTON              CT           06424
29950099          Name on file                               Address on file
30209714          EAST LYME PUBLIC LIBRARY                   39 SOCIETY ROAD                                                                                                     NIANTIC                   CT           06357
29950101          EAST NORRITON TWP                          2501 STANBRIDGE ST                                                                                                  EAST NORRITON             PA           19401
29950102          Name on file                               Address on file
29950103          Name on file                               Address on file
29950104          Name on file                               Address on file
29951456          EAST RICHLAND CO. P. S. D.                 704 ROSS ROAD                                                                                                       COLUMBIA                  SC           29223
29950105          EAST RICHLAND CO. P. S. D.                 PO BOX 23069                                                                                                        COLUMBIA                  SC           29224
30209718          EAST RUTHERFORD MEMORIAL LIBRARY           143 BOILING SPRINGS AVENUE                                                                                          EAST RUTHERFORD           NJ           07073
29950107          Name on file                               Address on file
30335320          EAST WENATCHEE WATER DISTRICT              C/O JAYCE WHITFORD, BILLING      455 6TH ST NE                                                                      EAST WENATCHEE            WA           98802
29950109          Name on file                               Address on file
30212220          EASTCHESTER PUBLIC LIBRARY                 11 OAKRIDGE PLACE                                                                                                   EASTCHESTER               NY           10709
30386023          Name on file                               Address on file
29918164          Name on file                               Address on file
30209722          EASTERN MONROE PUBLIC LIBRARY              1002 NORTH 9TH ST                                                                                                   STROUDSBURG               PA           18360
29918165          Name on file                               Address on file
30257219          Name on file                               Address on file
30257220          Name on file                               Address on file
29918166          Name on file                               Address on file
30209731          EASTON PUBLIC LIBRARY                      515 CHURCH STREET                                                                                                   EASTON                    PA           18042
29918168          Name on file                               Address on file
29918169          Name on file                               Address on file
29918170          EASTWOOD PARTNERS LLC                      208 WEST NEW CIRCLE ROAD                                                                                            LEXINGTON                 KY           40505
30395293          Name on file                               Address on file
30209733          EAU CLAIRE AREA SCHOOL DISTRICT            500 MAIN STREET                                                                                                     EAU CLAIRE                WI           54701
29918171          EAU CLAIRE COUNTY TREASURER                721 OXFORD AVENUE                                                                                                   EAU CLAIRE                WI           54703‐5478
30274828          Ebates Performance Marketing Inc           999 Plaza Drive                  Suite 670                                                                          Schaumburg                IL           60173
30415786          Name on file                               Address on file
30350116          Name on file                               Address on file
30416571          Name on file                               Address on file
30352987          Name on file                               Address on file




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30333735          EBMUD‐east Bay Municipal Utility Dist         Charles Stanley Gaines               375 11th St                                                                                Oakland                CA           94607
30333736          EBMUD‐east Bay Municipal Utility Dist         Po Box 51191                                                                                                                    Los Angeles            CA           90051‐5491
29918176          EC BUCKHORN LLC                               C/O EC MESA LLC                      5363 BALBOA BLVD. #227                                                                     ENCINO                 CA           91316
29918178          EC FOUNDATION SCHERERVILLE LLC                EC SHOPPES OF SCHERERVILLE           5363 BALBOA BLVD. #227                                                                     ENCINO                 CA           91316
30331502          EC Foundation Schererville LLC                Eric Odom                            Mcafee & Taft                       211 North Robinson             8th Floor               Oklahoma City          OK           73102

30213060          EC MESA, LLC                                  C/O ETHAN CHRISTOPHER ARIZONA, LLC   6750 W. PEORIA AVE., SUITE 110                                                             PEORIA                 AZ           85345

29964963          ECHO/CONTINENTAL LINCOLN VILLAGE, LLC         C/O WORTH CAPITAL                    2501 E. MAIN ST. AND PO BOX 9646 (COLUMBUS, SAME ZIP)                                      COLUMBUS               OH           43209

30210905          ECHO/CONTINENTAL LINCOLN VILLAGE, LLC         C/O WORTH CAPITAL                    2501 E. MAIN ST. AND PO BOX 9646                                                           COLUMBUS               OH           43209
29918185          Name on file                                  Address on file
30183075          Ector CAD                                     1301 E 8th St                                                                                                                   Odessa                 TX           79761‐4703
30183173          Ector CAD                                     1301 E 8th St                                                                                                                   Odessa                 TX           79761
29918186          ECTOR COUNTY APPRAISAL DISTRICT               1301 EAST 8TH STREET                                                                                                            ODESSA                 TX           79761‐4722
                  ECTOR COUNTY, TX COUNTY CONSUMER
30207792          PROTECTION AGENCY                             ATTN: CONSUMER PROTECTION DIVISION   300 N GRANT AVE                                                                            ODESSA                 TX           79761
29918188          ED SCHLITT LC, DBA COLDWELL BANKER            COMMERCIAL PARADISE                  ATTN: KOLLIN G. KITE                1950 US HWY 1                                          VERO BEACH             FL           32960
30210942          ED SCHLITT LC, DBA COLDWELL BANKER            COMMERCIAL PARADISE                  ATTN: KOLLIN G. KITE                                                                       VERO BEACH             FL           32960
29918189          ED WEINSTEIN                                  Address on file
30415265          Name on file                                  Address on file
30395366          Name on file                                  Address on file
29918192          EDDIE JOHNSON                                 Address on file
29918196          Name on file                                  Address on file
30347733          Name on file                                  Address on file
30332087          Name on file                                  Address on file
30347922          Name on file                                  Address on file
30345514          Name on file                                  Address on file
29918209          EDENS LIMITED PARTNERSHIP                     BROOKFIELD (E&A) LLC T#56453         PO BOX 536856                                                                              ATLANTA                GA           30353‐6856
30345496          Name on file                                  Address on file
29918214          EDGAR WISE                                    Address on file
30337032          Edge Logistics, LLC                           c/o Atlas Factoring, LLC             901 N. Mesa Dr.                     Suite 301                                              El Paso                TX           79902
30337031          Edge Logistics, LLC                           c/o Miranda & Maldonado, P.C.        5915 Silver Springs                 Bldg. 7                                                El Paso                TX           79912
30337033          Edge Logistics, LLC                           Steven Weber                         211 West Wacker Dr.                 Unit 1200                                              Chicago                IL           60606
29918217          EDGE UTILITIES                                PO BOX 158                                                                                                                      BALTIMORE              OH           43105
29918219          EDIE ALLEN                                    Address on file
30209734          EDIE ECKMAN                                   Address on file
30209737          EDISON TOWNSHIP FREE PUBLIC LIBRARY           340 PLAINFIELD AVENUE                                                                                                           EDISON                 NJ           08817
29918224          Name on file                                  Address on file

30209739          EDITH B. SIEGRIST VERMILLION PUBLIC LIBRARY   18 CHURCH STREET                                                                                                                VERMILLION             SD           57069
IC_138            EDITH L ECKMAN                                Address on file
30209743          EDITH L. ECKMAN                               Address on file
29918226          Name on file                                  Address on file
30401671          Name on file                                  Address on file
29918228          Name on file                                  Address on file
30209744          EDMONTON PUBLIC LIBRARY                       7 Sir Winston Churchill Square N                                                                                                EDMONTON               AB           T5J 2V4         CANADA
30333451          Name on file                                  Address on file
29918247          Name on file                                  Address on file
29918258          Name on file                                  Address on file
29918259          Name on file                                  Address on file
29918263          EDWARD BUTCHER JR                             Address on file
29918280          EDWARD SCHNAUBELT                             Address on file
30212878          EDWARD WEINSTEIN                              Address on file
30397461          Name on file                                  Address on file
30340898          Name on file                                  Address on file
30332523          Name on file                                  Address on file
30338528          Name on file                                  Address on file
29951451          EDWARDSVILLE MALL LP                          41 WEST SIDE MALL                                                                                                               KINGSTON               PA           18704
29918288          EDWARDSVILLE MALL LP                          PO BOX 8500                                                                                                                     PHILADELPHIA           PA           19178‐4412
30213619          EDWARDSVILLE MALL, LP                         C/O SIGNATURE ACQUISITIONS LLC       20 COMMERCE DRIVE, SUITE 326                                                               CRANFORD               NJ           07016
29918290          Name on file                                  Address on file
29918299          Name on file                                  Address on file




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29918301          EFR STORAGE LLC                       5150 HIGHWAY 52 N                                                                                                  ROCHESTER                  MN           55901
30401470          Name on file                          Address on file
30396747          Name on file                          Address on file
30350699          Name on file                          Address on file
30347303          Name on file                          Address on file
30223121          EGO INTERNATIONAL CO LTD              NO 168‐1 SONGJIANG EAST ROAD   130                                YINZHOU DISTRICT                                 NINGBO                                  315100          CHINA
30354050          Name on file                          Address on file
30342672          Name on file                          Address on file
30343848          Name on file                          Address on file
30357565          Name on file                          Address on file
30414570          Name on file                          Address on file
30294497          Name on file                          Address on file
30340253          Name on file                          Address on file
30260729          Name on file                          Address on file
29951169          EIGHTH UTILITIES DISTRICT             18 MAIN STREET                                                                                                     MANCHESTER                 CT           06042‐3136
29918315          EILEEN KIELBASA                       Address on file
29918316          Name on file                          Address on file
30397018          Name on file                          Address on file
30397019          Name on file                          Address on file
29918323          Name on file                          Address on file
30209746          EISENHOWER PUBLIC LIBRARY DISTRICT    4613 NORTH OKETO AVENUE                                                                                            HARWOOD HEIGHTS            IL           60706
30397255          Name on file                          Address on file
29918330          EKC ENTERPRISES INC                   PO BOX 6487                                                                                                        FRESNO                     CA           93703
30353683          Name on file                          Address on file

29918332          EKO HALI PAZ SAN VE TIC LTD STI       NECIP FAZIL BULVARI KEYAP      J/2 BLOK NO:160 YUKARI DUDULLU ISTANBUL                                             UMRANIYE                                34775           TURKEY
30416402          Name on file                          Address on file
30290054          El Camino Promenade, LLC              1201 Franklin Mall                                                                                                 Santa Clara                CA           95050
30213652          EL CAMINO PROMENADE, LLC              C/O GILLMOR & ASSOC.           1201 FRANKLIN MALL                                                                  SANTA CLARA                CA           95050
30213583          EL GATO GRANDE LIMITED PARTNERSHIP    PO BOX 370                     1133 STATE ROUTE 295                                                                EAST CHATHAM               NY           12060
29918337          EL PASO COUNTY TREASURER              PO BOX 2018                                                                                                        COLORADO SPRINGS           CO           80901‐2018
29918338          EL PASO ELECTRIC/650801               PO BOX 650801                                                                                                      DALLAS                     TX           75265‐0801
29951171          EL PASO TAX ASSESSOR COLLECTOR        PO BOX 2992                                                                                                        EL PASO                    TX           79999
29918340          EL PASO WATER UTILITIES               P.O. BOX 511                                                                                                       EL PASO                    TX           79961‐0511
30209749          ELA AREA PUBLIC LIBRARY               275 MOHAWK TRAIL                                                                                                   LAKE ZURICH                IL           60047
30212222          ELA AREA PUBLIC LIBRARY DISTRICT      275 MOHAWK TRAIL                                                                                                   LAKE ZURICH                IL           60047
30351832          Name on file                          Address on file
29918372          Name on file                          Address on file
30211324          ELASTICINTAS TERESITA SA DE CV        LAGO GRAN OSO 123                                                                                                  CIUDAD DE MEXICO                        11430           MEXICO
29918377          ELAT PROPERTIES                       DBA CRANBERRY MALL             PO BOX 609                                                                          CRANBERRY                  PA           16319
30414790          Name on file                          Address on file
30209753          ELDREDGE PUBLIC LIBRARY               564 MAIN ST.                                                                                                       CHATHAM                    MA           02633
29918410          ELECTRIC CITY UTILITIES               PO BOX 100146                                                                                                      COLUMBIA                   SC           29202‐3146
29918412          ELECTRIC MOTOR SHOP                   PO BOX 446                                                                                                         FRESNO                     CA           93709

30210723          ELECTRIC POWER BOARD OF CHATTANOOGA   10 WEST ML KING BLVD                                                                                               CHATTANOOGA                TN           37402
30223122          ELECTRICAL TECHNICIANS INC            1301 ORCHARD HILL ROAD                                                                                             LAGRANGE                   GA           30240
29918413          Name on file                          Address on file
29918414          Name on file                          Address on file
30293092          Elegant Home Ltd.                     Joseph Lee                     11‐19 Sha Tsui Road                Tsuen Wan                                        Hong Kong                                               Hong Kong
29918427          ELENA SMITH                           Address on file
29918434          ELENORE FARMER                        Address on file
29949499          ELEVATION CLO 2013‐1, LTD             ONE NEXUS WAY                                                                                                      CAMANA BAY, GRAND CAYMAN                KY1‐9005        CAYMAN ISLANDS
29949500          ELEVATION CLO 2014‐2, LTD.            ONE NEXUS WAY                                                                                                      CAMANA BAY                              KY1‐9005        CAYMAN ISLANDS
29949501          ELEVATION CLO 2016‐5, LTD.            ONE NEXUS WAY                                                                                                      CAMANA BAY                              KY1‐9005        CAYMAN ISLANDS
29949502          ELEVATION CLO 2017‐6 LTD              ONE NEXUS WAY                                                                                                      CAMANA BAY                              KY1‐9005        CAYMAN ISLANDS
29949503          ELEVATION CLO 2017‐8 LTD.             ONE NEXUS WAY                                                                                                      CAMANA BAY                              KY1‐9005        CAYMAN ISLANDS
29949504          ELEVATION CLO 2018‐10 LTD             ONE NEXUS WAY                                                                                                      CAMANA BAY                              KY1‐9005        CAYMAN ISLANDS
29949505          ELEVATION CLO 2018‐9, LTD             ONE NEXUS WAY                                                                                                      CAMANA BAY                              KY1‐9005        CAYMAN ISLANDS
29949506          ELEVATION CLO 2020‐11, LTD.           ONE NEXUS WAY                                                                                                      CAMANA BAY                              KY1‐9005        CAYMAN ISLANDS
29949507          ELEVATION CLO 2021‐12, LTD.           ONE NEXUS WAY                                                                                                      CAMANA BAY                              KY1‐9005        CAYMAN ISLANDS
29949508          ELEVATION CLO 2021‐13, LTD.           ONE NEXUS WAY                                                                                                      CAMANA BAY                              KY1‐9005        CAYMAN ISLANDS
29949509          ELEVATION CLO 2021‐14, LTD.           ONE NEXUS WAY                                                                                                      CAMANA BAY                              KY1‐9005        CAYMAN ISLANDS




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  ADDRESS ID                           NAME                              ADDRESS 1                       ADDRESS 2                          ADDRESS 3                    ADDRESS 4                       CITY        STATE     POSTAL CODE        COUNTRY
29949510          ELEVATION CLO 2021‐15, LTD             ONE NEXUS WAY                                                                                                               CAMANA BAY                              KY1‐9005        CAYMAN ISLANDS
30399589          Name on file                           Address on file
30335276          Name on file                           Address on file
30348078          Name on file                           Address on file
29957511          ELIASSEN GROUP LLC                     55 WALKERS BROOKS DR 6TH FLR                                                                                                READING                    MA           01867
30211610          ELICIA BELL                            Address on file
29957512          ELICIA BELL                            Address on file
30293121          Elijah List Ministries, Inc.           John C. Gentile, Esq.              1313 N. Market Street              Suite 1201                                            Wilmington                 DE           19801
30293120          Elijah List Ministries, Inc.           Wyatt Norfleet                     525 2nd Ave. SW                    Ste. 629                                              Albany                     OR           97321
30358282          Name on file                           Address on file
29918495          ELISABETH EDWARDS                      Address on file
30278534          Name on file                           Address on file
30212223          ELISHA D. SMITH PUBLIC LIBRARY         440 FIRST ST.                                                                                                               MENASHA                    WI           54952
30210817          ELIZABETH CAVEN                        Address on file
30211325          ELIZABETH CAVEN                        Address on file
29918621          ELIZABETH CRANE                        Address on file
30212900          ELIZABETH DEVOGEL                      Address on file
29957530          ELIZABETH DICKSON                      Address on file
29918637          ELIZABETH DUANE                        Address on file
30213691          ELIZABETH FAUX                         Address on file
30295085          Elizabeth Faux as PAGA                 Dundon Advisers LLC                April Kimm                         10 Bank St                     Ste 1100               White Plains               NY           10017
                                                         Ogletree, Deakins, Nash, Smoak &
30337205          Elizabeth Faux as PAGA                 Stewart, P.C.                      Michael Nader                      400 Capitol Mall               Suite 2800             Sacramento                 CA           95814
29918649          ELIZABETH FELIX                        Address on file
29918674          ELIZABETH GUEL                         Address on file
29918687          ELIZABETH HANSEN                       Address on file
29918693          ELIZABETH HEDRICK                      Address on file
29918710          ELIZABETH HOFFMANN                     Address on file
29918717          ELIZABETH J SHEPHERD                   Address on file
29918738          ELIZABETH LAIRD SCARAMELLINO           Address on file
30212920          ELIZABETH LARSON                       Address on file
29918748          ELIZABETH LEE                          Address on file
29918751          ELIZABETH LESHER                       Address on file
30350131          Name on file                           Address on file
29918771          ELIZABETH MYERS                        Address on file
30212931          ELIZABETH SARGENT                      Address on file
IC_171            ELIZABETH SMITH                        Address on file
30209758          ELIZABETH TABER LIBRARY                8 SPRING ST.                                                                                                                MARION                     MA           02738
29918866          Name on file                           Address on file
29918869          ELIZABETH TORRES‐MISHLER               Address on file
29957568          ELIZABETH WILSON                       Address on file
29918896          ELIZABETHTOWN GAS/6031                 PO BOX 6031                                                                                                                 BELLMAWR                   NJ           08099
29918898          ELIZABETHTOWN UTILITIES, KY            P.O. BOX 550                                                                                                                ELIZABETHTOWN              KY           42701
30212227          ELK GROVE VILLAGE PUBLIC LIBRARY       1001 WELLINGTON AVE                                                                                                         ELK GROVE VILLAGE          IL           60007
29918904          ELK GROVE WATER WORKS, CA              PO BOX 1030                                                                                                                 ELK GROVE                  CA           95759
29949785          ELK RIVER MUNICIPAL UTILITIES          13069 ORONO PARKWAY                P.O. BOX 430                                                                             ELK RIVER                  MN           55330‐0430
29950008          ELK RIVER MUNICIPAL UTILITIES          PO BOX 430                                                                                                                  ELK RIVER                  MN           55330‐0430
29950009          ELK RIVER PUBLIC UTILITY DISTRICT      P.O. BOX 970                                                                                                                TULLAHOMA                  TN           37388‐0970
30396034          Name on file                           Address on file
29950012          ELKE JORGENSEN BERGERON                Address on file
                  ELKHART COUNT, IN COUNTY CONSUMER
30207793          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 117 N 2ND ST RM 113                                                                      GOSHEN                     IN           46526
29950014          ELKHART COUNTY TREASURER               117 N 2ND STREET                   ROOM 201                                                                                 GOSHEN                     IN           46526‐3296
30212232          ELKHART PUBLIC LIBRARY                 300 S. SECOND ST                                                                                                            ELKHART                    IN           46516
29950016          ELKO COUNTY TREASURER                  571 IDAHO STREET STE 101                                                                                                    ELKO                       NV           89801‐3715
                  ELKO COUNTY, NV COUNTY CONSUMER
30207794          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 571 IDAHO ST                                                                             ELKO                       NV           89801
29918907          ELLA CLAUSEN                           Address on file
30209762          ELLA JOHNSON MEMORIAL LIBRARY          109 SOUTH STATE STREET             PO BOX 429                                                                               HAMPSHIRE                  IL           60140
29957586          Name on file                           Address on file
                  ELLA JOHNSON MEMORIAL PUBLIC LIBRARY
30209763          DISTRICT                               PO BOX 429                                                                                                                  HAMPSHIRE                  IL           60140
30209765          ELLA M. EVERHARD PUBLIC LIBRARY        132 BROAD ST.                                                                                                               WADSWORTH                  OH           44281




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29918921          ELLA MAES SOULFOOD LLC              3365 RICHMOND RD.                                                                                                           BEACHWOOD           OH           44122
29918956          ELLEN PAULIN                        Address on file
30384874          Name on file                        Address on file
29918960          ELLIE DEPEW                         Address on file
30332231          Name on file                        Address on file
30414408          Name on file                        Address on file
30350398          Name on file                        Address on file
30416115          Name on file                        Address on file
                                                      c/o Linebarger Goggan Blair & Sampson,
29972652          Ellis County                        LLP                                      Attn: John Kendrick Turner        3500 Maple Avenue, Suite 800                     Dallas              TX           75219
29918977          ELLIS COUNTY TAX COLLECTOR          PO DRAWER 188                                                                                                               WAXAHACHIE          TX           75168‐0188
                  ELLIS COUNTY, TX COUNTY CONSUMER
30207795          PROTECTION AGENCY                   ATTN: CONSUMER PROTECTION DIVISION 101 W MAIN ST                                                                            WAXAHACHIE          TX           75165
30336959          Name on file                        Address on file
30279378          Name on file                        Address on file
30344403          Name on file                        Address on file
30397411          Name on file                        Address on file
30395695          Name on file                        Address on file
30355574          Name on file                        Address on file
30259967          Name on file                        Address on file
30347787          Name on file                        Address on file
30394523          Name on file                        Address on file
30209768          ELM GROVE PUBLIC LIBRARY            13600 JUNEAU BLVD.                                                                                                          ELM GROVE           WI           53122
                                                                                         6655 PEACHTREE DUNWOODY
29918992          ELMERS PRODUCTS INC                 DBA NEWELL BRANDS                  ROAD                                                                                     ATLANTA             GA           30328
LC_0208           Elmhurst Public Library             125 South Prospect Avenue                                                                                                   Elmhurst            IL           60126‐3245
30212238          ELMHURST PUBLIC LIBRARY             125 S PROSPECT AVENUE                                                                                                       ELMHURST            IL           60126
29918994          ELMIRA WATER BOARD                  PO BOX 32                                                                                                                   WARSAW              NY           14569‐0032
29918995          ELMIRA WATER BOARD NY               PO BOX 32                                                                                                                   WARSAW              NY           14569‐0032
29919004          ELRENE HOME FASHIONS                261 FIFTH AVE 10TH FLOOR                                                                                                    NEW YORK            NY           10016
30349813          Name on file                        Address on file
29919014          ELVIA AYALA                         Address on file
29919027          EMAILAGE CORPORATION                BILLING ID EA1NCTQ0                28330 NETWORK PLACE                                                                      CHICAGO             IL           60673‐1283
29957635          EMC TALENT LIMITED                  85 GREAT PORTLAND ST. 1ST FL.                                                                                               LONDON                           W1W7LT          UNITED KINGDOM
30332085          Name on file                        Address on file
29919043          EMERALD COAST UTILITIES AUTHORITY   PO BOX 18870                                                                                                                PENSACOLA           FL           32523‐8870
29919045          Name on file                        Address on file
29919046          EMERALD ENVIRONMENTAL INC           1621 ST. CLAIR AVE.                                                                                                         KENT                OH           44240
30211326          EMERGETECH LLC                      PO BOX 14550                                                                                                                SCOTTSDALE          AZ           85267
30347662          Name on file                        Address on file
30342631          Name on file                        Address on file
30335097          Name on file                        Address on file
29919086          EMILY BANKS                         Address on file
30212715          EMILY BOSE                          Address on file
29919103          EMILY BRIGGS                        Address on file
29957681          EMILY CARRIERE                      Address on file
29919122          EMILY DANIELSON                     Address on file
29919133          EMILY EIBEL                         Address on file
29919138          EMILY FLAHERTY                      Address on file
30356969          EMILY GOOLSBY                       Address on file
30212995          EMILY HARTWIG                       Address on file
29957714          EMILY JOHNSON                       Address on file
IC_140            EMILY KATZ                          Address on file
30209771          EMILY KATZ                          Address on file
29919218          EMILY MADSEN                        Address on file
29919266          EMILY PEPPARD                       Address on file
29919268          EMILY PEREZ                         Address on file
29957751          EMILY SANTOS CRUZ                   Address on file
29949932          EMILY SIMONSON                      Address on file
30396685          Name on file                        Address on file
29919302          EMILY TOLCHIN                       Address on file
29957771          EMILY WARNER                        Address on file
30332438          Name on file                        Address on file




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29957799          EMMA G. FLOYD                                  Address on file
29957825          EMMA KILPATRICK                                Address on file
29957837          Name on file                                   Address on file
30414824          Name on file                                   Address on file
                                                                                                     3201 OLD GLENVIEW ROAD, SUITE
30213259          EMMES, LLC                                     SHINER MANAGEMENT GROUP, INC.       235                                                                                       WILMETTE              IL           60091
                  EMMET COUNTY, MI COUNTY CONSUMER
30207796          PROTECTION AGENCY                              ATTN: CONSUMER PROTECTION DIVISION 200 DIVISION ST                                                                            PETOSKEY              MI           49770
30354946          Name on file                                   Address on file
29919504          EMPIRE CANDLE CO LLC                           2925 FAIRFAX TRAFFICWAY                                                                                                       KANSAS CITY           KS           66115
29919505          EMPIRE SUPPLY CO INC                           700 EAST RACE AVE                                                                                                             VISALIA               CA           93292
29919506          EMPIRE VALUATION CONSULTANTS LLC               350 5TH AVE #6115                                                                                                             NEW YORK              NY           10118

29919507          EMPIRE VALUATION CONSULTANTS LLC               C/O ACCOUNTS RECEIVABLE             100 MERIDIAN CENTRE BLVD #230                                                             ROCHESTER             NY           14618
29919508          EMPLOYBRIDGE HOLDING CO                        REMEDY INTELLIGENT STAFFING         PO BOX 116834                                                                             ATLANTA               GA           30368‐6834
29919509          EMPLOYBRIDGE HOLDING COMPANY                   RESOURCEMFG                         1845 SATELLITE BLVD., #300                                                                DULUTH                GA           30097
29919510          EMPLOYEE SERVICES LLC                          L‐4412 GW2W10                       7 EASTON OVAL                                                                             COLUMBUS              OH           43219
29919511          EMPLOYNET INC                                  C/O WELLS FARGO BANK NA             PO BOX 846149                                                                             LOS ANGELES           CA           90084‐6149
29919512          EMPOWER ANNUITY INSURANCE CO                   PO BOX 826023                                                                                                                 PHILADELPHIA          PA           19182‐6023
29919513          Name on file                                   Address on file
30210818          EMS/JSR                                        11878 AVE. 328                                                                                                                VISALIA               CA           93291
29919516          EMSER INTERNATIONAL LLC                        8431 SANTA MONICA BLVD.                                                                                                       LOS ANGELES           CA           90069
30213456          EMSER INTERNATIONAL, LLC                       8431 SANTA MONICA BLVD.             ATTN: SEAN HAY                                                                            LOS ANGELES           CA           90035
29919518          EMTRAIN INC                                    1731 J STREET STE 200                                                                                                         SACRAMENTO            CA           95811
30297222          Enbridge Gas                                   Kelly Joe Smith‐Credit Analyst      800 Gaston Rd Bldg. A                                                                     Lowell                NC           28098
29919522          ENBRIDGE GAS /27031                            SUITE 200                           425 ‐ 1 STREET S.W.                                                                       CALGARY               AB           T2P 3L8         CANADA
29919521          ENBRIDGE GAS /27031                            PO BOX 27031                                                                                                                  RICHMOND              VA           23261‐7031
29919523          ENBRIDGE GAS OHIO/26785                        P.O. BOX 26785                                                                                                                RICHMOND              VA           23261‐6785
30283807          Enchante Accessories Inc.                      6701 Bay Parkway                    3rd Floor                                                                                 Brooklyn              NY           11204
                                                                                                     VP of Finance / Enchante
30289606          Enchante Accessories Inc.                      Adam Cohen                          Accessories Inc.                     149 Madison Ave.                fl. 12               New York              NY           10016
30289642          Enchante Accessories Inc.                      Attn: Balasiano & Associates        6701 Bay Parkway                     FL. 3                                                Brooklyn              NY           11204
29919526          Name on file                                   Address on file
30346734          Name on file                                   Address on file
29919527          Name on file                                   Address on file

30210543          ENDURANCE AMERICAN INSURANCE COMPANY 1221 AVENUE OF THE AMERICAS                                                                                                             NEW YORK              NY           10020
30212665          ENDURANCE ASSURANCE CORPORATION      1221 AVENUE OF THE AMERICAS                                                                                                             NEW YORK              NY           10020

29919528          ENDURANCE ASSURANCE CORPORATION                CRUM & FORSTER                      PROFESSIONAL RISK                    101 HUDSON STREET, 32ND FLOOR                        JERSEY CITY           NJ           07302
29972754          Name on file                                   Address on file
29972755          Name on file                                   Address on file
30211327          ENERCO GROUP INC                               4560 W 160TH ST                                                                                                               CLEVELAND             OH           44135
30356970          ENERGY MISSION CONTROL INC                     PO BOX 3159                                                                                                                   GRASS VALLEY          CA           94804
29949768          ENERGY WEST ‐ MONTANA                          1 1ST AVE. S                                                                                                                  GREAT FALLS           MT           59401
30258162          Energy West Montana                            Peggy S Ramsey                      #1 1st Ave S                                                                              Great Falls           MT           59403
30212240          ENFIELD PUBLIC LIBRARY                         104 MIDDLE ROAD                                                                                                               ENFIELD               CT           06082
29919538          ENFIELD TOWN CLERK                             820 ENFIELD STREET                                                                                                            ENFIELD               CT           06082
30358184          Name on file                                   Address on file
30399710          Name on file                                   Address on file
30332456          Name on file                                   Address on file
30292040          Name on file                                   Address on file
30398402          Name on file                                   Address on file
30332127          Name on file                                   Address on file
30337146          Name on file                                   Address on file
29919539          ENGIE IMPACT R                                 1313 N. ATLANTIC, STE. 5000                                                                                                   SPOKANE               WA           99201
29919540          ENGIE IMPACT S                                 1313 N. ATLANTIC, STE. 5000                                                                                                   SPOKANE               WA           99201

30357662          ENGIE Insight Services Inc. dba ENGIE Impact   1313 N Atlantic St                                                                                                            Spokane               WA           99201
29919542          ENGIE RESOURCES/9001025/841680                 1360 POST OAK                       SUITE 400                                                                                 HOUSTON               TX           77056
29919541          ENGIE RESOURCES/9001025/841680                 PO BOX 841680                                                                                                                 DALLAS                TX           75284‐1680
30397836          Name on file                                   Address on file
30397527          Name on file                                   Address on file




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30212243          ENGLEWOOD PUBLIC LIBRARY                 1000 ENGLEWOOD PARKWAY                                                                                                ENGLEWOOD                   CO           80110
29919544          Name on file                             Address on file
30224161          Name on file                             Address on file
30416697          Name on file                             Address on file
30416138          Name on file                             Address on file
30335500          Name on file                             Address on file
30345648          Name on file                             Address on file
30338082          Name on file                             Address on file
29919550          ENSTAR                                   PO BOX 34760                                                                                                          SEATTLE                     WA           98124‐1760
29949822          ENTERGY                                  639 LOYOLA AVE                                                                                                        NEW ORLEANS                 LA           70113
30210699          ENTERGY                                  PO BOX 8103                                                                                                           BATON ROUGE                 LA           70891
29919552          ENTERGY ARKANSAS, INC./8101              PO BOX 8101                                                                                                           BATON ROUGE                 LA           70891‐8101
29919554          ENTERGY GULF STATES LA, LLC/8103         PO BOX 8103                                                                                                           BATON ROUGE                 LA           70891‐8103
29919557          ENTERGY LOUISIANA, INC./8108             639 LOYOLA AVE., L‐ENT‐6E                                                                                             NEW ORLEANS                 LA           70113
29919556          ENTERGY LOUISIANA, INC./8108             PO BOX 8108                                                                                                           BATON ROUGE                 LA           70891‐8108
29919558          ENTERGY MISSISSIPPI, INC./8105           PO BOX 8105                                                                                                           BATON ROUGE                 LA           70891‐8105
29919560          ENTERGY TEXAS, INC./8104                 PO BOX 8104                                                                                                           BATON ROUGE                 LA           70891‐8104
29919562          ENTERPRISE HOLDINGS INC                  DAMAGE RECOVERY                     PO BOX 801770                                                                     KANSAS CITY                 MO           64180
29919564          ENTERTAINMENT EARTH INC                  C/O EE DISTRIBUTION                 61 MORELAND RD                                                                    SIMI VALLEY                 CA           93065
30223124          ENTORNO LAW LLP                          225 BROADWAY ST 1900                                                                                                  SAN DIEGO                   CA           92101
30414510          Name on file                             Address on file
29919565          ENVIRONMENT CONTROL                      BUILDING SERVICE                    PO BOX 6445                                                                       VISALIA                     CA           93290
29919566          ENVIRONMENTAL HEALTH DIVISION            1241 E DYER RD #120                                                                                                   SANTA ANA                   CA           92705
29919567          ENVIRONMENTAL HEALTH SERVICES            3501 CIVIC CENTER DRIVE RM 236                                                                                        SAN RAFAEL                  CA           94903
29919569          ENVIROSCENT INC                          4300 ROSWELL RD D210                                                                                                  ATLANTA                     GA           30342
29919574          EPB                                      PO BOX 182254                                                                                                         CHATTANOOGA                 TN           37422‐7253
30346749          Name on file                             Address on file
30394773          Name on file                             Address on file

29919579          EQT EXETER INDUST CORE‐PLUS FUND IV      EXETER 450 PITTSBURGH LP           100 MATSONFORD ROAD, SUITE 250                                                     RADNOR                      PA           19087
29951607          EQUITY HOUSE LLC                         1244 WILLOWAY AVE. SE                                                                                                 NORTH CANTON                OH           44720
                                                           C/O EQYINVESTTEXAS‐JPMORGAN
29951608          EQYINVEST OWNER II LTD LLC               CHASEBK                            PO BOX 730373                                                                      DALLAS                      TX           75373
                                                           C/O GLOBAL REALTY & MANAGEMENT TX,
30213067          EQYINVEST OWNER II, LTD., LLP            INC                                15866 CHAMPION FOREST DR.                                                          SPRING                      TX           77379
30416056          EQYInvest Owner II, Ltd., LLP            c/o Rashti and Mitchell            Attn: Timothy Mitchell         4422 Ridgeside Drive                                Dallas                      TX           75244
                  ERAY HAFRIYAT INSAAT TAAHHUT SANAYI VE
30181373          TICARET LIMITED SIRKETI                  SENLIKKOY AVE FLORYA STREET         NO 39/5 FOREVA CHOCOLATE                                                          ISTANBUL, BAKIRKOY                       34153           TURKEY
                  ERAY HAFRIYAT INSAAT TAAHHUT SANAYI VE
30181372          TICARET LIMITED SIRKETI                  SENLIKKOY AVE YAMAC ST              YAMAC APARTMAN                   NO 2 FLOOR 2                                     ISTANBUL, BAKIRKOY                       34153           TURKEY
30346728          Name on file                             Address on file
29951612          EREP FOREST HILL I LLC                   515 CONGRESS AVE                                                                                                      AUSTIN                      TX           78701

30213537          EREP FOREST HILL I, LLC                  ATTN: BLAIR BONUCCELLI              515 CONGRESS AVENUE, STE. 1925                                                    AUSTIN                      TX           78701
30358252          Name on file                             Address on file
30211328          Name on file                             Address on file
30212887          ERIC FOX                                 Address on file
29919586          ERIC FOX                                 Address on file
30212626          ERIC GATCHALIAN                          Address on file
30212969          ERIC MUNNERLYN                           Address on file
29919592          ERIC OLIVO                               Address on file
29919593          ERIC PETERSON                            Address on file
30213022          ERIC SCHMIDT                             Address on file
29919608          ERIC WERTZ                               Address on file
29919620          ERICA CARDER                             Address on file
29919635          ERICA KOBES                              Address on file
29919646          ERICA MESA                               Address on file
29919658          ERICA TUCKER                             Address on file
29919666          ERICH FEICHTINGER                        Address on file
29919670          ERICK KEITH                              Address on file
30349397          Name on file                             Address on file
30356246          Name on file                             Address on file
29919682          Name on file                             Address on file




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                  ERIE COUNTY COMPTROLLER ‐ WEIGHTS &
29951175          MEASURES                                   BUREAU OF WEIGHTS AND MEASURES     2380 CLINTON STREET                                                                 CHEEKTOWAGA            NY           14227
                  ERIE COUNTY, NY COUNTY CONSUMER                                               EDWARD A. RATH COUNTY OFFICE
30207797          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION BUILDING                           95 FRANKLIN STREET                               BUFFALO                NY           14202
                  ERIE COUNTY, OH COUNTY CONSUMER
30207798          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 2900 COLUMBUS AVENUE                                                                SANDUSKY               OH           44870
29957890          ERIKA FRONDORF                             Address on file
29957895          ERIKA JONES                                Address on file
IC_028            ERIKA SEARS                                Address on file
29919707          ERIN CALLAHAN                              Address on file
29919717          ERIN FRANCOIS                              Address on file
29919727          ERIN HANSEN                                Address on file
29919739          ERIN JACOBSON                              Address on file
29919757          ERIN MCCLUSKEY                             Address on file
29919771          ERIN OETKER                                Address on file
29919773          ERIN PAISLEY‐STUEBER                       Address on file
30349192          Name on file                               Address on file
29957935          ERMILA GARZA‐O'NEIL                        Address on file
30346769          Name on file                               Address on file
30295537          Ernest, Doreen                             Address on file
30295558          Name on file                               Address on file
30184148          ERNST & YOUNG LLP                          1001 LAKESIDE AVE E                STE 1800                                                                            CLEVELAND              OH           44114‐1166
30351131          ERNST & YOUNG LLP                          950 MAIN AVENUE, SUITE 1800                                                                                            CLEVELAND              OH           44113
30356978          ES                                         4590 62ND AVENUE NORTH                                                                                                 PINELLAS PARK          FL           33781
29919811          ES MANUFACTURING INC                       4590 62ND AVENUE NORTH                                                                                                 PINELLAS PARK          FL           33781
29919812          ESA MANAGEMENT LLC                         PO BOX 841990                                                                                                          DALLAS                 TX           75284‐1990
29919813          ESA OMAHA ‐ WESTESA P PORTFOLIO LLC        9006 BURT STREET NW                                                                                                    OMAHA                  NE           68114

29919814          ESA P PORTFOLIO OPERATING LESSEE LLEXTEN   911 WAKE TOWNE DR                                                                                                      RALEIGH                NC           27609
29919816          Name on file                               Address on file
30197199          ESBROOK P.C.                               ATTN: SCOTT LEONHARDT               1000 N. West Street               Suite 1200                                       Wilmington             DE           19801
29919817          ESCALI                                     3203 CORPORATE CENTER DR. STE 150                                                                                      BURNSVILLE             MN           55306
29919819          ESCAMBIA COUNTY TAX COLLECTOR              MATT LANGLEY BELL III               PO BOX 1312                                                                        PENSACOLA              FL           32596
30207003          Escambia County Tax Collector              PO Box 1312                                                                                                            Pensacola              FL           32591
29919818          ESCAMBIA COUNTY TAX COLLECTOR              PO BOX 1312                                                                                                            PENSACOLA              FL           32596
30397525          Name on file                               Address on file
30354629          Name on file                               Address on file
29919821          ESCONDIDO POLICE DEPT                      ALARMS                              PO BOX 1783                                                                        ESCONDIDO              CA           92033
30335214          Name on file                               Address on file
30335215          Name on file                               Address on file
30396390          Name on file                               Address on file
30209776          ESOPUS LIBRARY                             P.O. BOX 1167                       128 CANAL STREET                                                                   PORT EWEN              NY           12466
30209780          ESPANOLA PUBLIC LIBRARY                    245 AVERY DRIVE                                                                                                        ESPANOLA               ON           P5E 1S4         CANADA
30353687          Name on file                               Address on file
30332444          Name on file                               Address on file
30213445          ESPLANADE AT BUTLER PLAZA, LLC             C/O BUTLER ENTERPRISES              3217 SW 35TH BLVD.                                                                 GAINESVILLE            FL           32608
29919846          ESPN ENTERPRISES INC                       ESPN.COM                            PO BOX 732536                                                                      DALLAS                 TX           75373‐2536
30345204          Name on file                               Address on file
30339404          Name on file                               Address on file
LC_0383           ESRL (Eastern Shore Regional Library)      31901 Tri‐County Way Suite 116B                                                                                        Salisbury              MD           21804
LC_0129           Essex County Library                       360 FAIRVIEW AVENUE WEST                                                                                               Essex                  ON           N8M1Y3          Canada
29919854          Name on file                               Address on file
30209782          ESSEX COUNTY LIBRARY                       360 FAIRVIEW AVENUE WEST            SUITE 101                                                                          ESSEX                  ON           N8M 1Y3         CANADA
                  ESSEX COUNTY, MA COUNTY CONSUMER
30207799          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION ESSEX TOWN HALL                    30 MARTIN ST                                     ESSEX                  MA           01929
30212246          ESTACADA PUBLIC LIBRARY                    825 NW WADE ST                                                                                                         ESTACADA               OR           97023
29919861          ESTEBAN ROMERO                             Address on file
29957948          ESTES EXPRESS LINES                        PO BOX 25612                                                                                                           RICHMOND               VA           23260
30415743          Name on file                               Address on file
30340877          Name on file                               Address on file
30397014          Name on file                               Address on file
30358128          Name on file                               Address on file
30337433          Name on file                               Address on file




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  ADDRESS ID                           NAME                                   ADDRESS 1                            ADDRESS 2                        ADDRESS 3                 ADDRESS 4                      CITY        STATE     POSTAL CODE           COUNTRY
30344188          Estrada, Deanna                              Address on file
30348006          Name on file                                 Address on file
30213233          ETHAN CHRISTOPHER ARIZONA LLC                6750 W. PEORIA AVEENUE, SUITE 110                                                                                          PEORIA                    AZ           85345
30212966          ETHAN HORTON                                 Address on file

29919903          ETHORITY LLC                                 DBA EQUIFAX WORKFORCE SOLUTIONS       4076 PAYSPHERE CIRCLE                                                                CHICAGO                   IL           60674
29919904          ETRADE FINANCIAL CORP SERV                   PO BOX 484                                                                                                                 JERSEY CITY               NJ           07303‐0484
29919905          Name on file                                 Address on file
30399828          Name on file                                 Address on file
30338650          Name on file                                 Address on file
29919909          EUGENE GAUDIO & CONCETTA G.                  DBA C&E WIRELESS REPAIR LLC           16448 W. RIMROCK ST.                                                                 SURPRISE                  AZ           85388
29919912          EUGENE TEXTILES                              1391 ST AMOUR                                                                                                              ST LAURENT                QC           H4S 1T4         CANADA
29919914          EUGENE WATER & ELECTRIC BOARD (EWEB)         PO BOX 35192                                                                                                               SEATTLE                   WA           98124‐5192
29919921          EUGENIA STEPANEK                             Address on file

30350118          Euler Hermes agent for M & Y TRADING CORP.   100 International Dr, 22nd Floor                                                                                           Baltimore                 MD           21201
                  EULER HERMES NORTH AMERICA INSURANCE
30210819          COMPANY                                      100 INTERNATIONAL CIRCLE              22ND FLOOR                                                                           BALTIMORE                 MD           21202
29949512          EUROGRAPHICS INC.                            9105 SALLEY                                                                                                                MONTREAL                  QC           H8R 2C8         CANADA
30211329          EUROGRAPHICS, INC.                           7901 WEST 21ST STREET, SUITE 300                                                                                           INDIANAPOLIS              IN           46214
30331804          Name on file                                 Address on file
29919935          EVA C TROCHE                                 Address on file
30416434          Name on file                                 Address on file
29957978          EVAN HIRSCH                                  Address on file
30397365          Name on file                                 Address on file
30340035          Name on file                                 Address on file
30340922          Name on file                                 Address on file
30398211          Name on file                                 Address on file
30350375          Name on file                                 Address on file
30399845          Name on file                                 Address on file
30261967          Name on file                                 Address on file
30273904          Name on file                                 Address on file
30336688          Name on file                                 Address on file
30340298          Name on file                                 Address on file
30209785          EVANSTON PUBLIC LIBRARY                      1703 ORRINGTON AVENUE                                                                                                      EVANSTON                  IL           60201

30213268          EVANSVILLE ASSOCIATES, LP                    117 E. WASHINGTON STREET, SUITE 300                                                                                        INDIANAPOLIS              IN           46204‐3614
29919971          EVANSVILLE WATER AND SEWER UTILITY           P.O. BOX 19                                                                                                                EVANSVILLE                IN           47740‐0019
29919973          Name on file                                 Address on file

30209788          EVANSVILLE‐VANDERBURGH PUBLIC LIBRARY        200 SE MARTIN LUTHER KING JR BLVD                                                                                          EVANSVILLE                IN           47713
30349405          Name on file                                 Address on file
29920000          EVELYN NORTON                                Address on file
30394614          Name on file                                 Address on file
29920003          EVENDALE TAX DEPARTMENT                      10500 READING RD.                                                                                                          EVENDALE                  OH           45241
30198533          Everest Fashion (Export company)             Khumaltar Height                      Lalitpur‐15                                                                          Lalitpur, 03                           44600           Nepal

30223125          EVEREST INDEMNITY INSURANCE COMPANY          100 EVEREST WAY                                                                                                            WARREN                    NJ           07059

30212666          EVEREST INDEMNITY INSURANCE COMPANY          WARREN CORPORATE CENTER               100 EVEREST WAY                                                                      WARREN                    NJ           07059
30212248          EVERETT PUBLIC LIBRARY                       2702 HOYT AVE                                                                                                              EVERETT                   WA           98201
29920009          Name on file                                 Address on file

30209794          EVERETT ROEHL MARSHFIELD PUBLIC LIBRARY      105 SO. MAPLE AVE.                                                                                                         MARSHFIELD                WI           54449
30349247          Name on file                                 Address on file
29949513          EVERGLORY PRODUCTS CORPORATION               #168, LINYU N. RD                     ZHENHAI                             130                                              NINGBO                                 315207          CHINA
30181365          Everglory Products Corporation               NO.168 Linyu North Rd. Zhenhai        Zhejiang                                                                             Ningbo                                 315207          China
30181360          Everglory Products Corporation               No.168, LinYu North Rd, Zhenhai                                                                                            Ningbo, Zhejiang                       315200          China
29920012          EVERGRACE HOME INC                           5 FLOOR, 2000 PUDONG AVENUE                                                                                                SHANGHAI                               200135          CHINA
29920013          EVERGRACE HOME INC                           23 CASPIAN                                                                                                                 LAKE FOREST               CA           92630
29920014          EVERGREEN SHIPPING AGENCY CORP               16000 DALLAS PKWY #400                                                                                                     DALLAS                    TX           75248
29920015          EVERGY KANSAS CENTRAL/219915/219089          PO BOX 219915                                                                                                              KANSAS CITY               MO           64121‐9915




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                  EVERGY KS MO METRO MO WEST
29920017          219330/219703                                  P.O. BOX 219330                                                                                                               KANSAS CITY                MO           64121‐9330
29920021          Name on file                                   Address on file
29920022          EVERSOURCE ENERGY 660753/56007                 PO BOX 56007                                                                                                                  BOSTON                     MA           02205‐6007
29920024          EVERSOURCE ENERGY/56002                        PO BOX 56002                                                                                                                  BOSTON                     MA           02205‐6002
29952138          EVERSOURCE ENERGY/56003                        EVERSOURCE ENERGY                      300 CADWELL DR.                                                                        SPRINGFIELD                MA           01104‐1742
29920027          EVERSOURCE ENERGY/56003                        PO BOX 56003                                                                                                                  BOSTON                     MA           02205‐6003
29952139          EVERSOURCE ENERGY/56004                        EVERSOURCE ENERGY                      300 CADWELL DR.                                                                        SPRINGFIELD                MA           01104‐1742
29920028          EVERSOURCE ENERGY/56004                        PO BOX 56004                                                                                                                  BOSTON                     MA           02205‐6004
29952140          EVERSOURCE ENERGY/56005                        EVERSOURCE ENERGY                      300 CADWELL DR.                                                                        SPRINGFIELD                MA           01104‐1742
29920029          EVERSOURCE ENERGY/56005                        PO BOX 56005                                                                                                                  BOSTON                     MA           02205‐6005
29952141          EVERSOURCE/55215                               EVERSOURCE                             300 CADWELL DR.                                                                        SPRINGFIELD                MA           01104‐1742
29920032          EVERSOURCE/55215                               PO BOX 55215                                                                                                                  BOSTON                     MA           02205
30223126          EVERSTREAM HOLDING CO LLC                      DBA EVERSTREAM SOLUTIONS LLC           1228 EUCLID AVE #250                                                                   CLEVELAND                  OH           44115
29920033          EVERSTREAM SOLUTIONS LLC.                      1228 EUCLID AVE                        #250                                                                                   CLEVELAND                  OH           44115
30398276          Name on file                                   Address on file
30223127          EVERYDAY JENNY LLC                             3870 W. 8010 S.                                                                                                               WEST JORDAN                UT           84088
30184197          Everything Mary, LLC                           Alisha Louise Cersovsky                3905 Elliot Avenue                                                                     Springdale                 AR           72762
30398419          Name on file                                   Address on file
29920047          EVITA ALEXANDER‐ESTEVES                        Address on file
30211330          EVKM TECHNOLOGIES LLC                          16640 COBALT COURT                                                                                                            CHINO HILLS                CA           91709
                  EVOLUTION CREDIT OPPORTUNITY MASTER
30210820          FUND II‐B, L.P.                                28 STATE STREET                        23RD FLOOR                                                                             BOSTON                     MA           02109
30397857          EVP Auburn, LLC                                Attn: Michael V. Scanio                49 Lexington Street               Suite 5                                              West Newton                MA           02465
30291698          EVP Auburn, LLC                                Attn: Michael V. Scanio                Equity Venture Partners           49 Lexington Street            Suite 5               West Newton                MA           02465
                                                                                                        Amy D. Brown ‐ Attorney for
30397858          EVP Auburn, LLC                                Gellert Seitz Busenkell & Brown, LLC   Claimant                          1201 N. Orange Street          Suite 300             Wilmington                 DE           19801
                  EVP AUBURN, LLC AND 730 CENTER STREET
30213679          REALTY, LLC                                    C/O EVP MANAGEMENT, LLC                49 LEXINGTON STREET, SUITE 5                                                           WEST NEWTON                MA           02465
30354736          Name on file                                   Address on file
29920058          EXCEL HOBBY BLADES CORP.                       481 GETTY AVE                                                                                                                 PATERSON                   NJ           07503

29920059          EXCEL REALTY PARTNERS LP                       ERP MINGO MKTPLACE LLC, BRIXMOR PG PO BOX 645324                                                                              CINCINNATI                 OH           45264‐5324
29920061          Name on file                                   Address on file
29920063          EXETER 2500 N PLAZA LLC                        C/O EQT EXETER                     100 MATSONFORD RD, STE. 250                                                                RADNOR                     PA           19087

29920064          EXETER 2500 N. PLAZA, LLC                      C/O EQT EXETER                         FIVE RADNOR CORPORATE CENTER      100 MATSONFORD RD SUITE 250                          RADNOR                     PA           19087

30210995          EXETER 2500 N. PLAZA, LLC                      C/O EQT EXETER                         FIVE RADNOR CORPORATE CENTER                                                           RADNOR                     PA           19087
30210822          EXETER ROUTE 40 LAND, LLC                      101 WEST ELM STREET                    SUITE 600                                                                              CONSHOHOCKEN               PA           19428
30223128          EXETER ROUTE 40 LAND, LLC                      ATTN: CHIEF FINANCIAL OFFICE           101 WEST ELM STREET               SUITE 600                                            CONSHOHOCKEN               PA           19428
29920066          EXPEDITORS INTERNATIONAL INC                   18029 CLEVELAND PKWY                                                                                                          CLEVELAND                  OH           44135
29920068          EXPEDITORS INT'L SAV                           33 BULL ST STE 405                                                                                                            SAVANNAH                   GA           31401‐3331
29920069          EXPOLANKA USA                                  1975 LINDEN BLVD #200                                                                                                         ELMONT                     NY           11003
30210690          EXPORT DEVELOPMENT CANADA                      150 SLATER STREET                                                                                                             OTTAWA                     ON           K1A 1K3         CANADA
30398373          Name on file                                   Address on file
30353392          Name on file                                   Address on file
30340530          Name on file                                   Address on file
29920082          Name on file                                   Address on file
30223129          F&M TOOL AND PLASTICS INC                      175 PIONEER DR                                                                                                                LEOMINSTER                 MA           01453
                  F.H.S.A. PTY. LTD. T/A STYLE ARC (ABN 46 163
30211611          327 562)                                       SUITE 2.06, 9 11 CLAREMONT ST                                                                                                 SOUTH YARRA, VIC                        3141            AUSTRALIA
30414729          Name on file                                   Address on file
29920089          FABRIC CENTER OF TUSCALOOSA INC                48 TAMARACK RD                                                                                                                COLUMBUS                   MS           39705
29920090          FABRIC MERCHANTS INC                           1430 S GRANDE VISTA AVE                                                                                                       LOS ANGELES                CA           90023
                                                                 ATTN: ELIZABETH TOWEY, CHIEF
29904944          FABRIC TRADITIONS                              EXECUTIVE OFFICER AND PRESIDENT        519 EIGHTH AVENUE, 19TH FL                                                             NEW YORK                   NY           10018
                                                                 ABEDULES 149 SANTA MARIA
30211331          FABRICA DE CINTAS EL ELEFANTE SA DE            INSURGENTES                                                                                                                   MEXICO CITY                             06430           MEXICO
29920092          Name on file                                   Address on file
29920093          FABRIQUE INNOVATIONS INC DBA                   SYKEL ENTERPRISES                      39 W 37TH ST, 14TH FL                                                                  NEW YORK                   NY           10018
29920094          FABRI‐QUILT INC                                901 EAST 14TH AVENUE                                                                                                          NORTH KANSAS CITY          MO           64116
30211332          FABTRENDS USA CORP                             230 W 39TH ST, 4TH FLOOR                                                                                                      NEW YORK                   NY           10018




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30290418          Facchino/LaBarbera Tennant Station, LLC           873 Blossom Hill Road                                                                                                 San Jose                  CA           95123

30213129          FACCHINO/LABARBERA‐TENNANT STATION LLC            C/O TERRACOMMERCIAL MGMT. CORP.    873 BLOSSOM HILL ROAD                                                              SAN JOSE                  CA           95123
30211334          FACILITY CONCEPTS INC                             4881 PERRY WORTH RD.                                                                                                  WHITESTOWN                IN           46075
29920097          FACILITYSOURCE LLC                                PO BOX 846847                                                                                                         LOS ANGELES               CA           90084‐6847

30331603          FacilitySource LLC dba CBRE Retail & Multi‐Site   Attn: Anthony Raveling             2575 East Camelback Road          Suite 500                                        Phoenix                   AZ           85016
29920098          Name on file                                      Address on file
30347013          Name on file                                      Address on file
30348086          Name on file                                      Address on file
30348056          Name on file                                      Address on file
29920099          FAHEEMA CHAUDHURY                                 Address on file
30415047          Name on file                                      Address on file
30340540          Name on file                                      Address on file
30223130          FAINSBERT MASE BROWN & SUSSMAN, LLP               11111 SANTA MONICA BOULEVARD       SUITE 810                                                                          LOS ANGELES               CA           90025
29920101          Name on file                                      Address on file
30209795          FAIR HAVEN PUBLIC LIBRARY                         14426 SOUTH RICHMOND AVE                                                                                              FAIR HAVEN                NY           13064
30210823          FAIR TRADE USA                                    360 GRAND AVENUE                   #311                                                                               OAKLAND                   CA           94610‐4840
30354918          Name on file                                      Address on file
30355295          Name on file                                      Address on file
30355301          Name on file                                      Address on file
29920102          Name on file                                      Address on file
                  FAIRFAX COUNTY, VA COUNTY CONSUMER
30207800          PROTECTION AGENCY                                 ATTN: CONSUMER PROTECTION DIVISION 12000 GOVERNMENT CENTER PKWY STE 433                                               FAIRFAX                   VA           22035
29920104          FAIRFAX WATER ‐ VA                                8570 EXECUTIVE PARK AVE                                                                                               FAIRFAX                   VA           22031
29920103          FAIRFAX WATER ‐ VA                                PO BOX 5008                                                                                                           MERRIFIELD                VA           22116‐5008
                  FAIRFIELD COUNTY, CT COUNTY CONSUMER
30207801          PROTECTION AGENCY                                 ATTN: CONSUMER PROTECTION DIVISION 611 OLD POST ROAD                                                                  FAIRFIELD                 CT           06824
                  FAIRFIELD COUNTY, OH COUNTY CONSUMER
30207802          PROTECTION AGENCY                                 ATTN: CONSUMER PROTECTION DIVISION 224 EAST MAIN ST, 2ND FLOOR                                                        LANCASTER                 OH           43130
29904938          FAIRFIELD PROCESSING                              ATTN: JORDAN YOUNG, PRESIDENT      6432 PRESCOTT AVE                                                                  SAINT LOUIS               MO           63147‐2815
29920107          Name on file                                      Address on file
30209803          FAIRMOUNT COMMUNITY LIBRARY                       406 CHAPEL DRIVE                                                                                                      SYRACUSE                  NY           13219
30212716          FAIRVIEW HEIGHTS PUBLIC LIBRARY                   10017 BUNKUM RD                                                                                                       FAIRVIEW HEIGHTS          IL           62208
29920112          FAIRVIEW HUDSON 15, LLC                           18 COMPUTER DR EAST, STE 201                                                                                          ALBANY                    NY           12205
                                                                                                       728 SHADES CREEK PARKWAY, SUITE
30213074          FAIRWAY‐FALLS, LLC                                C/O FAIRWAY MANAGEMENT GROUP, LLC 200                                                                                 BIRMINGHAM                AL           35209
29920126          FAITH DANGELIS                                    Address on file
IC_099            Faith Hale                                        Address on file
30353523          Name on file                                      Address on file
30397824          Name on file                                      Address on file
30292330          Name on file                                      Address on file
29920166          Name on file                                      Address on file
29920168          FALLS METAL FAB & INDUST SERV LLC                 380 KENNEDY ROAD                                                                                                      AKRON                     OH           44305
29949079          FALLS TOWNSHIP                                    188 LINCOLN HIGHWAY STE 100                                                                                           FAIRLESS HILLS            PA           19030
29920169          FALLS TOWNSHIP POLICE DEPARTMENT                  RECORDS DEPARTMENT                 188 LINCOLN HIGHWAY                                                                FAIRLESS HILLS            PA           19030
30345270          Name on file                                      Address on file
29920170          FALLSWAY EQUIPMENT COMPANY INC                    PO BOX 4537                                                                                                           AKRON                     OH           44310
29920171          FALSE ALARM REDUCTION SECTION                     MONTGOMERY COUNTY POLICE           P.O. BOX 83399                                                                     GAITHERSBURG              MD           20883
29920172          FALSE ALARM REDUCTION UNIT                        ALACHUA COUNTY SHERIFFS OFFICE     PO BOX 5489                                                                        GAINESVILLE               FL           32627
29920173          FALSE ALARM REDUCTION UNIT                        OF PRINCE GEORGE'S COUNTY          PO BOX 715888                                                                      PHILADELPHIA              PA           19171‐5888
30334665          Name on file                                      Address on file
29920176          Name on file                                      Address on file
29920177          FAMILY SEWING                                     4950 WILSON AVE SUITE 70                                                                                              GRANDVILLE                MI           49418
29920178          Name on file                                      Address on file
30209811          FANCY TIGER CRAFTS                                3421 S BROADWAY                                                                                                       ENGLEWOOD                 CO           80113‐2528
IC_141            FANCY TIGER INC                                   DBA FANCY TIGER CRAFTS             59 BROADWAY                                                                        DENVER                    CO           80203
30348026          Name on file                                      Address on file
30357882          Name on file                                      Address on file
30353699          Name on file                                      Address on file
29920181          FAR CHAMPION INTERNATIONAL LIMITED                FLAT/RM D2 18/F TML TOWER          3 HOI SHING ROAD                                                                   TSUEN WAN                              999077          HONG KONG




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                                                            5th Floor, No.48 , LK11B str., Mo Lao
                                                            Urban Area, Mo Lao Community, Ha Dong
30164420          Far Eastern Handicraft JSC‐Vietnam        town                                                                                                                      Hanoi                               10000           Vietnam
29920183          FARADAY PV LLC                            2445 IMPALA DR                                                                                                            CARLSBAD               CA           92010‐7227
29920188          FARELLA BRAUN & MARTEL LLP                235 MONTGOMERY ST., 17TH FL.                                                                                              SAN FRANCISCO          CA           94104
30210825          FARGO PUBLIC LIBRARY                      101 4TH ST N                                                                                                              FARGO                  ND           58102
30212717          FARGO PUBLIC LIBRARY                      102 3RD ST NORTH                                                                                                          FARGO                  ND           58102
30351176          Name on file                              Address on file
30213454          FARIBO WEST MALL, LLC                     6125 BLUE CIRCLE DRIVE                                                                                                    MINNETONKA             MN           55343
29920194          FARIN BLACKBURN                           Address on file
30357961          Name on file                              Address on file
30357103          Name on file                              Address on file
30397044          Name on file                              Address on file
30342417          Name on file                              Address on file
LC_0216           Farmington Area Library District          411 North Lightfoot Road                                                                                                  Farmington             IL           61531‐9601
29920197          Name on file                              Address on file
30212720          FARMINGTON LIBRARIES                      6 MONTEITH DRIVE                                                                                                          FARMINGTON             CT           06032
29920199          Name on file                              Address on file
30337214          Name on file                              Address on file
30353305          Name on file                              Address on file
30334047          Name on file                              Address on file
30262703          Name on file                              Address on file
30338418          Name on file                              Address on file
30340667          Name on file                              Address on file
30262318          Name on file                              Address on file
30349298          Name on file                              Address on file
29920210          Name on file                              Address on file
29920211          FASHION SNOOPS INC                        40 W 51ST STREET #5297                                                                                                    NEW YORK               NY           10020
30211335          FAST FORWARD LLC                          10 W 33RD ST SUITE #705                                                                                                   MANHATTAN              NY           10001
30334211          Name on file                              Address on file
30211336          FASTENERS FOR RETAIL INC                  8181 DARROW ROAD                                                                                                          TWINSBURG              OH           44087
30347266          Name on file                              Address on file
30344417          Name on file                              Address on file
29920218          Name on file                              Address on file
                  FAUQUIER COUNTY, VA COUNTY CONSUMER
30207803          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 10 HOTEL ST                           STE 300                                          WARRENTON              VA           20186
30352714          Name on file                              Address on file
30352713          Name on file                              Address on file
30295065          Faux, Elizabeth                           Address on file
30333218          Faux, Elizabeth                           Address on file
29920231          FAYETTE COUNTY                            140 STONEWALL AVE WEST                                                                                                    FAYETTEVILLE           GA           30214
30210827          FAYETTE COUNTY PUBLIC LIBRARY             828 GRAND AVE.                                                                                                            CONNERSVILLE           IN           47331
                  FAYETTE COUNTY PUBLIC SCHOOLS, FCPS TAX
29920233          COLLECTION OFFICE                         P.O. BOX 55570                                                                                                            LEXINGTON              KY           40555‐5570
29920234          Name on file                              Address on file
                  FAYETTE COUNTY, GA COUNTY CONSUMER
30207804          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 140 STONEWALL AVE WEST                STE 100                                          FAYETTEVILLE           GA           30214
                  FAYETTE COUNTY, PA COUNTY CONSUMER
30207805          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION      61 EAST MAIN ST                                                                   UNIONTOWN              PA           15401
29951457          FAYETTE PAVILION LLC                      14 PAVILION PKWY # 390                                                                                                    FAYETTEVILLE           GA           30214
30213204          FAYETTE PAVILION LLC                      C/O 5RIVERS CRE, LLC                    945 HEIGHTS BLVD.                                                                 HOUSTON                TX           77008
29920237          FAYETTE PAVILION LLC                      PO BOX 931529                                                                                                             ATLANTA                GA           31193
29920238          FAYETTEVILLE PUBLIC WORKS COMMISSION      PO BOX 71113                                                                                                              CHARLOTTE              NC           28272‐1113
30347751          Name on file                              Address on file
30213184          FB FESTIVAL CENTER, LLC                   C/O FILLMORE PROPERTY GROUP, LTD        4145 POWELL ROAD                                                                  POWELL                 OH           43065
30297587          FB Festival Center, LLC                   Fillmore Property Group                 Attn: Ethan Hitch                4145 Powell Rd.                                  Powell                 OH           43065
30343942          Name on file                              Address on file
                                                            ATTN: MARK ALLEN, EXECUTIVE VICE
29904927          FEDERAL EXPRESS CORPORATION               PRESIDENT AND GENERAL COUNSEL           3965 AIRWAYS BLVD E4                                                              MEMPHIS                TN           38116
30212649          FEDERAL INS CO (CHUBB)                    15 MOUNTAINVIEW RD                      P.O. BOX 1615                                                                     WARREN                 NJ           07059
29949795          FEDERAL INS CO (CHUBB) [STREET]           202B HALL'S MILL ROAD                                                                                                     WHITEHOUSE STATION     NJ           08889
30210544          FEDERAL INSURANCE COMPANY                 ONE AMERICAN SQUARE                     202 N ILLINOIS STREET            SUITE 2600                                       INDIANAPOLIS           IN           46282
30213627          FEDERAL REALTY INVESTMENT TRUST           909 ROSE AVENUE, SUITE 200              ATTN: LEGAL DEPARTMENT                                                            NORTH BETHESDA         MD           20852




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                                                                                                                                   Served via first class mail


  ADDRESS ID                           NAME                              ADDRESS 1                           ADDRESS 2                        ADDRESS 3                 ADDRESS 4                      CITY        STATE     POSTAL CODE           COUNTRY
29958044          FEDERAL REALTY INVESTMENT TRUST          PO BOX 8500‐9320                                                                                                         PHILADELPHIA              PA           19178

29951454          FEDERAL REALTY INVESTMENT TRUST‐MERCER   909 ROSE AVENUE                       SUITE 200                                                                          NORTH BETHESDA            MD           20852

29958045          FEDERAL REALTY INVESTMENT TRUST‐MERCER   PO BOX 8500, LOCKBOX 9320                                                                                                PHILADELPHIA              PA           19178‐9320
29958046          Name on file                             Address on file
30337234          Name on file                             Address on file
30351735          Name on file                             Address on file
30358393          Name on file                             Address on file
30350330          Name on file                             Address on file
30337576          Name on file                             Address on file
30353996          Name on file                             Address on file
30337613          Name on file                             Address on file
30385246          Name on file                             Address on file
29920245          FELCOR TRS HOLDINGS LLC                  BHR OPERATIONS LLC                    1355 NORTH HARBOR DR.                                                              SAN DIEGO                 CA           92101
30397289          Name on file                             Address on file
29949515          FELDMAN COMPANY INC                      E 27‐29 MAGALORE STREET               Z05                                                                                MUMBAI                                 400038          INDIA
29920246          FELDMAN COMPANY INC                      241 WEST 37TH ST SUITE 804                                                                                               NEW YORK                  NY           10018
30345589          Name on file                             Address on file
30352746          Name on file                             Address on file
30349784          Name on file                             Address on file
29920259          FELICITI MITTS                           Address on file
29958070          FELIX JONES                              Address on file
30351142          Name on file                             Address on file
30335334          Name on file                             Address on file
29920265          FELLOWES BRANDS                          1789 NORWOOD AVE                                                                                                         ITASCA                    IL           60143
30401536          Name on file                             Address on file
29920267          FEN OYUNCAK VE MUTFAK ESYALARI PAZ.      TIC. LTD. STI. ADA NO:61‐63‐65‐67     ISTOC TICARET MERKEZI 6.                                                           ISTANBUL                               34200           TURKEY
30396287          Name on file                             Address on file
30384738          Name on file                             Address on file
30335539          Name on file                             Address on file
30395589          Name on file                             Address on file
30398379          Name on file                             Address on file
29920268          Name on file                             Address on file
30415129          Name on file                             Address on file
30355688          Name on file                             Address on file
30341036          Name on file                             Address on file
30416596          Name on file                             Address on file
30401127          Name on file                             Address on file
30210828          FERNDALE AREA DISTRICT LIBRARY           222 E. NINE MILE ROAD                                                                                                    FERNDALE                  MI           48220
29967024          Fernwood Capital, LLC                    9469 Haven Avenue, Suite 200                                                                                             Rancho Cucamonga          CA           91730

30213468          FERNWOOD CAPITAL, LLC                    C/O CITY COMMERCIAL MANAGEMENT        9469 HAVEN AVENUE, SUITE 200                                                       RANCHO CUCAMONGA          CA           91729‐0548
30398375          Name on file                             Address on file
30350817          Name on file                             Address on file
30353889          Name on file                             Address on file
30350200          Name on file                             Address on file
30258851          Name on file                             Address on file
30349668          Name on file                             Address on file
29920283          FESTIVAL AT HAMILTON LLC                 1195 RTE 70 STE 2000                                                                                                     LAKEWOOD                  NJ           08701

30213626          FESTIVAL AT HAMILTON, LLC                C/O PARAMOUNT REALTY SERVICES, INC.   1195 ROUTE 70, SUITE 2000                                                          LAKEWOOD                  NJ           08701
29920285          FESTIVAL CENTRE LLC                      DBA THE FESTIVAL AT SAWMILL           PO BOX 09601                                                                       COLUMBUS                  OH           43209
30213088          FESTIVAL PROPERTIES, INC.                1215 GESSNER ROAD                     ATTN: DAN SILVESTRI                                                                HOUSTON                   TX           77055
30335488          Name on file                             Address on file
30340468          Name on file                             Address on file
30211337          FFR MERCHANDISING INC                    DBA SIFFRON                           8181 DARROW RD                                                                     TWINSBURG                 OH           44087
30211339          FHC NEWCO LLC                            FHC MARKETING‐ULTRAMARK               PO BOX 867                                                                         ITASCA                    IL           60143‐0867
29920290          FHOTO FRENZY EVENTS LLC                  3558 LEE RD.                                                                                                             SHAKER HEIGHTS            OH           44120
29920292          FIBRE GLAST DEVELOPMENTS CORP LLC        385 CARR DRIVE                                                                                                           BROOKVILLE                OH           45309
30211340          FIBRIX (ECOM)                            3307 WALDEN AVE                                                                                                          DEPEW                     NY           14043

30211341          FIBRIX LLC                               C/O DALIAN BAIYUN GARMENT             FUXI STREET PIKOU INDUSTRY ZONE 70                                                 DALIAN                                 116000          CHINA




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29920293          FIBRIX LLC                                   3307 WALDEN AVE                                                                                                              DEPEW                     NY           14043
30259582          Fibrix, LLC                                  Patricia Young Bohrer                 1820 Evans Street NE                                                                   Conover                   NC           28613
30284730          Name on file                                 Address on file
30346576          Name on file                                 Address on file
29954004          FID TOTAL BOND FR SEC SUB                    PO BOX 770001                                                                                                                CINCINNATI                OH           45277‐0002
29952534          FIDCAL LLC                                   MARKET EAST ASSOCIATES, LLC           P.O. BOX 650823                                                                        DALLAS                    TX           75265
29952535          FIDCAL LLC                                   RR MKTPLACE ASSO LLC P:629610         PO BOX 850300                                                                          MINNEAPOLIS               MN           55485‐0300

29952536          FIDELIS RETAIL OPPORTUNITY FUND I L          CHIMNEY ROCK RETAIL ASSOCIATES LLC    PO BOX 225527, DEPT 635                                                                DALLAS                    TX           75222‐5527
30211342          FIDELITY VOICE & DATA                        DBA FIDELITY ACCESS NETWORKS          P.O. BOX 932370                                                                        CLEVELAND                 OH           44193
30401762          Name on file                                 Address on file
29952538          Name on file                                 Address on file
30355733          Name on file                                 Address on file
30401916          Name on file                                 Address on file
30223131          FIERCE INC                                   506 SECOND AVE., STE. 1400                                                                                                   SEATTLE                   WA           98104
30351171          Name on file                                 Address on file
29952541          FIG AND FERNITURE LLC                        8555 SW BIRCH ST.                                                                                                            PORTLAND                  OR           97223
29952542          FIGMA INC                                    760 MARKET ST., FL. 10                                                                                                       SAN FRANCISCO             CA           94102
30352738          Name on file                                 Address on file
30353663          Name on file                                 Address on file
30354885          Name on file                                 Address on file
29952544          FINANCE CODE ENFORCEMENT ADMIN               2525 NW 62ND ST., STE. 4312A                                                                                                 MIAMI                     FL           33147
29952545          FINANCE DEPARTMENT SALES TAX                 CITY & BOROUGH OF JUNEAU              155 S SEWARD ST                                                                        JUNEAU                    AK           99801‐1397

29920296          FINANCIAL ACCOUNTING STANDARDS BOAR          PO BOX 418272                                                                                                                BOSTON                    MA           02241
30342150          Name on file                                 Address on file
30415022          Name on file                                 Address on file
29920297          Name on file                                 Address on file
30210829          FINDLAY‐HANCOCK PUBLIC LIBRARY               206 BROADWAY                                                                                                                 FINDLAY                   OH           45840
30398168          Name on file                                 Address on file
30414826          Name on file                                 Address on file
30333401          Name on file                                 Address on file
30210830          FINKELSTEIN MEMORIAL LIBRARY                 24 CHESTNUT STREET                                                                                                           SPRING VALLEY             NY           10977
30332253          Name on file                                 Address on file
30342710          Name on file                                 Address on file
30351077          Name on file                                 Address on file
30393453          Name on file                                 Address on file
30332466          Name on file                                 Address on file
29920313          FIORILLI CONSTRUCTION INC                    1247 MEDINA RD                                                                                                               MEDINA                    OH           44256

30214730          FIORILLI CONSTRUCTION INC                    5145 BRECKSVILLE ROAD #404 AND #405                                                                                          RICHFIELD                 OH           44286
29953060          FIRE SYSTEMS PROFESSIONALS LLC               4110 DEMOREST RD.                                                                                                            GROVE CITY                OH           43123
29949790          FIREMAN’S FUND INSURANCE COMPANY             1 PROGRESS POINT PARKWAY                                                                                                     O'FALLON                  MO           63368

30211634          FIRST AMERICAN TITLE INSURANCE COMPANY       1660 W 2ND ST STE 650                                                                                                        CLEVELAND                 OH           44113‐1419
29953062          FIRST AMERICAN TRUST                         5 FIRST AMER WAY 3RD FL M/S7                                                                                                 SANTA ANA                 CA           92707
                                                                                                     111 SOUTH TEJON STREET, SUITE
30213230          FIRST AND MAIN NORTH, LLC                    C/O NOR'WOOD DEVELOPMENT GROUP        222                                                                                    COLORADO SPRINGS          CO           80903
29953064          Name on file                                 Address on file
29953066          FIRST DATA CORPORATION                       FIRST DATA MERCHANT SERVICES          PO BOX 934057                                                                          ATLANTA                   GA           31193‐4057
29953067          FIRST INSIGHT INC                            2000 ERICSSON DR, STE. 200                                                                                                   WARRENDALE                PA           15086
29953069          Name on file                                 Address on file
30357841          Name on file                                 Address on file
30343936          Name on file                                 Address on file
30342839          Name on file                                 Address on file
30414592          Name on file                                 Address on file
30332344          Name on file                                 Address on file
30344988          Name on file                                 Address on file
30334015          Name on file                                 Address on file
29953071          Name on file                                 Address on file

30213146          FISHER REAL ESTATE PARTNERS (LAKEWOOD), LP C/O GM PROPERTIES                       13305 PENN STREET, SUITE 200                                                           WHITTIER                  CA           90602
30295551          Fisher Real Estate Partners (Lakewood), LP Prince, Attorneys at Law, P.C.          c/o David L. Prince, Esq.        1912 East Vernon Ave.          Ste. 100               Los Angeles               CA           90058




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30401284          Name on file                         Address on file
30354440          Name on file                         Address on file
30336929          Name on file                         Address on file
30342604          Name on file                         Address on file
30348743          Name on file                         Address on file
29920318          FISKARS BRAND INC                    7800 DISCOVERY DRIVE                                                                                                       MIDDLETON              WI           53562
30183252          Fiskars Brands, Inc.                 PO Box 802587                                                                                                              Chicago                IL           60680
30354188          Name on file                         Address on file
30338848          Name on file                         Address on file
29920320          Name on file                         Address on file
29949758          FIVE MILE INVESTMENT CO              C/O FIVE MILE CAPITAL PARTNERS LLC    TWO STAMFORD PLAZA               281 TRESSER BLVD., 10TH FLOOR                       STAMFORD               CT           06901
29920321          FIVE MILE INVESTMENT CO              P.O. BOX 9368                                                                                                              SPOKANE                WA           99209‐9368

29920322          FIVE RIVERS PROPERTY LLC             C/O STAENBERG GROUP INC, DBA TSG      2127 INNERBELT BUS.CTR DR #200                                                       SAINT LOUIS            MO           63114
29920323          FIVES INTRALOGISTICS CORP            4400 COMMERCE CROSS. DR., #101                                                                                             LOUISVILLE             KY           40299
29920324          Name on file                         Address on file
30332334          Name on file                         Address on file
30351664          Name on file                         Address on file
30416512          Flagler S.C. LLC                     Attn: Brian J. McLaughlin             222 Delaware Avenue              Suite 1105                                          Wilmington             DE           19801
30416513          Flagler S.C. LLC                     c/o Kimco Realty Co                   500 North Broadway               Suite 201                                           Jericho                NY           11753

30213064          FLAGLER S.C., LLC                    C/O KIMCO REALTY OP, LLC              500 NORTH BROADWAY, SUITE 201                                                        JERICHO                NY           11753
29920326          FLAGLER SHOPPING CTR LLC             PO BOX 30344                                                                                                               TAMPA                  FL           33630
29920327          Name on file                         Address on file
30347934          Name on file                         Address on file
30386131          Name on file                         Address on file
30399984          Name on file                         Address on file
30415251          Name on file                         Address on file
29954005          FLAPPER+CO FBO FIAM LEVERAGED LOAN   1 IRON ST                                                                                                                  BOSTON                 MA           02110
30212723          FLAT RIVER COMMUNITY LIBRARY         200 W JUDD ST                                                                                                              GREENVILLE             MI           48838
30211343          FLAT RIVER GROUP LLC (ECOM)          306 REED ST                                                                                                                BELDING                MI           48809
30384905          Name on file                         Address on file
29920329          FLATHEAD COUNTY                      800 SO MAIN ST                                                                                                             KALISPELL              MT           59901
30212258          FLATHEAD COUNTY LIBRARY              247 1ST AVE EAST                                                                                                           KALISPELL              MT           59901
IC_118            FLAX & TWINE LLC                     2565 ELM STREET                                                                                                            DENVER                 CO           80207
30358023          Name on file                         Address on file
29920334          Name on file                         Address on file
29920335          Name on file                         Address on file
30396430          Name on file                         Address on file

30210865          FLETCHER HILLS TOWN & COUNTRY        C/O LA JOLLA MANAGEMENT COMPANY       7855 IVANHOE AVENUE, SUITE 333                                                       LA JOLLA               CA           92037
                                                                                             ATTN: JELITA MAYVILLE, SR.
29920337          FLETCHER HILLS TOWN & COUNTRY        C/O LA JOLLA MANAGEMENT COMPANY       PROP.MGR.                        7855 IVANHOE AVENUE, SUITE 333                      LA JOLLA               CA           92037
30207613          FLETCHER HILLS TOWN & COUNTRY        C/O TULLIUS LAW GROUP                 ATTN: JENNIFER R. TULLIUS        515 S. FLOWER ST.                18TH FLOOR         LOS ANGELES            CA           90071
30213630          FLETCHER SQUARE, LLC                 707 VIRGINIA STREET EAST, SUITE 400   ATTN: A. VICTOR MAYS                                                                 CHARLESTON             WV           25301
30344399          Name on file                         Address on file
30351731          Name on file                         Address on file
29920342          Name on file                         Address on file
29920343          Name on file                         Address on file
30332665          Name on file                         Address on file
30332575          Name on file                         Address on file
29920344          FLINT DAVIS                          Address on file
29920345          FLINT EMC                            PO BOX 70878                                                                                                               CHARLOTTE              NC           28272‐0878
30209823          FLINT MEMORIAL LIBRARY               147 PARK STREET                                                                                                            NORTH READING          MA           01864
30344256          Name on file                         Address on file
29920348          FL‐JAC‐SALES TAX                     FLORIDA DEPARTMENT OF REVENUE         PO BOX 5885                                                                          TALLAHASSEE            FL           32314‐5885
29920349          FL‐JAS‐SALES TAX 00001               PO BOX 2096                                                                                                                TALLAHASSEE            FL           32316‐2096
29920353          FLORA BOWLEY DESIGNS                 32180 PITTSBURG RD                                                                                                         SAINT HELENS           OR           97051
29920358          Name on file                         Address on file
30209824          FLORA SHANNON BOWLEY                 Address on file
29920362          Name on file                         Address on file

30213320          FLORENCE (FLORENCE MALL) FMH, LLC    C/O RIVERCREST REALTY ASSOCIATES, LLC 8816 SIX FORKS ROAD, SUITE 201                                                       RALEIGH                NC           27615




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  ADDRESS ID                           NAME                                 ADDRESS 1                           ADDRESS 2                         ADDRESS 3                  ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
29920367          FLORENCE COUNTY TREASURER                   P.O. BOX 100501                                                                                                            FLORENCE               SC           29502‐0501
                  FLORENCE COUNTY, SC COUNTY CONSUMER
30207806          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION     180 N IRBY ST                                                                       FLORENCE               SC           29501
29958086          FLORENCE UTILITIES, AL                      P.O. BOX 877                                                                                                               FLORENCE               AL           35631‐0877
29958089          FLORENCEIN                                  DBA QUALITY INN AND SUITES             1503 VIRGINIA AVENUE                                                                NORTH BEND             OR           97459
30397477          Name on file                                Address on file
30212259          FLORHAM PARK PUBLIC LIBRARY                 107 RIDGEDALE AVE                                                                                                          FLORHAM PARK           NJ           07932
29958092          FLORIDA DEPARTMENT OF REVENUE               5050 WEST TENNESSEE STREET                                                                                                 TALLAHASSEE            FL           32399‐0100
30353048          Florida Department of Revenue               April Long                             Tax Specialist II                 Post Office Box 8045                              Tallahassee            FL           32314
30353047          Florida Department of Revenue               Bankruptcy Unit                        Post Office Box 8045                                                                Tallahassee            FL           32314
30353046          Florida Department of Revenue               Frederick F. Rudzik, Esquire           Post Office Box 6668                                                                Tallahassee            FL           32314
29958093          FLORIDA DEPT AGRI/CONSUMER SVS              BUREAU OF FINANCE & ACCOUNTING         PO BOX 6720                                                                         TALLAHASSEE            FL           32314‐6720
                  FLORIDA DEPT OF AGRICULTURE AND
29949085          CONSUMER SERVICES                           BUREAU OF FINANCE & ACCOUNTING         PO BOX 6720                                                                         TALLAHASSEE            FL           32314‐6720

29958094          FLORIDA DEPT OF FINANCIAL SERV              BUREAU OF UNCLAIMED PROPERTY           200 E. GAINES ST., LARSON BLDG.                                                     TALLAHASSEE            FL           32399

29958095          FLORIDA GOVERNMENTAL UTILITY AUTH ‐ NFM PO BOX 150700                                                                                                                  CAPE CORAL             FL           33915

29958097          FLORIDA SECRETARY OF STATE                  R.A. GRAY BUILDING, 500 S BRONOUGH ST                                                                                      TALLAHASSEE            FL           32399
29920371          Name on file                                Address on file
29920373          Name on file                                Address on file
30286773          Name on file                                Address on file
29920374          FLOYD PEDERSEN                              Address on file
30273568          Name on file                                Address on file
30344250          Name on file                                Address on file
29920378          FM PURSUITS LLC                             I PLAY WITH FIBER                     1130 CAMBRIDGE OAKS DR.                                                              COLUMBIA               SC           29223
29920379          FMH CONVEYORS LLC                           PO BOX 71284                                                                                                               CHICAGO                IL           60694‐1284
29953858          FMR LLC                                     245 SUMMER STREET                                                                                                          BOSTON                 MA           02210
29920380          FOCAL POINT PROCUREMENT SOLUTIONS I         3495 PIEDMONT RD. NE 10‐925                                                                                                ATLANTA                GA           30305
30282958          Name on file                                Address on file
30394692          Name on file                                Address on file
30346986          Name on file                                Address on file
30358156          Name on file                                Address on file
                                                                                                    ATTN: GERALD M. SNEIRSON,
30213290          FOF 1073 LLC                                P.O. BOX 505125                       MANAGER                                                                              CHELSEA                MA           02150
30331635          FOF 1073 LLC                                P.O. Box 505125                                                                                                            Chelsea                MA           02150
30335348          Name on file                                Address on file
29920382          FOGDOG IT LLC                               660 4TH STREET, STE 252                                                                                                    SAN FRANCISCO          CA           94107
30339809          Name on file                                Address on file
30394588          Name on file                                Address on file
30341179          Name on file                                Address on file
30285217          Name on file                                Address on file
30354401          Name on file                                Address on file
30401463          Name on file                                Address on file
30338754          Name on file                                Address on file
30353091          Name on file                                Address on file
30347152          Name on file                                Address on file
30279065          Name on file                                Address on file
30358294          Name on file                                Address on file
                  FOND DU LAC COUNTY, WI COUNTY CONSUMER
30207807          PROTECTION AGENCY                                  ATTN: CONSUMER PROTECTION DIVISION 160 S MACY ST                                                                    FOND DU LAC            WI           54935
30209825          FOND DU LAC PUBLIC LIBRARY                         32 SHEBOYGAN ST.                                                                                                    FOND DU LAC            WI           54935
30395360          Name on file                                       Address on file
30415896          Name on file                                       Address on file
                                                                                                        ONE CORPORATE PLAZA, 2ND
30213531          FOOTHILL‐PACIFIC TOWNE CENTRE                      C/O PACIFIC DEVELOPMENT GROUP II   FLOOR                                                                            NEWPORT BEACH          CA           92660
29920387          FOOTHILL‐PACIFIC TOWNE CENTRE                      PO BOX 3060                                                                                                         NEWPORT BEACH          CA           92658
                  Foothill‐pacific‐towne Center a California general
30338005          partnership                                        Pacific Development Group II       Arne Youngman                  1 Corporate Plaza             Suite 200           Newport Beach          CA           92660
29920389          Name on file                                       Address on file
30348548          Name on file                                       Address on file
30394771          Name on file                                       Address on file




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30337506          Name on file                               Address on file
30340317          Name on file                               Address on file
30212263          FOREST PARK PUBLIC LIBRARY                 7555 JACKSON BLVD                                                                                                    FOREST PARK            IL           60130
30357098          Name on file                               Address on file
30209839          FORK & SPOON PRODUCTIONS                   1760 CESAR CHAVEZ                   SUITE K                                                                          SAN FRANCISCO          CA           94124
30278998          Name on file                               Address on file
29920394          Name on file                               Address on file
30395190          Name on file                               Address on file
30394080          Name on file                               Address on file
29920395          FORSYTH COUNTY                             BUSINESS LICENSE DIVISION           110 EAST MAIN STREET, STE 100                                                    CUMMING                GA           30040
29949087          FORSYTH COUNTY BUSINESS LICENSE            BUSINESS LICENSE DIVISION           110 EAST MAIN STREET, STE 100                                                    CUMMING                GA           30040
29920396          FORSYTH COUNTY FIRE DEPT                   3520 SETTINGDOWN RD.                                                                                                 CUMMING                GA           30040
30357424          FORSYTH COUNTY TAX COLLECTOR               201 N CHESTNUT STREET                                                                                                WINSTON SALEM          NC           27101
29920397          FORSYTH COUNTY TAX COLLECTOR               PO BOX 82                                                                                                            WINSTON SALEM          NC           27102‐0082
29920398          FORSYTH COUNTY TAX COMMIS.                 1092 TRIBBLE GAP RD.                                                                                                 CUMMING                GA           30040
                  FORSYTH COUNTY, GA COUNTY CONSUMER
30207808          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 1092 TRIBBLE GAP RD                                                               CUMMING                GA           30040
30335446          Name on file                               Address on file
30282467          Name on file                               Address on file
30206963          Fort Bend County                           1317 Eugene Heimann Circle                                                                                           Richmond               TX           77469‐3623
29920399          FORT BEND COUNTY                           TAX ASSESSOR COLLECTOR             PO BOX 399                                                                        RICHMOND               TX           77406
                  FORT BEND COUNTY LEVEE IMPROVEMENT
30197247          DISTRICT # 2                               1317 EUGENE HEIMANN CIRCLE                                                                                           RICHMOND               TX           77469

30197271          FORT BEND INDEPENDENT SCHOOL DISTRICT      1317 EUGENE HEIMANN CIRCLE                                                                                           RICHMOND               TX           77469
29920400          FORT COLLINS UTILITIES                     PO BOX 1580                                                                                                          FORT COLLINS           CO           80522‐1580
30209840          FORT ERIE PUBLIC LIBRARY                   136 GILMORE ROAD                                                                                                     FORT ERIE              ON           L2A 2M1         CANADA
29953324          FORT GRATIOT CHARTER TOWNSHIP              3720 KEEWAHDIN ROAD                                                                                                  FORT GRATIOT           MI           48059
30393645          Fort Gratiot Retail, LLC                   24361 GREENFIELD RD                      STE. 201                                                                    SOUTHFIELD             MI           48075
                                                             C/O PROFESSIONAL PROPERTY MGMT CO.,
30210980          FORT GRATIOT RETAIL, LLC                   OF MICHIGAN, INC.                        115 W. BROWN                                                                BIRMINGHAM             MI           48009
                                                             C/O PROFESSIONAL PROPERTY MGMT CO.,
29954222          FORT GRATIOT RETAIL, LLC                   OF MICHIGAN, INC.                        ATTN: ADAM NYMAN           115 W. BROWN                                     BIRMINGHAM             MI           48009
30209845          FORT LEE PUBLIC LIBRARY                    320 MAIN STREET                                                                                                      FORT LEE               NJ           07024
29954224          Name on file                               Address on file
30209846          FORT SASKATCHEWAN PUBLIC LIBRARY           10011 102 ST                                                                                                         FORT SASKATCHEWAN      AB           T8L 2C5         CANADA
                                                             C/O NUNNELEE & WRIGHT COMMERCIAL 3307 OLD GREENWOOD ROAD,
30213511          FORT SMITH MARKETPLACE, LLC                PROPERTIES                               SUITE A                                                                     FORT SMITH             AR           72903
                                                             Jones, Jackson, Moll, McGinnis & Stocks,
30285877          Fort Smith Marketplace, LLC                PLC                                      J Dalton Person            401 North 7th Street                             Fort Smith             AR           72901
29954227          Name on file                               Address on file
30209847          FORT VANCOUVER REGIONAL LIBRARIES          1007 E PLAIN MILL BLVD                                                                                               VANCOUVER              WA           98663
LC_0227           Fort Vancouver Regional Library District   1007 E. Mill Plain Blvd                                                                                              Vancouver              WA           98663‐3504

30209849          FORT VANCOUVER REGIONAL LIBRARY DISTRICT   2018 GRAND BLVD.                                                                                                     VANCOUVER              WA           98661
29954228          FORT WAYNE CITY UTILITIES                  PO BOX 12669                                                                                                         FORT WAYNE             IN           46864‐2669
29954230          FORT WAYNE VIOLATIONS BUREAU               200 E. BARRY ST., STE 110                                                                                            FORT WAYNE             IN           46802
29954231          FORT WORTH WATER DEPARTMENT                PO BOX 961003                                                                                                        FORT WORTH             TX           76161‐0003
30340725          Name on file                               Address on file
30334953          Name on file                               Address on file
29920406          Name on file                               Address on file
                                                             NO. 6 WANHE RD SONGXIA INDUSTRIAL
30223132          FOSHAN UKICRA ELECTRIC CO LTD              ZONE, NANHAI DISTRICT               190                                                                              FOSHAN                              528225          CHINA
30415275          Name on file                               Address on file
30345500          Name on file                               Address on file
29920408          Name on file                               Address on file
30209851          FOSSIL RIDGE PUBLIC LIBRARY DISTRICT       386 W KENNEDY ROAD                                                                                                   BRAIDWOOD              IL           60408
30415831          Name on file                               Address on file
30394135          Name on file                               Address on file
30348943          Name on file                               Address on file
30385832          Name on file                               Address on file
30349249          Name on file                               Address on file
30211345          FOUND DESIGN STUDIO LTD                    2 WHITE POST LANE #505                                                                                               LONDON                              E9 5SZ          UNITED KINGDOM




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  ADDRESS ID                           NAME                               ADDRESS 1                            ADDRESS 2                          ADDRESS 3               ADDRESS 4                       CITY        STATE     POSTAL CODE         COUNTRY
30393682          Name on file                               Address on file
29920412          Name on file                               Address on file
30209853          FOUNTAINDALE PUBLIC LIBRARY DISTRICT       200 W BRIARCLIFF RD                                                                                                      BOLINGBROOK                IL           60440
30209854          FOUNTAINDALE PUBLIC LIBRARY DISTRICT       300 WEST BRIARCLIFF ROAD                                                                                                 BOLINGBROOK                IL           60440
30213295          FOUNTAINS SC, LLC                          814 COMMERCE DRIVE, SUITE 300         ATTN: PROPERTY MANAGEMENT                                                          OAK BROOK                  IL           60523
30296149          Fountains SC, LLC                          814 Commerce Drive, Suite 300         Suite 400                         20th Floor                                       Oak Brook                  IL           60523
30297401          Fountains SC, LLC                          Karen C. Bifferato, Esq.              1201 North Market Street          20th Floor                                       Wilmington                 DE           19801
30297402          Fountains SC, LLC                          Peter Borzak                          1 Tower Lane                      Suite 400                                        Oakbrook Terrace           IL           60181
30213686          FOUR FLAGGS SHOPPING CENTER, LLC           C/O WINBROOK MANAGEMENT, LLC          550 7TH AVENUE, 15TH FLOOR                                                         NEW YORK                   NY           10018
30213592          FOUR J, L.L.C.                             DBA TOPSHAM FAIR MALL                 49 TOPSHAM FAIR MALL ROAD                                                          TOPSHAM                    ME           04086
30397184          Name on file                               Address on file
30344369          Name on file                               Address on file
30344370          Name on file                               Address on file
30355697          Name on file                               Address on file
30338200          Name on file                               Address on file
30212265          FOX LAKE PUBLIC LIBRARY                    117 W STATE ST                                                                                                           FOX LAKE                   WI           53933
30213360          FOX RIVER OWNER, LLC                       C/O TIME EQUITIES, INC.               55 FIFTH AVENUE ‐ 15TH FLOOR                                                       NEW YORK                   NY           10003
29917106          Name on file                               Address on file

30209857          FOX RIVER VALLEY PUBLIC LIBRARY DISTRICT   555 BARRINGTON AVE                                                                                                       EAST DUNDEE                IL           60118
30213440          FOX RUN LIMITED PARTNERSHIP                C/O BRIXMOR PROPERTY GROUP            200 RIDGE PIKE, SUITE 100                                                          CONSHOHOCKEN               PA           19428
30338762          Name on file                               Address on file
30356410          Name on file                               Address on file
30393118          Name on file                               Address on file
30336863          Name on file                               Address on file
29920414          FP MAILING SOLUTIONS                       CMRS‐FP CIN#106001045074              PO BOX 0505                                                                        CAROL STREAM               IL           60132‐0505
29920415          FP MAILING SOLUTIONS R                     PO BOX 157                                                                                                               BEDFORD PARK               IL           60499‐0157

29949823          FPL                                        ATTENTION: DEPOSIT ADMINISTRATION     RRD\LFO DEPOSIT ADMINISTRATION 4200 W. FLAGLER ST.                                 CORAL GABLES               FL           33134
29920417          FPL ‐ FLORIDA POWER & LIGHT COMPANY        GENERAL MAIL FACILITY                 4200 W FLAGLER ST                                                                  MIAMI                      FL           33134
30211592          FPL ‐ FLORIDA POWER & LIGHT COMPANY        GENERAL MAIL FACILITY                                                                                                    MIAMI                      FL           33188‐0001
29920419          FPL NORTHWEST FL                           PO BOX 29090                                                                                                             MIAMI                      FL           33102‐9090
30347928          Name on file                               Address on file
30332350          Name on file                               Address on file
30210831          FRAMEBRIDGE INC.                           655 15TH ST NV                        3RD FLOOR                                                                          WASHINGTON                 DC           20005
                                                             Rm 1902, Easey Comm. Bldg., 253‐261
30167039          Frameunion Industrial Co., Limited         Hennessy Road                                                                                                            Wanchai, Hongkong                       999077          Hong Kong
30351118          Name on file                               Address on file
30392853          Name on file                               Address on file
29953325          FRANCHISE TAX BOARD                        PO BOX 942857                                                                                                            SACRAMENTO                 CA           94257
29920464          FRANCIS MCKENNA                            Address on file
30393094          Name on file                               Address on file
30350245          Name on file                               Address on file
30337312          Name on file                               Address on file
30346739          Name on file                               Address on file
29950127          FRANCISCO BAUTISTA                         Address on file
30346590          Name on file                               Address on file
30358019          Name on file                               Address on file
30347777          Name on file                               Address on file
29950133          Name on file                               Address on file
30212634          FRANK HERNANDEZ                            Address on file
30333511          Name on file                               Address on file
30355580          Name on file                               Address on file
30384946          Name on file                               Address on file
30349167          Name on file                               Address on file
29958108          FRANKIE SIMPSON                            Address on file
29920476          Name on file                               Address on file
30258921          Name on file                               Address on file
29920478          FRANKLIN COUNTY                            PO BOX 5260                                                                                                              FRANKFORT                  KY           40602
29920479          Name on file                               Address on file
29920480          FRANKLIN COUNTY BOARD OF HEALTH            280 E BROAD STREET RM 200                                                                                                COLUMBUS                   OH           43215
29920481          FRANKLIN COUNTY COLLECTOR                  400 EAST LOCUST ROOM 103                                                                                                 UNION                      MO           63084
LC_0229           Franklin County District Public Library    319 Wapping Street                                                                                                       Frankfort                  KY           40601‐2605




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29953329          FRANKLIN COUNTY PUBLIC HEALTH           280 E BROAD STREET RM 200                                                                                            COLUMBUS                OH           43215
                  FRANKLIN COUNTY, MO COUNTY CONSUMER
30207809          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 400 EAST LOCUST?                                                                  UNION                   MO           63084
                  FRANKLIN COUNTY, NY COUNTY CONSUMER
30207810          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 360 WEST MAIN ST                                                                  MALONE                  NY           12953
                  FRANKLIN COUNTY, OH COUNTY CONSUMER
30207811          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 373 S HIGH ST, 23RD FLOOR                                                         COLUMBUS                OH           43215
                  FRANKLIN COUNTY, PA COUNTY CONSUMER
30207812          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 272 NORTH SECOND ST                                                               CHAMBERSBURG            PA           17201
30209858          FRANKLIN LAKES PUBLIC LIBRARY           470 DEKORTE DRIVE                                                                                                    FRANKLIN LAKES          NJ           07417
29920484          Name on file                            Address on file
30209861          FRANKLIN PARK PUBLIC LIBRARY DISTRICT   10311 GRAND AVE                                                                                                      FRANKLIN PARK           IL           60131
29920485          Name on file                            Address on file
30209867          FRANKLIN PUBLIC LIBRARY                 32455 FRANKLIN ROAD                                                                                                  FRANKLIN                MI           48025
29920486          Name on file                            Address on file
30397491          Name on file                            Address on file
30358290          Name on file                            Address on file
30349439          Name on file                            Address on file
30345448          Name on file                            Address on file
29920488          FRANTZ WARD LLP                         200 PUBLIC SQUARE, STE 3000                                                                                          CLEVELAND               OH           44114
30356812          Name on file                            Address on file
30350173          Name on file                            Address on file
30212267          FRASER VALLEY REGIONAL LIBRARY          34589 DELAIR RD                                                                                                      ABBOTSFORD              BC           V2S 5Y1         CANADA
30211346          FRAZIER INDUSTRIAL COMPANY              PO BOX 822106                                                                                                        PHILADELPHIA            PA           19182
30347938          Name on file                            Address on file
30348471          Name on file                            Address on file
29920493          FRED W ALBRECHT GROCERY CO              DBA ACME STORES                    PO BOX 1910                                                                       AKRON                   OH           44309
30395805          Name on file                            Address on file
30415100          Name on file                            Address on file
29920501          FREDERICA KOSS                          Address on file
                  FREDERICK COUNTY SQUARE IMPROVEMENTS,
29920506          LLC                                     C/O DLC MANAGEMENT CORPORATION      ATTN: GENERAL COUNSEL           565 TAXTER ROAD, SUITE 400                       ELMSFORD                NY           10523
                  FREDERICK COUNTY SQUARE IMPROVEMENTS,
30210898          LLC                                     C/O DLC MANAGEMENT CORPORATION      ATTN: GENERAL COUNSEL                                                            ELMSFORD                NY           10523
29953331          FREDERICK COUNTY TREASURER              COUNTY LICENSE TAX                  PO BOX 552                                                                       WINCHESTER              VA           22601
29920507          FREDERICK COUNTY TREASURER              PERSONAL PROPERTY TAX ‐ 511         PO BOX 220                                                                       WINCHESTER              VA           22601
                  FREDERICK COUNTY, MD COUNTY CONSUMER
30207813          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 12 E CHURCH ST                                                                    FREDERICK               MD           21701
29920512          FREDERICK WATER                         PO BOX 1850                                                                                                          WINCHESTER              VA           22604‐8377
30284230          Name on file                            Address on file
30394070          Name on file                            Address on file
29920515          Name on file                            Address on file
30350789          Name on file                            Address on file
LC_0233           Free Lib Of Northampton Twp             25 Upper Holland Road                                                                                                Richboro                PA           18954‐1514

30209868          FREE LIBRARY OF NORTHAMPTON TOWNSHIP    25 UPPER HOLLAND ROAD                                                                                                RICHBORO                PA           18954
29920520          Name on file                            Address on file
                                                          C/O J. LOEW PROPERTY MANAGEMENT,
30213237          FREE RANGE ASHBRIDGE, LLC               INC.                                120 PENNSYLVANIA AVENUE                                                          MALVERN                 PA           19355
30397762          Name on file                            Address on file
30212268          FREEDOM PUBLIC LIBRARY                  38 OLD PORTLAND RD                                                                                                   FREEDOM                 NH           03836
30209870          FREEDOM PUBLIC LIBRARY                  PO BOX 159                                                                                                           FREEDOM                 NH           03836
30349009          FREEDOMPAY INC                          PAUL W BASKOWSKY                    2929 WALNUT ST.                 FLOOR 14                                         PHILADELPHIA            PA           19104
30335400          Name on file                            Address on file
29920526          Name on file                            Address on file
30332950          Name on file                            Address on file
30332619          Name on file                            Address on file
30212269          FREETOWN PUBLIC LIBRARIES               3 NORTH MAIN ST                                                                                                      ASSONET                 MA           02702
30209871          FREETOWN PUBLIC LIBRARIES               6 NORTH MAIN STREET                                                                                                  ASSONET                 MA           02702
                                                                                              1100 SPRINGS STREET NW SUITE
30213345          FREEWAY ASSOCIATES, LLC                 C/O SELIG ENTERPRISES, INC.         550                                                                              ATLANTA                 GA           30309‐2848
30353956          Name on file                            Address on file
30332978          Name on file                            Address on file




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29920530          Name on file                              Address on file
30209873          FREMONT PUBLIC LIBRARY DISTRICT           1004 W. TOLEDO ST.                                                                                                    FREMONT              IN           46737
30209874          FREMONT PUBLIC LIBRARY DISTRICT           1170 N. MIDLOTHIAN RD.                                                                                                MUNDELEIN            IL           60060
29920531          Name on file                              Address on file
30355825          Name on file                              Address on file
30340861          Name on file                              Address on file
30335175          Name on file                              Address on file
30213365          FRESHWATER MZL LLC                        C/O KPR CENTERS, LLC                535 FIFTH AVENUE, 12TH FLOOR                                                      NEW YORK             NY           10017
29920536          FRESNO COUNTY                             AGRICULTURAL COMMISSIONER           1730 SOUTH MAPLE AVE                                                              FRESNO               CA           93702
29920537          FRESNO COUNTY TAX COLLECTOR               PO BOX 1192                                                                                                           FRESNO               CA           93715‐1192
                  FRESNO COUNTY, CA COUNTY CONSUMER
30207814          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 2281 TULARE ST., ROOM 201                                                          FRESNO               CA           93721
29920538          FRESNO OXYGEN                             PO BOX 1666                                                                                                           FRESNO               CA           93717
29920539          Name on file                              Address on file
30262447          Name on file                              Address on file
30340588          Name on file                              Address on file
30393779          Name on file                              Address on file
30346586          Name on file                              Address on file
30347946          Name on file                              Address on file
29920548          Name on file                              Address on file
29920549          Name on file                              Address on file
29920550          FRIENDS OF BREAKTHROUGH SCHOOLS           3615 SUPERIOR AVE., #3103A                                                                                            CLEVELAND            OH           44114
29920551          Name on file                              Address on file

30209875          FRIENDS OF THE NORTHVALE PUBLIC LIBRARY   PO BOX 5                                                                                                              NORTHVALE            NJ           07647
29920552          Name on file                              Address on file
30341100          Name on file                              Address on file
30394449          Name on file                              Address on file
30353399          Name on file                              Address on file
30259962          Name on file                              Address on file
29920553          Name on file                              Address on file
30182696          Frisco Independent School District        c/o Perdue Brandon Fielder Et Al    1919 S. Shiloh Road              Suite 640, LB 40                                 Garland              TX           75042
30401427          Name on file                              Address on file
30355699          Name on file                              Address on file
30345606          Name on file                              Address on file
30345494          Name on file                              Address on file
30397861          Name on file                              Address on file
30337340          Name on file                              Address on file
30358387          Name on file                              Address on file
29920555          FRONTIER                                  401 MERRITT 7                                                                                                         NORWALK              CT           06851
30211347          FRONTIER COMMUNICATIONS                   1919 MCKINNEY AVE                                                                                                     DALLAS               TX           75201
29920556          FRONTIER MALL                             1400 DELL RANGE BLVD                                                                                                  CHEYEENE             WY           82009
                  FRONTIER MALL ASSOCIATES LIMITED
29920557          PARTNERSHIP                               CBL & ASSOCIATES MANAGEMENT, INC.   ATTN: CHIEF LEGAL OFFICER        2030 HAMILTON PLACE BLVD.                        CHATTANOOGA          TN           37421‐6000
                  FRONTIER MALL ASSOCIATES LIMITED
30210934          PARTNERSHIP                               CBL & ASSOCIATES MANAGEMENT, INC.   ATTN: CHIEF LEGAL OFFICER                                                         CHATTANOOGA          TN           37421‐6000
30346499          Name on file                              Address on file
30343846          Name on file                              Address on file
30350735          Name on file                              Address on file
30399653          Name on file                              Address on file
30332153          Name on file                              Address on file
29920558          FRY ROAD M U D                            1111 KATY FREEWAY # 725                                                                                               HOUSTON              TX           77079‐2197
29920559          FRY ROAD MUD                              PO BOX 4728                                                                                                           HOUSTON              TX           77210‐4728
30337027          Name on file                              Address on file
30347286          Name on file                              Address on file
30346920          Name on file                              Address on file
30210832          FUJIFILM NORTH AMERICA CORPORATION        200 SUMMIT LAKE DRIVE                                                                                                 VALHALLA             NY           10595
30339900          Name on file                              Address on file
30357989          Name on file                              Address on file
30340932          Name on file                              Address on file
30396414          Name on file                              Address on file
30401644          Name on file                              Address on file
30338758          Name on file                              Address on file




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30346311          Name on file                                    Address on file
30340458          Name on file                                    Address on file
29920562          FULLERTON ALARM PROGRAM                         DEPT. LA 25484                                                                                                          PASADENA                CA           91185
30401959          Name on file                                    Address on file
30348048          Name on file                                    Address on file

29920564          FULTON COUNTY FINANCE DEPARTMENT, GA            141 PRYOR ST SW                       #7001                                                                             ATLANTA                 GA           30303

29920563          FULTON COUNTY FINANCE DEPARTMENT, GA            PO BOX 105300                                                                                                           ATLANTA                 GA           30348‐5300
LC_0235           Fulton County Library System                    One Margaret Mitchell Square, 6Th F                                                                                     Atlanta                 GA           30303‐1022
29920565          Name on file                                    Address on file
30209878          FULTON COUNTY LIBRARY SYSTEM                    ONE MARGARET MITCHELL SQUARE          101 AUBURN AVENUE                                                                 ATLANTA                 GA           30303
29920566          FULTON COUNTY TAX COMMISSIONER                  141 PRYOR STREET STE 1113                                                                                               ATLANTA                 GA           30303
29920567          FULTON COUNTY TAX COMMISSIONER                  PO BOX 105052                                                                                                           ATLANTA                 GA           30348‐5052
                  FULTON COUNTY, GA COUNTY CONSUMER
30207815          PROTECTION AGENCY                               ATTN: CONSUMER PROTECTION DIVISION 141 PRYOR ST SW                                                                      ATLANTA                 GA           30303
30279190          Name on file                                    Address on file
30351640          Name on file                                    Address on file
30341034          Name on file                                    Address on file
29920568          Name on file                                    Address on file
30352941          Name on file                                    Address on file
30358268          Name on file                                    Address on file
29920569          Name on file                                    Address on file
30354792          Name on file                                    Address on file
30213541          FURNITURE ENTERPRISES OF ALASKA, INC.           940 EAST 38TH AVENUE               ATTN: JOLENE ANDERSON                                                                ANCHORAGE               AK           99503
29920572          FURNITURE INDUSTRIES                            7350 32ND AVE N                                                                                                         MINNEAPOLIS             MN           55427‐2836
30344326          Name on file                                    Address on file
29920573          FUSION LLC                                      210 INTERSTATE NORTH PKWY SE       SUITE 300                                                                            ATLANTA                 GA           30339
29953849          FUSION LLC                                      210 INTERSTATE NORTH PKWY SE                                                                                            ATLANTA                 GA           30339
29920574          Name on file                                    Address on file

30289404          FVR Illinois, LLC fka NADG NNN JFAB (BLO‐IL) LP Wick Phillips Gould & Martin, LLP     Attn: Scott Lawrence             3131 McKinney Ave., Suite 500                    Dallas                  TX           75204
                                                                                                                                         ONE INDEPENDENT DRIVE, SUITE
29920576          FW CA‐POINT LOMA PLAZA, LLC                     REGENCY CENTERS CORPORATION           ATTN: LEASE ADMINISTRATION       114                                              JACKSONVILLE            FL           32202
30210888          FW CA‐POINT LOMA PLAZA, LLC                     REGENCY CENTERS CORPORATION           ATTN: LEASE ADMINISTRATION                                                        JACKSONVILLE            FL           32202

30213106          FW CO‐ARAPAHOE VILLAGE, LLC                     C/O REGENCY CENTERS CORPORATION       ONE INDEPENDENT DR., SUITE 114                                                    JACKSONVILLE            FL           32202
29920578          FW TX WESLYAN PLAZA LP                          DBA WESLAYAN PLAZA EAST & WEST        PO BOX 676137                                                                     DALLAS                  TX           75267
29920580          G & G DEVELOPMENT COMPANY                       35581 KENAI SPUR HIGHWAY                                                                                                SOLDOTNA                AK           99669
30213628          G & G DEVELOPMENT COMPANY                       ATTN: GENE FRIENDSHUH                 35581 KENAI SPUR HIGHWAY                                                          SOLDOTNA                AK           99669
30333604          Name on file                                    Address on file
29920581          G M. BRALEY                                     Address on file
29920582          G NELSON ELECTRIC MOTORS INC                    PO BOX 1359                                                                                                             ALEXANDER CITY          AL           35011
29920583          G&B DIGITAL MANAGEMENT INC                      5410 WILSHIRE BLVD #900                                                                                                 LOS ANGELES             CA           90036

29920585          G&I IX EMPIRE JV DLC LLC                        DLC MGMT CORP, ATTN: TIFFANY PABON 565 TAXTER ROAD                                                                      ELMSFORD                NY           10523
29920584          G&I IX EMPIRE JV DLC LLC                        G&I IX EMP MCKINLEY MILESTRIP      PO BOX 780671                                                                        PHILADELPHIA            PA           19178‐0671

29949775          G&I IX EMPIRE MCKINLEY MILESTRIP CEN LLC        2711 CENTERVILLE RD.                  STE 400                                                                           WILMINGTON              DE           19808‐1645

29920586          G&I IX EMPIRE MCKINLEY MILESTRIP CEN LLC        PO BOX 780671                                                                                                           PHILADELPHIA            PA           19178

30213102          G&I IX PRIMROSE MARKETPLACE LLC                 C/O CHASE PROPERTIES II, LTD.         3333 RICHMOND ROAD, SUITE 320                                                     BEACHWOOD               OH           44122
29949786          G&I VIII RIVERCHASE LLC                         220 EAST 42ND STREET                  27TH FLOOR                                                                        NEW YORK                NY           10017
29920589          G&I VIII RIVERCHASE LLC                         PO BOX 53483                                                                                                            ATLANTA                 GA           30305
29949765          G&I X CENTERPOINT LLC                           2900 WEST ROAD, SUITE 500                                                                                               EAST LANSING            MI           48823

30213292          G&I X CENTERPOINT LLC                           C/O PINE TREE COMMERCIAL REALTY, LLC 814 COMMERCE DRIVE, SUITE 300                                                      OAKBROOK                IL           60523
29920592          G&I X CENTERPOINT LLC                           PO BOX 850003                                                                                                           MINNEAPOLIS             MN           60062
30213061          G. E. PAN AMERICAN PLAZA, LLC                   C/O COLLIERS INTERNATIONAL           5051 JOURNAL CENTER BLVD. NE                                                       ALBUQUERQUE             NM           87109
29920594          G. MCENTURFF                                    Address on file
29958109          G. STRUNA                                       Address on file
30341413          G.A. Export (Thailand) Co., Ltd                 Bangkok Bank P.C.L.                  333 Silom Road                    Bang Rak                                         Bangkok                              10500           Thailand




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30182747          G.A. Export (Thailand) Co., Ltd    Bangkok Bank P.C.L.               333 Silom Road                                                                    Bangkok                            10500           Thailand
30209879          G.A.R. MEMORIAL LIBRARY            490 MAIN STREET                                                                                                     WEST NEWBURY          MA           01985
30213056          G.B. MALL LIMITED PARTNERSHIP      C/O QUANTUM CO.                   4912 DEL RAY AVENUE                                                               BETHESDA              MD           20814
30395983          G.W. Real Estate of Georgia, LLC   Attention to: Helen Zhang         1300 Metropolitan Avenue                                                          Brooklyn              DE           11237
30213167          G.W. REAL ESTATE OF GEORGIA, LLC   GW SUPERMARKET GROUP              1300 METROPOLITAN AVENUE                                                          BROOKLYN              NY           11237
30395984          G.W. Real Estate of Georgia, LLC   Jeffrey Morgan Carbino            Partner/Pierson Ferdinand LLP    112 French Street                                Wilmington            DE           19801
29958115          GA_JAC_SALES 041                   GA DOR SALES & USE TAX DIVISION   PO BOX 105296                                                                     ATLANTA               GA           30348‐5296
30260840          Name on file                       Address on file
30343998          Name on file                       Address on file
29958119          Name on file                       Address on file
30353419          Name on file                       Address on file
29920596          Name on file                       Address on file
29920664          GABRIELLA FRANKINI                 Address on file
29920694          GABRIELLA WILLIAMS                 Address on file
29920711          GABRIELLE E HALL                   Address on file
30332595          Name on file                       Address on file
29920771          GA‐CORP‐INCOME‐JAS                 PO BOX 38067                                                                                                        ATLANTA               GA           30334
29920772          GA‐CORP‐INCOME‐SSC 021             PO BOX 740397                                                                                                       ATLANTA               GA           30374‐0397
30332203          Name on file                       Address on file
30414683          Name on file                       Address on file
30386025          Name on file                       Address on file
30338780          Name on file                       Address on file
30358124          Name on file                       Address on file
30332370          Name on file                       Address on file
30395242          Name on file                       Address on file
30394310          Name on file                       Address on file
29920784          GAHVEJIAN ENTERPRISES, INC.        MID VALLEY PACKAGING & SUPPLY     2004 S. TEMPERANCE PO BOX 96                                                      FOWLER                CA           93625
30332710          Name on file                       Address on file
29920819          GAINESVILLE REGIONAL UTILITIES     P.O. BOX 147051                                                                                                     GAINESVILLE           FL           32614‐7051
30334966          Name on file                       Address on file
29972756          Name on file                       Address on file
30393799          Name on file                       Address on file
30345294          Name on file                       Address on file
30344208          Name on file                       Address on file
29920821          GA‐JAS‐SALES 041                   1800 CENTURY CENTER BLVD                                                                                            ATLANTA               GA           30345
30395384          Name on file                       Address on file
30350279          Name on file                       Address on file
30354229          Name on file                       Address on file
29920823          Name on file                       Address on file
30212271          GALE LIBRARY                       16 S MAIN ST                                                                                                        NEWTON                NH           03858
30209881          GALE LIBRARY                       23 HIGHLAND STREET                                                                                                  HOLDEN                MA           01520
30341111          Name on file                       Address on file
30212272          GALENA PUBLIC LIBRARY              601 S BENCH ST                                                                                                      GALENA                IL           61036
29920832          Name on file                       Address on file
29920833          Name on file                       Address on file
29920834          Name on file                       Address on file
30209883          GALESBURG PUBLIC LIBRARY           40 EAST SIMMONS STREET                                                                                              GALESBURG             IL           61401
30340909          Name on file                       Address on file
30353691          Name on file                       Address on file
30415876          Name on file                       Address on file
30335147          Name on file                       Address on file
30394304          Name on file                       Address on file
29920837          GALLATIN COUNTY TREASURER          311 W MAIN                        ROOM 202                                                                          BOZEMAN               MT           59715
                                                                                       ATTN: STEVE CORNING‐MANAGING
30213111          GALLATIN MALL GROUP, LLC           PO BOX 80510                      MEMBER                                                                            BILLINGS              MT           59108
30385879          Name on file                       Address on file
30211666          Name on file                       Address on file
30211348          GALLOP USA LLC                     4911 MUNSON ST. NW                                                                                                  CANTON                OH           44718
30349147          Name on file                       Address on file
30353221          Name on file                       Address on file
30332480          Name on file                       Address on file
29920840          Name on file                       Address on file
30209884          GANANANOQUE PUBLIC LIBRARY         100 PARK ST                                                                                                         GANANOQUE             ON           K7G 1E6         CANADA




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  ADDRESS ID                           NAME                                   ADDRESS 1              ADDRESS 2                          ADDRESS 3                 ADDRESS 4                     CITY            STATE     POSTAL CODE           COUNTRY
30358032           Name on file                             Address on file
30357843           Name on file                             Address on file
30340663           Name on file                             Address on file
                                                                                           CORPORATE OFFICE 249,
29904953          GANGA ACROWOOLS LIMITED                   ATTN: AMIT THAPAR, PRESIDENT   INDUSTRIAL AREA                                                                    A, LUDHIANA‐3 (PB), PUNJAB                141003          INDIA
30346431          Name on file                              Address on file
30338532          Name on file                              Address on file
30340536          Name on file                              Address on file
30340402          Name on file                              Address on file
30415186          Name on file                              Address on file
30393496          Name on file                              Address on file
30394422          Name on file                              Address on file
30349332          Name on file                              Address on file
30356166          Name on file                              Address on file
30354028          Name on file                              Address on file
30338620          Name on file                              Address on file
30211060          GARDA CL GREAT LAKES INC                  LOCKBOX #233209                201 SCHOFIELD DR                                                                   WHITEHALL                    OH           43213
29920845          GARDA CL GREAT LAKES INC                  LOCKBOX #233209                3209 MOMENTUM PLACE                                                                CHICAGO                      IL           60609
30207334          Garda CL Great Lakes, Inc.                c/o GardaWorld                 Attn: Marcela Lozano              2000 NW Corporate Boulevard                      Boca Raton                   FL           33431
30393670          Name on file                              Address on file
29920846          GARDEN STATE PAVILIONS CENTER LLC         PO BOX 30344                                                                                                      TAMPA                        FL           33630
29949760          GARDEN STATE PAVILIONS CENTER LLC         RT. 70 W & CORNELL AVE.                                                                                           CHERRY HILL                  NJ           08002

30213422          GARDEN STATE PAVILIONS CENTER, L.L.C.     C/O KIMCO REALTY CORPORATION   500 NORTH BROADWAY, SUITE 201                                                      JERICHO                      NY           11753
29920848          GARDINER SERVICE COMPANY                  PO BOX 74805                                                                                                      CLEVELAND                    OH           44194‐0888
30394622          Name on file                              Address on file
30345650          Name on file                              Address on file
30349416          Name on file                              Address on file
30349417          Name on file                              Address on file
30332055          Name on file                              Address on file
30351605          Name on file                              Address on file
30396751          Name on file                              Address on file
30334978          Name on file                              Address on file
30209886          GARFIELD COUNTY LIBRARIES                 207 EAST AVENUE                                                                                                   RIFLE                        CO           81650
LC_0236           Garfield County Public Library District   207 East Avenue                                                                                                   Rifle                        CO           81650
30212276          GARLAND COUNTY LIBRARY                    1427 MALVERN AVENUE                                                                                               HOT SPRINGS                  AR           71901
30346767          Name on file                              Address on file
30346766          Name on file                              Address on file
30346945          Name on file                              Address on file
30342809          Name on file                              Address on file
30393762          Name on file                              Address on file
30353579          Name on file                              Address on file
30350846          Name on file                              Address on file
30415092          Name on file                              Address on file
30394497          Name on file                              Address on file
29920862          GARRISON FOREST ASSOCIATES L.P.           HOOKS VILLAGE                  1233 W MT ROYAL AVE                                                                BALTIMORE                    MD           21217
                  GARRISON FOREST ASSOCIATES LTD.           C/O M. LEO STORCH MANAGEMENT
30213650          PARTNERSHIP                               CORPORATION                    25 HOOKS LANE, SUITE 312                                                           BALTIMORE                    MD           21208
30344448          Name on file                              Address on file
30397359          Name on file                              Address on file
29920867          GARTNER INC                               PO BOX 911319                                                                                                     DALLAS                       TX           75391‐1319
30396402          Name on file                              Address on file
30332229          Name on file                              Address on file
29920869          Name on file                              Address on file
                  GARY BYKER MEMORIAL LIBRARY OF
30209888          HUDSONVILLE                               3338 VAN BUREN ST                                                                                                 HUDSONVILLE                  MI           49426
29920877          Name on file                              Address on file
29920881          GARY PREWITT                              Address on file
29920882          Name on file                              Address on file
30209890          GARY PUBLIC LIBRARY                       220 W. 5TH AVENUE                                                                                                 GARY                         IN           46402
29920887          Name on file                              Address on file
30335358          Name on file                              Address on file
30358003          Name on file                              Address on file




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29920888          GAS SOUTH/530552                          P.O. BOX 530552                                                                                                        ATLANTA                   GA           30353‐0552
30397405          Name on file                              Address on file
30334518          Name on file                              Address on file
30353633          Name on file                              Address on file
30414792          Name on file                              Address on file
29920891          GATEKEEPER SYSTEMS INC                    90 ICON                                                                                                                FOOTHILL RANCH            CA           92610
30340534          Name on file                              Address on file
29920893          Name on file                              Address on file
                                                                                                 450 NEWPORT CENTER DRIVE, SUITE
30213349          GATEWAY FASHION MALL, LLC                 C/O PRIMERO MANAGEMENT, INC.         200                                                                               NEWPORT BEACH             CA           92660
29951452          GATEWAY SHOPPING CENTER                   125 E SWEDESFORD RD.                                                                                                   WAYNE                     PA           19087
29920896          GATEWAY SHOPPING CENTER                   PO BOX 644019                                                                                                          PITTSBURGH                PA           15264‐4019
                                                            C/O CLIFFORD ENTERPRISES PROPERTY
30213667          GATEWAY SQUARE SHOPPING CENTER            MANAGEMENT                           818 W. RIVERSIDE AVE., SUITE 660                                                  SPOKANE                   WA           99201‐0910
29920898          GATHER NO MOSS LTD                        49 UPPER BRIDGE RD.                                                                                                    REDHILL                                RH1 6DE         UNITED KINGDOM
29920899          GATOR SWANSEA PARTNERS LLLP               7850 NW 146TH ST 4TH FL                                                                                                MIAMI LAKES               FL           33016
30396400          Name on file                              Address on file
30353493          Name on file                              Address on file
30213257          GAVORA, INC.                              246 ILLINOIS ST., SUITE 3B           P.O. BOX 70021                                                                    FAIRBANKS                 AK           99707
30331553          Gavora, Inc.                              Matthew Gavora                       PO Box 70021                                                                      Fairbanks                 AK           70021
30331554          Gavora, Inc.                              Matthew Thomas Gavora                1410 S. Cushman St.                Ste 3A                                         Fairbanks                 AK           99701
30337236          Name on file                              Address on file
30337259          Name on file                              Address on file
30356657          Name on file                              Address on file
30333863          Name on file                              Address on file
30223134          GB FUNDING, LLC                           101 HUNTINGTON AVE SUITE 1100                                                                                          BOSTON                    MA           02199
30396178          GB Mall Limited Partnership               4912 Del Ray Avenue                                                                                                    Bethesda                  MD           20814
                  GBR NEIGHBORHOOD ROAD LIMITED LIABILITY
30213641          COMPANY                                   C/O GIBRALTAR MANAGEMENT CO., INC.   150 WHITE PLAINS ROAD, SUITE 400                                                  TARRYTOWN                 NY           10591
                                                            C/O GULF COAST COMMERICAL GROUP,     788 W. SAM HOUSTON PARKWAY
30213358          GC AMBASSADOR ROW, LLC                    INC.                                 NORTH, SUITE 206                                                                  HOUSTON                   TX           77042
29920938          GC LOUISIANA LLC                          GC AMBASSADOR ROW LLC                3501 SW FAIRLAWN RD STE 200                                                       TOPEKA                    KS           66614
29954006          GCE INTERNATIONAL INC                     DAMOU                                LUXI NEW VILLAGE                 130                                              DATENG TOWN, ZHUJI CITY                311801          CHINA
29920940          GCI                                       2550 DENALI ST                       SUITE 1000                                                                        ANCHORAGE                 AK           99503
29953850          GCI                                       2550 DENALI ST                                                                                                         ANCHORAGE                 AK           99503
30414859          Name on file                              Address on file
29920942          Name on file                              Address on file
30353427          Name on file                              Address on file
30354016          Name on file                              Address on file
30331036          Name on file                              Address on file
30358361          Name on file                              Address on file
30332298          Name on file                              Address on file
30394717          Name on file                              Address on file
30354527          Name on file                              Address on file
30279823          Gelli Arts LLC                            810 S. 8th Street                                                                                                      Philadelphia              PA           19147
30399593          Name on file                              Address on file
30213529          GEN3 INVESTMENTS, LLC                     8529 100TH AVENUE                                                                                                      CANADIAN LAKES            MI           49346
30347873          Name on file                              Address on file
29950403          GENERAL PARTS LLC                         11311 HAMPSHIRE AVE. SOUTH                                                                                             BLOOMINGTON               MN           55438
29950404          GENERAL TRANSPORT INC                     PO BOX 7727                                                                                                            AKRON                     OH           44306
29949811          GENERATE ADVISORS LLC                     225 LIBERTY ST, SUITE 4210                                                                                             NEW YORK                  NY           10281
29954007          GENERATE CLO 2 LTD.                       225 LIBERTY ST, SUITE 4210                                                                                             NEW YORK                  NY           10281
29954008          GENERATE CLO 4 LTD.                       225 LIBERTY ST, SUITE 4210                                                                                             NEW YORK                  NY           10281
29954009          GENERATE CLO 5 LTD.                       225 LIBERTY ST, SUITE 4210                                                                                             NEW YORK                  NY           10281
29954010          GENERATE CLO 6 LTD.                       225 LIBERTY ST, SUITE 4210                                                                                             NEW YORK                  NY           10281
29954011          GENERATE CLO 7 LTD.                       225 LIBERTY ST, SUITE 4210                                                                                             NEW YORK                  NY           10281
29954012          GENERATE CLO 8 LTD.                       225 LIBERTY ST, SUITE 4210                                                                                             NEW YORK                  NY           10281
29954013          GENERATE CLO 9 LTD.                       225 LIBERTY ST, SUITE 4210                                                                                             NEW YORK                  NY           10281

29949090          GENESEE COUNTY PUBLIC HEALTH DEPARTMENT 3837 WEST MAIN STREET RD                                                                                                 BATAVIA                   NY           14020
                  GENESEE COUNTY, MI COUNTY CONSUMER
30207816          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 436 S. SAGINAW ST.                                                                    FLINT                     MI           48502
29950406          GENESIS COR                             GENESIS 10 SA                      950 THIRD AVE., 26TH FL                                                               NEW YORK                  NY           10022




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29950407          GENESIS CORP                           GENESIS 10 DH                     PO BOX 95000‐5815                                                                 PHILADELPHIA           PA           19195‐5815
29920956          Name on file                           Address on file
29920957          Name on file                           Address on file
30356179          Name on file                           Address on file
29920974          Name on file                           Address on file
30209892          GENEVA PUBLIC LIBRARY DISTRICT         227 S 7TH ST                                                                                                        GENEVA                 IL           60134
30212277          GENEVA PUBLIC LIBRARY DISTRICT         227 S. SEVENTH ST.                                                                                                  GENEVA                 IL           60134
30341104          Name on file                           Address on file
29920997          Name on file                           Address on file
30209893          GENOA PUBLIC LIBRARY DISTRICT          240 WEST MAIN                                                                                                       STREETGENOA            IL           60135
30399577          Name on file                           Address on file
30212279          GENTRY COUNTY LIBRARY                  304 N PARK ST                                                                                                       STANBERRY              MO           64489
30399732          Name on file                           Address on file
29921002          GEOFFREY EVERTSEN                      Address on file
30339763          Name on file                           Address on file
29921012          GEORGE GENTLE                          Address on file
IC_032            GEORGE K MCCALMAN                      Address on file
29921014          GEORGE K YAMAOKA                       Address on file
29921020          GEORGE P JOHNSON COMPANY               217 2ND STREET                                                                                                      SAN FRANCISCO          CA           94105
30358288          Name on file                           Address on file
30345585          Name on file                           Address on file
30212282          GEORGETOWN PEABODY LIBRARY             2 MAPLE ST                                                                                                          GEORGETOWN             MA           01833
29921030          GEORGIA DEPARTMENT OF REVENUE          1800 CENTURY CENTER BLVD., N.E.                                                                                     ATLANTA                GA           30345

29949385          GEORGIA DEPARTMENT OF REVENUE          UNCLAIMED PROPERTY SECTION        4125 WELCOME ALL ROAD STE 701                                                     ATLANTA                GA           30349
29921031          GEORGIA DEPT OF AGRICULTURE            REDDING BUILDING                  1109 EXPERIMENT ST                                                                GRIFFIN                GA           30223
29921032          GEORGIA DEPT OF LABOR                  148 INTERNATIONAL BLVD NE                                                                                           ATLANTA                GA           30303
29921040          GEORGIA POWER                          96 ANNEX                                                                                                            ATLANTA                GA           30396
29921043          GEORGIA SECRETARY OF STATE             214 STATE CAPITOL                                                                                                   ATLANTA                GA           30334
29921047          Name on file                           Address on file
LC_0119           Georgian Bay Township Public Library   2587 HONEY HARBOUR ROAD                                                                                             Honey Harbour          ON           P0E1E0          Canada
30209895          GEORGIAN BAY TOWNSHIP PUBLIC LIBRARY   2587 HONEY HARBOUR ROAD           P.O. BOX 220                                                                      HONEY HARBOUR          ON           P0E 1E0         CANADA
29921051          Name on file                           Address on file
29921054          Name on file                           Address on file
30209897          GEORGINA PUBLIC LIBRARY                90 WEXFORD DRIVE                                                                                                    KESWICK                ON           L4P 3P7         CANADA
30334041          Name on file                           Address on file
30223135          GERALDINE MARTIN                       Address on file
30211349          GERBER CHILDRENSWEAR LLC               7005 PELHAM RD, SUITE D                                                                                             GREENVILLE             SC           29615
29921072          GERDA KHODOROVSKAYA                    Address on file
                                                                                           CITIBANK N.A ATTN KEITH WHYTE
29954014          GERLACH CO FBO FID INV PORT LLC        399 PARK AVENUE, LEVEL C          VAULT                                                                             NEW YORK               NY           10022
                                                                                           CITIBANK N.A ATTN KEITH WHYTE
29949516          GERLACH CO FBO FIDELITY SALEM ST       399 PARK AVENUE, LEVEL C          VAULT                                                                             NEW YORK               NY           10022
29921078          GERMANTOWN CENTER LLC                  PO BOX 200265                                                                                                       DALLAS                 TX           75320‐0265
30350765          Name on file                           Address on file
30332683          Name on file                           Address on file
29921082          GERRI LEWANDOWSKI                      Address on file
29921088          GERSON COMPANY                         1450 S LONE ELM ROAD                                                                                                OLATHE                 KS           66061
30357088          Name on file                           Address on file
30333778          Name on file                           Address on file
IC_033            Get Messy Art                          HEIDELBERGER STR 14                                                                                                 WAGHAUSEL                           68753           Germany
30353899          Name on file                           Address on file
30415309          Name on file                           Address on file
30345390          Name on file                           Address on file

30213036          GFS REALTY INC.                        8301 PROFESSIONAL PLACE           ATTN: DIRECTOR OF REAL ESTATE                                                     HYATTSVILLE            MD           20785
30399633          Name on file                           Address on file
30167205          GHI Inc.                               Mr. Nick Gupta                    305 Wildberry Court              Suite B1                                         Schaumburg             IL           60193
30396018          Name on file                           Address on file
29921099          GHUN JUNG                              Address on file
30213052          GIA KHANH LLC                          6939 MARIPOSA CIRCLE              ATTN: MANAGING PARTNER                                                            DUBLIN                 CA           94568
30213125          GIACOMINI TRUSTS                       C/O NORTH BAY COMMERCIAL          100 STONY POINT RD. # 250                                                         SANTA ROSA             CA           95401
30393563          Name on file                           Address on file




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29921124          GIANNA PRESTON                      Address on file
29921133          Name on file                        Address on file
30340739          Name on file                        Address on file
30356034          Name on file                        Address on file
30397541          Name on file                        Address on file
30402099          Name on file                        Address on file
30258299          Name on file                        Address on file
30342060          Name on file                        Address on file
29921136          GIBRALTAR MANAGEMENT CO., INC.      150 WHITE PLAINS ROAD                                                                                               TARRYTOWN              NY           10591
30356740          Name on file                        Address on file
30223136          GIBSON DUNN AND CRUTCHER            1050 CONNECTICUT AVENUE NW                                                                                          WASHINGTON             DC           20036
30414620          Name on file                        Address on file
30335689          Name on file                        Address on file
30334297          Name on file                        Address on file
30285224          Name on file                        Address on file
30283730          Name on file                        Address on file
30338646          Name on file                        Address on file
30355984          Name on file                        Address on file
30348636          Name on file                        Address on file
29921140          Name on file                        Address on file
29949093          GILBERT ‐ CUSTOMER SERVICE CENTER   ALARM UNIT                         90 EAST CIVIC CENTER DR                                                          GILBERT                AZ           85296
30385122          Name on file                        Address on file
30396639          Name on file                        Address on file
30347990          Name on file                        Address on file
30354403          Name on file                        Address on file
30358314          Name on file                        Address on file
30334215          Name on file                        Address on file
30261255          Name on file                        Address on file
30212285          GILBREATH MEMORIAL LIBRARY          916 N MAIN ST                                                                                                       WINNSBORO              TX           75494
30354314          Name on file                        Address on file
29904948          GILDAN USA INC                      ATTN: COREY WACHTEL                1980 CLEMENTS FERRY ROAD                                                         CHARLESTON             SC           29492
30224116          Name on file                        Address on file
30209898          GILFORD PUBLIC LIBRARY              1 POTTER HILL ROAD                                                                                                  GILFORD                NH           03249
29921150          Name on file                        Address on file
30350653          Name on file                        Address on file
30385074          Name on file                        Address on file
30354928          Name on file                        Address on file
30340576          Name on file                        Address on file
30335412          Name on file                        Address on file
30333673          Name on file                        Address on file
30354236          Name on file                        Address on file
30332535          Name on file                        Address on file
30256692          Name on file                        Address on file
30349284          Name on file                        Address on file
29921161          Name on file                        Address on file
30354026          Name on file                        Address on file
30353972          Name on file                        Address on file
29921165          GINA ALDRICH                        Address on file
29921171          GINA BISHOP                         Address on file
29921182          GINA GALLINA‐DULING                 Address on file
29921191          Name on file                        Address on file
30416678          Name on file                        Address on file
29921203          GINGHER INC                         7800 DISCOVERY DRIVE                                                                                                MIDDLETON              WI           53562
30332165          Name on file                        Address on file
30283070          Name on file                        Address on file
30385128          Name on file                        Address on file
30394688          Name on file                        Address on file
29958156          Name on file                        Address on file

29958157          GIRL SCOUTS OF THE USA              ATTN: FUND DEVEL., CORBY HERSCHMAN PO BOX 5046                                                                      NEW YORK               NY           10087
30342743          Name on file                        Address on file
29921235          Name on file                        Address on file
VC_014            GitHub                              88 COLIN P KELLY JR ST                                                                                              SAN FRANCISCO          CA           94107




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30345562          Name on file                                    Address on file
30335641          Name on file                                    Address on file
30290229          Name on file                                    Address on file
29921239          GJ FITZGERALD LLC                               3380 CHASE ROAD                                                                                                              ADRIAN                    MI           49221
29921240          GK SOFTWARE USA, INC.                           2518 SW 38TH TRC                                                                                                             CAPE CORAL                FL           33914
29921243          GLADLY SOFTWARE INC                             423 BROADWAY, 503                                                                                                            MILLBRAE                  CA           94030
30209901          GLADYS E. KELLY PUBLIC LIBRARY                  2 LAKE STREET                                                                                                                WEBSTER                   MA           01570
30338478          Name on file                                    Address on file
29951459          GLASGOW ELECTRIC PLANT BOARD                    100 MALLORY DRIVE                                                                                                            GLASGOW                   KY           42141
29921250          GLASGOW ELECTRIC PLANT BOARD                    P.O. BOX 1809                                                                                                                GLASGOW                   KY           42142
29921251          GLASGOW WATER CO.                               P.O. BOX 819                                                                                                                 GLASGOW                   KY           42142
30393783          Name on file                                    Address on file
30396816          Name on file                                    Address on file
                  Glaus, Pyle, Schomer, Burns & DeHaven, Inc. dba
30356746          GPD Group                                       520 S. Main Street                     Suite 2531                                                                            Akron                     OH           44311
29921253          GLAVIN INDUSTRIES INC                           PO BOX 391316                                                                                                                SOLON                     OH           44139
30354869          Name on file                                    Address on file
29921254          GLAZING SYSTEMS INC                             330 TALLMADGE RD., BLDG A                                                                                                    KENT                      OH           44240
29921255          Name on file                                    Address on file

30209902          GLEN CARBON CENTENNIAL LIBRARY DISTRICT           198 S MAIN ST                                                                                                              GLEN CARBON               IL           62034
30209904          GLEN EIRA LIBRARIES                               PO BOX 42                                                                                                                  CAULFIELD SOUTH, VIC                   3163            AUSTRALIA
29921257          Name on file                                      Address on file
30212288          GLEN ELLYN PUBLIC LIBRARY                         400 DUANE STREET                                                                                                           GLEN ELLYN                IL           60137
LC_0249           Glencoe Public Library                            320 Park Avenue, Glencoe, Il 60022                                                                                         Glencoe                   IL           60022‐1526
30209905          GLENCOE PUBLIC LIBRARY                            320 PARK AVENUE                                                                                                            GLENCOE                   IL           60022
30209906          GLENDALE CENTRAL LIBRARY                          222 E HARVARD ST.                                                                                                          GLENDALE                  CA           91205
29921269          Name on file                                      Address on file
30209908          GLENDALE LIBRARY, ARTS & CULTURE                  222 E. HARVARD ST.                                                                                                         GLENDALE                  CA           91205
30348328          Name on file                                      Address on file
30209913          GLENSIDE PUBLIC LIBRARY                           25 E FULLERTON                                                                                                             GLENSIDE                  IL           60139
30209912          GLENSIDE PUBLIC LIBRARY                           25 E FULLERTON AVE                                                                                                         GLENDALE HEIGHTS          IL           60139
29921274          Name on file                                      Address on file
30209918          GLENVIEW PUBLIC LIBRARY                           1930 GLENVIEW ROAD                                                                                                         GLENVIEW                  IL           60025
30209916          GLENVIEW PUBLIC LIBRARY                           930 GLENVIEW RD                                                                                                            GLENVIEW                  IL           60025
30297298          GLL Selection II Florida LP                       Manova Partner                       Brandon Benson                     420 S. Orange Ave.             Suite190            Orlando                   FL           32801
30297297          GLL Selection II Florida LP                       Stiles                               Attn: Kevin Hall, Property Mgr.    201 E. Las Olas Blvd.          Suite 1200          Ft. Lauderdale            FL           33301
30210910          GLL SELECTION II FLORIDA, L.P.                    A C/O MACQUARIE                      420 S. ORANGE AVE., SUITE 190                                                         ORLANDO                   FL           32801

29921279          GLL SELECTION II FLORIDA, L.P.                    A C/O MACQUARIE                      ATTN: BRANDON E. BENSON, PRES. 420 S. ORANGE AVE., SUITE 190                          ORLANDO                   FL           32801
29921280          GLOBAL CLEVELAND                                  1422 EUCLID AVE., #1652                                                                                                    CLEVELAND                 OH           44115
29921282          GLOBAL CREATIVE, INC                              2645 SUZANNE WAY, SUITE 1‐F                                                                                                EUGENE                    OR           97408
30211350          GLOBAL EDGE DESIGN AMERICA INC                    C‐4‐3, C‐DISTRICT, CHICHENG 5 ROAD                                                                                         YANGJIANG                              529932          CHINA
30215361          GLOBAL EDGE DESIGN AMERICA INC                    1985 WEDGEWOOD CIRCLE                                                                                                      ROMEOVILLE                IL           60446
29921283          GLOBAL EQUIPMENT COMPANY                          29833 NETWORK PLACE                                                                                                        CHICAGO                   IL           60673‐1298
29921284          GLOBAL EXECUTIVE SOLUTIONS GRP LLC                3505 EMBASSY PKWY. #200                                                                                                    AKRON                     OH           44333
29921285          GLOBAL EXPERIENCE SPECIALISTS INC                 7000 LINDELL RD.                                                                                                           LAS VEGAS                 NV           89118
29921286          GLOBAL FIXTURE SERVICES INC                       1527 W. STATE HWY 114, #500‐283                                                                                            GRAPEVINE                 TX           76051
29921289          GLOBAL TRANSPORT INC                              BROKERAGE PLUS                       5541 WEST 164TH ST.                                                                   BROOK PARK                OH           44142
29921315          GLORIA MARTINEZ                                   Address on file
30346887          Name on file                                      Address on file
30209919          GLOUCESTER COUNTY LIBRARY SYSTEM                  389 WOLFERT STATION ROAD                                                                                                   MULLICA HILL              NJ           08062
                  GLOUCESTER COUNTY, NJ COUNTY CONSUMER
30207817          PROTECTION AGENCY                                 ATTN: CONSUMER PROTECTION DIVISION   1011 COOPER STREET                                                                    DEPTFORD                  NJ           08096
30340449          Name on file                                      Address on file
29921336          GLOWFORGE INC                                     1938 OCCIDENTAL AVE. S. STE C                                                                                              SEATTLE                   WA           98134
30276327          GLP Flint LLC, Pollack Flint LLC, TJS Flint LLC   Attn: Tracy Munno c/o Mid‐America    One Parkview Plaza                 9th Floor                                          Oakbrook Terrace          IL           60181
30276328          GLP Flint LLC, Pollack Flint LLC, TJS Flint LLC   Karen R. Goodman                     Crane Simon Clar & Goodman         135 S. LaSalle Street          Suite 3950          Chicago                   IL           60603
30213205          GLP FLINT, LLC                                    C/O THEODORE SCHMIDT                 180 E. PEARSON ST., #4305                                                             CHICAGO                   IL           60611

29921340          GLYNN COUNTY BOARD OF COMMISSIONERS               OCCUPATION TAX DIVISION              1725 REYNOLDS STREET STE 300                                                          BRUNSWICK                 GA           31520
29921341          GLYNN COUNTY TAX COMMISSIONER                     PO BOX 1259                                                                                                                BRUNSWICK                 GA           31521




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                  GLYNN COUNTY, GA COUNTY CONSUMER
30207818          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION W HAROLD PATE BLDG              1725 REYNOLDS ST                                 BRUNSWICK              GA           31520
30415241          Name on file                          Address on file
29921343          GMO GLOBALSIGN INC                    TWO INTERNATIONAL DR. STE 150                                                                                       PORTSMOUTH             NH           03801
29921344          GO VENTURES LLC                       269 S. BEVERLY DR., #8                                                                                              BEVERLY HILLS          CA           90212
30344206          Name on file                          Address on file
30341978          Name on file                          Address on file
30358224          Name on file                          Address on file
30349395          Name on file                          Address on file
30336865          Name on file                          Address on file
30338683          Name on file                          Address on file
30347740          Name on file                          Address on file
30338875          Name on file                          Address on file
30209922          GOFFETOWN PUBLIC LIBRAR               102 HIGH STREET                                                                                                     GOFBTOWN               NH           03045
29921345          Name on file                          Address on file
30393785          Name on file                          Address on file
29921348          GOLDEN HEART UTILITIES                3691 CAMERON ST                    #201                                                                             FAIRBANKS              AK           99709
29921347          GOLDEN HEART UTILITIES                P.O. BOX 80370                                                                                                      FAIRBANKS              AK           99708‐0370
                                                                                           800 MT. VERNON HWY NE, SUITE
30213351          GOLDEN ISLES PLAZA, LLC               C/O SKYLINE SEVEN REAL ESTATE      425                                                                              ATLANTA                GA           30328
29972784          Name on file                          Address on file
29921351          GOLDEN STATE WATER CO.                PO BOX 51133                                                                                                        LOS ANGELES            CA           90051‐1133
29954027          GOLDEN VALLEY ELECTRIC ASSOCIATION    P.O. BOX 71249                                                                                                      FAIRBANKS              AK           99707‐1249
30349735          Name on file                          Address on file
29954029          GOLDIE PR LLC                         1704 1/2 GRAFTON ST.                                                                                                LOS ANGELES            CA           90026
29949814          GOLDMAN SACHS ASSET MANAGEMENT        2001 ROSS AVE.                     35TH FLOOR                                                                       DALLAS                 TX           75201
29949517          GOLDMAN SACHS LENDING PARTNERS LLC    2001 ROSS AVE.                     35TH FLOOR                                                                       DALLAS                 TX           75201
29949518          GOLDMAN SACHS TRUST II ‐ GOLDMAN SA   2000 AVENUE OF THE STARS           12TH FLOOR                                                                       LOS ANGELES            CA           90067
30397397          Name on file                          Address on file
30353863          Name on file                          Address on file
29954030          GOLDSTAR IC VE DIS TIC LTD            BOZBURUN MAH.7050 SOKAK NO :3      DENIZLI                                                                          MERKEZEFENDI                        20020           TURKEY
30228885          Name on file                          Address on file
30358262          Name on file                          Address on file
30397644          Name on file                          Address on file
29954031          GOLKOW INC                            A VERITEXT DIVISION                PO BOX 71303                                                                     CHICAGO                IL           60694‐1303
30350022          Name on file                          Address on file
30397173          Name on file                          Address on file
30350345          Name on file                          Address on file
30355338          Name on file                          Address on file
30332703          Name on file                          Address on file
30332704          Name on file                          Address on file
30349118          Name on file                          Address on file
30336649          Name on file                          Address on file
30333553          Name on file                          Address on file
30393151          Name on file                          Address on file
30349334          Name on file                          Address on file
30358373          Name on file                          Address on file
30340737          Name on file                          Address on file
30340432          Name on file                          Address on file
30335583          Name on file                          Address on file
30394399          Name on file                          Address on file
30337278          Name on file                          Address on file
30358154          Name on file                          Address on file
30338252          Name on file                          Address on file
30353529          Name on file                          Address on file
30346996          Name on file                          Address on file
30346990          Name on file                          Address on file
29954034          Name on file                          Address on file
30395194          Name on file                          Address on file
30342805          Name on file                          Address on file
30213336          GOODMEN BIG OAKS, LLC                 C/O TRI INC.                       1071 FALL SPRINGS RD.                                                            COLLIERVILLE           TN           38017
30209923          GOODNIGHT MEMORIAL LIBRARY            203 S. MAIN ST.                                                                                                     FRANKLIN               KY           42134
30209924          GOODNOW LIBRARY                       1 CONCORD RD                                                                                                        SUDBURY                MA           01776




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30209926          GOODNOW LIBRARY                         21 CONCORD ROAD                                                                                                        SUDBURY                MA           01776
30397381          Name on file                            Address on file
29921355          Name on file                            Address on file
30346321          Name on file                            Address on file
30350806          Name on file                            Address on file
VC_002            Google Ads                              DEPT 33654                           PO BOX 39000                                                                      SAN FRANCISCO          CA           94139
30416193          Name on file                            Address on file
29972780          Name on file                            Address on file
30210834          GORDON BROTHERS FUNDING, LLC            PRUDENTIAL TOWER                     800 BOYLSTON STREET               27TH FLOOR                                      BOSTON                 MA           02199

29921357          GORDON BROTHERS HOLDINGS II LLC         GORDON BROTHERS RETAIL PARTNERS LLC 101 HUNTINGTON AVE., 11TH FL.                                                      BOSTON                 MA           02199
30210735          GORDON BROTHERS REALTY SERVICES, LLC    101 HUNTINGTON AVENUE               SUITE 1100                                                                         BOSTON                 MA           02199
29921358          GORDON BROTHERS RETAIL PARTNERS LLC     101 HUNTINGTON AVE, 11TH FL.                                                                                           BOSTON                 MA           02199
                                                          ATTN: RICK EDWARDS; JOSEPH          101 HUNTINGTON STREET, 11TH
29949519          GORDON BROTHERS RETAIL PARTNERS, LLC    MALFITANO; AND DAVID BRAUN          FLOOR                                                                              BOSTON                 MA           02119
29921360          GORDON FOOD SERVICE INC                 1300 GEZON PKWY SW                  PO BOX 2992                                                                        GRAND RAPIDS           MI           49501
29921361          GORDON GREEN EVENTS LLC                 5900 DETROIT AVE.                                                                                                      CLEVELAND              OH           44102
29921363          GORDON SHAFFER                          Address on file
29921364          Name on file                            Address on file
30209927          GORE DISTRICT LIBRARIES                 PO BOX 8                                                                                                               GORE                                9740            NEW ZEALAND
30261681          Gorge Leasing Company                   c/o North Pacific Management, Inc.  Attn: Cindy Schaffer               PO Box 820570                                   Vancouver              WA           98682

30211002          GORGE LEASING COMPANY                   C/O NORTH PACIFIC MANAGEMENT, INC.   P.O. BOX 820570                   7200 NE 41ST STREET, SUITE #100                 VANCOUVER              WA           98662‐5505
                                                                                               P.O. BOX 820570 (7200 NE 41ST
29964966          GORGE LEASING COMPANY                   C/O NORTH PACIFIC MANAGEMENT, INC.   STREET                            SUITE #100 98662)                               VANCOUVER              WA           98662‐5505
30288336          Gorilla Glue Company                    Attn: Sheila Bruce                   2101 E. Kemper Road                                                               Cincinnati             OH           45241
30397548          Name on file                            Address on file
30353587          Name on file                            Address on file
30349066          Name on file                            Address on file
29921366          Name on file                            Address on file
29921367          GOSHEN WATER & SEWER                    P.O. BOX 238                                                                                                           GOSHEN                 IN           46527‐0238
30402029          Name on file                            Address on file
30355665          Name on file                            Address on file
30353982          Name on file                            Address on file
30353983          Name on file                            Address on file
29921369          GOSSI INC                               30255 SOLON INDUSTRIAL PARKWAY                                                                                         SOLON                  OH           44139
30338016          Name on file                            Address on file
30395209          Name on file                            Address on file
30340451          Name on file                            Address on file
30332014          Name on file                            Address on file
30401500          Name on file                            Address on file
29921370          GOURMET HOME PRODUCTS LLC               347 5TH AVENUE SUITE 506                                                                                               NEW YORK               NY           10016
30347323          Name on file                            Address on file
29921372          GOVDOCS INC                             355 RANDOLPH AVE. #200                                                                                                 SAINT PAUL             MN           55102
30340582          Name on file                            Address on file
                  GOVERNOR'S CROSSING 124 HUDSON STREET   GOVERNOR'S CROSSING 124 HUDSON       GOVERNOR'S CROSSING TEI DIV III
30213298          LLC                                     STREET TEI INVESTORS LLC             LLC                                                                               NEW YORK               NY           10003
29964910          GOVERNOR'S CROSSING OWNER LLC           55 5TH AVE.                          FL 15C                                                                            NEW YORK               NY           10003‐4301
29921375          GOVERNOR'S CROSSING OWNER LLC           PO BOX 784045                                                                                                          PHILADELPHIA           PA           19178‐4045

29921376          GOVERNORS SQUARE COMPANY IB             GOVERNORS SQUARE PLAZA AC #136906    PO BOX 7545                                                                       CAROL STREAM           IL           60197‐7545
30213498          GOVERNOR'S SQUARE COMPANY IB            5577 YOUNGSTOWN‐WARREN ROAD          ATTN: LEGAL DEPARTMENT                                                            NILES                  OH           44446
30395863          Name on file                            Address on file
30332647          Name on file                            Address on file
30285773          GP Retail I LLC                         c/o The Gart Companies               240 St. Paul St. #200                                                             Denver                 CO           80203
30210908          GP RETAIL I, LLC ‐ DBA SRV INVESTORS    C/O GART PROPERTIES, LLC             240 ST. PAUL STREET, SUITE 200                                                    DENVER                 CO           80206
29921379          GP RETAIL I, LLC ‐ DBA SRV INVESTORS    C/O GART PROPERTIES, LLC             ATTN: SEAN KIDSTON                240 ST. PAUL STREET, SUITE 200                  DENVER                 CO           80206
30213607          GP‐MILFORD REALTY TRUST                 111 FOUNDERS PLAZA, #301                                                                                               EAST HARTFORD          CT           06108
30332402          Name on file                            Address on file
30351068          Name on file                            Address on file
30209933          GRACE A. DOW MEMORIAL LIBRARY           1710 W. ST. ANDREWS RD                                                                                                 MIDLAND                MI           48640
30209934          GRACE A. DOW MEMORIAL LIBRARY           710 W. ST. ANDREWS RD.                                                                                                 MIDLAND                MI           48640
30212642          GRACE CASTLE                            Address on file




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29958180          GRACE KERR                             Address on file
29921451          GRACE MILLER                           Address on file
29921489          Name on file                           Address on file
29921491          GRACEWOOD MANAGEMENT                   C/O GRACE COMPANY                    2225 S 3200 W                                                                      SALT LAKE CITY           UT           84119
29921492          GRACEWOOD MANAGEMENT INC               GRACE COMPANY                        PO BOX 27823                                                                       SALT LAKE CITY           UT           84127
30211351          GRADUATE PLASTICS INC                  DBA QUANTUM STORAGE SYSTEMS          15800 NW 15th AVENUE                                                               MIAMI                    FL           33169
30345532          Name on file                           Address on file
30398188          Name on file                           Address on file
30395795          Name on file                           Address on file
                  GRAFTON COUNTY, NH COUNTY CONSUMER
30207819          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 3855 DARTMOUTH COLLEGE HWY                                                           NORTH HAVERHILL          NH           03774
30414761          Name on file                           Address on file
30209935          GRAFTON‐MIDVIEW PUBLIC LIBRARY         83 MAIN STREET                                                                                                          GRAFTON                  OH           44044
29921516          Name on file                           Address on file
30210605          GRAHAM & ASSOCIATES                    ATTN: MICHELLE FELSTED             1005 N. DEMAREE STREET                                                               VISALIA                  CA           93291
29921519          Name on file                           Address on file
30386278          Name on file                           Address on file
30337843          Name on file                           Address on file
30397083          Name on file                           Address on file
30342789          Name on file                           Address on file
30393137          Name on file                           Address on file
30336545          Name on file                           Address on file
30259779          Name on file                           Address on file
30393602          Name on file                           Address on file
29921521          Name on file                           Address on file
30258549          Name on file                           Address on file
30416261          Name on file                           Address on file
30353447          Name on file                           Address on file
29921522          Name on file                           Address on file
30209941          GRANBY PUBLIC LIBRARY                  15 NORTH GRANBY ROAD                                                                                                    GRANBY                   CT           06035
30257758          Granby Public Library                  Amber Dawn Wyzik                   9 Harvest Lane                                                                       North Granby             CT           06060
29921524          GRAND CHUTE UTILITIES                  1900 GRAND CHUTE BLVD                                                                                                   GRAND CHUTE              WI           54913‐9613
29921525          GRAND CHUTE UTILITIES                  1900 W GRAND CHUTE BLVD                                                                                                 GRAND CHUTE              WI           54913
30209942          GRAND COUNTY LIBRARY DISTRICT          PO BOX 1050                                                                                                             GRANBY                   CO           80446
                  GRAND FORKS COUNTY, ND COUNTY
30207820          CONSUMER PROTECTION AGENCY             ATTN: CONSUMER PROTECTION DIVISION   151 SOUTH 4TH ST                                                                   GRAND FORKS              ND           58201
30209944          GRAND FORKS LIBRARY                    2110 LIBRARY CIR                                                                                                        GRAND FORKS              ND           58201
30213642          GRAND FORKS LIMITED PARTNERSHIP        2901 CLINT MOORE RD., STE 2‐332      ATTN: WILLIAM SPATZ                                                                BOCA RATON               FL           33480
30212289          GRAND FORKS PUBLIC LIBRARY             2110 LIBRARY CIRCLE                                                                                                     GRAND FORKS              ND           58201
29921530          GRAND FORKS UTILITY BILLING            P.O. BOX 5518                                                                                                           GRAND FORKS              ND           58206
29921532          GRAND HAVEN CUSTOM MOLDING LLC         DBA EFFIZIENT                        1500 S BEECHTREE ST                                                                GRAND HAVEN              MI           49417
29921533          Name on file                           Address on file
30209945          GRAND LEDGE AREA DISTRICT LIBRARY      131 EAST JEFFERSON                                                                                                      GRAND LEDGE              MI           48837
29921535          GRAND PLAZA MANAGEMENT LLC             24025 PARK SORRENTO, STE 300                                                                                            CALABASAS                CA           91302
29921534          GRAND PLAZA MANAGEMENT LLC             5850 CANOGA AVE.                     #650                                                                               WOODLAND HILLS           CA           91367
29921536          Name on file                           Address on file
30209947          GRAND RAPIDS PUBLIC LIBRARY            11 LIBRARY ST NE                                                                                                        GRAND RAPIDS             MI           49503
29921537          Name on file                           Address on file
29921538          Name on file                           Address on file
30209949          GRAND VALLEY PUBLIC LIBRARY            4 AMARANTH ST. E.                                                                                                       GRAND VALLEY             ON           L9W 5L2         CANADA
                                                                                              #2 VILLAGE SQUARE MCDONALD
30209950          GRANISLE PUBLIC LIBRARY                PO BOX 550                           AVE.                                                                               GRANISLE                 BC           V0J 1W0         CANADA
29921540          Name on file                           Address on file
29921541          Name on file                           Address on file
29921542          Name on file                           Address on file
29921543          GRANITE TELECOMMUNICATIONS LLC         100 NEWPORT AVE. EXT.                                                                                                   QUINCY                   MA           02171
29898574          GRANITE TELECOMMUNICATIONS, LLC        ATTN: LEGAL DEPARTMENT               1 HERITAGE DRIVE                                                                   QUINCY                   MA           02171
                                                                                              4400 MACARTHUR BOULEVARD,
30213532          GRANITE VILLAGE WEST, LP               BLACKROCK REALTY ADVISORS            SUITE 700                                                                          NEWPORT BEACH            CA           92660
29921547          GRANT COUNTY PUBLIC UTILITY DISTRICT   312 W 3RD AVE                                                                                                           MOSES LAKE               WA           98837‐1906
29921546          GRANT COUNTY PUBLIC UTILITY DISTRICT   PO BOX 1519                                                                                                             MOSES LAKE               WA           98837
30193092          Grant County Treasurer                 35 C St NW, #204                                                                                                        Ephrata                  WA           98823
30193093          Grant County Treasurer                 Attn: Vicki Ziemer, Revenue Deputy   PO Box 37                                                                          Ephrata                  WA           98823




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29921548          GRANT COUNTY TREASURER                     PO BOX 37                                                                                                              EPHRATA                  WA           98823‐0037
                  GRANT COUNTY, IN COUNTY CONSUMER
30207821          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 401 S ADAMS ST                                                                      MARION                   IN           46953
                  GRANT COUNTY, WA COUNTY CONSUMER
30207822          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 35 C ST NW                         PO BOX 37                                        EPHRATA                  WA           98823
30211354          GRANT THORNTON LLP                         33954 TREASURY CENTER                                                                                                  CHICAGO                  IL           60694‐3900
30338656          Name on file                               Address on file
30296273          Grants Pass Venture, LLC                   Attn: CEO or COO                   2200 Paseo Verde Parkway           Suite 260                                        Henderson                NV           89052

30213392          GRANTS PASS VENTURE, LLC                   C/O GRE MANAGEMENT SERVICES, INC.   3005 DOUGLAS BLVD, SUITE #200                                                      ROSEVILLE                CA           95661
29921556          GRANVILLE ASSOCIATES                       DBA VISION BUSINESS PRODUCTS        PO BOX 643897                                                                      PITTSBURGH               PA           15264‐3897
29921557          GRAPEVINE POLICE DEPT                      RECORDS DIVISION                    1007 IRA E WOODS AVE                                                               GRAPEVINE                TX           76051
30212292          GRAPEVINE PUBLIC LIBRARY                   1201 MUNICIPAL WAY                                                                                                     GRAPEVINE                TX           76051
29921559          GRAPEVINE/COLLEYVILLE AREA                 TAX OFFICE                          3072 MUSTANG DR                                                                    GRAPEVINE                TX           76051
                  Grapevine‐Colleyville Independent School
30182694          District                                   c/o Perdue Brandon Fielder et al    500 East Border St.               Suite 640                                        Arlington                TX           76010
30211355          GRAPHIC COMMUNICATIONS HOLDING INC         DBA GRAPHIC COMMUNICATIONS          PO BOX 933233                                                                      ATLANTA                  GA           31193
30401035          Name on file                               Address on file
30212294          GRAVES COUNTY PUBLIC LIBRARY               601 N 17TH ST                                                                                                          MAYFIELD                 KY           42066
30347290          Name on file                               Address on file
30346317          Name on file                               Address on file
30386267          Name on file                               Address on file
30415884          Gray, Melissa                              Address on file
30394208          Name on file                               Address on file
30332020          Name on file                               Address on file
30386446          Name on file                               Address on file
30358098          Name on file                               Address on file
29921566          Name on file                               Address on file
30209957          GRAYSLAKE AREA PUBLIC LIBRARY DISTRICT     100 LIBRARY LANE                                                                                                       GRAYSLAKE                IL           60030
29921568          GRAYSON COUNTY                             TAX ASSESSOR‐COLLECTOR              PO BOX 2107                                                                        SHERMAN                  TX           75091‐2107
                  GRAYSON COUNTY, TX COUNTY CONSUMER
30207823          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 100 W HOUSTON                                                                       SHERMAN                  TX           75090
29921570          GRAZIELLA YARCUSKO                         Address on file
30356301          Name on file                               Address on file
29921572          GREAT LAKES PETROLEUM CO                   PO BOX 780040                                                                                                          PHILADELPHIA             PA           19178‐0040
29921573          Name on file                               Address on file
29921574          GREAT NORTHERN CORP.                       DBA ROLLGUARD                      PO BOX 8033                                                                         APPLETON                 WI           54912‐8033
29921575          Name on file                               Address on file
30209958          GREAT RIVER REGIONAL LIBRARY               1300 WEST ST. GERMAIN STREET                                                                                           ST. CLOUD                MN           56301
29921576          GREAT WORK EMPLOYMENT SERVICE CO           2034 EAST MARKET STREET                                                                                                AKRON                    OH           44312
29921577          GREATER CLEVELAND SPORTS COMMISSION        334 EUCLID AVENUE                                                                                                      CLEVELAND                OH           44114
29921578          GREATER PEORIA SANITARY DISTRICT           2322 SOUTH DARST STREET                                                                                                PEORIA                   IL           61607‐2093
LC_0212           Greater Sudbury Public Library             74 MACKENZIE STREET                                                                                                    Greater Sudbury          ON           P3C4X8          Canada
30209960          GREATER SUDBURY PUBLIC LIBRARY             74 MACKENZIE STREET                                                                                                    SUDBURY                  ON           P3C 4X8         CANADA
29921580          Name on file                               Address on file
30209965          GREECE PUBLIC LIBRARY                      2 VINCE TOFANY BOULEVARD                                                                                               GREECE                   NY           14612
29921581          GREEN BLUE INSTITUTE                       GREENBLUE                          PO BOX 1114                                                                         CHARLOTTESVILLE          VA           22902
LC_0266           Green Hills Public Library District        10331 South Interlochen Drive                                                                                          Palos Hills              IL           60465‐1773
30209967          GREEN HILLS PUBLIC LIBRARY DISTRICT        10331 S. INTERLOCHEN DRIVE                                                                                             PALOS HILLS              IL           60465
29921583          GREEN MOUNTAIN POWER CORPORATION           P.O. BOX 1611                                                                                                          BRATTLEBORO              VT           05302‐1611
29921585          Name on file                               Address on file
30344049          Name on file                               Address on file
30340420          Name on file                               Address on file
30351028          Name on file                               Address on file
30339904          Name on file                               Address on file
30347057          Name on file                               Address on file
30341056          Name on file                               Address on file
30209969          GREENBURGH PUBLIC LIBRARY                  100 TARRYTOWN ROAD                                                                                                     ELMSFORD                 NY           10523
30209983          GREENBURGH PUBLIC LIBRARY                  300 TARRY TOWN RD                                                                                                      GREENBURGH               NY           10523
30209968          GREENBURGH PUBLIC LIBRARY                  300 TARRYTOWN ROAD                                                                                                     ELMSFORD                 NY           10523
30212295          GREENDALE PUBLIC LIBRARY                   5647 BROAD ST                                                                                                          GREENDALE                WI           53129
29953776          GREENE COUNTY ‐ COLLECTOR OF REVENUE       940 BOONVILLE AVENUE                                                                                                   SPRINGFIELD              MO           65802
29921588          GREENE COUNTY COLLECTOR OF REV             940 BOONVILLE AVENUE                                                                                                   SPRINGFIELD              MO           65802




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  ADDRESS ID                           NAME                            ADDRESS 1                             ADDRESS 2                        ADDRESS 3                 ADDRESS 4                  CITY        STATE     POSTAL CODE        COUNTRY
29921589          Name on file                             Address on file
30209984          GREENE COUNTY PUBLIC LIBRARY             76 E. MARKET                                                                                                             XENIA                 OH           45385
30209985          GREENE COUNTY PUBLIC LIBRARY             76 EAST MARKET STREET                PO BOX 520                                                                          XENIA                 OH           45385
                  GREENE COUNTY, OH COUNTY CONSUMER
30207824          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION   35 GREENE ST                                                                        XENIA                 OH           45385
30357936          Name on file                             Address on file
29921590          GREENFIELD CITY TREASURER                PERSONAL PROPERTY TAX                7325 W FOREST HOME                                                                  GREENFIELD            WI           53220
29921592          GREENFIELD POLICE DEPARTMENT             5300 WEST LAYTON AVE                                                                                                     GREENFIELD            WI           53220
30209986          GREENFIELD PUBLIC LIBRARY                402 MAIN STREET                                                                                                          GREENFIELD            MA           01301
                                                           C/O BONNIE MANAGEMENT
30210904          GREENFIELD, L.P.                         CORPORATION                          1350 E. TOUHY AVENUE, SUITE 360E                                                    DES PLAINES           IL           60018
                                                           C/O BONNIE MANAGEMENT                ATTN: STACEY HANSEN, PROPERTY
29921594          GREENFIELD, L.P.                         CORPORATION                          MGR.‐ EXT 17                     1350 E. TOUHY AVENUE, SUITE 360E                   DES PLAINES           IL           60018
30338850          Name on file                             Address on file
29972781          Name on file                             Address on file
29921595          GREENTEX AMERICA LLC                     KM 9 VIA PEREIRA‐ LA VIRGINIA                                                                                            PEREIRA                            662007          COLOMBIA
30209987          GREENUP COUNTY PUBLIC LIBRARY            508 MAIN STREET                                                                                                          GREENUP               KY           41144
30212301          GREENVILLE COUNTY LIBRARY SYSTEM         25 HERITAGE GREEN PLACE                                                                                                  GREENVILLE            SC           29601
29921598          GREENVILLE COUNTY TAX COLL               DEPT 390                             P.O. BOX 100221                                                                     COLUMBIA              SC           29202‐3221
29921599          GREENVILLE PD FALSE ALARMS               PO BOX 6496                                                                                                              GREENVILLE            SC           29606
30212302          GREENVILLE PUBLIC LIBRARY                573 PUTNAM PIKE                                                                                                          GREENVILLE            RI           02828
29921601          GREENVILLE WATER, SC                     P.O. BOX 687                                                                                                             GREENVILLE            SC           29602‐0687
30339811          Name on file                             Address on file
29921603          Name on file                             Address on file

29921604          GREENWOOD SANITATION DEPT/INDIANAPOLIS   PO BOX 1206                                                                                                              INDIANAPOLIS          IN           46206‐1206
30345059          Name on file                             Address on file
30340964          Name on file                             Address on file
29921611          GREGG I SHAVITZ                          Address on file
29921613          GREGG SEIFERT                            Address on file
30212928          GREGORY BERNARD                          Address on file
30212852          GREGORY BLANCHARD                        Address on file
30393764          Name on file                             Address on file
30211356          GRENADINE APPAREL INC DBA 3 SPROUTS      C/O FTN                              151 GAFFIELD DRIVE                                                                  KIMBALL               MI           48074
30166131          GRESKE, JANET LYNN                       Address on file
29921658          GRETCHEN HIRSCH                          Address on file
29921657          GRETCHEN HIRSCH                          Address on file
29921659          GRETCHEN HIRSCH ROYALTY                  Address on file
29921660          GRETCHEN HIRSCH ROYALTY                  Address on file
30209991          GRETNA PUBLIC LIBRARY                    736 S. ST.                                                                                                               GRETNA                NE           68028
29921672          Name on file                             Address on file
29921678          GREYSTONE POWER CORPORATION (ELEC)       PO BOX 6071                                                                                                              DOUGLASVILLE          GA           30154‐6071
29921681          GRIDTIYA CHOTIWAN                        Address on file
30212933          GRIDTIYA CHOTIWAN                        Address on file
30273985          Name on file                             Address on file
30396769          Name on file                             Address on file
30353645          Name on file                             Address on file
29921682          Name on file                             Address on file
30414808          Name on file                             Address on file
30351828          Name on file                             Address on file
30394737          Name on file                             Address on file
30349276          Name on file                             Address on file
30340623          Name on file                             Address on file
30395487          Name on file                             Address on file
30335579          Name on file                             Address on file
30347996          Name on file                             Address on file
30340619          Name on file                             Address on file
30358054          Name on file                             Address on file
30354808          Name on file                             Address on file
30337973          Name on file                             Address on file
30395480          Name on file                             Address on file
30209996          GRIMES PUBLIC LIBRARY                    200 NE BEAVERBROOKE BLVD                                                                                                 GRIMES                IA           50111
29921687          Name on file                             Address on file




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30345534          Name on file                         Address on file
30256491          Name on file                         Address on file
30395076          Name on file                         Address on file
30276526          Name on file                         Address on file
30341038          Name on file                         Address on file
29921690          GRISELDA ALBARRAN                    Address on file
30290337          Name on file                         Address on file
29921693          GROOM CONSTRUCTION INC               96 SWAMPSCOTT ROAD STE 6                                                                                                     SALEM                   MA           01970‐7004
30337294          Name on file                         Address on file
30332382          Name on file                         Address on file
30394731          Name on file                         Address on file
30414649          Name on file                         Address on file
30209999          GROSSE POINTE PUBLIC LIBRARY         10 KERCHEVAL AVE                                                                                                             GROSSE POINTE FARMS     MI           48236
30210000          GROSSE POINTE PUBLIC LIBRARY         10 KERCHEVAL AVE.                                                                                                            UNITED                  MI           48236
29921694          Name on file                         Address on file
30333845          Name on file                         Address on file
29921695          GROUP FOUR DESIGN STUDIO LTD         17 WHITE HILL ROAD                                                                                                           HILLSDALE               NY           12529
29921696          GROUP PACKARD LLC                    CO FRED CHIKOVSKY                   2300 NW CORP BLVD #141                                                                   BOCA RATON              FL           33431
30263530          Name on file                         Address on file
30332718          Name on file                         Address on file
30354895          Name on file                         Address on file
30386027          Name on file                         Address on file
30356708          Name on file                         Address on file
30415748          Name on file                         Address on file
30397544          Name on file                         Address on file
30397543          Name on file                         Address on file
30354039          Name on file                         Address on file
30396719          Name on file                         Address on file
30350134          Name on file                         Address on file
30332533          Name on file                         Address on file
30355502          Name on file                         Address on file
30338126          Name on file                         Address on file
30223138          GS1 US, INC                          DEPT 781271, PO BOX 78000                                                                                                    DETROIT                 MI           48278

30213289          GSD PRADSAVI COLONIAL COMMONS, LLC   C/O AEM MANAGEMENT SERVICES LLC     35 SOUTH MAIN STREET, PO BOX 2                                                           PEARL RIVER             NY           10965
                                                                                                                             590 SOUTH MARINE CORPS DRIVE,
29964921          GUAM DEPARTMENT OF ADMINISTRATION    FINANCIAL MANAGEMENT DIVISION       UNCLAIMED PROPERTY                SUITE 140                                              TAMUNING                GU           96913
                                                                                           DongShan Lake Modern Industrial
30182711          Guangdong Yiboxuan Ceramics Co Ltd   Attn: Shuxinshe                     Park                              ChaoAn District                                        Chaozhou, Guangdong                  515646          China

30211357          GUANGDONGDONNOTUSE                   WU ZHI QU SOUTH, DONGMEN VILLAGE    190                                                                                      CHAOZHOU                             515646          CHINA
30166716          Guangzhou XY Paper Co., Ltd          Chang Yan                           No. 32 Xinzhuang 2nd Road         Yonghe                          Huangpu District       Guangzhou                            51070           China
30164118          Guangzhou XY Paper Co., Ltd.         No.32 Xinzhuang 2nd Road, Yonghe,   Huangpu District                                                                         Guangzhou                            51070           China
29921721          GUARANTEED DELIVERY SERVICE          PO BOX 42265                                                                                                                 CLEVELAND               OH           44142
29921722          GUARDIAN SAFETY AND SUPPLY LLC       8248 WEST DOE AVE                                                                                                            VISALIA                 CA           93291
29921723          GUARDIAN/011237                      PO BOX 16069                                                                                                                 COLUMBUS                OH           43216‐6069
30346992          Name on file                         Address on file
30347861          Name on file                         Address on file
30332813          Name on file                         Address on file
30280909          Name on file                         Address on file
30344415          Name on file                         Address on file
29921725          GUDRUN DURHAM                        Address on file
29921726          GUDRUN DURHAM                        Address on file
29921727          GUDRUN DURHAM                        Address on file
30210003          GUELPH PUBLIC LIBRARY                100 NORFOLK STREET                                                                                                           GUELPH                  ON           N1H 4J6         CANADA
30395753          Name on file                         Address on file
29921729          Name on file                         Address on file
30354160          Name on file                         Address on file
30357847          Name on file                         Address on file
30340375          Name on file                         Address on file
30210835          GUGGENHEIM SECURITIES, LLC           330 MADISON AVENUE                                                                                                           NEW YORK                NY           10017
30331650          Name on file                         Address on file
30396989          Name on file                         Address on file




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30345611          Name on file                              Address on file
30210005          GUILDERLAND PUBLIC LIBRARY                2228 WESTERN AVENUE                                                                                                             GUILDERLAND                NY           12084
29921733          GUILFORD COUNTY                           TAX COLLECTIONS                          PO BOX 3328                                                                            GREENSBORO                 NC           27402‐3328
29921734          Name on file                              Address on file
30358017          Name on file                              Address on file
30397224          Name on file                              Address on file
                                                                                                                                     PLOT NO. HT 08 LANDHI INDUSTRIAL
29974192          Gul Ahmed Textile Mills Limited           HUMAYUN BASHIR                           GUL AHMED TEXTILE MILLS LIMITED AREA                                                   KARACHI, SINDH                          75120           PAKISTAN

29974191          Gul Ahmed Textile Mills Limited           Unit 8a, Newby Road, Industrial Estate                                                                                          Hazel Grove, Stockport                  SK7 5DA         United Kingdom

29949824          GULF POWER COMPANY AND FLORIDA POWER      NEXTERA ENERGY, INC.                     700 UNIVERSE BLVD.                                                                     JUNO BEACH                 FL           33408

30210700          GULF POWER COMPANY AND FLORIDA POWER      ONE ENERGY PLACE                                                                                                                PENSACOLA                  FL           32520‐0714
30392933          Name on file                              Address on file
30392934          Name on file                              Address on file
30213547          GULSONS RETAIL, LLC                       C/O WATUMULL PROPERTIES CORP.            307 LEWERS ST., 6TH FLOOR                                                              HONOLULU,                  HI           96815
29921744          GUMBERG ASSOC CRANBERRY MALL              C/O LG REALTY ADVISORS INC               141 S. SAINT CLAIR ST., #201                                                           PITTSBURGH                 PA           15206

30213221          GUMBERG ASSOCIATES ‐ CRANBERRY MALL       C/O LG REALTY ADVISORS, INC., AGENT      LIBERTY EAST                                                                           PITTSBURGH                 PA           15206
30297594          Gumberg Associates ‐ Cranberry Mall       GRB Law                                  Brian T. Lindauer                   525 William Penn Place                             Pittsburgh                 PA           15219
30297629          Gumberg Associates ‐ Springfield Square   c/o GRB Law                              Attn: Brian T. Lindauer, Attorney   525 William Penn Place         Suite 3110          Pittsburgh                 PA           15219
                                                                                                                                         SAINT CLAIR STREET, SUITE
29964964          GUMBERG ASSOCIATES ‐ SPRINGFIELD SQUARE   C/O LG REALTY ADVISORS, INC., AGENT      LIBERTY EAST, 141 SOUTH             201SAINT CLAIR ST              SUITE 201           PITTSBURGH                 PA           15206
                                                                                                     LIBERTY EAST, 141 SOUTH SAINT
30211007          GUMBERG ASSOCIATES ‐ SPRINGFIELD SQUARE   C/O LG REALTY ADVISORS, INC., AGENT      CLAIR STREET                SUITE 201                                                  PITTSBURGH                 PA           15206
30262832          Name on file                              Address on file
30338059          Name on file                              Address on file
29921747          GUMP CROY                                 Address on file
30414574          Name on file                              Address on file
30394765          Name on file                              Address on file
30401461          Name on file                              Address on file
30212303          GUNNISON COUNTY LIBRARY DISTRICT          1 QUARTZ STREET                                                                                                                 GUNNISON                   CO           81230
29921748          Name on file                              Address on file
30332472          Name on file                              Address on file
30336645          Name on file                              Address on file
30416304          Name on file                              Address on file
29921749          Name on file                              Address on file
30340942          Name on file                              Address on file
30354008          Name on file                              Address on file
30355982          Name on file                              Address on file
30336714          Name on file                              Address on file
30345061          Name on file                              Address on file
30333730          Name on file                              Address on file
30415125          Name on file                              Address on file
30416591          Name on file                              Address on file
30338157          Name on file                              Address on file
30397194          Name on file                              Address on file
30340978          Name on file                              Address on file
30393197          Name on file                              Address on file
30398209          Name on file                              Address on file
30335179          Name on file                              Address on file
30292706          Name on file                              Address on file
30340731          Name on file                              Address on file
29921754          GVD COMMERCIAL PROPERTIES INC             1915‐A E KATELLA AVE                                                                                                            ORANGE                     CA           92867
30337255          GVD COMMERCIAL PROPERTIES INC             Stephen W. Spence                    1413 Savannah Rd., Ste. 1                                                                  Lewes                      DE           19958
30213530          GVD COMMERCIAL PROPERTIES, INC.           1915‐A E. KATELLA AVENUE             ATTN: PRESIDENT                                                                            ORANGE                     CA           92867
29921755          GVD COMMERCIAL PROPERTIES, INC.           ATTN: PRESIDENT                      1915‐A E. KATELLA AVENUE                                                                   ORANGE                     CA           92867
29921757          GWBC LP                                   TN INVESTMENTS GROUP LLC             17220 NEWHOPE ST. #207                                                                     FOUNTAIN VALLEY            CA           92708
                                                            ATTN: CAREY EDWARDS, CHIEF EXECUTIVE
29904929          GWEN STUDIOS                              OFFICER                              1377 BROADCLOTH STREET, STE 202                                                            FORT MILL                  SC           29715‐4509
29954058          GWEN STUDIOS LLC                          1377 BROADCLOTH STREET, SUITE 202                                                                                               FORT MILL                  SC           29715
30296103          Gwen Studios LLC                          Jennifer Hoover, Esq.                1313 N. Market Street           Suite 1201                                                 Wilmington                 DE           19801




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30353089          Name on file                                 Address on file
30356718          Name on file                                 Address on file
29921776          GWINNETT CO WATER RESOURCES                  PO BOX 105023                                                                                                             ATLANTA                GA           30348‐5023
29921778          GWINNETT COUNTY                              PO BOX 1045                                                                                                               LAWRENCEVILLE          GA           30046
                  GWINNETT COUNTY ‐ DEPT PLANNING AND
29953781          DEVELOPMENT                                  PO BOX 1045                                                                                                               LAWRENCEVILLE          GA           30046
29921779          GWINNETT COUNTY TAX COMMISSION               PO BOX 372                                                                                                                LAWRENCEVILLE          GA           30246
                  GWINNETT COUNTY, GA COUNTY CONSUMER
30207825          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION    75 LANGLEY DR                                                                       LAWRENCEVILLE          GA           30046
29921788          GXO LOGISTICS SUPPLY CHAIN INC               4043 PIEDMONT PARKWAY                                                                                                     HIGH POINT             NC           27265
29952583          H & E STEEL                                  WELDING & INDUSTRIAL SUPPLY LLC       1201 FIRST AVE BLDG 2                                                               OPELIKA                AL           36801
29952584          H & J INC                                    BEST WESTERN COEUR D' ALENE INN       506 W. APPLEWAY AVE                                                                 COEUR D ALENE          ID           83814
30211359          H J MARTIN AND SON INC                       PO BOX 11387                                                                                                              GREEN BAY              WI           54307‐1387
                                                               ATTN: LORRAINE MABERRY, SENIOR VICE
29904933          H&H ASIA LTD                                 PRESIDENT                             27F NO 4013 SHENNAN ROAD                                                            SHENZHEN                            518026          CHINA
30211361          H&L MECHANICAL LLC                           221 LOWELL ALLEN RD.                                                                                                      WACO                   GA           30182
29952586          H. GUERRERO                                  Address on file
29952587          H. HATFIELD                                  Address on file
29952588          H. LEWIS                                     Address on file
29952589          H. NEILSEN                                   Address on file
29952590          H. OTTO                                      Address on file
29952591          Name on file                                 Address on file
29953784          HAB‐BPT                                      901 ENTERPRISE STREET                                                                                                     DICKSON CITY           PA           18519
29921791          HAB‐BPT                                      PO BOX 21810                                                                                                              LEHIGH VALLEY          PA           18002‐1810
30342779          Name on file                                 Address on file
30351056          Name on file                                 Address on file
30210008          HACKLEY PUBLIC LIBRARY                       316 W. WEBSTER AVE.                                                                                                       MUSKEGON               MI           49440
30210013          HADDONFIELD PUBLIC LIBRARY                   60 HADDON AVENUE                                                                                                          HADDONFIELD            NJ           08033
30414765          Name on file                                 Address on file
30357884          Name on file                                 Address on file
30396428          Name on file                                 Address on file
30344367          Name on file                                 Address on file
30350012          Name on file                                 Address on file
30277001          Name on file                                 Address on file
29921806          Name on file                                 Address on file
30184150          HAHN LOESER & PARKS LLP                      00 PUBLIC SQUARE, SUITE 2800                                                                                              CLEVELAND              OH           44114
30211612          HAHN LOESER & PARKS LLP                      200 PUBLIC SQUARE                     SUITE 2800                                                                          CLEVELAND              OH           44114
30332817          Name on file                                 Address on file
29921846          HAILEY KING‐JENKINS                          Address on file
29921847          HAILEY KING‐JENKINS                          Address on file
30333547          Name on file                                 Address on file
30348575          Name on file                                 Address on file
30393773          Name on file                                 Address on file
30211159          HAJOCA CORPORATION                           HAINES JONES & CADBURY                2706 SE OTIS CORLEY DR             SUITE 6                                          BENTONVILLE            AR           72712
29921893          HAJOCA CORPORATION                           HAINES JONES & CADBURY                310 SW 24TH ST                                                                      BENTONVILLE            AR           72712
30401695          Name on file                                 Address on file
30337783          Name on file                                 Address on file
30332605          Name on file                                 Address on file
29921916          HALEY HERMAN                                 Address on file
30212950          HALEY RAINES                                 Address on file
30332581          Name on file                                 Address on file
29921948          Name on file                                 Address on file
LC_0273           Half Hollow Hills Community Public Library   600 South Service Road                                                                                                    Dix Hills              NY           11746‐6015
                  HALF HOLLOW HILLS COMMUNITY PUBLIC
30210015          LIBRARY                                      55 VANDERBILT PARKWAY                                                                                                     DIX HILLS              NY           11746
                  HALF HOLLOW HILLS COMMUNITY PUBLIC
30210014          LIBRARY                                      55 VANDERBILT PARTWAY                                                                                                     DIX HILLS              NY           11746
29921956          HALIMA GEDI                                  Address on file
29921959          HALL COUNTY                                  TAX COMMISSIONER                      PO BOX 1579                                                                         GAINESVILLE            GA           30503
29921960          HALL COUNTY TREASURER                        PERSONAL PROPERTY TAX                 121 S PINE STREET                                                                   GRAND ISLAND           NE           68801
30340982          Name on file                                 Address on file
30348429          Name on file                                 Address on file
30401039          Name on file                                 Address on file




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30345079          Name on file                           Address on file
30352700          Name on file                           Address on file
30345615          Name on file                           Address on file
30414651          Name on file                           Address on file
30338804          Name on file                           Address on file
30342527          Name on file                           Address on file
30350755          Name on file                           Address on file
30350756          Name on file                           Address on file
30350760          Name on file                           Address on file
30395348          Name on file                           Address on file
30357111          Name on file                           Address on file
30386252          Name on file                           Address on file
30259294          Name on file                           Address on file
30355949          Name on file                           Address on file
30348559          Name on file                           Address on file
29921976          Name on file                           Address on file
29921977          Name on file                           Address on file
29921978          HALLOWEEN HAPPY LLC                    28 GOODHUE ST. #402                                                                                                   SALEM                 MA           01970
30338968          Name on file                           Address on file
30210017          HALTON HILLS PUBLIC LIBRARY            9 CHURCH STREET                                                                                                       GEORGETOWN            ON           L7G 2A3         CANADA
30415882          Name on file                           Address on file
30356826          Name on file                           Address on file
30394499          Name on file                           Address on file
30415731          Name on file                           Address on file
30212304          HAMDEN PUBLIC LIBRARY                  2901 DIXWELL AVE                                                                                                      HAMDEN                CT           06518
30393582          Name on file                           Address on file
30350198          Name on file                           Address on file
                                                                                              ATTN: GREG WINNER, MANAGING
29921983          HAMHIC LLC                             C/O HAMILTON PARTNERS                MEMBER                          300 PARK BLVD., SUITE 201                        ITASCA                IL           60143
                                                                                              ATTN: GREG WINNER, MANAGING
30210875          HAMHIC LLC                             C/O HAMILTON PARTNERS                MEMBER                                                                           ITASCA                IL           60143
30346677          Name on file                           Address on file
30210019          HAMILTON ‐ WENHAM PUBLIC LIBRARY       14 UNION ST SOUTH                                                                                                     HAMILTON              MA           01982
30213319          HAMILTON CHASE ‐ SANTA MARIA, LLC      430 ALISAL ROAD # 468                ATTN: CHRISTIAN C. LARSON                                                        SOLVANG               CA           93463
29921987          Name on file                           Address on file
30210022          HAMILTON CITY LIBRARIES                PO BOX 933                                                                                                            HAMILTON                           3240            NEW ZEALAND
29921988          HAMILTON COUNTY TRUSTEE                PO BOX 11047                                                                                                          CHATTANOOGA           TN           37401
                  HAMILTON COUNTY, OH COUNTY CONSUMER
30207826          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   138 EAST COURT ST               ROOM 402                                         CINCINNATI            OH           45202
LC_0276           Hamilton East Public Library           One Library Plaza                                                                                                     Noblesville           IN           46060‐5640
30212308          HAMILTON EAST PUBLIC LIBRARY           1 LIBRARY PLAZA                                                                                                       NOBLESVILLE           IN           46060
30210023          HAMILTON EAST PUBLIC LIBRARY           ONE LIBRARY                          PLAZA                                                                            UNITED                IN           46060
29921990          Name on file                           Address on file
29953788          HAMILTON TOWNSHIP                      LICENSING OFFICE                     6101 13TH STREET ROOM 201                                                        MAYS LANDING          NJ           08330
29921991          HAMILTON VILLAGE STATION LLC           C/O PHILLIPS EDISON & CO.            ATTN: ROBERT F. MYERS, COO      11501 NORTHLAKE DRIVE                            CINCINNATI            OH           45249
30210924          HAMILTON VILLAGE STATION LLC           C/O PHILLIPS EDISON & CO.            ATTN: ROBERT F. MYERS, COO                                                       CINCINNATI            OH           45249
30335234          Name on file                           Address on file
30335233          Name on file                           Address on file
30346578          Name on file                           Address on file
30344391          Name on file                           Address on file
30335479          Name on file                           Address on file
30347134          Name on file                           Address on file
30212309          HAMMOND COMMUNITY LIBRARY              PO BOX 120                                                                                                            HAMMOND               WI           54015
29958242          Name on file                           Address on file
30333886          Name on file                           Address on file
                  HAMPDEN COUNTY, MA COUNTY CONSUMER
30207827          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 625 MAIN ST                                                                        HAMPDEN               MA           01036
                  HAMPSHIRE COUNTY, MA COUNTY CONSUMER
30207828          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 1 GLEASON PLAZA                                                                    NORTHAMPTON           MA           01060
30212310          HAMPSTEAD PUBLIC LIBRARY               9 MARY E CLARK DRIVE                                                                                                  HAMPSTEAD             NH           03841
29958244          HAMPTON ART INC                        1481 W 2ND STEET                   PO BOX 191                                                                         WASHINGTON            NC           27889
29958245          HAMPTON CHARTER TOWNSHIP               PO BOX 187                                                                                                            BAY CITY              MI           48707‐0187




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                  HAMPTON CITY COUNTY, VA COUNTY
30207829          CONSUMER PROTECTION AGENCY                ATTN: CONSUMER PROTECTION DIVISION 22 LINCOLN ST                                                                        HAMPTON                  VA           23669
29958247          HAMPTON TOWNSHIP TREASURER                801 W. CENTER ROAD                                                                                                      ESSEXVILLE               MI           48732
30255134          Name on file                              Address on file
                  HANCOCK COUNTY, OH COUNTY CONSUMER
30207830          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 300 S MAIN ST                                                                        FINDLAY                  OH           45840

29922001          HANCOCK‐WOOD ELECTRIC COOPERATIVE, INC. 1399 BUSINESS PARK DR S                                                                                                   NORTH BALTIMORE          OH           45872

29922000          HANCOCK‐WOOD ELECTRIC COOPERATIVE, INC.   PO BOX 190                                                                                                              NORTH BALTIMORE          OH           45872‐0190
30333805          Name on file                              Address on file
30345011          Name on file                              Address on file
29922002          Name on file                              Address on file
29922003          Name on file                              Address on file
30348754          Name on file                              Address on file
29922004          Name on file                              Address on file
29922006          Name on file                              Address on file
30258126          Name on file                              Address on file
                                                                                               Attn: Toby Brutsman, Director of
30166905          Hanes Fabrics Company                     c/o Hanes CNC Services Co.         Credit                              500 N. McLin Creek Road                          Conover                  NC           28613
30166904          Hanes Fabrics Company                     P.O. Box 60984                                                                                                          Charlotte                NC           28260
30335006          Name on file                              Address on file
30399651          Name on file                              Address on file
30342298          Name on file                              Address on file
29922008          HANGZHOU PROSTAR ENTERPRISES LTD          UNIT 904, HUAYUAN DEVELOPMENT      NO 639 JIANGUO NORTH ROAD                                                            HANGZHOU                              310004          CHINA
30393777          Name on file                              Address on file
30345492          Name on file                              Address on file
30335306          Name on file                              Address on file
30342238          Name on file                              Address on file
30338422          Name on file                              Address on file
30340902          Name on file                              Address on file
30338895          Name on file                              Address on file
30338894          Name on file                              Address on file
29958256          HANNA SHELTON                             Address on file
30346924          Name on file                              Address on file
29958261          HANNAH ALBRIGHT                           Address on file
29958272          HANNAH COTTRILL                           Address on file
29958279          HANNAH HOLT                               Address on file
29958290          HANNAH KUBIAK                             Address on file
29952577          HANNAH MELLINGER                          Address on file
29922111          HANNAH MULLEN                             Address on file
30213013          HANNAH OSBORN                             Address on file
30212795          HANNAH STAPLES                            Address on file
29922159          HANNAH TRULY INC                          16204 SANDSTONE DR.                                                                                                     MORRISON                 CO           80465
29922165          HANNAH WORTHY                             Address on file
30397608          Name on file                              Address on file
30397130          Name on file                              Address on file
30415231          Name on file                              Address on file
29922172          HANOVER BOARD OF HEALTH                   550 HANOVER ST                                                                                                          HANOVER                  MA           02339
30356659          Name on file                              Address on file
30353635          Name on file                              Address on file
30346407          Name on file                              Address on file
30342811          Name on file                              Address on file
30396587          Name on file                              Address on file
30353875          Name on file                              Address on file
30393000          Name on file                              Address on file
29922178          HAPAG‐LLOYD AKTIENGESELLSCHAFT            HAPAG‐LLOYD (AMERICA), LLC         3 RAVINA DR., STE. 1600                                                              ATLANTA                  GA           30346
29922179          HAPPILY DRESSED                           110 LAKEBIRCH DR.                                                                                                       COVINGTON                GA           30016
29922180          Name on file                              Address on file
                                                            RM1001, 10/F, NINGSHINE BLDG,
30211362          HAPPYMAX INDUSTRY LIMITED                 JIANGNAN RD                        130                                                                                  NINGBO                                315000          CHINA
30342132          Name on file                              Address on file
30257121          Name on file                              Address on file




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30353986          Name on file                                     Address on file
29922181          HARD FIRE SUPPRESSION SYSTEMS, INC.              400 A E WILSON BRIDGE RD                                                                                                 WORTHINGTON            OH           43085
30341426          Name on file                                     Address on file
30385694          Name on file                                     Address on file
30395693          Name on file                                     Address on file
29922182          HARDIN COUNTY                                    150 N PROVIDENT WAY #101                                                                                                 ELIZABETHTOWN          KY           42701
29922183          HARDIN COUNTY WATER DISTRICT # 2                 PO BOX 970                                                                                                               ELIZABETHTOWN          KY           42702‐0970
                  HARDIN COUNTY, KY COUNTY CONSUMER
30207831          PROTECTION AGENCY                                ATTN: CONSUMER PROTECTION DIVISION 150 NORTH PROVIDENT WAY                                                               ELIZABETHTOWN          KY           42701
30397363          Name on file                                     Address on file
30355492          Name on file                                     Address on file
30414333          Name on file                                     Address on file
30356495          Name on file                                     Address on file
30394552          Name on file                                     Address on file
29922186          HARFORD COUNTY MARYLAND                          PERSONAL PROPERTY TAX              PO BOX 609                                                                            BEL AIR                MD           21014
29922187          Name on file                                     Address on file
                  HARFORD COUNTY, MD COUNTY CONSUMER
30207832          PROTECTION AGENCY                                ATTN: CONSUMER PROTECTION DIVISION   220 S. MAIN STREET                                                                  BEL AIR                MD           21014
29922188          HARFORD COUNTY‐CIRCUIT COURT                     20 W COURTLAND ST‐COURTHOUSE                                                                                             BEL AIR                MD           21014‐3790
30385881          Name on file                                     Address on file
29922190          HARLAND CLARKE CORP                              DBA TRANSOURCE                       PO BOX 931898                                                                       ATLANTA                GA           31193
30354545          HARMON DISCOUNT HEALTH & BEAUTY                  650 LIBERTY AVE                                                                                                          UNION                  NJ           07083
29922207          HARMON ENGINEERING & CONT CO INC                 13376 CL TORBERT JR. PKWY            PO BOX 230                                                                          LAFAYETTE              AL           36862
30414867          Name on file                                     Address on file
30344242          Name on file                                     Address on file
30346405          Name on file                                     Address on file
29958327          Name on file                                     Address on file
30394517          Name on file                                     Address on file
30210030          HARPER COLLEGE                                   1200 W. ALGONQUIN RD                                                                                                     PALATINE               IL           60067
30397341          Name on file                                     Address on file
30332322          Name on file                                     Address on file
30340741          Name on file                                     Address on file
30340880          Name on file                                     Address on file
30340879          Name on file                                     Address on file
29957401          Harrell, Donna                                   Address on file
30356941          Name on file                                     Address on file
30183709          Name on file                                     Address on file
30183686          Name on file                                     Address on file
30183687          Name on file                                     Address on file
30332474          Name on file                                     Address on file
30385224          Name on file                                     Address on file
30348386          Name on file                                     Address on file
30206945          Harris Co ESD #09                                PO Box 4576                                                                                                              Houston                TX           77210‐4576
30206949          Harris Co ESD #47                                PO Box 4576                                                                                                              Houston                TX           77210‐4576
29949102          HARRIS COUNTY                                    11111 KATY FREEWAY #725                                                                                                  HOUSTON                TX           77079‐2197
29922224          HARRIS COUNTY                                    ALARM DETAIL                         9418 JENSEN DR STE A                                                                HOUSTON                TX           77093‐6821
29922223          HARRIS COUNTY                                    TAX ASSESSOR‐COLLECTOR               PO BOX 4561                                                                         HOUSTON                TX           77210‐4561
29922225          HARRIS COUNTY MUD #186                           11111 KATY FREEWAY #725                                                                                                  HOUSTON                TX           77079‐2197

29972687          Harris County Municipal Utillity District #186   11111 Katy Freeway, Suite 725                                                                                            Houston                TX           77079
                  Harris County Water Control & Improvement
29973987          District 145                                     11111 KATY FREEWAY, SUITE 725                                                                                            HOUSTON                TX           77079
29922226          HARRIS COUNTY WCID #145                          11111 KATY FREEWAY #725                                                                                                  HOUSTON                TX           77079‐2197
                  HARRIS COUNTY, TX COUNTY CONSUMER
30207833          PROTECTION AGENCY                                ATTN: CONSUMER PROTECTION DIVISION 1201 FRANKLIN ST                     STE 600                                          HOUSTON                TX           77002
30224341          Name on file                                     Address on file
30398198          Name on file                                     Address on file
30346655          Name on file                                     Address on file
30336935          Name on file                                     Address on file
30353295          Name on file                                     Address on file
30335239          Name on file                                     Address on file
30340362          Name on file                                     Address on file
30350974          Name on file                                     Address on file




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30352976          Name on file                          Address on file
30333716          Name on file                          Address on file
30414810          Name on file                          Address on file
29958330          Name on file                          Address on file
30414784          Name on file                          Address on file
29958331          Name on file                          Address on file
29958334          HARRISON COUNTY                       PO BOX 1270                                                                                                         GULFPORT             MS           39502
29958336          HARRISON STREET INVESTORS LLC         SANTA FE SQUARE, ATTN: J. CORNIA   1017 S. GILBERT RD., #106                                                        MESA                 AZ           85204
30213068          HARRISON STREET INVESTORS, LLC        C/O THE CHOICE GROUP               2265 LIVERNOIS ROAD, SUITE 500                                                   TROY                 MI           48083
30358363          Name on file                          Address on file
30334249          Name on file                          Address on file
30332175          Name on file                          Address on file
30348382          Name on file                          Address on file

29958338          HARRY C LOBALZO & SONS INC            DBA HOBART SALES & SERVICE         61 N. CLEVELAND‐MASSILLON ROAD                                                   AKRON                OH           44333
29958339          HARRY LEE TAX COLLECTOR               PARISH OF JEFFERSON                PO BOX 248                                                                       GRETNA               LA           70054
30397455          Name on file                          Address on file
30353893          Name on file                          Address on file
30256756          Name on file                          Address on file
30358357          Name on file                          Address on file
30393787          Name on file                          Address on file
30341969          Name on file                          Address on file
30350562          Name on file                          Address on file
30184151          HARTER SECREST & EMERY LLP            50 FOUNTAIN PLAZA, SUITE 1000                                                                                       BUFFALO              NY           14202‐2293
                  HARTFORD COUNTY, CT COUNTY CONSUMER
30207834          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 550 MAIN ST                      STE 001                                         HARTFORD             CT           06103
29922230          Name on file                          Address on file
30349186          Name on file                          Address on file
30356540          Name on file                          Address on file
30385830          Name on file                          Address on file
29922232          HARVARD BATTERY INC                   PO BOX 2622                                                                                                         CHERRY HILL          NJ           08034
LC_0281           Harvard Diggins Library               900 East Mckinley Street                                                                                            Harvard              IL           60033‐1800
30212314          HARVARD DIGGINS LIBRARY               900 E MCKINLEY STREET                                                                                               HARVARD              IL           60033
29922235          HARVEY A TOLSON                       Address on file
30393728          Name on file                          Address on file
30393795          Name on file                          Address on file
30393809          Name on file                          Address on file
30358208          Name on file                          Address on file
29922236          HARVEYCO LLC                          7150 W CENTRAL AVE                                                                                                  TOLEDO               OH           43617‐1117
29922237          HARVIC INTERNATIONAL LTD              10 W. 33RD ST. ROOM 508                                                                                             NEW YORK             NY           10001
30385983          Name on file                          Address on file
30346758          Name on file                          Address on file
30340358          Name on file                          Address on file
29972759          Name on file                          Address on file
30279136          Name on file                          Address on file
30341902          Name on file                          Address on file
30348040          Name on file                          Address on file
30393201          Name on file                          Address on file
30397012          Name on file                          Address on file
30396795          Name on file                          Address on file
29952256          HAUCK HOLDINGS ALEXANDRIA LLC         4334 GLENDALE‐MILFORD RD                                                                                            CINCINNATI           OH           45242
30213138          HAUCK HOLDINGS ALEXANDRIA, LLC        4334 GLENDALE MILFORD RD.          ATTN: ANDY HAUCK                                                                 CINCINNATI           OH           45242
30401635          Name on file                          Address on file
30334906          Name on file                          Address on file
29952260          HAUPPAUGE PROPERTIES LLC              CROSS STATION LLC                  1975 HEMPSTEAD TPKE, #309                                                        EAST MEADOW          NY           11554
30332125          Name on file                          Address on file
30414628          Name on file                          Address on file
30345530          Name on file                          Address on file
30394481          Name on file                          Address on file
30332043          Name on file                          Address on file
30212316          HAVERHILL LIBRARY ASSOCIATION         7 COURT ST                                                                                                          HAVERHILL            NH           03765
29922241          HAVIS INC                             PO BOX 641197                                                                                                       PITTSBURGH           PA           15264‐1197
29922242          HAWAII DEPARTMENT OF TAXATION         PO BOX 259                                                                                                          HONOLULU             HI           96809




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29922243          HAWAII STATE TAX COLLECTOR          PO BOX 259                                                                                                          HONOLULU               HI           96809
30340645          Name on file                        Address on file
30333795          Name on file                        Address on file
30385220          Name on file                        Address on file
30213291          HAWKINS‐SMITH                       Address on file
29922247          HAWKINS‐SMITH DEVELOPMENT           855 BROAD ST                                                                                                        BOISE                  ID           83702‐7153
29922248          Name on file                        Address on file
29953860          Name on file                        Address on file
30332338          Name on file                        Address on file
29953862          HAWTHORNE SUPPLY CO                 54 ELIZABETH STREE, SUITE 34                                                                                        RED HOOK               NY           12571
30210838          HAYBEACH PARTNERS LLC               555 THEODORE FREMD AVE.        SUITE C‐303                                                                          RYE                    NY           10580
30278547          Name on file                        Address on file
30346428          Name on file                        Address on file
30415788          Name on file                        Address on file
30337611          Name on file                        Address on file
30385623          Name on file                        Address on file
29958351          Name on file                        Address on file
30210035          HAYNER PUBLIC LIBRARY DISTRICT      401 STATE STREET                                                                                                    ALTON                  IL           62002
29958356          HAYS ADVISING LLC                   2800 FOREST DRIVE                                                                                                   WINSTON SALEM          NC           27104

                                                                                     ATTN: TOM BOWLES ADN SHARON
30213490          HAYS PARTNERS II, LLC               1950 S. WEST STREET            BOWLES, OWNER/PARTNER                                                                WICHITA                KS           67213
30212318          HAYWOOD COUNTY PUBLIC LIBRARY       678 S HAYWOOD ST                                                                                                    WAYNESVILLE            NC           28786
30213447          HAZEL TOTEM LLC                     8320 NE HWY., 99                                                                                                    VANCOUVER              WA           98665
30353451          Name on file                        Address on file
30386020          Name on file                        Address on file
30182623          HBX Natural Living BV               Floral Trade Group             Raymon Roetman                      Laan Van Verhof                                  Rijnsburg                           40                 Netherlands
29922295          Name on file                        Address on file
29922298          HCC SPECIALTY INSURANCE CO          13403 NORTHWEST FREEWAY                                                                                             HOUSTON                TX           77040
30212679          HCC SPECIALTY INSURANCE CO          401 EDGEWATER PLACE            SUITE 400                                                                            WAKEFIELD              MA           01880
29922297          HCC SPECIALTY INSURANCE CO          SPECIALTY GROUP                37 RADIO CIRCLE DRIVE                                                                MOUNT KISCO            NY           10549
29922299          HDG ENTERPRISES OF OHIO LLC         PO BOX 30631                                                                                                        CLEVELAND              OH           44130
30385863          Name on file                        Address on file
29922301          HEALY CONSTRUCTION SERVICES INC     14000 S KEELER AVE                                                                                                  CRESTWOOD              IL           60445
30347904          Name on file                        Address on file
30414301          Name on file                        Address on file
30355947          Name on file                        Address on file
30357069          Name on file                        Address on file
30357068          Name on file                        Address on file
29922302          Name on file                        Address on file
29964867          HEARTLAND BANK                      ATTN: MICHELE D. KING          401 N HERSHEY ROAD                                                                   BLOOMINGTON            IL           61704
29949788          HEARTLAND BANK AND TRUST COMPANY    401 N. HERSHEY ROAD            P.O. BOX 67                                                                          BLOOMINGTON            IL           61702‐0067
30212320          HEARTLAND REGIONAL LIBRARY SYSTEM   315 THIRD STREET                                                                                                    VIENNA                 MO           65582
30210037          HEARTLAND REGIONAL LIBRARY SYSTEM   PO BOX 231                                                                                                          VIENNA                 MO           65582
29922315          HEATHER BAILEY LLC                  4080 E OXFORD LN                                                                                                    GILBERT                AZ           85295
30212606          HEATHER BEAL                        Address on file
30212880          HEATHER BOSO                        Address on file
30210040          HEATHER BRAUNLIN JONES              Address on file
29922357          HEATHER HOLODY                      Address on file
30212450          HEATHER JONES                       Address on file
30211363          HEATHER KESLEY ANDERSON             Address on file
30212914          HEATHER KIESELBACH                  Address on file
30212603          HEATHER PALCICH                     Address on file
30210055          HEATHER ROSS                        Address on file
29958399          HEATHER SKAGGS                      Address on file
30212891          HEATHER SKAGGS                      Address on file
29922411          HEATHER THOMPSON                    Address on file
29922412          HEATHER TROMBLY                     Address on file
29922416          HEATHER TUPELO‐ROSS                 Address on file
29922415          HEATHER TUPELO‐ROSS                 Address on file
29922442          Name on file                        Address on file
29922444          HEATHYR SMITH                       Address on file




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                                                                                                      LIANGJIADIAN TOWN, SHAGOU
30211364          HEBEI HUANGANG NEW MATERIAL CO LTD               YUTIAN COUNTY                      VILLAGE                         60                                               TANGSHAN                             64101           CHINA
30386124          Name on file                                     Address on file
30332743          Name on file                                     Address on file
30392936          Name on file                                     Address on file
30343118          Name on file                                     Address on file
30397301          Name on file                                     Address on file
30401328          Name on file                                     Address on file
30386298          Name on file                                     Address on file
30335452          Name on file                                     Address on file
30293477          Name on file                                     Address on file
30356679          Name on file                                     Address on file
30344280          Name on file                                     Address on file
29922461          HEIDI BUCHAN                                     Address on file
29922467          Name on file                                     Address on file
29922483          HEIDI MILLER                                     Address on file
29922486          HEIDI MONROE                                     Address on file
29922488          HEIDI PARKES                                     Address on file
29958422          Name on file                                     Address on file
30358202          Name on file                                     Address on file
30349741          Name on file                                     Address on file
30393692          Name on file                                     Address on file
30337999          Name on file                                     Address on file
30394636          Name on file                                     Address on file
30414624          Name on file                                     Address on file
30347827          Name on file                                     Address on file
30349218          Name on file                                     Address on file
30394495          Name on file                                     Address on file
30357107          Name on file                                     Address on file
30357108          Name on file                                     Address on file
29922506          HELEANA WESSENDORF                               Address on file

LC_0285           Helen M. Plum Memorial Public Library District   411 South Main Street                                                                                               Lombard                 IL           60148
30210056          HELEN PLUM LIBRARY                               110 WEST MAPLE STREET                                                                                               LOMBARD                 IL           60148
30212322          HELEN PLUM MEMORIAL LIBRARY                      110 W MAPLE STREET                                                                                                  LOMBARD                 IL           60148
29922533          HELEN T MIDDAUGH                                 Address on file
29922550          HELLENA HENRY                                    Address on file
29922551          HELLO LUCKY LLC                                  PO BOX 170605                                                                                                       SAN FRANCISCO           CA           94117
30210060          HELLO! LUCKY, LLC                                977 HOWARD STREET                                                                                                   SAN FRANCISCO           CA           94103
30346592          Name on file                                     Address on file
30340683          Name on file                                     Address on file
30341088          Name on file                                     Address on file
30401703          Name on file                                     Address on file
30342819          Name on file                                     Address on file
29922552          Name on file                                     Address on file
30396727          Name on file                                     Address on file
30342609          Name on file                                     Address on file
30385707          Name on file                                     Address on file
29922554          HEMAXI GOVINDJIE                                 Address on file
30344383          Name on file                                     Address on file
29922556          Name on file                                     Address on file
30351138          Name on file                                     Address on file
30347869          Name on file                                     Address on file
29922557          Name on file                                     Address on file

30210062          HENDERSON COUNTY PUBLIC LIBRARY DISTRICT         110 HILL CREST DRIVE                                                                                                BIGGSVILLE              IL           61418
29922558          HENDERSON COUNTY TAX COLL.                       200 NORTH GROVE STREET, STE. 66                                                                                     HENDERSONVILLE          NC           28792‐5027
                  HENDERSON COUNTY, NC COUNTY CONSUMER
30207835          PROTECTION AGENCY                                ATTN: CONSUMER PROTECTION DIVISION 1 HISTORIC COURTHOUSE SQ                                                         HENDERSONVILLE          NC           28792
30210063          HENDERSON PUBLIC LIBRARIES                       280 S GREEN VALLEY PARKWAY                                                                                          HENDERSON               NV           89012
29922559          Name on file                                     Address on file
30345613          Name on file                                     Address on file
30416527          Name on file                                     Address on file




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30292142          Name on file                            Address on file
30210065          HENDERSONVILLE PUBLIC LIBRARY           140 SAUNDERSVILLE ROAD                                                                                                HENDERSONVILLE          TN           37075
29922561          HENDON LP                               7 VIEWMONT ESTATES                                                                                                    SCRANTON                PA           18508
30414653          Name on file                            Address on file
30348801          Name on file                            Address on file
29922562          HENDRICKS COUNTY TREASURER              355 S WASHINGTON ST #215                                                                                              DANVILLE                IN           46122
30164074          Hendricks County Treasurer              355 Washington Street Suite         #240                                                                              Danville                IN           46122
30342909          Name on file                            Address on file
30340289          Name on file                            Address on file
30293828          Name on file                            Address on file
29922564          HENKEL CORPORATION                      26235 FIRST STREET                                                                                                    WESTLAKE                OH           44145
30287762          Name on file                            Address on file

29922566          HENNEPIN COUNTY                         ACCOUNTS RECEIVABLE                 300 S SIXTH STREET MAIL CODE 131                                                  MINNEAPOLIS             MN           55487
                  HENNEPIN COUNTY, MN COUNTY CONSUMER
30207836          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 300 ‐ 6TH ST SOUTH                                                                 MINNEAPOLIS             MN           55487
29922567          Name on file                            Address on file
30335599          Name on file                            Address on file
30398439          Name on file                            Address on file
                  HENRY COUNTY, VA COUNTY CONSUMER
30207837          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 3300 KINGS MOUNTAIN RD                                                             MARTINSVILLE            VA           24112
30351524          Name on file                            Address on file
30350601          Name on file                            Address on file
30344947          Name on file                            Address on file
30398148          Name on file                            Address on file
30356586          Name on file                            Address on file
30332452          Name on file                            Address on file
30347825          Name on file                            Address on file
30394743          Name on file                            Address on file
30332518          Name on file                            Address on file
30356570          Name on file                            Address on file
30401534          Name on file                            Address on file
30334595          Name on file                            Address on file
30351444          Name on file                            Address on file
30358148          Name on file                            Address on file
30212323          HERITAGE PUBLIC LIBRARY                 7791 INVICTA LANE                                                                                                     NEW KENT                VA           23124
29922579          Name on file                            Address on file
30333570          Name on file                            Address on file
30351547          Name on file                            Address on file
30347994          Name on file                            Address on file
30213419          HERMITAGE PLAZA SHOPPING CENTER, INC.   C/O J.J. GUMBERG CO, AGENT         1051 BRINTON ROAD                                                                  PITTSBURGH              PA           15221
30395346          Name on file                            Address on file
30398369          Name on file                            Address on file
30350285          Name on file                            Address on file
30335350          Name on file                            Address on file
30414841          Name on file                            Address on file
30337557          Name on file                            Address on file
30394434          Name on file                            Address on file
30396818          Name on file                            Address on file
30385112          Name on file                            Address on file
30397707          Name on file                            Address on file
30396246          Name on file                            Address on file
29922586          Name on file                            Address on file

30210067          HERNANDO COUNTY PUBLIC LIBRARY SYSTEM   238 HOWELL AVE                                                                                                        BROOKSVILLE             FL           34601
29922587          HERNANDO COUNTY TAX COLLECTOR           20 NORTH MAIN ST                    ROOM 112                                                                          BROOKSVILLE             FL           34601
                  HERNANDO COUNTY, FL COUNTY CONSUMER
30207838          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 20 N MAIN ST                        RM112                                          BROOKSVILLE             FL           34601
30210068          HERNANDO COUNTY, FLORIDA                15470 FLIGHT PATH DRIVE                                                                                               BROOKSVILLE             FL           34604
30258179          Name on file                            Address on file
30415121          Name on file                            Address on file
30349786          Name on file                            Address on file
29922588          Name on file                            Address on file




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  ADDRESS ID                           NAME                                  ADDRESS 1                               ADDRESS 2                        ADDRESS 3                 ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
29922589          HERO ARTS RUBBER STAMPS INC                  1200 HARBOUR WAY SOUTH                   STE 201                                                                             RICHMOND                  CA           94804

30335799          HERO ARTS RUBBER STAMPS INC                  DBA OPEN HAND MANUFACTURING, INC. AARON LEVENTHAL                           744 POMONA AVE.                                  ALBANY                    CA           94706
30354924          Name on file                                 Address on file
30342823          Name on file                                 Address on file
30210069          HERRICK DISTRICT LIBRARY                     300 S. RIVER AVE.                                                                                                            HOLLAND                   MI           49423
29922591          Name on file                                 Address on file
30416090          Name on file                                 Address on file
30334023          Name on file                                 Address on file
30395645          Name on file                                 Address on file
30347695          Name on file                                 Address on file
30332352          Name on file                                 Address on file
30332587          Name on file                                 Address on file
30358122          Name on file                                 Address on file
30355137          Name on file                                 Address on file
30358011          Name on file                                 Address on file
30395297          Name on file                                 Address on file
29922593          HEWLETT PACKARD FINANCIAL SERV               PO BOX 402582                                                                                                                ATLANTA                   GA           30384‐2582

30296146          Hewlett‐Packard Financial Services Company   1701 East Mossy Oaks Road                                                                                                    Spring                    TX           77385
                  HEWLETT‐PACKARD FINANCIAL SERVICES
29949523          COMPANY                                      200 CONNELL DRIVE                                                                                                            BERKELEY HEIGHTS          NJ           07922

30223765          Hewlett‐Packard Financial Services Company   200 Connell Drive                        Suite 5000                                                                          Berkeley Heights          NJ           07922
29922594          HEY BUDDY HEY PAL LLC                        3611 S. SONCY STE 6B                                                                                                         AMARILLO                  TX           79119
30332209          Name on file                                 Address on file
29922597          Name on file                                 Address on file
29922598          HGIE LLC                                     DBA HILTON GARDEN INN EAGAN              1975 RAHNCLIFF COURT                                                                EAGAN                     MN           55122
30213370          HH GOLDEN GATE LLC                           98 CUTTER MILL RD., SUITE 462S           ATTN: DAREN HORNIG                                                                  GREAT NECK                NY           11021
29964914          HH GOLDEN GATE LLC                           99 SEAVIEW BLVD.                         STE C                                                                               PORT WASHINGTON           NY           11050‐4606
29950932          HH GOLDEN GATE LLC                           PO BOX 74008052                                                                                                              CHICAGO                   IL           60674‐8052
30347942          Name on file                                 Address on file
30399972          Name on file                                 Address on file
30262890          Name on file                                 Address on file
30335336          Name on file                                 Address on file
30358050          Name on file                                 Address on file
30339504          Name on file                                 Address on file
30213622          HICKMAN PROPERTIES II                        ATTN: DONALD P. HICKMAN                  1091 HOLTON ROAD                                                                    GROVE CITY                OH           43123
30210071          HICKORY PUBLIC LIBRARY                       375 3RD ST NE                                                                                                                HICKORY                   NC           28601
29950937          Name on file                                 Address on file
30210070          HICKORY PUBLIC LIBRARY                       76 NORTH CENTER STREET                                                                                                       HICKORY                   NC           28601
30349141          Name on file                                 Address on file
30353597          Name on file                                 Address on file
30394115          Name on file                                 Address on file

30193046          Hidalgo County                               Linebarger Goggan Blair & Sampson, LLP   c/o Diane W. Sanders               PO Box 17428                                     Austin                    TX           78760
29950939          HIDALGO COUNTY                               TAX ASSESSOR/COLLECTOR                   PO BOX 178                                                                          EDINBURG                  TX           78540‐0178
                  HIDALGO COUNTY, TX COUNTY CONSUMER
30207839          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION ADMINISTRATION BLDG                      2804 S BUSINESS HIGHWAY 281                      EDINBURG                  TX           78539
30347916          Name on file                                 Address on file
30357147          Name on file                                 Address on file
30353073          Name on file                                 Address on file
30339629          Name on file                                 Address on file
29950942          HIGH POINT DESIGN LLC                        1411 BROADWAY                                                                                                                NEW YORK                  NY           10018
29922600          Name on file                                 Address on file
30347729          Name on file                                 Address on file
29949524          HIGHLAND CAPITAL MANAGEMENT LP               100 CRESCENT COURT                 SUITE 1850                                                                                DALLAS                    TX           75201
29922602          HIGHLAND CONSULTING ASSOC INC                159 CROCKER PARK BLVD # 350                                                                                                  CLEVELAND                 OH           44145
29922603          Name on file                                 Address on file
30210073          HIGHLAND PARK PUBLIC LIBRARY                 4700 DREXEL DR                                                                                                               DALLAS                    TX           75205
30210074          HIGHLAND PARK PUBLIC LIBRARY                 4700 DREXEL DR.                                                                                                              HIGHLAND PARK             TX           75205
30210076          HIGHLAND PARK PUBLIC LIBRARY                 494 LAUREL AVENUE                                                                                                            HIGHLAND PARK             IL           60035
30212324          HIGHLAND PUBLIC LIBRARY                      14 ELTING PL                                                                                                                 HIGHLAND                  NY           12528




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  ADDRESS ID                           NAME                                ADDRESS 1                     ADDRESS 2                         ADDRESS 3                 ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
30332408          Name on file                           Address on file
30385018          Name on file                           Address on file
                  HIGHYON SHOPPING CENTER INVESTMENT
30213269          FUNDS NO. 106 L.P.                     1000 N HIATUS RD., SUITE 197                                                                                            PEMBROKE PINES          FL           33026
30259530          Name on file                           Address on file
29922616          HILARY SCERNI                          Address on file
29922615          HILARY SCERNI                          Address on file
30210084          HILARY WILLIAMS                        Address on file
29972766          Name on file                           Address on file
29922620          HILCO ELECTRIC COOPERATIVE INC         P.O. BOX 127                                                                                                            ITASCA                  TX           76055‐0127
30416344          Name on file                           Address on file
30401302          Name on file                           Address on file
30344790          Name on file                           Address on file
30414763          Name on file                           Address on file
30332525          Name on file                           Address on file
30354243          Name on file                           Address on file
30345508          Name on file                           Address on file
30356594          Name on file                           Address on file
30385390          Name on file                           Address on file
30346760          Name on file                           Address on file
30416519          Name on file                           Address on file
30398184          Name on file                           Address on file
30347948          Name on file                           Address on file
30414701          Name on file                           Address on file
29922642          Name on file                           Address on file
                                                         C/O LISA EARLEYWINE, CPM, RPA, VICE   DIRECTOR OF PROPERTY             4622 PENNSYLVANIA AVE, SUITE
29922643          HILLCREST MO LLC                       PRESIDENT                             MANAGEMENT                       700                                              KANSAS CITY             MO           64112
30260304          Hillcrest MO, LLC                      c/o Sader Law Firm, LLC               2345 Grand Boulevard             Suite 2150                                       Kansas City             MO           64108
30396182          Name on file                           Address on file
30355122          Name on file                           Address on file
29922644          HILLSBOROUGH CNTY BRD OF CNTY COMM.    CONSUMER & VETERANS SERVICES          601 E. KENNEDY BLVD, 18TH FL                                                      TAMPA                   FL           33602
29922645          HILLSBOROUGH COUNTY                    FIRE MARSHALL                         PO BOX 310398                                                                     TAMPA                   FL           33680
29922646          HILLSBOROUGH COUNTY TAX COLLECTOR      DOUG BELDEN                           PO BOX 172920                                                                     TAMPA                   FL           33672‐0920
                  HILLSBOROUGH COUNTY WATER RESOURCE ‐
29922647          BOCC                                   PO BOX 89637                                                                                                            TAMPA                   FL           33689
                  HILLSBOROUGH COUNTY, FL COUNTY
30207840          CONSUMER PROTECTION AGENCY             ATTN: CONSUMER PROTECTION DIVISION 410 30TH ST SE                      STE 104                                          RUSKIN                  FL           33570
                  HILLSBOROUGH COUNTY, NH COUNTY                                            BOUCHARD BUILDING, 329 MAST
30207841          CONSUMER PROTECTION AGENCY             ATTN: CONSUMER PROTECTION DIVISION ROAD                                                                                 GOFFSTOWN               NH           03045
30210085          HILLSIDE PUBLIC LIBRARY                405 NORTH HILLSIDE AVENUE                                                                                               HILLSIDE                IL           60162
                                                         ATTN: RODDY THRASHER AND CASSIE
30213502          HILLTOP DEVELOPMENT, INC.              KERSEY                             4200 S. CARAWAY RD                                                                   JONESBORO               AR           72404
30223139          HILOS IRIS                             8402 KILLAM INDUSTRIAL BLVD                                                                                             LAREDO                  TX           78045
30342821          Name on file                           Address on file
30346792          Name on file                           Address on file
30384792          Name on file                           Address on file
30281722          Name on file                           Address on file
30393812          Name on file                           Address on file
29922653          HINDS COUNTY                           TAX COLLECTOR                      PO BOX 1727                                                                          JACKSON                 MS           39215‐1727
                  HINDS COUNTY, MS COUNTY CONSUMER
30207842          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 316 S PRESIDENT ST                                                                   JACKSON                 MS           39201
30354529          Name on file                           Address on file
30348945          Name on file                           Address on file
30358304          Name on file                           Address on file
30341052          Name on file                           Address on file
30395324          Name on file                           Address on file
30342765          Name on file                           Address on file
30397445          Name on file                           Address on file
30345626          Name on file                           Address on file
30348050          Name on file                           Address on file
29953252          Name on file                           Address on file
30210086          HINSDALE PUBLIC LIBRARY                20 EAST MAPLE STREET                                                                                                    HINSDALE                IL           60521
30350394          Name on file                           Address on file




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  ADDRESS ID                           NAME                             ADDRESS 1                       ADDRESS 2                        ADDRESS 3                   ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30358174          Name on file                             Address on file
30332183          Name on file                             Address on file
30332675          Name on file                             Address on file
29953253          Name on file                             Address on file
30399683          Name on file                             Address on file
30340414          Name on file                             Address on file
30345077          Name on file                             Address on file
30395388          Name on file                             Address on file
30213461          HJH IOWA 1, LLC                          300 W. DOUGLAS AVE., SUITE 1031   ATTN: TIM SELNICK                                                                   WICHITA                KS           67202
30357993          Name on file                             Address on file
29949787          HK NEW PLAN ERP PROPERTY HLDGS.          450 LEXINGTON AVENUE              13TH FLOOR                                                                          NEW YORK               NY           10017
29953257          HK NEW PLAN ERP PROPERTY HLDGS.          PO BOX 645321                                                                                                         CINCINNATI             OH           45264‐5321

30213535          HK NEW PLAN ERP PROPERTY HOLDINGS, LLC   C/O BRIXMOR PROPERTY GROUP        200 RIDGE PIKE, SUITE 100                                                           CONSHOHOCKEN           PA           19428
30331781          HMM Co., Ltd.                            Clyde & Co US LLP                 Eric D. Olson                    2020 Main Street               Suite 1100          Irvine                 CA           92614
30337088          Name on file                             Address on file
30395432          Name on file                             Address on file
30260390          Name on file                             Address on file
30394708          Name on file                             Address on file
30350299          Name on file                             Address on file
29972749          Name on file                             Address on file
30354550          HOBBY LOBBY STORES INC.                  7707 SW 44TH ST.                                                                                                      OKLAHOMA CITY          OK           73179
30393805          Name on file                             Address on file
30261839          Name on file                             Address on file
30283560          Name on file                             Address on file
30210090          HODGEPODGE FARM                          50 SUNDALE RD                                                                                                         ACCORD                 NY           12404
30332275          Name on file                             Address on file
30332276          Name on file                             Address on file
30332277          Name on file                             Address on file
30332561          Name on file                             Address on file
30401665          Name on file                             Address on file
30353942          Name on file                             Address on file
30350688          Name on file                             Address on file
30397650          Name on file                             Address on file
30353932          Name on file                             Address on file
30414851          Name on file                             Address on file
30385877          Name on file                             Address on file
30396659          Name on file                             Address on file
30332093          Name on file                             Address on file
30332980          Name on file                             Address on file
30336559          Name on file                             Address on file
30354901          Name on file                             Address on file
30344236          Name on file                             Address on file
                  HOFFMASTER GROUP INC DBA CREATIVE
29922654          CONVERTING                               2920 N MAIN STREET                                                                                                    OSHKOSH                WI           54901
30353433          Name on file                             Address on file

29922655          HOGAN ASSESSMENTS SYSTEMS INC            HOGAN                             LOCKBOX: DEPT 55, PO BOX 21228                                                      TULSA                  OK           74121‐1228
30341016          Name on file                             Address on file
30334639          Name on file                             Address on file
30341078          Name on file                             Address on file
30355794          Name on file                             Address on file
30332545          Name on file                             Address on file
30210092          HOLBROOK PUBLIC LIBRARY                  2 PLYMOUTH ST.                                                                                                        HOLBROOK               MA           02343
30332257          Name on file                             Address on file
30351206          Name on file                             Address on file
29922657          HOLDEN FORESTS & GARDENS                 CLEVELAND BOTANICAL GARDEN        11030 EAST BLVD.                                                                    CLEVELAND              OH           44106
                                                           KANSAS TREASURER UNCLAIMED
29949386          HOLDER SERVICES                          PROPERTY                          900 SW JACKSON STE 201                                                              TOPEKA                 KS           66612‐1235
29922659          Name on file                             Address on file
29922660          Name on file                             Address on file
29922662          HOLLAND & KNIGHT LLP                     PO BOX 936937                                                                                                         ATLANTA                GA           31193‐6937
29922664          HOLLAND CHARTER TOWNSHIP                 PO BOX 8127                                                                                                           HOLLAND                MI           49422




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30344335          Name on file                             Address on file
30349126          Name on file                             Address on file
30414528          Name on file                             Address on file
30354922          Name on file                             Address on file
30356260          Name on file                             Address on file
30348918          Name on file                             Address on file
30396171          Name on file                             Address on file
30399708          Name on file                             Address on file
30397531          Name on file                             Address on file
30350802          Name on file                             Address on file
30394805          Name on file                             Address on file
30332464          Name on file                             Address on file
30210097          HOLLY GIRLS QUILTING LLC                 3196 EDGEWOOD DR.                                                                                                          ANN ARBOR               MI           48104
29958443          Name on file                             Address on file
29922707          HOLLY TOOHILL                            Address on file
30212614          HOLLY TOTH                               Address on file
29922716          HOLLYGIRLS QUILTING LLC                  C/O SUE NICKLES                       3196 EDGEWOOD DR.                                                                    ANN ARBOR               MI           48104
29922718          HOLLYWOOD CENTER INC                     200 STANTON BLVD STE 200                                                                                                   STEUBENVILLE            OH           43952
                                                                                                 ATTN: DOMINIC J. TERAMANA JR.,
30213598          HOLLYWOOD CENTER, INC.                   200 STANTON BLVD., SUITE 200          PRESIDENT                                                                            STEUBENVILLE            OH           43952
30292609          Hollywood Center, Inc.                   Attn: Shawn Michael Blake             4110 Sunset Blvd.                                                                    Steubenville            OH           43952
29922720          HOLLYWOOD CHAIRS, INC.                   DBA TOTALLY BAMBOO                    1880 DIAMOND STREET                                                                  SAN MARCOS              CA           92078
30340136          Name on file                             Address on file
30332406          Name on file                             Address on file
30210098          HOLMES PUBLIC LIBRARY                    470 PLYMOUTH ST.                                                                                                           HALIFAX                 MA           02338
30340673          Name on file                             Address on file
30353711          Name on file                             Address on file
30259097          Name on file                             Address on file
30399866          Name on file                             Address on file
30340466          Name on file                             Address on file
30352787          Name on file                             Address on file
29922722          HOLOBEAM INC                             240 MAIN ROAD                                                                                                              MONTVILLE               NJ           07045
                                                                                                                                  170 CHANGEBRIDGE ROAD, UNIT B‐
29922723          HOLOBEAM, INC.                           C/O R. A. FREDERICKS & COMPANY, LLP   ATTN: RALPH A FREDERICKS, CPA    4                                                   MONTVILLE               NJ           07045

30210932          HOLOBEAM, INC.                           C/O R. A. FREDERICKS & COMPANY, LLP   ATTN: RALPH A FREDERICKS, CPA                                                        MONTVILLE               NJ           07045
30331551          Holobeam, Inc.                           Wells, Jaworski & Liebman, LLP        Jameson P. Van Eck, Esq.         12 Route 17 North, Suite 310     PO Box 1827        Paramus                 NJ           07653
30350343          Name on file                             Address on file
30386098          Name on file                             Address on file
30358240          Name on file                             Address on file
30384732          Name on file                             Address on file
30342716          Name on file                             Address on file
30346433          Name on file                             Address on file
29922726          HOLYOKE CITY HALL                        CITY CLERKS OFFICE                    536 DWIGHT ST                                                                        HOLYOKE                 MA           01040
29922727          HOLYOKE GAS & ELECTRIC DEPARTMENT        PO BOX 4165                                                                                                                WOBURN                  MA           01888‐4165
29922729          Name on file                             Address on file
30392931          Name on file                             Address on file
30397367          Name on file                             Address on file
29972775          Name on file                             Address on file
29922730          HOME DEPOT CREDIT SERVICES               PO BOX 9001043                                                                                                             LOUISVILLE              KY           40290‐1043

30213063          HOME DEPOT PLAZA ASSOCIATES LTD.         C/O THE SEMBLER COMPANY               5858 CENTRAL AVENUE, 2ND FLOOR                                                       ST. PETERSBURG          FL           33707
30211365          HOME PRODUCTS INTERNATIONAL              NORTH AMERICA INC                     4501 WEST 47TH STREET                                                                CHICAGO                 IL           60632
29922733          HOME SWEET PINK INC                      3901 SOUTH CLAY STREET                                                                                                     GREEN BAY               WI           54301
29922734          Name on file                             Address on file
29922735          Name on file                             Address on file
29922736          HOMER ELECTRIC ASSOC., INC.              PO BOX 530812                                                                                                              ATLANTA                 GA           30353‐0812
29953743          Name on file                             Address on file
LC_0297           Homer Township Public Library District   14320 West 151St Street                                                                                                    Homer Glen              IL           60491‐6776

30210104          HOMER TOWNSHIP PUBLIC LIBRARY DISTRICT   14320 W. 151ST STREET                                                                                                      HOMER GLEN              IL           60491
29953745          Name on file                             Address on file
30210107          HOMEWOOD PUBLIC LIBRARY DISTRICT         17917 DIXIE HIGHWAY                                                                                                        HOMEWOOD                IL           60430




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  ADDRESS ID                           NAME                              ADDRESS 1                            ADDRESS 2                        ADDRESS 3                   ADDRESS 4                    CITY        STATE     POSTAL CODE           COUNTRY
29953749          HONEY CAN DO INTERNATIONAL LLC           5300 ST CHARLES BLVD                                                                                                        BERKELEY                IL           60163
30211652          Honey Can Do‐International               Michael (Optional) Hilbig‐Ross        SVP/Hilco Receivables, LLC.        5 Revere Drive                 Suite 420           Northbrook              IL           60062
29953751          Name on file                             Address on file
29953752          Name on file                             Address on file
30350436          Name on file                             Address on file
                                                           3‐4F, No1BuildingHi‐techsquare,
30401336          Hongkong Simple Element Global Limid     JiangnanRoad                                                                                                                Ningbo, CN                           31504           China

29904940          HONGKONG SIMPLE ELEMENT GLOBAL LIMITED   ATTN: SUMMER XIA, DIRECTOR OF SALES   3‐4F, NO.1 BUILDING                NO. 1498 JIANGNAN ROAD                             NINGBO                                               CHINA
30192825          HongKong Simple Element Global Limited   Jennifer Shick                        2893 Ridgewood Avenue                                                                 Cincinnati              OH           45213
30332022          Name on file                             Address on file
30212326          HOOD COUNTY PUBLIC LIBRARY               222 N TRAVIS ST                                                                                                             GRANBURY                TX           76048
30210110          HOOD RIVER COUNTY LIBRARY DISTRICT       502 STATE STREET                                                                                                            HOOD RIVER              OR           97031
30353541          Name on file                             Address on file
30358162          Name on file                             Address on file
30414562          Name on file                             Address on file
29922741          Name on file                             Address on file
30338879          Name on file                             Address on file
30338880          Name on file                             Address on file
30332069          Name on file                             Address on file
30210111          HOOKSETT LIBRARY                         31 MOUNT STREET MARY'S WAY                                                                                                  HOOKSETT                NH           03106
29922742          Name on file                             Address on file
VC_003            Hoopla                                   1417, Timberwolf Drive                                                                                                      Holland                 OH           43528
30340996          Name on file                             Address on file
30332811          Name on file                             Address on file
29958456          HOPE GAS INC/646049                      PO BOX 646049                                                                                                               PITTSBURGH              PA           15264‐6049
30401597          Name on file                             Address on file
29922765          Name on file                             Address on file
                  HOPKINS COUNTY‐MADISONVILLE PUBLIC
30210112          LIBRARY                                  425 EAST CENTER STREET                                                                                                      MADISONVILLE            KY           42431
29922766          Name on file                             Address on file
30210113          HOPKINS DISTRICT LIBRARY                 118 EAST MAIN STREET                                                                                                        HOPKINS                 MI           49328
30385080          Name on file                             Address on file
30336927          Name on file                             Address on file
30340031          Name on file                             Address on file
30210115          HOPKINTON PUBLIC LIBRARY                 13 MAIN STREET                                                                                                              HOPKINTON               MA           01748
30347262          Name on file                             Address on file
30385971          Name on file                             Address on file
29922769          HORIZON COMMONS LLC                      HORJOANN                              PO BOX 263                                                                            EMERSON                 NJ           07630

30213620          HORIZON COMMONS, LLC                     C/O ROSEN EQUITIES, LLC               40 EAST 69TH ST., FOURTH FLOOR                                                        NEW YORK                NY           10021
30183175          Horizon Group USA                        430 Mountain Avenue ‐ Suite # 205                                                                                           New Providence          NJ           07974
30206626          Horizon Group USA, Inc.                  Attn: Accounts Receivable Dept.       Attn: Monica Rivers                430 Mountain Avenue            Suite #205          New Providence          NJ           07974
30347687          Name on file                             Address on file
30395786          Name on file                             Address on file
30398196          Name on file                             Address on file
30354047          Name on file                             Address on file
30347998          Name on file                             Address on file
30333497          Name on file                             Address on file
30261673          Name on file                             Address on file
29922773          Name on file                             Address on file
LC_0388           Horsham Rural City Council Libraries     Mibus Centre, 28 McLachlan Street,                                                                                          Horsham, VIC                         3400            Australia
30347960          Name on file                             Address on file
30357132          Name on file                             Address on file
30350171          Name on file                             Address on file
30355715          Name on file                             Address on file
30414539          Name on file                             Address on file
30334974          Name on file                             Address on file
30343938          Name on file                             Address on file
30353559          Name on file                             Address on file
30340743          Name on file                             Address on file
29922775          HOULIHAN LOKEY CAPITAL INC               10250 CONSTELLATION BLVD, 5TH FL                                                                                            LOS ANGELES             CA           90067
29922776          Name on file                             Address on file




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30223140          HOUSE OF BLUE BEANS                     INTERACTIVE MEDIA PRIVATE LTD           106, VICTORIA 2, PATEL REDDY RD.                                                     DOMLUR LAYOUT, BANGALORE, KARNATAKA                560071          INDIA
30342803          Name on file                            Address on file
30278529          Name on file                            Address on file
30193103          Houston Comm Coll System                PO Box 4576                                                                                                                  Houston                               TX           77210‐4576
29922779          HOUSTON COUNTY                          REVENUE COMMISSIONER                    PO BOX 6406                                                                          DOTHAN                                AL           36302‐6406
29922780          HOUSTON COUNTY TAX COMM                 PO DRAWER 7799                          200 CARL VINSON PKWY                                                                 WARNER ROBINS                         GA           31095
                  HOUSTON COUNTY, GA COUNTY CONSUMER
30207843          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION      200 CARL VINSON PKWY                                                                 WARNER ROBINS                         GA           31088
                  HOUSTON HEALTH DEPT ‐ BUREAU OF
29954153          CONSUMER HEALTH                         DEPARTMENT OF HEALTH                    P. O. BOX 300008                                                                     HOUSTON                               TX           77230‐0008
30206956          Houston ISD                             PO Box 4576                                                                                                                  Houston                               TX           77210‐4576
30210938          HOUSTON LAKES RETAIL CENTER, LLC        C/O NEYER MANAGEMENT                    1111 META DRIVE, SUITE 100                                                           CINCINNATI                            OH           45237
29922781          HOUSTON LAKES RETAIL CENTER, LLC        C/O NEYER MANAGEMENT                    ATTN: LESLIE M. SCHNEUER, VP ‐     1111 META DRIVE, SUITE 100                        CINCINNATI                            OH           45237
30349300          Name on file                            Address on file
29922784          HOWARD COUNTY                           BUSINESS TAX DIVISION                   PO BOX 3370                                                                          ELLICOTT CITY                         MD           21041‐3370
29922785          HOWARD COUNTY                           CLERK OF CIRCUIT COURT                  9250 BENDIX RD                                                                       COLUMBIA                              MD           21045
29922786          HOWARD COUNTY DEPT OF POLICE            PO BOX 17414                                                                                                                 BALTIMORE                             MD           21297‐1414
                  HOWARD COUNTY HEALTH DEPT ‐ DIRECTOR OF
29954155          FINANCE                                 HOWARD COUNTY HEALTH DEPT‐ ENV          8930 STANFORD BLVD.                                                                  COLUMBIA                              MD           21045
29922787          HOWARD COUNTY TREASURER                 220 NORTH MAIN ST RM 226                                                                                                     KOKOMO                                IN           46901
                  HOWARD COUNTY, IN COUNTY CONSUMER
30207844          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION      HOWARD COUNTY ADMIN CENTER         220 N MAIN ST                                     KOKOMO                                IN           46901
                  HOWARD COUNTY, MD COUNTY CONSUMER
30207845          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION      6751 COLUMBIA GATEWAY DR           STE 200                                           COLUMBIA                              MD           21046
30351200          Name on file                            Address on file
30394509          Name on file                            Address on file
30342300          Name on file                            Address on file
30347154          Name on file                            Address on file
30396482          Name on file                            Address on file
30332101          Name on file                            Address on file
30349296          Name on file                            Address on file
30386200          Name on file                            Address on file
30337967          Name on file                            Address on file
30212329          HOWE LIBRARY                            13 SOUTH ST                                                                                                                  HANOVER                               NH           03755
30397493          Name on file                            Address on file
30260881          Name on file                            Address on file
30398140          Name on file                            Address on file
30348046          Name on file                            Address on file

30213277          HPC‐KCB MONTEREY MARKETPLACE, LLC       18321 VENTURA BOULEVARD, SUITE 980                                                                                           TARZANA                               CA           91356
29922794          HPI                                     C/O SQUIRE PATTON BOGGS LLP             ATTN: TAMARA D. FRAIZER            555 CALIFORNIA STREET         SUITE 550           SAN FRANCISCO                         CA           94104
29949802          HPS INVESTMENT PARTNERS LLC             40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29949525          HPS LOAN MANAGEMENT 11‐2017 JAN, LL     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29950556          HPS LOAN MANAGEMENT 12‐2018 JAN, LL     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29950557          HPS LOAN MANAGEMENT 13‐2018 JAN, LL     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29950558          HPS LOAN MANAGEMENT 14‐2019 JAN, LL     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29950559          HPS LOAN MANAGEMENT 2013‐2 JAN, LLC     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29950560          HPS LOAN MANAGEMENT 2023‐18 JAN, LL     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29950561          HPS LOAN MANAGEMENT 3‐2014 JAN, LLC     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29950562          HPS LOAN MANAGEMENT 4‐2014 JAN, LLC     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29950563          HPS LOAN MANAGEMENT 5‐2015 JAN, LLC     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29950564          HPS LOAN MANAGEMENT 6‐2015 JAN, LLC     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29950565          HPS LOAN MANAGEMENT 8‐2016 JAN, LLC     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
29950566          HPS LOAN MANAGEMENT 9‐2016 JAN, LLC     40 WEST 57TH STREET                                                                                                          NEW YORK                              NY           10019
                                                          RCC TRADEWINDS LLC C/O NEWLINK
29922796          HRE RETAIL FUND II LP                   MGMT                                    PO BOX 17710                                                                         RICHMOND                              VA           23226
29922797          HRSD/HRUBS                              PO BOX 37097                                                                                                                 BOONE                                 IA           50037‐0097
30347727          Name on file                            Address on file
30345452          Name on file                            Address on file
30229165          HTL Limited                             12/F D.J. Building                      173 Hoi Bun Road                                                                     Hong Kong                                                          China

29922799          HTL LIMITED                             12/F, D.J. BUILDING, 173 HOI BUN ROAD                                                                                        KWUN TONG                                          999077          CHINA




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29904941          HTL LIMITED                                ATTN: SIMON CASTLEY, OWNER            12/F, D. J. BUILDING            173 HOI BUN ROAD                                 KWUN TONG, KOWLOON                                      HONG KONG
                                                                                                   BUILDING 40A, HENGSHENG
30182616          Huaian Fullya International Corp.          PEIZHI SUN                            SCIENCE PARK                    NO. 98 EAST SHENZHEN ROAD                        HUAIAN, JS                                              CHINA
30415209          Name on file                               Address on file
30341183          Name on file                               Address on file
30165085          Huangyan Forever Arts and Crafts Factory   Fengguang Road No. 76 Chengjiang In                                                                                    Taizhou, Zhejiang                       31802           China
30212330          HUBBARD PUBLIC LIBRARY                     436 W LIBERTY STREET                                                                                                   HUBBARD                    OH           44425
30285587          Name on file                               Address on file
30394353          Name on file                               Address on file
30332193          Name on file                               Address on file
30351755          Name on file                               Address on file
30293154          Name on file                               Address on file
30385847          Name on file                               Address on file
30353023          Name on file                               Address on file
29922805          Name on file                               Address on file
30210121          HUDSON AREA PUBLIC LIBRARY                 700 FIRST STREET                                                                                                       HUDSON                     WI           54016
29922806          Name on file                               Address on file
29922807          HUDSON COMMUNITY FOUNDATION                PO BOX 944                                                                                                             HUDSON                     OH           44236
29922810          HUDSON ENVELOPE OF NEW JERSEY              DBA JAM BNC                           185 LEGRAND AVE                                                                  NORTHVALE                  NJ           07647
30210122          HUDSON LIBRARY & HISTORICAL SOCIETY        96 LIBRARY ST                                                                                                          HUDSON                     OH           44236
29922813          Name on file                               Address on file
29922814          HUDSON PARENT TEACHER ORG                  PO BOX 642                                                                                                             HUDSON                     OH           44236
30210123          HUDSON PUBLIC LIBRARY                      3 WASHINGTON STREET                                                                                                    HUDSON                     MA           01749
29922815          Name on file                               Address on file
                                                                                                   C/O TRG PROPERTY MANAGEMENT,
30210954          HUDSON RETAIL LLC, FAIRVIEW HUDSON LLC     AND 11‐13 HUDSON LLC                  LLC                          2400 N COMMERCE PKY                                 WESTON                     FL           33326
                                                                                                   C/O TRG PROPERTY MANAGEMENT,
29922817          HUDSON RETAIL LLC, FAIRVIEW HUDSON LLC     AND 11‐13 HUDSON LLC                  LLC                          ATTN: MEREDITH POOLE                                ALBANY                     NY           12205
30344328          Name on file                               Address on file
30353940          Name on file                               Address on file
30342588          Name on file                               Address on file
30356578          Name on file                               Address on file
30349843          Name on file                               Address on file
30353842          Name on file                               Address on file
29922819          HUFFMASTER CRISIS RESPONSE INC             1055 W. MAPLE RD.                                                                                                      CLAWSON                    MI           48017
30212596          HUGH BUFORD                                Address on file
30385114          Name on file                               Address on file
30393199          Name on file                               Address on file
30356997          Name on file                               Address on file
30397025          Name on file                               Address on file
30342680          Name on file                               Address on file
30354794          Name on file                               Address on file
30354768          Name on file                               Address on file
30342409          Name on file                               Address on file
30395160          Name on file                               Address on file
30395613          Name on file                               Address on file

29922822          HUIZHOU FESTOON CRAFT CO LTD               BUILDING #B YIHU INDUSTRY ZONE        YONGHU TOWN, HUIYANG DISTRICT                                                    HUIZHOU                                 516267          CHINA
30334158          Name on file                               Address on file
30210124          HULL PUBLIC LIBRARY                        9 MAIN ST.                                                                                                             HULL                       MA           02045
29922825          Name on file                               Address on file
29922827          HUMAIRA NOMAN                              Address on file
29922828          HUMAN SECURITY INC                         HUMAN F/K/A WHITE OPS                 PO BOX 392993                                                                    PITTSBURGH                 PA           15251‐9993
29922829          HUMBERTO CASTRO                            Address on file
29922830          HUMBLE INDEPENDENT S/D                     PO BOX 2000                                                                                                            HUMBLE                     TX           77347
29974081          Humble Independent School District         P.O. Box 2000                                                                                                          Humble                     TX           77347
29922831          HUMBOLDT COUNTY TAX COLLECTOR              825 5TH STREET                                                                                                         EUREKA                     CA           95501
                  HUMBOLDT COUNTY, CA COUNTY CONSUMER
30207846          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 825 5TH ST                                                                          EUREKA                     CA           95501
30385737          Name on file                               Address on file
30340994          Name on file                               Address on file
30358256          Name on file                               Address on file
30255719          Name on file                               Address on file




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30335135          Name on file                              Address on file
30333518          Name on file                              Address on file
30385078          Name on file                              Address on file
30333807          Name on file                              Address on file
30341959          Name on file                              Address on file
30332547          Name on file                              Address on file
30348020          Name on file                              Address on file
30343802          Name on file                              Address on file
29950861          Name on file                              Address on file
29922845          HUNTINGTON BILLBOARDS                     524 1/2 S. BROADWAY                                                                                                      GREENVILLE            OH           45331
30212331          HUNTINGTON WOODS PUBLIC LIBRARY           26415 SCOTIA RD                                                                                                          HUNTINGTON WOODS      MI           48070
29922847          Name on file                              Address on file
30210128          HUNTLEY AREA PUBLIC LIBRARY DISTRICT      11000 RUTH RD                                                                                                            HUNTLEY               IL           60142
29922848          HUNTSVILLE CITY CLERK‐TREASURER           PO BOX 308                                                                                                               HUNTSVILLE            AL           35801
29922849          Name on file                              Address on file
30210131          HUNTSVILLE PUBLIC LIBRARY                 7 MINERVA STREET EAST                                                                                                    HUNTSVILLE            ON           P1H 1W4         CANADA
29922851          HUNTSVILLE UTILITIES, AL                  HUNTSVILLE UTILITIES                 112 SPRAGINS ST                                                                     HUNTSVILLE            AL           35801
30332458          Name on file                              Address on file
30355739          Name on file                              Address on file
30210134          HURON COUNTY LIBRARY                      77722B LONDON ROAD R.R. #5                                                                                               CLINTON               ON           N0M 1L0         CANADA
29922854          HURRICANE LABS LLC                        4511 ROCKSIDE RD #100                                                                                                    INDEPENDENCE          OH           44131
29958462          HURST FALSE ALARM REDUCTION PROG          PO BOX 207226                                                                                                            DALLAS                TX           75320‐7226
29958463          Name on file                              Address on file
30414101          Name on file                              Address on file
30256592          Name on file                              Address on file
30340805          Name on file                              Address on file
30210839          HUSCH BLACKWELL LLP                       511 NORTH BROADWAY                   SUITE 1100                                                                          MILWAUKEE             WI           53202
30184152          HUSCH BLACKWELL LLP                       511 NORTH BROADWAY, SUITE 1100                                                                                           MILWAUKEE             WI           53202‐5502
30165211          Husch Blackwell LLP                       Attn: Timothy Tyler                  8001 Forsyth Blvd. Suite 1500                                                       St. Louis             MO           63105
29958464          HUSCH BLACKWELL LLP                       PO BOX 790379                                                                                                            ST. LOUIS             MO           63179
30258221          Name on file                              Address on file
30212941          HUSNI HASAN                               Address on file
30385196          Name on file                              Address on file
30399668          Name on file                              Address on file
30414580          Name on file                              Address on file
29958466          Name on file                              Address on file
LC_0306           Hussey‐Mayfield Memorial Public Library   250 North Fifth Street                                                                                                   Zionsville            IN           46077‐1324

30210141          HUSSEY‐MAYFIELD MEMORIAL PUBLIC LIBRARY   250 N 5TH ST                                                                                                             ZIONSVILLE            IN           46077

30210140          HUSSEY‐MAYFIELD MEMORIAL PUBLIC LIBRARY   PO BOX 840                                                                                                               ZIONSVILLE            IN           46077
30347799          Name on file                              Address on file
30394592          Name on file                              Address on file
30274911          Name on file                              Address on file

29958467          HUTCHINSON MALL REALTY GROUP LLC          C/O LEXINGTON REALTY INTERNATIONAL   911 EAST COUNTY LINE RD STE 207                                                     LAKEWOOD              NJ           08701

30213676          HUTCHINSON MALL REALTY GROUP, LLC         C/O LEXINGTON REALTY INTERNATIONAL   2361 NOSTRAND AVENUE                                                                BROOKLYN              NY           11210
29958469          HUTCHINSON UTILITIES COMMISSION           225 MICHIGAN ST                                                                                                          HUTCHINSON            MN           55350‐1940
30358379          Name on file                              Address on file
29958470          HUTH REYNOLDS LLP                         41 CANNON COURT                                                                                                          HUNTINGTON            NY           11743
30353895          Name on file                              Address on file
30354055          Name on file                              Address on file
30400034          Name on file                              Address on file
30213062          HV CENTER LLC                             151 BODMAN PLACE, SUITE 201          ATTN: ANDREW DENARDO                                                                RED BANK              NJ           07701
29958472          HV CENTER REALTY FIND LLC                 HV CENTER LLC                        151 BODMAN PLACE, #201                                                              RED BANK              NJ           07701
30333495          Name on file                              Address on file
29922856          HYANNIS WATER SYSTEM                      47 OLD YARMOUTH ROAD                                                                                                     HYANNIS               MA           02601
29958473          HYANNIS WATER SYSTEM                      PO BOX 731                                                                                                               READING               MA           01867‐0405
30347889          Name on file                              Address on file
30401118          Name on file                              Address on file
29922859          HYDROFIRE LLC                             PO BOX 470, 1401 PARK LN                                                                                                 WEST POINT            GA           31833
30416830          Name on file                              Address on file




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30416408          Name on file                               Address on file
29922861          HYMAN FAMILY TRUST                         Address on file
30347667          Name on file                               Address on file
29922862          HYROSEN PROPERTIES INC                     PO BOX 548                                                                                                                 RANCHO CUCAMONGA          CA           91729‐0548
                                                                                                  CITY COMMERCIAL REAL ESTATE
29922863          HYROSEN PROPERTIES, INC.                   C/O LEAH NOLDEN                      SERVICE                             1887 BUSINESS CENTER DR                           SAN BERNARDINO            CA           92408
                                                                                                  CITY COMMERCIAL REAL ESTATE
30210913          HYROSEN PROPERTIES, INC.                   C/O LEAH NOLDEN                      SERVICE                                                                               RANCHO CUCAMONGA          CA           91729
29922867          Name on file                               Address on file
30210142          Name on file                               Address on file
29922868          Name on file                               Address on file
29922869          I. MIRANDA                                 Address on file

29922870          I. S. T. MANAGEMENT INC                    DBA NATIONWIDE INT BALLOON DELIVERY 900 MOE DRIVE                                                                          AKRON                     OH           44310
29922871          I. THOMPSON                                Address on file
30297607          I.H.W.O.P., L.L.C.                         c/o Hogan Law Office                1717 Ingersoll Ave              Suite 200                                              Des Moines                IA           50309
29922872          I2POLY, INC.                               4501 W 47TH ST                                                                                                             CHICAGO                   IL           60632
                  IA ROUND ROCK UNIVERSITY OAKS LIMITED      C/O INVENTRUST PROPERTY
30213285          PARTNERSHIP                                MANAGEMENT, LLC                     3025 HIGHLAND PARKWAY, STE. 350                                                        DOWNERS GROVE             IL           60515
29922874          IA‐COM‐SALES TAX                           HOOVER STATE OFFICE BLDG            1305 E WALNUT ST                                                                       DES MOINES                IA           50319
29922875          IA‐JAS‐SALES TAX 00300                     HOOVER STATE OFFICE BLDG            1305 E WALNUT ST                                                                       DES MOINES                IA           50319
30223142          IAN ARNSWORTH                              Address on file
29922899          IA‐SSC‐CORP                                STATE OF IOWA TREASURER             PO BOX 10468                                                                           DES MOINES                IA           50306
30180679          IATT INVESTMENTS INC                       51 GENESEE STREET                                                                                                          NEW HARTFORD              NY           13413
30180680          IATT INVESTMENTS INC                       C/O SAUNDERS KAHLER, L.L.P.         ATTN: WILLIAM D. WALLACE        185 GENESEE STREET                 SUITE 1400          UTICA                     NY           13501
29922901          IB ROCKFORD HOTEL PARTNERS LLC             HAMPTON INN ROCKFORD                615 CLARK DRIVE                                                                        ROCKFORD                  IL           61107
30414534          IBM CORP                                   ESAUL CAMARENA ACEVES               2200 CAR AL CASTILLO                                                                   GUADALAJARA, JAL                       45680           MEXICO
30414532          IBM CORP                                   1 NORTH CASTLE DRIVE                                                                                                       ARMONK                    NY           10504
30259320          IBM Corp                                   PNC Bank                            500 First Avenue                                                                       Pittsburgh                PA           15219
29922905          IBM CORP INC‐QP3                           P.O. BOX 643600                                                                                                            PITTSBURGH                PA           15264‐3600
29922907          IBRAHIM ELIAS                              Address on file
                                                                                                 100 SOUTH WACKER DRIVE, SUITE
30213238          ICA BFC VENTURE, LLC                       C/O CITADEL PROPERTY ADVISORS       950                                                                                    CHICAGO                   IL           60606
29922910          Name on file                               Address on file
29922911          ICE SYSTEMS INC                            PROXYTRUST                          PO BOX 11126                                                                           HAUPPAUGE                 NY           11788‐0934
30337322          Name on file                               Address on file
29922912          Name on file                               Address on file
29922918          IDAHO POWER                                PO BOX 5381                                                                                                                CAROL STREAM              IL           60197‐5381
29958485          IDAHO SECRETARY OF STATE                   450 N. 4TH STREET                                                                                                          BOISE                     ID           83702
29958487          IDAHO STATE TAX COMMISSION                 800 PARK BLVD., PLAZA IV                                                                                                   BOISE                     ID           83712‐7742
29958488          IDAHO STATE TAX COMMISSION                 IDAHO CORPORATION INCOME TAX        PO BOX 36                                                                              BOISE                     ID           83722
29958486          IDAHO STATE TAX COMMISSION                 PO BOX 36                                                                                                                  BOISE                     ID           83722‐0410
29949387          IDAHO UNCLAIMED PROPERTY                   304 N 8TH STREET STE 208                                                                                                   BOISE                     ID           83702
29958494          ID‐CORP‐INCOME‐HLD 02105                   IDAHO STATE TAX COMMISSION          11321 W CHINDEN BLVD                                                                   BOISE                     ID           83714‐1021

30210144          IDEA EXCHANGE (CAMBRIDGE PUBLIC LIBRARY)   1 NORTH SQUARE                                                                                                             CAMBRIDGE                 ON           N1S 2K6         CANADA
29958495          Name on file                               Address on file
29922920          IDEASTREAM CONSUMER PRODUCTS LLC           812 HURON RD SUITE 390                                                                                                     CLEVELAND                 OH           44115
29922921          IDEAVILLAGE PRODUCTS CORP                  155 ROUTE 46 WEST 4TH FLOOR                                                                                                WAYNE                     NJ           07470
29922923          IDENTIPHOTO COMPANY INC                    1810 JOSEPH LLOYD PKWY                                                                                                     WILLOUGHBY                OH           44094‐8042
29922924          IDENTITY SYSTEMS, INC.                     1324 STIMMEL ROAD                                                                                                          COLUMBUS                  OH           43223
29922925          ID‐JAC‐SALES TAX                           PO BOX 36                                                                                                                  BOISE                     ID           83722
29922926          ID‐JAS‐SALES TAX 04008                     PO BOX 36                                                                                                                  BOISE                     ID           83722
30282663          Name on file                               Address on file
29922928          IEC GROUP INC                              AMERIBEN                             PO BOX 7186                                                                           BOISE                     ID           83707
29958497          IG DESIGN GROUP AMERICAS                   26 INDUSTRIAL BLVD                                                                                                         MIDWAY                    GA           31320
29958498          IG DESIGN GROUP AMERICAS                   5555 GLENRIDGE CONNECTOR STE 200                                                                                           ATLANTA                   GA           30342
29949526          IG DESIGN GROUP AMERICAS, INC.             5555 GLENRIDGE CONNECTOR             SUITE 300                                                                             ATLANTA                   GA           30342

30331403          IG Design Group Americas, Inc.             Jonathan Zeisloft                    Senior Manager Financial Services   2015 West Front Street                            Berwick                   PA           18603
30331402          IG Design Group Americas, Inc.             Michael A. Santivasci,               2015 West Front Street                                                                Berwick                   PA           18603
29964965          IGI21 KATY LLC                             1140 N. WILLIAMSON BLVD, SUITE 140   ATTN: STEVEN R. GREATHOUSE          CHIEF INVESTMENT OFFICER                          DAYTONA BEACH             FL           32114




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30210935          IGI21 KATY LLC                            1140 N. WILLIAMSON BLVD, SUITE 140   ATTN: STEVEN R. GREATHOUSE, CIO                                                         DAYTONA BEACH          FL           32114
29958502          IJB PRODUCTS LLC                          230 5TH AVENUE, SUITE 1107                                                                                                   NEW YORK               NY           10001
29922931          IL‐CORP‐021‐EST                           ILLINOIS DEPT OF REVENUE             WEST JEFFERSON ST                 WILLARD ICE BLDG              101 WEST JEFFERSON ST   SPRINGFIELD            IL           62702
29951873          IL‐JAC‐SALES TAX 0411                     101 WEST JEFFERSON STREET                                                                                                    SPRINGFIELD            IL           62702
29951874          IL‐JAC‐SALES TAX 0412                     101 WEST JEFFERSON STREET                                                                                                    SPRINGFIELD            IL           62702
29951875          IL‐JAS‐SALES TAX 0411                     101 WEST JEFFERSON ST                                                                                                        SPRINGFIELD            IL           62702
29951876          IL‐JAS‐SALES TAX 0412                     101 WEST JEFFERSON ST                                                                                                        SPRINGFIELD            IL           62702
29951880          ILLINOIS AMERICAN WATER                   300 N WATER WORKS DR                                                                                                         BELLEVILLE             IL           62223‐8601
30210545          ILLINOIS CORPORATION SERVICE COMPANY      801 ADLAI STEVENSON DRIVE                                                                                                    SPRINGFIELD            IL           62703
29951881          ILLINOIS DEPARTMENT OF REVENUE            PO BOX 1040                                                                                                                  GALESBURG              IL           61402‐1040
29922941          ILLINOIS SECRETARY OF STATE               213 STATE CAPITOL SPRINGFIELD                                                                                                SPRINGFIELD            IL           62756
29951882          Name on file                              Address on file
29922942          ILLINOIS SECRETARY OF STATE               OFFICE OF SECRETARY OF STATE         213 STATE CAPITOL                                                                       SPRINGFIELD            IL           62756
30163952          Illumax China Limited                     7A, 15 CHEUNG SHUN STREET                                                                                                    KOWLOON, HK                                         HONG KONG
30210145          IMAGINEIF KALISPELL                       247 1ST AVE EAST                                                                                                             KALISPELL              MT           59901
30210146          IMAGINEIF LIBRARIES                       247 FIRST AVE E                                                                                                              KALISPELL              MT           59901
30396742          Name on file                              Address on file
30396743          Name on file                              Address on file
29958508          IMANI IVEYS                               Address on file
29922953          Name on file                              Address on file
30356706          Name on file                              Address on file
29922958          IMPERIAL IRRIGATION DISTRICT, CA          333 E BARIONI BLVD                                                                                                           IMPERIAL               CA           92251
29922957          IMPERIAL IRRIGATION DISTRICT, CA          P.O. BOX 937                                                                                                                 IMPERIAL               CA           92251‐0937
29922959          Name on file                              Address on file
29958517          INAM ZARI & MOON ZARI INDUSTRIES          14 RAVI ROAD                         LAHORE                                                                                  PUNJAB                              54000           PAKISTAN
29958519          IN‐BUG‐SALES TAX                          100 NORTH SENATE AVE.                                                                                                        INDIANAPOLIS           IN           46204
29949527          Name on file                              Address on file
29958522          INDEED INC                                MAIL CODE 5160                       PO BOX 660367                                                                           DALLAS                 TX           75266‐0367
29958523          INDEPENDENCE FALSE ALARM PROGRAM          PO BOX 505475                                                                                                                SAINT LOUIS            MO           63150‐5475
30213144          INDIAN HILLS PLAZA, LLC                   C/O GATOR DEVELOPMENT CORP.          7850 NW 146TH ST., 4TH FLOOR                                                            MIAMI LAKES            FL           33016
29922970          Name on file                              Address on file
30210151          INDIAN PRAIRIE PUBLIC LIBRARY DISTRICT    401 PLAINFIELD ROAD                                                                                                          DARIEN                 IL           60561
LC_0310           Indian River Area Library                 P.O. Box 160                                                                                                                 Indian River           MI           49749
30212333          INDIAN RIVER AREA LIBRARY                 3546 S STRAITS HWY                                                                                                           INDIAN RIVER           MI           49749
29922972          INDIAN RIVER COUNTY                       TAX COLLECTOR                        PO BOX 1509                                                                             VERO BEACH             FL           32961‐1509
30212334          INDIAN RIVER COUNTY LIBRARY               1600 21ST STREET                                                                                                             VERO BEACH             FL           32960
29949114          INDIAN RIVER COUNTY TAX COLLECTOR         ATTN: BANKRUPTCY DEPARTMENT          PO BOX 1509                                                                             VERO BEACH             FL           32961‐1509
29922974          INDIAN RIVER COUNTY UTILITIES, FL         PO BOX 71323                                                                                                                 CHARLOTTE              NC           28272‐1323
                  INDIAN RIVER COUNTY, FL COUNTY CONSUMER
30207847          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 1801 27TH ST                                                                              VERO BEACH             FL           32960
29922976          INDIAN RIVER SHERIFF'S OFFICE             FALSE ALARM REDUCTION OFFICE       4055 41ST AVENUE                                                                          VERO BEACH             FL           32960
29922977          Name on file                              Address on file
30210155          INDIAN TRAILS PUBLIC LIBRARY              355 SCHOENBECK RD                                                                                                            WHEELING               IL           60090
LC_0311           Indian Trails Public Library District     355 Schoenbeck Road                                                                                                          Wheeling               IL           60090‐4467
29922978          INDIAN WELLS VALLEY WATER DISTRICT        P.O. BOX 1329                                                                                                                RIDGECREST             CA           93556
                  INDIANA COUNTY, PA COUNTY CONSUMER
30207848          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 825 PHILADELPHIA ST                                                                       INDIANA                PA           15701
29922981          INDIANA DEPARTMENT OF REVENUE             1025 WIDENER LN                                                                                                              SOUTH BEND             IN           46614
29922985          INDIANA REAL ESTATE HOLDINGS LLC          543 BAY STREET                                                                                                               STATEN ISLAND          NY           10304
29922986          INDIANA SECRETARY OF STATE                200 W WASHINGTON ST #201                                                                                                     INDIANAPOLIS           IN           46204
29949388          INDIANA UNCLAIMED PROPERTY                35 SOUTH PARK BLVD                                                                                                           GREENWOOD              IN           46143
29922987          Name on file                              Address on file
                  INDIANAPOLIS‐MARION COUNTY PUBLIC
30210156          LIBRARY                                   2450 NORTH MERIDIAN STREET                                                                                                   INDIANAPOLIS           IN           46206
29922989          Name on file                              Address on file
29922991          INDIGO GROUP INC                          IGI21 KATY LLC, ATT: ACCT REC        PO BOX 95681                                                                            CHICAGO                IL           60694‐5681
29922992          INDIMADE BRANDS LLC                       7820 E PLEASANT VALLEY RD                                                                                                    INDEPENDENCE           OH           44131
29950021          INDUS RIVERSIDE HOTEL LLC                 HILTON GARDEN INN                    3232 OLENTANGY RIVER RD.                                                                COLUMBUS               OH           43202
30211639          INDUSTRIAL REALTY GROUP, LLC              11111 SANTA MONICA BLVD.             SUITE 800                                                                               LOS ANGELES            CA           90025

30223143          INDUSTRIAL REALTY GROUP, LLC              ATTN: JOHN A. MASE                   11111 SANTA MONICA BOULEVARD SUITE 800                                                  LOS ANGELES            CA           90025




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                                                        Benesch, Friedlander, Coplan & Aronoff
30331390          Industrial Realty Group, LLC          LLP                                      Elliot M. Smith, Esq.               127 Public Square              Suite 4900          Cleveland                   OH           44114
                                                        c/o Benesch, Friedlander, Coplan &
30331381          Industrial Realty Group, LLC          Aronoff LLP                              Attn: Elliot M. Smith               127 Public Square              Suite 4900          Cleveland                   OH           44114
29950024          INDYME SOLUTIONS LLC                  8295 AERO PLACE STE#260                                                                                                         SAN DIEGO                   CA           92123
29922997          INFINITY HOLDINGS LLC                 4215 CROMWELL ROAD                                                                                                              CHATTANOOGA                 TN           37421
30211601          INFOSYS LIMITED                       ELECTRONICS CITY                         HOSUR ROAD                                                                             BANGALORE                                560 100         INDIA
30261684          Infosys Limited                       Parag Nandpure                           2400 N. Glenville Dr., Suite C150                                                      Richardson                  TX           75082
30213662          ING, ING AND FOON, LLP                C/O AZOSE COMMERCIAL PROPERTIES          8451 SE 68TH STREET #200                                                               MERCER ISLAND               WA           98040
29923002          INGERSOLL RAND INDUSTRIAL US INC      15768 COLLECTIONS CTR DR.                                                                                                       CHICAGO                     IL           60693
30350808          Ingersoll‐Rand Industrial US, Inc.    Attn: Jessica Scotto                     525 Harbour Place Drive             Suite 600                                          Davidson                    NC           28036
29949117          INGHAM COUNTY CLERK                   300 W THIRTEEN MILE RD                                                                                                          MADISON HEIGHTS             MI           48071
                  INGHAM COUNTY, MI COUNTY CONSUMER
30207849          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 525 W, OTTAWA ST                                                                             LANSING                     MI           48933
30335647          Name on file                          Address on file
29953900          IN‐JAC‐SALES TAX                      100 NORTH SENATE AVENUE                                                                                                         INDIANAPOLIS                IN           46204
29953901          IN‐JAS LLC‐INCOME TAX                 100 N SENATE AVE                                                                                                                INDIANAPOLIS                IN           46204‐2253
29953902          IN‐JAS‐SALES TAX RST                  100 N SENATE AVE                                                                                                                INDIANAPOLIS                IN           46204‐2253
29949528          INLITEN LLC                           HUAIDE INDUTRIAL AREA               190                                                                                         HUMEN TOWN DONG GUAN CITY                523927          CHINA
29953904          INLITEN LLC                           2350 RAVINE WAY SUITE 300                                                                                                       GLENVIEW                    IL           60025
30353577          Name on file                          Address on file
30211366          INNOVATION FIRST LABS INC             6725 W FM 1570                                                                                                                  GREENVILLE                  TX           75402
                                                                                            HUAZHUANG STREET, BINHU
29923005          INNOVATIVE CREATIONS INC              NO 19 MINGFANG WEST ROAD            DISTRICT                                                                                    WUXI                                     214131          CHINA
29923008          Name on file                          Address on file
29923009          INS INSURANCE INC                     SCHNEIDERS NATIONAL CARRIER INC     PO BOX 74008750                                                                             CHICAGO                     IL           60674‐8750
30211368          INSIGHT ENERGY LLC                    5555 TRIANGLE PKWY #300                                                                                                         NORCROSS                    GA           30092
30339239          Name on file                          Address on file
29923011          INSPECTORIO INC                       400 S. 4TH STREET, STE. 410                                                                                                     MINNEAPOLIS                 MN           55415
30331422          Inspectorio, Inc.                     c/o Longrie Law Office              1771 Burr Street                                                                            Maplewood                   MN           55117
29923012          Name on file                          Address on file
29923013          Name on file                          Address on file
29923014          IN‐SSC‐INCOME TAX                     100 N SENATE AVE.                                                                                                               INDIANAPOLIS                IN           46204‐2253
29923015          INSTANT BRANDS                        3025 HIGHLAND PARKWAY, SUITE 700                                                                                                DOWNERS GROVE               IL           60515
                                                        C/O INTEGRIS VENTURES ‐ MANAGEMENT,
30210892          INTEGRIS VENTURES‐TC, LLC             LLC                                 655 CRAIG ROAD, SUITE 100                                                                   CREVE COEUR                 MO           63141
                                                        C/O INTEGRIS VENTURES ‐ MANAGEMENT,
29953643          INTEGRIS VENTURES‐TC, LLC             LLC                                 ATTN: DAVID TOMLINSON                    655 CRAIG ROAD, SUITE 100                          CREVE COEUR                 MO           63141
29953644          INTEGRITY FIBER SUPPLY LLC            ACCOUNTS RECEIVABLE                 PO BOX 1911                                                                                 AKRON                       OH           44309
30211370          INTERACTIVE COMMUNICATIONS INTL INC   INCOMM                              250 WILLIAMS ST., FLOOR 5                                                                   ATLANTA                     GA           30303
30208100          INTERCOM R&D UNLIMITED COMPANY        2ND FLOOR, STEPHEN COURT            18‐21 ST. STEPHEN’S GREEN                                                                   DUBLIN 2                                                 IRELAND
29953645          INTERFINISH LLC                       7471 Candlewood Rd Ste 104                                                                                                      Hanover                     MD           21076‐3102
30213929          INTERFINISH LLC                       7471 CANDLEWOOD ROAD                SUITE 104                                                                                   HANOVER                     MD           21076
29953646          INTERMOUNTAIN GAS COMPANY             PO BOX 5600                                                                                                                     BISMARCK                    ND           58506‐5600
29953648          INTERNATIONAL BALER CORPORATION       P.O. BOX 631847                                                                                                                 CINCINNATI                  OH           45263‐1847
29953649          INTERNATIONAL FINANCIAL SERVICES IN   DTS CONNEX                          PO BOX 724                                                                                  WESTMINSTER                 MD           21157
29953650          INTERNATIONAL PAPER                   6400 POPLAR AVE                                                                                                                 MEMPHIS                     TN           38197
30279808          International Paper Company           Ana Hernandez                       1470 International Drive                                                                    Memphis                     TN           38197
29923017          Name on file                          Address on file
29923018          INTERNATIONAL SOS ASSISTANCE INC      PO BOX 419386                                                                                                                   BOSTON                      MA           02241‐9386

30211578          INTERTRUST CONSULTANTS LIMITED        UNIT 01, 3RD FLOOR, 100 BUND SQUARE      NO. 100 ZHONG SHAN ROAD SOUTH HUANGPU                                                  SHANGHAI                                 200010          CHINA
29923019          Name on file                          Address on file
29923021          INTRALINKS INC                        P.O. BOX 392134                                                                                                                 PITTSBURGH                  PA           15251
29923022          INTUNE LOGISTICS INC                  208 ADLEY WAY                                                                                                                   GREENVILLE                  SC           29607
30183664          Intune Logistics, Inc.                DOUG EICHENLAUB                          PRESIDENT                           208 ADLEY WAY                                      GREENVILLE                  SC           29607
30356602          Name on file                          Address on file
29923023          INVENTRUST PROPERTIES CORP.           IA ROUND ROCK UNIVERSITY OAKS LP         62908 COLLECTION CTR. DR.                                                              CHICAGO                     IL           60693‐0629
29949530          INVESTCORP CREDIT MANAGEMENT US LLC   280 PARK AVENUE                          39TH FLOOR                                                                             NEW YORK                    NY           10017
29923024          INVISORS LLC                          2000 PGA BLVD STE 4440                                                                                                          PALM BEACH GARDENS          FL           33408
30210157          IONIA COMMUNITY LIBRARY               126 E. MAIN ST.                                                                                                                 IONIA                       MI           48846
29923031          Name on file                          Address on file
30210158          IOSCO‐ARENAC DISTRICT LIBRARY         120 WEST WESTOVER STREET                                                                                                        EAST TAWAS                  MI           48730




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30210160          IOWA CITY PUBLIC LIBRARY                    123 S. LINN ST                                                                                                                    IOWA CITY                IA           52240

30294966          Iowa Department of Revenue                  Office of the Attorney General of Iowa   Attn: Bankruptcy Unit             1305 E. Walnut                                         Des Moines               IA           50319

29923034          IOWA DEPARTMENT OF REVENUE AND FINANCE PO BOX 10471                                                                                                                           DES MOINES               IA           50306‐0471
29923035          IOWA DEPT OF REVENUE & FINANCE         310 W KANESVILLE SUITE A                      PO BOX 1766                                                                              COUNCIL BLUFFS           IA           51502‐1766
29923036          IOWA SECRETARY OF STATE                321 E. 12TH ST.                                                                                                                        DES MOINES               IA           50319
29949389          IOWAS UNCLAIMED PROPERTY DIVISION      GREAT IOWA TREASURE HUNT                      LUCAS STATE OFFICE BUILDING       321 E 12TH ST., 1ST FLOOR                              DES MOINES               IA           50319
29923037          IP ROCKFORD RECAP VENTURES LLC         DBA RUBY‐11‐STERLING LLC                      4001 N. PERRYVILLE RD., #D201                                                            LOVES PARK               IL           61111
29923038          IPSOS INSIGHT LLC                      PO BOX 36076                                                                                                                           NEWARK                   NJ           07188‐6076
29923039          Name on file                           Address on file
30210161          IPSWICH PUBLIC LIBRARY                 25 NORTH MAIN STREET                                                                                                                   IPSWICH                  MA           01938
30344246          Name on file                           Address on file
29949769          IRC EASTGATE CROSSING LLC              814 COMMERCE DR. STE 300                                                                                                               OAK BROOK                IL           60523
29923042          IRC EASTGATE CROSSING LLC              PO BOX 6351                                                                                                                            CAROL STREAM             IL           60197‐6351
29923045          IRC RETAIL CENTERS INC                 LEASE 20782                                   PO BOX 854619                                                                            MINNEAPOLIS              MN           55485‐4619
29923044          IRC RETAIL CENTERS INC                 LEASE 24567                                   PO BOX 854619                                                                            MINNEAPOLIS              MN           55485‐4619
29923043          IRC RETAIL CENTERS INC                 PO BOX 6351                                                                                                                            CAROL STREAM             IL           60197‐6351
29923047          IRC RETAIL CENTERS MGMT INC            PO BOX 6334                                                                                                                            CAROL STREAM             IL           60197
29923048          IRC RETAIL CENTERS MGMT INC            PO BOX 6351                                                                                                                            CAROL STREAM             IL           60197‐6351

                                                              C/O THE CORPORATION TRUST COMPANY,
29951453          IRC SCHAUMBURG PLAZA LLC                    CORPORATION TRUST CENTER           1209 ORANGE STREET                                                                             WILMINGTON               NC           19801
29923049          IRC SCHAUMBURG PLAZA LLC                    PO BOX 854619                                                                                                                     MINNEAPOLIS              MN           55485‐4619
30254418          IRC Schaumburg, L.L.C.                      Pinetree                           Pete Foran                              814 Commerce Drive             Suite 300               Oak Brook                IL           60523
29923050          IREDELL COUNTY TAX COLLECTOR                C/O FIRST CITIZENS BANK            PO BOX 63030                                                                                   CHARLOTTE                NC           28263
                  IREDELL COUNTY, NC COUNTY CONSUMER
30207850          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION 200 SOUTH CENTER ST                                                                            STATESVILLE              NC           28677
29923051          Name on file                                Address on file
30215145          IRENE DENTON                                Address on file
29958528          IRENEA ANSTIGUETA                           Address on file
30398468          Name on file                                Address on file
30350834          Name on file                                Address on file
30211371          IRIS USA INC                                1111 80th AVE.,                                                                                                                   PLEASANT PRAINE          WI           53158
29923073          IRIS USA INC                                13423 WEST CACTUS RD                                                                                                              SURPRISE                 AZ           85379
29923074          IRIS USA, INC.                              13423 W. CACTUS ROAD                                                                                                              TUCSON                   AZ           85739
29949531          IRISHNINE + CO FBO JNL/FIAM TOTAL           1 IRON ST                                                                                                                         BOSTON                   MA           02110
29923085          IRON COUNTY ASSESSOR                        PO BOX 537                                                                                                                        PAROWAN                  UT           84761

30331215          Iron Mountain Information Management, LLC   c/o Hackett Feinberg PC                  Jacqueline M Doyle                155 Federal Street             9th Floor               Boston                   MA           02110
LC_0315           Irondale Public Library                     105 Twentieth Street South                                                                                                        Irondale                 AL           35210‐1528
29923087          Name on file                                Address on file
30210163          IRONDALE PUBLIC LIBRARY                     105 20TH STREET SOUTH                                                                                                             IRONDALE                 AL           35210
30213646          IRONGATE ASSOCIATES, LLC                    ATTN: KATE RACANELLI                     657 E. MAIN STREET                                                                       MOUNT KISCO              NY           10549
30210548          IRONSHORE INDEMNITY INC.                    175 BERKELEY STREET                                                                                                               BOSTON                   MA           02116
29923090          Name on file                                Address on file
30210166          IRVIN L. YOUNG MEMORIAL LIBRARY             431 WEST CENTER STREET                                                                                                            WHITEWATER               WI           53190
29923092          IRVINE RANCH WATER DISTRICT                 PO BOX 51403                                                                                                                      LOS ANGELES              CA           90051‐5703
29923094          IRVING ENERGY/70712                         PO BOX 70712                                                                                                                      PHILADELPHIA             PA           19176
30210167          IRVING PUBLIC LIBRARY                       801 W IRVING BLVD                                                                                                                 IRVING                   TX           75060
29923096          Name on file                                Address on file
30210168          IRVING PUBLIC LIBRARY SYSTEM                801 W IRVING BLVD                                                                                                                 IRVING                   TX           75060
30213480          ISAAC HOME DEPOT FINDLAY, LTD.              C/O REICHLE KLEIN GROUP                  1 SEAGATE, 26TH FLOOR                                                                    TOLDEO                   OH           43604
29923113          Name on file                                Address on file
30213348          ISAAC NORTHTOWNE EAST DEFIANCE, LTD.        C/O REICHLE KLEIN GROUP                  1 SEAGATE, 26TH FLOOR                                                                    TOLEDO                   OH           43604
30213437          ISAAC PROPERTY & HOLDINGS, LLC              DBA 5420 BECKLEY MALL, LLC               2081 NILES CORTLAND RD., SE                                                              WARREN                   OH           44484
29958539          ISABAEL PARRA‐FLORES                        Address on file
29923188          ISABELLA FELTON                             Address on file
29923273          ISABELLA TRANTIN                            Address on file
29923340          Name on file                                Address on file
30222870          Name on file                                Address on file
30336529          Name on file                                Address on file
29958551          ISLA MCNEILL                                Address on file




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29958553          ISLIP LODGING LLC                         LA QUINTA INN & STES. ISLIP         10 AERO ROAD                                                                     BOHEMIA                NY           11716

30213072          ISRAM RIVERWALK, LLC                      C/O ISRAM REALTY & MANAGEMENT, INC. 506 SOUTH DIXIE HIGHWAY                                                          HALLANDALE             FL           33009
29923373          Name on file                              Address on file
30401241          Name on file                              Address on file
29923377          Name on file                              Address on file
30210170          ITASCA COMMUNITY LIBRARY                  500 WEST IRVING PARK ROAD                                                                                            ITASCA                 IL           60143
29923379          ITP AS                                    BYGDOEY ALLE 4                                                                                                       OSLO                                257             NORWAY
30353625          Name on file                              Address on file
30350390          Name on file                              Address on file
29923391          Name on file                              Address on file
30401157          Name on file                              Address on file
29923395          Name on file                              Address on file
29923396          IVICA BRKIC                               Address on file
29923404          Name on file                              Address on file
30273966          Name on file                              Address on file
30358110          Name on file                              Address on file
30335666          Name on file                              Address on file
29923439          Name on file                              Address on file
29923441          Name on file                              Address on file
29923442          Name on file                              Address on file
30213034          J AND H HOLLYWOOD, LLC                    45 NW 21ST STREET                                                                                                    MIAMI                  FL           33127
30211372          Name on file                              Address on file
29923445          J C LANSDOWNE INC                         8601 W ROOSEVELT AVE                                                                                                 VISALIA                CA           93291
30223145          J ERTS                                    Address on file
29923446          Name on file                              Address on file
29923447          J KELLY'S EXPORTS                         503 SILVERLEAF CIR                                                                                                   CORONA                 CA           92882
29923449          J R COLUNGA                               Address on file
29923453          J. CONLEY                                 Address on file
29923454          J. EGGERS                                 Address on file
29923455          J. FLOWERS                                Address on file
29923456          J. FUENTES                                Address on file
29923457          J. GUITIERREZ                             Address on file
29923458          J. HEIDIN                                 Address on file
29923459          J. JENKINS                                Address on file
29923460          J. KOLLMAN                                Address on file
29923461          J. MARQUEZ‐CORREA                         Address on file
29923462          J. NEUMANN                                Address on file
29923463          J. REIFSCHNEIDER                          Address on file
29923464          J. SMITH                                  Address on file
29923465          J. STAHL                                  Address on file
29923466          Name on file                              Address on file
                  J. STERLING MORTON HIGH SCHOOL DISTRICT
30210171          201                                       5801 W. CERMAK. RD                                                                                                   CICERO                 IL           60804
30210172          J. V. FLETCHER LIBRARY                    50 MAIN ST.                                                                                                          WESTFORD               MA           01886
29958572          J. WILSON                                 Address on file
29958573          Name on file                              Address on file
29958578          JABBER HAUS LLC                           1645 N. VINE STREET, UNIT 606                                                                                        LOS ANGELES            CA           90028
30398283          Name on file                              Address on file
29923469          JACCI HARRIMAN                            Address on file
29923483          JACK RIVERA                               Address on file
30393412          Name on file                              Address on file
29958596          JACKLYN KIM WELCH                         Address on file
30212337          JACKSON COUNTY LIBRARY SERVICES           205 S CENTRAL AVE                                                                                                    MEDFORD                OR           97501
29923499          JACKSON COUNTY PAYMENT CENTER             PO BOX 1569                                                                                                          MEDFORD                OR           97501
                  JACKSON COUNTY, IL COUNTY CONSUMER
30207851          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 1001 WALNUT ST                                                                    MURPHYSBORO            IL           62966
                  JACKSON COUNTY, MI COUNTY CONSUMER
30207852          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 120 W MICHIGAN                                                                    JACKSON                MI           49201
                  JACKSON COUNTY, MO COUNTY CONSUMER
30207853          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 415 E 12TH ST                                                                     KANSAS CITY            MO           64106
29923500          JACKSON CROSS PARTNERS LLC                151 S. WARNER RD., #110                                                                                              WAYNE                  PA           19087
29923504          JACKSON ELECTRIC MEMBERSHIP CORP, GA      PO BOX 166023                                                                                                        ALTAMONTE SPRINGS      FL           32716‐6023




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  ADDRESS ID                           NAME                    ADDRESS 1                        ADDRESS 2                         ADDRESS 3                   ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
29923506          JACKSON ENERGY AUTHORITY        PO BOX 2082                                                                                                             MEMPHIS                 TN           38101‐2082
29958605          JACKSON FELT                    Address on file
30213473          JACKSON GOJO                    Address on file
30354122          Jackson Lewis P.C.              1133 Westchester Ave              Suite S125                                                                            West Harrison           NY           10604
30184153          JACKSON LEWIS PC                PARK CENTER PLAZA I, SUITE 400    6100 OAK TREE BLVD.                                                                   CLEVELAND               OH           44131
                                                                                    ATTN: MICHAEL MCGLOTHIN,
30213263          JACKSON PROPERTIES, L.L.C.      2900 UNION LAKE ROAD, SUITE 102   MANAGING MEMBER                                                                       COMMERCE TWP.           MI           48382
30336750          Name on file                    Address on file
30345038          Name on file                    Address on file
30340681          Name on file                    Address on file
30354531          Name on file                    Address on file
30335019          Name on file                    Address on file
30357997          Name on file                    Address on file
30338410          Name on file                    Address on file
30385782          Name on file                    Address on file
30356754          Name on file                    Address on file
30332284          Name on file                    Address on file
30334984          Name on file                    Address on file
30212765          JACLYN SCHULTE                  Address on file
29958626          JACMAX INDUSTRIES LLC           473 WORTMAN AVENUE                                                                                                      BROOKLYN                NY           11208
30212339          JACOB MAUNEY MEMORIAL LIBRARY   100 S PIEDMONT AVE                                                                                                      KINGS MOUNTAIN          NC           28086
29958654          JACOB YAZZIE                    Address on file
30340960          Name on file                    Address on file
30397483          Name on file                    Address on file
30332946          Name on file                    Address on file
30358076          Name on file                    Address on file
30416847          Name on file                    Address on file
30276771          Name on file                    Address on file
30414755          Name on file                    Address on file
30342405          Name on file                    Address on file
30296142          Jacobus Energy, LLC             Stupar & Bartell, S.C.            Thomas M. Bartell, Jr.             633 W. Wisconsin Ave.          #1800               Milwaukee               WI           53203
30339572          Name on file                    Address on file
30224030          Name on file                    Address on file
29923591          JACQUE PRINCE                   Address on file
29923613          JACQUELINE CUMMINGS             Address on file
29923617          JACQUELINE DEMENT               Address on file
29923619          JACQUELINE GREENEY              Address on file
30212842          JACQUELINE LLOYD                Address on file
29923639          JACQUELINE MARTIN               Address on file
29958671          JACQUELINE NIEMET               Address on file
29958672          JACQUELINE OCONNELL             Address on file
30212570          JACQUELINE PREER                Address on file
29923685          JACQUELYNE GRANGER              Address on file
30211374          JADA TAYLOR                     Address on file
29923711          JADE DEAN                       Address on file
29923724          JADE VANLANKVELT                Address on file
29923772          JAFTEX CORPORATION              DBA FABRIC EDITIONS INC           49 WEST 37TH STREET, #14                                                              NEW YORK                NY           10018
30223146          JAG BUILDING GROUP INC          21105 DESIGN PARC LN, #102                                                                                              ESTERO                  FL           33928
30260332          Name on file                    Address on file
29923775          JAHAIDA DE LA TORRE             Address on file
29958719          JAHNEE THOMASON                 Address on file
30414853          Name on file                    Address on file
29923806          JAIME DELAROSA                  Address on file
29923812          JAIME INHELDER                  Address on file
29923813          Name on file                    Address on file
30342833          Name on file                    Address on file
30332026          Name on file                    Address on file
29958727          JAKE ROSEN ENTERTAINMENT LLC    240 KELBOURNE AVE.                                                                                                      SLEEPY HOLLOW           NY           10591
30263647          JAKKS Pacific Inc.              P.O. Box 772704                                                                                                         Detroit                 MI           48277‐2704
30335545          Name on file                    Address on file
30212747          JAMAL JOHNSON                   Address on file
29954300          JAMES A MEKALIAN                Address on file
29923891          Name on file                    Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                            ADDRESS 2                        ADDRESS 3                 ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30210174          JAMES BLACKSTONE MEMORIAL LIBRARY        758 MAIN ST                                                                                                             BRANDFORD             CT           06405
30210173          JAMES BLACKSTONE MEMORIAL LIBRARY        758 MAIN STREET                                                                                                         BRANFORD              CT           06405
                  JAMES CITY COUNTY , VA COUNTY CONSUMER
30207854          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION   101 MOUNTS BAY ROAD                                                                WILLIAMSBURG          VA           23185
LC_0318           James H. Johnson Memorial Library        670 Ward Drive                                                                                                          Deptford              NJ           08096‐6206
29958750          JAMES KRETSCHMAN                         Address on file
29958751          JAMES L KING CITY TREASURER              CITY OF ST MATTHEWS BUS LICENSE      PO BOX 7097                                                                        LOUISVILLE            KY           40257‐0097
30212627          JAMES ROSS                               Address on file
29923946          JAMES THOMPSON                           Address on file
29958760          JAMES W ROSS INC                         DBA SWIFT FIRST AID                  4201 WYOGA LK RD #200                                                              STOW                  OH           44224
30355741          Name on file                             Address on file
30343274          Name on file                             Address on file
30415829          Name on file                             Address on file
29949532          JAMESTOWN CLO VI‐R LTD.                  399PARK AVENUE, LEVEL B                                                                                                 NEW YORK              NY           10022
29949533          JAMESTOWN CLO XI LTD.                    1719 OTISWAY                                                                                                            FLORENCE              SC           29501
29949534          JAMESTOWN CLO XII LTD.                   55 WATER STREET                                                                                                         NEW YORK              NY           10041
29949535          JAMESTOWN CLO XIV LTD.                   399 PARK AVENUE, LEVEL B                                                                                                NEW YORK              NY           10022
29949536          JAMESTOWN CLO XV LTD.                    1505 ENERGY PARK DRIVE                                                                                                  ST PAUL               MN           55108
29964881          JAMESTOWN CLO XVI LTD.                   333 WEST34THSTREET                   3RD FLOOR                                                                          NEW YORK              NY           10001
29964882          JAMESTOWN CLO XVII LTD.                  1505 ENERGY PARK DRIVE                                                                                                  ST PAUL               MN           55108
30212340          JAMESTOWN PHILOMENIAN LIBRARY            26 NORTH RD                                                                                                             JAMESTOWN             RI           02835
29923956          JAMEY DAVIS                              Address on file
29923958          JAMI DEWITT                              Address on file
30212901          JAMIE BRUNN                              Address on file
IC_035            Jamie Hudson                             Address on file
29923982          JAMIE L WEINFURTER                       Address on file
29923991          JAMIE RAMSDELL                           Address on file
29924009          JAMILA COWHERD                           Address on file
29924018          Name on file                             Address on file
29924038          JANAE KILGORE                            Address on file
29924053          JANE FOODS INC                           KIMBLES                              607 HINES STREET                                                                   LAGRANGE              GA           30241
29924071          Name on file                             Address on file
29924074          JANELLE KURETZ                           Address on file
29924078          JANELLE NUSZ                             Address on file
30332316          Name on file                             Address on file
30332317          Name on file                             Address on file
29924093          JANET DULIGA                             Address on file
30211375          JANET L GROTTENTHALER                    Address on file
29924120          JANET PEARCE                             Address on file
29924145          JANETTE SANTIAGO RICO                    Address on file
29924185          JANIE AUGSBURGER                         Address on file
29924193          JANIECE RUMENAP                          Address on file
30350362          Name on file                             Address on file
30399716          Name on file                             Address on file
30357151          Name on file                             Address on file
30401176          Name on file                             Address on file
30212571          JANUARY BILLOCK                          Address on file
30213186          JAPM PLAZA LLC                           20 COMMERCE DRIVE, SUITE 326                                                                                            CRANFORD              NJ           07016
29924234          JAQUELINE OLIVEIRACRUZ                   Address on file
30347161          Name on file                             Address on file
29958837          Name on file                             Address on file
30212605          JARED VISCA                              Address on file
30394741          Name on file                             Address on file
30347769          Name on file                             Address on file
30386339          Name on file                             Address on file
29924267          JASMIN JACKSON                           Address on file
29924286          JASMINE DEMENT                           Address on file
30212992          JASMINE JONES                            Address on file
29958880          JASON HOFSTEDT                           Address on file
30212641          JASON MAILLOUX                           Address on file
29924377          JASON MOORE                              Address on file
30212839          JASON WOOD                               Address on file
29953297          JASPER COUNTY COLLECTOR                  JASPER COUNTY COLLECTOR              601 S PEARL AVE STE 107                                                            JOPLIN                MO           64801




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  ADDRESS ID                           NAME                              ADDRESS 1                          ADDRESS 2                        ADDRESS 3                 ADDRESS 4                  CITY        STATE     POSTAL CODE           COUNTRY
29924399          JASPER COUNTY COLLECTOR                   PO BOX 421                                                                                                             CARTHAGE              MO           64836
29924402          JASPER MUNICIPAL UTILITIES                P.O. BOX 750                                                                                                           JASPER                IN           47547‐0750
29924410          JAVETTE TRUCK & TRACTOR INC               2692 W ESCALON AVE                                                                                                     FRESNO                CA           93711
29924412          JAVIER ANGEL MALDONADO                    Address on file
29924416          JAVIER JOSEPH                             Address on file
30394604          Name on file                              Address on file
29924436          Name on file                              Address on file
29924446          JAYANITA EXPORTS PVT. LTD.                PLOT NO 2, SECTOR‐40               GREATER NOIDA                                                                       UTTA PRADESH                       201308          INDIA
29924449          JAYASANKAR SASI                           Address on file
29924480          Name on file                              Address on file
29924558          JAZMYN BRANTLEY                           Address on file
29924571          JAZZMYNE HUNT                             Address on file
29924573          Name on file                              Address on file
29924574          JB HUNT TRANSPORT INC                     PO BOX 98545                                                                                                           CHICAGO               IL           60693
29924575          Name on file                              Address on file

30213031          JBL SAVANNAH CENTRE NM‐TIMBERSTONE, LLC   C/O JBL ASSET MANAGEMET, LLC       2028 HARRISON ST. ‐ SUITE 202                                                       HOLLYWOOD             FL           33020
29924579          JCPSD ‐ JEFFCO PUBLIC SEWER DISTRICT      PO BOX 648                                                                                                             HILLSBORO             MO           63050
29924582          JDM GROWTH GROUP LLC                      18910 WESTWOOD DR., STE 201                                                                                            STRONGSVILLE          OH           44136
29924583          JEA                                       PO BOX 45047                                                                                                           JACKSONVILLE          FL           32232‐5047
30212923          JEAN ACHTERMANN                           Address on file
29924598          JEAN ROBERT EDOUARDJR                     Address on file
29924608          JEAN TAIPALE                              Address on file
29924615          JEAN ZELKO                                Address on file
30350388          Name on file                              Address on file
30347035          Name on file                              Address on file
29924683          Name on file                              Address on file
29924684          JEFF EDWARDS                              Address on file
30211014          JEFF EDWARDS                              5555 DARROW ROAD                                                                                                       HUDSON                OH           44236
29924687          JEFF LYTLE                                Address on file
29924688          JEFF MILLER                               Address on file
29924689          JEFF NORTHROP                             Address on file
29924690          JEFFER MANGELS BUTLER & MITCHELL LL       1900 AVENUE OF THE STARS, 7F                                                                                           LOS ANGELES           CA           90067
29972782          Name on file                              Address on file
29964883          JEFFERIES CAPITAL SERVICES LLC            520 MADISON AVENUE                                                                                                     NEW YORK              NY           10022
29924691          JEFFERSON ASSOCIATES LP                   DBA WARRENTON CTR LLC              1945 OLD GALLOWS RD #300                                                            VIENNA                VA           22182
                                                                                                                                  300 GALLERIA PARKWAY, 12TH
29924692          JEFFERSON ASSOCIATES, LP                  DBA WARRENTON CENTER LLC           C/O TSCG                           FLOOR                                            ATLANTA               GA           30339
30210999          JEFFERSON ASSOCIATES, LP                  DBA WARRENTON CENTER LLC           C/O TSCG                                                                            ATLANTA               GA           30339
29953298          JEFFERSON COUNTY                          COLLECTOR OF REVENUE               PO BOX 100                                                                          HILLSBORO             MO           63050
30193108          Jefferson County                          PO Box 2112                                                                                                            Beaumont              TX           77704
29953299          JEFFERSON COUNTY ‐ COUNTY COLLECTOR       JEFFERSON COUNTY                   PO BOX 100                                                                          HILLSBORO             MO           63050

29924693          JEFFERSON COUNTY DEPARTMENT OF REVENUE    P.O. BOX 830710                                                                                                        BIRMINGHAM            AL           35283‐0710
29924694          Name on file                              Address on file
30212342          JEFFERSON COUNTY LIBRARY                  620 CEDAR AVE                                                                                                          PORT HADLOCK          WA           98339
LC_0319           Jefferson County Public Library           10200 W 20Th Ave                                                                                                       Lakewood              CO           80215‐1402
30210177          JEFFERSON COUNTY PUBLIC LIBRARY           10500 W. 38TH AVE                                                                                                      WHEAT RIDGE           CO           80033
30212344          JEFFERSON COUNTY PUBLIC LIBRARY           5678 HIGHWAY PP                                                                                                        HIGH RIDGE            MO           63049
29924697          JEFFERSON COUNTY REVENUE DEPT             PO BOX 830710                                                                                                          BIRMINGHAM            AL           35283‐0710

30210178          JEFFERSON COUNTY RURAL LIBRARY DISTRICT   620 CEDAR AVENUE                                                                                                       PORT HADLOCK          WA           98339
29924698          JEFFERSON COUNTY SHERIFF'S OFFICE         PO BOX 70300                                                                                                           LOUISVILLE            KY           40270‐0300
29924699          JEFFERSON COUNTY TAX COLLECTOR            716 RICHARD ARRINGTON JR BLVD N                                                                                        BIRMINGHAM            AL           35203
29924700          JEFFERSON COUNTY TAX OFFICE               PO BOX 2112                                                                                                            BEAUMONT              TX           77704
                  JEFFERSON COUNTY, MO COUNTY CONSUMER
30207855          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 729 MAPLE ST                                                                        HILLSBORO             MO           63050
                  JEFFERSON COUNTY, NY COUNTY CONSUMER
30207856          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 195 ARSENAL ST                                                                      WATERTOWN             NY           13601
                  JEFFERSON COUNTY, OH COUNTY CONSUMER
30207857          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 301 MARKET ST                                                                       STEUBENVILLE          OH           43962
                  JEFFERSON COUNTY, WI COUNTY CONSUMER
30207858          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 317 SOUTH MAIN ST                                                                   JEFFERSON             WI           53549




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  ADDRESS ID                           NAME                                     ADDRESS 1                 ADDRESS 2                        ADDRESS 3                 ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
29924701          Name on file                                Address on file
30210180          JEFFERSON DAVIS PARISH LIBRARY              118 W.                                                                                                             PLAQUEMINE JENNINGS    LA           70546
30210179          JEFFERSON DAVIS PARISH LIBRARY              118 WEST PLAQUEMINE STREET                                                                                         JENNINGS               LA           70546
29964884          JEFFERSON MILL CLO LTD.                     262 HARBOR DRIVE, 4TH FLOOR                                                                                        STAMFORD               CT           06902
                  JEFFERSON PARISH COUNTY, LA COUNTY
30207859          CONSUMER PROTECTION AGENCY                  ATTN: CONSUMER PROTECTION DIVISION 1221 ELMWOOD PARK BLVD         STE 403                                          JEFFERSON              LA           70123
30210181          JEFFERSON PARISH LIBRARY                    4747 W. NAPOLEON AVE.                                                                                              METAIRIE               LA           70001
29953304          JEFFERSON PARISH SHERIFFS OFFICE            PARISH OF JEFFERSON                PO BOX 248                                                                      GRETNA                 LA           70054
29924704          JEFFERSON PARISH SHERIFFS OFFICE            SALES TAX DIVISION                 PO BOX 248                                                                      GRETNA                 LA           70054
                  JEFFERSON PARISH SHERIFF'S OFFICE, BUREAU
                  OF REVENUE AND TAXATION, SALES TAX
29924705          DIVISION                                    PO BOX 248                                                                                                         GRETNA                 LA           70054
29924706          Name on file                                Address on file
29924716          JEFFERY ROACH‐COGSWELL                      Address on file
29924732          JEFFREY GRIMES                              Address on file
29924735          JEFFREY KRAMER                              Address on file
30212602          JEFFREY LYTLE                               Address on file
30212924          JEFFREY RUDYK                               Address on file
30262061          Name on file                                Address on file
30336758          Name on file                                Address on file
30353429          Name on file                                Address on file
30284682          Name on file                                Address on file
30414598          Name on file                                Address on file
30210183          JENEAN MORRISON                             Address on file
29924799          JENISE LAING                                Address on file
29924803          Name on file                                Address on file
29924811          JENNA BOND                                  Address on file
29924858          JENNA PERRY                                 Address on file
29924909          JENNIFER BONEBRAKE                          Address on file
29952380          JENNIFER BRITTON                            Address on file
29924914          JENNIFER BURNS                              Address on file
29924920          JENNIFER CHARRIEZ                           Address on file
30213001          JENNIFER DEIGHTON                           Address on file
29958969          JENNIFER DEMPICH                            Address on file
30210184          JENNIFER DORLAND                            Address on file
29950410          JENNIFER EVINGER                            Address on file
29924961          JENNIFER GONZALEZ                           Address on file
30212935          JENNIFER HALL                               Address on file
30212743          JENNIFER HALLER                             Address on file
29952644          JENNIFER JAMESON                            Address on file
29924994          JENNIFER JOHNSON                            Address on file
29925015          JENNIFER LAHMERS                            Address on file
29958982          JENNIFER MERCEDE                            Address on file
29958986          JENNIFER MICHALSKI                          Address on file
29958989          JENNIFER MILBY                              Address on file
29925035          JENNIFER MILLER                             Address on file
29925036          JENNIFER MILLER                             Address on file
29959000          JENNIFER ORKIN                              Address on file
29925044          JENNIFER OVERMYER                           Address on file
29925049          JENNIFER PAVLOCK                            Address on file
29925053          JENNIFER PERKINS                            Address on file
29925057          JENNIFER POBLETE‐BOONSOM                    Address on file
29925063          JENNIFER PRYOR                              Address on file
29925066          JENNIFER RACICOT WILLIS                     Address on file
29925068          Name on file                                Address on file
29925072          JENNIFER REGNIER                            Address on file
29959002          JENNIFER SALMONS                            Address on file
IC_037            Jennifer Sbranti                            Address on file
29959022          JENNIFER STARCHMAN                          Address on file
29925110          JENNIFER TALIS                              Address on file
29925129          JENNIFER VAZQUEZ                            Address on file
29925137          JENNIFER WALTER                             Address on file
29925145          JENNIFER WELTY                              Address on file




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  ADDRESS ID                           NAME                                ADDRESS 1                ADDRESS 2                         ADDRESS 3                 ADDRESS 4                       CITY        STATE     POSTAL CODE           COUNTRY
30212848          JENNIFER ZAMMIKIEL                         Address on file
29925158          Name on file                               Address on file
30212345          JENNINGS COUNTY PUBLIC LIBRARY             2375 N STATE HWY 3                                                                                             NORTH VERNON               IN           47265
30332557          Name on file                               Address on file
30414596          Name on file                               Address on file
29925163          JENNIS S GREGER                            Address on file
29925166          JENNY CRAWFORD                             Address on file
IC_153            Jenny Doh                                  Address on file
29925178          JENNY RAMSAY                               Address on file
30340851          Name on file                               Address on file
30348977          Name on file                               Address on file
30350272          Name on file                               Address on file
30212823          JEREMY ZELWIN                              Address on file
30340841          Name on file                               Address on file
30343625          Name on file                               Address on file
29925238          Name on file                               Address on file
30337904          Name on file                               Address on file
29925258          Name on file                               Address on file
29925259          JESS MOSS                                  Address on file
29925265          JESSALYN EDWARDS                           Address on file
30212346          JESSAMINE COUNTY PUBLIC LIBRARY            600 SOUTH MAIN STREET                                                                                          NICHOLASVILLE              KY           40356

30295760          Jesse James & Co Inc.                    c/o Norris McLaughlin, P.A   Attn: David C. Berger, Esq         515 W. Hamilton Street, Suite 502                Allentown                  PA           18101
29925280          JESSE KEPPLE                             Address on file
29925288          JESSE RAY                                Address on file
29925293          JESSE THOMPSON                           Address on file
29925307          JESSICA ALEXANDER                        Address on file
29925309          Name on file                             Address on file
29925359          JESSICA CRAVER                           Address on file
29925387          JESSICA FIELDS                           Address on file
30212883          JESSICA GARTRELL                         Address on file
30223147          JESSICA M SAYARATH                       Address on file
29925473          JESSICA MCGRAW                           Address on file
29925495          JESSICA ONHEISER                         Address on file
30212968          JESSICA ORTIZ                            Address on file
29959049          JESSICA PARK                             Address on file
29959059          JESSICA RACKOV                           Address on file
29925557          JESSICA SZADY                            Address on file
29925597          JESSIE BOWENS                            Address on file
29959070          JESSIE GREENBURG                         Address on file
IC_042            Jessie Jennings / Plaid Crafts           3225 WESTECH DR.                                                                                                 NORCROSS                   GA           30092
30386086          Name on file                             Address on file
30336267          Name on file                             Address on file
29959097          Name on file                             Address on file
30397389          Name on file                             Address on file
30351711          Name on file                             Address on file
29925621          JFROG INC                                DEPT LA 24906                                                                                                    PASADENA                   CA           91185‐4906
29925622          JH COMMUNICATIONS LLC                    PO BOX 1392                                                                                                      TOWNSHIP OF WASHINGTON     NJ           07676
29959106          JI YOUN CHAO                             Address on file
                  JIANGSHANG (CAMBODIA) SPORT & STATIONERY                              S S E Z, BETTRANG COMM & SMACH
29959108          CO LTD                                   REAM COMMUNE                 DENG, REAM COMM                                                                     PREY NOB DISTRICT                       180101          CAMBODIA
                  JIANGSU ROMROL GROUP OUTDOOR MATERIAL
29959110          CO LTD                                   1022 NANHUAN ROAD 2                                                                                              SUZHOU CITY                             215228          CHINA
29925631          JILL A STEVENSON                         Address on file
29925637          JILL D CHABRA                            Address on file
29925640          JILL DRAPER                              Address on file
30210193          JILL DRAPER                              Address on file
30210602          JILL FRIZZLEY                            5555 DARROW ROAD                                                                                                 HUDSON                     OH           44236
29925648          JILL INGRAM                              Address on file
30212739          JILL INGRAM                              Address on file
30215436          JILL STEVENSON                           Address on file
29925670          Name on file                             Address on file
29925676          JILLIAN BONNO                            Address on file




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29953947          JIM HENSON COMPANY INC                   1416 N. LA BREA AVENUE                                                                                                  HOLLYWOOD              CA           90028
29953948          Name on file                             Address on file
29925710          JIM N NICKS MANAGEMENT LLC               1920 SOUTH COLLEGE ST.                                                                                                  AUBURN                 AL           36832
30296937          Name on file                             Address on file
30258359          Name on file                             Address on file
29925717          JIMS TOWING SERVICE INC                  JTS TRUCK REPAIR                    PO BOX 40970                                                                        BAKERSFIELD            CA           93384
29925723          Name on file                             Address on file
30213213          JJD‐HOV ELK GROVE, LLC                   C/O DANA BUTCHER ASSOCIATES         6475 N. PALM AVE., SUITE 101                                                        FRESNO                 CA           93704
                                                           C/O WHITNEY THOMPSON & JEFFCOACH,
29925726          JJD‐HOV ELK GROVE, LLC                   LLP                                 ATTN: MARSHALL C. WHITNEY          970 W. ALLUVIAL AVENUE                           FRESNO                 CA           93711
29925727          Name on file                             Address on file
29925728          JMH DINING LLC                           DBA NEWKS                           2664 ENTERRPISE DR                                                                  OPELIKA                AL           36801
29925729          JMH DINING LLC‐DBA NEWKS                 2664 ENTERPRISE DR                                                                                                      OPELIKA                AL           36801
29964885          JMP CREDIT ADVISORS CLO V LTD.           520 MADISON AVENUE                                                                                                      NEW YORK               NY           10022
30348557          Name on file                             Address on file
29925750          JOAN FITZGERALD‐GOFF                     Address on file
30223148          JOAN WALZ                                Address on file
29959129          JOAN WOJAN                               Address on file
30211647          JOANN DITTO HOLDINGS INC.                5555 DARROW ROAD                                                                                                        HUDSON                 OH           44236
29959133          JOANN NOVIK                              Address on file
29959156          JOANNE HOPKINS                           Address on file
30344053          Name on file                             Address on file
30398287          JobsOhio                                 41 South High Street                Suite 1500                                                                          Columbus               OH           43215
29925808          JOC INTERNATIONAL LIMITED                1430 BROADWAY SUITE 1803                                                                                                NEW YORK               NY           10018
30212766          JOCELYN PEARCE                           Address on file
30353909          Name on file                             Address on file
30210201          JODY ALEXANDER                           Address on file
29959172          JODY ALEXANDER                           Address on file
30210200          JODY ALEXANDER                           Address on file
29953306          JODY VANCE, COLLECTOR OF REVENUE         PO BOX 217                                                                                                              TUSCUMBIA              MO           65082
30210591          JOE HARTSIG                              5555 DARROW ROAD                                                                                                        HUDSON                 OH           44236
29925869          JOE THIBAULT                             Address on file
29925872          JOEL DEWBERRY DESIGNS LLC                113 W 1600 S                                                                                                            PERRY                  UT           84302
29925873          JOEL DEWBERRY DESIGNS LLC                1870 S. 100 WEST                                                                                                        PERRY                  UT           84302
30347863          Name on file                             Address on file
30223149          JOELE FRANK                              Address on file
30213443          JOFFCO SQUARE SHOPPING CENTER, LLC       C/O NASSIMI REALTY                  550 7TH AVENUE, 15TH FLOOR                                                          NEW YORK               NY           10018
29952809          JOHANNA RAMIREZ                          Address on file
29952819          JOHANSON TRANSPORTATION SERVICE          PO BOX 55003                                                                                                            FRESNO                 CA           93747
30332976          Name on file                             Address on file
29972760          Name on file                             Address on file

29953859          JOHKIM CAPITAL PARTNERS MANAGEMENT LLC   8235 DOUGLAS AVENUE                 SUITE 1050                                                                          DALLAS                 TX           75225
29964887          JOHKIM CAPITAL PARTNERS MASTER LP        8235 DOUGLAS AVENUE                 SUITE 1050                                                                          DALLAS                 TX           75225
29925907          JOHN BEAD CORP                           20 BERTRAND AVENUE                                                                                                      TORONTO                ON           M1L 2P4         CANADA
30222727          John Bead Corporation Limited            20 Bertrand Avenue                                                                                                      Toronto                ON           M1L 2P4         Canada
29925913          JOHN BROCCOLO                            Address on file
29925917          JOHN BURKE                               Address on file
29925924          Name on file                             Address on file
30210203          JOHN CURTIS FREE PUBLIC LIBRARY          534 HANOVER ST                                                                                                          HANOVER                MA           02339
29925942          JOHN H MARCHESONI                        Address on file
29925944          JOHN HAUBNER                             Address on file
30211377          JOHN K KINZEL                            Address on file
30210205          JOHN L. STREET PUBLIC LIBRARY            244 MAIN STREET                                                                                                         CADIZ                  KY           42211
30210206          JOHN M. CUELENAERE PUBLIC LIBRARY        125 12TH STREET                                                                                                         PRINCE ALBERT          SK           S6V 1B7         CANADA
29925963          JOHN MACAULAY                            Address on file
29925969          JOHN MCKENNA                             Address on file
29925972          JOHN MITCHELL                            Address on file
29925975          JOHN NEW                                 Address on file
29925983          JOHN PORTER                              Address on file
30212881          JOHN PORTER                              Address on file
29925989          JOHN S JAMES CO                          PO BOX 2166                                                                                                             SAVANNAH               GA           31402‐2166
30212586          JOHN SCARCELLA                           Address on file




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29926001          JOHN STALCUP                         Address on file
29926015          JOHN WOODWARD                        Address on file
30397087          Name on file                         Address on file
30212977          JOHNATHON SPILKER                    Address on file
29926027          JOHNNA PASSALINQUA                   Address on file
30357109          Name on file                         Address on file
LC_0323           Johnsburg Public Library District    3000 North Johnsburg Road                                                                                          Johnsburg             IL           60051
30210210          JOHNSBURG PUBLIC LIBRARY DISTRICT    3000 N. JOHNSBURG ROAD                                                                                             JOHNSBURG             IL           60051
                                                                                         2964 PEACHTREE ROAD NW, SUITE
30213509          JOHNSON CITY PLAZA, LLC              C/O WIGGINS ASSOCIATES            380                                                                              ATLANTA               GA           30305
30212688          JOHNSON CITY POWER BOARD             2600 BOONES CREEK ROAD                                                                                             JOHNSON CITY          TN           37615
29926031          JOHNSON CITY UTILITY SYSTEM          P.O. BOX 2386                                                                                                      JOHNSON CITY          TN           37605
LC_0324           Johnson County Public Library        49 East Monroe Street                                                                                              Franklin              IN           46131‐2312
30212348          JOHNSON COUNTY PUBLIC LIBRARY        49 E MONROE ST                                                                                                     FRANKLIN              IN           46131
29926034          Name on file                         Address on file
29926036          JOHNSON COUNTY TREASURER             111 SOUTH CHERRY ST SUITE 1500                                                                                     OLATHE                KS           66061‐3471
30259049          JOHNSON COUNTY TREASURER             86 W COURT ST                                                                                                      FRANKLIN              IN           46131
29926035          JOHNSON COUNTY TREASURER             86 WEST COURT STREET                                                                                               FRANKLIN              IN           46131‐2304
                  JOHNSON COUNTY, IA COUNTY CONSUMER
30207860          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION 913 DUBUQUE ST                                                                  IOWA CITY             IA           52240
30353924          Name on file                         Address on file
30414400          Name on file                         Address on file
30344997          Name on file                         Address on file
30394540          Name on file                         Address on file
30345370          Name on file                         Address on file
30358246          Name on file                         Address on file
30353321          Name on file                         Address on file
30352706          Name on file                         Address on file
30340412          Name on file                         Address on file
30385232          Name on file                         Address on file
30395472          Name on file                         Address on file
30414737          Name on file                         Address on file
30354950          Name on file                         Address on file
30358405          Name on file                         Address on file
30348638          Name on file                         Address on file
30356412          Name on file                         Address on file
30346504          Name on file                         Address on file
30332251          Name on file                         Address on file
30344214          Name on file                         Address on file
30347765          Name on file                         Address on file
30332267          Name on file                         Address on file
30341890          Name on file                         Address on file
30353082          Name on file                         Address on file
30335344          Name on file                         Address on file
30257084          Name on file                         Address on file
30333298          Name on file                         Address on file
30386139          Name on file                         Address on file
30397233          Name on file                         Address on file
30258821          Name on file                         Address on file
30339525          Name on file                         Address on file
30349737          Name on file                         Address on file
30350570          Name on file                         Address on file
30349149          Name on file                         Address on file
30342537          Name on file                         Address on file
30354297          Name on file                         Address on file
30340679          Name on file                         Address on file
30347865          Name on file                         Address on file
30356710          Name on file                         Address on file
30399704          Name on file                         Address on file
30353369          Name on file                         Address on file
29926057          Name on file                         Address on file
30356716          Name on file                         Address on file
30350341          Name on file                         Address on file




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  ADDRESS ID                           NAME                                        ADDRESS 1                        ADDRESS 2                         ADDRESS 3                ADDRESS 4                CITY        STATE     POSTAL CODE   COUNTRY
30395165          Name on file                                   Address on file
30396036          Name on file                                   Address on file
29926066          JON HEPLER                                     Address on file
30212961          JON LOFTON                                     Address on file
29926071          JON STICH                                      Address on file
30212866          JONATHAN HOFER                                 Address on file
29926102          JONATHAN MARTINEZ                              Address on file
                  Jonathan P. Rosen, Executor Estate of Miriam
30297639          Rosen d/b/a Horizon Development                Jonathan P. Rosen                      40 E. 69th Street                 4th Floor                                        New York            NY           10021
30212813          JONATHAN PORTZ                                 Address on file
30211378          JONATHAN RAFFESBERGER                          Address on file
29959218          JONATHAN ROMRELL                               Address on file
30184156          JONES DAY                                      901 LAKESIDE AVENUE                                                                                                       CLEVELAND           OH           44114
29959229          JONES LANG LASALLE AMERICAS INC C              MAIL BIN CSCF‐ JOANN                   700 OAKMONT LN., 2ND FL.                                                           WESTMONT            IL           60559
30210847          JONES LANG LASALLE AMERICAS, INC.              330 MADISON AVENUE                     FOURTH FLOOR                                                                       NEW YORK            NY           10017
30331453          Jones Lang LaSalle Americas, Inc.              c/o Walsh Pizzi O'Reilly Falanga LLP   Three Gateway Center              100 Mulberry Street 15th Floor                   Newark              NJ           07102
29959230          Name on file                                   Address on file
30210212          JONES LIBRARY, INC                             43 AMITY ST.                                                                                                              AMHERST             MA           01002
30397495          Name on file                                   Address on file
30396749          Name on file                                   Address on file
30342411          Name on file                                   Address on file
30401943          Name on file                                   Address on file
30401111          Name on file                                   Address on file
30394505          Name on file                                   Address on file
30340703          Name on file                                   Address on file
30394568          Name on file                                   Address on file
30353926          Name on file                                   Address on file
30295565          Name on file                                   Address on file
30296545          Name on file                                   Address on file
30347966          Name on file                                   Address on file
30394690          Name on file                                   Address on file
30355669          Name on file                                   Address on file
30414943          Name on file                                   Address on file
30349120          Name on file                                   Address on file
30333613          Name on file                                   Address on file
30394650          Name on file                                   Address on file
30350356          Name on file                                   Address on file
30344155          Name on file                                   Address on file
30394145          Name on file                                   Address on file
29952287          Name on file                                   Address on file
30212350          JOPLIN PUBLIC LIBRARY                          1901 E 20TH STREET                                                                                                        JOPLIN              MO           64804
29926141          Name on file                                   Address on file
29952517          JORDAN OWENS                                   Address on file
29926171          JORDAN PORTER                                  Address on file
30211579          JORDAN POWER & EQUIPMENT CO.                   281 SOUTHWEST AVENUE                                                                                                      TALLMADGE           OH           44278
29926184          JORDAN TAX SERVICE INC                         102 RAHWAY ROAD                                                                                                           MC MURRAY           PA           15317

29926185          JORDAN TAX SERVICE/TOWNSHIP OF COLLIER         PO BOX 645120                                                                                                             PITTSBURGH          PA           15264‐5120
29926195          JORDAN WARD                                    Address on file
30386014          Name on file                                   Address on file
30262635          Name on file                                   Address on file
30401145          Name on file                                   Address on file
30393451          Name on file                                   Address on file
29926235          JORGE BAUTISTA                                 Address on file
29926240          JORGE GUTIERREZ                                Address on file
29926259          JOSE GONZALEZ VERA                             Address on file
29926263          JOSE MARTINEZ                                  Address on file
30212820          JOSEPH GUTKOSKI                                Address on file
30210215          JOSEPH H. PLUMB MEMORIAL LIBRARY               17 CONSTITUTION WAY                                                                                                       ROCHESTER           MA           02770
30210216          JOSEPH H. PLUMB MEMORIAL LIBRARY               P.O. BOX 69                                                                                                               ROCHESTER           MA           02770
29959302          JOSEPH RANTOWICH JR                            Address on file
29951666          JOSEPH WATSON                                  Address on file
30345034          Name on file                                   Address on file




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30212351          JOSEPHINE COMMUNITY LIBRARY            200 NW C ST                                                                                                           GRANTS PASS          OR           97526
29926342          JOSEPHINE COUNTY TREASURER             TAX COLLECTOR                        500 NW 6TH STREET, DEPT. 14                                                      GRANTS PASS          OR           97526
                  JOSEPHINE COUNTY, OR COUNTY CONSUMER
30207861          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   500 NW 6TH ST                   ROOM 170                                         GRANTS PASS          OR           97526
29959309          JOSH LOGAN                             Address on file
30212754          JOSHUA BELT                            Address on file
29926366          JOSHUA BELT                            Address on file
30210218          JOSHUA HYDE PUBLIC LIBRARY             306 MAIN STREET                                                                                                       STURBRIDGE           MA           01566
29926406          JOSHUA RAMSEY                          Address on file
29926409          JOSHUA RODRIQUEZ                       Address on file
29926421          JOSHUA SUNDBERG                        Address on file
29959353          JOST TIRE                              DBA ZIEGLER TIRE & SUPPLY CO         PO BOX 678                                                                       MASSILLON            OH           44648
30213494          JOULE PARK WEST OWNER, LLC             C/O RAIDER HILL ADVISORS LLC         757 THIRD AVENUE, 15TH FLOOR                                                     NEW YORK             NY           10017
29959366          Name on file                           Address on file
IC_044            Joy Macdonell                          Address on file
29926470          JOY POWELL                             Address on file
29926474          JOY T CHARDE                           Address on file
30398237          Name on file                           Address on file
29926497          JOYCE SARVIS                           Address on file
29926506          Name on file                           Address on file
29950617          JP MORGAN                              270 PARK AVENUE                                                                                                       NEW YORK             NY           10017
29926513          Name on file                           Address on file
29926514          Name on file                           Address on file
29926515          J'S COMMUNICATIONS INC                 3733 S. BAGLEY AVE STE C                                                                                              FRESNO               CA           93725
29926516          Name on file                           Address on file
29926540          JUANITA GLENN                          Address on file
29926545          JUANITA O'NEILL                        Address on file
29926551          JUBILEE LIMITED PARTNERSHIP            DEPT L‐2632 PROFILE #260113077                                                                                        COLUMBUS             OH           43260
30212569          JUDITH TOEPKE                          Address on file
29926625          JUDY SANCHEZ                           Address on file
29926633          JUKI AMERICA INC                       4220 W 104TH ST UNIT 1A                                                                                               HIALEAH              FL           33018‐1436
30414265          Name on file                           Address on file
29926649          JULIA BARTELS                          Address on file
29926654          JULIA BUCKLEY                          Address on file
29926657          JULIA CALLAGHAN                        Address on file
29926665          JULIA CUNNINGHAM                       Address on file
29926683          JULIA LEWIS                            Address on file
29926688          JULIA MCVEY                            Address on file
29926753          JULIAN VANDERSWAAG                     Address on file
30212585          JULIANN SEKEL                          Address on file
29926812          JULIE ANN SCHMEHL                      Address on file
30212592          JULIE CEKANSKY                         Address on file
29926828          JULIE DOEPKE                           Address on file
29926832          JULIE ERICKSON                         Address on file
29926843          Name on file                           Address on file
29959473          JULIE L SUSZ                           Address on file
29926857          JULIE MARTIN                           Address on file
29926874          JULIE WAGGONER                         Address on file
30213217          JUMBO PROPERTY GROUP LLC               6298 E. GRANT RD., SUITE 100         ATTN: LEASE ADMINISTRATION                                                       TUSCON               AZ           85712
30333067          Name on file                           Address on file
                  JUNEAU COUNTY, AK COUNTY CONSUMER
30207862          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 55 HERITAGE WAY                                                                    JUNEAU               AK           99801
29926922          JUNETTE FORSLUND                       Address on file
30337290          Name on file                           Address on file
29926926          Name on file                           Address on file
29926927          JUST FOR LAUGHS                        C/O JFL ENTERPRISES INC            4900 TRAIN AVENUE                                                                  CLEVELAND            OH           44102
29926928          Name on file                           Address on file
29926929          JUST PLAY LLC                          4850 T‐REX AVENUE                                                                                                     BOCA RATON           FL           33431
30414568          Name on file                           Address on file
30212807          JUSTIN DAVIS                           Address on file
29959512          JUSTIN HANNERS                         Address on file
IC_046            JUSTIN STAFFORD                        Address on file
29926996          JUSTINE HURYN                          Address on file




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VC_004            JW Player/Longtail                 JW PLAYER                           8 WEST 38TH ST., #901                                                              NEW YORK               NY           10018
29927005          JXN WATER                          PO BOX 22667                                                                                                           JACKSON                MS           39225‐2667
29927009          K & B OIL SUPPLY INC               1405 FIRST AVENUE                                                                                                      OPELIKA                AL           36801
29927010          Name on file                       Address on file
29927011          Name on file                       Address on file
29927013          Name on file                       Address on file
29927014          Name on file                       Address on file
29927015          K. BANMAN                          Address on file
29927016          K. BLIZZARD                        Address on file
29927017          K. HOMER                           Address on file
29927018          K. JOHNSTONE                       Address on file
29927019          K. LEE                             Address on file
29927020          K. MAST                            Address on file
29927021          K. MCNEIL                          Address on file
29927022          K. MORALES                         Address on file
29927023          K. O'DONNELL                       Address on file
29927024          K. PAGE                            Address on file
29927025          K. ROBERTS                         Address on file
29927026          K. RUPPRECHT                       Address on file
29927027          K. SADOWSKI                        Address on file
29927028          K. TRAINOR                         Address on file
29927029          K. WASCAK                          Address on file
29927030          K. WILLIAMS                        Address on file
30210220          K.O. LEE ABERDEEN PUBLIC LIBRARY   215 4TH AVENUE SOUTHEAST                                                                                               ABERDEEN               SD           57401
30278933          Name on file                       Address on file
30332821          Name on file                       Address on file
29952959          KAELI BERNS                        Address on file
30342066          Name on file                       Address on file
30210224          Name on file                       Address on file
30274445          Name on file                       Address on file
30274444          Name on file                       Address on file
30353952          Name on file                       Address on file
30212353          KAIKOURA DISTRICT LIBRARY          PO BOX 6                                                                                                               KAIKOURA                            7340            NEW ZEALAND
30212838          KAILYN D'ELENA                     Address on file
29917078          KAIRA O'ROURKE                     Address on file
30336752          Name on file                       Address on file
30356976          Name on file                       Address on file
30343166          Name on file                       Address on file
29927146          KAITLIN COX                        Address on file
29927171          KAITLYN BELL                       Address on file
29927203          KAITLYN EHNI                       Address on file
30212954          KAITLYN KEARIS                     Address on file
29927272          KAITLYN SUAREZ                     Address on file
29959531          KAITLYN WATERMAN                   Address on file
29959543          KAJAL MLX LLC                      FAIRFIELD INN & STES. OK. CITY NW   5700 NW EXPRESSWAY                                                                 OKLAHOMA CITY          OK           73132
30212357          KALAMAZOO PUBLIC LIBRARY           315 S ROSE ST                                                                                                          KALAMAZOO              MI           49007
29959550          KALAN LP                           97 S UNION AVE                                                                                                         LANSDOWNE              PA           19050
30344121          Name on file                       Address on file
30334013          Name on file                       Address on file
29927337          KALLEY REEDY                       Address on file
29927344          KALTEX AMERICA INC                 350 5TH AVENUE, SUITE 7100                                                                                             NEW YORK               NY           10118
29927345          Name on file                       Address on file
30353629          Name on file                       Address on file
29927354          KAMAN INDUSTRIAL TECHNOLOGIES      PO BOX 402847                                                                                                          ATLANTA                GA           30384
30354287          Name on file                       Address on file
30335707          Name on file                       Address on file
30332919          Name on file                       Address on file
30335327          Name on file                       Address on file
30394447          Name on file                       Address on file
30353854          Name on file                       Address on file
30353855          Name on file                       Address on file
30335658          Name on file                       Address on file




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  ADDRESS ID                           NAME                          ADDRESS 1                        ADDRESS 2                        ADDRESS 3                 ADDRESS 4                 CITY        STATE     POSTAL CODE   COUNTRY
                  KANDIYOHI COUNTY, MN COUNTY CONSUMER
30207863          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 400 BENSON AVE SW                                                                WILMAR               MN           56201
30291710          Name on file                           Address on file
                  KANE COUNTY, IL COUNTY CONSUMER
30207864          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 719 BATAVIA AVE                 BLDG A                                           GENEVA               IL           60134
30335387          Name on file                           Address on file
30333669          Name on file                           Address on file
29927420          Name on file                           Address on file
29927421          KANSAS DEPARTMENT OF REVENUE           915 SW HARRISON ST #300                                                                                             TOPEKA               KS           66612
29927422          KANSAS DEPARTMENT OF REVENUE           915 SW HARRISON STREET                                                                                              TOPEKA               KS           66625
29927423          KANSAS DEPT OF AGRICULTURE             1320 RESEARCH PARK DR                                                                                               MANHATTAN            KS           66502
29927424          KANSAS GAS SERVICE                     PO BOX 219046                                                                                                       KANSAS CITY          MO           64121‐9046
                                                         MEMORIAL HALL, 1ST FLOOR 120 SW
29927426          KANSAS SECRETARY OF STATE              10TH AVENUE                                                                                                         TOPEKA               KS           66612‐1594
29959551          Name on file                           Address on file
30340593          Name on file                           Address on file
30295429          Name on file                           Address on file
30332137          Name on file                           Address on file
30394751          Name on file                           Address on file
29959563          KARA HUTCHINSON                        Address on file
30394787          Name on file                           Address on file
29927443          KARAINE HOLNESS                        Address on file
30211379          KAREN A KAISER                         Address on file
30211381          KAREN B EDENFIELD                      Address on file
29927463          KAREN DICKERSON                        Address on file
29959599          KAREN FICACCI                          Address on file
30211613          KAREN KAISER                           Address on file
30223151          KAREN R. FISCHER                       Address on file
IC_158            KAREN SOLOMON                          Address on file
30210226          KAREN SOLOMON                          Address on file
30210225          KAREN SOLOMON                          Address on file
29927540          KAREN ZAJACZKOWSKI                     Address on file
29927547          Name on file                           Address on file
30341894          Name on file                           Address on file
30346764          Name on file                           Address on file
29959651          KARI LYNN HALKO                        Address on file
30212978          KARIN KRIVICKE                         Address on file
30212959          KARIN PACK                             Address on file
29927565          KARIN TOMOSON                          Address on file
29927567          KARIN WESTFIELD                        Address on file
29927609          KARLA FUENTES‐RIVERA                   Address on file
29950770          KARLIE STANLEY                         Address on file
29927640          KARLY JASPER                           Address on file
30345190          Name on file                           Address on file
30333718          Name on file                           Address on file
30210227          KARNES CITY HIGH SCHOOL LIBRARY        400 N HWY 123                                                                                                       KARNES CITY          TX           78118
29927649          KARON SHUMBERA                         Address on file
29927650          KARPOUZIS COMMERCIAL REFRIG INC        875 WAVERLY STREET                                                                                                  FRAMINGHAM           MA           01702
30263634          Name on file                           Address on file
29927653          KARREN KNAPP                           Address on file
30401131          Name on file                           Address on file
30223355          Name on file                           Address on file
30350709          Name on file                           Address on file
30399896          Name on file                           Address on file
30224957          Name on file                           Address on file
30275134          Name on file                           Address on file
30348929          Name on file                           Address on file
30184157          KASTNER, WESTMAN & WILKINS LLC         3550 WEST MARKET STREET, SUITE 100                                                                                  AKRON                OH           44333
29927716          Name on file                           Address on file
29927717          KATA GOLDA                             Address on file
30210235          KATA GOLDA                             Address on file
29927735          KATE GOAD                              Address on file
29927748          KATE SABER                             Address on file




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  ADDRESS ID                           NAME                    ADDRESS 1                           ADDRESS 2                         ADDRESS 3                 ADDRESS 4              CITY        STATE     POSTAL CODE        COUNTRY
29927756          KATEELIZABETH ESTES             Address on file
29959673          KATELYNN HAYNES                 Address on file
29927861          KATHARINE WATSON LLC            100 BRENTWOOD ST                                                                                                         PORTLAND          ME           04103
29927896          KATHERINE CHROWL                Address on file
30210236          KATHERINE ENG                   Address on file
29950159          KATHERINE IMHOFF                Address on file
30211383          KATHERINE MARIE SHELTON         Address on file
29927980          KATHERINE PHAN                  Address on file
29928005          KATHERINE SCHIRPKE              Address on file
29928040          KATHERYN AHLMAN                 Address on file
29928108          KATHLEEN HUBLEY                 Address on file
29928117          KATHLEEN L MEADE                Address on file
29928120          KATHLEEN LAWHORN                Address on file
29953455          KATHLEEN MYERS                  Address on file
29928164          KATHLEEN VEST                   Address on file
29959684          Name on file                    Address on file
29959685          KATHRYN BIRD                    Address on file
29959690          KATHRYN BROWN                   Address on file
29959704          KATHRYN KUZIORLINDHE            Address on file
29928213          KATHRYN LANE                    Address on file
29928218          KATHRYN LOTHAMER                Address on file
29928225          KATHRYN MONROE                  Address on file
29959706          KATHRYN RAISH                   Address on file
IC_160            KATHY DOUGHTY                   Address on file
30340335          Name on file                    Address on file
29928301          KATHY SIERI                     Address on file
29928315          KATIA NAN FERRIS                Address on file
29928339          KATIE LOKEN                     Address on file
29959768          Name on file                    Address on file
30211384          Name on file                    Address on file
29959776          KATRINA J WHITED                Address on file
29959777          KATRINA JEFFERY                 Address on file
30212884          KATRINA SIGMUND                 Address on file
29917133          KATRINA WHEELER                 Address on file
                                                  ATTN: STEVEN J. REISMAN AND CINDI M.
29950618          KATTEN MUCHIN ROSENMAN LLP      GIGLIO                                 50 ROCKEFELLER PLAZA                                                              NEW YORK          NY           10020
29917140          KATY ELIZABETH OLSON            Address on file
30207059          Katy ISD                        PO Box 4576                                                                                                              Houston           TX           77210‐4576
29928398          KATZ MEDIA GROUP INC            C/O BANK OF AMERICA                    12022 COLLECTIONS CENTER DR.                                                      CHICAGO           IL           60693
30395326          Name on file                    Address on file
30386184          Name on file                    Address on file
30354887          Name on file                    Address on file
30353667          Name on file                    Address on file
30415259          Name on file                    Address on file
30414516          Name on file                    Address on file
30401924          Name on file                    Address on file
30395113          Name on file                    Address on file
30358359          Name on file                    Address on file
30335284          Name on file                    Address on file
30351448          Name on file                    Address on file
30394503          Name on file                    Address on file
30349315          Name on file                    Address on file
30356681          Name on file                    Address on file
30356112          Name on file                    Address on file
29928402          Name on file                    Address on file
30210237          KAWARTHA LAKES PUBLIC LIBRARY   190 KENT STREET WEST 9000                                                                                                LINDSAY           ON           K9V 2Y6         CANADA
30349272          Name on file                    Address on file
29928403          KAWEAH CONTAINER INC            DEPT LA 24311                                                                                                            PASADENA          CA           91185‐4311
IC_049            Kay Wolfersperger               Address on file
30336744          Name on file                    Address on file
29928430          Name on file                    Address on file
29928477          KAYLA CAESAR                    Address on file
30212629          KAYLA DELBENE                   Address on file




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29959807          KAYLA MARNEY                  Address on file
29954442          KAYLEE HARRIS                 Address on file
29928585          KAYLEE LANDAAL                Address on file
29928636          KAYLI COCHRAN                 Address on file
29928665          KAYSIE ZAKOWITZ               Address on file
29928666          KB RIVERDALE LLC              2743 PERIMETER PW BLD 100 #370                                                                                           AUGUSTA               GA           30909
30213058          KB RIVERDALE, LLC             2743 PERIMETER PKWY                   BLDG 100, STE 370                                                                  AUGUSTA               GA           30909
29928668          KC WATER                      PO BOX 807045                                                                                                            KANSAS CITY           MO           64180‐7045
29928670          KCMO CITY TREASURER           FIRE PREVENTION DIVISION              635 WOODLAND AVE #2103                                                             KANSAS CITY           MO           64106
29928671          KDI RIVERGATE CENTER LLC      C/O KDI RIVERGATE MALL, LLC           P.O. BOX 16552                                                                     ATLANTA               GA           30321‐6552
29928672          KDM SIGNS INC                 DBA KDM POP SOLUTIONS GROUP           PO BOX 640654                                                                      PITTSBURGH            PA           15264‐0654
30355686          Name on file                  Address on file
30397349          Name on file                  Address on file
30397453          Name on file                  Address on file
30354483          Name on file                  Address on file
29928702          KECHENA RICHARDSON            Address on file
30401869          Name on file                  Address on file
30401154          Name on file                  Address on file
30357972          Name on file                  Address on file
29959855          KEELY FLEMING                 Address on file
29928717          KEELY WINSOR                  Address on file
29972786          Name on file                  Address on file
30354770          Name on file                  Address on file
30385826          Name on file                  Address on file
30260734          Name on file                  Address on file
30335340          Name on file                  Address on file
30353583          Name on file                  Address on file
30342611          Name on file                  Address on file
30345298          Name on file                  Address on file
30212597          KEITH BURTT                   Address on file
30212872          KEITH KREMYAR                 Address on file
29928760          KEITH ROGERS‐HEMPSTED         Address on file
30213332          KEIZER ENTERPRISES, LLC       ATTN: DARREN DICKERHOOF               777 NE 2ND STREET, SUITE 200                                                       CORVALLIS             OR           97330
30184158          KELLER ROHRBACH LLP           1201 THIRD AVENUE, STE. 3400                                                                                             SEATTLE               WA           98101
30347821          Name on file                  Address on file
30396304          Name on file                  Address on file
30333902          Name on file                  Address on file
30348060          Name on file                  Address on file
30356116          Name on file                  Address on file
30356954          Name on file                  Address on file
30414757          Name on file                  Address on file
30336760          Name on file                  Address on file
30338654          Name on file                  Address on file
29928856          KELLY ROY                     Address on file
IC_101            Kelly Wilkinson               Address on file
30414839          Name on file                  Address on file
30349595          Name on file                  Address on file
30394755          Name on file                  Address on file
30393704          Name on file                  Address on file
30332529          Name on file                  Address on file
30210238          KEM COUNTY LIBRARY            701 TRUXTON AVE                                                                                                          BAKERSFIELD           CA           93301
30333801          Name on file                  Address on file

29959893          KEMPEN REAL ESTATE LLC        DJK‐CASA GRANDE LLC, ATTN; D. KEMPE   2654 W. CENTRAL PARK AVE #1                                                        DAVENPORT             IA           52804
30353881          Name on file                  Address on file
30356820          Name on file                  Address on file
30337182          Name on file                  Address on file
30211015          KEN DOUGLAS                   5555 DARROW ROAD                                                                                                         HUDSON                OH           44236
30212840          KEN KLEVE                     Address on file
29959899          KENAI PENINSULA BOROUGH       144 NORTH BINKLEY                                                                                                        SOLDOTNA              AK           99669‐7520
29959900          KENAI PENINSULA BOROUGH       SALES TAX DIVISION                    144 N. BINKLEY STREET                                                              SOLDOTNA              AK           99669‐7520
30212358          KENDALLVILLE PUBLIC LIBRARY   221 S PARK AVE                                                                                                           KENDALLVILLE          IN           46755
29929011          KENERGY CORP                  PO BOX 1389                                                                                                              OWENSBORO             KY           42302‐1389




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  ADDRESS ID                           NAME                         ADDRESS 1                           ADDRESS 2                        ADDRESS 3                 ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
30212361          KENILWORTH PUBLIC LIBRARY             548 BOULEVARD                                                                                                          KENILWORTH            NJ           07033
29929020          KENJAH BATTLE                         Address on file
30211386          KENMORE CONSTRUCTION CO INC           700 HOME AVENUE                                                                                                        AKRON                 OH           44310
                  KENNEBEC COUNTY, ME COUNTY CONSUMER
30207865          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 125 STATE ST                                                                        AUGUSTA               ME           04330
30386192          Name on file                          Address on file
30354776          Name on file                          Address on file
30414717          Name on file                          Address on file
30338614          Name on file                          Address on file
29929046          KENNETH DOUGLAS                       Address on file
29929054          KENNETH MONAR                         Address on file
30351104          Name on file                          Address on file
30351105          Name on file                          Address on file
30332623          Name on file                          Address on file
                  KENT COUNTY, DE COUNTY CONSUMER
30207866          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 555 BAY RD                                                                          DOVER                 DE           19901
                  KENT COUNTY, MI COUNTY CONSUMER
30207867          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 300 MONROE AVE                                                                      GRAND RAPIDS          MI           49503
                  KENT COUNTY, RI COUNTY CONSUMER
30207868          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION   150 SOUTH MAIN ST                                                                 PROVIDENCE            RI           02903
29929067          KENT DISPLAYS                         343 PORTAGE BLVD.                                                                                                      KENT                  OH           44240
29929068          KENT STATE UNIVERSITY                 227 KENT STATE STUDENT CENTER                                                                                          KENT                  OH           44242
30211614          KENT STATE UNIVERSITY                 800 E. SUMMIT ST.                                                                                                      KENT                  OH           44240
29929069          KENT STATE UNIVERSITY                 ATTN: CAREER SERVICES OFFICE         PO BOX 5190                                                                       KENT                  OH           44242‐0001
29959937          KENT STATE UNIVERSITY FOUNDATION      ACCOUNTING SCHOLARSHIP PGM           PO BOX 5190                                                                       KENT                  OH           44242
29959936          KENT STATE UNIVERSITY FOUNDATION      ATTN: MARTI RING                     350 S. LINCOLN ST, PO BOX 5190                                                    KENT                  OH           44242
30210242          KENTON COUNTY PUBLIC LIBRARY          2171 CHAMBER CENTER DRIVE                                                                                              FT. MITCHELL          KY           41017
30210241          KENTON COUNTY PUBLIC LIBRARY          3095 HULBERT AVE.                                                                                                      ERLANGER              KY           41018
30210243          KENTON PUBLIC LIBRARY                 3095 HULBERT AVE                                                                                                       ERLANGER              KY           41018
29959941          KENTUCKY POWER CO/371496/371420       1645 WINCHESTER AVE                                                                                                    ASHLAND               KY           41101
29959942          KENTUCKY REVENUE CABINET              501 HIGH STREET                                                                                                        FRANKFORT             KY           40620
29949131          KENTUCKY REVENUE CABINET              REVENUE CABINET                                                                                                        FRANKFORT             KY           40620‐0003
                                                                                             1050 US HIGHWAY 127 SOUTH, STE
29959943          KENTUCKY STATE TREASURER              KENTUCKY REVENUE CABINET             100                                                                               FRANKFORT             KY           40601
29949390          KENTUCKY STATE TREASURER              UNCLAIMED PROPERTY DIVISION          1050 US HWY 127 S STE 100                                                         FRANKFORT             KY           40601
29959947          KENYA ROBERTSON                       Address on file
29929074          KENYATTA REESE                        Address on file
30358302          Name on file                          Address on file
30353521          Name on file                          Address on file
29959959          KERN COUNTY ASSESSOR                  TAX COLLECTOR                        1115 TRUXTUN AVE 2ND FLOOR                                                        BAKERSFIELD           CA           93301‐4639
29959960          Name on file                          Address on file
30396814          Kern County Treasurer Tax Collector   PO Box 579                                                                                                             Bakersfield           CA           93302
                  KERN COUNTY, CA COUNTY CONSUMER
30207869          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 1115 TRUXTUN AVENUE                FIFTH FLOOR                                      BAKERSFIELD           CA           93301
29959961          KERN CTY AGRICULTURE COMMISSIONER/S   1001 S MT VERNON AVE                                                                                                   BAKERSFIELD           CA           93307‐2851
30332500          Name on file                          Address on file
30356365          Name on file                          Address on file
30347761          Name on file                          Address on file
30354562          Name on file                          Address on file
30394542          Name on file                          Address on file
30279199          Name on file                          Address on file
29929094          KERRY DULANEY                         Address on file
29929098          KERRY JOHNSON                         Address on file
29929101          KERRY LEHRKE                          Address on file
29929105          KERRY PATTERSON                       Address on file
29929106          KERRY PIERRE                          Address on file
29929109          KERRY SURLES                          Address on file
30353335          Name on file                          Address on file
29929117          KERSTIN FRANCIS                       Address on file
29929124          KESSLER CORPORATION                   2040 STONER AVE, SUITE B                                                                                               LOS ANGELES           CA           90025
30395485          Name on file                          Address on file
30280483          Name on file                          Address on file
30397218          Name on file                          Address on file




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  ADDRESS ID                           NAME                                      ADDRESS 1                  ADDRESS 2                          ADDRESS 3               ADDRESS 4                CITY        STATE     POSTAL CODE   COUNTRY
30396858          Name on file                                   Address on file
29929125          KETER CANADA                                   Address on file
29929126          KETER ENVIRONMENTAL SERVICES LLC               PO BOX 417468                                                                                                     BOSTON              MA           02241‐7468

29929127          KETER ENVIRONMENTAL SERVICES LLC/41768         PO BOX 417468                                                                                                     BOSTON              MA           02241‐7468
30398216          Name on file                                   Address on file
29929132          KEVIN BAYNE                                    Address on file
30212624          KEVIN BREZNAI                                  Address on file
30212957          KEVIN MARSH                                    Address on file
29929155          KEVIN MOYA                                     Address on file
29929159          KEVIN P BEEGLE                                 Address on file
30210244          KEWASKUM PUBLIC LIBRARY                        206 FIRST ST.                                                                                                     KEWASKUM            WI           53040
29949426          KEY BANK                                       127 PUBLIC SQUARE 14TH FLOOR                                                                                      CLEVELAND           OH           44114
29949424          KEY BANK                                       3857 DARROW RD                                                                                                    STOW                OH           44224
29964864          KEY BANK                                       ALISA RENCK                     301 EAST FOURTH STREET           SUITE 2900                                       CINCINNATI          OH           45202
29949425          KEY BANK                                       COMMERCIAL SUPPT SVCS           66 SOUTH PEARL ST                                                                 ALBANY              NY           12207
29949427          KEY BANK NATIONAL ASSOCIATION                  127 PUBLIC SQUARE                                                                                                 CLEVELAND           OH           44101
29949428          KEY BANK NATIONAL ASSOCIATION                  2025 ONTARIO AVE                OH‐01‐00‐0409                                                                     CLEVELAND           OH           44115
29949429          KEY BANK OF NY                                 NY‐31‐17‐0206                   17 CORP WOODS BLVD                                                                ALBANY              NY           12211
29949430          KEY BANK OF WASHINGTON                         C/O ACCOUNT ANALYSIS            PO BOX 11500 WA‐31‐05‐0241                                                        TACOMA              WA           98411‐5500
29929178          KEY EVIDENCE LOCK & SAFE INC                   2343 WEST WHITENDALE                                                                                              VISALIA             CA           93277
30221950          Name on file                                   Address on file
30211387          KEYCRAFT GLOBAL INC                            25 1ST AVE SW STE A                                                                                               WATERTOWN           SD           57201
30396941          Name on file                                   Address on file
30210246          KEYPORT FREE PUBLIC LIBRARY                    109 BROAD STREET                                                                                                  KEYPORT             NJ           07735
29929200          Name on file                                   Address on file

30286876          Keyspan Gas East Corporation DBA National Grid National Grid                   Attn: Linda Demauro              PO Box 4706                                      Syracuse            NY           13221

29949826          KEYSPAN GAS EAST CORPORATION, NIAGARA          100 EAST OLD COUNTRY ROAD                                                                                         HICKSVILLE          NY           11801

30210695          KEYSPAN GAS EAST CORPORATION, NIAGARA          300 ERIE BLVD W                                                                                                   SYRACUSE            NY           13202
29964780          KEYSTONE COLLECTIONS GROUP                     135 SIXTH AVENUE                                                                                                  PITTSBURGH          PA           15229
                  KEYSTONE COLLECTIONS GROUP ‐ BUSINESS
29964781          PRIVILEGE                                      KEYSTONE COLLECTIONS GROUP      546 WENDEL ROAD                                                                   IRWIN               PA           15642
29929204          KEYSTONE FREIGHT CORP                          PO BOX 2697                                                                                                       SECAUCUS            NJ           07096
29929210          Name on file                                   Address on file
30356935          Name on file                                   Address on file
29929223          KHALIA SMITH                                   Address on file
30213387          KHALIK INVESTMENTS 2 LLC                       ATTN: MOHAMED ABDEL‐KHALIK      650 E. OLD HICKORY BLVD.                                                          MADISON             TN           37115
30393818          Name on file                                   Address on file
30355376          Name on file                                   Address on file
30358206          Name on file                                   Address on file
30398456          Name on file                                   Address on file
30394511          Name on file                                   Address on file
29929243          KHODIYAR CORPORATION                           BEST WESTERN WEST TOWNE STES.   650 GRAND CANYON DR.                                                              MADISON             WI           53719
30213595          KHP LIMITED PARTNERSHIP                        950 72ND NORTH, SUITE 100       ATTN: JOHN GRAHAM                                                                 SEATTLE             WA           98103
29929245          KHP LTD PARTNERSHIP                            C/O GRAMOR DEVELOPMENT          950 72ND STREET N STE 100                                                         SEATTLE             WA           98103
30397241          Name on file                                   Address on file
29929276          KIARA FRANCIS                                  Address on file
30332161          Name on file                                   Address on file
29959997          KIBBIE TAYLOR                                  Address on file
30355135          Name on file                                   Address on file
30347673          Name on file                                   Address on file
29959999          Name on file                                   Address on file
29960000          Name on file                                   Address on file
29960001          KIDS LICENSING LLC                             ATTN: DAWN CICCONE              1155 23RD ST. NW, STE. 8B                                                         WASHINGTON          DC           20037
30332434          Name on file                                   Address on file
30344353          Name on file                                   Address on file
30279711          Name on file                                   Address on file
30414436          Name on file                                   Address on file
29929297          KIERA MARTIN                                   Address on file
30332364          Name on file                                   Address on file




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30347881          Name on file                           Address on file
29929334          Name on file                           Address on file
29929336          Name on file                           Address on file
                  KILBOURN PUBLIC LIBRARY OF WISCONSIN
30210249          DELLS                                  620 ELM ST                                                                                                              WISCONSIN DELLS          WI           53965
                  KILBOURN PUBLIC LIBRARY OF WISCONSIN
30210248          DELLS                                  620 ELM STREET WISONSIN                                                                                                 DELLS                    WI           53965
30356588          Name on file                           Address on file
29960003          Name on file                           Address on file
30395662          Name on file                           Address on file
30401057          Name on file                           Address on file
30333843          Name on file                           Address on file
29929362          KIM LONG VINA COMPANY LIMITED          AN HOA COMMUNE                       KIM SON DISTRICT                                                                   NINH MINH PROVINCE                    8000            VIETNAM
30223154          KIM ROWE                               Address on file
30345523          Name on file                           Address on file
30338142          Name on file                           Address on file
30347691          Name on file                           Address on file
30332496          Name on file                           Address on file
29960018          KIMBERLEE DRENNON                      Address on file
30212986          KIMBERLEY LAMBERT                      Address on file
30338681          Name on file                           Address on file
29929452          KIMBERLY FLOYD                         Address on file
29929451          KIMBERLY FLOYD                         Address on file
29929485          KIMBERLY L KRUKOWSKI ORTIZ             Address on file
29929488          KIMBERLY LATTANZE                      Address on file
29929492          KIMBERLY LITCHFIELD                    Address on file
29929531          KIMBERLY R. WILKINSON                  Address on file
29929590          KIMCO INCOME OP PARTNERSHIP LP         KIR COVINA LP, #100370‐010175        PO BOX 30344                                                                       TAMPA                    FL           33630
29929591          KIMCO REALTY                           DBA NORBER TRUST #103120‐015461      PO BOX 30344                                                                       TAMPA                    FL           33630
                                                                                              PO BOX 30344, ACC#116670‐
29929594          KIMCO REALTY CORPORATION               DBA NORTH VALLEY PLAZA LLC           023811                                                                             TAMPA                    FL           33630
29929596          KIMCO REALTY CORPORATION               GARDEN STATE PAVILIONS CTR LLC       PO BOX 30344, #116640‐005805                                                       TAMPA                    FL           33630
29929595          KIMCO REALTY CORPORATION               WEINGARTEN NOSTAT INC                PO BOX 30344                                                                       TAMPA                    FL           33630
29929593          KIMCO REALTY CORPORATION               WRI/ GREENHOUSE LP                   PO BOX 30344                                                                       TAMPA                    FL           33630
29929605          KIMCO REALTY OP LLC                    FLAGLER SC ACCT # 115890‐044516      PO BOX 30344                                                                       TAMPA                    FL           33630
29929602          KIMCO REALTY OP LLC                    GARDEN STATE PAVILIONS CTR, LLC      PO BOX 30344, #116640‐045022                                                       TAMPA                    FL           33630
29929608          KIMCO REALTY OP LLC                    NORBER TRUST #103120‐044972          PO BOX 30344                                                                       TAMPA                    FL           33630
                                                                                              PO BOX 30344, ACC#116670‐
29929600          KIMCO REALTY OP LLC                    NORTH VALLEY PLAZA LLC               028198                                                                             TAMPA                    FL           33630
29929601          KIMCO REALTY OP LLC                    PK I SILVERDALE SHOPPING CTR LLC     PO BOX 30344, #114950‐025847                                                       TAMPA                    FL           33630

29929604          KIMCO REALTY OP LLC                    RPT NEWNAN LLC ACC# 125380‐050112    PO BOX 30344                                                                       TAMPA                    FL           33630
29929607          KIMCO REALTY OP LLC                    RPT REALTY LP                        PO BOX 30344                                                                       TAMPA                    FL           33630
29929598          KIMCO REALTY OP LLC                    RPT REALTY LP ACC #125030‐048312     PO BOX 30344                                                                       TAMPA                    FL           33630
29929606          KIMCO REALTY OP LLC                    RPT REALTY LP ACCT #: 125150‐048     PO BOX 30344                                                                       TAMPA                    FL           33630
29929597          KIMCO REALTY OP LLC                    RPT WEST OAKS II LLC ACT #125360‐0   PO BOX 30344                                                                       TAMPA                    FL           33630

29929603          KIMCO REALTY OP LLC                    WEINGARTEN NOSTAT LLC                PO BOX 30344 AC #118400‐045478                                                     TAMPA                    FL           33630
29929609          KIMCO RIVERVIEW LLC                    ACCT #111780‐040105                  PO BOX 30344                                                                       TAMPA                    FL           33630
29929610          KIMCO RIVERVIEW LLC                    PO BOX 30344                                                                                                            TAMPA                    FL           33630

29929611          KIMCO RIVERVIEW, LLC                   C/O KIMCO REALTY CORPORATION ‐1495B ATTN: LEGAL DEPARTMENT            2429 PARK AVENUE                                  TUSTIN                   CA           92782

30210919          KIMCO RIVERVIEW, LLC                   C/O KIMCO REALTY CORPORATION ‐1495B ATTN: LEGAL DEPARTMENT            500 NORTH BROADWAY            SUITE 201           JERICHO                  NY           11753
29929612          KIMCO SAVANNAH 185 LLC                 PO BOX 30344                                                                                                            TAMPA                    FL           33630
30213536          KIMCO WESTLAKE L.P.                    500 NORTH BROADWAY, SUITE 201       P.O. BOX 9010                                                                       JERICHO                  NY           11753
29929614          KIMCO WESTLAKE LP                      ACCT #101860‐025629                 PO BOX 30344                                                                        TAMPA                    FL           33630
29929615          KIMCO WESTLAKE LP                      PO BOX 30344                                                                                                            TAMPA                    FL           33630
30216131          Name on file                           Address on file
30332191          Name on file                           Address on file
30346726          Name on file                           Address on file
30165860          Kind, Emilia Kathryn                   Address on file
29929630          Name on file                           Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                            ADDRESS 2                        ADDRESS 3                 ADDRESS 4                     CITY        STATE     POSTAL CODE            COUNTRY
30337318          Name on file                             Address on file
29960037          KING COUNTY FINANCE DIVISION             500 FOURTH AVENUE                                                                                                       SEATTLE                  WA           98104
29960038          KING COUNTY STATE OF WASHINGTON          500 FOURTH AVE RM 600                                                                                                   SEATTLE                  WA           98104
                  KING COUNTY, WA COUNTY CONSUMER
30207870          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION   KING COUNTY CHINOOK BUILDING      401 5TH AVE. SUITE 800                           SEATTLE                  WA           98104
29964918          KING CROSSING LLC                        706 E MORGAN AVE.                                                                                                       CUERO                    TX           77954‐3029
29960040          KING CROSSING LLC                        PO BOX 80510                                                                                                            BILLINGS                 MT           59108‐0510
30213396          KING CROSSING, LLC                       C/O CORNING COMPANIES                2280 GRANT ROAD, SUITE A                                                           BILLINGS                 MT           59102
LC_0412           King Township Public Library             1970 King Road                                                                                                          King City                ON           L7B1A6          Canada
30340609          Name on file                             Address on file
30354912          Name on file                             Address on file
30335253          Name on file                             Address on file
30282347          Name on file                             Address on file
30293185          Name on file                             Address on file
30223789          Name on file                             Address on file
30356118          Name on file                             Address on file
30356240          Name on file                             Address on file
30348983          Name on file                             Address on file
30347699          Name on file                             Address on file
30397871          Name on file                             Address on file
29960044          KINGART                                  PO BOX 429                                                                                                              PURCHASE                 NY           10577‐0429
30385463          Name on file                             Address on file
30397383          Name on file                             Address on file
30336748          Name on file                             Address on file
30395829          Name on file                             Address on file
29960045          KINGS PETROLEUM LLC                      PO BOX 841318                                                                                                           LOS ANGELES              CA           90084
29960046          Name on file                             Address on file
30210251          KINGSPORT PUBLIC LIBRARY                 225 W CENTER ST                                                                                                         KINGSPORT                TN           37660
29960047          Name on file                             Address on file
30210848          KINGSWOOD CAPITAL MANAGEMENT, LP         11812 SAN VICENTE BLVD.              SUITE 604                                                                          LOS ANGELES              CA           90049
30279817          Name on file                             Address on file
30351472          Name on file                             Address on file
29929642          Name on file                             Address on file
29929643          KINTETSU WORLD EXPRESS (USA) INC         DEPT CH 17097                                                                                                           PALATINE                 IL           60055‐7097
30210866          KIR CARY LIMITED PARTNERSHIP             500 NORTH BROADWAY, SUITE 201        P.O. BOX 9010                                                                      JERICHO                  NY           11753

29929647          KIR CARY LIMITED PARTNERSHIP             ATTN: MICHAEL HOCKEBORN              500 NORTH BROADWAY, SUITE 201 P.O. BOX 9010                                        JERICHO                  NY           11753
29929648          KIR CARY LTD PARTNERSHIP                 PO BOX 30344                                                                                                            TAMPA                    FL           33630
30213481          KIR COVINA, L.P.                         500 NORTH BROADWAY, SUITE 201        P.O. BOX 9010                                                                      JERICHO                  NY           11753
30213183          KIR FEDERAL WAY 035, LLC                 500 NORTH BROADWAY, SUITE 201        P.O. BOX 9010                                                                      JERICHO                  NY           11753

30213178          KIR MAPLE GROVE L.P.                     C/O KIMCO REALTY CORPORATION         500 NORTH BROADWAY, SUITE 201                                                      JERICHO                  NY           11753
29964913          KIR SONCY L.P.                           3333 NEW HYDE PARK RD.                                                                                                  NEW HYDE PARK            NY           11042‐1204
30213028          KIR SONCY L.P.                           500 NORTH BROADWAY, SUITE 201                                                                                           JERICHO                  NY           11753
29929654          KIR SONCY L.P.                           PO BOX 82566                                                                                                            GOLETA                   CA           93118‐2566
29929655          KIR SONCY LP                             PO BOX 30344                                                                                                            TAMPA                    FL           33630
30213190          KIR TAMPA 003, LLC                       500 NORTH BROADWAY, SUITE 201        PO BOX 9010                                                                        JERICHO                  NY           11753
30414847          Name on file                             Address on file
29929691          KIRK CARTER                              Address on file
29929695          KIRK PALMER & ASSOCIATES INC             500 FIFTH AVE, 53RD FLOOR                                                                                               NEW YORK                 NY           10110
29929696          KIRK STRAUGHN                            Address on file
29929698          Name on file                             Address on file
                  KIRKLAND LAKE / TECK CENTENNIAL PUBLIC
30210252          LIBRARY                                  10 KIRKLAND STREET EAST                                                                                                 KIRKLAND LAKE            ON           P2N 1P1         CANADA
30212362          KIRKLAND MUNICIPAL LIBRARY               17100 BOULEVARD HYMUS                                                                                                   KIRKLAND                 QC           H9J 2W2         CANADA
29929700          Name on file                             Address on file
30210254          KIRKWOOD PUBLIC LIBRARY                  140 E. JEFFERSON AVE                                                                                                    KIRKWOOD                 MO           63122
30341693          Name on file                             Address on file
30395155          Name on file                             Address on file
30333815          Name on file                             Address on file
30211389          KISS PRODUCTS, INC.                      25 HARBOR PARK DRIVE                                                                                                    PORT WASHINGTON          NY           11050
29960064          KISSIMMEE UTILITY AUTHORITY              PO BOX 71376                                                                                                            CHARLOTTE                NC           28272‐1376




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                                                                                                 4100 W. KENNEDY BLVD., SUITE
30213226          KISSIMMEE WEST FLORIDA, LP                C/O CIMINELLI REAL ESTATE SERVICES   #105                                                                             TAMPA                  FL           33609
30350165          Name on file                              Address on file
30338835          Name on file                              Address on file
29929717          Name on file                              Address on file
30210257          KITCHENER PUBLIC LIBRARY                  85 QUEEN STREET NORTH                                                                                                 KITCHENER              ON           N2H 2H1         CANADA
29929718          KITE REALTY GROUP LLC                     KRG MARKET ST VILLAGE LP             PO BOX 847952                                                                    DALLAS                 TX           75284
29929720          KITE REALTY GROUP LP                      KRG SUGAR LAND COLONY LLC            15105 COLLECTION CTR. DR.                                                        CHICAGO                IL           60693
                                                            DBA KRG TEMECULA COMMONS, LLC
                                                            (WHOLLY OWNED SUBSIDIARY OF THE      30 SOUTH MERIDIAN STREET, SUITE
30213166          KITE REALTY GROUP, L.P.                   ABOVE)                               1100                                                                             INDIANAPOLIS           IN           46204
29929723          KITSAP COUNTY TREASURER                   PO BOX 169                                                                                                            PORT ORCHARD           WA           98366
                  KITSAP COUNTY, WA COUNTY CONSUMER
30207871          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION BULLARD BLDG                        614 DIVISION ST                                PORT ORCHARD           WA           98366
30212363          KITSAP REGIONAL LIBRARY                   1301 SYLVAN WAY                                                                                                       BREMERTON              WA           98310
30348752          Name on file                              Address on file
29929725          KITTRICH CORPORATION                      1585 W MISSION BLVD                                                                                                   POMONA                 CA           91766
29952168          KIYANA SINGH BHULLAR                      Address on file
30401046          Name on file                              Address on file
29952173          Name on file                              Address on file
LC_0340           Klamath County Library Service District   126 S Third St                                                                                                        Klamath Falls          OR           97601‐6319

30210258          KLAMATH COUNTY LIBRARY SERVICE DISTRICT   126 SOUTH THIRD STREET                                                                                                KLAMATH FALLS          OR           97601
29952174          KLAMATH COUNTY TREASURER                  PO BOX 340                                                                                                            KLAMATH FALLS          OR           97601‐0349
                  KLAMATH COUNTY, OR COUNTY CONSUMER
30207872          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 316 MAIN ST                                                                        KLAMATH FALLS          OR           97601
                                                            GM/ KLAMATH FALLS HOTEL CIMARRON
30186346          KLAMATH FALLS HOTEL CIMARRON INC.         INC.                               ATTN: KISHAN NARIA                  3060 SOUTH 6TH STREET                          KLAMATH FALLS          OR           97603

30210949          KLAMATH‐JEFFERSON, LLC                    C/O DICKERHOOF PROPERTIES            777 NE SECOND STREET, SUITE 200                                                  CORVALLIS              OR           97330

29929729          KLAMATH‐JEFFERSON, LLC                    C/O DICKERHOOF PROPERTIES            ATTN: DARIN COLE                  777 NE SECOND STREET, SUITE 200                CORVALLIS              OR           97330
30396524          Name on file                              Address on file
30353567          Name on file                              Address on file
30349607          Name on file                              Address on file
30349243          Name on file                              Address on file
30398322          Name on file                              Address on file
30351363          Name on file                              Address on file
30386541          Name on file                              Address on file
30346949          Name on file                              Address on file
30343129          Name on file                              Address on file
29929736          KLINE & KAVALI MECHANICAL CONT LLC        1294 BRIMFIELD DR                                                                                                     KENT                   OH           44240
30350832          Name on file                              Address on file
30397513          Name on file                              Address on file
30259932          Name on file                              Address on file
30397760          Name on file                              Address on file
30352768          Name on file                              Address on file
30356700          Name on file                              Address on file
29960076          Name on file                              Address on file
29960078          Name on file                              Address on file
30401164          Name on file                              Address on file
30352750          Name on file                              Address on file
30347930          Name on file                              Address on file
30342686          Name on file                              Address on file
30336961          Name on file                              Address on file
30348713          Name on file                              Address on file
30211391          KNIGHT TRANSPORTATION SERVICES INC        20002 N. 19TH AVE                                                                                                     PHOENIX                AZ           85027‐4250
30397719          Name on file                              Address on file
30350318          Name on file                              Address on file
29960079          Name on file                              Address on file
29960080          Name on file                              Address on file
29960081          Name on file                              Address on file
30223157          KNOEBEL CONSTRUCTION INC                  18333 WINGS CORPORATE DR.                                                                                             CHESTERFIELD           MO           63005




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  ADDRESS ID                           NAME                               ADDRESS 1                       ADDRESS 2                           ADDRESS 3               ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30349681          Name on file                          Address on file
                  KNOX COUNT, IN COUNTY CONSUMER
30207873          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 111 N 7TH ST                                                                           VINCENNES              IN           47591
29929738          KNOX COUNTY CLERK                     PO BOX 1566                                                                                                               KNOXVILLE              TN           37901
29929739          KNOX COUNTY FEE ADMINISTRATOR         P.O. BOX 177                                                                                                              BARBOURVILLE           KY           40906
29929740          KNOX COUNTY SHERIFF                   234 COURT SQ                                                                                                              BARBOURVILLE           KY           40906
29929741          KNOX COUNTY TREASURER                 111 N 7TH STREET STE 1                                                                                                    VINCENNES              IN           47591
29929742          KNOX COUNTY TRUSTEE                   PO BOX 70                                                                                                                 KNOXVILLE              TN           37901‐0070
                  KNOX COUNTY, IL COUNTY CONSUMER
30207874          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 200 S CHERRY ST                                                                        GALESBURG              IL           61401
                  KNOX COUNTY, TN COUNTY CONSUMER
30207875          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 300 MAIN ST                                                                            KNOXVILLE              TN           37902

30213394          KNOXVILLE LEVCAL LLC                  C/O FIDELIS REALTY PARTNERS, LTD.      4500 BISSONNET STREET, SUITE 200                                                   BELLAIRE               TX           77401
30414741          Name on file                          Address on file
30339436          Name on file                          Address on file
30346745          Name on file                          Address on file
30416682          Name on file                          Address on file
30393666          Name on file                          Address on file
30385767          Name on file                          Address on file
29964790          KOCHVILLE TOWNSHIP                    5851 MACKINAW ROAD                                                                                                        SAGINAW                MI           48604
29960082          KOCHVILLE TOWNSHIP TREASURER          5851 MACKINAW ROAD                                                                                                        SAGINAW                MI           48604
29960083          KOCHVILLE TOWNSHIP, MI                5851 MACKINAW ROAD                                                                                                        SAGINAW                MI           48604
30399662          Name on file                          Address on file
30335476          Name on file                          Address on file
30397385          Name on file                          Address on file
30332673          Name on file                          Address on file
30353543          Name on file                          Address on file
30338722          Name on file                          Address on file
30401359          Name on file                          Address on file
29960092          KOGNITIV INC                          1340 CENTRE ST. #208                                                                                                      NEWTON                 MA           02459
30333888          Name on file                          Address on file
30347292          Name on file                          Address on file
30354030          Name on file                          Address on file
30354319          Name on file                          Address on file
29929749          Name on file                          Address on file
LC_0341           Kokomo‐Howard County Public Library   220 N Union St                                                                                                            Kokomo                 IN           46901‐4614

30210259          KOKOMO‐HOWARD COUNTY PUBLIC LIBRARY   220 NORTH UNION STREET                                                                                                    KOKOMO                 IN           46901
30258597          Name on file                          Address on file
30357617          Name on file                          Address on file
29929761          KOLLIN ADICKES                        Address on file
30352740          Name on file                          Address on file
30397840          Name on file                          Address on file
30257159          Name on file                          Address on file
30345040          Name on file                          Address on file
30340719          Name on file                          Address on file
30415217          Name on file                          Address on file
30223158          KONICA MINOLTA BUSINESS SOL           DEPT CH 19188                                                                                                             PALATINE               IL           60055‐9188
29929768          KONICA MINOLTA PREMIER                PO BOX 41602                                                                                                              PHILADELPHIA           PA           19101
30340474          Name on file                          Address on file
29929769          Name on file                          Address on file
30414248          Name on file                          Address on file
30340843          Name on file                          Address on file
29929775          KOOTENAI COUNTY TREASURER             PO BOX 9000                                                                                                               COEUR D ALENE          ID           83816‐9000
30356950          Name on file                          Address on file
30260002          Korber Supply Chain U.S., Inc.        James Bumbaugh                         7760 France Avenue S.              Suite 800                                       Bloomington            MN           55435

30259580          Korber Supply Chain U.S., Inc.        James Bumbaugh, Global Legal Counsel   7760 France Avenue S.              Suite 800                                       Bloomington            MN           55435
29929789          KORIE LOESCH                          Address on file
29929793          KORN FERRY INC                        NW 5854 PO BOX 1450                                                                                                       MINNEAPOLIS            MN           55485‐5854
30350459          Name on file                          Address on file
29929796          KORRIE DISANTO                        Address on file




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  ADDRESS ID                           NAME                    ADDRESS 1                        ADDRESS 2                           ADDRESS 3              ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
29929798          KORRINE LEIWEKE                 Address on file
30212974          KORT MASTELLER                  Address on file
30397503          Name on file                    Address on file
29929801          KORTO MOMOLU BRIGGS             Address on file
30415237          Name on file                    Address on file
30358250          Name on file                    Address on file
30356106          Name on file                    Address on file
30385016          Name on file                    Address on file
30342817          Name on file                    Address on file
30347845          Name on file                    Address on file
30395670          Name on file                    Address on file
30394706          Name on file                    Address on file
30337038          Name on file                    Address on file
30347705          Name on file                    Address on file
30337909          Name on file                    Address on file
30355593          Name on file                    Address on file
29929804          KOUNT INC                       PO BOX 71221                                                                                                         CHARLOTTE             NC           28272‐1221
29929809          KOUSHIK PAL                     Address on file
30395618          Name on file                    Address on file
30337562          Name on file                    Address on file
30338756          Name on file                    Address on file
30358278          Name on file                    Address on file
30414371          Name on file                    Address on file
30344413          Name on file                    Address on file
29929811          KP PHOTO INCORPORATED           KALMAN & PABST PHOTO GROUP         3907 PERKINS AVENUE                                                               CLEVELAND             OH           44114
30350373          Name on file                    Address on file
29929812          Name on file                    Address on file
30414433          Name on file                    Address on file
30346551          Name on file                    Address on file
30385242          Name on file                    Address on file
29929816          KRATZENBERG & ASSOCIATES INC    KEYSTONE COLLECTIONS GROUP         546 WENDEL ROAD                                                                   IRWIN                 PA           15642
30210968          KRAUS‐ANDERSON, INC.            C/O KRAUS‐ANDERSON REALTY CO.      ATTN: CROSSING MEADOWS PM           501 SOUTH EIGHT STREET                        MINNEAPOLIS           MN           55404
29929818          KRAUS‐ANDERSON, INC.            C/O KRAUS‐ANDERSON REALTY CO.      ATTN: CROSSING MEADOWS PM           501 SOUTH EIGHTH STREET                       MINNEAPOLIS           MN           55404
30259624          Name on file                    Address on file
30395474          Name on file                    Address on file

29929819          KRC CT ACQUISITION LP           PK I CHINO TOWN SCAC1405/LJOANFA00 PO BOX 30344, AC#114050‐027321                                                    TAMPA                 FL           33630

30213130          KRCX PRICE REIT, LLC            C/O KIMCO REALTY CORPORATION       500 NORTH BROADWAY, SUITE 201                                                     JERICHO               NY           11753
30392998          Name on file                    Address on file
29929821          Name on file                    Address on file
30358403          Name on file                    Address on file
30260672          Name on file                    Address on file
30353375          Name on file                    Address on file
30333894          Name on file                    Address on file
30341106          Name on file                    Address on file
30396785          Name on file                    Address on file
                                                                                     30 SOUTH MERIDIAN STREET, SUITE
30213161          KRG BEL AIR SQUARE, LLC         C/O KITE REALTY GROUP              1100                                                                              INDIANAPOLIS          IN           46204
                                                  ATTN: ROBERT MCGUINNESS, ASSET
30213157          KRG COOL SPRINGS, LLC           MANAGER                            30 S. MERIDIAN STREET, SUITE 1100                                                 INDIANAPOLIS          IN           46204
30213241          KRG MARKET STREET VILLAGE, LP   30 S. MERIDIAN, SUITE 1100         ATTN: LEASE ADMINISTRATION                                                        INDIANAPOLIS          IN           46204
                                                                                     30 SOUTH MERIDIAN STREET, SUITE
30213324          KRG SUGAR LAND COLONY, LLC      C/O KITE REALTY GROUP              1100                                                                              INDIANAPOLIS          IN           46204
29929829          KRIS JILLSON                    Address on file
30340970          Name on file                    Address on file
30355792          Name on file                    Address on file
29929844          KRISTA COLE                     Address on file
29929855          KRISTA LANGE                    Address on file
29950536          KRISTEN LUEDER                  Address on file
29954239          KRISTI A ROBISON                Address on file
29954240          KRISTI AKSAY                    Address on file
30213016          KRISTIAN HYDE                   Address on file




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  ADDRESS ID                           NAME                                     ADDRESS 1               ADDRESS 2                        ADDRESS 3                 ADDRESS 4                   CITY        STATE     POSTAL CODE           COUNTRY
29929938          Name on file                                Address on file
29960107          KRISTIN WHITE                               Address on file
29930015          KRISTINE A ASCHENBRENER                     Address on file
30212581          KRISTINE ASCHENBRENER                       Address on file
29953291          KRISTINE LANCASTER                          Address on file
30210262          KRISTINE LYNN VEJAR                         Address on file
29930025          KRISTINE RANGER                             Address on file
29930034          KRISTY BARNES                               Address on file
30347248          Name on file                                Address on file
30384944          Name on file                                Address on file
30353613          Name on file                                Address on file
30332657          Name on file                                Address on file
30414820          Name on file                                Address on file
30277933          Name on file                                Address on file
29930050          KRUGLIAK WILKINS GRIFFITHS & DOUGHE         PO BOX 36963                                                                                                     CANTON                 OH           44735‐6963
                  KRUGLIAK, WILKINS, GRIFFTHS & DOUGHTERY
30184159          CO., LPA                                    4775 MUNSON ST.                                                                                                  NW CANTON              OH           44718
29930051          KRUPALU LLC                                 BEST WESTERN PLUS BOURBONNAIS   62 KEN HAYES DR.                                                                 BOURBONNAIS            IL           60914
30355604          Name on file                                Address on file
30345317          Name on file                                Address on file
30347195          Name on file                                Address on file
30341407          Name on file                                Address on file
30356696          Name on file                                Address on file
30393072          Name on file                                Address on file
29930056          KRYSTAL DIALBERTO                           Address on file
29960129          KRYSTAL MURRAY                              Address on file
29930077          KRYSTL GEE                                  Address on file
29930087          Name on file                                Address on file
29930088          KS‐JAS‐SALES 04201                          915 SW HARRISON ST                                                                                               TOPEKA                 KS           66612‐1588
30211392          KTC EXPORT PVT LTD                          4B, CHETAN SETH STREET                                                                                           KOLKATA                             700007          INDIA
30340799          Name on file                                Address on file
30397752          Name on file                                Address on file
30338361          Name on file                                Address on file
29930089          KUB‐KNOXVILLE UTILITIES BOARD               PO BOX 59029                                                                                                     KNOXVILLE              TN           37950‐9029
30397449          Name on file                                Address on file
30347027          Name on file                                Address on file
                  KUECKER PULSE INTEGRATION, L.P. D/B/A KPI
30210849          INTEGRATED SOLUTIONS                        801W MARKEY ROAD                                                                                                 BELTON                 MO           64012
30414572          Name on file                                Address on file
30395815          Name on file                                Address on file
30348640          Name on file                                Address on file
30393789          Name on file                                Address on file
29930091          KU‐KENTUCKY UTILITIES COMPANY               PO BOX 25212                                                                                                     LEHIGH VALLEY          PA           18002‐5212
30349951          Name on file                                Address on file
30414208          Name on file                                Address on file
30256486          Kump, Ruth                                  Address on file
29930093          Name on file                                Address on file
30416617          Name on file                                Address on file
30350274          Name on file                                Address on file
30353873          Name on file                                Address on file
30340657          Name on file                                Address on file
30414723          Name on file                                Address on file
30342623          Name on file                                Address on file
30356882          Name on file                                Address on file
30394479          Name on file                                Address on file
30339819          Name on file                                Address on file
29960139          KURT BOWSER                                 Address on file
30385803          Name on file                                Address on file
30397433          Name on file                                Address on file
30354914          Name on file                                Address on file
30274418          Name on file                                Address on file
30342747          Name on file                                Address on file
30397276          Name on file                                Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                          ADDRESS 2                        ADDRESS 3                 ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY
30333817          Name on file                             Address on file
29960156          KY‐COM‐SALES TAX                         416 WEST JEFFERSON STREET                                                                                             LOUISVILLE               KY           40202
30355723          Name on file                             Address on file
29930108          KY‐JAS‐SALES TAX 041                     PO BOX 181 STATION 23                                                                                                 FRANKFORT                KY           40602
30356921          Name on file                             Address on file
29930110          KYLA BARNES                              Address on file
29930129          KYLA SUTTON                              Address on file
29930133          KYLAH HILL                               Address on file
30212918          KYLE MOLLOY                              Address on file
30212625          KYLE PETERS                              Address on file
30212762          KYLE SCHULD                              Address on file
29930165          KYLE SPISAK                              Address on file
30401512          Name on file                             Address on file
29960191          KYLIE FERGUSON                           Address on file
29960200          KYLIE LOUCH                              Address on file
29930224          KYNDRYL INC                              AR LKBX #735919                        14800 FRYE RD., 2ND FL.                                                        FORT WORTH               TX           76155
30296092          Kyndryl, Inc.                            Dallas AR Lockbox                      P.O. BOX 735919                                                                Dallas                   TX           75373‐5919
IC_052            Kyra Balentine / Plaid Crafts            3225 WESTECH DR.                                                                                                      NORCROSS                 GA           30092
29930234          KYRA ROGERS                              Address on file
29930241          KYRNAN LISKE                             Address on file
30213354          L & L PROPERTEIS OF STERLING, LLC        218 W. 3RD ST.                         ATTN: BRECK LOOS                                                               STERLING                 IL           61081
29972757          Name on file                             Address on file
29930254          Name on file                             Address on file
30210263          L&M BEEKLEY LIBRARY                      10 CENTRAL AVE                                                                                                        NEW HARTFORD             CT           06057
29930255          L&W MARKETS INC                          BL QUALITY MEATS                       720 SOUTH DEMAREE                                                              VISALIA                  CA           93277
30213122          L. BRENT DAHLE                           Address on file
29930257          L. CABE                                  Address on file
29930258          L. CANELA                                Address on file
29930259          L. CYNTHIA DOSKEY                        Address on file
30210264          L. E. SMOOT MEMORIAL LIBRARY             9533 KINGS HIGHWAY                                                                                                    KING GEORGE              VA           22485
29930260          L. GAINES                                Address on file
29930261          L. GREEN                                 Address on file
29930262          L. GRIMES                                Address on file
29930263          L. GUYER                                 Address on file
29930264          L. HAMILTON                              Address on file
29930265          L. ROEDER                                Address on file
29930266          L. ROSEN                                 Address on file
29930267          L. SOOD                                  Address on file
29930268          L. STILWELL                              Address on file
29930269          L. THOMPSON                              Address on file
29930270          L. VENTURA                               Address on file
29930271          Name on file                             Address on file
                                                           C/O RONALD L. DANIELS ‐ BUYERS REALTY, 4350 WESTOWN PARKWAY, SUITE
30213549          L.H.W.O.P., L.L.C.                       INC.                                   100                                                                            WEST DES MOINES          IA           50266
29930275          Name on file                             Address on file
30262017          Name on file                             Address on file
29930276          LA COUNTY WATERWORKS                     PO BOX 512150                                                                                                         LOS ANGELES              CA           90051‐0150
30210265          LA CROSSE COUNTY LIBRARY                 121 W. LEGION ST.                                                                                                     HOLMEN                   WI           54636
30211393          LA DARLING COMPANY                       91516 COLLECTION CENTER DRIVE                                                                                         CHICAGO                  IL           60693
29930279          LA DEPT OF AGRICULTURE                   DIVISION OF WEIGHTS MEASURES           PO BOX 91081                                                                   BATON ROUGE              LA           70821‐9081
30210266          LA GRANDE PUBLIC LIBRARY                 2006 4TH STREET                                                                                                       LA GRANDE                OR           97850
30210268          LA GRANGE PARK PUBLIC LIBRARY DISTRICT   555 NORTH LAGRANGE ROAD                                                                                               LA GRANGE PARK           IL           60526
29930281          Name on file                             Address on file
30213573          LA HABRA WESTRIDGE PARTNERS, L.P.        C/O SDL MANAGEMENT COMPANY             2222 E. 17TH STREET                                                            SANTA ANA                CA           92705
29930285          Name on file                             Address on file
29930286          LA PAZ SHOPPING CENTER LLC               2603 MAIN STREET STE 210                                                                                              IRVINE                   CA           92614
30210270          LA PORTE COUNTY PUBLIC LIBRARY           904 INDIANA AVE.                                                                                                      LA PORTE                 IN           46350
29930288          LA RIBBONS AND CRAFTS INC                2840 TIEMANN AVENUE                                                                                                   BRONX                    NY           10469
                  LA SALLE COUNTY, IL COUNTY CONSUMER
30207876          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 707 E ETNA RD                                                                      OTTAWA                   IL           61350
29930289          LA SHANA DIAZ                            Address on file
30258084          Name on file                             Address on file
30397546          Name on file                             Address on file




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29960241          LABORATORY CORP OF AMERICA HOLDINGS   LABCORP                            PO BOX 12140                                                                        BURLINGTON             NC           27216‐2140
29960242          LABORLAWCENTER LLC                    PO BOX 103258                                                                                                          PASADENA               CA           91189‐3258
30210273          LAC LA BICHE COUNTY LIBRARIES         8702 91 AVENUE                                                                                                         LAC LA BICHE           AB           T0A 2C0         CANADA
30357982          Name on file                          Address on file
30342635          Name on file                          Address on file
                  LACKAWANNA COUNTY, PA COUNTY CONSUMER
30207877          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 233 PENN AVENUE                                                                     SCRANTON               PA           18503
30401363          Name on file                          Address on file
29930300          LA‐CORP‐INCOME‐JAS 02100              LOUISIANA DEPT OF REVENUE          617 NORTH THIRD ST                                                                  BATON ROUGE            LA           70802
29930301          LA‐CORP‐INCOME‐SSC 02200              LOUISIANA DEPT. OF REVENUE         617 NORTH THIRD ST                                                                  BATON ROUGE            LA           70802
29930302          LA‐CORP‐INCOME‐SSC 02400              LOUISIANA DEPT. OF REVENUE         617 NORTH THIRD ST                                                                  BATON ROUGE            LA           70802
30344440          Name on file                          Address on file
30297652          Ladner, Karen Lee                     Address on file
29964792          LAFAYETTE CONSOLIDATED GOVERNMENT     REVENUE COLLECTION DIVISION        PO BOX 4024‐C                                                                       LAFAYETTE              LA           70502
29930318          LAFAYETTE FALSE ALARM                 REDUCTION PROGRAM                  PO BOX 850563                                                                       MINNEAPOLIS            MN           55485‐0563
30340315          LAFAYETTE II, KENNETH J.              Address on file
29930319          LAFAYETTE PARISH SCHOOL SYSTEM        PO BOX 52706                                                                                                           LAFAYETTE              LA           70505‐2706
29954127          LAFAYETTE PARISH SCHOOL SYSTEM        SALES TAX DIVISION                 PO BOX 52706                                                                        LAFAYETTE              LA           70505
29954128          LAFAYETTE PARISH TAX COLLECTOR        1010 LAFAYETTE ST                  4TH FLOOR                                                                           LAFAYETTE              LA           70501
30213618          LAFAYETTE PLAZA, INC.                 C/O EQUITY MANAGEMENT LLC          215 E. 58TH ST., SUITE # 3A                                                         NEW YORK               NY           10022
30212368          LAFAYETTE PUBLIC LIBRARY              775 W BASELINE RD                                                                                                      LAFAYETTE              CO           80026
29954132          LAFAYETTE UTILITIES SYSTEMS (LUS)     P.O. BOX 4024‐C                                                                                                        LAFAYETTE              LA           70502
30358160          Name on file                          Address on file
LC_0344           Lafourche Parish Public Library       705 West 5Th Street                                                                                                    Lafourche              LA           70301‐3148
30210274          LAFOURCHE PARISH PUBLIC LIBRARY       314 SAINT MARY STREET                                                                                                  THIBODAUX              LA           70301
29954134          Name on file                          Address on file
29954136          LAGHETTO STUDIO                       DBA M COLLECTION                   2 OLD STONE BRIDGE RD.                                                              COS COB                CT           06807
30210276          LAGRANGE PUBLIC LIBRARY               10 WEST COSSITT AVENUE                                                                                                 LA GRANGE              IL           60525
30396323          Name on file                          Address on file
29954137          Name on file                          Address on file
30354018          Name on file                          Address on file
29930337          LAIRD PLASTICS INC                    P.O. BOX 934226                                                                                                        ATLANTA                GA           31193
30355587          Name on file                          Address on file
29930338          LA‐JAC‐SALES TAX                      617 NORTH THIRD STREET                                                                                                 BATON ROUGE            LA           70821
29930339          LA‐JAS‐SALES 04101                    PO BOX 4018                                                                                                            BATON ROUGE            LA           70821‐4018
29930340          LA‐JAS‐SLS‐CADDO PARISH               PO BOX 104                                                                                                             SHREVEPORT             LA           71161
29930341          LA‐JAS‐SLS‐EAST BATON ROUGE PARISH    PO BOX 2590                                                                                                            BATON ROUGE            LA           70821‐2590
29930342          LA‐JAS‐SLS‐JEFF PARISH #2508          PO BOX 248                                                                                                             GRETNA                 LA           70054
29930343          LA‐JAS‐SLS‐JEFF PARISH #2544          PO BOX 248                                                                                                             GRETNA                 LA           70054
29930344          LA‐JAS‐SLS‐LAFAYETTE PARISH           PO BOX 52706                                                                                                           LAFAYETTE              LA           70505
29930345          LA‐JAS‐SLS‐RAPIDES PARISH             5606 COLISEUM BLVD                                                                                                     ALEXANDRIA             LA           71309
29930346          LA‐JAS‐SLS‐ST. TAMMANY PARISH         PO BOX 61041                                                                                                           NEW ORLEANS            LA           70161‐1041
29949827          LAKE APOPKA NATURAL GAS DISTRICT      1320 WINTER GARDEN‐VINELAND RD.                                                                                        WINTER GARDAN          FL           34787
30210724          LAKE APOPKA NATURAL GAS DISTRICT      1320 WINTER GARDEN‐VINELAND RD.                                                                                        WINTER GARDEN          FL           34787
30210279          LAKE BLUFF PUBLIC LIBRARY             123 E. SCRANTON AVE.                                                                                                   LAKE BLUFF             IL           60044
30210970          LAKE CHARLES PC, L.P.                 ATTN: PROPERTY MANAGEMENT          900 TOWN & COUNTRY LANE                                                             HOUSTON                TX           77024
                                                        ATTN: PROPERTY MANAGEMENT, JARRETT
29930350          LAKE CHARLES PC, L.P.                 ADAME                              900 TOWN & COUNTRY LANE                                                             HOUSTON                TX           77024
30297664          Lake Charles PC, L.P.                 Realm Realty                       900 Town & Country Lane            Suite 210                                        Houston                TX           77024
29930351          LAKE COUNTY                           GENERAL HEALTH DISTRICT            5966 HEISLEY RD.                                                                    MENTOR                 OH           44060
29949136          LAKE COUNTY GENERAL HEALTH DISTRICT   GENERAL HEALTH DISTRICT            5966 HEISLEY RD.                                                                    MENTOR                 OH           44060
29960269          Name on file                          Address on file
29960270          Name on file                          Address on file
30210287          LAKE COUNTY LIBRARY DISTRICT          26 SOUTH G ST                                                                                                          LAKEVIEW               OR           97630
LC_0349           Lake County Public Library            1919 West 81St Avenue                                                                                                  Merrillville           IN           46410‐5488
30210288          LAKE COUNTY PUBLIC LIBRARY            1115 HARRISON AVE.                                                                                                     LEADVILLE              CO           80461
30223159          LAKE COUNTY PUBLIC LIBRARY            1425 N HIGH ST                                                                                                         LAKEPORT               CA           95453
30212375          LAKE COUNTY PUBLIC LIBRARY            1919 W 81ST AVE                                                                                                        MERRILLVILLE           IN           46410
29960272          Name on file                          Address on file
29960273          LAKE COUNTY TAX COLLECTOR             TANGIBLE PROPERTY TAX              PO DRAWER 327                                                                       TAVARES                FL           32778
29949138          LAKE COUNTY TREASURER                 PERSONAL PROPERTY TAX              2293 N MAIN STREET                                                                  CROWN POINT            IN           46307
29960274          LAKE COUNTY TREASURER                 PERSONAL PROPERTY TAX ‐ 497        2293 N MAIN STREET                                                                  CROWN POINT            IN           46307




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                  LAKE COUNTY, FL COUNTY CONSUMER
30207878          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 315 W MAIN ST                                                                       TAVARES                    FL           32778
                  LAKE COUNTY, IL COUNTY CONSUMER
30207879          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 18 N COUNTY ST, 6TH FLOOR                                                           WAUKEGAN                   IL           60085
                  LAKE COUNTY, IN COUNTY CONSUMER
30207880          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION   2293 N MAIN ST                                                                    CROWN POINT                IN           46307
29960275          LAKE DELTON UTILITY DEPT.                 P.O. BOX 87                                                                                                            LAKE DELTON                WI           53940
29960277          LAKE ERIE GRAPHICS INC                    5372 WEST 130TH STREET                                                                                                 BROOKPARK                  OH           44142
29960278          Name on file                              Address on file
                                                            INLAND COMM. REAL ESTATE SERVICES
30213398          LAKE GENEVA RETAIL LEASECO., L.L.C.       LLC #51573                           2901 BUTTERFIELD RD                                                               OAK BROOK                  IL           60523
29960280          Name on file                              Address on file
30210293          LAKE OSWEGO PUBLIC LIBRARY                706 FOURTH ST                                                                                                          LAKE OSWEGO                OR           97034
30223160          LAKE VIEW PLAZA OWNER LLC                 C/O THE HUTENSKY GROUP, LLC          100 CONSTITUTION PLAZA                                                            HARTFORD                   CT           06103
LC_0352           Lake Villa Public Library District        140 North Munn Road                                                                                                    Lindenhurst                IL           60046‐9154
30212381          LAKE VILLA PUBLIC LIBRARY DISTRICT        140 N MUNN RD                                                                                                          LINDENHURST                IL           60046
30345552          Name on file                              Address on file
29930357          LAKEHAVEN WATER & SEWER DISTRICT          31627A 1ST AVE. S.                                                                                                     FEDERAL WAY                WA           98063
29930356          LAKEHAVEN WATER & SEWER DISTRICT          PO BOX 34882                                                                                                           SEATTLE                    WA           98124‐1882
29960282          LAKELAND ELECTRIC/CITY OF LAKELAND,FL     P.O. BOX 32006                                                                                                         LAKELAND                   FL           33802‐2006
30212384          LAKELAND PUBLIC LIBRARY                   100 LAKE MORTON DRIVE                                                                                                  LAKELAND                   FL           33801
29960289          Name on file                              Address on file
29960290          LAKEVIEW CONSTRUCTION LLC                 10505 CORPORATE DR. STE 200                                                                                            PLEASANT PRAIRIE           WI           53158
29960291          LAKEVIEW PLAZA (ORLAND) LLC               PO BOX 713107                                                                                                          CHICAGO                    IL           60677‐0307
30210295          LAKEVILLE FREE PUBLIC LIBRARY             4 PRECINCT ST.                                                                                                         LAKEVILLE                  MA           02347
29930362          Name on file                              Address on file
30210297          LAKEWOOD PUBLIC LIBRARY                   15425 DETROIT AVNEUE                                                                                                   LAKEWOOD                   OH           44107
30213593          LAKEWOOD STATION LLC                      ATTN: ROBERT F. MYERS, COO           11501 NORTHLAKE DRIVE                                                             CINCINNATI                 OH           45249
                                                                                                                                  1201 N. Market Street, Suite 2300,
30414284          Lakewood Station LLC                      Monique B. DiSabatino, Esquire       Saul Ewing LLP                   P.O. Box 1266                                    Wilmington                 DE           19899
30213382          LAKEWOOD VILLAGE SHOPPING PARK LLC        ATTN: RICHARD H. ASHLEY, MANAGER     2851 LAKEWOOD VILLAGE DRIVE                                                       NORTH LITTLE ROCK          AR           72116
29930371          Name on file                              Address on file
30355316          Name on file                              Address on file
29930377          LAMAR COUNTY                              TAX COLLECTOR                        PO BOX 309                                                                        PURVIS                     MS           39475
29930378          LAMAR TEXAS LTD PARTNERSHIP               THE LAMAR COMPANIES                  PO BOX 96030                                                                      BATON ROUGE                LA           70896
30350751          Name on file                              Address on file
30342847          Name on file                              Address on file
30398330          Name on file                              Address on file
30355500          Name on file                              Address on file
30332135          Name on file                              Address on file
30259495          Name on file                              Address on file
30274905          Name on file                              Address on file
30351626          Name on file                              Address on file
30347980          Name on file                              Address on file
30346713          Name on file                              Address on file
29930392          LANA WILLIAMS OFFICIAL                    THE TENDER GARDENER                  1326 E. 23RD ST.                                                                  OAKLAND                    CA           94606
29930394          LANAI ACUNA                               Address on file
29930395          LANAI C DEVOS                             Address on file
30212385          LANARK HIGHLANDS PUBLIC LIBRARY           75 GEORGE ST                                                                                                           LANARK                     ON           K0G 1K0         CANADA
29930399          Name on file                              Address on file
29930400          LANCASTER COUNTY TREASURER                555 SOUTH 10TH ST                                                                                                      LINCOLN                    NE           68508‐2860
29930401          Name on file                              Address on file
                                                                                                 ATTN: DIRECTOR OF PROPERTY
30210933          LANCASTER DEVELOPMENT COMPANY LLC          C/O C.E. JOHN COMPANY, INC.         MANAGEMENT                       1701 SE COLUMBIA RIVER DR                        VANCOUVER                  WA           98661
29930404          Name on file                               Address on file
29930405          LANCASTER UTILITIES COLLECTION‐OFFICE      P.O. BOX 1099                                                                                                         LANCASTER                  OH           43130‐0819
29930413          LANCE PROCTOR                              Address on file
                  LANCE R MILLER, WRIGHT, LINDSEY & JENNINGS
30210851          LLP                                        200 WEST CAPITOL AVENUE             SUITE 2300                                                                        LITTLE ROCK                AR           72201‐3699
30211395          LANDAIR TRANSPORT INC                      COVENANT LOGISTICS GROUP INC        PO BOX 735674                                                                     DALLAS                     TX           75373
30416584          Name on file                               Address on file
30342232          Name on file                               Address on file




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                  LANE COUNTY ASSESSMENT & TAX
29949141          DEPARTMENT                           LANE COUNTY PERS PROPERTY TAX       125 E 8TH AVE                                                                    EUGENE                    OR           97401
                  LANE COUNTY, OR COUNTY CONSUMER
30207881          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION 125 EAST 8TH AVENUE                                                               EUGENE                    OR           97401
30393769          Name on file                         Address on file
30342815          Name on file                         Address on file
30401022          Name on file                         Address on file
30401946          Name on file                         Address on file
30396026          Name on file                         Address on file
30332163          Name on file                         Address on file
30342813          Name on file                         Address on file
29930429          LANGHAM CREEK PARTNERS LP            CO SGU INSURANCE PROP LP           2660 TOWNSGATE RD #130                                                            WESTLAKE VILLAGE          CA           91361
30337150          Name on file                         Address on file
29930436          LANIYA BLAKELY                       Address on file
30358260          Name on file                         Address on file
30395699          Name on file                         Address on file
30395426          Name on file                         Address on file
29930441          Name on file                         Address on file
29930442          LANSING BOARD OF WATER & LIGHT       PO BOX 30824                                                                                                         LANSING                   MI           48909‐8311
29930444          LANSING CITY TREASURER               CITY OF LANSING TREASURER          PO BOX 40712                                                                      LANSING                   MI           48901‐7912
30210300          LANSING PUBLIC LIBRARY               2750 INDIANA AVENUE                                                                                                  LANSING                   IL           60438
29930448          Name on file                         Address on file
30347781          Name on file                         Address on file
30333720          Name on file                         Address on file
30343649          Name on file                         Address on file
30332699          Name on file                         Address on file
30349399          Name on file                         Address on file
                  LAPEER COUNTY, MI COUNTY CONSUMER
30207882          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION COUNTY COMPLEX BUILDING          255 CLAY ST.                                     LAPEER                    MI           48446
30210301          LAPEER DISTRICT LIBRARY              201 VILLAGE WEST DR S                                                                                                LAPEER                    MI           48466
29930452          Name on file                         Address on file
29930453          LAPEER INCOME TAX DEPARTMENT         576 LIBERTY PARK                                                                                                     LAPEER                    MI           48446
29930454          LAPORTE COUNTY TREASURER             PO BOX J                                                                                                             MICHIGAN CITY             IN           46361‐0319
                  LAPORTE COUNTY, IN COUNTY CONSUMER
30207883          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION 809 STATE ST                                                                      LA PORTE                  IN           46350
30344823          Name on file                         Address on file
30348068          Name on file                         Address on file
29930475          LARAMIE COUNTY TREASURER             PO BOX 125                                                                                                           CHEYENNE                  WY           82003
                  LARAMIE COUNTY, WY COUNTY CONSUMER
30207884          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION 309 W 20TH ST                                                                     CHEYENNE                  WY           82001
30353186          Name on file                         Address on file
30333728          Name on file                         Address on file
29960294          LARIMER COUNTY TREASURER             PO BOX 1190                                                                                                          FORT COLLINS              CO           80522‐1190
29964794          LARIMER COUNTY TREASURER             PO BOX 2336                                                                                                          FORT COLLINS              CO           80522‐2336
                  LARIMER COUNTY, CO COUNTY CONSUMER
30207885          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION 200 W OAK ST                                                                      FORT COLLINS              CO           80521
30335370          Name on file                         Address on file
29930478          Name on file                         Address on file
30395721          Name on file                         Address on file
30401268          Name on file                         Address on file
30393203          Name on file                         Address on file
29930489          LARRIE KING                          Address on file
30338590          Name on file                         Address on file
30340599          Name on file                         Address on file
30393684          Name on file                         Address on file
29930497          LARSON & JUHL                        990 PEACHTREE INDUST BLVD #3829                                                                                      SUWANEE                   GA           30024
30398371          Name on file                         Address on file
30332336          Name on file                         Address on file
30355139          Name on file                         Address on file
30347833          Name on file                         Address on file
30348764          Name on file                         Address on file
30385639          Name on file                         Address on file
30210302          LAS CRUCES PUBLIC LIBRARIES          200 E. PICACHO AVE.                                                                                                  LAS CRUCES                NM           88001




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                  LAS VEGAS CLARK COUNTY PUBLIC LIBRARY
30210303          DISTRICT                                  7060 W WINDMILL LN                                                                                                   LAS VEGAS             NV           89113
29930501          Name on file                              Address on file

30210307          LAS VEGAS‐CLARK COUNTY LIBRARY DISTRICT   7060 W WINDMILL LN                                                                                                   LAS VEGAS             NV           89113
30346641          Name on file                              Address on file
30394682          Name on file                              Address on file
29930514          Name on file                              Address on file
30342753          Name on file                              Address on file
29930515          LATAH COUNTY TAX COLLECTOR                P.O. BOX 8068                                                                                                        MOSCOW                ID           83843
                  LATAH COUNTY, ID COUNTY CONSUMER
30207886          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 522 S ADAMS                                                                       MOSCOW                ID           83843
29960312          LATISHA MILAM                             Address on file
29930540          LATRICIA ZELLER                           Address on file
30393177          Name on file                              Address on file
30396319          Name on file                              Address on file
30210308          LATZER MEMORIAL PUBLIC LIBRARY            1001 9TH ST                                                                                                          HIGHLAND              IL           62249
30344372          Name on file                              Address on file
30396388          Name on file                              Address on file
29930545          LAUDERDALE COUNTY                         REVENUE COMMISSIONER               PO BOX 794                                                                        FLORENCE              AL           35631
29930546          LAUDERDALE COUNTY TAX COLLECTOR           PO BOX 5205                                                                                                          MERIDIAN              MS           39302
                  LAUDERDALE COUNTY, AL COUNTY CONSUMER
30207887          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 200 S COURT ST # 303                                                              FLORENCE              AL           35630
30211396          Name on file                              Address on file
29960323          LAURA BROWNSCHIDLE                        Address on file
29960325          LAURA BURKET                              Address on file
30212847          LAURA DEAK                                Address on file
29960336          LAURA DMYTROW                             Address on file
29930575          LAURA ESPINOSA                            Address on file
29930579          LAURA FITCH                               Address on file
IC_152            LAURA JENEAN MORRISON                     Address on file
30223162          LAURA L. NEMETZ                           Address on file
29960354          LAURA MARTIN                              Address on file
29930629          LAURA PETERSON                            Address on file
29960360          LAURA PILAND                              Address on file
29960376          LAURA STEPHENS                            Address on file
29960379          LAURA STRIGEL                             Address on file
29930644          LAURA THOELKE                             Address on file
29930665          LAUREL COCHRAN                            Address on file
30210311          LAUREL COUNTY PUBLIC LIBRARY              120 COLLEGE PARK DRIVE                                                                                               LONDON                KY           40741
29930672          LAUREN BOETTCHER                          Address on file
30212888          LAUREN D'ALESSIO                          Address on file
29960401          LAUREN GABOUREL                           Address on file
IC_054            LAUREN HOLTON                             Address on file
30211397          LAUREN M BYRNE                            Address on file
IC_103            Lauren Marcinek                           Address on file
29950835          LAUREN MORGAN                             Address on file
29960411          LAUREN SAVASKY                            Address on file
29930765          LAUREN SKUNTA                             Address on file
29960419          Name on file                              Address on file
29930776          Name on file                              Address on file
30210312          LAURENS COUNTY LIBRARY                    1017 WEST MAIN STREET                                                                                                LAURENS               SC           29360
29960427          LAURIE AVILA MCDONALD                     Address on file
29930781          Name on file                              Address on file
30223163          LAURIE MOSES                              Address on file
30332695          Name on file                              Address on file
30210992          LAVALE PLAZA LLC                          11155 RED RUN BLVD, SUITE 320                                                                                        OWINGS MILLS          MD           21117
                                                            ATTN: MORT SCHUCHMAN, PROPERTY
29930803          LAVALE PLAZA LLC                          MGR                                11155 RED RUN BLVD, SUITE 320                                                     OWINGS MILLS          MD           21117
30336680          Name on file                              Address on file
30397413          Name on file                              Address on file
29930810          LAVIN CEDRONE GRAVER BOYD & DISIPIO       190 NORTH INDEPENDENCE MALL                                                                                          PHILADELPHIA          PA           19106




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30184160          LAVIN, CEDRONE, GRAVER, BOYD & DISIPIO    190 N INDEPENDENCE MALL W, SUITE 500                                                                                     PHILADELPHIA              PA           19106
30192543          Lavin, Cedrone, Graver, Boyd & DiSipio    Michael F. McKeon, Esquire           190 N. Independent Mall W          Suite 500                                        Philadelphia              PA           19106

30197197          LAW FIRM OF RUSSELL R. JOHNSON III, PLC   ATTN: RUSSELL JOHNSON, JOHN CRAIG     2258 Wheatlands Drive                                                              Manakin‐Sabot             VA           23103
29952204          LAW OFFICE OF GREGORY S SCONZO PA         3825 PGA BLVD. STE. 207                                                                                                  PALM BEACH GARDENS        FL           33410
30351818          Name on file                              Address on file
30338702          Name on file                              Address on file
30358254          Name on file                              Address on file
30414253          Name on file                              Address on file
29930812          LAWRENCE COUNTY TREASURER                 PO BOX 338                                                                                                               BEDFORD                   IN           47421
                  LAWRENCE COUNTY, IN COUNTY CONSUMER
30207888          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 916 15TH ST                                                                           BEDFORD                   IN           47421
29930814          LAWRENCE FISHER                           Address on file
29930821          Name on file                              Address on file
30344268          Name on file                              Address on file
30394634          Name on file                              Address on file
30340924          Name on file                              Address on file
29930822          LAWRENCEVILLE HEALTH DEPT                 PO BOX 6006                                                                                                              LAWRENCEVILLE             NJ           08648
29930823          LAWSON PRODUCTS INC                       PO BOX 734922                                                                                                            CHICAGO                   IL           60673‐4922
30279538          Name on file                              Address on file
30398194          Name on file                              Address on file
30210314          LAWTON PUBLIC LIBRARY                     110 SW 4TH STREET                                                                                                        LAWTON                    OK           73501
30340558          Name on file                              Address on file
29930828          LAYLA COCHRAN                             Address on file
30340761          Name on file                              Address on file
30344045          Name on file                              Address on file
30338020          Name on file                              Address on file
30338021          Name on file                              Address on file
30397259          Name on file                              Address on file
30213520          LBD PROPERTIES LLC                        PO BOX 91                          ATTN: DANIEL JOHNSON                                                                  MERIDIAN                  MS           39302
29930848          LCEC‐ LEE COUNTY ELECTRIC COOPERATIVE     4941 BAYLINE DR                                                                                                          NORTH FORT MYERS          FL           33917
29930847          LCEC‐ LEE COUNTY ELECTRIC COOPERATIVE     PO BOX 31477                                                                                                             TAMPA                     FL           33631‐3477
29964889          LCM 26 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29964890          LCM 27 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29964891          LCM 28 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29949537          LCM 29 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29949538          LCM 30 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29949539          LCM 31 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29949540          LCM 32 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29949541          LCM 33 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29949542          LCM 34 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29949543          LCM 35 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29949544          LCM 36 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29949545          LCM 37 LTD.                               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29953855          LCM ASSET MANAGEMENT LLC                  399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29972793          Name on file                              Address on file
29949546          LCM LOAN INCOME FUND I LTD.               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29949547          LCM XIV LIMITED PARTNERSHIP               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29952592          LCM XV LIMITED PARTNERSHIP                399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29952593          LCM XVI LIMITED PARTNERSHIP               399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29952594          LCM XVII LIMITED PARTNERSHIP              399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29952595          LCM XVIII LIMITED PARTNERSHIP             399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29952596          LCM XXII LTD.                             399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29952597          LCM XXIII LTD.                            399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29952598          LCM XXIV LTD.                             399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29952599          LCM XXV LTD.                              399 PARK AVENUE, 22ND FLOOR                                                                                              NEW YORK                  NY           10022
29930849          LCO DESTINY LLC DBA TIMELESS FRAMES       1 FISHER CIRCLE                                                                                                          WATERTOWN                 NY           13601
29930850          LCO DESTINY LLC DBA TIMELESS FRAMES       C/O TIMELESS FRAMES AND DECOR      1 FISHER CIRCLE                                                                       WATERTOWN                 NY           13601

30213453          LCR WALPOLE LLC                           C/O THE WILDER COMPANIES, LTD.       800 BOYLSTON STREET ‐ SUITE 1300                                                    BOSTON                    MA           02199
29964799          LDAF                                      DIVISION OF WEIGHTS MEASURES         PO BOX 91081                                                                        BATON ROUGE               LA           70821‐9081
30356038          Name on file                              Address on file




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30358058          Name on file                            Address on file
30253701          Name on file                            Address on file
30349965          Name on file                            Address on file
29960477          LEAH MUSTARD                            Address on file
29930887          LEAH PLISKO                             Address on file
30212906          LEAH SWAINO                             Address on file
30340972          Name on file                            Address on file
30211399          LEASE ADMINIST SOLUTIONS LLC            248 MAIN STREET, SUITE 102                                                                                              READING                 MA           01867
30333561          Name on file                            Address on file
30351111          Name on file                            Address on file
30416065          Name on file                            Address on file
                  LEBANON COUNTY, PA COUNTY CONSUMER
30207889          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION   400 SOUTH 8TH STREET                                                               LEBANON                 PA           17042
29930910          LEBANON PAD, LP                         6 E 45TH ST STE 801                                                                                                     NEW YORK                NY           10017
30213423          LEBANON PAD, LP                         C/O LAVIPOUR & COMPANY, LLC          6 E. 45 STREET, SUITE 801                                                          NEW YORK                NY           10017
29930911          Name on file                            Address on file
29930912          Name on file                            Address on file
30394401          Name on file                            Address on file
30212386          LECLAIRE COMMUNITY LIBRARY              323 WISCONSIN ST                                                                                                        LE CLAIRE               IA           52753
30353359          Name on file                            Address on file
30212387          LEDDING LIBRARY                         10660 SE 21ST AVE                                                                                                       MILWAUKIE               OR           97222
30337276          Name on file                            Address on file
30353417          Name on file                            Address on file
30210896          LEDO INTERNATIONAL CORP. LTD.           801 BRICKELL BAY DR.                 TOWER IV, SUITE 370                                                                MIAMI                   FL           33131
29960506          LEDO INTERNATIONAL CORP. LTD.           ATTN: ROBERT SPAGGIARI, MGR.         801 BRICKELL BAY DR.              TOWER IV, SUITE 370                              MIAMI                   FL           33131
29960507          Name on file                            Address on file
30210315          LEDYARD PUBLIC LIBRARIES                718 COLONEL LEDYARD WAY                                                                                                 LEDYARD                 CT           06339
29960511          LEE COUNTY                              REVENUE COMMISSIONER                 PO BOX 2413                                                                        OPELIKA                 AL           36803‐2413
29960510          LEE COUNTY                              TAX COLLECTOR                        PO BOX 271                                                                         TUPELO                  MS           38802

29960512          LEE COUNTY SHERIFF'S OFFICE             FALSE ALARM REDUCTION UNIT LCSO      14750 SIX MILE CYPRESS PARKWAY                                                     FORT MYERS              FL           33912
29930913          LEE COUNTY TAX COLLECTOR                PO BOX 1549                                                                                                             FORT MYERS              FL           33902
29960513          LEE COUNTY TAX COLLECTOR                PO BOX 1609                                                                                                             FORT MYERS              FL           33902‐1609
29930914          LEE COUNTY UTILITIES, FL                PO BOX 37779                                                                                                            BOONE                   IA           50037‐0779
                  LEE COUNTY, FL COUNTY CONSUMER
30207890          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 2115 SECOND ST, 2ND FLOOR                                                            FORT MYERS              FL           33901
                  LEE COUNTY, MS COUNTY CONSUMER
30207891          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 300 W MAIN ST                                                                        TUPELO                  MS           38804
30223164          LEE ENTERPRISES INC DBA MISSOULIAN      PO BOX 742548                                                                                                           CINCINNATI              OH           45274‐2548
29930924          LEE ROY WEBER                           Address on file
30223165          LEE STAFFING INC                        DBA ALLEGIANCE STAFFING            PO BOX 357                                                                           ALEXANDER CITY          AL           35011
30416184          Name on file                            Address on file
30260075          Name on file                            Address on file
30394624          Name on file                            Address on file
30338877          Name on file                            Address on file
30338878          Name on file                            Address on file
30337270          Name on file                            Address on file
30353992          Lee, Jennifer                           Address on file
30385969          Name on file                            Address on file
30263321          Name on file                            Address on file
30263322          Name on file                            Address on file
30275424          Name on file                            Address on file
30353503          Lee, Lisanne Magdaleno                  Address on file
30358333          Name on file                            Address on file
30278000          Name on file                            Address on file
30393718          Name on file                            Address on file
30340986          Name on file                            Address on file
29930934          Name on file                            Address on file
                  LEEDS AND THE THOUSAND ISLANDS PUBLIC
30210316          LIBRARY                                 1 JESSIE STREET                                                                                                         LANSDOWNE               ON           K0E 1L0         CANADA
                  LEEDS AND THE THOUSAND ISLANDS PUBLIC
30223166          LIBRARY                                 1B JESSIE STREET                                                                                                        LANSDOWNE               ON           K0E 1L0         CANADA
30356315          Name on file                            Address on file




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29930941          LEES LAGUNA HILL RESORT LLC              THE HILLS HOTEL                        25205 LA PAZ ROAD                                                                              LAGUNA HILLS                CA           92653
30340785          Name on file                             Address on file
29930944          Name on file                             Address on file
30352692          Name on file                             Address on file
29930945          LEGACY CB LLC                            PO BOX 25277                                                                                                                             SHAWNEE MISSION          KS           66225
                                                                                                                                                                      4400 College Boulevard, Suite
30279634          Legacy CB, LLC                           Commercial Reposition Partners, LLC    c/o Pace Properties, LLC             Attn: Tina Brown               180                           Overland Park            KS           66111
                                                           1100 6TH STREET OR PO BOX 406 (SAME
30213522          LEGACY EQUITY GROUP, LLC                 ZIP)                                   ATTN: SHAWN STORHAUG                                                                           BROOKINGS                   SD           57006
29930947          Name on file                             Address on file
30350145          Name on file                             Address on file

29930950          LEGEND HILLS PROPERTIES, LLC             1410 S. UNIVERSITY PARK BLVD, SUITE 110 ATTN: RYAN BELLEAU, CFO                                                                       CLEARFIELD                  UT           84015
30213380          LEGEND HILLS PROPERTIES, LLC             1412 S. LEGEND HILLS DR., SUITE 100     ATTN: RYAN BELLEAU, CFO                                                                       CLEARFIELD                  UT           84015
30344002          Name on file                             Address on file
29930955          LEGO SYSTEMS INC                         555 TAYLOR RD                                                                                                                         ENFIELD                     CT           06082
30348096          Name on file                             Address on file
                  LEHIGH COUNTY, PA COUNTY CONSUMER
30207892          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION     17 SOUTH 7TH ST.                                                                               ALLENTOWN                   PA           18101
30353603          Name on file                             Address on file
30399631          Name on file                             Address on file
30395264          Name on file                             Address on file
29930976          Name on file                             Address on file
29930994          LEILANI KELLEY                           Address on file
29931003          LEISA ALKEMA                             Address on file
30338840          Name on file                             Address on file
30279932          Leisure Arts                             104 Champs Blvd                        Suite 100                                                                                      Maumelle                    AR           72113
30262315          Leisure Arts                             104 Champs Blvd, Suite 100             PO Box 2683                                                                                    Maumelle                    AR           72113
30279933          Leisure Arts                             4310 West 5th Avenue                   PO Box 2683                                                                                    Eugene                      OR           97402
30356210          Name on file                             Address on file

30213492          LEJ PROPERTIES, LLC                      C/O LEVY, MOSSÈ & CO.                  11400 W. OLYMPIC BLVD, SUITE 330                                                               LOS ANGELES                 CA           90064
29931015          LELA JONES                               Address on file
30333871          Name on file                             Address on file
30395489          Name on file                             Address on file
30401350          Name on file                             Address on file
30416058          Name on file                             Address on file
29931033          LENAWEE COUNTY TREASURER                 301 N MAIN ST                          OLD COURT HOUSE                                                                                ADRIAN                      MI           49221
                  LENAWEE COUNTY, MI COUNTY CONSUMER
30207893          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 301 N MAIN STREET                   OLD COURTHOUSE 2ND FLOOR                                       ADRIAN                      MI           49221
29931035          LENEE DODD                               Address on file
30345302          Name on file                             Address on file
30345303          Name on file                             Address on file
30210319          LENOX LIBRARY                            18 MAIN ST.                                                                                                                           LENOX                       MA           01240
30394586          Name on file                             Address on file
30355299          Name on file                             Address on file
30261833          Name on file                             Address on file
30335385          Name on file                             Address on file
30213152          LEO MA MALL, LLC                         C/O HULL PROPERTY GROUP, LLC           1190 INTERSTATE PARKWAY                                                                        AUGUSTA                     GA           30909
30285043          Name on file                             Address on file
29931060          LEONARD DAY                              Address on file
29931062          LEONARD GREEN & PARTNERS LP              11111 SANTA MONICA BLVD # 2000                                                                                                        LOS ANGELES                 CA           90025
                                                                                                  11100 SANTA MONICA BLVD., SUITE
30210518          LEONARD GREEN & PARTNERS, L.P.           C/O GREEN EQUITY INVESTORS SIDE V, L.P 2000                                                                                           LOS ANGELES                 CA           90025
                                                                                                  11100 SANTA MONICA BLVD., SUITE
30210519          LEONARD GREEN & PARTNERS, L.P.           C/O GREEN EQUITY INVESTORS V, L.P.     2000                                                                                           LOS ANGELES                 CA           90025
                                                                                                  11100 SANTA MONICA BLVD., SUITE
30210520          LEONARD GREEN & PARTNERS, L.P.           C/O NEEDLE COINVEST LLC                2000                                                                                           LOS ANGELES                 CA           90025
                  LEONARD GREEN & PARTNERS, L.P.LATHAM &   ATTN: JONATHAN SOKOLOFF AND TODD
30223167          WATKINS LLP                              PURDY                                  11111 SANTA MONICA BOULEVARD SUITE 2000                                                        LOS ANGELES                 CA           90025
30342613          Name on file                             Address on file
30353557          Name on file                             Address on file
29931069          Name on file                             Address on file




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29931070          Name on file                             Address on file
30333461          Name on file                             Address on file
30354164          Name on file                             Address on file
29931078          LERLITA DEBORD                           Address on file
29931086          LESLEE VAZQUEZ‐HERNANDEZ                 Address on file
29960523          LESLIE BARNETT                           Address on file
29960524          LESLIE BONANTE                           Address on file
IC_057            Leslie Schucker                          Address on file
30222078          Name on file                             Address on file
30335131          Name on file                             Address on file
30210320          LESTER PUBLIC LIBRARY OF ROME            1157 ROME CENTER DR.                                                                                                 NEKOOSA              WI           54457
30340552          Name on file                             Address on file
30332199          Name on file                             Address on file
30212388          LETCHER COUNTY PUBLIC LIBRARY            220 MAIN ST                                                                                                          WHITESBURG           KY           41858
30210321          LETCHER COUNTY PUBLIC LIBRARY DISTRICT   220 MAIN STREET                                                                                                      WHITESBURG           KY           41858
30210322          LETHBRIDGE PUBLIC LIBRARY                810 5 AVE S                                                                                                          LETHBRIDGE           AB           T1J 4C4         CANADA
29960534          Name on file                             Address on file
30338970          Name on file                             Address on file
29931154          Name on file                             Address on file
30349184          Name on file                             Address on file
30336178          Name on file                             Address on file
30357995          Name on file                             Address on file
30415257          Name on file                             Address on file
30357070          Name on file                             Address on file
30353519          Name on file                             Address on file
29931165          Name on file                             Address on file
29931166          LEWIS & CLARK COUNTY TREASURER           316 NORTH PARK AVENUE RM 113                                                                                         HELENA               MT           59623
30210323          LEWIS & CLARK LIBRARY                    120 S. LAST CHANCE GULCH                                                                                             HELENA               MT           59601
                  LEWIS AND CLARK COUNTY, MT COUNTY
30207894          CONSUMER PROTECTION AGENCY               ATTN: CONSUMER PROTECTION DIVISION 316 N PARK AVE                                                                    HELENA               MT           59623
29931168          Name on file                             Address on file
29931169          Name on file                             Address on file
LC_0360           Lewis Egerton Smoot Memorial Library     9533 Kings Highway                                                                                                   King George          VA           22485‐3426
30335422          Name on file                             Address on file
30355486          Name on file                             Address on file
30344351          Name on file                             Address on file
30353643          Name on file                             Address on file
30353607          Lewis, Dylan Star                        Address on file
30259129          Name on file                             Address on file
30253753          Name on file                             Address on file
30253787          Name on file                             Address on file
30353581          Name on file                             Address on file
30395417          Name on file                             Address on file
30338752          Name on file                             Address on file
30394763          Name on file                             Address on file
30289742          Name on file                             Address on file
30284416          Name on file                             Address on file
30385809          Name on file                             Address on file
30351030          Name on file                             Address on file
30414871          Name on file                             Address on file
30344317          Name on file                             Address on file
30212390          LEWISTON CITY LIBRARY                    411 D STREET                                                                                                         LEWISTON             ID           83501
30212391          LEWISVILLE PUBLIC LIBRARY                PO BOX 299002                                                                                                        LEWISVILLE           TX           75029
29931174          LEX + PARK LLC                           477 E. 19TH ST.                                                                                                      COSTA MESA           CA           92627
29931182          LEXINGTON DIVISION OF POLICE             FALSE ALARM REDUCTION UNIT         150 EAST MAIN STREET                                                              LEXINGTON            KY           40507
                  LEXINGTON‐FAYETTE URBAN COUNTY
29931184          GOVERNMENT, DIVISION OF REVENUE          PO BOX 3204                                                                                                          LEXINGTON            KY           40588
29931185          LEXINGTON‐FAYETTE URBAN COUNTY GOVT      PO BOX 34090                                                                                                         LEXINGTON            KY           40588‐4090
30343885          Name on file                             Address on file
29931197          LEYLA BARRERA                            Address on file
29931202          LFUCG                                    PO BOX 1333                                                                                                          LEXINGTON            KY           40588‐1333
29931203          LG REALTY ADVISORS                       141 S SAINT CLAIR ST STE 201                                                                                         PITTSBURGH           PA           15206
29931204          LG&E ‐ LOUISVILLE GAS & ELECTRIC         PO BOX 7231                                                                                                          ST LOUIS             MO           63177




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29931206          LGBT COMMUNITY CTR OF GR CLEVELAND         6705 DETROIT AVE.                                                                                                               CLEVELAND                                     OH           44102
30354948          Name on file                               Address on file
30210852          LI & FUNG (TRADING) LIMITED                LIFUNG TOWER                         888 CHEUNG SHA WAN ROAD                                                                    KOWLOON                                                                    HONG KONG
IC_104            Li Sen                                     Address on file
30222619          Name on file                               Address on file
30210325          LIA GRIFFITH MEDIA                         Address on file
IC_162            LIA GRIFFITH MEDIA LLC                     6411 SE 17TH AVE                                                                                                                PORTLAND                                      OR           97202
29931227          LIANA ALLDAY                               Address on file
IC_058            Libby Hickson / Hero Arts                  1200 HARBOUR WAY S.                  SUITE 201                                                                                  RICHMOND                                      CA           94804
30333339          Name on file                               Address on file
30399724          Name on file                               Address on file
30213026          LIBERTY MUTUAL                             175 BERKELEY STREET                                                                                                             BOSTON                                        MA           02116
29931244          LIBERTY MUTUAL                             PO BOX 1449                                                                                                                     NEW YORK                                      NY           10116‐1449
30212650          LIBERTY MUTUAL FIRE INSURANCE CO.          175 BERKELEY ST                      6TH FLOOR                                                                                  BOSTON                                        MA           02116
29931247          LIBERTY MUTUAL GROUP                       175 BERKELEY STREET ‐ MS 10B                                                                                                    BOSTON                                        MA           02116
                                                             WC COMMERCIAL INSURANCE ‐ EXCESS
29931246          LIBERTY MUTUAL GROUP                       CLAIMS UNIT                          MAILSTOP: 01E                      100 LIBERTY WAY                                         DOVER                                         NH           03820
30223168          LIBERTY MUTUAL HOLDING COMPANY INC.        175 BERKELEY STREET                                                                                                             BOSTON                                        MA           02116‐5066
30210562          LIBERTY MUTUAL HOLDING COMPANY INC.        175 BERKELEY STREET                                                                                                             BOSTON                                        MA           02116
30210563          LIBERTY MUTUAL INSURANCE                   200 E RANDOLPH ST                    FL 11                                                                                      CHICAGO                                       IL           60601
30210564          LIBERTY MUTUAL INSURANCE COMPANY           175 BERKELEY ST.                     6TH FLOOR                                                                                  BOSTON                                        MA           02116
30223169          LIBERTY MUTUAL INSURANCE COMPANY           28 LIBERTY STREET                    5TH FLOOR                                                                                  NEW YORK                                      NY           10005
30294975          Liberty Mutual Insurance Company           Chiesa Shahinian & Giantomasi PC     Terri Jane Freedman                105 Eisenhower Parkway                                  Roseland                                      NJ           07068
                                                                                                                                     Counsel for Liberty Mutual
30295074          Liberty Mutual Insurance Company           Chiesa Shahinian & Giantomasi PC     Terri Jane Freedman                Insurance Company              105 Eisenhower Parkway   Roseland                                      NJ           07068
                  Liberty Mutual Insurance Company and its
30297598          Affiliates and Subsidiaries                Attn: Justin Gauthier                225 Borthwick Avenue                                                                       Portsmouth                                    NH           03801
30210529          LIBERTY MUTUAL SURETY                      175 BERKELEY STREET                                                                                                             BOSTON                                        MA           02116
29931251          LIBERTY UTILITY MISSOURI/75660             PO BOX 75660                                                                                                                    CHICAGO                                       IL           60675‐5660
29931253          LIBRA PACIFIC CO LTD                       10F‐1 NO85 CHOW TZE STREET                                                                                                      TAIPEI                                                     11493           TAIWAN
LC_0271           Libraries ACT                              GPO BOX 158                                                                                                                     Canberra City, Australian Capital Territory                2601            Australia

30210326          LIBRARIES ACT                              GPO BOX 158                          AUSTRALIAN CAPITAL TERRITORY                                                               CANBERRA CITY                                              2601            AUSTRALIA
29931255          Name on file                               Address on file
29931256          Name on file                               Address on file

30210328          LIBRARY FOUNDATION FOR SARASOTA COUNTY     PO BOX 17902                                                                                                                    SARASOTA                                      FL           34276‐0903
30212393          LIBRARY OF THE CHATHAMS                    214 MAIN STREET                                                                                                                 CHATHAM                                       NJ           07928
30210329          LIBRARY SYSTEMS & SERVICES (SUM)           2600 TOWER OAKS BLVD.                                                                                                           ROCKVILLE                                     MD           20852
29931259          Name on file                               Address on file
29931260          Name on file                               Address on file
29931261          LICENSE 2 PLAY TOYS LLC                    222 PURCHASE STREET, PMB #305                                                                                                   RYE                                           NY           10580‐2101
29949146          LICENSE COMMISSIONER NICK MATRANGA         PO DRAWER 161009                     3925 F MICHAEL BLVD STE F                                                                  MOBILE                                        AL           36616
29931262          LICENSED SPECIALTY PRODUCTS INC            130 CHERRY ST., PO BOX 675                                                                                                      BRADNER                                       OH           43406
30344548          Name on file                               Address on file
30401143          Name on file                               Address on file
30357086          Name on file                               Address on file
30210330          LIED PUBLIC LIBRARY OF CLARINDA            100 EAST GARFIELD ST.                                                                                                           CLARINDA                                      IA           51632
30342144          Name on file                               Address on file
30211626          LIESL & CO.                                244 FIFTH AVENUE                     SUITE 2192                                                                                 NEW YORK                                      NY           10001
30210347          LIESL & CO.                                35 MEADOW ST                         STUDIO 316                                                                                 BROOKLYN                                      NY           11206

29931268          LIESL AND CO INC                           CALLE DE CAMPOMANES 3, 3 INT IZQD.                                                                                              MADRID                                                     28013           SPAIN
30263120          Name on file                               Address on file
29931271          LIFE SEW SAVORY                            13847 W. 65TH DR.                                                                                                               ARVADA                                        CO           80004
29931272          Name on file                               Address on file
29931273          LIFESAVER SOFTWARE INC                     PO BOX 1212                                                                                                                     HOLLY SPRINGS                                 GA           30142
29931274          LIFESTONE LLC                              244 5TH AVE, D124                                                                                                               NEW YORK                                      NY           10001
29931275          LIFETIME BRANDS INC                        1000 STEWART AVENUE                                                                                                             GARDEN CITY                                   NY           11530
30335557          Name on file                               Address on file
30211117          LIGHTWELL INC                              55 WALKERS BROOK DR                  STE 500                                                                                    READING                                       MA           01867‐3274
29931277          LIGHTWELL INC                              565 METRO PLACE S #220                                                                                                          DUBLIN                                        OH           43017
29931282          Name on file                               Address on file




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29931293          LILAC MGMT LLC                           739 PAULARINO AVE., APT D101                                                                                                COSTA MESA            CA           92628
29931300          LILIAN RASCHIG                           Address on file
29931326          LILIANA SINGLETON                        Address on file
30332484          Name on file                             Address on file
29960557          LILLA J ROGERS                           Address on file
30353231          Name on file                             Address on file
29953677          LILLIAN HUMPHREY                         Address on file
29931415          LILY CHIN                                Address on file
30215449          LILY TESTA                               Address on file
29931438          LILY W. CHANG                            Address on file
30396868          Name on file                             Address on file
29931450          LIMA CENTER LLC                          PO BOX 713130                                                                                                               CHICAGO               IL           60677‐0330
                                                                                               4900 EAST DUBLIN GRANVILLE RD.,
30213367          LIMA CENTER, LLC                         C/O WPG                             4TH FLOOR                                                                               COLUMBUS              OH           43081
30338355          Name on file                             Address on file
30333503          Name on file                             Address on file
30210349          LIMESTONE TOWNSHIP LIBRARY DISTRICT      2701 W. TOWER ROAD                                                                                                          KANKAKEE              IL           60901
29931453          LIMOR MEDIA INC                          14 WILLET AVENUE, #203                                                                                                      PORT CHESTER          NY           10573
29931455          LIN WINTERS                              Address on file
30394501          Name on file                             Address on file
30414727          Name on file                             Address on file
29931461          Name on file                             Address on file
29931462          LINCOLN COUNTY                           TAX COLLECTOR                       225 W OLIVE ST RM 205                                                                   NEWPORT               OR           97365
LC_0363           Lincoln County Public Library            306 W Main St                                                                                                               Lincolnton            NC           28092‐2616
30210350          LINCOLN COUNTY, NORTH CAROLINA           306 W MAIN ST                                                                                                               LINCOLNTON            NC           28092
                  LINCOLN COUNTY, OR COUNTY CONSUMER
30207895          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 225 WEST OLIVE ST                                                                        NEWPORT               OR           97365
29931465          LINCOLN ELECTRIC SYSTEM                  1040 O ST.                                                                                                                  LINCOLN               NE           68508‐3609
29931464          LINCOLN ELECTRIC SYSTEM                  PO BOX 2986                                                                                                                 OMAHA                 NE           68103‐2986
                                                                                              ATTN: RICHARD A. VANDERVERT
30213115          LINCOLN HEIGHTS CENTER, LLC              12906 N. ADDISON ST.               AND JASON STRAIN                                                                         SPOKANE               WA           99218
29931469          LINCOLN NATIONAL LIFE INSURANCE CO       PO BOX 2658                                                                                                                 CAROL STREAM          IL           60132‐2658
30210352          LINCOLN PARK PUBLIC LIBRARY              1381 SOUTHFIELD ROAD                                                                                                        LINCOLN PARK          MI           48146
29960591          Name on file                             Address on file
29960593          Name on file                             Address on file
30210355          LINCOLN PUBLIC LIBRARY                   5020 SERENA DRIVE                                                                                                           BEAMSVILLE            ON           L0R 1B8         CANADA
30210354          LINCOLN PUBLIC LIBRARY                   145 OLD RIVER ROAD                                                                                                          LINCOLN               RI           02865
29960594          Name on file                             Address on file
30210356          LINCOLN TOWNSHIP PUBLIC LIBRARY          2099 WEST JOHN BEERS ROAD                                                                                                   STEVENSVILLE          MI           49127
30212397          LINCOLNWOOD PUBLIC LIBRARY DISTRICT      4000 WEST PRATT AVENUE                                                                                                      LINCOLNWOOD           IL           60712
                                                           c/o Benesch, Friedlander, Coplan &
30333499          Linda Barrett Properties, LLC            Aronoff LLP                        Attn: Jennifer R. Hoover           1313 North Market Street          Suite 1201          Wilmington            DE           19801
30213636          LINDA BARRETT PROPERTIES, LLC            C/O GREEN EARTH REALTY, LLC        6220 CAMPBELL ROAD, SUITE 104                                                            DALLAS                TX           75248
                                                                                              Benesch, Friedlander, Coplan &     1313 North Market Street, Suite
30416699          Linda Barrett Properties, LLC            Jennifer R. Hoover                 Aronoff LLP                        1201                                                  Wilmington            DE           19801
30416680          Linda Barrett Properties, LLC            Michael DuBois                     6220 Campbell Road, Suite 104                                                            Dallas                TX           75248
29931490          LINDA BRADBURY                           Address on file
IC_164            LINDA FAHEY                              Address on file
30210357          LINDA FAHEY                              Address on file
29931515          Name on file                             Address on file
30223170          LINDA GRIFFITH                           Address on file
29931529          LINDA HAJEC                              Address on file
29960633          LINDA JARVIS                             Address on file
29931545          LINDA JOHNSON                            Address on file
29931547          LINDA JOHNSTON                           Address on file
30212929          LINDA JONES‐CUMMINS                      Address on file
29931550          LINDA KAHLE                              Address on file
29931562          LINDA M GRINNEN                          Address on file
29931593          Name on file                             Address on file
29931603          Name on file                             Address on file
29931608          LINDA SCHUMAKER                          Address on file
LC_0368           Linda Sokol Francis Brookfield Library   3609 Grand Boulevard                                                                                                        Brookfield            IL           60513‐1621
29931616          Name on file                             Address on file




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29931620          LINDA STEVENSON                       Address on file
29931644          LINDA ZIEMER                          Address on file
29931646          LINDALE MALL LLC                      DBA LINDALE MALL                           PO BOX 849454                                                                    LOS ANGELES               CA           90084
                                                                                                   ATTN: TOM MAGLIULA, LEASING
30213388          LINDALE MALL REALTY HOLDING LLC       1010 NORTHERN BLVD., SUITE 212             MGR.                                                                             GREAT NECK                NY           11021
30331579          Lindale Mall Realty Holding LLC       c/o Goldberg Segalla LLP                   Attn: James Dominic Macri       665 Main Street                                  Buffalo                   NY           14203
30399820          Name on file                          Address on file
30335378          Name on file                          Address on file
30397427          Name on file                          Address on file
30210360          LINDENHURST MEMORIAL LIBRARY          1 LEE AVENUE                                                                                                                LINDENHURST               NY           11757
30210361          LINDENHURST MEMORIAL LIBRARY          ONE LEE AVENUE                                                                                                              LINDENHURST               NY           11757
30336305          Name on file                          Address on file
30386335          Name on file                          Address on file
30397171          Name on file                          Address on file
30395827          Name on file                          Address on file
29931670          LINDSAY MCKERNAN                      Address on file
29931679          LINDSAY STRIPLING                     Address on file
29931680          LINDSAY STRIPLING                     Address on file
30210362          LINDSAY VICTORIA LEE STRIPLING        Address on file
30294910          Name on file                          Address on file
30212940          LINDSEY CARLSON                       Address on file
29931702          LINDSEY DOPP                          Address on file
30212615          LINDSEY FOWLER                        Address on file
29954042          LINDSEY SHIREY                        Address on file
IC_166            LINDSEY STONE                         Address on file
30210366          LINDSEY STONE                         Address on file
29954046          LINDSEY STONE                         Address on file
30212989          LINDSEY THOMSON                       Address on file
30385883          Name on file                          Address on file
29931734          LINDY MURPHY                          Address on file
30347165          Name on file                          Address on file
30353727          Name on file                          Address on file
30342787          Name on file                          Address on file
30355394          Name on file                          Address on file
29931738          LINGUATECH INTERNATIONAL I INC        PO BOX 148                                                                                                                  DAYTON                    OH           45409
30181460          Link Logistics Group LLC              PO Box 519                                                                                                                  Lincolnton                NC           28093
29931740          LINK LOGISTICS GROUP LLC              PO BOX 896716                                                                                                               CHARLOTTE                 NC           28289‐6716
30211582          LINK LOGISTICS, LLC                   2482 WOODVILLE PIKE                                                                                                         GOSHEN                    OH           45122‐9576
30349744          Name on file                          Address on file
30182632          Linknor Trade Pte. Ltd.               10 ANSON ROAD                              #13‐15 INTERNATION PLAZA                                                         SINGAPORE                              079903          SINGAPORE

30182748          Linknor Trade Pte. Ltd.               10 Anson Road #13‐15 International Plaza                                                                                    Singapore                              079903          Singapore
29931743          LINN COUNTY TAX COLLECTOR             PO BOX 100                                                                                                                  ALBANY                    OR           97321
                  LINN COUNTY, OR COUNTY CONSUMER
30207896          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 300 SW 4TH AVE                          PO BOX 100                                       ALBANY                    OR           97321
30351102          Name on file                          Address on file
30358130          Name on file                          Address on file
30398285          Name on file                          Address on file
29931754          LINZY TOYS, INC.                      18333 GALE AVE                                                                                                              CITY OF INDUSTRY          CA           91748
29972776          Name on file                          Address on file
30332065          Name on file                          Address on file
29931782          LISA BROWN                            Address on file
30210375          LISA CONGDON ART & ILLUSTRATION       Address on file
30210379          LISA CONGDON ART & ILLUSTRATION       Address on file
29931796          LISA CONGDON ART & ILLUSTRATION INC   687 N TILLAMOOK ST STE B                                                                                                    PORTLAND                  OR           97227
IC_169            LISA CORIS                            Address on file
30210385          LISA CORIS DESIGNS                    Address on file
29931801          LISA COWDEN                           Address on file
29931816          Name on file                          Address on file
30212877          LISA ELY                              Address on file
29931827          LISA GLOD                             Address on file
29931846          LISA M MILLER                         Address on file
29931860          LISA MILLER                           Address on file




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29931859          LISA MILLER                             Address on file
29960676          LISA RODRIGUEZ                          Address on file
29931887          LISA SCOZZARELLA                        Address on file
29931894          LISA SOLOMON                            Address on file
29931910          LISA WILKINS                            Address on file
29960679          LISA WITTMAN‐SMITH                      Address on file
30212404          LISBON LIBRARY DEPT                     28 MAIN STREET                                                                                                         LISBON FALLS               ME           04252
29931917          LISHA HENLEY                            Address on file
30210388          LISLE LIBRARY DISTRICT                  777 FRONT STREET                                                                                                       LISLE                      IL           60532
30293173          Name on file                            Address on file
29931919          Name on file                            Address on file
30332105          Name on file                            Address on file
VC_005            Listrak                                 100 WEST MILLPORT RD.                                                                                                  LITITZ                     PA           17543
                  LITCHFIELD COUNTY, CT COUNTY CONSUMER
30207897          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 74 WEST ST                         PO BOX 488                                       LITCHFIELD                 CT           06759
30350310          Name on file                            Address on file
29960692          LITMUS SOFTWARE INC                     675 MASSACHUSETTS AVE, 10TH FL                                                                                         CAMBRIDGE                  MA           02139
LC_0371           Little Dixie Regional Libraries         111 N Fourth St                                                                                                        Moberly                    MO           65270‐1513
30212406          LITTLE DIXIE REGIONAL LIBRARIES         111 NORTH FOURTH ST                                                                                                    MOBERLY                    MO           65270
29960694          LITTLE FREE LIBRARY LTD.                2327 WYCLIFF ST., STE. 220                                                                                             SAINT PAUL                 MN           55114
29960695          LITTLE LIZARD KING                      Address on file
30211617          LITTLE LIZARD KING, INC.                4357 STILSON CIRCLE                                                                                                    PEACHTREE CORNERS          GA           30092
30210392          LITTLE PINCUSHION STUDIO                194 LOCUST STREET                                                                                                      WAWENTON                   VA           20186
29960696          Name on file                            Address on file
29960697          Name on file                            Address on file
30344218          Name on file                            Address on file
30280516          Name on file                            Address on file
30341955          Name on file                            Address on file
30337148          Name on file                            Address on file
30336743          LITTLER MENDELSON PC                    101 SECOND SHEET                   SUITE 1000                                                                          SAN FRANCISCO              CA           94105
30395151          Name on file                            Address on file
29931926          Name on file                            Address on file
30338919          Name on file                            Address on file
29931928          LIVERAMP INC                            PO BOX 74007275                                                                                                        CHICAGO                    IL           60674‐7275
30210393          LIVERPOOL PUBLIC LIBRARY                310 TULIP ST.                                                                                                          LIVERPOOL                  NY           13088
29931934          Name on file                            Address on file
                  LIVINGSTON COUNTY, MI COUNTY CONSUMER
30207898          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION   ADMINISTRATION BLDG              304 E GRAND RIVER AVE                            HOWELL                     MI           48843
30210396          LIVINGSTON PARISH LIBRARY               13986 FLORIDA BLVD                                                                                                     LIVINGSTON PARISH          LA           70754
30210395          LIVINGSTON PARISH LIBRARY               13986 FLORIDA BOULEVARD              P.O. BOX 397                                                                      LIVINGSTON                 LA           70754
30210397          LIVINGSTON PARISH LIBRARY               20390 IOWA STREET                                                                                                      LIVINGSTON                 LA           70754
29931935          Name on file                            Address on file
29931936          Name on file                            Address on file
30342835          Name on file                            Address on file
30332071          Name on file                            Address on file
30210407          LIZA PRIOR LUCY                         Address on file
30223171          LIZARD KING, INC.                       4357 STILSON CIRCLE                                                                                                    PEACHTREE CORNERS          GA           30092
30210409          LIZZY HOUSE                             Address on file
29931974          LLF JAO LLC                             DBA COURTYARD STOW                   4047 BRIDGEWATER PARKWAY                                                          STOW                       OH           44224
30285012          Name on file                            Address on file
29931979          Name on file                            Address on file
29931987          LMC, LP                                 C/O SORK COMPANY, INC.               ATTN: MARK P. SORK               140 NWPORT CTR DR STE 260                        NEWPORT BEACH              CA           92660
29931988          LNN ENTERPRISES INC                     9 WEST CHERRY AVE,, STE A                                                                                              FLAGSTAFF                  AZ           86001‐4505
                                                                                               ATTN: GIAVANNA NACKARD
30213134          LNN ENTERPRISES, INC.                   9 W. CHERRY AVE., STE. A             BEDNAR, VP OF OPERATIONS                                                          FLAGSTAFF                  AZ           86001
30354045          Name on file                            Address on file
29931990          LOAD MOVER INC                          PO BOX 385458                                                                                                          BLOOMINGTON                MN           55438‐5458
30341274          Name on file                            Address on file
30344153          Name on file                            Address on file
30386355          Name on file                            Address on file
29931991          LOBDOTCOM INC                           LOB.COM INC                          PO BOX 121900                                                                     DALLAS                     TX           75312‐1900
29974353          LOBDOTCOM INC                           PO Box 121900                                                                                                          Dallas                     TX           75312‐1900
29931992          LOBDOTCOM INC S                         LOB.COM INC                          PO BOX 121900                                                                     DALLAS                     TX           75312‐1900




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30397128           Name on file                             Address on file
29931994           Name on file                             Address on file
30385770           Name on file                             Address on file
30344313           Name on file                             Address on file
30414780           Name on file                             Address on file
30353463           Name on file                             Address on file
30286048           Name on file                             Address on file
29931995           Name on file                             Address on file
30332187           Name on file                             Address on file
30334722           Name on file                             Address on file
30273878           Name on file                             Address on file

29931996          LODGING ADVISORY OP NALL LLC              EXTENDED STAY AMER., OVERLAND PARK 5401 WEST 110TH ST.                                                                OVERLAND PARK             KS           66211
29931997          LODI MATERIALS, INC.                      DBA SHIPPERS SUPPLIES              P.O. BOX 337                                                                       BELLVILLE                 OH           44813
30331322          Name on file                              Address on file
30340556          Name on file                              Address on file
30339761          Name on file                              Address on file
30333455          Name on file                              Address on file
30396713          Name on file                              Address on file
30332255          Name on file                              Address on file
30400032          Name on file                              Address on file
29932021          Name on file                              Address on file
29932023          LOGAN MCBRIDE                             Address on file
30347201          Name on file                              Address on file
29964924          LOGICALIS, INC.                           2600 S. TELEGRAPH ROAD, SUITE 200                                                                                     BLOOMFIELD HILLS          MI           48302
29932036          LOGICALIS, INC.                           34505 W. 12 MILE RD. #210                                                                                             FARMINGTON HILLS          MI           48331
30396321          Name on file                              Address on file
30386112          Name on file                              Address on file
30395252          Name on file                              Address on file
30354535          Lokai LLC                                 Lokai Holdings LLC                 PO Box 25230                                                                       New York                  NY           10087‐5230
29932048          LOKAI LLC                                 PO BOX 46038                                                                                                          LOS ANGELES               CA           90046
30341957          Name on file                              Address on file
30415173          Name on file                              Address on file
30397021          Name on file                              Address on file
29960712          LONDON PORTFOLIO LLC                      74 KENT PLACE BLVD UNIT 1                                                                                             SUMMIT                    NJ           07901
30210410          LONDON PUBLIC LIBRARY                     251 DUNDAS ST.                                                                                                        LONDON                    ON           N6A 6H9         CANADA
30340292          Name on file                              Address on file
29932062          Name on file                              Address on file
30193099          Lone Star College System                  PO Box 4576                                                                                                           Houston                   TX           77210‐4576
29932064          Name on file                              Address on file
30210411          LONESOME PINE REGIONAL LIBRARY            124 LIBRARY ROAD SW                                                                                                   WISE                      VA           24293
29932066          LONG AND SHORT OF IT LLC                  4434 BRIARWOOD DRIVE                                                                                                  COPLEY                    OH           44321

29949828          LONG ISLAND LIGHTING COMPANY D/B/A LIPA   175 E OLD COUNTRY RD                                                                                                  HICKSVILLE                NY           11801‐4257

30210693          LONG ISLAND LIGHTING COMPANY D/B/A LIPA   333 EARLE OVINGTON BLVD            SUITE 403                                                                          UNIONDALE                 NY           11553
                                                            4 WORLD TRADE CENTER, 150
30210694          LONG ISLAND PORT AUTHORITY                GREENWICH STREET                    22ND FLOOR                                                                        NEW YORK                  NY           10007

29949829          LONG ISLAND PORT AUTHORITY                OFFICE OF INSPECTOR GENERAL        5 MARINE VIEW PLAZA ‐ SUITE 502                                                    HOBOKEN                   NJ           07030
                                                                                               BEN CAT TOWN, BINH DUONG
29932067          LONG TRUONG CERAMIC CO., LTD              321/10, QUARTER2, TAN DINH WARD,   PROVINCE                                                                           BINH DUONG                             820000          VIETNAM
30343808          Name on file                              Address on file
30338476          Name on file                              Address on file
30259063          Name on file                              Address on file
30356636          Name on file                              Address on file
30358383          Name on file                              Address on file
30394715          Name on file                              Address on file
30338254          Name on file                              Address on file
30197345          Longbow Advantage USA, Inc.               7250 Mile‐End Suite 201                                                                                               Montreal                  QC           H2R 3A4         Canada
30278901          Longbow Advantage USA, Inc.               Pierre Lebel ‐ CFO                  7250 Mile‐End                    Suite 201                                        Montreal                  QC           H2R 3A4         Canada
30212410          LONGMONT PUBLIC LIBRARY                   409 4TH AVE                                                                                                           LONGMONT                  CO           80501
30212411          LONGPORT PUBLIC LIBRARY                   2305 ATLANTIC AVE                                                                                                     LONGPORT                  NJ           08403




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29932071          LONGTAIL AD SOLUTIONS INC                JW PLAYER                          8 WEST 38TH ST., #901                                                              NEW YORK               NY           10018
30343623          Name on file                             Address on file
30210412          LONGWOOD PUBLIC LIBRARY                  800 MIDDLE COUNTRY RD                                                                                                 LONGWOOD               NY           11953
30210414          LONGWOOD PUBLIC LIBRARY                  800 MIDDLE COUNTRY ROAD                                                                                               MIDDLE ISLAND          NY           11953
29932074          LOOSE ENDS PROJECT CHARITY               1712 1ST AVENUE N.                                                                                                    SEATTLE                WA           98109
29932075          Name on file                             Address on file
30212412          LOPEZ ISLAND LIBRARY DISTRICT            2225 FISHERMAN BAY RD                                                                                                 LOPEZ ISLAND           WA           98261
30210416          LOPEZ ISLAND LIBRARY DISTRICT            PO BOX 770                                                                                                            LOPEZ ISLAND           WA           98261
30415855          Name on file                             Address on file
30394379          Name on file                             Address on file
30341181          Name on file                             Address on file
30347807          Name on file                             Address on file
30341026          Name on file                             Address on file
30257255          Name on file                             Address on file
30345525          Name on file                             Address on file
29932089          LORAIN COUNTY PUBLIC HEALTH              9880 S. MURRAY RIDGE RD.                                                                                              ELYRIA                 OH           44035
30210417          LORAIN PUBLIC LIBRARY                    351 W. SIXTH ST.                                                                                                      LORAIN                 OH           44052
30210420          LORAIN PUBLIC LIBRARY SYSTEM             351 W 6TH ST                                                                                                          LORAIN                 OH           44052
29932090          Name on file                             Address on file
29932099          LORAN OILS, INC.                         4518 AURELIUS ROAD                                                                                                    LANSING                MI           48910
29932111          LOREN CHILDERS‐VASQUEZ                   Address on file
29932115          LORENE EDWARDS FORKNER                   Address on file
30340279          Name on file                             Address on file
29960727          LORI COLEMAN                             Address on file
30212981          LORI FOURNIER                            Address on file
29932144          LORI FRIEDRICHS                          Address on file
29932148          LORI GONZALEZ                            Address on file
29932154          LORI JENSEN                              Address on file
29932158          Name on file                             Address on file
29932160          LORI M WIDENER                           Address on file
29932165          LORI MEW‐STINNEY                         Address on file
29932178          Name on file                             Address on file
30401474          Name on file                             Address on file
30212416          LOS ALAMOS COUNTY LIBRARY SYSTEM         2400 CENTRAL AVE                                                                                                      LOS ALAMOS             NM           87544
29932227          LOS ANGELES CNTY AGRICULTURAL            COMMISSION/WEIGHTS & MEASURES      PO BOX 512399                                                                      LOS ANGELES            CA           90051‐0399
29932228          LOS ANGELES CNTY TAX COLLECTOR           PO BOX 54018                                                                                                          LOS ANGELES            CA           90054‐0018
                  LOS ANGELES COUNTY AGRICULTURAL
29949151          COMMISSIONER                             COMMISSION/WEIGHTS & MEASURES      PO BOX 512399                                                                      LOS ANGELES            CA           90051‐0399
29932229          Name on file                             Address on file
29932230          LOS ANGELES COUNTY TREASURER             TAX COLLECTOR                      PO BOX 54978                                                                       LOS ANGELES            CA           90054‐0978
                  LOS ANGELES COUNTY, CA COUNTY CONSUMER
30207899          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 500 W. TEMPLE ST. ROOM B96                                                         LOS ANGELES            CA           90012

29932231          LOS ANGELES DEPT OF WATER & POWER/30808 P.O. BOX 30808                                                                                                         LOS ANGELES            CA           90030‐0808
29932233          Name on file                            Address on file
                  LOS ANGELES COUNTY, CA COUNTY CONSUMER
30207900          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 500 W TEMPLE ST                    ROOM B96                                         LOS ANGELES            CA           90012
                                                          C/O LOS COYOTES PROPERTY
29932234          LOS COYOTES SHOPPING CENTER             MANAGEMENT                         PO BOX 17317                                                                        ENCINO                 CA           91416
30210423          LOS GATOS LIBRARY                       100 VILLA AVENUE                                                                                                       LOS GATOS              CA           95030
30332643          Name on file                            Address on file
30394202          Name on file                            Address on file
29932236          Name on file                            Address on file
29932237          Name on file                            Address on file
30401373          Name on file                            Address on file
29932242          LOUANN SANDLAND                         Address on file
29932246          LOUDOUN WATER                           PO BOX 4000                                                                                                            ASHBURN                VA           20146‐2591
29932252          LOUIS BORIA                             Address on file
29932253          LOUIS G FOURNIER III                    Address on file
29932257          Name on file                            Address on file
30210425          LOUIS LATZER MEMORIAL PUBLIC LIBRARY    1001 NINTH STREET                                                                                                      HIGHLAND               IL           62249
30385047          Name on file                            Address on file
30385046          Name on file                            Address on file




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30210426          LOUISBURG LIBRARY                           206 S. BROADWAY ST.                                                                                                           LOUISBURG             KS           66053
30212417          LOUISBURG LIBRARY                           206 SOUTH BROADWAY                                                                                                            LOUISBURG             KS           66053
29950594          LOUISIANA DEPARTMENT OF REVENUE             617 NORTH THIRD STREET                                                                                                        BATON ROUGE           LA           70821‐0201
29949391          LOUISIANA DEPARTMENT OF TREASURY            UNCLAIMED PROPERTY DIVISION          1051 N. 3RD ST, ROOM 150                                                                 BATON ROUGE           LA           70802
29950595          LOUISIANA DEPT OF REVENUE                   P.O. BOX 3138                                                                                                                 BATON ROUGE           LA           70821‐3138
29950596          LOUISIANA DEPT. OF REVENUE                  LOUISIANA DEPT. OF REVENUE           617 NORTH THIRD ST                                                                       BATON ROUGE           LA           70802
30213516          LOUISIANA REVITALIZATION FUND, LLC          C/O CORPORATE REALTY, INC.           1450 POYDRAS ST., SUITE 404                                                              NEW ORLEANS           LA           70112
30297529          Louisiana Revitalization Fund, LLC          Flanagan Partners, LLP               Matthew Slaughter                 201 St. Charles Ave.           Suite 3300              New Orleans           LA           70130
29950599          LOUISIANA SECRETARY OF STATE                8585 ARCHIVES AVE.                                                                                                            BATON ROUGE           LA           70809
30210725          LOUISVILLE GAS AND ELECTRIC COMPANY         220 W MAIN ST                                                                                                                 LOUISVILLE            KY           40202
29950600          LOUISVILLE METRO REVENUE COMMISSION         P.O. BOX 35410                                                                                                                LOUISVILLE            KY           40232‐5410
29950601          Name on file                                Address on file
29950602          LOUISVILLE WATER COMPANY                    PO BOX 32460                                                                                                                  LOUISVILLE            KY           40202‐2460
30357913          Name on file                                Address on file
30357912          Name on file                                Address on file
30212418          LOUTIT DISTRICT LIBRARY                     407 COLUMBUS AVE                                                                                                              GRAND HAVEN           MI           49417
30334997          Name on file                                Address on file
29932272          Name on file                                Address on file
29932273          Name on file                                Address on file
30396745          Name on file                                Address on file
29932276          Name on file                                Address on file
30332306          Name on file                                Address on file
30210432          LOVELAND PUBLIC LIBRARY                     300 N ADAMS                                                                                                                   LOVELAND              CO           80537
29960735          Name on file                                Address on file
30210431          LOVELAND PUBLIC LIBRARY                     500 E. THIRD STREET                                                                                                           LOVELAND              CO           80537
30344438          Name on file                                Address on file
30335601          Name on file                                Address on file
29960738          Name on file                                Address on file
29904925          LOW TECH TOY CLUB LLC                       ATTN: ADRIAN ZHANG, MANAGER          411 EMISSARY DR. #108                                                                    CARY                  NC           27519
30213706          LOW TECH TOY CLUB LLC                       DBA THE WOOBLES                      411 EMISSARY DR. #108                                                                    CARY                  NC           27519
30293233          Low Tech Toys Club, LLC                     Balasiano and Associates PLLC        6701 Bay Parkway                  3rd Floor                                              Brooklyn              NY           11204
30293198          Low Tech Toys Club, LLC                     Balasiano and Associates PLLC        Reuven Sujnow                     6701 Bay Parkway               3rd Floor               Brooklyn              NY           11204
30292727          Low Tech Toys Club, LLC                     Reuven Sujnow                        Balasiano and Associates PLLC     6701 Bay Pkwy                  3rd Floor               Brooklyn              NY           11204
30335939          Name on file                                Address on file
30282079          Name on file                                Address on file
30358142          Name on file                                Address on file
29960740          LOYALSOCK TAX OFFICE                        BUSINESS PRIVILEGE LICENSE           2132 NORTHWAY RD                                                                         WILLIAMSPORT          PA           17701
29949155          LOYALSOCK TOWNSHIP TAX COLLECTOR            BUSINESS PRIVILEGE LICENSE           2132 NORTHWAY RD                                                                         WILLIAMSPORT          PA           17701
30349224          Name on file                                Address on file
29960744          LOZIER CORP                                 PO BOX 3577                                                                                                                   OMAHA                 NE           68103‐0577
30225216          Name on file                                Address on file

30213660          LRG SANTIAM ALBANY, LLC                     C/O BLUESTONE REAL ESTATE SERVICES   9430 SW CORAL ST., SUITE 100                                                             PORTLAND              OR           97223
30213446          LTC RETAIL, LLC                             C/O COLLETT & ASSOCIATES, LLC        PO BOX 36799                                                                             CHARLOTTE             NC           28236‐6799
29932281          Name on file                                Address on file
29932282          LTM                                         C/O LTM TEXTILE RESOURCES            18242 ENTERPRISE LN                                                                      HUNTINGTON BEACH      CA           92648
29932283          LTS WORLDWIDE, INC                          318 BOXWOOD DR                                                                                                                DAVENPORT             FL           33837‐5500
29932299          LUBBOCK CENTRAL APPRAISAL DIST              1715 26TH ST                         PO BOX 10568                                                                             LUBBOCK               TX           79408‐3568
30347650          Name on file                                Address on file
30414353          Name on file                                Address on file
30396673          Name on file                                Address on file
30332215          Name on file                                Address on file
29951027          LUCID HOLDINGS LLC                          DBA LUCID MARKETPLACE SERVICES       365 CANAL STREET, #3100                                                                  NEW ORLEANS           LA           70130
30210433          LUCIUS BEEBE MEMORIAL LIBRARY               345 MAIN ST.                                                                                                                  WAKEFIELD             MA           01880
                  LUCIUS E. & ELSIE C. BURCH JR , COLLIER
30210435          LIBRARY                                     501 POPLAR VIEW PKWY                                                                                                          COLLIERVILLE          TN           38017
LC_0380           Lucius E. And Elsie C. Burch, Jr. Library   501 Poplar View Pkwy                                                                                                          Collierville          TN           38017‐3441
30223887          Name on file                                Address on file
29932335          LUCKY TEXTILE MILLS LIMITED                 L‐8 BLOCK‐21 FEDERAL B AREA          KARACHI                                                                                  SINDH                              75950           PAKISTAN
29932337          LUCRETIA JONES                              Address on file
30210438          LUCY ROBBINS WELLES LIBRARY                 100 GARFIELD STREET                                                                                                           NEWINGTON             CT           06111
30210437          LUCY ROBBINS WELLES LIBRARY                 95 CEDAR ST                                                                                                                   NEWINGTON             CT           06111
29932368          LUCY URBAIN                                 Address on file




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30213014          LUCY WILLIAMS                     Address on file
30342491          Name on file                      Address on file
30332189          Name on file                      Address on file
30344621          Name on file                      Address on file
30353589          Name on file                      Address on file
30395437          Name on file                      Address on file
30225367          Name on file                      Address on file
30225132          Name on file                      Address on file
30397570          Name on file                      Address on file
30353390          Name on file                      Address on file
30356692          Name on file                      Address on file
29932400          LUMATEX INDIA PVT LTD             522‐C, BARHI INDUSTRIA AREA     PHASE 2, HSIIDC                                                                    SONIPAT                            131101          INDIA
30339444          Name on file                      Address on file
30252712          Name on file                      Address on file
30355649          Name on file                      Address on file
30294702          Name on file                      Address on file
30263220          Name on file                      Address on file
30397399          Name on file                      Address on file
30210440          LUNENBURG PUBLIC LIBRARY          1023 MASSACHUSETTS AVENUE                                                                                          LUNENBURG             MA           01462
30347920          Name on file                      Address on file
30348841          Name on file                      Address on file
30348840          Name on file                      Address on file
29932419          LUSINE BARSEGIAN                  Address on file
30334528          Name on file                      Address on file
30260342          Name on file                      Address on file
30393161          Name on file                      Address on file
30340285          Name on file                      Address on file
29932423          LUXE VALKYRIE                     Address on file
29932424          LUXLION INC                       THE FAST FIRE WATCH COMPANY     6298 AMBERWOODS DR.                                                                BOCA RATON            FL           33433
30210441          LUZERNE COUNTY LIBRARY SYSTEM     71 S FRANKLIN ST                                                                                                   WILKES‐BARRE          PA           18701
30344244          Name on file                      Address on file
29932438          LYDIA CAVANAUGH                   Address on file
29960793          LYLOVE STUDIO LLC                 121 WEST 27TH ST., #1200                                                                                           NEW YORK              NY           10001
30385234          Name on file                      Address on file
30332494          Name on file                      Address on file
30334769          Name on file                      Address on file
29932474          LYNDEN TRANSPORT                  PO BOX 3725                                                                                                        SEATTLE               WA           98124
30212752          LYNDSEY CONFORTE                  Address on file
29932480          LYNDSEY CONFORTE                  Address on file
29932504          Name on file                      Address on file
29932509          Name on file                      Address on file
30210444          LYNNE BARR                        Address on file
IC_173            LYNNE W BARR                      Address on file
29932548          Name on file                      Address on file
LC_0384           Lynnfield Public Library          Suite 116 B                                                                                                        Lynnfield             MA           01940‐1837
30210445          LYNNFIELD PUBLIC LIBRARY          18 SUMMER ST.                                                                                                      LYNNFIELD             MA           01940
29932549          LYNNWOOD INNS INC                 19324 ALDENWOOD MALL PKWY       HAMPTON INN & SUITES                                                               LYNNWOOD              WA           98036
30213239          LYNNWOOD TOWER, LLC               C/O JSH PROPERTIES, INC.        509 OLIVE WAY, SUITE 1011                                                          SEATTLE               WA           98101
29932555          LYNWOOD ROBERTS TAX COLLECTOR     OCCUPATIONAL LICENSE CITY/CTY   231 EAST FORSYTH ROOM 130                                                          JACKSONVILLE          FL           32202
29932556          Name on file                      Address on file
30210450          LYON TOWNSHIP PUBLIC LIBRARY      27005 S. MILFORD RD.                                                                                               SOUTH LYON            MI           48178
30338818          Name on file                      Address on file
30396412          Name on file                      Address on file
30401555          Name on file                      Address on file
29932558          Name on file                      Address on file
30210451          LYONS PUBLIC LIBRARY              122 BROAD ST                                                                                                       ST LYONS              NY           14489
30212419          LYONS REGIONAL LIBRARY DISTRICT   PO BOX 619                                                                                                         LYONS                 CO           80540
30347978          Name on file                      Address on file
30210856          LYONS, BENENSON & COMPANY INC.    745 FIFTH AVENUE                SUITE 500                                                                          NEW YORK              NY           10151
30332460          Name on file                      Address on file
30348010          Name on file                      Address on file
29932561          Name on file                      Address on file
29932564          Name on file                      Address on file




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30213688          M C CO., LLC                            C/O KIMCO REALTY CORPORATION        500 NORTH BROADWAY, SUITE 201                                                     JERICHO                   NY           11753

30416490          M C CO., LLC                            attn: Brian J. McLaughlin           222 Delaware Avenue, Suite 1105                                                   Wilmington                DE           19801
30416491          M C CO., LLC                            c/o Kimco Realty Co.                500 North Broadway                Suite 201                                       Jericho                   NY           11753
29964906          M C CORP                                611 FAIRBANKS ST.                                                                                                     ANCHORAGE                 AK           99501
29932573          M C CORP                                PO BOX 62045                                                                                                          NEWARK                    NJ           07101
29932574          Name on file                            Address on file
29932575          M K VIDMAR                              Address on file
30211400          M&B TRUCKING EXPRESS CORPORATION        27457 ROYALTON RD                                                                                                     COLUMBIA STATION          OH           44028
29932578          Name on file                            Address on file

29932579          M&P EXPORT MANAGEMENT CORPORATION       DBA PINTY PLUS                      140 CENTRAL AVE                                                                   FARMINGDALE               NJ           07727
29932580          M&P EXPORT MANAGMENT CORP               140 CENTRAL AVE                                                                                                       FARMINGDALE               NJ           07727
29932581          Name on file                            Address on file
29932582          M. ADKISON                              Address on file
29932583          M. BOBACK                               Address on file
29932584          M. BUSHEK                               Address on file
29932585          M. FITZPATRICK PUJOL                    Address on file
29932586          M. GARCIA                               Address on file
29932587          M. GRETZINGER                           Address on file
29932588          M. GRIFFIN                              Address on file
29932590          M. HIPP                                 Address on file
29932591          M. HOAGOAND                             Address on file
29932592          M. JONES                                Address on file
29932593          M. MESSMER                              Address on file
29932594          M. NOBLE                                Address on file
29932595          M. PRECIADO                             Address on file
29932596          M. ROBERTS                              Address on file
29932597          M. SALINAS                              Address on file
29932598          M. SCHILLING                            Address on file
29932599          M. SCOTT JOHNSON                        Address on file
29932600          M. SHERIDAN                             Address on file
29932602          M. SOLANGE                              Address on file
29932603          M. SPEER                                Address on file
29932604          M. WESTNESS                             Address on file
29932605          M. YANSSENS                             Address on file
29932606          Name on file                            Address on file
29932607          M2 FABRICS                              2768 LOKER AVENUE W SUITE 101                                                                                         CARLSBAD                  CA           92010
30414849          Name on file                            Address on file
29951598          Name on file                            Address on file
29951599          MAARTEN JAGER                           Address on file
30210592          MAARTEN JAGER                           5555 DARROW ROAD                                                                                                      HUDSON                    OH           44236
30347795          Name on file                            Address on file
30353599          Name on file                            Address on file
30394600          Name on file                            Address on file
30210454          MACEDON PUBLIC LIBRARY                  30 MAIN STREET                                                                                                        MACEDON                   NY           14502
30350580          Name on file                            Address on file
29960816          MACHELLE WALL                           Address on file
30346673          Name on file                            Address on file
30414767          Name on file                            Address on file
30224912          Mack 13, LLC                            35975 Woodward Ave.                                                                                                   Birmingham                MI           48009

30213586          MACK13, LLC                             35975 WOODWARD AVENUE, SUITE 200                                                                                      BIRMINGHAM                MI           48009
29932621          Name on file                            Address on file
                  MACKAY REGIONAL COUNCIL (GORDON WHITE
30210456          LIBRARY)                                54 PHILLIP STREET                                                                                                     MOUNT PLEASANT, QLD                    4740            AUSTRALIA
30340833          Name on file                            Address on file
30340984          Name on file                            Address on file
30356599          Name on file                            Address on file
                  MACOMB COUNTY, MI COUNTY CONSUMER
30207901          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 1 S MAIN, 8TH FLOOR                                                                MOUNT CLEMENS             MI           48043
30337266          Macon‐Bibb County Tax Commissioner      188 Third Street                                                                                                      Macon                     GA           31201




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30337267          Macon‐Bibb County Tax Commissioner    Blake Edwin Lisenby                  P.O. Box 4101                                                                     Macon                    GA           31208
30348679          Name on file                          Address on file

29953133          MACPHERSONS                           2935 SHAWNEE INDUSTRIAL WAY SUITE                                                                                      SUWANEE                  GA           30024
                                                                                             2935 SHAWNEE INDUSTRIAL WAY
29953132          MACPHERSONS                           C/O ART SUPPLY ENTERPRISES           100                                                                               SUWANEE                  GA           30024
29960823          MAD BEAUTY USA LLC                    251 LITTLE FALLS DRIVE                                                                                                 MARSHALLTON              DE           19808
29960824          Name on file                          Address on file
30223174          MADALYNNE INTIMATES                   Address on file
30211618          MADALYNNE INTIMATES                   Address on file
30350753          Name on file                          Address on file
30386063          Name on file                          Address on file
29972787          Name on file                          Address on file
29932723          Name on file                          Address on file
29932725          MADELAINE BAKER                       Address on file
29932744          MADELINE DANIELCZYK                   Address on file
29932784          MADELINE SHUCK                        Address on file
30280194          Name on file                          Address on file
29932835          MADELYNN LINDEWIRTH                   Address on file
29960845          MADISON CHARTER TOWNSHIP              4008 SOUTH ADRIAN HWY                                                                                                  ADRIAN                   MI           49221
29960855          MADISON COUNTY                        100 NORTHSIDE SQUARE                                                                                                   HUNTSVILLE               AL           35801‐4820
29932879          MADISON COUNTY CLERK                  100 E MAIN STREET STE 105                                                                                              JACKSON                  TN           38301
29932880          Name on file                          Address on file
30210457          MADISON COUNTY HIGH SCHOOL            68 MOUNTAINEER LANE                                                                                                    MADISON                  VA           22727

29932881          MADISON COUNTY LICENSE DEPT           MARK CRAIG, DIRECTOR                 100 NORTHSIDE SQUARE ROOM 108                                                     HUNTSVILLE               AL           35801‐4820

29932882          MADISON COUNTY SALES TAX DEPARTMENT   100 NORTH SIDE SQUARE                                                                                                  HUNTSVILLE               AL           35801‐4820
30291779          Madison County, Alabama               Attn: Valerie D. Miles               1918 Memorial Parkway NW                                                          Huntsville               AL           35801
                  MADISON COUNTY, TN COUNTY CONSUMER
30207902          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 100 E MAIN ST                                                                       JACKSON                  TN           38301
29932894          MADISON DEVINNEY                      Address on file
30263482          Madison Gas and Electric              c/o CSR                            Attn: Karen Eleanor Smith          PO Box 1231                                      Madison                  WI           53701
29932906          MADISON GAS AND ELECTRIC, WI          PO BOX 1231                                                                                                            MADISON                  WI           53788‐0001
30210459          MADISON HEIGHTS PUBLIC LIBRARY        240 W. 13 MILE RD.                                                                                                     MADISON HEIGHTS          MI           48071
29932924          MADISON HOME INTERNATIONAL LLC        16 EAST 34TH STREET, 2ND FLOOR                                                                                         NEW YORK                 NY           10016
29932927          MADISON HUMPHREY                      Address on file
29951751          MADISON MCCOBB                        Address on file
29951752          MADISON MCCOLLOUGH                    Address on file
29932967          MADISON PLACE LLC                     1334 MAPLELAWN DR                                                                                                      TROY                     MI           48084

30213644          MADISON PLACE, LLC                    C/O STUART FRANKEL DEVELOPMENT CO. 1334 MAPLELAWN DR.                                                                  TROY                     MI           48084
30210461          MADISON PUBLIC LIBRARY                39 KEEP STREET                                                                                                         MADISON                  NJ           07940
29932973          MADISON SCHMIDT                       Address on file
29960886          MADISON SUBURBAN UTILITY DIST         PO BOX 306140                                                                                                          NASHVILLE                TN           37230‐6140
29932988          MADISON TRUPIA                        Address on file
29960890          MADISON VICTORY GROUP LLC             1400 MADISON AVE STE 730                                                                                               MANKATO                  MN           55001‐5435
30282037          Madison Victory Group, LLC            1400 Madison Avenue                Suite 730                                                                           Mankato                  MN           56001

30213311          MADISON VICTORY GROUP, LLC            C/O PLAID HAT MANAGEMENT             1400 MADISON AVENUE, SUITE 311                                                    MANKATO                  MN           56001
30282038          Madison Victory Group, LLC            David Schoolf                        10K Lakes Enterprises          1400 Madison Avenue, Suite 730                     Mankato                  MN           56001
30223175          MADIX STORE FIXTURE INC               PO BOX 204040                                                                                                          DALLAS                   TX           75320
29933016          MADONNA SCHWENTNER                    Address on file
30212420          MADRID PUBLIC LIBRARY                 100 W 3RD ST                                                                                                           MADRID                   IA           50156
30354944          Name on file                          Address on file
29933029          MAEGAN BELLASSAI                      Address on file
29933036          MAERSK A/S                            LOCKBOX 744448                       6000 FELDWOOD ROAD                                                                COLLEGE PARK             GA           30349
29933037          MAERSK E COMMERCE LOGISTICS           5160 WILEY POST WAY                                                                                                    SALT LAKE CITY           UT           84116
29952601          MAG CO FBO FID QUALIFYING INVST FD    140 BROADWAY                         ATTN CA VAULT                                                                     NEW YORK                 NY           10005
29952602          MAG CO. FBO FID SUMMER ST TRUST       140 BROADWAY                         ATTN CA VAULT                                                                     NEW YORK                 NY           10005
29949548          MAG CO. FBO FIDELITY ADV FLOATING     140 BROADWAY                         ATTN CA VAULT                                                                     NEW YORK                 NY           10005
29949549          MAG CO. FBO VIP FUND VIP              140 BROADWAY                         ATTN CA VAULT                                                                     NEW YORK                 NY           10005
30332420          Name on file                          Address on file




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30414402          Name on file                              Address on file
30414733          Name on file                              Address on file
29933079          Name on file                              Address on file
30345536          Name on file                              Address on file
30347697          Name on file                              Address on file
30338892          Name on file                              Address on file
29933087          MAHALA PEARSON                            Address on file
30353836          Name on file                              Address on file
30340849          Name on file                              Address on file
30336926          Name on file                              Address on file
30336925          Name on file                              Address on file
30343434          Name on file                              Address on file
30274424          Name on file                              Address on file
30335332          Name on file                              Address on file
30353677          Name on file                              Address on file
30350136          Name on file                              Address on file
30260256          Name on file                              Address on file
29933094          MAHONING COUNTY SANITARY                  PO BOX 70279                                                                                                           PHILADELPHIA           PA           19176‐0279
29933096          MAHONING COUNTY TREASURER                 120 MARKET ST                                                                                                          YOUNGSTOWN             OH           44503‐1749
                  MAHONING COUNTY, OH COUNTY CONSUMER
30207903          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 120 MARKET STREET                                                                   YOUNGSTOWN             OH           44503
29933097          MAHONING VALLEY IMAGING LLC               TIFFANY BREAST CARE CTR            7067 TIFFANY BLVD.                   #110                                           YOUNGSTOWN             OH           44514
30344000          Name on file                              Address on file
30332366          Name on file                              Address on file
30401982          Name on file                              Address on file
29960911          MAIERCARR PC                              270 N. CANON DR., 3RD FL.                                                                                              BEVERLY HILLS          CA           90210

29933113          MAINE DEPT OF AGRICULTURE                 QUALITY ASSURANCE DIV‐ FOOD LICENSE 28 STATE HOUSE STATION                                                             AUGUSTA                ME           04333
                  MAINE DEPT OF AGRICULTURE ‐ DIV QUALITY
29950878          ASSURANCE                                 QUALITY ASSURANCE DIV‐ FOOD LICENSE 28 STATE HOUSE STATION                                                             AUGUSTA                ME           04333
29933114          Name on file                              Address on file
29933115          MAINE NATURAL GAS, ME                     PO BOX 847100                                                                                                          BOSTON                 MA           02284‐7100
29933118          MAINE REVENUE SERVICES                    COMPLIANCE DIVISION                 PO BOX 9107                                                                        AUGUSTA                ME           04332‐9107
29933117          MAINE REVENUE SERVICES                    PO BOX 9107                                                                                                            AUGUSTA                ME           04332‐9107
29933119          MAINE SECRETARY OF STATE                  148 STATE HOUSE STATION                                                                                                AUGUSTA                ME           04333‐0148
29933120          MAINSTREAM INTERNATIONAL INC              115 NEWFIELD AVENUE SUITE D                                                                                            EDISON                 NJ           08837
30401234          Name on file                              Address on file
29950613          MAIYA LEWIS                               Address on file
29933125          MA‐JAC‐SALES TAX                          PO BOX 9494                                                                                                            BOSTON                 MA           02205
29933126          MA‐JAS‐INCOME 0168E                       PO BOX 9494                                                                                                            BOSTON                 MA           02205
29933127          MA‐JAS‐SALES TAX 0137D                    PO BOX 9494                                                                                                            BOSTON                 MA           02205
30340566          Name on file                              Address on file
29933130          Name on file                              Address on file
30354397          Name on file                              Address on file
30340201          Name on file                              Address on file
30213209          MAKABE & MAKABE, LLC                      ATTN: NOURY MAKABE, MANAGER         146 WEST 21ST STREET                                                               LOS ANGELES            CA           90007

30296113          Makabe & Makabe, LLC                      c/o Martinez‐Monfort P.A.           Attn: Luis Martinez‐Monfort, Esq.   4427 W. Kennedy Blvd., Suite 250               Tampa                  FL           33609
29950977          MAKE IT REAL LLC                          1777 REISTERTOWN RD STE 290                                                                                            PIKESVILLE             MD           21208
30350848          Name on file                              Address on file
29933212          Name on file                              Address on file
30356290          Name on file                              Address on file
30346794          Name on file                              Address on file
30349196          Name on file                              Address on file
29960923          MALACHI GRAY                              Address on file
29960926          Name on file                              Address on file
IC_074            MALAN CREATIVE INC                        5122 WEST BEACH COMBER WAY                                                                                             SOUTH JORDAN           UT           84009
30349609          Name on file                              Address on file
30260747          Name on file                              Address on file
29933236          Name on file                              Address on file
29933237          MALEA BISWELL                             Address on file
29933252          MALEKO PERSONNEL INC                      32108 ALVARADO BLVD., #134                                                                                             UNION CITY             CA           94587
29933255          MALHEUR COUNTY TAX COLLECTOR              251 B STREET WEST                                                                                                      VALE                   OR           97918




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30358096          Name on file                           Address on file
30288365          Name on file                           Address on file
29933276          MALLORY FISHER                         Address on file
29933283          MALLORY MUDDIMAN                       Address on file
30213670          MALONE PLAZA REALTY, LLC               C/O ANCHOR INVESTMENTS            2926 FOSTER CREIGHTON DRIVE                                                      NASHVILLE                 TN           37204
30333841          Name on file                           Address on file
30354485          Name on file                           Address on file
30385110          Name on file                           Address on file
30332502          Name on file                           Address on file
30340025          Name on file                           Address on file
30353011          Name on file                           Address on file
29933293          Name on file                           Address on file
29933296          MAMMA BEAR SAYS LLC                    1230 E. DEERFIELD CT.                                                                                              ONTARIO                   CA           91761
30212423          MAMMEN FAMILY PUBLIC LIBRARY           131 BULVERDE CROSSING                                                                                              BULVERDE                  TX           78163
30385777          Name on file                           Address on file
29933298          MANAGER OF FINANCE                     COLLECTION DEPARTMENT             415 E 12TH STREET                                                                KANSAS CITY               MO           64106
                                                                                           600 US HWY 301 BLVD WEST STE
29933301          MANATEE COUNTY                         FALSE ALARM UNIT                  202                                                                              BRADENTON                 FL           34205
29933300          MANATEE COUNTY                         TAX COLLECTOR                     PO BOX 25300                                                                     BRADENTON                 FL           34206‐5300
30399660          Name on file                           Address on file
29933302          Name on file                           Address on file
30212424          MANCHESTER CITY LIBRARY                405 PINE ST                                                                                                        MANCHESTER                NH           03104
29933304          MANCHESTER POLICE DEPT                 PO BOX 191                                                                                                         MANCHESTER                CT           06045
LC_0391           Manchester‐By‐The‐Sea Pub. Library     15 Union Street                                                                                                    Manchester‐By‐The‐Se      MA           01944‐1554
30210464          MANCHESTER‐BY‐THE‐SEA PUBLIC LIBRARY   15 UNION STREET                                                                                                    MANCHESTER                MA           01944
                                                                                           ATTN: BROOKS T. MANCINI,
30213253          MANCINI PROPERTIES, INC.               556 DUNN CIRCLE                   PRESIDENT                                                                        SPARKS                    NV           89431
30258646          Mancini Properties, Inc.               PO Box 7216                                                                                                        Reno                      NV           89510‐7216
30356590          Name on file                           Address on file
30397566          Name on file                           Address on file
29933312          MANDY WOODRUFF                         Address on file
30353883          Name on file                           Address on file
30210466          MANHATTAN PUBLIC LIBRARY               629 POYNTZ AVENUE                                                                                                  MANHATTAN                 KS           66502
                                                         DBA METROPOLITAN
29933314          MANHATTAN TELECOMMUNICATIONS CORP      TELECOMMUNICATIONS                PO BOX 9660                                                                      MANCHESTER                NH           03108
29933315          Name on file                           Address on file
                  MANHATTAN‐ELWOOD PUBLIC LIBRARY
30210469          DISTRICT                               240 WHITSON ST                                                                                                     MANHATTAN                 IL           60442
29933316          MANHEIM TOWNSHIP                       FALSE ALARMS                      PO BOX 142886                                                                    IRVING                    TX           75014
29933317          MANHEIM TOWNSHIP FIRE RESCUE           1840 MUNICIPAL DR.                                                                                                 LANCASTER                 PA           17601‐4162
30212964          MANISH RAI                             Address on file
29933322          Name on file                           Address on file
30335502          Name on file                           Address on file
30337034          Name on file                           Address on file
                                                         C/O SUNBELT INVESTMENT HOLDINGS
30213560          MANN ENTERPRISES INC.                  INC.                              8095 OTHELLO AVENUE                                                              SAN DIEGO                 CA           92111
30401162          Name on file                           Address on file
30332414          Name on file                           Address on file
30332436          Name on file                           Address on file
30353269          Name on file                           Address on file
30340757          Name on file                           Address on file
30347424          Name on file                           Address on file
30401637          Name on file                           Address on file
30356401          Name on file                           Address on file
30213078          MANOR DEVELOPMENT CO.                  3100 DUTTON AVENUE, #222                                                                                           SANTA ROSA                CA           95407
30395778          Name on file                           Address on file
29933330          MANSFIELD OIL CO OF GAINESVILLE INC    PO BOX 772118                                                                                                      DETROIT                   MI           48277‐2118
29933331          MANSFIELD ONTARIO RICHLAND CO          HEALTH DEPARTMENT                 555 LEXINGTON AVE                                                                MANSFIELD                 OH           44907
30212425          MANSFIELD PUBLIC LIBRARY               255 HOPE STREET                                                                                                    MANSFIELD                 MA           02048
30210470          MANSFIELD PUBLIC LIBRARY               54 WARRENVILLE ROAD                                                                                                MANSFIELD CENTER          CT           06250
29933334          Name on file                           Address on file
LC_0392           Manteno Public Library District        10 South Walnut Street                                                                                             Manteno                   IL           60950‐1433
30210472          MANTENO PUBLIC LIBRARY DISTRICT        10 S. WALNUT ST.                                                                                                   MANTENO                   IL           60950




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29933335           Name on file                             Address on file

29933336          MANUAL WOODWORKERS AND WEAVERS (ECO       3737 HOWARD GAP ROAD                                                                                                     HENDERSONVILLE          NC           28792
29933337          Name on file                              Address on file
29952225          MANUEL TEJEDA                             Address on file
30349464          Name on file                              Address on file
30347897          Name on file                              Address on file
30339807          Name on file                              Address on file
30356704          Name on file                              Address on file
29952230          MAOLGA CABRERARODRIGUEZ                   Address on file

30213359          MAP BELTON, LLC                           C/O MIDLAND ATLANTIC PROPERTIES, INC. 3801 E. 82ND ST., STE. B                                                           INDIANAPOLIS            IN           46240
29949805          MAPLE ROCK CAPITAL PARTNERS INC.          94 SOLARIS AVENUE                     PO BOX 1348                                                                        CAMANA BAY                           KY1‐1108        CAYMAN ISLANDS
29949550          MAPLE ROCK MASTER FUND LP                 94 SOLARIS AVENUE                     PO BOX 1348                                                                        CAMANA BAY                           KY1‐1108        CAYMAN ISLANDS
30357422          Name on file                              Address on file
29960946          Name on file                              Address on file
30354672          Name on file                              Address on file
30401586          Name on file                              Address on file
30385202          Name on file                              Address on file
29933382          MARCIA SPENCER                            Address on file
29933388          Name on file                              Address on file
29933389          Name on file                              Address on file
29933390          MARCIE DESIGNS II LLC                     40 WEST 37TH ST. #1103                                                                                                   NEW YORK                NY           10018
29933394          MARCIVE INC                               PO BOX 47508                                                                                                             SAN ANTONIO             TX           78265
30349891          Name on file                              Address on file
30165806          Marcorp Marketing Consultants (Pty) Ltd   10 Eagle Road                         Imbonini Business Park             Shakas Head                                     Ballito KZN                          4381            South Africa
                                                                                                  10 Eagle Road, Imbonini Business
30164010          Marcorp Marketing Consultants (Pty) Ltd   Attn: Miles Christian Rasmussen       Park                               Shakas Head                                     Ballito, KZN                         4381            South Africa
29933407          MARCO'S PIZZA                             1459 FOX RUN PARKWAY                                                                                                     OPELIKA                 AL           36801
29933408          MARCOS REYES                              Address on file
30333500          Marcum LLP                                Cecelin Decsanten                     6685 Beta Dr                                                                       Mayfield                OH           44143
29933410          MARCUM LLP                                PO BOX 95000‐2288                                                                                                        PHILADELPHIA            PA           19195
30211600          Marcus Thomas, LLC                        781 RICHMOND ROAD                                                                                                        CLEVELAND               OH           44128
30212815          MARCY MORALEZ                             Address on file
30397554          Name on file                              Address on file
30344425          Name on file                              Address on file
29960960          Name on file                              Address on file

30210473          MARENGO‐UNION PUBLIC LIBRARY DISTRICT     19714 EAST GRANT HIGHWAY                                                                                                 MARENGO                 IL           60152
30292895          Name on file                              Address on file
30348711          Name on file                              Address on file
29933438          MARGARET BENSON‐PACE                      Address on file
29933459          MARGARET DONIS                            Address on file
29960967          Name on file                              Address on file
30210474          MARGARET E HEGGAN FREE PUBLIC LIBRARY     606 DELSEA DRIVE                                                                                                         SEWELL                  NJ           08080
29960977          MARGARET HERRERA                          Address on file
29960987          MARGARET KAISER                           Address on file
30211619          MARGARET MOORE                            Address on file
29933501          MARGARET PENDERGRASS                      Address on file
29933538          MARGATE FD C/0 FIRE RECOVERY USA          PO BOX 933667                                                                                                            ATLANTA                 GA           31193‐5667
30333563          Margraf, Teresa                           Address on file
30394477          Name on file                              Address on file
IC_064            MARIA CARLUCCIO                           Address on file
29933573          MARIA CARLUCCIO                           Address on file
29954412          MARIA CLARK                               Address on file
29933593          MARIA GARCIA                              Address on file
30212958          MARIA GIORDANO                            Address on file
29933610          MARIA ISABEL MILLS                        Address on file
29961004          MARIA REGUL                               Address on file
29933659          MARIA TURNBULL                            Address on file
29933663          MARIA VICTORIA GOODMAN                    Address on file
30397331          Name on file                              Address on file
29950911          MARIADELALUZ SALDANA                      Address on file




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29950912          MARIADELOSANGELES REYNA                Address on file
IC_063            MARIAN MADDEN FLANIGAN                 Address on file
29961011          MARICOPA COUNTY TREASURER              PO BOX 78575                                                                                                            PHOENIX                 AZ           85062‐8575
                  MARICOPA COUNTY, AZ COUNTY CONSUMER
30207904          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 301 WEST JEFFERSON ST                                                                PHOENIX                 AZ           85003
                  MARICOPA COUNTY, AZ COUNTY CONSUMER
30207905          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 301 WEST JEFFERSON ST                                                                PHOENIX                 AZ           85003
29933755          MARIE COOPER                           Address on file
29933767          MARIE JOHNSON                          Address on file
29933783          MARIE RAMERY                           Address on file
29933818          MARIKO JESSE                           Address on file
29961026          MARILYN GIBSON                         Address on file
29961029          MARILYN J. RYAN                        Address on file
                  MARIN COUNTY, CA COUNTY CONSUMER
30207906          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 3501 CIVIC CENTER DRIVE              SUITE 145                                       SAN RAFAEL              CA           94903
29961036          MARIN MUNICIPAL WATER DISTRICT         220 NELLEN AVENUE                                                                                                       CORTE MADERA            CA           94925‐1105
                                                         TALCOR COMMERCIAL REAL ESTATE                                           1018 THOMASVILLE ROAD, SUITE
29933854          MARINER PLAZA REALTY ASSOCIATES, LP    SERVICES, INC.                     MONTICELLO SQUARE                    200A                                            TALLAHASSEE             FL           32303
                                                         TALCOR COMMERCIAL REAL ESTATE
30210998          MARINER PLAZA REALTY ASSOCIATES, LP    SERVICES, INC.                     MONTICELLO SQUARE                                                                    TALLAHASSEE             FL           32303
                  MARINETTE COUNTY, WI COUNTY CONSUMER
30207907          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 1926 HALL AVE                                                                        MARINETTE               WI           54143
30397558          Name on file                           Address on file
29933864          MARIO SAMPSON                          Address on file
                                                                                            MALL OFFICE 1509 MARION WALDO
29953048          MARION CENTRE MALL REALTY MGMT LLC     DBA MARION CENTRE MALL             RD                                                                                   MARION                  OH           43302
29953049          Name on file                           Address on file
30210477          MARION COUNTY PUBLIC LIBRARY           321 MONROE ST                                                                                                           FAIRMONT                WV           26554
29953050          MARION COUNTY TAX COLLECTOR            PERSONAL PROPERTY TAX              PO BOX 3416                                                                          PORTLAND                OR           97208
29953051          MARION COUNTY TAX COLLECTOR            PO BOX 970                                                                                                              OCALA                   FL           34478‐1812
29953052          MARION COUNTY TREASURER                200 E WASHINGTON STREET            ROOM 1001 CITY COUNTY BLDG                                                           INDIANAPOLIS            IN           46204
                  MARION COUNTY, FL COUNTY CONSUMER
30207908          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 601 SE 25TH AVE                                                                      OCALA                   FL           34471
                  MARION COUNTY, IN COUNTY CONSUMER
30207909          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 200 E WASHINGTON ST                  STE W122                                        INDIANAPOLIS            IN           46204
29953055          MARION IRWIN                           Address on file
29953058          MARION MUNICIPAL UTILITIES, IN         P.O. BOX 718                                                                                                            MARION                  IN           46952
30291099          Name on file                           Address on file
29933870          MARISA DEL TORO                        Address on file
IC_175            MARISA LYNCH                           Address on file
30210478          MARISA LYNCH                           Address on file
29933881          MARISA VILLIARD                        Address on file
30212971          MARISSA CUMMINS                        Address on file
29933961          MARJET ENTERPRISES INC                 DBA MARJET COMMUNICATIONS          4433 RENAISSANCE PKWY                                                                WARRENSVILLE HEIGHTS    OH           44128
29933973          MARJORIERUTH TAYLOR                    Address on file

29949159          MARK CRAIG, LICENSE DIREDTOR           MARK CRAIG, DIRECTOR                   100 NORTHSIDE SQUARE ROOM 108                                                    HUNTSVILLE              AL           35801‐4820
29933984          Name on file                           Address on file
30212583          MARK GUTAI                             Address on file
29934011          MARK TIEMANN                           Address on file
29934012          MARK TIEMANN                           Address on file
IC_066            Name on file                           Address on file
30344436          Name on file                           Address on file
30332131          Name on file                           Address on file
30211403          MARKET DOJO LTD                        SUITE 30‐33 WESTEND OFFICE STES.       GL                                                                               STONEHOUSE                           GL10 3FA        UNITED KINGDOM
                                                         C/O FRANKLIN STREET MANAGEMENT         1311 N. WESTSHORE BLVD., SUITE
30213508          MARKET PLACE SHOPPING CENTER LLC       SERVICES                               200                                                                              TAMPA                   FL           33607
30213145          MARKET POINT I, LLC                    C/O HANSON INDUSTRIES, INC.            15807 E. INDIANA AVE.                                                            SPOKANE VALLEY          WA           99216
                                                         C/O PRINCIPAL REAL ESTATE INVESTORS,
30213225          MARKETPLACE AT VERNON HILLS, LLC       LLC                                    801 GRAND AVENUE                                                                 DES MOINES              IA           50392‐1370
30386316          Name on file                           Address on file
29934024          MARLA COHEN                            Address on file
30210480          MARLAINA BIRD                          Address on file




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30223176          MARLAINA C. BIRD                        Address on file
30278879          Name on file                            Address on file
29934050          Name on file                            Address on file
30385979          Name on file                            Address on file
30212426          MARMORA & LAKE PUBLIC LIBRARY           37 FORSYTH ST                                                                                                                       MARMORA                 ON           K0K 2M0         CANADA
29934062          MARNELE RICH                            Address on file
29934067          Name on file                            Address on file
30210485          MAROA PUBLIC LIBRARY DISTRICT           305 E. GARFIELD STREET                                                                                                              MAROA                   IL           61756
29934069          MAROR MARKING SYSTEMS INC               DBA ID TECHNOLOGY‐MARKOR                    PO BOX 73419                                                                            CLEVELAND               OH           44193
30394646          Name on file                            Address on file
LC_0396           Marple Public Library                   Sproul & Springfield Rds                                                                                                            Broomall                PA           19008‐2337
30210486          MARPLE PUBLIC LIBRARY                   2599 SPROUL ROAD                                                                                                                    BROOMALL                PA           19008
29934071          MARPLE TOWNSHIP                         PO BOX 38                                                                                                                           BRIDGEPORT              PA           19405
29934072          MARPLE TOWNSHIP POLICE DEPT             1001 SUSSEX BLVD                                                                                                                    BROOMALL                PA           19008
                                                                                                                                     925 W. LANCASTER AVENUE, SUITE
29934074          MARPLE XYZ ASSOCIATES, L.P.             ATTN: PAUL ASCHKENASY                       BRYN MAWR VILLAGE              200                                                      BRYN MAWR               PA           19010
                                                                                                      925 W. LANCASTER AVENUE, SUITE
30210915          MARPLE XYZ ASSOCIATES, L.P.             BRYN MAWR VILLAGE                           200                                                                                     BRYN MAWR               PA           19010
                                                          c/o Kaplin Stewart Meloff Reiter & Stein,
30165866          Marple XYZ Associates, L.P.             P.C.                                        Attn: William J. Levant, Esq.         910 Harvest Drive, 2nd Floor   PO Box 3037        Blue Bell               PA           19422
                                                                                                      William J. Levant, Esquire ‐ Attorney
30182697          Marple XYZ Associates, L.P.             Kaplin Stewar Meloff Reiter & Stein, P.C.   at Law                                910 Harvest Drive,2nd Floor    PO Bo 3037         Blue Bell               PA           19422
29972772          Name on file                            Address on file
30397401          Name on file                            Address on file
30342397          Name on file                            Address on file
30340685          Name on file                            Address on file
29934092          Name on file                            Address on file
30397487          Name on file                            Address on file
30286772          Name on file                            Address on file
30258881          Name on file                            Address on file
29934107          MARSHA MULLIES                          Address on file
                  MARSHALL COUNTY, IN COUNTY CONSUMER
30207910          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 112 W JEFFERSON ST                            ROOM 205                                           PLYMOUTH                IN           46563
30212427          MARSHALL DISTRICT LIBRARY               124 W GREEN ST                                                                                                                      MARSHALL                MI           49068
29934119          Name on file                            Address on file
30346570          Name on file                            Address on file
30332103          Name on file                            Address on file
30332245          Name on file                            Address on file
30293162          Name on file                            Address on file
30331826          Name on file                            Address on file
30399629          Name on file                            Address on file
30347111          Name on file                            Address on file
30350402          Name on file                            Address on file
30212428          MARSHALL‐LYON COUNTY LIBRARY            201 C STREET                                                                                                                        MARSHALL                MN           56258
30213505          MARSHFIELD CENTRE, LLC                  ATTN: JEFF KOWALIK                 631 S. HICKORY STREET                                                                            FOND DU LAC             WI           54935
29934124          MARSHFIELD UTILITIES ‐ WI               2000 S CENTRAL AVENUE                                                                                                               MARSHFIELD              WI           54449
29934129          MARTCO EXPORT PRIVATE LIMITED           LODHIPUR RAJPUT, DELHI, ROAD       LIDHIPUR RAJPUT                               MORADABAD                                          UTTAR PRADESH                        244001          INDIA
30349622          Name on file                            Address on file
30335563          Name on file                            Address on file
29961084          MARTHA PACHECO                          Address on file
29934151          MARTHA PLANK                            Address on file
30212949          MARTHA VANDRA                           Address on file
29961094          MARTHA WALLER                           Address on file
29934161          Name on file                            Address on file

30208109          MARTHA'S VINEYARD LIBRARY ASSOCIATION   200 MAIN STREET                                                                                                                     VINEYARD HAVEN          MA           02568

30210487          MARTHA'S VINEYARD LIBRARY ASSOCIATION   522 S RD                                                                                                                            CHILMARK                MA           02535

30210488          MARTHA'S VINEYARD LIBRARY ASSOCIATION   PO BOX 180                                                                                                                          CHILMARK                MA           02535
29934167          MARTIN COUNTY                           TAX COLLECTOR                               3485 SE WILLOUGHBY BLVD                                                                 STUART                  FL           34994
LC_0397           Martin County Library System            2351 Southeast Monterey Road                                                                                                        Stuart                  FL           34996‐3331
30208111          MARTIN COUNTY LIBRARY SYSTEM            2351 SE MONTEREY ROAD                                                                                                               STUART                  FL           34996




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29934168          Name on file                           Address on file
29934170          MARTIN COUNTY TAX COLLECTOR            3485 S E WILLOUGHBY                                                                                              STUART                  FL           34994
29934169          MARTIN COUNTY TAX COLLECTOR            PO BOX 9013                                                                                                      STUART                  FL           34995
29949161          MARTIN COUNTY TAX COLLECTOR            TAX COLLECTOR                3485 SE WILLOUGHBY BLVD                                                             STUART                  FL           34994
30351774          Name on file                           Address on file
30401653          Name on file                           Address on file
30261091          Name on file                           Address on file
30346934          Name on file                           Address on file
30351208          Name on file                           Address on file
30332866          Name on file                           Address on file
30347811          Name on file                           Address on file
30280843          Name on file                           Address on file
30353445          Name on file                           Address on file
30340377          Name on file                           Address on file
30357055          Name on file                           Address on file
30352727          Name on file                           Address on file
30340976          Name on file                           Address on file
30416540          Name on file                           Address on file
30386145          Name on file                           Address on file
30347294          Name on file                           Address on file
30385986          Name on file                           Address on file
30394137          Name on file                           Address on file
30358351          Name on file                           Address on file
30347015          Name on file                           Address on file
30396862          Name on file                           Address on file
30394608          Name on file                           Address on file
30355653          Name on file                           Address on file
30340356          Name on file                           Address on file
30401833          Name on file                           Address on file
30398423          Name on file                           Address on file
30347753          Name on file                           Address on file
30354147          Name on file                           Address on file
30212979          MARVELL WRING                          Address on file
30210606          MARWEDEL, MINICHELLO & REEB, P.C.      SUITE 1100                   303 W. MADISON STREET                                                               CHICAGO                 IL           60606
30341436          Name on file                           Address on file
29934216          Name on file                           Address on file
30210594          MARY CAMPBELL                          5555 DARROW ROAD                                                                                                 HUDSON                  OH           44236
30212938          MARY CARANDANG                         Address on file
29934257          Name on file                           Address on file
29934271          MARY E DODGE TREASURER                 DOUGLAS COUNTY               PO BOX 609                                                                          WATERVILLE              WA           98858
30222844          Mary Ellen Products, Inc.              Lamey Law Firm, P.A.         John D. Lamey, III                 980 Inwood Ave. N.                               Oakdale                 MN           55128
29961126          MARY GRETCHEN JASPERING                Address on file
29934316          Name on file                           Address on file
30208112          MARY J. BARNETT MEMORIAL LIBRARY       400 GRAND ST                                                                                                     GUTHRIE CENTER          IA           50115
30208114          MARY JENNIFER HEWETT                   Address on file
30208115          MARY L COOK PUBLIC LIBRARY             381 OLD STAGE RD.                                                                                                WAYNESVILLE             OH           45068
29934337          MARY LAMB                              Address on file
29934343          MARY LEDFORD                           Address on file
29961154          Name on file                           Address on file
29934357          MARY MILLER                            Address on file
30340436          Name on file                           Address on file
29934403          MARY SHADOAN                           Address on file
30212845          MARY SULLIVAN                          Address on file
29934447          MARY YONGUE                            Address on file
29934474          MARYELIZABETH R CAMPBELL               Address on file
29934479          MARYJEAN MENDIOLA                      Address on file
29934482          MARYJO SCHUETTE                        Address on file
29934483          MARYJO SIRCA                           Address on file
29934484          MARYLAND STATE COMPTROLLER             80 CALVERT STREET            PO BOX 466                                                                          ANNAPOLIS               MD           21404‐0466
30356971          MARYORITH MORENO                       Address on file
29934490          Name on file                           Address on file
LC_0398           Maryville Community Library District   8 Schiber Court                                                                                                  Maryville               IL           62062‐5625
30208117          MARYVILLE COMMUNITY LIBRARY DISTRICT   15 PROFESSIONAL PARK DRIVE                                                                                       MARYVILLE               IL           62062




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29934491          Name on file                                  Address on file
30208119          MARYVILLE PUBLIC LIBRARY                      509 N MAIN 950                                                                                               MARYVILLE                MO           64468
30352800          Name on file                                  Address on file
30402019          Name on file                                  Address on file
30335408          Name on file                                  Address on file
29934494          Name on file                                  Address on file
29934497          Name on file                                  Address on file
29934507          Name on file                                  Address on file
30353491          Name on file                                  Address on file
30395289          Name on file                                  Address on file
30332168          Name on file                                  Address on file
30332167          Name on file                                  Address on file
30340554          Name on file                                  Address on file
30342763          Name on file                                  Address on file
30337328          Name on file                                  Address on file
30211404          MASONWAYS INDESTRUCTIBLE PLASTICS L           580 VILLAGE BLVD #330                                                                                        WEST PALM BEACH          FL           33409
30354564          MASSA FURNITURE                               5805 N 53RD STREET                                                                                           TAMPA                    FL           33610

29934515          MASSACHUSETTS DEPARTMENT OF REVENUE           436 DWIGHT STREET                                                                                            SPRINGFIELD              MA           01103
                  Massachusetts Electric Company DBA National
30297311          Grid                                          Attn: Linda Demauro         PO Box 4706                                                                      Syracuse                 NY           13221
29934516          MASSACHUSETTS SECRETARY OF STATE              1 ASHBURTON PL                                                                                               BOSTON                   MA           02108
29934517          Name on file                                  Address on file
29934518          Name on file                                  Address on file
30331209          Name on file                                  Address on file
29934519          MASSO REALTY PARTNERS LLC                     8114 S MEMORIAL DR                                                                                           TULSA                    OK           74133
30346545          Name on file                                  Address on file
29934521          Name on file                                  Address on file
29934522          Name on file                                  Address on file
29934524          Name on file                                  Address on file
30353507          Name on file                                  Address on file
29934525          Name on file                                  Address on file
                  MASTICS MORICHES SHIRLEY COMMUNITY
30208125          LIBRARY                                       407 WILLIAM FLOYD PARKWAY                                                                                    SHIRLEY                  NY           11967
30401875          Name on file                                  Address on file
30396495          Name on file                                  Address on file
29934529          MATANUSKA ELECTRIC ASSOCIATION INC            163 E. INDUSTRIAL WAY                                                                                        PALMER                   AK           99645
29934528          MATANUSKA ELECTRIC ASSOCIATION INC            PO BOX 196998                                                                                                ANCHORAGE                AK           99519‐6998
29949166          MATANUSKA‐SUSITNA BOROUGH                     FINANCE DEPT                350 EAST DAHLIA AVE                                                              PALMER                   AK           99645‐6488
                  MATANUSKA‐SUSITNA BOROUGH ‐ FINANCE
29953308          DEPT                                          FINANCE DEPT                350 EAST DAHLIA AVE                                                              PALMER                   AK           99645‐6488
30208129          MATAWAN‐ABERDEEN PUBLIC LIBRARY               165 MAIN STREET                                                                                              MATAWAN                  NJ           07747
29934536          Name on file                                  Address on file
29934537          Name on file                                  Address on file
29934538          MATERIALS TRANSPORTATION CO                   PO BOX 260152                                                                                                DALLAS                   TX           75326
30397429          Name on file                                  Address on file
30351096          Name on file                                  Address on file
30397395          Name on file                                  Address on file
30338859          Name on file                                  Address on file
30348028          Name on file                                  Address on file
30344397          Name on file                                  Address on file
30414843          Name on file                                  Address on file
30340306          Name on file                                  Address on file
29934557          MATR/TOWNSHIP OF ROBINSON,PA                  PO BOX 534088                                                                                                PITTSBURGH               PA           15253‐4088
30414773          Name on file                                  Address on file
30333913          Name on file                                  Address on file
29934561          MATT CAUDILL                                  Address on file
30211683          MATTAPOISETT FREE PUBLIC LIBRARY              7 BARSTOW ST                                                                                                 MATTAPOISETT             MA           02739
30208130          MATTAPOISETT FREE PUBLIC LIBRARY              P.O. BOX 475                                                                                                 MATTAPOISETT             MA           02739
30208131          MATTAPOISETT LIBRARY                          P.O. BOX 475                                                                                                 MATTAPOISETT             MA           02739
29934568          MATTEL SALES CORPORATION                      333 CONTINENTAL BLVD                                                                                         EL SEGUNDO               CA           90245
29934570          Name on file                                  Address on file
30398224          Name on file                                  Address on file




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  ADDRESS ID                           NAME                          ADDRESS 1                   ADDRESS 2                         ADDRESS 3                 ADDRESS 4                 CITY        STATE     POSTAL CODE        COUNTRY
30340248          Name on file                          Address on file
30340249          Name on file                          Address on file
30212948          MATTHEW BASISTA                       Address on file
30340337          Name on file                          Address on file
29950056          MATTHEW BRIDE                         Address on file
30212617          MATTHEW CARY                          Address on file
29961203          MATTHEW HAUGHERY                      Address on file
29950961          MATTHEW LYGA                          Address on file
30212998          MATTHEW WILSON                        Address on file
29934632          MATTHEW WOOD                          Address on file
30213006          MATTHEW ZORICH                        Address on file
30211580          MATTHEWS AUTOMATION SOLUTIONS         W229 N2510 DUPLAINVILLE ROAD                                                                                     WAUKESHA             IL           53186
30223178          MATTHEWS INTERNATIONAL CORP           DBA MATTHEWS AUTOMATION        W229 N2510 DUPLAINVILLE RD                                                        WAUKESHA             WI           53186
30416633          Name on file                          Address on file
30341022          Name on file                          Address on file
30341062          Name on file                          Address on file
30211685          MATTITUCK‐LAUREL LIBRARY              13900 MAIN RD                                                                                                    MATTITUCK            NY           11952
30354399          Name on file                          Address on file
30399813          Name on file                          Address on file
30347244          Name on file                          Address on file
30281390          Name on file                          Address on file
30386498          Name on file                          Address on file
30396771          Name on file                          Address on file
30287784          Name on file                          Address on file
30416120          Name on file                          Address on file
30213313          MAVERICK BOX V, LLC                   4100 E. OCEAN BLVD.                                                                                              LONG BEACH           CA           90803
                  MAWC‐MUNICIPAL AUTH OF WESTMORELAND
29961231          CTY                                   ATTN: UTILITY DEPARTMENT       124 PARK AND POOL RD                                                              NEW STANTON          PA           15672
                  MAWC‐MUNICIPAL AUTH OF WESTMORELAND
29961230          CTY                                   P.O. BOX 800                                                                                                     GREENSBURG           PA           15601‐0800
30401750          Name on file                          Address on file
30352752          Name on file                          Address on file
29953360          MAXWELL CURRY                         Address on file
30357128          Name on file                          Address on file
29934690          MAY FUNG PLASTIC FACTORY (HK) LIMIT   RM 7, 10/F, YAN HING CENTRE    9‐13 WONG CHUK YEUNG ST                                                           SHATIN                                            HONG KONG
30350525          Name on file                          Address on file
30346974          Name on file                          Address on file
30401646          Name on file                          Address on file
30256538          Name on file                          Address on file
29934692          MAYA AGHA                             Address on file
30212459          MAYA DONENFELD MAYAMADE               Address on file
29961248          MAYA DONENFELD MAYAMADE               Address on file
29934704          MAYA SMITH                            Address on file
30208133          MAYBELLE IMASA‐STUKULS                Address on file
30332559          Name on file                          Address on file
30401606          Name on file                          Address on file
30340795          Name on file                          Address on file
30353885          Name on file                          Address on file
30394666          Name on file                          Address on file
29934711          Name on file                          Address on file
30386254          Name on file                          Address on file
29934715          MAYGEN REED                           Address on file
30285481          Name on file                          Address on file
30262049          Name on file                          Address on file
30335243          Name on file                          Address on file
29934723          Name on file                          Address on file
30399714          Name on file                          Address on file
LC_0402           Mayville Public Library               111 N. Main St.                                                                                                  Mayville             WI           53050‐1639
30208137          MAYVILLE PUBLIC LIBRARY               234 N JOHN ST                                                                                                    MAYVILIE             WI           53050‐1299
30208136          MAYVILLE PUBLIC LIBRARY               234 N JOHN ST                                                                                                    MAYVILLE             WI           53050‐1299
30208141          MAYWOOD PUBLIC LIBRARY                459 MAYWOOD AVENUE                                                                                               MAYWOOD              NJ           07607
30333354          Name on file                          Address on file
29934742          Name on file                          Address on file




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30211406          MC CONSTRUCTION MGT INC               38012 N LINDA RD                                                                                                  CAVE CREEK          AZ           85331
30342825          Name on file                          Address on file
30356806          Name on file                          Address on file
29949773          MCALLEN LEVCAL LLC CLEARING ACCOUNT   7800 WASHINGTON AVE.             STE 800                                                                          HOUSTON             TX           77007
29934744          MCALLEN LEVCAL LLC CLEARING ACCOUNT   PO BOX 6568                                                                                                       HOUSTON             TX           77265
30349615          Name on file                          Address on file
29934745          Name on file                          Address on file
30353367          Name on file                          Address on file
30345516          Name on file                          Address on file
30345527          Name on file                          Address on file
29934746          MCBOCC                                MARTIN COUNTY FIRE RESCUE        800 SE MONTEREY RD                                                               STUART              FL           34994
30354364          Name on file                          Address on file
30262056          McCabe, Johanna Arias                 Address on file
30262055          McCabe, Johanna Arias                 Address on file
30354891          Name on file                          Address on file
30333615          Name on file                          Address on file
30397855          Name on file                          Address on file
30340811          Name on file                          Address on file
30357940          Name on file                          Address on file
30286545          Name on file                          Address on file
30353944          Name on file                          Address on file
30399615          Name on file                          Address on file
30414584          Name on file                          Address on file
30353087          Name on file                          Address on file
30345036          Name on file                          Address on file
30355661          Name on file                          Address on file
30332320          Name on file                          Address on file
30342138          Name on file                          Address on file
30332637          Name on file                          Address on file
30356527          Name on file                          Address on file
30342228          Name on file                          Address on file
30340550          Name on file                          Address on file
30345638          Name on file                          Address on file
30257383          Name on file                          Address on file
30222758          Name on file                          Address on file
30414707          Name on file                          Address on file
30348022          Name on file                          Address on file
30353621          Name on file                          Address on file
30358116          Name on file                          Address on file
30275290          Name on file                          Address on file
30353461          Name on file                          Address on file
30338898          Name on file                          Address on file
30349961          Name on file                          Address on file
30353397          Name on file                          Address on file
30342134          Name on file                          Address on file
30393533          Name on file                          Address on file
30398115          Name on file                          Address on file
29934751          MCCS PAYMENTS                         Address on file
30351709          Name on file                          Address on file
30347334          Name on file                          Address on file
30355851          Name on file                          Address on file
30414695          Name on file                          Address on file
30347311          Name on file                          Address on file
30345512          Name on file                          Address on file
30394590          Name on file                          Address on file
                                                        ATTN: FRED LEVENSON AND TAYLOR
30223179          MCDERMOTT WILL & EMERY, LLP           BERMAN                           333 SE 2ND AVE.                 SUITE 4500                                       MIAMI               FL           33131
30340546          Name on file                          Address on file
30401343          Name on file                          Address on file
30332278          Name on file                          Address on file
30335062          Name on file                          Address on file
30342785          Name on file                          Address on file
30340033          Name on file                          Address on file




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30384760           Name on file                         Address on file
30333911           Name on file                         Address on file
30414346           Name on file                         Address on file
30358070           Name on file                         Address on file
30285226           Name on file                         Address on file
30285227           Name on file                         Address on file
30394753           Name on file                         Address on file
30353551           Name on file                         Address on file
30384744           Name on file                         Address on file
                                                                                                 ONE INDEPENDENT DRIVE, SUITE
30213282          MCD‐RC CA‐EL CERRITO, LLC             C/O REGENCY REALTY CORP.                 114                                                                               JACKSONVILLE          FL           32202
30258495          Name on file                          Address on file
30258182          Name on file                          Address on file
30351109          Name on file                          Address on file
30331855          Name on file                          Address on file
30332691          Name on file                          Address on file
30279478          Name on file                          Address on file
30332751          Name on file                          Address on file
30354778          Name on file                          Address on file
30285196          Name on file                          Address on file
29934755          MCG‐HJT INC                           MCG ARCHITECTURE                         510 S. GRAND AVE., #300                                                           GLENDORA              CA           91741
30396596          Name on file                          Address on file
30353539          Name on file                          Address on file
30340884          Name on file                          Address on file
29934756          MCGRATH NORTH MULLIN & KRATZ PC LLO   1601 DODGE ST., #3700                                                                                                      OMAHA                 NE           68102
30353535          Name on file                          Address on file
30349065          Name on file                          Address on file
30349064          Name on file                          Address on file

30213131          MCGRATH‐RHD PARTNERS LP               C/O ROTHBART DEVELOPMENT CORP.           10990 WILSHIRE BLVD, SUITE 1000                                                   LOS ANGELES           CA           90024
30352912          Name on file                          Address on file
30262035          Name on file                          Address on file
30358194          Name on file                          Address on file
30342670          Name on file                          Address on file
                  MCHENRY COUNTY, IL COUNTY CONSUMER
30207911          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 2200 NORTH SEMINARY AVE                                                                 WOODSTOCK             IL           60098
29961265          Name on file                          Address on file
30401667          Name on file                          Address on file
30394531          Name on file                          Address on file
30352862          Name on file                          Address on file
30344278          Name on file                          Address on file
30344429          Name on file                          Address on file
30213086          MCKAY COMMERCIAL PROPERTIES, LLC      76 CENTENNIAL LOOP, SUITE D                                                                                                EUGENE                OR           97401
30337224          Name on file                          Address on file
30414204          Name on file                          Address on file
30396721          Name on file                          Address on file
29961273          Name on file                          Address on file
30396250          Name on file                          Address on file
29934774          MCKENZIE BALLARD                      Address on file
30332308          Name on file                          Address on file
30332428          Name on file                          Address on file
30211407          MCKINNEY VEHICLE SERVICES INC         2601 SATURN ST., STE. 110                                                                                                  BREA                  CA           92821
30346953          Name on file                          Address on file
30340958          Name on file                          Address on file
30396822          Name on file                          Address on file
29934804          MCLENNAN COUNTY                       ASSESSOR‐COLLECTOR OF TAXES        PO BOX 408                                                                              WACO                  TX           76703

30193042          McLennan County                       Linebarger Goggan Blair & Sampson, LLP   c/o Diane W. Sanders              P.O. Box 7428                                   Austin                TX           78760
                  MCLEOD COUNTY, MN COUNTY CONSUMER
30207912          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 520 CHANDLER AVE NORTH                                                                  GLENCOE               MN           55336
29934805          Name on file                          Address on file
30339969          Name on file                          Address on file
30358228          Name on file                          Address on file




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30357137          Name on file                                Address on file
30397610          Name on file                                Address on file
30332205          Name on file                                Address on file
30358078          Name on file                                Address on file
30344942          McMaster‐Carr Supply Co                     200 Aurora Industrial Pkwy                                                                                                   Aurora                      OH           44202
30345067          McMaster‐Carr Supply Co                     PO Box 7690                                                                                                                  Chicago                     IL           60680
30334734          Name on file                                Address on file
30223180          MCMILLAN MEMORIAL LIBRARY                   490 E GRAND AVE                                                                                                              WISCONSIN RAPIDS            WI           34494
30208146          MCMILLAN MEMORIAL LIBRARY                   490 E GRAND AVE.                                                                                                             WISCONSIN RAPIDS            WI           54494
29934807          Name on file                                Address on file
30337210          Name on file                                Address on file
30335137          Name on file                                Address on file
29934808          MCMINNVILLE WATER & LIGHT                   P.O. BOX 638                                                                                                                 MCMINNVILLE                 OR           97128‐0638
30334017          Name on file                                Address on file
30332047          Name on file                                Address on file
30354002          Name on file                                Address on file
30340560          Name on file                                Address on file
30297516          Name on file                                Address on file
30356728          Name on file                                Address on file
30348024          Name on file                                Address on file
30393159          Name on file                                Address on file
                                                                                                   925 S. FEDERAL HIGHWAY, SUITE
30213137          MCP ‐ WELLINGTON, LLC                       C/O URBAN RETAIL PROPERTIES, LLC     700                                                                                     BOCA RATON                  FL           33432
29934811          MCPC INC                                    PO BOX 876656                                                                                                                KANSAS CITY                 MO           64187‐6656
30357654          Name on file                                Address on file
30415269          Name on file                                Address on file
30356281          Name on file                                Address on file

29949554          MCS FAR EAST INC                            QUEPU INDUSTRY AREA YOUNGHU TOWN 190                                                                                         HUIZHOU, HUIYANG DISTRICT                516267          CHINA
29934812          MCS FAR EAST INC                            2280 NEWLINS MILL ROAD                                                                                                       EASTON                      PA           18045
29934813          MCS INDUSTRIES                              2280 NEWLINS MILL ROAD                                                                                                       EASTON                      PA           18045
30192622          MCS Industries Inc.                         Attn: Marca Kreger                 2280 Newlins Mill Rd                                                                      Easton                      PA           18045
30386234          Name on file                                Address on file
30349604          Name on file                                Address on file
                                                              C/O CUSHMAN & WAKEFIELD OF OREGON,
30213639          MCWAIN LIMITED PARTNERSHIP                  INC.                               200 SW MARKET ST., SUITE 200                                                              PORTLAND                    OR           97201‐5730
29934816          MD ‐ CORP ‐ INCOME ‐ JAS 02100              110 CARROLL STREET                                                                                                           ANNAPOLIS                   MD           21411‐0001
29934817          MD ‐ CORP ‐ INCOME ‐ SSC 02300              110 CARROLL STREET                                                                                                           ANNAPOLIS                   MD           21411‐0001
29934818          MD ‐ CORP INCOME ‐ SSC 02100                110 CARROLL STREET                                                                                                           ANNAPOLIS                   MD           21411‐0001
29934819          MD ‐ CORP INCOME ‐ SSC 02200                110 CARROLL STREET                                                                                                           ANNAPOLIS                   MD           21411‐0001
29934820          MD‐JAC‐SALES TAX                            110 CARROLL STREET                                                                                                           ANNAPOLIS                   MD           21411‐0001
29934821          MD‐JAS‐SALES TAX 04100                      PO BOX 1509                                                                                                                  ANNAPOLIS                   MD           21404
30213353          MDM EQUITY‐2012 LLC                         DENNY ELWELL COMPANY, LC           2401 S.E. TONES DRIVE, SUITE 17                                                           ANKENY                      IA           50021
                                                              C/O CAPITOL INVESTMENTS ASSOCIATES ATTN: ROBERT DELAPEYROUSE &
30223312          MDR DOVER LIMITED PARTNERSHIP               CORP.                              PEGGIE ZINNAMON                      8101 GLENBROOK ROAD, SUITE 220                       BETHESDA                    MD           20814
                                                                                                 ATTN: STEVEN M. GLAZER, ESQ &
30223313          MDR DOVER LIMITED PARTNERSHIP               C/O GLAZER HONIGMAN ELLICK         JOCELYN REDMAN, ESQ                  5301 WISCONSIN AVENUE, NW        SUITE 740           WASHINGTON                  DC           WASHINGTON
                  MDR Dover Limited Partnership, a Delaware
30297374          limited partnership                         c/o Glazer Honigman Ellick PLLC      Attn: Jocelyn B Redman, Esq.       5301 Wisconsin Avenue NW         Suite 740           Washington                  DC           20015

30213637          MDR DOVER LP                                C/O DIERMAN REALTY GROUP.            2071 CHAIN BRIDGE RD., SUITE 320                                                        VIENNA                      VA           22182
30353984          Name on file                                Address on file
30340825          Name on file                                Address on file
29954422          MEADOWBROOK MALL COMPANY                    PO BOX 932400                                                                                                                CLEVELAND                   OH           44193
30208149          MEAFORD PUBLIC LIBRARY                      11 SYKES ST N                                                                                                                MEAFORD                     ON           N4L 1V6         CANADA
30211686          MEAFORD PUBLIC LIBRARY                      11 SYKES STREET NORTH                                                                                                        MEAFORD                     ON           N4L 1V6         CANADA
30223181          MEAFORD PUBLIC LIBRARY                      15 TROWBRIDGE STREET WEST                                                                                                    MEAFORD                     ON           N4L 1V4         CANADA
29954428          MEAGAN HILL                                 Address on file
30341102          Name on file                                Address on file
29951223          MEASURED INC                                1801 ROCKMOOR AVE.                                                                                                           AUSTIN                      TX           78703
29951224          ME‐BUG‐SALES TAX                            24 STATE HOUSE STATION                                                                                                       AUGUSTA                     ME           04333
29951228          MECKLENBURG COUNTY TAX COLLECTOR            PO BOX 71063                                                                                                                 CHARLOTTE                   NC           28272




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  ADDRESS ID                           NAME                        ADDRESS 1                           ADDRESS 2                        ADDRESS 3                   ADDRESS 4                  CITY        STATE     POSTAL CODE   COUNTRY
                  MECOSTA COUNTY, MI COUNTY CONSUMER
30207913          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION 400 ELM STREET                                                                        BIG RAPIDS            MI           49307
30342827          Name on file                         Address on file
29951229          MEDALLIA INC                         DEPT CH 16692                                                                                                            PALATINE              IL           60055‐6692
30346998          Name on file                         Address on file
29951230          Name on file                         Address on file
29951232          MEDIANT COMMUNICATIONS INC           PO BOX 75185                                                                                                             CHICAGO               IL           60675‐5185
30208151          MEDINA COUNTY DISTRICT LIBRARY       210 S. BROADWAY                                                                                                          MEDINA                OH           44256
30356596          Medina County Sanitary Engineers     791 West Smith Rd                                                                                                        Medina                OH           44256
                  MEDINA COUNTY, OH COUNTY CONSUMER
30207914          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION   144 NORTH BROADWAY STREET                                                           MEDINA                OH           44256
30213087          MEDINA GRANDE SHOPS, LLC             550 7TH AVENUE, 15TH FLOOR           ATTN: MIKE M. NASSIMI                                                               NEW YORK              NY           10018
30401935          Name on file                         Address on file
30261746          Name on file                         Address on file
30397321          Name on file                         Address on file
30397505          Name on file                         Address on file
30398142          Name on file                         Address on file
30208152          MEEKINS PUBLIC LIBRARY               BOX 772                                                                                                                  WILLIAMSBURG          MA           01096
30212454          MEGAN ANDERSON                       Address on file
29934860          MEGAN B BOWERS                       Address on file
30210675          MEGAN CARUCCI                        Address on file
30212761          MEGAN CHICATELLI                     Address on file
30208154          MEGAN EMILY KREINER                  Address on file
30210676          MEGAN FLYNN                          Address on file
29961305          MEGAN GILLIAM                        Address on file
IC_179            MEGAN KREINER                        Address on file
29961323          MEGAN LYNN CRUZ                      Address on file
29934915          MEGAN MILVET                         Address on file
29961331          MEGAN O ANDERSEN                     Address on file
29934943          MEGAN SMITH                          Address on file
29934953          MEGAN WAGNER                         Address on file
29934966          MEGAN WILSON                         Address on file
29934968          MEGAN WILT                           Address on file
29934973          MEGAN ZANIEWSKI                      Address on file
29961341          MEGHAN HADDAD‐NULL                   Address on file
29961344          MEGHAN HOCH                          Address on file
29961343          MEGHAN HOCH                          Address on file
29935003          MEGHANN TASCAR                       Address on file
30416188          Name on file                         Address on file
30414830          Name on file                         Address on file
29935004          Name on file                         Address on file
30393986          Name on file                         Address on file
29935008          Name on file                         Address on file
30256684          Name on file                         Address on file
29935012          ME‐JAC‐SALES TAX 04102               24 STATE HOUSE STATION                                                                                                   AUGUSTA               ME           04333‐0024
29935013          ME‐JAS‐SALES TAX 04102               24 STATE HOUSE STATION                                                                                                   AUGUSTA               ME           04333‐0024
30332030          Name on file                         Address on file
30345380          Name on file                         Address on file
30331285          Mekotex Pvt Limited                  Greenberg Traurig, LLP               c/o Alan J. Brody                500 Campus Drive               Suite 400           Florham Park          NJ           07932
30331286          Mekotex Pvt Limited                  Greenberg Traurig, LLP               c/o Dennis A. Meloro             222 Delaware Avenue            Suite 1600          WIlmington            DE           19801
30212894          MELANA COLLINS                       Address on file
29935039          MELANIE DANA FALICK                  Address on file
29935061          MELANIE MAKELY                       Address on file
29952017          MELANIE MARTIN                       Address on file
IC_182            MELANIE SCHOW                        Address on file
30209254          MELANIE SCHOW                        Address on file
29961354          MELANIE SINNEN                       Address on file
30345556          Name on file                         Address on file
29935096          MELIA STARK                          Address on file
29935103          MELINDA ABEENE                       Address on file
29961368          MELINDA COONFER                      Address on file
29935109          MELINDA PUGH                         Address on file
30341974          Name on file                         Address on file




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  ADDRESS ID                           NAME                               ADDRESS 1                   ADDRESS 2                        ADDRESS 3                 ADDRESS 4                     CITY        STATE     POSTAL CODE        COUNTRY
29935119          MELISSA AREVALO                       Address on file
30212742          MELISSA BOWERS                        Address on file
29953489          MELISSA BOWERS                        Address on file
29935125          MELISSA BRAHAM                        Address on file
29935128          MELISSA BRAY                          Address on file
30212879          MELISSA CHAMBERLAIN                   Address on file
30210677          MELISSA COOK                          Address on file
30212811          MELISSA DANUS                         Address on file
29953084          MELISSA DAVIS                         Address on file
29935150          MELISSA FAUSNAUGHT                    Address on file
29961400          MELISSA HAMMOND DUNAWAY               Address on file
29961415          MELISSA KIM                           Address on file
29935186          MELISSA LANG LYTLE                    Address on file
29935251          MELISSA SHUART                        Address on file
29935256          MELISSA SOBUS                         Address on file
30212895          MELISSA SOBUS                         Address on file
29935273          MELISSA VARGAS‐NAVARRETE              Address on file
29961417          MELISSA ZAJAC                         Address on file
30212885          MELISSA ZAJC                          Address on file
30212963          MELODIE LANDIS                        Address on file

29935302          MELODY S CHAFIN                       CORPORATE SERVICES CONSULTANTS LLC P.O. BOX 1048                                                                     DANDRIDGE                TN           37725
29935303          Name on file                          Address on file
30210607          MELON TECHNOLOGIES LLC                1 S WACKER DR                      SUITE 2250                                                                        CHICAGO                  IL           60606
LC_0406           Melrose Public Library                69 West Emerson St.                                                                                                  Melrose                  MA           02176‐3173
29935313          Name on file                          Address on file
30208157          MELROSE PUBLIC LIBRARY                69 W EMERSON STREET                                                                                                  MELROSE                  MA           02176
29935315          MELTON CERVANTEZ                      Address on file
30227749          Name on file                          Address on file
29935316          MELTWATER NEWS US INC                 555 TWIN DOLPHIN DR. #165                                                                                            REDWOOD CITY             CA           94065
29935323          Name on file                          Address on file
29935324          Name on file                          Address on file
29935325          MEMPHIS LIGHT, GAS & WATER DIVISION   P.O. BOX 388                                                                                                         MEMPHIS                  TN           38145‐0388
30356736          Name on file                          Address on file
29949555          MENARD INC                            555 CALIFORNIA STREET              SUITE 3100                                                                        SAN FRANCISCO            CA           94104
30338260          Name on file                          Address on file

29935327          MENDERES TEKSTIL SAN.VE. TIC. A.S.    CUMHURIYET MAH.GAZI MUSTAFA KEMAL PASA BLV NO. 242                  SARAYKOY                                         DENIZLI                               20300           TURKEY
30350281          Name on file                          Address on file
30351733          Name on file                          Address on file
30401627          Name on file                          Address on file
30344057          Name on file                          Address on file
30258818          Name on file                          Address on file
30263036          Name on file                          Address on file
30353469          Name on file                          Address on file
30208165          MENLO PARK PUBLIC LIBRARY             800 ALMA ST.                                                                                                         MENLO PARK               CA           94025
29935329          MENOMONEE FALLS POLICE DEPT           W156 N8480 PILGRIM RD                                                                                                MENOMONEE FALLS          WI           53051
30358134          Name on file                          Address on file
29935332          MERCANTILE TAX COLLECTOR              PLEASANT HILL                     PO BOX 10931                                                                       PITTSBURGH               PA           15236

29935333          MERCED COUNTY ENVIRONMENTAL HEALTH    260 EAST 15TH STREET                                                                                                 MERCED                   CA           95341‐6216
29935334          MERCED COUNTY FTZ 226                 ATTN: MARK HENDRICKSON              2222 M STREET                                                                    MERCED                   CA           95340
29935335          MERCED COUNTY TAX COLLECTOR           2222 M STREET                                                                                                        MERCED                   CA           95340
29961428          MERCEDEZ REX SINGLETON                Address on file
29961431          Name on file                          Address on file
LC_0409           Mercer County Library                 2751 Brunswick Pike                                                                                                  Lawrenceville            NJ           08648‐4132
29961432          Name on file                          Address on file
30208167          MERCER COUNTY LIBRARY SYSTEM          2751 BRUNSWICK PIKE                                                                                                  LAWRENCE TOWNSHIP        NJ           08648
                  MERCER COUNTY, NJ COUNTY CONSUMER
30207915          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 640 S BROAD ST.                                                                   TRENTON                  NJ           08650
30414673          Name on file                          Address on file
29961433          MERCHANTVILLE ‐ PENNSAUKEN            6751 WESTFIELD AVENUE                                                                                                PENNSAUKEN               NJ           08110
29961435          MERCY OLANIYAN                        Address on file




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  ADDRESS ID                           NAME                                ADDRESS 1                             ADDRESS 2                          ADDRESS 3                  ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
30212759          MEREDITH WALKER                            Address on file
30394408          Name on file                               Address on file
30208169          MERIDEN PUBLIC LIBRARY                     105 MILLER STREET                                                                                                             MERIDEN                   CT           06450
30352937          Name on file                               Address on file
30354305          Name on file                               Address on file
30346926          Name on file                               Address on file
30354279          Name on file                               Address on file
30211687          MERRICK LIBRARY                            2279 MERRICK AVE                                                                                                              MERRICK                   NY           11566
30348092          Name on file                               Address on file
                  MERRILL LYNCH, PIERCE, FENNER & SMITH
30210494          INCORPORATED                               ADAM ABRAMOWITZ                          8890 LYRA DRIVE                   SUITE 500                                          COLUMBUS                  OH           43240
30341082          Name on file                               Address on file
                  MERRIMACK COUNTY, NH COUNTY CONSUMER
30207916          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 6 BABOOSIC LAKE ROAD                                                                       MERRIMACK                 NH           03054
30211688          MERRIMACK PUBLIC LIBRARY                   470 DANIEL WEBSTER HIGHWAY                                                                                                    MERRIMACK                 NH           03054
30397151          Name on file                               Address on file
30397150          Name on file                               Address on file
29961440          Name on file                               Address on file
29961441          MERRY MAKERS INC                           3540 GRAND AVENUE SUITE 200                                                                                                   OAKLAND                   CA           94610
30399864          Name on file                               Address on file
30337532          Name on file                               Address on file
29961445          MESA COUNTY TREASURER                      PO BOX 20000                                                                                                                  GRAND JUNCTION            CO           81502‐5027
30352766          Name on file                               Address on file
29961447          MESQUITE TAX FUND                          711 N GALLOWAY AVE                 PO BOX 850267                                                                              MESQUITE                  TX           75185‐0267
29961448          Name on file                               Address on file
                  MESSENGER PUBLIC LIBRARY OF NORTH
30208171          AURORA                                     113 OAK STREET                                                                                                                NORTH AURORA              IL           60542
                  MESSENGER PUBLIC LIBRARY OF NORTH
30208172          AURORA                                     13 OAK STREET                                                                                                                 NORTH AURORA              IL           60542
30401498          Name on file                               Address on file
30415233          Name on file                               Address on file
VC_006            Meta                                       FACEBOOK INC                             15161 COLLECTIONS CTR DR                                                             CHICAGO                   IL           60693
29961450          META PLATFORMS INC                         15161 COLLECTIONS CTR DR                                                                                                      CHICAGO                   IL           60693

30280624          Meta Platforms, Inc.                       Attn: Accounts Receivable ‐ Bankruptcy   15161 Collections Center Drive                                                       Chicago                   IL           60693
30291900          Meta Platforms, Inc.                       McMahon Serepca LLP                      Elizabeth M. Kurr                 1900 South Norfolk Street      Suite 350           San Mateo                 CA           94403
29935388          METLIFE                                    PO BOX 360229                                                                                                                 PITTSBURGH                PA           15251‐6229
29935390          METLIFE LEGAL PLANS INC                    DEPT 781523, PO BOX 78000                                                                                                     DETROIT                   MI           48278‐1523
29935392          METRO SC, LLC                              P.O. BOX 850473                                                                                                               MINNEAPOLIS               MN           55485‐0473
29935393          METRO SHS TAX                              111 SW COLUMBIA ST                       STE. 600                                                                             PORTLAND                  OR           97201‐5840
30210609          METRO TRAILER LEASING                      1255 S. RIVER IND. BLVD                                                                                                       ATLANTA                   GA           30315
30210608          METRO TRAILER LEASING                      1255 S. RIVER INDUSTRIAL BLVD.                                                                                                ATLANTA                   GA           30315
29935395          METRO WATER SERVICES TN                    P.O. BOX 305225                                                                                                               NASHVILLE                 TN           37230‐5225
30211692          METRONET CONSORTIUM                        32737 W 12 MILE RD                                                                                                            FARMINGTON HILLS          MI           48334
                  Metropolitan Government of Nashville &
30254265          Davidson County Tennessee                  Metropolitan Trustee                     Attn: Eugene Hampton              P.O Box 196358                                     Nashville                 TN           37219

29935398          METROPOLITAN GROUP PROPERTY                AND CASUALTY INSURANCE COMPANY           PO BOX 8500‐783895                                                                   PHILADELPHIA              PA           19178
                  METROPOLITAN LIBRARY COMMISSION OF
30208176          OKLAHOMA COUNTY                            300 NE 50TH ST                                                                                                                OKLAHOMA CITY             OK           73105
                  METROPOLITAN LIBRARY COMMISSION OF
30208178          OKLAHOMA COUNTY                            300 PARK AVENUE                                                                                                               OKLAHOMA CITY             OK           73102
29935399          Name on file                               Address on file
30223183          METROPOLITAN LIBRARY SYSTEM                300 PARK AVENUE                                                                                                               OKLAHOMA CITY             OK           73102
30293406          Metropolitan Life Insurance Company        P.O. Box 360229                                                                                                               Pittsburgh                PA           15251‐6229
29935400          METROPOLITAN ST. LOUIS SEWER DIST/437      P.O. BOX 437                                                                                                                  ST. LOUIS                 MO           63166
29935402          METROPOLITAN TELECOMMUNICATIONS            55 WATER STREET                          32ND FLOOR                                                                           NEW YORK                  NY           10041
29935403          METROPOLITAN TRUSTEE                       PO BOX 305012                                                                                                                 NASHVILLE                 TN           37230‐5012

29935404          METROPOLITAN UTILITIES DISTRIC/2166/3600   PO BOX 3600                                                                                                                   OMAHA                     NE           68103‐0600
29935406          METTLER TOLEDO INTERNATIONAL INC           1900 POLARIS PARKWAY                                                                                                          COLUMBUS                  OH           43240
30211408          METTLER TOLEDO LLC                         22670 NETWORK PLACE                                                                                                           CHICAGO                   IL           60673
30332476          Name on file                               Address on file




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30332567          Name on file                            Address on file
30332488          Name on file                            Address on file
30353363          Name on file                            Address on file
30384736          Name on file                            Address on file
30397850          Name on file                            Address on file
30354906          Name on file                            Address on file
30354907          Name on file                            Address on file
29935409          MEYERLAND RETAIL ASSOCIATES LLC         4500 BISSONNET ST., STE. 200                                                                                            BELLAIRE                  TX           77401

30210975          MEYERLAND RETAIL ASSOCIATES, LLC        C/O FIDELIS                          4500 BISSONNET STREET, SUITE 200                                                   BELLAIRE                  TX           77401
                                                                                               ATTN: JODI BUTSCHEK, SR.
29935410          MEYERLAND RETAIL ASSOCIATES, LLC        C/O FIDELIS                          PROPERTY MGR.                    4500 BISSONNET STREET, SUITE 200                  BELLAIRE                  TX           77401
30223184          MEYERS PREP INC                         32898 WOODHAVEN CIRCLE                                                                                                  NORTH RIDGEVILLE          OH           44039
30211409          MEYERS ROMAN FRIEDBERG & LEWIS          28601 CHAGRIN BLVD. #600                                                                                                CLEVELAND                 OH           44122
30353619          Name on file                            Address on file
30351159          Name on file                            Address on file
30349336          Name on file                            Address on file

29935415          MFBY OCALA, LLC                         C/O RD MANAGEMENT LLC                ATTN: GENERAL COUNSEL             810 SEVENTH AVENUE, 10TH FLOOR                   NEW YORK                  NY           10019
30210868          MFBY OCALA, LLC                         C/O RD MANAGEMENT LLC                ATTN: GENERAL COUNSEL                                                              NEW YORK                  NY           10019

30213363          MFN EQUITIES, LLC                       C/O MADISON AVENUE REALTIES, LLC     244 WEST 39TH STREET, 4TH FLOOR                                                    NEW YORK                  NY           10018
29935418          MGMT ENTERTAINMENT LLC                  15260 VENTURA BLVD., STE. 1040                                                                                          SHERMAN OAKS              CA           91403
29935419          MGP XII REIT LLC                        MGP XII SUNRISE VILLAGE LLC 803‐36   425 CALIFORNIA ST 10TH FL                                                          SAN FRANCISCO             CA           94104
                                                                                                                                 425 CALIFORNIA STREET, TENTH
29935420          MGP XII SUNRISE VILLAGE, LLC            RE: SUNRISE VILLAGE, UNIT #803‐40    ATTN: LEASE ADMINISTRATION        FLOOR                                            SAN FRANCISCO             CA           94104
30210973          MGP XII SUNRISE VILLAGE, LLC            RE: SUNRISE VILLAGE, UNIT #803‐40    ATTN: LEASE ADMINISTRATION                                                         SAN FRANCISCO             CA           94104
29935421          MH OUTDOOR MEDIA LLC                    11750 KATY FREEWAY #1300                                                                                                HOUSTON                   TX           77079
29935422          Name on file                            Address on file
29935456          MIA RABINOWITZ                          Address on file
29935461          MIA SANDERS                             Address on file
29935464          MIA SEMINGSON                           Address on file
29935466          MIA SERNA                               Address on file
30335490          Name on file                            Address on file
30336117          Miami Dade Water and Sewer Department   Marla R Lloyd                        3071 SW 38th Avenue                                                                Coral Gables              FL           33146
29953318          MIAMI‐DADE COUNTY TAX COLLECTOR         OCCUPATIONAL LICENSE TAX             140 W FLAGLER ST 14TH                                                              MIAMI                     FL           33130
                  MIAMI‐DADE COUNTY, FL COUNTY CONSUMER
30207917          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION   CONSUMER SERVICES                 601 NW 1ST CT, 18TH FLOOR                        MIAMI                     FL           33136
29935481          MIAMI‐DADE FIRE RESCUE DEPT             FINANCE BUREAU                       9300 NW 41ST STREET                                                                MIAMI                     FL           33178‐2414
29935482          MIAMI‐DADE POLICE DEPARTMENT            FALSE ALARM ENFORCEMENT UNIT         9105 NW 25TH STREET, RM #1119                                                      MIAMI                     FL           33172
29935483          MIAMI‐DADE RESCUE DEPARTMENT            FINANCE BUREAU                       9300 NW 41ST STREET                                                                MIAMI                     FL           33178
29935485          MIAMI‐DADE WATER AND SEWER DEPT         3071 SW 38TH AVE                                                                                                        MIAMI                     FL           33134
29935484          MIAMI‐DADE WATER AND SEWER DEPT         P.O. BOX 026055                                                                                                         MIAMI                     FL           33102‐6055
29935513          MICHAEL B POWELL                        Address on file
29935519          MICHAEL BURRIS JR                       Address on file
29935531          MICHAEL E ROHNER                        Address on file
30212770          MICHAEL HUGHES                          Address on file
29961465          MICHAEL J JAWORSKI                      Address on file
30212990          MICHAEL KELLEY                          Address on file
30212846          MICHAEL KELLY                           Address on file
30212785          MICHAEL KENNEDY                         Address on file
29935589          MICHAEL MORRIS                          Address on file
29935600          MICHAEL PANGBURN                        Address on file
30212980          MICHAEL PERRINE                         Address on file
30213009          MICHAEL PHILLIPS                        Address on file
30212595          MICHAEL RADCLIFF                        Address on file
29961473          MICHAEL RADCLIFF                        Address on file
29961483          MICHAEL RUDER                           Address on file
30212589          MICHAEL STEFFEN                         Address on file
29961485          Name on file                            Address on file
30212994          MICHAEL WHARTON                         Address on file
29972750          Name on file                            Address on file
29935677          MICHAELA SWANSON                        Address on file




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29935685          MICHAELA YEE                      Address on file
29935686          MICHAELAARON BECKLEY              Address on file
30356632          Name on file                      Address on file
30353852          Name on file                      Address on file
29935692          MICHALENE MORELLI                 Address on file
29961513          MICHELE OKEYEMI                   Address on file
IC_071            MICHELE R MUSKA                   Address on file
30212942          MICHELE TOKES                     Address on file
29935726          MICHELLE ARBAUGH                  Address on file
29935746          MICHELLE CONNOLLY                 Address on file
29935755          MICHELLE DE RIDDER                Address on file
29935762          MICHELLE DRAKE                    Address on file
29935765          MICHELLE FIGUEROA                 Address on file
29935766          MICHELLE FILIPOWICZ               Address on file
29961537          MICHELLE GRANDINETTI              Address on file
29935778          MICHELLE HEBERT                   Address on file
30210596          MICHELLE ISRAEL                   5555 DARROW ROAD                                                                                                       HUDSON                    OH           44236
29935798          MICHELLE L DAVIS                  Address on file
29935799          MICHELLE L SHELINE                Address on file
29935805          MICHELLE LEAIRD                   Address on file
29935807          MICHELLE LEE ISRAEL               Address on file
29935809          MICHELLE LIMBERT                  Address on file
29935813          MICHELLE M LEAIRD                 Address on file
29935829          MICHELLE MONTOYA                  Address on file
29935857          MICHELLE RELYEA                   Address on file
29935878          MICHELLE SHIVELEY                 Address on file
29952007          MICHELLE WELBORN                  Address on file
30394759          Name on file                      Address on file
29935914          MICHIE SHERMAN                    Address on file
29935916          MICHIGAN DEPARTMENT OF TREASURY   430 W ALLEGAN ST                                                                                                       LANSING                   MI           48933
29935917          MICHIGAN DEPT OF TREASURY         P.O. BOX 30324                                                                                                         LANSING                   MI           48909‐7824
29935919          MICHIGAN GAS UTILITIES            899 SOUTH TELEGRAPH ROAD                                                                                               MONROE                    MI           48161
29935918          MICHIGAN GAS UTILITIES            PO BOX 1109                                                                                                            GLENVIEW                  IL           60025
                                                                                                                           RICHARD H. AUSTIN BUILDING ‐ 4TH
29935920          MICHIGAN SECRETARY OF STATE       ATTN: JOCELYN BENSON                  430 W. ALLEGAN ST.               FLOOR                                           LANSING                   MI           48918
29935923          Name on file                      Address on file
29935926          MICKAILA RAYMOND                  Address on file
29935935          MICRO CLEAN SERVICES INC          25405 BROADWAY AVE UNIT 2                                                                                              OAKWOOD VILLAGE           OH           44146
29935936          MICRO STRATEGIES INC              1140 PARSIPPANY BLVD., 2ND FL                                                                                          PARSIPPANY                NJ           07054

30211410          MICROMARKETING INC                4230 LAFAYETTE CENTER DRIVE SUITE K                                                                                    CHANTILLY                 VA           20151
                                                                                          LB 842467 N STEMMONS FWY
29935938          MICROSOFT CORP                    C/O BANK OF AMERICA                   #5010                                                                            DALLAS                    TX           75207
30215344          MICROSOFT CORP                    C/O BANK OF AMERICA                   ONE MICROSOFT WAY                                                                REDMOND                   WA           98052‐6399
30292810          Microsoft Corporation             Attn: Patrick Gogerty, Paralegal      One Microsoft Way                                                                Redmond                   WA           98052
30223185          MICROSOFT CORPORATION             DBA MICROSOFT TECHNET                 PO BOX 841639                                                                    DALLAS                    TX           75207

30211585          MICROSOFT CORPORATION             MICROSOFT SERVICES                    PO BOX 844510, BANK OF AMERICA                                                   DALLAS                    TX           75284
30214959          MICROSOFT ONLINE INC              6880 SIERRA CENTER PKWY               BLDG B RENO                                                                      DALLAS                    NV           89511‐2372
29935939          MICROSOFT ONLINE INC              PO BOX 847543                                                                                                          DALLAS                    TX           75284‐7543
30223186          MICRO‐TEL CENTER                  3700 HOLCOMB BRIDGE RD                                                                                                 NORCROSS                  GA           30092
30211693          MID YORK LIBRARY SYSTEM           1600 LINCOLN AVE                                                                                                       UTICA                     NY           13502
29935942          MID‐AMERICA ASSET MANAGEMENT      ONE PARKVIEW PLAZA                                                                                                     OAKBROOK TERRACE          IL           60181
29935944          MIDAMERICAN ENERGY COMPANY        PO BOX 657                                                                                                             DES MOINES                IA           50306‐0657
29935943          MIDAMERICAN ENERGY COMPANY        PO BOX 8020                                                                                                            DAVENPORT                 IA           52808‐8020
29935945          MIDAMERICAN ENERGY SERVICES LLC   PO BOX 8019                                                                                                            DAVENPORT                 IA           52808‐8019
30208181          MIDDLE COUNTRY PUBLIC LIBRARY     101 EASTWOOD BOULEVARD                                                                                                 CENTEREACH                NY           11720
29935948          MIDDLE TENNESSEE ELECTRIC         PO BOX 330008                                                                                                          MURFREESBORO              TN           37133‐0008
30208182          MIDDLEBOROUGH PUBLIC LIBRARY      102 N MAIN STREET                                                                                                      MIDDLEBOROUGH             MA           02346
30223187          MIDDLEBOROUGH PUBLIC LIBRARY      102 NORTH MAIN STREET                                                                                                  MIDDLEBOROUGH             MD           02346
30211694          MIDDLEBOROUGH PUBLIC LIBRARY      102 NORTH MAIN STREET                                                                                                  MIDDLEBOROUGH             MA           02346
29935951          Name on file                      Address on file
30208185          MIDDLEBURGH LIBRARY               P.O. BOX 670                                                                                                           MIDDLEBURGH               NY           12122




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  ADDRESS ID                           NAME                                 ADDRESS 1                           ADDRESS 2                            ADDRESS 3                      ADDRESS 4                   CITY        STATE     POSTAL CODE        COUNTRY
29935952          Name on file                                 Address on file
30208186          MIDDLEBURY PUBLIC LIBRARY                    101 E WINSLOW ST                                                                                                                 MIDDLEBURY             IN           46540
LC_0415           Middlesex County Library                     34 Frank Street                                                                                                                  Strathroy              ON           N6A2P1          Canada
30208189          MIDDLESEX COUNTY LIBRARY                     1 TUNKS LANE                                                                                                                     KOMOKA                 ON           N0L 1R0         CANADA
30208190          MIDDLESEX COUNTY LIBRARY                     399 RIDOUT STREET NORTH                                                                                                          STRATHROY              ON           N6A 2P1         CANADA
                  MIDDLESEX COUNTY, CT COUNTY CONSUMER
30207918          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 1 COURT ST                                                                                    MIDDLETOWN             CT           06457
                  MIDDLESEX COUNTY, MA COUNTY CONSUMER
30207919          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 200 TRADECENTER DR, 2ND FLOOR                                                                 WOBURN                 MA           01801
29935955          MIDDLESEX WATER COMPANY                      485C ROUTE 1 SOUTH                 SUITE 400                                                                                     ISELIN                 NJ           08830
29935954          MIDDLESEX WATER COMPANY                      PO BOX 826538                                                                                                                    PHILADELPHIA           PA           19182‐6538
30208191          MIDDLETON PUBLIC LIBRARY                     7425 HUBBARD AVE MIDDLETON                                                                                                       MIDDLETON              WI           53562
30208192          MIDDLETON PUBLIC LIBRARY                     7425 HUBBARD AVE.                                                                                                                MIDDLETON              WI           53562
30208193          MIDDLETOWN FREE LIBRARY                      21 NORTH PENNELL ROAD.             BOX 275                                                                                       LIMA                   PA           19037
29935958          Name on file                                 Address on file
30354333          Name on file                                 Address on file
29961539          MID‐HUDSON CABLEVISION                       200 JEFFERSON HEIGHTS                                                                                                            CATSKILL               NY           12414
                  MIDLAND COUNTY, MI COUNTY CONSUMER
30207920          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 220 W ELLSWORTH STREET                                                                        MIDLAND                MI           48640‐5194
30211695          MIDLAND PARK MEMORIAL LIBRARY                250 GODWIN AVE                                                                                                                   MIDLAND PARK           NJ           07432
30208196          MIDLAND PUBLIC LIBRARY                       320 KING STREET                                                                                                                  MIDLAND                ON           L4R 3M6         CANADA
                                                                                                  14643 DALLAS PARKWAY, SUITE
30213514          MIDLO YOUNGER, LLC                           C/O YOUNGER PARTNERS               950, LB #58                                                                                   DALLAS                 TX           75254

29961544          MIDLOTHIAN TOWNE CROSSING LLC                C/O YOUNGER PARTNERS INVESTMENTS      ATTN: MICAH ASHFORD                  14643 DALLAS PKWY.             STE. 950               DALLAS                 TX           75254

29961545          MIDLOTHIAN TOWNE CROSSING LP                 C/O YOUNGER PARTNERS INVESTMENTS      ATTN: MICAH ASHFORD                  14643 DALLAS PKWY.             STE. 950               DALLAS                 TX           75254
29961546          Name on file                                 Address on file
29961547          Name on file                                 Address on file
30208197          MIDPOINTE LIBRARY SYSTEM                     25 S BROAD ST                                                                                                                    MIDDLETOWN             OH           45044
30208199          MIDPOLNTE LIBRARY SYSTEM                     125 S BROAD ST                                                                                                                   MIDDLETOWN             OH           45044
30223190          MIDSOUTH MECHANICAL INC                      PO BOX 1283                                                                                                                      LAGRANGE               GA           30241

30213338          MIDTOWN COMMONS SHOPPING CENTER              C/O MATRIX GROUP, INC.                1805 S. BELLAIRE STREET, SUITE 400                                                         DENVER                 CO           80222
                  Midtown Industrial Center, LLC and JCRS II
30281895          Colfax, LLC                                  Wadsworth Garber Warner Conrardy, P.C. David J. Warner                     2580 W. Main St.               Ste. 200               Littleton              CO           80120
                                                                                                      ATTN: SAM RAPP, DIRECTOR OF
29935959          MIDWAY MARKET SQUARE ELYRIA LLC              C/O MADISON PROPERTIES                 LEASING                             3611 14TH AVE                                         BROOKLYN               NY           11218
                                                                                                      ATTN: SAM RAPP, DIRECTOR OF
30210960          MIDWAY MARKET SQUARE ELYRIA LLC              C/O MADISON PROPERTIES                 LEASING                                                                                   BROOKLYN               NY           11218
                                                                                                      ONE INDEPENDENT DRIVE, SUITE
30213347          MIDWAY SHOPPING CENTER, L.P.                 C/O REGENCY CENTERS CORPORATION        114                                                                                       JACKSONVILLE           FL           32202‐5019
30274086          Midwest Bioclean Inc.                        5424 Tanager Ave NE                                                                                                              Canton                 OH           44705
30211412          MIDWEST BIOCLEAN INC.                        BIO CLEAN SERVICES                     P.O. BOX 7191                                                                             CANTON                 OH           44705
                                                                                                                                          401 WILSHIRE BOULEVARD SUITE
29935962          MIDWEST CENTERS, L.P.                        C/O THE MACERICH COMPANY              ATTN: LEGAL DEPARTMENT               700                                                   SANTA MONICA           CA           90401
30210880          MIDWEST CENTERS, L.P.                        C/O THE MACERICH COMPANY              ATTN: LEGAL DEPARTMENT                                                                     SANTA MONICA           CA           90401
29935963          MIDWEST HERITAGE INN OF SHAWNEE OPC          HAMPTON INN SHAWNEE                   4851 N. KICKAPOO AVE.                                                                      SHAWNEE                OK           74804
30211414          MIDWEST RETAIL SERVICES INC                  L‐3996                                                                                                                           COLUMBUS               OH           43260‐3996
30211577          MIDWEST TAPE, LLC                            ATTN: SUE BASCUK                      1417 TIMBERWOLF DRIVE                                                                      HOLLAND                OH           43528
29935965          Name on file                                 Address on file
30358355          Name on file                                 Address on file
30213362          MIGHTY MITES ELK RIVER                       140 E. HINKS LN.                                                                                                                 SIOUX FALLS            SD           57104
29935974          MI‐JAS‐PPD SALES 04200                       TREASURY BLDG                         PO BOX 30059                                                                               LANSING                MI           48922
29935975          MI‐JAS‐PPD USE TAX 04500                     TREASURY BLDG                         PO BOX 30059                                                                               LANSING                MI           48922
29935981          MIKALA GOODEMOTE                             Address on file
29936005          MIKAYLA IRBY                                 Address on file
29936028          MIKE ARNOULT                                 Address on file
29936029          MIKE CASERTA                                 Address on file
30208204          MIKEL STONE                                  Address on file
30210871          MILAN REAL ESTATE INVESTMENTS, LLC           701 S PARKER ST STE 5200                                                                                                         Orange County          CA           92868‐4749

29936054          MILAN REAL ESTATE INVESTMENTS, LLC           C/O MILAN CAPITAL MANAGEMENT, INC. 701 S PARKER ST                         STE 5200                                              ORANGE                 CA           92868‐4749




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  ADDRESS ID                           NAME                                     ADDRESS 1                    ADDRESS 2                          ADDRESS 3               ADDRESS 4                         CITY        STATE     POSTAL CODE         COUNTRY
29936062          Name on file                                    Address on file
LC_0418           Mildura Rural City Council Libraries            180‐190 Deakin Ave                                                                                                Mildura, VIC                              3500            Australia
30208205          MILDURA RURAL CITY COUNCIL LIBRARIES            PO BOX 105                                                                                                        MILDURA, VIC                              3502            AUSTRALIA
29961576          MILESTONE INTERNET MARKETING INC                2010 EL CAMINO REAL STE 926                                                                                       SANTA CLARA                  CA           95050
30395681          Name on file                                    Address on file
30395682          Name on file                                    Address on file
29961578          MILFORD SEWER DEPT. MA                          52 MAIN STREET                                                                                                    MILFORD                      MA           01757
29961577          MILFORD SEWER DEPT. MA                          PO BOX 644                                                                                                        MILFORD                      MA           01757‐0644
30208207          MILFORD TOWN LIBRARY                            80 SPRUCE STREET                                                                                                  MILFORD                      MA           01757
29961580          MILFORD WATER DEPARTMENT                        PO BOX 4110                                                                                                       WOBURN                       MA           01888‐4110
30401803          Name on file                                    Address on file
30333421          Name on file                                    Address on file
30214478          MILKMEN DESIGN LLC                              2332 PROSPECT AVE E                                                                                               CLEVELAND                    OH           44115
30396343          Name on file                                    Address on file
29936071          MILLBRAE SQUARE COMPANY                         101 HICKEY BLVD #A‐403                                                                                            S SAN FRAN                   CA           94080‐1175

30213322          MILLBRAE SQUARE COMPANY                         101 HICKEY BLVD., STE A‐403   ATTN: STEVE THOMAS, MANAGER                                                         SOUTH SAN FRANCISCO          CA           94080
                  Millbrae Square Company, a California limited
30222875          partnership                                     Victoria Imbimbo              101 Hickey Blvd                    Ste. A‐403                                       South San Francisco          CA           94080
30208208          MILLBURN FREE PUBLIC LIBRARY                    200 GLEN AVENUE                                                                                                   MILLBURN                     NJ           07041
30214270          MILLCRAFT PAPER CO                              9010 RIO NERO DR                                                                                                  INDEPENDENCE                 OH           44131
29936073          MILLCRAFT PAPER CO                              PO BOX 72466                                                                                                      CLEVELAND                    OH           44192
29936074          Name on file                                    Address on file
30415894          Name on file                                    Address on file
30402027          Name on file                                    Address on file
29936075          MILLER COUNTY COLLECTOR                         PO BOX 217                                                                                                        TUSCUMBIA                    MO           65082
30401993          Name on file                                    Address on file
30348008          Name on file                                    Address on file
30332067          Name on file                                    Address on file
30337594          Name on file                                    Address on file
30336533          Name on file                                    Address on file
30347043          Name on file                                    Address on file
30349019          Name on file                                    Address on file
30344270          Name on file                                    Address on file
30279540          Name on file                                    Address on file
30351798          Name on file                                    Address on file
30345630          Name on file                                    Address on file
30415102          Name on file                                    Address on file
30414816          Name on file                                    Address on file
30263251          Name on file                                    Address on file
30352742          Name on file                                    Address on file
30353225          Name on file                                    Address on file
30332490          Name on file                                    Address on file
30393676          Name on file                                    Address on file
30414331          Name on file                                    Address on file
30333217          Name on file                                    Address on file
30217872          Name on file                                    Address on file
30257854          Name on file                                    Address on file
30336307          Name on file                                    Address on file
30337246          Name on file                                    Address on file
30339023          Name on file                                    Address on file
30332753          Name on file                                    Address on file
30396589          Name on file                                    Address on file
30347924          Name on file                                    Address on file
30414669          Name on file                                    Address on file
29936076          MILLER'S PARTY RENTAL CENTER                    2488 ROMIG ROAD                                                                                                   AKRON                        OH           44320
29936077          Name on file                                    Address on file
30208209          MILLERSVILLE PUBLIC LIBRARY OF SUMNER           1174 LOUISVILLE HWY                                                                                               GOODLETTSVILLE               TN           37072
30332418          Name on file                                    Address on file
30211415          MILLIMAN USA                                    1301 FIFTH AVENUE             SUITE 3800                                                                          SEATTLE                      WA           98101‐2605
30416191          Name on file                                    Address on file
30261447          Name on file                                    Address on file
30277195          Name on file                                    Address on file




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  ADDRESS ID                           NAME                                   ADDRESS 1                     ADDRESS 2                          ADDRESS 3                 ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30399579          Name on file                              Address on file
30415874          Name on file                              Address on file
30333491          Name on file                              Address on file
29936087          Name on file                              Address on file
30284746          Name on file                              Address on file
30347325          Name on file                              Address on file
30296737          Name on file                              Address on file
                  MILWAUKEE COUNTY, WI COUNTY CONSUMER                                           MILWAUKEE COUNTY COURTHOUSE
30207921          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION   ROOM 104                    901 N 9TH ST                                            MILWAUKEE              WI           53233
30395376          Milwaukee Falls, LLC                      570 Delaware Avenue                                                                                                      Buffalo                NY           14202
29936092          Name on file                              Address on file
29936093          MIMCO INC                                 6500 MONTANA                                                                                                             EL PASO                TX           79925
29936095          Name on file                              Address on file
30358080          Name on file                              Address on file
29936100          Name on file                              Address on file
30294135          Name on file                              Address on file
30181615          Ming Retail Plaza LLC                     1901 Avenue of the Stars             Suite 855                                                                           Los Angeles            CA           90067
30213029          MING RETAIL PLAZA LLC                     C/O M.D. ATKINSON COMPANY, INC.      1401 19TH STREET, SUITE 400                                                         BAKERSFIELD            CA           93301
30397507          Name on file                              Address on file
29936122          Name on file                              Address on file
29949392          MINNESOTA DEPARTMENT OF COMMERCE          UNCLAIMED PROPERTY PROGRAM           85 7TH PLACE EAST                                                                   SAINT PAUL             MN           55101‐2198
29936123          MINNESOTA DEPARTMENT OF REVENUE           600 NORTH ROBERT ST                                                                                                      ST. PAUL               MN           55101
29936124          MINNESOTA DEPT OF AGRICULTURE             625 ROBERT STREET NORTH                                                                                                  SAINT PAUL             MN           55155‐2538

29949170          MINNESOTA DEPT OF AGRICULTURE ‐ CASHIER   625 ROBERT STREET NORTH                                                                                                  SAINT PAUL             MN           55155‐2538
29936125          MINNESOTA DEPT OF LABOR & INDUST.         443 LAFAYETTE ROAD N.                                                                                                    SAINT PAUL             MN           55155‐4307
29936126          MINNESOTA DEPT OF REVENUE                 MAIL STATION                         600 ROBERT ST N                                                                     ST PAUL                MN           55101
29936127          MINNESOTA ENERGY RESOURCES                PO BOX 1109                                                                                                              GLENVIEW               IL           60025
30295928          Minnesota Power                           Justin Allan Gilbert                 30 W Superior St                                                                    Duluth                 MN           55802‐2093
29936129          MINNESOTA POWER                           PO BOX 77065                                                                                                             MINNEAPOLIS            MN           55480‐7765
                                                                                                 332 MINNESOTA STREET, SUITE
29936131          MINNESOTA SECRETARY OF STATE              FIRST NATIONAL BANK BUILDING         N201                                                                                ST. PAUL               MN           55101
30358377          Name on file                              Address on file
29936135          Name on file                              Address on file
30213117          MINOT TOWN & COUNTRY INVESTORS, LLP       1015 S. BROADWAY ‐ MALL OFFICE       PO BOX 2025                                                                         MINOT                  ND           58702‐2025
30337429          MINOT TOWN & COUNTY INVESTORS, L.L.P.     DANYL SOMERVILLE                     2324 EAST BEECHNUT PLACE                                                            CHANDLER               AZ           85249
30394562          Name on file                              Address on file
30211416          MIRA DESIGN CORPORATION                   719 S. LOS ANGELES STREET, #1100                                                                                         LOS ANGELES            CA           90014
30350384          Name on file                              Address on file
30334213          Name on file                              Address on file
IC_136            MIRIAM ELIZABETH HOUSE                    Address on file
29936194          MIRIAM SCOTT                              Address on file
30342505          Name on file                              Address on file
30283186          Name on file                              Address on file
30352770          Name on file                              Address on file
30208211          MISHAWAKA PENN HARRIS PUBLIC LIBRARY      209 LINCOLNWAY EAST                                                                                                      MISHAWAKA              IN           46544
29936209          MISHAWAKA UTILITIES, IN                   PO BOX 363                                                                                                               MISHAWAKA              IN           46546‐0363
29936211          Name on file                              Address on file
30210611          MISHIPAY INC.                             325 NORTH ST. PAUL STREET                                                                                                DALLAS                 TX           75201
29936213          MISHORIM GOLD NEWPORT NEWS LP             C/O FORNESS PROPERTIES LLC           2221 LEE RD., SUITE 11                                                              WINTER PARK            FL           32789
29936215          Name on file                              Address on file
29949556          Name on file                              Address on file
29936216          MISSING MOON LLC                          369 LEXINGTON AVE., 24TH FLOOR                                                                                           NEW YORK               NY           10017
30211700          MISSION VIEJO LIBRARY                     100 CIVIC CENTER                                                                                                         MISSION VIEJO          CA           92691
29936218          MISSISSIPPI BUREAU OF REVENUE             PO BOX 23050                                                                                                             JACKSON                MS           39225‐3050
29936219          MISSISSIPPI EDGEWATER SQ INV LLC          296 BEAUVOIR RD #100‐ BOX 272                                                                                            BILOXI                 MS           39531
29936220          Name on file                              Address on file
30208212          MISSISSIPPI LIBRARY COMMISSION            881 EASTWOOD DRIVE                                                                                                       JACKSON                MS           39211
29936221          MISSISSIPPI SECRETARY OF STATE            5555 DARROW ROAD.                                                                                                        HUDSON                 OH           44236
29936222          MISSISSIPPI STATE TAX COMMISSION          PO BOX 960                                                                                                               JACKSON                MS           39205‐0960
29936223          MISSISSIPPI TAX COMMISSION                P.O. BOX 22808                                                                                                           JACKSON                MS           39225‐2808
29949173          MISSISSIPPI TAX COMMISSION                P.O. BOX 22808                                                                                                           JACKSON                MS           39225‐2808
LC_0421           Missoula Public Library                   455 E Main                                                                                                               Missoula               MT           59802‐4735




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  ADDRESS ID                           NAME                           ADDRESS 1                      ADDRESS 2                        ADDRESS 3                 ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
30208216          MISSOULA PUBLIC LIBRARY                301 EAST MAIN ST                                                                                                   MISSOULA                MT           59802
29936224          Name on file                           Address on file
30208217          MISSOULA PUBLIC LIBRARY                455 EAST MAIN ST                                                                                                   MISSOULA                MT           59802
                                                         HARRY S TRUMAN STATE OFFICE
29936226          MISSOURI DEPARTMENT OF REVENUE         BUILDING                         301 WEST HIGH STREET                                                              JEFFERSON CITY          MO           65101
29936227          MISSOURI DEPT OF REVENUE               P.O. BOX 840                                                                                                       JEFFERSON CITY          MO           65102‐0840
29972778          Name on file                           Address on file
30208218          MISSOURI RIVER REGIONAL LIBRARY        214 ADAMS ST.                                                                                                      JEFFERSON CITY          MO           65101
29936229          MISSOURI STAR QUILT CO INC             1005 S HUGHES ST                                                                                                   HAMILTON                MO           64644
29949393          MISSOURI UNCLAIMED PROPERTY DIVISION   301 W HIGH ST #157                                                                                                 JEFFERSON CITY          MO           65101
29936245          Name on file                           Address on file
30212623          MITCHELL FRETCH                        Address on file
29936250          MITCHELL LOCK                          Address on file
30347199          Name on file                           Address on file
30358140          Name on file                           Address on file
30395439          Name on file                           Address on file
30415267          Name on file                           Address on file
30415268          Name on file                           Address on file
30257937          Name on file                           Address on file
30385477          Name on file                           Address on file
30415827          Name on file                           Address on file
30350396          Name on file                           Address on file
29936254          Name on file                           Address on file
30335222          Name on file                           Address on file
30332018          Name on file                           Address on file
30416394          Name on file                           Address on file
30358060          Name on file                           Address on file
30356742          Name on file                           Address on file
30348325          Name on file                           Address on file
30288222          Name on file                           Address on file
29936265          MJB ELECTRIC SERVICE CORP              975 EASTWIND DR., #175                                                                                             WESTERVILLE             OH           43081
29936267          Name on file                           Address on file
29949806          MJX ASSET MANAGEMENT LLC               12 E 49TH STREET, 38TH FLOOR                                                                                       NEW YORK                NY           10017
29949557          MJX PARTNERS LLC                       12 E 49TH STREET, 38TH FLOOR                                                                                       NEW YORK                NY           10017
30213475          ML 96000 LLC                           C/O ASPI GROUP                   1600 LIND AVE SW, SUITE 220                                                       RENTON                  WA           98055
29936270          MLINDA GARTH                           Address on file
                                                                                          600 MADISON AVENUE, 14TH
30213561          MLO GREAT SOUTH BAY LLC                C/O OLSHAN PROPERTIES            FLOOR                                                                             NEW YORK                NY           10022
29936273          MLO GREAT SOUTH BAY LLC                C/O OLSHAN PROPERTIES ATTN: AR   600 MADISON AVE., 14TH FLOOR                                                      NEW YORK                NY           10022
30346401          Name on file                           Address on file
29936275          MN‐BUG‐SALES TAX                       600 NORTH ROBERT ST.                                                                                               SAINT PAUL              MN           55145
29936277          MN‐JAC‐SALES TAX                       600 NORTH ROBERT STREET                                                                                            SAINT PAUL              MN           55146
29936278          MN‐JAS‐SALES TAX 002                   600 NORTH ROBERT STREET                                                                                            SAINT PAUL              MN           55145‐4113
30347006          Name on file                           Address on file
30210612          MOBERG FACTORY, INC.                   99 PARK AVENUE                                                                                                     NEW YORK                NY           10016

29951507          MOBILE AREA WATER & SEWER SYSTEM‐MAWSS PO BOX 71286                                                                                                       CHARLOTTE               NC           20272‐1286
29951509          MOBILE COMMUNICATIONS AMER INC         DEPT 125                         PO BOX 37904                                                                      CHARLOTTE               NC           28237‐7904
29951510          MOBILE COUNTY                          DEPARTMENT 1524                  PO BOX 11407                                                                      BIRMINGHAM              AL           35246‐1524
29951511          MOBILE COUNTY                          REVENUE COMMISSIONER             PO BOX 1169                                                                       MOBILE                  AL           36633‐1169
29951512          MOBILE COUNTY PRIVILEGE LICENSE        PO DRAWER 161009                 3925 F MICHAEL BLVD STE F                                                         MOBILE                  AL           36616
30292711          Mobile Festival Acquisition LLC        Attn: Mark J. Petrocchi          2200 Forest Park Blvd.                                                            Fort Worth              TX           76110
30292723          Mobile Festival Acquisition LLC        c/o Mark J. Petrocchi            2200 Forest Park Blvd.                                                            Fort Worth              TX           76110
30292710          Mobile Festival Acquisition LLC        c/o The Woodmont Company         2100 W. 7th Street                                                                Fort Worth              TX           76107
29951513          MOBILE FESTIVAL ACQUISITION LLC        PO BOX 936058                                                                                                      ATLANTA                 GA           31193
30279174          Mobile Mentor                          1098 Lansdowne Approach                                                                                            Brentwood               TN           37027
29951516          MOBILE MINI INC                        PO BOX 7144                                                                                                        PASADENA                CA           91109‐7144
30396404          Name on file                           Address on file
29936280          MO‐COM‐SALES TAX 04199                 PO BOX 629                                                                                                         JEFFERSON CITY          MO           65105
29936281          MO‐CORP‐INCOME‐JAS 0219C               TAXATION DIVISION                PO BOX 3365                                                                       JEFFERSON CITY          MO           65105‐3365
29936282          MO‐CORP‐INCOME‐SSC 0219C               TAXATION DIVISION                PO BOX 3365                                                                       JEFFERSON CITY          MO           65105‐3365
29936283          MO‐CORP‐INCOME‐SSC 0229C               TAXATION DIVISION                PO BOX 3365                                                                       JEFFERSON CITY          MO           65105‐3365
29936284          MODERN MARKETING CONCEPTS INC ECOM     DBA CROSLEY BRANDS               1220 E OAK ST                                                                     LOUISVILLE              KY           40204




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                                                                                                                            Served via first class mail


  ADDRESS ID                           NAME                         ADDRESS 1                       ADDRESS 2                          ADDRESS 3                 ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY
30333880          Modesto Irrigation District         1231 11th St                                                                                                           Modesto                  CA           95354
30333881          Modesto Irrigation District         Attn: Customer Service Dept         PO Box 5355                                                                        Modesto                  CA           95352
29936286          MODESTO IRRIGATION DISTRICT         PO BOX 5355                                                                                                            MODESTO                  CA           95352‐5355
29936288          Name on file                        Address on file
29936289          MODULAR SYSTEMS TECHNICIANS         15708 INDUSTRIAL PKWY                                                                                                  CLEVELAND                OH           44135
30384746          Name on file                        Address on file
30332197          Name on file                        Address on file
30347703          Name on file                        Address on file
30340570          Name on file                        Address on file
29936295          MOHAVE COUNTY TREASURER             PO BOX 53078                                                                                                           PHOENIX                  AZ           85072‐3078
                  MOHAVE COUNTY, AZ COUNTY CONSUMER
30207922          PROTECTION AGENCY                   ATTN: CONSUMER PROTECTION DIVISION 700 W BEALE ST                                                                      KINGMAN                  AZ           86401
29936296          MOHAVE ELECTRIC COOPERATIVE         PO BOX 52091                                                                                                           PHOENIX                  AZ           85072‐2091
30358258          Name on file                        Address on file
29936305          MO‐JAS‐SALES TAX 04199              PO BOX 629                                                                                                             JEFFERSON CITY           MO           65105
29936306          MO‐JAS‐SALES TAX 04201              PO BOX 629                                                                                                             JEFFERSON CITY           MO           65105‐0629
29936307          MO‐JAS‐SALES TAX 04202              P.O. BOX 629                                                                                                           JEFFERSON CITY           MO           65105‐0629
29936308          MO‐JAS‐SALES TAX 04203              P.O. BOX 629                                                                                                           JEFFERSON CITY           MO           65105‐0629
29936309          MO‐JAS‐SALES TAX 04204              P.O. BOX 629                                                                                                           JEFFERSON CITY           MO           65105‐0629
30394694          Name on file                        Address on file
30262236          Name on file                        Address on file
30208220          MOLINE PUBLIC LIBRARY               3210 41ST STREET                                                                                                       MOLINE                   IL           61265
30357141          Name on file                        Address on file
30341008          Name on file                        Address on file
30386324          Name on file                        Address on file
30208226          MOLLY HATCH                         Address on file
29936325          MOLLY MALOY                         Address on file
29961633          MOLLYKATE CLINE                     Address on file
30414514          Name on file                        Address on file
IC_051            MOMENTAL DESIGNS                    570 BODLE ROAD                                                                                                         WYOMING                  PA           18644
30332040          Name on file                        Address on file
30350636          Name on file                        Address on file
30290500          Name on file                        Address on file
30341044          Name on file                        Address on file
30276151          Name on file                        Address on file
29950662          MONICA GORDON                       Address on file
30211417          Name on file                        Address on file
29936391          MONICA TETTEH                       Address on file
30355767          Name on file                        Address on file
30332430          Name on file                        Address on file
30211704          MONONA PUBLIC LIBRARY               1000 NICHOLS RD                                                                                                        MONONA                   WI           53716
29950261          MONOTYPE IMAGING INC                MONOTYPE                           600 UNICORN PARK DR FLR #3                                                          WOBURN                   MA           01801
29950262          MONPOWER/MONONGAHELA POWER          76 SOUTH MAIN STREET                                                                                                   AKRON                    OH           44308
29950263          MONPOWER/MONONGAHELA POWER          PO BOX 3615                                                                                                            AKRON                    OH           44309‐3615
30393096          Name on file                        Address on file
29950264          Name on file                        Address on file
29950265          MONROE COUNTY                       DEPT OF WEIGHTS & MEASURES         145 PAUL ROAD, BLDG 2                                                               ROCHESTER                NY           14624
                  MONROE COUNTY DEPT OF WEIGHTS AND
29949177          MEASURES                            DEPT OF WEIGHTS & MEASURES          145 PAUL ROAD, BLDG 2                                                              ROCHESTER                NY           14624
29950266          MONROE COUNTY TREASURER             100 W KIRKWOOD AVENUE                                                                                                  BLOOMINGTON              IN           47404‐5143
                  MONROE COUNTY, IN COUNTY CONSUMER
30207923          PROTECTION AGENCY                   ATTN: CONSUMER PROTECTION DIVISION 100 W KIRKWOOD AVE                                                                  BLOOMINGTON              IN           47404
                  MONROE COUNTY, NY COUNTY CONSUMER
30207924          PROTECTION AGENCY                   ATTN: CONSUMER PROTECTION DIVISION 110 COUNTY OFFICE BUILDING         39 W. MAIN ST.                                   ROCHESTER                NY           14614
                                                      URBAN RET PROP LLC‐ MONROE
29950267          MONROE CROSSING OWNER LLC           CROSSING                           PO BOX 788076                                                                       PHILADELPHIA             PA           19178‐8076
                                                                                         ATTN: DOUG KIEHN, GM URBAN
29950268          MONROE CROSSING OWNER, LLC          C/O TIME EQUITIES INC.             RETAIL PROPERTIES                  55 FIFTH AVENUE, 15TH FLOOR                      NEW YORK                 NY           10003
30210962          MONROE CROSSING OWNER, LLC          C/O TIME EQUITIES INC.             ATTN:AMI ZIFF                                                                       NEW YORK                 NY           10003
30213504          MONROE RETAIL GROUP LLC             1601 PALOMINO RIDGE DRIVE          ATTN: TODD ROUTH                                                                    AUSTIN                   TX           78733

29950270          MONROE RETAIL GROUP LLC             C/O TODD ROUTH/WELLS FARGO BANK     PO BOX 260173                                                                      DALLAS                   TX           75326‐0173
30211706          MONROE TOWNSHIP PUBLIC LIBRARY      4 MUNICIPAL PLAZA                                                                                                      MONROE TOWNSHIP          NJ           08831




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                  MONROE TOWNSHIP PUBLIC LIBRARY /
30208230          MIDDLESEX                              4 MUNICIPAL PLAZA                                                                                                      MONROE TOWNSHIP          NJ           08831
LC_0423           Monroe Twp Public Library/Middlesex    4 Municipal Plaza                                                                                                      Monroe Township          NJ           08831‐1900
30385009          Name on file                           Address on file
29936443          MONROEVILLE MUNICIPAL AUTHORITY        PO BOX 6163                                                                                                            HERMITAGE                PA           16148‐0922
29936448          MONSERRATE BUNNER                      Address on file
29936449          Name on file                           Address on file
30208234          MONSON FREE LIBRARY & READING ROOM     2 HIGH ST                                                                                                              MONSON                   MA           01057
30347309          Name on file                           Address on file
30347310          Name on file                           Address on file
30353681          Name on file                           Address on file
30347725          Name on file                           Address on file
29936450          MONTANA CHILDRENS FOUNDATION           PO BOX 5539                                                                                                            HELENA                   MT           59604‐5539
29936453          MONTANA DEPARTMENT OF REVENUE          MITCHELL BUILDING,                  125 N. ROBERTS,                   P.O. BOX 5805                                    HELENA                   MT           59604‐5805
29949394          MONTANA DEPT OF REVENUE                UNCLAIMED PROPERTY                  340 N LAST CHANCE GULCH                                                            HELENA                   MT           59601
29936458          MONTANA SECRETARY OF STATE             STATE CAPITOL, ROOM 260             PO BOX 202801                                                                      HELENA                   MT           59620‐2801
30336942          Name on file                           Address on file
30347336          Name on file                           Address on file
30393674          Name on file                           Address on file
30211708          MONTCLAIR PUBLIC LIBRARY               50 S FULLERTON AVENUE                                                                                                  MONTCLAIR                NJ           07042
30345304          Name on file                           Address on file
30260603          Name on file                           Address on file
30353345          Name on file                           Address on file
29936462          MONTEREY COUNTY                        ENVIRONMENTAL HEALTH                1270 NATIVIDAD RD                                                                  SALINAS                  CA           93908
29936463          MONTEREY COUNTY                        WEIGHTS & MEASURES                  1428 ABBOTT ST                                                                     SALINAS                  CA           93901
29949181          MONTEREY COUNTY HEALTH DEPT            ENVIRONMENTAL HEALTH                1270 NATIVIDAD RD                                                                  SALINAS                  CA           93908
29936464          MONTEREY COUNTY TAX COLLECTOR          PO BOX 891                                                                                                             SALINAS                  CA           93902‐0891

29949183          MONTEREY COUNTY WEIGHTS AND MEASURES   WEIGHTS & MEASURES                  1428 ABBOTT ST                                                                     SALINAS                  CA           93901
                  MONTEREY COUNTY, CA COUNTY CONSUMER
30207925          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 230 CHURCH ST # 3                                                                   SALINAS                  CA           93901
29936466          MONTEREY ONE WATER                     5 HARRIS COURT                     BUILDING D                                                                          MONTEREY                 CA           93940
29936465          MONTEREY ONE WATER                     PO BOX 980970                                                                                                          WEST SACRAMENTO          CA           95798‐0970

30211418          MONTGOMERY AREA CHAMBER OF COMMERCE 600 S. COURT STREET                    PO BOX 79                                                                          MONTGOMERY               AL           36101
30211710          MONTGOMERY CITY PUBLIC LIBRARY       224 N ALLEN ST                                                                                                           MONTGOMERY CITY          MO           63361
                                                       C/O PENNMARK MANAGEMENT               1000 GERMANTOWN PIKE, SUITE A‐
30213099          MONTGOMERY COMMONS ASSOCIATES        COMPANY, INC. .                       2                                                                                  PLYMOUTH MEETING         PA           19462
30193100          Montgomery County                    400 N San Jacinto St                                                                                                     Conroe                   TX           77301
29936471          MONTGOMERY COUNTY                    REVENUE COMMISSIONER                  PO BOX 1667                                                                        MONTGOMERY               AL           36102‐1667
29936472          MONTGOMERY COUNTY CLERK              350 PAGEANT LN #502                                                                                                      CLARKSVILLE              TN           37040
                  MONTGOMERY COUNTY COMMISSION, TAX &
29936474          AUDIT DEPARTMENT                     P.O. BOX 4779                                                                                                            MONTGOMERY               AL           36103‐4779
                  MONTGOMERY COUNTY ENVIRONMENTAL SVS,
29951651          OH                                   PO BOX 645728                                                                                                            CINCINNATI               OH           45264‐5728
29951653          MONTGOMERY COUNTY MD                 PERSONAL PROP TAX 40527895            PO BOX 6210                                                                        ROCKVILLE                MD           20850
29951654          MONTGOMERY COUNTY MUD #19            11111 KATY FREEWAY #725                                                                                                  HOUSTON                  TX           77079‐2197
29951655          Name on file                         Address on file
29951656          Name on file                         Address on file
29951657          MONTGOMERY COUNTY TREASURER          PO BOX 116                                                                                                               CHRISTIANSBURG           VA           24073
                  MONTGOMERY COUNTY, AL COUNTY
30207926          CONSUMER PROTECTION AGENCY           ATTN: CONSUMER PROTECTION DIVISION    101 SOUTH LAWRENCE ST.                                                             MONTGOMERY               AL           36104
                  MONTGOMERY COUNTY, MD COUNTY
30207927          CONSUMER PROTECTION AGENCY           ATTN: CONSUMER PROTECTION DIVISION    100 MARYLAND AVE                  STE 330                                          ROCKVILLE                MD           20850
                  MONTGOMERY COUNTY, NY COUNTY
30207928          CONSUMER PROTECTION AGENCY           ATTN: CONSUMER PROTECTION DIVISION    58 BROADWAY                                                                        FONDA                    NY           12068
                  MONTGOMERY COUNTY, OH COUNTY
30207929          CONSUMER PROTECTION AGENCY           ATTN: CONSUMER PROTECTION DIVISION    451 WEST THIRD STREET                                                              DAYTON                   OH           45422
                  MONTGOMERY COUNTY, PA COUNTY
30207930          CONSUMER PROTECTION AGENCY           ATTN: CONSUMER PROTECTION DIVISION    EXECUTIVE OFFICE BUILDING         101 MONROE STREET, 2ND FLOOR                     ROCKVILLE                MD           20850
                  MONTGOMERY COUNTY, TN COUNTY
30207931          CONSUMER PROTECTION AGENCY           ATTN: CONSUMER PROTECTION DIVISION    1 MILLENNIUM PLAZA                STE 201                                          CLARKSVILLE              TN           37040




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                  MONTGOMERY COUNTY, VA COUNTY
30207932          CONSUMER PROTECTION AGENCY           ATTN: CONSUMER PROTECTION DIVISION   755 ROANOKE ST                                                                     CHRISTIANSBURG           VA           24073
29951658          MONTGOMERY REALTY                     202 Lake Washington Blvd                                                                                               Seattle                  WA           98122‐6540
30295757          Montgomery Realty Group LLC          Chapter 7 Trustee                    Michael G. Kasolas                P.O. Box 27526                                   San Francisco            CA           94127
30213271          MONTGOMERY REALTY GROUP, LLC         P. O. BOX 2308                       ATTN: RAJ MANIAR                                                                   RANCHO MIRAGE            CA           92270
29951661          MONTGOMERY TOWNSHIP                  FINANCE DEPT ACCT PAYABLE            1001 STUMP ROAD                                                                    MONTGOMERYVILLE          PA           18936
29951662          MONTGOMERY WATER WORKS               PO BOX 830692                                                                                                           BIRMINGHAM               AL           35283‐0692
30348100          Name on file                         Address on file
30339898          Name on file                         Address on file
30335406          Name on file                         Address on file
30348253          Name on file                         Address on file
30348012          Name on file                         Address on file
30223192          MONTOYA MAYO                         Address on file
30342487          Name on file                         Address on file
30340779          Name on file                         Address on file
29936477          MONTROSE COUNTY TREASURER            P.O. BOX 609                                                                                                            MONTROSE                 CO           81402
30208236          MONTROSE REGIONAL LIBRARY DISTRICT   320 S. 2ND STREET                                                                                                       MONTROSE                 CO           81401
29936479          Name on file                         Address on file
30208238          MONTVILLE TOWNSHIP PUBLIC LIBRARY    90 HORSENECK ROAD                                                                                                       MONTVILLE                NJ           07045
30208239          MOOD APPAREL LLC                     225W 37TH ST                         3RD FL                                                                             NEW YORK                 NY           10018
29936483          MOOD MEDIA                           2100 S IH 35 FRONTAGE RD.            SUITE 201                                                                          AUSTIN                   TX           78704
30384734          Name on file                         Address on file
29936484          MOODY'S INVESTORS SERVICE INC        PO BOX 102597                                                                                                           ATLANTA                  GA           30368
30385020          Moody's Investors Service, Inc.      250 Greenwich Street                                                                                                    New York                 NY           10007
29936485          Name on file                         Address on file
30355690          Name on file                         Address on file
30415207          Name on file                         Address on file
30396223          Name on file                         Address on file
30344379          Name on file                         Address on file
30393110          Name on file                         Address on file
30337881          Name on file                         Address on file
30339518          Name on file                         Address on file
30345125          Name on file                         Address on file
30353725          Name on file                         Address on file
30397097          Name on file                         Address on file
30349309          Name on file                         Address on file
30349308          Name on file                         Address on file
30332416          Name on file                         Address on file
29938228          Name on file                         Address on file
30358136          Name on file                         Address on file
30335078          Name on file                         Address on file
30337359          Name on file                         Address on file
30345256          Name on file                         Address on file
30208244          MOORESTOWN LIBRARY                   111 W. SECOND STREET                                                                                                    MOORESTOWN               NJ           08057
30386102          Name on file                         Address on file
30350142          Name on file                         Address on file
30397222          Name on file                         Address on file
30350438          Name on file                         Address on file
30356675          Name on file                         Address on file
30395344          Name on file                         Address on file
30415750          Name on file                         Address on file
30397373          Name on file                         Address on file
30340944          Name on file                         Address on file
30263367          Name on file                         Address on file
30280259          Name on file                         Address on file
30341070          Name on file                         Address on file
30415227          Name on file                         Address on file
30344430          Name on file                         Address on file
30349062          Name on file                         Address on file
30396806          Name on file                         Address on file
29950733          MORGAN COLLINS                       Address on file
30211711          MORGAN COUNTY LIBRARY                600 N HUNTER ST                                                                                                         VERSAILLES               MO           65084
29949191          MORGAN HILL                          FINANCE DEPT                         17575 PEAK AVE                                                                     MORGAN HILL              CA           95037




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  ADDRESS ID                           NAME                                 ADDRESS 1                          ADDRESS 2                        ADDRESS 3                 ADDRESS 4                     CITY        STATE     POSTAL CODE         COUNTRY
29936520          MORGAN HUNTER                                Address on file
30223193          MORGAN LEWIS AND BOCKIUS LLP                 2222 MARKET ST.                                                                                                        PHILADELPHIA             PA           19103‐3007
29936530          MORGAN MCMEEN‐MITCHELL                       Address on file
29961666          MORGAN SHORE                                 Address on file
29961671          Name on file                                 Address on file
29936546          MORGAN STANLEY CAPITAL I INC                 MSCI 2007‐IQ14 CROS. RD. C/O COLLIE   425 WALNUT ST, STE 1200                                                          CINCINNATI               OH           45202
30333364          Name on file                                 Address on file
30332051          Name on file                                 Address on file
30262388          Name on file                                 Address on file
30414221          Name on file                                 Address on file
30402091          Name on file                                 Address on file
30334914          Name on file                                 Address on file
30332099          Name on file                                 Address on file
30258055          Name on file                                 Address on file
30340928          Name on file                                 Address on file
30416851          Name on file                                 Address on file
30344407          Name on file                                 Address on file
30355647          Name on file                                 Address on file
29936576          Name on file                                 Address on file
30208245          MORNINGTON PENINSULA SHIRE LIBRARY           PRIVATE BAG 1000                                                                                                       ROSEBUD, VIC                          3939            AUSTRALIA
LC_0428           Mornington Peninsula Shire Library Service   8 Vancouver Street                                                                                                     Mornington, VIC                       3931            Australia
30401711          Name on file                                 Address on file
30401584          Name on file                                 Address on file
30384694          Name on file                                 Address on file
30354708          Name on file                                 Address on file
                  MORRIS COUNTY, NJ COUNTY CONSUMER
30207933          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 2150 HEADQUARTERS PLAZA, 3RD FI                                                     MORRISTOWN               NJ           07960
30358234          Name on file                                 Address on file
30395362          Name on file                                 Address on file
30334293          Name on file                                 Address on file
30332454          Name on file                                 Address on file
30397153          Name on file                                 Address on file
30349666          Name on file                                 Address on file
30332111          Name on file                                 Address on file
30332565          Name on file                                 Address on file
30208246          MORRISON‐TALBOTT LIBRARY                     215 PARK ST.                                                                                                           WATERLOO                 IL           62298
30398344          Name on file                                 Address on file
30355616          Name on file                                 Address on file
29936579          Name on file                                 Address on file
30208248          MORRISSON‐REEVES LIBRARY                     80 NORTH 6TH ST                                                                                                        RICHMOND                 IN           47374
30208247          MORRISSON‐REEVES LIBRARY                     8O N 6TH STREET                                                                                                        RICHMOND                 IN           47374
29936580          Name on file                                 Address on file
30208249          MORRISTOWN‐HAMBLEN LIBRARY                   417 WEST MAIN ST                                                                                                       MORRISTOWN               TN           37814
30356868          Name on file                                 Address on file
30273558          Name on file                                 Address on file
30355711          Name on file                                 Address on file
30208255          MORSE INSTITUTE LIBRARY                      14 E CENTRAL AVE                                                                                                       NATICK                   MA           01760
29936581          Name on file                                 Address on file
30340865          Name on file                                 Address on file
30350014          Name on file                                 Address on file
30211719          MORTON GROVE PUBLIC LIBRARY                  6140 LINCOLN AVE                                                                                                       MORTON GROVE             IL           60053
30208256          MORTON GROVE PUBLIC LIBRARY                  6140 LINCOLN AVENUE MORTON                                                                                             GROVE 800                IL           60053
30347138          Name on file                                 Address on file
30394725          Name on file                                 Address on file
30343379          Name on file                                 Address on file
30211721          MORTON‐JAMES PUBLIC LIBRARY                  923 FIRST CORSO                                                                                                        NEBRASKA CITY            NE           68410
29936585          MOSCOW POLICE DEPT                           155 SOUTHVIEW AVE.                                                                                                     MOSCOW                   ID           83843
30414837          Name on file                                 Address on file
30354926          Name on file                                 Address on file
30259349          Name on file                                 Address on file
30285918          Name on file                                 Address on file
30339230          Name on file                                 Address on file
30354802          Name on file                                 Address on file




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30333358          Name on file                                     Address on file
30354786          Name on file                                     Address on file
30340327          Name on file                                     Address on file
30337292          Name on file                                     Address on file
30397562          Name on file                                     Address on file
29961684          MOTUS LLC                                        TWO FINANCIAL CENTER FL 12                                                                                                BOSTON                 MA           02111
29961686          MOU SAHA                                         Address on file
30416700          Name on file                                     Address on file
29961688          MOULTON NIGUEL WATER                             P.O. BOX 30204                                                                                                            LAGUNA NIGUEL          CA           92607‐0204
30211723          MOULTONBOROUGH PUBLIC LIBRARY                    PO BOX 150                                                                                                                MOULTONBOROUGH         NH           03254
30208260          MOUNT LAUREL LIBRARY                             100 WALT WHITMAN AVENUE                                                                                                   MOUNT LAUREL           NJ           08054

29949192          MOUNT LAUREL TOWNSHIP MUNICIPAL CENTER 100 MT LAUREL ROAD                                                                                                                  MOUNT LAUREL           NJ           08054
29961693          MOUNT LAUREL TWP MUA                   1201 S. CHURCH ST.                                                                                                                  MOUNT LAUREL           NJ           08054
29961692          MOUNT LAUREL TWP MUA                   PO BOX 6001                                                                                                                         BELLMAWR               NJ           08099‐6001

30343842          Mount Laurel Twp Municipal Utilities Authority   1201 S Church Street                                                                                                      Mount Laurel           NJ           08054
29961694          Name on file                                     Address on file
29961695          Name on file                                     Address on file
30208261          MOUNT PLEASANT PUBLIC LIBRARY                    213 N MADISON                                                                                                             MT PLEASANT            TX           75455
30208262          MOUNT PLEASANT PUBLIC LIBRARY                    601 N MADISON AVE                                                                                                         MT PLEASANT            TX           75455
29936587          Name on file                                     Address on file
                                                                                                         18915 142ND AVENUE NE, SUITE
30213318          MOUNT VERNON PLAZA ASSOCIATES, LLC               C/O EILAT MANAGEMENT CO.              155                                                                                 WOODINVILLE            WA           98072
29936589          Name on file                                     Address on file
29936590          Name on file                                     Address on file
29936591          Name on file                                     Address on file
30208267          MOUNTAIN HOME PUBLIC LIBRARY                     790 NORTH 10TH EAST                                                                                                       MOUNTAIN HOME          ID           84647
29949558          MOUNTAIN VIEW CLO 2013‐1 LTD.                    1 MAYNARD DRIVE                       SUITE 3200                                                                          PARK RIDGE             NJ           07656
29949559          MOUNTAIN VIEW CLO 2016‐1 LTD.                    1 MAYNARD DRIVE                       SUITE 3200                                                                          PARK RIDGE             NJ           07656
29949560          MOUNTAIN VIEW CLO 2017‐2 LTD.                    1 MAYNARD DRIVE                       SUITE 3200                                                                          PARK RIDGE             NJ           07656
29949561          MOUNTAIN VIEW CLO IX LTD.                        1 MAYNARD DRIVE                       SUITE 3200                                                                          PARK RIDGE             NJ           07656
29949562          MOUNTAIN VIEW CLO XIV LTD.                       1 MAYNARD DRIVE                       SUITE 3200                                                                          PARK RIDGE             NJ           07656
29949563          MOUNTAIN VIEW CLO XV LTD.                        1 MAYNARD DRIVE                       SUITE 3200                                                                          PARK RIDGE             NJ           07656
29936592          MOUNTAIN WEST MECHANICAL INC                     662 E. COMMERCE DR.                                                                                                       SAINT GEORGE           UT           84790
30352974          Name on file                                     Address on file
30352975          Name on file                                     Address on file
29936593          MOUNTAINEER GAS/580211                           PO BOX 580211                                                                                                             CHARLOTTE              NC           28258‐0211
29936595          MOUNTVILLE MILLS                                 THE MATWORKS LLC                      1729 S. DAVIS ROAD                                                                  LA GRANGE              GA           30241
30397556          Name on file                                     Address on file
30386126          Name on file                                     Address on file
30340400          Name on file                                     Address on file
30397085          Name on file                                     Address on file
30276248          Moyal Group Inc.                                 c/o Matthew Moyal                     48 Finch Avenue West                                                                Toronto                ON           M2N 2H2         Canada
30350957          Name on file                                     Address on file
30261150          Name on file                                     Address on file
30338816          Name on file                                     Address on file
30213323          MP ELKO, LLC                                     C/O MERIDIAN PACIFIC LTD              1801 TIBURON BLVD, SUITE 800                                                        TIBURON                CA           94920
                                                                                                         100 CONSTITUTION PLAZA, 7TH
30213135          MP NORTHGLENN INVESTORS LLC                      C/O THE HUTENSKY GROUP, LLC           FLOOR                                                                               HARTFORD               CT           06103
29964909          MP NORTHGLENN LLC                                100 CONSTITUTION PLZ                  FL 7                                                                                HARTFORD               CT           06103‐1703
29950180          MP NORTHGLENN LLC                                PO BOX 75916                                                                                                              BALTIMORE              MD           21275‐5916
30337630          Name on file                                     Address on file
30213308          MPG HUNTSVILLE PLAZA LLC                         C/O MONTANA PROPERTY GROUP            8 W. 40TH ST., 4TH FLOOR                                                            NEW YORK               NY           10018

30211419          MR GRIEVES ORIGINALS                             STUDIO K. ROCHELLE, FRIARS MT. HOUS   7 PLAYGROUND GARDENS               LO                                               LONDON                              E27FA           UNITED KINGDOM
29950183          Name on file                                     Address on file
29950184          MR. CHRISTMAS, LLC                               6045 E SHELBY DR SUITE 2                                                                                                  MEMPHIS                TN           38141
29950185          MRE LIMITED INC                                  215 ROGERS WAY SUITE N                                                                                                    WESTHAMPTON BEACH      NY           11978
29950186          MRK TECHNOLOGIES LTD                             INVERSION6                            31390 VIKING PARKWAY                                                                WESTLAKE               OH           44145
30276094          MRK TECHNOLOGIES LTD                             PO BOX 933351                                                                                                             CLEVELAND              OH           44193
                                                                                                         1880 CENTURY PARK EAST, SUITE
30213108          MROF I ‐ NAMPA, LLC                              C/O HYPERION REALTY CAPITAL           504                                                                                 LOS ANGELES            CA           90067




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30284448          Name on file                              Address on file
29950189          Name on file                              Address on file
29936598          MSCI 2007‐IQ14 CROSSINGS RD LLC           425 WALNUT ST, STE 1200                                                                                          CINCINNATI               OH           45202
29936600          MS‐CORP‐INCOME‐JAS 14101                  MISSISSIPPI STATE TREASURY     501 N WEST ST                   #1101                                             JACKSON                  MS           39201
29936601          MS‐CORP‐JAS 10401                         MISSISSIPPI STATE TREASURY     501 N WEST ST                   #1101                                             JACKSON                  MS           39201
29936602          MS‐JAS‐SALES 04001                        1577 SPRINGRIDGE ROAD                                                                                            RAYMOND                  MS           39154
29936603          MS‐JAS‐USE 04301                          1577 SPRINGRIDGE ROAD                                                                                            RAYMOND                  MS           39154
29936604          MT LAUREL TWP MUNICIPAL COURT             100 MT LAUREL ROAD                                                                                               MOUNT LAUREL             NJ           08054
30211728          MT LEBANON PUBLIC LIBRARY                 16 CASTLE SHANNON BLVD                                                                                           PITTSBURGH               PA           15228
29936607          MT‐CORP‐INCOME‐HLD 02000 EST              MONTANA DEPT OF REVENUE        MITCHELL BLDG                   125 N ROBERTS                  PO BOX 5805        HELENA                   MT           59604‐5805
29936608          MT‐CORP‐INCOME‐HLD 02000 EXT              MONTANA DEPT. OF REVENUE       MITCHELL BLDG                   125 N ROBERTS                  PO BOX 5805        HELENA                   MT           59604‐5805
29961697          MTMSA ‐ MONTGOMERY TOWNSHIP               1001 STUMP ROAD                                                                                                  MONTGOMERYVILLE          PA           18936
29961696          MTMSA ‐ MONTGOMERY TOWNSHIP               PO BOX 618                                                                                                       SOUDERTON                PA           18964‐0618
30358316          Name on file                              Address on file
30350347          Name on file                              Address on file
30356877          Name on file                              Address on file
30353651          Name on file                              Address on file
30349421          Name on file                              Address on file
30345595          Name on file                              Address on file
30346422          Name on file                              Address on file
30211583          MULESOFT                                  415 MISSION STREET                                                                                               SAN FRANCISCO            CA           94105
30395751          Name on file                              Address on file
30350056          Name on file                              Address on file
30332177          Name on file                              Address on file
30289594          Name on file                              Address on file
30276033          Name on file                              Address on file
30342690          Name on file                              Address on file
30342029          Name on file                              Address on file
30353271          Name on file                              Address on file
30340809          Name on file                              Address on file
30340613          Name on file                              Address on file
29961704          MULTNOMAH COUNTY                          ALARM PERMITS                  PO BOX 92153                                                                      PORTLAND                 OR           97292
29961705          MULTNOMAH COUNTY SHERIFFS OFFICE          PO BOX 92153                                                                                                     PORTLAND                 OR           97292‐2153
29949193          MULTNOMAH TAX COLLECTOR                   MULTNOMAH COUNTY               PO BOX 2716                                                                       PORTLAND                 OR           97208‐2716
30340847          Name on file                              Address on file
30353679          Name on file                              Address on file
30395266          Name on file                              Address on file
30350386          Name on file                              Address on file
30386005          Name on file                              Address on file
29936611          Name on file                              Address on file
                  MUNICIPAL LIBRARY CONSORTIUM OF ST. LOUIS
30208269          COUNTY                                    6701 DELMAR BLVD                                                                                                 UNIVERSITY CITY          MO           63130
29936612          MUNICIPALITY OF ANCHORAGE                 TREASURY ‐PSAR                 PO BOX 196650                                                                     ANCHORAGE                AK           99519‐6650
29936613          MUNICIPALITY OF MONROEVILLE               MERCANTILE TAX & LICENSE FEE   2700 MONROEVILLE BLVD                                                             MONROEVILLE              PA           15146
                  MUNICIPALITY OF MONROEVILLE ‐ BUSINESS
29949195          TAX OFFICE                                MERCANTILE TAX & LICENSE FEE   2700 MONROEVILLE BLVD                                                             MONROEVILLE              PA           15146
30351169          Name on file                              Address on file
30386173          Name on file                              Address on file
30394451          Name on file                              Address on file
29936614          Name on file                              Address on file
30396345          Name on file                              Address on file
30283541          Name on file                              Address on file
30399573          Name on file                              Address on file
30334763          Name on file                              Address on file
30385208          Name on file                              Address on file
30210726          MURFREESBORO ELECTRIC DEPARTMENT          205 N WALNUT ST.                                                                                                 MURFREESBORO             TN           37130
29949830          MURFREESBORO ELECTRIC DEPARTMENT          555 NEW SALEM HWY.                                                                                               MURFREESBORO             TN           37129
                  MURFREESBORO WATER RESOURCES
29936616          DEPARTMENT                                PO BOX 897                                                                                                       MURFREESBORO             TN           37133‐0897
30355497          Name on file                              Address on file
30392910          Name on file                              Address on file
30351784          Name on file                              Address on file
29936621          Name on file                              Address on file




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30339813          Name on file                           Address on file
30335168          Name on file                           Address on file
30335115          Name on file                           Address on file
30385690          Name on file                           Address on file
30397245          Name on file                           Address on file
30332386          Name on file                           Address on file
30274022          Name on file                           Address on file
30358048          Name on file                           Address on file
29936624          MURRAY BART ASSOCIATES, PA             701 ALPHA DRIVE                                                                                                     PITTSBURGH             PA           15238
29936625          Name on file                           Address on file
30414800          Name on file                           Address on file
30297438          Murray‐Bart Associates                 560 Epsilon Drive                                                                                                   Pittsburgh             PA           15238
                                                         C/O ECHO REAL ESTATE SERVICES
30213222          MURRAY‐BART ASSOCIATES                 COMPANY                            560 EPSILON DRIVE                                                                PITTSBURGH             PA           15238
30341904          Name on file                           Address on file
30211730          MURRIETA PUBLIC LIBRARY                8 TOWN SQUARE                                                                                                       MURRIETA               CA           92562
30341074          Name on file                           Address on file
30397621          Name on file                           Address on file
30345158          Name on file                           Address on file
                  MUSCATINE COUNTY, IA COUNTY CONSUMER
30207934          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 414 E THIRD ST                  STE 101                                          MUSCATINE              IA           52761
                                                                                            ATTN: MANAGEMENT OFFICE AND
30210951          MUSCATINE MALL MANAGEMENT II, L.L.C.   1903 PARK AVENUE                   TO                                                                               MUSCATINE              IA           52761
                                                         ATTN: MANAGEMENT OFFICE, TONI
29936631          MUSCATINE MALL MANAGEMENT II, L.L.C.   KLAREN, MALL MGR.                  1903 PARK AVENUE                                                                 MUSCATINE              IA           52761
29936632          MUSCATINE POWER AND WATER              P.O. BOX 899                                                                                                        MUSCATINE              IA           52761‐0075
29936634          MUSCOGEE COUNTY TAX COMMISSIONER       PO BOX 1441                                                                                                         COLUMBUS               GA           31902‐1441
30394014          Name on file                           Address on file
30355280          Name on file                           Address on file
30345409          Name on file                           Address on file
30208270          MUSKEGON AREA DISTRICT LIBRARY         4845 AIRLINE RD                    UNIT 5                                                                           MUSKEGON               MI           49444
29936635          Name on file                           Address on file
                  MUSKEGON COUNTY, MI COUNTY CONSUMER
30207935          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 1903 MARQUETTE AVE              STE A111                                         MUSKEGON               MI           49442
LC_0440           Muskoka Lakes Public Library           69 Joseph Street                                                                                                    Port Carling           ON           P0B1J0          Canada
30208271          MUSKOKA LAKES PUBLIC LIBRARY           69 JOSEPH STREET                   P.O. BOX 189                                                                     PORT CARLING           ON           P0B 1J0         CANADA
30340990          Name on file                           Address on file
29936637          MUZAK LLC                              DBA MOOD MEDIA                     PO BOX 71070                                                                     CHARLOTTE              NC           28272‐1070
29936638          MVRDA ALARMS DEPT                      911 LAKE TAHOE COURT                                                                                                LAS CRUCES             NM           88007
29936639          Name on file                           Address on file
29936640          Name on file                           Address on file
LC_0442           My Homeschool Village                  224 S Main Street PMB 417                                                                                           Spanish Fork           UT           84663
30211733          MY HOMESCHOOL VILLAGE                  1380 S 980 E ST                                                                                                     SPANISH FORK           UT           84660
29961708          Name on file                           Address on file
29936646          MYA RIVERA                             Address on file
29936648          MYA SOTELO                             Address on file
30384713          Name on file                           Address on file
30351006          Name on file                           Address on file
30416636          Name on file                           Address on file
30275217          Name on file                           Address on file
30350196          Name on file                           Address on file
30349076          Name on file                           Address on file
30345343          Name on file                           Address on file
30341520          Name on file                           Address on file
30399674          Name on file                           Address on file
30350726          Name on file                           Address on file
30208273          MYLI                                   65 VICTORIA STREET                                                                                                  WARRAGUL, VIC                       3820            AUSTRALIA
30215441          MYLINEGO INC                           TAILORNOVA                         2813 PORTO ROSA WAY                                                              SAN CARLOS             CA           94070
29961731          MYRIA BALDWIN                          Address on file
30213558          MYRTLE BEACH FARMS COMPANY, INC.       8820 MARINA PARKWAY                ATTN: LEASE ADMINISTRATION                                                       MYRTLE BEACH           SC           29572
                                                         PROFESSIONAL PROPERTY MANAGEMENT
30213655          N & H LAPEER LIMITED PARTNERSHIP.      CO. OF MICHIGAN INC                115 W. BROWN                                                                     BIRMINGHAM             MI           48009




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                  N DEL CARMEN PAREDES YUQUI PAREDES
29936689          YUQUI                                Address on file
29936690          Name on file                         Address on file
30393664          N&H Lapeer Limited Partnership       24361 Greenfield Rd                       Ste. 201                                                                                  Southfield                       MI           48075
29936691          N. COCKRELL                          Address on file
29936692          N. CONLEY                            Address on file
29936693          N. CONLEY                            Address on file
29936694          N. NOVOA LEAL                        Address on file
30356972          NABEELA WALID NAJJAR                 Address on file
29936696          NABIHAH AHMAD                        Address on file
29936701          NADEZHDA RISBERG                     Address on file
30213546          NADG NNN JFAB (BLO‐IL) LP            3131 MCKINNEY AVENUE, STE. L10                                                                                                      DALLAS                           TX           75204
                                                       C/O CENTRECORP MANAGEMENT
30213180          NADG/SG RIVERDALE VILLAGE LP         SERVICES, LLLP                            12761 RIVERDALE BLVD., SUITE 104                                                          COON RAPIDS                      MN           55448
30295813          NADG/SG Riverdale Village LP         Wick Phillips Attn: Scott Lawrence        3131 McKinney Ave.               Suite 500                                                Dallas                           TX           75204
30213553          NADG/TRC LAKEPOINTE LP               2525 MCKINNON STREET, SUITE 700           ATTN: STACEY HANSEN                                                                       DALLAS                           TX           75201
30333463          NADG/TRC Lakepointe LP               c/o Wick Phillips Gould & Martin, LLP     Attn: Scott D. Lawrence          3131 McKinney Ave., Suite 500                            Dallas                           TX           75204
29936713          NADINE GLOWINSKI                     Address on file
30347203          Name on file                         Address on file
30290286          Name on file                         Address on file
30395257          Name on file                         Address on file
30340992          Name on file                         Address on file
30353611          Name on file                         Address on file
30414930          Name on file                         Address on file
30342590          Name on file                         Address on file
30394598          Name on file                         Address on file
29961759          Name on file                         Address on file
30208274          NAMPA PUBLIC LIBRAY                  215 12TH AVE S                                                                                                                      NAMPA                            ID           83651
30350560          Name on file                         Address on file
29936751          NANCY DESOUZA                        Address on file
29961776          NANCY VALOCIK                        Address on file
30193096          Nanjing Zhaohong Textile Co., Ltd    Andy Ma                                   Room 210‐121, Building 15           Jinteng Road, Dongping Street   Lishui District       Nanjing, Jiangsu, CN                          21120           China
30192795          Nanjing Zhaohong Textile Co., Ltd    No. 8 Chaoyang Road                       Dongping Development Zo                                                                   Lishui, Nanjing, JS                           211200          China

30182411          Nanjing Zhaohong Textile Co., Ltd    Room 210‐121, Building 15, Jinteng Road   Dongping Street, Lishui District                                                          Nanjing City, Jiangsu Province                211200          China
30335372          Name on file                         Address on file
29961786          NAOMI FIELDS                         Address on file

30213208          NAPER WEST LLC                       C/O BONNIE MANAGEMENT CORP.               1350 E. TOUHY AVENUE, SUITE 360E                                                          DES PLAINES                      IL           60018
30208278          NAPERVILLE PUBLIC LIBRARY            200 W. JEFFERSON AVENUE                                                                                                             NAPERVILLE                       IL           60540
29936837          Name on file                         Address on file
30350978          Name on file                         Address on file
29936841          Name on file                         Address on file
30208279          NAPLES LIBRARY                       118 SOUTH MAIN STREET                                                                                                               NAPLES                           NY           14512
30208280          NAPPANEE PUBLIC LIBRARY              157 N. MAIN ST.                                                                                                                     NAPPANEE                         IN           46550
30262140          Name on file                         Address on file
29936846          NARVAR INC                           PO BOX 736298                                                                                                                       DALLAS                           TX           75373‐6298
29936847          Name on file                         Address on file
30210603          NASDAQ CORPORATE SOLUTIONS LLC       C/O WELLS FARGO NA, LBX #11700            151 WEST 42ND STREET                FLOORS 26, 27, 28                                     NEW YORK                         NY           10036
29936848          NASDAQ STOCK MARKET LLC              PO BOX 780700                                                                                                                       PHILADELPHIA                     PA           19178‐0700
29936849          NASH COUNTY                          TAX COLLECTOR                             120 W WASHINGTON ST STE 2058                                                              NASHVILLE                        NC           27856
                  NASH COUNTY, NC COUNTY CONSUMER
30207936          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION 120 W WASHINGTON ST                        STE 3072                                              NASHVILLE                        NC           27856
30341245          Name on file                         Address on file
30211734          NASHUA PUBLIC LIBRARY                2 COURT STREET                                                                                                                      NASHUA                           NH           03060
29936852          NASHUA WASTE WATER SYSTEM            PO BOX 3840                                                                                                                         NASHUA                           NH           03061‐3840
30278040          Nashville Electric Service           P.O. Box 305100                                                                                                                     Nashville                        TN           37230
29936854          NASHVILLE ELECTRIC SERVICE           PO BOX 305099                                                                                                                       NASHVILLE                        TN           37230‐5099
30415026          Name on file                         Address on file
29949565          NASSAU 2017‐I LTD.                   17 OLD KINGS HWY S                                                                                                                  DARIEN                           CT           06807
29949566          NASSAU 2017‐II LTD.                  17 OLD KINGS HWY S                                                                                                                  DARIEN                           CT           06820
29949567          NASSAU 2018‐I LTD                    17 OLD KINGS HWY S                                                                                                                  DARIEN                           CT           06820
29949568          NASSAU 2018‐II LTD                   17 OLD KINGS HWY S                                                                                                                  DARIEN                           CT           06820




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  ADDRESS ID                           NAME                            ADDRESS 1                          ADDRESS 2                          ADDRESS 3                 ADDRESS 4                      CITY        STATE     POSTAL CODE        COUNTRY
29949569          NASSAU 2019‐I LTD                       17 OLD KINGS HWY S                                                                                                       DARIEN                    CT           06820
29949570          NASSAU 2019‐II LTD                      17 OLD KINGS HWY S                                                                                                       DARIEN                    CT           06820
29949571          NASSAU 2020‐I LTD.                      17 OLD KINGS HWY S                                                                                                       DARIEN                    CT           06820
29949572          NASSAU 2021‐1 LTD.                      17 OLD KINGS HWY S                                                                                                       DARIEN                    CT           06820

29949810          NASSAU CORPORATE CREDIT CLO MANAGER LLC 17 OLD KINGS HWY S                                                                                                       DARIEN                    CT           06807
29936860          NASSAU COUNTY TAX COLLECTOR             86130 LICENSE ROAD, STE                                                                                                  FERNANDINA BEACH          FL           32034‐3786
                  NASSAU COUNTY, FL COUNTY CONSUMER
30207937          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION   96135 NASSAU PL                  STE 1                                              YULEE                     FL           32097
                  NASSAU COUNTY, NY COUNTY CONSUMER
30207938          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION   240 OLD COUNTRY RD               3RD FLOOR                                          MINEOLA                   NY           11501
30211741          NASSAU LIBRARY SYSTEM                   900 JERUSALEM AVENUE                                                                                                     UNIONDALE                 NY           11553
29936893          NATALIE BOWMAN                          Address on file
29953996          NATALIE CHANIN                          Address on file
29936897          NATALIE DICKINSON‐BERGER                Address on file
29936924          NATALIE LEE                             Address on file
IC_075            NATALIE MARIE EBAUGH                    Address on file
29936965          NATALIE ULLRICH                         Address on file
29937007          NATASHA OLOUGHLIN                       Address on file
29953956          NATICK FIRE DEPARTMENT                  22 E CENTRAL STREET                                                                                                      NATICK                    MA           01760
29953958          Name on file                            Address on file
29953959          NATIONAL 4‐H COUNCIL                    DBA NATIONAL 4‐H YOUTH CONF CTR      PO BOX 69364                                                                        BALTIMORE                 MD           21264‐9364
29937086          NATIONAL ART MATERIALS ASSOC            NAMTA                                PO BOX 3314                                                                         HUNTERSVILLE              NC           28070
29937087          NATIONAL ASSOC OF CORP DIRECTORS        NACD                                 1515 N. COURTHOUSE RD, #1200                                                        ARLINGTON                 VA           22201
29937088          NATIONAL BUSINESS FURNITURE LLC         770 SOUTH 70TH ST                                                                                                        MILWAUKEE                 WI           53214
29937089          NATIONAL CART CO LLC                    3125 BOSCHERTOWN RD.                                                                                                     SAINT CHARLES             MO           63301
29937090          NATIONAL CHRISTMAS PRODUCTS             2 COMMERCE DR                                                                                                            CRANFORD                  NJ           07016
29937091          NATIONAL CITY POLICE DEPARTMENT         ALARM UNIT                           PO BOX 2430                                                                         NATIONAL CITY             CA           91951
29937092          NATIONAL FUEL/371835                    PO BOX 371835                                                                                                            PITTSBURGH                PA           15250‐7835
29949748          NATIONAL GRID ‐ NEW YORK/371376         NATIONAL GRID ‐ NEW YORK             2 HANSON PL                                                                         BROOKLYN                  NY           11217
29937094          NATIONAL GRID ‐ NEW YORK/371376         PO BOX 371376                                                                                                            PITTSBURGH                PA           15250‐7376
29949749          NATIONAL GRID ‐ PITTSBURGH/371338       NATIONAL GRID ‐ PITTSBURGH           801 PENNSYLVANIA AVENUE NW                                                          WASHINGTON                DC           20004
29937095          NATIONAL GRID ‐ PITTSBURGH/371338       PO BOX 371338                                                                                                            PITTSBURGH                PA           15250‐7338
29952129          NATIONAL GRID ‐ PITTSBURGH/371382       NATIONAL GRID ‐ PITTSBURGH           801 PENNSYLVANIA AVENUE NW                                                          WASHINGTON                DC           20004
29961806          NATIONAL GRID ‐ PITTSBURGH/371382       PO BOX 371382                                                                                                            PITTSBURGH                PA           15250‐7382
29949754          NATIONAL GRID/371396                    NATIONAL GRID                        1 ‐ 3 STRAND                                                                        LONDON                                 WC2N 5EH        UNITED KINGDOM
29961807          NATIONAL GRID/371396                    PO BOX 371396                                                                                                            PITTSBURGH                PA           15250‐7396
29961809          NATIONAL REALTY DEVELOPMENT CORP        240 SHREWSBURY PLZ                                                                                                       SHREWSBURY                NJ           07702‐4324
29961810          NATIONAL RETAIL FEDERATION              PO BOX 823953                                                                                                            PHILADELPHIA              PA           19182‐3953
29961811          NATIONAL RETAIL TRANSPORTATION          PO BOX 2697                                                                                                              SECAUCUS                  NJ           07096
                  NATIONAL UNION FIRE INSURANCE COMPANY
30210496          OF PITTSBURGH, PA.                      1271 AVE OF AMERICAS                 FL 37                                                                               NEW YORK                  NY           10020‐1304
                  NATIONAL UNION FIRE INSURANCE COMPANY
29961812          OF PITTSBURGH, PA.                      1271 AVE OF THE AMERICAS             FL 37                                                                               NEW YORK                  NY           10020

                  NATIONAL UNION FIRE                     RISK SPECIALISTS COMPANIES INSURANCE
29961813          INSURANCECOMPANY(AIG)                   AGENCY, INC.D/B/A RSCIA IN NH, UT & VT 500 WEST MADISON STREET        SUITE 300                                          CHICAGO                   IL           60606
29961814          Name on file                            Address on file
30345363          Name on file                            Address on file
30213172          NATTAN, LLC                             11620 WILSHIRE BLVD., SUITE 540        ATTN: BEHZAD KIANMAHD                                                             LOS ANGELES               CA           90025
30297545          Nattan, LLC                             c/o Behzad Kianmahd                    11620 Wilshire Blvd.           Suite 540                                          Los Angeles               CA           90025
30297546          Nattan, LLC                             c/o Lewis Rice LLC                     Attn: Kyle Binns               1010 Walnut                    Suite 500           Kansas City               MO           64106
29937100          Name on file                            Address on file
30354566          NATURAL GROCERS                         12612 WEST ALAMEDA PARKWAY                                                                                               LAKEWOOD                  CO           80228
                                                                                                 BINH MINH COMMUNE, TRANG
29937101          NATURE CRAFT COMPANY LIMITED            GROUP 30, TAN BINH HAMLET              BOM DISTRICT                                                                      DONG NAI PROVINCE                                      VIETNAM
29937102          Name on file                            Address on file
29937104          Name on file                            Address on file
30355192          Name on file                            Address on file
30349419          Name on file                            Address on file
30349418          Name on file                            Address on file
30287102          Name on file                            Address on file
30212651          NAVIGATORS INSURANCE                    1 HARTFORD PLAZA                                                                                                         HARTFORD                  CT           06155




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30223194          NAVIGATORS MANAGEMENT CO., INC.       CLAIMS DIVISION ONE HARTFORD PLAZA                                                                                      HARTFORD                 CT           06155
30336764          Name on file                          Address on file
30260276          Name on file                          Address on file
29937120          NAYELY GONZALEZ                       Address on file
30401028          Name on file                          Address on file
29937128          NC ‐ JAS ‐ CORP INC ‐ EST             NORTH CAROLINA DEPT OF REVENUE       PO BOX 25000                                                                       RALEIGH                  NC           27640
29937129          NC ‐ SSC ‐ CORP INC ‐ EST             NORTH CAROLINA DEPT OF REVENUE       PO BOX 25000                                                                       RALEIGH                  NC           27640
29937130          NC DEPARTMENT OF REVENUE              PO BOX 25000                                                                                                            RALEIGH                  NC           27640
29949395          NC DEPT OF STATE TREASURER            UNCLAIMED PROPERTY DIVISION          3200 ATLANTIC AVE                                                                  RALEIGH                  NC           27604
30208281          NC LIVE                               NCSU LIBRARIES CAMPUS                BOX 7111                                                                           RALEIGH                  NC           27695
29937131          NC‐BUG‐SALES TAX                      PO BOX 25000                                                                                                            RALEIGH                  NC           27640
29937132          NC‐JAC‐SALES TAX                      PO BOX 25000                                                                                                            RALEIGH                  NC           27640
29937133          NC‐JAS‐SALES 04120                    PO BOX 25000                                                                                                            RALEIGH                  NC           27640
29937134          NCR CORPORATION                       14181 COLLECTIONS CENTER DR                                                                                             CHICAGO                  IL           60693
LC_0446           NCW Libraries                         16 N Columbia St                                                                                                        Wenatchee                WA           98801‐2224
                                                                                             OFFICE OF STATE TAX
29937135          ND‐CORP‐INCOME‐HLD 020                N. DAKOTA STATE TAX COMMISSIONER     COMMISSIONER                      600 E BLVD AVE, DEPT 127                         BISMARCK                 ND           58505‐0599
29937137          ND‐JAS172‐SALES TAX 041S1             600 E BOULEVARD AVE                                                                                                     BISMARCK                 ND           58505‐0599
29937138          ND‐JAS653‐SALES TAX 041S1             600 E BOULEVARD AVE                                                                                                     BISMARCK                 ND           58505‐0599
29937139          ND‐JAS691‐SALES TAX 041S1             600 E BOULEVARD AVE                                                                                                     BISMARCK                 ND           58505‐0599
29937140          ND‐JAS‐SALES 041S1                    600 E BOULEVARD AVE                                                                                                     BISMARCK                 ND           58505‐0599
30350086          Name on file                          Address on file
30351190          Name on file                          Address on file
29937145          NEBRASKA DEPARTMENT OF REVENUE        NEBRASKA STATE OFFICE BUILDING       301 CENTENNIAL MALL SOUTH                                                          LINCOLN                  NE           68508
29949200          NEBRASKA DEPT OF REV                  PO BOX 94818                                                                                                            LINCOLN                  NE           68509
29937146          NEBRASKA DEPT OF REVENUE              PO BOX 94818                                                                                                            LINCOLN                  NE           68509
29937147          NEBRASKA SECRETARY OF STATE           P.O. BOX 94608                                                                                                          LINCOLN                  NE           68509
29949396          NEBRASKA STATE TREASURER              UNCLAIMED PROPERTY DVISION           809 P STREET                                                                       LINCOLN                  NE           68508
29937149          NECESSITY RETAIL REIT OPER PARTNERS   ARG MHMORNC001 LLC                   38 WASHINGTON SQUARE                                                               NEWPORT                  RI           02840
30208284          NEEDHAM FREE PUBLIC LIBRARY           1139 HIGHLAND AVE                                                                                                       NEEDHAM HEIGHTS          MA           02492
30208285          NEEDHAM FREE PUBLIC LIBRARY           1139 HIGHLAND AVE.                                                                                                      NEEDHAM                  MA           02494
29961824          Name on file                          Address on file
30354556          Name on file                          Address on file
30211644          NEEDLE HOLDINGS LLC                   1209 ORANGE STREET                                                                                                      WILMINGTON               DE           19801
29961826          Name on file                          Address on file
29961828          NEEDLEART WORLD NORTH AMERICA LLC E   4732‐G NORTH ROYAL ATLANTA DRIVE                                                                                        TUCKER                   GA           30084
30341080          Name on file                          Address on file
29937153          Name on file                          Address on file
30401603          Name on file                          Address on file
30401604          Name on file                          Address on file
30415205          Name on file                          Address on file
29937163          NE‐JAC‐SALES‐04100                    PO BOX 98923                                                                                                            LINCOLN                  NE           68509‐8923
29937164          NE‐JAS‐SALES 04100                    PO BOX 68509‐4818                                                                                                       LINCOLN                  NE           68509‐4818
29937173          Name on file                          Address on file
30384899          Name on file                          Address on file
30211420          NELSON COMPANIES ONE LLC              801 CHERRY STREET                    SUITE 900                                                                          FORT WORTH               TX           76102
30211744          NELSON COUNTY PUBLIC LIBRARY          201 CATHEDRAL MANOR                                                                                                     BARDSTOWN                KY           40004
30208287          NELSON PUBLIC LIBRARY                 602 STANLEY STREET                                                                                                      NELSON                   BC           V1L 1N4         CANADA
30340675          Name on file                          Address on file
30395691          Name on file                          Address on file
30414659          Name on file                          Address on file
30289638          Name on file                          Address on file
30347004          Name on file                          Address on file
30335352          Name on file                          Address on file
30332422          Name on file                          Address on file
30332633          Name on file                          Address on file
30384942          Name on file                          Address on file
30395855          Name on file                          Address on file
30337324          Name on file                          Address on file
30285325          Name on file                          Address on file
30415305          Name on file                          Address on file
30340837          Name on file                          Address on file




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30384901          Name on file                             Address on file
30358248          Name on file                             Address on file
30415273          Name on file                             Address on file
30332171          Name on file                             Address on file
30337787          Neo Casta International                  Ms. Veena Sharma                    C‐51, Sector ‐ 80                                                                    Noida, Uttar Pradesh                       201306          India
29937180          Name on file                             Address on file
30208288          NEOSHO/NEWTON COUNTY LIBRARY MO          201 W SPRING ST                                                                                                          NEOSHO                        MO           64850
30211589          NESCO RESOURCE LLC                       6140 PARKLAND BLVD.                                                                                                      MAYFIELD HEIGHTS              OH           44124
30211745          NESMITH LIBRARY                          8 FELLOWS RD                                                                                                             WINDHAM                       NH           03087
30208289          NESMITH LIBRARY                          FELLOWS ROAD                                                                                                             WINDHAM                       NH           03087
30399621          Name on file                             Address on file
30344781          Name on file                             Address on file
30344637          Name on file                             Address on file
29951920          NEST INTERNATIONAL IN                    JOHN TYLER ENTERPRISES INC PM       591 MANTUA BLVD., #101                                                               SEWELL                        NJ           08080
29951921          NEST INTERNATIONAL INC                   JOHN TYLER ENTERPRISES INC          591 MANTUA BLVD., #101                                                               SEWELL                        NJ           08080
30414642          Name on file                             Address on file
30210614          NETSKOPE, INC.                           2445 AUGUSTINE DRIVE                SUITE 301                                                                            SANTA CLARA                   CA           95054
30333762          Name on file                             Address on file
29951925          NETWRIX CORPORATION                      DEPT LA 25338                                                                                                            PASADENA                      CA           91185‐5338
30297531          Netwrix Corporation                      Porter Wright Morris & Arthur LLP   Margo S. Brandenburg              250 East Fifth Street          Suite 2200          Cincinnati                    OH           45202
30346918          Name on file                             Address on file
30341185          Name on file                             Address on file
30211746          NEUSCHAFER COMMUNITY LIBRARY             PO BOX 498                                                                                                               FREMONT                       WI           54940
29937186          NEVADA DEPARTMENT OF TAXATION            1550 COLLEGE PARKWAY                SUITE 115                                                                            CARSON CITY                   NV           89706
30211016          NEVADA DEPARTMENT OF TAXATION            1550 E COLLEGE PKWY                 SUITE 115                                                                            CARSON CITY                   NV           89706
29937185          NEVADA DEPARTMENT OF TAXATION            3850 ARROWHEAD DR                                                                                                        CARSON CITY                   NV           89706‐2016
29937188          NEVADA DEPARTMENT OF TAXATION            ATTN COMMERCE TAX REMITTANCE        PO BOX 51180                                                                         LOS ANGELES                   CA           90051‐5480
29937187          NEVADA DEPARTMENT OF TAXATION            PO BOX 7165                                                                                                              SAN FRANCISCO                 CA           94120‐7165
29937189          NEVADA LEGAL NEWS                        PO BOX 1720                                                                                                              LAS VEGAS                     NV           89125
                                                                                               101 NORTH CARSON STREET, SUITE
29937190          NEVADA SECRETARY OF STATE                NEVADA STATE CAPITOL BUILDING       3                                                                                    CARSON CITY                   NV           89701
29949397          NEVADA TREASURY UNCLAIMED PROPERTY       1 STATE OF NEVADA WAY, 4TH FLOOR                                                                                         LAS VEGAS                     NV           89119
29937205          NEW BP INVESTORS, LLC                    CHURCH LANE SHOPS, LLC              2800 QUARRY LK DR, STE. #340                                                         BALTIMORE                     MD           21209
30208292          NEW BRAUNFELS PUBLIC LIBRARY             700 E COMMON STREET                                                                                                      NEW BRAUNFELS                 TX           78130
29937208          NEW BRAUNFELS UTILITIES, TX              PO BOX 660                                                                                                               SAN ANTONIO                   TX           78293‐0660
29937210          Name on file                             Address on file
30208293          NEW BRITAIN PUBLIC LIBRARY               6,000 20 HIGH ST                                                                                                         NEW BRITAIN                   CT           06051
29937211          Name on file                             Address on file
30208296          NEW CANAAN LIBRARY                       151 MAIN STREET                                                                                                          NEW CANAAN                    CT           06840
29937213          Name on file                             Address on file
                  NEW CARLISLE‐OLIVE TOWNSHIP PUBLIC
30208297          LIBRARY                                  08 S. BRAY ST.                                                                                                           NEW CARLISLE                  IN           46552
LC_0451           New Castle County Libraries              2020 W 9th Street                                                                                                        Wilmington                    DE           19808
30208299          NEW CASTLE COUNTY LIBRARIES              101 GOVERNORS PLACE                                                                                                      BEAR                          DE           19701
30211747          NEW CASTLE COUNTY LIBRARIES              6000 KIRKWOOD HWY                                                                                                        WILMINGTON                    DE           19808
                  NEW CASTLE COUNTY, DE COUNTY CONSUMER
30207939          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 87 READ’S WAY                                                                         NEW CASTLE                    DE           19720
29954186          Name on file                             Address on file

30208300          NEW CASTLE‐HENRY COUNTY PUBLIC LIBRARY   PO BOX J                                                                                                                 NEW CASTLE                    IN           47362
                  NEW HAMPSHIRE DEPARTMENT OF REVENUE ‐
29954187          ADMINISTRATION UNIT                      109 PLEASANT STREET                 P.O. BOX 457                                                                         CONCORD                       NH           03302‐0457
29954188          NEW HAMPSHIRE SECRETARY OF STATE         25 CAPITOL ST                                                                                                            CONCORD                       NH           03301

29954189          NEW HAMPSHIRE SECRETARY OF STATE         NEW HAMPSHIRE DEPARTMENT OF STATE PO BOX 9529                                                                            MANCHESTER                    NH           03108‐9529
                  NEW HAMPSHIRE TREASURY UNCLAIMED
29949398          PROPERTY                                 NEW HAMPSHIRE STATE TREASURY        ABANDONED PROPERTY DIVISION       25 CAPITOL STREET, ROOM 205                        CONCORD                       NH           03301
29954190          NEW HANOVER COUNTY                       TAX OFFICE                          PO BOX 9004                                                                          WILMINGTON                    NC           28402‐9004
30213092          NEW HARTFORD SHOPPING CENTER TRUST       C/O FACILITIES MANAGEMENT GROUP     22 BROOKLINE DRIVE                                                                   SYRACUSE                      NY           13204
                  NEW HAVEN COUNTY, CT COUNTY CONSUMER
30207940          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 165 CHURCH ST                                                                         NEW HAVEN                     CT           06510
29954192          Name on file                             Address on file




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                  NEW JERSEY AMERICAN WATER
29954193          COMPANY/371331                                  P.O. BOX 371331                                                                                                         PITTSBURGH                PA           15250‐7331
29954195          NEW JERSEY DEPARTMENT OF LABOR                  WORKFORCE DEVELOPMENT               PO BOX 929                                                                          TRENTON                   NJ           08625

29954196          NEW JERSEY DEPARTMENT OF THE TREASURY           ATTN: DIVISION OF TAXATION          PO BOX 281                                                                          TRENTON                   NJ           08695‐0281
29954197          NEW JERSEY DEPARTMENT OF TREASURY               P.O. BOX 002                                                                                                            TRENTON                   NJ           08625‐0002
29937215          NEW JERSEY DIV OF TAXATION                      PO BOX 272                                                                                                              TRENTON                   NJ           08695‐0272
29937216          NEW JERSEY SALES TAX                            CN‐999                                                                                                                  TRENTON                   NJ           08646
29937217          NEW JERSEY SECRETARY OF STATE                   109 W STATE ST                                                                                                          TRENTON                   NJ           08608

30211422          NEW LEAF SERVICE CONTRACTS, LLC       909 LAKE CAROLYN PARKWAY, SUITE 900                                                                                               IRVING                    TX           75039
30223195          NEW LEGEND INC                        LEGEND TRANSPORTATION                         PO BOX 610028                                                                       DALLAS                    TX           75261‐0028
30211750          NEW LENOX PUBLIC LIBRARY DISTRICT     120 VETERANS PARKWAY                                                                                                              NEW LENOX                 IL           60451
                  NEW LONDON COUNTY, CT COUNTY CONSUMER
30207941          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION            NEW LONDON CITY HALL               181 STATE ST                                     NEW LONDON                CT           06320
                  NEW MEXICO DEPARTMENT OF TAXATION AND
29937219          REVENUE                               1100 SOUTH ST. FRANCIS DRIVE                                                                                                      SANTA FE                  NM           87504
29937220          NEW MEXICO GAS COMPANY                PO BOX 27885                                                                                                                      ALBUQUERQUE               NM           87125‐7885
29937222          NEW MEXICO TAXATION & REVENUE DEPT    PO BOX 25128                                                                                                                      SANTA FE                  NM           87504‐5128
29949399          NEW MEXICO TAXATION & REVENUE DEPT    UNCLAIMED PROPERTY OFFICE                     MANUEL LUJAN BUILDING                                                               SANTA FE                  NM           87505
29937223          NEW ORLEANS METAIRIE RESIDENCE INN    3 GALLERIA BLVD.                                                                                                                  METAIRIE                  LA           70001
LC_0454           New Orleans Public Library            219 Loyola Avenue                                                                                                                 Orleans                   LA           70112‐2007
30211752          NEW ORLEANS PUBLIC LIBRARY            219 LOYOLA AVE                                                                                                                    NEW ORLEANS               LA           70112
29950452          NEW PHILADELPHIA                      HEALTH DISTRICT                               150 E HIGH AVENUE STE 011                                                           NEW PHILADELPHIA          OH           44663
29937225          NEW PHILADELPHIA CITY                 HEALTH DISTRICT                               150 E HIGH AVENUE STE 011                                                           NEW PHILADELPHIA          OH           44663
                  NEW PORT RICHEY DEVEOLPMENT COMPANY
30213413          LLC                                   C/O CHASE PROPERTIES, LTD.                    3333 RICHMOND ROAD, SUITE 320                                                       BEACHWOOD                 OH           44122
30208310          NEW PORT RICHEY LIBRARY               5939 MAIN ST                                                                                                                      NEW PORT RICHEY           FL           34652
30211753          NEW PORT RICHEY PUBLIC LIBRARY        5939 MAIN STREET                                                                                                                  NEW PORT RICHEY           FL           34652
29937230          Name on file                          Address on file
                                                                                                      ATTN: LEGAL DEPARTMENT (JOHN       411 THEODORE FREMD AVE, SUITE
29937231          NEW TOWNE CENTER OWNWER LLC                     C/O ACADIA REALTY TRUST             MCMAHON)                           300                                              RYE                       NY           10580
                                                                                                      ATTN: LEGAL DEPARTMENT (JOHN
30210988          NEW TOWNE CENTER OWNWER LLC                     C/O ACADIA REALTY TRUST             MCMAHON)                                                                            RYE                       NY           10580
29937233          NEW TOWNE MALL REALTY HOLDING LLC               1010 NORTHERN BLVD., STE 212                                                                                            GREAT NECK                NY           11021
                                                                  C/O KOHAN RETAIL INVESTMENT GROUP,
30213337          NEW TOWNE MALL REALTY HOLDING LLC               LLC                                1010 NORTHERN BLVD., STE. 212                                                        GREAT NECK                NY           11021
29937234          NEW VIEW GIFTS & ACCESSORIES LTD                311 EAST BALTIMORE AVE STE 300                                                                                          MEDIA                     PA           19063
30181674          New View Gifts & Accessories, Ltd               William Kitzinger                  311 E Baltimore Ave.                Suite 300                                        Media                     PA           19063
29937236          NEW WESTGATE MALL LLC                           C/O WESTGATE MALL MANAGEMENT       200 WESTGATE DRIVE                                                                   BROCKTON                  MA           02301
30211757          NEW WESTMINSTER PUBLIC LIBRARY                  716 6TH AVE                                                                                                             NEW WESTMINSTER           BC           V3M 2B3         CANADA

LC_0456           New York Public Library, The Branch Libraries   445 Fifth Avenue                                                                                                        New York                  NY           10016‐133
29937238          NEW YORK SECRETARY OF STATE                     123 WILLIAM ST STE 2                                                                                                    NEW YORK                  NY           10038
                  NEW YORK STATE DEPARTMENT OF TAXATION
29937239          AND FINANCE                                     UNIT W A HARRIMAN CAMPUS                                                                                                ALBANY                    NY           12227

29937240          NEW YORK STATE DEPT OF                          TAXATION AND FINANCE                CENTRAL RETURNS PROCESSING UNI HARRIMAN CAMPUS RD                                   ALBANY                    NY           12227
29937241          Name on file                                    Address on file
30397612          Name on file                                    Address on file
30340445          Name on file                                    Address on file
29937242          Name on file                                    Address on file
30208312          NEWBURGH FREE LIBRARY                           124 GRAND STREET                                                                                                        NEWBURGH                  NY           12550
30208316          NEWBURY TOWN LIBRARY                            0 LUNT ST.                                                                                                              BYFIELD                   MA           01922
30223196          NEWCO JODITO LLC                                1714 HEIL QUAKER BLVD.              SUITE 130                                                                           LAVERGNE                  TN           37086
30208091          NEWCO JODITO LLC                                5555 DARROW RD                                                                                                          HUDSON                    OH           44236‐4011
29937245          NEWINGTON POLICE DEPARTMENT                     ATTN: ALARM PERMIT RENEWAL          71 FOX POINT RD.                                                                    NEWINGTON                 NH           03801
30211761          NEWMARKET PUBLIC LIBRARY                        1 ELM STREET                                                                                                            NEWMARKET                 NH           03857
29950886          Name on file                                    Address on file
29950887          NEWPORT NEWS WATERWORKS                         PO BOX 979                                                                                                              NEWPORT NEWS              VA           23607‐0979
30401238          Name on file                                    Address on file
30332008          Name on file                                    Address on file
30211763          NEWTON FREE LIBRARY                             330 HOMER ST                                                                                                            NEWTON                    MA           02459




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30354899          Name on file                           Address on file
30342759          Name on file                           Address on file
29950891          NEXIAN VANNAH                          Address on file
29950892          NEXT LEVEL APPAREL                     C/O YS GARMENTS, LLC                588 CRENSHAW BLVD                                                                TORRANCE               CA           90503
30358381          Name on file                           Address on file
30354871          Name on file                           Address on file
30355336          Name on file                           Address on file
30348981          Name on file                           Address on file
30397853          Name on file                           Address on file
30352734          Name on file                           Address on file
30339260          Name on file                           Address on file
30347793          Name on file                           Address on file
30396808          Name on file                           Address on file
30347319          Name on file                           Address on file
30353693          Name on file                           Address on file
30345642          Name on file                           Address on file
30354032          Name on file                           Address on file
29937262          NIAGARA COUNTY TREASURER               NIAGARA CTY WEIGHTS & MEASURES      59 PARK AVE                                                                      LOCKPORT               NY           14094
                  NIAGARA COUNTY, NY COUNTY CONSUMER
30207942          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 175 HAWLEY ST, 1ST FLOOR                                                          LOCKPORT               NY           14095
30208323          NIAGARA FALLS PUBLIC LIBRARY           4848 VICTORIA AVENUE                                                                                                 NIAGARA FALLS          ON           L2E 4C5         CANADA
                  Niagara Mohawk Power Corporation DBA
30294944          National Grid                          Attn: Linda Demauro                 PO Box 4706                                                                      Syracuse               NY           13221
30213609          NIAGARA SQUARE, LLC                    570 DELAWARE AVENUE                 ATTN: LEASE ADMINISTRATION                                                       BUFFALO                NY           14202
29937266          Name on file                           Address on file
IC_076            Niasia Pinnock                         Address on file
30398355          Name on file                           Address on file
29937271          NIBHA KUMARI                           Address on file
30337332          Name on file                           Address on file
29937274          NICE COSAS LLC                         13412 ALANWOOD RD.                                                                                                   LA PUENTE              CA           91746
29950469          NICHOLAS GERBUS                        Address on file
29937325          NICHOLAS TAYLOR                        Address on file
30213023          NICHOLE SCHNEIDER                      Address on file
29937353          NICHOLS INN RED WING                   1750 HWY 61                                                                                                          RED WING               MN           55066
30356690          Name on file                           Address on file
30394596          Name on file                           Address on file
30336058          Name on file                           Address on file
30349455          Name on file                           Address on file
30386582          Name on file                           Address on file
30386583          Name on file                           Address on file
30348902          Name on file                           Address on file
30287046          Name on file                           Address on file
29961847          Name on file                           Address on file
30358286          Name on file                           Address on file
30350531          Name on file                           Address on file
30332701          Name on file                           Address on file
29961849          NICOLA MUSCROFT                        Address on file
29937363          NICOLAS LAY                            Address on file
29961859          NICOLE BLUM                            Address on file
29937369          NICOLE BROCK                           Address on file
29972790          Name on file                           Address on file
29961862          NICOLE FRANCO                          Address on file
29961882          NICOLE LLARINAS                        Address on file
30208327          Name on file                           Address on file
IC_185            Name on file                           Address on file
30212798          NICOLE POLKABLA                        Address on file
29961893          NICOLE STANLEY                         Address on file
29937455          NICOLE TELLES                          Address on file
30211423          NICOLE TONIC STUDIOS INC               70 TANNER ST                                                                                                         HADDONFIELD            NJ           08033
29937468          NICOLE VOLLMAR                         Address on file
30211765          NICOLET UNION HIGH SCHOOL DISTRICT     6701 N JEAN NICOLET RD                                                                                               GLENDALE               WI           53217
29937489          NICOR GAS/2020/0632/5407               PO BOX 5407                                                                                                          CAROL STREAM           IL           60197‐5407
30349401          Name on file                           Address on file




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30358300          Name on file                               Address on file
30335498          Name on file                               Address on file
29937492          NIEMANN HOLDINGS LLC                       1501 NORTH 12TH STREET                                                                                                QUINCY                    IL           62301
30213651          NIEMANN HOLDINGS, LLC                      1501 N. 12 TH STREET                ATTN: SHAN CLEVENGER                                                              QUINCY                    IL           62301
30399734          Name on file                               Address on file
30398364          Name on file                               Address on file

30213193          NIKI AUBURN MILE, LP                       C/O THE NIKI GROUP, LLC             11720 EL CAMINO REAL, SUITE 250                                                   SAN DIEGO                 CA           92130
29961902          NIKITA HARRISON                            Address on file
29937504          NIKKI FURLONG                              Address on file
29937508          NIKKI PACHECO                              Address on file
30332302          Name on file                               Address on file
LC_0460           Niles North High School                    9800 Lawler Ave                                                                                                       Skokie                    IL           60077
29937514          Name on file                               Address on file
30208330          NILES NORTH HIGH SCHOOL                    9800 NORTH LAWLER ST                                                                                                  SKOKIE                    IL           60077
30208332          NILES PUBLIC LIBRARY                       6960 OAKTON STREET                                                                                                    NILES                     IL           60714
LC_0461           Niles West High School                     5701 Oakton St                                                                                                        Skokie                    IL           60077
30208336          NILES WEST HIGH SCHOOL                     5701 W. OAKTON STREET                                                                                                 SKOKIE                    IL           60077
LC_0462           Niles‐Maine District Library               6960 West Oakton Street                                                                                               Niles                     IL           60714‐3025
30211768          NILES‐MAINE DISTRICT LIBRARY               6960 OAKTON STREET                                                                                                    NILES                     IL           60714
30212988          NINA HOSE                                  Address on file
30355558          Name on file                               Address on file
29961917          Name on file                               Address on file
29961921          NINGBO GOLDENTIME IMPORT & EXPORT C        NO. 168 LINYU NORTH ROAD ZHENHAI                                                                                      NINGBO                                 315207          CHINA
                                                                                                 B1204, HERONG BLDG, #215
30211424          NINGBO LIBERTY PORT TRADING CO LTD         YINZHOU DISTRICT                    PANHUO RD                         130                                             NINGBO                                 315105          CHINA
                                                                                                 TSINGHUA KECHUANG PARK,
30211425          NINGBO MAJINA CRAFTS CO., LTD              ROOM 2301‐2, BUILDING NO. 2         NO.225                                                                                                                   315100          CHINA
29961922          NINGBO MERRYART GLOW‐TECH CO LTD           NO 8 LIXIN RD, XIAOGANG IND PARK    BEILUN DIST                                                                       NINGBO                                 315800          CHINA
29961923          NINGBO MERRY‐HOME IMP&EXP CO LTD           #58 DAGANG ROAD(M)                  BEILUN DIST                                                                       NINGBO                                 315800          CHINA
                                                             RM904‐3 QIAOSHANG BUILDING,
30182410          NINGBO SINOMAKER INDUSTRY & TRADE LTD      YINZHOU                                                                                                               NINGBO, ZHEJIANG                       315100          CHINA

30164376          NINGBO SINOMAKER INDUSTRY & TRADE LTD      ROOM 1204‐1                         NO.7 TIANZHI LANE                                                                 NINGBO                                 31510           CHINA
30211426          NINGBO SUNSHINE IMPORT & EXPORT CO         ROOM 24‐5,NO.009                    BUILDING.NO.9 SHUBO ROAD                                                          NINGBO                                 315040          CHINA

29904952          NINGBO WINLEAD ORNAMENT CO LTD             ATTN: BONNIE ZENG, DIRECTOR OF SALES SCIENCE AND TECHNOLOGY PLAZA     10/F 4TH BUILDING                               NINGBO                                 315000          CHINA
30347709          Name on file                               Address on file
30357096          Name on file                               Address on file
30211769          NIPIGON PUBLIC LIBRARY                     52 FRONT ST                                                                                                           NIPIGON                   ON           P0T 2J0         CANADA
29937549          NIPKOW & KOBELT INC                        237 WEST 35TH ST. STE 604                                                                                             NEW YORK                  NY           10001
30282608          Nipkow and Kobelt Inc.                     P.O. Box 36                                                                                                           Becket                    MA           01223
30282631          Nipkow and Kobelt Inc.                     Shannon Post                         P.O. Box 36                                                                      Becket                    MA           01223

29937550          NIPSCO ‐ NORTHERN INDIANA PUBLIC SERV CO   P.O. BOX 13007                                                                                                        MERRILLVILLE              IN           46411‐3007
30285454          Name on file                               Address on file
30332543          Name on file                               Address on file
29949574          NITRAH + CO FBO FIDELITY MERRIMACK         1 IRON ST                                                                                                             BOSTON                    MA           02110
30401608          Name on file                               Address on file
30393004          Name on file                               Address on file
30336868          Name on file                               Address on file
30347344          Name on file                               Address on file
29937570          NJ CROCE                                   8437 TRACK ROAD                                                                                                       NAMPA                     ID           83686
29937571          NJ‐BUG‐SALES TAX                           PO BOX 628                                                                                                            TRENTON                   NJ           08646
30353477          Name on file                               Address on file
29937572          NJ‐JAC‐SALES TAX                           PO BOX 628                                                                                                            TRENTON                   NJ           08646‐0628
29937573          NJ‐JAS‐SALES TAX 04110                     PO BOX 628                                                                                                            TRENTON                   NJ           08646‐0628
29937574          NJNG                                       PO BOX 11743                                                                                                          NEWARK                    NJ           07101‐4743
30223198          NKOK INC                                   5354 IRWINDALE AVE                                                                                                    IRWINDALE                 CA           91706
30223199          NLMS INC                                   340 SOUTH UNION ST                                                                                                    BETHEL                    OH           45106
30385625          NM Taxation & Revenue Department           PO Box 8575                                                                                                           Albuquerque               NM           87198‐8575
29937578          NM‐COM‐SALES TAX                           PO BOX 25128                                                                                                          SANTA FE                  NM           87504
29937579          NM‐JAS‐SALES TAX 046                       PO BOX 25128                                                                                                          SANTA FE                  NM           87504‐5128




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29937580          NM‐JAS‐USE TAX 043                       PO BOX 630                                                                                                              SANTA FE                 NM           87504‐0630
                                                                                                ATTN: SENIOR VICE PRESIDENT‐
30213304          NNN REIT, LP                             450 S. ORANGE AVENUE, SUITE 900      ASSET MANAGEMENT                                                                   ORLANDO                  FL           32801
                                                                                                ATTN: SENIOR VICE PRESIDENT ‐
30213033          NNN REIT, LP                             450 SOUTH ORANGE AVENUE, SUITE 900   ASSET MANAGEMENT                                                                   ORLANDO                  FL           32801

30213408          NNN YULEE FL OWNER LP                    C/O LA COSTA CAPITAL PARTNERS, LLC   5973 AVENIDA ENCINAS, SUITE 301                                                    CARLSBAD                 CA           92008
29937593          NOAH CAVALIERE                           Address on file
29937599          NOAH SCHWEITZER                          Address on file
30275350          Name on file                             Address on file
30386226          Name on file                             Address on file
30350488          Name on file                             Address on file
30335125          Name on file                             Address on file
30276015          Name on file                             Address on file
30358204          Name on file                             Address on file
30348519          Name on file                             Address on file
29937633          NONA MAKI                                Address on file
30213496          NONNENMANN FAMILY LLC                    ATTN: TIMOTHY P. NONNENMANN          10211 ‐ 35TH STREET W                                                              ROCK ISLAND              IL           61201
29937647          NORA EASTMAN                             Address on file
29937653          NORA RAMGOOLAM                           Address on file
30208337          NORAH S. GAUGHAN                         Address on file

30210991          NORBER TRUST                             C/O KIMCO REALTY CORPORATION         500 NORTH BROADWAY, SUITE 201                                                      JERICHO                  NY           11753

29961948          NORBER TRUST                             C/O KIMCO REALTY CORPORATION         ATTN: NINA ROGERS                 500 NORTH BROADWAY, SUITE 201                    JERICHO                  NY           11753
29937656          Name on file                             Address on file
29937657          Name on file                             Address on file
29937662          Name on file                             Address on file
30208342          NORFOLK COUNTY PUBLIC LIBRARY            46 COLBORNE ST. SOUTH                                                                                                   SIMCOE                   ON           N3Y 4H3         CANADA
30208339          NORFOLK COUNTY PUBLIC LIBRARY            2 LIBERTY LN                                                                                                            NORFOLK                  MA           02056
                  NORFOLK COUNTY, MA COUNTY CONSUMER
30207943          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION CONSUMER PROTECTION DIVISION        45 SHAWMUT RD                                    CANTON                   MA           02021
29937663          Name on file                             Address on file
29937668          NORINE THORNOCK                          Address on file
LC_0464           Normal Public Library                    206 West College Avenue                                                                                                 Normal                   IL           61761‐2576
30211771          NORMAL PUBLIC LIBRARY                    206 W COLLEGE AVE                                                                                                       NORMAL                   IL           61761
30223200          NORMAN S WRIGHT DUCKWORTH                Address on file
30333925          Name on file                             Address on file
30258943          Name on file                             Address on file
30211428          NORRELL & BAKER HOLDINGS LLC             TRIPLE A METAL FABRICATION         101 ROCKET AVE.                                                                      OPELIKA                  AL           36804
30349651          Name on file                             Address on file
30397323          Name on file                             Address on file
30259467          Name on file                             Address on file
29937694          Name on file                             Address on file
                  NORTH AMERICAN PLASTICS & CHEMICALS CO
29937696          INC                                      1400 E. 222ND STREET                                                                                                    EUCLID                   OH           44117
                                                                                                ATTN: VICE PRESIDENT, REAL
29937698          NORTH ATTLEBORO MARKETPLACE II, LLC      C/O CARPIONATO PROPERTIES            ESTATE                            1414 ATWOOD AVENUE                               JOHNSTON                 RI           02919
                                                                                                ATTN: VICE PRESIDENT, REAL
30210917          NORTH ATTLEBORO MARKETPLACE II, LLC      C/O CARPIONATO PROPERTIES            ESTATE                                                                             JOHNSTON                 RI           02919
30211772          NORTH BERGEN FREE PUBLIC LIBRARY         8411 BERGENLINE AVE                                                                                                     NORTH BERGEN             NJ           07047
30208344          NORTH BRANFORD PUBLIC LIBRARIES          1720 FOXON ROAD                                                                                                         NORTH BRANFORD           CT           06471
LC_0465           North Brunswick Free Public Library      880 Hermann Road                                                                                                        North Brunswick          NJ           08902‐2341
30208346          NORTH BRUNSWICK PUBLIC LIBRARY           880 HERMANN ROAD                                                                                                        NORTH BRUNSWICK          NJ           08902
29937704          Name on file                             Address on file

29937705          NORTH CAROLINA DEPARTMENT OF REVENUE     PO BOX 25000                                                                                                            RALEIGH                  NC           27640‐0640
29937706          NORTH CAROLINA SEC OF STATE              ANNUAL REPORT SECTION                PO BOX 29525                                                                       RALEIGH                  NC           27626‐0525
29937707          NORTH CAROLINA SECRETARY OF STATE        2 S SALISBURY ST                                                                                                        RALEIGH                  NC           27601
30211773          NORTH CENTRAL KANSAS LIBRARY SYSTEM      627 POYNTZ AVE                                                                                                          MANHATTAN                KS           66502
30208349          NORTH CENTRAL REGIONAL LIBRARY           16 N COLUMBIA STREET                                                                                                    WENATCHEE                WA           98801
                  NORTH COLLIER FIRE CONTROL & RESCUE
29951541          DISTRICT                                 6495 TAYLOR ROAD                                                                                                        NAPLES                   FL           34109




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29951542          NORTH COVENTRY MUNICIPAL AUTHORITY        P.O. BOX 833                                                                                                                 POTTSTOWN                  PA           19464‐0833
29951544          NORTH COVENTRY TOWNSHIP                   TRI STATE FINANCIAL GROUP                 PO BOX 38                                                                          BRIDGEPORT                 PA           19405
29951545          NORTH COVENTRY WATER AUTHORITY            P.O. BOX 394                                                                                                                 POTTSTOWN                  PA           19464‐0394
29951547          NORTH CUYAHOGA VALLEY CORRIDOR INC        CANALWAY PARTNERS                         6801 BRECKSVILLE RD., #185                                                         INDEPENDENCE               OH           44131‐5055

29949400          NORTH DAKOTA DEPARTMENT OF TRUST LANDS UNCLAIMED PROPERTY DIVISION                  1707 N 9TH ST                                                                      BISMARCK                   ND           58501‐1853
                  NORTH DAKOTA OFFICE OF STATE TAX
29951548          COMMISSIONER                           600 E. BLVD AVE T. 127,                                                                                                         BISMARCK                   ND           58505‐0599
29951549          NORTH DAKOTA SECRETARY OF STATE        600 E BOULEVARD AVENUE DEPT 108                                                                                                 BISMARCK                   ND           58505‐0500
29951550          NORTH DAKOTA STATE TAX DEPARTMENT      600 E. BOULEVARD AVE.                                                                                                           BRISMARCK                  ND           58505‐0599
29951551          NORTH DAKOTA TAX COMMISSIONER          P.O. BOX 5623                                                                                                                   BISMARCK                   ND           58506‐5623

29937709          NORTH DAKOTA WORKERS COMPENSATION         WORKFORCE SAFETY & INSURANCE              PO BOX 5585                                                                        BISMARCK                   ND           58506‐5585
29937710          NORTH FORT MYERS FIRE DEPT                PO BOX 3507                                                                                                                  NORTH FORT MYERS           FL           33918
                                                            C/O THE MID‐AMERICA MANAGEMENT
30213232          NORTH GENEVA COMMONS LLC                  CORPORATION                               3333 RICHMOND ROAD, SUITE 350                                                      BEACHWOOD                  OH           44122
30208350          NORTH HAMPTON PUBLIC LIBRARY              237A ATLANTIC AVENUE                                                                                                         NORTH HAMPTON              NH           03862
30211774          NORTH HASTINGS PUBLIC LIBRARY             14 FLINT AVE                                                                                                                 BANCROFT                   ON           K0L 1C0         CANADA
29937714          Name on file                              Address on file
29937715          Name on file                              Address on file
29937716          NORTH HILLS SCHOOL DISTRICT               135 SIXTH AVENUE                                                                                                             PITTSBURGH                 PA           15229
30208352          NORTH KAWARTHA PUBLIC LIBRARY             175 BURLEIGH STREET                                                                                                          APSLEY                     ON           K0L 1A0         CANADA
LC_0466           North Kingstown Free Library              100 Boone Street                                                                                                             North Kingstown            RI           02852‐5150
29937718          Name on file                              Address on file
30208358          NORTH KINGSTOWN PUBLIC LIBRARY            100 BOONE STREET NORTH                                                                                                       KINGDOM                    RI           02852
30211775          NORTH LAKE COUNTY PUBLIC LIBRARY          21ST AVE E                                                                                                                   POLSON                     MT           59860
LC_0467           North Las Vegas Library District          2250 Las Vegas Blvd. N. Ste. 133                                                                                             North Las Vegas            NV           89030‐5872
29937720          NORTH LITTLE ROCK ELECTRIC                P.O. BOX 936                                                                                                                 NORTH LITTLE ROCK          AR           72115
29949831          NORTH LITTLE ROCK ELECTRIC COMPANY        PO BOX 936                                                                                                                   NORTH LITTLE ROCK          AR           72115
29937722          Name on file                              Address on file

30208360          NORTH LITTLE ROCK PUBLIC LIBRARY SYSTEM   2801 ORANGE STREET                                                                                                           NORTH LITTLE ROCK          AR           72114
30213420          NORTH MAIN PHASE II AND III LLC           C/O CHILDRESS KLEIN                       301 S. COLLEGE ST., SUITE 2800                                                     CHARLOTTE                  NC           28202
29937725          Name on file                              Address on file
30208361          NORTH MERRICK PUBLIC LIBRARY              1691 MEADOWBROOK ROAD                                                                                                        NORTH MERRICK              NY           11566
29937726          Name on file                              Address on file
30211776          NORTH PERTH PUBLIC LIBRARY                260 MAIN ST W                                                                                                                LISTOWEL                   ON           N4W 1A1         CANADA
                                                                                                                                        2600 North Mayfair Road, Suite
30292513          North Point Centre, LLP                   c/o Law Offices of George B. Erwin, LLC   Attn: George B. Erwin, III        1000                                             Milwaukee                  WI           53226
30213416          NORTH POINTE CENTRE, LLP                  C/O SCI REAL ESTATE                       5429 NORTH 118TH COURT                                                             MILWAUKEE                  WI           53225
30208362          NORTH SHELBY LIBRARY                      5521 CAHABA VALLEY ROAD                                                                                                      BIRMINGHAM                 AL           35242
29937732          NORTH SHORE GAS                           PO BOX 1110                                                                                                                  GLENVIEW                   IL           60025
29937734          Name on file                              Address on file
30211779          NORTH SHORE PUBLIC LIBRARY                250 ROUTE 25A                                                                                                                SHOREHAM                   NY           11786
29937736          Name on file                              Address on file
29937737          Name on file                              Address on file
30213162          NORTH VALLEY PLAZA, LLC                   500 NORTH BROADWAY, SUITE 201             P. O. BOX 9010                                                                     JERICHO                    NY           11753
30211782          NORTH VANCOUVER CITY LIBRARY              120 W 14TH ST                                                                                                                NORTH VANCOUVER            BC           V7M 1N9         CANADA
LC_0470           North Vancouver City Public Library       120 West 14th Street                                                                                                         North Vancouver            BC           V7M 1N9         Canada
LC_0471           North Vancouver District Public Library   3045 Highland Blvd                                                                                                           North Vancouver            BC           V7J 0A2         Canada

30208372          NORTH VANCOUVER DISTRICT PUBLIC LIBRARY   300‐1277 LYNN VALLEY RD.                                                                                                     NORTH VANCOUVER            BC           V7J 042         CANADA

30208373          NORTH VANCOUVER DISTRICT PUBLIC LIBRARY   300‐1277 LYNN VALLEY ROAD                                                                                                    NORTH VANCOUVER            BC           V7J 0A2         CANADA
29961950          NORTH WALES WATER AUTHORITY               200 WEST WALNUT STREET                                                                                                       NORTH WALES                PA           19454
29937741          NORTH WALES WATER AUTHORITY               PO BOX 95000‐1138                                                                                                            PHILADELPHIA               PA           19195‐1138
30336948          Name on file                              Address on file
30211788          NORTHBROOK PUBLIC LIBRARY                 1201 CEDAR LANE                                                                                                              NORTHBROOK                 IL           60062

29961953          NORTHEAST OHIO REGIONAL SEWER DISTRICT    PO BOX 94550                                                                                                                 CLEVELAND                  OH           44101‐4550
30211789          NORTHERN ONONDAGA PUBLIC LIBRARY          8686 KNOWLEDGE LANE                                                                                                          CICERO                     NY           13039
29961958          NORTHERN ROSE HANOVER LP                  600 LORING AVENUE                                                                                                            SALEM                      MA           01970
30213603          NORTHERN ROSE HANOVER, L.P.               ATTN: ANDREW ROSE                         600 LORING AVENUE                                                                  SALEM                      MA           01970




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30292538          Northern Rose‐Hanover Limited Partnership          c/o Northern Rose Hanover L.P.      Attn: Andrew B. Rose                600 Loring Ave.                                   Salem                  MA           01970
29961960          NORTHERN SAFETY COMPANY INC                        PO BOX 4250                                                                                                               UTICA                  NY           13504

30281614          Northern States Power Co MN dba Xcel Energy        Attn: Customer Receivables          Po Box 59                                                                             Minneapolis            MN           55440

30281715          Northern States Power CO WI dba Xcel Energy        Attn: Customer Receivables          PO Box 59                                                                             Minneapolis            MN           55440
29961961          NORTHERN TECHNICAL GROUP LLC                       14500 INDUSTRIAL AVE N                                                                                                    MAPLE HEIGHTS          OH           44137
30211790          NORTHERN WATERS LIBRARY SERVICE                    3200 LAKESHORE DR E                                                                                                       ASHLAND                WI           54806
30208376          NORTHFIELD PUBLIC LIBRARY                          210 WASHINGTON STREET                                                                                                     NORTHFIELD             MN           55057
29937745          Name on file                                       Address on file
30211791          NORTHFIELD TOWNSHIP AREA LIBRARY                   125 BARKER RD                                                                                                             WHITMORE LAKE          MI           48189
                                                                                                         2002 RICHARD JONES ROAD, SUITE C‐
30213452          NORTHGATE RETAIL PARTNERS                          C/O BROOKSIDE PROPERTIES, INC.      200                                                                                   NASHVILLE              TN           37215
                  Northgate Retail Partners, successor in interest
30331508          to Northgate Limited Liability                     Brookside Properties, Inc.          c/o David Crabtree                  2002 Richard Jones Road       Suite C‐200         Nashville              TN           37215
30213300          NORTHGATE STATION, LP                              C/O AZOSE COMMERCIAL PROPERTIES     8451 SE 68TH STREET, SUITE 200                                                        MERCER ISLAND          WA           98040
29952775          NORTHLAND ALUMINUM PRODUCTS INC                    C/O NORDICWARE                      5005 COUNTY ROAD 25                                                                   MINNEAPOLIS            MN           55416
29952776          Name on file                                       Address on file
29952777          Name on file                                       Address on file
                                                                     C/O CBL & ASSOCIATES MANAGEMENT,    2030 HAMILTON PLACE
30213371          NORTHPARK MALL/JOPLIN, LLC                         INC.                                BOULEVARD, SUITE 500                                                                  CHATTANOOGA            TN           37421
30211429          NORTHPOINT TRADING INC                             347 5TH AVENUE                                                                                                            NEW YORK               NY           10016
30208377          NORTHPORT PUBLIC LIBRARY                           151 LAUREL AVENUE                                                                                                         NORTHPORT              NY           11768
30401521          Name on file                                       Address on file
29952780          NORTHSTAR LOGISTICS INC                            6801 AVE. 304                                                                                                             VISALIA                CA           93291
LC_0476           Northville District Library                        212 W Cady                                                                                                                Northville             MI           48167‐1560
30208379          NORTHVILLE DISTRICT LIBRARY                        212 WEST CADY ST.                                                                                                         NORTHVILLE             MI           48167
29952781          Name on file                                       Address on file
29952782          NORTHWAY MALL PROPERTIES LLC                       OLSHAN PROPERTIES, ATTN ACCT. REC   600 MADISON AVE., 14TH FLOOR                                                          NEW YORK               NY           10022
                                                                                                         600 MADISON AVENUE, 14TH
30210897          NORTHWAY MALL PROPERTIES SUB, LLC                  C/O OLSHAN PROPERTIES               FLOOR                                                                                 NEW YORK               NY           10022
                                                                                                                                             600 MADISON AVENUE, 14TH
29952783          NORTHWAY MALL PROPERTIES SUB, LLC                  C/O OLSHAN PROPERTIES               ATTN: TIM SMITH                     FLOOR                                             NEW YORK               NY           10022
29949777          NORTHWAY SHOPPING CENTER                           670 OLD MILL RD.                                                                                                          MILLERSVILLE           MD           21108‐1309
29952784          NORTHWAY SHOPPING CENTER                           PO BOX 304                                                                                                                EMERSON                NJ           07630
30211430          NORTHWEST PALLET SERVICES LLC                      PRIME360                            PO BOX 208372                                                                         DALLAS                 TX           75320‐8372
29952785          Name on file                                       Address on file
29952786          Name on file                                       Address on file
30223204          NORTHWEST TERRITORIES PUBLIC LIBRARY               75 WOODLAND DRIVE                                                                                                         HAY RIVER              NT           X0E 1G1         CANADA
30208386          NORTHWEST TERRITORIES PUBLIC LIBRARY               75 WOODLAND DRIVE                                                                                                         HAY RIVER              NT           X0E 0R3         CANADA

LC_0477           Northwest Territories Public Library Services      75 Woodland Dr                                                                                                            Hay River              NT           X0E 1G1         Canada
29937753          Name on file                                       Address on file
30337338          Name on file                                       Address on file
30208391          NORWALK PUBLIC LIBRARY                             1 BELDEN AVENUE                                                                                                           NORWALK                CT           06850
29937755          NORWICH PUBLIC UTILITIES                           PO BOX 1087                                                                                                               NORWICH                CT           06360‐1087
30211795          NORWOOD PUBLIC LIBRARY                             198 SUMMIT ST                                                                                                             NORWOOD                NJ           07648
30399891          Name on file                                       Address on file
30339263          Name on file                                       Address on file
29972777          Name on file                                       Address on file
29937760          Name on file                                       Address on file
29937761          Name on file                                       Address on file
30211603          NOTTINGHAM‐SPIRK PARTNERS, LLC                     2200 OVERLOOK ROAD                                                                                                        CLEVELAND              OH           44106
29961962          Name on file                                       Address on file
29961964          NOVA NEST SOLUTIONS LTD                            290 HILLCREST SQ SW                                                                                                       AIRDRIE                AB           T4B 4J2         CANADA
30416038          Name on file                                       Address on file
30338534          Name on file                                       Address on file
29961968          NOVAKS CONSTRUCTION INC                            40384 STATE RT 303                                                                                                        LAGRANGE               OH           44050
30278876          Novak's Construction Inc.                          40384 State Route 303                                                                                                     LaGrange               OH           44050
29961969          NOVAKS WAREHOUSE INC                               40384 STATE RT 303                                                                                                        LAGRANGE               OH           44050
29961973          NOVEC                                              LOMAND BUSINESS CENTER              10323 LOMOND DR                                                                       MANASSAS               VA           20109
29961972          NOVEC                                              PO BOX 34734                                                                                                              ALEXANDRIA             VA           22334‐0734




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29937763          NOVELTY INC                           351 W MUSKEGON DR                                                                                                            GREENFIELD                IN           46140
29937764          Name on file                          Address on file
30332213          Name on file                          Address on file
30211431          NOVITA OY                             TEHTAANKATU 27‐29                        11                                                                                  HELSINKI                               00150           FINLAND
30332667          Name on file                          Address on file
30213286          NOVUS‐CRESTWOOD SAMS, LLC             ATTN: MICHAEL KOCH                       20 ALLEN AVENUE, SUITE 400                                                          WEBSTER GROVES            MO           63119
30340801          Name on file                          Address on file
30274947          Name on file                          Address on file
29937769          NRG BUSINESS MARKETING/32179          PO BOX 32179                                                                                                                 NEW YORK                  NY           10087‐2179
30297644          NSTAR                                 PO BOX 270                                                                                                                   HARTFORD                  CT           06106
30353673          Name on file                          Address on file
29937774          Name on file                          Address on file

30193044          Nueces County                         Linebarger Goggan Blair & Sampson, LLP   c/o Diane W. Sanders               P.O. Box 17428                                   Austin                    TX           78760
29949211          NUECES COUNTY ASSESSOR                COLLECTOR OF TAXES                       PO BOX 2810                                                                         CORPUS CHRISTI            TX           78403‐2810
30347109          Name on file                          Address on file
30345554          Name on file                          Address on file
30354903          Name on file                          Address on file
29937775          NUREDDIN ALDWEIK                      Address on file
30357775          Name on file                          Address on file
30208397          NUTLEY FREE PUBLIC LIBRARY            93 BOOTH DRIVE                                                                                                               NUTLEY                    NJ           07110
29937777          NUTMEG INDUSTRIES INC                 ROLL‐A‐SHADE                             12101 MADERA WAY                                                                    RIVERSIDE                 CA           92503
29972791          Name on file                          Address on file
29949576          NUVEEN CORPORATE ARBITRAGE AND        555 CALIFORNIA STREET                    SUITE 3100                                                                          SAN FRANCISCO             CA           94104
29949577          NUVEEN CREDIT STRATEGIES INCOME       555 CALIFORNIA STREET                    SUITE 3100                                                                          SAN FRANCISCO             CA           94104
29949578          NUVEEN FLOATING RATE INCOME FUND      555 CALIFORNIA STREET                    SUITE 3100                                                                          SAN FRANCISCO             CA           94104
29949579          NUVEEN FLOATING RATE INCOME FUND, A   555 CALIFORNIA STREET                    SUITE 3100                                                                          SAN FRANCISCO             CA           94104
29949580          NUVEEN MULTI‐ASSET INCOME FUND        555 CALIFORNIA STREET                    SUITE 3100                                                                          SAN FRANCISCO             CA           94104
29949581          NUVEEN SENIOR LOAN FUND LP            555 CALIFORNIA STREET                    SUITE 3100                                                                          SAN FRANCISCO             CA           94104
29937778          NV ENERGY/30073 NORTH NEVADA          PO BOX 30073                                                                                                                 RENO                      NV           89520‐3073
29937780          NV ENERGY/30150 SOUTH NEVADA          PO BOX 30150                                                                                                                 RENO                      NV           89520‐3150
29937782          NV‐JAC‐SUT                            PO BOX 98596                                                                                                                 LAS VEGAS                 NV           89193‐8596
29937783          NV‐JAS‐SUT                            PO BOX 52609                                                                                                                 PHOENIX                   AZ           85072‐2609
30213517          NVR INVESTMENTS, LLC                  ATTN: ROBERT CHESSON, MANAGER            11201 PATTERSON AVENUE                                                              RICHMOND                  VA           23238
29937786          NW NATURAL                            PO BOX 6017                                                                                                                  PORTLAND                  OR           97228‐6017
29937788          NW PLAZA ASSOCIATES 1 LLC             31800 NW HIGHWAY 310                                                                                                         FARMINGTON HILLS          MI           48334
29937789          NW PLAZA MUNCIE LLC                   ATTN: TODD METZMEIER                     9850 VON ALLMEN CT., #202                                                           LOUISVILLE                KY           40241
30213623          NW PLAZA MUNCIE, LLC                  9850 VON ALLMEN COURT, SUITE 202         ATTN: TODD METZMEIER                                                                LOUISVILLE                KY           40241
29937803          NY‐COM‐SALES TAX PROMPTAX             PO BOX 15172                                                                                                                 ALBANY                    NY           12212‐5172
30397497          Name on file                          Address on file
30414578          Name on file                          Address on file
30353705          Name on file                          Address on file
29937810          NY‐JAS‐SALES TAX ST                   PO BOX 1506                                                                                                                  NEW YORK                  NY           10008‐1506
29951767          NYLA WILSON                           Address on file
29951772          NYS SALES TAX PROCESSING              PO BOX 15174                                                                                                                 ALBANY                    NY           12212‐5174
30292443          NYSEG                                 18 Link Dr                                                                                                                   Binghamton                NY           13904
29951775          NYSEG‐NEW YORK STATE ELECTRIC & GAS   PO BOX 847812                                                                                                                BOSTON                    MA           02284‐7812
30208398          NYSSA PUBLIC LIBRARY                  319 MAIN STREET                                                                                                              NYSSA                     OR           97913
29937818          O.C.W.R.C. ‐ WATER RESOURCES COMM     1200 NORTH TELEGRAPH ROAD                                                                                                    PONTIAC                   MI           48341
29937817          O.C.W.R.C. ‐ WATER RESOURCES COMM     ONE PUBLIC WORKS DRIVE                                                                                                       WATERFORD                 MI           48328‐1907
30394556          Name on file                          Address on file
30356491          Name on file                          Address on file
30414336          Name on file                          Address on file
30259183          Name on file                          Address on file
30394745          Name on file                          Address on file
30394554          Name on file                          Address on file
29937819          OAK HARBOR FREIGHT LINES INC          PO BOX 1469                                                                                                                  AUBURN                    WA           98071
LC_0481           Oak Lawn Public Library               9427 Raymond Ave                                                                                                             Oak Lawn                  IL           60453‐2466
30211797          OAK LAWN PUBLIC LIBRARY               9427 S RAYMOND AVE                                                                                                           OAK LAWN                  IL           60453
30211803          OAK PARK PUBLIC LIBRARY               834 LAKE STREET                                                                                                              OAK PARK                  IL           60301
29937823          OAK VALLEY CENTRE LLC                 6735 TELEGRAPH RD, STE 110                                                                                                   BLOOMFIELD HILLS          MI           48301‐3143
                                                        C/O OAK VALLEY MANAGEMENT
30213124          OAK VALLEY CENTRE, LLC                COMPANY                                  6735 TELEGRAPH ROAD, SUITE 110                                                      BLOOMFIELD                MI           48301‐3141




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  ADDRESS ID                           NAME                               ADDRESS 1                   ADDRESS 2                        ADDRESS 3                 ADDRESS 4                  CITY              STATE      POSTAL CODE        COUNTRY
30349662          Name on file                          Address on file
30351824          Name on file                          Address on file
                  OAKLAND COUNTY, MI COUNTY CONSUMER
30207944          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 1200 N. TELEGRAPH ROAD                                                            PONTIAC                     MI           48341
30211807          OAKLAND PUBLIC LIBRARY                125 14TH ST                                                                                                          OAKLAND                     CA           94612
29972767          Name on file                          Address on file
30208406          OAKVILLE PUBLIC LIBRARY               120 NAVY STREET                                                                                                      OAKVILLE                    ON           L6J 2Z4          CANADA
30332348          Name on file                          Address on file
30395178          Name on file                          Address on file
30397293          Name on file                          Address on file
30208407          OBERLIN PUBLIC LIBRARY                65 S. MAIN ST.                                                                                                       OBERLIN                     OH           44074
30414786          Name on file                          Address on file
30399625          Name on file                          Address on file
30344322          Name on file                          Address on file
30340907          Name on file                          Address on file
30336889          Name on file                          Address on file
30339963          Name on file                          Address on file
30385775          Name on file                          Address on file
29917065          OCCUPATIONAL TAX ADMINISTRATOR        P.O. BOX 1008                                                                                                        OWENSBORO                   KY           42302‐9008
30211811          OCEAN COUNTY LIBRARY                  101 WASHINGTON STREET                                                                                                TOMS RIVER                  NJ           08753
                  OCEAN COUNTY, NJ COUNTY CONSUMER
30207945          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION   101 HOOPER AVENUE                                                               TOMS RIVER                  NJ           08753
29917068          OCEAN NETWORK EXPRESS PTE LTD         452 FIFTH AVE                                                                                                        NEW YORK                    NY           10018
29917069          Name on file                          Address on file
30395835          Name on file                          Address on file
30351204          Name on file                          Address on file
29916850          OCHOA, DEEISY                         Address on file
30396268          Name on file                          Address on file
30414586          Name on file                          Address on file
30285528          Name on file                          Address on file
30358310          Name on file                          Address on file
30332241          Name on file                          Address on file
30353887          Name on file                          Address on file
29972792          Name on file                          Address on file
29949582          OCTAGON 52, LTD.                      250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949583          OCTAGON 53, LTD.                      250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949584          OCTAGON 54, LTD.                      250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949585          OCTAGON 55, LTD.                      250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949586          OCTAGON 56, LTD.                      250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949587          OCTAGON 58, LTD.                      250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949588          OCTAGON 64, LTD.                      250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29953856          OCTAGON CREDIT INVESTORS LLC          250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
                  OCTAGON CREDIT OPPORTUNITIES MASTER
29949589          FUND LP                               SOUTH CHURCH STREET                  UGLAND HOUSE                   P. O. BOX 309                                    GEORGE TOWN, GRAND CAYMAN                KY1‐1104         CAYMAN ISLANDS

29949590          OCTAGON HIGH INCOME MASTER FUND LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949591          OCTAGON INVESTMENT PARTNERS 18‐R,     250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949592          OCTAGON INVESTMENT PARTNERS 20‐R,     250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949593          OCTAGON INVESTMENT PARTNERS 26, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949594          OCTAGON INVESTMENT PARTNERS 27, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949595          OCTAGON INVESTMENT PARTNERS 28, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949596          OCTAGON INVESTMENT PARTNERS 29 LTD.   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949597          OCTAGON INVESTMENT PARTNERS 30 LTD.   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949598          OCTAGON INVESTMENT PARTNERS 31, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949599          OCTAGON INVESTMENT PARTNERS 32, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949600          OCTAGON INVESTMENT PARTNERS 33, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949601          OCTAGON INVESTMENT PARTNERS 34, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949602          OCTAGON INVESTMENT PARTNERS 35, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949603          OCTAGON INVESTMENT PARTNERS 36, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949604          OCTAGON INVESTMENT PARTNERS 37, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949605          OCTAGON INVESTMENT PARTNERS 38, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949606          OCTAGON INVESTMENT PARTNERS 39, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177
29949607          OCTAGON INVESTMENT PARTNERS 40, LTD   250 PARK AVENUE                      15TH FLOOR                                                                      NEW YORK                    NY           10177




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  ADDRESS ID                              NAME                                 ADDRESS 1                           ADDRESS 2                           ADDRESS 3               ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
29949608          OCTAGON INVESTMENT PARTNERS 41, LTD            250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29949609          OCTAGON INVESTMENT PARTNERS 42, LTD            250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29949610          OCTAGON INVESTMENT PARTNERS 43, LTD            250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29949611          OCTAGON INVESTMENT PARTNERS 44, LTD            250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29949612          OCTAGON INVESTMENT PARTNERS 45, LTD            250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29949613          OCTAGON INVESTMENT PARTNERS 46, LTD            250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29949614          OCTAGON INVESTMENT PARTNERS 47, LTD            250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29949615          OCTAGON INVESTMENT PARTNERS 48, LTD            250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29949616          OCTAGON INVESTMENT PARTNERS 49, LTD            250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29949617          OCTAGON INVESTMENT PARTNERS 50, LTD            250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29949618          OCTAGON INVESTMENT PARTNERS XIV,               250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29949619          OCTAGON INVESTMENT PARTNERS XV, LTD            250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29953367          OCTAGON INVESTMENT PARTNERS XVI,               250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29953368          OCTAGON INVESTMENT PARTNERS XVII,              250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29953369          OCTAGON INVESTMENT PARTNERS XXI,               250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29953370          OCTAGON INVESTMENT PARTNERS XXII,              250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29953371          OCTAGON LOAN FUNDING, LTD.                     250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
29953372          OCTAGON SENIOR SECURED CREDIT                  250 PARK AVENUE                       15TH FLOOR                                                                          NEW YORK               NY           10177
30211813          OCTAVIA FELLIN PUBLIC LIBRARY                  115 WEST HILL AVE                                                                                                         GALLUP                 NM           87301
30208408          OCTAVIA FELLIN PUBLIC LIBRARY                  30 115 W HILL AVE                                                                                                         GALLUP                 NM           87301
29937836          Name on file                                   Address on file
30395857          Name on file                                   Address on file
30351551          Name on file                                   Address on file
30334295          Name on file                                   Address on file
30399712          Name on file                                   Address on file

29951795          ODP BUSINESS SOLUTIONS LLC                     F/K/A OFFICE DEPOT BUS SOLUTIONS LL   PO BOX 633301                                                                       CINCINNATI             OH           45263‐3201
29951796          Name on file                                   Address on file
29951797          OEC‐OKLAHOMA ELECTRIC COOPERATIVE              PO BOX 5481                                                                                                               NORMAN                 OK           73070
30338054          Name on file                                   Address on file
30394672          Name on file                                   Address on file
29951799          Name on file                                   Address on file
LC_0487           O'Fallon Public Library                        120 Civic Plaza                                                                                                           O`Fallon               IL           62269‐2692
30211815          O'FALLON PUBLIC LIBRARY                        120 CIVIC PLAZA                                                                                                           O'FALLON               IL           62269
                                                                 ATTN: MICHAEL P PAWLOWSKI,
30193097          Off Duty Security Inc                          PRESIDENT                             24240 LAKE SHORE DRIVE                                                              MANHATTAN              IL           42071

30262281          Off Duty, Inc.                                 Joseph K. Nichele                     Attorney/Broida and Nichele, Ltd.   1250 E. Diehl Rd.                               Naperville             IL           60563
29951802          OFF THE WALL CO LLC                            4814 BETHLEHEM PIKE                                                                                                       TELFORD                PA           18969
30347855          Name on file                                   Address on file
30348653          Name on file                                   Address on file
30401024          Name on file                                   Address on file
29937839          OFFICE OF ENVIRONMENTAL HEALTH HAZA‐           1001 I STREET                                                                                                             SACRAMENTO             CA           95814
29937840          OFFICE OF TAX COLLECTOR                        PO BOX 3025                                                                                                               MILFORD                CT           06460‐0825
29937841          OFFICE OF THE FAYETTE COUNTY SHERIF            PO BOX 34148                                                                                                              LEXINGTON              KY           40588‐4148

29937842          OFFICE OF THE INDIANA ATTORNEY GENERAL         DIVISION OF UNCLAIMED PROPERTY        35 SOUTH PARK BLVD                                                                  GREENWOOD              IN           46143
29949401          OFFICE OF THE STATE TREASURER                  UNCLAIMED PROPERTY DIVISION           500 E. CAPITOL AVE. #212                                                            PIERRE                 SD           57501
29949402          OFFICE OF THE STATE TREASURER                  UNCLAIMED PROPERTY DIVISION           501 N. WEST ST., STE 1101A                                                          JACKSON                MS           39201
29937843          OFFICE OF WEIGHTS AND MEASURES                 PO BOX 490                                                                                                                AVENEL                 NJ           07001
30211433          OFFICE1                                        720 SOUTH 4TH STREET                                                                                                      LAS VEGAS              NV           89101

29937845          OG&E ‐OKLAHOMA GAS & ELECTRIC SERVICE     P.O. BOX 24990                                                                                                                 OKLAHOMA CITY          OK           73124‐0990
30332119          Name on file                              Address on file
30350955          Name on file                              Address on file
30344387          Name on file                              Address on file
30394698          Name on file                              Address on file
                  OGLETREE, DEAKINS, NASH, SMOAK & STEWART,
30184162          P.C.                                      127 PUBLIC SQUARE, SUITE 4100                                                                                                  CLEVELAND              OH           44114

29972657          Ogletree, Deakins, Nash, Smoak, & Stewart. P.C Christina McDaniel                    50 International Drive Suite 300                                                    Greenville             SC           29615
30398200          Name on file                                   Address on file




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                  OH DEPT OF AGRICULTURE ‐ DIV OF FOOD
29937849          SAFETY                                 8995 E MAIN ST                                                                                                          REYNOLDSBURG           OH           43068
30292615          OH Waterville LLC                      c/o The Gordon Law Firm LLP        Attn: Stephen F. Gordon, Esq.     57 River Street, Suite 200                         Wellesley              MA           02481
30334908          Name on file                           Address on file
30332225          Name on file                           Address on file
29937851          OH‐BUG‐SALES TAX                       30 E. BROAD STREET                                                                                                      COLUMBUS               OH           43215
29937852          OH‐CAT 09601                           30 EAST BROAD STREET                                                                                                    COLUMBUS               OH           43266‐0421
29937853          OHIO BALER COMPANY INC                 DBA OBC INDUSTRIAL                 11288 ALAMEDA DR                                                                     STRONGSVILLE           OH           44149
29937854          OHIO BUREAU OF WORKER'S COMP           PO BOX 89492                                                                                                            CLEVELAND              OH           44101‐6492
30260234          Ohio Bureau of Workers’ Compensation   Attn: Erin M. Dooley               30 W Spring St                    26th Floor                                         Columbus               OH           43215
30258538          Ohio Bureau of Workers’ Compensation   Erin M. Dooley                     BWC Attorney                      30 W Spring St                 26th Floor          Columbus               OH           43215
                                                                                            77 SOUTH HIGH STREET, 23RD
29949403          OHIO DEPARTMENT OF COMMERCE            UNCLAIMED PROPERTY DIVISION        FLOOR                                                                                COLUMBUS               OH           43215‐6130
30286607          Ohio Department of Taxation            Ohio Attorney General's Office     30 E. Broad Street                14th Floor                                         Columbus               OH           43215
29937855          OHIO DEPARTMENT OF TAXATION            P.O. BOX 16158                                                                                                          COLUMBUS               OH           43216‐6158
30286606          Ohio Department of Taxation            P.O. Box 530                                                                                                            Columbus               OH           43216
29937856          OHIO DEPARTMENT OF TAXATION            PO BOX 530                                                                                                              COLUMBUS               OH           43216‐0530
29937857          OHIO DEPT OF TAXATION                  PO BOX 16560                                                                                                            COLUMBUS               OH           43216‐6560
                  OHIO ENVIRONMENTAL PROTECTION AGENCY
30223205          (OHIO EPA)                             50 WEST TOWN STREET                SUITE 700                         PO BOX 1049                                        COLUMBUS               OH           43216‐1049
29937859          OHIO GAS COMPANY                       PO BOX 49370                                                                                                            SAN JOSE               CA           95161‐9370
29937861          OHIO MACHINERY CO.                     DBA OHIO CAT                       PO 774439 4439 SOLUTIONS CTR                                                         CHICAGO                IL           60677‐4004
29937862          OHIO VALLEY MALL CO.                   PO BOX 7535                                                                                                             CAROL STREAM           IL           60197‐7535

30213489          OHIO VALLEY MALL COMPANY               C/O CAFARO COMPANY                 5577 YOUNGSTOWN‐WARREN RD.                                                           NILES                  OH           44446
29937864          OH‐JAC‐SALES TAX                       30 E BROAD STREET                                                                                                       COLUMBUS               OH           43215‐3461
29937865          OH‐JAS‐SALES TAX 04200                 30 EAST BROAD ST                                                                                                        COLUMBUS               OH           43266‐0421
29937866          OH‐JAS‐USE TAX 04500                   30 EAST BROAD ST                                                                                                        COLUMBUS               OH           43266‐0421
30335450          Name on file                           Address on file
LC_0488           Ohrstrom Library, St. Paul's School    325 Pleasant Street                                                                                                     Concord                NH           03301
30208409          OHRSTROM LIBRARY, ST. PAUL'S SCHOOL    66 RECTORY RD.                                                                                                          CONCORD                NH           03301
29937869          OKALOOSA COUNTY TAX COLLECTOR          151‐C NORTH EGLIN PARKWAY                                                                                               FORT WALTON BEACH      FL           32548
                  OKALOOSA COUNTY, FL COUNTY CONSUMER
30207946          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 302 N WILSON ST                   STE 302                                            CRESTVIEW              FL           32536
29937870          OKALOOSA GAS DISTRICT, FL              P.O. BOX 548                                                                                                            VALPARAISO             FL           32580‐0548
29961974          OK‐JAC‐SALES‐04200                     P.O. BOX 269060 SALES TAX                                                                                               OKLAHOMA CITY          OK           73126‐9060
29961975          OK‐JAS‐SALES 04200                     2501 LINCOLN BLVD                                                                                                       OKLAHOMA CITY          OK           73194
30192612          Oklahoma County Treasurer              320 Robert S. Kerr                 Rm 307                                                                               Oklahoma City          OK           73102
29961976          OKLAHOMA COUNTY TREASURER              PO BOX 268875                                                                                                           OKLAHOMA CITY          OK           73126‐8875
30401166          Oklahoma Natural Gas                   Attn: Kristen Nicole Johnson       15 E 5th St                                                                          Tulsa                  OK           74103
30401003          Oklahoma Natural Gas                   PO Box 401                                                                                                              Oklahoma City          OK           73101

29961977          OKLAHOMA NATURAL GAS CO: KANSAS CITY   PO BOX 219296                                                                                                           KANSAS CITY            MO           64121‐9296
29961979          OKLAHOMA SECRETARY OF STATE            421 NW 13TH ST STE 210                                                                                                  OKLAHOMA CITY          OK           73103
29961980          OKLAHOMA TAX COMM 26850                OK SALES TAX                       PO BOX 26850                                                                         OKLAHOMA CITY          OK           73126
29961981          OKLAHOMA TAX COMMISSION                300 N BROADWAY AVE                                                                                                      OKLAHOMA CITY          OK           73194
29950461          OKLAHOMA TAX COMMISSION                BUSINESS TAX DIVISION              PO BOX 26920                                                                         OKLAHOMA CITY          OK           73126‐0920

29961982          OKLAHOMA TAX COMMISSION                CONNORS BUILDING                 2501 NORTH LINCOLN BOULEVARD                                                           OKLAHOMA CITY          OK           73194
                                                         STATE OF OKLAHOMA‐UNCLAIMED PROP
29949405          OKLAHOMA TAX COMMISSION                SE                               PO BOX 53545                                                                           OKLAHOMA CITY          OK           73152
30401837          Name on file                           Address on file
29937872          OK‐SSC‐CORP INC TAX                    300 N. BROADWAY AVE.                                                                                                    OKLAHOMA CITY          OK           73194
30354371          Name on file                           Address on file
30348525          Name on file                           Address on file
30211817          OLD BRIDGE PUBLIC LIBRARY              1 OLD BRIDGE PLAZA                                                                                                      OLD BRIDGE             NJ           08857
29937884          OLD DOMINION FREIGHT LINE INC          14933 COLLECTION CENTER DRIVE                                                                                           CHICAGO                IL           60693
30208413          OLD FORGE LIBRARY                      220 CROSBY BOULEVARD                                                                                                    OLD FORGE              NY           13420
30211818          OLD TAPPAN PUBLIC LIBRARY              56 RUSSELL AVE                                                                                                          OLD TAPPAN             NJ           07675
29937887          Name on file                           Address on file
30384952          Name on file                           Address on file
29937891          Name on file                           Address on file
30353575          Name on file                           Address on file




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29973837          OLFA U.S.A. Inc.                      Dept. CH 14502                                                                                                          Palatine                  IL           60055
29937901          OLHA DMYTRIIEVA                       Address on file
30211820          OLIVE FREE LIBRARY                    4033 ROUTE 28A                                                                                                          WEST SHOKAN               NY           12494
29937919          Name on file                          Address on file
29937920          Name on file                          Address on file
30396337          Name on file                          Address on file
30335614          Name on file                          Address on file
30332398          Name on file                          Address on file
30337854          Name on file                          Address on file
29937921          Name on file                          Address on file
29937929          OLIVIA BROWN                          Address on file
29937958          OLIVIA EDWARDS                        Address on file
30211434          OLIVIA RESING                         Address on file
29938047          OLIVIA RZUCDLO                        Address on file
30212976          OLIVIER DE RIDDER                     Address on file
29972751          Name on file                          Address on file
30395793          Name on file                          Address on file
30397451          Name on file                          Address on file
30340203          Name on file                          Address on file
30394574          Name on file                          Address on file
30395162          Name on file                          Address on file
30385204          Name on file                          Address on file
30401523          Name on file                          Address on file
30397574          Name on file                          Address on file
30394432          Name on file                          Address on file
29938086          OLYMPIA CITY TREASURER                PO BOX 2009                                                                                                             OLYMPIA                   WA           98507‐2009

29938087          OMAHA FALSE ALARM REDUCTION PROGRAM   PO BOX 30205                                                                                                            OMAHA                     NE           68103‐1305
29938088          OMAHA PUBLIC POWER DISTRICT           PO BOX 3995                                                                                                             OMAHA                     NE           68103‐0995
30350078          Name on file                          Address on file
29938096          OMEGA BENEFITS INC                    3451 VIA MONTEBELLO #192‐312                                                                                            CARLSBAD                  CA           92009
30213321          OMEGA SONORA LLC                      FOWLER & HATCH PROPERTIES            P.O. BOX 576469                                                                    MODESTO                   CA           95357
30341210          Omni Systems Inc                      701 Beta Drive                       Suite 9                                                                            Mayfield Village          OH           44143
30211435          OMNISOLV INC                          PO BOX 105328                                                                                                           ATLANTA                   GA           30348‐5328
29938101          Name on file                          Address on file
29938102          ON OUR SLEEVES                        PO BOX 16810                                                                                                            COLUMBUS                  OH           43216‐6810
29938105          Name on file                          Address on file
29962011          ONE OAK INVESTMENTS LLC               1685 H STREET, UNIT 205                                                                                                 BLAINE                    WA           98230
30213499          ONE OAK INVESTMENTS, LLC              1685 H STREET, UNIT 205              ATTN: AMANDEEP MANGAT                                                              BLAINE                    WA           98230
29962013          Name on file                          Address on file
29962014          ONEIDA COUNTY                         COMMISSIONER OF FINANCE              800 PARK AVENUE                                                                    UTICA                     NY           13501
29950464          ONEIDA COUNTY DEPT OF FINANCE         COMMISSIONER OF FINANCE              800 PARK AVENUE                                                                    UTICA                     NY           13501
30395188          Name on file                          Address on file
30353317          Name on file                          Address on file
30396767          Name on file                          Address on file
30397317          Name on file                          Address on file
30354731          Name on file                          Address on file
29962016          ONETO PACKING                         NATURALLY NUTS                       1830 W. CALDWELL AVE, STE. G                                                       VISALIA                   CA           93277
30340753          Name on file                          Address on file
30353998          Name on file                          Address on file
                  ONONDAGA COUNTY WATER AUTHORITY
29938109          (OCWA)                                200 NORTHERN CONCOURSE                                                                                                  SYRACUSE                  NY           13212
                  ONONDAGA COUNTY WATER AUTHORITY
29938108          (OCWA)                                PO BOX 4949                                                                                                             SYRACUSE                  NY           13221‐4949
                  ONONDAGA COUNTY, NY COUNTY CONSUMER
30207947          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 421 MONTGOMERY ST                                                                    SYRACUSE                  NY           13202
                  ONTARIO COUNTY, NY COUNTY CONSUMER
30207948          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION   20 ONTARIO ST                                                                      CANANDAIGUA               NY           14424
29938111          ONTARIO GATEWAY SJT RET XIX LLC       C/O ATHENA MGMT INC                  730 EL CAMINO WAY, #200                                                            TUSTIN                    CA           92780
29953373          ONTARIO TEACHERS PENSION PLAN         160 FRONT STREET WEST                SUITE 3200                                                                         TORONTO                   ON           M5J 0G4         CANADA
29938112          ONTEL PRODUCTS CORP                   21 LAW DRIVE                                                                                                            FAIRFIELD                 NJ           07004
30333667          OOCL (USA) Inc.                       Metro Group Maritime                 Bryan D. Press                   49 W. Mt. Pleasant Ave.        Box #2371          Livingston                NJ           07039
30211436          OOLY LLC                              5607 Palmer Way                                                                                                         Carlsbad                  CA           92010




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29938115          OOS LLC                                1460 DUNCAN WAY                                                                                                         STREETSBORO                OH           44241
29938116          OP CRIMSON LLC                         17 ELM ST                                                                                                               MORRISTOWN                 NJ           07960
29951370          OPELIKA HOSPITALITY GROUP INC          DBA COMFORT INN                      811 FOXRUN PARKWAY                                                                 OPELIKA                    AL           36801
29951372          OPELIKA UTILITIES                      4055 WATER STREET                                                                                                       OPELIKA                    AL           36801
29951371          OPELIKA UTILITIES                      P.O. BOX 2587                                                                                                           OPELIKA                    AL           36803‐2587

29951373          OPEN ROAD BRANDS LLC                   C/O DONGGUAN XIANGYU HARDWARE        BUILDING 1, #3 PRIVATE 1ST ST.   GUANGDONG                                         DONGQUAN CITY                           523321          CHINA
29951374          OPEN ROAD BRANDS LLC                   1425 E DOUGLAS AVE                                                                                                      WICHITA                    KS           67211
29951375          OPEN TEXT INC                          C/O JP MORGAN LOCKBOX                24685 NETWORK PLACE                                                                CHICAGO                    IL           60673‐1246
29951379          OPINIONS LTD                           31 SOUTH FRANKLIN ST.                                                                                                   CHAGRIN FALLS              OH           44022
29953374          OPPENHEIMER                            85 BROAD ST                                                                                                             NEW YORK                   NY           10004
30333337          Name on file                           Address on file
30223209          OPTIMUM BUYING LTD                     1 BIS AVENUE AIME AUBERVILLE                                                                                            CHELLES, SEINE‐ET‐MARNE'                77500           FRANCE
30210617          OPTIMUM BUYING LTD.                    AVE AIME AUBERVILLE                                                                                                     CHELLES                                                 FRANCE
29951380          Name on file                           Address on file
29953375          OPY CREDIT CORP.                       85 BROAD STREET                                                                                                         NEW YORK                   NY           10004
29938118          OR ‐ CONS ‐ CAT ‐ 02001 ‐ Q2 EST       OREGON DEPT OF REVENUE               955 CENTER ST NE                                                                   SALEM                      OR           97301‐2555
29938119          OR ‐ CONS ‐ CAT ‐ 02001 ‐ Q4 EST       OREGON DEPT OF REVENUE               955 CENTER ST NE                                                                   SALEM                      OR           97301‐2555
29938120          OR ‐ CONS ‐ CORP 20002 Q2              OREGON DEPT. OF REVENUE              OREGON DEPT OF REVENUE           955 CENTER ST NE                                  SALEM                      OR           97301‐2555
29938122          ORACLE AMERICA INC                     P O BOX 203448                                                                                                          DALLAS                     TX           75320‐3448
29938124          ORANGE AND ROCKLAND UTILITIES (O&R)    PO BOX 1005                                                                                                             SPRING VALLEY              NY           10977‐0800
30211821          ORANGE CITY PUBLIC LIBRARY             112 ALBANY AVE                                                                                                          ORANGE CITY                IA           51041
29949214          ORANGE COUNTY COMMISSIONER             4 GLENMERE COVE RD                                                                                                      GOSHEN                     NY           10924

29938127          ORANGE COUNTY COMMISSIONER OF FINANCE 4 GLENMERE COVE RD                                                                                                       GOSHEN                     NY           10924
29950693          ORANGE COUNTY FIRE RESCUE             ATTN FINANCE                          PO BOX 5879                                                                        WINTER PARK                FL           32793
29950694          Name on file                          Address on file
29950695          ORANGE COUNTY TAX COLLECTOR           PO BOX 1982                                                                                                              SANTA ANA                  CA           92702
29950696          ORANGE COUNTY TAX COLLECTOR           PO BOX 545100                                                                                                            ORLANDO                    FL           32854‐5100
29950697          ORANGE COUNTY TREASURER               TAX COLLECTOR                         PO BOX 1438                                                                        SANTA ANA                  CA           92702‐1438
                  ORANGE COUNTY, FL COUNTY CONSUMER
30207949          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION    415 N ORANGE AVE                                                                   ORLANDO                    FL           32801
                  ORANGE COUNTY, NY COUNTY CONSUMER
30207950          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION    4 GLENMERE COVE RD               ROOM 39                                           GOSHEN                     NY           10924
                  ORANGE COUNTY, CA COUNTY CONSUMER
30207951          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION    CONSUMER PROTECTION UNIT         401 CIVIC CENTER DR W          PO BOX 808         SANTA ANA                  CA           92701
30211822          ORANGEBURG LIBRARY                    20 S GREENBUSH RD                                                                                                        ORANGEBURG                 NY           10962
29950699          ORBIS CORPORATION                     PO BOX 856447                                                                                                            MINNEAPOLIS                MN           55485‐6447
29972788          Name on file                          Address on file
29953376          ORCHARD YARN THREAD COMPANY INC.      125 CHUBB                             LION BRAND ‐ 300S                                                                  LYNDHURST                  NJ           07071

30213249          ORCHARDS MARKET CENTER LLC             C/O CBRE PROPERTY MANAGMENT          1300 SW 5TH AVENUE, SUITE 3500                                                     PORTLAND                   OR           97201

29950702          ORCHARDS MARKET CENTER LLC             C/O CBRE, INC ATTN: MELANIE REASON   6070 POPLAR AVE., SUITE 500                                                        MEMPHIS                    TN           38119
29950703          Name on file                           Address on file
29950704          OREGON CITY FALSE ALARMS               PO BOX 6112                                                                                                             CONCORD                    CA           94524
LC_0490           Oregon City Public Library             606 John Adams                                                                                                          Oregon City                OR           97045‐2348
30211825          OREGON CITY PUBLIC LIBRARY             606 JOHN ADAMS STREET                                                                                                   OREGON CITY                OR           97045
29938131          OREGON DEPARTMENT OF REVENUE           955 CENTER ST NE                                                                                                        SALEM                      OR           97301‐2555
29949220          OREGON DEPARTMENT OF REVENUE           955 CENTER ST NE                                                                                                        SALEM                      OR           97301‐2555
29938129          OREGON DEPARTMENT OF REVENUE           PO BOX 14777                                                                                                            SALEM                      OR           97309‐0960
29938130          OREGON DEPARTMENT OF REVENUE           PO BOX 14950                                                                                                            SALEM                      OR           97309‐0950
29938132          OREGON DEPT OF AGRICULTURE             PO BOX 4395 UNIT 16                                                                                                     PORTLAND                   OR           97208‐4395
29938133          OREGON DEPT OF REVENUE                 PO BOX 14725                                                                                                            SALEM                      OR           97309‐5018
29938134          OREGON DEPT. OF REVENUE                OREGON DEPT. OF REVENUE              955 CENTER ST NE                                                                   SALEM                      OR           97301
LC_0491           Oregon Public Library                  256 Brook St.                                                                                                           Oregon                     WI           53575‐1452
30208416          OREGON PUBLIC LIBRARY                  200 N ALPINE PKWY                                                                                                       OREGON                     WI           53575‐3115
                                                         900 COURT STREET NE. CAPITOL ROOM
29938136          OREGON SECRETARY OF STATE              136.                                                                                                                    SALEM                      OR           97301
29949406          OREGON STATE TREASURY                  UNCLAIMED PROPERTY PROGRAM           867 HAWTHORNE AVE SE                                                               SALEM                      OR           97301‐5241
30211826          OREGON TRAIL LIBRARY DISTRICT          200 S MAIN ST                                                                                                           BOARDMAN                   OR           97818
30208418          OREGON TRAIL LIBRARY DISTRICT          PO BOX 849                                                                                                              BOARDMAN                   OR           97818
30213123          OREM FAMILY CENTER, LLC                5670 WILSHIRE BLVD., SUITE 1250                                                                                         LOS ANGELES                AZ           90036




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30396963          ORF VII Felch Street, LLC               5865 North Point Pkwy                 Suite 350                                                                        Alpharetta                 GA           30022
                                                          C/O PINACLE LEASING & MANAGEMENT,     11770 HAYNES BRIDGE RD., SUITE
30213585          ORF VII FELCH STREET, LLC               LLC                                   205 ‐ 542                                                                        ALPHARETTA                 GA           30009
                                                                                                ATTN: PARTH MUNSHI, GENERAL
30213459          ORF VIII LAKELAND PLAZA, LLC            11770 HAYNES BRIDGE RD.               COUNSEL                                                                          ALPHARETTA                 GA           30009
30396969          ORF VIII Lakeland Plaza, LLC            5865 North Point Pkwy                 Suite 350                                                                        Alpharetta                 GA           30022

29949766          ORF X WATERSIDE LLC                     C/O REGISTERED AGENTS INC.            2222 W. GRAND RIVER AVE. SUITE A                                                 OKEMOS                     MI           48864
29938146          ORF X WATERSIDE LLC                     PO BOX 785141                                                                                                          PHILADELPHIA               PA           19178‐5141
                                                          C/O PINNACLE LEASING AND              11770 HAYNES BRIDGE RD., STE 205‐
30213457          ORF X WATERSIDE, LLC                    MANAGEMENT, INC.                      542                                                                              ALPHARETTA                 GA           30009
30396967          ORF X Waterside, LLC                    Parth S. Munshi                       5865 North Point Pkwy             Suite 350                                      Alpharetta                 GA           30022
                                                          ATTN: RICKY CHEUNG, CHIEF EXECUTIVE   RM B2, 5F SING MEI INDUSTRIAL
29904939          ORIENTAL CRAFT IND CO LTD               OFFICER                               BUILD                             27‐29 KWAI WING ROAD                           KWAI CHUNG, HONG KONG                                   HONG KONG
30357072          Name on file                            Address on file
30211827          ORION TOWNSHIP PUBLIC LIBRARY           825 JOSLYN ROAD                                                                                                        LAKE ORION                 MI           48362
29938158          Name on file                            Address on file
30208419          ORLAND PARK PUBLIC LIBRARY              14921 SOUTH RAVINIA AVENUE                                                                                             ORLAND PARK                IL           60462
29938164          ORLANDO UTILITIES COMMISSION            PO BOX 31329                                                                                                           TAMPA                      FL           33631‐3329
30356782          Name on file                            Address on file
30415868          Name on file                            Address on file
30285524          Name on file                            Address on file
29938167          ORLY SHOE CORP                          HUJING APARTMENT (HUAGU)              BLOCK 1, 26TH FLOOR                GINZA HOUJI                                   DONGGUAN                                523960          CHINA
29938168          ORLY SHOE CORP                          15 WEST 34TH ST, 7TH FLOOR                                                                                             NEW YORK                   NY           10001
30259194          Ormo Ithalat Ihracat A.S.               Merkez Mah. Baglar Cad. No:14/B                                                                                        Istanbul                                34406           Turkey
30232311          Ormo Ithalat Ve Ihracat A.S             ARZU DEMIRCI                          GOL YOLU ORHANGAZI BURSA                                                         ORHANGAZI BURSA ORNEKKOY                16800           TURKEY
                                                          ATTN: GIRAY OCALGIRAY, CHIEF          KAGITHANE OFISPARK, MERKEZ         FAITH CAD. GOLYOLU HARMANSAZI
29904932          ORMO ITHALAT VE IHRACAT AS              EXECUTIVE OFFICER                     MAHALLES                           MEVKIT                                        ORHANGAZI                               16800           TURKEY
                  ORMSBY COUNTY, NV COUNTY CONSUMER
30207952          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 201 N CARSON ST                                                                     CARSON CITY                NV           89701
30351188          Name on file                            Address on file
30401217          Name on file                            Address on file
30393029          Name on file                            Address on file
30401551          Name on file                            Address on file
30257997          Name on file                            Address on file
30345633          Name on file                            Address on file
30345632          Name on file                            Address on file
30332412          Name on file                            Address on file
30353649          Name on file                            Address on file
30341164          Name on file                            Address on file
30337911          Name on file                            Address on file
30333833          Name on file                            Address on file
30340406          Name on file                            Address on file
30257026          Name on file                            Address on file
29938183          OSCEOLA COUNTY TAX COLLECT              PO BOX 422105                                                                                                          KISSIMMEE                  FL           34742‐2105
29949224          OSCEOLA COUNTY TAX COLLECTOR            PO BOX 422105                                                                                                          KISSIMMEE                  FL           34742‐2105
                  OSCEOLA COUNTY, FL COUNTY CONSUMER
30207953          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 1 COURTHOUSE SQ                       STE 4700                                      KISSIMMEE                  FL           34741
30384711          Name on file                            Address on file
30393668          Name on file                            Address on file
29938185          OSHKOSH CITY TREASURER                  P.O. BOX 1128                                                                                                          OSHKOSH                    WI           54903‐1128
30213557          OSJ OF SEEKONK, LLC                     375 COMMERCE PARK RD.                                                                                                  NORTH KINGSTOWN            RI           02852
30348042          Name on file                            Address on file
29938189          Name on file                            Address on file
29938190          OTIS ELEVATOR COMPANY                   PO BOX 73579                                                                                                           CHICAGO                    IL           60673
29938191          Name on file                            Address on file

30208421          OTONABEE SOUTH MONAGHAN PUBLIC LIBRARY 3252 COUNTY RD 2                                                                                                        KEENE                      ON           K0L 2G0         CANADA

30208424          OTONABEE SOUTH MONAGHAN PUBLIC LIBRARY P.O. BOX 9                                                                                                              KEENE                      ON           K0L 2G0         CANADA
                  OTTAWA COUNTY, MI COUNTY CONSUMER
30207954          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 12220 FILLMORE ST                      ROOM 130                                      WEST OLIVE                 MI           49460
LC_0497           Ottawa Public Library                  120 Metcalfe Street                                                                                                     Ottawa                     ON           K2G 4R7         Canada




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30208427          OTTAWA PUBLIC LIBRARY                          100 TALLWOOD DR.                                                                                                             OTTAWA                  ON           K2G 4R7         CANADA
29938192          Name on file                                   Address on file
30208426          OTTAWA PUBLIC LIBRARY                          120 METCALFE                                                                                                                 OTTAWA                  ON           K1P 5M2         CANADA
30208425          OTTAWA PUBLIC LIBRARY                          120 METCALFE ST                                                                                                              OTTAWA                  ON           K1P 1E7         CANADA
29938193          OTTER TAIL POWER COMPANY                       PO BOX 2002                                                                                                                  FERGUS FALLS            MN           56538‐2002
30335177          Name on file                                   Address on file
30347912          Name on file                                   Address on file
29953377          OTTLITE TECHNOLOGIES INC                       NO 28 JINGSI ROAD XIAOGANG ST          130                                                                                   NINGBO                               315821          CHINA
                                                                 ATTN: JOHN SHEPPARD, CHIEF EXECUTIVE
29904936          OTTLITE TECHNOLOGIES, INC.                     OFFICER                                1715 N WESTSHORE BLVD            SUITE 950                                            TAMPA                   FL           33607
29938197          Name on file                                   Address on file
30211828          OURAY LIBRARY DISTRICT                         PO BOX 625                                                                                                                   OURAY                   CO           81427
30345609          Name on file                                   Address on file
30213251          OUTER DRIVE 39 DEVELOPMENT CO., LLC            ONE TOWNE SQUARE, #1600                ATTN: PAUL STODULSKI                                                                  SOUTHFIELD              MI           48076
29949770          OUTER DRIVE DEVELOPMENT CO LLC                 120 S LASALLE STREET, SUITE 1000                                                                                             CHICAGO                 IL           60603
29938203          OUTER DRIVE DEVELOPMENT CO LLC                 PO BOX 72481                                                                                                                 CLEVELAND               OH           44192
29938204          OUTREACH CORPORATION                           DEPT CH 17331                                                                                                                PALATINE                IL           60055‐7331
30399857          Name on file                                   Address on file
29938205          Name on file                                   Address on file
29938206          OVERHEAD DOOR & FIREPLACE COMPANY              3741 GRANDVIEW ROAD                                                                                                          MILLBROOK               AL           36054
30401538          Name on file                                   Address on file
29938207          OVERLOOK VILLAGE ASHEVILLE LLC                 C/O DIVARIS PROPERTY MGMT CORP      4525 MAIN ST., SUITE 900                                                                 VIRGINIA BEACH          VA           23462
                                                                                                     222 CENTRAL PARK AVENUE, SUITE
30210945          OVERLOOK VILLAGE ASHEVILLE, LLC                C/O ARMADA HOFFLER PROPERTIES, INC. 2100                                                                                     VIRGINIA BEACH          VA           23462
                                                                                                                                         222 CENTRAL PARK AVENUE, SUITE
29938208          OVERLOOK VILLAGE ASHEVILLE, LLC                C/O ARMADA HOFFLER PROPERTIES, INC. ATTN: JANA SVOBODOVA                2100                                                 VIRGINIA BEACH          VA           23462
29938209          Name on file                                   Address on file
30337074          Name on file                                   Address on file
30208430          OWATONNA PUBLIC LIBRARY                        105 N ELM AVENUE                                                                                                             OWATONNA                MN           55060
30208432          OWATONNA‐STEELE COUNTY LIBRARY                 105 N ELM AVE                                                                                                                OWATONNA                MN           55060
30208433          OWEN COUNTY PUBLIC LIBRARY                     10 S. MONTGOMERY ST.                                                                                                         SPENCER                 IN           47460
29938219          Name on file                                   Address on file

LC_0501           Owen Sound & North Grey Union Public Library   824 1St Ave W                                                                                                                Owen Sound              ON           N4K4K4          Canada
                  OWEN SOUND & NORTH GREY UNION PUBLIC
30208434          LIBRARY                                        824 FIRST AVENUE WEST                                                                                                        OWEN SOUND              ON           N4K 4K4         CANADA
30386104          Name on file                                   Address on file
30394747          Name on file                                   Address on file
30332400          Name on file                                   Address on file
30401549          Name on file                                   Address on file
30344462          Name on file                                   Address on file
30338622          Name on file                                   Address on file
29938222          OWENSBORO MUNICIPAL UTILITIES (OMU)            P.O. BOX 806                                                                                                                 OWENSBORO               KY           42302
29938224          OWOSSO HOLDINGS LLC                            24500 NORTHWESTERN HWY #100                                                                                                  SOUTHFIELD              MI           48075
29962019          OWRF BAYBROOK LLC                              C/O WULFE MGMT SERVICES INC            1800 POST OAK BLVD #400                                                               HOUSTON                 TX           77056

30213283          OWRF BAYBROOK, LLC                             C/O O'CONNOR CAPITAL PARTNERS          535 MADISON AVENUE, 6TH FLOOR                                                         NEW YORK                NY           10022
29962021          OXBOW CROSSING AND RIVER LANDING               PUBLIC IMPROVEMENT COMPANY             141 UNION BLVD STE 150                                                                LAKEWOOD                CO           80228
                  OXBOW CROSSING AND RIVER LANDING PUBLIC        C/O SPECIAL DISTRICT MANAGEMENT
29962022          IMPROVEMENT COMPANY                            SERVICES INC.                          141 UNION BLVD.                                                                       LAKEWOOD                CO           80228
LC_0502           Oxford County Library                          Po Box 1614                                                                                                                  Woodstock               ON           N4S7Y3          Canada
29962023          Name on file                                   Address on file
30213247          OXFORD VALLEY ROAD ASSOCIATES                  C/O THE GOLDENBERG GROUP, INC.         630 SENTRY PARKWAY, SUITE 300                                                         BLUE BELL               PA           19422
30184559          Oxford Valley Road Associates                  Michael Moss                           630 Sentry Parkway, Suite 300                                                         Blue Bell               PA           19422
30186306          Oxford Valley Road Associates                  The Goldenberg Group                   Michael Moss                     630 Sentry Parkway               Suite 300           Blue Bell               PA           19422
30335310          Name on file                                   Address on file
30356688          Name on file                                   Address on file
29962027          Name on file                                   Address on file
30211831          OZARK REGIONAL LIBRARY                         402 N MAIN STREET                                                                                                            IRONTON                 MO           63650

29962029          P CRAS PROPERTIES LLC                          HOMEWOOD STES. HOUSTON KINGWOOD 23320 US‐59                                                                                  KINGWOOD                TX           77339
29938225          Name on file                                   Address on file
29938226          P&L TRUCK & TRAILER REPAIR LLC                 5100 COUNTY RD 299                                                                                                           CUSSETA                 AL           36852




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29938227          P. BLEY                                    Address on file
29938229          P. NADHAZY                                 Address on file
29938230          P. NAGAN                                   Address on file
29938231          P. PATEL                                   Address on file
29938232          P. POWERS                                  Address on file
29950096          PA‐BUG‐SALES TAX                           1 EFT DEPT 280908                                                                                                      HARRISBURG               PA           17128
30224367          Name on file                               Address on file
30338766          Name on file                               Address on file
30331813          Name on file                               Address on file
29938238          PACIFIC GAS & ELECTRIC                     P.O. BOX 997300                                                                                                        SACRAMENTO               CA           95899‐7300
30165136          Pacific Island Creations Co, Ltd.          6F,NO 8,LN.321                      YANGGUANG ST.                     NEIHU DIST.                                      TAIPEI                                                TAIWAN
29938240          PACIFIC NEON COMPANY                       2939 ACADEMY WAY                                                                                                       SACRAMENTO               CA           95815
29949832          PACIFIC POWER                              7260 HOMER DRIVE                                                                                                       ANCHORAGE                AK           99518
29938241          PACIFIC POWER‐ROCKY MOUNTAIN POWER         PO BOX 26000                                                                                                           PORTLAND                 OR           97256‐0001
                                                             15350 S.W. SEQUOIA PARKWAY, SUITE
30213248          PACIFIC REALTY ASSOCIATES, L.P.            300                                 ATTN: LAW DEPARTMENT                                                               PORTLAND                 OR           97224
29938245          PACIFIC REALTY ASSOCIATES, LP              PAC TRUST UNIT 98                   JOAN1701                          P.O. BOX 4500                                    PORTLAND                 OR           97208
29938246          PACIFIC TRIAL ATTORNEYS                    A PROFESSIONAL CORPORATION          4100 NEWPORT PLACE DR. #800                                                        NEWPORT BEACH            CA           92660
29938247          PACKAGING CONSULTANTS INC                  9 WELBY ROAD                                                                                                           NEW BEDFORD              MA           02745
                                                                                                 ATTN: RAJENDER DUDANI,
30213675          PACKARD PLAZA PARTNERS, LLC                1970 BEACON ST.                     MANAGING MEMBER                                                                    WABAN                    MA           02468
30337029          Name on file                               Address on file
30211437          PAC‐VAN INC                                75 REMITTANCE DR., STE #3300                                                                                           CHICAGO                  IL           60675
30346675          Name on file                               Address on file
30336523          Name on file                               Address on file
30350959          Name on file                               Address on file
29938250          PADDYWAX                                   2934 SIDCO DRIVE, SUITE 140                                                                                            NASHVILLE                TN           37204
30211438          PADDYWAX LLC                               C/O CREATIVE LIGHTS                 TUAN VIET COMMUNE                 Z01                                              HAI DUONG                             170000          VIETNAM
29938251          PADDYWAX LLC                               2934 SIDCO DRIVE, STE 140                                                                                              NASHVILLE                TN           37204
30354012          Name on file                               Address on file
30349953          Name on file                               Address on file
29938256          Name on file                               Address on file

30208438          PAHKISIMON NUYE?ÁH LIBRARY SYSTEM (PNLS)   118 AVRO PLACE                                                                                                         AIR RONGE                SK           S0J 3G0         CANADA
29938277          PAIGE HILL                                 Address on file
29962038          Name on file                               Address on file
30347648          Name on file                               Address on file
30351609          Name on file                               Address on file
29938294          Name on file                               Address on file
29938295          Name on file                               Address on file
29938296          Name on file                               Address on file
29938297          Name on file                               Address on file
29962052          Name on file                               Address on file
29962053          Name on file                               Address on file
29962054          Name on file                               Address on file
29962055          Name on file                               Address on file
29962056          Name on file                               Address on file
29962057          Name on file                               Address on file
29962059          PAISLEY CARLSON                            Address on file
29962060          Name on file                               Address on file
29962061          PAISLEY CRAFTS LLC                         DBA I LOVE TO CREATE                5673 E SHIELDS AVENUE                                                              FRESNO                   CA           93727
29976224          Paisley Crafts LLC                         P.O. Box 204147                                                                                                        Dallas                   TX           75320‐4147
30232509          Paisley Crafts, LLC                        PO Box 204147                                                                                                          Dallas                   TX           75320
29938302          PA‐JAC‐SALES TAX                           EFT DEPT 280908                                                                                                        HARRISBURG               PA           17128‐0908
29938303          PA‐JAS‐CORP INC TAX‐EXT                    PA DEPT OF REVENUE                  PO BOX 280427                                                                      HARRISBURG               PA           17128‐0427
29938304          PA‐JAS‐CORP INC TAX‐Q2 EST                 PA DEPT OF REVENUE                  PO BOX 280427                                                                      HARRISBURG               PA           17128‐0427
29938305          PA‐JAS‐SALES TAX ST301                     EFT DEPT 280908                                                                                                        HARRISBURG               PA           17128‐0908
30213314          PAL PROPERTIES                             2574 CHRISTMASVILLE COVE, SUITE H                                                                                      JACKSON                  TN           38305
30337963          Name on file                               Address on file
30263298          Name on file                               Address on file
29938308          PALADIN FREIGHT SOLUTIONS INC              5100 POPLAR AVE STE 2020                                                                                               MEMPHIS                  TN           38137‐5020
30396604          Name on file                               Address on file
30211439          PALADONE PRODUCTS LTD                      APEX HOUSE, DOLPHIN WAY                                                                                                SHOREHAM BY SEA                       BN43 6NZ        UNITED KINGDOM




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  ADDRESS ID                           NAME                              ADDRESS 1                        ADDRESS 2                         ADDRESS 3                        ADDRESS 4                     CITY        STATE     POSTAL CODE           COUNTRY
30341777          Name on file                             Address on file
29938309          PALANI PROPERTIES LLC                    10840 JENNIFER MARIE PLACE                                                                                                    FAIRFAX STATION          VA           22039

30213288          PALANI PROPERTIES, LLC                   10840 JENNIFER MARIE PLACE           ATTN: PALANI RATHINSAMY (MD)                                                             FAIRFAX STATION          VA           22039
29938311          Name on file                             Address on file
LC_0503           Palatine Public Library District         700 North North Court                                                                                                         Palatine                 IL           60067‐8158
30208441          PALATINE PUBLIC LIBRARY DISTRICT         700 N. NORTH CT.                                                                                                              PALATINE                 IL           60067
30335360          Name on file                             Address on file
30357005          Name on file                             Address on file
30397560          Name on file                             Address on file
29938312          Name on file                             Address on file
30331204          Palitex, Inc.                            Balasiano and Associates PLLC        6701 Bay Pkwy                    3rd Floor                                               Brooklyn                 NY           11204
30331128          Palitex, Inc.                            Balasiano and Associates PLLC        Reuven Sujnow                    6701 Bay Pkwy                   3rd Floor               Brooklyn                 NY           11204
30331233          Palitex, Inc.                            c/o Bernath & Rosenberg, P.C.        126 Spruce St                                                                            Cedarhurst               NY           11516
29938313          Name on file                             Address on file
30208442          PALLISER REGIONAL LIBRARY                366 COTEAU STREET WEST                                                                                                        MOOSE JAW                SK           S6H 5C9         CANADA
29938314          PALM BEACH COUNTY                        TAX COLLECTOR                        PO BOX 3715                                                                              WEST PALM BEACH          FL           33402‐3715
29952502          PALM BEACH COUNTY ‐ TAX COLLECTOR        TAX COLLECTOR                        PO BOX 3715                                                                              WEST PALM BEACH          FL           33402‐3715
30208445          PALM BEACH COUNTY LIBRARY SYSTEM         3650 SUMMIT BOULEVARD                                                                                                         WEST PALM BEACH          FL           33406

29938317          PALM BEACH COUNTY WATER UTILITIES DEPT   301 N. OLIVE AVE.                                                                                                             PALM BEACH               FL           33401

29938316          PALM BEACH COUNTY WATER UTILITIES DEPT   P.O. BOX 24740                                                                                                                WEST PALM BEACH          FL           33416‐4740
                  PALM BEACH COUNTY, FL COUNTY CONSUMER
30207955          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION   50 S MILITARY TR                 STE 201                                                 WEST PALM BEACH          FL           33415
30211440          PALM FIBRE (INDIA) PRIVATE LIMITED       II/3 ‐ CALVETHY ROAD ‐ FORT COCHIN   ERNAKULAM                                                                                KERALA                                682001          INDIA
29938318          PALM OCCUPATIONAL MEDICINE &             WALK IN CLINIC                       235 EAST NOBLE AVE                                                                       VISALIA                  CA           93277
29938319          Name on file                             Address on file
29938320          Name on file                             Address on file
30208448          PALMER PUBLIC LIBRARY                    1455 N MAIN ST                                                                                                                PALMER                   MA           01069
29938321          Name on file                             Address on file
30357781          Name on file                             Address on file
30334021          Name on file                             Address on file
30340823          Name on file                             Address on file
LC_0506           Palmerston North City Library            7 The Square Palmerston                                                                                                       NORTH                                 4440            New Zealand
30208450          PALMERSTON NORTH CITY LIBRARY            PO BOX 1948 NORTH                                                                                                             PALMERSTON NORTH                      4440            NEW ZEALAND
30208451          PALMERSTON NORTH LIBRARY                 4 THE SQUARE                         PALMERSTON NORTH CENTRAL                                                                 PALMERSTON NORTH                      4410            NEW ZEALAND
29938322          Name on file                             Address on file
30211832          PALO ALTO CITY LIBRARY                   PO BOX 10250                                                                                                                  PALO ALTO                CA           94303
30223213          PALO ALTO NETWORKS                       FINANCIAL SERVICES LLC               3000 TANNERY WAY                                                                         SANTA CLARA              CA           95054
LC_0508           Palos Park Public Library                12330 South Forest Glen Boulevard                                                                                             Palos Park               IL           60464‐1707
30208454          PALOS PARK PUBLIC LIBRARY                12330 FOREST GLEN BLVD.                                                                                                       PALOS PARK               IL           60464

29938327          PALOUSE MALL LLC                         C/O JAMESON COMMERCIAL PROPERTY      ATTN: JIM BENDICKSON             104 S FREYA ST, P.O. BOX 2158                           SPOKANE                  WA           99210

30210967          PALOUSE MALL LLC                         C/O JAMESON COMMERCIAL PROPERTY      ATTN: JIM BENDICKSON             425 W NORTH AVENUE                                      CHICAGO                  IL           60610
30354525          Name on file                             Address on file
30415190          Name on file                             Address on file
30256891          Pam Transport                            297 W Henri De Tonti Blvd                                                                                                     Springdale               AR           72762
30210598          PAMELA CORRIE                            5555 DARROW ROAD                                                                                                              HUDSON                   OH           44236
29962067          PAMELA CORRIE                            Address on file
29938354          Name on file                             Address on file
29938361          PAMELA H EARHART                         Address on file
29938369          PAMELA HOLMES                            Address on file
29938380          PAMELA M. GARRISON                       Address on file
30208459          PAMELA M. GARRISON                       Address on file
29938403          PAMELA THORPE                            Address on file
29938410          PAMELA WHARTON                           Address on file
29938417          Name on file                             Address on file
30182592          Pan Asian Creations Ltd.                 1 Hok Cheung St.                     Room 306‐A107, 3/F                                                                       Hok Yuen                                              Hong Kong
30415072          Name on file                             Address on file
29949621          PANACEA PRODUCTS CORPORATION             ECONOMIC DEVELOPMENT AREA            30                                                                                       TIANJIN                               300270          CHINA
29938422          PANAGOS KENNEDY PLLC                     3331 W. BIG BEAVER RD., #102                                                                                                  TROY                     MI           48084




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30332741          Name on file                             Address on file
29938423          Name on file                             Address on file
30350371          Name on file                             Address on file
30336931          Name on file                             Address on file
30334089          Name on file                             Address on file
30213666          PANOS PROPERTIES, LLC                    6850 E. GREEN LAKE WAY N., SUITE 201                                                                                           SEATTLE                    WA           98115
30416295          Name on file                             Address on file
29938432          PAOLA RUBIO                              Address on file
30401409          Name on file                             Address on file
29917090          PAPER TRANSPORT LLC                      PO BOX 88047                                                                                                                   MILWAUKEE                  WI           53288‐8047
                                                                                                  ATTN: DAYNA DESMOND, SENIOR          101 LARKSPUR LANDING CIRCLE,
29917091           PAPF ROSEBURG, LLC                      C/O ARGONAUT INVESTMENTS, LLC          ASSET MANAGER                        SUITE 120                                          LARKSPUR                   CA           94939
                                                                                                  ATTN: DAYNA DESMOND, SENIOR
30210964          PAPF ROSEBURG, LLC                       C/O ARGONAUT INVESTMENTS, LLC          ASSET MANAGER                                                                           LARKSPUR                   CA           94939
30416146          Name on file                             Address on file
30398252          Name on file                             Address on file
30351634          Name on file                             Address on file
30213571          PARADISE ATLANTIC HOLDINGS, LLC          2801 E. CAMELBACK RD., SUITE 450                                                                                               PHOENIX                    AZ           85016
29917095          PARADOX INC                              PO BOX 120188 DEPT 0188                                                                                                        DALLAS                     TX           75312

29949622          PARALLEL 2019‐1 LTD.                     C/O DOUBLELINE CAPITAL LP              2002 N. TAMPA STREET, SUITE 200                                                         TAMPA                      FL           33602

29949623          PARALLEL 2020‐1 LTD.                     C/O DOUBLELINE CAPITAL LP              2002 N. TAMPA STREET, SUITE 200                                                         TAMPA                      FL           33602

29949624          PARALLEL 2021‐1 LTD.                     C/O DOUBLELINE CAPITAL LP              2002 N. TAMPA STREET, SUITE 200                                                         TAMPA                      FL           33602

29949625          PARALLEL 2021‐2 LTD.                     C/O DOUBLELINE CAPITAL LP              2002 N. TAMPA STREET, SUITE 200                                                         TAMPA                      FL           33602
29917096          PARAMETER CORP                           24586 HAWTHORNE BLVD #105                                                                                                      TORRANCE                   CA           90505
30197881          Paramount Home Collections Pvt Ltd       36 Tavela Street                       Akhtar Building                                                                         Moradabad, Uttar Pradesh                244001          India
30339349          Paramount Home Collections Pvt Ltd       Mohd Ijlal Shamsi                      36 Tavela Street                     Akhtar Building                                    Moradabad, Uttar Pradesh                244001          India
29938434          Name on file                             Address on file
30208460          PARAMUS PUBLIC LIBRARY                   E 116 CENTURY RD                                                                                                               PARAMUS                    NJ           07652
30332508          Name on file                             Address on file
30338768          Name on file                             Address on file
30340771          Name on file                             Address on file
30414429          Name on file                             Address on file
30211441          PARGAT HOUSEWARES UK                     C/O #605701                            40 BIRMINGHAM ROAD                                                                      WEST BROMWICH                           B71 4JZ         UNITED KINGDOM
29938439          Name on file                             Address on file
29952503          PARISH AND CITY TREASURER                PARISH‐DEPT OF FINANCE                 REVENUE DIV. PO BOX 2590                                                                BATON ROUGE                LA           70821‐2590
29938450          PARISH OF CADDO                          TAX COLLECTOR                          501 TEXAS STREET ROOM 101                                                               SHREVEPORT                 LA           71101‐5410
29938451          PARISH OF ST TAMMANY                     TAX COLLECTOR                          P.O. BOX 61041                                                                          NEW ORLEANS                LA           70161‐1041
29938452          PARISH OF TERREBONNE                     SALES & USE TAX DEPARTMENT             P. O. BOX 670                                                                           HOUMA                      LA           70361‐0670
30398392          Name on file                             Address on file
30354575          PARISINA INTERNATIONAL LLC               433 NORTH LOOP W                                                                                                               HOUSTON                    TX           77008
30213223          PARK ASSOCIATES                          C/O ZAMAGIAS PROPERTIES                336 4TH AVENUE, 8TH FLOOR                                                               PITTSBURGH                 PA           15222

30296982          Park Associates LP                       Metz Lewis Brodman Must O'Keefe LLC    Justin M. Tuskan ‐ Attorney at Law   444 Liberty Avenue             Suite 2100          Pittsburgh                 PA           15222
29949626          PARK AVENUE INSTITUTIONAL ADVISERS       10 HUDSON YARDS, 20TH FLOOR                                                                                                    NEW YORK                   NY           10001

29949847          PARK AVENUE INSTITUTIONAL ADVISERS LLC   10 HUDSON YARDS                        20TH FLOOR                                                                              NEW YORK                   NY           10001
30211833          PARK FOREST PUBLIC LIBRARY               400 LAKEWOOD BLVD                                                                                                              PARK FOREST                IL           60466
                                                           C/O STAENBERG GROUP, INC AKA TSG       2127 INNERBELT BUSINESS CENTER
30213500          PARK PLAZA JOINT VENTURE, LLC            PROPERTIES                             DRIVE, SUITE 200                                                                        ST. LOUIS                  MO           63114
30213677          PARK PLAZA, INC.                         1 EAST SUMMERTON DRIVE                 ATTN: KAREN SCHENK                                                                      BLUFFTON                   SC           29910
30212429          PARK RIDGE PUBLIC LIBRARY                20 SOUTH PROSPECT AVE                                                                                                          PARK RIDGE                 IL           60068
29938462          PARK STATION LLC                         C/O CONTINENTAL REALTY CORP            1427 CLARKVIEW RD STE 500                                                               BALTIMORE                  MD           21209
30348538          Name on file                             Address on file
30212687          PARKER ASSOCIATES                        2560 NINTH STREET                      SUITE 117                                                                               BERKELEY                   CA           94710
29938468          PARKER MCINTOSH                          Address on file
30208463          PARKER MEMORIAL LIBRARY                  28 ARLINGTON STREET                                                                                                            DRACUT                     MA           01826
30395679          Name on file                             Address on file
30351790          Name on file                             Address on file
30275129          Name on file                             Address on file




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  ADDRESS ID                           NAME                          ADDRESS 1                           ADDRESS 2                        ADDRESS 3                 ADDRESS 4                     CITY        STATE     POSTAL CODE        COUNTRY
30393135          Name on file                           Address on file
30340259          Name on file                           Address on file
30347763          Name on file                           Address on file
30393580          Name on file                           Address on file
30393581          Name on file                           Address on file
30353661          Name on file                           Address on file
30211835          PARKLAND COMMUNITY LIBRARY             4422 WALBERT AVE                                                                                                       ALLENTOWN                PA           18104
30223215          PARKLAND REGIONAL LIBRARY              504 MAIN ST. N.                                                                                                        DAUPHIN                  MB           R7N 1C9         CANADA
30208464          PARKLAND REGIONAL LIBRARY              504 MAIN ST. N.                                                                                                        DAUPHIN                  MB           R7N 1E1         CANADA
30353565          Name on file                           Address on file
                                                                                          3200 WEST MARKET STREET, SUITE
30213132          PARKVIEW PLAZA ASSOCIATES I L.L.C.     C/O RIVERVIEW MANAGEMENT COMPANY 200                                                                                   FAIRLAWN                 OH           44333
30213235          PARKWAY VF LLC                         C/O BOLLAG REALTY GROUP          1009 EAST 14TH ST.                                                                    BROOKLYN                 NY           11230
30414665          Name on file                           Address on file
30344186          Name on file                           Address on file
29938485          Name on file                           Address on file
30208466          PARSIPPANY‐TROY HILLS PUBLIC LIBRARY   449 HALSEY ROAD                                                                                                        PARSIPPANY               NJ           07054
30396902          Parsons, Aaron                         Address on file
30342793          Name on file                           Address on file
30347779          Name on file                           Address on file
30347755          Name on file                           Address on file
29938487          Name on file                           Address on file
29938486          Name on file                           Address on file
29938488          Name on file                           Address on file
29938489          Name on file                           Address on file
29938490          Name on file                           Address on file
29938494          Name on file                           Address on file
30393722          Name on file                           Address on file
30396437          Name on file                           Address on file
29938495          Name on file                           Address on file
29938496          PASCO COUNTY BOCC                      ATTN: COMMUNITY RISK REDUCTION   4111 LAND O LAKES BLVD. #208                                                          LAND O LAKES             FL           34639
29938497          PASCO COUNTY CLERK & COMPTROLLER       POST OFFICE DRAWER 338           7530 LITTLE RD.                                                                       NEW PORT RICHEY          FL           34656‐0338
29938498          PASCO COUNTY TAX COLLECTOR             AD VALOREM TAXES                 PO BOX 276                                                                            DADE CITY                FL           33526
29938499          PASCO COUNTY UTILITIES                 P.O. DRAWER 2139                                                                                                       NEW PORT RICHEY          FL           34656‐2139
                  PASCO COUNTY, FL COUNTY CONSUMER
30207956          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   8731 CITIZENS DR                                                                  NEW PORT RICHEY          FL           34654
30393187          Name on file                           Address on file
29938501          Name on file                           Address on file
30208467          PASO ROBLES CITY LIBRARY               1000 SPRING ST.                                                                                                        PASO ROBLES              CA           93446
29938502          PA‐SSC‐CORP INC TAX‐EXT                PA DEPT OF REVENUE                   PO BOX 280427                                                                     HARRISBURG               PA           17128‐0427
29938503          PA‐SSC‐CORP INC TAX‐Q2 EST             PA DEPT OF REVENUE                   PO BOX 280427                                                                     HARRISBURG               PA           17128‐0427
29938504          PA‐SSC‐CORP INC TAX‐Q3 EST             PA DEPT OF REVENUE                   PO BOX 280427                                                                     HARRISBURG               PA           17128‐0427
29938505          PA‐SSC‐CORP INC TAX‐Q4 EST             PA DEPT OF REVENUE                   PO BOX 280427                                                                     HARRISBURG               PA           17128‐0427
29938506          PASSION ANDERSON                       Address on file
29938507          Name on file                           Address on file
29938508          Name on file                           Address on file
30334732          Name on file                           Address on file
29938512          Name on file                           Address on file
30208469          PATCHOGUE‐MEDFORD LIBRARY              54‐60 EAST MAIN ST                                                                                                     PATCHOGUE                NY           11772
30414537          Name on file                           Address on file
30353280          Name on file                           Address on file
30353279          Name on file                           Address on file
30386114          Name on file                           Address on file
30386118          Name on file                           Address on file
30352744          Name on file                           Address on file
29938513          PATHWARD NATIONAL ASSOCIATION          POB 233756, 3756 MOMENTUM PL.                                                                                          CHICAGO                  IL           60689‐5337
30394558          Name on file                           Address on file
30334765          Name on file                           Address on file
30212915          PATRICIA CASEY                         Address on file
29953923          PATRICIA DEPOMPEO                      Address on file
29938566          PATRICIA FISHER                        Address on file
29951328          PATRICIA HYRE                          Address on file
29938644          PATRICIA TALBOT                        Address on file




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  ADDRESS ID                           NAME                                  ADDRESS 1                           ADDRESS 2                        ADDRESS 3                 ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY

29952506          PATRICK H. DAVENPORT, JUDGE OF PROBATE       PO BOX 6406                                                                                                              DOTHAN                  AL           36302
30212955          PATRICK HOVAN                                Address on file
29938658          PATRICK J CLAYTON PRODUCTIONS LLC            120 WEST 28TH ST., 2N                                                                                                    NEW YORK                NY           10001
29962143          PATRICK KENNY                                Address on file
29938663          PATRICK WILLIAMS                             Address on file
30338844          Name on file                                 Address on file
30345009          Name on file                                 Address on file
29938673          PATTERN TRADING LTD.                         1633 W. INNOVATION WAY, #300                                                                                             LEHI                    UT           84043
30341829          Name on file                                 Address on file
30395096          Name on file                                 Address on file
30399619          Name on file                                 Address on file
30356808          Name on file                                 Address on file
29938686          PATTY MCCLURE                                Address on file
30349881          Name on file                                 Address on file
29938690          PATTYMAC ENTERPRISES                         2616 ST REGIS LANE                                                                                                       VIRGINIA BEACH          VA           23453
30212607          PAUL KAISER                                  Address on file
29938710          PAUL REZUTEK                                 Address on file
30211839          PAUL SAWYIER PUBLIC LIBRARY                  319 WAPPING ST                                                                                                           FRANKFORT               KY           40601
30334027          Name on file                                 Address on file
30356947          Name on file                                 Address on file
30261969          Name on file                                 Address on file
30357713          Name on file                                 Address on file
30398415          Name on file                                 Address on file
30342678          Name on file                                 Address on file
30211442          PAULA K GARDEN DANCIE                        Address on file
29938737          PAULA KEEFER                                 Address on file
29938759          Name on file                                 Address on file
30347950          Name on file                                 Address on file
30290511          Name on file                                 Address on file
30334268          Name on file                                 Address on file
30212817          PAVAN KONDRAGUNTA                            Address on file
                  Pavilion North Shopping Center 18, LLC and
30291707          Pavilion North Shopping Center 18B, LLC      c/o ACF Property Management, Inc.      12411 Ventura Boulevard                                                           Studio City             CA           91604
29938769          PAVILIONS NORTH SHOP CTR 18 LLC              C/O ACF PROPERTY MGMT INC              12411 VENTURA BLVD                                                                STUDIO CITY             CA           91604

29938770          PAVILIONS NORTH SHOPPING CENTER 18, LLC      C/O ACF PROPERTY MANAGEMENT, INC.      12411 VENTURA BOULEVARD                                                           STUDIO CITY             CA           91604
30351140          Name on file                                 Address on file
30415229          Name on file                                 Address on file
30262861          Name on file                                 Address on file
30260295          Name on file                                 Address on file
30261131          Name on file                                 Address on file
29938771          Name on file                                 Address on file
30334864          Name on file                                 Address on file
29962165          PAYMENT PROCESSING SERVICES                  P.O. BOX 16190                                                                                                           PHOENIX                 AZ           85011
29962166          PAYNE COUNTY TREASURER                       315 W SIXTH STREET STE 101                                                                                               STILLWATER              OK           74074
                  PAYNE COUNTY, OK COUNTY CONSUMER
30207957          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 606 SOUTH HUSBAND ST                                                                  STILLWATER              OK           74074
30394704          Name on file                                 Address on file
30332059          Name on file                                 Address on file
30355420          Name on file                                 Address on file
30261755          Name on file                                 Address on file
30385072          Name on file                                 Address on file
30341416          Name on file                                 Address on file
30258705          Name on file                                 Address on file
29962168          PAYO CARRANZA                                Address on file
29962169          PAYPOOL LLC PT                               800 MAINE AVE SW, #650                                                                                                   WASHINGTON              DC           20024
29962170          PAYPOOL LLC SU                               800 MAINE AVE SW, #650                                                                                                   WASHINGTON              DC           20024
29962171          PAYSCALE INC                                 PO BOX 207845                                                                                                            DALLAS                  TX           75320‐7845
30393475          Name on file                                 Address on file

30211003          PBA LL LLC                                   C/O CROSSPOINT REALTY SERVICES, INC.   20211 PATIO DRIVE, SUITE 145                                                      CASTRO VALLEY           CA           94546




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                                                                                               ATTN: THOMAS N. KLEIN,
29938796          PBA LL LLC                            C/O CROSSPOINT REALTY SERVICES, INC.   MANAGING PRINCIPAL                20211 PATIO DRIVE, SUITE 145                       CASTRO VALLEY            CA           94546

29938797          PC CONNECTION SALES CORPORATION       DBA PC CONNECTION,MAC CONNECTION PO BOX 536472                                                                              PITTSBURGH               PA           15253‐5906
                                                                                         ATTN: JOSEPH A. VERNACI AND
30213427          PC II VERTICAL, LLC                   2028 PHOENIX CENTER DRIVE        BETH NIEDERHOLTMEYER                                                                       WASHINGTON               MO           63090
30295579          PCP Group, LLC                        Forchelli Deegan Terrana LLP     Gabriella E. Botticelli                 333 Earle Ovington Boulevard   Suite 1010          Uniondale                NY           11553
30261221          PCT VINYL                             JONATHAN PESNER                  PRESIDENT                               1706 US STATE ROUTE 11                             MOOERS                   NY           12958
30208475          PEABODY INSTITUTE LIBRARY             15 SYLVAN STREET                                                                                                            DANVERS                  MA           01923
29938804          Name on file                          Address on file
29938805          Name on file                          Address on file
29938807          Name on file                          Address on file
29938808          PEACH TREE                            C/O PEACHTREE PLAYTHINGS, INC          601 WOODLAWN DR, BLDG 200                                                            MARIETTA                 GA           30067
30349060          Name on file                          Address on file
30332663          Name on file                          Address on file
30258070          Name on file                          Address on file
29949628          PEAKS CLO 1, LTD.                     ONE NEXUS WAY                                                                                                               CAMANA BAY                            KY1‐9005        CAYMAN ISLANDS
29949629          PEAKS CLO 2, LTD.                     ONE NEXUS WAY                                                                                                               CAMANA BAY                            KY1‐9005        CAYMAN ISLANDS
30340364          Name on file                          Address on file
30333898          Name on file                          Address on file
29938811          PEARLDITAANN FAAMAUSILI               Address on file
29938813          PEARNE & GORDON LLP                   1801 EAST NINTH ST., #1200                                                                                                  CLEVELAND                OH           44114
30355190          Name on file                          Address on file
30208477          PEASE PUBLIC LIBRARY                  1 RUSSELL STREET                                                                                                            PLYMOUTH                 NH           03264
30355556          Name on file                          Address on file

30182304          Pebbles                               G‐104, Yamuna Apartments, Alaknanda                                                                                         New Delhi                             110019          India
30351255          Name on file                          Address on file
30332555          Name on file                          Address on file
30340538          Name on file                          Address on file
30292993          Peckham KF, LLC and Peckham PH, LLC   c/o Kampar Corporation                 6338 Wilshire Blvd.                                                                  Los Angeles              CA           90048
30213127          PECKHAM SQUARE, LLC                   C/O KAMPAR CORPORATION                 6338 WILSHIRE BLVD.                                                                  LOS ANGELES              CA           90048
30210727          PECO ENERGY COMPANY                   2301 MARKET STREET, 16TH FLOOR                                                                                              PHILADELPHIA             PA           19103
29964929          PECO ENERGY COMPANY                   2301 MARKET STREET, S14‐1                                                                                                   PHILADELPHIA             PA           19103
29938819          PECO/37629                            PO BOX 37629                                                                                                                PHILADELPHIA             PA           19101
29938821          PECO‐ARC INSTITUTIONAL REIT LLC       RICHMOND STATION LLC DEPT 3145         PO BOX 2252                                                                          BIRMINGHAM               AL           35246‐3145
30262474          Name on file                          Address on file
29938822          Name on file                          Address on file
30394406          Name on file                          Address on file
29938830          PEERBASICS LLC                        805 E BLOOMINGDALE AVE                                                                                                      BRANDON                  FL           33511
30260680          Name on file                          Address on file
30333606          Name on file                          Address on file
30336902          Name on file                          Address on file
29952508          PEGGY CAMPBELL CO. COLLECTOR          BUCHANAN COUNTY COURT HOUSE            411 JULES                                                                            SAINT JOSEPH             MO           64501‐1788
29938848          PEGGY TORRES                          Address on file
29938851          PEGGY VANDERVELDE                     Address on file
30358164          Name on file                          Address on file
30211840          PELHAM PUBLIC LIBRARY                 24 VILLAGE GREEN                                                                                                            PELHAM                   NH           03076
30332659          Name on file                          Address on file
30332223          Name on file                          Address on file
30385132          Name on file                          Address on file
30352736          Name on file                          Address on file
30340735          Name on file                          Address on file
29962189          PEMBROKE PINES                        FALSE ALARM REDUCTION PROGRAM          PO BOX 24620                                                                         WEST PALM BEACH          FL           33416
LC_0516           Pembroke Public Library               142 Center Street                                                                                                           Pembroke                 ON           K8A4K5          Canada
30208478          PEMBROKE PUBLIC LIBRARY               237 VICTORIA STREET                                                                                                         PEMBROKE                 ON           K8A 4K5         CANADA
29962191          Name on file                          Address on file
30399722          Name on file                          Address on file
30349780          Name on file                          Address on file
30354533          Pena, Janelle Louise                  Address on file
30353025          Name on file                          Address on file
30354283          Name on file                          Address on file
30415192          Name on file                          Address on file




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  ADDRESS ID                           NAME                                    ADDRESS 1                        ADDRESS 2                        ADDRESS 3                 ADDRESS 4                    CITY        STATE     POSTAL CODE        COUNTRY
30211846          PENDLETON COMMUNITY PUBLIC LIBRARY              595 E WATER ST                                                                                                       PENDLETON               IN           46064
30211847          PENFIELD HIGH SCHOOL                            25 HIGH SCHOOL DR                                                                                                    PENFIELD                NY           14526
30208480          PENFIELD HIGH SCHOOL                            P.O. BOX 900                                                                                                         PENFIELD                NY           14526
30208481          PENFIELD HIGH SCHOOL LIBRARY                    25 HIGH SCHOOL DR                                                                                                    PENFIELD                NY           14526
30285008          Name on file                                    Address on file

29938863          PENINSULA BOARDWALK CROSSPOINT REALTY           303 SACRAMENTO ST                                                                                                    SAN FRANCISCO           CA           94111‐4384
29938864          Name on file                                    Address on file
29962198          PENN POWER                                      PO BOX 371422                                                                                                        PITTSBURGH              PA           15250‐7422
29962200          PENN TOWNSHIP                                   20 WAYNE AVENUE                                                                                                      HANOVER                 PA           17331
30340441          Name on file                                    Address on file
30340440          Name on file                                    Address on file
29962205          PENNICHUCK WATER WORKS, INC.                    PO BOX 428                                                                                                           NASHUA                  NH           03061‐0428
30416054          Name on file                                    Address on file
29962208          PENNMARK COVENTRY HOLDINGS LLC                  1000 GERMANTOWN PIKE A‐2                                                                                             PLYMOUTH MEETING        PA           19462
30213523          PENNMARK COVENTRY HOLDINGS, LLC                 1000 GERMANTOWN PIKE, SUITE A‐2   ATTN: BOB SICHELSTIEL                                                              PLYMOUTH MEETING        PA           19462
29938865          PENNSYLVANIA AMERICAN WATER                     P.O. BOX 371412                                                                                                      PITTSBURGH              PA           15250‐7412
29938867          PENNSYLVANIA DEPARTMENT OF REVENUE              OFFICE OF CHIEF COUNSEL           PO BOX 281061                                                                      HARRISBURG              PA           17128
29938868          PENNSYLVANIA STATE UNIVERSITY                   OFFICE OF THE BURSAR              103 SHIELDS BUILDING                                                               UNIVERSITY PARK         PA           16802‐1200
29938870          Name on file                                    Address on file
29938885          PENNY RACINE, LLC                               C/O LEARSI AND CO., INC.          ATTN: DAVID ISRAEL                3100 DUNDEE RD #308                              NORTHBROOK              IL           60062
30210966          PENNY RACINE, LLC                               C/O LEARSI AND CO., INC.          ATTN: DAVID ISRAEL                                                                 NORTHBROOK              IL           60062
29938894          PENNYLANE WILLIAMS                              Address on file
29938895          Name on file                                    Address on file
29938897          PENSACOLA HOSPITALITY LLC                       19001 EMERALD COAST PKWY          FAIRFIELD INN & SUITES DESTIN                                                      DESTIN                  FL           32541
29938899          PENSION BENEFIT INFORMATION LLC                 C/O LONGEVITY HOLDINGS INC        PO BOX 98388                                                                       WASHINGTON              DC           20090‐8300
29949630          PENSIONDANMARK                                  555 CALIFORNIA STREET             SUITE 3100                                                                         SAN FRANCISCO           CA           94104
                  PENSIONDANMARK
29949631          PENSIONSFORSIRKINGSAKTIESELSKAB                 LANGELINIE ALLÉ 43                                                                                                   KOBENHAVN 0                          2100            DENMARK
29938900          PEOPLEREADY INC                                 PO BOX 641034                                                                                                        PITTSBURGH              PA           15264‐1034
29964926          PEOPLE'S CAPITAL AND LEASING CORP.              1868 SOUTH 500 WEST                                                                                                  WOODS CREEK             UT           84087
30200572          PEOPLE'S CAPITAL AND LEASING CORP.              850 MAIN STREET, BC‐03                                                                                               BEIDGEPORT              CT           06604
29949632          PEOPLE'S CAPITAL AND LEASING CORP.              850 MAIN STREET, BC‐03                                                                                               BRIDGEPORT              CT           06604
29938901          PEOPLES GAS                                     PO BOX 1110                                                                                                          GLENVIEW                IL           60025
29938903          Name on file                                    Address on file
29938904          PEOPLES/644760                                  PO BOX 644760                                                                                                        PITTSBURGH              PA           15264‐4760
30208483          PEOTONE PUBLIC LIBRARY DISTRICT                 515 N. FIRST STREET                                                                                                  PEOTONE                 IL           60468
30208482          PEOTONE PUBLIC LIBRARY DISTRICT                 515 NORTH FIRST ST                                                                                                   PEOTONE                 IL           60408
29938906          Name on file                                    Address on file
30337272          Name on file                                    Address on file
30333835          Name on file                                    Address on file

29938907          PEPCO (POTOMAC ELECTRIC POWER COMPANY) PO BOX 13608                                                                                                                  PHILADELPHIA            PA           19101‐3608
30340269          Name on file                           Address on file

30210619          PEPSI‐COLA ADVERTISING AND MARKETING, INC. 700 ANDERSON HILL ROAD                                                                                                    PURCHASE                NY           10577
29938912          PEQUANNOCK TOWNSHIP                        530 TURNPIKE                                                                                                              POMPTON PLAINS          NJ           07444
29952510          PEQUANNOCK TOWNSHIP HEALTH DEPT            530 TURNPIKE                                                                                                              POMPTON PLAINS          NJ           07444
30295367          Name on file                               Address on file
30358218          Name on file                               Address on file
30340926          Name on file                               Address on file
30349428          Name on file                               Address on file
30396738          Name on file                               Address on file
30342140          Name on file                               Address on file
30397489          Name on file                               Address on file
30332593          Name on file                               Address on file
29938913          PERFAWARE LLC                              511 E. JOHN CARPENTER FWY., #500                                                                                          IRVING                  TX           75062
29938914          PERFICIENT INC                             555 MARYVILLE UNIV DR #600                                                                                                SAINT LOUIS             MO           63141
29938915          PERFORMANCE HORIZON GROUP LTD              PARTNERIZE                             PO BOX 22736                                                                       NEW YORK                NY           10087‐2736

30260403          Performance Horizon Group Ltd. t/a Partnerize   1339 Chestnut Street              Suite 500                                                                          Philadlephia            PA           19107
30211443          PERISCOPEART INC                                3500 W. OLIVE AVE., #300                                                                                             BURBANK                 CA           91505
30261326          Name on file                                    Address on file




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30341906          Name on file                            Address on file
30396518          Name on file                            Address on file
30340988          Name on file                            Address on file
30401952          Name on file                            Address on file
29962213          Name on file                            Address on file
30354338          Name on file                            Address on file
29962215          PERRIN ASPHALT COMPANY INC              525 DAN ST                                                                                                 AKRON                  OH           44310
30358270          Name on file                            Address on file
29962219          PERRY PORTER                            Address on file
30356698          Name on file                            Address on file
30347023          Name on file                            Address on file
30386176          Name on file                            Address on file
29938922          Name on file                            Address on file
29938923          PERSONNEL RESEARCH & DEVEL. CORP        PRADCO                    178 EAST WASHINGTON ST.                                                          CHAGRIN FALLS          OH           44022
29938924          Name on file                            Address on file
30208484          PERTH & DISTRICT UNION PUBLIC LIBRARY   30 HERRIOTT ST                                                                                             PERTH                  ON           K7H 1T2         CANADA
30208485          PERTH AND DISTRICT UNION LIBRARIES      30 HERRIOTT STREET                                                                                         PERTH                  ON           K7H 1T2         CANADA
29938925          Name on file                            Address on file

30213399          PERU GKD PARTNERS, LLC                  C/O GK REAL ESTATE        257 EAST MAIN STREET, SUITE 200                                                  BARRINGTON             IL           60010
30414314          Name on file                            Address on file
30414873          Name on file                            Address on file
30352666          Name on file                            Address on file
30401053          Name on file                            Address on file
29938929          Name on file                            Address on file
30332716          Name on file                            Address on file
29938933          PETER DIXON                             Address on file
29938942          PETER MEYER                             Address on file
30353377          Name on file                            Address on file
29938954          Name on file                            Address on file
30208490          PETERBOROUGH PUBLIC LIBRARY             345 AYLMER STREET NORTH                                                                                    PETERBOROUGH           ON           K9H 3V7         CANADA
29938955          PETEREIT INVESTMENTS INC                8220 LOUETTA RD, #162                                                                                      SPRING                 TX           77379‐7030
30394662          Name on file                            Address on file
LC_0521           Peters Township Public Library          616 East Mcmurray Rd                                                                                       Mcmurray               PA           15317‐3420
30208494          PETERS TOWNSHIP PUBLIC LIBRARY          616 E MCMURRAY RD                                                                                          MCMURRAY               PA           15317
29938956          Name on file                            Address on file
30345206          Name on file                            Address on file
30335693          Name on file                            Address on file
30340621          Name on file                            Address on file
30338396          Name on file                            Address on file
30338883          Name on file                            Address on file
30395413          Name on file                            Address on file
29938957          Name on file                            Address on file
30396030          Name on file                            Address on file
30351233          Name on file                            Address on file
30261733          Name on file                            Address on file
30397345          Name on file                            Address on file
30385012          Name on file                            Address on file
30347017          Name on file                            Address on file
30348941          Name on file                            Address on file
30334870          Name on file                            Address on file
30342951          Name on file                            Address on file
30398458          Name on file                            Address on file
30353593          Name on file                            Address on file
30399867          Name on file                            Address on file
30399868          Name on file                            Address on file
30208498          PETOSKEY DISTRICT LIBRARY               500 E. MITCHELL ST.                                                                                        PETOSKEY               MI           49770
30343881          Name on file                            Address on file
30344450          Name on file                            Address on file
30356686          Name on file                            Address on file
30332342          Name on file                            Address on file
30348036          Name on file                            Address on file
30343397          Name on file                            Address on file




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30340348          Name on file                            Address on file
29938975          Name on file                            Address on file
30211852          PFLUGERVILLE PUBLIC LIBRARY             1008 W PFLUGER ST                                                                                                        PFLUGERVILLE               TX           78660
                                                                                               4660 LA JOLLA VILLAGE DR STE 100
29938977          PG SOURCE ACQUISITION INC               SOURCE INTELLIGENCE                  #3065                                                                               SAN DIEGO                  CA           92122
30335918          PG&E                                    PO BOX 8329                                                                                                              STOCKTON                   CA           95208
30210921          PH 706‐750 N CASSALOMA DR LLC           C/O PRAIRIE HILL HOLDINGS LLC        272 MARKET SQ STE 210                                                               LAKE FOREST                IL           60045‐1866
29938979          PH 706‐750 N CASSALOMA DR LLC           C/O PRAIRIE HILL HOLDINGS LLC        272 MARKET SQ STE 211                                                               LAKE FOREST                IL           60045‐0033
30348704          Name on file                            Address on file
30398144          Name on file                            Address on file
30344464          Name on file                            Address on file
29962223          PHARR POLICE DEPT ‐ ALARMS              1900 S CAGE BLVD                                                                                                         PHARR                      TX           78577
30335418          Name on file                            Address on file
30351515          Name on file                            Address on file
29962226          Name on file                            Address on file
30332073          Name on file                            Address on file
29962227          Name on file                            Address on file
30395098          Name on file                            Address on file
29962229          PHIL SIMON ENTERPRISES INC              PO BOX 8577                                                                                                              GRAND RAPIDS               MI           49518
30213513          PHIL SIMON ENTERPRISES, INC.            ATTN: SANFORD SIMON, PRESIDENT       1457 44TH ST., SUITE 200                                                            GRAND RAPIDS               MI           49508
30182401          Phil Simon Enterprises, Inc.            Sanford Simon                        1457 44th Street                                                                    Grand Rapids               MI           49518
                  PHILADELPHIA COUNTY, PA COUNTY CONSUMER
30207958          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION   1600 ARCH ST #300                                                                   PHILADELPHIA               PA           19103
29962231          PHILADELPHIA GAS WORKS                  PO BOX 11700                                                                                                             NEWARK                     NJ           07101‐4700
30399571          Name on file                            Address on file
29938991          PHILIP ODANGO                           Address on file
29939007          PHILLIP WILLISON                        Address on file
29939006          PHILLIP WILLISON                        Address on file
29939010          Name on file                            Address on file
29939014          Name on file                            Address on file
29939015          PHILLIPS MURRAH PC                      101 N. ROBINSON, 13TH FL.                                                                                                OKLAHOMA CITY              OK           73102
30335298          Name on file                            Address on file
30337605          Name on file                            Address on file
30259702          Name on file                            Address on file
30349664          Name on file                            Address on file
29972761          Name on file                            Address on file
29949798          PHILOSOPHY CAPITAL MANAGEMENT           3201 DANVILLE BLVD                   STE 100                                                                             ALAMO                      CA           94507
29949633          PHILOSOPHY CAPITAL PARTNERS, LP         3201 DANVILLE BLVD                   STE 100                                                                             ALAMO                      CA           94507
30395364          Name on file                            Address on file
29962234          Name on file                            Address on file
                                                                                               Lot 92‐93, Linh Trung EPZ and
30182700          Phoenix Stationery Vietnam Co., Ltd     Attn: William Chen                   Industrial Park III                An Tinh Ward, Trang Bang Town                    Tay Ninh Province                       70 000          Vietnam
30223217          PHRASEE LTD                             5&6 CRES STAB 139 UPPER RICH RD                                                                                          LONDON                                  SW15 STN        UNITED KINGDOM
29939032          PHYLICIA BURFORD                        Address on file
30395301          Name on file                            Address on file
30397423          Name on file                            Address on file
29939044          Name on file                            Address on file
30385496          Name on file                            Address on file
30385498          Name on file                            Address on file
29939045          Name on file                            Address on file
30208502          PICKERING PUBLIC LIBRARY                1 THE ESPLANADE S                                                                                                        PICKERING                  ON           L1V 2R6         CANADA
30223218          PICKERING PUBLIC LIBRARY                ONE THE ESPLANADE                    PO BOX 368                                                                          PICKERING                  ON           L1V 6K7         CANADA
30208501          PICKERING PUBLIC LIBRARY                ONE THE ESPLANADE                    PO BOX 368                                                                          PICKERING                  ON           L1V 2R6         CANADA
30414693          Name on file                            Address on file
29939046          Name on file                            Address on file
30342957          Name on file                            Address on file
29939047          Name on file                            Address on file
30351705          Name on file                            Address on file
30341048          Name on file                            Address on file
29939048          PIEDMONT NATURAL GAS                    PO BOX 1246                                                                                                              CHARLOTTE                  NC           28201‐1246
30296177          Piek, Anthony Kenneth                   Address on file
30393191          Name on file                            Address on file
29939051          PIERCE COUNTY                           ALARM PROGRAM                        PO BOX 731302                                                                       PUYALLUP                   WA           98373




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29939050          PIERCE COUNTY                          BUDGET AND FINANCE                    PO BOX 11621                                                                         TACOMA                  WA           98411‐6621
                  PIERCE COUNTY, WA COUNTY CONSUMER
30207959          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 930 TACOMA AVENUE S                                                                     TACOMA                  WA           98402
30415162          Name on file                           Address on file
29939056          Name on file                           Address on file
30333399          Name on file                           Address on file
30335933          Name on file                           Address on file
30397830          Name on file                           Address on file
30416048          Name on file                           Address on file

29939058          PIH SALEM LLC                          DBA PHOENIX INN & SUITES NORTH SALE   4370 COMMERCIAL ST SE                                                                SALEM                   OR           97302
30208503          PIKE COUNTY PUBLIC LIBRARY             1008 E MAPLE STREET                                                                                                        PETERSBURG              IN           47567
29939062          Name on file                           Address on file
30414626          Name on file                           Address on file
30358196          Name on file                           Address on file
30335537          Name on file                           Address on file
29939063          PIMA COUNTY TREASURER                  115 N CHURCH AVE                                                                                                           TUCSON                  AZ           85701‐1199
                  Pima County, Arizona c/o Pima County
30207471          Attorney's Office                      Javier A. Gherna                      Deputy County Attorney for PCAO   32 N Stone Ave.               Suite 2100           Tucson                  AZ           85701
                  PIMA COUNTY, AZ COUNTY CONSUMER
30207960          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 115 N CHURCH AVE, 2ND FLOOR          STE 231                                            TUCSON                  AZ           85701
29939064          PINAL COUNTY TREASURER                 PO BOX 729                                                                                                                 FLORENCE                AZ           85132
                  PINAL COUNTY, AZ COUNTY CONSUMER
30207961          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 31 N PINAL ST                                                                           FLORENCE                AZ           85132
29939065          PINCH PROVISIONS                       PO BOX 401                                                                                                                 MOUNT PROSPECT          IL           60056
30346951          Name on file                           Address on file
30350976          Name on file                           Address on file
29939066          Name on file                           Address on file
30208504          PINE RIVER LIBRARY                     395 BAYFIELD CENTER DRIVE                                                                                                  BAYFIELD                CO           81122
                                                                                            555 WEST BROWN DEER ROAD,
30213526          PINE TREE PARTNERS, LLC                C/O MIDLAND MANAGEMENT, LLC        SUITE 220                                                                               MILWAUKEE               WI           53217
29949228          PINELLAS COUNTY TAX COLLECTOR          PINELLAS COUNTY                    PO BOX 1729                                                                             CLEARWATER              FL           34617‐1729
30288305          Pinellas County Utilities              Jeffrey N. Klein                   315 Court Street                     6th Floor                                          Clearwater              FL           33756
29939069          PINELLAS COUNTY UTILITIES, FL          PO BOX 31208                                                                                                               TAMPA                   FL           33631‐3208
                  PINELLAS COUNTY, FL COUNTY CONSUMER
30207962          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 14250 49TH ST N                      STE 1000                      ROOM 2               CLEARWATER              FL           33762
29939071          PING IDENTITY CORPORATION              1001 17TH ST STE 100                                                                                                       DENVER                  CO           80202
30349889          Pink Light Design, LCC                 2943 N Cerritos Road                                                                                                       Palm Springs            CA           92262
29939073          Name on file                           Address on file
30358391          Name on file                           Address on file
29939075          Name on file                           Address on file
29939076          Name on file                           Address on file
VC_012            Pinterest                              P.O. BOX 74008066                                                                                                          CHICAGO                 IL           60674‐8066
30211854          PIONEER LIBRARY SYSTEM                 300 NORMAN CENTER COURT                                                                                                    NORMAN                  OK           73072
30211444          PIPSTICKS                              228 PARK AVE S 584806                                                                                                      NEW YORK                NY           10003‐1502
29962256          PIQUA CITY HEALTH DEPT                 201 WEST WATER STREET                                                                                                      PIQUA                   OH           45356
29949229          PIQUA HEALTH DEPT                      201 WEST WATER STREET                                                                                                      PIQUA                   OH           45356
30258864          Name on file                           Address on file
30257189          Name on file                           Address on file
30333549          Name on file                           Address on file
29962257          Name on file                           Address on file
30208505          PITKIN COUNTY LIBRARY                  120 NORTH MILL ST.                                                                                                         ASPEN                   CO           81611
29962258          PITNEY BOWES BANK INC                  PURCHASE POWER                     PO BOX 981026                                                                           BOSTON                  MA           02298‐1026
29962259          PITNEY BOWES INC                       PO BOX 981039                                                                                                              BOSTON                  MA           02298‐1039
30210621          PITNEY BOWES INC.                      27 WATERVIEW DR                                                                                                            SHELTON                 CT           06484
29949771          PITT REALTY LLC                        5961 W. PARKER RD. SUITE 1111                                                                                              PLANO                   TX           75093

30213479          PITT REALTY LLC                        C/O NAMDAR REALTY GROUP LLC           150 GREAT NECK ROAD, SUITE 304                                                       GREAT NECK              NY           11021
29962262          PITT REALTY LLC                        PO BOX 25078                                                                                                               TAMPA                   FL           33622
30339894          Name on file                           Address on file
29949230          PITTSFIELD CHARTER TOWNSHIP            PER PROP TAX                          6201 W MICHIGAN AVE                                                                  ANN ARBOR               MI           48108
29962263          PITTSFIELD CHARTER TOWNSHIP            PER PROP TAX 99‐30‐067‐290            6201 W MICHIGAN AVE                                                                  ANN ARBOR               MI           48108
30337195          PITTSFIELD CHARTER TOWNSHIP, MI        FINK & FINK                           MARIAH EVANS FINK                 3025 MILLER RD                                     ANN ARBOR               MI           48103




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30208507          PITTSFORD COMMUNITY LIBRARY              24 STATE STREET                                                                                                         PITTSFORD               NY           14534
29962266          PIVOTAL RETAIL GROUP LLC                 889 FRANKLIN GATEWAY SE                                                                                                 MARIETTA                GA           30067
30211602          PixelMEDIA, LLC. dba RafterOne           75 NEW HAMPSHIRE AVE               SUITE 100                                                                            PORTSMOUTH              NH           03801
30335376          Name on file                             Address on file
30337178          Name on file                             Address on file
30340956          Name on file                             Address on file
29939096          PJ BUSH ASSOCIATES INC                   VISCOMM                            15901 INDUSTRIAL PARKWAY                                                             CLEVELAND               OH           44135
29939097          PJ VENTURE BLDG. 2, LLC                  P.O. BOX 348                                                                                                            COMMACK                 NY           11725
29964915          PK I GRESHAM TOWN FAIR LLC               500 N BROADWAY                     STE 201                                                                              JERICHO                 NY           11753‐2128

30213572          PK I GRESHAM TOWN FAIR LLC               C/O KIMCO REALTY CORPORATION       500 NORTH BROADWAY , SUITE 200                                                       JERICHO                 NY           11753
29939099          PK I GRESHAM TOWN FAIR LLC               PO BOX 30344                                                                                                            TAMPA                   FL           33630
30213200          PK I SILVERDALE SHOPPING CENTER LLC      500 NORTH BROADWAY, SUITE 201      P.O. BOX 9010                                                                        JERICHO                 NY           11753
30335047          Name on file                             Address on file
30211855          PLACENTIA LIBRARY DISTRICT               411 E CHAPMAN AVE                                                                                                       PLACENTIA               CA           92870
29939103          PLACER COUNTY TAX COLLECTOR              PO BOX 7790                                                                                                             AUBURN                  CA           95604‐7790
29939104          PLACER LABS INC                          440 N. BARRANCA AVE. #1277                                                                                              COVINA                  CA           91723
30353443          Name on file                             Address on file
30393708          Name on file                             Address on file
29939106          PLAID ENTERPRISES INC                    3225 WESTECH DRIVE                                                                                                      NORCROSS                GA           30092
29966939          Plaid Enterprises, Inc.                  P.O. Box 101151                                                                                                         Atlanta                 GA           30392
29962267          Name on file                             Address on file
29962268          Name on file                             Address on file
30208509          PLAINFIELD PUBLIC LIBRARY DISTRICT       15025 S. ILLINOIS STREET                                                                                                PLAINFIELD              IL           60544
29962269          Name on file                             Address on file
29962270          Name on file                             Address on file
                  PLAINFIELD‐GUILFORD TOWNSHIP PUBLIC
30208511          LIBRARY                                  1120 STAFFORD RD                                                                                                        PLAINFIELD              IN           46168
30211857          PLAINVILLE PUBLIC LIBRARY                198 SOUTH STREET                                                                                                        PLAINVILLE              MA           02762
30211858          PLAISTOW PUBLIC LIBRARY                  85 MAIN STREET                                                                                                          PLAISTOW                NH           03865
30211445          PLANET EARTH EYEWEAR LLC                 343 SOUTH RIVER STREET                                                                                                  HACKENSACK              NJ           07601
30335631          Name on file                             Address on file
29962273          PLANO POLICE DEPT                        FALSE ALARM REDUCTION UNIT         PO BOX 860358                                                                        PLANO                   TX           75086
29962274          PLANS EXAMINERS INC                      1000 CHURCH HILL RD STE 210                                                                                             PITTSBURGH              PA           15205
29962275          PLANT‐A INSIGHTS GROUP LLC               153 REMSEN ST., #10D                                                                                                    BROOKLYN                NY           11201
29962276          PLANTATION PATTERNS LLC                  400 CHASE PARK SOUTH, SUITE 212                                                                                         BIRMINGHAM              AL           35244
29962277          PLANTATION POLICE DEPT                   RECORDS DIVISION                   451 NW 70TH TERRACE                                                                  PLANTATION              FL           33317
30358329          Name on file                             Address on file
30348098          Name on file                             Address on file
30334043          Name on file                             Address on file
30384990          Name on file                             Address on file
29962278          PLASTIC PALLET & CONTAINER INC           2305 CHESTNUT BLVD                                                                                                      CUYAHOGA FALLS          OH           44223
29972762          Name on file                             Address on file
29939107          Name on file                             Address on file
29939108          Name on file                             Address on file
29939109          Name on file                             Address on file
29949232          PLATTE CO. COLLECTOR, SHEILA L. PALMER   415 THIRD STREET STE 40                                                                                                 PLATTE CITY             MO           64079‐8475
29939110          PLATTE COUNTY TAX COLLECTOR              415 THIRD STREET STE 40                                                                                                 PLATTE CITY             MO           64079‐8475
30297447          Platte Purchase Plaza, LLC               c/o Lewis Rice LLC                 Attn: Kyle Binns                  1010 Walnut                    Suite 500           Kansas City             MO           64106
30213246          PLATTE PURCHASE PLAZA, LLC               C/O MD MANAGEMENT, INC.            5201 JOHNSON DR., SUITE 450                                                          MISSION                 KS           66205
29939113          Name on file                             Address on file
30208517          PLATTEKILL PUBLIC LIBRARY                2047 STATE RT. 32                                                                                                       MODENA                  NY           12548
29939114          Name on file                             Address on file
29939116          PLAYTEK LLC                              1 EAST 33RD STREET 11TH FLOOR                                                                                           NEW YORK                NY           10016
                                                                                              ATTN: MICHAEL J. KAHLE,
30213540          PLAZA 20, INC.                           2600 DODGE STREET, SUITE #D4       PRESIDENT                                                                            DUBUQUE                 IA           52003
29939120          PLAZA 41 LLC                             517 W 22ND ST                                                                                                           SIOUX FALLS             SD           57105‐1701
                                                           C/O SOLUTIONS PROPERTY
29939121          PLAZA 41, LLC                            MANAGEMENT, LLC                    ATTN: JIM DUNHAM                  517 W. 22ND STREET                                 SIOUX FALLS             SD           57105
29939122          Name on file                             Address on file
30213170          PLAZA AT BUCKLAND HILLS, LLC             C/O BRIXMOR PROPERTY GROUP, INC.   200 RIDGE PIKE, SUITE 100                                                            CONSHOHOCKEN            PA           19428
                                                                                              4900 EAST DUBLIN GRANVILLE RD.,
30213084          PLAZA AT COUNTRYSIDE, LLC                C/O WPG                            4TH FLOOR                                                                            COLUMBUS                OH           43081




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30213093          PLAZA ENTERPRISES                     49 NEW LONDON TURNPIKE                                                                                                   NORWICH                   CT           06360
29939128          PLAZA FARMINGTON IV LLC               8841 MACOMB ST., #269                                                                                                    GROSSE ILE                MI           48138
30211860          PLEASANT HILL PUBLIC LIBRARY          5151 MAPLE DR                                                                                                            PLEASANT HILL             IA           50327
29939131          Name on file                          Address on file
29939132          PLEXAR ASSOCIATES INC                 3120 BELVOIR BLVD.                                                                                                       SHAKER HEIGHTS            OH           44122
30394487          Name on file                          Address on file
30414364          Name on file                          Address on file
30414725          Name on file                          Address on file
30213331          PLOVER WI HOLDINGS, LLC               2439 KUSER ROAD                      ATTN: LEGAL DEPARTMENT                                                              HAMILTON                  NJ           08690
30212430          PLUM CREEK LIBRARY SYSTEM             290 S LAKE ST                                                                                                            WORTHINGTON               MN           56187
30342415          Name on file                          Address on file
29939136          PLUS MARK LLC                         ONE AMERICAN ROAD                                                                                                        CLEVELAND                 OH           44144
29939137          Name on file                          Address on file
29939138          PLUS‐PLUS USA LLC                     1801 RUTHERFORD RD                                                                                                       GREENVILLE                SC           29609
30397068          Name on file                          Address on file

30213680          PLYMOUTH CENTER LIMITED PARTNERSHIP   C/O CHASE PROPERTIES LTD             3333 RICHMOND ROAD SUITE 320                                                        BEACHWOOD                 OH           44122
29962279          PLYMOUTH CENTER LP                    C/O CHASE PROPERTIES LTD             PO BOX 92317                                                                        CLEVELAND                 OH           44193
                  PLYMOUTH COUNTY, MA COUNTY CONSUMER
30207963          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION   44 OBERY ST                                                                         PLYMOUTH                  MA           02360
LC_0529           Plymouth District Library             223 South Main Street                                                                                                    Plymouth                  MI           48170‐1637
29962280          Name on file                          Address on file
30211861          PLYMOUTH PUBLIC LIBRARY               132 SOUTH STREET                                                                                                         PLYMOUTH                  MA           02360
30208518          PLYMOUTH PUBLIC LIBRARY               223 S MAIN STREET                                                                                                        PLYMOUTH                  MI           48170
30211862          PLYMPTON PUBLIC LIBRARY               248 MAIN ST                                                                                                              PLYMPTON                  MA           02367
29962283          PMAT WATERSIDE LLC                    109 NORTHPARK BLVD #300                                                                                                  COVINGTON                 LA           70433
30214549          PMC ANALYTICS US LLC                  ATTN: JILL RUFNER                    25 WEST 36TH STREET                9TH FLOOR                                        NEW YORK                  NY           10018
29962284          PMC ANALYTICS US LLC                  ATTN: JILL RUFNER                    708 THIRD AVE, 20TH FL                                                              NEW YORK                  NY           10017
29962285          PMC ASSOCIATES INC                    160 TYLER ROAD N                                                                                                         RED WING                  MN           55066
29962286          PMC TREASURY INC                      25 WEST, 36TH STREET 9TH FL.                                                                                             NEW YORK                  NY           10018
30211446          PME CAKE USA LTD                      166 SHEPSTONE ROAD                   KW                                                                                  NEW GERMANY                            03610           SOUTH AFRICA
29962287          PME CAKE USA LTD                      518 MIDDLE AVENUE                                                                                                        AURORA                    IL           60506
30223220          PMF TRAILER RENTALS LLC               250 GRANDVIEW DR., #450                                                                                                  FT MITCHELL               KY           41017

29964866          PNC                                   NANCY CONCITIS                       TWO TOWER CENTER BOULEVARD         J3‐JTTC‐17‐6                                     EAST BRUNSWICK            NJ           08816
29962288          PNC BANK NA                           PO BOX 821523                                                                                                            PHILADELPHIA              PA           19182‐1523
30223221          PNC BANK, NATIONAL ASSOCIATION        300 FIFTH AVENUE                                                                                                         PITTSBURGH                PA           15222
29962289          PND RUDZKI SERVICE INC                4479 LAWN AVE                        #361                                                                                WESTERN SPRINGS           IL           60558
29939140          PNM                                   PNM RESOURCES HEADQUARTERS           414 SILVER AVE SW #4                                                                ALBUQUERQUE               NM           87102
29962290          PNM                                   PO BOX 27900                                                                                                             ALBUQUERQUE               NM           87125‐7900
30213153          PNS STORES, INC.                      C/O BIG LOTS STORES, INC.            4900 E. DUBLIN GRANVILLE RD.                                                        COLUMBUS                  OH           43081
30339967          Name on file                          Address on file
30340568          Name on file                          Address on file
30396184          Name on file                          Address on file
30353846          Name on file                          Address on file
30344234          Name on file                          Address on file
LC_0531           Pointe‐Claire Public Library          100 Avenue Douglas‐Shand                                                                                                 Pointe‐Claire             QC           H9R 4V1         Canada
30208520          POINTE‐CLAIRE PUBLIC LIBRARY          100 DOUGLAS‐SHAND AVENUE                                                                                                 POINTE‐CLAIRE             QC           H9R 4V1         CANADA
30354024          Name on file                          Address on file

30213174          POLARIS TOWNE CENTER SC, LLC          C/O CENTER ACQUISITION HOLDINGS, LLC 814 COMMERCE DRIVE, SUITE 300                                                       OAK BROOK                 IL           60523
30297435          Polaris Towne Center SC, LLC          Peter Borzak                         1 Tower Lane                       Suite 400                                        Oakbrook Terrace          IL           60181
30332089          Name on file                          Address on file
30414719          Name on file                          Address on file
30208522          POLK CITY COMMUNITY LIBRARY           1500 W. BROADWAY                                                                                                         POLK CITY                 IA           50226
29939148          POLK COUNTY                           111 COURT AVENUE                                                                                                         DES MOINES                IA           50309
                  POLK COUNTY, FL COUNTY CONSUMER
30207964          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 200 GOVERNMENT CENTER BLVD                                                            LAKE ALFRED               FL           33850
                  POLK COUNTY, IA COUNTY CONSUMER
30207965          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 111 COURT AVE                        ROOM 300                                         DES MOINES                IA           50309
29949234          POLK TAX COLLECTOR                    POLK COUNTY                        PO BOX 1189                                                                           BARTOW                    FL           33830
30394610          Name on file                          Address on file
30353497          Name on file                          Address on file




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29939151          POLLY A BRYANT                         Address on file
29939156          Name on file                           Address on file
30262482          Name on file                           Address on file
30347132          Name on file                           Address on file
30276387          Polytek Development Corporation        P.O. Box 775287                                                                                                           Chicago                   IL           60677
30276388          Polytek Development Corporation        Wendy Laughlin                         55 Hilton Street                                                                   Easton                    PA           18042
29939158          Name on file                           Address on file
30338414          Name on file                           Address on file
30416088          Name on file                           Address on file
30334773          Name on file                           Address on file
29939161          POMPANO MZL LLC                        535 5TH AVE, 12TH FLOOR                                                                                                   NEW YORK                  NY           10017
                                                         C/O KPR CENTERS LLC (KATZ PROPERTIES
30213032          POMPANO MZL LLC                        RETAIL)                                535 FIFTH AVENUE, 12TH FLOOR                                                       NEW YORK                  NY           10017
30351545          Name on file                           Address on file
                                                                                            31500 NORTHWESTERN HWY, SUITE
30213372          PONTIAC MALL LIMITED PARTNERSHIP       C/O GERSHENSON REALTY & INVESTMENT 100                                                                                    FARMINGTON HILLS          MI           48334
30397231          Name on file                           Address on file
30333600          Name on file                           Address on file
30358188          Name on file                           Address on file
30211447          POOPBAGS.COM LLC                       470 SATELLITE BLVD NE                                                                                                     SUWANEE                   GA           30024
29939168          Name on file                           Address on file
30211448          POP SOCKETS LLC                        5757 CENTRAL AVENUE                                                                                                       BOULDER                   CO           80301
30395307          Name on file                           Address on file
30208528          POPLAR CREEK PUBLIC LIBRARY            1405 S PARK AVE                                                                                                           STREAMWOOD                IL           60107
29939169          Name on file                           Address on file
LC_0532           Poplar Creek Public Library District   1405 South Park Avenue                                                                                                    Streamwood                IL           60107‐2939
30354738          Name on file                           Address on file
30338724          Name on file                           Address on file
30416575          Name on file                           Address on file
30213665          PORT ANGELES PLAZA ASSOCIATES, LLC     650 SOUTH ORCAS STREET, SUITE 210  ATTN: EZRA GENAUER                                                                     SEATTLE                   WA           98108
29939178          Name on file                           Address on file
30211863          PORT WASHINGTON PUBLIC LIBRARY         1 LIBRARY DR                                                                                                              PORT WASHINGTON           NY           11050
30208537          PORTAGE COUNTY DISTRICT LIBRARY        10482 SOUTH ST                                                                                                            GARRETTSVILLE             OH           44231
30208538          PORTAGE COUNTY DISTRICT LIBRARY        10482 SOUTH ST. GARRE?                                                                                                    SVILLE                    OH           44231
29939180          Name on file                           Address on file
                  PORTAGE COUNTY, WI COUNTY CONSUMER
30207966          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION ANNEX BLDG                            1462 STRONGS AVE, 3RD FLOOR                      STEVENS POINT             WI           54481
30211864          PORTAGE DISTRICT LIBRARY               300 LIBRARY LANE                                                                                                          PORTAGE                   MI           49002
29939182          Name on file                           Address on file
30357009          Name on file                           Address on file
29939184          Name on file                           Address on file
30208540          PORTER COUNTY PUBLIC LIBRARY SYSTEM    103 JEFFERSON ST                                                                                                          VALPARAISO                IN           46383
LC_0535           Porter Public Library                  27333 Center Ridge Rd.                                                                                                    Westlake                  OH           44145‐3947
30284791          Name on file                           Address on file
30340281          Name on file                           Address on file
30394684          Name on file                           Address on file
30336766          Name on file                           Address on file
30347644          Name on file                           Address on file
30394414          Name on file                           Address on file
29939187          PORTLAND GENERAL ELECTRIC (PGE)        PO BOX 4438                                                                                                               PORTLAND                  OR           97208‐4438
29964930          PORTLAND GENERAL ELECTRIC COMPANY      1WTC0509                           121 SW SALMON ST.                                                                      PORTLAND                  OR           97204
29939189          PORTLAND WATER DISTRICT ‐ ME           PO BOX 9751                                                                                                               PORTLAND                  ME           04104‐5051
30211870          PORTSMOUTH PUBLIC LIBRARY              1220 GALLIA ST                                                                                                            PORTSMOUTH                OH           45662
30211871          PORTSMOUTH PUBLIC LIBRARY              175 PARROTT AVE                                                                                                           PORTSMOUTH                NH           03801
30335228          Name on file                           Address on file
29939193          POSTMASTER HUDSON                      Address on file
29950989          POSTMASTER STOW                        3900 DARROW RD                     PO BOX FEE PAYMENT                                                                     STOW                      OH           44224‐9998
29950990          POTOMAC EDISON                         PO BOX 371431                                                                                                             PITTSBURGH                PA           15250‐7431
29950992          POTTAWATOMIE COUNTY TREAS.             325 NORTH BROADWAY, STE. 203                                                                                              SHAWNEE                   OK           74801
                  POTTAWATOMIE COUNTY, OK COUNTY
30207967          CONSUMER PROTECTION AGENCY             ATTN: CONSUMER PROTECTION DIVISION 309 NORTH BROADWAY AVE                                                                 SHAWNEE                   OK           74801
29950993          Name on file                           Address on file




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  ADDRESS ID                           NAME                              ADDRESS 1                        ADDRESS 2                          ADDRESS 3                ADDRESS 4                    CITY        STATE     POSTAL CODE        COUNTRY
                  POTTAWATOMIE WABAUNSEE REGIONAL
30208541          LIBRARY                                   306 N. 5TH STREET                                                                                                     ST. MARYS               KS           66536
                  POTTAWATTAMIE COUNTY, IA COUNTY
30207968          CONSUMER PROTECTION AGENCY                ATTN: CONSUMER PROTECTION DIVISION 227 S 6TH ST                                                                       COUNCIL BLUFFS          IA           51501

29949236          POTTER ‐ RANDALL TAX ASSESSOR COLLECTOR   PO BOX 9514                                                                                                           AMARILLO                TX           79105‐9514
30397533          Name on file                              Address on file
30333493          Name on file                              Address on file
30208542          POTTSTOWN REGIONAL PUBLIC LIBRARY         500 HIGH STREET                                                                                                       POTTSTOWN               PA           19464
30208545          POUDRE RIVER PUBLIC LIBRARY               201 PETERSON ST                                                                                                       FORT COLLINS            CO           80542
30208544          POUDRE RIVER PUBLIC LIBRARY               301 E OLIVE STREET                                                                                                    FORT COLLINS            CO           80524
LC_0538           Poudre River Public Library District      301 E Olive Street                                                                                                    Fort Collins            CO           80524‐2916
29950997          POUGHKEEPSIE PLAZA MALL, LLC              C/O MEHLICH ASSOCIATES              ATTN: ROBERT MEHLICH             8 DEPOT SQUARE # 7                               TUCKAHOE                NY           10707
30210879          POUGHKEEPSIE PLAZA MALL, LLC              C/O MEHLICH ASSOCIATES              ATTN: ROBERT MEHLICH                                                              TUCKAHOE                NY           10707
29950998          Name on file                              Address on file
30337965          Name on file                              Address on file
                                                                                               ATTN: ROZA STEPA, PROPERTY
30210887          POWAY INVESTMENT COMPANY                  C/O DUCKETT‐WILSON DEVELOPMENT CO. MANAGER                           11150 SANTA MONICA BLVD. #760                    LOS ANGELES             CA           90025
29951000          Name on file                              Address on file
30211872          POWELL RIVER PUBLIC LIBRARY               6975 ALBERNI ST                                                                                                       POWELL RIVER            BC           V8A 2B8         CANADA
30386576          Name on file                              Address on file
30335368          Name on file                              Address on file
30344330          Name on file                              Address on file
30340482          Name on file                              Address on file
30356090          Name on file                              Address on file
30356267          Name on file                              Address on file
29939195          Name on file                              Address on file
29949636          POWHATAN CO LLC FIAM FLOATING             PO BOX 392002                      BNY MELLON                                                                         PITTSBURGH              PA           15230
29949637          POWHATAN CO.,LLC FIDELITY INCOME          PO BOX 392002                      BNY MELLON                                                                         PITTSBURGH              PA           15230
29939197          PPL ELECTRIC UTILITIES/419054             PO BOX 419054                                                                                                         ST LOUIS                MO           63141‐9054
30212985          PRABHU RAMKUMAR                           Address on file
30275851          Name on file                              Address on file
30347693          Name on file                              Address on file
29939203          Name on file                              Address on file
LC_0540           Prairie Trails Public Library District    8449 Moody Avenue                                                                                                     Burbank                 IL           60459‐2525
30208550          PRAIRIE TRAILS PUBLIC LIBRARY DISTRICT    8449 SOUTH MOODY AVENUE                                                                                               BURBANK                 IL           60459
29939204          Name on file                              Address on file
30208551          PRAIRIELANDS LIBRARY EXCHANGE             109 SOUTH 5TH ST.                                                                                                     MARSHALL                MN           56258
29939206          PRANAV KARELIA                            Address on file
30394594          Name on file                              Address on file
30351628          Name on file                              Address on file
30350016          Name on file                              Address on file
30356975          PRATT CORRUGATED HOLDINGS                 PO BOX 933949                                                                                                         ATLANTA                 GA           31193‐3949
29939208          PRATT INC                                 PRATT CORRUGATED HOLDINGS          PO BOX 933949                                                                      ATLANTA                 GA           31193‐3949
30394863          Name on file                              Address on file
30351632          Name on file                              Address on file
30416225          Name on file                              Address on file
30348684          Name on file                              Address on file
29939209          PRECILA BALABBO                           C/O EVAN SMITH & BRODSKY SMITH     9595 WILSHIRE BLVD                SUITE 900                                        BEVERLY HILLS           CA           90212
29939213          PRECIOUS MOMENTS COMPANY, INC.            4105 S CHAPEL RD                                                                                                      CARTHAGE                MO           64836
29939215          PRECISELY SOFTWARE INC                    PO BOX 911304                                                                                                         DALLAS                  TX           75391‐1304
                  PRECISION FORKLIFT & EQUIPMENT SERVICES
29939216          LLC                                       15389 AVE. 288                                                                                                        VISALIA                 CA           93292
30332115          Name on file                              Address on file
29939218          PREFD APT COMMUNITIES OP LP               NEW MARKET CUMMING LLC              PO BOX 714983                                                                     CINCINNATI              OH           45271‐4983
29939220          PREFERRED TANK & TOWER MAINT              2202 HWY 41 N UNIT E BOX 123                                                                                          HENDERSON               KY           42420
29939222          PREMIER BIOTECH LLC                       PO BOX 713238                                                                                                         CHICAGO                 IL           60677‐1238
29939223          PREMIER DARROW LLC                        ATTN: ALISON KOHN                   5605 GRANGER ROAD, STE #100                                                       CLEVELAND               OH           44131
29939225          PREMIER RESORT TAX PROCESSING             WISCONSIN DEPT OF REVENUE           PO BOX 8992                                                                       MADISON                 WI           53708‐8992
30211451          PREMIER STORE FIXTURES INC                110 EMJAY BLVD                                                                                                        BRENTWOOD               NY           11717
29939226          PREMIER TRAILERS LLC                      PO BOX 206553                                                                                                         DALLAS                  TX           75320‐6553
29952924          PRERNA DHILLON‐STAPLES                    Address on file




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                  PRESIDENTIAL SERVICE TEAM LIBERTY MUTUAL
30223223          GROUP                                           175 BERKELEY ST                                                                                                        BOSTON                  MA           02117
LC_0542           Presque Isle District Library                   181 East Erie Street                                                                                                   Rogers City             MI           49779‐1665
29939227          Name on file                                    Address on file
29939228          PRESSMAN TOY DBA GOLIATH                        3701 WEST PLANO PARKWAY           SUITE 100                                                                            PLANO                   TX           75075
29939229          Name on file                                    Address on file
29939231          Name on file                                    Address on file
                                                                  C/O STOCKDALE INVESTMENT GROUP,
30213215          PRESTON FOREST SC, LLC                          INC.                              5950 BERKSHIRE LANE, SUITE 800                                                       DALLAS                  TX           75225
30291592          Preston Forest SC, LLC                          Haynes and Boone, LLP             c/o Richard Anigian               2801 N. Harwood St.            Suite 2300          Dallas                  TX           75201
30291593          Preston Forest SC, LLC                          Stockdale Investment Group, LLC   c/o Daniel Winters                5950 Berkshire Lane            Suite 800           Dallas                  TX           75225
30334039          Name on file                                    Address on file
29939244          PRETTY WOMAN USA LLC                            35 CORPORATE DRIVE                                                                                                     HOLTSVILLE              NY           11742
30351064          Name on file                                    Address on file
30258267          Name on file                                    Address on file
30332482          Name on file                                    Address on file
30358108          Name on file                                    Address on file
30416517          Name on file                                    Address on file
30401948          Name on file                                    Address on file
30347246          Name on file                                    Address on file
30338412          Name on file                                    Address on file
30414705          Name on file                                    Address on file

30213435          PRIDE CENTER CO., LLC                           C/O FINANCIAL MANAGEMENT GROUP    345 NORTH MAPLE DRIVE, # 284                                                         BEVERLY HILLS           CA           90210
30354875          Name on file                                    Address on file
30332024          Name on file                                    Address on file
29939249          PRIMARY COLOR SYSTEMS CORP                      11130 HOLDER ST. #210                                                                                                  CYPRESS                 CA           90630

30213393          PRIME PROPERTIES INVESTORS FUND VIII. L.P.      C/O MCCREA PROPERTY MANAGEMENT    9102 N. MERIDIAN ST., SUITE 230                                                      INDIANAPOLIS            IN           46260
29939251          PRIME PROPERTY INVESTORS FUND VIII              C/O MCCREA PROPERTY GROUP         9102 N MERIDIAN ST                                                                   INDIANAPOLIS            IN           46260
29939252          Name on file                                    Address on file
29939253          Name on file                                    Address on file
29939254          PRINCE GEORGE COUNTY MD                         PO BOX 17578                                                                                                           BALTIMORE               MD           21297‐1578

LC_0543           Prince George`S County Memorial Library Syste   9601 Capital Lane                                                                                                      Largo                   MD           20774‐1054
                  PRINCE GEORGE'S COUNTY MEMORIAL LIBRARY
30208558          SYSTEM                                          9601 CAPITAL LANE                                                                                                      LARGO                   MD           20774
                  PRINCE GEORGE'S COUNTY, MD COUNTY                                                  WAYNE K CURRY ADMINISTRATION
30207969          CONSUMER PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION BLDG                         1301 MCCORMICK DR                                      LARGO                   MD           20774
29939255          Name on file                                    Address on file
29964807          PRINCE WILLIAM COUNTY                           PO BOX 2467                                                                                                            WOODBRIDGE              VA           22195‐2467
                  PRINCE WILLIAM COUNTY, VA COUNTY
30207970          CONSUMER PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 1 COUNTY COMPLEX CT                                                                 PRINCE WILLIAM          VA           22192
LC_0544           Prince William Public Libraries                 13083 Chinn Park Drive                                                                                                 Prince William          VA           22192‐5073
30208561          PRINCE WILLIAM PUBLIC LIBRARIES                 13083 CHINN PARK DRIVE                                                                                                 WOODBRIDGE              VA           22192
29939257          Name on file                                    Address on file
30358214          Name on file                                    Address on file
30259782          Name on file                                    Address on file
30332273          Name on file                                    Address on file
30208562          PRINCETON PUBLIC LIBRARY                        2 TOWN HALL DRIVE                                                                                                      PRINCETON               MA           01541
30211874          PRINCETON PUBLIC LIBRARY                        65 WITHERSPOON ST                                                                                                      PRINCETON               NJ           08542
29939267          PRINCETON SEARCH LLC                            BREAKOUT CAPITAL LLC FBO           PO BOX 96455                                                                        CHARLOTTE               NC           28296‐0455
29949638          PRINCIPAL DIVERSIFIED REAL ASSET                555 CALIFORNIA STREET              SUITE 3100                                                                          SAN FRANCISCO           CA           94104
                  PRINCIPAL FUNDS INC DIVERSIFIED INCOME
29949639          FUND                                            LANGELINIE ALLÉ 43                                                                                                     KOBENHAVN 0                          2100            DENMARK
                  PRINCIPAL FUNDS INC DIVERSIFIED REAL ASSET
29949640          FUND                                            LANGELINIE ALLÉ 43                                                                                                     KOBENHAVN 0                          2100            DENMARK
29949641          PRINCIPAL FUNDS INC. ‐ DIVERSIFIED              555 CALIFORNIA STREET             SUITE 3100                                                                           SAN FRANCISCO           CA           94104
29939269          PRINCIPAL LIFE INSURANCE COMPANY                MARKETPLACE AT VERNON HILLS LLC   PO BOX 734754, PROP 027110                                                           CHICAGO                 IL           60673‐4754
30356973          PRINT STORIES                                   1A STRONSA ROAD                                                                                                        LONDON                               W12 9LB         UNITED KINGDOM
29939270          PRINTS OF ORANGE                                85 LAYFAYETTE STREET                                                                                                   MILFORD                 CT           06460
30211590          PRIORITY‐1 INC                                  PO BOX 840808                                                                                                          DALLAS                  TX           75284‐0808
30396753          Name on file                                    Address on file




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  ADDRESS ID                           NAME                                ADDRESS 1                          ADDRESS 2                              ADDRESS 3            ADDRESS 4                      CITY        STATE     POSTAL CODE           COUNTRY
29939282          PRITT ENTERTAINMENT GROUP                  380 SOUTH MAIN ST                                                                                                        AKRON                     OH           44311
30206865          Pritt Entertainment Group, LLC             201 S. Main St.                                                                                                          Akron                     OH           44308

29939285          PRK HOLDINGS I LLC                         PK I GRESHAM TOWN FAIR LLC           PO BOX 30344, AC#115180‐008381                                                      TAMPA                     FL           33630
29939287          PRO MACH INC                               ID TECHNOLOGY LLC                    PO BOX 73419                                                                        CLEVELAND                 OH           44193
29939288          PRO TAPES & SPECIALTIES INC                621 ROUTE ONE SOUTH                                                                                                      NORTH BRUNSWICK           NJ           08902
29939289          PRO/EDGE                                   342 W GORDON ST                                                                                                          BEL AIR                   MD           21014
29939290          PROCESS DISPLAYS LLC                       7108 31ST AVE. N                                                                                                         MINNEAPOLIS               MN           55427
29939291          PRODEGE LLC                                2030 E. MAPLE AVE., STE. 200                                                                                             EL SEGUNDO                CA           90245
29939292          PRODUCTWORKS,LLC                           NO 1 SHIYANG ROAD                                                                                                        TAIZHOU                                318023          CHINA
29939293          PROFESSIONAL PRINT & MAIL INC              2818 E HAMILTON AVENUE                                                                                                   FRESNO                    CA           93721
30224218          Name on file                               Address on file
29939294          Name on file                               Address on file
29949842          PROGRESS ENERGY                            411 FAYETTEVILLE ST                                                                                                      RALEIGH                   NC           27601
30210728          PROGRESS ENERGY                            525 SOUTH TRYON STREET                                                                                                   CHARLOTTE                 NC           28202
                                                                                                  101 LARKSPUR LANDING CIRCLE,
30213404          PROGRESS SQUARE PARTNERS, LP               C/O ARGONAUT INVESTMENTS             SUITE 120                                                                           LARKSPUR                  CA           94939
29939297          PROGRESSIVE INTERNATIONAL CORP             20435 72ND AVE S                                                                                                         KENT                      WA           98032
30395368          Name on file                               Address on file
29939298          Name on file                               Address on file
29949642          PROJECT SWIFT, LLC                         5840 FAIRWOOD LANE                                                                                                       MEMPHIS                   TN           38120

30258354          Promax Manufacturing Co., Ltd.             Michael Huang                        9F‐2, No. 21, Sec. 1, Dunhua S. Road                                                Taipei, Taiwan                                         TAIWAN
29939300          Name on file                               Address on file
29939301          PRO‐MODEL & TALENT MGMT INC                3421 RIDGEWOOD RD, STE. PMTM                                                                                             AKRON                     OH           44333
29939302          Name on file                               Address on file
LC_0547           Prospect Heights Public Library District   12 N. Elm Street                                                                                                         Prospect Heights          IL           60070‐1450

30208565          PROSPECT HEIGHTS PUBLIC LIBRARY DISTRICT   12 NORTH ELM STREET                                                                                                      PROSPECT HEIGHTS          IL           60070
30345566          Name on file                               Address on file
29939303          PROVANTAGE CORPORATE SOLUTIONS LLC         130 PENMARC DR # 112                                                                                                     RALEIGH                   NC           27603
29939304          Name on file                               Address on file
29939306          PROVIDENT LIFE & ACCIDENT INS CO           6425 POWERS FERRY ROAD                                                                                                   ATLANTA                   GA           30339
                  PROVIDENT LIFE AND ACCIDENT INSURANCE
30212680          COMPANY                                    PROVIDENT LIFE SERVICE CENTER        6425 POWERS FERRY ROAD                 3RD FLOOR                                    ATLANTA                   GA           30339
30213189          PRTC, LP                                   C/O SHAPELL PROPERTIES, INC.         1990 S. BUNDY DRIVE, SUITE 500                                                      LOS ANGELES               CA           90025
29939310          PRUDENTRX LLC                              PO BOX 746669                                                                                                            ATLANTA                   GA           30374‐6669
30415805          Name on file                               Address on file
30353920          Name on file                               Address on file
30273541          Prym Consumer USA Inc.                     950 Brisack Road                                                                                                         Spartanburg               SC           29303
30414855          Name on file                               Address on file
                                                                                                  101 LARKSPUR LANDING CIRCLE,
30213120          PSC MEDFORD, LLC                           C/O ARGONAUT INVESTMENTS             SUITE 120                                                                           LARKSPUR                  CA           94939
29952835          PSE&G‐PUBLIC SERVICE ELEC & GAS CO         P.O. BOX 14444                                                                                                           NEW BRUNSWICK             NJ           08906‐4444
29952837          PSEGLI                                     P.O. BOX 9039                                                                                                            HICKSVILLE                NY           11802‐9039
30345292          Name on file                               Address on file
29952840          PT ENTERPRISES LLC                         PO BOX 1887                                                                                                              CATOOSA                   OK           74015
29952841          PT GLORY OFFSET PRESS                      JL PINTU AIR II NO 35A                                                                                                   JAKARTA PUSAT (DKI)                    10120           INDONESIA
30211453          PTA ENGINEERING INC                        275 SPRINGSIDE DR., #300                                                                                                 AKRON                     OH           44333

29952842          PTC MEMBER LLC                             PTC TX HOLDINGS LLC C/O LEVCOR INC   7800 WASHINGTON AVE #800                                                            HOUSTON                   TX           77007‐1046
30213491          PTC TX HOLDINGS, LLC                       C/O LEVCOR, INC.                     7800 WASHINGTON AVE #800                                                            HOUSTON                   TX           77007‐1049
30292805          Ptp Transport, LLC                         c/o Ciarra Scheirer                  875 Airport Rd                                                                      Auburn                    AL           36830
30353609          Name on file                               Address on file
29939314          PUBLIC COMPANY ACCOUNTING                  OVERSIGHT BOARD                      PO BOX 418631                                                                       BOSTON                    MA           02241
29939315          PUBLIC EMPLOYEES RETIREMENT SYS. OF        FB FESTIVAL CENTER LLC               4145 POWELL ROAD                                                                    POWELL                    OH           43065
30211875          PUBLIC LIBRARIES OF SAGINAW                505 JANES AVE                                                                                                            SAGINAW                   MI           48607
30223224          PUBLIC LIBRARY OF BROOKLINE                361 WASHINGTON ST.                                                                                                       BROOKLINE                 MA           02445
29939317          Name on file                               Address on file
                  PUBLIC LIBRARY OF STEUBENVILLE AND
30208567          JEFFERSON COUNTY                           407 S. 4TH ST.                                                                                                           STEUBENVILLE              OH           43952
29939318          Name on file                               Address on file
30281611          Public Service Company dba Xcel Energy     Attn: Customer Receivables           Po Box 59                                                                           Minneapolis               MN           55440




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  ADDRESS ID                           NAME                                      ADDRESS 1                         ADDRESS 2                         ADDRESS 3                  ADDRESS 4                  CITY        STATE     POSTAL CODE        COUNTRY
29939319          PUBLIC SERVICE COMPANY OF OKLAHOMA           212 E 6TH ST                                                                                                                 TULSA                 OK           74108
30297673          Public Service of NH dba Eversource          PO Box 210                                                                                                                   Hartford              CT           06106
29939320          PUBLIC WORKS & UTILITIES, KS                 PO BOX 2922                                                                                                                  WICHITA               KS           67201‐2922
30353994          Name on file                                 Address on file
30356720          Name on file                                 Address on file
29953710          PUEBLO COUNTY TREASURER                      215 W 10TH                                                                                                                   PUEBLO                CO           81003
                  PUEBLO COUNTY, CO COUNTY CONSUMER
30207971          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 215 W 10TH ST                                                                             PUEBLO                CO           81003
                  PUERTO RICO COMMISSIONER OF FINANCIAL
29964922          INSTITUTIONS                                 UNCLAIMED FUNDS DIVISION                EDIF. CENTRO EUROPA SUITE 600                                                        SAN JUAN              PR           00910‐3855
30291371          Name on file                                 Address on file
30336754          Name on file                                 Address on file
29953712          PUGET SOUND REGIONAL FIRE AUTHORITY          20811 84TH AVE S., #110                                                                                                      KENT                  WA           98032
30354710          Name on file                                 Address on file
29953713          Name on file                                 Address on file
30355576          Name on file                                 Address on file
29953714          Name on file                                 Address on file
30181973          PULASKI COUNTY TREASURER                     PO BOX 430                                                                                                                   LITTLE ROCK           AR           72203
29953715          PULASKI COUNTY TREASURER                     PO BOX 8101                                                                                                                  LITTLE ROCK           AR           72203‐8101
                  PULASKI COUNTY, AR COUNTY CONSUMER
30207972          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 201 SOUTH BROADWAY                     STE 400                                            LITTLE ROCK           AR           72201
                                                                                                  LIBERTY EAST, 141 SOUTH SAINT
30210936          PULLMAN SQUARE ASSOCIATES                    C/O LG REALTY ADVISORS, INC., AGENTCLAIR STREET                           SUITE 201                                          PITTSBURGH            PA           15206

30297603          Pullman Square Associates ‐ Pullman Square   GRB Law                                 Brian T. Lindauer                 525 William Penn Place         Suite 3110          Pittsburgh            PA           15219
30333536          Name on file                                 Address on file
29953717          Name on file                                 Address on file
30351282          Name on file                                 Address on file
29953719          PUNEET ARYA                                  Address on file
30416613          Name on file                                 Address on file
30385620          Name on file                                 Address on file
30347801          Name on file                                 Address on file
29949644          PUTNAM ADVISORY COMPANY LLC                  501 BOYLSTON STREET                     5TH FLOOR                                                                            BOSTON                MA           02116
30211878          PUTNAM COUNTY LIBRARY ASSOCIATION            668 ROUTE 6                                                                                                                  MAHOPAC               NY           10541
29939326          Name on file                                 Address on file
30211879          PUYALLUP PUBLIC LIBRARY                      324 S MERIDIAN                                                                                                               PUYALLUP              WA           98374
30213038          PVSC COMPANY                                 P.O. BOX 331                            ATTN: KATHERINE RICHARDS                                                             ALTOONA               PA           16603

30210624          PW FUND B, LP                                C/O BUZZ OATES MANAGEMENT SERVICES 555 CAPITOL MALL                       SUITE 900                                          SACRAMENTO            CA           95814
30393106          Name on file                                 Address on file
29964907          PYRAMID MALL OF HADLEY NEWCO LLC             367 RUSSELL ST.                                                                                                              HARDLEY               MA           01035‐9456
29939332          PYRAMID MALL OF HADLEY NEWCO LLC             M & T BANK                             PO BOX 8000 DEPT 592                                                                  BUFFALO               NY           14267
29939333          PYRAMID MALL OF HADLEY NEWCO LLC             PO BOX 8000‐ DEPT NO 592                                                                                                     BUFFALO               NY           14267
30416354          Name on file                                 Address on file
29962291          PZ SOUTHERN LIMITED PARTNERSHIP              C/O PEARSON PARTNERS, INC.             ATTN: DAVID PEARSON                630 5TH AVE #2820                                  NEW YORK              NY           10111‐0202
30210931          PZ SOUTHERN LIMITED PARTNERSHIP              C/O PEARSON PARTNERS, INC.             ATTN: DAVID PEARSON                                                                   NEW YORK              NY           10111‐0202
                                                               Lockbox Services ‐ #713750 MAC Y1372‐
30292693          PZ Southern Limited Partnership              045                                    401 Market Sreet                                                                      Philadelphia          PA           19106
30292694          PZ Southern Limited Partnership              Ronald P. Rusinak                      1219 Scalp Avenue                                                                     Johnstown             PA           15904
30416285          PZ Southern Limited Partnership              630 Fifth Avenue, Suite 2820                                                                                                 New York              NY           10111
30416287          PZ Southern Limited Partnership              General Counsel/ Zamias Services Inc.  Ronald P. Rusinak                  Richland Plaza                 1219 Scalp Avenue   Johnstown             PA           15904
                                                               Lockbox Services ‐ #713750 MAC Y 1372‐
30416286          PZ Southern Limited Partnership              045                                    401 Market Street                                                                     Philadelphia          PA           19106
29962293          PZ SOUTHLAND LIMITED PARTNERSHIP             C/O PEARSON PARTNERS, INC.             ATTN: DAVID PEARSON                630 5TH AVE #2820                                  NEW YORK              NY           10111‐0202
30211006          PZ SOUTHLAND LIMITED PARTNERSHIP             C/O PEARSON PARTNERS, INC.             ATTN: DAVID PEARSON                                                                   NEW YORK              NY           10111‐0202
30295294          PZ Southland Limited Partnership             P.O. Box 784930                                                                                                              Philadelphia          PA           19178
30295295          PZ Southland Limited Partnership             Ronald P. Rusinak                      General Counsel                    1219 Scalp Avenue                                  Johnstown             PA           15904
30398432          PZ Southland Limited Partnership             Ronald P. Rusinak                      Zamias Services Inc.               Richland Plaza                 1219 Scalp Avenue   Johnstown             PA           15904
30416358          PZ Southland Limited Partnership             630 Fifth Avenue, Suite 2820                                                                                                 New York              NY           10111
                                                                                                      Attn: Ronald P. Rusinak, General
30416360          PZ Southland Limited Partnership             c/o Zamias Services Inc.               Counsel                            Richland Plaza                 1219 Scalp Avenue   Johnstown             PA           15904
29962295          Q. KHAN                                      Address on file
30211454          Q4 INC                                       469A KING STREET WEST                                                                                                        TORONTO               ON           M5V 1K4         CANADA




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  ADDRESS ID                           NAME                      ADDRESS 1                         ADDRESS 2                           ADDRESS 3              ADDRESS 4                       CITY        STATE     POSTAL CODE           COUNTRY
30397439          Name on file                      Address on file
LC_0549           Qatar National Library            PO Box 5825                                                                                                           Doha                                                    Qatar
30213449          QBW INVESTMENTS LLC               PMB 8248, POB 8000                  ATTN: STEVEN WERNKE                                                               BLACK BUTTE RANCH          OR           97759
29962298          QCM PARTNERS LLC                  C/O VESTAR PROPERTIES INC           PO BOX 30412                                                                      TAMPA                      FL           33630
30210943          QCM PARTNERS, LLC                 2415 E. CAMELBACK ROAD, SUITE 100   ATTN: DAVID LARCHER                                                               PHOENIX                    AZ           85016

29962299          QCM PARTNERS, LLC                 2415 E. CAMELBACK ROAD, SUITE 100   ATTN: DAVID LARCHER, ANGIE KORY                                                   PHOENIX                    AZ           85016
30339051          Name on file                      Address on file
30340478          Name on file                      Address on file
29939334          QLIK TECH INC                     25686 NETWORK PLACE                                                                                                   CHICAGO                    IL           60673‐1256
29939338          QUADIENT LEASING USA INC          DEPT 3682                           PO BOX 123682                                                                     DALLAS                     TX           75312‐3682
30346403          Name on file                      Address on file
29939339          QUAKERTOWN HOLDING CORP           ADCO, AMERICAN DEVELOPMENT CO       150 MONUMENT RD              STE 101                                              BALA CYNWYD                PA           19004‐1725
29939340          QUAKERTOWN HOLDING CORPORATION    ATTN: DANIEL BLEZNAK                150 MONUMENT RD              STE 101                                              BALA CYNWYD                PA           19004
                                                                                        715 MONTGOMERY AVENUE, SUITE
30210877          QUAKERTOWN HOLDING CORPORATION    ATTN: DANIEL BLEZNAK                3                                                                                 NARBERTH                   PA           19072
29939342          QUALITY LOGISTICS LLC             PO BOX 1148                                                                                                           ENGLEWOOD                  CO           80150
30211456          QUALTRICS LLC                     333 WEST RIVER PARK DR                                                                                                PROVO                      UT           84604
30347288          Name on file                      Address on file
29939343          Name on file                      Address on file
29962304          QUANTUM HEALTH INC                5240 BLAZER PARKWAY                                                                                                   DUBLIN                     OH           43017
30211458          QUANTUM METRIC INC                10807 NEW ALLEGIANCE DR #155                                                                                          COLORADO SPRINGS           CO           80921
                                                                                        WANSHENG COMMUNITY, WAN'AN
30211459          QUANZHOU UP4 TRADING CO., LTD     NO06, ANDA ROAD,                    STREET                                                                            QUANZHOU                                362011          CHINA
30285200          Name on file                      Address on file
30207016          Queen Crafts Limited              Bank of America NA                  51 Kwai Cheong Road               Kwai Chung                                      Hong Kong                               999077          China
29962308          QUEEN CREEK PD ALARMS             PO BOX 1923                                                                                                           QUEEN CREEK                AZ           85142
30208569          QUEENS BOROUGH PUBLIC LIBRARY     89‐11 MERRICK BOULEVARD                                                                                               JAMAICA                    NY           11432
30213228          QUEENSBURY PLAZA I, LLC           C/O FLAUM MANAGEMENT CO., INC.      400 ANDREWS STREET, SUITE 500                                                     ROCHESTER                  NY           14604
29962312          Name on file                      Address on file
LC_0551           Queenstown Lakes Libraries        10 Gorge Road                                                                                                         Queenstown                              9348            New Zealand
30208570          QUEENSTOWN LAKES LIBRARIES        10 GORGE RD                                                                                                           QUEENSTOWN                                              NEW ZEALAND
30208571          QUEENSTOWN LAKES LIBRARIES        PRIVATE BAG 50072                                                                                                     QUEENSTOWN                              9348            NEW ZEALAND
29939347          QUEST MARKETING INC               QUEST SOLUTION INC (OMNIQ CORP)     PO BOX 92255                                                                      LAS VEGAS                  NV           89193‐2255
30340669          Name on file                      Address on file
30334209          Name on file                      Address on file
30402067          Name on file                      Address on file
30402066          Name on file                      Address on file
30396736          Name on file                      Address on file
30213617          QUINCY CULLINAN, LLC              C/O CULLINAN PROPERTIES             420 NORTH MAIN STREET                                                             EAST PEORIA                IL           61611
30208574          QUINCY PUBLIC LIBRARY             526 JERSEY STREET                                                                                                     QUINCY                     IL           62301
30335481          Quincy‐Cullinan LLC               Robin Lukehart                      420 N Main Street                                                                 East Peoria                IL           61611
29939365          QUINN LIFT INC                    100006 ROSE HILL RD                                                                                                   CITY OF INDUSTRY           CA           90601
30353857          Name on file                      Address on file
30415175          Name on file                      Address on file
30261562          Name on file                      Address on file
30401063          Name on file                      Address on file
30208578          QUINTE WEST PUBLIC LIBRARY        7 CRESWELL DRIVE                                                                                                      TRENTON                    ON           K8V 6X5         CANADA
30332097          Name on file                      Address on file
30394721          Name on file                      Address on file
30211460          R & L CARRIERS INC                PO BOX 10020                                                                                                          PORT WILLIAM               OH           45164
29939380          R & R GRAPHICS INC.               2396 THEISS RD                                                                                                        CUYAHOGA FALLS             OH           44223
29939381          R ANDREW BARNES JR                Address on file
29939382          Name on file                      Address on file
29939383          R MONTANA LIMITED PARTNERSHIP     CO ROSEN ASSOCIATES MANG CORP       33 S SERVICE RD                                                                   JERICHO                    NY           11753‐1006
29939384          R. CUNNIGHAM                      Address on file
29939385          R. DAYO                           Address on file
30208580          R. E. RAWLINS MUNICIPAL LIBRARY   1000 E CHURCH ST                                                                                                      PIERRE                     SD           57501
29939386          R. HALLMARK                       Address on file
29939387          R. HUNT                           Address on file
29939388          R. TAYLOR                         Address on file
                                                    ATTN: RICHARD PALMER, CHIEF
29904950          R.M. PALMER COMPANY LLC           EXECUTIVE OFFICER                   1800 ELMWOOD AVENUE                                                               BUFFALO                    NY           14207




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  ADDRESS ID                           NAME                                    ADDRESS 1                          ADDRESS 2                         ADDRESS 3                 ADDRESS 4                   CITY        STATE     POSTAL CODE           COUNTRY
                  R/M Vacaville LTD, L.P., a California limited
30293032          partnership                                     c/o The Rodde Company                Attn: Linda Rusin                 710 South Broadway, Suite 211                    Walnut Creek           CA           94596
29939391          R/M VACAVILLE, LTD, L.P.                        C/O THE RODDE CO.                    ATTN: LINDA RUSIN YOX             710 S BROADWAY # 211                             WALNUT CREEK           CA           94596
30211001          R/M VACAVILLE, LTD, L.P.                        C/O THE RODDE CO.                    ATTN: LINDA RUSIN YOX                                                              WALNUT CREEK           CA           94596
30208582          RACHEL AMELIA HOEKSTRA                          Address on file
30210681          RACHEL BOUDLER                                  Address on file
30223225          RACHEL DENBOW                                   Address on file
30212748          RACHEL FABICK                                   Address on file
29939494          RACHEL HAWKINS                                  Address on file
IC_189            RACHEL HOEKSTRA                                 Address on file
29962328          RACHEL KUHN                                     Address on file
29939509          RACHEL LEWICKI                                  Address on file
29939514          RACHEL LUCERO                                   Address on file
29939518          RACHEL MAGNUSSON                                Address on file
29939538          RACHEL MISNER                                   Address on file
29962352          RACHEL SHING                                    Address on file
29962365          RACHEL VARGA CREATIVE LLC                       17490 RAVENNA RD.                                                                                                       CHAGRIN FALLS          OH           44023
29939596          RACHELLE ELLIS                                  Address on file
29939603          RACHELLE OLEKSIK                                Address on file
30212858          RACHELLE OLEKSIK                                Address on file
                  RACINE COUNTY, WI COUNTY CONSUMER
30207973          PROTECTION AGENCY                               ATTN: CONSUMER PROTECTION DIVISION   730 WISCONSIN AVE                                                                  RACINE                 WI           53403
29939610          RADAR LABS INC                                  841 BROADWAY FL 7                                                                                                       NEW YORK               NY           10003‐4704
30401731          Name on file                                    Address on file
30340430          Name on file                                    Address on file
30211884          RADFORD PUBLIC LIBRARY                          30 WEST MAIN ST                                                                                                         RADFORD                VA           24141
30255761          Name on file                                    Address on file
30276634          Radius Networks Inc                             PO Box #1218                                                                                                            West Chester           PA           19380‐1218
30344182          Name on file                                    Address on file
30213527          RAF INVESTMENTS LTD.                            397 CHURCHILL HUBBARD RD., SUITE 2   ATTN: VINCE FOND, JR.                                                              YOUNGSTOWN             OH           44505
30353457          Name on file                                    Address on file
29939645          RAFTERONE ACQUISITION LLC                       PIXELMEDIA LLC                       PO BOX 74008221                                                                    CHICAGO                IL           60674‐8221
30396824          Name on file                                    Address on file
29939646          Name on file                                    Address on file
30340371          Name on file                                    Address on file
29939648          RAGING WOLF SOLUTIONS                           PO BOX 729                                                                                                              TWINSBURG              OH           44087
30402009          Name on file                                    Address on file
30414127          Name on file                                    Address on file
30414394          Name on file                                    Address on file
29939649          RAGS OF HONOR 1 C/O BETSY SHEPHERD              671 WEST DIVISION ST.                UNIT A                                                                             CHICAGO                IL           60610
30261324          Name on file                                    Address on file
30347025          Name on file                                    Address on file
30346543          Name on file                                    Address on file
29939653          Name on file                                    Address on file
30338776          Name on file                                    Address on file
29939664          Name on file                                    Address on file
29939665          RAINBOW SEATING LLC                             9604 JAMES AVE S.                                                                                                       BLOOMINGTON            MN           55431
30394166          Name on file                                    Address on file
30397072          Name on file                                    Address on file
30338404          Name on file                                    Address on file
29939677          RAKUTEN MARKETING LLC                           215 PARK AVE S, 2ND FL                                                                                                  NEW YORK               NY           10003
                  RALEIGH COUNTY, WV COUNTY CONSUMER
30207974          PROTECTION AGENCY                               ATTN: CONSUMER PROTECTION DIVISION 116 1/2 HEBER ST                                                                     BECKLEY                WV           25801
30213482          RALEIGH ENTERPRISES, LLC                        C/O LIBBY & LIBBY ENTERPRISES, LLC 803 COMMONWEALTH DRIVE                                                               WARRENDALE             PA           15086
30386065          Name on file                                    Address on file
30356843          Name on file                                    Address on file

29962371          RAM COIR                                        CMC 5, 271 NEDUMBRAKKAD CHERTHALA ALAPPUZHA                                                                             KERALA                              688524          INDIA
30340755          Name on file                                    Address on file
30335212          Name on file                                    Address on file
30351163          Name on file                                    Address on file
30394507          Ramirez, Calyn                                  Address on file
30348104          Name on file                                    Address on file




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30289650          Ramirez, Jose Alejandro                   Address on file
30386249          Name on file                              Address on file
30340715          Name on file                              Address on file
30394397          Name on file                              Address on file
30350972          Name on file                              Address on file
30349171          Name on file                              Address on file
30358335          Name on file                              Address on file
30356886          Name on file                              Address on file
30393449          Name on file                              Address on file
30333971          Name on file                              Address on file
30396426          Name on file                              Address on file
30274890          Name on file                              Address on file
30333857          Name on file                              Address on file
30212991          RANA HIGHSMITH                            Address on file
30396283          Name on file                              Address on file
29939702          RANCHO CALIFORNIA WATER DISTRICT          PO BOX 512687                                                                                                        LOS ANGELES              CA           90051‐0687
                                                            C/O PACIFIC COMMERCIAL
30213044          RANCHO DOWLEN, LLC                        MANAGEMENT, INC.                    2725 CONGRESS STREET, STE. 1E                                                    SAN DIEGO                CA           92110
                                                                                                ONE VAN DE GRAAFF DRIVE, STE
30213097          RANCHO LEBANON, LLC                       C/O KEYPOINT PARTNERS, LLC          402                                                                              BURLINGTON               MA           01803
                  RAND ADVISORS SERIES I INSURANCE FUND
29949645          SERIES                                    2101 CEDAR SPRINGS ROAD             SUITE 1200                                                                       DALLAS                   TX           75201
                                                                                                7978 COOPER CREEK BLVD., SUITE
30213040          RANDALL BENDERSON 1993‐1 TRUST            ATTN: LEASE ADMINISTRATION          100                                                                              UNIVERSITY PARK          FL           34201
29939709          RANDALL BENDERSON 1993‐1 TRUST            Address on file
29962387          Name on file                              Address on file
29939720          Name on file                              Address on file
30208583          RANDOLPH COUNTY, NC                       201 WORTH STREET                                                                                                     ASHEBORO                 NC           27203
29939722          Name on file                              Address on file

30208585          RANDOLPH TOWNSHIP FREE PUBLIC LIBRARY     28 CALAIS RD                                                                                                         RANDOLPH                 NJ           07869
30394491          Name on file                              Address on file
29939723          RANDSTAD TECHNOLOGIES LLC                 3625 CUMBERLAND BLVD.                                                                                                ATLANTA                  GA           30339
29939732          RANDY MINER                               Address on file
30212574          RANDY WEBER                               Address on file
30340813          Name on file                              Address on file
29939736          RANGE KLEEN                               Address on file
29939738          RANGER INDUSTRIES                         15 PARK ROAD                                                                                                         TINTON FALLS             NJ           07724
30397606          Name on file                              Address on file
30342230          Rangeview Library District                5877 East 120th Avenue                                                                                               Thornton                 CO           80602
30340946          Name on file                              Address on file
30358094          Name on file                              Address on file
30350804          Name on file                              Address on file
30347268          Name on file                              Address on file
29939744          RAPIDES PARISH                            5606 COLISEUM BLVD.                                                                                                  ALEXANDRIA               LA           71303
                  RAPIDES PARISH COUNTY, LA COUNTY
30207975          CONSUMER PROTECTION AGENCY                ATTN: CONSUMER PROTECTION DIVISION 701 MURRAY ST, STE 102                                                            ALEXANDRIA               LA           71302

29939745          RAPIDES PARISH SALES & USE TAX DEPARTMENT 5606 COLISEUM BLVD                                                                                                   ALEXANDRIA               LA           71303
29939746          RAPIDES PARISH SHERIFFS OFFICE            701 MURRAY ST, STE 302                                                                                               ALEXANDRIA               LA           71301
29939747          RAPPAHANNOCK ELECTRIC COOP                PO BOX 34757                                                                                                         ALEXANDRIA               VA           22334‐0757
29939750          RAQUEL AGUILARMCCOY                       Address on file
30350838          Name on file                              Address on file
30415809          Name on file                              Address on file
30340418          Name on file                              Address on file
30332368          Name on file                              Address on file
30354594          Name on file                              Address on file
30386300          Name on file                              Address on file
30351165          Name on file                              Address on file
30340709          Name on file                              Address on file
30415070          Name on file                              Address on file
30332527          Name on file                              Address on file
30332706          Name on file                              Address on file




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                                                                                                                                  Master Mailing First Class Mail Service List
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  ADDRESS ID                           NAME                               ADDRESS 1                                ADDRESS 2                           ADDRESS 3                     ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY
29939776          RATLIFF & TAYLOR INC                      6450 ROCKSIDE WOODS BLVD #170                                                                                                        CLEVELAND                OH           44131
30396294          Name on file                              Address on file
30353299          Name on file                              Address on file
30350048          Name on file                              Address on file
30385824          Name on file                              Address on file
30208586          RAWLINS LIBRARY                           1000 E. CHURCH ST.                                                                                                                   PIERRE                   SD           57501
30338170          Name on file                              Address on file
30397200          Name on file                              Address on file
                                                                                                      FOUR EMBARCADERO CENTER,
30213136          RAWSON, BLUM & LEON                       C/O BLUM BOULDERS I, IIL, IV AND V LLCS   SUITE 1400                                                                                 SAN FRANCISCO            CA           94111
29939792          RAY GLASS BATTERIES INC                   BATTERY SOURCE                            104 GENESIS PKWY                                                                           THOMASVILLE              GA           31792
30342501          Name on file                              Address on file
30353309          Name on file                              Address on file
30287100          Name on file                              Address on file
30341420          RAYA, LOURDES                             Address on file
30349222          Name on file                              Address on file
30212869          RAYMOND REARDON                           Address on file
30331574          Raymond Storage Concepts, Inc.            5480 Creek Road                                                                                                                      Cincinnati               OH           45242
30331573          Raymond Storage Concepts, Inc.            Swanson, Martin & Bell, LLP               c/o Charles S. Stahl, Jr.             2525 Cabot Drive                 Suite 204           Lisle                    IL           60532
30262733          Name on file                              Address on file
30415849          Name on file                              Address on file
29939831          RAYMUNDO VARELA URIZAR                    Address on file
29952176          RAYNA GOMEZ                               Address on file
29952178          RAYNA LOPEZ                               Address on file
29964813          RAYNHAM BOARD OF HEALTH OFFICE            TOWN OFFICES                              53 ORCHARD STREET                                                                          RAYNHAM                  MA           02767
29952181          RAYNHAM CENTER WATER DISTRICT             P.O. BOX 160                                                                                                                         RAYNHAM                  MA           02767‐0160
29952180          RAYNHAM CENTER WATER DISTRICT             PO BOX 160                                                                                                                           RAYNHAM                  MA           02767
29952183          RAYNHAM STATION LLC                       C/O PHILLIPS EDISON & COMPANY             ATTN: ROBERT STATION COO              11501 NORTHLAKE DR                                   CINCINNATI               OH           45249
30210985          RAYNHAM STATION LLC                       C/O PHILLIPS EDISON & COMPANY             ATTN: ROBERT STATION COO                                                                   CINCINNATI               OH           45249

30213329          RAYZOR RANCH MARKETPLACE ASSOCIATES, LLC 8140 WALNUT LANE, SUITE 400                ATTN: PROPERTY MANAGER                                                                     DALLAS                   TX           75231
30415792          Name on file                             Address on file

29939839          RB MERCHANTS LLC, YBF MERCHANTS LLC AND   MERCHANTS OWNER LLC                       C/O RD MANAGEMENT LLC                 810 SEVENTH AVENUE, 10TH FLOOR                       NEW YORK                 NY           10019

30210883          RB MERCHANTS LLC, YBF MERCHANTS LLC AND   MERCHANTS OWNER LLC                       C/O RD MANAGEMENT LLC                                                                      NEW YORK                 NY           10019
                                                                                                      ATTN: RANDALL BENDERSON,
29939840          RB‐3 ASSOCIATES                           C/O BENDERSON PROPERTIES                  PRESIDENT                             7978 COOPER CREEK BOULEVARD                          UNIVERSITY PARK          FL           34201
                                                                                                      ATTN: RANDALL BENDERSON,
30210944          RB‐3 ASSOCIATES                           C/O BENDERSON PROPERTIES                  PRESIDENT                                                                                  UNIVERSITY PARK          FL           34201
29939841          RCA TRUCKING LLC                          28333 HUNTERS DRIVE                                                                                                                  OPP                      AL           36467
                                                                                                      3060 PEACHTREE RD. NW, SUITE
30213576          RCG‐BRADLEY VII, LLC                      C/O RCG VENTURES, LLC                     400                                                                                        ATLANTA                  GA           30355
                                                                                                      3060 PEACHTREE ROAD NW, SUITE
30213307          RCG‐POCATELLO VII, LLC                    C/O RCG VENTURES, LLC                     400                                                                                        ATLANTA                  GA           30305
                                                                                                      3060 PEACHTREE ROAD NW, SUITE
30210939          RCG‐ROCKWELL, LLC                         C/O RCG VENTURES I, LLC                   400                                                                                        ATLANTA                  GA           30305
                                                                                                      ATTN: BRETT LESLEY, SVP NATIONAL 3060 PEACHTREE ROAD NW, SUITE
29962403          RCG‐ROCKWELL, LLC                         C/O RCG VENTURES I, LLC                   ACCTS.                           400                                                       ATLANTA                  GA           30305
29962404          READERLINK DISTRIBUTION SERVICES          9717 PACIFIC HEIGHTS BOULEVARD                                                                                                       SAN DIEGO                CA           92121
29962413          REAL ESTATE ASSOCIATES INC                ATTN: RLW HOPE VALLEY POINTE LLC          PO BOX 52328                                                                               DURHAM                   NC           27717
30213191          REAL SUB, LLC                             C/O PUBLIX SUPER MARKETS, INC.            P.O. BOX 407                                                                               LAKELAND                 FL           33802‐0407
30291003          Real Sub, LLC                             PO Box 407                                                                                                                           Lakeland                 FL           33802

30213632          REALTY INCOME CORPORATION                 ATTN: LEGAL DEPARTMENT – RI #1024‐1       11995 EL CAMINO REAL                                                                       SAN DIEGO                CA           92130
29962418          REALTY INCOME CORPORATION                 SPIRIT BD READING PA LLC RI#16185         11995 EL CAMINO REAL                                                                       SAN DIEGO                CA           92130
29962417          REALTY INCOME CORPORATION                 SPIRIT MASTER FUNDING IV RI#16187         11995 EL CAMINO REAL                                                                       SAN DIEGO                CA           92130
30213548          REALTY INCOME PROPERTIES 31, LLC          C/O REALTY INCOME CORPORATION             11995 EL CAMINO REAL                                                                       SAN DIEGO                CA           92130
30297634          Name on file                              Address on file
30395737          Name on file                              Address on file
30338871          Name on file                              Address on file
30334779          Name on file                              Address on file
30228048          Name on file                              Address on file




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30228049          Name on file                        Address on file
29939901          REBECCA CAWYER                      Address on file
29962425          REBECCA FEYDER                      Address on file
29962439          REBECCA GRADY                       Address on file
29939933          REBECCA HAVREBERG                   Address on file
29939935          REBECCA HAYES                       Address on file
29939942          REBECCA HENRY                       Address on file
29939952          REBECCA JASPERS                     Address on file
29939963          REBECCA MACDUFFIE                   Address on file
29962475          REBECCA NAPOLEONI                   Address on file
30212591          REBECCA QUESENBERRY                 Address on file
29939994          REBECCA RINGQUIST                   Address on file
29939995          REBECCA RINGQUIST                   Address on file
29940004          Name on file                        Address on file
29940005          REBECCA SCHMIDTLEIN                 Address on file
29940108          REBEKEH NEWHARD                     Address on file
29940111          REBEKKAH BURTIS                     Address on file
29940112          Name on file                        Address on file
30342592          Name on file                        Address on file
VC_007            Recurly                             400 ALABAMA ST., STE 202                                                                                             SAN FRANCISCO             CA           94110
30208588          RED BANK PUBLIC LIBRARY             4 WEST FRONT STREET                                                                                                  RED BANK                  NJ           07701
30208589          RED BANK PUBLIC LIBRARY             84 W. FRONT STREET                                                                                                   RED BANK                  NJ           07701
29940117          Name on file                        Address on file
29940118          Name on file                        Address on file
30208592          RED HOOK PUBLIC LIBRARY             7444 SOUTH BROADWAY                                                                                                  RED HOOK                  NY           12571
30331010          Red Mountain Asset Fund I           c/o Andy Haley                    1234 E. 17th Street                                                                Santa Ana                 CA           92701
29940120          RED MOUNTAIN ASSET FUND I LLC       C/O PROPERTY MGMT ADVISORS        P.O. BOX 3490                                                                      SEAL BEACH                CA           90740
30213296          RED QUEEN, LLC                      777 NE 2ND ST., SUITE 200                                                                                            CORVALLIS                 OR           97330
29940123          RED RIVER VINE COMPANY              1008 WHITAKER ST                                                                                                     TEXARKANA                 TX           75501
30341961          Name on file                        Address on file

30213634          REDDING MHP ESTATES, L.P.           C/O DE ANZA PROPERTIES            960 N. SAN ANTONIO RD., SUITE 114                                                  LOS ALTOS                 CA           94022
30335072          Name on file                        Address on file
30340460          Name on file                        Address on file
29940126          REDFIELD GROUP CO LTD               FLAT G, 11/F, PRIMROSE MANSION    2 TAIKOO WAN ROAD                                                                  HONG KONG ISLAND                                       HONG KONG
30211885          REDFORD TOWNSHIP DISTRICT LIBRARY   25320 W SIX MILE                                                                                                     REDFORD                   MI           48240
29940128          Name on file                        Address on file
29940130          Name on file                        Address on file
30356928          Name on file                        Address on file
30385160          Name on file                        Address on file
30295026          Name on file                        Address on file
30416561          Name on file                        Address on file
30398222          Name on file                        Address on file
30353473          Name on file                        Address on file
30397473          Name on file                        Address on file
30349255          Name on file                        Address on file
30346721          Name on file                        Address on file
30333965          Name on file                        Address on file
30353531          Name on file                        Address on file
30349072          Name on file                        Address on file
30340251          Name on file                        Address on file
30398291          Name on file                        Address on file
29949813          REGATTA LOAN MANAGEMENT LLC         280 PARK AVE                      3RD FLOOR                                                                          NEW YORK                  NY           10017
29949646          REGATTA XI FUNDING LTD.             280 PARK AVE                      3RD FLOOR                                                                          NEW YORK                  NY           10017
29949647          REGATTA XVI FUNDING LTD.            280 PARK AVE                      3RD FLOOR                                                                          NEW YORK                  NY           10017
29940148          REGENA ROMERO                       Address on file
29940150          REGENCY CENTERS LP                  PO BOX 644019                                                                                                        PITTSBURGH                PA           15264‐4019

30213577          REGENCY CENTERS, L.P.               C/O REGENCY CENTERS CORPORATION   ONE INDEPENDENT DRIVE                                                              JACKSONVILLE              FL           32202‐5019

30291155          Regency Central Indiana LLC         Attn: Emily L. Pagorski           400 West Market Street, Suite 2700                                                 Louisville                KY           40202
30291156          Regency Central Indiana LLC         Attn: Kevin L. Hammett            380 N. Cross Pointe Blvd.                                                          Evansville                IN           47715




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  ADDRESS ID                           NAME                        ADDRESS 1                            ADDRESS 2                            ADDRESS 3                    ADDRESS 4                    CITY        STATE     POSTAL CODE        COUNTRY
                                                       C/O REGENCY COMMERCIAL ASSOCIATES,
30213472          REGENCY CENTRAL INDIANA, LLC         LLC                                  380 N. CROSS POINTE BLVD.                                                                 EVANSVILLE              IN           47715‐4027
29940153          REGENCY COMMERCIAL ASSOC LLC         1527‐1224‐CU                         PO BOX 772302                                                                             DETROIT                 MI           48277‐2302
29940154          REGENCY COMMERCIAL ASSOCIATES LLC    1702‐166‐CU                          PO BOX 772302                                                                             DETROIT                 MI           48277‐2302
29940155          REGENCY COMMERCIAL ASSOCIATES LLC    2300‐17003‐CU                        PO BOX 772302                                                                             DETROIT                 MI           48277‐2302
30213645          REGENCY INDIANA ENTERPRISES, LP      ATTN: BERNADETTE WENGLIK             803 COMMONWEALTH DRIVE                                                                    WARRENDALE              PA           15086
30213525          REGENCY JASPER LLC                   380 NORTH CROSS POINTE BLVD.                                                                                                   EVANSVILLE              IN           47715‐4027
29940159          REGENCY VERNAL LLC                   CSP FUND II LOCKBOX LE T0002480      PO BOX 931011                                                                             ATLANTA                 GA           31193‐1011
30291153          Regency Vernal LLC                   Kevin L. Hammett                     380 N. Cross Pointe Blvd.                                                                 Evansville              IN           47715
                                                       C/O REGENCY CSP II FUND LLC AND
30213430          REGENCY VERNAL, LLC                  REGENCY ASSET ADVISORS LLC           380 N. CROSS POINTE BLVD.                                                                 EVANSVILLE              IN           47715
30223228          REGINA PUBLIC LIBRARY                2311 12TH AVENUE                                                                                                               REGINA                  SK           S4P 0N3         CANADA
30208595          REGINA PUBLIC LIBRARY                2311 12TH AVENUE                                                                                                               REGINA                  SK           S4P 2M1         CANADA
LC_0556           Region of Waterloo Library           2017 Nafziger Road                                                                                                             New Hamburg             ON           N3A 3H4         Canada
30208597          REGION OF WATERLOO LIBRARY           150 FREDERICK ST.                    2ND FLOOR                                                                                 KITCHNER                ON           N2G 4J3         CANADA
30208598          REGION OF WATERLOO LIBRARY           150 FREDERICK STREET                 2ND FLOOR                                                                                 BADEN                   ON           N3A 3H4         CANADA
29940194          Name on file                         Address on file
30223229          REGION OF WATERLOO LIBRARY           2107 NAFZIGER RD                                                                                                               BADEN                   ON           N3A 3H4         CANADA
30208596          REGION OF WATERLOO LIBRARY           2107 NAFZIGER RD                                                                                                               BADEN                   ON           N3A 3G9         CANADA
29940195          REGIONAL INCOME TAX AGENCY           PO BOX 89475                                                                                                                   CLEVELAND               OH           44101‐6475
29940196          REGIONAL WATER AUTHORITY             PO BOX 981102                                                                                                                  BOSTON                  MA           02298‐1102
29949431          REGIONS BANK                         1900 5TH AVE N                                                                                                                 BIRMINGHAM              AL           35203
29964868          REGIONS BANK                         LEGAL DEPARTMENT                     1900 FIFTH AVENUE NORTH               22ND FLOOR                                          BIRMINGHAM              AL           35203
30340661          Name on file                         Address on file
30340662          Name on file                         Address on file
30356738          Name on file                         Address on file
30385430          Name on file                         Address on file
30343195          Name on file                         Address on file
30332591          Name on file                         Address on file
30351470          Name on file                         Address on file
29940206          REILLY SWEEPING IN                   PO BOX 74032                                                                                                                   CLEVELAND               OH           44194‐0117
30218592          Name on file                         Address on file
30356730          Name on file                         Address on file
30358276          Name on file                         Address on file
30335346          Name on file                         Address on file
29940211          REINEZ DURAN                         Address on file
30356780          Name on file                         Address on file
30358395          Name on file                         Address on file
30338096          Name on file                         Address on file
30334633          Name on file                         Address on file
30354935          Name on file                         Address on file
30340653          Name on file                         Address on file
30211461          RELIABLE CORPORATION (ECOM)          C/0 UPS‐SCS                          12380 MORRIS RD                                                                           ALPHARETTA              GA           30005
29940216          RELIABLE FIRE & SECURITY SOLUTIONS   6339 HIGHWAY 145                                                                                                               MADERA                  CA           93637
29940219          REMBERT VELASQUEZ                    Address on file
30393077          Remedy Intelligent Staffing          Latoris McVay                        EmployBridge LLC                      1507 Lyndon B Johnson Freeway   Suite 400           Farmers Branch          TX           75234
30393076          Remedy Intelligent Staffing          PO Box 116834                                                                                                                  Atlanta                 GA           30368
30415790          Name on file                         Address on file
30401633          Name on file                         Address on file
29940222          REMYGIRL REWORKS                     15125 OLDCORN LANE                                                                                                             CHARLOTTE               NC           28262
                                                       8750 N. CENTRAL EXPRESSWAY, SUITE
30213202          RENAISSANCE PARTNERS I, LLC          1740                                                                                                                           DALLAS                  TX           75231
30414753          Name on file                         Address on file
29962515          RENEE FROERER                        Address on file
30212856          RENEE JEFFERSON                      Address on file
30351215          Name on file                         Address on file
30350020          Name on file                         Address on file
30208599          RENFREW PUBLIC LIBRARY               13 RAILWAY AVENUE                                                                                                              RENFREW                 ON           K7V 3A9         CANADA
29940256          RENITA POSTON                        Address on file
30386265          Name on file                         Address on file
30394485          Name on file                         Address on file
30394355          Name on file                         Address on file
30357126          Name on file                         Address on file




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  ADDRESS ID                           NAME                        ADDRESS 1                             ADDRESS 2                         ADDRESS 3                ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
30356612          Name on file                         Address on file
30336303          Name on file                         Address on file
29940261          REPUBLIC SERVICES #183               P.O. BOX 78829                                                                                                           PHOENIX                   AZ           85062‐8829
29940263          REPUBLIC SERVICES #917               PO BOX 60586                                                                                                             CITY OF INDUSTRY          CA           91716‐0586
29949753          REPUBLIC SERVICES #917               REPUBLIC SERVICES                     18500 N ALLIED WAY                STE 100                                          PHEONIX                   AZ           85054‐3101
29964920          REPUBLIC SERVICES, INC.              18500 N ALLIED WAY                    STE 100                                                                            PHEONIX                   AZ           85054‐3101
29940264          REPUBLIC SERVICES, INC.              PO BOX 99917                                                                                                             CHICAGO                   IL           60696‐7717
29940265          Name on file                         Address on file
30395176          Name on file                         Address on file
30161266          ResinVentures Inc                    Attn: Ali Mutlu                       2300 Apollo Circle                                                                 Carrollton                TX           75006
29940271          RESSE TERSTRIEP                      Address on file
30340350          Name on file                         Address on file
29940272          RESTORATION SERVICES INC             SERVPRO OF N. SUMMIT COUNTY           1546 GEORGETOWN ROAD                                                               HUDSON                    OH           44236
29940273          RESULTICKS SOLUTION INC              697 THIRD AVE., #505                                                                                                     NEW YORK                  NY           10017
29940275          RETAIL & HOSPITALITY ISAC INC        RH‐ISAC MEMBERSHIP SERVICES           PO BOX 743565                                                                      ATLANTA                   GA           30374‐3565
29940277          RETAIL LITIGATION CENTER INC         99 M ST. SE, STE 700                                                                                                     WASHINGTON                DC           20003
29940278          RETAIL MARKETING SERVICES            CARTRAC                               DEPT #2650                                                                         LOS ANGELES               CA           90084‐2650
29940280          RETAIL SERVICES WIS CORP             DBA WIS INTERNATIONAL                 PO BOX 200081                                                                      DALLAS                    TX           75320
29940281          RETAILSTAT LLC                       PO BOX 24036                                                                                                             NEW YORK                  NY           10087‐4036
30332384          Name on file                         Address on file
LC_0558           Reuben Hoar Library                  35 Shattuck St.                                                                                                          Littleton                 MA           01460‐1263
30208602          REUBEN HOAR LIBRARY                  41 SHATTUCK STREET                                                                                                       LITTLETON                 MA           01460
29940287          REUBEN TAYLOR                        Address on file
30414713          Name on file                         Address on file
30341471          Name on file                         Address on file
29964815          REVENUE DIVISION                     111 SW COLUMBIA ST                    STE. 600                                                                           PORTLAND                  OR           97201‐5840
29940292          REVENUE DIVISION ‐MULTNOMAH COUNTY   111 SW COLUMBIA ST                    STE. 600                                                                           PORTLAND                  OR           97201‐5840
30211888          REVERE PUBLIC LIBRARY                179 BEACH ST                                                                                                             REVERE                    MA           02151
30211462          REVOLUTION TRANSPORT LLC             239 CENTER STREET                                                                                                        SEVILLE                   OH           44273
29940298          REXEL USA INC                        DBA PLATT ELECTRIC SUPPLY             PO BOX 418759                                                                      BOSTON                    MA           02241‐8759
30353639          Name on file                         Address on file
30353017          Name on file                         Address on file
30397027          Name on file                         Address on file
30332677          Name on file                         Address on file
30332671          Name on file                         Address on file
30397281          Name on file                         Address on file
30401375          Name on file                         Address on file
30350339          Name on file                         Address on file
30351464          Name on file                         Address on file
30394632          Name on file                         Address on file
30395330          Name on file                         Address on file
30393498          Name on file                         Address on file
30334025          Name on file                         Address on file
29940309          REYNOLDSBURG WATER DEPT              7232 EAST MAIN STREET                                                                                                    REYNOLDSBURG              OH           43068‐2014
30347721          Name on file                         Address on file
30397029          Name on file                         Address on file
30340300          Name on file                         Address on file
29940310          RG&E ‐ ROCHESTER GAS & ELECTRIC      P.O. BOX 847813                                                                                                          BOSTON                    MA           02284‐7813
30340687          Name on file                         Address on file
30401781          Name on file                         Address on file

30213080          RHINO HOLDINGS ARDEN, LLC            2200 PASEO VERDE PARKWAY, SUITE 260   ATTN: CEO OR COO                                                                   HENDERSON                 NV           89052
30296267          Rhino Holdings Arden, LLC            Attn: CEO or COO                      2200 Paseo Verde Parkway          Suite 260                                        Henderson                 NV           89052
29940344          RHINO HOLDINGS MONTE VISTA LLC       C/O GALLELLI REAL ESTATE              3005 DOUGLAS BLVD. STE 200                                                         ROSEVILLE                 CA           95661
29940345          RHINO HOLDINGS NAMPA LLC             C/O RHINO INVESTMENTS GRP LLC         2200 PASEO VERDE PKWY #260                                                         HENDERSON                 NV           89052
29950190          RHINO HOLDINGS ROCKFORD LLC          2200 PASEO VERDE PKWY, #260                                                                                              HENDERSON                 NV           89052

29940346          RHINO HOLDINGS ROCKFORD LLC          HIFFMAN ASSET MGMT LLC, H. BATTAGLI 1100 WARRENVILLE RD., #140                                                           NAPERVILLE                IL           60563

30213575          RHINO HOLDINGS ROCKFORD, LLC         2200 PASEO VERDE PARKWAY, SUITE 260 ATTN: SANJIV CHOPRA                                                                  HENDERSON                 NV           89052
30296314          Rhino Holdings Rockford, LLC         Attn: CEO                           2200 Paseo Verde Parkway                                                             Henderson                 NV           89052
30296323          Rhino Holdings Turlock, LLC          Attn: CEO / COO                     2200 Paseo Verde Parkway            Suite 260                                        Henderson                 NV           89052




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30213464          RHINO HOLDINGS TURLOCK, LLC                 C/O GRE MANAGEMENT SERVICES, INC.   3005 DOUGLAS BLVD., SUITE 200                                                       ROSEVILLE           CA           95661
30395259          Name on file                                Address on file
30212691          RHODE ISLAND DEPARTMENT OF LABOR            1511 PONTIAC AVENUE                                                                                                     CRANSTON            RI           02920
29950194          RHODE ISLAND DEPARTMENT OF REVENUE          ONE CAPITOL HILL                                                                                                        PROVIDENCE          RI           02908
29950195          RHODE ISLAND DIV OF TAXATION                ONE CAPITOL HILL STE 4                                                                                                  PROVIDENCE          RI           02908‐5802
29964817          RHODE ISLAND DIVISION OF TAXATION           DIVISION OF TAX                     ONE CAPITOL HILL                                                                    PROVIDENCE          RI           02908
29950196          RHODE ISLAND DIVISION OF TAXATION           ONE CAPITAL HILL                                                                                                        PROVIDENCE          RI           02908‐5800
29950198          RHODE ISLAND ENERGY                         280 MELROSE ST                                                                                                          PROVIDENCE          RI           02907
29950197          RHODE ISLAND ENERGY                         PO BOX 371875                                                                                                           PITTSBURGH          PA           15250‐7875
29950199          RHODE ISLAND SECRETARY OF STATE             82 SMITH ST STE 218                                                                                                     PROVIDENCE          RI           02903
30345446          Name on file                                Address on file
30345447          Name on file                                Address on file
30347321          Name on file                                Address on file
30347817          Name on file                                Address on file
29940363          RHONDA ROSARIO                              Address on file
29940368          RIB MOUNTAIN SANITARY DISTRICT              224505 LILAC AVE                                                                                                        WAUSAU              WI           55401
29940367          RIB MOUNTAIN SANITARY DISTRICT              224505 LILAC AVENUE                                                                                                     WAUSAU              WI           54401
29940370          Name on file                                Address on file
29940371          RI‐BUG‐SALES TAX                            ONE CAPITOL HILL                                                                                                        PROVIDENCE          RI           02908
30211463          RIBV HOLDINGS LLC                           RISK INTERNATIONAL SERVICES LLC     4055 EMBASSY PKWY #100                                                              FAIRLAWN            OH           44333
29940373          Name on file                                Address on file
                  RICE COUNTY, MN COUNTY CONSUMER
30207976          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION 320 THIRD ST NW                                                                      FARIBAULT           MN           55021
30357082          Name on file                                Address on file
30281076          Name on file                                Address on file
30414782          Name on file                                Address on file
30397529          Name on file                                Address on file
29940380          Name on file                                Address on file
30354724          Name on file                                Address on file
30341900          Name on file                                Address on file
29940382          RICHARD B. SCHULTZ                          Address on file
29940386          RICHARD BURKHOLDER                          Address on file
30212875          RICHARD BURKHOLDER                          Address on file
30212598          RICHARD HOHMAN                              Address on file
30211889          RICHARD J. DALEY COLLEGE LIBRARY            7500 SOUTH PULASKI ROAD                                                                                                 CHICAGO             IL           60652
29940415          RICHARD MYERS                               Address on file
30208606          RICHARD SALTER STORRS LIBRARY               693 LONGMEADOW ST.                                                                                                      LONGMEADOW          MA           01106
30212871          RICHARD SANTUCCI                            Address on file
29940425          RICHARD SEWELL                              Address on file
29940431          RICHARD T MOREMAN                           Address on file
30211012          RICHARD VOLLMER                             5555 DARROW ROAD                                                                                                        HUDSON              OH           44236
29940436          RICHARD VOLLMER III                         Address on file
30416280          Name on file                                Address on file
30353709          Name on file                                Address on file
30273991          Name on file                                Address on file
30350717          Name on file                                Address on file
30353290          Name on file                                Address on file
30340617          Name on file                                Address on file
30335220          Name on file                                Address on file
30394529          Name on file                                Address on file
30291280          Name on file                                Address on file
30208609          RICHLAND COMMUNITY LIBRARY                  8951 PARK STREET                                                                                                        RICHLAND            MI           49083
29940443          RICHLAND COUNTY                             BUSINESS SERVICE CENTER            PO BOX 192                                                                           COLUMBIA            SC           29202

29949238          RICHLAND COUNTY ‐ BUSINESS SERVICE CENTER   BUSINESS SERVICE CENTER             PO BOX 192                                                                          COLUMBIA            SC           29202
30211890          RICHLAND COUNTY PUBLIC LIBRARY              1431 ASSEMBLY STREET                                                                                                    COLUMBIA            SC           29201
29940445          RICHLAND COUNTY TREASURER                   PO BOX 11947                                                                                                            COLUMBIA            SC           29211
                  RICHLAND COUNTY, SC COUNTY CONSUMER
30207977          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION 2020 HAMPTON ST                                                                      COLUMBIA            SC           29204
29949240          RICHLAND PUBLIC HEALTH                      HEALTH DEPARTMENT                  555 LEXINGTON AVE                                                                    MANSFIELD           OH           44907
29949241          RICHLAND TOWNSHIP                           RICHLAND SCHOOL DISTRICT           322 SCHOOLHOUSE RD STE 100                                                           JOHNSTOWN           PA           15904
30396723          Name on file                                Address on file




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29940448          RICHMOND CNTY TAX COMMISSIONER            ROOM 117, MUNICIPAL BLDG                                                                                                AUGUSTA                GA           30911
29940449          Name on file                              Address on file
30208613          RICHMOND HILL PUBLIC LIBRARY              1 ATKINSON STREET                                                                                                       RICHMOND HILL          ON           L4C 0H5         CANADA
30208616          RICHMOND MEMORIAL LIBRARY                 15 SCHOOL DRIVE                                                                                                         MARLBOROUGH            CT           06447
29940451          RICHMOND POWER & LIGHT                    P.O. BOX 908                                                                                                            RICHMOND               IN           47375
29940453          Name on file                              Address on file
29940454          RICHMOND ROAD PLAZA LLC                   840 EAST HIGH STREET                                                                                                    LEXINGTON              KY           40502
                  RICHMOND ROAD PLAZA LLC AND LVP CENTER,
30213306          LLC                                       C/O EQUITY MANAGEMENT GROUP, INC.    840 EAST HIGH STREET                                                               LEXINGTON              KY           40502
30213278          RICHMOND STATION, LLC                     C/O PHILLIPS EDISON & COMPANY        11501 NORTHLAKE DRIVE                                                              CINCINNATI             OH           45249
30296400          Name on file                              Address on file
30334717          Name on file                              Address on file
30393167          Name on file                              Address on file
30354460          Name on file                              Address on file
30354479          Name on file                              Address on file
                                                            C/O CALIBER COMMERCIAL PROPERTIES,   4201 SPRINGHURST BLVD., SUITE
30213631          RICHWAL, LLC                              LLC                                  201                                                                                LOUISVILLE             KY           40241
30281981          Name on file                              Address on file
30342728          Name on file                              Address on file
30340255          Name on file                              Address on file
29940465          RICKS VENDING & DISTRIBUTING              9400 W PLACER AVE                                                                                                       VISALIA                CA           93291
30353267          Name on file                              Address on file
30211464          RICO DESIGN GMBH & CO KG                  INDUSTRIESTRASE 19‐23                5                                                                                  BRAKEL                              33034           GERMANY
30276371          Name on file                              Address on file
29940474          RI‐CORP‐02100‐EST                         DIVISION OF TAXATION                 ONE CAPITOL HILL                                                                   PROVIDENCE             RI           02908‐5800
30396394          Name on file                              Address on file
30208617          RIDEAU LAKES PUBLIC LIBRARY               24 HALLADAY STREET BOX 189                                                                                              ELGIN                  ON           K0G 1E0         CANADA
30211891          RIDEAU LAKES PUBLIC LIBRARY               26 HALLADAY ST                                                                                                          ELGIN                  ON           K0G 1E0         CANADA
30208618          RIDEAU LAKES PUBLIC LIBRARY               P.O. BOX 189                         26 HALLADAY ST.                                                                    ELIGIN                 ON           K0G 1E0         CANADA
30353533          Name on file                              Address on file
29940476          Name on file                              Address on file
29940477          Name on file                              Address on file
30208620          RIDGEFIELD PUBLIC LIBRARY                 472 MAIN ST.                                                                                                            RIDGEFIELD             CT           06877
30340940          Name on file                              Address on file
30415807          Name on file                              Address on file
30333769          Name on file                              Address on file
30356963          Name on file                              Address on file
30351768          Name on file                              Address on file
30395338          Name on file                              Address on file
30395185          Name on file                              Address on file
29940481          RI‐JAC‐SALES TAX 04103                    ONE CAPITOL HILL                                                                                                        PROVIDENCE             RI           02908‐5800
29940482          RI‐JAS‐SALES TAX 04103                    ONE CAPITOL HILL                                                                                                        PROVIDENCE             RI           02908‐5800
30353958          Name on file                              Address on file
30347791          Name on file                              Address on file
29962557          RILEY OAKS                                Address on file
29962561          Name on file                              Address on file
30401529          Name on file                              Address on file
30353411          Name on file                              Address on file
29940531          RIMINI STREET INC                         PO BOX 846287                                                                                                           DALLAS                 TX           75284‐6287
30288780          Rimini Street, Inc.                       6601 Koll Center Pkwy                Suite 300                                                                          Pleasanton             CA           94566
30345450          Name on file                              Address on file
29940532          RIMPORTS LLC                              201 EAST BAY BLVD                                                                                                       PROVO                  UT           84606
30262897          Name on file                              Address on file
30352781          Name on file                              Address on file
30396032          Name on file                              Address on file
30223232          RINDY LAW OFFICE PC                       3137 32ND AVE SW STE 212                                                                                                FARGO                  ND           58103
30395685          Name on file                              Address on file
30223233          RINGSIDE SEARCH PARTNERS LLC              RINGSIDE TALENT                      266 N. 4TH STREET, STE 100                                                         COLUMBUS               OH           43215
29940533          Name on file                              Address on file
30335218          Name on file                              Address on file
30335217          Name on file                              Address on file
29940534          RISA IWASAKI CULBERTSON                   Address on file
30344047          Name on file                              Address on file




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30214028          RISKONNECT CLEARSIGHT LLC                      540 W Madison St Ste 1200                                                                                                        Chicago                    IL           60661‐7608
29940537          RISKONNECT CLEARSIGHT LLC                      C/O WELLS FARGO BANK                   PO BOX 201739                                                                             DALLAS                     TX           75320‐1739
30208622          RITA & TRUETT SMITH PUBLIC LIBRARY             300 COUNTRY CLUB DR                    BLDG 300                                                                                  WYLIE                      TX           75098
29940539          Name on file                                   Address on file
30397844          Name on file                                   Address on file
30397216          Name on file                                   Address on file
30353907          Name on file                                   Address on file
29940558          RITHUM HOLDINGS INC                            RITHUM LLC                             PO BOX                                                                                    VIRGINIA BEACH             VA           23450

30282864          Rithum, LLC (f/k/a Commerce Technologies, LLC) 1201 Peachtree St. NE ‐ Building 400   Suite 600                                                                                 Atlanta                    GA           30361

30282584          Rithum, LLC (f/k/a Commerce Technologies, LLC) JPMorgan Chase Bank, N.A.              25376 Network Place                                                                       Chicago                    IL           60673
30208625          RITTER PUBLIC LIBRARY                          5680 LIBERTY AVE.                                                                                                                VERMILION                  OH           44089
30353733          Name on file                                   Address on file
30336696          Name on file                                   Address on file
30385702          Name on file                                   Address on file
30401107          Name on file                                   Address on file

30401384          RIVER CROSSING SHOPPES, LLC                    Julie Minnick Bowden                   c/o Brookfield Properties Retail Inc. 350 N. Orleans St., Suite 300                       Chicago                    IL           60654
29940561          RIVER KLEY                                     Address on file
                                                                                                        255 E. RIVER PARK CIRCLE, SUITE
30213242          RIVER PARK PLAZA, L.P.                         ATTN : LEASE ADMINISTRATION            120                                                                                       FRESNO                     CA           93720
29940564          RIVER RIDGE MALL JV LLC                        PO BOX 70004                                                                                                                     NEWARK                     NJ           07101‐3504
30414435          River Ridge Mall JV, LLC                       c/o Liberty University                 Attn: Robert Ritz, CFO                1971 University Boulevard                           Lynchburg                  VA           24515
30414392          River Ridge Mall JV, LLC                       c/o Thompson Hine LLP                  Attn: Louis F. Solimine               312 Walnut Street               Suite 2000          Cincinnati                 OH           45202
30213390          RIVER RIDGE MALL JV, LLC                       LIBERTY UNIVERSITY                     1971 UNIVERSITY BLVD.                                                                     LYNCHBURG                  VA           24515
30208627          RIVER VALE PUBLIC LIBRARY                      412 RIVERVALE ROAD                                                                                                               RIVER VALE                 NJ           07675
29940567          Name on file                                   Address on file
30208628          RIVER VALLEY DISTRICT LIBRARY                  214 SOUTH MAIN STREET                                                                                                            PORT BYRON                 IL           61275
29940568          Name on file                                   Address on file
30356592          Name on file                                   Address on file
30355831          Name on file                                   Address on file
30338349          Name on file                                   Address on file
30397042          Name on file                                   Address on file
30350090          Name on file                                   Address on file
29949243          RIVERDALE CITY                                 BUSINESS LICENSE                       4600 SOUTH WEBER RIVER DR                                                                 RIVERDALE                  UT           84405
29940572          RIVERDALE CROSSING LLC                         P.O. BOX 765                                                                                                                     SHORT HILLS                NJ           07078‐0765
30213442          RIVERDALE CROSSING, LLC                        820 MORRIS TURNPIKE                    ATTN: MICHAEL GARTENBERG                                                                  SHORT HILLS                NJ           07078
30295421          Riverdale Crossing, LLC                        Michael Gartenberg                     Authorized Representative             820 Morris Turnpike                                 Short Hills                NJ           07078
29940574          RIVERFRONT VILLAGE LLC                         JUMBO PROPERTY GROUP LLC               6298 E GRANT RD #100                                                                      TUCSON                     AZ           85712
                                                                 DBA SHERATON SUITES
29940575          RIVERSIDE COM URBAN REDEV CORP                 AKRON/CUYAHOGA                         1989 FRONT STREET                                                                         CUYAHOGA FALLS             OH           44221

29940576          RIVERSIDE COUNTY DEPARTMENT OF                 AGRICULTURE WEIGHTS AND MEASURES       PO BOX 1089                                                                               RIVERSIDE                  CA           92502
                  RIVERSIDE COUNTY, CA COUNTY CONSUMER
30207978          PROTECTION AGENCY                              ATTN: CONSUMER PROTECTION DIVISION 4080 LEMON STREET                                                                             RIVERSIDE                  CA           92501
29940577          RIVERSIDE CTY TREAS‐TAX                        PO BOX 12005                                                                                                                     RIVERSIDE                  CA           92502‐2205
30208630          RIVERSIDE PUBLIC LIBRARY                       1 BURLING ROAD                                                                                                                   RIVERSIDE                  IL           60546
29940580          RIVERSIDE WOODMAN PARTNERS                     11661 SAN VICENTE BLVD             STE 301                                                                                       LOS ANGELES                CA           90049‐5111
29940582          RIVERSON LLC                                   3860 CRENSHAW BLVD #201                                                                                                          LOS ANGELES                CA           90008

30213309          RIVERSON, LLC                                  ATTN: FREDERICK H. LEEDS               3860 CRENSHAW BLVD., SUITE 201                                                            LOS ANGELES                CA           90008
                  RIVERWOOD RUSKIN, LLC, KCT, LLC & JGD OF
30213682          TAMPA LLC                                      501 N. MORGAN STREET, SUITE 200                                                                                                  TAMPA                      FL           33602
30208631          RIVIERA BEACH PUBLIC LIBRARY                   2129 N. CONGRESS AVENUE                                                                                                          RIVIERA BEACH              FL           33404
30211893          RIVIERA BEACH PUBLIC LIBRARY                   600 W BLUE HERON BLVD                                                                                                            RIVIERA BEACH              FL           33404

30213279          RK PEMBROKE PINES, LLC                         C/O RK CENTERS                         17100 COLLINS AVENUE, SUITE 225                                                           SUNNY ISLES BEACH          FL           33160
30213310          RMAF IA, LLC                                   1234 EAST 17TH STREET, #B              ATTN: CHRIS HEDDON                                                                        SANTA ANA                  CA           92701
29940595          R‐MONTANA ASSOCIATES                           33 S SERVICE RD                                                                                                                  JERICHO                    NY           11753
                  R‐MONTANA ASSOCIATES, LIMITED                  C/O ROSEN ASSOCIATES MANAGEMENT
30213659          PARTNERSHIP                                    CORP.                                  33 SOUTH SERVICE RD.                                                                      JERICHO                    NY           11753
29962566          Name on file                                   Address on file




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30385206          Name on file                    Address on file
30350704          Name on file                    Address on file
29962567          Name on file                    Address on file
29962568          ROANOKE GAS COMPANY             PO BOX 70848                                                                                                          CHARLOTTE               NC           28272‐0848
29962572          ROB TITTEL                      Address on file
30210499          ROB WILL                        Address on file
30395315          Name on file                    Address on file
30397515          Name on file                    Address on file
29940605          ROBERT BOSCH TOOL CORPORATION   1800 WEST CENTRAL ROAD                                                                                                MOUNT PROSPECT          IL           60056
29940616          ROBERT COWBOY‐LYDON             Address on file
29940618          ROBERT D ICSMAN                 Address on file
30212746          ROBERT ICSMAN                   Address on file
30297455          Robert Kaufman Co., Inc.        129 W 132nd Street                                                                                                    Los Angeles             CA           90061
30212609          ROBERT NELSON                   Address on file
29940638          ROBERT PHILLIPS                 Address on file
30212898          ROBERT TITTEL                   Address on file
30212774          ROBERT WILL                     Address on file
29962613          ROBERTA LOPEZ                   Address on file
29940658          ROBERTA WARD                    Address on file
29940661          ROBERTO CHAPA                   Address on file
30348750          Name on file                    Address on file
30335342          Name on file                    Address on file
30356625          Name on file                    Address on file
30416350          Name on file                    Address on file
30414833          Name on file                    Address on file
30344254          Name on file                    Address on file
30335448          Name on file                    Address on file
30416586          Name on file                    Address on file
30355272          Name on file                    Address on file
29940667          Name on file                    Address on file
30356537          Name on file                    Address on file
30335362          Name on file                    Address on file
30354270          Name on file                    Address on file
30332506          Name on file                    Address on file
29940678          ROBIN CECIL                     Address on file
30212604          ROBIN COOPER                    Address on file
30212738          ROBIN KAMINSKI                  Address on file
30337268          Name on file                    Address on file
30355817          Name on file                    Address on file
30341042          Name on file                    Address on file
29962654          ROBINHOOD MARKETS INC           SAY TECHNOLOGIES LLC                 DEPT CH 18087                                                                    PALATINE                IL           60055‐8087
30354814          Name on file                    Address on file
30338074          Name on file                    Address on file
30347264          Name on file                    Address on file
30395163          Name on file                    Address on file
30349612          Name on file                    Address on file
30287207          Name on file                    Address on file
30349173          Name on file                    Address on file
30350661          Name on file                    Address on file
30396252          Name on file                    Address on file
30332211          Name on file                    Address on file
30280486          Name on file                    Address on file
30353407          Name on file                    Address on file
30332143          Name on file                    Address on file
30224181          Name on file                    Address on file
30350953          Name on file                    Address on file
30398362          Name on file                    Address on file
30351202          Name on file                    Address on file
29940733          ROCHESTER CROSSING LLC          PO BOX 392323                                                                                                         PITTSBURGH              PA           15251‐9323
29964916          ROCHESTER CROSSING LLC          PO BOX 705                                                                                                            STONY BROOK             NY           11790‐0705
                                                                                       1113 NORTH COUNTRY ROAD,
30210947          ROCHESTER CROSSING, LLC         C/O LITTLE ROCK CONSTRUCTION, INC.   BLDG. 2                                                                          STONEY BROOK            NY           11790




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29940734          ROCHESTER CROSSING, LLC                  C/O LITTLE ROCK CONSTRUCTION, INC.   PO BOX 705                                                                          STONEY BROOK          NY           11790‐0705
29940735          Name on file                             Address on file
30211894          ROCHESTER PUBLIC LIBRARY                 101 2ND STREET SE                                                                                                        ROCHESTER             MN           55904
30208633          ROCHESTER PUBLIC LIBRARY                 115 SOUTH AVE.                                                                                                           ROCHESTER             NY           14604
29940738          ROCHESTER PUBLIC UTILITIES               PO BOX 77074                                                                                                             MINNEAPOLIS           MN           55480‐7774
29940749          ROCK COUNTY TREASURER                    ROCK COUNTY COURTHOUSE               PO BOX 1975                                                                         JANESVILLE            WI           53547‐1975
                  ROCK COUNTY, WI COUNTY CONSUMER
30207979          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 51 SOUTH MAIN ST                                                                      JANESVILLE            WI           53545
                  ROCK ISLAND COUNTY, IL COUNTY CONSUMER
30207980          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 1504 THIRD AVE                                                                        ROCK ISLAND           IL           61201
30208634          ROCK ISLAND PUBLIC LIBRARY               401 19TH ST.                                                                                                             ROCK ISLAND           IL           61201
29962667          Name on file                             Address on file
30342621          Name on file                             Address on file
30208635          ROCKAWAY BOROUGH PUBLIC LIBRARY          82 E. MAIN STREET                                                                                                        ROCKAWAY              NJ           07866
29962669          ROCKDALE CNTY TAX COMMISSION             PO DRAWER 1497                                                                                                           CONYERS               GA           30207
                  ROCKDALE COUNTY, GA COUNTY CONSUMER
30207981          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 958 MILSTEAD AVE NE                                                                   CONYERS               GA           30012
29962670          ROCKDALE WATER RESOURCES                 PO BOX 1378                                                                                                              CONYERS               GA           30012‐1378
29962672          Name on file                             Address on file
30208636          ROCKFORD PUBLIC LIBRARY                  214 NORTH CHURCH STREET                                                                                                  ROCKFORD              IL           61101
30208637          ROCKFORD PUBLIC LIBRARY                  215 N. WYMAN STREET                                                                                                      ROCKFORD              IL           61101
30356276          Name on file                             Address on file
                  ROCKINGHAM COUNTY, NH COUNTY
30207982          CONSUMER PROTECTION AGENCY               ATTN: CONSUMER PROTECTION DIVISION 10 ROUTE 125                                                                          BRENTWOOD             NH           03833
29962673          Name on file                             Address on file
30208641          ROCKPORT PUBLIC LIBRARY                  17 SCHOOL ST.                                                                                                            ROCKPORT              MA           01966
29962675          ROCKSTEP MERIDIAN LLC                    BONITA LAKES MALL                  1201 BONITA LAKES CIRCLE                                                              MERIDIAN              MS           39301
30213139          ROCKSTEP WILLMAR, LLC                    1445 NORTH LOOP WEST, SUITE 625    ATTN: TOMMY STEWART, COO                                                              HOUSTON               TX           77008
29940750          Name on file                             Address on file
29940751          ROCKWALL CENTRAL APPRAISAL DIST          841 JUSTIN ROAD                                                                                                          ROCKWALL              TX           75087
                  ROCKWALL COUNTY, TX COUNTY CONSUMER
30207983          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 101 E RUSK ST                                                                         ROCKWALL              TX           75087
29940752          Name on file                             Address on file
30395358          Name on file                             Address on file
29940754          ROCKY FIELDS LLC                         550 SE 5TH AVE., APT 304S                                                                                                BOCA RATON            FL           33432
30208645          ROCKY RIVER PUBLIC LIBRARY               1600 HAMPTON RD.                                                                                                         ROCKY RIVER           OH           44116
30398338          Name on file                             Address on file
30340791          Name on file                             Address on file
30398180          Name on file                             Address on file
30338357          Name on file                             Address on file
30211900          RODMAN PUBLIC LIBRARY                    215 E BROADWAY                                                                                                           ALLIANCE              OH           44601
30349251          Name on file                             Address on file
30223234          RODOLFO ICEZALAYA                        Address on file
30357965          Name on file                             Address on file
30354627          Name on file                             Address on file
30385140          Name on file                             Address on file
30333521          Rodriguez, Edna                          Address on file
30352698          Name on file                             Address on file
30273977          Name on file                             Address on file
30386120          Name on file                             Address on file
30394710          Name on file                             Address on file
30394711          Name on file                             Address on file
30357080          Name on file                             Address on file
30386033          Name on file                             Address on file
30397537          Name on file                             Address on file
30260743          Name on file                             Address on file
30415759          Name on file                             Address on file
30397670          Name on file                             Address on file
30355713          Name on file                             Address on file
30347719          Name on file                             Address on file
30184163          ROETZEL & ANDRESS LPA                    222 S. MAIN ST., SUITE 400                                                                                               AKRON                 OH           44308
30210625          ROETZEL & ANDRESS, LPA                   222 SOUTH MAIN STREET                                                                                                    AKRON                 OH           44308




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  ADDRESS ID                           NAME                                     ADDRESS 1                       ADDRESS 2                            ADDRESS 3             ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY

30213373          ROF TA KOHLER LLC                               C/O CHASE PROPERTIES II LTD.        3333 RICHMOND ROAD, SUITE 320                                                    BEACHWOOD                OH           44122
30401407          Name on file                                    Address on file
30358244          Name on file                                    Address on file
30333517          Name on file                                    Address on file
30212733          ROGER HAWKINS                                   Address on file
29951532          ROGER THOMPSON                                  Address on file
30208646          ROGERS FREE LIBRARY                             525 HOPE STREET                                                                                                      BRISTOL                  RI           02809
29951534          ROGERS WATER UTILITIES                          P.O. BOX 338                                                                                                         ROGERS                   AR           72757‐0338
                  Rogers Water Utilities of the City of Rogers,
30294952          Arkansas                                        Attn: Ayesa Nolasco                P.O. Box 338                                                                      Rogers                   AR           72758
30341773          Name on file                                    Address on file
30356702          Name on file                                    Address on file
30332233          Name on file                                    Address on file
30342831          Name on file                                    Address on file
30340693          Name on file                                    Address on file
30356143          Name on file                                    Address on file
30397425          Name on file                                    Address on file
30386135          Name on file                                    Address on file
30273516          Name on file                                    Address on file
30353877          Name on file                                    Address on file
30210864          ROHIT CHIKKA                                    Address on file
30165270          Rohlig USA, LLC.                                PO Box 734124                                                                                                        Chicago                  IL           60673
30350713          Name on file                                    Address on file
30345440          Name on file                                    Address on file
30343647          Name on file                                    Address on file
                                                                  C/O RETAIL OPPORTUNITY INVESTMENTS
30213474          ROIC FULLERTON CROSSROADS LLC                   CORPORATION                        11250 EL CAMINO REAL, SUITE 200                                                   SAN DIEGO                CA           92130
30354198          Name on file                                    Address on file
30393710          Name on file                                    Address on file
29940785          ROLAND BERGER STRATEGY CONSULTING               ROLAND BERGER LP                   1217 WOODWARD AVE                 FL 450                                          DETROIT                  MI           48226‐2054
30333473          Name on file                                    Address on file
30344446          Name on file                                    Address on file
30401796          Name on file                                    Address on file
30208648          ROLLA PUBLIC LIBRARY                            900 N. PINE ST.                                                                                                      ROLLA                    MO           65401
30208650          ROLLING HILLS CONSOLIDATED                      1912 N BELT HWY                                                                                                      ST. JOSEPH               MO           64506
30208651          ROLLING HILLS CONSOLIDATED LIBRARY              1912 BELT HWY                                                                                                        ST JOSEPH                MO           64506
29940792          Name on file                                    Address on file
30211903          ROLLING MEADOWS LIBRARY                         3110 MARTIN LANE                                                                                                     ROLLING MEADOWS          IL           60008
29940795          ROLLINS INC                                     NORTHWEST EXTERMINATING CO LLC     1406 FITZPATRICK AVE                                                              OPELIKA                  AL           36801
30332697          Name on file                                    Address on file
30398305          Name on file                                    Address on file
30333555          Name on file                                    Address on file
30332629          Name on file                                    Address on file
29949650          ROMARK CLO ‐ III LTD                            262 HARBOR DRIVE, 4TH FLOOR                                                                                          STAMFORD                 CT           06902
29953229          ROMARK CLO ‐ V LTD.                             262 HARBOR DRIVE, 4TH FLOOR                                                                                          STAMFORD                 CT           06902
29953230          ROMARK CLO‐I, LTD.                              262 HARBOR DRIVE, 4TH FLOOR                                                                                          STAMFORD                 CT           06902
29953231          ROMARK CLO‐II, LTD.                             262 HARBOR DRIVE, 4TH FLOOR                                                                                          STAMFORD                 CT           06902
29953232          ROMARK CLO‐IV, LTD.                             262 HARBOR DRIVE, 4TH FLOOR                                                                                          STAMFORD                 CT           06902
29953233          ROMARK WM‐R LTD                                 262 HARBOR DRIVE, 4TH FLOOR                                                                                          STAMFORD                 CT           06902
30353897          Name on file                                    Address on file
30274831          Name on file                                    Address on file
30342146          Name on file                                    Address on file
29940810          ROMLA VENTILATOR CO                             9668 HEINRICH HERTZ DR #D                                                                                            SAN DIEGO                CA           92154
30395078          Name on file                                    Address on file
29940812          RON FATICA                                      Address on file
29940813          RON WILSON                                      Address on file
29940815          RONA STANLEY                                    Address on file
29940817          RONALD BEACH                                    Address on file
29940821          RONALD GLOVER                                   Address on file
29940828          RONALD TAYLOR                                   Address on file
30397435          Name on file                                    Address on file
30223235          RONNIE WARREN                                   Address on file




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30342234          Name on file                              Address on file
30281997          Name on file                              Address on file
29940846          ROOTERCO LLC                              1611 VIRGINIA AVE., #219                                                                                                    NORTH BEND              OR           97459
29940847          ROPAAR LLC                                4100 SPRING VALLEY RD., #670                                                                                                FARMERS BRANCH          TX           75244
30332310          Name on file                              Address on file
30223236          ROSA LAKE                                 Address on file
29940895          ROSANGELLA VERANO                         Address on file
30211465          ROSANNE J MYERS                           Address on file
30210627          ROSE LAW GROUP                            7144 E. STETSON DRIVE              SUITE 300                                                                                SCOTTSDALE              AZ           85251
29962703          ROSE LAW GROUP PC                         7144 E. STETSON DR. #300                                                                                                    SCOTTSDALE              AZ           85251
30212864          ROSE NICASTRO                             Address on file
30397369          Name on file                              Address on file
30352719          Name on file                              Address on file
30398428          Name on file                              Address on file
30349338          Name on file                              Address on file
29940929          ROSEBURG URBAN SANITARY AUTHORITY         1297 NE GRANDVIEW DRIVE                                                                                                     ROSEBURG                OR           97470
LC_0574           Roselle Free Public Library               104 W. Fourth Avenue                                                                                                        Roselle                 NJ           07203‐2057
29940933          Name on file                              Address on file
30208654          ROSELLE PUBLIC LIBRARY                    104 W. FOURTH AVENUE                                                                                                        ROSELLE                 NJ           07203
29940934          Name on file                              Address on file
30208658          ROSELLE PUBLIC LIBRARY DISTRICT           40 SOUTH PARK STREET                                                                                                        ROSELLE                 IL           60172
29940957          Name on file                              Address on file
30208660          ROSEMARY GARFOOT PUBLIC LIBRARY           2107 JULIUS STREET                                                                                                          CROSS PLAINS            WI           53528
30397325          Name on file                              Address on file
30396424          Name on file                              Address on file
30210628          ROSENTHAL & ROSENTHAL, INC.               1370 BROADWAY                                                                                                               NEW YORK                NY           10018
30224272          Rosenthal & Rosenthal, Inc.               Attn: Melinda DeJesus              1370 Broadway, 3rd Floor                                                                 New York                NY           10018
30295856          Rosenthal & Rosenthal, Inc.               Attn: Melinda DeJesus              300 Park Avenue                       Suite 1401                                         New York                NY           10022
30341195          Name on file                              Address on file
30223237          ROSS CLARK MATERIAL HANDLING              2401 GOLD RIVER RD                                                                                                          RANCHO CORDOVA          CA           95670
                  ROSS COUNTY, OH COUNTY CONSUMER
30207984          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 2 NORTH PAINT ST                                                                         CHILLICOTHE             OH           45601
30211467          ROSS ENVIRONMENTAL SERVICES INC           150 INNOVATION DR                                                                                                           ELYRIA                  OH           44035
29940986          ROSS TOWNSHIP, PA                         PO BOX 645124                                                                                                               PITTSBURGH              PA           15264‐5124
30251275          Name on file                              Address on file
30401476          Name on file                              Address on file
30384860          Name on file                              Address on file
30386410          Name on file                              Address on file
30337242          Name on file                              Address on file
30401965          Name on file                              Address on file
30401222          Name on file                              Address on file
30401969          Name on file                              Address on file
30261809          Name on file                              Address on file

29940990          ROSTRAVER TOWNSHIP SEWAGE AUTHORITY       PO BOX 644715                                                                                                               PITTSBURGH              PA           15264‐4715
29940992          ROTH BROS INC                             C/O SODEXO INC & AFFILIATES        PO BOX 360170                                                                            PITTSBURGH              PA           15251‐6170

30280237          Roth Bros., Inc. (a Sodexo Company)       Sodexo Technical Services          Tammy Knipp ‐ Segment Finance Dir 3821 Crum Road                                         Youngstown              OH           44515
30335581          Name on file                              Address on file
30354897          Name on file                              Address on file
30416692          Name on file                              Address on file
29940993          Name on file                              Address on file
30349294          Name on file                              Address on file
29940994          ROUND 2 LLC                               4073 MEGHAN BEELER CT                                                                                                       SOUTH BEND              IN           46628
29940995          Name on file                              Address on file

30208662          ROUND LAKE AREA PUBLIC LIBRARY DISTRICT   906 HART ROAD                                                                                                               ROUND LAKE              IL           60073
30332531          Name on file                              Address on file
30331450          Rouse Companies, LLC                      Wyatt, Tarrant & Combs, LLP        Attn: Daniel E. Hitchcock             250 West Main Street           Suite 1600          Lexington               KY           40507
30357076          Name on file                              Address on file
30416126          Name on file                              Address on file
30332312          Name on file                              Address on file
30414865          Name on file                              Address on file




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30342751          Name on file                              Address on file
30394793          Name on file                              Address on file
30394757          Name on file                              Address on file
30353585          Name on file                              Address on file
30347701          Name on file                              Address on file
30401517          Name on file                              Address on file
30356296          Name on file                              Address on file
29941013          ROWENTA/GROUPE SEB                        1 BOLAND DRIVE, STE 101                                                                                                WEST ORANGE             NJ           07052
30396725          Name on file                              Address on file
30354881          Name on file                              Address on file
30211905          ROWLEY PUBLIC LIBRARY                     141 MAIN ST                                                                                                            ROWLEY                  MA           01969
30208664          ROWLEY PUBLIC LIBRARY                     P.O. BOX 276                                                                                                           ROWLEY                  MA           01969
30351253          Name on file                              Address on file
29941039          ROXANNE SMURR                             Address on file
29941040          ROXANNE STEVENS                           Address on file
30349355          Name on file                              Address on file
29941044          ROXIANNE GAU                              Address on file
30213411          ROXVILLE ASSOCIATES                       C/O FIDELITY MANAGEMENT LLC           641 SHUNPIKE ROAD                                                                CHATHAM                 NJ           07928
29941046          ROXVILLE ASSOCIATES                       C/O FIDELITY MANAGEMENT LLC           PO BOX 48                                                                        GREEN VILLAGE           NJ           07935
30333722          Name on file                              Address on file
30339532          Name on file                              Address on file
29962717          ROYAL BRUSH MANUFACTURING INC             515 W 45TH STREET                                                                                                      MUNSTER                 IN           46321
30211468          ROYAL CASE COMPANY                        419 E. LAMAR ST                                                                                                        SHERMAN                 TX           75090
30211469          ROYAL DELUXE ACCESSORIES LLC              165 SPRING STREET                                                                                                      NEW PROVIDENCE          NJ           07974
29962720          Name on file                              Address on file
30208665          ROYAL OAK PUBLIC LIBRARY                  PO BOX 494                                                                                                             ROYAL OAK               MI           48068
29962721          Name on file                              Address on file
30355743          Name on file                              Address on file
29941049          ROYCE LEE WATSON                          Address on file
30340890          Name on file                              Address on file
29952752          Name on file                              Address on file
30344389          Name on file                              Address on file
29952753          RPAC INTERNATIONAL CORP                   132 WEST 36TH ST.                                                                                                      NEW YORK                NY           10018
29952755          RPAI US MANAGEMENT LLC ‐ 13068            13068 COLLECTION CENTER DRIVE                                                                                          CHICAGO                 IL           60693‐0130
                                                                                                  ATTN: KAY MEAD, VP‐OPERATIONS
30213252          RPI RIDGMAR TOWN SQUARE, LTD.             2929 CARLISLE, #170                   & ACCOUNTING                                                                     DALLAS                  TX           75204
30213429          RPT NEWNAN LLC                            500 NORTH BROADWAY, SUITE 201         P.O. BOX 9010                                                                    JERICHO                 NY           11753
29949778          RPT REALTY                                20437 STATE ROAD 7                                                                                                     BOCA RATON              FL           33498‐6785
29952759          RPT REALTY                                PO BOX 350018                                                                                                          BOSTON                  MA           02241‐0518
                                                            500 NORTH BROADWAY, SUITE 201, P.O.
30213272          RPT REALTY L.P.                           BOX 9010                              ATTN: KATIE LITTLEJOHN                                                           JERICHO                 NY           11753
29941057          RPT REALTY LP                             DBA CENTRAL PLAZA #78401006997        PO BOX 350018                                                                    BOSTON                  MA           02241
29952761          RPT REALTY LP                             NEWNAN PAVILION                       PO BOX 350018                                                                    BOSTON                  MA           02241‐0518
29952762          RPT REALTY LP                             RPT WEST OAKS II LLC #007704          PO BOX 350018                                                                    BOSTON                  MA           02241‐0518
29941058          RPT REALTY, L.P.                          DEER CREEK SHOPPING CENTER            PO BOX 350018                                                                    BOSTON                  MA           02241
29941059          RPT REALTY, L.P.                          PROVIDENCE MARKETPLACE                PO BOX 350018 LSE #00009948                                                      BOSTON                  MA           02241‐0518
                  RPT WEST OAKS II LLC (INCLUDE SITE NO.
30213177          125360)                                   500 NORTH BROADWAY, SUITE 201         P.O. BOX 9010                                                                    JERICHO                 NY           11753
30210629          RPX CORPORATION                           FOUR EMBARCADERO CENTER               SUITE 4000                                                                       SAN FRANCISCO           CA           94111
                  RSS WFRBS2011‐C3 ‐DE PMHN, LLC (HAMPSHIRE C/O SPINOSO REAL ESTATE GROUP, DLS,
30213094          MALL)                                     LLC                                   112 NORTHERN CONCOURSE                                                           NORTH SYRACUSE          NY           13212
30210500          R‐T SPECIALTY, LLC                        1345 AVENUE OF THE AMERICAS                                                                                            NEW YORK                NY           10105
30211470          RTB HOUSE INC                             2 PARK AVE., #1800                                                                                                     NEW YORK                NY           10016
30352783          Name on file                              Address on file
29941065          RUBBERMAID INCORPORATED                   DBA NEWELL BRANDS                     221 RIVER STREET                                                                 HOBOKEN                 NJ           07030
30393169          Name on file                              Address on file
30399639          Name on file                              Address on file
30399692          Name on file                              Address on file
30338618          Name on file                              Address on file
30347189          Name on file                              Address on file
30350944          Name on file                              Address on file
30338718          Name on file                              Address on file
30350853          Name on file                              Address on file




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30332551          Name on file                         Address on file
29941097          Name on file                         Address on file
30397309          Name on file                         Address on file
30355673          Name on file                         Address on file
30338863          Name on file                         Address on file
30335237          Name on file                         Address on file
30337660          Name on file                         Address on file
30263165          Name on file                         Address on file
30338607          Name on file                         Address on file
30394602          Name on file                         Address on file
30341150          Name on file                         Address on file
30332332          Name on file                         Address on file
30351134          Name on file                         Address on file
29941101          RUPERT GIBBON AND SPIDER INC         1147 HEALDSBURG AVE                                                                                                       HEALDSBURG              CA           95448
30350472          Name on file                         Address on file
30351174          Name on file                         Address on file
30213471          RURAL KING REALTY, LLC               4216 DEWITT AVENUE, PO BOX 1066      ATTN: BLAKE PIERCE, PRESIDENT                                                        MATTOON                 IL           61938
30260919          Name on file                         Address on file
29941105          Name on file                         Address on file
29941106          Name on file                         Address on file
30349228          Name on file                         Address on file
30347731          Name on file                         Address on file
30355709          Name on file                         Address on file
29941107          Name on file                         Address on file
30208667          RUSHVILLE PUBLIC LIBRARY             130 WEST THIRD STREET                                                                                                     RUSHVILLE               IN           46173
30282530          Name on file                         Address on file
30393500          Name on file                         Address on file
30212740          RUSSELL SMITH                        Address on file
30392908          Name on file                         Address on file
30393584          Name on file                         Address on file
30397353          Name on file                         Address on file
30397307          Name on file                         Address on file
30337336          Name on file                         Address on file
29962740          RUTH KREISER KALDAHL                 Address on file
29941145          RUTH NEVES                           Address on file
30287605          Name on file                         Address on file
29941165          Name on file                         Address on file
29941166          RUTHERFORD COUNTY TRUSTEE            PO BOX 1316                                                                                                               MURFREESBORO            TN           37133
30211908          RUTHERFORD FREE PUBLIC LIBRARY       150 PARK AVENUE                                                                                                           RUTHERFORD              NJ           07070
                  RUTLAND COUNTY, VT COUNTY CONSUMER
30207985          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION   67 MERCHANTS ROW                    STE 104                                          RUTLAND                 VT           05701
29941171          RVA WEST BROAD LLC                   C/O DIVARIS PROP MGMT CORP           4525 MAIN ST., STE. 900                                                              VIRGINIA BEACH          VA           23462
                                                       C/O DIVARIS PROPERTY MANAGEMENT
30213335          RVA WEST BROAD LLC                   CORP.                                4525 MAIN STREET, SUITE 900                                                          VIRGINIA BEACH          VA           23462
30331333          RVA West Broad, LLC                  c/o Logan Stycos                     200 South 10th Street               Suite 1010                                       Richmond                VA           23219
29941172          RXO CAPACITY SOLUTIONS LLC           27724 NETWORK PLACE                                                                                                       CHICAGO                 IL           60673‐1277
30212844          RYAN DAVIS                           Address on file
29941197          RYAN LLC                             PO BOX 848351                                                                                                             DALLAS                  TX           75284‐8351
29941202          RYAN MARKL                           Address on file
29941208          RYAN MURPHY                          Address on file
29941214          RYAN SHUSTER                         Address on file
30415215          Name on file                         Address on file
30332083          Name on file                         Address on file
30296369          Name on file                         Address on file
30336855          Name on file                         Address on file
30349068          Name on file                         Address on file
30347805          Name on file                         Address on file
30351757          Name on file                         Address on file
30336791          Name on file                         Address on file
29941256          S DONALD FRYE                        Address on file
29941257          S LICHTENBERG & CO INC               1010 NORTHERN BLVD. SUITE 400                                                                                             GREAT NECK              NY           11021
29941258          Name on file                         Address on file
30211471          S WALTER PACKAGING CORPORATION       2900 GRANT AVENUE                                                                                                         PHILADELPHIA            PA           19114




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29941259          S&P GLOBAL INC                        S&P GLOBAL RATINGS                      2542 COLLECTION CENTER DR                                                         CHICAGO                    IL           60693
29941260          S&P GLOBAL MARKET INTELLIGENCE LLC    33356 COLLECTION CTR DR.                                                                                                  CHICAGO                    IL           60693‐0333
29941261          S. ALI                                Address on file
29941262          S. CAMPBELL                           Address on file
29941263          S. DELEON                             Address on file
29941264          S. FITCH                              Address on file
29941265          S. FOURNIER                           Address on file
29941266          S. HUETT                              Address on file
29941267          S. KI                                 Address on file
29941268          S. LANDHOLM                           Address on file
29941269          S. LEVIN                              Address on file
29941270          S. THOMPSON                           Address on file
29941271          S. VANHORN                            Address on file
29941272          S. WILLIAMS BURNS                     Address on file
29941273          S. YNOQUIO                            Address on file
30384988          Name on file                          Address on file
29953426          SABINA SKOLNIK                        Address on file
30396602          Name on file                          Address on file
30351192          Name on file                          Address on file
29941320          SABRINA SANDHOFNER                    Address on file
30349437          Name on file                          Address on file
30349438          Name on file                          Address on file
30211473          SACHARA CONSTRUCTION LLC              CJS CONSTRUCTION                        6133 ROCKSIDE RD, STE. 30                                                         INDEPENDENCE               OH           44131
30208670          SACHEM PUBLIC LIBRARY                 150 HOLBROOK ROAD                                                                                                         HOLBROOK                   NY           11741
29941333          SACKETT SYSTEMS INC                   1033 BRYN MAWR AVE.                                                                                                       BENSENVILLE                IL           60106‐1244
29941334          SACRAMENTO CNTY TAX COLLECTOR         700 H STREET                                                                                                              SACRAMENTO                 CA           95814‐1285
29941335          SACRAMENTO COUNTY SHERIFF'S DEPT      ALARM ORDINANCE BUREAU                  4500 ORANGE GROVE AVE.                                                            SACRAMENTO                 CA           95841‐4205
                  SACRAMENTO COUNTY, CA COUNTY CONSUMER
30207986          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION      901 G STREET                                                                      SACRAMENTO                 CA           95814
29941338          Name on file                          Address on file
29941347          SADIE REID                            Address on file
30332376          Name on file                          Address on file
30341767          Name on file                          Address on file
30347914          Name on file                          Address on file
30356768          Name on file                          Address on file
29941362          SAFEGUARD WORLD INT'L LTD             GROUND FLOOR, BLDG 2                    CHAMPION PARK                                                                     HOLMES CHAPEL. CH                       CW4 8AX         UNITED KINGDOM
30286656          Name on file                          Address on file
                  SAGADAHOC COUNTY, ME COUNTY CONSUMER
30207987          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION      752 HIGH ST                                                                       BATH                       ME           04530
29941367          SAGAMORE TOV LLC                      PO BOX 191116                                                                                                             BROOKLYN                   NY           11219
30340572          Name on file                          Address on file
29962794          SAGEFLO INC                           360 VALLEJO DR. #97                                                                                                       MILLBRAE                   CA           94030

30213155          SAGINAW CENTER LLC                       C/O CHASE PROPERTIES LTD             3333 RICHMOND ROAD, SUITE 320                                                     BEACHWOOD                  OH           44122
                  SAGINAW COUNTY, MI COUNTY CONSUMER
30207988          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 111 S. MICHIGAN AVE                                                                 SAGINAW                    MI           48602
30414751          Name on file                             Address on file
30223238          SAHUARITA PLAZA, LLC                     1626 WAZEE STREET                  SUITE 200                                                                           DENVER                     CO           80202
30213405          SAHUARITA PLAZA, LLC                     C/O LBM PROPERTY SERVICES          8677 VILLA LA JOLLA DRIVE #331                                                      LA JOLLA                   CA           92037
30349432          Name on file                             Address on file
30345607          Name on file                             Address on file
29962805          Name on file                             Address on file
29962806          Name on file                             Address on file
LC_0582           Saint Charles Public Library District    One South Sixth Avenue                                                                                                 Saint Charles              IL           60174‐2105
LC_0583           Saint Louis County Library               1412 S Spoede Rd                                                                                                       St. Louis                  MO           63131‐2557
29962807          Name on file                             Address on file
                  SAINT TAMMANY PARISH COUNTY, LA COUNTY
30207989          CONSUMER PROTECTION AGENCY               ATTN: CONSUMER PROTECTION DIVISION 21490 KOOP DR                                                                       MANDEVILLE                 LA           70471
30393098          Name on file                             Address on file
30212965          SAIRAM SAMIVELU                          Address on file
30287016          Sakar International Inc.                 Jay Weinblatt                      195 Carter Drive                                                                    Edison                     NJ           08817
29954959          Salas, Amy                               Address on file
30339750          Salas, Amy                               Address on file




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                                                                                                                    Master Mailing First Class Mail Service List
                                                                                                                              Served via first class mail


  ADDRESS ID                           NAME                           ADDRESS 1                         ADDRESS 2                        ADDRESS 3                 ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
30347163          Name on file                           Address on file
30350948          Name on file                           Address on file
30340974          Name on file                           Address on file
30396285          Name on file                           Address on file
30393627          Name on file                           Address on file
30385253          Name on file                           Address on file
30208671          SALEM PUBLIC LIBRARY                   28 E. MAIN ST                                                                                                         SALEM                   VA           24153
30211909          SALEM‐SOUTH LYON DISTRICT LIBRARY      9800 PONTIAC TRAIL                                                                                                    SOUTH LYON              MI           48178
                  SALES AND USE OHIO DEPARTMENT OF
29962813          TAXATION                               ATTN: BUSINESS TAX DIVISION          PO BOX 2678                                                                      COLUMBUS                OH           43216‐2678
29962814          SALESFORCE.COM INC                     PO BOX 203141                                                                                                         DALLAS                  TX           75320‐3141
29962816          Name on file                           Address on file
29962817          SALINA COUNTY TREASURER                300 WEST ASH                                                                                                          SALINA                  KS           64701
30208675          SALINA PUBLIC LIBRARY                  301 W ELM                                                                                                             SALINA                  KS           67401
29962818          Name on file                           Address on file
30211914          SALINE COUNTY LIBRARY                  1800 SMITHERS DRIVE                                                                                                   BENTON                  AR           72015
                  SALINE COUNTY, KS COUNTY CONSUMER
30207990          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   300 WEST ASH                                                                     SALINA                  KS           67401
30208678          SALINE DISTRICT LIBRARY                555 N MAPLE RD                                                                                                        SALINE                  MI           48176
29962822          Name on file                           Address on file
30351184          Name on file                           Address on file
30398326          Name on file                           Address on file
29941411          SALLY MEYER                            Address on file
29941416          SALLY ROMERO                           Address on file
30340839          Name on file                           Address on file
30393074          Name on file                           Address on file
30211474          SALSIFY INC                            101 FEDERAL ST., STE. 2600                                                                                            BOSTON                  MA           02110
29962825          SALT CITY DEVELOPMENT CO., LLC         C/O EMPIRE MANAGEMENT                ATTN: DAVID MURACO, OWNER       112 SOUTH BURDICK STREET                         FAYETTEVILLE            NY           13066
30210981          SALT CITY DEVELOPMENT CO., LLC         C/O EMPIRE MANAGEMENT                ATTN: DAVID MURACO, OWNER                                                        FAYETTEVILLE            NY           13066
30401294          Salt City Development Co., LLC         Mark Arbon                           Sarofeen & Arbon, PLLC          5788 Widewaters Pkwy                             Syracuse                NY           13214
29962826          SALT CITY DEVELOPMENT LLC              C/O EMPIRE MANAGEMENT CO INC         112 SOUTH BURDICK ST.                                                            FAYETTEVILLE            NY           13066
29962827          SALT LAKE COUNTY ASSESSOR              2001 S STATE ST., #N2‐600                                                                                             SALT LAKE CITY          UT           84190
                  SALT LAKE COUNTY, UT COUNTY CONSUMER
30207991          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 2001 SOUTH STATE ST                                                                SALT LAKE CITY          UT           84114
29949844          SALT RIVER PROJECT AGRICULTURAL        1500 N. MILL AVE.                                                                                                     TEMPE                   AZ           85288
30210701          SALT RIVER PROJECT AGRICULTURAL        PO BOX 2950                                                                                                           PHOENIX                 AZ           85062‐2950
29962831          SALVADOR MARTINEZ                      Address on file
29962841          SAMANTHA ABBIE PADILLO                 Address on file
29941450          SAMANTHA ARMSTRONG                     Address on file
29941464          SAMANTHA BECKER                        Address on file
29962847          SAMANTHA BETTENHAUSEN                  Address on file
29962853          SAMANTHA BOWER                         Address on file
29962873          SAMANTHA LEWIS                         Address on file
29962884          SAMANTHA MIDOLO                        Address on file
29962887          SAMANTHA MILLER                        Address on file
29941582          SAMANTHA MURRAY                        Address on file
29941622          SAMANTHA RODGERS                       Address on file
29941621          SAMANTHA RODGERS                       Address on file
29962894          Name on file                           Address on file
29941636          SAMANTHA SHIPP                         Address on file
29962900          SAMANTHA SHORT                         Address on file
29962904          SAMANTHA SLOMA                         Address on file
29941661          Name on file                           Address on file
29962916          SAMANTHA WISELL                        Address on file
29941669          SAMAR THOBANI                          Address on file
30263449          Name on file                           Address on file
29941690          SAMONE MYERS                           Address on file
30396443          Name on file                           Address on file
29941692          SAM'S CLUB DIRECT                      PO BOX 669810                                                                                                         DALLAS                  TX           75266‐0956
30335224          Name on file                           Address on file
29941694          Name on file                           Address on file
30338471          Name on file                           Address on file
29941696          SAMUEL ANDRESEN                        Address on file




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  ADDRESS ID                           NAME                            ADDRESS 1                            ADDRESS 2                         ADDRESS 3                ADDRESS 4                     CITY        STATE     POSTAL CODE   COUNTRY
29941712          SAMUEL OROZCO                           Address on file
30208679          SAMUEL S. POLLARD MEMORIAL LIBRARY      401 MERRIMACK ST.                                                                                                        LOWELL                   MA           01852
30349253          Name on file                            Address on file
29941728          Name on file                            Address on file
30208680          SAN BENITO COUNTY FREE LIBRARY          475 FIFTH STREET                                                                                                         HOLLISTER                CA           95023
29941730          SAN BERNARDINO COUNTY                   DIVISION OF WEIGHTS & MEASURES        777 EAST RIALTO AVENUE                                                             SAN BERNARDINO           CA           92415‐0720

29949908          SAN BERNARDINO COUNTY ‐ RECORDER ‐ CLERK 172 W THIRD STREET                   1ST FLOOR                                                                          SAN BERNARDINO           CA           92415‐0360
                  SAN BERNARDINO COUNTY ‐ WEIGHTS AND
29949909          MEASURES                                 DIVISION OF WEIGHTS & MEASURES       777 EAST RIALTO AVENUE                                                             SAN BERNARDINO           CA           92415‐0720
                  SAN BERNARDINO COUNTY, CA COUNTY
30207992          CONSUMER PROTECTION AGENCY               ATTN: CONSUMER PROTECTION DIVISION   385 N. ARROWHEAD AVENUE                                                            SAN BERNARDINO           CA           92415
29941731          SAN DIEGO COUNTY                         TREASURER TAX COLLECTOR              PO BOX 129009                                                                      SAN DIEGO                CA           92112
                  SAN DIEGO COUNTY, CA COUNTY CONSUMER
30207993          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION   COUNTY ADMINISTRATION CENTER 1600 PACIFIC HIGHWAY, RM 166                          SAN DIEGO                CA           92101
29941732          SAN DIEGO GAS & ELECTRIC                 P.O. BOX 25111                                                                                                          SANTA ANA                CA           92799‐5111
30280208          SAN DIEGO GAS AND ELECTRIC               KELLI DAVENPORT                      8326 CENTURY PARK CT                                                               SAN DIEGO                CA           92123
29941735          SAN FRANCISCO CITY OPTION                PO BOX 7720                                                                                                             SAN FRANCISCO            CA           94120‐7720
29949911          SAN FRANCISCO TAX COLLECTOR              PO BOX 7427                                                                                                             SAN FRANCISCO            CA           94120‐7427
29941736          SAN JOAQUIN COUNTY                       ENVIRONMENTAL HEALTH DEPT            600 EAST MAIN STREET                                                               STOCKTON                 CA           95202
                  SAN JOAQUIN COUNTY ‐ ENVIRONMENTAL
29949912          HEALTH DEPT                              ENVIRONMENTAL HEALTH DEPT            600 EAST MAIN STREET                                                               STOCKTON                 CA           95202
29941737          SAN JOAQUIN COUNTY TAX COLLECTOR         SHABBIR A KHAN                       PO BOX 2169                                                                        STOCKTON                 CA           95201
                  SAN JOAQUIN COUNTY, CA COUNTY CONSUMER                                        44 NORTH SAN JOAQUIN ST, 6TH
30207994          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION   FLOOR                             STE 640                                          STOCKTON                 CA           95202
29941738          SAN JOAQUIN VALLEY UNIFIED AIR           POLLUTION CONTROL DISTRICT           34946 FLYOVER COURT                                                                BAKERSFIELD              CA           93308
29949914          SAN JUAN COUNTY TREASURER                100 SOUTH RIVER SUITE 300                                                                                               AZTEC                    NM           87410‐2434
30343563          San Juan County Treasurer                Brigitta Pramitasari                 100 S. Oliver Dr.                 Suite 300                                        Aztec                    NM           87410
30208682          SAN JUAN ISLAND LIBRARY DISTRICT         1010 GUARD STREET                                                                                                       FRIDAY HARBOR            WA           98250
30208683          SAN LUIS OBISPO CITY‐COUNTY LIBRARY      995 PALM STREET                                                                                                         SAN LUIS OBISPO          CA           93403
30208685          SAN LUIS OBISPO CITY‐COUNTY LIBRARY      PO BOX 8107                                                                                                             SAN LUIS OBISPO          CA           93403
29941742          SAN MATEO CONSOLIDATED FIRE DEPT         330 WEST 20TH AVE.                                                                                                      SAN MATEO                CA           94403
29941744          SAN MATEO COUNTY                         DEPT OF WEIGHTS AND MEASURES         728 HELLER STREET                                                                  REDWOOD CITY             CA           94063

29941743          SAN MATEO COUNTY                        ENVIRONMENTAL HEALTH SERVICES         2000 ALAMEDA DE LAS PULGAS 100                                                     SAN MATEO                CA           94403‐1269
                  SAN MATEO COUNTY AGRICULTURAL
29949915          COMMISSIONER                            DEPT OF WEIGHTS AND MEASURES          728 HELLER STREET                                                                  REDWOOD CITY             CA           94063

29949249          SAN MATEO COUNTY ENVIRONMENTAL HEALTH ENVIRONMENTAL HEALTH SERVICES           2000 ALAMEDA DE LAS PULGAS 100                                                     SAN MATEO                CA           94403‐1269
29941745          Name on file                          Address on file
30210630          SAN MATEO COUNTY LIBRARY              125 LESSINGIA COURT                                                                                                        SAN MATEO                CA           94402
30331254          San Mateo County Tax Collector        555 County Center                       1st Floor                                                                          Redwood City             CA           94063
29941746          SAN MATEO COUNTY TAX COLLECTOR        555 COUNTY CENTER 1ST FLOOR             PO BOX 8066                                                                        REDWOOD CITY             CA           94063‐0966
                  SAN MATEO COUNTY, CA COUNTY CONSUMER                                                                     PROTECTION HALL OF JUSTICE AND 400 COUNTY CENTER, 3RD
30207995          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION      CONSUMER AND ENVIRONMENTAL RECORDS                        FLOOR                    REDWOOD CITY             CA           94063
29941749          SANAE ISHIDA                          Address on file
30401657          Name on file                          Address on file
30344693          SANCHEZ, ASHLEY                       Address on file
30335280          Name on file                          Address on file
30415866          Name on file                          Address on file
30337300          Name on file                          Address on file
30344210          Name on file                          Address on file
30341963          Name on file                          Address on file
                                                                                                10689 NORTH PENNSYLVANIA
30213614          SAND CAPITAL VL LLC                     C/O SANDOR DEVELOPMENT                STREET, SUITE 100                                                                  INDIANAPOLIS             IN           46280
30340936          Name on file                            Address on file
30332569          Name on file                            Address on file
30332759          Name on file                            Address on file
30353013          Name on file                            Address on file
30357836          Name on file                            Address on file
30384980          Name on file                            Address on file
30416627          Name on file                            Address on file
30385175          Name on file                            Address on file




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  ADDRESS ID                           NAME                          ADDRESS 1                           ADDRESS 2                         ADDRESS 3                ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
30346980          Name on file                           Address on file
29941756          SANDLER TRAVIS & ROSENBERG PA          5835 BLUE LAGOON DR., #200                                                                                             MIAMI                   FL           33126
30414709          Name on file                           Address on file
30347193          Name on file                           Address on file
30274963          Name on file                           Address on file
30401865          Name on file                           Address on file
30202136          Sandoval, Maria Garcia                 Address on file
30206547          Sandoval, Maria Garcia                 Address on file
29941762          SANDRA BLOUNT                          Address on file
29941764          SANDRA BOHLSEN‐FLANIGAN                Address on file
29941767          Name on file                           Address on file
29949251          SANDRA DALTON, CLERK OF CIRCUIT COURT  TRADERS LICENSE                      100 WEST PATRICK STREET                                                           FREDERICK               MD           21701
30212896          SANDRA ROCHOWICZ                       Address on file
30332549          Name on file                           Address on file
29941856          SANDRO HERNANDEZ                       Address on file
                  SANDUSKY COUNTY, OH COUNTY CONSUMER
30207996          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   622 CROGHAN ST.                                                                   FREMONT                 OH           43420
30213483          SANDUSKY PLAZA LLC                     361 17TH ST. NW, UNIT 2601           ATTN: R. D. SHARMA                                                                ATLANTA                 GA           30363
29941858          SANDUSKY PLAZA LLC                     361 17TH STREET, APT. 2602                                                                                             ATLANTA                 GA           30363
30262847          Name on file                           Address on file
30208688          SANDY AND HOODLAND PUBLIC LIBRARIES    38980 PROCTOR BLVD                                                                                                     SANDY                   OR           97055
29941859          Name on file                           Address on file
29941867          SANDY STUDIOS LLC                      6065 ROSWELL RD #450                                                                                                   ATLANTA                 GA           30328
29941868          Name on file                           Address on file
29941870          SANFORD                                DBA NEWELL BRANDS                    2707 BUTTERFIELD ROAD                                                             OAK BROOK               IL           60523
30415074          Name on file                           Address on file
30332868          Name on file                           Address on file
30395415          Name on file                           Address on file
30340892          Name on file                           Address on file
30223239          SANGER & EBY DESIGN                    8190‐A BEECHMONT AVE. #329                                                                                             CINCINNATI              OH           45255
29941878          Name on file                           Address on file
30396787          Name on file                           Address on file
LC_0592           Santa Clara County Library             1370 Dell Avenue                                                                                                       Campbell                CA           95008‐6604
29941884          Name on file                           Address on file
                  SANTA CLARA COUNTY PUBLIC LIBRARY
30208693          DLSTRICT                               1370 DELL AVENUE                                                                                                       CAMPBELL                CA           95008
                  SANTA CLARA COUNTY, CA COUNTY CONSUMER
30207997          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   1555 BERGER DRIVE                 BUILDING 2, 3RD FLOOR                           SAN JOSE                CA           95112
29941885          SANTA FE COUNTY TREASURER              PO BOX T                                                                                                               SANTA FE                NM           87504‐0528
                  SANTA FE COUNTY, NM COUNTY CONSUMER
30207998          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   SANTA FE COUNTY 240 GRANT AVE                                                     SANTA FE                NM           87501
30213133          SANTA SUSANA GRF2, LLC                 C/O GERRITY GROUP, LLC               973 LOMAS SANTA FE DRIVE                                                          SOLANA BEACH            CA           92075
30397327          Name on file                           Address on file
29941889          SANTAN MP LP                           C/O VESTAR PROPERTIES                PO BOX 30412                                                                      TAMPA                   FL           33630
30213236          SANTAN MP LP                           C/O VESTAR PROPERTIES, INC.          2415 E. CAMELBACK RD., STE. 100                                                   PHOENIX                 AZ           85016
30332378          Name on file                           Address on file
29941894          SANTEE COOPER                          PO BOX 188                                                                                                             MONCKS CORNER           SC           29461‐0188
30396422          Name on file                           Address on file
30340950          Name on file                           Address on file
30342807          Name on file                           Address on file
30350527          Name on file                           Address on file
29953183          SAP AMERICA                            C/O SAP TREASURY DEPT                3999 WEST CHESTER PIKE                                                            NEWTOWN SQUARE          PA           19073
30279576          SAP America, Inc.                      P.O. Box 734595                      Station A                                                                         Chicago                 IL           60673‐4595
29941896          SAP INDUSTRIES INC                     PO BOX 734601                                                                                                          CHICAGO                 IL           60673
29941901          SARA ADAMS                             Address on file
30212975          SARA GREGORY                           Address on file
29941938          SARA JOHANSEN                          Address on file
29941943          SARA KECK                              Address on file
30212982          SARA ROBERTS                           Address on file
30354952          Name on file                           Address on file
29941998          Name on file                           Address on file
29942015          SARAH BLATZ                            Address on file
29942039          SARAH E JONES                          Address on file




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                                                                                                                            Served via first class mail


  ADDRESS ID                           NAME                               ADDRESS 1                   ADDRESS 2                        ADDRESS 3                 ADDRESS 4                      CITY        STATE     POSTAL CODE           COUNTRY
29942047          SARAH FAITH MATTHEWS                  Address on file
29942065          SARAH GRIMSON                         Address on file
29963073          SARAH HECHT‐THOMPSON                  Address on file
30212972          SARAH KLINGER                         Address on file
29942121          SARAH L LOBERGER                      Address on file
30212934          SARAH LAMBERT                         Address on file
29942155          SARAH NIEVES                          Address on file
30211475          SARAH NISBETT                         Address on file
29942159          SARAH OLEARY                          Address on file
30212756          SARAH SCROGGY                         Address on file
29942244          SARAH WRIGHT                          Address on file
29942248          SARAH YARIAN                          Address on file

30211476          SARAN IMPEX PRIVATE LIMITED           14TH KM MILESTONE LODHIPUR RAJPUT   DELHI ROAD, MORADABAD           Z12                                              MORADABAD                              244001          INDIA
29953235          SARANAC CLO V LIMITED                 1540 BROADWAY                       SUITE 1630                                                                       NEW YORK                  NY           10036‐0012
29953236          SARANAC CLO VIII LIMITED              1540 BROADWAY                       SUITE 1630                                                                       NEW YORK                  NY           10036‐0012
29942266          Name on file                          Address on file
29942267          Name on file                          Address on file
                  SARASOTA COUNTY BOARD OF COUNTY
29942268          COMMISSIONER                          1001 SARASOTA CENTER BLVD.                                                                                           SARASOTA                  FL           34240
30208695          SARASOTA COUNTY PUBLIC LIBRARIES      1660 RINGLING BLVD.                                                                                                  SARASOTA                  FL           34236
29942270          SARASOTA COUNTY PUBLIC UTILITIES      PO BOX 31320                                                                                                         TAMPA                     FL           33631‐3320
29949254          SARASOTA COUNTY TAX COLLECTOR         PO BOX 1358                                                                                                          SARASOTA                  FL           34230
                  SARASOTA COUNTY, FL COUNTY CONSUMER
30207999          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 1660 RINGLING BLVD                                                                SARASOTA                  FL           34236
                  SARATOGA COUNTY, NY COUNTY CONSUMER
30208000          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 40 MCMASTER STREET                                                                BALLSTON SPA              NY           12020
30211916          SARATOGA SPRINGS PUBLIC LIBRARY       49 HENRY ST                                                                                                          SARATOGA SPRINGS          NY           12866
30208696          SARGENT MEMORIAL LIBRARY              427 MASS. AVE.                                                                                                       BOXBOROUGH                MA           01719
29942282          Name on file                          Address on file
30279309          Name on file                          Address on file
30401396          Name on file                          Address on file
                                                                                           ATTN: DR. RAMESH PERAMSETTY
30213510          SARONI REAL ESTATES, LLC              1718 VETERANS MEMORIAL PARKWAY     (AUTHORIZED TO SIGN)                                                              TUSCALOOSA                AL           35404
29942295          SARPY COUNTY TREASURER                1210 GOLDEN GATE DR                                                                                                  PAPILLION                 NE           68046‐2893
                  SARPY COUNTY, NE COUNTY CONSUMER
30208001          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 1210 GOLDEN GATE DR                                                               PAPILLION                 NE           68046
30341152          Name on file                          Address on file
30346645          Name on file                          Address on file
30333457          Name on file                          Address on file
30350349          Name on file                          Address on file
29942299          SASHA BLODGET                         Address on file
29942303          SASHA PROOD                           Address on file
29942309          Name on file                          Address on file
                  SASKATCHEWAN PROVINCIAL LIBRARY AND
30208697          LITERACY OFFICE                       409A PARK STREET                                                                                                     REGINA                    SK           S4N 5B2         CANADA
29942312          SATHI THAMBIRAJAH                     Address on file
29942314          SATIN FINE FOODS INC                  32 LEONE LANE, UNIT 1                                                                                                CHESTER                   NY           10918
29942321          Name on file                          Address on file
30208699          SAU 23                                2975 DARTMOUTH COLLEGE HIGHWAY                                                                                       NORTH HAVERHILL           NH           03774
30340330          Name on file                          Address on file
29942324          SAUL HOLDINGS LIMITED PARTNERSHIP     DBA SEVEN CORNERS CENTERS LLC       PO BOX 38042                                                                     BALTIMORE                 MD           21297‐8042
30345319          Name on file                          Address on file
30356694          Name on file                          Address on file
30332470          Name on file                          Address on file
30258687          Name on file                          Address on file
29942358          SAVANNAH BARISHIAN                    Address on file
29942438          Name on file                          Address on file
29942439          SAVE MART SUPERMARKETS                DBA SAVE MART                       PO BOX 4278                                                                      MODESTO                   CA           95352
30333538          Name on file                          Address on file
30340733          Name on file                          Address on file
30211477          SAVIYNT INC                           1301 E. EL SEGUNDO BLVD, STE. D                                                                                      EL SEGUNDO                CA           90245
29942442          SAVVI                                 3761 E TECHNICAL DR                                                                                                  TUCSON                    AZ           85713




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  ADDRESS ID                           NAME                           ADDRESS 1             ADDRESS 2                        ADDRESS 3                 ADDRESS 4                   CITY        STATE     POSTAL CODE   COUNTRY
30193034          Sawgrass Technologies, Inc.            P.O. Box 117462                                                                                           Atlanta                GA           30368
29942445          SAWNEE EMC                             PO BOX 100002                                                                                             CUMMING                GA           30028‐8302
29942448          SAWYER BARTH                           Address on file
30393108          Name on file                           Address on file
30385570          Name on file                           Address on file
30208701          SAYVILLE LIBRARY                       88 GREENE AVENUE                                                                                          SAYVILLE               NY           11782
29942458          SB INVESTMENT ASSOCIATES LLC           C/O BIANCO PROPERTIES    PO BOX 411273                                                                    CREVE COEUR            MO           63141
29972769          Name on file                           Address on file
29942459          SBD TRADING LLC                        8443 E. EDGEMONT AVE.                                                                                     SCOTTSDALE             AZ           85257
30340476          Name on file                           Address on file
30394538          Name on file                           Address on file
30352686          Name on file                           Address on file
30401991          Name on file                           Address on file
30338385          Name on file                           Address on file
30342064          Name on file                           Address on file
30395271          Name on file                           Address on file
30348034          Name on file                           Address on file
29964942          SCE&G SMALL COMMERCIAL GROUP           1426 MAIN STREET                                                                                          COLUMBIA               SC           29201
30210692          SCE&G SMALL COMMERCIAL GROUP           220 OPERATION WAY        MAIL CODE 24X7 2A                                                                CAYCE                  SC           29033
30208705          SCENIC REGIONAL LIBRARY                251 UNION PLAZA DRIVE                                                                                     UNION                  MO           63084
29942473          SCENTSICLES SEASONAL PRODUCTS          2 COMMERCE DR                                                                                             CRANFORD               NJ           07016
30394521          Name on file                           Address on file
30260010          Name on file                           Address on file
30385082          Name on file                           Address on file
29942474          Name on file                           Address on file
30395683          Name on file                           Address on file
30396801          Name on file                           Address on file
30395240          Name on file                           Address on file
30340605          Name on file                           Address on file
30397834          Name on file                           Address on file
30332424          Name on file                           Address on file
29942475          SCHAUMBURG FALSE ALARMS                PO BOX 6767                                                                                               CAROL STREAM           IL           60197‐6767
29942476          Name on file                           Address on file

30208711          SCHAUMBURG TOWNSHIP DISTRICT LIBRARY   103 S ROSELLE RD                                                                                          SCHAUMBURG             IL           60193

30208712          SCHAUMBURG TOWNSHIP DISTRICT LIBRARY   130 SOUTH ROSELLE RD                                                                                      SCHAUMBURG             IL           60193
30335314          Name on file                           Address on file
30286867          Name on file                           Address on file
30340689          Name on file                           Address on file
30348044          Name on file                           Address on file
30332915          Name on file                           Address on file
30347847          Name on file                           Address on file
30223240          SCHERBA INDUSTRIES INC                 2880 INTERSTATE PKWY                                                                                      BRUNSWICK              OH           44212
30347000          Name on file                           Address on file
30211920          SCHERTZ PUBLIC LIBRARY                 798 SCHERTZ PKWY                                                                                          SCHERTZ                TX           78154
30342142          Name on file                           Address on file
30343645          Name on file                           Address on file
30397467          Name on file                           Address on file
30351045          Name on file                           Address on file
30211922          SCHILLER PARK PUBLIC LIBRARY           4200 OLD RIVER ROAD                                                                                       SCHILLER PARK          IL           60176
30340542          Name on file                           Address on file
30332617          Name on file                           Address on file
30358236          Name on file                           Address on file
30334972          Name on file                           Address on file
30341030          Name on file                           Address on file
30340707          Name on file                           Address on file
30334728          Name on file                           Address on file
30358385          Name on file                           Address on file
30332159          Name on file                           Address on file
30334637          Name on file                           Address on file
29942479          SCHMIDTS GLASS INC                     881 HOME AVE.                                                                                             AKRON                  OH           44310
30396281          Name on file                           Address on file




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  ADDRESS ID                           NAME                       ADDRESS 1                         ADDRESS 2                        ADDRESS 3                 ADDRESS 4                CITY        STATE     POSTAL CODE   COUNTRY
30336531          Name on file                      Address on file
30393185          Name on file                      Address on file
30394791          Name on file                      Address on file
30354006          Name on file                      Address on file
30261377          Name on file                      Address on file
30338018          Name on file                      Address on file
30394572          Name on file                      Address on file
30211478          SCHNEIDER BROKERAGE               PO BOX 281496                                                                                                          ATLANTA             GA           30384‐1496
30211479          SCHNEIDER DEDICATED               PO BOX 281496                                                                                                          ATLANTA             GA           30384‐1496
30211480          SCHNEIDER NATIONAL                PO BOX 281496                                                                                                          ATLANTA             GA           30384‐1496
29942480          SCHNEIDER NATIONAL CARRIERS INC   PO BOX 281496                                                                                                          ATLANTA             GA           30384‐1496

29942482          SCHNEIDER SIGN COMPANY            YESCO SIGN & LIGHTING OF ANN ARBOR   9240 WILLOW ROAD                                                                  SALINE              MI           48176
30338644          Name on file                      Address on file
30278044          Name on file                      Address on file
30335679          Name on file                      Address on file
30394580          Name on file                      Address on file
30336707          Name on file                      Address on file
30338750          Name on file                      Address on file
30414691          Name on file                      Address on file
30394729          Name on file                      Address on file
30213448          SCHNITZER PROPERTIES, LLC         1121 SW SALMON ST.                   ATTN: LEGAL DEPT: RETAIL                                                          PORTLAND            OR           97205
30401544          Name on file                      Address on file
30347841          Name on file                      Address on file
30333559          Name on file                      Address on file
30354930          Name on file                      Address on file
30335210          Name on file                      Address on file
30396991          Name on file                      Address on file
29942485          Name on file                      Address on file
30397564          Name on file                      Address on file
30208714          SCHOOL DISTRICT OF BROWN DEER     8200 N. 60TH STREET                                                                                                    BROWN DEER          WI           53223
30211482          SCHOOLHOUSE OUTFITTERS LLC        DBA SCHOOL OUTFITTERS LLC            3736 REGENT AVE                                                                   CINCINNATI          OH           45212‐3724
30353489          Name on file                      Address on file
30292878          Name on file                      Address on file
30348070          Name on file                      Address on file
30261711          SCHOTT TEXTILES INC               LORRAINE KAY CHISM                   PO BOX 472                                                                        AKRON               OH           44309
29951097          SCHOTTENSTEIN REALTY LLC          DBA TRUSS GREENWOOD IN LLC           DEPT L 2632 #490013030                                                            COLUMBUS            OH           43260
30344458          Name on file                      Address on file
30353527          Name on file                      Address on file
30356784          Name on file                      Address on file
30394455          Name on file                      Address on file
30350114          Name on file                      Address on file
30351066          Name on file                      Address on file
30398117          Name on file                      Address on file
30350783          Name on file                      Address on file
30350663          Name on file                      Address on file
30386312          Name on file                      Address on file
30356917          Name on file                      Address on file
30222000          Name on file                      Address on file
30353905          Name on file                      Address on file
30282856          Name on file                      Address on file
30342791          Name on file                      Address on file
30399718          Name on file                      Address on file
30338854          Name on file                      Address on file
30340643          Name on file                      Address on file
30394700          Name on file                      Address on file
30358238          Name on file                      Address on file
30393801          Name on file                      Address on file
29951098          SCHUSTER ENTERPRISES INC          DBA BURGER KING                      PO BOX 12029                                                                      COLUMBUS            GA           31917
30349782          Name on file                      Address on file
29951100          Name on file                      Address on file
30340886          Name on file                      Address on file
30397279          Name on file                      Address on file




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30332077          Name on file                       Address on file
30347723          Name on file                       Address on file
30340713          Name on file                       Address on file
30396289          Name on file                       Address on file
30358082          Name on file                       Address on file
30353928          Name on file                       Address on file
30414604          Name on file                       Address on file
30208716          SCITUATE TOWN LIBRARY              85 BRANCH STREET                                                                                                         SCITUATE               MA           02066
29951103          Name on file                       Address on file
29951104          SC‐JAC‐SALES TAX 14701             PO BOX 125                                                                                                               COLUMBIA               SC           29214
29951105          SC‐JAS‐CORP‐10804‐EXT              SOUTH CAROLINA DEPT OF REVENUE       PO BOX 125                                                                          COLUMBIA               SC           29214
29942487          SC‐JAS‐SALES TAX 14701             PO BOX 125                                                                                                               COLUMBIA               SC           29214
29942488          Name on file                       Address on file
29942489          Name on file                       Address on file
29942490          Name on file                       Address on file
30385965          Name on file                       Address on file
29942491          SCORPIO UZUH                       Address on file
29942492          Name on file                       Address on file
30208720          SCOTCH PLAINS PUBLIC LIBRARY       1927 BARTIE AVENUE                                                                                                       SCOTCH PLAINS          NJ           07076
29942493          Name on file                       Address on file
29942495          SCOTT ALLEN                        Address on file
29963110          SCOTT CONROY                       Address on file
29963111          Name on file                       Address on file
30208724          SCOTT COUNTY PUBLIC LIBRARY        104 SOUTH BRADFORD LANE                                                                                                  GEORGETOWN             KY           40324
                  SCOTT COUNTY, MN COUNTY CONSUMER
30208002          PROTECTION AGENCY                  ATTN: CONSUMER PROTECTION DIVISION 200 FOURTH AVE WEST                                                                   SHAKOPEE               MN           55379
30212889          SCOTT HAMBLIN                      Address on file
29963117          SCOTT HANNERS LLC                  2120 FAIRFAX BYPASS                                                                                                      VALLEY                 AL           36854
29949256          SCOTT MOORE, DIRECTOR OF REVENUE   PO BOX 12207                                                                                                             BIRMINGHAM             AL           35202‐2207
29942503          Name on file                       Address on file
29942507          SCOTT POST                         Address on file
29942514          SCOTT THOMAS                       Address on file
30343844          Name on file                       Address on file
30358322          Name on file                       Address on file
30355490          Name on file                       Address on file
30357658          Name on file                       Address on file
30394445          Name on file                       Address on file
30335374          Name on file                       Address on file
30415219          Name on file                       Address on file
30358389          Name on file                       Address on file
30385461          Name on file                       Address on file
30353495          Name on file                       Address on file
30342953          Name on file                       Address on file
30208726          SCOTTSBORO PUBLIC LIBRARY          1002 SOUTH BROAD STREET                                                                                                  SCOTTSBORO             AL           35768
29942521          Name on file                       Address on file
29942523          Name on file                       Address on file
29942524          SCT RIO HILL LLC                   C/O THE SHOPPING CTR GRP LLC       PO BOX 6298                                                                           HICKSVILLE             NY           11802‐6298
                                                                                                                             300 GALLERIA PARKWAY, 12TH
29942525          SCT RIO HILL, LLC                  C/O THE SHOPPING CENTER GROUP, LLC   ATTN: PROPERTY MANAGER             FLOOR                                            ATLANTA                GA           30339
29942527          SCV WATER ‐ VALENCIA DIVISION      PO BOX 515106                                                                                                            LOS ANGELES            CA           90051‐5106

29942528          SDD INC.                           ATTN: NANCY SMITH ‐ ACCT MANAGER     952 LAKEWOOD RD.                                                                    TOMS RIVER             NJ           08753
29942529          SDD, INC.                          952 LAKEWOOD ROAD                                                                                                        TOMS RIVER             NJ           08753
30210631          SDG                                11693 SAN VICENTE BLVD.              STE 501                                                                             LOS ANGELES            CA           90049

30210941          SDM DEVELOPMENT CO., L.L.C.        C/O VISSER DEVELOPMENT, INC.         ATTN: DALE J. BISSER OR GREG BOL 1946 TURNER AVE NW                                 GRAND RAPIDS           MI           49504
29942532          Name on file                       Address on file
29942533          Name on file                       Address on file
29942534          SD‐SAHUARITA PROPERTIES LLC        PO BOX 843893                                                                                                            LOS ANGELES            CA           90084‐3893
30211924          SEA GIRT LIBRARY                   PO BOX 414                                                                                                               SEA GIRT               NJ           08750
29942536          Name on file                       Address on file
29942537          SEABOARD SERVICE SYSTEM INC        DBA SHORTAGE CONTROL INC             22643 ASCOA COURT                                                                   STRONGSVILLE           OH           44149
29942539          SEACOAST UTILITY AUTHORITY         PO BOX 30568                                                                                                             TAMPA                  FL           33630‐3568




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30208729          SEAFORD DISTRICT LIBRARY                     600 N. MARKET STREET EXTENDED                                                                                            SEAFORD                    DE           19973
30346705          Name on file                                 Address on file
30212584          SEAN PRESSLER                                Address on file
30212917          SEAN PROAKIS                                 Address on file
30212622          SEANN CLARK                                  Address on file
29942569          SEANNE WHITE                                 Address on file
30393758          Name on file                                 Address on file
30337504          Name on file                                 Address on file
30416621          Name on file                                 Address on file
29951129          Name on file                                 Address on file
30211632          SEASONS BUSINESS CENTER FOUR, LLC            981 KEYNOTE CIRCLE                     SUITE 15                                                                          CLEVELAND                  OH           44131
29951132          SEASONS BUSINESS CENTER THREE LLC            981 KEYNOTE CIRCLE                                                                                                       BROOKLYN HEIGHTS           OH           44131
29951133          SEASONS BUSINESS CTR THREE LLC               981 KEYNOTE CIR, STE. 15                                                                                                 BROOKLYN HEIGHTS           OH           44131
29953237          SEASONS SPECIAL CO LTD                       2F NO 8 LN 44 JINMEN ST                                                                                                  TAIPEI                                  100             TAIWAN
30257103          Seasons Special Co., Ltd.                    9F‐2, No. 21, Sec. 1, Dunhua S. Road                                                                                     Taipei                                                  TAIWAN
30223241          SEATTLE BUSINESS SOFTWARE INC                DBA ORBUS SOFTWARE                     2 PARK AVE #2052                                                                  NEW YORK                   NY           10016
30260082          Seattle Public Utilities                     Malachy Sreenan                        PO Box 34018                                                                      Seattle                    WA           98124‐5177
30287078          Name on file                                 Address on file
29951138          SEBASTIAN COUNTY TAX COLLECTOR               PO BOX 427                                                                                                               FORT SMITH                 AR           72902
                  SEBASTIAN COUNTY, AR COUNTY CONSUMER
30208003          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 35 SOUTH 6 ST                                                                         FORT SMITH                 AR           72901
29942582          Name on file                                 Address on file
30208730          SECAUCAS PUBLIC LIBRARY                      1379 PATERSON PLANK ROAD                                                                                                 SECAUCAS                   NJ           07094
30208731          SECAUCUS PUBLIC LIBRARY                      1379 PATERSON PLANK RD                                                                                                   SECAUCUS                   NJ           07094
29942585          SECO ENERGY                                  PO BOX 70997                                                                                                             CHARLOTTE                  NC           28272‐0997
29942586          SECO/ARROYO SHOPPING CENTER LP               100 SMITH RANCH ROAD STE 325                                                                                             SAN RAFAEL                 CA           94903
30399728          Name on file                                 Address on file
29942587          SECURE PACIFIC CORPORATION                   8220 N INTERSTATE AVENUE                                                                                                 PORTLAND                   OR           97217
29942588          SECURITAS TECHNOLOGY COR                     DEPT CH 10651                                                                                                            PALATINE                   IL           60055
29942590          SECURITY PEOPLE INC                          DBA DIGILOCK                       9 WILLOWBROOK CT                                                                      PETALUMA                   CA           94954
30211925          SEDALIA PUBLIC LIBRARY                       311 W 3RD ST                                                                                                             SEDALIA                    MO           65301
                  SEDGWICK CLAIMS MANAGEMENT SERVICES,
29949815          INC.                                         8125 SEDGWICK WAY                                                                                                        MEMPHIS                    TN           38125
29942593          SEDGWICK CLAIMS MGMT SERV IN                 PO BOX 182808                                                                                                            COLUMBUS                   OH           43218‐2808
29942594          SEDGWICK CLAIMS MGMT SERV INC                PO BOX 204036                                                                                                            DALLAS                     TX           75320‐4036
                  SEDGWICK COUNTY, KS COUNTY CONSUMER
30208004          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION     CONSUMER PROTECTION DIVISION     535 N MAIN ST                                    WICHITA                    KS           67203
29942597          SEDRIYANNA JONES                             Address on file
30394096          Name on file                                 Address on file
29949258          SEEKONK BOARD OF HEALTH                      85 HIGHLAND AVE.                                                                                                         SEEKONK                    MA           02771
29942598          SEEKONK MALL LLC                             24 HEMINGWAY DRIVE                                                                                                       EAST PROVIDENCE            RI           02915
30208736          SEEKONK PUBLIC LIBRARY                       410 NEWMAN AVE.                                                                                                          SEEKONK                    MA           02771
29942600          Name on file                                 Address on file
30335494          Name on file                                 Address on file
30211484          SEI INC                                      DBA SERVICE EXPRESS INC                3854 BROADMOOR AVE SE                                                             GRAND RAPIDS               MI           49512
29949799          SEIX INVESTMENT ADVISORS LLC                 1 MAYNARD DRIVE                        SUITE 3200                                                                        PARK RIDGE                 NJ           07656
30354000          Name on file                                 Address on file
29942604          SEKO WORLDWIDE LLC                           SEKO LOGISTICS                         PO BOX 71141                                                                      CHICAGO                    IL           60694‐1141
29942608          SELCO ‐ 9269                                 PO BOX 9269                                                                                                              CHELSEA                    MA           02150‐9258
29942612          SELENA CERASFOUTZ                            Address on file
29942632          SELIG ENTERPRISES INC                        #39459‐002503, 1100 SPRING ST          STE 550                                                                           ATLANTA                    GA           30309
30213079          SELIG ENTERPRISES, INC.                      1100 SPRING STREET NW, SUITE 550                                                                                         ATLANTA                    GA           30309
30394170          Name on file                                 Address on file
30396793          Name on file                                 Address on file
30340781          Name on file                                 Address on file
30415239          Name on file                                 Address on file
30415240          Name on file                                 Address on file
30347646          Name on file                                 Address on file
29942638          Name on file                                 Address on file
30208737          SELWYN DISTRICT COUNCIL                      2 NORMAN KIRK DRIVE                                                                                                      ROLLESTON                               7643            NEW ZEALAND
LC_0611           Selwyn District Council ‐ Selwyn Libraries   2 Norman Kirk Drive                                                                                                      Rolleston, Canterbury                   7643            New Zealand

30208739          SELWYN DISTRICT COUNCIL ‐ SELWYN LIBRARIES 2 NORMAN KIRK DR                         CANTERBURY                                                                        ROLLESTON                               7643            NEW ZEALAND




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30208738          SELWYN DISTRICT COUNCIL ‐ SELWYN LIBRARIES SELWYN LIBRARIES                                                                                                                    DARFIELD                           7510            NEW ZEALAND
29942640          SEMCO ENERGY GAS COMPANY                   PO BOX 740812                                                                                                                       CINCINNATI            OH           45274‐0812
29942642          SEMINOLE COUNTY TAX COLLECTOR              PO BOX 630                                                                                                                          SANFORD               FL           32772‐0630
                  SEMINOLE COUNTY, FL COUNTY CONSUMER
30208005          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION        1101 EAST FIRST ST                                                                        SANFORD               FL           32771
30342495          Name on file                               Address on file
30386100          Name on file                               Address on file
30260394          Name on file                               Address on file
29942649          Name on file                               Address on file
VC_008            Senweb                                     10 DELISLE AVE #619                                                                                                                 TORONTO               ON           M4V 3C6         Canada
30211485          SENWEB LTD                                 10 DELISLE AVE #619                                                                                                                 TORONTO               ON           M4V 3C6         CANADA
30223242          SEQUOIA PAINTING LLC                       1125 A. ROSEBURG CT.                                                                                                                VISALIA               CA           93291
                                                             C/O PAYNTER REALTY & INVESTMENTS,
30213493          SEQUOIA PLAZA ASSOCIATES, L.P.             INC.                                      195 SOUTH "C" STREET, SUITE 200                                                           TUSTIN                CA           92780
30333557          Name on file                               Address on file
29942675          SERENA SHROGE                              Address on file
30338050          Name on file                               Address on file
30333610          Name on file                               Address on file
30393720          Name on file                               Address on file
30414857          Name on file                               Address on file
30350358          Name on file                               Address on file
30337615          Name on file                               Address on file
                                                             Attn: Patrick Salceda, Director, Legal‐
30290087          ServiceNow, Inc.                           Litigation                                2225 Lawson Ln                                                                            Santa Clara           CA           95054
29963149          SESAME WORKSHOP                            ATTN: FINANCE DEPT.                       1900 BROADWAY                                                                             NEW YORK              NY           10023
30260990          Name on file                               Address on file
30340490          Name on file                               Address on file

30295183          Seven Corners Center LLC                    C/o Karen Walsh, VP Collections Manager 7501 Wisconsin Ave, Suite 1500E                                                            Bethesda              MD           20814
                                                                                                      7501 WISCONSIN AVENUE, SUITE
30213030          SEVEN CORNERS CENTER LLC                    C/O SAUL CENTERS, INC.                  1500E                                                                                      BETHESDA              MD           20814
30295182          Seven Corners Center LLC                    C/o Stephen A. Metz, Esq.               Offit Kurman, P.A.                   7501 Wisconsin Ave            Suite 1000W             Bethesda              MD           20814
30340767          Name on file                                Address on file
29942715          SEVIER COUNTY CLERK                         125 COUNT AVENUE STE 202E                                                                                                          SEVIERVILLE           TN           37862
29942717          SEVIER COUNTY ELECTRIC SYSTEM               P.O. BOX 4870                                                                                                                      SEVIERVILLE           TN           37864
29942719          SEVIER COUNTY UTILITY DISTRICT (SCUD)       PO BOX 6519                                                                                                                        SEVIERVILLE           TN           37864‐6519
                  SEVIER COUNTY, TN COUNTY CONSUMER
30208006          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION 125 COURT AVE                             STE 201E                                              SEVIERVILLE           TN           37862
30273680          Name on file                                Address on file
30336843          Name on file                                Address on file
30283804          Name on file                                Address on file
29942720          Name on file                                Address on file
30397305          Name on file                                Address on file
29942722          Name on file                                Address on file
30223243          SEWPLUS NINGBO CO LTD                       NO 68 CAIJIAYAN, LANJIANG ST       130                                                                                             YUYAO                              315400          CHINA
30339902          Name on file                                Address on file
30211926          SEYMOUR PUBLIC LIBRARY DISTRICT             176‐178 GENESEE STREET                                                                                                             AUBURN                NY           13021

30181383          Seyou Corporation Ltd.                      c/o Ryan Kim Law, P.C.                   222 Bruce Reynolds Blvd., Ste 490                                                         Fort Lee              NJ           07024
30164069          Seyou Corporation, Ltd.                     Ryan Kim Law, P.C.                       222 Bruce Reynolds Blvd.            Ste 490                                               Fort Lee              NJ           07024
29963153          SFERS REAL ESTATE CORP KK                   CO MID‐AMERICA ASSET MGMT INC            P.O. BOX 8233                                                                             PASADENA              CA           91109‐8233
30297717          SFT Inc.                                    Balasiano and Associates PLLC            6701 Bay Pkwy                       3rd Floor                                             Brooklyn              NY           11204
30330896          SFT Inc.                                    Balasiano and Associates PLLC            Reuven Sujnow                       6701 Bay Pkwy                 3rd Floor               Brooklyn              NY           11204
30297660          SFT Inc.                                    C/O Bernath & Rosenberg, P.C.            126 Spruce St                                                                             Cedarhurst            NY           11516
29963155          SGG STERLING LLC                            2051 WINDHAM CIRCLE                                                                                                                WHEATON               IL           60187
30211487          SGS NORTH AMERICA INC                       PO BOX 2502                                                                                                                        CAROL STREAM          IL           60132‐2502
29963156          SHA WINCHESTER                              Address on file
30414699          Name on file                                Address on file
30350632          Name on file                                Address on file
30340701          Name on file                                Address on file
30340962          Name on file                                Address on file
30347813          Name on file                                Address on file




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29942753          Name on file                              Address on file
30211927          SHAKER HEIGHTS PUBLIC LIBRARY             16500 VAN AKEN BLVD                                                                                                      SHAKER HEIGHTS           OH           44120
30208742          SHAKER HEIGHTS PUBLIC LIBRARY             6500 VAN AKEN BOULEVARD                                                                                                  SHAKER HEIGHTS           OH           44120
29942762          SHAKOPEE PUBLIC UTILITY                   P.O. BOX 470                                                                                                             SHAKOPEE                 MN           55379‐0470
30397501          Name on file                              Address on file
29942779          Name on file                              Address on file
30348702          Name on file                              Address on file
30212952          SHAMIR THOMPSON                           Address on file
30353303          Name on file                              Address on file
30208749          SHANA ASTRACHAN                           Address on file
29963171          SHANA ASTRACHAN                           Address on file
29942819          SHANE JENKINS                             Address on file
29942825          SHANE NICHOLS‐GORDON                      Address on file
30344385          Name on file                              Address on file
30197088          SHANGHAI ALLTEX TECHNOLOGY CO LTD         3 F NO 12 LANE 688 HENGNAN ROAD                                                                                          SHANGHAI                                              CHINA
30197104          SHANGHAI LIFETEX INDUSTRY CO LTD          NO 17, LANE 688, HENGNAN ROAD                                                                                            SHANGHAI                                              CHINA
                                                            NO 29 MIDDLE JIANGUO RD, 5F GUOXIN
30356967          SHANGHAI SUNION COMPUTER TEC DEV CO       BUSINESS BLDG                        HUANGPU DISTRICT, 20                                                                SHANGHAI                                              CHINA
29942859          SHANNON BAILEY                            Address on file
29942871          SHANNON CARTER                            Address on file
29942879          SHANNON DODD                              Address on file
29942880          SHANNON DOHERTY                           Address on file
29942886          SHANNON ERWIN                             Address on file
29963191          SHANNON HORAN                             Address on file
29942929          SHANNON SPROUT                            Address on file

30164409          Shaoxing Enyi Textile Co., Ltd            Hui Zhu                              Genaral Manager                  2F, Building 2# Luxi Industrail Park               Shaoxing, ZJ                          312000          China
30288164          Shaoxing Enyi Textile Co., Ltd.           Room 303# Building 3#                1344# Shengli R                                                                     Shaoxing, ZJ                          312000          China
30384758          Name on file                              Address on file
30213011          SHARAE CROCKROM                           Address on file
VC_013            Share A Sale                              15 W. HUBBARD ST, #500                                                                                                   CHICAGO                  IL           60654
29942955          SHAREASALE.COM INC                        167 N GREEN ST                       STE 400                                                                             CHICAGO                  IL           60607‐2377
30398400          Name on file                              Address on file
30212967          SHARI HALES                               Address on file
29942970          SHARI KING                                Address on file
30342769          Name on file                              Address on file
30385989          Name on file                              Address on file
30385988          Name on file                              Address on file
29963219          Name on file                              Address on file

30208751          SHARJAH BOOK AUTHORITY/SHARJAH LIBRARIES P.O BOX 73111                                                                                                             SHARJAH                                               UNITED ARAB EMIRATES
30341046          Name on file                             Address on file
30211488          SHARKNINJA                               89 A STREET                                                                                                               NEEDHAM HEIGHTS          MA           02494
29942991          SHARON FOURATT                           Address on file
30212587          SHARON KOZAK                             Address on file
30211931          SHARON PUBLIC LIBRARY                    11 N MAIN ST                                                                                                              SHARON                   MA           02067
29963247          SHARON VIRTUE                            Address on file
30212757          SHARON WILSON                            Address on file
29943056          SHARP                                    PINELLAS COUNTY SHERIFF'S OFF.        PO DRAWER 2500                                                                      LARGO                    FL           33779
30396376          Name on file                             Address on file
30335106          Name on file                             Address on file

29943066          SHASTA COUNTY                             DEPARTMENT OF WEIGHTS & MEASURES     3179 BECHELLI LANE, SUITE 210                                                       REDDING                  CA           96002
29943065          SHASTA COUNTY                             ENVIRONMENTAL HEALTH DIV             1855 PLACER STREET STE 201                                                          REDDING                  CA           96001
29943067          SHASTA COUNTY CLERK                       PO BOX 1830                                                                                                              REDDING                  CA           96099‐1830
                  SHASTA COUNTY DEPT OF AG ‐ WEIGHTS &
29951337          MEASURES                                  DEPARTMENT OF WEIGHTS & MEASURES     3179 BECHELLI LANE, SUITE 210                                                       REDDING                  CA           96002
                  SHASTA COUNTY DEPT OF RESOURCE
29951338          MANAGEMENT                                ENVIRONMENTAL HEALTH DIV             1855 PLACER STREET STE 201                                                          REDDING                  CA           96001
29943068          SHASTA COUNTY TAX COLLECTOR               LORI J. SCOTT, TREASURER             P.O. BOX 991830                                                                     REDDING                  CA           96099‐1830
30335740          SHASTA COUNTY TAX COLLECTOR               PO BOX 99‐1830                                                                                                           REDDING                  CA           96099‐1830
                  SHASTA COUNTY, CA COUNTY CONSUMER
30208007          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 1450 COURT ST                                                                         REDDING                  CA           96001




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  ADDRESS ID                           NAME                                     ADDRESS 1                    ADDRESS 2                        ADDRESS 3                 ADDRESS 4                       CITY        STATE     POSTAL CODE           COUNTRY
29943075          SHAUGHNE S WARNACK                          Address on file
30213012          SHAUNA LOUGH                                Address on file
29943085          SHAUNTINA LILLY                             Address on file
30397617          Name on file                                Address on file
30348080          Name on file                                Address on file
30392964          Name on file                                Address on file
30337410          Name on file                                Address on file
30333530          Name on file                                Address on file
30398233          Name on file                                Address on file
30357139          Name on file                                Address on file
29943108          SHAWN MCFERN                                Address on file
30223244          SHAYNA ROSE                                 Address on file
29943157          SHAYNA SHUMAN                               Address on file
                  SHAZHOU TEXTILE PRINTING AND DYEING IMP
29950044          AND EXP CO LTD                              NO 1 HUASHAN RD HEXING TOWN                                                                                           ZHANGJIAGANG CITY                       215600          CHINA
30353867          Name on file                                Address on file
30352939          Name on file                                Address on file
30396961          Name on file                                Address on file
30355370          Name on file                                Address on file
                  SHEBOYGAN COUNTY, WI COUNTY CONSUMER
30208008          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION 615 NORTH 6TH ST                                                                   SHEBOGYAN                  WI           53081
30414590          Name on file                                Address on file
29963264          SHEILA BOHRER                               Address on file
29963273          Name on file                                Address on file
29943173          SHEILA GOSNELL                              Address on file
29943174          Name on file                                Address on file
29943200          SHEKEERIA JONES                             Address on file
30208753          SHELBY COUNTY PUBLIC LIBRARY                309 8TH ST.                                                                                                           SHELBYVILLE                KY           40065
29963275          SHELBY COUNTY TRUSTEE                       PO BOX 2751                                                                                                           MEMPHIS                    TN           38101‐2751
                  SHELBY COUNTY, TN COUNTY CONSUMER
30208009          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION 814 JEFFERSON AVE                                                                  MEMPHIS                    TN           38105
29943217          SHELBY LAMB                                 Address on file
29943220          SHELBY LEACH                                Address on file
30213173          SHELBY TOWN CENTER PHASE I, LP              34120 WOODWARD AVENUE                                                                                                 BIRMINGHAM                 MI           48009
29943233          SHELBY TOWNSHIP DEPT OF PUBLIC WORKS        6333 23 MILE RD                                                                                                       SHELBY TOWNSHIP            MI           48316‐4405
29943234          SHELBY TOWNSHIP TREASURER                   52700 VAN DYKE                                                                                                        SHELBY TOWNSHIP            MI           48316‐3572
29943242          Name on file                                Address on file
30213280          SHELBYVILLE ROAD PLAZA, LLC                 C/O HAGAN PROPERTIES               12911 REAMERS ROAD                                                                 LOUISVILLE                 KY           40245
30260681          Name on file                                Address on file
30227082          Name on file                                Address on file
30353019          Name on file                                Address on file
29963304          Name on file                                Address on file
29943269          SHELLY ROYAL                                Address on file
30347340          Name on file                                Address on file
30335431          Name on file                                Address on file
30395817          Name on file                                Address on file
30356369          Name on file                                Address on file
29943280          SHENAE AZURE                                Address on file
29953238          SHENKMAN CAPITAL MANAGEMENT INC             151 WEST 42ND STREET               29TH FLOOR                                                                         NEW YORK                   NY           10036
                                                                                                 RONGCHAO BINHAI BLDG B,
30211208          SHENZHEN RIZEE CULTURAL CREATIVITY          UNIT 1301                          NO.2021, HAIXIU RD                XIN'AN ST 190                                    SHENZHEN                                518100          CHINA

29950344          SHENZHEN RIZEE CULTURAL CREATIVITY CO LTD   GUISHAN ROAD NO 13 508                                                                                                SHENZHEN                                518100          CHINA
30396783          Name on file                                Address on file
30353653          Name on file                                Address on file
30394483          Name on file                                Address on file
                  SHERBURNE COUNTY, MN COUNTY CONSUMER
30208010          PROTECTION AGENCY                           ATTN: CONSUMER PROTECTION DIVISION   13880 BUSINESS CENTER DR NW     STE 100                                          ELK RIVER                  MN           55330
29943289          SHERI JOHNSON                               Address on file
29943299          SHERIDAN PROPERTIES LLC                     6910 S. OLYMPIA AVE.                 HOME2 SUITES TULSA HILLS                                                         TULSA                      OK           74132
29943301          SHERIFF AND EX‐OFFICIO                      TAX COLLECTOR                        PO BOX 130                                                                       GRETNA                     LA           70054‐0130
29943302          SHERIFF OF BOONE COUNTY                     PERS PROPERTY TAX                    PO BOX 198                                                                       BURLINGTON                 KY           41005
29943303          SHERIFF OF HARRISON COUNTY                  HARRISON COUNTY COURTHOUSE           301 WEST MAIN STREET                                                             CLARKSBURG                 WV           26301




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  ADDRESS ID                           NAME                           ADDRESS 1                         ADDRESS 2                        ADDRESS 3                 ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
29943304          SHERIFF OF RALEIGH COUNTY              215 MAIN STREET                                                                                                       BECKLEY                 WV           25801
29943305          SHERIFF OF WOOD CO                     PERSONAL PROPERTY TAX                PO BOX 1985                                                                      PARKERSBURG             WV           26102
29943306          SHERIFF‐KANAWHA COUNTY                 407 VIRGINIA ST EAST ROOM 120                                                                                         CHARLESTON              WV           25301‐2524
29943316          SHERMAN BAHR                           Address on file
29943317          SHERMAN COMMONS LP                     PO BOX 731957                                                                                                         DALLAS                  TX           75373
30213389          SHERMAN COMMONS, L.P.                  C/O CBRE                             2100 MCKINNEY AVE., SUITE 800                                                    DALLAS                  TX           75201
30416256          Name on file                           Address on file
30396853          Name on file                           Address on file
30345331          Name on file                           Address on file
IC_086            SHERRI LYNN WOOD                       Address on file
30223245          SHERRIE KROPF                          Address on file
29943340          SHERRIMICHELE BURNETTE‐COOKE           Address on file
29963308          Name on file                           Address on file
29943365          SHERWIN WILLIAMS COMPANY INC           PO BOX 277499                                                                                                         ATLANTA                 GA           30384‐7499
30398441          Name on file                           Address on file
30345057          Name on file                           Address on file
29943367          SHERYL ADDISON                         Address on file
29963325          SHI INTERNATIONAL CORP                 290 DAVIDSON AVE.                                                                                                     SOMERSET                NJ           08873
30332432          Name on file                           Address on file
30332631          Name on file                           Address on file
30332632          Name on file                           Address on file
30353188          Name on file                           Address on file
30334154          Name on file                           Address on file
29943395          Name on file                           Address on file
30259677          Name on file                           Address on file
30344184          Name on file                           Address on file
29943396          Name on file                           Address on file
29963354          SHIRLEY SMITH                          Address on file
29963360          SHIRLEY WETHERALD                      Address on file
30385995          Name on file                           Address on file
30213534          SHJR, LLC                              11111 SANTA MONICA BLVD., STE. 520                                                                                    LOS ANGELES             CA           90025
30357849          Name on file                           Address on file
30414096          Name on file                           Address on file
30358421          Name on file                           Address on file
30332221          Name on file                           Address on file
30340871          Name on file                           Address on file
29943427          SHOP NEW MOON CORPORATION              AMY MAKES THAT                       79 RICHMOND BLVD., UNIT 2A                                                       RONKONKOMA              NY           11779
29943428          SHOPCORE PROPERTIES LP                 EXCEL ROCKWALL LLC                   PO BOX 101206                                                                    ATLANTA                 GA           30392‐1206
30353729          Name on file                           Address on file
29943429          Name on file                           Address on file
29964917          SHOPPES AT GENEVA COMMONS              8424 EVERGREEN LN.                                                                                                    DARIEN                  IL           60561‐8400
29943430          SHOPPES AT GENEVA COMMONS              PO BOX 8233                                                                                                           PASADENA                CA           91109
                                                                                            ATTN: LAW/LEASE ADMINISTRATION
30210890          SHOPPES AT RIVER CROSSING, LLC         THE SHOPPES AT RIVER CROSSING      DEPT                           5080 RIVERSIDE DRIVE                                MACON                   GA           31210
                                                                                            ATTN: LAW/LEASE ADMINISTRATION
29943432          SHOPPES AT RIVER CROSSING, LLC         THE SHOPPES AT RIVER CROSSING      DEPT                           520 NORTH MICHIGAN AVENUE                           CHICAGO                 IL           60654‐1607
                                                         D/B/A PENNSYLVANIA SHOPPING CENTER C/O FEDERAL REALTY INVESTMENT
29943433          SHOPPING CENTER ASSOCIATES             ASSOCIATES LP                      TRUST                          909 ROSE AVE SUITE 200                              NORTH BETHESDA          MD           20852
                                                         D/B/A PENNSYLVANIA SHOPPING CENTER C/O FEDERAL REALTY INVESTMENT
30210911          SHOPPING CENTER ASSOCIATES             ASSOCIATES LP                      TRUST                                                                              NORTH BETHESDA          MD           20852
29943434          SHOPPING CENTER ASSOCIATES #080‐1600   PO BOX 8500 LOCKBOX #9320                                                                                             PHILADELPHIA            PA           19178‐9320
29949752          SHOPPING CENTER ASSOCIATES #080‐1600   SHOPPING CENTER ASSOCIATES         225 W WASHINGTON ST.                                                               INDIANAPOLIS            IN           46204‐3435
30295319          Shops at St. Johns, LLC                PO Box 713569                                                                                                         Chicago                 IL           60677‐0093
29943436          SHOPS AT ST. JOHNS, LLC                SIMON PROPERTY GROUP               ATTN: LEGAL DEPARTMENT         225 WEST WASHINGTON STREET                          INDIANAPOLIS            IN           46204‐3438
30210903          SHOPS AT ST. JOHNS, LLC                SIMON PROPERTY GROUP               ATTN: LEGAL DEPARTMENT                                                             INDIANAPOLIS            IN           46204‐3438
30358200          Name on file                           Address on file
29943437          Name on file                           Address on file
30208756          SHOREWOOD ‐ TROY PUBLIC LIBRARY        650 DEERWOOD DR                                                                                                       SHOREWOOD               IL           60404
29943438          Name on file                           Address on file
30396266          Name on file                           Address on file
30336880          Name on file                           Address on file
30397802          Name on file                           Address on file
30352989          Name on file                           Address on file




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  ADDRESS ID                           NAME                        ADDRESS 1                                 ADDRESS 2                        ADDRESS 3                   ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
30401104          Name on file                      Address on file
30211933          SHOW LOW PUBLIC LIBRARY           181 N 9TH ST                                                                                                                      SHOW LOW                AZ           85901
LC_0613           Shreve Memorial Library           424 Texas Street                                                                                                                  Caddo                   LA           71101‐3522
30211936          SHREVE MEMORIAL LIBRARY           885 BERT KOUNS INDUSTRIAL LOOP                                                                                                    SHREVEPORT              LA           71118
30208761          SHREWSBURY PUBLIC LIBRARY         609 MAIN STREET                                                                                                                   SHREWSBURY              MA           01545
30347783          Name on file                      Address on file
                                                                                                ATTN: BRIJESH PATEL / MARY ELLEN
30213095          SHRI SWAMINE LLC                  PO BOX 2022                                 ZANNINI                                                                               DANVERS                 MA           01923
30332911          Name on file                      Address on file
29943447          SHUFFLE PRESENTS LLC              286 STEPHENS ROAD                                                                                                                 ORWIGSBURG              PA           17961
30355769          Name on file                      Address on file
30353555          Name on file                      Address on file
29952432          SHURTAPE TECHNOLOGIES LLC         32150 JUST IMAGINE DRIVE                                                                                                          AVON                    OH           44011
30332468          Name on file                      Address on file
30214299          SHUTTERSTOCK INC                  350 5TH AVENUE                              21ST FLOOR                                                                            NEW YORK                NY           10018
29952433          SHUTTERSTOCK INC                  DEPT CH 17445                                                                                                                     PALATINE                IL           60055‐7445
30211489          SIAN‐AMY BALDOCK                  Address on file
30396522          Name on file                      Address on file
29951708          Name on file                      Address on file
29943461          SID TOOL CO INC                   MSC INDUSTRIAL SUPPLY CO                    PO BOX 953635                                                                         ST. LOUIS               MO           63195‐3635
30341072          Name on file                      Address on file
30208762          SIDELINE DESIGNS                  950 MAYO STREET                                                                                                                   LOS ANGELES             CA           90042
30416361          Name on file                      Address on file
30341098          Name on file                      Address on file
30338278          Name on file                      Address on file
30338277          Name on file                      Address on file
29963369          SIEGEL JENNINGS CO LPA            23425 COMMERCE PK DR #103                                                                                                         CLEVELAND               OH           44122
30184164          SIEGEL JENNINGS, CO., L.P.A       23425 COMMERCE PARK RD UNIT 103                                                                                                   CLEVELAND               OH           44122
30332448          Name on file                      Address on file
                                                                                                600 MADISON AVENUE, 14TH
30213366          SIEGEN LANE PROPERTIES LLC        C/O OLSHAN PROPERTIES                       FLOOR                                                                                 NEW YORK                NY           10022

29963371          SIEGEN LANE PROPERTIES LLC        C/O OLSHAN PROPERTIES, ATTN: ACCT R         600 MADISON AVE., 14TH FLOOR                                                          NEW YORK                NY           10022
30211490          SIEMENS INDUSTRY INC              RUSSELECTRIC                                99 INDUSTRIAL PARK RD.                                                                HINGHAM                 MA           02043

30331496          Sierra Lakes Marketplace LLC      c/o Buchalter, A Professional Corporation   Attn: Brian T. Harvey              1000 Wilshire Blvd.            Suite 1500          Los Angeles             CA           90017
30331497          Sierra Lakes Marketplace LLC      c/o Lewis Management Corp.                  Attn: Jim Fuson                    1156 N. Mountain Ave.                              Upland                  CA           91786
29943504          SIERRA LAKES MARKETPLACE, LLC     P.O. BOX 670                                                                                                                      UPLAND                  CA           91785
29943513          SIERRA MCKENNA                    Address on file
29964904          SIERRA VISTA MALL LLC             1050 SHAW AVE.                                                                                                                    CLOVIS                  CA           93612
29943523          SIERRA VISTA MALL LLC             PO BOX 86                                                                                                                         MINNEAPOLIS             MN           55486‐2337
29943524          SIERRA VISTA REALTY HOLDING LLC   1010 NORTHERN BLVD. #212                                                                                                          GREAT NECK              NY           11021
29943534          SIGMA DISTRIBUTORS                26763 SAN BERNARDINO AVE, SUITE B                                                                                                 REDLANDS                CA           92374
30415245          Name on file                      Address on file
29943535          Name on file                      Address on file
29943536          SIGNATURE MARKETING & MFG         301 WAGARAW RD                                                                                                                    HAWTHORNE               NJ           07506
29943537          SIGNODE INDUSTRIAL GROUP US INC   DBA SIGNODE SERVICE BUSINESS                P O BOX 71057                                                                         CHICAGO                 IL           60694
29943538          SIGNODE INDUSTRIAL GRP US INC     DBA SIGNODE PACKAGING                       PO BOX 71506                                                                          CHICAGO                 IL           60694
30210634          SIGULER GUFF ADVISERS, LLC        200 PARK AVENUE                             23RD FLOOR                                                                            NEW YORK                NY           10166
30385828          Name on file                      Address on file
30385136          Name on file                      Address on file
29943540          SILAS CREEK IMPROVEMENTS LLC      PO BOX 847693                                                                                                                     BOSTON                  MA           02284‐7693

30213554          SILAS CREEK IMPROVEMENTS, LLC     C/O DLC MANAGEMENT CORPORATION              565 TAXTER ROAD, 4TH FLOOR                                                            ELMSFORD                NY           10523
30345718          Name on file                      Address on file
30332049          Name on file                      Address on file
30261022          Name on file                      Address on file
30393678          Name on file                      Address on file
29943551          SILVER BUFFALO LLC                141 WEST 36TH STREET, 11TH FLOOR                                                                                                  NEW YORK                NY           10018
29943552          SILVER CREEK LEATHER CO LLC       5035 KEYSTONE BLVD                                                                                                                JEFFERSONVILLE          IN           47130
30213401          SILVER LAKE CENTER, LLC           200 WEST HANLEY AVENUE                      ATTN: BRANDON KRON                                                                    COEUR D' ALENE          ID           83815
29943555          Name on file                      Address on file
30341492          Name on file                      Address on file




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  ADDRESS ID                           NAME                                ADDRESS 1                            ADDRESS 2                        ADDRESS 3                 ADDRESS 4                  CITY        STATE     POSTAL CODE         COUNTRY
29943556          SILVERDALE WATER DISTRICT                   5300 NW NEWBERRY HILL RD             SUITE #100                                                                          SILVERDALE            WA           98383
29943557          SILVERDALE WATER DISTRICT                   PO BOX 3751                                                                                                              SEATTLE               WA           98124‐3751

30210979          SILVERNAIL ASSOCIATES LIMITED PARTNERSHIP   C/O TOMAR MANAGEMENT, INC.           ATTN: LYNN REDMOND                                                                  WAUKESHA              WI           53186
30401812          Name on file                                Address on file
30396778          Name on file                                Address on file
30384703          Name on file                                Address on file
29943571          SIMILARWEB INC                              35 EAST 21ST STREET, 9TH FL                                                                                              NEW YORK              NY           10010
30214392          SIMILARWEB INC                              50 W 17TH ST                                                                                                             NEW YORK              NY           10011
30396275          Name on file                                Address on file
30385746          Name on file                                Address on file
30397459          Name on file                                Address on file
30402000          Name on file                                Address on file
30355805          Name on file                                Address on file
30394489          Name on file                                Address on file
30345579          Name on file                                Address on file
30339757          Name on file                                Address on file
30211938          SIMON FAIRFIELD PUBLIC LIBRARY              PO BOX 607                                                                                                               DOUGLAS               MA           01516
29943579          SIMON ROOFING AND SHEET METAL CORP          PO BOX 951109                                                                                                            CLEVELAND             OH           44193
30414771          Name on file                                Address on file
30353015          Name on file                                Address on file
29943591          SIMPLAY3                                    9450 ROSEMONT DRIVE                                                                                                      STREETSBORO           OH           44241
29943592          SIMPLER POSTAGE INC                         EASYPOST                             39120 ARGONAUT WAY, #460                                                            FREMONT               CA           94538
29953239          SIMPLICITY PATTERN CO., INC.                261 MADISON AVENUE                   4TH FLOOR                                                                           NEW YORK              NY           10016
30386108          Name on file                                Address on file
30333528          Name on file                                Address on file
30274166          Name on file                                Address on file
30276177          Name on file                                Address on file
30346715          Name on file                                Address on file
29943597          Name on file                                Address on file
30356939          Name on file                                Address on file
30398129          Name on file                                Address on file
30414703          Name on file                                Address on file
30396432          Name on file                                Address on file
30346643          Name on file                                Address on file
30208092          SINGER SOURCING LIMITED LLC                 300 2ND AVENUE SOUTH                 SUITE 300                                                                           NASHVILLE             TN           37201
30350404          Name on file                                Address on file
30347831          Name on file                                Address on file
30397297          Name on file                                Address on file
29943602          SINGLE SOURCE SECURITY LLC                  PROTOS SECURITY                      PO BOX 625                                                                          DALEVILLE             VA           24083

29943603          SINGSONG INTERNATIONAL TRADE CO LIM         FLAT/RM A, 12/F, KIU FU COMMERCIAL   300 LOCKHART ROAD                                                                   WAN CHAI                                           HONG KONG
30332714          Name on file                                Address on file
30335294          Name on file                                Address on file
30211940          SIOUX CENTER PUBLIC LIBRARY                 102 S MAIN AVE                                                                                                           SIOUX CENTER          IA           51250
30358046          Name on file                                Address on file
30345272          Name on file                                Address on file
30356403          Name on file                                Address on file
30414123          Name on file                                Address on file
30396277          Name on file                                Address on file
29952335          SITE CENTERS CORP                           DDR DB SA VENTURES LP                PO BOX 931650                      DEPT 326931 20339 42147                          CLEVELAND             OH           44193
29952336          SITESPECT INC                               PO BOX 66237                                                                                                             AUBURNDALE            MA           02466
29952337          Name on file                                Address on file
30257883          Name on file                                Address on file
30345542          Name on file                                Address on file
29952338          Name on file                                Address on file
30208765          SIUSLAW PUBLIC LIBRARY                      1460 NINTH STREET                                                                                                        FLORENCE              OR           97439
LC_0616           Siuslaw Public Library District             1460 9Th Street                                                                                                          Florence              OR           97439‐9427
29952340          SJ CORPORATION                              3RD FLOOR, 61, WORLDCUPRO            MAPOGU                                                                              SEOUL                              4018            KOREA, REPUBLIC OF
30385997          Name on file                                Address on file
30393508          Name on file                                Address on file
30340134          Name on file                                Address on file
29943613          SKAGIT COUNTY TREASURER                     PERSONAL PROPERTY TAX ‐ 806          PO BOX 518                                                                          MOUNT VERNON          WA           98273




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  ADDRESS ID                           NAME                                 ADDRESS 1                        ADDRESS 2                        ADDRESS 3                 ADDRESS 4                       CITY        STATE     POSTAL CODE           COUNTRY
                  SKAGIT COUNTY, WA COUNTY CONSUMER
30208011          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION   1800 CONTINENTAL PLACE            STE 100                                          MOUNT VERNON               WA           98273
29943614          SKAGIT PUD                                1415 FREEWAY DRIVE                                                                                                      MOUNT VERNON               WA           98273
29943615          SKAGIT PUD                                PO BOX 84024                                                                                                            SEATTLE                    WA           98124‐8424
30340875          Name on file                              Address on file
30261803          Name on file                              Address on file
30208766          SKANEATELES LIBRARY                       49 E GENESEE ST                                                                                                         SKANEATELES                NY           13152
30208767          SKANEATELES LIBRARY ASSOCIATION           49 EAST GENESEE STREET                                                                                                  SKANEATELES                NY           13152
30262595          Name on file                              Address on file
29943617          Name on file                              Address on file
30350811          Name on file                              Address on file
30335391          Name on file                              Address on file
30210635          SKILLSHARE, INC.                          35 E. 21 STREET                      5TB FLOOR                                                                          NEW YORK                   NY           10010
30385022          Name on file                              Address on file
30211943          SKOKIE PUBLIC LIBRARY                     5215 OAKTON STREET                                                                                                      SKOKIE                     IL           60077
30393775          Name on file                              Address on file
30347658          Name on file                              Address on file
30353871          Name on file                              Address on file
30357615          Name on file                              Address on file
                                                            C/O FOUR POINTS PROPERTY
30223246          SKY MIDLAND HOLDINGS LLC                  MANAGEMENT LLC                       10101 FONDREN RD., SUITE 545                                                       HOUSTON                    TX           77096
29963385          SKYLAH MARROQUIN                          Address on file
30211491          SKYLINE EXPORTS                           12A, VASANTH NAGAR, SINGANALLUR                                                                                         COIMBATORE                              641005          INDIA
29943661          Name on file                              Address on file
29943666          Name on file                              Address on file
29943667          SKYTEX MEXICO S.A. DE C.V.                JAIME BALMES MD4                                                                                                        MEXICO CITY                             11510           MEXICO
30211492          SLACK TECHNOLOGIES INC                    500 HOWARD ST                                                                                                           SAN FRANCISCO              CA           94105
30342531          Name on file                              Address on file
30353970          Name on file                              Address on file
30354213          Name on file                              Address on file
30385238          Name on file                              Address on file
29943669          SLAY MEDIA LLC                            SOCIETY 18                           132 W. 31ST STREET., 9TH FL                                                        NEW YORK                   NY           10001
30335133          Name on file                              Address on file
29943670          SLICE, INC                                323 SUNNY ISLES BLVD SUITE 700                                                                                          SUNNY ISLES BEACH          FL           33160
30349704          Name on file                              Address on file
30340711          Name on file                              Address on file
30358339          Name on file                              Address on file
30332265          Name on file                              Address on file
30385739          Name on file                              Address on file
30338480          Name on file                              Address on file
30351753          Name on file                              Address on file
30416523          Name on file                              Address on file
30416523          Name on file                              Address on file
                                                                                              4900 EAST DUBLIN GRANVILLE RD.,
30213344          SM MESA MALL, LLC                         C/O WPG                           4TH FLOOR                                                                             COLUMBUS                   OH           43081
30287623          Name on file                              Address on file
30402114          Name on file                              Address on file
29963397          Name on file                              Address on file
30399726          Name on file                              Address on file
30395493          Name on file                              Address on file
30397111          Name on file                              Address on file
30331050          Smart Cienega SPE, LLC                    c/o Andy Haley                    1234 E. 17th Street                                                                   Santa Ana                  CA           92701
                                                            C/O PROPERTY MANAGEMENT ADVISORS,
30213261          SMART CIENEGA SPE, LLC                    INC.                              1234 EAST 17TH STREET, #B                                                             SANTA ANA                  CA           92701
30344192          Name on file                              Address on file
30394570          Name on file                              Address on file
30213121          SMB HOLDINGS, LLC                         6305 SW ROSEWOOD ST., SUITE D     ATTN: MICHAEL BERREY                                                                  LAKE OSWEGO                OR           97035
30260975          SMB Holdings, LLC                         Attn: Michael Berrey              25999 SW Canyon Creek Rd.       Suite E                                               Wilsonville                OR           97070

30211493          SMD TECHNOLOGIES, LLC                     SUITE 800                            THE SUITES AT 17, 301 ROUTE 17N                                                    RUTHERFORD                 NJ           07070

29963404          SMECO (SOUTHERN MARYLAND ELECTRIC COOP) PO BOX 62261                                                                                                              BALTIMORE                  MD           21264‐2261
30414945          Name on file                            Address on file




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  ADDRESS ID                           NAME                         ADDRESS 1                          ADDRESS 2                         ADDRESS 3                 ADDRESS 4                CITY        STATE     POSTAL CODE        COUNTRY
29963406          SMITH AUTO PARTS INC                 216 S BRIDGE STREET                                                                                                     VISALIA             CA           93291
29943673          SMITH COUNTY TAX OFFICE              PO BOX 2011                                                                                                             TYLER               TX           75710‐2011
30297215          Smith Land & Improvement Corporation 1810 Market Street                                                                                                      Camp Hill           PA           17011
                  SMITH LAND AND IMPROVEMENT                                                ATTN: R.E. JORDAN III, CHIEF
30213050          CORPORATION                          1810 MARKET STREET                   OPERATING OFFICER                                                                  CAMP HILL           PA           17011
30208768          SMITH PUBLIC LIBRARY                 300 COUNTRY CLUB ROAD                BUILDING 300                                                                       WYLIE               TX           75098
30259083          Name on file                         Address on file
30332446          Name on file                         Address on file
30356604          Name on file                         Address on file
30355504          Name on file                         Address on file
30415123          Name on file                         Address on file
30341032          Name on file                         Address on file
30340641          Name on file                         Address on file
30332356          Name on file                         Address on file
30333975          Name on file                         Address on file
30358025          Name on file                         Address on file
30346669          Name on file                         Address on file
30416189          Name on file                         Address on file
30395483          Name on file                         Address on file
30348094          Name on file                         Address on file
30393760          Name on file                         Address on file
30396904          Name on file                         Address on file
30348038          Name on file                         Address on file
30341066          Name on file                         Address on file
30337086          Name on file                         Address on file
30416558          Name on file                         Address on file
30348102          Name on file                         Address on file
30332286          Name on file                         Address on file
30353934          Name on file                         Address on file
30347851          Name on file                         Address on file
30332649          Name on file                         Address on file
30356677          Name on file                         Address on file
30414638          Name on file                         Address on file
30337250          Name on file                         Address on file
30396457          Name on file                         Address on file
30357709          Name on file                         Address on file
30332514          Name on file                         Address on file
30397257          Smith, Oksana                        Address on file
30395993          Name on file                         Address on file
30358296          Name on file                         Address on file
30347986          Name on file                         Address on file
30348634          Name on file                         Address on file
30332653          Name on file                         Address on file
30332450          Name on file                         Address on file
30345069          Name on file                         Address on file
30340472          Name on file                         Address on file
30332537          Name on file                         Address on file
30358190          Name on file                         Address on file
30208769          SMITHTOWN PUBLIC LIBRARY             1 NORTH COUNTRY RD                                                                                                      SMITHTOWN           NY           11787
29943677          Name on file                         Address on file
LC_0618           Smithtown Special Library District   148 Smithtown Boulevard                                                                                                 Nesconset           NY           11767‐1746
30332627          Name on file                         Address on file
30393803          Name on file                         Address on file
29943679          SMUD                                 BOX 15555                                                                                                               SACRAMENTO          CA           95852‐1555
30348947          Name on file                         Address on file
29943680          SNDZ ASIA CORP.                      9FL., NO. 56, LANE 316               RUEIGUANG ROAD, NEIHU DISC.                                                        TAIPEI                           11492           TAIWAN
30350140          Name on file                         Address on file
30332107          Name on file                         Address on file
29943682          SNOHOMISH COUNTY PUD                 P.O. BOX 1100                                                                                                           EVERETT             WA           98206
29943683          SNOHOMISH COUNTY TREASURER           M/S 501                              3000 ROCKEFELLER AVE                                                               EVERETT             WA           98201‐4056
                  SNOHOMISH COUNTY, WA COUNTY CONSUMER
30208012          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION   3000 ROCKEFELLER AVE.                                                              EVERETT             WA           98201
30211944          SNO‐ISLE LIBRARIES                   7312 35TH AVENUE NE                                                                                                     MARYSVILLE          WA           98271




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30393116          Name on file                          Address on file
30353301          Name on file                          Address on file
30223247          SNOWDON INTL LTD                      DBA PHILADELPHIA SCIENTIFIC LLC    207 PROGRESS DRIVE                                                                       MONTGOMERYVILLE          PA           18936
29963409          SNOWFLAKE INC                         PO BOX 734951                                                                                                               DALLAS                   TX           75373‐4951
                  SNYDER COUNTY, PA COUNTY CONSUMER
30208013          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 9W MARKET ST                                                                             MIDDLEBURG               PA           17842
30398218          Name on file                          Address on file
30338221          Name on file                          Address on file

30213376          SOAP CHAMPAIGN LLC                    C/O HORIZON REALTY & MANAGEMENT    1540 E. DUNDEE RD., STE 240                                                              PALATINE                 IL           60074
30184173          Name on file                          Address on file
29963412          SOCI INC                              PO BOX 31001‐3081                                                                                                           PASADENA                 CA           91110‐3081
29963413          SOCIALDEVIANT LLC                     C/O THE HECHTMAN GROUP             5202 OLD ORCHARD RD., STE. 110                                                           SKOKIE                   IL           60077
30210636          SOCIALDEVIANT, LLC                    1143 W. RUNDELL PLACE              SUITE 200                                                                                CHICAGO                  IL           60607
29963415          SOCIETY FOR CORPORATE GOVERNANCE IN   52 VANDERBILT AVE., #510                                                                                                    NEW YORK                 NY           10017
29963416          SOCIETY FOR HUMAN RESOURCE MGMT       PO BOX 79547                                                                                                                BALTIMORE                MD           21279‐0547
30208772          SOCORRO PUBLIC LIBRARY                401 PARK STREET                                                                                                             SOCORRO                  NM           87801
30208773          SOHO PUBLISHING                       161 AVENUE OF THE AMERICAS         SUITE 1301                                                                               NEW YORK                 NY           10013
30354291          Name on file                          Address on file
30208774          SOLAMENTE                             16668 E ANNADALE AVENUE                                                                                                     SANGER                   CA           93657
29949264          SOLANO COUNTY ‐ DEPT OF AGRICULTURE   MEASURES DIVISION                  501 TEXAS ST                                                                             FAIRFIELD                CA           94533
29943711          SOLANO COUNTY WEIGHT &                MEASURES DIVISION                  501 TEXAS ST                                                                             FAIRFIELD                CA           94533
                  SOLANO COUNTY, CA COUNTY CONSUMER                                        CONSUMER AND ENVIRONMENTAL
30208014          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION CRIMES                      675 TEXAS ST                          STE 4500               FAIRFIELD                CA           94533
30335268          Name on file                          Address on file
30356378          Name on file                          Address on file
30167791          Solartex Corporation                  7F., No. 477 Sec. 2                Tiding Blvd.                Neihu District                                               Taipei                                11493           TAIWAN
29943715          SOLEI PENKALA                         Address on file
30332651          Name on file                          Address on file
30397469          Name on file                          Address on file
30397470          Name on file                          Address on file
29943721          SOLUTIONS MECHANICAL LLC              71 KENDALL POINT DRIVE                                                                                                      OSWEGO                   IL           60543
30347083          Name on file                          Address on file
30395350          Name on file                          Address on file
29943728          Name on file                          Address on file
29943729          Name on file                          Address on file
30211946          SOMERSET COUNTY LIBRARY               1 VOGT DRIVE                                                                                                                BRIDGEWATER              NJ           08807
30208778          SOMERSET COUNTY LIBRARY               P.O. BOX 6700                                                                                                               BRIDGEWATER              NJ           08807
30208776          SOMERSET COUNTY LIBRARY               VOGT DRIVE                                                                                                                  BRIDGEWATER              NJ           08807
29943731          Name on file                          Address on file
30211950          SOMERSET PUBLIC LIBRARY               1464 COUNTY ST                                                                                                              SOMERSET                 MA           02726
30208779          SOMERSET REGIONAL COUNCIL             PO BOX 117                         ESK                                                                                      SOMERSET, QLD                         4312            AUSTRALIA
29943733          Name on file                          Address on file
29943734          Name on file                          Address on file
29963420          SOMMER PECK                           Address on file
30401669          Name on file                          Address on file
30353954          Name on file                          Address on file
30212674          SOMPO                                 1221 AVENUE OF THE AMERICAS                                                                                                 NEW YORK                 NY           10020
29963423          SOMPO                                 155 WEST WACKER DRIVE              SUITE 3700                                                                               CHICAGO                  IL           60601
30210501          SOMPO INTERNATIONAL                   155 N WACKER DRIVE                 SUITE 3700                                                                               CHICAGO                  IL           60606
30223248          SOMPO PRO                             ATTN: CLAIMS DEPARTMENT            1221 AVENUE OF THE AMERICAS                                                              NEW YORK                 NY           10020
                                                        ATTN: PROFESSIONAL LINES
30223249          SOMPO PRO                             UNDERWRITING DEPARTMENT            1221 AVENUE OF THE AMERICAS                                                              NEW YORK                 NY           10020
29943737          SONDY ORTIZ                           Address on file
30353655          Name on file                          Address on file
30356712          Name on file                          Address on file
29963430          SONIA GONZALEZ                        Address on file
29943746          SONJA CLINKSCALES                     Address on file
29943752          SONOMA COUNTY                         DEPT OF HEALTH SERVICES            3313 CHANATE ROAD                                                                        SANTA ROSA               CA           95404‐1795
30208784          SONOMA COUNTY LIBRARY                 211 E STREET                                                                                                                SANTA ROSA               CA           95404
30211953          SONOMA COUNTY LIBRARY                 6135 STATE FARM DR                                                                                                          ROHNERT PARK             CA           94928
30261993          Sonoma County Tax Collector           585 Fiscal Dr.                     Ste. 100                                                                                 Santa Rosa               CA           95403
29943754          SONOMA COUNTY TAX COLLECTOR           PO BOX 3879                                                                                                                 SANTA ROSA               CA           95402‐3879




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                  SONOMA COUNTY, CA COUNTY CONSUMER
30208015          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 133 AVIATION BLVD                STE 110                                          SANTA ROSA                CA           95403
30355745          Name on file                           Address on file
29943763          SONYA MELISSA PHILIP                   Address on file
29943770          SOPHIA BEA‐HUDSON                      Address on file
29943772          SOPHIA BEAL‐HUDSON                     Address on file
30211494          SOPHIA CUDWORTH                        Address on file
29943833          SOPHIA MARCHESE                        Address on file
30342761          Name on file                           Address on file
30344309          Name on file                           Address on file
29951046          SORFEO                                 1713 OAK LANE                                                                                                        MC LEAN                   VA           22101
29943888          Name on file                           Address on file
30337216          Name on file                           Address on file
29943892          Name on file                           Address on file
29949807          SOUND POINT CAPITAL MANAGEMENT LP      375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29953240          SOUND POINT CLO II, LTD.               375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29949651          SOUND POINT CLO IV‐R, LTD.             375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29949652          SOUND POINT CLO IX, LTD.               375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29949653          SOUND POINT CLO VIII‐R, LTD.           375 PARK AVENUE,34TH FLOOR                                                                                           NEW YORK                  NY           10152
29949654          SOUND POINT CLO VII‐R, LTD.            375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29949655          SOUND POINT CLO VI‐R, LTD.             375PARK AVENUE,34TH FLOOR                                                                                            NEW YORK                  NY           10152
29949656          SOUND POINT CLO V‐R, LTD.              375 PARK AVENUE, 34THFLOOR                                                                                           NEW YORK                  NY           10152
29949657          SOUND POINT CLO XIX, LTD.              375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29949658          SOUND POINT CLO XVI, LTD.              375 PARKAVENUE,34TH FLOOR                                                                                            NEW YORK                  NY           10152
29949659          SOUND POINT CLO XVII, LTD.             375 PARK AVENUE,34TH FLOOR                                                                                           NEW YORK                  NY           10152
29949660          SOUND POINT CLO XVIII, LTD.            375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29951437          SOUND POINT CLO XX, LTD.               375 PARK AVENUE,34TH FLOOR                                                                                           NEW YORK                  NY           10152
29951438          SOUND POINT CLO XXI, LTD.              375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29951439          SOUND POINT CLO XXII, LTD.             375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29951440          SOUND POINT CLO XXIII, LTD.            375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29951441          SOUND POINT CLO XXIV, LTD.             375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29951442          SOUND POINT CLO XXIX, LTD.             375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29951443          SOUND POINT CLO XXV, LTD.              375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29951444          SOUND POINT CLO XXVI, LTD.             375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29951445          SOUND POINT CLO XXVII, LTD.            375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29951446          SOUND POINT CLO XXVIII, LTD.           375 PARK AVENUE,34TH FLOOR                                                                                           NEW YORK                  NY           10152
29951447          SOUND POINT CLO XXX, LTD.              375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29949661          SOUND POINT CLO XXXI, LTD.             375 PARK AVENUE, 34TH FLOOR                                                                                          NEW YORK                  NY           10152
29943896          SOURCE3MEDIA INC                       9085 FREEWAY DRIVE                                                                                                   MACEDONIA                 OH           44056
29943897          SOURCING SOLUTIONS INC                 1201 INDUSTRIAL STREET                                                                                               HUDSON                    WI           54016
29950372          Name on file                           Address on file
29950374          SOUTH BEND MUNICIPAL UTILITIES         PO BOX 7125                                                                                                          SOUTH BEND                IN           46634
29950375          SOUTH BURLINGTON WATER DEPARTMENT      403 QUEEN CITY PARK ROAD                                                                                             SOUTH BURLINGTON          VT           05403‐6919

29950376          SOUTH CAROLINA DEPARTMENT OF REVENUE   PO BOX 12265                                                                                                         COLUMBIA                  SC           29211
29949407          SOUTH CAROLINA TREASURER'S OFFICE      UNCLAIMED PROPERTY PROGRAM         1200 SENATE STREET STE 214                                                        COLUMBIA                  SC           29201
30208785          SOUTH CENTRAL LIBRARY SYSTEM           1650 PANKRATZ STREET                                                                                                 MADISON                   WI           53704
30208789          SOUTH COASTAL LIBRARY                  43 KENT AVENUE                                                                                                       BETHANY BEACH             DE           19930
30211955          SOUTH COUNTRY LIBRARY                  22 STATION ROAD                                                                                                      BELLPORT                  NY           11713
29950379          SOUTH DAKOTA DEPARTMENT OF REVENUE     445 E CAPITOL AVENUE                                                                                                 PIERRE                    SD           57501
29950380          SOUTH DAKOTA DEPT OF REVENUE           MAIL CODE 5055                     445 E. CAPITOL AVE.                                                               PIERRE                    SD           57501‐3100
29950381          SOUTH DAKOTA SECRETARY OF STATE        500 E CAPITOL AVE STE 204                                                                                            PIERRE                    SD           57501
29950383          SOUTH END INVESTORS LLC                3265 MERIDIAN PKWY                                                                                                   WESTON                    FL           33331‐3506
                                                                                            HOWARD ARNBERG, MANAGING
30213612          SOUTH END INVESTORS, LLC               3265 MERIDIAN PARKWAY, SUITE 130   MEMBER                                                                            WESTON                    FL           33331
29943899          SOUTH FRISCO VILLAGE SC LP             C/O VISTA PROPERTY CO.             2227 VANTAGE STREET                                                               DALLAS                    TX           75207
                                                                                            C/O VISTA PROPERTY COMPANY,
29943900          SOUTH FRISCO VILLAGE SC, L.P.          ATTN: SYD HURLEY, CEO              LLC                              2227 VANTAGE STREET                              DALLAS                    TX           75207
30210901          SOUTH FRISCO VILLAGE SC, L.P.          C/O VISTA PROPERTY COMPANY, LLC    2227 VANTAGE STREET                                                               DALLAS                    TX           75207
30331712          South Frisco Village SC, LP            c/o Vista Property Company         Attn: Jason Howard               2777 Vantage Street                              Dallas                    TX           75207
LC_0626           South Huntington Public Library        145 Pidgeon Hill Road                                                                                                Huntington Statio         NY           11746‐7699
30208791          SOUTH HUNTINGTON PUBLIC LIBRARY        145 PIDGEON HILL RD                                                                                                  HUNTIGTON STATION         NY           11746
30211960          SOUTH HUNTINGTON PUBLIC LIBRARY        145 PIDGEON HILL ROAD                                                                                                HUNTINGTON STATION        NY           11746




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30208792          SOUTH HUNTINGTON PUBLIC LIBRARY               145 PIDGEON HILL ROAD HUATINGIAN                                                                                                       STATION                 NY           11746
29943903          SOUTH JERSEY GAS COMPANY                      PO BOX 6091                                                                                                                            BELLMAWR                NJ           08099‐6091

29943904          SOUTH LYONS TOWNSHIP SANITARY DISTRICT        475 W 55TH ST UNIT 107                                                                                                                 COUNTRYSIDE             IL           60525
30208794          SOUTH ORANGE PUBLIC LIBRARY                   65 SCOTLAND ROAD                                                                                                                       SOUTH ORANGE            NJ           07079
29943908          SOUTH PEAK CAPITAL LLC                        PO BOX 45                                                                                                                              MCFARLAND               WI           53558
30213521          SOUTH PEAK CAPITAL, LLC                       ATTN: STEVE DORAN                  6430 BRIDGE ROAD, SUITE 230                                                                         MADISON                 WI           53716
30211962          SOUTH RIVER PUBLIC LIBRARY                    55 APPLEBY AVE                                                                                                                         SOUTH RIVER             NJ           08882
30211963          SOUTH SHORE PUBLIC LIBRARIES                  135 N PARK ST                                                                                                                          BRIDGEWATER             NS           B4V 9B3         CANADA
30208796          SOUTH ST. LANDRY COMMUNITY LIBRARY            235 MARIE ST                                                                                                                           SUNSET                  LA           70584
29963444          Name on file                                  Address on file

30213182          SOUTH TOWN PLAZA REALTY LLC                   C/O NAMCO REALTY LLC               150 GREAT NECK ROAD, SUITE 304                                                                      GREAT NECK              NY           11021
29963446          Name on file                                  Address on file
30335553          Name on file                                  Address on file
                                                                C/O CBL & ASSOCIATES MANAGEMENT,   2030 HAMILTON PLACE
30213147          SOUTHAVEN TOWN CENTER II, LLC                 INC.                               BOULEVARD, SUITE 500                                                                                CHATTANOOGA             TN           37421‐6000
                  Southaven Towne Center II, LLC, by CBL &
30401588          Associates Management, Inc.                   Caleb T. Holzaepfel                736 Georgia Avenue, Suite 300                                                                       Chattanooga             TN           37402
                  Southaven Towne Center II, LLC, by CBL &                                                                                                                2030 Hamilton Place Blvd.,
30401589          Associates Management, Inc.                   Gary Roddy                         Vice President ‐ Legal Collections   CBL & Associates Management, Inc. Suite 500                    Chattanooga             TN           37421
29963448          Name on file                                  Address on file
30208798          SOUTHBOROUGH PUBLIC LIBRARY                   25 MAIN STREET                                                                                                                         SOUTHBOROUGH            MA           01772
29963449          Name on file                                  Address on file
30208800          SOUTHEAST ARKANSAS REGIONAL LIBRARY           14 W. JEFFERSON AVE.                                                                                                                   MONTICELLO              AR           71655
LC_0629           Southeast Regional Library                    908 7th Ave                                                                                                                            Weyburn                 SK           S4H 0H9         Canada
30211965          SOUTHEAST REGIONAL LIBRARY                    49 BISON AVE                                                                                                                           WEYBURN                 SK           S4H 0H9         CANADA
29943909          SOUTHERN CALIFORNIA EDISON                    P.O. BOX 600                                                                                                                           ROSEMEAD                CA           91771‐0001
29943911          SOUTHERN CALIFORNIA GAS (THE GAS CO.)         PO BOX C                                                                                                                               MONTEREY PARK           CA           91756
29943912          Name on file                                  Address on file
                  SOUTHERN CHAFFEE COUNTY REGIONAL LIB
30208802          DIST/SALIDA                                   405 `E` ST.                                                                                                                            SALIDA                  CO           81201
29943914          SOUTHERN CONNECTICUT GAS (SCG)                PO BOX 847819                                                                                                                          BOSTON                  MA           02284‐7819
29943915          SOUTHERN CONTROLS INC                         PO BOX 210399                                                                                                                          MONTGOMERY              AL           36121
29943916          Name on file                                  Address on file
30211966          SOUTHERN LEHIGH PUBLIC LIBRARY                3200 PRESTON LN                                                                                                                        CENTER VALLEY           PA           18034
30211968          SOUTHERN MARYLAND REGIONAL LIBRARY            37600 NEW MARKET RD                                                                                                                    CHARLOTTE HALL          MD           20622
30208803          SOUTHERN MARYLAND REGIONAL LIBRARY            P.O. BOX 459                                                                                                                           CHARLOTTE HALL          MD           20622
29943919          SOUTHERN MOTOR CARRIERS ASSOC                 DBA SMC3                           PO BOX 2040                                                                                         PEACHTREE CITY          GA           30269
30211495          SOUTHERN TELECOM INC                          5601 1ST AVE, FLOOR 2                                                                                                                  BROOKLYN                NY           11220

29963453          SOUTHERN UNION STATE‐COMMUNITY COLLEGE 750 ROBERTS ST                                                                                                                                WADLEY                  AL           36276
29963454          Name on file                           Address on file
30346572          Name on file                           Address on file
29963455          Name on file                           Address on file
29963456          SOUTHGATE SQUARE VIRGINIA LLC          CO BLACKWOOD DEVELOPMENT CO               7301 BOULDER VIEW LN                                                                                NORTH CHESTERFIELD      VA           23225
                  SOUTHINGTON BOARD OF WATER
29963457          COMMISSIONERS                          605 WEST QUEEN STREET                                                                                                                         SOUTHINGTON             CT           06489
                  SOUTHINGTON BOARD OF WATER
29963458          COMMISSIONERS                          P.O. BOX 111                                                                                                                                  SOUTHINGTON             CT           06489
29963459          Name on file                           Address on file
30213458          SOUTHINGTON/ROUTE 10 ASSOCIATES L.P    C/O CORNERSTONE PROPERTIES, INC.          231 FARMINGTON AVENUE                                                                               FARMINGTON              CT           06032
29963462          Name on file                           Address on file
29963463          SOUTHLAND INDUSTRIES                   12131 WESTERN AVE.                                                                                                                            GARDEN GROVE            CA           92841
29943921          SOUTHTOWN PLAZA REALTY LLC             150 GREAT NECK RD                                                                                                                             GREAT NECK              NY           11021
30291766          Southwest Commons 05 A, LLC            c/o ACF Property Management, Inc.         12411 Ventura Boulevard                                                                             Studio City             CA           91604
29943925          SOUTHWEST GAS                          PO BOX 24531                                                                                                                                  OAKLAND                 CA           94623‐1531
29943927          Name on file                           Address on file

30281718          Southwestern Public Service dba Xcel Energy   Attn: Customer Receivables         Po Box 59                                                                                           Minneapolis             MN           55440
29943930          SOUTHWICK TECHNOLOGIES LLC                    C/O CLEAR LAKE BANK & TRUST        PO BOX 8                                                                                            CLEAR LAKE              IA           50428
30393165          Name on file                                  Address on file




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                                                             C/O NATIONAL REALTY & DEVELOPMENT
29963466          SP 35 L.P.                                 CORP.                                ATTN: CHIEF OPERATING OFFICER     225 LIBERTY STREET, FLOOR 31                     NEW YORK                 NY           10281
                                                             C/O NATIONAL REALTY & DEVELOPMENT
30210989          SP 35 L.P.                                 CORP.                                ATTN: CHIEF OPERATING OFFICER                                                      NEW YORK                 NY           10281
29963468          SP INDUSTRIES INC                          2982‐22ND STREET                                                                                                        HOPKINS                  MI           49328
29963469          SPACE 150 INC                              212 3RD AVE N #150                                                                                                      MINNEAPOLIS              MN           55401
30258139          Name on file                               Address on file
30340751          Name on file                               Address on file
30396441          Name on file                               Address on file
30344272          Name on file                               Address on file
29949269          SPANISH FORK ‐ BUSINESS LICENSE            PO BOX 358                                                                                                              SPANISH FORK             UT           84660‐0358
29963470          SPANISH FORK CITY                          PO BOX 358                                                                                                              SPANISH FORK             UT           84660‐0358
29963472          SPANISH FORK CITY UT                       80 SOUTH MAIN                                                                                                           SPANISH FORK             UT           84660
30353731          Name on file                               Address on file
30211496          SPARK INNOVATORS CORP                      30 TWO BRIDGES ROAD                                                                                                     FAIRFIELD                NJ           07004
29963473          Name on file                               Address on file
30353615          Name on file                               Address on file
30354706          Name on file                               Address on file
29963474          SPARROW CREATIVE LLC                       WHITNEY DEPAOLI                      6232 N YALE STREET                                                                 PORTLAND                 OR           97203
30214216          SPARROW INNOVATIONS INC                    1865 E LAKE MARY BLVD                                                                                                   SANFORD                  FL           32773
30357374          Name on file                               Address on file
30358401          Name on file                               Address on file
30208806          SPARTANBURG COUNTY PUBLIC LIBRARIES        151 S. CHURCH ST.                                                                                                       SAPRTANBURG              SC           29306
30208807          SPARTANBURG COUNTY PUBLIC LIBRARIES        151 S. CHURCH STREET                                                                                                    SPARTANBURG              SC           29306
LC_0631           Spartanburg County Public Library System   151 S. Church Street                                                                                                    Spartanburg              SC           29306‐3241
29943934          SPARTANBURG COUNTY TREASURER               P.O. BOX 100260                                                                                                         COLUMBIA                 SC           29202‐3260
                  SPARTANBURG COUNTY, SC COUNTY
30208016          CONSUMER PROTECTION AGENCY                 ATTN: CONSUMER PROTECTION DIVISION   1919 THURMOND MALL                                                                 COLUMBIA                 SC           29202
29943936          SPARTANBURG WATER SYSTEM                   P.O. BOX 251                                                                                                            SPARTANBURG              SC           29304‐0251
30347715          Name on file                               Address on file
30340615          Name on file                               Address on file
29943937          Name on file                               Address on file
29943938          SPECIAL TAX COLLECTOR                      RICHLAND SCHOOL DISTRICT             322 SCHOOLHOUSE RD STE 100                                                         JOHNSTOWN                PA           15904
30350497          Name on file                               Address on file
29943939          SPECTRUM                                   675 MONDIAL PARKWAY                                                                                                     STREETSBORO              OH           44241
30397391          Name on file                               Address on file
30396341          Name on file                               Address on file
30338090          Name on file                               Address on file
29943941          SPENCE FENCE CO ENTERPRISES                1145 N. MILLER PARK CT                                                                                                  VISALIA                  CA           93291
30397253          Name on file                               Address on file
30344945          Name on file                               Address on file
30354517          Name on file                               Address on file
30340332          Name on file                               Address on file
30346547          Name on file                               Address on file
30223250          SPENDHQ LLC                                5555 TRIANGLE PKWY, STE 300                                                                                             NORCROSS                 GA           30092
30332360          Name on file                               Address on file
                                                             WATERFORD PARK NORTH ASSOCIATES
29943944          SPIEGEL & SPIEGEL PA MONEY PURCHASE        LLC                                  455 FAIRWAY DR., STE. 301                                                          DEERFIELD BEACH          FL           33441
30211497          SPIEGEL DESIGN GROUP INC                   11693 SAN VICENTE BLVD., #501                                                                                           LOS ANGELES              CA           90049
30335410          Name on file                               Address on file
30333837          Name on file                               Address on file
30340647          Name on file                               Address on file
30332380          Name on file                               Address on file
29943945          SPIN MASTER INC                            PMB 10053 300 INTERNATIONAL DR       SUITE 100                                                                          WILLIAMSVILLE            NY           14221
30347037          Name on file                               Address on file
30338088          Name on file                               Address on file
30331747          Spinrite Corp                              Attention To: Shane Kalmusky         Lockbox #1678                     PO Box 95000                                     Philadelphia             PA           19195
30211498          SPINRITE CORP (ECOM)                       100 SONWILL DRIVE                                                                                                       BUFFALO                  NY           14225
30210502          SPINRITE PARENT HOLDINGS, LLC              320 LIVINGSTON AVENUE S.                                                                                                LISTOWEL                 ON           N4W 3H3         CANADA
29949663          SPINRITE PARENT HOLDINGS, LLC              320 LIVINGSTONE AVENUE SOUTH                                                                                            LISTOWEL                 ON           N4W 3H3         CANADA
29943947          SPIRAL BINDING LLC                         C/O CITY NATIONAL BANK               PO BOX 527823                                                                      MIAMI                    FL           33152‐7823
30291466          Spire Alabama Inc                          605 Richard Arrington Jr Blvd N                                                                                         Birmingham               AL           35203
30297385          SPIRE ENERGY                               C/O SPIRE BANKRUPTCY                 700 MARKET ST                                                                      ST LOUIS                 MO           63101




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30297369          Spire Energy                                 Curmeshia Felisha Dorsey                 Bankruptcy clerk                 605 Richard Arrington Jr. Blvd N                 Birmingham             AL           35203
29943949          SPIRE/CHARLOTTE                              PO BOX 70880                                                                                                               CHARLOTTE              NC           28272‐0880
29943951          SPIRE/ST LOUIS                               DRAWER 2                                                                                                                   ST LOUIS               MO           63171
                  SPIRIT BD READING PA, LLC (RI #16185‐MUST
30213375          APPEAR ON CORRESPONDENCE)                    C/O REALTY INCOME CORPORATION            11995 EL CAMINO REAL                                                              SAN DIEGO              CA           92130
30213192          SPIRIT MASTER FUNDING IV, LLC                C/O REALTY INCOME CORPORATION            11995 EL CAMINO REAL                                                              SAN DIEGO              CA           92130
30213484          SPIRIT PROPERTIES, LTD.                      ATTN: RANDY WRAGE                        21070 CENTRE POINTE PARKWAY                                                       SANTA CLARITA          CA           91350
30331513          Spirit Properties, Ltd.                      c/o Randy Wrage                          21070 Centre Pointe Parkway                                                       Santa Clarita          CA           91350
29963492          SPIRIT REALTY CAPITAL INC                    ATTN ACC RECEIVABLE DEPT                 PO BOX 206453                                                                     DALLAS                 TX           75320‐6453
29963491          SPIRIT REALTY CAPITAL INC                    SPIRIT SPE LOAN PORTFOL 2013‐3 LLC       PO BOX 29650, DEPT 880026                                                         PHOENIX                AZ           85038‐9650
29963493          SPIRIT REALTY LP                             SPIRIT BD READING PA LLC #PO2643         PO BOX 206453                                                                     DALLAS                 TX           75320‐6453
30213164          SPIRIT SPE LOAN PORTFOLIO 2013‐3, LLC        C/O REALTY INCOME CORPORATION            11995 EL CAMINO REAL                                                              SAN DIEGO              CA           92130
30348004          Name on file                                 Address on file
29963495          Name on file                                 Address on file
                  SPLASH (SOLANO PARTNER LIBRARIES AND ST.
30208811          HELENA)                                      1150 KENTUCKY ST.                                                                                                          FAIRFIELD              CA           94533
29963496          SPLUNK INC                                   PO BOX 205848                                                                                                              DALLAS                 TX           75320‐5848
30211974          SPOKANE COUNTY LIBRARY DISTRICT              4322 N ARGONNE RD                                                                                                          SPOKANE                WA           99212
30193158          Spokane County Treasurer                     Attn: Bankruptcy Dept                    PO Box 2165                                                                       Spokane                WA           99210
29943953          SPOKANE COUNTY TREASURER                     PO BOX 199                                                                                                                 SPOKANE                WA           99210‐0199
                  SPOKANE COUNTY, WA COUNTY CONSUMER
30208017          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 1116 W BROADWAY AVE                                                                     SPOKANE                WA           99260
29943954          SPOKANE FARP                                 Address on file
29972753          Name on file                                 Address on file
29943957          SPOTSYLVANIA COUNTY TREASURER                PO BOX 65                                                                                                                  SPOTSYLVANIA           VA           22553
                  SPOTSYLVANIA COUNTY, VA COUNTY
30208018          CONSUMER PROTECTION AGENCY                   ATTN: CONSUMER PROTECTION DIVISION 9104 COURTHOUSE RD                                                                      SPOTSYLVANIA           VA           22553
30335296          Name on file                                 Address on file

29943958          SPRADLING INTERNATIONAL INC                  200 CAHABA VALLEY PARKWAY NORTH          PO BOX 1668                                                                       PELHAM                 AL           35124
30398462          Name on file                                 Address on file
30354883          Name on file                                 Address on file
29943959          SPRING BRANCH I S D                          TAX ASSESSOR‐COLLECTOR                   PO BOX 19037‐9000 WESTVIEW                                                        HOUSTON                TX           77224‐9037
30182152          Spring Branch Independent School District    P. O. Box 19037                                                                                                            Houston                TX           77224
29964919          SPRING CREEK IMPROVEMENTS LLC                53 N 1650 W                                                                                                                SPRINGVILLE            UT           84663‐5954
29943962          SPRING CREEK IMPROVEMENTS LLC                PO BOX 746482                                                                                                              ATLANTA                GA           30374‐6482
30213154          SPRING CREEK OWNER, LLC                      C/O DLC MANAGEMENT CORP.                 565 TAXTER RD., SUITE 400                                                         ELMSFORD               NY           10523
30211979          SPRINGDALE PUBLIC LIBRARY                    405 S. PLEASANT ST.                                                                                                        SPRINGDALE             AR           72764
30399649          Name on file                                 Address on file
29951004          Name on file                                 Address on file
30213587          SPRINGFIELD PLAZA ASSOCIATES, LLC            11155 RED RUN BLVD, SUITE 320            ATTN: BOB WAUGH                                                                   OWINGS MILLS           MD           21117
30211981          SPRINGFIELD PUBLIC LIBRARY                   225 5TH ST                                                                                                                 SPRINGFIELD            OR           97477
LC_0635           Springfield Town Library                     43 Main St.                                                                                                                Springfield            VT           05156‐2904
                                                                                                        CUSTOMER SERVICE
29951009          SPRINGFIELD UTILITY BOARD                    KAITLIN ANDERSON                         RESPRESENTATIVE                  250 A STREET                                     SPRINGFIELD            OR           97477
29951010          SPRINGFIELD UTILITY BOARD                    P.O. BOX 300                                                                                                               SPRINGFIELD            OR           97477‐0077
30397311          Name on file                                 Address on file
30415307          Name on file                                 Address on file
29951011          Name on file                                 Address on file
LC_0637           Springfield‐Greene County Library District   4653 S. Campbell                                                                                                           Springfield            MO           65810‐1723
                  SPRINGFIELD‐GREENE COUNTY LIBRARY
30208814          DISTRICT                                     4653 S. CAMPBELL AVE                                                                                                       SPRINGFIELD            MO           65810
29951012          Name on file                                 Address on file
29943964          Name on file                                 Address on file
29943966          SPRINGS CREATIVE PRODUCTS GROUP              300 CHATHAM AVENUE                                                                                                         ROCK HILL              SC           29730
                                                               ATTN: DERICK CLOSE, CHIEF EXECUTIVE
29904945          SPRINGS CREATIVE PRODUCTS GROUP              OFFICER                                  300 CHATHAM AVENUE               SUITE 100                                        ROCK HILL              SC           29730
                                                               Benesch, Friedlander, Coplan & Aronoff                                    1313 North Market Street, Suite
30337170          Springs Creative Products Group, Inc.        LLP                                      Jennifer R. Hoover               1201                                             Wilmington             DE           19801
30280509          Springs Creative Products Group, Inc.        Karen Blalock                            220 W. White Street              Suite 140                                        Rock Hill              SC           29730
29943967          Name on file                                 Address on file
30354578          SPROUTS FARMERS MARKET, INC.                 5455 EAST HIGH STREET, SUITE 111                                                                                           PHOENIX                AZ           85054




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29943968          SPRWS‐SAINT PAUL REGIONAL WATER SERVICES 1900 RICE STREET                                                                                                        SAINT PAUL              MN           55113‐6810
LC_0638           Squamish Public Library                  37907 2nd Avenue                                                                                                        Squamish                BC           V8B 0A7         Canada
30208819          SQUAMISH PUBLIC LIBRARY                  37097 SECOND AVENUE                   PO BOX 1039                                                                       SQUAMISH                BC           V8B 0A7         CANADA
29943970          Name on file                             Address on file
30208818          SQUAMISH PUBLIC LIBRARY                  37907 SECOND AVENUE                   P.O. BOX 1039                                                                     SQUAMISH                BC           V8B 0A7         CANADA
                                                                                                 ATTN: PAUL BRONSTEIN, PRES.
30213105          SQUARE ONE PARTNERS, LLC                   4663 E LAFAYETTE BLVD.              SQUARE ONE PARTNERS                                                               PHOENIX                 AZ           85018
30288404          Square One Partners, LLC                   c/o Anthony J. D'Artiglio, Esq.     Ansell Grimm & Aaron, P.C.  365 Rifle Camp Road                                   Woodland Park           NJ           07424
                                                             C/O PRETIUM PROPERTY MANAGEMENT,
30213293          SQUARE ONE PARTNERS, LLC                   LLC                              30 WASHINGTON AVENUE, SUITE B5                                                       HADDONFIELD             NJ           08033
30332394          Name on file                               Address on file
30184165          SQUIRE PATTON BOGGS (US) LLP               2550 M STREET, NW,                                                                                                    WASHINGTON              DC           20037
30210638          SQUIRE, SANDERS & DEMPSEY L.L.P.           555 SOUTH FLOWER STREET          SUITE 3100                                                                           LOS ANGELES             CA           90071
29963498          SQUISHABLE                                 96 SPRING ST FL 7                                                                                                     NEW YORK                NY           10012‐3923
30394761          Name on file                               Address on file
29963504          SRIRAJKUMAR VASUDEVAN                      Address on file
30213090          SRK LADY LAKE 21 SPE, LLC                  C/O THE BENCHMARK GROUP          4053 MAPLE ROAD, SUITE 200                                                           AMHERST                 NY           14226

30213185          SRL CROSSINGS AT TAYLOR LLC                C/O SCHOTTENSTEIN PROPERTY GROUP    4300 E. FIFTH AVE.                                                                COLUMBUS                OH           43219
29963508          SRP ‐ SALT RIVER PROJECT/2951              1500 N. MILL AVE.                                                                                                     TEMPE                   AZ           85281
29943975          SRP ‐ SALT RIVER PROJECT/2951              PO BOX 2951                                                                                                           PHOENIX                 AZ           85062‐2951
30294459          SRP LLC a/k/a Shelbyville Road Plaza LLC   12911 Reamers Road                                                                                                    Louisville              KY           40245
29943976          Name on file                               Address on file
29943977          SSI (US) INC                               SPENCER STUART                      353 N. CLARK, SUITE 2400                                                          CHICAGO                 IL           60654
29943978          SSS WILLOWCHASE INVESTMENT LLC             3657 BRIARPARK DR., STE. 188                                                                                          HOUSTON                 TX           77042

30213069          SSS WILLOWCHASE INVESTMENT, LLC            3657 BRIARPARK DRIVE, SUITE 188     ATTN: TAMI KIM, LEGAL COUNSEL                                                     HOUSTON                 TX           77042‐5264
30332249          Name on file                               Address on file
29943980          Name on file                               Address on file
29943981          Name on file                               Address on file
29943982          ST CHARLES COUNTY COLLECTOR                201 N SECOND STREET                 ROOM 134                                                                          SAINT CHARLES           MO           63301‐2889
29943983          ST CLAIR COUNTY HEALTH DEPT                19 PUBLIC SQUARE STE 150                                                                                              BELLEVILLE              IL           62220
29943984          Name on file                               Address on file
29943985          Name on file                               Address on file
29963509          Name on file                               Address on file
29963510          ST JOSEPH COUNTY TREASURER                 227 WEST JEFFERSON BLVD                                                                                               SOUTH BEND              IN           46601
29963511          Name on file                               Address on file
29963512          Name on file                               Address on file
29963513          Name on file                               Address on file
29963514          Name on file                               Address on file
30208823          ST. CATHARINES PUBLIC LIBRARY              54 CHURCH STREET                                                                                                      ST. CATHARINES          ON           L2R 7K2         CANADA
30208829          ST. CATHERINE’S SCHOOL                     6001 GROVE AVE                                                                                                        RICHMOND                VA           23226
29963515          ST. CHARLES PARISH SCHOOL BOARD            SALES & USE TAX DEPARTMENT          13855 RIVER ROAD                                                                  LULING                  LA           70070
30208831          ST. CHARLES PUBLIC LIBRARY                 1 S 6TH AVE. ST.                                                                                                      CHARLEES                IL           60174
                  ST. CLAIR COUNTY, MI COUNTY CONSUMER
30208019          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 200 GRAND RIVER AVE # 203, PORT                                                    HURON                   MI           48060
30208832          ST. HELENS PUBLIC LIBRARY                  375 S 18TH ST                      STE A                                                                              ST. HELENS              OR           97051
29963516          Name on file                               Address on file
                  ST. JOSEPH COUNTY, IN COUNTY CONSUMER
30208020          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 227 WEST JEFFERSON BLVD           STE 722                                          SOUTH BEND              IN           46601
29952768          ST. LOUIS COUNTY COLLECTOR OF REVENUE      ST LOUIS COUNTY                    PO BOX 11491                                                                       CLAYTON                 MO           63105‐0291
30208833          ST. LOUIS COUNTY LIBRARY                   1640 S. LINDBERGH BLVD                                                                                                ST. LOUIS               MO           63131
                  ST. LOUIS COUNTY, MN COUNTY CONSUMER
30208021          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 320 WEST 2ND ST                   ROOM 402                                         DULUTH                  MN           55802
                  ST. LOUIS COUNTY, MO COUNTY CONSUMER
30208022          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 41 SOUTH CENTRAL                                                                   CLAYTON                 MO           63105
29963518          Name on file                               Address on file
30208834          ST. LOUIS PUBLIC LIBRARY                   1301 OLIVE STREET                                                                                                     ST. LOUIS               MO           63103
30208836          ST. LOUIS PUBLIC LIBRARY                   1415 OLIVE ST                                                                                                         ST. LOUIS               MO           63103
29963519          Name on file                               Address on file
29963520          Name on file                               Address on file




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29943986          ST. MARY'S COUNTY METROPOLITAN COMMSSN 23121 CAMDEN WAY                                                                                                           CALIFORNIA            MD           20619
                  ST. MARY'S COUNTY, MD COUNTY CONSUMER
30208023          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION    41770 BALDRIDGE ST                                                                   LEONARDTOWN           MD           20650
30208837          ST. MARYS PUBLIC LIBRARY               15 CHURCH ST. N                                                                                                            ST. MARYS             ON           N4X 1B4         CANADA
29943987          Name on file                           Address on file
LC_0642           St. Tammany Parish Library             310 West 21St Avenue                                                                                                       St. Tammany           LA           70433‐3154
30208839          ST. TAMMANY PARISH LIBRARY             310 WEST 21ST AVENUE                                                                                                       COVINGTON             LA           70433
29943988          ST. TAMMANY PARISH TAX COLL.           P.O. BOX 608                                                                                                               COVINGTON             LA           70434‐0608
30208840          ST. THOMAS PUBLIC LIBRARY              153 CURTIS STREET                                                                                                          ST. THOMAS            ON           N5P 3Z7         CANADA
30211982          STAATSBURG LIBRARY                     70 OLD POST ROAD                                                                                                           STAATSBURG            NY           12580
29944014          STACEY LORIMER                         Address on file
29944025          STACEY PHILLIPS                        Address on file
29944027          STACEY SATERNIS                        Address on file
30212639          STACEY STUHLDREHER                     Address on file
30333534          Name on file                           Address on file
30347829          Name on file                           Address on file
29963528          STACIA GRZYWNA                         Address on file
29944040          STACIE HALL                            Address on file
30344362          Name on file                           Address on file
29963537          STACY NAGEL                            Address on file
30261191          Name on file                           Address on file
30395211          Name on file                           Address on file
30397457          Name on file                           Address on file
30336242          Name on file                           Address on file
30341644          Name on file                           Address on file
30415853          Name on file                           Address on file
30351513          Name on file                           Address on file
30358034          Name on file                           Address on file
29944083          STALWART HOMESTYLES                    D‐11 & 12, SEC‐33, INFOCITY PHASE‐2   GURGAON                                                                              HARYANA                            122001          INDIA
29944084          Name on file                           Address on file
30211499          STAMPENDOUS INC                        1122 N KRAEMER PL                                                                                                          ANAHEIM               CA           92806
30343874          Name on file                           Address on file
29944085          STAN POOLE                             Address on file
30210586          STAN ROSENZWEIG                        Address on file
30396037          Name on file                           Address on file
29944086          Name on file                           Address on file
30414806          Name on file                           Address on file
30414338          Name on file                           Address on file
30334597          Name on file                           Address on file
30349435          Name on file                           Address on file
30349434          Name on file                           Address on file
29944087          STANISLAUS COUNTY TAX COLLECTOR        PO BOX 859                                                                                                                 MODESTO               CA           95353
                  STANISLAUS COUNTY, CA COUNTY CONSUMER
30208024          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION    CONSUMER PROTECTION UNIT        832 12TH ST                    STE 300               MODESTO               CA           95354
30353719          Name on file                           Address on file
30399792          Name on file                           Address on file
29944089          STANLEY ALARM SYSTEM                   DBA SOLUCIENT SECURITY SYSYEMS        PO BOX 30516 DEPT 9514                                                               LANSING               MI           48909
29944091          STANLEY ROSENZWEIG                     Address on file
30393189          Name on file                           Address on file
30349266          Name on file                           Address on file
30262980          Name on file                           Address on file
30401768          Name on file                           Address on file
30225135          Name on file                           Address on file
29949664          STAR INSURANCE COMPANY                 250 PARK AVENUE                       15TH FLOOR                                                                           NEW YORK              NY           10177
29949665          STAR V PARTNERS LLC                    1500 BROADWAY                         SUITE 704                                                                            NEW YORK              NY           10036
29949666          STAR V PARTNERS LLC                    3201 DANVILLE BLVD                    STE 100                                                                              ALAMO                 CA           94507
30332133          Name on file                           Address on file
30208842          STARK COUNTY DISTRICT LIBRARY          715 MARKET AVE                                                                                                             NORTH CANTON          OH           44702
30211985          STARK COUNTY DISTRICT LIBRARY          715 MARKET AVE N                                                                                                           CANTON                OH           44702
29952770          STARK COUNTY HEALTH DEPARTMENT         3951 CONVENIENCE CIRCLE                                                                                                    CANTON                OH           44718
29944097          STARK COUNTY HEALTH DEPT               3951 CONVENIENCE CIRCLE                                                                                                    CANTON                OH           44718
30208844          STARK LIBRARY                          715 MARKET AVENUE                                                                                                          NORTH CANTON          OH           44702




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30394534          Name on file                               Address on file
30351136          Name on file                               Address on file
30332539          Name on file                               Address on file
30351235          Name on file                               Address on file
29944110          STATE BOARD OF EQUALIZATION                ENVIRONMENTAL FEES DIVISION        PO BOX 942879                                                                      SACRAMENTO           CA           94279
29944111          STATE CHEMICAL MANUFACTURING               STATE INDUSTRIAL PRODUCTS          PO BOX 844284                                                                      BOSTON               MA           02284‐4284
29944112          STATE COMPTROLLER                          111 E 17TH STREET                                                                                                     AUSTIN               TX           78774
29944113          STATE CORPORATION COMMISSION               PO BOX 1197                                                                                                           RICHMOND             VA           23218‐1197
29944114          STATE DEPT OF ASSESSMENTS                  ASSESSMENTS & TAXATION             301 W PRESTON ST                                                                   BALTIMORE            MD           21201
29944116          STATE INSURE FUND NYSIF DISABILITY BENF    PO BOX 5239                                                                                                           NEW YORK             NY           10008
29944117          STATE OF ALABAMA ATTORNEY GENERAL          ATTENTION BANKRUPTCY DEPT          P.O. BOX 300152                                                                    MONTGOMERY           AL           36130‐0152
                  STATE OF ALABAMA CONSUMER PROTECTION
30207632          DIVISION                                   OFFICE OF THE ATTORNEY GENERAL     POST OFFICE BOX 300152                                                             MONTGOMERY           AL           36130
29952855          STATE OF ALABAMA TREASURERS OFFICE         UNCLAIMED PROPERTY DIVISION        100 NORTH UNION STREET, RSA                                                        MONTGOMERY           AL           36104
30192758          State of Alabama, Department of Revenue    Legal Division                     PO Box 320001                                                                      Montgomery           AL           36132‐0001
29952773          STATE OF ALASKA                            CORPORATIONS SECTION               PO BOX 110806                                                                      JUNEAU               AK           99811‐0806

29944118          STATE OF ALASKA                            DIVISION OF MEASUREMENT STAND      11900 INDUSTRY WAY, BLDG M, #2                                                     ANCHORAGE            AK           99515‐3592
30223253          STATE OF ALASKA                            PO BOX 110806                                                                                                         JUNEAU               AK           99811‐0806
29944119          STATE OF ALASKA ATTORNEY GENERAL           ATTENTION BANKRUPTCY DEPT          P.O. BOX 110300                                                                    JUNEAU               AK           99811‐0300
                  STATE OF ALASKA CONSUMER PROTECTION
30207633          UNIT                                       OFFICE OF THE ATTORNEY GENERAL     1031 W. 4TH AVE., SUITE 200                                                        ANCHORAGE            AK           99501‐5903
29944120          STATE OF ARIZONA ATTORNEY GENERAL          ATTENTION BANKRUPTCY DEPT          2005 N CENTRAL AVE                                                                 PHOENIX              AZ           85004‐2926
                  STATE OF ARIZONA CONSUMER INFORMATION      ARIZONA OFFICE OF THE ATTORNEY     400 W. CONGRESS ST. SOUTH
30207634          AND COMPLAINTS                             GENERAL‐ TUCSON                    BLDG., SUITE 315                                                                   TUCSON               AZ           85701‐1367

29944121          STATE OF ARKANSAS                          DEPT OF FINANCE & ADMINISTRATION   PO BOX 3861                                                                        LITTLE ROCK          AR           72203‐3861

29963543          STATE OF ARKANSAS                     DEPT OF FINANCE & ADMINISTRATION  PO BOX 9941                                                                              LITTLE ROCK          AR           72203‐9941
29963544          STATE OF ARKANSAS ATTORNEY GENERAL    ATTENTION BANKRUPTCY DEPT         323 CENTER ST.                    SUITE 200                                              LITTLE ROCK          AR           72201‐2610
                  STATE OF ARKANSAS CONSUMER PROTECTION ARKANSAS OFFICE OF THE ATTORNEY
30207635          DIVISION                              GENERAL                           323 CENTER ST., SUITE 200                                                                LITTLE ROCK          AR           72201
29949273          STATE OF CALIFORNIA                   ANNUAL FOREIGN CORP STATEMENT     PO BOX 944230                                                                            SACRAMENTO           CA           94244
29963545          STATE OF CALIFORNIA                   DEPT OF INDUSTRIAL RELATIONS      PO BOX 511232                                                                            LOS ANGELES          CA           90051‐3030
29963546          STATE OF CALIFORNIA ATTORNEY GENERAL  ATTENTION BANKRUPTCY DEPT         P.O. BOX 944255                                                                          SACRAMENTO           CA           94244‐2550
                  STATE OF CALIFORNIA CONSUMER          CALIFORNIA DEPARTMENT OF CONSUMER
30207636          INFORMATION DIVISION                  AFFAIRS                           1625 N. MARKET BLVD., SUITE N 112                                                        SACRAMENTO           CA           95834
                                                                                          RALPH L. CARR COLORADO JUDICIAL
29963547          STATE OF COLORADO ATTORNEY GENERAL    ATTENTION BANKRUPTCY DEPT         CENTER                            1300 BROADWAY, 10TH FLOOR                              DENVER               CO           80203
                  STATE OF COLORADO CONSUMER PROTECTION COLORADO OFFICE OF THE ATTORNEY
30207637          SECTION                               GENERAL                           1300 BROADWAY, 10TH FLOOR                                                                DENVER               CO           80203
29963548          STATE OF CONNECTICUT                  BUREAU OF ELEVATORS               450 COLUMBUS BLVD #1303                                                                  HARTFORD             CT           06103
29949275          STATE OF CONNECTICUT                  PO BOX 1869                                                                                                                HARTFORD             CT           06144‐1869

29963549          STATE OF CONNECTICUT ATTORNEY GENERAL      ATTENTION BANKRUPTCY DEPT          165 CAPITOL AVENUE                                                                 HARTFORD             CT           06106
                  STATE OF CONNECTICUT CONSUMER              DEPARTMENT OF CONSUMER
30207638          PROTECTION DIVISION                        PROTECTION                         165 CAPITOL AVE.                                                                   HARTFORD             CT           06106‐1630
29963550          STATE OF DELAWARE                          DOL DUI TRAINING TAX               PO BOX 5514                                                                        BINGHAMTON           NY           13902
29963551          STATE OF DELAWARE ATTORNEY GENERAL         ATTENTION BANKRUPTCY DEPT          CARVEL STATE OFFICE BLDG.         820 N. FRENCH ST.                                WILMINGTON           DE           19801
                  STATE OF DELAWARE CONSUMER PROTECTION
30207639          DIVISION                                   DELAWARE DEPARTMENT OF JUSTICE     CARVEL STATE OFFICE BUILDING      820 N. FRENCH ST., 5TH FLOOR                     WILMINGTON           DE           19801
30260562          State of Florida ‐ Department of Revenue   April Long                         P.O. Box 8045                                                                      Tallahassee          FL           32314‐8045
30333429          State of Florida ‐ Department of Revenue   Frederick F. Rudzik, Esq.          P.O. Box 6668                                                                      Tallahassee          FL           33314‐8045
30260561          State of Florida ‐ Department of Revenue   Frederick F. Rudzik, Esq.          P.O. Box 6668                                                                      Tallahassee          FL           32314‐6668
29963552          STATE OF FLORIDA ATTORNEY GENERAL          ATTENTION BANKRUPTCY DEPT          THE CAPITOL, PL 01                107 WEST GAINES ST                               TALLAHASSEE          FL           32399
                  STATE OF FLORIDA CONSUMER PROTECTION       FLORIDA OFFICE OF THE ATTORNEY
30207640          DIVISION                                   GENERAL                            PL‐01 THE CAPITOL                                                                  TALLAHASSEE          FL           32399‐1050
29963553          STATE OF GEORGIA ATTORNEY GENERAL          ATTENTION BANKRUPTCY DEPT          40 CAPITAL SQUARE, SW                                                              ATLANTA              GA           30334‐1300
                  STATE OF GEORGIA CONSUMER PROTECTION
30207641          DIVISION                                   STATE OF GEORGIA                   DEPARTMENT OF LAW                 40 CAPITOL SQUARE SW                             ATLANTA              GA           30334
                                                                                                                                  250 SOUTH HOTEL STREET, ROOM
29964923          STATE OF HAWAII                            UNCLAIMED PROPERTY PROGRAM         NO. 1 CAPITOL DISTRICT BUILDING   304                                              HONOLULU             HI           96813




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  ADDRESS ID                           NAME                               ADDRESS 1                          ADDRESS 2                        ADDRESS 3                        ADDRESS 4                              CITY        STATE     POSTAL CODE   COUNTRY
                  STATE OF HAWAII CONSUMER PROTECTION        HAWAII DEPARTMENT OF COMMERCE                                      LEIOPAPA A KAMEHAMEHA                  235 S. BERETANIA ST., SUITE
30207642          DIVISION                                   AND CONSUMER AFFAIRS                 OFFICE OF CONSUMER PROTECTION BUILDING                               801                           HONOLULU                HI           96813
29944122          STATE OF IDAHO ATTORNEY GENERAL            ATTENTION BANKRUPTCY DEPT            700 W. JEFFERSON STREET       P.O. BOX 83720                                                       BOISE                   ID           83720‐1000
                  STATE OF IDAHO CONSUMER PROTECTION
30207643          DIVISION                                   IDAHO ATTORNEY GENERALS OFFICE       954 W. JEFFERSON, 2ND FLOOR                                                                        BOISE                   ID           83720
29944123          STATE OF ILLINOIS ATTORNEY GENERAL         ATTENTION BANKRUPTCY DEPT            100 WEST RANDOLPH STREET                                                                           CHICAGO                 IL           60601
                                                             ILLINOIS OFFICE OF THE ATTORNEY
30207644          STATE OF ILLINOIS CONSUMER FRAUD BUREAU    GENERAL ‐CHICAGO                     100 W. RANDOLPH ST.                                                                                CHICAGO                 IL           60601
                                                                                                  INDIANA GOVERNMENT CENTER    302 W. WASHINGTON ST., 5TH
29944124          STATE OF INDIANA ATTORNEY GENERAL          ATTENTION BANKRUPTCY DEPT            SOUTH                        FLOOR                                                                 INDIANAPOLIS            IN           46204
                  STATE OF INDIANA CONSUMER PROTECTION                                            GOVERNMENT CENTER SOUTH, 5TH
30207645          DIVISION                                   OFFICE OF THE ATTORNEY GENERAL       FLOOR                        302 W. WASHINGTON ST.                                                 INDIANAPOLIS            IN           46204
29944125          STATE OF IOWA ATTORNEY GENERAL             ATTENTION BANKRUPTCY DEPT            1305 E. WALNUT STREET                                                                              DES MOINES              IA           50319
                  STATE OF IOWA CONSUMER PROTECTION
30207646          DIVISION                                   IOWA OFFICE OF THE ATTORNEY GENERAL 1305 E. WALNUT ST.                                                                                  DES MOINES              IA           50319
29944126          STATE OF IOWA TREASURER                    SALES/USE TAX PROCESSING            PO BOX 10412                                                                                        DES MOINES              IA           50306‐0462
29944127          STATE OF KANSAS ATTORNEY GENERAL           ATTENTION BANKRUPTCY DEPT           120 SW 10TH AVE., 2ND FLOOR                                                                         TOPEKA                  KS           66612‐1597
                  STATE OF KANSAS CONSUMER PROTECTION
30207647          DIVISION                                   OFFICE OF KANSAS ATTORNEY            120 S.W. 10TH ST., SUITE 430                                                                       TOPEKA                  KS           66612‐1597
29944128          STATE OF KENTUCKY ATTORNEY GENERAL         ATTENTION BANKRUPTCY DEPT            700 CAPITOL AVENUE, SUITE 118                                                                      FRANKFORT               KY           40601
                  STATE OF KENTUCKY CONSUMER PROTECTION      KENTUCKY OFFICE OF THE ATTORNEY
30207648          DIVISION                                   GENERAL                              1024 CAPITAL CENTER DR.                                                                            FRANKFORT               KY           40601
29944129          STATE OF LOUISIANA ATTORNEY GENERAL        ATTENTION BANKRUPTCY DEPT            P.O. BOX 94095                                                                                     BATON ROUGE             LA           70804‐4095
                  STATE OF LOUISIANA CONSUMER PROTECTION     LOUISIANA OFFICE OF THE ATTORNEY
30207649          SECTION                                    GENERAL                              1885 N. 3RD ST.                                                                                    BATON ROUGE             LA           70802
                                                                                                                                   BURTON M. CROSS OFFICE
29952856          STATE OF MAINE                             OFFICE OF THE STATE TREASURER        39 STATE HOUSE STATION           BUILDING, 3RD FLOOR                 111 SEWALL STREET             AUGUSTA                 ME           04333‐0039
29944130          STATE OF MAINE ATTORNEY GENERAL            ATTENTION BANKRUPTCY DEPT            6 STATE HOUSE STATION                                                                              AUGUSTA                 ME           04333‐0000
                  STATE OF MAINE CONSUMER PROTECTION         BUREAU OF CONSUMER CREDIT
30207650          DIVISION                                   PROTECTION                           35 STATE HOUSE STATION                                                                             AUGUSTA                 ME           04333
29944131          STATE OF MARYLAND ATTORNEY GENERAL         ATTENTION BANKRUPTCY DEPT            200 ST. PAUL PLACE                                                                                 BALTIMORE               MD           21202‐2202
                  STATE OF MARYLAND CONSUMER PROTECTION      MARYLAND OFFICE OF THE ATTORNEY
30207651          DIVISION                                   GENERAL                              200 SAINT PAUL PL.                                                                                 BALTIMORE               MD           21202

29954162          STATE OF MASSACHUSETTS ATTORNEY GENERAL ATTENTION BANKRUPTCY DEPT               ONE ASHBURTON PLACE                                                                                BOSTON                  MA           02108‐1698
                  STATE OF MASSACHUSETTS CONSUMER         MASSACHUSETTS OFFICE OF THE             PUBLIC INQUIRY AND ASSISTANCE
30207652          PROTECTION DIVISION                     ATTORNEY GENERAL                        CENTER                           ONE ASHBURTON PL., 18TH FLOOR                                     BOSTON                  MA           02108‐1518
29954163          STATE OF MICHIGAN                       UNCLAIMED PROPERTY DIVISION             7285 PARSONS DRIVE                                                                                 DIMONDALE               MI           48821
                                                                                                  G. MENNEN WILLIAMS BUILDING,     525 W. OTTAWA ST., P.O. BOX
29954164          STATE OF MICHIGAN ATTORNEY GENERAL         ATTENTION BANKRUPTCY DEPT            7TH FLOOR                        30212                                                             LANSING                 MI           48909‐0212
                  STATE OF MICHIGAN CONSUMER PROTECTION
30207653          DIVISION                                   OFFICE OF THE ATTORNEY GENERAL       PO BOX 30213                                                                                       LANSING                 MI           48909‐7713
29954165          STATE OF MINNESOTA ATTORNEY GENERAL        ATTENTION BANKRUPTCY DEPT            1400 BREMER TOWER                445 MINNESOTA STREET                                              ST. PAUL                MN           55101‐2131
                  STATE OF MINNESOTA CONSUMER SERVICES                                            1400 BREMER TOWER 445
30207654          DIVISION                                   OFFICE OF THE ATTORNEY GENERAL       MINNESOTA ST.                                                                                      ST. PAUL                MN           55101
                                                                                                                                   550 HIGH STREET, SUITE 1200, P.O.
29954166          STATE OF MISSISSIPPI ATTORNEY GENERAL      ATTENTION BANKRUPTCY DEPT            WALTER SILLERS BUILDING          BOX 220                                                           JACKSON                 MS           39201
                  STATE OF MISSISSIPPI CONSUMER PROTECTION   MISSISSIPPI OFFICE OF THE ATTORNEY
30207655          DIVISION                                   GENERAL                              PO BOX 22947                                                                                       JACKSON                 MS           39225‐2947
29954167          STATE OF MISSOURI ATTORNEY GENERAL         ATTENTION BANKRUPTCY DEPT            SUPREME COURT BUILDING           207 W. HIGH ST.                                                   JEFFERSON CITY          MO           65102
                  STATE OF MISSOURI CONSUMER PROTECTION
30207656          UNIT                                       MISSOURI ATTORNEY GENERAL'S OFFICE   PO BOX 899                                                                                         JEFFERSON CITY          MO           65102
29954168          STATE OF MONTANA ATTORNEY GENERAL          ATTENTION BANKRUPTCY DEPT            215 N SANDERS, THIRD FLOOR       PO BOX 201401                                                     HELENA                  MT           59620‐1401
                  STATE OF MONTANA OFFICE OF CONSUMER
30207657          PROTECTION                                 MONTANA DEPARTMENT OF JUSTICE        2225 11TH AVE. PO BOX 200151                                                                       HELENA                  MT           59620‐0151
29954169          STATE OF NEBRASKA ATTORNEY GENERAL         ATTENTION BANKRUPTCY DEPT            2115 STATE CAPITOL               2ND FL, RM 2115                                                   LINCOLN                 NE           68509‐8920
                  STATE OF NEBRASKA CONSUMER PROTECTION      NEBRASKA OFFICE OF THE ATTORNEY
30207658          DIVISION                                   GENERAL                              2115 STATE CAPITOL                                                                                 LINCOLN                 NE           68509
29954170          STATE OF NEVADA                            DEPARTMENT OF AGRICULTURE            PO BOX 844477                                                                                      LOS ANGELES             CA           90084
29954171          STATE OF NEVADA ATTORNEY GENERAL           ATTENTION BANKRUPTCY DEPT            100 NORTH CARSON STREET                                                                            CARSON CITY             NV           89701
                  STATE OF NEVADA CONSUMER PROTECTION        NEVADA DEPARTMENT OF BUSINESS AND
30207659          DIVISION                                   INDUSTRY                             FIGHT FRAUD TASK FORCE           555 E. WASHINGTON AVE.                                            LAS VEGAS               NV           89101
30225387          State of Nevada Department of Taxation     Dana M. Snow                         700 E. Warm Springs Rd.          Ste 200                                                           Las Vegas               NV           89119




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29949276          STATE OF NEVADA DEPT OF AGRICULTURE        DEPARTMENT OF AGRICULTURE         PO BOX 844477                                                                     LOS ANGELES            CA           90084
29954172          STATE OF NEW HAMPSHIRE                     DEPARTMENT OF REVENUE ADMIN       PO BOX 637                                                                        CONCORD                NH           03302‐0637

29944132          STATE OF NEW HAMPSHIRE ATTORNEY GENERAL ATTENTION BANKRUPTCY DEPT            33 CAPITOL ST.                                                                    CONCORD                NH           03301‐0000
                  STATE OF NEW HAMPSHIRE CONSUMER         NEW HAMPSHIRE OFFICE OF THE
30207660          PROTECTION AND ANTITRUST BUREAU         ATTORNEY GENERAL                     33 CAPITOL ST.                                                                    CONCORD                NH           03301
29944133          STATE OF NEW JERSEY                     DCA BFCE‐DORES                       PO BOX 663                                                                        TRENTON                NJ           08646‐0663
29949277          STATE OF NEW JERSEY                     PO BOX 490                                                                                                             AVENEL                 NJ           07001

29944134          STATE OF NEW JERSEY ATTORNEY GENERAL       BANKRUPTCY DEPARTMENT             ATTN: RJ HUGHES JUSTICE COMPLEX 25 MARKET STREET                                  TRENTON                NJ           08625‐0080

29944135          STATE OF NEW JERSEY ATTORNEY GENERAL       BANKRUPTCY DEPARTMENT             ATTN: RJ HUGHES JUSTICE COMPLEX P.O. BOX 080                                      TRENTON                NJ           08625‐0080
                  STATE OF NEW JERSEY CONSUMER AFFAIRS       DEPARTMENT OF LAW AND PUBLIC
30207661          DIVISION                                   SAFETY                            124 HALSEY ST.                                                                    NEWARK                 NJ           07102
30222478          State of New Jersey Division of Taxation   3 John Fitch Way                  P.O. Box 245                                                                      Trenton                NJ           08695‐0245

29944136          STATE OF NEW MEXICO ATTORNEY GENERAL       ATTENTION BANKRUPTCY DEPT         P.O. DRAWER 1508                                                                  SANTA FE               NM           87504‐1508
                  STATE OF NEW MEXICO CONSUMER
30207662          PROTECTION DIVISION                        OFFICE OF ATTORNEY GENERAL        PO DRAWER 1508                                                                    SANTA FE               NM           87504‐1508
29944137          STATE OF NEW YORK ATTORNEY GENERAL         ATTENTION BANKRUPTCY DEPT         THE CAPITOL                                                                       ALBANY                 NY           12224
                  STATE OF NEW YORK CONSUMER PROTECTION
30207663          DIVISION                                   NEW YORK STATE DEPARTMENT OF STATE CONSUMER ASSISTANCE UNIT        99 WASHINGTON AVENUE                             ALBANY                 NY           12231
                  STATE OF NORTH CAROLINA ATTORNEY
29944138          GENERAL                                    ATTENTION BANKRUPTCY DEPT         9001 MAIL SERVICE CENTER                                                          RALEIGH                NC           27699‐9001
                  STATE OF NORTH CAROLINA CONSUMER           NORTH CAROLINA OFFICE OF THE
30207664          PROTECTION DIVISION                        ATTORNEY GENERAL                  MAIL SERVICE CENTER 9001                                                          RALEIGH                NC           27699‐9001

29944139          STATE OF NORTH DAKOTA ATTORNEY GENERAL     ATTENTION BANKRUPTCY DEPT         STATE CAPITOL                    600 E BOULEVARD AVE DEPT 125                     BISMARCK               ND           58505‐0040
                  STATE OF NORTH DAKOTA CONSUMER
30207665          PROTECTION AND ANTITRUST DIVISION          OFFICE OF THE ATTORNEY GENERAL    GATEWAY PROFESSIONAL CENTER      1720 BURLINGTON DR                               BISMARCK               ND           58504‐7736
29944140          STATE OF OHIO ATTORNEY GENERAL             ATTENTION BANKRUPTCY DEPT         30 E. BROAD ST., 14TH FLOOR                                                       COLUMBUS               OH           43215
                  STATE OF OHIO CONSUMER PROTECTION
30207666          SECTION                                    OHIO ATTORNEY GENERALS OFFICE     30 E. BROAD ST., 14TH FLOOR                                                       COLUMBUS               OH           43215‐3400
30223254          STATE OF OHIO, TREASURER                   8995 EAST MAIN STREET                                                                                               REYNOLDSBURG           OH           43068
29944141          STATE OF OKLAHOMA ATTORNEY GENERAL         ATTENTION BANKRUPTCY DEPT         313 NE 21ST STREET                                                                OKLAHOMA CITY          OK           73105
                  STATE OF OKLAHOMA CONSUMER PROTECTION
30207667          DIVISION                                   OKLAHOMA ATTORNEY GENERAL         PUBLIC PROTECTION UNIT           313 N.E. 21ST ST.                                OKLAHOMA CITY          OK           73105
29944142          STATE OF OREGON ATTORNEY GENERAL           ATTENTION BANKRUPTCY DEPT         1162 COURT STREET NE                                                              SALEM                  OR           97301
                  STATE OF OREGON FINANCIAL
30207668          FRAUD/CONSUMER PROTECTION SECTION          OREGON DEPARTMENT OF JUSTICE      1162 COURT ST., NE                                                                SALEM                  OR           97301‐4096

29944143          STATE OF PENNSYLVANIA ATTORNEY GENERAL     ATTENTION BANKRUPTCY DEPT         STRAWBERRY SQUARE                16TH FLOOR                                       HARRISBURG             PA           17120
                  STATE OF PENNSYLVANIA BUREAU OF
30207669          CONSUMER PROTECTION                        OFFICE OF THE ATTORNEY GENERAL    STRAWBERRY SQUARE, 15TH FLOOR                                                     HARRISBURG             PA           17120
29944144          STATE OF RHODE ISLAND                      DIVISION OF TAXATION              PO BOX 9706                                                                       PROVIDENCE             RI           02940‐9706

29944145          STATE OF RHODE ISLAND ATTORNEY GENERAL     ATTENTION BANKRUPTCY DEPT         150 SOUTH MAIN STREET                                                             PROVIDENCE             RI           02903‐0000
                  STATE OF RHODE ISLAND CONSUMER             RHODE ISLAND DEPARTMENT OF THE
30207670          PROTECTION UNIT                            ATTORNEY GENERAL                  150 S. MAIN ST.                                                                   PROVIDENCE             RI           20903
29952858          STATE OF RHODE ISLAND TREASURER            UNCLAIMED PROPERTY DIVISION       50 SERVICE AVENUE 2ND FLR                                                         WARWICK                RI           02886
                  STATE OF SOUTH CAROLINA ATTORNEY
29944146          GENERAL                                    ATTENTION BANKRUPTCY DEPT         P.O. BOX 11549                                                                    COLUMBIA               SC           29211‐1549
                  STATE OF SOUTH CAROLINA CONSUMER           SOUTH CAROLINA DEPARTMENT OF
30207671          PROTECTION DIVISION                        CONSUMER AFFAIRS                  PO BOX 5757                                                                       COLUMBIA               SC           29250

29944147          STATE OF SOUTH DAKOTA ATTORNEY GENERAL     ATTENTION BANKRUPTCY DEPT           1302 EAST HIGHWAY 14           SUITE 1                                          PIERRE                 SD           57501‐8501
                  STATE OF SOUTH DAKOTA CONSUMER             SOUTH DAKOTA OFFICE OF THE ATTORNEY
30207672          PROTECTION DIVISION                        GENERAL                             1302 E. HWY. 14, SUITE 3                                                        PIERRE                 SD           57501‐8503
29944148          STATE OF TENNESSEE ATTORNEY GENERAL        ATTENTION BANKRUPTCY DEPT           P.O. BOX 20207                                                                  NASHVILLE              TN           37202‐0207
                  STATE OF TENNESSEE CONSUMER AFFAIRS        TENNESSEE DEPARTMENT OF COMMERCE 500 JAMES ROBERTSON PKWY.,
30207673          DIVISION                                   AND INSURANCE                       12TH FLOOR                                                                      NASHVILLE              TN           37243‐0600
29944149          STATE OF TEXAS ATTORNEY GENERAL            ATTENTION BANKRUPTCY DEPT           CAPITOL STATION                PO BOX 12548                                     AUSTIN                 TX           78711‐2548




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                  STATE OF TEXAS CONSUMER PROTECTION
30207674          DIVISION                                  TEXAS OFFICE OF THE ATTORNEY GENERAL PO BOX 12548                                                                      AUSTIN                  TX           78711‐2548
29944150          STATE OF UTAH ATTORNEY GENERAL            ATTENTION BANKRUPTCY DEPT            PO BOX 142320                                                                     SALT LAKE CITY          UT           84114‐2320
                  STATE OF UTAH CONSUMER PROTECTION
30207675          DIVISION                                  UTAH DEPARTMENT OF COMMERCE         160 E. 300 S, 2ND FLOOR                                                            SALT LAKE CITY          UT           84114‐6704
29944151          STATE OF UTAH LABOR COMMISSION            UOSH                                160 E 300 S., PO BOX 146650                                                        SALT LAKE CITY          UT           84114

29952859          STATE OF UTAH TREASURERS OFFICE           UNCLAIMED PROPERTY‐HOLDER REPORTS                                                                                      SALT LAKE CITY          UT           84114
29944152          STATE OF VERMONT                          UNCLAIMED PROPERTY DIVISION       109 STATE ST 4TH FLR                                                                 MONTPELIER              VT           05609
29944153          STATE OF VERMONT ATTORNEY GENERAL         ATTENTION BANKRUPTCY DEPT         109 STATE ST.                                                                        MONTPELIER              VT           05609‐1001
                  STATE OF VERMONT CONSUMER PROTECTION      VERMONT OFFICE OF THE ATTORNEY
30207676          DIVISION                                  GENERAL                           CONSUMER ASSISTANCE PROGRAM 146 UNIVERSITY PL.                                       BURLINGTON              VT           05405
29944154          STATE OF VIRGINIA ATTORNEY GENERAL        ATTENTION BANKRUPTCY DEPT         900 EAST MAIN STREET                                                                 RICHMOND                VA           23219
                  STATE OF VIRGINIA CONSUMER PROTECTION     VIRGINIA OFFICE OF THE ATTORNEY
30207677          SECTION                                   GENERAL                           900 E. MAIN ST                                                                       RICHMOND                VA           23219
29944155          STATE OF WASHINGTON                       BUSINESS LICENSE SERVICE          PO BOX 34456                                                                         SEATTLE                 WA           98124‐1456
29944156          STATE OF WASHINGTON                       BUSINESS LICENSING SERVICE        PO BOX 9034                                                                          OLYMPIA                 WA           98507‐9034
                  STATE OF WASHINGTON ‐ BUSINESS LICENSE
29949279          SERVICE                                   BUSINESS LICENSE SERVICE            PO BOX 34456                                                                       SEATTLE                 WA           98124‐1456

29944157          STATE OF WASHINGTON ATTORNEY GENERAL      ATTENTION BANKRUPTCY DEPT           1125 WASHINGTON ST. SE       P.O. BOX 40100                                        OLYMPIA                 WA           98504‐0100
                  STATE OF WASHINGTON CONSUMER              WASHINGTON OFFICE OF THE ATTORNEY   PO BOX 40100 1125 WASHINGTON
30207678          PROTECTION DIVISION                       GENERAL                             ST., SE                                                                            OLYMPIA                 WA           98504‐0100
29944158          STATE OF WASHINGTON DEPT OF REVENUE       PO BOX 9034                                                                                                            OLYMPIA                 WA           98507
29952861          STATE OF WASHINGTON DEPT OF REVENUE       UNCLAIMED PROPERTY SECTION          6300 LINDERSON WAY SW                                                              TUMWATER                WA           98501

29944159          STATE OF WEST VIRGINIA ATTORNEY GENERAL   ATTENTION BANKRUPTCY DEPT           STATE CAPITOL BLDG 1 ROOM E 26                                                     CHARLESTON              WV           25305
                  STATE OF WEST VIRGINIA CONSUMER
30207679          PROTECTION DIVISION                       OFFICE OF THE ATTORNEY GENERAL      PO BOX 1789                                                                        CHARLESTON              WV           25326‐1789
                                                                                                WISCONSIN DEPARTMENT OF             STATE CAPITOL, ROOM 114 EAST, P.
29944160          STATE OF WISCONSIN ATTORNEY GENERAL       ATTENTION BANKRUPTCY DEPT           JUSTICE                             O. BOX 7857                                    MADISON                 WI           53707‐7857
                                                            WISCONSIN DEPARTMENT OF
                  STATE OF WISCONSIN CONSUMER BUREAU OF     AGRICULTURE, TRADE AND CONSUMER
30207680          CONSUMER PROTECTION                       PROTECTION                          PO BOX 8911                                                                        MADISON                 WI           53708‐8911
29949667          STATE OF WYOMING                          250 PARK AVENUE                     15TH FLOOR                                                                         NEW YORK                NY           10177
29949280          STATE OF WYOMING                          THE CAPITOL                                                                                                            CHEYENNE                WY           82002
29944161          STATE OF WYOMING ATTORNEY GENERAL         ATTENTION BANKRUPTCY DEPT           123 CAPITOL BUILDING                200 W. 24TH STREET                             CHEYENNE                WY           82002
                  STATE OF WYOMING CONSUMER PROTECTION
30207681          UNIT                                      OFFICE OF THE ATTORNEY GENERAL      123 STATE CAPITOL 200 W. 24TH ST.                                                  CHEYENNE                WY           82002
29944162          STATISTA INC                              3 WORLD TRADE CTR                   AT 175 GREENWICH ST., 36TH FL                                                      NEW YORK                NY           10007
30336309          Name on file                              Address on file
30332340          Name on file                              Address on file
30353513          Name on file                              Address on file
LC_0645           Staunton Public Library                   1 Churchville Avenue                                                                                                   Staunton                VA           24401‐3229
30211987          STAUNTON PUBLIC LIBRARY                   1 CHURCHILL AVE                                                                                                        STAUNTON                VA           24401
30341170          Stawasz‐Strotheide, Cathy                 Address on file
29944165          STAYBRIDGE SUITES                         5201 OAKHURST DR.                                                                                                      CORPUS CHRISTI          TX           78411
30346495          Name on file                              Address on file
29944167          Name on file                              Address on file
30208846          STE. GENEVIEVE COUNTY LIBRARY             21388 HWY 32                                                                                                           STE. GENEVIEVE          MO           63670
30401525          Name on file                              Address on file
29944168          Name on file                              Address on file
30350599          Name on file                              Address on file
30344337          Name on file                              Address on file
30352702          Name on file                              Address on file
29944169          STEELWORKERS PENSION TRUST                PO BOX 645483                                                                                                          PITTSBURGH              PA           15264‐5252
30349169          Name on file                              Address on file
30340207          Name on file                              Address on file
29944190          STEFANYA MCGUCKIN                         Address on file
30358272          Name on file                              Address on file
30351450          Name on file                              Address on file
30335084          Name on file                              Address on file
30397347          Name on file                              Address on file




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30353459          Name on file                             Address on file
30353601          Name on file                             Address on file
30342629          Name on file                             Address on file
30397481          Name on file                             Address on file
30415261          Name on file                             Address on file
30356926          Name on file                             Address on file
30344212          Name on file                             Address on file
30285501          Name on file                             Address on file
29963557          Name on file                             Address on file
30340952          Name on file                             Address on file
30339346          Name on file                             Address on file
30346707          Name on file                             Address on file
30397437          Name on file                             Address on file
29963560          STEPHAN VANHOLLEBEKE                     Address on file
30401729          Name on file                             Address on file
29944214          STEPHANIE BREWER                         Address on file
30212903          STEPHANIE EASTERWOOD                     Address on file
29944244          STEPHANIE ETHINGTON                      Address on file
IC_197            Stephanie Fleming                        Address on file
29944261          STEPHANIE HERRERA                        Address on file
29963567          STEPHANIE JOHNSON                        Address on file
29963574          STEPHANIE KREKLAU                        Address on file
29944285          STEPHANIE MADDEN                         Address on file
29944315          STEPHANIE PLUMMER                        Address on file
29944360          STEPHANIE TURNER                         Address on file
29963578          Name on file                             Address on file
29963580          STEPHEN D YOUNG                          Address on file
30210683          STEPHEN DE SANTIS                        Address on file
29963583          STEPHEN H HOLT                           JASPER COUNTY COLLECTOR            601 S PEARL AVE STE 107                                                           JOPLIN                MO           64801
29944389          STEPHEN LEE                              Address on file
30348072          Name on file                             Address on file
30346994          Name on file                             Address on file
29944394          STEPHENSON COUNTY TREASURER              50 W. DOUGLAS, STE 503                                                                                               FREEPORT              IL           61032
                  STEPHENSON COUNTY, IL COUNTY CONSUMER
30208025          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 15 NORTH GALENA AVE                                                               FREEPORT              IL           61032
30332589          Name on file                             Address on file
30223255          STERICYCLE ENVIRONMENT SOL INC           27727 NETWORK PLACE                                                                                                  CHICAGO               IL           60673‐1277
29944399          STERLING (THE FALLS) LP                  PO BOX 209372                                                                                                        AUSTIN                TX           78720‐9372
29944401          Name on file                             Address on file
30385921          Name on file                             Address on file
30358015          Name on file                             Address on file
29944407          STEUBEN COUNTY TREASURER                 COMMUNITY CENTER BLDG              317 S WAYNE SUITE 2K                                                              ANGOLA                IN           46703
                  STEUBEN COUNTY, IN COUNTY CONSUMER
30208026          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 5220 WEST US HIGHWAY 20                                                           ANGOLA                IN           46703
LC_0647           Steubenville & Jefferson County, Pl Of   407 S. 4Th St.                                                                                                       Steubenville          OH           43952‐2973
30394158          Name on file                             Address on file
29944423          STEVEN FORTINI                           Address on file
29963590          STEVEN HENCKEL JR                        Address on file
30212930          STEVEN KARCZEWSKI                        Address on file
29954081          Name on file                             Address on file
29944436          STEVEN WILKENS                           Address on file
30211988          STEVENS MEMORIAL LIBRARY                 20 MEMORIAL DR                                                                                                       ASHBURNHAM            MA           01430
30353911          Name on file                             Address on file
30347895          Name on file                             Address on file
30354167          Name on file                             Address on file
30335308          Name on file                             Address on file
30345624          Name on file                             Address on file
30222757          Name on file                             Address on file
30393771          Name on file                             Address on file
30332091          Name on file                             Address on file
30415839          Name on file                             Address on file
29926183          STEWART, JORDAN                          Address on file
30263451          Name on file                             Address on file




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30356337           Name on file                         Address on file
30414636           Name on file                         Address on file

30182621          Sti Global, Inc                       Amer Cunningham Co., L.P.A.         Christine M. Faranda, Esq., Partner   One Cascade Plaza, Suite 1510                 Akron                     OH           44308
29972573          STI GLOBAL, INC.                      Christine M. Faranda, Esq.          Amer Cunningham Co., L.P.A.           One Cascade Plaza, Suite 1510                 Akron                     OH           44308
30415049          Name on file                          Address on file
29944445          Name on file                          Address on file
                  STICKNEY‐FOREST VIEW PUBLIC LIBRARY
30208849          DISTRICT                              6800 W. 43RD ST.                                                                                                        STICKNEY                  IL           60402
30345013          Name on file                          Address on file
30351120          Name on file                          Address on file
30337480          Name on file                          Address on file
30350946          Name on file                          Address on file
30336311          Name on file                          Address on file
30210729          STILLWATER POWER                      411 E 3RD AVE                                                                                                           STILLWATER                OK           74074
29964943          STILLWATER POWER                      723 SOUTH LEWIS STREET                                                                                                  STILLWATER                OK           74074
30211989          STILWELL PUBLIC LIBRARY               PO BOX 72                                                                                                               NEW SHARON                IA           50207
30282702          Name on file                          Address on file
30282701          Name on file                          Address on file
30211500          STITCH & STORY                        4500 140TH AVE NORTH, SUITE 101                                                                                         CLEARWATER                FL           33762
29944449          Name on file                          Address on file
29944450          STITCHERADS NORTH AMERICA LLC         209 E SIXTH ST 2ND FLR                                                                                                  AUSTIN                    TX           78701
30348016          Name on file                          Address on file
30348017          Name on file                          Address on file
30344163          Name on file                          Address on file
30213085          STOCKBRIDGE COURTLAND CENTER, LLC     PO BOX 8130                                                                                                             BLOOMFIELD HILLS          MI           48302
30347775          Name on file                          Address on file
30398377          Name on file                          Address on file
30348062          Name on file                          Address on file
30353481          Name on file                          Address on file
30338663          Name on file                          Address on file
30347837          Name on file                          Address on file
30208851          STONE COUNTY LIBRARY                  322 W STATE HWY 248                                                                                                     GALENA                    MO           65656
29944454          Name on file                          Address on file
30415164          Name on file                          Address on file
30289686          Name on file                          Address on file
30334495          Name on file                          Address on file
29944456          STOPWATCH URGENT CARE CTRS LLC        STOPWATCH URGENT CARE               PO BOX 271291                                                                       SALT LAKE CITY            UT           84127
29944457          STORAGE SOLUTIONS INC                 910 E. 169TH STREET                                                                                                     WESTFIELD                 IN           46074
30414794          Name on file                          Address on file
30394251          Name on file                          Address on file
29944458          STORE ROOM FASTENERS INC              600 NORTH EASTERN BLVD                                                                                                  MONTGOMERY                AL           36117
30352910          Name on file                          Address on file
30351772          Name on file                          Address on file
30259120          Name on file                          Address on file
29944459          STORFLEX                              392 W. PULTENEY ST.                                                                                                     CORNING                   NY           14830
30256664          Name on file                          Address on file
30332201          Name on file                          Address on file
                  STORMONT, DUNDAS & GLENGARRY COUNTY
30208853          LIBRARY                               26 PITT STREET                                                                                                          CORNWALL                  ON           K6J 3P2         CANADA
29944465          Name on file                          Address on file
29944467          STOROPACK INC                         DEPT C, LOCATION 00207                                                                                                  CINCINNATI                OH           45264‐0207
                  STORY COUNTY, IA COUNTY CONSUMER
30208027          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 900 SIXTH ST                                                                         NEVADA                    IA           50201
30355844          Name on file                          Address on file
29972765          Name on file                          Address on file
30401504          Name on file                          Address on file
30259731          Name on file                          Address on file
LC_0650           Stoughton Public Library              304 S. 4Th St.                                                                                                          Stoughton                 WI           53589‐2102
29944469          Name on file                          Address on file
30208858          STOUGHTON PUBLIC LIBRARY              304 SOUTH 4TH STREET                                                                                                    STOUGHTON                 WI           53589
30340130          Name on file                          Address on file
30340129          Name on file                          Address on file




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29944470          STOW HOTEL ASSOCIATES LLC ‐ HAMPTON INN   4331 LAKEPOINTE CORPORATE DR                                                                                           STOW                      OH           44224
29944472          STOW INCOME TAX DEPARTMENT                PO BOX 1668                                                                                                            STOW                      OH           44224‐0668
30356531          Name on file                              Address on file
29944473          Name on file                              Address on file
30208859          STOW‐MUNROE FALLS PUBLIC LIBRARY          3512 DARROW RD.                                                                                                        STOW                      OH           44224
30385260          Name on file                              Address on file
30353223          Name on file                              Address on file
29944474          Name on file                              Address on file
                  STRAFFORD COUNTY, NH COUNTY CONSUMER
30208028          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION   259 COUNTY FARM RD                                                                DOVER                     NH           03820
30335404          Name on file                              Address on file
30350844          Name on file                              Address on file
29944476          STRATA PRODUCTS LTD                       PLYMOUTH AVENUE                      PINXTON                                                                           NOTTINGHAMSHIRE                        NG16 6NS        UNITED KINGDOM
29944477          STRATEGIC SECURITY SERVICES TX, LLC       7801 N. LAMAR BLVD., STE D92                                                                                           AUSTIN                    TX           78752
30211992          STRATFORD LIBRARY ASSOCIATION             2203 MAIN ST                                                                                                           STRATFORD                 CT           06615
30208861          STRATFORD PUBLIC LIBRARY                  19 ST. ANDREW STREET                                                                                                   STRATFORD                 ON           N5A 1A2         CANADA
29944480          Name on file                              Address on file
30208862          STRATHCONA COUNTY LIBRARY                 401 FESTIVAL LANE                                                                                                      SHERWOOD PARK             AB           T8A 5T8         CANADA
30347883          Name on file                              Address on file
29944481          STRATUS UNLIMITED LLC                     STRATUS                              8959 TYLER BLVD.                                                                  MENTOR                    OH           44060
30335318          Name on file                              Address on file
30273809          Name on file                              Address on file
29944483          Name on file                              Address on file
30414618          Name on file                              Address on file
30332757          Name on file                              Address on file
30353437          Name on file                              Address on file
30358102          Name on file                              Address on file
30336874          Name on file                              Address on file
30416356          Name on file                              Address on file
30223257          STRIPE INC                                354 OYSTER POINT BLVD.                                                                                                 SOUTH SAN FRANCISCO       CA           94080
29944484          STROTHER & HERRINE                        DBA TRI‐STATE SAFETY                 PO BOX 4096                                                                       OPELIKA                   AL           36803
30354193          Name on file                              Address on file
30351132          Name on file                              Address on file
30401051          Name on file                              Address on file
30398245          Name on file                              Address on file
30334270          Name on file                              Address on file
30358106          Name on file                              Address on file
29944485          STUART BURROS                             Address on file
30277838          Name on file                              Address on file
30347875          Name on file                              Address on file
30224211          Name on file                              Address on file
29944488          STUDIO DESIGNS INC                        6027 BANDINI BLVD                                                                                                      COMMERCE                  CA           90040
30211501          STUDIO SETTE SRL                          VIA BINASCO 4                        VA                                                                                BUSTO ARSIZIO                          21052           ITALY
30345538          Name on file                              Address on file
30397315          Name on file                              Address on file
30414307          Name on file                              Address on file
30340759          Name on file                              Address on file
30397319          Name on file                              Address on file
29953823          STUTTERING ASSOC. FOR THE YOUNG           SAY                                  247 WEST 37TH ST.                 5TH FL.                                         NEW YORK                  NY           10018
29953825          Name on file                              Address on file
29953826          STYLUS MEDIA GROUP LTD                    ACCOUNTS RECEIVABLE                  PO BOX 841973                                                                     BOSTON                    MA           02284
30414747          Name on file                              Address on file
29953829          SUAVE GLOBAL LLC                          1726 25TH AVENUE                                                                                                       NASHVILLE                 TN           37208
29953830          Name on file                              Address on file
30212000          SUBURBAN LIBRARY COOPERATIVE              44750 DELCO BLVD                                                                                                       STERLING HEIGHTS          MI           48313
29953833          SUBURBAN NATURAL GAS COMPANY              PO BOX 183035                                                                                                          COLUMBUS                  OH           43218‐3035

29944490          SUBURBAN PLAZA, LLC                       C/O SELIG ENTERPRISES, INC.          ATTN: KENNETH J. CLAYMAN, ESQ.    1100 SPRING STREET NW, SUITE 550                ATLANTA                   GA           30309

30210961          SUBURBAN PLAZA, LLC                       C/O SELIG ENTERPRISES, INC.          ATTN: KENNETH J. CLAYMAN, ESQ.                                                    ATLANTA                   GA           30309
29944492          SUBURBAN PROPANE‐2106                     PO BOX 160                                                                                                             WHIPPANY                  NJ           07981‐0160
30213426          SUBURBAN REALTY JOINT VENTURE             C/O KEYSTONE REAL ESTATE GROUP       431 SCIENCE PARK RD., SUITE 301                                                   STATE COLLEGE             PA           16803




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30211502          SUCCESSFACTORS INC                    1 TOWER PLACE, STE 1100                                                                                                  SOUTH SAN FRANCISCO    CA           94080

30213384          SUEMAR REALTY INC.                    ATTN: ROB ARMSTRONG                27476 HOLIDAY LANE, PO BOX 670                                                        PERRYSBURG             OH           43552
29944509          SUFFOLK COUNTY WATER AUTHORITY ‐ NY   PO BOX 9044                                                                                                              HICKSVILLE             NY           11802‐9044
                  SUFFOLK COUNTY, NY COUNTY CONSUMER
30208029          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION P.O. BOX 6100                                                                         HAUPPAUGE              NY           11788
30212001          SUGAR GROVE PUBLIC LIBRARY DISTRICT   125 SOUTH MUNICIPAL DRIVE                                                                                                SUGAR GROVE            IL           60554
29944512          Name on file                          Address on file
                                                                                           7315 WISCONSIN AVENUE, SUITE
30213545          SUGARLAND PLAZA LP                    C/O COMBINED PROPERTIES, INC.      1000 WEST                                                                             BETHESDA               MD           20814
29944516          Name on file                          Address on file
30357384          Name on file                          Address on file
30260222          Sulky of America, Inc.                Taylor English Duma LLP            John K. Rezac ‐ Attorney         1600 Parkwood Circle          Ste. 200               Atlanta                GA           30339
29963603          SULLIVAN CONSOLIDATION INC            PO BOX 1964                                                                                                              WESTFIELD              MA           01086
29963604          SULLIVAN COUNTY CLERK                 3258 HWY 126 #101                                                                                                        BLOUNTVILLE            TN           37617
30208863          SULLIVAN COUNTY PUBLIC LIBRARY        100 S. CROWDER ST                                                                                                        SULLIVAN               IN           47882
                  SULLIVAN COUNTY, TN COUNTY CONSUMER
30208030          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION 3411 HWY 126                                                                          BLOUNTVILLE            TN           37617
30336653          Name on file                          Address on file
30335181          Name on file                          Address on file
30393171          Name on file                          Address on file
30349441          Name on file                          Address on file
30344238          Name on file                          Address on file
30416552          Name on file                          Address on file
29963607          SULPHUR SPRINGS VALLEY ELEC COOP      311 E WILCOX DR                                                                                                          SIERRA VISTA           AZ           85635‐2527
30353069          Name on file                          Address on file
30340396          Name on file                          Address on file
29944558          SUMMERFORD PALLET CO INC              353 ASHFORD INDUSTRIAL DR                                                                                                ASHFORD                AL           36312
30340456          Name on file                          Address on file
30397393          Name on file                          Address on file
29944559          Name on file                          Address on file
29944561          SUMMERVILLE CPW                       PO BOX 63070                                                                                                             CHARLOTTE              NC           28263‐3070
29944562          SUMMIT COUNTY FISCAL OFFICE           175 S. MAIN STREET                                                                                                       AKRON                  OH           44308
30208864          SUMMIT COUNTY LIBRARY                 0037 PEAK ONE DRIVE                                                                                                      FRISCO                 CO           80443
29944563          Name on file                          Address on file
29944564          SUMMIT COUNTY TREASURER               175 SOUTH MAIN STREET                                                                                                    AKRON                  OH           44308
                  SUMMIT COUNTY, OH COUNTY CONSUMER
30208031          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION OHIO BUILDING ‐ 8TH FLOOR        175 SOUTH MAIN STREET                                AKRON                  OH           44308
29944565          SUMMIT FIRE & SECURITY LLC            PO BOX 855227                                                                                                            MINNEAPOLIS            MN           55485‐5227
30212004          SUMMIT FREE PUBLIC LIBRARY            75 MAPLE STREET                                                                                                          SUMMIT                 NJ           07901
29944568          SUMMIT NATURAL GAS OF MAINE INC       PO BOX 77207                                                                                                             MINNEAPOLIS            MN           55480‐7200
30292690          Summit Towne Centre, Inc.             2540 Village Common Drive                                                                                                Erie                   PA           16506
30213613          SUMMIT TOWNE CENTRE, INC.             C/O BALDWIN BROTHERS, INC.         2540 VILLAGE COMMON DRIVE                                                             ERIE                   PA           16506‐7202
29944572          SUMMIT TOWNSHIP, PA‐SEWER AUTHORITY   8890 OLD FRENCH ROAD                                                                                                     ERIE                   PA           16509‐5459
29944574          SUMMIT UTILITIES ARKANSAS INC         PO BOX 676344                                                                                                            DALLAS                 TX           75267‐6344
29944576          SUMMIT UTILITIES OKLAHOMA INC         PO BOX 676357                                                                                                            DALLAS                 TX           75267‐6357
30338846          Name on file                          Address on file
30395422          Name on file                          Address on file
30210702          SUMTER ELECTRIC COOPERATIVE, INC.     1130 MAIN ST                                                                                                             FORT MYERS             FL           33931
29964944          SUMTER ELECTRIC COOPERATIVE, INC.     330 SOUTH U.S. HIGHWAY 301                                                                                               SUMTERVILLE            FL           33585
30223258          SUN CO LTD                            NO 4 LANE 4 YERSIN STREET                                                                                                HANOI                                               VIETNAM
29944579          SUN LAKES PLAZA ASSOCIATES            1161 MEADOWBROOK ROAD                                                                                                    MERRICK                NY           11566
29944580          SUN LIFE ASSURANCE CO OF CANADA       PO BOX 843201                                                                                                            KANSAS CITY            MO           64184‐3201
30213160          SUNBEAM DEVELOPMENT CORPORATION       1401 79TH STREET CAUSEWAY                                                                                                MIAMI                  FL           33141
29944583          SUNBELT PAPER & PACKAGING INC         PO BOX 521                                                                                                               SAGINAW                AL           35137
29944585          SUNBELT RENTALS INC                   PO BOX 409211                                                                                                            ATLANTA                GA           30384‐9211
30342489          Name on file                          Address on file
30353659          Name on file                          Address on file
30351032          Name on file                          Address on file
30212912          SUNG KIM                              Address on file
30213203          SUNMARK PROPERTY, LLC                 3808 GRAND AVENUE, SUITE B                                                                                               CHINO                  CA           91710
29944591          SUNNY DAYS ENTERTAINMENT LLC          433 SOUTH EAST MAIN STREET, STE A                                                                                        SIMPSONVILLE           SC           29681
30211504          SUNNY DAYS ENTERTAINMENT, LLC         43 CHUANGYE FIRST ROAD                                                                                                   DONGGUAN                            523562          CHINA




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29944592          SUNNY DAYS ENTERTAINMENT, LLC       433 SE MAIN STREET, SUITE A                                                                                                SIMPSONVILLE                  SC           29681
30212007          SUNNYVALE PUBLIC LIBRARY            665 W OLIVE AVE                                                                                                            SUNNYVALE                     CA           94086

30213340          SUNSET‐RIVER, LLC                   C/O DICKERHOOF PROPERTIES           777 NE SECOND STREET, SUITE 200                                                        CORVALLIS                     OR           97330
30289610          SunYin (HK) Holding Limited         Attn: Brandon Grether               Unit A 25/F One Island South       2 Heung Yip Road               Wong Chuk Hang       Hong Kong                                  999077          Hong Kong
29904928          SUNYIN (HK) HOLDING LIMITED         ATTN: CHEN FENG, PRESIDENT          UNIT A 25/F ONE ISLAND SOUTH       2 HEUNG YIP ROAD                                    WONG CHUK HANGHK, HONG KONG                999077          HONG KONG
29950816          SUNYIN (HK) HOLDING LIMITED         UNIT A 25/F ONE ISLAND SOUTH        2 HEUNG YIP ROAD                                                                       WONG CHUK HANG                             999077          HONG KONG
29950817          SUPER IMPULSE USA LLC               10 CANAL STREET SUITE 300                                                                                                  BRISTOL                       PA           19007
29944596          SUPERIOR PLUS PROPANE               EARHART PROPANE                     PO BOX 1365                                                                            BUFFALO                       NY           14240‐1365
30213705          SUPPLYONE CLEVELAND INC             11 CAMPUS BLVD, SUITE 150                                                                                                  NEWTOWN SQUARE                PA           19073
29944597          SUPPLYONE CLEVELAND INC             26401 RICHMOND ROAD                                                                                                        BEDFORD HEIGHTS               OH           44146
29944598          SUPPLYONE CLEVELAND INC             PO BOX 643784                                                                                                              PITTSBURGH                    PA           15264‐3784
29944599          SUPPLYONE TAMPA BAY INC             PO BOX 74007651                                                                                                            CHICAGO                       IL           60674‐7651
29944600          Name on file                        Address on file

30211505          SUPREME LIFESTYLE PVT LTD           3 MARINA HOUSE 5 NEW MARINE LINES   Z05                                                                                    MUMBAI                                     400020          INDIA
29944602          SURE FIRE GROUP LLC                 3315 N. RIDGE RD. E., UNIT #700                                                                                            ASHTABULA                     OH           44004
30291382          Surge Staffing, LLC                 Robert C. Whipple                   4 Easton Oval                                                                          Columbus                      OH           43219
29944606          Name on file                        Address on file
30212008          SURPRISE PUBLIC LIBRARY SYSTEM      16089 N BULLARD AVE                                                                                                        SURPRISE                      AZ           85374
30344444          Name on file                        Address on file
LC_0659           Surrey Libraries                    7155 187A Street                                                                                                           Surrey                        BC           V3T 4B8         Canada
30208868          SURREY LIBRARIES                    10350 UNIVERSITY DRIVE                                                                                                     SURREY                        BC           V3T 4B8         CANADA
30208869          SUSAN BARRETT ANDERSON              Address on file
30208871          SUSAN BEAL                          Address on file
29944619          SUSAN CARTER                        Address on file
IC_196            SUSAN CONNOR BEAL                   Address on file
29944637          SUSAN DICK                          Address on file
29944644          SUSAN E CUDWORTH                    Address on file
29944649          SUSAN FIORI                         Address on file
29944653          SUSAN G KOMEN BREAST CANCER FOUND   ATT: SABRINA WATKINS                13770 NOEL RD., STE. 801889                                                            DALLAS                        TX           75380
29944669          SUSAN JESSICK                       Address on file
30223259          SUSAN KNUEVEN                       Address on file
29963661          SUSAN MOORE‐LALONDE                 Address on file
29944697          SUSAN NISHIMURA‐SIMMONS             Address on file
29944725          SUSAN QUIROGA                       Address on file
29963672          SUSAN SHACKLETON                    Address on file
29944747          SUSAN SMITH                         Address on file
29944775          Name on file                        Address on file
29944805          Name on file                        Address on file

29944806          SUSO 4 FOREST LP                    C/O SLATE ASSET MANAGEMENT, L.P.    121 KING STREET WEST, SUITE 200    121 KING ST W, SUITE 200                            TORONTO                       ON           M5H 3T9         CANADA

30210928          SUSO 4 FOREST LP                    C/O SLATE ASSET MANAGEMENT, L.P.    121 KING STREET WEST, SUITE 200                                                        TORONTO                       ON           M5H 3T9         CANADA

30213470          SUSO 5 NORTHLAKE LP                 C/O DLC MANAGEMENT CORPORATION      565 TAXTER RD., SUITE 400                                                              ELMSFORD                      NY           10523

29944812          SUTEX SAS                           C/O #605685                         CALLE 80 KM 1.7 ENTRADA PARQUE                                                         COTA                                       250010          COLOMBIA
30401459          Name on file                        Address on file
29954337          SUTTER COUNTY                       ENVIRONMENTAL HEALTH SERVICES       1130 CIVIC CENTER BLVD                                                                 YUBA CITY                     CA           95993
29954338          Name on file                        Address on file
29954339          SUTTER COUNTY TAX COLLECTOR         PO BOX 546                                                                                                                 YUBA CITY                     CA           95992‐0546
29949284          SUTTER COUNTY WEIGHTS & MEASURERS   ENVIRONMENTAL HEALTH SERVICES       1130 CIVIC CENTER BLVD                                                                 YUBA CITY                     CA           95993
                  SUTTER COUNTY, CA COUNTY CONSUMER
30208032          PROTECTION AGENCY                   ATTN: CONSUMER PROTECTION DIVISION 1160 CIVIC CENTER BLVD              STE A111                                            YUBA CITY                     CA           95993
29954340          SUTTER HOTEL GROUP LLC              BEST WESTERN YUBA CITY INN         894 W. ONSTOTT FRONTAGE RD                                                              YUBA CITY                     CA           95991
30338842          Name on file                        Address on file
30346657          Name on file                        Address on file
30212009          SUTTON FREE PUBLIC LIBRARY          PO BOX 544                                                                                                                 SUTTON                        MA           01590
30263141          Name on file                        Address on file
30282976          Name on file                        Address on file
30340637          Name on file                        Address on file
30340323          Name on file                        Address on file




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                                                                                                                       Master Mailing First Class Mail Service List
                                                                                                                                   Served via first class mail


  ADDRESS ID                           NAME                            ADDRESS 1                         ADDRESS 2                             ADDRESS 3                 ADDRESS 4                      CITY           STATE     POSTAL CODE          COUNTRY
29944818          SUZANNE CHEEK                       C/O ASHWORTH LAW OFFICE                ATTN: JAMES C. ASHWORTH               725 MAIN STREET, SUITE 230                         WOODLAND                    CA           95695
29963677          SUZANNE DRAPER                      Address on file
29944827          SUZANNE MCGURK                      Address on file
30223260          SUZANNE SMITHSON                    Address on file
30213148          SVAP FAIRFAX, LLC                   C/O STERLING RETAIL SERVICES, INC.     302 DATURA ST., SUITE 100                                                                WEST PALM BEACH             FL           33401
30213089          SVAP III CORAL LANDINGS, LLC        C/O STERLING RETAIL SERVICES, INC.     302 DATURA STREET, SUITE 100                                                             WEST PALM BEACH             FL           33401
30213199          SVAP IV PRESIDENTIAL, LLC           C/O STERLING RETAIL SERVICES, INC.     302 DATURA ST., SUITE 100                                                                WEST PALM BEACH             FL           33401
30393183          Name on file                        Address on file
30394654          Name on file                        Address on file
30394719          Name on file                        Address on file
30385156          Name on file                        Address on file
30213415          SVM ‐ 10108887, LLC                 KEYBANK REAL ESTATE                    8115 PRESTON ROAD, SUITE 800                                                             DALLAS                      TX           75225
30415143          Name on file                        Address on file
29949671          SVP SEWING BRANDS LLC               20A STREET 6 VSIP INDUSTRIAL PARK      Z02                                                                                      THUAN AN DIST, BINH DUONG                                VIETNAM
30214708          SVP SEWING BRANDS LLC               300 2ND AVENUE SOUTH, SUITE 300                                                                                                 NASHVILLE                   TN           37201
30331683          SVP Sewing Brands LLC               Attn: Elizabeth Mohan                  300 2nd Avenue South                  Suite 300                                          Nashville                   TN           37201
                                                      ATTN: JASON FORCIER, CHIEF EXECUTIVE
29904926          SVP SEWING BRANDS LLC               OFFICER                                300 2ND AVE S                         STE 300                                            NASHVILLE                   TN           37201‐2311
                                                                                             ATTN: DENNIS F. DUNNE, SAMUEL
30179723          SVP SEWING BRANDS LLC               C/O MILBANK LLP                        A. KHALIL                             ANDREW C. HARMEYER            55 HUDSON YARDS      NEW YORK                    NY           10001

30179722          SVP SEWING BRANDS LLC               C/O RICHARDS, LAYTON & FINGER, P.A.    ATTN: MARK D. COLLINS                 ONE RODNEY SQUARE             920 N. KING STREET   WILMINGTON                  DE           19801
30334524          SVP Sewing Brands LLC               Jessica Tatum                          300 2nd Avenue South                  Suite 300                                          Nashville                   TN           37201
29944848          SVP SINGER HOLDINGS INC             C/O SVP WORLDWIDE LLC                  300 2ND AVE.                          SUITE 300                                          NASHVILLE                   TN           37201
30211599          SVP WORLDWIDE                       300 2ND AVE. SUITE 300                                                                                                          NASHVILLE                   TN           37201
30350084          Name on file                        Address on file
29944849          Name on file                        Address on file
30340845          Name on file                        Address on file
LC_0661           Swan Hill Regional Library          53/67 Campbell Street                                                                                                           Swan Hill, VIC                           3585            Australia
29944850          Name on file                        Address on file
30354204          Name on file                        Address on file
30399647          Name on file                        Address on file
30393588          Name on file                        Address on file
30396258          Name on file                        Address on file
30385973          Name on file                        Address on file
30333360          Name on file                        Address on file
30346671          Name on file                        Address on file
30395424          Name on file                        Address on file
30338381          Name on file                        Address on file
30333878          Name on file                        Address on file
30342666          Name on file                        Address on file
30211506          SWEET BUTTER COCO LLC               28 WINDWALKER WAY                                                                                                               TUSTIN                      CA           92782
29944852          SWEET RED POPPY LLC                 3011 S. POPLAR LANE                                                                                                             SAINT GEORGE                UT           84790
30341000          Name on file                        Address on file
30334019          Name on file                        Address on file
29944853          Name on file                        Address on file
29944854          SWEETWATER COUNTY TREASURER         80 WEST FLAMING GORGE WAY, #139                                                                                                 GREEN RIVER                 WY           82935
                  SWEETWATER COUNTY, WY COUNTY
30208033          CONSUMER PROTECTION AGENCY          ATTN: CONSUMER PROTECTION DIVISION 80 W FLAMING GORGE WAY                                                                       GREEN RIVER                 WY           82935
30399641          Name on file                        Address on file
30345519          Name on file                        Address on file
30401494          Name on file                        Address on file
30345504          Name on file                        Address on file
29944856          SWIGART LAW GROUP APC               2221 CAMINO DEL RIO S. #308                                                                                                     SAN DIEGO                   CA           92108
30336821          Name on file                        Address on file
30212675          SWISS RE                            1200 MAIN STREET                   SUITE 800                                                                                    KANSAS CITY                 MO           64105
30211507          SWISSCO LLC                         38 EAST 32ND STREET, 2ND FLOOR                                                                                                  NEW YORK                    NY           10016
                  SWLS (SOUTHWEST WISCONSIN LIBRARY
30208873          SYSTEM)                             1300 INDUSTRIAL DR                     SUITE 2                                                                                  FENNIMORE                   WI           53809

30213350          SWP WABASH PROPERTIES I, LLC        2144 S. MACARTHUR BLVD.                ATTTN: ARTHUR F. SEPPI, OWNER                                                            SPRINGFIELD                 IL           62704
                                                                                             1 N. Old State Capitol Plaza, Suite
30297379          SWP Wabash Properties I, LLC        Brian D. Jones                         200                                                                                      Springfield                 IL           62701




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  ADDRESS ID                           NAME                                ADDRESS 1                          ADDRESS 2                         ADDRESS 3                  ADDRESS 4                   CITY        STATE     POSTAL CODE        COUNTRY
30333784          SWP Wabash Properties I, LLC            Sorling Northrup                       Attn: Brian D. Jones               1 N. Old State Capitol Plaza   Suite 200           Springfield            IL           62701
30394660          Name on file                            Address on file
30341028          Name on file                            Address on file
29972763          Name on file                            Address on file
30208874          SYCAMORE PUBLIC LIBRARY                 103 E. STATE ST                                                                                                              SYCAMORE               IL           60178
29944916          SYDNEY KURZ                             Address on file
29951933          SYFELD KEENE ASSOCIATES                 165 WEST END AVE. SUITE 15M                                                                                                  NEW YORK               NY           10023
30347984          Name on file                            Address on file
29944962          SYLVIA GRDINA                           Address on file
29963702          Name on file                            Address on file
29944970          SYMBOL GIFT INC                         33 BIG HILL CRES                                                                                                             MAPLE                  ON           L6A 4S1         CANADA
30347738          Name on file                            Address on file
29944971          SYMONE AMELIA GAITHER                   Address on file
30213010          SYMONE CYRUS                            Address on file
29953857          SYMPHONY ASSET MANAGEMENT LLC           555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949672          SYMPHONY CLO XIX, LTD.                  555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949673          SYMPHONY CLO XV, LTD                    555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949674          SYMPHONY CLO XVI, LTD                   555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949675          SYMPHONY CLO XVIII, LTD                 555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949676          SYMPHONY CLO XX, LTD.                   555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949677          SYMPHONY CLO XXI, LTD                   555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949678          SYMPHONY CLO XXII, LTD                  555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949679          SYMPHONY CLO XXIII, LTD.                555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949680          SYMPHONY CLO XXIV, LTD.                 555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949681          SYMPHONY CLO XXIX LTD.                  555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949682          SYMPHONY CLO XXV, LTD.                  555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949683          SYMPHONY CLO XXVI, LTD.                 555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949684          SYMPHONY CLO XXVIII, LTD                555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949685          SYMPHONY CLO XXXI LTD.                  555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949686          SYMPHONY CLO XXXII LTD.                 555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29949687          SYMPHONY FLOATING RATE SENIOR LOAN      555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
                                                          BAY WELLINGTON TOWER, BROOKFIELD
29949688          SYMPHONY FLOATING RATE SENIOR LOAN FUND PLACE                                  SUITE 2930, BOX 793                181 BAY STREET                                     TORONTO                ON           M5J 2T3         CANADA
30211509          SYMPHONY GROUP LLC                      4183 W STREETSBORO RD STE 201                                                                                                RICHFIELD              OH           44286
29949689          SYMPHONY STATIC CLO I LTD               555 CALIFORNIA STREET                  SUITE 3100                                                                            SAN FRANCISCO          CA           94104
29944975          Name on file                            Address on file
29944977          Name on file                            Address on file
30223262          SYNAPSE RETAIL VENTURES INC             225 HIGH RIDGE RD, EAST BLDG                                                                                                 STAMFORD               CT           06905
29944978          SYNCSORT INC                            PRECISELY SOFTWARE INC                 PO BOX 911304                                                                         DALLAS                 TX           75391‐1304
30211510          SYNDICATE SYSTEMS INC                   PO BOX 198747                                                                                                                ATLANTA                GA           30384‐8747
29944979          SYNDIGO LLC                             PO BOX 734311                                                                                                                CHICAGO                IL           60673‐4311
30223263          SYNERGY TELCOM INC                      8222 INDY LANE                                                                                                               INDIANAPOLIS           IN           46214
30414663          Name on file                            Address on file
30332585          Name on file                            Address on file
30401877          Name on file                            Address on file
30358005          Name on file                            Address on file
30349391          Name on file                            Address on file
30341119          Name on file                            Address on file
29949772          T DANVILLE MALL LLC                     16600 DALLAS PKWY                                                                                                            DALLAS                 TX           75248
29944989          T DANVILLE MALL LLC                     PO BOX 209277                                                                                                                AUSTIN                 TX           78720‐9277
29944990          T DANVILLE MALL, LLC                    P.O. BOX 209277                                                                                                              AUSTIN                 TX           78720
29944991          T MESQUITE MKT WVS TX LLC               PO BOX 209277                                                                                                                AUSTIN                 TX           78720‐9277
                                                                                                 ATTN: ZOE LOPEZ, REGIONAL
30213567          T MESQUITE MKT WVS TX, LLC                   16600 DALLAS PARKWAY, SUITE 300   PROPERTY MANAGER                                                                      DALLAS                 TX           75248
30213100          T PEORIA IL, LLC                             16600 DALLAS PKWY, SUITE 300      ATTN: LEASE ADMINISTRATION                                                            DALLAS                 TX           75248
30211519          T ROWE PRICE RETIREMENT PLAN SERV            100 EAST PRATT ST                                                                                                       BALTIMORE              MD           21202
                  T SOUTHERN TIER PIL NY, LLC, T SOUTHERN TIER
30213143          NY, LLC AND                                  TSOUTHERN TIER PIT NY, LLC        16600 DALLAS PKWY, SUITE 300                                                          DALLAS                 TX           75248
29944997          Name on file                                 Address on file
29944998          T. BAILEY                                    Address on file
29944999          T. BARBER                                    Address on file
29945000          T. DONNELLY                                  Address on file
29945001          T. HANNAH                                    Address on file




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                                                                                                                            Served via first class mail


  ADDRESS ID                           NAME                             ADDRESS 1                   ADDRESS 2                          ADDRESS 3                 ADDRESS 4                       CITY        STATE     POSTAL CODE           COUNTRY
29945002          T. HUDSON                                Address on file
29945003          T. JAY                                   Address on file
29945004          T. KLEIN                                 Address on file
29945005          T. LEVOCI                                Address on file
29945007          T. MITCHELL                              Address on file
29945008          T. NGUYEN                                Address on file
29945009          T. POTTINGER                             Address on file
29945010          T. ROULET                                Address on file
29945011          T. SCOTT TRIANA‐DAVIE                    Address on file
29945012          T3 EXPO LLC                              8 LAKEVILLE BUSINESS PARK                                                                                         LAKEVILLE                  MA           02347
29945013          TA ASSOCIATES LLLP                       TRED AVON LLC P8100‐015‐CU     PO BOX 22647                                                                       TAMPA                      FL           33622
30217839          TA Services                              Jake Langley                   1405 8TH ST                                                                        Leeds                      AL           35094
30345502          Name on file                             Address on file
29945024          TABETHA HICKS                            Address on file
29953019          TABITHA SEWER                            Address on file
30393120          Name on file                             Address on file
30345000          Name on file                             Address on file
29945042          Name on file                             Address on file
30350882          Name on file                             Address on file
30398213          Name on file                             Address on file
30416824          Name on file                             Address on file
30414632          Name on file                             Address on file
30278074          Tag DE, LLC                              3400 West Road                                                                                                    East Lansing               MI           48823

29963710          TAG DE, LLC                              WESTLAND CENTER PARTNERSHIP    C/O GENTILOZZI PARTNERSHIP        201 N WASHINGTON SQ, SUITE 900                   LANSING                    MI           48933
30210950          TAG DE, LLC                              WESTLAND CENTER PARTNERSHIP    C/O GENTILOZZI PARTNERSHIP                                                         LANSING                    MI           48933
30350442          Name on file                             Address on file
30353441          Name on file                             Address on file
30342493          Name on file                             Address on file
29963721          Name on file                             Address on file
30206852          Taizhou Sunup Tech Co., Ltd              5#Hengxing Road                                                                                                   Taizhou, Zhejiang                       318020          China
30334671          Name on file                             Address on file
30334237          Name on file                             Address on file
30353485          Name on file                             Address on file
30345254          Name on file                             Address on file
30343929          Name on file                             Address on file
30392962          Name on file                             Address on file
29945082          TALENT.COM USA INC                       PO BOX 95538                                                                                                      CHICAGO                    IL           60694‐5538

29945091          TALLAPOOSA RIVER ELECTRIC COOPERATIVE    P.O. BOX 675                                                                                                      LAFAYETTE                  AL           36862
30262426          Name on file                             Address on file
30211521          TALX UCM SERV                            DBA TALX UC EXPRESS            4076 PAYSPHERE CIRCLE                                                              CHICAGO                    IL           60674
29945097          TAM HOTARD                               Address on file
30213048          TAM PARTNERS, LP                         C/O WOLFE & ASSOCIATES         104 TIBURON BLVD., SUITE 100                                                       MILL VALLEY                CA           94941
29945104          TAMAR MOGENDORFF                         Address on file
29945116          TAMARA FRILEY                            Address on file
29945119          TAMARA GROGAN                            Address on file
                                                                                          3500 AMERICAN BOULEVARD W.,
30210894          TAMARACK VILLAGE SHOPPING CENTER, L.P.   C/O CUSHMAN & WAKEFIELD        SUITE 200                                                                          MINNEAPOLIS                MN           55431
                                                                                                                            3500 AMERICAN BOULEVARD W.,
29945128          TAMARACK VILLAGE SHOPPING CENTER, L.P.   C/O CUSHMAN & WAKEFIELD        ATTN: JAMIE SWANSON, GM           SUITE 200                                        MINNEAPOLIS                MN           55431
29951820          TAMBRA CARR                              Address on file
30213656          TAMBURRO PROPERTIES II, LLC              ATTN: ROBERT J. TAMBURRO, PA   401 SUNSHINE BLVD.                                                                 LADY LAKE                  FL           32159
29945133          TAMERA BERDINE                           Address on file
29945143          TAMIRA HOLLY                             Address on file
29945144          TAMISHA ANTHONY                          Address on file
29945177          TAMMY MERECKA                            Address on file
30210889          TAMPA PALMS SHOPPING PLAZA, LLC          820 MORRIS TURNPIKE            ATTN: DIRECTOR OF LEASING                                                          SHORT HILLS                NJ           07078
30295428          Tampa Palms Shopping Plaza, LLC          820 Morris Turnpike                                                                                               Short Hills                NJ           07078
29963787          TAMPA PALMS SHOPPING PLAZA, LLC          ATTN: DIRECTOR OF LEASING      ATTN: MICHAEL GARTENBERG          820 MORRIS TURNPIKE                              SHORT HILLS                NJ           07078
30416454          Tampa Palms Shopping Plaza, LLC          c/o Rubin LLC                  Attn: Paul Rubin, Esq.            11 Broadway, Suite 715                           New York                   NY           10004
                                                                                          Auth. Rep./Tampa Palms Shopping
30416455          Tampa Palms Shopping Plaza, LLC          Michael Gartenberg             Plaza, LLC                        820 Morris Turnpike                              Short Hills                NJ           07078




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                                                                                                                                 Served via first class mail


  ADDRESS ID                           NAME                               ADDRESS 1                        ADDRESS 2                         ADDRESS 3                ADDRESS 4                  CITY        STATE     POSTAL CODE        COUNTRY
29963792          TAMRA HARTMAN                              Address on file
29945198          TANA BANA DESIGN SERVICES                  85 GASTON ROAD                                                                                                       MORRISTOWN            NJ           07960
30333598          Name on file                               Address on file
30342399          Name on file                               Address on file
29945212          TANNER MORRISON                            Address on file
30342735          Name on file                               Address on file
30414743          Name on file                               Address on file
30386595          Name on file                               Address on file
29963825          TANYA MOSS                                 Address on file
30351087          Name on file                               Address on file
30339896          Name on file                               Address on file
30212011          TAPPAN FREE LIBRARY                        93 MAIN ST                                                                                                           TAPPAN                NY           10983
30208880          TAPPAN LIBRARY                             93 MAIN STREET                                                                                                       TAPPAN                NY           10983
30211523          TARA CUSTER                                Address on file
IC_090            TARA FAUGHNAN                              Address on file
29945241          TARA GIBBS                                 Address on file
30211524          TARA REED                                  Address on file
29945252          TARA ROSA                                  Address on file
29945256          TARA SMITH                                 Address on file
29945258          TARA TOY CORP                              40 ADAMS AVE                                                                                                         HAUPPAUGE             NY           11788
29945261          TARAANN DEVINE                             Address on file
29945264          TARANCE SMITH                              Address on file
30356221          Name on file                               Address on file
30263440          Name on file                               Address on file
29972752          Name on file                               Address on file
30338873          Name on file                               Address on file
29945269          TARRANT COUNTY                             PERSONAL PROPERTY TAXES             PO BOX 961018                                                                    FORT WORTH            TX           76161‐0018
                  TARRANT COUNTY, TX COUNTY CONSUMER
30208034          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 100 E WEATHERFORD                                                                 FORT WORTH            TX           76198
30346493          Name on file                               Address on file
29945272          TARRON SANFORD                             Address on file
LC_0664           Tasman District Council                    189 Queen Street                                                                                                     Richmond                           7050            New Zealand
30208882          TASMAN DISTRICT COUNCIL                    280 QUEEN STREET                   PRIVATE BAG 3                                                                     RICHMOND                                           NEW ZEALAND
29952873          Name on file                               Address on file
30208883          TASMAN DISTRICT LIBRARIES                  PRIVATE BAG 3                                                                                                        RICHMOND                           7050            NEW ZEALAND
30278819          Tata Consultancy Services Limited          Attn: Finance                      379 Thornall Street              4th Floor                                        Edison                NJ           08837
29945305          Name on file                               Address on file
30346711          Name on file                               Address on file

29945322          TAUNTON MUNI LIGHTING PLANT (TMLP) ‐ 870   PO BOX 870                                                                                                           TAUNTON               MA           02780‐0870
30208884          TAVARES PUBLIC LIBRARY                     314 N. NEW HAMPSHIRE AVE.                                                                                            TAVARES               FL           32778
30332141          Name on file                               Address on file
29945341          TAX ADVISORS GROUP LLC                     12400 COIT RD., STE. 960                                                                                             DALLAS                TX           75251
29945342          TAX ASSESSOR COLLECTOR                     PO BOX 2992                                                                                                          EL PASO               TX           79999
29945343          TAX ASSESSOR COLLECTOR                     PO BOX 9514                                                                                                          AMARILLO              TX           79105‐9514
29952557          TAX COLLECTOR                              MULTNOMAH COUNTY                    PO BOX 2716                                                                      PORTLAND              OR           97208‐2716
29945344          TAX COLLECTOR                              PINELLAS COUNTY                     PO BOX 1729                                                                      CLEARWATER            FL           34617‐1729
29952558          TAX COLLECTOR                              PO BOX 1358                                                                                                          SARASOTA              FL           34230
29952560          TAX COLLECTOR                              POLK COUNTY                         PO BOX 1189                                                                      BARTOW                FL           33830
29952559          TAX COLLECTOR                              YAMHILL COUNTY COURTHOUSE           535 NE 5TH ST, ROOM 42                                                           MCMINNVILLE           OR           97128
29952561          TAX COLLECTOR ‐ LEON COUNTY                PO BOX 1835                                                                                                          TALLAHASSEE           FL           32302
29952562          TAX COLLECTOR ‐ PARISH OF ST. TAMMANY      PO BOX 61041                                                                                                         NEW ORLEANS           LA           70161‐1041
29952563          TAX COLLECTOR BAY COUNTY                   PO BOX 2285                                                                                                          PANAMA CITY           FL           32402‐2285
29952564          TAX COLLECTOR MARIN COUNTY                 ADMINISTRATION BLDG CIVIC CTR       PO BOX 4220                                                                      SAN RAFAEL            CA           94913‐4220
29952565          TAX COLLECTOR POLK COUNTY                  OCCUPATIONAL LICENSE                PO BOX 2016                                                                      BARTOW                FL           33830
29952566          TAX COLLECTOR SANTA CLARA CNTY             COUNTY GOVT CENTER EAST WING        70 W HEDDING STREET                                                              SAN JOSE              CA           95110‐1767
29952567          TAX COLLECTOR SEMINOLE COUNTY              PO BOX 630                                                                                                           SANFORD               FL           32772‐0630
29952568          TAX COLLECTOR‐BREVARD                      400 SOUTH STREET 6TH FLOOR                                                                                           TITUSVILLE            FL           32780

29945345          TAX COLLECTOR‐DUVAL COUNTY                 AD VALOREM TAXES                    231 E FORSYTH STREET ROOM 130                                                    JACKSONVILLE          FL           32202
29945346          TAX COMPLIANCE INC                         13500 EVENING CREEK DR N. #500                                                                                       SAN DIEGO             CA           92128‐8125
29945347          TAX TRUST ACCOUNT                          SALES TAX DIVISION                  PO BOX 830725                                                                    BIRMINGHAM            AL           35283‐0725
29945348          TAXATION & REVENUE NEW MEXICO              1200 SOUTH FT. FRANCIS DRIVE                                                                                         SANTA FE              NM           87505




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29945351          Name on file                               Address on file
29945356          Name on file                               Address on file
29945389          Name on file                               Address on file
29945390          TAYLOR COUNTY OCC TAX OFFICE               203 NORTH COURT ST.                SUITE 10                                                                            CAMPBELLSVILLE           KY           42718
30212012          TAYLOR COUNTY PUBLIC LIBRARY               1316 EAST BROADWAY STREET                                                                                              CAMPBELLSVILLE           KY           42718
29945392          TAYLOR COUNTY SHERIFF                      203 NORTH COURT ST                                                                                                     CAMPBELLSVILLE           KY           42718
                  TAYLOR COUNTY, TX COUNTY CONSUMER
30208035          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 400 OAK ST                                                                          ABILENE                  TX           79602
29945403          TAYLOR DEWS                                Address on file
29945409          TAYLOR ELECTRIC & CONTROL SERVICES         3733 MEADOW HILLS CT.                                                                                                  BAKERSFIELD              CA           93308
29945413          TAYLOR FIGUEROA                            Address on file
29963851          TAYLOR HALFHILL                            Address on file
29945428          Name on file                               Address on file
                  TAYLOR OSWALD, LLC AND AFFILIATED
30210639          COMPANIES                                  1100 SUPERIOR AVE.                                                                                                     CLEVELAND                OH           44114
                                                                                                ATTN: LEGAL DEPARTMENT/
29945454          TAYLOR SQUARE OWNER LLC                    C/O CASTO                          LEASING                            250 CIVIC CENTER DRIVE, SUITE 500                COLUMBUS                 OH           43215
                                                                                                ATTN: LEGAL DEPARTMENT/
30210900          TAYLOR SQUARE OWNER LLC                    C/O CASTO                          LEASING                                                                             COLUMBUS                 OH           43215
29945455          TAYLOR SQUARE OWNER LLC                    L‐3784                                                                                                                 COLUMBUS                 OH           43260
IC_091            TAYLOR WATSON                              Address on file
30414788          Name on file                               Address on file
30333869          Name on file                               Address on file
30355297          Name on file                               Address on file
30416651          Name on file                               Address on file
30401421          Name on file                               Address on file
30338940          Name on file                               Address on file
30357845          Name on file                               Address on file
30348838          Name on file                               Address on file
30399991          Name on file                               Address on file
30347918          Name on file                               Address on file
30386187          Name on file                               Address on file
30414553          Name on file                               Address on file
29963894          Name on file                               Address on file

29963895          TAYLORSVILLE‐BENNION IMPROVEMENT DIST      1800 4700 S                                                                                                            TAYLORSVILLE             UT           84129

29945467          TAYLORSVILLE‐BENNION IMPROVEMENT DIST      P.O. BOX 18579                                                                                                         SALT LAKE CITY           UT           84118‐8579
30211525          TAZMANIAN FREIGHT SYSTEMS INC              PO BOX 74008270                                                                                                        CHICAGO                  IL           60674‐8270
29945472          TBF GROUP SUTTERS CREEK LLC                175 GREAT NECK RD., STE . 201                                                                                          GREAT NECK               NY           11021
30213357          TBF GROUP SUTTERS CREEK, LLC               175 GREAT NECK ROAD, SUITE 201     ATTN: DANIEL, PROPERTY MGR.                                                         GREAT NECK               NY           11021
30211526          TCG                                        C/O REGAL WAREHOUSE                6500 26TH ST E                                                                      FIFE                     WA           98424
29945474          TCG HUNTSVILLE PLAZA HOLDINGS LLC          C/O MIDLAND LOAN SERVICES          PO BOX 826005                                                                       PHILADELPHIA             PA           19182‐6005
29945475          TCI TRANSPORTATION SERVICES INC            DEPT LA 25081                                                                                                          PASADENA                 CA           91185‐5081
29949690          TCI‐SYMPHONY CLO 2016‐1 LTD.               555 CALIFORNIA STREET              SUITE 3100                                                                          SAN FRANCISCO            CA           94104
29949691          TCI‐SYMPHONY CLO 2017‐1 LTD.               555 CALIFORNIA STREET              SUITE 3100                                                                          SAN FRANCISCO            CA           94104
30223264          TD BANK, N.A.                              2035 LIMESTONE ROAD                                                                                                    WILMINGTON               DE           19808
29945476          TDS                                        186 PATERSON AVE                   STE 201                                                                             EAST RUTHERFORD          NJ           07073
                  TDS (TRAVERSE DES SIOUX REGIONAL LIBRARY
30208885          SYSTEM)                                    1400 MADISON AVENUE                SUITE 610                                                                           MANKATO                  MN           56001
29945477          TDX COMPANIES LLC                          DBA TDX TECH                       PO BOX 1575 #177                                                                    MINNEAPOLIS              MN           55480‐1575
29945483          TEAGAN STAGER                              Address on file
29945487          Name on file                               Address on file
29945497          Name on file                               Address on file
29963897          TECO TAMPA ELECTRIC COMPANY                P.O. BOX 31318                                                                                                         TAMPA                    FL           33631‐3318
29963899          TECO: PEOPLES GAS                          PO BOX 31318                                                                                                           TAMPA                    FL           33631‐3318
29963900          TECTA AMER SACRAMENTO INC                  3257 FITZGERALD RD                                                                                                     RANCHO CORDOVA           CA           95742
29963901          Name on file                               Address on file

30208889          TED & GRACE BACHHUBER MEMORIAL LIBRARY     234 N. JOHN ST.                                                                                                        MAYVILLE                 WI           53050
29963903          TEDDI OVERY                                Address on file
29963905          Name on file                               Address on file
30280107          Name on file                               Address on file




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30414657           Name on file                       Address on file

29963910          TEJAS CENTER CORPORATION            1700 GEORGE BUSH DRIVE EAST STE 240                                                                                          COLLEGE STATION          TX           77840
                                                      1700 GEORGE BUSH DRIVE EAST, SUITE       ATTN: ADRIAN D. MARTINEZ, VICE
30213057          TEJAS CENTER LTD                    240                                      PRESIDENT                                                                           COLLEGE STATION          TX           77840
30340829          Name on file                        Address on file
29963914          TEKSYSTEMS GLOBAL SERV LLC          7437 RACE ROAD                                                                                                               HANOVER                  MD           21076
30340145          Name on file                        Address on file
30342749          Name on file                        Address on file
29945509          TELLERMATE INC                      3600 MANSELL ROAD, SUITE 500                                                                                                 ALPHARETTA               GA           30022
LC_0666           Temple Public Library               100 W Adams Ave                                                                                                              Temple                   TX           76501‐7644
30397249          Name on file                        Address on file
30345266          Name on file                        Address on file
30336834          Name on file                        Address on file
29963919          TEMPO DRAPERY & FABRICS             PO BOX 2604                                                                                                                  HIGH POINT               NC           27261
29963920          TEMPO FABRICS (ECOM)                PO BOX 2604                                                                                                                  HIGH POINT               NC           27261
30335565          Name on file                        Address on file
30393181          Name on file                        Address on file
30337919          Tennessee American Water            PO Box 2798                                                                                                                  Camden                   NJ           08101
30338072          Tennessee American Water            PO Box 6029                                                                                                                  Carol Stream             IL           60197
29963924          TENNESSEE AMERICAN WATER COMPANY    PO BOX 6029                                                                                                                  CAROL STREAM             IL           60197‐6029
29949287          TENNESSEE DEPARTMENT OF REVENUE     500 DEADERICK ST                                                                                                             NASHVILLE                TN           37242
                                                      500 DEADERICK STREET, ANDREW
29963925          TENNESSEE DEPARTMENT OF REVENUE     JACKSON BUILDING                                                                                                             NASHVILLE                TN           37242
30295807          Tennessee Department of Revenue     c/o Attorney General                     PO Box 20207                                                                        Nashville                TN           37202‐0207
30295808          Tennessee Department of Revenue     c/o Bankruptcy Unit                      PO Box 190665                                                                       Nashville                TN           37219‐0665
30295809          Tennessee Department of Revenue     Jaleesa Johnson                          500 Deaderick St                                                                    Nashville                TN           37242
30331421          Tennessee Department of Revenue     Jaleesa Johnson                          Revenue Collections Specialist 2   500 Deaderick St                                 Nashville                TN           37242

30295540          Tennessee Department of Revenue     Revenue Collections Specialist 2, TDOR   500 Deaderick ST                                                                    Nashville                TN           37242
29963926          TENNESSEE DEPT. OF REVENUE          ANDREW JACKSON STATE OFF. BLDG           500 DEADERICK ST                                                                    NASHVILLE                TN           37242
29949288          TENNESSEE SECRETARY OF STATE        STATE CAPITOL                                                                                                                NASHVILLE                TN           37243
29963927          TENNESSEE SECRETARY OF STATE        STATE CAPITOL                                                                                                                NASHVILLE                TN           37242
30351662          Name on file                        Address on file
30384984          Name on file                        Address on file
30414988          Name on file                        Address on file
29945529          TERESA COFFMAN                      Address on file
29963936          TERESA HARRISON                     Address on file
29945571          TERESA WILLIAMS                     Address on file
30344190          Name on file                        Address on file
29945584          TERI NEWMAN                         Address on file
30353467          Name on file                        Address on file
30397583          Name on file                        Address on file
29945598          TERRA SMITH                         Address on file
30213039          TERRACE AT FLORIDA MALL, LP         C/O FORNESS PROPERTIES, LLC              2221 LEE ROAD, SUITE 11                                                             WINTER PARK              FL           32789
                                                      C/O RETAIL OPPORTUNITY INVESTMENT        ATTN: CHIEF OPERATING OFFICER
29963972          TERRANOMICS CROSSROADS ASSOCIATES   CORPORATION                              (RICHARD SCHOEBEL)                 11250 EL CAMINO REAL, #200                       SAN DIEGO                CA           92130
                                                      C/O RETAIL OPPORTUNITY INVESTMENT        ATTN: CHIEF OPERATING OFFICER
30210907          TERRANOMICS CROSSROADS ASSOCIATES   CORPORATION                              (RICHARD SCHOEBEL)                                                                  SAN DIEGO                CA           92130
29963974          Name on file                        Address on file
30212576          TERRI BAISDEN                       Address on file
30212876          TERRI HEINDEL                       Address on file
29945616          TERRI NELSON                        Address on file
29945619          TERRI RICHEN                        Address on file
29945626          TERRI SPEGAL                        Address on file
29945637          Name on file                        Address on file
30210640          TERRY ROBERTSON                     Address on file
29945646          TERRY ROBERTSON                     Address on file
29945659          Name on file                        Address on file
30211527          Name on file                        Address on file
30208891          TETON COUNTY LIBRARY                125 VIRGINIAN LN.                                                                                                            JACKSON                  WY           83001
30385255          Name on file                        Address on file
29945692          TEX.ATHENEA, S.L.                   CTRA. CAUDETE, KM 1                                                                                                          VILLENA                               3400            SPAIN




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29945693          TEXAS COMPTROLLER OF PUBLIC ACCOUNT       UNCLAIMED PROPERTY DIVISION               111 E 17TH STREET LBJ BLDG                                                         AUSTIN                 TX           78774
30348856          Texas Comptroller Of Public Accounts      Attn: Revenue Accounting Div.             Kara K Richter                    111 E. 17th Street                               Austin                 TX           78711
                                                            Office of the Attorney General Bankruptcy
30348495          Texas Comptroller Of Public Accounts      & Collections Division                    P.O. Box 12548                    MC‐008                                           Austin                 TX           78711

29945694          TEXAS COMPTROLLER OF PUBLIC ACCOUNTS      P.O. BOX 149354                                                                                                              AUSTIN                 TX           78714‐9354
30348857          Texas Comptroller Of Public Accounts      Revenue Accounting Division               Attn: Bankruptcy                  P.O. Box 13528                                   Austin                 TX           78711
29945695          TEXAS DEPARTMENT OF REVENUE               CAPITOL STATION                           P.O. BOX 13528                                                                     AUSTIN                 TX           78711‐3528
29949291          TEXAS DEPT OF STATE HEALTH SERVICES       1100 WEST 49TH STREET                                                                                                        AUSTIN                 TX           78756
29945697          TEXAS GAS SERVICE                         PO BOX 219913                                                                                                                KANSAS CITY            MO           64121‐9913
30341135          Texas Gas Service                         PO Box 401                                                                                                                   Oklahoma City          OK           73101
29945698          TEXAS PROPERTY & CASUALTY GUARANTY        8911 North Capital of Texas Highway       Building 2, Suite 2200                                                             Austin                 TX           78759
29945699          TEXPRO CO., LIMITED                       SOFTWARE AVENUE, NANJING                  2ND FLOOR, BUILDING A;21                                                           NANJING                             210012          CHINA
29945700          TEXTILE CREATIONS INC                     1601 WHITEHORSE MERCERVILLE RD            SUITE 7                                                                            HAMILTON               NJ           08619
                                                                                                      1601 Whitehorse Mercerville Rd,
30158883          TEXTILE CREATIONS INC                     Attn: Mukesh Bhat                         Suite 7                                                                            Hamilton               NJ           08619
29945701          TEXTILE MEASURING MACHINES LLC            3441 UNION ROAD                                                                                                              SAINT LOUIS            MO           63125
29952435          TH HONEY SHOPS LLC                        10689 N. PENNSYLVANIA ST #100                                                                                                INDIANAPOLIS           IN           46280
                                                            10689 NORTH PENNSYLVANIA STREET,
30213294          TH HONEY SHOPS LLC                        SUITE 100                                 ATTN: JAY D. STEIN                                                                 INDIANAPOLIS           IN           46280
30340342          Name on file                              Address on file
29952440          THAMES & KOSMOS                           Address on file
29952444          THANKFUL AI INC                           1600 MAIN STREET                                                                                                             VENICE                 CA           90291
29945705          THANKS I MADE THEM SEW CAN YOU            2226 WESTMINSTER ST                       C/O BIANCA SPRINGER                                                                PEARLAND               TX           77581
30393559          Name on file                              Address on file
30340344          Name on file                              Address on file
30208892          THAYER GOWDY                              Address on file
IC_199            THAYER PHOTOGRAPHS INC                    1201 MARIPOSA ST                                                                                                             SAN FRANCISCO          CA           94107
30333859          Name on file                              Address on file
30332372          Name on file                              Address on file
30208893          THE ALBERTA LIBRARY                       623 7 SIR WINSTON CHURCHILL SQ NW                                                                                            EDMONTON               AB           T5J 2V5         CANADA
LC_0667           The Alberta Library (TAL)                 7 Sir Winston Churchill Sq NW                                                                                                Edmonton               AB           T5J 2V5         Canada
29945707          Name on file                              Address on file
29945708          THE BABCOCK & WILCOX CO                   PO BOX 643957                                                                                                                PITTSBURGH             PA           15264‐3957
29964945          THE BALTIMORE GAS & ELECTRIC CO.          2 CENTER PLAZA                            110 WEST FAYETTE STREET                                                            BALTIMORE              MD           21201
30210705          THE BALTIMORE GAS & ELECTRIC CO.          PO BOX 1431                                                                                                                  BALTIMORE              MD           21203
29964946          THE BALTIMORE GAS & ELECTRIC CO.          SPRING GARDENS OSF                        1699 LEADENHALL STREET                                                             BALTIMORE              MD           21230
29945710          THE BINSKY CORPORATION                    ADVANTAGE FOOD AND BEVERAGE               3000 E. MAIN ST., STE. B, #205                                                     COLUMBUS               OH           43209
29945711          THE BROOKLYN NEST LLC                     625 BAKERS BRIDGE AVE #105                                                                                                   FRANKLIN               TN           37067
29945712          Name on file                              Address on file
30213216          THE CAFARO NORTHWEST PARTNERSHIP          5577 YOUNGSTOWN‐WARREN ROAD               ATTN: LEGAL DEPARTMENT                                                             NILES                  OH           44446
29945714          THE CALIFORNIA CREDITS GROUP LLC          ATTN ACCOUNTS RECEIVABLE                  87 N. RAYMOND AVE, #526                                                            PASADENA               CA           91103
29945715          THE CANADIAN GROUP                        C/O TCG                                   430 SIGNET DRIVE, SUITE A                                                          TORONTO                ON           M9L 2T6         CANADA
30210884          THE CARRINGTON CO.                        627 H STREET                                                                                                                 EUREKA                 CA           95501
29945716          THE CARRINGTON CO.                        ATTN: GARRET JACOBS, ASSET MGR            627 H STREET                                                                       EUREKA                 CA           95501
                                                            C/O BARNHART COMMERCIAL                   750 HAMMOND DRIVE, BLDG 10,
30213555          THE CENTRE AT DEANE HILL                  MANAGEMENT                                SUITE 250                                                                          ATLANTA                GA           30328
29945719          Name on file                              Address on file
29945720          Name on file                              Address on file
29945721          Name on file                              Address on file
29945722          Name on file                              Address on file

30210503          THE CIT GROUP/COMMERCIAL SERVICES, INC.   201 SOUTH TRYON STREET                                                                                                       CHARLOTTE              NC           28202
29945723          THE CITY OF BALLWIN                       14811 MANCHESTER RD                                                                                                          BALLWIN                MO           63011
29949292          THE CITY OF HOLYOKE ‐ BOARD OF HEALTH     CITY HALL ANNEX ROOM 306                  20 KOREAN VETERANS PLAZA                                                           HOLYOKE                MA           01040
29945724          THE CITY OF LEWISVILLE                    PO BOX 299002                                                                                                                LEWISVILLE             TX           75029‐9002
29945725          THE CITY OF LYNCHBURG                     PO BOX 9000                                                                                                                  LYNCHBURG              VA           24505‐9000
29949294          THE CITY OF MARGATE                       901 NW 66TH AVE                                                                                                              MARGATE                FL           33063
                                                            Attn: Jane Elizabeth Kile, Lead Revenue
30165894          The City of Mesa                          Collection                                20 E Main St, Ste 450             MS‐1170                                          Mesa                   AZ           85201
30165893          The City of Mesa                          PO Box1466                                MS‐1170                                                                            MESA                   AZ           85201
29945726          THE CITY OF OKLAHOMA CITY                 DEVELOPMENT SERVICES/LICENSE              420 WEST MAIN                     8TH FLOOR                                        OKLAHOMA CITY          OK           73102
29945727          THE CITY OF STOCKTON                      345 N EL DORADO ST                                                                                                           STOCKTON               CA           95202




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29964819          THE CITY OF WINTER HAVEN                   OCCUPATIONAL LICENSE DIVISION          PO BOX 2277                                                                        WINTER HAVEN           FL           33883‐2277
30212017          THE COLONY PUBLIC LIBRARY                  6800 MAIN ST                                                                                                              THE COLONY             TX           75056
29945729          THE COLORFIELD DESIGN STUDIO INC           147 W 35TH STREET #301                                                                                                    NEW YORK               NY           10001
30208895          THE COMMUNITY LIBRARY                      110 UNION STREET                                                                                                          COBLESKILL             NY           12043
30210641          THE CONTINENTAL INSURANCE COMPANY          151 N FRANKLIN ST                                                                                                         CHICAGO                IL           60606
30210505          THE CONTINENTAL INSURANCE COMPANY          ONE PENN PLAZA 32ND FLOOR                                                                                                 NEW YORK               NY           10119
30223266          THE CONTINENTAL INSURANCE COMPANY          SKYLIGHT OFFICE TWR                    1660 W 2ND ST                     STE 650                                          CLEVELAND              OH           44113

30223265          THE CONTINENTAL INSURANCE COMPANY          THE CONTINENTAL INSURANCE COMPANY 151 N FRANKLIN ST                                                                       CHICAGO                IL           60606
29972457          The County of Brazos, Texas                Brazos County Tax Assessor‐Collector 4151 County Park Court                                                               Bryan                  TX           77802‐1430
29972460          The County of Comal, Texas                 Comal County Tax Assessor‐Collector  P.O. Box 311445                                                                      New Braunfels          TX           78131‐1445

30182730          The County of Comal, Texas                 Comal County Tax Asssessor‐Collector   P.O. Box 311445                                                                    New Braunfels          TX           78131‐1445
29945731          THE COUNTY OF HOUSTON                      PO BOX 6406                                                                                                               DOTHAN                 AL           36302

29972507          The County of Williamson, Texas            Williamson County Tax Assessor‐Collector 904 South Main                                                                   Georgetown             TX           78626‐5829
29945732          Name on file                               Address on file
29945733          Name on file                               Address on file
29945734          Name on file                               Address on file
29945735          Name on file                               Address on file
29945736          THE CREAMERY IN GREEN                      PAVS CREAMERY                            3875 MASSILLON ROAD                                                              UNIONTOWN              OH           44685
IC_056            THE CREATIVE COOKIE                        442 LORIMER ST., PMB 164                                                                                                  BROOKLYN               NY           11206
29945737          THE CURRENT COMPANY NYC LLC                29 POCANTICO RIVER RD.                                                                                                    PLEASANTVILLE          NY           10570

IC_088            THE CURRENT COMPANY NYC LLC / Suzy Ultman 29 POCANTICO RIVER RD.                                                                                                     PLEASANTVILLE          NY           10570
30223267          THE DAGIASIS GROUP LLC                    PHALANX LOGISTICS SOLUTIONS             18636 DETROIT AVE., 2ND FL.                                                        LAKEWOOD               OH           44107
29945738          Name on file                              Address on file
29945740          Name on file                              Address on file
29945741          THE DOER & THE DREAMER                    Address on file
29945742          THE EARNEST RESEARCH CO                   43 W. 24TH ST., 5TH FL                                                                                                     NEW YORK               NY           10010
29964947          THE EMPIRE DISTRICT ELECTRIC COMPANY      602 S JOPLIN AVE                                                                                                           JOPLIN                 MO           64801‐2337
30210706          THE EMPIRE DISTRICT ELECTRIC COMPANY      PO BOX 1787                                                                                                                JOPLIN                 MO           64802
29945743          Name on file                              Address on file
29945745          THE ENERGY COOPERATIVE                    PO BOX 182137                                                                                                              COLUMBUS               OH           43218‐2137
29945746          Name on file                              Address on file
29945747          THE FELDMAN CO INC                        241 W. 37TH ST., STE. 524                                                                                                  NEW YORK               NY           10018
30296445          The Feldman Co. Inc. and affiliates       Balasiano and Associates PLLC           6701 Bay Pkwy                     3rd Floor                                        Brooklyn               NY           11204
29945748          Name on file                              Address on file
29945749          Name on file                              Address on file
29945750          Name on file                              Address on file
29945751          THE GAS HOUSE‐PROPANE CORP                7125 KRICK RD                                                                                                              BEDFORD                OH           44146
29945752          Name on file                              Address on file
29945755          Name on file                              Address on file
IC_170            THE GREEN VASE INC                        2747 EDGEHILL AVE                                                                                                          BRONX                  NY           10463
30211528          THE GROOMSMEN LLC                         PO BOX 30                                                                                                                  BURBANK                CA           91503‐0030
29949693          THE GUARDIAN LIFE INSURANCE COMPANY       10 HUDSON YARDS, 20TH FLOOR                                                                                                NEW YORK               NY           10001
30213229          THE HAMPTON PLAZA, LLC                    1334 MAPLELAWN DR.                      ATTN: STUART FRANKEL                                                               TROY                   MI           48084
29945757          Name on file                              Address on file
30208897          THE HAYNER PUBLIC LIBRARY DISTRICT        401 STATE STREET                                                                                                           ALTON                  IL           62002
30212021          THE HENRY CARTER HULL LIBRARY             10 KILLINGWORTH TURNPIKE                                                                                                   CLINTON                CT           06413
30210882          THE HUDSON SAMPLER STORE, INC.            5393 DARROW ROAD                                                                                                           HUDSON                 OH           44236
30223268          THE HUNTINGTON NATIONAL BANK              DEPT L‐2043                                                                                                                COLUMBUS               OH           43260
29945763          THE INDUSTRIAL FUMIGANT CO LLC            IFC OF CALIFORNIA                       PO BOX 844290                                                                      DALLAS                 TX           75284

30210642          THE JOHN P HOLT BRENTWOOD PUBLIC LIBRARY 8109 CONCORD RD                                                                                                             BRENTWOOD              TN           37027
30208900          THE JOHN P. HOLT BRENTWOOD LIBRARY       8109 CONCORD ROAD                                                                                                           BRENTWOOD              TN           37027
29945765          THE KENNEDY GROUP                        38601 KENNEDY PKWY                                                                                                          WILLOUGHBY             OH           44094

30210707          THE KNOXVILLE UTILITIES BOARD, KNOXVILLE   PO BOX 59017                                                                                                              KNOXVILLE              TN           37950‐9017
29945766          THE LANG COMPANIES INC                     20825 SWENSON DRIVE                                                                                                       WAUKESHA               WI           53186
29945768          THE LAW OFFICES OF LEVY & LEVY PA          2844 NORTH UNIVERSITY DR.                                                                                                 CORAL SPRINGS          FL           33065
29945769          THE LEBRON JAMES FAMILY FOUNDATION         3800 EMBASSY PKWY, #360                                                                                                   AKRON                  OH           44333
30211530          THE LEMON GROUP                            MID‐AMERICA STORE FIXTURES             2195 BROEHM ROAD                                                                   COLUMBUS               OH           43207




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29945770          Name on file                           Address on file
30210643          THE LIBRARY NETWORK                    41365 VINCENTI COURT                                                                                              NOVI                    MI           48375
30223269          THE LILLY COMPANY                      PO BOX 1000, DEPT 184                                                                                             MEMPHIS                 TN           38148‐0184
29945772          THE LOOK COMPANY INC                   343 SAUNDERS ROAD                                                                                                 BARRIE                  ON           L4N 9A3         CANADA
30209267          THE MAKERIE LLC                        1865 NORWOOD AVE                                                                                                  BOULDER                 CO           80304
30291601          The Marketplace Tavares, LLC           Robert Tamburro               436 Aldama Avenue                                                                   The Villages            FL           32159
29964892          THE MCCALL PATTERN COMPANY, INC.       450 PLYMOUTH RD                                                                                                   PLYMOUTH MEETING        PA           19462
29964927          THE MCCALL PATTERN COMPANY, INC.       5555 GLENRIDGE CONNECTOR      SUITE 300                                                                           ATLANTA                 GA           30342
29945773          THE METROPOLITAN DISTRICT              555 MAIN STREET                                                                                                   HARTFORD                CT           06103
29945774          THE METROPOLITAN DISTRICT              PO BOX 5535                                                                                                       BINGHAMTON              NY           13902‐5535
29945775          THE MEYERS PRINTING CO., INC           DBA MEYERS                    NW 6334 P.O. BOX 1450                                                               MINNEAPOLIS             MN           55485‐6334
29945776          Name on file                           Address on file
29945777          THE MOYAL GROUP INC                    C/O FORNESS PROPERTIES        2221 LEE RD., STE. 11                                                               WINTER PARK             FL           32789
30213041          THE MOYAL GROUP INC.                   2221 LEE ROAD, STE. 11                                                                                            WINTER PARK             FL           32789
29945779          THE NECESSITY RETAIL REIT OP PTSHP     ARG OTOWEKY001 LLC            38 WASHINGTON SQUARE                                                                NEWPORT                 RI           02840
29945780          THE NES GROUP                          28# GAOXIN ROAD               2ND FLOOR 3RD BUILDING                                                              YIWU                                 322000          CHINA
29945781          THE NEW BLOSSOM SHOP INC               905 GENEVA STREET                                                                                                 OPELIKA                 AL           36801
29949791          THE NORTH RIVER INSURANCE COMPANY      305 MADISON AVENUE                                                                                                MORRISTOWN              NJ           07962
30210581          THE NORTH RIVER INSURANCE COMPANY      EXECUTIVE RISK                305 MADISON AVE                                                                     MORRISTOWN              NJ           07962
29945782          THE OHIO DESK COMPANY                  1122 PROSPECT AVE.                                                                                                CLEVELAND               OH           44115
30211531          THE ORB FACTORY                        350 WICONISCO ST                                                                                                  MILLERSBURG             PA           17061‐8020
30210644          THE PARTNERING GROUP                   4055 EXECUTIVE PARK DR, 105                                                                                       CINCINNATI              OH           45241
29945783          Name on file                           Address on file
30184172          THE PEGGS COMPANY, INC                 NICHOLAS COLLINS              THE PEGGS COMPANY, INC             4851 FELSPAR ST                                  RIVERSIDE               CA           92509
30208905          THE PERTH & DISTRICT LIBRARY           30 HERRIOTT ST.                                                                                                   PERTH                   ON           K7H 1T2         CANADA
29945785          THE PICKERELITE LLC                    2118 36TH STEET NW                                                                                                CANTON                  OH           44709
29945786          Name on file                           Address on file
30213596          THE PM COMPANY                         1000 GRAND CENTRAL MALL       ATTN: PAT MINNITE, III                                                              VIENNA                  WV           26105
29945790          THE PROTECTION BUREAU                  197 PHILIPS ROAD                                                                                                  EXTON                   PA           19341
30223271          THE PUBLIC LIBRARY OF BROOKLINE        361 WASHINGTON ST.                                                                                                BROOKLINE               MA           02445
                  THE PUBLIC LIBRARY OF CINCINNATI AND
30208910          HAMILTON COUNTY                        800 VINE ST                                                                                                       CINCINNATI              OH           45202
29945791          Name on file                           Address on file
29945792          Name on file                           Address on file
29945793          THE ROGERS COMPANY                     PO BOX 72148                                                                                                      CLEVELAND               OH           44192‐0002
30213506          THE ROUSE COMPANIES, LLC               ATTN: WILLIAM L. ROUSE, III   2201 REGENCY ROAD, SUITE 602                                                        LEXINGTON               KY           40503
29945797          Name on file                           Address on file
29945798          Name on file                           Address on file

30213254          THE SHOPPES, LP                        C/O THE BROADBENT COMPANY     117 E WASHINGTON ST., SUITE 300                                                     INDIANAPOLIS            IN           46204
30211532          THE SIEGFRIED GROUP LLP                1201 N. MARKET ST., STE 700                                                                                       WILMINGTON              DE           19801
29945802          Name on file                           Address on file
30208911          THE SKANEATELES LIBRARY ASSOCIATION    49 EAST GENESEE STREET                                                                                            SKANEATELES             NY           13152
29945803          THE SMITH & OBY SERVICE CO             7676 NORTHFIELD ROAD                                                                                              WALTON HILLS            OH           44146
30208912          THE SMITHTOWN LIBRARY                  148 SMITHTOWN BOULEVARD                                                                                           NESCONSET               NY           11767
29945804          Name on file                           Address on file
30211533          THE SUPPLY SOURCE LLC                  8500 BAYCENTER RD SUITE 18                                                                                        JACKSONVILLE            FL           32256
29945806          THE THARPE COMPANY INC                 DBA ENGAGE2EXCEL              149 CRAWFORD RD PO BX 1719                                                          STATESVILLE             NC           28625
30211534          THE TIN BOX COMPANY                    216 SHERWOOD AVE                                                                                                  FARMINGDALE             NY           11735
29945807          THE TORRINGTON WATER CO.               PO BOX 867                                                                                                        TORRINGTON              CT           06790
29945809          THE TORRINGTON WATER COMPANY           PO BOX 9268                                                                                                       CHELSEA                 MA           02150‐9268
30223272          THE TRAVELERS INDEMNITY COMPANY        1 TOWER SQUARE                                                                                                    HARTFORD                CT           06183
29945810          THE TREVOR PROJECT INC                 PO BOX 69232                                                                                                      WEST HOLLYWOOD          CA           90069
30354130          The United Illuminating Company        Ednavill Torres               100 Marsh Hill Road                                                                 Orange                  CT           06477
29945812          THE UNITED ILLUMINATING COMPANY        PO BOX 847818                                                                                                     BOSTON                  MA           02284‐7818
29945814          THE UNIVERSITY OF SOUTH FLORIDA        USF STUDENT PAYMENTS          PO BOX 946571                                                                       ATLANTA                 GA           30394‐6571
29945815          Name on file                           Address on file
29945816          Name on file                           Address on file
29945817          Name on file                           Address on file
29945818          THE WATERWORKS LLC                     1103 SCHROCK RD, STE 400                                                                                          COLUMBUS                OH           43229
29945820          THE WIDEWATERS GROUP INC               5845 WILDEWATERS PKWY                                                                                             EAST SYRACUSE           NY           13057
29945821          THE WIKKI STIX CO                      C/O OMNICOR INC               11034 N 23RD DRIVE, #103                                                            PHOENIX                 AZ           85029
30213417          THE WILLIAMS FAMILY TRUST              C/O ALLIANCE DEVELOPMENT      230 OHIO STREET, #200                                                               OSHKOSH                 WI           54902




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29945824          Name on file                          Address on file
30213436          THE WOODMONT COMPANY, RECEIVER        MOBILE FESTIVAL ACQUISITION LLC   2100 W. 7TH STREET                                                                   FORT WORTH               TX           76107
29945826          Name on file                          Address on file
29945830          Name on file                          Address on file
30395428          Name on file                          Address on file
30338275          Name on file                          Address on file
29945841          THEO WATSON LEY                       Address on file
29963988          THERESA ALMARAZ                       Address on file
29945854          THERESA COPPOLA                       Address on file
29964013          THERESA MACKIE                        Address on file
29945874          THERESA NORTH                         Address on file
29945892          THERESA YACOBOZZI                     Address on file
29945901          THERESE L MANES                       Address on file
30356793          Name on file                          Address on file
30347232          Name on file                          Address on file
30297537          THF Greengate Development LP          TKG Management, Inc.              Attn: Kelly Sebastian             211 N. Stadium Blvd            Suite 201           Columbia                 MO           65203

30213227          THF GREENGATE DEVELOPMENT, L.P.       C/O TKG MANAGEMENT, INC.          211 N. STADIUM BLVD., SUITE 201                                                      COLUMBIA                 MO           65203
30337184          Name on file                          Address on file
29951786          Name on file                          Address on file
29951788          THINK UTILITY SERVICES INC            4685 118TH AVE NORTH                                                                                                   CLEARWATER               FL           33762
29951790          THIRTY1 TWENTY5 LLC                   5508 VIRGINIA AVE.                                                                                                     KANSAS CITY              MO           64110
29964893          THISBE + CO FBO FIDELITY FLOATING     1 IRON ST                                                                                                              BOSTON                   MA           02110
29964894          THISBE + CO FBO FIDELITY INFLATION    1 IRON ST                                                                                                              BOSTON                   MA           02110
30340287          Name on file                          Address on file
LC_0671           Thomas Branigan Memorial Library      200 E. Picacho Ave.                                                                                                    Las Cruces               NM           88001‐3457
30212644          THOMAS DRYER                          Address on file
29945929          Name on file                          Address on file
30208915          THOMAS FORD MEMORIAL LIBRARY          800 CHESTNUT STREET                                                                                                    WESTERN SPRINGS          IL           60558
29945952          THOMAS MITCHELL                       Address on file
29945962          Name on file                          Address on file
LC_0673           Thomas St. Angelo Public Library      Po Box 97                                                                                                              Cumberland               WI           54829
                  THOMAS ST. ANGELO PUBLIC LIBRARY OF
30208918          CUMBERLAND                            1305 2ND AVE                                                                                                           CUMBERLAND               WI           54829
                  THOMAS ST. ANGELO PUBLIC LIBRARY OF
30208920          CUMBERLAND                            PO BOX 97                                                                                                              CUMBERLAND               WI           54829
29945966          THOMAS WILLIAMS                       Address on file
30339971          Name on file                          Address on file
30335721          Name on file                          Address on file
30333839          Name on file                          Address on file
30353859          Name on file                          Address on file
30399581          Name on file                          Address on file
30333505          Name on file                          Address on file
30358052          Name on file                          Address on file
30395382          Name on file                          Address on file
30338814          Name on file                          Address on file
30397838          Name on file                          Address on file
30354252          Name on file                          Address on file
30210646          THOMPSON HINE LLP                     3900 KEY CENTER                   127 PUBLIC SQUARE                                                                    CLEVELAND                OH           44114‐1291
30211625          THOMPSON HINE LLP                     41 S. HIGH STREET                 #1700                                                                                COLUMBUS                 OH           43215
30223273          THOMPSON HINE LLP                     ATTNICAROL R. RUSSELL             41 S. HIGH STREET                 #1700                                              COLUMBUS                 OH           43215
30214741          THOMPSON TRACTOR CO INC               PO BOX 746941                                                                                                          ATLANTA                  GA           30374‐6941
30415221          Name on file                          Address on file
30353549          Name on file                          Address on file
30276880          Name on file                          Address on file
30392885          Name on file                          Address on file
30416484          Name on file                          Address on file
30345376          Name on file                          Address on file
30340966          Name on file                          Address on file
30340980          Name on file                          Address on file
30353511          Name on file                          Address on file
30358088          Name on file                          Address on file
30263637          Name on file                          Address on file




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30335141          Name on file                           Address on file
29945970          THOMSON REUTERS (TAX & ACCOUNT) INC    PO BOX 6016                                                                                                       CAROL STREAM              IL           60197
30211536          THOMSON REUTERS INC                    TAX & ACCOUNTING R & G        PO BOX 71687                                                                        CHICAGO                   IL           60694‐1687
30354330          Name on file                           Address on file
30357059          Name on file                           Address on file
30350010          Name on file                           Address on file
30415024          Name on file                           Address on file
30355811          Name on file                           Address on file
30350050          Name on file                           Address on file
29964031          Name on file                           Address on file
30335492          Name on file                           Address on file
29964032          THOUSAND OAKS FARP                     PO BOX 744592                                                                                                     LOS ANGELES               CA           90074
30273848          Name on file                           Address on file
29964033          THREE FACTOR LLC                       4939 W. RAY RD., STE. 4‐217                                                                                       CHANDLER                  AZ           85226
29964034          Name on file                           Address on file
LC_0675           Three Rivers Public Library District   25207 W. Channon Dr.                                                                                              Channahon                 IL           60410‐5028
30208922          THREE RIVERS PUBLIC LIBRARY DISTRICT   25207 W CHANNON                                                                                                   CHANNAHON                 IL           60410
30208923          THREE RIVERS PUBLIC LIBRARY DISTRICT   PO BOX 300                                                                                                        CHANNAHON                 IL           60410
29964035          Name on file                           Address on file
30223274          THRONDSET MICHENFELDER, LLC TRUST      ONE CENTRAL AVE W ST 101                                                                                          ST MICHAEL                MN           55376
29964040          Name on file                           Address on file
30342726          Name on file                           Address on file
30211537          THUMBS UP                              C/O DERINGER                  840 AERO DRIVE, STE 110                                                             CHEEKTOWAGA               NY           14225
30223275          THUMBS UP UK                           BRAINTREE INDUSTRIAL ESTATE   BRAINTREE RD, UNIT L                                                                LONDON                                 HA4 0EJ         UNITED KINGDOM
30414551          Name on file                           Address on file
29964041          THURSTON COUNTY TREASURER              PERSONAL PROPERTY TAX         3000 PACIFIC AVE SE                                                                 OLYMPIA                   WA           98501
29945973          THYSSENKRUPP ELEVATOR CORP             PO BOX 3795                                                                                                       CAROL STREAM              IL           60132‐3796
29945974          TI WILDER                              Address on file
29964895          TIAA CLO I LTD.                        555 CALIFORNIA STREET         SUITE 3100                                                                          SAN FRANCISCO             CA           94104
29964896          TIAA CLO III LTD.                      555 CALIFORNIA STREET         SUITE 3100                                                                          SAN FRANCISCO             CA           94104
29964897          TIAA CLO IV LTD.                       555 CALIFORNIA STREET         SUITE 3100                                                                          SAN FRANCISCO             CA           94104
29964898          TIAA GLOBAL PUBLIC INVESTMENTS, LLC    555 CALIFORNIA STREET         SUITE 3100                                                                          SAN FRANCISCO             CA           94104
29945985          TIAN CONNAUGHTON                       Address on file
29945990          TIAO E. DIAMOND                        Address on file
30353471          Name on file                           Address on file
30385066          Name on file                           Address on file
29946000          TIBCO SOFTWARE INC                     LOCKBOX NO. 7514              P.O. BOX 7247                                                                       PHILADELPHIA              PA           19170‐7514
30358409          Name on file                           Address on file
30397421          Name on file                           Address on file
29946006          TIFFANI DECKER                         Address on file
29946007          TIFFANI DIXON                          Address on file
29964055          TIFFANIE WESTGOR                       Address on file
29964071          TIFFANY GALLAGHER                      Address on file
29946066          TIFFANY SOEBROTO                       Address on file
29964078          TIFFANY TOH                            Address on file
29946072          TIFFANY WATSON                         Address on file
29946081          TIFT COUNTY                            TREASURER                     225 N TIFT AVE                                                                      TIFTON                    GA           31794
30213451          TIFTON PLAZA, OWNER, LLC               C/O IN‐REL PROPERTIES, INC.   200 LAKE AVENUE, 2ND FLOOR                                                          LAKE WORTH BEACH          FL           33460
30210916          TIGARD PLAZA, LLC                      8320 NE HIGHWAY 99            ATTN: MR. MILTON BROWN                                                              VANCOUVER                 WA           98665
29946084          TIGARD PLAZA, LLC                      ATTN: MR. MILTON BROWN        8320 NE HIGHWAY 99                                                                  VANCOUVER                 WA           98665
29972768          Name on file                           Address on file
29946085          Name on file                           Address on file
30165179          TikTok Inc                             PO Box 894476                                                                                                     Los Angeles               CA           90189‐4476
29946091          Name on file                           Address on file
LC_0676           Tillamook County Library               1716 Third St                                                                                                     Tillamook                 OR           97141‐2124
29946093          Name on file                           Address on file
LC_0677           Tilton Library                         75 North Main Street                                                                                              South Deerfield           MA           01373‐1012
30212025          TILTON LIBRARY                         75 N MAIN ST                                                                                                      SOUTH DEERFIELD           MA           01373
30349282          Name on file                           Address on file
30210686          TIM COLLINS                            Address on file
29946096          TIM GERTZ                              Address on file
LC_0678           Timaru District Libraries              56 Sophia Street                                                                                                  TIMARU, NZ                             7940            New Zealand
29946099          Name on file                           Address on file




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30208926          TIMARU DISTRICT LIBRARIES            56 SOPHIA STREET                                                                                                                     TIMARU                                               NEW ZEALAND
30208927          TIMARU DISTRICT LIBRARIES            PO BOX 228                                                                                                                           TIMARU                               7940            NEW ZEALAND
30212027          TIMBERLAND REGIONAL LIBRARY          415 TUMWATER BLVD SW                                                                                                                 TUMWATER                WA           98501
29946103          TIME VALUE SOFTWARE INC              22 MAUCHLY                                                                                                                           IRVINE                  CA           92618
29964086          TIME WARNER CABLE                    1 TIME WARNER CENTER                                                                                                                 NEW YORK                NY           10019
30211543          TIME WARNER CABLE                    400 ATLANTIC ST.                                                                                                                     STAMFORD                CT           06901

29964087          TIMELESS FRAMES                      C/O LCO DESTINY LLD DBA TIMELESS FR     1 FISHER CIRCLE                                                                              WATERTOWN               NY           13601

30211544          TIMELESS FRAMES AND DECOR            C/O INTCO INTERNATIONAL (HK) CO LIM     183 QUEENS ROAD EAST              HK                                                         HONG KONG                                            HONG KONG
30333447          TIMELESS TREASURES FABRICS OF SOHO   MICHELE LEE QUINE                       483 BROADWAY                      4TH FLOOR                                                  NEW YORK                NY           10013
29964090          Name on file                         Address on file
30223276          TIMMINS PUBLIC LIBRARY               320 2ND AVE CITY                                                                                                                     TIMMINS                 ON           P4N 8A4         CANADA
30208928          TIMMINS PUBLIC LIBRARY               320 2ND AVE CITY                                                                                                                     TIMMINS                 ON           P4N 1B5         CANADA
29946107          TIMOTHY BURGAD                       Address on file
30212588          TIMOTHY CHAPMAN                      Address on file
30212892          TIMOTHY COX                          Address on file
29964113          TIMOTHY PAYTON                       Address on file
29946128          TIMOTHY THIBAULT                     Address on file
29964122          TINA CARTER                          Address on file
29946150          TINA LARICHE                         Address on file
30208931          TINLEY PARK PUBLIC LIBRARY           7851 TIMBER DRIVE                                                                                                                    TINLEY PARK             IL           60477
30349165          Name on file                         Address on file
30208932          TINTON FALLS PUBLIC LIBRARY          664 TINTON AVENUE                                                                                                                    EATONTOWN               NJ           07724
29946190          TINUITI INC                          PO BOX 28415                                                                                                                         NEW YORK                NY           10087
30295975          Tinuiti, Inc.                        Liza Beltran, Sr. Manager Receivables   P.O. Box 28415                                                                               New York                NY           10087‐8415
                                                       Obermayer Rebmann Maxwell & Hippel                                                                       1500 Market Street, Suite
30295974          Tinuiti, Inc.                        LLP                                     D. Alexander Barnes, Esq.         Centre Square West             3400                        Philadelphia            PA           19102
30346747          Name on file                         Address on file
30333973          Name on file                         Address on file
30352715          Name on file                         Address on file
29946196          TIRL LLC                             CILANTRO TAQUERIA                       20090 VAN AKEN BLVD                                                                          SHAKER HEIGHTS          OH           44122
30393100          Name on file                         Address on file
30339344          Name on file                         Address on file
30386096          Name on file                         Address on file
                                                                                               4300 EAST FIFTH AVENUEATTN:
30213140          TJ CENTER I, LLC                     C/O SHOTTENSTEIN PROPERTY GROUP         GENERAL COUNSEL                                                                              COLUMBUS                OH           43219
29964133          TJ LLC                               3603 VESTAL PKWY EAST                   HOMEWOOD SUITES BY HILTON                                                                    VESTAL                  NY           13850
30356835          Name on file                         Address on file
30297525          TKG Colerain Towne Center LLC        TKG Management, Inc.                    Attn: Kelly Sebastian             211 N. Stadium Blvd            Suite 201                   Columbia                MO           65203
30213346          TKG COLERAIN TOWNE CENTER, LLC       211 NORTH STADIUM BLVD., SUITE 201                                                                                                   COLUMBIA                MO           65203
29964138          TKG POWDER BASIN LLC                 CO TKG MANAGEMENT                       211 N STADIUM BLVD #201                                                                      COLUMBIA                MO           65203
30210946          TKG ROCK BRIDGE CENTER, L.L.C.       211 N. STADIUM BLVD., SUITE 201                                                                                                      COLUMBIA                MO           65203‐1145

29964140          TKG ROCK BRIDGE CENTER, L.L.C.       ATTN: JESSICA HUDSON                    211 N. STADIUM BLVD., SUITE 201                                                              COLUMBIA                MO           65203‐1145
29946208          TKM PRINT SOLUTIONS INC              760 KILLIAN ROAD                                                                                                                     AKRON                   OH           44319
30223277          TL YARN CRAFTS LLC                   738 BANKVIEW DRIVE                                                                                                                   COLUMBUS                OH           43228
30296207          TMA‐LIVCOM LLC                       c/o National Real Estate Mgmt Corp      9986 Manchester Road                                                                         St. Louis               MO           63122
                                                       C/O NATIONAL REAL ESTATE
30213455          TMA‐LIVCOM, LLC                      MANAGEMENT CORP.                        9986 MANCHESTER ROAD                                                                         ST. LOUIS               MO           63122

29946213          TN ‐ FAE ‐ JAS ‐ 01051               TENNESSEE DEPT OF REVENUE               ANDREW JACKSON STATE OFF. BLDG 500 DEADERICK ST                                              NASHVILLE               TN           37242

29946214          TN ‐ FAE ‐ SSC ‐ 01051               TENNESSEE DEPT OF REVENUE               ANDREW JACKSON STATE OFF. BLDG 500 DEADERICK ST                                              NASHVILLE               TN           37242

29946215          TN ‐ FAE ‐ SSC ‐ 01054               TENNESSEE DEPT OF REVENUE               ANDREW JACKSON STATE OFF. BLDG 500 DEADERICK ST                                              NASHVILLE               TN           37242

29946216          TN ‐ FAE ‐ SSC ‐ 01055               TENNESSEE DEPT OF REVENUE               ANDREW JACKSON STATE OFF. BLDG 500 DEADERICK ST                                              NASHVILLE               TN           37242

29964141          TN ‐ FAE ‐ SSC ‐ 01056               TENNESSEE DEPT OF REVENUE               ANDREW JACKSON STATE OFF. BLDG 500 DEADERICK ST                                              NASHVILLE               TN           37242
29972789          Name on file                         Address on file
30284061          TNA‐Livcom LLC                       c/o National Real Estate Mgmt Corp      9986 Manchester Road                                                                         St Louis                MO           63122
29964142          TN‐BUG‐SALES TAX                     ANDREW JACKSON STATE BLDG               500 DEADERICK ST                                                                             NASHVILLE               TN           37242




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29964143          TN‐BUS‐CITY‐02052‐EDI                    500 DEADERICK ST                                                                                                         NASHVILLE             TN           37242
29964144          TN‐BUS‐COUNTY‐02051‐EDI                  500 DEADERICK ST                                                                                                         NASHVILLE             TN           37242
29964145          TN‐JAC‐SALES TAX                         ANDREW JACKSON STATE BLDG            500 DEADERICK ST                                                                    NASHVILLE             TN           37242
29964146          TN‐JAS‐BUS TAX 02051                     ANDREW JACKSON ST. OFFICE BLDG       500 DEADERICK ST                                                                    NASHVILLE             TN           37242
29964147          TN‐JAS‐SALES 02001                       ANDREW JACKSON STATE BLDG            500 DEADERICK ST                                                                    NASHVILLE             TN           37242
29964148          TOBI DAVIS                               Address on file
30354740          Name on file                             Address on file
30333542          Name on file                             Address on file
29946221          Name on file                             Address on file
29946222          TODAYS TREASURES INC                     NO 101 LIANXIN RD                    ZHUGUSHI VILLAGE                                                                    SHENZHEN                           518116          CHINA
29946225          Name on file                             Address on file
30212859          TODD HOLMQUIST                           Address on file
30212937          TODD TROLDAHL                            Address on file
29946232          TODD TROLDAHL                            Address on file
30212927          TODD WESTMORELAND                        Address on file
30386586          Name on file                             Address on file
29946237          TOHO WATER AUTHORITY ‐ 30527             PO BOX 30527                                                                                                             TAMPA                 FL           33630‐3527
29946238          TOI J. BAIN                              Address on file
29946243          TOLL GLOBAL FORWARDING (USA) INC         PO BOX 89 4160                                                                                                           LOS ANGELES           CA           90189
30340671          Name on file                             Address on file
30213685          TOLSON ENTERPRISES                       7150 W. CENTRAL AVENUE, SUITE #200                                                                                       TOLEDO                OH           43617
29946248          TOM WATSON                               TAX COLLECTOR                        PO BOX 859                                                                          MODESTO               CA           95353
29964153          Name on file                             Address on file
29964154          Name on file                             Address on file

29964158          TOMBIGBEE ELECTRIC POWER ASSOC‐TUPELO    P.O. BOX 1789                                                                                                            TUPELO                MS           38802
30342136          Name on file                             Address on file
29946250          TOMPKINS COUNTY                          WEIGHTS & MEASURES                   170 BOSTWICK ROAD                                                                   ITHACA                NY           14850

29964823          TOMPKINS COUNTY ‐ WEIGHTS AND MEASURES   WEIGHTS & MEASURES                   170 BOSTWICK ROAD                                                                   ITHACA                NY           14850
29946251          Name on file                             Address on file
30346741          Name on file                             Address on file
30353423          Name on file                             Address on file
29946284          Name on file                             Address on file
29946286          TONY LI                                  Address on file
                                                                                                ATTN: TONY SAMMUT & TERRY
29946288          TONY SAMMUT INVESTMENTS                  60 D CORRAL DE TIERRA ROAD           SAMMUT                                                                              SALINAS               CA           93908
30354729          Name on file                             Address on file
29964179          TONYA LEWIS                              Address on file
29946300          TOOELE CITY CORPORATION                  90 NORTH MAIN                                                                                                            TOOELE                UT           84074
29946302          TOOELE CITY CORPORATION                  P.O. BOX 89                                                                                                              TOOELE                UT           84074‐0089

29964824          TOOELE CITY CORPORATION ‐ BUSINESS LICENSE 90 NORTH MAIN                                                                                                          TOOELE                UT           84074
29946303          TOOELE COUNTY ASSESSOR                     47 S MAIN STREET                                                                                                       TOOELE                UT           84074‐2131
                  TOOELE COUNTY, UT COUNTY CONSUMER
30208036          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 47 S MAIN ST                                                                        TOOELE                UT           84074
30259340          Name on file                               Address on file
29946304          TOP LINE FIRE PROTECTION INC               23362 PERALTA DR., UNIT 7                                                                                              LAGUNA HILLS          CA           92653
29946306          TOP SECRET TOYS, LLC                       1300 W. WASHINGTON BLVD.                                                                                               CHICAGO               IL           60607
29946307          Name on file                               Address on file
                  TOPEKA AND SHAWNEE COUNTY PUBLIC
30208938          LIBRARY                                    1515 SW 10TH AVE                                                                                                       TOPEKA                KS           66604
29946308          Name on file                               Address on file
30212029          TOPSFIELD TOWN LIBRARY                     1 SOUTH COMMON STREET                                                                                                  TOPSFIELD             MA           01983
29946326          TORRANCE POLICE DEPT.                      ALARMS                             DEPT LA 25484                                                                       PASADENA              CA           91185
30349457          Name on file                               Address on file
30349122          Name on file                               Address on file
30416340          Name on file                               Address on file
30358009          Name on file                               Address on file
30354010          Name on file                               Address on file
30355342          Name on file                               Address on file
29946329          Name on file                               Address on file
30213432          TORRINGTON PLAZA, LLC                      C/O NASSIMI REALTY, LLC            550 7TH AVENUE, 15TH FLOOR                                                          NEW YORK              NY           10018




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  ADDRESS ID                           NAME                                 ADDRESS 1                         ADDRESS 2                        ADDRESS 3                 ADDRESS 4                    CITY        STATE     POSTAL CODE   COUNTRY
29964186          TORRINGTON TOWN CLERK                       140 MAIN STREET                                                                                                        TORRINGTON              CT           06790
29964187          TORRINGTON WATER CO.                        PO BOX 9268                                                                                                            CHELSEA                 MA           02150‐9268
30416102          Name on file                                Address on file
30260594          Name on file                                Address on file
30223278          TOTAL LINE REFRIGERATION                    NORTH COAST GASKETS LLC            33530 PIN OAK PKWY                                                                  AVON LAKE               OH           44012
30211545          TOTAL TRANSPORTATION OF MS.                 125 RIVERVIEW DRIVE                                                                                                    RICHLAND                MS           39218
30284638          Name on file                                Address on file
30396347          Name on file                                Address on file
30357121          Name on file                                Address on file
30358066          Name on file                                Address on file
29964194          TOUGH AS NAILS                              103 GASHOUS RD                                                                                                         ROSALIA                 WA           99170
30284607          Name on file                                Address on file
29946335          TOWERS RETAIL LLC                           P.O. BOX 780358                                                                                                        PHILADELPHIA            PA           19178‐0358
                                                                                                                                    8405 GREENSBORO DRIVE, 8TH
29946336          TOWERS RETAIL, LLC                          THE RAPPAPORT COMPANIES            ATTN: MR. GARY D. RAPPAPORT        FLOOR                                            MCLEAN                  VA           22102
30210927          TOWERS RETAIL, LLC                          THE RAPPAPORT COMPANIES            ATTN: MR. GARY D. RAPPAPORT                                                         MCLEAN                  VA           22102

29949764          TOWN & COUNTRY CHICAGO ASSOCIATES, LLC      360 CORP CIR 30050 CHAGRIN BLVD.                                                                                       PEPPER PIKE             OH           44124

29946339          TOWN & COUNTRY CHICAGO ASSOCIATES, LLC      PO BOX 809040                                                                                                          CHICAGO                 IL           60680‐9040

30213256          TOWN & COUNTRY CHICAGO ASSOCIATES, LLC      VISCONSI COMPANIES, LTD.           30050 CHAGRIN BLVD., SUITE 360                                                      PEPPER PIKE             OH           44124
29946340          Name on file                                Address on file

30213578          TOWN CENTER I FAMILY PARTNERSHIP, L.P. AND CORELAND COMPANIES                  17542 E. 17TH STREET, SUITE 420                                                     TUSTIN                  CA           92780
29951060          TOWN OF AVON                               POLICE DEPARTMENT                   6570 EAST US HIGHWAY 36                                                             AVON                    IN           46123
29951061          TOWN OF BABYLON                            200 E SUNRISE HWY                                                                                                       LINDENHURST             NY           11757
29951064          TOWN OF BARNSTABLE                         BARNSTABLE POLICE DEPARTMENT        PO BOX B 1200 PHINNEYS LANE                                                         HYANNIS                 MA           02601
29951063          TOWN OF BARNSTABLE                         PO BOX 11486                                                                                                            BOSTON                  MA           02211
29951062          TOWN OF BARNSTABLE                         WEIGHTS & MEASURES DIVISION         200 MAIN STREET                                                                     HYANNIS                 MA           02601
29951065          TOWN OF BEL AIR                            39 N. HICKORY AVE                                                                                                       BEL AIR                 MD           21014
29951066          TOWN OF BEL AIR                            ATTN: FINANCE (ALARM FEE)           39 N. HICKORY AVE.                                                                  BEL AIR                 MD           21014
29951067          TOWN OF BERLIN                             108 SHED ROAD                                                                                                           BERLIN                  VT           05602‐9049
29951068          TOWN OF BILLERICA                          BOARD OF HEALTH                     365 BOSTON RD                                                                       BILLERICA               MA           01821
29949296          TOWN OF BILLERICA                          TOWN HALL ROOM 101                  365 BOSTON ROAD                                                                     BILLERICA               MA           01821‐1885
29951070          TOWN OF BILLERICA, MA                      PO BOX 986535                                                                                                           BOSTON                  MA           02298‐6535
29946342          TOWN OF BROOKFIELD                         OFFICE OF THE FIRE MARSHALL         PO BOX 5106                                                                         BROOKFIELD              CT           06804
29951071          TOWN OF BROOKFIELD                         POLICE DEPT                         63 SILVERMINE RD                                                                    BROOKFIELD              CT           06804
30291453          Town of Brookfield ‐ Tax Collector         Roberta Q. Sinatra                  100 Pocond Rd                                                                       Brookfield              CT           06804
30291047          Town of Brookfield ‐ Tax Collector         Roberta Q. Sinatra, Tax Collector   PO Box 508                                                                          Brookfield              CT           06804
29946343          TOWN OF BURLINGTON                         29 CENTER STREET                                                                                                        BURLINGTON              MA           01803
29946344          TOWN OF BURLINGTON                         COLLECTOR OF TAXES                  PO BOX 376                                                                          BURLINGTON              MA           01803
29946346          TOWN OF BURLINGTON ‐ DEPT 520              PO BOX 4110                                                                                                             WOBURN                  MA           01888‐4110
                  TOWN OF BURLINGTON, SEALER OF WEIGHTS &
29949298          MEASURES                                   29 CENTER STREET                                                                                                        BURLINGTON              MA           01803
29946348          TOWN OF CARY, NC                           PO BOX 71090                                                                                                            CHARLOTTE               NC           28272‐1090
29946349          TOWN OF CHRISTIANSBURG                     100 E MAIN ST                                                                                                           CHRISTIANSBURG          VA           24073‐3029
29946351          TOWN OF CLARENCE                           BUILDING DEPARTMENT                 ONE TOWN PLACE                                                                      CLARENCE                NY           14031
29946352          TOWN OF CLINTON                            TAX COLLECTOR                       54 E MAIN STREET                                                                    CLINTON                 CT           06413
30208942          TOWN OF COLLIERVILLE                       500 POPLAR VIEW PARKWAY                                                                                                 COLLIERVILLE            TN           38017
29946353          TOWN OF CORTE MADERA                       PO BOX 159                                                                                                              CORTE MADERA            CA           94925
29946354          TOWN OF CULPEPER                           400 S MAIN ST #105                                                                                                      CULPEPER                VA           22701
29946356          TOWN OF CUTLER BAY                         OFFICE OF THE TOWN CLERK            10720 CARIBBEAN BLVD STE 105                                                        CUTLER BAY              FL           33189
29946357          TOWN OF DARTMOUTH                          PO BOX 981003                                                                                                           BOSTON                  MA           02298‐1003
29964832          TOWN OF DARTMOUTH BOARD OF HEALTH          TOWN OF DARTMOUTH                   PO BOX 79399                                                                        DARTMOUTH               MA           02747
29946359          TOWN OF DARTMOUTH, MA                      PO BOX 981003                                                                                                           BOSTON                  MA           02298‐1003
29946360          TOWN OF EASTON MARYLAND                    PERSONAL PROPERTY TAX               PO BOX 520                                                                          EASTON                  MD           21601
29946361          TOWN OF ENFIELD                            PO BOX 10007                                                                                                            LEWISTON                ME           04243‐9434
30212031          TOWN OF ESOPUS LIBRARY                     128 CANAL ST                                                                                                            PORT EWEN               NY           12466
29946363          TOWN OF GILBERT                            ALARM UNIT                          90 EAST CIVIC CENTER DR                                                             GILBERT                 AZ           85296
29946365          TOWN OF GILBERT, AZ                        PO BOX 52653                                                                                                            PHOENIX                 AZ           85072‐2653
29946366          TOWN OF GRAND CHUTE                        1900 GRAND CHUTE BLVD                                                                                                   GRAND CHUTE             WI           54913
29946367          TOWN OF GREENBURGH                         POLICE DEPARTMENT                   188 TARRYTOWN ROAD                                                                  WHITE PLAINS            NY           10607




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29946368          TOWN OF HADLEY                             100 MIDDLE STREET                                                                                                 HADLEY                                  MA           01035
29964838          TOWN OF HAMDEN COLLECTOR OF TAXES          PERSONAL PROPERTY TAX         MEMORIAL TOWN HALL                                                                  HAMDEN                                  CT           06518
30254488          Town of Hamden, Tax Collector              2750 Dixwell Ave                                                                                                  Hamden                                  CT           06518
29946369          TOWN OF HANOVER                            ATTENTION: TOWN CLERK         550 HANOVER STREET                                                                  HANOVER                                 MA           02339
29964840          TOWN OF HANOVER ‐ TOWN CLERK               ATTENTION: TOWN CLERK         550 HANOVER STREET                                                                  HANOVER                                 MA           02339
29964841          TOWN OF HANOVER BOARD OF HEALTH            550 HANOVER ST                                                                                                    HANOVER                                 MA           02339
29946370          TOWN OF HENRIETTA                          475 CALKINS RD                                                                                                    HENRIETTA                               NY           14467
29946371          TOWN OF HORSEHEADS                         CODE ENFORCEMENT              150 WYGANT ROAD                                                                     HORSEHEADS                              NY           14845
29946372          TOWN OF LADY LAKE                          409 FENNELL BLVD                                                                                                  LADY LAKE                               FL           32159
29946374          TOWN OF LUDLOW                             COLLECTOR'S OFFICE            488 CHAPIN ST                                                                       LUDLOW                                  MA           01056
30279054          Town of Manchester                         41 Center Street                                                                                                  Manchester                              CT           06040
29946375          TOWN OF MANCHESTER                         COLLECTOR OF REVENUE          41 CENTER STREET                                                                    MANCHESTER                              CT           06040
29946376          TOWN OF METHUEN                            PO BOX 397                                                                                                        METHUEN                                 MA           01844
29946377          TOWN OF MIDDLETON                          MIDDLETON TOWN HALL           48 S MAIN STREET                                                                    MIDDLETON                               MA           01949

29949308          TOWN OF MIDDLETOWN ‐ BOARD OF HEALTH       BOARD OF HEALTH               195 NORTH MAIN STREET                                                               MIDDLETON                               MA           01949
29953835          TOWN OF MILFORD                            MILFORD TOWN HALL             52 MAIN STREET ROOM 6                                                               MILFORD                                 MA           01757
30208943          TOWN OF MONROE                             7 FAN HILL RD                                                                                                     MONROE                                  CT           06468
29953836          TOWN OF NATICK                             13 EAST CENTRAL ST                                                                                                NATICK                                  MA           01760
29953837          TOWN OF NATICK, MA                         13 EAST CENTRAL ST                                                                                                NATICK                                  MA           01760
                                                             TOWN HALL‐ATTENTION FINANCE
29953838          TOWN OF NEWINGTON                          DEPARTM                       131 CEDAR STREET                                                                    NEWINGTON                               CT           06111
29953839          TOWN OF NIAGARA                            TOWN BUSINESS REGISTER        7105 LOCKPORT ROAD                                                                  NIAGARA FALLS                           NY           14305
29953840          TOWN OF NIAGARA                            TOWN CLERK                    7105 LOCKPORT ROAD                                                                  NIAGARA FALLS                           NY           14305

29949313          TOWN OF NIAGARA ‐ DEPT OF INSPECTIONS      TOWN BUSINESS REGISTER        7105 LOCKPORT ROAD                                                                  NIAGARA FALLS                           NY           14305
29953842          TOWN OF NORTH ATTLEBORO                    BOARD OF HEALTH               43 S WASHINGTON STREET                                                              NORTH ATTLEBORO                         MA           02760
                  TOWN OF NORTH ATTLEBORO ‐ BOARD OF
29949314          HEALTH                                     BOARD OF HEALTH               43 S WASHINGTON STREET                                                              NORTH ATTLEBORO                         MA           02760
29953845          TOWN OF NORTH ATTLEBOROUGH                 49 WHITING STREET                                                                                                 NORTH ATTLEBOROUGH                      MA           02760
29953843          TOWN OF NORTH ATTLEBOROUGH                 PO BOX 871                                                                                                        NORTH ATTLEBORO                         MA           02761
29953846          TOWN OF QUEEN CREEK                        22350 S ELLSWORTH ROAD                                                                                            QUEEN CREEK                             AZ           85142
29946379          TOWN OF QUEEN CREEK WATER, AZ              PO BOX 29014                                                                                                      PHOENIX                                 AZ           85038‐9014
29946381          TOWN OF RAYNHAM                            558 SOUTH MAIN STREET                                                                                             RAYNHAM                                 MA           02767
29946382          TOWN OF RAYNHAM                            TOWN OFFICES                  53 ORCHARD STREET                                                                   RAYNHAM                                 MA           02767
29946383          TOWN OF RAYNHAM, MA                        558 S MAIN ST                                                                                                     RAYNHAM                                 MA           02767‐1677
29946384          TOWN OF RIB MOUNTAIN TREASURER             3700 NORTH MOUNTAIN RD                                                                                            WAUSAU                                  WI           54401‐9274
29946386          TOWN OF SAUGUS                             298 CENTRAL STREET                                                                                                SAUGUS                                  MA           01906
29946385          TOWN OF SAUGUS                             COLLECTOR OF TAXES            PO BOX 4157                                                                         WOBURN                                  MA           01888‐4157
29946387          TOWN OF SAUGUS, MA                         298 CENTRAL STREET                                                                                                SAUGUS                                  MA           01906
29946388          TOWN OF SAUGUS, MA                         PO BOX 4157                                                                                                       WOBURN                                  MA           01888‐4157
29946389          TOWN OF SCHERERVILLE                       10 EAST JOLIET STREET                                                                                             SCHERERVILLE                            IN           46375

29964848          TOWN OF SCHERERVILLE ‐ BUSINESS RENEWALS   10 EAST JOLIET STREET                                                                                             SCHERERVILLE                            IN           46375
29946391          TOWN OF SEABROOK                           PO BOX 456                                                                                                        SEABROOK                                NH           03874‐0456
29964849          TOWN OF SEABROOK ‐ BLDG & HEALTH           PO BOX 456                                                                                                        SEABROOK                                NH           03874‐0456
29946393          TOWN OF SEEKONK                            85 HIGHLAND AVE.                                                                                                  SEEKONK                                 MA           02771
29946392          TOWN OF SEEKONK                            PO BOX 504                                                                                                        MEDFORD                                 MA           02155‐0006
29946394          TOWN OF SEEKONK TREASURER                  100 PECK STREET                                                                                                   SEEKONK                                 MA           02771
29946395          TOWN OF SHREWSBURY                         COLLECTOR OF TAXES            PO BOX 725                                                                          READING                                 MA           01867‐0405
29949755          TOWN OF SHREWSBURY, MA                     100 MAPLE AVENUE                                                                                                  SHREWSBURY                              MA           01545
29946396          TOWN OF SHREWSBURY, MA                     PO BOX 725                                                                                                        READING                                 MA           01867‐0405
29946397          TOWN OF SOUTHINGTON TAX COLL.              P.O. BOX 579                                                                                                      SOUTHINGTON                             CT           06489‐0579
29946398          TOWN OF SUMMERVILLE                        200 S MAIN STREET                                                                                                 SUMMERVILLE                             SC           29483
                  TOWN OF SUMMERVILLE ‐ BUSINESS LICENSE
29964853          DEPT                                       200 S MAIN STREET                                                                                                 SUMMERVILLE                             SC           29483
29946399          TOWN OF SWANSEA                            TOWN CLERK'S OFFICE           81 MAIN STREET                                                                      SWANSEA                                 MA           02777
29946400          TOWN OF SWANSEA ‐ BOARD OF HEALTH          68 STEVENS RD                                                                                                     SWANSEA                                 MA           02777
29946401          TOWN OF TOPSHAM                            100 MAIN STREET                                                                                                   TOPSHAM                                 ME           04086
29946402          TOWN OF TYNGSBOROUGH                       TOWN HALL‐TOWN CLERK          25 BRYANTS LANE                                                                     TYNGSBORO                               MA           01879‐1003
29946403          TOWN OF ULSTER, NY                         1 TOWN HALL DRIVE                                                                                                 LAKE KATRINE                            NY           12449

30208944          TOWN OF VICTORIA PARK                      27 SUSSEX STREET                                                                                                  EAST VICTORIA PARK, WESTERN AUSTRALIA                6101            AUSTRALIA




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LC_0682           Town of Victoria Park Library           27 Sussex Street                                                                                                      Victoria Park, WA                       6979            Australia
29946404          Name on file                            Address on file
29946406          TOWN OF WALLKILL, NY                    PO BOX 6705                                                                                                           SOUTHEASTERN               PA           19398
29946407          TOWN OF WALPOLE                         FINANCE DEPARTMENT                 PO BOX 30                                                                          MEDFORD                    MA           02155‐0001
29946409          TOWN OF WALPOLE ‐ TOWN HALL             135 SCHOOL ST                                                                                                         WALPOLE                    MA           02081
29946411          TOWN OF WARRENTON                       PO DRAWER 341                                                                                                         WARRENTON                  VA           22186
29946413          TOWN OF WARRENTON, VA                   P.O. DRAWER 341                                                                                                       WARRENTON                  VA           20188‐0341
30392870          Name on file                            Address on file
30392871          Name on file                            Address on file
30401289          Name on file                            Address on file
30208947          TOWNSEND PUBLIC LIBRARY                 12 DUDLEY RD.                                                                                                         TOWNSEND                   MA           01469
30416363          Name on file                            Address on file
29951804          TOWNSHIP OF ALPENA                      PERSONAL PROPERTY TAXES 348        4385 US 23 NORTH                                                                   ALPENA                     MI           49707
29951805          TOWNSHIP OF ALPENA, MI                  4385 US 23 NORTH                                                                                                      ALPENA                     MI           49707
30356414          TOWNSHIP OF ALPENA, MI                  BAVER, FLORIP & WOJDA PLC          109 E. CHISHOLM ST                                                                 ALPENA                     MI           49707
29951806          TOWNSHIP OF CONCORD                     43 THORNTON RD., ATTN SUSAN FOX                                                                                       GLEN MILLS                 PA           19342
29951807          TOWNSHIP OF FALLS                       188 LINCOLN HIGHWAY STE 100                                                                                           FAIRLESS HILLS             PA           19030
29951808          TOWNSHIP OF FRAZIER                     592 PITTSBURGH MILLS CIR                                                                                              TARENTUM                   PA           15084
29951809          TOWNSHIP OF FT GRATIOT                  3720 KEEWAHDIN ROAD                                                                                                   FORT GRATIOT               MI           48059

29951810          TOWNSHIP OF HAMILTON                    BUREAU OF FIRE PREVENTION          6101 THIRTEENTH STREET SUITE 207                                                   MAYS LANDING               NJ           08330
29951811          TOWNSHIP OF HAMILTON                    LICENSING OFFICE                   6101 13TH STREET ROOM 201                                                          MAYS LANDING               NJ           08330

                  TOWNSHIP OF HAVELOCK BELMONT METHUEN
30208948          PUBLIC LIBRARY ‐ CORDOVA BRANCH      55 ALFRED STREET EAST                                                                                                    CORDOVA MINES              ON           K0L 1Z0         CANADA
                                                                                             PO BOX 6006, 2207 LAWRENCEVILLE
29951812          TOWNSHIP OF LAWRENCE                    FIRE MARSHALL'S OFFICE             RD                                                                                 LAWRENCEVILLE              NJ           08648
29949321          TOWNSHIP OF LAWRENCE                    PO BOX 6006                                                                                                           LAWRENCEVILLE              NJ           08648
29949322          TOWNSHIP OF MARPLE                      PO BOX 38                                                                                                             BRIDGEPORT                 PA           19405
29951813          TOWNSHIP OF ROBINSON                    1000 CHURCH HILL ROAD                                                                                                 PITTSBURGH                 PA           15205
29951814          TOWNSHIP OF ROXBURY                     HEALTH DEPARTMENT                  72 EYLAND AVE                                                                      SUCCASUNNA                 NJ           07876

29949323          TOWNSHIP OF ROXBURY HEALTH DEPARTMENT   HEALTH DEPARTMENT                  72 EYLAND AVE                                                                      SUCCASUNNA                 NJ           07876
                  TOWNSHIP OF ROXBURY SEWER DEPARTMENT,
29946414          PA                                      1715 ROUTE 46                                                                                                         LEDGEWOOD                  NJ           07852
                  TOWNSHIP OF ROXBURY SEWER DEPARTMENT,
29946415          PA                                      PO BOX 4248                                                                                                           LANCASTER                  PA           17604‐4248
29946416          TOWNSHIP OF TOMS RIVER                  DEPT OF HEALTH                     P.O. BOX 728                                                                       TOMS RIVER                 NJ           08754

29949324          TOWNSHIP OF TOMS RIVER DEPT OF HEALTH   DEPT OF HEALTH                     P.O. BOX 728                                                                       TOMS RIVER                 NJ           08754
29946417          TOWNSHIP OF WHITEHALL                   3221 MACARTHUR RD                                                                                                     WHITEHALL                  PA           18052

29946418          TOWNSHIP OF WOODBRIDGE                  2 GEORGE FREDERICK PLAZA           DEPT OF HEALTH & HUMAN SERVICE                                                     WOODBRIDGE                 NJ           07095
29946419          TOWNSHIP OF WOODBRIDGE                  DEPT OF HEALTH & HUMAN SERVICES    2 GEORGE FREDERICK PLAZA                                                           WOODBRIDGE                 NJ           07095

29949759          TOWNSHIP OF WOODBRIDGE SEWER UTILITY    1 MAIN STREET                                                                                                         WOODBRIDGE                 NJ           07095

29946420          TOWNSHIP OF WOODBRIDGE SEWER UTILITY    P.O. BOX 1447                                                                                                         WOODBRIDGE                 NJ           07095‐1447

29946421          TOWNSHIP OF WOODBRIDGEDEPT              2 GEORGE FREDERICK PLAZA           DEPT OF HEALTH & HUMAN SERVICE                                                     WOODBRIDGE                 NJ           07095
29946422          Name on file                            Address on file
LC_0684           Townsville Citylibraries                280 Flinders Street                                                                                                   Townsville, Queensland                  4810            Australia
30208950          TOWNSVILLE CITYLIBRARIES                PO BOX 1268                                                                                                           TOWNSVILLE, QLD                         4810            AUSTRALIA
30167373          ToyHouse LLC                            Brian E Specht ‐ CEO               37 Steamboat Wharf                                                                 Mystic                     CT           06355

29946424          TOYOTA MATERIAL HANDLING MIDWEST IN     PROLIFT TOYOTA MATERIAL HANDLING   12001 PLANTSIDE DR.                                                                LOUISVILLE                 KY           40299
29946425          TOYSMITH                                541 WEST VALLEY HWY                                                                                                   AUBURN                     WA           98047
29946426          TPC PACKAGING SOLUTIONS INC             PO BOX 644917                                                                                                         PITTSBURGH                 PA           15264‐4917
29946427          TPP 217 TAYLORSVILLE LLC                C/O NEWMARK                        376 EAST 400 SOUTH #120                                                            SALT LAKE CITY             UT           84111
30212600          TRACEY APPLEBEE                         Address on file
IC_093            TRACEY‐‐RENEE HUBBARD                   Address on file
30223280          TRACEY‐RENEE HUBBARD                    Address on file
29946449          Name on file                            Address on file




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  ADDRESS ID                           NAME                               ADDRESS 1                           ADDRESS 2                         ADDRESS 3                ADDRESS 4                     CITY        STATE     POSTAL CODE        COUNTRY
29964213          TRACY BRIGGS                             Address on file
30208952          TRACY MEMORIAL LIBRARY                   304 MAIN STREET                                                                                                           NEW LONDON               NH           03257
29946488          TRACY WILSON‐KUKER                       Address on file
30397272          Name on file                             Address on file
30394674          Name on file                             Address on file
29946491          TRAFFIX USA INC                          PO BOX 850098                                                                                                             MINNEAPOLIS              MN           55485‐0098
29946492          TRAILER ONE INC                          1030 WEST LIBERTY ST.                                                                                                     MEDINA                   OH           44256
30347660          Name on file                             Address on file
30227293          Name on file                             Address on file
30356772          Name on file                             Address on file
30344646          Name on file                             Address on file
30386031          Name on file                             Address on file
30334767          Name on file                             Address on file
30401770          Name on file                             Address on file
30357418          Name on file                             Address on file
29946496          TRANS FAIR USA                           FAIR TRADE USA                        360 GRAND AVE., #311                                                                OAKLAND                  CA           94610‐4840

30211546          TRANSAMERICA INTERNATIONAL LIMITED       2/F Hang Wan Bldf                     42‐44 Granville Road Tsim Sha Tsui HK                                               Hong Kong                                             HONG KONG
29946497          TRANSCORE CNUS INC                       DAT SOLUTIONS LLC                     BOX 3801, PO BOX 783801                                                             PHILADELPHIA             PA           19178‐3801
                                                                                                 ATTN: DEPUTY GENERAL COUNSEL,
30213559          TRANSFORM BOHEMIA NY LLC                 5407 TRILLIUM BOULEVARD, SUITE B120   REAL ESTATE                                                                         HOFFMAN ESTATES          IL           60192
30183360          Transform Bohemia NY LLC                 Matthew C Joly                        Assistant General Counsel          5407 Trillium Boulevard, B120                    Hoffman Estates          IL           60192
29946500          TRANSPORT SECURITY INC                   820 SOUTH PINE STREET                                                                                                     WACONIA                  MN           55387
30212032          TRANSYLVANIA COUNTY LIBRARY              212 S GASTON ST                                                                                                           BREVARD                  NC           28712
29946503          Name on file                             Address on file
                  TRAVELERS PROPERTY CASUALTY COMPANY OF
30212652          AMERICA                                  ONE TOWER SQUARE                                                                                                          HARTFORD                 CT           06183
29946507          TRAVELUXE LLC                            250 PLYMOUTH DR.                                                                                                          BAY VILLAGE              OH           44140
30208954          TRAVERSE AREA DISTRICT LIBRARY           610 WOODMERE AVE.                                                                                                         TRAVERSE CITY            MI           49686
29946509          TRAVERSE CITY LIGHT & POWER              1131 HASTINGS STREET                                                                                                      TRAVERSE CITY            MI           49686
29946510          TRAVERSE CITY LIGHT & POWER              PO BOX 5920                                                                                                               TRAVERSE CITY            MI           49696‐5920
30333446          Traverse City Light & Power (TCLP)       Sheri Pilate                          CSS/Paralegal                      1131 Hastings St                                 Traverse City            MI           49686
30208955          TRAVERSE DES SIOUX LIBRARY SYSTEM        1400 MADISON AVENUE                   SUITE 610                                                                           MANKATO                  MN           56001
29946513          TRAVIS A HULSEY, DIRECTOR                PO BOX 12207                                                                                                              BIRMINGHAM               AL           35202‐2207
29946518          TRAVIS BEALER                            Address on file
30416342          Travis County                            Travis County Attorney's Office       c/o Jason A. Starks                P.O. Box 1748                                    Austin                   TX           78767
29946519          TRAVIS COUNTY TAX COLLECTOR              PO BOX 1748                                                                                                               AUSTIN                   TX           78767
                  TRAVIS COUNTY, TX COUNTY CONSUMER
30208037          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 700 LAVACA ST, 5TH FLOOR              PO BOX 1748                                      AUSTIN                   TX           78767
30347140          Name on file                             Address on file
30332129          Name on file                             Address on file

29964227          TRCF REDONDO BEACH LLC                   HILTON GARDEN INN REDONDO BEACH       2410 MARINE AVENUE                                                                  REDONDO BEACH            CA           90278
30397790          Name on file                             Address on file
IC_094            TREASURE MALLORY                         Address on file
29946534          TREASURER ‐ SPOTSYLVANIA COUNTY          P.O. BOX 9000                                                                                                             SPOTSYLVANIA             VA           22553‐9000
29946535          TREASURER CITY OF ROANOKE                PO BOX 1451                                                                                                               ROANOKE                  VA           24007‐1451
29946536          TREASURER FREDERICK COUNTY               COUNTY LICENSE TAX                    PO BOX 552                                                                          WINCHESTER               VA           22601
29946537          TREASURER MARSHALL COUNTY                112 W JEFFERSON ST RM 206                                                                                                 PLYMOUTH                 IN           46563‐1798
29946538          TREASURER MISSOULA COUNTY                PO BOX 7249                                                                                                               MISSOULA                 MT           59807
29946539          TREASURER OF GRANT COUNTY                401 S ADAMS STE A‐218                                                                                                     MARION                   IN           46953‐2099
29946540          TREASURER OF SPOTSYLVANIA                ATTN LARRY K PRITCHETT                PO BOX 9000                                                                         SPOTSYLVANIA             VA           22553‐9000

29952353          TREASURER OF STATE OF ILLINOIS           UNCLAIMED PROPERTY DIVISION           1 EAST OLD STATE CAPITOL PLAZA                                                      SPRINGFIELD              IL           62701‐1320
29952354          TREASURER OF TIPPECANOE COUNTY           PERSONAL PROPERTY TAX                 20 N 3RD STREET                                                                     LAFAYETTE                IN           47901
29952355          TREASURER OF VIGO COUNTY                 PERSONAL PROPERTY TAX                 201 CHERRY STREET                                                                   TERRE HAUTE              IN           47807
29952356          TREASURER STATE OF CONNECTICUT           UNCLAIMED PROPERTY DIVISION           PO BOX 150435                                                                       HARTFORD                 CT           06115‐0435
29952357          TREASURER STATE OF IOWA                  IOWA DEPT OF REVENUE                  PO BOX 10455                                                                        DES MOINES               IA           50306‐0455
29952358          TREASURER STATE OF OHIO                  DIVISION OF IC, ATT: FISCAL ELEVATO   6606 TUSSING RD, PO BOX 4009                                                        REYNOLDSBURG             OH           43068‐9009
29952359          TREASURER VANDERBURGH COUNTY             CIVIC CENTER COMPLEX                  PO BOX 77                                                                           EVANSVILLE               IN           47701‐0077
29952360          TREASURER, CHESTERFIELD COUNTY           9901 LORI ROAD                                                                                                            CHESTERFIELD             VA           23832
29952120          TREASURER, CHESTERFIELD COUNTY           N EVERETTE CARMICHAEL                 PO BOX 124                                                                          CHESTERFIELD             VA           23832
29952361          TREASURER, CHESTERFIELD COUNTY           PO BOX 71143                                                                                                              CHARLOTTE                NC           28272‐1143




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  ADDRESS ID                           NAME                            ADDRESS 1                         ADDRESS 2                        ADDRESS 3                 ADDRESS 4                    CITY        STATE     POSTAL CODE           COUNTRY
29952121          TREASURER, CITY OF HAMPTON              PO BOX 636                                                                                                            HAMPTON                 VA           23669‐0636
29952122          TREASURER, CITY OF ROANOKE              COMMISSIONER OF REVENUE             215 CHURCH AVE SW RM 251                                                          ROANOKE                 VA           24011
29952362          TREASURER, FAUQUIER COUNTY              PO BOX 677                                                                                                            WARRENTON               VA           22186
                  TREASURER, SPOTSYLVANIA COUNTY ‐ COMM
29952124          OF REVENUE                              ATTN LARRY K PRITCHETT              PO BOX 9000                                                                       SPOTSYLVANIA            VA           22553‐9000
29952125          TREASURER, STATE OF IOWA                SALES/USE TAX PROCESSING            PO BOX 10412                                                                      DES MOINES              IA           50306‐0462
29952126          TREASURER, STATE OF OHIO                6606 TUSSING RD                     PO BOX 4009                                                                       REYNOLDSBURG            OH           43068‐9009
29952363          TREASURER‐MARTINSVILLE                  PERSONAL PROPERTY TAX               PO BOX 1023                                                                       MARTINSVILLE            VA           24114
29952364          TREASURER‐ST MARYS COUNTY               PERSONAL PROPERTY TAX FO527895      PO BOX 642                                                                        LEONARDTOWN             MD           20650
29946541          TREASURER‐TOWN OF RUTLAND               PO BOX 225                                                                                                            CENTER RUTLAND          VT           05736‐0225
29946542          TREASURER‐TRAVERSE CITY                 CITY & COUNTY PERS PROP TAX         PO BOX 592                                                                        TRAVERSE CITY           MI           49685
29949331          TREASURER‐TWP OF CANTON                 PR PRP TX C21                       1150 CANTON CTR ROAD S                                                            CANTON                  MI           48188
29946543          TREASURER‐TWP OF CANTON                 PR PRP TX C21 71 999000856000       1150 CANTON CTR ROAD S                                                            CANTON                  MI           48188
                                                                                              ANDREW JACKSON STATE BLDG
29952865          TREASURY DEPT, STATE OF TENNESSEE       UNCLAIMED PROPERTY DIVISION         15TH FL                                                                           NASHVILLE               TN           37243
30358274          Name on file                            Address on file
30332392          Name on file                            Address on file
30394612          Name on file                            Address on file
30332553          Name on file                            Address on file
30260566          Name on file                            Address on file
30352748          Name on file                            Address on file
29946549          TRENDS INTERNATIONAL                    5188 WEST 74TH ST                                                                                                     INDIANAPOLIS            IN           46268
29964900          TRENDS INTERNATIONAL, LLC               5188 WEST 74TH STREET                                                                                                 INDIANAPOLIS            IA           46268
30208956          TRENTON FREE PUBLIC LIBRARY             120 ACADEMY STREET                                                                                                    TRENTON                 NJ           08608
30331990          Name on file                            Address on file
29964241          TREVOR GIBSON                           Address on file
29946585          TRG MAINTENANCE LLC                     514 N STATE STREET, STE B                                                                                             WESTERVILLE             OH           43082
30213275          TRI MARSH REALTY LLC                    4801 HARBOR DR.                     ATTN: BO AVERY                                                                    FLOWER MOUND            TX           75022
29946588          TRI MARSH REALTY LLC                    ATTN: BO AVERY                      4801 HARBOR DR.                                                                   FLOWER MOUND            TX           75022
30223281          TRIAD MANUFACTURING INC                 4321 SEMPLE AVE                                                                                                       ST. LOUIS               MO           63120
30210647          TRIBURG IMTIARA CONSULTANTS LLP         15 COMMUNITY CENTRE SAKET                                                                                             NEW DELHI                            110 017         INDIA
30210648          TRIBURG IMTIARA CONSULTANTS LLP         BASEMENT                            15 COMMUNITY CENTRE SAKET                                                         NEWDELHI                             110 017         INDIA
29946596          TRI‐CITY INDUSTRIAL POWER LLC           PO BOX 268                                                                                                            MIAMISBURG              OH           45343‐0268

30210994          TRI‐COUNTY PLAZA 1989 LIMITED PARTNERSHIP C/O GLIMCHER GROUP INCORPORATED   500 GRANT STREET, SUITE 2000                                                      PITTSBURGH              PA           15219
                                                                                              ATTN: DIANE E. DIGUILIO, VP &
29946597          TRI‐COUNTY PLAZA 1989 LIMITED PARTNERSHIP C/O GLIMCHER GROUP INCORPORATED   CONTROLLER                       500 GRANT STREET, SUITE 2000                     PITTSBURGH              PA           15219
29951450          TRI‐COUNTY PLAZA 1989 LP                  500 GRANT STREET, SUITE 2000                                                                                        PITTSBURGH              PA           15219
29946598          TRI‐COUNTY PLAZA 1989 LP                  PO BOX 644759                                                                                                       PITTSBURGH              PA           15264
30335649          Name on file                              Address on file
29949803          TRIMARAN ADVISORS, LLC                    600 LEXINGTON AVENUE              FLOOR 7                                                                           NEW YORK                NY           10022
29964901          TRIMARAN CAVU 2019‐1 LTD.                 600 LEXINGTON AVENUE              FLOOR 7                                                                           NEW YORK                NY           10022
29964902          TRIMARAN CAVU 2021‐2 LTD.                 600 LEXINGTON AVENUE              FLOOR 7                                                                           NEW YORK                NY           10022
29964903          TRIMARAN CAVU 2021‐3 LTD.                 600 LEXINGTON AVENUE              FLOOR 7                                                                           NEW YORK                NY           10022
30402073          Name on file                              Address on file
29946601          TRIMBLE MAPS INC                          PO BOX 204769                                                                                                       DALLAS                  TX           75320‐4769
29954016          TRINITY MILAN                             Address on file
29949332          TRINITY SCHOOL DISTRICT, COLLECTOR        QUARTERLY MERCANTILE TAX          550 WASHINGTON ROAD                                                               WASHINGTON              PA           15301
29946636          Name on file                              Address on file
30223282          TRI‐NORTH BUILDERS INC                    2625 RESEARCH PARK DR.                                                                                              FITCHBURG               WI           53711
30213287          TRIPLE BAR PRIONCE WILLIAM, LLC           C/O J.C. BAR PROPERTIES, INC.     224 ST. CHARLES WAY, SUITE 290                                                    YORK                    PA           17402
30213647          TRIPLE NET CLINTON, LLC                   ATTN: SHLOMOTAJERSTEIN            1541 E. 29TH STREET                                                               BROOKLYN                NY           11229
30276740          Name on file                              Address on file
29946646          TRISCENIC PRODUCTION SERVICES INC         24911 AVENUE STANFORD                                                                                               SANTA CLARITA           CA           91355
29946665          TRISTA DOLPHIN                            Address on file
29946680          TRISTAN PARSONS                           Address on file
29946686          TRISTEN HANKS                             Address on file
30332239          Name on file                              Address on file
30213664          TRI‐W GROUP                               C/O TRANSWESTERN PROPERTY         100 SE CRYSTAL LAKE DRIVE                                                         CORVALLIS               OR           97333
29946698          TRNA NEWCO INC                            TUV RHEINLAND OF N AMERICA INC    PO BOX 392672                                                                     PITTSBURGH              PA           15251‐9672
30397568          Name on file                              Address on file
30340627          Name on file                              Address on file
30349778          Name on file                              Address on file




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30397717          Name on file                              Address on file
30340896          Name on file                              Address on file
30340916          Name on file                              Address on file
30212643          TROY GUNNOE                               Address on file
29946702          Name on file                              Address on file
30208957          TROY PUBLIC LIBRARY                       510 W. BIG BEAVER                                                                                                     TROY                  MI           48084
29946708          Name on file                              Address on file
29946710          Name on file                              Address on file
30223283          TRU VUE INC                               9400 W 55TH ST                                                                                                        COUNTRYSIDE           IL           60525
29946712          TRUCKEE MEADOWS WATER AUTHORITY           1355 CAPITAL BLVD                                                                                                     RENO                  NV           89502
29946713          TRUCKEE MEADOWS WATER AUTHORITY           PO BOX 12000                                                                                                          RENO                  NV           89520
30395495          Name on file                              Address on file
30397499          Name on file                              Address on file
29946718          Name on file                              Address on file
                  TRUMBULL COUNTY, OH COUNTY CONSUMER
30208038          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 160 HIGH ST NW                                                                     WARREN                OH           44481
30285848          Name on file                              Address on file
30210902          TRUSS GREENWOOD IN LLC                    4300 E. FIFTH AVENUE                 ATTN: LEASE ADMINISTRATION                                                       COLUMBUS              OH           43219
                                                            ATTN: LEASE ADMINISTRATION, MICHELLE
29946720          TRUSS GREENWOOD IN LLC                    STUART                               4300 E. FIFTH AVENUE                                                             COLUMBUS              OH           43219
30223284          TRUVERIS INC                              2 PARK AVE., STE #1500                                                                                                NEW YORK              NY           10016
29946723          TRX INC                                   PO BOX 92916                                                                                                          CLEVELAND             OH           44194
30347797          Name on file                              Address on file
29946739          TUALATIN VALLEY WATER DISTRICT            PO BOX 4780                                                                                                           PORTLAND              OR           97208‐4780
                  TUCANADA HOLDINGS, SEYCO21 LLC, HPE L12
                  LMY LLC, HPE S12 LMYLLC, MONT REVERSE
30213342          EXCHANGE, LLC                             C/O MNG MANAGEMENT, LLC             415 S. CEDROS AVENUE, SUITE 240                                                   SOLANA BEACH          CA           92075
LC_0688           Tuckahoe Public Library                   71 Columbus Avenue                                                                                                    Tuckahoe              NY           10707‐2596
30397750          Name on file                              Address on file
30262587          Name on file                              Address on file
30332679          Name on file                              Address on file
30353563          Name on file                              Address on file
30395395          Name on file                              Address on file
29946745          TUCSON ELECTRIC POWER COMPANY             PO BOX 5171                                                                                                           HARLAN                IA           51593‐0671
30386584          Name on file                              Address on file
30347707          Name on file                              Address on file
30333501          Name on file                              Address on file
29946748          TULARE COUNTY                             ENVIRONMENTAL HEALTH                5957 S MOONEY BLVD                                                                VISALIA               CA           93277

29946749          TULARE COUNTY AG COMM                     AGRICULTURAL COMMISSIONER/SEALER    4437 S LASPINA ST, STE A                                                          TULARE                CA           93274
                  TULARE COUNTY AGRICULTURAL
29949333          COMMISSIONER/SEALER                       AGRICULTURAL COMMISSIONER/SEALER    4437 S LASPINA ST, STE A                                                          TULARE                CA           93274
29949334          TULARE COUNTY ENVIRONMENTAL HEALTH        ENVIRONMENTAL HEALTH                5957 S MOONEY BLVD                                                                VISALIA               CA           93277
                                                                                                                                  221 SOUTH MOONEY BLVD, ROOM
29946751          TULARE COUNTY TAX COLLECTOR               COUNTY CIVIC CENTER                 ROOM 104‐E                        104 E                                           VISALIA               CA           93291
29949335          TULARE COUNTY TAX COLLECTOR               COUNTY CIVIC CENTER                 ROOM 104‐E                                                                        VISALIA               CA           93291
29946750          TULARE COUNTY TAX COLLECTOR               P.O. BOX 30329                                                                                                        LOS ANGELES           CA           90030‐0329
29946752          TULARE KINGS HISPANIC CHAMBER OF C.       1115 W CENTER AVE                                                                                                     VISALIA               CA           93291
29946753          TULLAHOMA CITY RECORDER                   PO BOX 807                                                                                                            TULLAHOMA             TN           37388
29946755          TULLAHOMA UTILITIES AUTHORITY             PO BOX 788                                                                                                            TULLAHOMA             TN           37388
30210730          TULLAHOMA UTILITIES BOARD                 901 S JACKSON ST                                                                                                      TULLAHOMA             TN           37388
30332296          Name on file                              Address on file
29946756          TULSA COUNTY TREASURER                    500 S DENVER AVE                                                                                                      TULSA                 OK           74103‐3899
30278076          Tulsa County Treasurer                    Carol Handy                         218 W 6th St                      8th Fl                                          Tulsa                 OK           74119
30353431          Name on file                              Address on file
30333917          Name on file                              Address on file
30394723          Name on file                              Address on file
29946758          TUOLUMNE COUNTY                           TREASURER TAX COLLECTOR             PO BOX 3248                                                                       SONORA                CA           95370
                  TUOLUMNE COUNTY, CA COUNTY CONSUMER
30208039          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 2 SOUTH GREEN ST                                                                   SONORA                CA           95370
30333403          Tupelo Water & Light                      333 Court St                                                                                                          Tupelo                MS           38804
30333404          Tupelo Water & Light                      PO Box 588                                                                                                            Tupelo                MS           38802
29946762          TUPELO WATER & LIGHT DEPT                 P.O. BOX 588                                                                                                          TUPELO                MS           38802‐0588




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30415211          Name on file                            Address on file
30350360          Name on file                            Address on file
30342633          Name on file                            Address on file
30393104          Name on file                            Address on file
30335183          Name on file                            Address on file
30334912          Name on file                            Address on file
30385118          Name on file                            Address on file
30358092          Name on file                            Address on file
30414501          Name on file                            Address on file
30347652          Name on file                            Address on file
30398226          Name on file                            Address on file
30398227          Name on file                            Address on file
29946765          TURLOCK IRRIGATION DISTRICT             PO BOX 819007                                                                                                            TURLOCK                   CA           95381‐9007
30393688          Name on file                            Address on file
29946766          TURNER BROWN LLC                        105 GRAND AVE., STE 3A                                                                                                   BROOKLYN                  NY           11205
30336643          Name on file                            Address on file
30332755          Name on file                            Address on file
30396718          Name on file                            Address on file
30396717          Name on file                            Address on file
30386106          Name on file                            Address on file
30396669          Name on file                            Address on file
30349717          Name on file                            Address on file
30353319          Name on file                            Address on file
30352935          Name on file                            Address on file
30342637          Name on file                            Address on file
30358210          Name on file                            Address on file
30395080          Name on file                            Address on file
30340635          Name on file                            Address on file
29946769          TUSCALOOSA COUNTY                       SALES TAX RETURN                     P.O. BOX 20738                                                                      TUSCALOOSA                AL           35402‐0738

29946770          TUSCALOOSA COUNTY LICENSE COMMISSION    PO BOX 020737                                                                                                            TUSCALOOSA                AL           35402
29946771          TUSCALOOSA COUNTY SPECIAL TAX BOARD     P.O. BOX 20738                                                                                                           TUSCALOOSA                AL           35402‐0738
29946772          TUSCALOOSA COUNTY TAX COLLECTOR         714 GREENSBORO AVE, RM 124                                                                                               TUSCALOOSA                AL           35401‐1891
                  TUSCALOOSA COUNTY, AL COUNTY CONSUMER
30208040          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 714 GREENSBORO AVENUE                                                                 TUSCALOOSA                AL           35401
30212034          TUSCARAWAS COUNTY PUBLIC LIBRARY        121 FAIR AVENUE NW                                                                                                       NEW PHILADELPHIA          OH           44663

30208961          TUSCARAWAS COUNTY PUBLIC LIBRARY SYSTEM 121 FAIR AVE NW                                                                                                          NEW PHILADELPHIA          OH           44663
                  TUSCARAWAS COUNTY, OH COUNTY CONSUMER
30208041          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION   125 E HIGH AVE                                                                      NEW PHILADELPHIA          OH           44663
30345244          Name on file                            Address on file
30332012          Name on file                            Address on file
29946776          TWC NORTHLAKE LLC                       ESA‐TWC NORTHLAKE LLC                3300 NORTHLAKE PKWY NE                                                              ATLANTA                   GA           30345
30213379          TWIN CITY ESTATE CORPORATION            ATT: LLOYD E. JONES                  17195 NEW COLLEGE AVENUE                                                            WILDWOOD                  MO           63040
29946782          TWIN FALLS COUNTRY TREASURER            P.O. BOX 88                                                                                                              TWIN FALLS                ID           83303‐0088
29946783          TWIN FALLS COUNTRY TREASURER            TWIN FALLS COUNTY WEST               630 ADDISON AVE W. SUITE 2200                                                       TWIN FALLS                ID           83301
29946784          Name on file                            Address on file
29946785          Name on file                            Address on file
30279916          Twin Peaks Holdings LLC                 c/o Mid‐America Real Estate ‐ WI     600 North Plankinton Avenue     Suite 301                                           Milwaukee                 WI           53203
30279917          Twin Peaks Holdings LLC                 David Michael Tanabe                 Attorney                        100 South Fifth Street          Suite 1400          Minneapolis               MN           55402
                                                                                               C/O MID AMERICA REAL ESTATE ‐   600 N. PLANKINTON AVENUE, SUITE
29946787          TWIN PEAKS HOLDINGS, LLC                BAYSIDE MARKETPLACE                  WISCONSIN, LLC                  301                                                 MILWAUKEE                 WI           53203
                                                                                               C/O MID AMERICA REAL ESTATE ‐
30210914          TWIN PEAKS HOLDINGS, LLC                BAYSIDE MARKETPLACE                  WISCONSIN, LLC                                                                      MILWAUKEE                 WI           53203
30208968          TWINKIE CHAN, INC.                      56 SPRINGFIELD DRIVE                                                                                                     SAN FRANCISCO             CA           94132
29946788          Name on file                            Address on file
30395221          Name on file                            Address on file
30223285          TWISTED PEAR CONSULTING INC             2858 WINCHELL RD.                                                                                                        AURORA                    OH           44202
29946789          Name on file                            Address on file
30213104          TWO GUYS PARTNERS, LLC                  C/O GELTMORE, INC.                   P.O. BOX 7459                                                                       ALBUQUERQUE               NM           87194
29946792          Name on file                            Address on file
29946793          TWP OF TOMS RIVER                       FALSE ALARM REDUCTION PROG           P.O. BOX 142976                                                                     IRVING                    TX           75014
29946795          TWYLA CARPENTER                         Address on file




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29946798          Name on file                        Address on file
29946799          TX CRIMSON LLC                      C/O CRIMSON CAPITAL LLC               17 ELM STREET                                                                       MORRISTOWN                NJ           07960
29946800          TX USA CORPORATION                  5201 GREAT AMERICA PKWY                                                                                                   SANTA CLARA               CA           95054
29946801          TX_FRANCHISE_13050                  STATE OF TEXAS COMPTROLLER            CAPITOL STATION                  111 EAST 17TH ST                                   AUSTIN                    TX           78774
29946802          TX‐BUG‐SALES TAX                    PO BOX 12608                                                                                                              AUSTIN                    TX           78711
30213478          TXC CAPITAL, LLC                    C/O CRIMSON CAPITAL LLC               17 ELM STREET                                                                       MORRISTOWN                NJ           07960
29946804          TX‐JAC‐SALES TAX                    PO BOX 12608                                                                                                              AUSTIN                    TX           78711‐2608
29946805          TX‐JAS‐SALES 26020                  PO BOX 13528                                                                                                              AUSTIN                    TX           78711‐3528
29946807          TXU ENERGY/650638                   PO BOX 650638                                                                                                             DALLAS                    TX           75265‐0638
29946809          TY HARDWICK                         Address on file
29946820          Name on file                        Address on file
30208972          TYE PRESTON MEMORIAL LIBRARY        16311 SOUTH ACCESS ROAD                                                                                                   CANYON LAKE               TX           78133

29946824          TYGATE MOTEL CORPORATION            BEST WESTERN WINDJAMMER PLUS INN      1076 WILLISTON RD.                                                                  SOUTH BURLINGTON          VT           05403
30342031          Name on file                        Address on file
29946835          TYLER BROADWAY CENTENNIAL LP        P.O. BOX 841009                                                                                                           DALLAS                    TX           75284‐1009
30213564          TYLER BROADWAY/CENTENNIAL LP        2525 MCKINNON STREET, SUITE 700                                                                                           DALLAS                    TX           75201
29946853          TYLER EDSON                         Address on file
30213024          TYLER KNOFF                         Address on file
29964266          TYLER POLICE DEPT                   BURGLAR ALARM COORDINATOR             711 WEST FERGUSON ST                                                                TYLER                     TX           75702‐5696
29964268          Name on file                        Address on file
29946879          TYLER WEAKLAND                      Address on file
30279050          Name on file                        Address on file
30223286          TYNETTE JONES                       Address on file
29964279          TYREL NYSTROM                       Address on file
30212806          TYSON MEIKLE                        Address on file
30212431          U S AIRFORCE LIBRARIES              3011 HARNEY PATH                                                                                                          JBSA FT SAM HOUSTON       TX           78234
29946917          U. MANSOOR                          Address on file
LC_0690           U.S. Air Force Libraries            2484 Stanley Road                                                                                                         JBSA FT Sam Houston       TX           78234
29950620          U.S. BANK NATIONAL ASSOCIATION      800 NICOLLET MALL                                                                                                         MINNEAPOLIS               MN           55402
30223287          U.S. BANK NATIONAL ASSOCIATION      CORPORATE TRUST SERVICES              CM‐9690 PO BOX 70870                                                                ST PAUL                   MN           55170
                                                                                            1300 PENNSYLVANIA AVENUE N.W.,
29946918          U.S. CUSTOMS & BORDER PROTECTION    IPL/CBP INFO CENTER                   MS: 1345                                                                            WASHINGTON                DC           20229
29946919          U.S. FISH AND WILDLIFE SERVICE      1849 C STREET, NW                                                                                                         WASHINGTON                DC           20240
                                                      C/O INLAND COMPANIES INC. DBA
30213141          U‐BLAINE PROPERTIES LLC             COLLIERS INTERNATIONAL                833 E. MICHIGAN ST., SUITE 500                                                      MILWAUKEE                 WI           53202
30297501          U‐Blaine Properties, LLC            Andrew Robinson                       731 North Jackson Street         Suite 900                                          Milwaukee                 WI           53202
30295674          U‐Blaine Properties, LLC            Andrew Robinson                       Mallery s.c.                     731 North Jackson Street       Suite 900           Milwaukee                 WI           53202
29946923          UBS‐UTILITY BILLING SERVICES        P.O. BOX 8100                                                                                                             LITTLE ROCK               AR           72203‐8100
29946924          UCC DISTRIBUTING INC                2580 PIONEER AVE #A                                                                                                       VISTA                     CA           92081
29946925          UCHIDA OF AMERICA                   3535 DEL AMO BLVD                                                                                                         TORRANCE                  CA           90503‐1637

29946926          UCP INTERNATIONAL CO., LTD.         BLOCK C, 3/F, ELDEX INDUSTRIAL BLDG   21 MA TAU WAI ROAD, HUNGHOM                                                         HONG KONG                                              CHINA
30332669          Name on file                        Address on file
30211547          UDEMY INC                           600 HARRISON ST., 3RD FL.                                                                                                 SAN FRANCISCO             CA           94107
29951983          UDUMA OGIDI                         Address on file
30208973          UEN (UTAH EDUCATION NETWORK)        UNIVERSITY OF UTAH                    101 WASATCH DRIVE                ROOM 215                                           SALT LAKE CITY            UT           84112
30213533          UFPTFC, LLC & BBTFC, LLC            C/O CCA ACQUISITION COMPANY, LLC      5670 WILSHIRE BLVD., STE 1250                                                       LOS ANGELES               CA           90036
29951987          UGI UTILITIES INC                   PO BOX 15503                                                                                                              WILMINGTON                DE           19886‐5503
29951989          UINTAH COUNTY                       152 EAST 100 N                                                                                                            VERNAL                    UT           84078
29951990          UKG KRONOS SYSTEMS LLC              PO BOX 743208                                                                                                             ATLANTA                   GA           30374‐3208
29951991          UKIDZ LLC                           PO BOX 488                                                                                                                LAKE ZURICH               IL           60047
                  ULSTER COUNTY, NY COUNTY CONSUMER
30208042          PROTECTION AGENCY                   ATTN: CONSUMER PROTECTION DIVISION    239 GOLDEN HILL LN                                                                  KINGSTON                  NY           12401
29946929          ULTIMATE RETAIL REALTY LLC          ATTN: EILEEN SPHOR                    1305 BAKER ROAD                                                                     VIRGINIA BEACH            VA           23455
30213519          ULTIMATE RETAIL REALTY, LLC         1305 BAKER ROAD                       ATTN: GLADYS CARTWRIGHT                                                             VIRGINIA BEACH            VA           23455
30335389          Name on file                        Address on file
30350556          Name on file                        Address on file
29946931          UNARCO MATERIAL HANDLING INC        P O BOX 930970                                                                                                            ATLANTA                   GA           31193‐0970
29946933          Name on file                        Address on file
30394642          Name on file                        Address on file
30385676          Name on file                        Address on file
29946936          UNIFIED CONSTRUCTION SYSTEMS        DBA AMERISEAL & RESTORATION           685 HIGH GROVE BLVD                                                                 AKRON                     OH           44312




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  ADDRESS ID                           NAME                                      ADDRESS 1                          ADDRESS 2                         ADDRESS 3                      ADDRESS 4                      CITY            STATE     POSTAL CODE           COUNTRY
29946937          Name on file                                     Address on file
29946938          UNION COUNTY                                     P.O. BOX 580365                                                                                                                CHARLOTTE                    NC           28258‐0365
29946939          Name on file                                     Address on file
30208974          UNION COUNTY LIBRARY SYSTEM                      300 EAST SOUTH STREET                                                                                                          UNION                        SC           29379
29946941          UNION SQUARE ART COLLECTIVE STUDIO               41 UNION SQUARE W., RM 1427                                                                                                    NEW YORK                     NY           10003
29946942          Name on file                                     Address on file
29946943          Name on file                                     Address on file
29946944          Name on file                                     Address on file
29946947          Name on file                                     Address on file
29964948          UNISOURCE ENERGY SERVICES                        2498 AIRWAY AVE.                                                                                                               KINGMAN                      AZ           86401
30210732          UNISOURCE ENERGY SERVICES                        PO BOX 711                                                                                                                     TUCSON                       AZ           85702
29946948          UNITED AIRLINES INC                              ATTN: MONICA                          600 JEFFERSON,19TH FLOOR                                                                 HOUSTON                      TX           77002
29946949          Name on file                                     Address on file
30213339          UNITED INDY INVESTMENTS LLC                      580 E. CARMEL DRIVE, SUITE 100        HIMAN GARG (GARG GROUP)                                                                  CARMEL                       IN           46032
29946952          UNITED RENTALS (NORTH AMERICA) INC               P.O. BOX 100711                                                                                                                ATLANTA                      GA           30384
                  UNITED STATES OF AMERICA ATTORNEY
29946954          GENERAL                                          ATTENTION BANKRUPTCY DEPT             US DEPT OF JUSTICE                950 PENNSYLVANIA AVE NW                                WASHINGTON                   DC           20530‐0001
30211549          UNITED STATES PLASTIC CORP                       1390 NEUBRECHT RD.                                                                                                             LIMA                         OH           45801

30211551          UNITED STATES POSTAL SERVICE                     AR, NATIONAL CUSTOMER SUPPORT CTR     225 N. HUMPHREYS BLVD #501                                                               MEMPHIS                      TN           38188‐1099
29946955          UNITED STATES TREASURY                           INTERNAL REVENUE SERVICE                                                                                                       OGDEN                        UT           84201‐0009
29946956          UNITED STEELWORKERS                              PO BOX 644485                                                                                                                  PITTSBURGH                   PA           15264‐4485
29964949          UNITIL                                           6 LIBERTY LANE WEST                                                                                                            HAMPTON                      NH           03842
29964950          UNITIL ME GAS OPERATIONS                         376 RIVERSIDE INDUSTRIAL PARKWAY                                                                                               PORTLAND                     ME           04103
29946958          UNITIL NH GAS OPERATIONS                         PO BOX 981077                                                                                                                  BOSTON                       MA           02298‐1077
29964298          Name on file                                     Address on file
29949694          UNIVERSE GROUP INC                               16 COLCHESTER                                                                                                                  HAMPSTEAD                    QC           H3X 3V5         CANADA
                                                                   C/O MILLER REAL ESTATE INVESTMENTS,   ATTN: SCOTT GOLDAMMER,
29964304          UNIVERSITY HILLS PLAZA, LLC                      LLC                                   PROPERTY MGR.                     6900 E. BELLEVIEW AVE, SUITE 300                       GREENWOOD VILLAGE            CO           80111
                                                                   C/O MILLER REAL ESTATE INVESTMENTS,   ATTN: SCOTT GOLDAMMER,
30210925          UNIVERSITY HILLS PLAZA, LLC                      LLC                                   PROPERTY MGR.                                                                            GREENWOOD VILLAGE            CO           80111
29964305          UNIVERSITY HOSPITALS HEALTH SYS. IN              COLORS FOR COLETTE                    3296 BEECH LANE                                                                          AVON                         OH           44011

29964306          UNIVERSITY OF AKRON                              GEORGE W DAVERIO SCHOOL OF ACCT.      259 S. BROADWAY                                                                          AKRON                        OH           44325‐4802
29964307          Name on file                                     Address on file
29946960          Name on file                                     Address on file

30398411          University Park Associates Limited Partnership   PO Box 5540                                                                                                                    Johnstown                    PA           15904
                  UNIVERSITY PARK ASSOCIATES LTD.
30213409          PARTNERSHIP                                      C/O ZAMIAS SERVICES, INC.             PO BOX 5540                                                                              JOHNSTOWN                    PA           15904
30212035          UNIVERSITY PARK PUBLIC LIBRARY                   3800 UNIVERSITY BLVD                                                                                                           UNIVERSITY PARK              TX           75205

29946965          UNIVERSITY PLACE IMPROVEMENTS OWNER, LLC C/O DLC MANAGEMENT CORPORATION                ATTN: NAOMI HUNT OR LEE TU        565 TAXTER ROAD, SUITE 400                             ELMSFORD                     NY           10523
30213544          UNIVERSITY SP, L.L.C.                    2221 WEST LINDSEY, SUITE 201                  ATTN: HUNTER MILLER                                                                      NORMAN                       OK           73069
29949695          UNIVIC FLORAL COMPANY LIMITED            510 KING'S ROAD                                                                                                                        NORTH POINT                               266071          HONG KONG
                                                                                                                                           Unit 12,19/F, Seapower Tower,
30167046          Univic Floral Company Limited                    Miao Yu ‐ General Manager             Univic Floral Company Limited     Concorida Plaza No1                Science Museum Rd   Tsimshatsui,Kowtoon,HK‐ CN                                China
29946970          UNOVO LLC DBA OLISO                              1200 HARBOUR WAY, SUITE 215                                                                                                    RICHMOND                     CA           94804
29946972          UNS GAS INC/5176                                 PO BOX 5176                                                                                                                    HARLAN                       IA           51593‐0676
30286547          Untouchable Marketing LLC                        Ryan Jeffrey Bell, President          3722 Zenobia St                                                                          Denver                       CO           80212
29946973          UNTOUCHABLE MARKETING LLC                        UNTOUCHABLE CONSULTING                13918 E. MISSISSIPPI AVE #69456                                                          AURORA                       CO           80012
30351624          Name on file                                     Address on file
30355821          Name on file                                     Address on file
29946974          Name on file                                     Address on file
LC_0693           Upper Moreland Fr Pub Library                    109 Park Avenue                                                                                                                Willow Grove                 PA           19090‐3209
30208977          UPPER MORELAND FREE PUBLIC LIBRARY               109 PARK AVENUE                                                                                                                WILLOW GROVE                 PA           19090
29946975          Name on file                                     Address on file
29946976          Name on file                                     Address on file
29946977          UPS                                              PO BOX 894820                                                                                                                  LOS ANGELES                  CA           90189
29946978          UPS SUPPLY CHAIN SOLUTIONS INC                   28013 NETWORK PLACE                                                                                                            CHICAGO                      IL           60673
29946979          Name on file                                     Address on file
30338648          Name on file                                     Address on file
30208978          URBANA FREE LIBRARY                              210 W. GREEN ST.                                                                                                               URBANA                       IL           61801




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  ADDRESS ID                           NAME                                   ADDRESS 1                         ADDRESS 2                         ADDRESS 3                ADDRESS 4                    CITY        STATE     POSTAL CODE         COUNTRY
29946980          Name on file                                    Address on file
29946981          URGENCARE LLC                                   2169 WEST POINT RD., #300                                                                                            LAGRANGE                GA           30240
30401599          Name on file                                    Address on file
29946984          URSTADT BIDDLE PROPERTIES                       321 RAILROAD AVE                                                                                                     GREENWICH               CT           06830
29946985          URSTADT BIDDLE PROPERTIES INC                   PO BOX 21075                                                                                                         NEW YORK                NY           10286
29950614          US BANK                                         101 S CAPITOL SUITE 203                                                                                              BOISE                   ID           83702
29950615          US BANK                                         601 SECOND AVENUE SOUTH                                                                                              MINNEAPOLIS             MN           55402
29950616          US BANK ACCOUNT ANALYSIS                        TREASURY MANAGEMENT SERVICES       CM/9581                                                                           ST PAUL                 MN           55170
29946990          US CUSTOMS AND BORDER PROTECTION                1945 SOUITH BANNER AVE.                                                                                              INDIANAPOLIS            IN           46241

29946991          US DEPARTMENT OF LABOR                          OCCUPATIONAL SAFETY & HEALTH ADM   240 WEST 11TH ST., #102                                                           ERIE                    PA           16501
29946992          US DEPARTMENT OF LABOR OSHA                     6393 OAK TREE BLVD STE 203                                                                                           INDEPENDENCE            OH           44131‐6964
29949996          US DEPARTMENT OF LABOR‐ OSHA                    639 GRANITE STREET, STE. 14                                                                                          BRAINTREE               MA           02184
29949998          US DEPT OF LABOR‐ OSHA                          135 HIGH STREET, SUITE 361                                                                                           HARTFORD                CT           06103
29949997          US DEPT OF LABOR‐ OSHA                          444 REGENCY PKWY DR. #303                                                                                            OMAHA                   NE           68114
                                                                                                     CONC BLDG 110‐115 AIRSIDE BUS
30223288          US DIRECT E‐COMMERCE LTD                        ESHOPWORLD                         PRK                              DB                                               SWORDS                                               IRELAND
30211553          US XPRESS INC                                   4080 JENKINS ROAD                                                                                                    CHATTANOOGA             TN           37421

                  USA Debt Recovery Solutions, Inc. Assignee Of
30344454          Ningbo Srs International Trading Co., Ltd       255 W Foothill Blvd                Suite 205                                                                         Upland                  CA           91786
VC_009            Usablenet                                       DEPT 781768                        PO BOX 78000                                                                      DETROIT                 MI           48278‐1768
30181623          UsableNet, Inc.                                 Dept. 781768                       PO Box 78000                                                                      Detroit                 MI           48278‐1768
29950002          Name on file                                    Address on file
29950003          USER TESTING INC                                2672 BAYSHORE PKWY #703                                                                                              MOUNTAIN VIEW           CA           94043
29950004          USF REDDAWAY INC                                26401 NETWORK PLACE                                                                                                  CHICAGO                 IL           60673
30401553          Name on file                                    Address on file
30297412          USI Consulting Group Inc.                       c/o Dave Kappus                    95 Glastonbury Blvd              Suite 102                                        Glastonbury             CT           06033
29950007          USI INSURANCE SERVICES LLCT                     PO BOX 352888                                                                                                        TOLEDO                  OH           43635‐2888
29946993          USI INSURANCE SERVICES LLCV                     PO BOX 62889                                                                                                         VIRGINIA BEACH          VA           23466
29946994          USPS POC 6477554                                CMRS‐POC                           PO BOX 0575                                                                       CAROL STREAM            IL           60132
29946995          UTAH COUNTY ASSESSOR                            ATTN: PERSONAL PROPERTY            100 E CENTER RM 1105                                                              PROVO                   UT           84606‐3159
29946996          UTAH DEPARTMENT OF REVENUE                      210 NORTH 1950 WEST                                                                                                  SALT LAKE CITY          UT           84134
29946997          UTAH DEPT OF AGRICULTURE & FOOD                 PO BOX 146500 350 N REDWOOD RD                                                                                       SALT LAKE CITY          UT           84114‐6500
29946998          Name on file                                    Address on file
29946999          UTAH SECRETARY OF STATE                         160 EAST 300 SOUTH, 2ND FLOOR                                                                                        SALT LAKE CITY          UT           84114‐6705
30208979          UTAH STATE LIBRARY                              250 NORTH 1950 WEST                                                                                                  SALT LAKE CITY          UT           84116
29947000          UTAH STATE TAX COMMISSION                       210 NORTH 1950 WEST                                                                                                  SALT LAKE CITY          UT           84134
29947002          UT‐CORP‐INCOME‐HLD 0220                         UTAH STATE TAX COMMISSION          210 N 1950 W                                                                      SALT LAKE CITY          UT           84111
30414798          Name on file                                    Address on file
30212036          UTICA PUBLIC LIBRARY                            7530 AUBURN                                                                                                          UTICA                   MI           48317
29964308          Name on file                                    Address on file
29964310          UTILITY PAYMENT PROCESSING/BR WATER             PO BOX 738317                                                                                                        DALLAS                  TX           75373‐8317
29964311          UT‐JAC‐SALES 0400                               210 NORTH 1050 WEST                                                                                                  SALT LAKE CITY          UT           84134
29964312          UT‐JAS‐SALES 0400                               210 NORTH 1050 WEST                                                                                                  SALT LAKE CITY          UT           84134
30340528          Name on file                                    Address on file
29964313          V. MARTINA                                      Address on file
29964314          V. PRESCOTT                                     Address on file
29964315          V. TA                                           Address on file
29964316          V. VIDALES                                      Address on file
30350492          Name on file                                    Address on file
29947005          Name on file                                    Address on file
29947007          VAHN KLINKE                                     Address on file
29947009          Name on file                                    Address on file
30208984          VAIL PUBLIC LIBRARY                             292 W MEADOW DR                                                                                                      VAI                     CO           81657
30208985          VAIL PUBLIC LIBRARY                             292 WEST MEADOW DRIVE                                                                                                VAIL                    CO           81657
29947010          VA‐JAC‐SALES‐00041                              PO BOX 1880                                                                                                          RICHMOND                VA           23282‐1880
29947011          VA‐JAS‐EXT‐00023                                VIRGINIA DEPARTMENT OF TAXATION    PO BOX 1500                                                                       RICHMOND                VA           23218‐1500
29947012          VA‐JAS‐LITTER TAX                               PO BOX 1500                                                                                                          RICHMOND                VA           23218‐1500
29947013          VA‐JAS‐SALES TAX 00041                          PO BOX 1114                                                                                                          RICHMOND                VA           23218‐1114
30347940          Name on file                                    Address on file
30211554          VALDESE WEAVERS (ECOM)                          1000 PERKINS ROAD SE                                                                                                 VALDESE                 NC           28690
30358306          Name on file                                    Address on file




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30353449          Name on file                                  Address on file
30332601          Name on file                                  Address on file
30334667          Name on file                                  Address on file
30338852          Name on file                                  Address on file
30338853          Name on file                                  Address on file
30258476          Name on file                                  Address on file
29964324          VALERIE GRAY                                  Address on file
29964326          VALERIE HAYS                                  Address on file
29947079          VALERIE MCCARTY                               Address on file
30212768          VALERIE OTT                                   Address on file
30212868          VALERIE REYES                                 Address on file
29964338          VALERIE STIGILE                               Address on file
30211555          VALID USA INC                                 MARKETING SOFTWARE CO LLC   6200 CANOGA AVE STE 102                                                          WOODLAND HILLS          CA           91367‐2429
30416144          Name on file                                  Address on file
30353077          Name on file                                  Address on file
30415247          Name on file                                  Address on file
30398475          Name on file                                  Address on file
30347197          Name on file                                  Address on file
                  VALLEY ‐ H. GRADY BRADSHAW / CHAMBERS
30208986          COUNTY LIBRARY                                3419 20TH AVENUE                                                                                             VALLEY                  AL           36854
29947096          Name on file                                  Address on file
29947097          Name on file                                  Address on file
LC_0697           Valley Cottage Free Library                   110 Route 303                                                                                                Valley Cottage          NY           10989‐1805
30212039          VALLEY COTTAGE LIBRARY                        110 ROUTE 303                                                                                                VALLEY COTTAGE          NY           10989
29947101          Name on file                                  Address on file
29947102          VALLEY IRON INC                               PO BOX 12024                                                                                                 FRESNO                  CA           93776
30211591          VALLEY PACIFIC PETROL SERVICES INC            PO BOX 1245                                                                                                  FRENCH CAMP             CA           95231‐1245
30348002          Name on file                                  Address on file
30401663          Name on file                                  Address on file
30332621          Name on file                                  Address on file
30344691          Name on file                                  Address on file
30351049          Name on file                                  Address on file
30291473          Van Gundy, Anita Lee                          Address on file
30395374          Name on file                                  Address on file
30395174          Name on file                                  Address on file
30332563          Name on file                                  Address on file
30338861          Name on file                                  Address on file
30358369          Name on file                                  Address on file
30340938          Name on file                                  Address on file
LC_0698           Vancouver Island Regional Library             Box 3333                                                                                                     Nanaimo                 BC           V9R 5N3         Canada
29947113          Name on file                                  Address on file
30208988          VANCOUVER ISLAND REGIONAL LIBRARY             6250 HAMMOND BAY ROAD                                                                                        NANAIMO                 BC           V9T 6M9         CANADA
30208990          VANCOUVER PUBLIC LIBRARY                      350 W GEORGIA STREET                                                                                         VANCOUVER               BC           V6B 6B3         CANADA
30208991          VANCOUVER PUBLIC LIBRARY                      350 WEST GEORGIA STREET                                                                                      VANCOUVER               BC           V6A 2T7         CANADA
LC_0699           Vancouver Public Library ‐ Digital Services   350 W Georgia Street                                                                                         Vancouver               BC           V6B 6B1         Canada
29947114          Name on file                                  Address on file
30353627          Name on file                                  Address on file
29947116          Name on file                                  Address on file
30352914          Name on file                                  Address on file
29947119          VANDERWALL FAMILY LP                          C/O PADMOS                  1885 LADD ROAD                                                                   MODESTO                 CA           95356
30213128          VANDERWALL FAMILY, L.P.                       C/O DAVID VANDER WALL       PO BOX 1931                                                                      MODESTO                 CA           95356
29947130          VANESSA BRANCH‐NANCE                          Address on file
30386216          Name on file                                  Address on file
30355266          Name on file                                  Address on file
30356638          Name on file                                  Address on file
30394453          Name on file                                  Address on file
30212987          VANNY CHY                                     Address on file
30336721          Name on file                                  Address on file
30401468          Name on file                                  Address on file
30358178          Name on file                                  Address on file
29947204          VARDHMAN TEXTILES LIMITED                     CHANDIGARH ROAD             CHANDIGARH RD                   LUDHIANA                                         PUNJAB                               141010          INDIA
30200753          VARDHMAN TEXTILES LIMITED                     CHANDIGARH ROAD                                                                                              LUDHIANA                             141010          INDIA
30357420          Name on file                                  Address on file




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30349739          Name on file                           Address on file
30211556          VARI SALES CORPORATION                 450 N. FREEPORT PKWY, #2100                                                                                          COPPELL                   TX           75019
29972764          Name on file                           Address on file
29947205          Name on file                           Address on file
30280791          Name on file                           Address on file
30280792          Name on file                           Address on file
30386133          Name on file                           Address on file
30399637          Name on file                           Address on file
30394789          Name on file                           Address on file
30351816          Name on file                           Address on file
30350711          Name on file                           Address on file
30353190          Name on file                           Address on file
30212040          VAUGHAN PUBLIC LIBRARIES               350 ANSLEY GROVE RD                                                                                                  WOODBRIDGE                ON           L4L 3W4         CANADA
29947214          VAUGHAN REED                           Address on file
30347944          Name on file                           Address on file
30213179          VAULT AVENIDA ROSEVILLE FABRICS LLC    1750 S. TELEGRAPH RD., SUITE 310                                                                                     BLOOMFIELD HILLS          MI           48302
30335950          Name on file                           Address on file
30386122          Name on file                           Address on file
30333133          Name on file                           Address on file
30357113          Name on file                           Address on file
30351812          Name on file                           Address on file
29947219          Name on file                           Address on file
30394467          Name on file                           Address on file
30402046          Name on file                           Address on file
30402047          Name on file                           Address on file
30334868          Name on file                           Address on file
30399841          Name on file                           Address on file
30342668          Name on file                           Address on file
30332579          Name on file                           Address on file
30340998          Name on file                           Address on file
30337174          Name on file                           Address on file
30384794          Name on file                           Address on file
30256520          Velcro USA Inc.                        PO Box 6946                                                                                                          Carol Stream              IL           60197‐6946
30296889          Name on file                           Address on file
30398408          Name on file                           Address on file
30385692          Name on file                           Address on file
30332625          Name on file                           Address on file
30283751          Name on file                           Address on file
29947237          Name on file                           Address on file
29947238          VENTURA COUNTY                         ENVIRONMENTAL HEALTH DIVISION       800 S VICTORIA AVE                                                               VENTURA                   CA           93009‐1730
                  VENTURA COUNTY DEPARTMENT OF WEIGHTS
29947239          AND MEASURES                           555 AIRPORT WAY, STE E                                                                                               CAMARILLO                 CA           93010
                  VENTURA COUNTY, CA COUNTY CONSUMER
30208043          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 800 S. VICTORIA AVE.                                                              VENTURA                   CA           93009
29949696          VENTURE 28A CLO, LIMITED               12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949697          VENTURE 31 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949698          VENTURE 32 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949699          VENTURE 33 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949700          VENTURE 34 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949701          VENTURE 35 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949702          VENTURE 36 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949703          VENTURE 37 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949704          VENTURE 38 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949705          VENTURE 41 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949706          VENTURE 42 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949707          VENTURE 43 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949708          VENTURE 44 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29949709          VENTURE 45 CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017
29947242          VENTURE HULEN, LP                      4950 N O'CONNOR RD                                                                                                   IRVING                    TX           75062‐2776
                                                         C/O VENTURE COMMERCIAL
30213364          VENTURE HULEN, LP                      MANAGEMENT, LLC                    5751 KROGER DR., SUITE 202                                                        FORT WORTH                TX           76244
29947243          VENTURE PRODUCTS LLC                   376 HOLLYWOOD AVE, SUITE 209                                                                                         FAIRFIELD                 NJ           07004
29949710          VENTURE XIX CLO, LIMITED               12 E 49TH STREET, 38TH FLOOR                                                                                         NEW YORK                  NY           10017




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29949711          VENTURE XV CLO, LIMITED                 12 E 49TH STREET, 38TH FLOOR                                                                                              NEW YORK               NY           10017
29949712          VENTURE XXII CLO, LIMITED               12 E 49TH STREET, 38TH FLOOR                                                                                              NEW YORK               NY           10017
29949713          VENTURE XXIII CLO, LIMITED              12 E 49TH STREET, 38TH FLOOR                                                                                              NEW YORK               NY           10017
29949714          VENTURE XXIX CLO, LIMITED               12 E 49TH STREET, 38TH FLOOR                                                                                              NEW YORK               NY           10017
29949715          VENTURE XXVII CLO, LIMITED              12 E 49TH STREET, 38TH FLOOR                                                                                              NEW YORK               NY           10017
29949716          VENTURE XXVIII CLO, LIMITED             12 E 49TH STREET, 38TH FLOOR                                                                                              NEW YORK               NY           10017
29949717          VENTURE XXX CLO, LIMITED                12 E 49TH STREET, 38TH FLOOR                                                                                              NEW YORK               NY           10017
30223290          VENTURES KARMA, LLC                     200 WEST CAPITOL AVENUE               SUITE 2300                                                                          LITTLE ROCK            AR           72201‐3699
30333377          Ventures Karma, LLC                     Attn: Scott Lawrence                  Wick Phillips                    3131 McKinney Ave.             Suite 500           Dallas                 TX           75204
30213418          VENTURES KARMA, LLC                     C/O ELM CREEK REAL ESTATE             4641 NALL ROAD                                                                      DALLAS                 TX           75244
29947247          VENUS ANDERSON                          Address on file
29947249          VENUS LUBUI                             Address on file
29947251          VEOLIA WATER DELAWARE                   2000 FIRST STATE BLVD                                                                                                     WILMINGTON             DE           19804
29947252          VEOLIA WATER IDAHO                      8248 WEST VICTORY RD                                                                                                      BOISE                  ID           83709
29947253          VEOLIA WATER NEW JERSEY                 69 DEVOE PL                                                                                                               HACKENSACK             NJ           07601
29947256          VEOLIA WATER TOMS RIVER                 PO BOX 371804                                                                                                             PITTSBURGH             PA           15250‐7804
29947263          Name on file                            Address on file
30358341          Name on file                            Address on file
30335204          Name on file                            Address on file
30355194          Name on file                            Address on file
30344159          Name on file                            Address on file
30213374          VEREIT                                  C/O REALTY INCOME CORPORATION         11995 EL CAMINO REAL                                                                SAN DIEGO              CA           92130
30394733          Name on file                            Address on file
29947268          VERIA MCKENZIE                          Address on file
29947271          VERIZON WIRELESS                        ONE VERIZON WAY                                                                                                           BASKING RIDGE          NJ           07920‐1097
30223291          VERIZON WIRELESS                        ONE VERIZON WAY                                                                                                           BASKING RIDGE          NJ           07920
30344381          Name on file                            Address on file
30414681          Name on file                            Address on file
30353834          Name on file                            Address on file
                  VERMILION COUNTY, IL COUNTY CONSUMER
30208044          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 201 N VERMILION ST                                                                     DANVILLE               IL           61832
29947273          Name on file                            Address on file
29947274          VERMILLION PARISH SCHOOL BOARD          SALES TAX DIVISION                 P.O. BOX DRAWER 1508                                                                   ABBEVILLE              LA           70511‐1508
29947275          VERMONT AGENCY OF AGRICULTURE           FOOD & MARKETS                     116 STATE ST                                                                           MONTPELIER             VT           05620‐2901
                  VERMONT AGENCY OF AGRICULTURE, FOOD &
29950121          MARKETS                                 FOOD & MARKETS                        116 STATE ST                                                                        MONTPELIER             VT           05620‐2901
29947276          VERMONT DEPARTMENT OF TAXES             133 STATE ST                                                                                                              MONTPELIER             VT           05633
29947277          VERMONT DEPARTMENT OF TAXES             133 STATE STREET                                                                                                          MONTPELLER             VT           05602
29947278          VERMONT DEPARTMENT OF TAXES             PAVILLION OFFICE BLDG                 133 STATE ST, 1ST FLOOR                                                             MONTPELIER             VT           05633
29947280          VERMONT GAS SYSTEMS, INC.               PO BOX 1336                                                                                                               WILLISTON              VT           05495‐1336
29947281          VERMONT SECRETARY OF STATE              128 STATE STREET.                                                                                                         MONTPELIER             VT           05633
29947282          VERMONT STATE POLICE                    DEPT OF PUBLIC SAFETY                 45 STATE DRIVE                                                                      WATERBURY              VT           05671
29947287          VERNAL CITY                             374 EAST MAIN STREET                                                                                                      VERNAL                 UT           84078
29949343          VERNAL CITY BUSINESS LICENSING          374 EAST MAIN STREET                                                                                                      VERNAL                 UT           84078
                                                                                                ATTN: GEORGE C. VERNET III,
29947289          VERNCO BELKNAP, LLC                     70 WASHINGTON STREET, STE 310         MANAGER                                                                             SALEM                  MA           01970
30212042          VERNON AREA PUBLIC LIBRARY DISTRICT     300 OLDE HALF DAY RD                                                                                                      LINCOLNSHIRE           IL           60069
30397521          Name on file                            Address on file
30208995          VERONA PUBLIC LIBRARY                   500 SILENT ST                                                                                                             VERONA                 WI           53715
30208994          VERONA PUBLIC LIBRARY                   500 SILENT STREET                                                                                                         VERONA                 WI           53593
30212999          VERONICA SORCE                          Address on file
29947348          VERSANT POWER/16044                     PO BOX 16044                                                                                                              LEWISTON               ME           04243‐9527
29947349          VERTEX INC                              25528 NETWORK PLACE                                                                                                       CHICAGO                IL           60673
29947350          VERTIV CORPOPRATION                     PO BOX 70474                                                                                                              CHICAGO                IL           60673
29947351          VERYABLE INC                            C/O AMERISOURCE                       PO BOX 201197                                                                       DALLAS                 TX           75320‐1197
30414645          Name on file                            Address on file
30414644          Name on file                            Address on file
30396169          Name on file                            Address on file
30213570          VESTAL PARKWAY PLAZA LLC                C/O BRIXMOR PROPERTY GROUP            200 RIDGE PIKE, SUITE 100                                                           CONSHOHOCKEN           PA           19428
30348911          Name on file                            Address on file
                                                                                                ATTN: GENERAL MANAGER, NICOLE
30213156          VESTAR BEST IN THE WEST PROPERTY LLC    2415 EAST CAMELBACK ROAD, SUITE 100   DOANE                                                                               PHOENIX                AZ           85016
29947355          VESTAR DRM‐OPCO LLC                     DEPT 880116                           PO BOX 30412                                                                        TAMPA                  FL           33630




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30213194          VESTAR/DRM‐OPCO LLC                      C/O VESTAR DEVELOPMENT CO.              2415 E. CAMELBACK RD. #100                                                        PHOENIX                       AZ           85016
29947357          Name on file                             Address on file
30209000          VESTAVIA HILLS LIBRARY IN THE FOREST     1221 MONTGOMERY HIGHWAY                                                                                                   VESTAVIA HILLS                AL           35216
30414689          Name on file                             Address on file
30414566          Name on file                             Address on file
30213556          VICKERRY DE MALL LLC                     C/O MEG ASSET, LLC                      25 ORCHARD VIEW DRIVE                                                             LONDONDERRY                   NH           03053‐3376
29947364          VICKERRY REALTY CO LP                    25 ORCHARD VIEW DRIVE                                                                                                     LONDONDERRY                   NH           03053
29964358          VICKIE COLLINS                           Address on file
29947390          VICKIE HOWELL CAMPBELL                   Address on file
30353966          Name on file                             Address on file
29947417          VICTOR MARMOLEJO                         Address on file
29947422          Name on file                             Address on file
30354014          Name on file                             Address on file
30211557          Name on file                             Address on file
29964365          VICTORIA BLAKE                           Address on file
29947441          VICTORIA CASIANO                         Address on file
29964378          VICTORIA CROWLEY                         Address on file
30209001          VICTORIA FINDLAY WOLFE                   Address on file
29947470          VICTORIA HAND                            Address on file
30212908          VICTORIA POPOVICH                        Address on file
29947518          VICTORIA POPOVICH                        Address on file
29947522          VICTORIA RESNICK                         Address on file
29953767          VICTORIA TOWNSEND                        Address on file
29953773          VICTORIA WESTERMAN                       Address on file
29949718          VICTORY FLOATING RATE FUND               10 HUDSON YARDS, 20TH FLOOR                                                                                               NEW YORK                      NY           10001
29949719          VICTORY HIGH YIELD FUND                  10 HUDSON YARDS, 20TH FLOOR                                                                                               NEW YORK                      NY           10001
29949720          VICTORY HIGH YIELD VIP SERIES            10 HUDSON YARDS, 20TH FLOOR                                                                                               NEW YORK                      NY           10001
29947545          VIDRIOS SAN MIGUEL S.L                   POLIGONO INDUSTRIAL ELS SERRANS         AV. BONAVISTA 1                                                                   VALENCIA                                   46812           SPAIN
                                                           DINH XA HAMLET, NGUYET DUC
29964398          VIET CREATIVE ART CO LTD                 COMMUNE                                 YEN LAC DISTRICT                                                                  VINH PHUC                                  15722           VIETNAM
30344125          Name on file                             Address on file
                                                           ATTN: PEIYUAN WANG, GENERAL
29904947          VIITION (ASIA) LIMITED                   MANAGER                                 FLAT/RM D03, BLK A, 12/F         19‐25 SHAN MEI ST                                SHA TIN, NT NEW TERRITORIES                999077          HONG KONG
30210923          VIKING PLAZA REALTY GROUP, LLC           ATTN: EZRA ERANI                        4 EAST 34TH STREET                                                                NEW YORK                      NY           10016
                                                           ATTN: EZRA ERANI, JOHN BOICH, INTERIM
29964404          VIKING PLAZA REALTY GROUP, LLC           GM                                      4 EAST 34TH STREET                                                                NEW YORK                      NY           10016
30349466          Name on file                             Address on file
30331663          Name on file                             Address on file
29947549          Name on file                             Address on file
29947550          Name on file                             Address on file
30281217          Name on file                             Address on file
                                                                                                   ATTN: BOB WAUGH, ASSET
30213098          VILLAGE CROSSING PARTNERS, LLC           11155 RED RUN BLVD, SUITE 320           MANAGER                                                                           OWINGS MILLS                  MD           21117
30209004          VILLAGE LIBRARY OF COOPERSTOWN           22 MAIN STREET                                                                                                            COOPERSTOWN                   NY           13326
29947556          VILLAGE OF ARLINGTON HEIGHTS             33 S ARLINTON HEIGHTS ROAD                                                                                                ARLINGTON HEIGHTS             IL           60005
                  VILLAGE OF ARLINGTON HEIGHTS ‐ CLERK'S
29949344          OFFICE                                   33 S ARLINTON HEIGHTS ROAD                                                                                                ARLINGTON HEIGHTS             IL           60005
29947557          VILLAGE OF ASHWAUBENON                   2155 HOLMGREN WAY                                                                                                         GREEN BAY                     WI           54304‐4605
29947558          VILLAGE OF BLOOMINGDALE                  BUSINESS LICENSE                        201 S BLOOMINGDALE ROAD                                                           BLOOMINGDALE                  IL           60108
29947560          VILLAGE OF BRADLEY                       VILLAGE CLERK‐LICENSES                  147 S MICHIGAN AVE                                                                BRADLEY                       IL           60915
29947561          VILLAGE OF CRESTWOOD                     13840 SOUTH CICERO AVENUE                                                                                                 CRESTWOOD                     IL           60445
29947563          VILLAGE OF KOHLER                        319 HIGHLAND DRIVE                                                                                                        KOHLER                        WI           53044
29947564          VILLAGE OF LAKE DELTON                   PO BOX 87                                                                                                                 LAKE DELTON                   WI           53940
29947565          VILLAGE OF LAKEMORE, OH                  1400 MAIN STREET                                                                                                          LAKEMORE                      OH           44250
29947566          VILLAGE OF LAKEMORE, OH                  BOX 455                                                                                                                   LAKEMORE                      OH           44250
29947567          VILLAGE OF LOMBARD                       255 E WILSON AVENUE                                                                                                       LOMBARD                       IL           60148
29947568          VILLAGE OF MALONE, NY                    343 W MAIN ST                                                                                                             MALONE                        NY           12953‐1751
29947570          VILLAGE OF MENOMONEE FALLS UTILITIES     PO BOX 8794                                                                                                               CAROL STREAM                  IL           60197‐8794
29947571          VILLAGE OF NILES                         1000 CIVIC CENTER DR                                                                                                      NILES                         IL           60714
29947573          VILLAGE OF NORRIDGE                      4000 N OLCOTT AVE                                                                                                         NORRIDGE                      IL           60706‐1199
29947574          VILLAGE OF NORRIDGE POLICE               4020 NORTH OLCOTT AVE                                                                                                     NORRIDGE                      IL           60706
29947576          VILLAGE OF ONTARIO                       INCOME TAX                              PO BOX 166                                                                        ONTARIO                       OH           44862
29947577          VILLAGE OF ORLAND PARK                   BUILDING DEPT                           14700 S RAVINIA AVE                                                               ORLAND PARK                   IL           60462




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29947578          VILLAGE OF ORLAND PARK, IL                14700 S. RAVINIA AVENUE                                                                                                ORLAND PARK               IL           60462
29947579          VILLAGE OF ORLAND PARK, IL                PO BOX 74713                                                                                                           CHICAGO                   IL           60694‐4713
29947580          VILLAGE OF PLOVER                         2400 POST ROAD, P.O. BOX 37                                                                                            PLOVER                    WI           54467
29947581          VILLAGE OF PLOVER, WI                     2400 POST ROAD                                                                                                         PLOVER                    WI           54467
29947582          VILLAGE OF SCHAUMBURG                     BUSINESS LICENSE                   101 SCHAUMBURG COURT                                                                SCHAUMBURG                IL           60193
                  VILLAGE OF SCHAUMBURG ‐ ATTN:
29953688          COLLECTIONS                               BUSINESS LICENSE                   101 SCHAUMBURG COURT                                                                SCHAUMBURG                IL           60193
29947583          VILLAGE OF WELLINGTON                     ATTN: BUSINESS TAX RECEIPTS        12300 FOREST HILL BLVD.                                                             WELLINGTON                FL           33414
                  VILLAGE OF WEST JEFFERSON, INCOME TAX
29947584          ADMINISTRATOR                             28 EAST MAIN STREET                                                                                                    WEST JEFFERSON            OH           43162
29947585          VILLAGE OF WEST JEFFERSON, OH             28 EAST MAIN STREET                                                                                                    WEST JEFFERSON            OH           43162
29947587          VILLAGE OF WESTFIELD CENTER               INCOME TAX DEPARTMENT              PO BOX 750                                                                          WESTFIELD CENTER          OH           44251
29947586          VILLAGE OF WESTFIELD CENTER               P.O. BOX 750                                                                                                           WESTFIELD CENTER          OH           44251
30339049          Name on file                              Address on file
30414555          Name on file                              Address on file
30345358          Name on file                              Address on file
30345357          Name on file                              Address on file
30335997          VILLEGAS, VICTORIA                        Address on file
29947589          VINCENNES CENTER LLC                      C/O GJ REALTY                      49 WEST 37TH STREET 9TH FLR                                                         NEW YORK                  NY           10018

30213681          VINCENNES CENTER, LLC                     C/O GJ REALTY                      49 WEST 37TH STREET, 9TH FLOOR                                                      NEW YORK                  NY           10018‐6257
29947592          VINCENNES WATER DEPARTMENT, IN            P.O. BOX 749                                                                                                           VINCENNES                 IN           47591‐0749
29947599          VINCENT GREEN‐HITE                        Address on file
30333296          Name on file                              Address on file
30333764          Name on file                              Address on file
30414731          Name on file                              Address on file
30209005          VINEYARD HAVEN PUBLIC LIBRARY             200 MAIN STREET                                                                                                        VINEYARD HAVEN            MA           02568
30398182          Name on file                              Address on file
30358072          Name on file                              Address on file
29947615          VINTAJ NATURAL BRASS CO                   5140 US 20 W                                                                                                           GALENA                    IL           61036
29947621          VIOLET FERGUSON                           Address on file
29947631          VIPOOL CORPORATION SNK HOTELS LLC         1234 OMNIPLEX DR.                                                                                                      CINCINNATI                OH           45240
30211558          VIRA INSIGHT LLC                          PO BOX 679080                                                                                                          DALLAS                    TX           75267‐9080
29947635          VIRGINIA AMERICAN WATER COMPANY           2223 DUKE ST                                                                                                           ALEXANDRIA                VA           22314
                  VIRGINIA BEACH CITY COUNTY, VA COUNTY
30208045          CONSUMER PROTECTION AGENCY                ATTN: CONSUMER PROTECTION DIVISION 2401 COURTHOUSE DR                                                                  VIRGINIA BEACH            VA           23456
                                                            VIRGINIA DEPARTMENT OF TAXATION
29947643          VIRGINIA DEPARTMENT OF REVENUE            OFFICE OF CUSTOMER SERVICE         P.O. BOX 1115                                                                       RICHMOND                  VA           23218‐1115
29947644          VIRGINIA DEPARTMENT OF TAXATION           600 E MAIN ST                                                                                                          RICHMOND                  VA           23230
29947645          VIRGINIA DEPT OF TAXATION                 PO BOX 1500                                                                                                            RICHMOND                  VA           23218‐1500
29964951          VIRGINIA ELECTRIC & POWER COMPANY         1860 COMMERCE RD                                                                                                       RICHMOND                  VA           23224‐7802
30210733          VIRGINIA ELECTRIC & POWER COMPANY         701 E CARY ST                                                                                                          RICHMOND                  VA           23219
29953694          VIRGINIA LITTER TAX ‐ ACH                 PO BOX 1500                                                                                                            RICHMOND                  VA           23218‐1500
29947657          VIRGINIA M FARRAR                         Address on file
29947659          VIRGINIA MITCHELL                         Address on file
29947661          VIRGINIA NATURAL GAS/5409                 PO BOX 5409                                                                                                            CAROL STREAM              IL           60197‐5409
29947673          VIRGINIA RYAN                             TAX COLLECTOR/COUNTY CLERK         600 TEXAS ST                                                                        FAIRFIELD                 CA           94533
29947674          VIRGINIA SECRETARY OF STATE               1111 E BROAD ST #4                                                                                                     RICHMOND                  VA           23219
                  VIRGINIA TREASURY DIVISION OF UNCLAIMED
29952866          PROPERTY                                  101 NORTH 14TH ST, 3RD FL                                                                                              RICHMOND                  VA           23219
30212577          VIRGINIA WISEMAN                          Address on file
29947692          VIRTUAL MARKETING LLC                     FUSION92                           222 MERCHANDISE MART PLZ           STE 2200                                         CHICAGO                   IL           60654‐1012
29949721          VIRTUS SEIX FLOATING RATE                 1 MAYNARD DRIVE                    SUITE 3200                                                                          PARK RIDGE                NJ           07656
29947693          Name on file                              Address on file
29947694          VISALIA CHAMBER OF COMMERCE               222 N GARDEN ST. STE 300                                                                                               VISALIA                   CA           93291
29947695          VISALIA EMERGENCY AID COUNCIL             PO BOX 651                                                                                                             VISALIA                   CA           93279
29947699          VISION SOUTHEAST CO INC                   DBA VISION SECURITY TECHNOLOGIES   143 BUSINESS CENTER DR.                                                             BIRMINGHAM                AL           35244
30258169          VISTA PARTNER INC                         4310 WEST 5TH AVENUE               PO BOX 2683                                                                         EUGENE                    OR           97402
29947702          VISTA RIDGE VILLAGE SC LP                 C/O VISTA PROPERTY CO.             2227 VANTAGE STREET                                                                 DALLAS                    TX           75207
29947703          Name on file                              Address on file
29947705          VISUAL CREATIONS INC                      ROSE DISPLAYS                      500 NARRAGANSETT PARK DR.                                                           PAWTUCKET                 RI           02861
30210649          VISUAL EDGE IT, INC                       3874 HIGHLAND PARK NW                                                                                                  NORTH CANTON              OH           44720
29947706          VITAL TRANSPORTATION SOLUTIONS INC        4816 BRECKSVILLE RD., STE. 14                                                                                          RICHFIELD                 OH           44286




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29953214          VIVIANA SAUCEDO                      Address on file
30358433          Name on file                         Address on file
30331653          Vizmeg Landscaping, Inc.             778 McCauley Road #100                                                                                                  Stow                   OH           44224
30401419          Name on file                         Address on file
30401418          Name on file                         Address on file
30211559          VOCOLLECT INC                        703 RODI RD                                                                                                             PITTSBURGH             PA           15235
30384872          Name on file                         Address on file
30345977          Name on file                         Address on file
30354523          Name on file                         Address on file
30260099          Name on file                         Address on file
30344434          Name on file                         Address on file
30333568          Name on file                         Address on file
30213112          VOLANTE INVESTMENTS LLLP             C/O VAN AUKER COMPANIES              3084 EAST LANARK                                                                   MERIDIAN               ID           83642
30357001          Name on file                         Address on file
30332328          Name on file                         Address on file
30274766          Name on file                         Address on file
30333524          Name on file                         Address on file
30347136          Name on file                         Address on file
30348074          Name on file                         Address on file
29964410          Name on file                         Address on file
30209006          VOLUSIA COUNTY PUBLIC LIBRARY        123 W. INDIANA AVE.                  ROOM 302                                                                           DELAND                 FL           32720
30209007          VOLUSIA COUNTY PUBLIC LIBRARY        1290 INDIAN LAKE RD.                                                                                                    DAYTONA BEACH          FL           32124
                  VOLUSIA COUNTY, FL COUNTY CONSUMER
30208046          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION   123 W INDIANA AVE                                                                  DELAND                 FL           32720
30213267          VON KARMAN PLAZA, LLC                1121 SW SALMON ST., SUITE 500                                                                                           PORTLAND               OR           97205
30356371          Name on file                         Address on file
30346790          Name on file                         Address on file
30397409          Name on file                         Address on file
30212046          VOORHEESVILLE PUBLIC LIBRARY         51 SCHOOL RD                                                                                                            VOORHEESVILLE          NY           12186
30385230          Name on file                         Address on file
30210650          VORYS                                52 EAST GAY STREET                   P.O. BOX 1008                                                                      COLUMBUS               OH           43216‐1008
29964419          VORYS SATER SEYMOUR AND PEASE LLP    PO BOX 631568                                                                                                           CINCINNATI             OH           45263‐1568
30354798          Name on file                         Address on file
29947741          VOX FUNDING SPV1 LLC                 100 PARK AVE., 26TH FLOOR                                                                                               NEW YORK               NY           10017
29949722          VOYA CLO 2012‐4, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949723          VOYA CLO 2013‐1, LTD.                7337 EAST DOUBLE TREE RANCH ROAD     SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949724          VOYA CLO 2013‐2, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949725          VOYA CLO 2014‐1, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949726          VOYA CLO 2014‐2, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE100                                                                           SCOTTSDALE             AZ           85258
29949727          VOYA CLO 2014‐4, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29951425          VOYA CLO 2015‐3, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29951426          VOYA CLO 2016‐1, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29951427          VOYA CLO 2016‐3, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29951428          VOYA CLO 2017‐1, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29951429          VOYA CLO 2017‐2, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTDALE              AZ           85258
29951430          VOYA CLO 2017‐3, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29951431          VOYA CLO 2017‐4, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29951432          VOYA CLO 2018‐1, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29951433          VOYA CLO 2018‐2, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29951434          VOYA CLO 2018‐3, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29951435          VOYA CLO 2018‐4, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29951436          VOYA CLO 2019‐1, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949728          VOYA CLO 2019‐2, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949729          VOYA CLO 2019‐3, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949730          VOYA CLO 2019‐4, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949731          VOYA CLO 2020‐1, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949732          VOYA CLO 2020‐2, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949733          VOYA CLO 2020‐3, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949734          VOYA CLO 2021‐1, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949735          VOYA CLO 2021‐2, LTD.                7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949736          VOYA CLO2013‐3, LTD.                 7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949808          VOYA INVESTMENT MANAGEMENT CO LLC    7337 EAST DOUBLETREE RANCH ROAD      SUITE 100                                                                          SCOTTSDALE             AZ           85258
29949737          VOYA SR LOAN COMM TR FD              7337 E DOUBLETREE RANCH ROAD         SUITE 100                                                                          SCOTTSDALE             AZ           85258




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29949738          VOYA STRATEGIC INC OPP FD LOAN       7337 EAST DOUBLETREE RANCH ROAD   SUITE 100                                                                          SCOTTSDALE           AZ           85258
30340882          Name on file                         Address on file
30334431          Name on file                         Address on file
29947743          VT‐COM‐SALES                         PO BOX 547                                                                                                           MONTPELIER           VT           05601
29947744          VT‐CORP‐INCOME‐HLD 02100             VERMONT DEPT OF TAXES             133 STATE ST, 1ST FLOOR                                                            MONTPELIER           VT           05633
29947745          VT‐JAS‐SALES 04100                   133 STATE STREET                                                                                                     MONTPELIER           VT           05601‐1401
30358182          Name on file                         Address on file
30358084          Name on file                         Address on file
30349163          Name on file                         Address on file
30213210          VULCAN PROPERTIES, INC.              C/O CBRE, INC.                    4400 W. 78TH ST., SUITE 200                                                        BLOOMINGTON          MN           55435
29952821          Name on file                         Address on file
29952823          W W WILLIAMS MIDWEST INC             DBA WW WILLIAMS CO LLC            PO BOX 772022                                                                      DETROIT              MI           48277‐2022
30212047          W WALWORTH HARRISON PUBLIC LIBRARY   1 LOU FINNEY BLVD                                                                                                    GREENVILLE           TX           75401
29952825          W. COLLINS                           Address on file
29952826          W. M VIALPNEDO                       Address on file
29952827          W. MUN                               Address on file
29952828          W. ROSARIO                           Address on file
29952829          WA STATE DEPT LABOR & INDUSTRIES     WISHA SERVICES DIVISION           PO BOX 44835                                                                       OLYMPIA              WA           98504
29952830          WA‐CB‐SALES TAX 04101                PO BOX 47476                                                                                                         OLYMPIA              WA           98504‐7476
30397247          Name on file                         Address on file
30332462          Name on file                         Address on file
30356684          Name on file                         Address on file
30348979          Name on file                         Address on file
30209009          WADLEIGH MEMORIAL LIBRARY            49 NASHUA STREET                                                                                                     MILFORD              NH           03055
30209010          WADSWORTH PUBLIC LIBRARY             132 BROAD ST.                                                                                                        WADSWORTH            OH           44281
30333671          Name on file                         Address on file
30356872          Name on file                         Address on file
30333489          Name on file                         Address on file
30348322          Name on file                         Address on file
30415213          Name on file                         Address on file
30338227          Name on file                         Address on file
30353938          Name on file                         Address on file
30353723          Name on file                         Address on file
30332354          Name on file                         Address on file
30384728          Name on file                         Address on file
30336683          Name on file                         Address on file
30333284          Name on file                         Address on file
30358284          Name on file                         Address on file
30346709          Name on file                         Address on file
30358064          Name on file                         Address on file
LC_0708           Waitaki District Libraries           62 Thames Street                                                                                                     Oamaru                            9444            New Zealand
29947756          Name on file                         Address on file
30209012          WAITAKI DISTRICT LIBRARIES           PO BOX 134                                                                                                           OAMARU                            9444            NEW ZEALAND
30332478          Name on file                         Address on file
30348084          Name on file                         Address on file
30395658          Name on file                         Address on file
29947757          WA‐JAC‐EXCISE                        1420 FIFTH AVE SUITE 600                                                                                             SEATTLE              WA           98101
29947758          WA‐JAS‐SALES TAX 04101               PO BOX 47476                                                                                                         OLYMPIA              WA           98504‐7476
29947760          WAKE COUNTY REVENUE DEPT             PO BOX 96084                                                                                                         CHARLOTTE            NC           28296‐0084
30353229          Name on file                         Address on file
30393561          Name on file                         Address on file
30414360          Name on file                         Address on file
30414091          Name on file                         Address on file
30358327          Name on file                         Address on file
30400028          Name on file                         Address on file
29947761          Name on file                         Address on file
30397766          Name on file                         Address on file
30335325          Name on file                         Address on file
30395153          Name on file                         Address on file
30358212          Name on file                         Address on file
29947763          Name on file                         Address on file
                  WALLA WALLA COUNTY RURAL LIBRARY
30209014          DISTRICT                             37 JADE ST                                                                                                           WALLA WALLA          WA           99362




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30336121          WALLA WALLA COUNTY TREASURER          ALISHA A LANG, FORECLOSURE DEPUTY    500 W. MAIN ST.                                                                    WALLA WALLA               WA           99362
29947764          WALLA WALLA COUNTY TREASURER          PO BOX 777                                                                                                              WALLA WALLA               WA           99362
                  WALLA WALLA COUNTY, WA COUNTY                                            COUNTY PUBLIC HEALTH AND          314 WEST MAIN STREET, 2ND
30208047          CONSUMER PROTECTION AGENCY            ATTN: CONSUMER PROTECTION DIVISION LEGISLATIVE BUILDING              FLOOR ‐ ROOM 203               P.O. BOX 1506       WALLA WALLA               WA           99362
30212048          WALLA WALLA PUBLIC LIBRARY            238 E ALDER ST                                                                                                          WALLA WALLA               WA           99362
30350316          Name on file                          Address on file
30401429          Name on file                          Address on file
LC_0709           Walled Lake City Library              1499 E. West Maple                                                                                                      Walled Lake               MI           48390‐3732
30212051          WALLED LAKE CITY LIBRARY              1499 E WEST MAPLE RD                                                                                                    WALLED LAKE               MI           48390
30358112          Name on file                          Address on file
30340723          Name on file                          Address on file
29947768          Name on file                          Address on file
29947769          WALNUT HOLLOW                         Address on file
29947770          WALPOLE MALL ASSOCIATES LLC           PO BOX 842481                                                                                                           BOSTON                    MA           02284
30350052          Name on file                          Address on file
30397046          Name on file                          Address on file
30340727          Name on file                          Address on file
30336851          Name on file                          Address on file
30356762          Name on file                          Address on file
30334777          Name on file                          Address on file
30347317          Name on file                          Address on file
30209020          WALTHAM PUBLIC LIBRARY                735 MAIN STREET                                                                                                         WALTHAM                   MA           02451
30209023          WALTON COUNTY PUBLIC LIBRARY SYSTEM   3 CIRCLE DRIVE                                                                                                          DEFUNIAK SPRINGS          FL           32435
29947775          WALTON EMC / WALTON GAS               842 HWY 78 NW                                                                                                           MONROE                    GA           30655
29947776          WALTON EMC / WALTON GAS               PO BOX 1347                                                                                                             MONROE                    GA           30655‐1347
30339751          Name on file                          Address on file
30394618          Name on file                          Address on file
                  WALWORTH COUNTY, WI COUNTY CONSUMER
30208048          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION   100 W WALWORTH ST                                                                  ELKHORN                   WI           53121
30213543          WALZ CAPITAL LLC                      3621 N. WILTON AVE., #3              ATTN: COREY WALZ, PRESIDENT                                                        CHICAGO                   IL           60613
29947780          Name on file                          Address on file
30354560          Name on file                          Address on file
30338616          Name on file                          Address on file
30347021          Name on file                          Address on file
30384870          Name on file                          Address on file
LC_0713           Wangaratta Library                    19‐23 Docker Street                                                                                                     Wangaratta, VIC                        3677            Australia
29947804          Name on file                          Address on file
30209025          WANGARATTA LIBRARY                    21 DOCKER STREET                                                                                                        WANGARATTA                             3677            AUSTRALIA
30340544          Name on file                          Address on file
29947809          WANZL NORTH AMERICA                   700 TECHNIBILT DR.                                                                                                      NEWTON                    NC           28658
30335251          Name on file                          Address on file
30335292          Name on file                          Address on file
30398384          Name on file                          Address on file
30358132          Name on file                          Address on file
30334661          Name on file                          Address on file
30401648          Name on file                          Address on file
30358007          Name on file                          Address on file
30401801          Name on file                          Address on file
30358062          Name on file                          Address on file
30346681          Name on file                          Address on file
30274106          Name on file                          Address on file
29947810          WAREHOUSING EDUCATION &               RESEARCH COUNCIL                     8720 RED OAK BLVD, #201                                                            CHARLOTTE                 NC           28217
30166565          Warm Productions Inc 104629           Erica Johnson                        5529 186th PL SW                                                                   Lynnwood                  WA           98037
30167146          Warm Products Inc (Ecom)              Erica Johnson                        5529 186th Pl. SW                                                                  Lynnwood                  WA           98037
30294959          Name on file                          Address on file
30397291          Name on file                          Address on file
29947814          WARNER CONSULTING SERVICES LLC        3257 HAVEL DRIVE                                                                                                        BEACHWOOD                 OH           44122
30401266          Name on file                          Address on file
30350707          Name on file                          Address on file
30340934          Name on file                          Address on file
30340373          Name on file                          Address on file
30414263          Name on file                          Address on file




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30276389          Name on file                                     Address on file
29947815          Name on file                                     Address on file
29947817          Name on file                                     Address on file
29947818          WARREN COUNTY W & S DEPT, OH                     406 JUSTICE DRIVE                                                                                                           LEBANON               OH           45036
29947819          WARREN COUNTY W & S DEPT, OH                     P.O. BOX 530                                                                                                                LEBANON               OH           45036‐0530
                  WARREN COUNTY, OH COUNTY CONSUMER
30208049          PROTECTION AGENCY                                ATTN: CONSUMER PROTECTION DIVISION 406 JUSTICE DR                                                                           LEBANON               OH           45036
29947821          Name on file                                     Address on file
30341064          Name on file                                     Address on file
30350578          Name on file                                     Address on file
30351792          Name on file                                     Address on file
29947824          Name on file                                     Address on file
LC_0714           Warren‐Newport Public Library District           224 North O'Plaine Road                                                                                                     Gurnee                IL           60031‐2696

30209030          WARREN‐NEWPORT PUBLIC LIBRARY DISTRICT           224 N O'PLAINE RD                                                                                                           GURNEE                IL           60031
                  Warrenton Center LLC, successor in interest to
30385780          Jefferson Associates, L.P.                       c/o Indigo Asset Services           1901 N. Moore Street                 Suite 1001                                         Arlington             VA           22209
                  Warrenton Center LLC, successor in interest to
30385779          Jefferson Associates, L.P.                       c/o Mitchell B. Weitzman, Esq.      Jackson & Campbell, P.C.             2300 N Street, NW              Suite 300           Washington            DC           20037
29954313          WARRINGTON TOWNSHIP                              852 EASTON RT                                                                                                               WARRINGTON            PA           18976
30338764          Name on file                                     Address on file
30355095          Name on file                                     Address on file
29954314          WARWICK POLICE DEPARTMENT                        LICENSING UNIT                      99 VETERANS MEMORIAL DR                                                                 WARWICK               RI           02886
30213581          WARWICK REALTY, LLC                              ATTN: MARK S. ROSEN                 4300 W. PIERSON ROAD                                                                    FLINT                 MI           48504
30330942          Warwick Realty, LLC                              PO Box 1798                                                                                                                 East Lansing          MI           48826‐1798
30398110          Name on file                                     Address on file
29949355          WASCO COUNTY TAX COLLECTOR                       PERSONAL PROPERTY TAX               COUNTY COURTHOUSE                                                                       THE DALLES            OR           97058
29954317          WASCO COUNTY TAX COLLECTOR                       PERSONAL PROPERTY TAX ‐ 915         COUNTY COURTHOUSE                                                                       THE DALLES            OR           97058
                  WASCO COUNTY, OR COUNTY CONSUMER
30208050          PROTECTION AGENCY                                ATTN: CONSUMER PROTECTION DIVISION 401 E 3RD ST                          STE 100                                            DALLAS                OR           97058
29954318          Name on file                                     Address on file
30332913          Name on file                                     Address on file
30346033          Name on file                                     Address on file
29954319          WASHINGTON CITY                                  111 NORTH 100 EAST                                                                                                          WASHINGTON            UT           84780
29954321          Name on file                                     Address on file
                  WASHINGTON COUNTY ASSESSMENT AND
29949357          TAXATION                                         WASHINGTON CO PERS PROP TAX         PO BOX 3587                                                                             PORTLAND              OR           97208
29954322          WASHINGTON COUNTY ASSESSOR                       197 EAST TABERNACLE                                                                                                         SAINT GEORGE          UT           84770
29954323          WASHINGTON COUNTY CLERK                          100 EAST MAIN ST                                                                                                            JONESBOROUGH          TN           37659
29954324          Name on file                                     Address on file
30212052          WASHINGTON COUNTY LIBRARY                        235 E HIGH ST                                                                                                               POTOSI                MO           63664
LC_0716           Washington County Public Library                 205 Oak Hill Street                                                                                                         Abingdon              VA           24210‐2823
30209031          WASHINGTON COUNTY PUBLIC LIBRARY                 615 FIFTH STREET                                                                                                            MARIETTA              OH           45750

30209033          WASHINGTON COUNTY PUBLIC LIBRARY SYSTEM 205 OAK HILL ST                                                                                                                      ABINGDON              VA           24210
29947827          WASHINGTON COUNTY SHERIFF'S OFFICE      ALARM PERMITS                                215 SW ADAMS AVENUE MS #32                                                              HILLSBORO             OR           97123
29947828          WASHINGTON COUNTY TAX COLLECTOR         280 N COLLEGE SUITE 202                                                                                                              FAYETTEVILLE          AR           72701
29947829          WASHINGTON COUNTY TREASURER             35 W. WASHINGTON ST., STE. 102                                                                                                       HAGERSTOWN            MD           21740
                  WASHINGTON COUNTY, MD COUNTY
30208051          CONSUMER PROTECTION AGENCY              ATTN: CONSUMER PROTECTION DIVISION           100 WEST WASHINGTON ST                                                                  HAGERSTOWN            MD           21740
                  WASHINGTON COUNTY, MN COUNTY
30208052          CONSUMER PROTECTION AGENCY              ATTN: CONSUMER PROTECTION DIVISION           14949 62ND ST NORTH                  PO BOX 6                                           STILLWATER            MN           55082
                  WASHINGTON COUNTY, OH COUNTY
30208053          CONSUMER PROTECTION AGENCY              ATTN: CONSUMER PROTECTION DIVISION           223 PUTNAM STREET                                                                       MARIETTA              OH           45750
                  WASHINGTON COUNTY, OR COUNTY
30208054          CONSUMER PROTECTION AGENCY              ATTN: CONSUMER PROTECTION DIVISION           669 S 1ST AVE                        STE 200                                            HILLSBORO             OR           97123
                  WASHINGTON COUNTY, TN COUNTY CONSUMER
30208055          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION           100 E MAIN ST                        PO BOX 219                                         JONESBOROUGH          TN           37659
                  WASHINGTON COUNTY, VT COUNTY CONSUMER
30208056          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION           255 NORTH MAIN ST                                                                       BARRE                 VT           05641
29947830          WASHINGTON DC ATTORNEY GENERAL          ATTENTION BANKRUPTCY DEPT                    441 4TH STREET, NW                                                                      WASHINGTON            DC           20001

29947831          WASHINGTON DC OFFICE OF TAX AND REVENUE 1101 4TH ST SW                               STE 270 WEST                                                                            WASHINGTON            DC           20024




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29947832          WASHINGTON DEPARTMENT OF REVENUE           TAXPAYER ACCOUNT ADMINISTRATION     P.O. BOX 47476                                                                            OLYMPIA                  WA           98504‐7476
29947834          WASHINGTON GAS/37747                       PO BOX 37747                                                                                                                  PHILADELPHIA             PA           19101‐5047
29947835          Name on file                               Address on file
29953378          WASHINGTON PLAZA LLC                       DEPT CC003607                       P.O. BOX 713118                                                                           CHICAGO                  IL           60677‐0318
29953379          WASHINGTON REIT/79555                      PO BOX 79555                                                                                                                  BALTIMORE                MD           21279‐0555
                                                                                                 7500 GREEMWAY CENTER DR. STE
29949750          WASHINGTON REIT/79555                      WASHINGTON REIT                     830                                                                                       GREENBELT                MD           20770‐3577
29953380          WASHINGTON RETAIL ASSOCIATION              PO BOX 2227                                                                                                                   OLYMPIA                  WA           98507
29953381          Name on file                               Address on file
29953382          WASHINGTON SECRETARY OF STATE              DOLLIVER BUILDING 801 CAPITOL WAY                                                                                             SOUTH OLYMPIA            WA           98501
                  WASHINGTON STATE DEPARTMENT OF
29953383          NATURAL RESOURCES                          PRODUCT SALES & LEASING DIVISION    1111 WASHINGTON ST. SE                                                                    OLYMPIA                  WA           98504‐7014
29953385          WASHINGTON VENTURES RE LLC                 1521 OXBOW DR., STE. 210                                                                                                      MONTROSE                 CO           81401
29953386          Name on file                               Address on file

30209038          WASHINGTON‐CENTERVILLE PUBLIC LIBRARY 111 W SPRING VALLEY RD                                                                                                             CENTERVILLE              OH           45458
29950499          WASHOE COUNTY CLERK                   PO BOX 30039                                                                                                                       RENO                     NV           89520
29953387          WASHOE COUNTY DISTRICT                HEALTH DEPARTMENT                        1001 EAST NINTH STREET                                                                    RENO                     NV           89520
                  WASHOE COUNTY HEALTH DISTRICT ADMIN
29950500          HEALTH RENEWAL                        HEALTH DEPARTMENT                        1001 EAST NINTH STREET                                                                    RENO                     NV           89520
29953388          WASHOE COUNTY TREASURER               PO BOX 30039                                                                                                                       RENO                     NV           89520
                  WASHTENAW COUNTY, MI COUNTY CONSUMER
30208057          PROTECTION AGENCY                     ATTN: CONSUMER PROTECTION DIVISION       220 NORTH MAIN                                                                            ANN ARBOR                MI           48104
30334858          Name on file                          Address on file
29953389          WASILLA LL HOLDING LLC                BEST WESTERN LAKE LUCILLE                1300 W. LAKE LUCILLE DR                                                                   WASILLA                  AK           99654
30385228          Name on file                          Address on file
30333774          Name on file                          Address on file
30395739          Name on file                          Address on file
                                                                                                 Attn: Barry Z. Bazian and Artem
30331527          Waste Management National Services, Inc.   Goodwin Procter LLP                 Skorostensky                       The New York Times Building    620 Eighth Avenue       New York                 NY           10018
29947836          WASTE MANAGEMENT, INC.                     800 CAPITOL ST                      SUITE 300                                                                                 HOUSTON                  TX           77002
29953852          WASTE MANAGEMENT, INC.                     800 CAPITOL ST                                                                                                                HOUSTON                  TX           77002
30214917          WASTE MGMT NATIONAL SERVICES INC           800 Capitol Street                                                                                                            Houston                  TX           77002
29947837          WASTE MGMT NATIONAL SERVICES INC           PO BOX 930580                                                                                                                 ATLANTA                  GA           31193
30332330          Name on file                               Address on file
30213212          WATERFORD LAKES TOWN CENTER, LLC           500 NORTH BROADWAY, SUITE 201       PO BOX 9010                                                                               JERICHO                  NY           11753
29947841          WATERFORD LAKES TOWN CTR LLC               PO BOX 779275                                                                                                                 CHICAGO                  IL           60677‐9275
29947842          WATERFORD PARK NORTH ASSOCIATES, LLC       C/O SAMCO PROPERTIES, INC.          ATTN: SAM SPIEGEL                  455 FAIRWAY DRIVE, SUITE 301                           DEERFIELD BEACH          FL           33441
30210976          WATERFORD PARK NORTH ASSOCIATES, LLC       C/O SAMCO PROPERTIES, INC.          ATTN: SAM SPIEGEL                                                                         DEERFIELD BEACH          FL           33441
                                                             C/O CENTRAL PROPERTY MANAGEMENT,
29947844          WATERLOO CROSSROADS PROPERTY, LLC          LLC                                 ATTN: CROSSROADS COMMONS           1800 SE PRAIRIE CREEK DR                               WAUKEE                   IA           50263
                                                             C/O CENTRAL PROPERTY MANAGEMENT,
30210930          WATERLOO CROSSROADS PROPERTY, LLC          LLC                                 ATTN: CROSSROADS COMMONS                                                                  WAUKEE                   IA           50263
LC_0718           Waterloo Public Library                    35 Albert Street                                                                                                              Waterloo                 ON           N2L5E2          Canada
29947845          WATERLOO WATER WORKS                       325 SYCAMORE ST                                                                                                               WATERLOO                 IA           50703‐4627
29947846          WATERLOO WATER WORKS                       P.O. BOX 27                                                                                                                   WATERLOO                 IA           50704‐0027
29964420          WATERPRO INC.                              9977 JOHN CLAYTON MEMORIAL HWY                                                                                                GLOUCESTER               VA           23061
29964421          WATERPRO INC.                              PO BOX 496                                                                                                                    PLEASANT GROVE           UT           84062
30334970          Name on file                               Address on file
29964422          WATERTOWN CITY TREASURER                   PERSONAL PROPERTY TAXES             PO BOX 477                                                                                WATERTOWN                WI           53094
30209040          WATERTOWN FREE PUBLIC LIBRARY              123 MAIN STREET                                                                                                               WATERTOWN                MA           02472
29964424          WATERVILLE SEWER DISTRICT                  353 WATER ST                                                                                                                  WATERVILLE               ME           04093
29964425          WAT‐KEM MECHANICAL INC                     2755 SOUTH COUNTRY RD., 25A                                                                                                   TROY                     OH           45373
30352785          Name on file                               Address on file
LC_0719           Watonga Public Library                     Same As St. Address                                                                                                           Watonga                  OK           73772‐3644
30212054          WATONGA PUBLIC LIBRARY                     301 N PROUTY                                                                                                                  WATONGA                  OK           73772
30354800          Name on file                               Address on file
30286752          Name on file                               Address on file
30395782          Name on file                               Address on file
30336794          Name on file                               Address on file
30350456          Name on file                               Address on file
30279938          Name on file                               Address on file




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30397220          Name on file                            Address on file
30258416          Name on file                            Address on file
30335585          Name on file                            Address on file
30393122          Name on file                            Address on file
29964427          Name on file                            Address on file
LC_0720           Wauconda Area Public Library District   801 North Main Street                                                                                                  Wauconda                IL           60084‐1200

30209043          WAUCONDA AREA PUBLIC LIBRARY DISTRICT   801 N MAIN ST                                                                                                          WAUCONDA                IL           60084

30209045          WAUCONDA AREA PUBLIC LIBRARY DISTRICT   802 NORTH MAIN ST                                                                                                      WAUCONDA                IL           60084
LC_0721           Waukee Public Library                   950 S Warrior Ln                                                                                                       Waukee                  IA           50263‐9589
29964428          Name on file                            Address on file
30209047          WAUKEE PUBLIC LIBRARY                   950 WARRIOR LANE                                                                                                       WAUKEE                  IA           50262
30209048          WAUKEE PUBLIC LIBRARY                   950 WARRIOR LN                                                                                                         WAUKEE                  IA           50263
29964429          Name on file                            Address on file
30209050          WAUKEGAN PUBLIC LIBRARY                 128 NORTH COUNTY STREET                                                                                                WAUKEGAN                IL           60085
29964430          WAUKESHA COUNTY TREASURER               515 W MORELAND BLVD RM 148                                                                                             WAUKESHA                WI           53188‐2428
                  WAUKESHA COUNTY, WI COUNTY CONSUMER                                        515 W MORELAND BLVD ROOM
30208058          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION AC130                                                                               WAUKESHA                WI           53188
30356667          Name on file                            Address on file
29964431          Name on file                            Address on file
29947847          Name on file                            Address on file
29947848          Name on file                            Address on file
30209056          WAY PUBLIC LIBRARY                      101 E INDIANS AVE                                                                                                      PERRYSBURG              OH           43551
29947849          Name on file                            Address on file
30345315          Name on file                            Address on file
30212055          WAYLAND FREE PUBLIC LIBRARY             5 CONCORD RD                                                                                                           WAYLAND                 MA           01778
29950504          WAYNE A ROBEY                           CLERK OF CIRCUIT COURT             9250 BENDIX RD                                                                      COLUMBIA                MD           21045
29947854          Name on file                            Address on file
30209057          WAYNE COUNTY PUBLIC LIBRARY             1406 MAIN ST                                                                                                           HONESDALE               PA           18431
29947855          WAYNE COUNTY RECORDER                   ADMINISTRATION BLDG                401 EAST MAIN STREET                                                                RICHMOND                IN           47371
29947856          WAYNE COUNTY TAX COLLECTOR              P.O. BOX 1495                                                                                                          GOLDSBORO               NC           27533‐1495
                  WAYNE COUNTY, IN COUNTY CONSUMER
30208059          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 401 EAST MAIN                                                                       RICHMOND                IN           47374
                  WAYNE COUNTY, MI COUNTY CONSUMER
30208060          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 525 W. OTTAWA ST.                                                                   LANSING                 MI           48906
                  WAYNE COUNTY, NC COUNTY CONSUMER
30208061          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION   224 E WALNUT STREET                                                               GOLDSBORO               NC           27530
LC_0724           Wayne Library Alliance                  1406 N Main Street                                                                                                     Honesdale               PA           18431‐2006
29947860          Name on file                            Address on file
30395336          Name on file                            Address on file
30209062          WAYNESBORO PUBLIC LIBRARY               600 S. WAYNE AVE.                                                                                                      WAYNESBORO              VA           22980
29947864          Name on file                            Address on file
30399696          Name on file                            Address on file
29947865          WBCMT 2007‐C33 POCATELLO SQ LLC         C/O TRIGILD INC                      9339 GENESEE AVE STE 130                                                          SAN DIEGO               CA           92121
29947866          WCG GROUP LLC, DBA AITOH CO.            2720 MOUNTAIN PINE ROAD                                                                                                HOT SPRINGS             AR           71913
30213424          WD JOANN LLC                            204 N. ROBINSON, SUITE 700           ATTN: DAVID BURNETT, CCIM                                                         OKLAHOMA CITY           OK           73102
29947869          Name on file                            Address on file
29947871          WE ENERGIES/WISCONSIN ELECTRIC/GAS      PO BOX 1125                                                                                                            GLENVIEW                IL           60025
29947872          Name on file                            Address on file
30356841          Name on file                            Address on file
30183103          Wealth Concept Ltd                      Unit 10, 29/F TWR A                  Southmark 11 Yip Hing St                                                          Wong Chuk Hang                       00000           Hong Kong
30353405          Name on file                            Address on file
30342570          Name on file                            Address on file
30385226          Name on file                            Address on file
30351122          Name on file                            Address on file
30337042          Name on file                            Address on file
30294930          Name on file                            Address on file
30263006          Name on file                            Address on file
30211643          WEAVEUP INC                             4810 HOPE VALLEY RD #210                                                                                               DURHAM                  NC           27707
29947875          WEB ACTIVE DIRECTORY, LLC               2770 MAIN ST., STE. #185                                                                                               FRISCO                  TX           75033
29947876          Name on file                            Address on file
30209063          WEBB CITY PUBLIC LIBRARY                101 S. LIBERTY ST                                                                                                      WEB CITY                MO           64870




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30345458          Name on file                    Address on file
30340580          Name on file                    Address on file
30333425          Name on file                    Address on file
30384675          Name on file                    Address on file
29947877          WEBER COUNTY ASSESSOR           2380 WASHINGTON BLVD STE 380                                                                                           OGDEN                   UT           84401‐1471
29947878          Name on file                    Address on file
30416641          Name on file                    Address on file
30338117          Name on file                    Address on file
30347853          Name on file                    Address on file
30347350          Name on file                    Address on file
30227489          Name on file                    Address on file
29947879          WEBSTER ASSETS LP               STAYBRIDGE SUITES CLEAR LAKE       501 WEST TEXAS AVE.                                                                 WEBSTER                 TX           77598
30212056          WEBSTER GROVES PUBLIC LIBRARY   301 E LOCKWOOD AVE                                                                                                     WEBSTER GROVES          MO           63119
29964433          Name on file                    Address on file
30414928          Name on file                    Address on file
30332516          Name on file                    Address on file
30351085          Name on file                    Address on file
30397552          Name on file                    Address on file
30331884          Name on file                    Address on file
30349353          Name on file                    Address on file
30332639          Name on file                    Address on file
30414559          Name on file                    Address on file
30414560          Name on file                    Address on file
30352670          Name on file                    Address on file
30332057          Name on file                    Address on file
30259298          Wegmans Food Markets, Inc.      Harter Secrest & Emery LLP         Nicholas Gatto                   50 Fountain Plaza              10th Floor          Buffalo                 NY           14202
30291486          Wegmans Food Markets, Inc.      P.O. Box 24470                                                                                                         Rochester               NY           14624
30213638          WEGMANS REAL ESTATE             ATTN: TOM BETTERIDGE               PO BOX 30844                                                                        ROCHESTER               NY           14603‐0844
30344394          Name on file                    Address on file
30332681          Name on file                    Address on file
30340574          Name on file                    Address on file
30354796          Name on file                    Address on file
29964439          Name on file                    Address on file
30213171          WEINGARTEN NOSTAT, LLC.         500 NORTH BROADWAY, SUITE 201                                                                                          JERICHO                 NY           11753
30394457          Name on file                    Address on file
30396227          Name on file                    Address on file
30340625          Name on file                    Address on file
30415892          Name on file                    Address on file

29964441          WEIRFIELD COAL INC              C/O PROVIDENCE GRP MGMT SERVICES   300 W. SUMMIT AVE, STE 250                                                          CHARLOTTE               NC           28203
                                                  C/O PROVIDENCE GROUP MANAGEMENT    300 WEST SUMMIT AVENUE, SUITE
30210929          WEIRFIELD COAL, INC.            SERVICES                           250                                                                                 BROOKLYN                NY           11237
                                                  C/O PROVIDENCE GROUP MANAGEMENT    ATTN: LEASE ADMINISTRATION,   300 WEST SUMMIT AVENUE, SUITE
29964442          WEIRFIELD COAL, INC.            SERVICES                           ERIN GUTIERREZ                250                                                   BROOKLYN                NY           11237
30344427          Name on file                    Address on file
30396298          Name on file                    Address on file
30385248          Name on file                    Address on file
30332346          Name on file                    Address on file
30333921          Name on file                    Address on file
30346922          Name on file                    Address on file
30399666          Name on file                    Address on file
30394072          Name on file                    Address on file
30397023          Name on file                    Address on file
30332607          Name on file                    Address on file
30415171          Name on file                    Address on file
30397415          Name on file                    Address on file
29947880          Name on file                    Address on file
30212059          WELLAND PUBLIC LIBRARY          50 THE BOARDWALK                                                                                                       WELLAND                 ON           L3B 6J1         CANADA
30395819          Name on file                    Address on file
30394713          Name on file                    Address on file
30396982          Name on file                    Address on file
29947882          Name on file                    Address on file
30209068          WELLESLEY FREE PUBLIC LIBRARY   530 WASHINGTON ST.                                                                                                     WELLESLEY               MA           02482




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29947883          Name on file                                 Address on file
30209072          WELLES‐TURNER MEMORIAL LIBRARY               2407 MAIN ST.                                                                                                           GLASTONBURY               CT           06033
30356770          Name on file                                 Address on file
30209074          WELLINGTON COUNTY LIBRARY                    190 ST ANDREW ST. W                                                                                                     FERGUS                    ON           N1M 1N5         CANADA
29947884          Name on file                                 Address on file

30213604          WELLMAN FAMILY LIMITED PARTNERSHIP           ATTN: IVY S. LESSIN, GENERAL PARTNER   40 WYMAN DRIVE                                                                   SUDBURY                   MA           01776
29947887          Name on file                                 Address on file
29949789          WELLS FARGO                                  420 MONTGOMERY STREET                                                                                                   SAN FRANCISCO             CA           94104
29947888          WELLS FARGO BANK NA                          WELLS FARGO EQUIPMENT FINANCE          PO BOX 858178                                                                    MINNEAPOLIS               MN           55485‐8178
29947889          WELLS FARGO BANK NA SF                       EQUIPMENT & VENDOR FINANCE             PO BOX 77101                                                                     MINNEAPOLIS               MN           55480‐7101
29950247          WELLS FARGO BANK, N.A.                       800 WALNUT STREET                      F0005‐044                                                                        DES MOINES                IA           50309
30226568          Wells Fargo Bank, N.A.                       PO Box 77101                                                                                                            Minneapolis               MN           55480
29947890          WELLS FARGO BANKS                            ACCOUNT ANALYSIS                       NW 7091                         POBOX 1450                                       MINNEAPOLIS               MN           55485
29964443          WELLS FARGO VEND FINAN SERV LLC              PO BOX 105743                                                                                                           ATLANTA                   GA           30348‐5743
30229212          Wells Fargo Vendor Financial Services, LLC   PO Box 105743                                                                                                           Atlanta                   GA           30348
30349280          Name on file                                 Address on file
30394164          Name on file                                 Address on file
30345510          Name on file                                 Address on file
30347908          Name on file                                 Address on file
30415253          Name on file                                 Address on file
30341411          Name on file                                 Address on file
30351549          Name on file                                 Address on file
29964449          WENDI GROAT                                  Address on file
30209081          WENDY BERNARD                                Address on file
29964461          WENDY CORUM                                  Address on file
29947905          WENDY FLORES                                 Address on file
29947913          WENDY HATALOWICH                             Address on file
IC_202            WENDY JO BERNARD                             Address on file
29947920          WENDY LEWIS                                  Address on file
29947945          Name on file                                 Address on file
30332155          Name on file                                 Address on file
LC_0731           Wenonah Free Public Library                  101 E. Mantua Avenue                                                                                                    Wenonah                   NJ           08090‐1950
30209082          WENONAH PUBLIC LIBRARY                       101 E. MANTUA AVENUE                                                                                                    WENONAH                   NJ           08090
30338052          Name on file                                 Address on file
30337240          Name on file                                 Address on file
30337222          Name on file                                 Address on file
30341898          Name on file                                 Address on file
30397475          Name on file                                 Address on file
29947954          Name on file                                 Address on file
30346319          Name on file                                 Address on file
30397796          Name on file                                 Address on file
30340584          Name on file                                 Address on file
LC_0732           West Allis Public Library                    7421 West National Avenue                                                                                               West Allis                WI           53214‐4699
30212063          WEST ALLIS PUBLIC LIBRARY                    7421 W NATIONAL AVE                                                                                                     WEST ALLIS                WI           53214
29947970          Name on file                                 Address on file
30209083          WEST BRIDGEWATER PUBLIC LIBRARY              80 HOWARD STREET                                                                                                        WEST BRIDGEWATER          MA           02379

29950248          WEST BROADWAY DISTRIBUTION SERVICES, LLC     5520 PGA BLVD.                         SUITE 212                                                                        PALM BEACH GARDENS        FL           33418
30331642          West Broadway Distribution Services, LLC     Attn: Carrie Kilmer                    5520 PGA Boulevard              Suite 212                                        Palm Beach Gardens        FL           33418
30212064          WEST FARGO PUBLIC LIBRARY                    109 THIRD STREET EAST                                                                                                   WEST FARGO                ND           58078
30209084          WEST GIPPSLAND REGIONAL LIBRARY              65 VICTORIA ST                                                                                                          WARRAGUL, VIC                                          AUSTRALIA
30212065          WEST LINN PUBLIC LIBRARY                     1595 BURNS ST                                                                                                           WEST LINN                 OR           97068
29947974          WEST MAIN ASSOCIATES                         90 LINDEN OAKS                         STE 100                                                                          ROCHESTER                 NY           14625‐2830
29947976          WEST MOUNTAIN CORPORATION                    DBA KRISTIN NICHOLAS DESIGNS           31 GLEN ROAD                                                                     LEYDEN                    MA           01301
29947977          Name on file                                 Address on file
29947978          Name on file                                 Address on file
29947980          Name on file                                 Address on file
30209085          WEST PERTH PUBLIC LIBRARY                    105 ST ANDREWS ST                                                                                                       MITCHELL                  ON           N0K 0B3         CANADA
29947981          Name on file                                 Address on file
30223293          WEST VANCOUVER MEMORIAL LIBRARY              1950 MARINE DRIVE                                                                                                       WEST VANCOUVER            BC           V7V 1J8         CANADA
29947984          WEST VIEW WATER AUTHORITY                    PO BOX 6295                                                                                                             HERMITAGE                 PA           16148‐0923




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29964477          WEST VIRGINIA AMERICAN WATER COMPANY    PO BOX 371880                                                                                                            PITTSBURGH                PA           15250‐7800
29964478          WEST VIRGINIA DEPARTMENT OF REVENUE     ATTN: LEGAL DIVISION               1001 LEE STREET                                                                       EAST CHARLESTON           WV           25301
                                                          1900 KANAWHA BOULEVARD EAST, BLDG.
29964479          WEST VIRGINIA SECRETARY OF STATE        1, SUITE 157‐K                                                                                                           CHARLESTON                WV           25305‐0770
29949408          WEST VIRGINIA STATE TREASURER           UNCLAIMED PROPERTY DIVISION        322 70TH STREET SE                                                                    CHARLESTON                WV           25304
29964480          WEST VIRGINIA TAX DIVISION              1001 LEE STREET EAST                                                                                                     CHARLESTON                WV           25301
29964482          WEST WILSON UTILITY DISTRICT            P.O. BOX 97                                                                                                              MOUNT JULIET              TN           37121
30342497          Name on file                            Address on file
30394359          Name on file                            Address on file
30332749          Name on file                            Address on file
30396715          Name on file                            Address on file
30414869          Name on file                            Address on file
30414870          Name on file                            Address on file
30385796          Name on file                            Address on file
30212692          WESTAR ENERGY, INC.                     818 SOUTH KANSAS AVENUE                                                                                                  TOPEKA                    KS           66612
29964483          Name on file                            Address on file

30213077          WESTBURY RENTAL                         C/O STALLER ASSOCIATES REALTY, INC.   1455 VETERANS HWY., SUITE 201                                                      ISLANDIA                  NY           11749
29964485          WESTBURY RENTAL                         CO STALLER ASSOCIATES INC             1455 VETERANS HWY #201                                                             ISLANDIA                  NY           11749
                  WESTCHESTER COUNTY, NY COUNTY
30208062          CONSUMER PROTECTION AGENCY              ATTN: CONSUMER PROTECTION DIVISION 148 MARTINE AVE                    ROOM 407                                           WHITE PLAINS              NY           10601
30209090          WESTCHESTER PUBLIC LIBRARY              10700 CANTERBURY STREET                                                                                                  WESTCHESTER               IL           60154
30212070          WESTERN COUNTIES REGIONAL LIBRARY       405 MAIN ST                                                                                                              YARMOUTH                  NS           B5A 1G3         CANADA
29947986          Name on file                            Address on file
30209092          WESTERN DISTRICT LIBRARY                1111 FOURTH STREET                                                                                                       ORION                     IL           61273
30223295          WESTERN EXPRESS INC                     7135 CENTENNIAL PLACE                                                                                                    NASHVILLE                 TN           37209
30212072          WESTERN POCONO COMMUNITY LIBRARY        131 PILGRIM WAY                                                                                                          BRODHEADSVILLE            PA           18322
29947988          WESTERN RESERVE ACADEMY                 115 COLLEGE ST                                                                                                           HUDSON                    OH           44236
29947989          WESTERN VIRGINIA WATER AUTHORITY        601 S. JEFFERSON STREET                                                                                                  ROANOKE                   VA           24011
29947990          WESTERN VIRGINIA WATER AUTHORITY        PO BOX 17381                                                                                                             BALTIMORE                 MD           21297‐1381
30209094          WESTERVILLE PUBLIC LIBRARY              126 S STATE STREET                                                                                                       WESTERVILLE               OH           43081
30353689          Name on file                            Address on file
29947992          Name on file                            Address on file

30223296          WESTFIELD SPECIALTY INSURANCE COMPANY   ATTN: UNDERWRITING DEPARTMENT         ONE PARK CIRCLE                                                                    WESTFIELD                 OH           44251

30210512          WESTFIELD SPECIALTY INSURANCE COMPANY   ONE PARK CIRCLE                       P.O. BOX 5001                                                                      WESTFIELD CENTER          OH           44251‐5001

30212676          WESTFIELD SPECIALTY INSURANCE COMPANY   ONE PARK CIRCLE                                                                                                          WESTFIELD                 OH           44251
29947994          WESTFORD TAX COLLECTOR                  55 MAIN STREET                                                                                                           WESTFORD                  MA           01886
                                                                                                10 STATE HOUSE SQUARE, 15TH
30213610          WESTFORD VALLEY MARKETPLACE, INC.       C/O UBS REALTY INVESTORS, LLC         FLOOR                                                                              HARTFORD                  CT           06103

30210891          WESTGATE MALL REALTY GROUP, LLC         C/O LEXINGTON REALTY INTERNATIONAL    2361 NOSTRAND AVENUE                                                               BROOKLYN                  NY           11210

29964491          WESTGATE MALL REALTY GROUP, LLC         C/O LEXINGTON REALTY INTERNATIONAL    ATTN: ALAN RETKINSKI           2361 NOSTRAND AVENUE                                BROOKLYN                  NY           11210
29964492          WESTGATE WOODLAND LLC                   C/O ETHAN CONRAD PROPERTIES           1300 NATIONAL DR. STE. 100                                                         SACRAMENTO                CA           95834
                                                                                                ATTN: MICHELLE GREGG, PROPERTY
30210885          WESTGATE WOODLAND, LLC                  C/O ETHAN CONRAD PROPERTIES, INC.     MGR.                           1300 NATIONAL DRIVE             SUITE 100           SACRAMENTO                CA           95834
29964494          Name on file                            Address on file
30212076          WESTLAKE PORTER PUBLIC LIBRARY          27333 CENTER RIDGE ROAD                                                                                                  WESTLAKE                  OH           44145

30209268          WESTMINSTER FIBERS                      FABRICS                               3430 TORINGDON WAY SUITE 301                                                       CHARLOTTE                 NC           28277
                                                          C/O TSCG (FKA ROSENTHAL PROPERTIES,   1945 OLD GALLOWS ROAD, SUITE
30213602          WESTMINSTER GRANITE MAIN, LLC           LLC)                                  300                                                                                VIENNA                    VA           22182
30209101          WESTMINSTER PUBLIC LIBRARY              3705 W. 112TH AVE                                                                                                        WESTMINSTER               CO           80031
30209104          WESTMONT PUBLIC LIBRARY                 428 N CASS AVE                                                                                                           WESTMONT                  IL           60559
29947996          Name on file                            Address on file
30211562          WESTMORELAND BUILDERS LLC               1597 HART STREET                                                                                                         SOUTHLAKE                 TX           76092
29947997          WESTMORELAND COUNTY TREASURER           2 NORTH MAIN STREET                                                                                                      GREENSBURG                PA           15601
                  WESTMORELAND COUNTY, PA COUNTY
30208063          CONSUMER PROTECTION AGENCY              ATTN: CONSUMER PROTECTION DIVISION 2 N MAIN STREET                    SUITE 101                                          GREENSBURG                PA           15601




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30398390          Name on file                                Address on file
30261856          Name on file                                Address on file
29947999          WESTOVER CROSSING LLC                       23 LIBERTY PLACE                                                                                                     HATTIESBURG           MS           39402
30332290          Name on file                                Address on file
29948000          Name on file                                Address on file
29948001          Name on file                                Address on file
30209110          WETHERSFIELD PUBLIC LIBRARY                 515 SILAS DEANE HIGHWAY                                                                                              WETHERSFIELD          CT           06019
30209111          WETHERSFIELD PUBLIC LIBRARY                 515 SILAS DEANE HWY                                                                                                  WETHERSFIELD          CT           06109
30336516          Name on file                                Address on file
29948002          WEX HEALTH INC.                             DBA WEX                           PO BOX 9528                                                                        FARGO                 ND           58106‐9528
29948003          Name on file                                Address on file
29948004          Name on file                                Address on file

30209112          WEYMOUTH PUBLIC LIBRARIES ‐ TUFTS LIBRARY   46 BROAD STREET                                                                                                      WEYMOUTH              MA           02188
30415235          Name on file                                Address on file
29948005          WGSN INC                                    229 W 43RD ST., 7TH FL                                                                                               NEW YORK              NY           10036
30213635          WH PLAZA LLC                                151 BODMAN PLACE, SUITE 201       ATTN: ANDREW DENARDO                                                               RED BANK              NJ           07701
29950271          WH PLAZA LLC                                ATTN: ANDREW DENARDO              151 BODMAN PLACE, #201                                                             RED BANK              NJ           07701
30394606          Name on file                                Address on file
30341162          Name on file                                Address on file
30336535          Name on file                                Address on file
29950274          WHAT DO YOU MEME, LLC                       233 SPRING STREET, 5TH FLOOR                                                                                         NEW YORK              NY           10013
30212080          WHATCOM COUNTY LIBRARY SYSTEM               5205 NORTHWEST DRIVE                                                                                                 BELLINGHAM            WA           98226
29950276          WHATCOM COUNTY TREASURER                    BARBARA J CORY                    PO BOX 34108                                                                       SEATTLE               WA           98124‐1108
29950277          Name on file                                Address on file
30209113          WHEATLAND REGIONAL LIBRARY                  86 DUCHESS ST                                                                                                        SASKATOON             SK           S7K 6K3         CANADA
                  WHEATON PLAZA REGIONAL SHOPPING CENTER                                        2049 CENTURY PARK EAST, 42ND
30213441          L.L.C.                                      ATTN: LEGAL DEPARTMENT            FLOOR                                                                              LOS ANGELES           CA           90067

29949776          WHEATON PLAZA REGIONAL SHOPPING CTR LLP 11160 VEIRS MILL RD.                                                                                                     WHEATON               MD           20902‐2538

29950280          WHEATON PLAZA REGIONAL SHOPPING CTR LLP     PO BOX 55275                                                                                                         LOS ANGELES           CA           90074‐5275
LC_0745           Wheaton Public Library                      225 North Cross Street                                                                                               Wheaton               IL           60187‐5342
30212083          WHEATON PUBLIC LIBRARY                      225 N CROSS ST                                                                                                       WHEATON               IL           60187
30355242          Name on file                                Address on file
30384909          Name on file                                Address on file
30332442          Name on file                                Address on file
30223298          WHERE EAGLES DARE LLC                       200 FIRST AVE STE 203B                                                                                               PITTSBURGH            PA           15222
30338150          Name on file                                Address on file
29950282          Name on file                                Address on file
30354772          Name on file                                Address on file
30356610          Name on file                                Address on file
30333969          Name on file                                Address on file
30354704          Name on file                                Address on file
LC_0746           Whistler Public Library                     4329 Main Street                                                                                                     Whistler              BC           V8E 0X5         Canada
30209122          WHISTLER PUBLIC LIBRARY                     4325 BLACKCOMB WAY                                                                                                   WHISTLER              BC           V8E 0X5         CANADA
30209114          WHISTLER PUBLIC LIBRARY                     4329 MAIN ST                                                                                                         WHISTLER              BC           V0N 1B4         CANADA
30209117          WHISTLER PUBLIC LIBRARY                     4329 MAIN STREET                                                                                                     WHISTLER              BC           V8E 1B2         CANADA
30209116          WHISTLER PUBLIC LIBRARY                     RESORT MUNICIPALITY OF WHISTLER   4325 BLACKCOMB WAY                                                                 WHISTLER              BC           V8E 0X5         CANADA
30332583          Name on file                                Address on file
29948009          Name on file                                Address on file
30209124          WHITBY PUBLIC LIBRARY                       405 DUNDAS STREET WEST                                                                                               WHITBY                ON           L1N 6A1         CANADA
29948010          Name on file                                Address on file

30209126          WHITCHURCH‐STOUFFVILLE PUBLIC LIBRARY       2 PARK DRIVE                                                                                                         STOUFFVILLE           ON           L4A 4K1         CANADA
29948011          Name on file                                Address on file
29948012          Name on file                                Address on file
30209127          WHITE LAKE COMMUNITY LIBRARY                3900 WHITE LAKE DRIVE                                                                                                WHITEHALL             MI           49461
29948014          WHITE MOUNTAIN MALL LLC                     SDS‐12‐2324                       PO BOX 86                                                                          MINNEAPOLIS           MN           55486
30209129          WHITE OAK LIBRARY DISTRICT                  201 NORMANTOWN RD.                                                                                                   ROMEVILLE             IL           60446
30212085          WHITE OAK LIBRARY DISTRICT                  201 WEST NORMANTOWN ROAD                                                                                             ROMEOVILLE            IL           60446
30209128          WHITE OAK LIBRARY DISTRICT                  20670 KUBINSKI DR                                                                                                    CREST HILL            IL           60403
30212086          WHITE PLAINS PUBLIC LIBRARY                 100 MARTINE AVE                                                                                                      WHITE PLAINS          NY           10601




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30353948          Name on file                               Address on file
30385981          Name on file                               Address on file
30355334          Name on file                               Address on file
30345617          Name on file                               Address on file
30394630          Name on file                               Address on file
30401434          Name on file                               Address on file
30356744          Name on file                               Address on file
30397295          Name on file                               Address on file
30349883          Name on file                               Address on file
30229036          Name on file                               Address on file
29948017          WHITEHALL TOWNSHIP                         C/O FIRE DEPT                        3223 MACARTHUR RD.                                                               WHITEHALL                PA           18052
29948018          WHITEHALL TOWNSHIP AUTHORITY               1901 SCHADT AVENUE                                                                                                    WHITEHALL                PA           18052‐3728
                  WHITEHALL TOWNSHIP TAX OFFICE ‐ BUSINESS
29949367          LICENSE D                                  3221 MACARTHUR RD                                                                                                     WHITEHALL                PA           18052
30345558          Name on file                               Address on file
29948019          Name on file                               Address on file
                  WHITEHORSE MANNINGHAM REGIONAL
30209131          LIBRARY CORPORATION                        379 WHITEHORSE ROAD                                                                                                   NUNAWADING, VIC                       3131            AUSTRALIA
30296989          Name on file                               Address on file
                  WHITESIDE COUNTY, IL COUNTY CONSUMER
30208064          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 200 E KNOX ST                                                                      MORRISON                 IL           61270
29948020          Name on file                               Address on file
30209134          WHITING PUBLIC LIBRARY                     1735 OLIVER STREET                                                                                                    WHITING                  IN           46394
                  WHITLEY COUNTY, KY COUNTY CONSUMER
30208065          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION 200 MAIN ST #2                                                                     WILLIAMSBURG             KY           40769
30350283          Name on file                               Address on file
30209138          WHITMAN PUBLIC LIBRARY                     100 WEBSTER STREET                                                                                                    WHITMAN                  MA           02382
30211563          WHITMAN PUBLISHING LLC                     4001 HELTON DR                                                                                                        FLORENCE                 AL           35630‐6222
30335402          Name on file                               Address on file
30357717          Name on file                               Address on file
30354281          Name on file                               Address on file
30353990          Name on file                               Address on file
LC_0751           Whittier Public Library                    7344 S. Washington Ave.                                                                                               Whittier                 CA           90602‐1730
30209139          WHITTIER PUBLIC LIBRARY                    7344 WASHINGTON AVE.                                                                                                  WHITTIER                 CA           90602
30414594          Name on file                               Address on file
30333803          Name on file                               Address on file
29964508          WHLR‐VILLAGE OF MARTINSVILLE LLC           2529 VIRGINIA BEACH BLVD                                                                                              VIRGINIA BEACH           VA           23452
                                                                                                2529 VIRGINIA BEACH BLVD., SUITE
30213486          WHLR‐VILLAGE OF MARTINSVILLE, LLC          C/O WHEELER REAL ESTATE COMPANY    200                                                                                VIRGINIA BEACH           VA           23452
29948039          Name on file                               Address on file
29948040          Name on file                               Address on file
29948041          WHOLLY FRIJOLES MEXICAN ST. FOOD           2404 STATE ROAD                                                                                                       CUYAHOGA FALLS           OH           44223
30414413          Name on file                               Address on file
29948042          WICHITA FALSE ALARM PROGRAM                PO BOX 1162                                                                                                           WICHITA                  KS           67201
29948043          WI‐CORP‐02100‐EXT                          DRAWER NUMBER 194                                                                                                     MILWAUKEE                WI           53293‐0194
                  WIDEWATERS ROSELAND CENTER COMPANY,                                           5845 WIDEWATERS PARKWAY,
30213328          LLC                                        C/O THE WIDEWATERS GROUP, INC.     SUITE 100                                                                          EAST SYRACUSE            NY           13057
30347011          Name on file                               Address on file
30414355          Name on file                               Address on file
30414356          Name on file                               Address on file
30401379          Name on file                               Address on file
30340597          Name on file                               Address on file
30354908          Name on file                               Address on file
30395149          Name on file                               Address on file
29948046          WI‐JAS‐SALES TAX 04100                     PO BOX 8912                                                                                                           MADISON                  WI           53708‐8912
30209141          WILBRAHAM PUBLIC LIBRARY                   25 CRANE PARK DRIVE                                                                                                   WILBRAHAM                MA           01095
30395843          Name on file                               Address on file
30384948          Name on file                               Address on file
30355823          Name on file                               Address on file
30287441          Name on file                               Address on file
30401542          Name on file                               Address on file
30335139          Name on file                               Address on file
29952132          WIL‐CPT ARLINGTON HIGHLANDS 1, LP‐C        4000 FIVE POINTS DR.                                                                                                  ARLINGTON                TX           76018




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29964511          WIL‐CPT ARLINGTON HIGHLANDS 1, LP‐C/     PO BOX 975456                                                                                                            DALLAS                     TX           75397‐5457
29964512          Name on file                             Address on file
30340853          Name on file                             Address on file
30394204          Name on file                             Address on file
29964514          Name on file                             Address on file
29964515          Name on file                             Address on file
30349470          Name on file                             Address on file
30287576          Name on file                             Address on file
30416398          Name on file                             Address on file
30342688          Name on file                             Address on file
30212087          WILKINSON PUBLIC LIBRARY                 100 W PACIFIC AVE                                                                                                        TELLURIDE                  CO           81435
30398318          Name on file                             Address on file
30357092          Name on file                             Address on file
                  WILL COUNTY, IL COUNTY CONSUMER
30208066          PROTECTION AGENCY                        ATTN: CONSUMER PROTECTION DIVISION 302 N CHICAGO ST                                                                      JOLIET                     IL           60432
29948053          Name on file                             Address on file
29948055          WILLARD LEE THOMAS                       Address on file
30357957          Name on file                             Address on file
29948057          WILLCO X DEVELOPMENT LLLP                HILTON GARDEN INN THORNTON         4836 S. COLLEGE AVE., #11                                                             FORT COLLINS               CO           80525
30340807          Name on file                             Address on file
30337355          Name on file                             Address on file
30356974          WILLIAM B CHATLOSH                       Address on file
29964523          WILLIAM DROST                            Address on file
30209142          WILLIAM F. LAMAN PUBLIC LIBRARY SYSTEM   2801 ORANGE STREET                                                                                                       NORTH LITTLE ROCK          AR           72114
29964526          WILLIAM FAULK                            Address on file
29964528          Name on file                             Address on file
29948102          WILLIAM MEYER                            Address on file
LC_0753           William Y. Wadleigh Memorial Library     49 Nashua Street                                                                                                         Milford                    NH           03055‐3720
30352729          Name on file                             Address on file
30401642          Name on file                             Address on file
30227062          Name on file                             Address on file
30332117          Name on file                             Address on file
30416160          Name on file                             Address on file
30348384          Name on file                             Address on file
30335241          Name on file                             Address on file
30332396          Name on file                             Address on file
30396820          Name on file                             Address on file
30257227          Name on file                             Address on file
30401744          Name on file                             Address on file
30349270          Name on file                             Address on file
30333551          Name on file                             Address on file
30349553          Name on file                             Address on file
30395291          Name on file                             Address on file
30358266          Name on file                             Address on file
30337380          Name on file                             Address on file
30275141          Name on file                             Address on file
30402050          Name on file                             Address on file
30332259          Name on file                             Address on file
30353547          Name on file                             Address on file
30396864          Name on file                             Address on file
30340434          Name on file                             Address on file

29948141          WILLIAMSBURG COMMISSIONER OF REVENU      BUSINESS LICENSE INSPECTOR           PO BOX 283                                                                          WILLIAMSBURG               VA           23187
                  WILLIAMSBURG COMMISSIONER OF THE
29949368          REVENUE                                  BUSINESS LICENSE INSPECTOR           PO BOX 283                                                                          WILLIAMSBURG               VA           23187
29948143          WILLIAMSBURG DEVELOPERS LLC              1224 MILL ST BLDG D STE 103                                                                                              EAST BERLIN                CT           06023
                                                                                                1224 MILL STREET, BUILDING D,
30213326          WILLIAMSBURG DEVELOPERS, LLC             C/O DEVELOPERS REALTY CORP.          SUITE 103                                                                           EAST BERLIN                CT           06023
29948145          Name on file                             Address on file
29948146          Name on file                             Address on file
30337656          Name on file                             Address on file
29948147          WILLIAMSON COUNTY                        PO BOX 648                                                                                                               FRANKLIN                   TN           37065‐0624
29948148          WILLIAMSON COUNTY TAX OFFICE             904 SOUTH MAIN ST                                                                                                        GEORGETOWN                 TX           78626‐5829




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                  WILLIAMSON COUNTY, TN COUNTY CONSUMER
30208067          PROTECTION AGENCY                          ATTN: CONSUMER PROTECTION DIVISION   1320 WEST MAIN ST                                                                  FRANKLIN               TN           37064
30398473          Name on file                               Address on file
30355643          Name on file                               Address on file
29948149          Name on file                               Address on file
30209143          WILLIAMSVILLE PUBLIC LIBRARY               217 NORTH ELM ST                                                                                                        WILLIAMSVILLE          IL           62693
30354625          Name on file                               Address on file
30337326          Name on file                               Address on file
30358222          Name on file                               Address on file
30286529          Willmar Municipal Utilities                Andrea Prekker                       700 Litchfield Ave SW                                                              Willmar                MN           56201
30332173          Name on file                               Address on file
30353617          Name on file                               Address on file
29948162          WILLOW CREEK CENTER OUTLOT II LLC          C/O SIERRA REALTY & MGMT             8410 GROSS POINT RD                                                                SKOKIE                 IL           60077
30213450          WILLOW CREEK CENTER OUTLOT II, LLC         5619 NW 86TH STREET, SUITE 100       ATTN: PETER FAZIO                                                                  JOHNSTON               IA           50131
30211564          WILLOW GROUP LTD                           34 CLINTON ST                                                                                                           BATAVIA                NY           14020
30342407          Name on file                               Address on file
30255402          Name on file                               Address on file
30347871          Name on file                               Address on file
30356582          Name on file                               Address on file
29948179          Name on file                               Address on file
30209145          WILMETTE PUBLIC LIBRARY                    242 WILMETTE AVE                                                                                                        WILMETTE               IL           60091
LC_0755           Wilmette Public Library District           1242 Wilmette Avenue                                                                                                    Wilmette               IL           60091‐2558
30212089          WILMINGTON MEMORIAL LIBRARY                175 MIDDLESEX AVE                                                                                                       WILMINGTON             MA           01887
30200750          WILMINGTON SAVINGS FUND SOCIETY, FSB       500 DELAWARE AVE                     11TH FLOOR                                                                         WILMINGTON             DE           19801
                  WILMINGTON SAVINGS FUND SOCIETY, FSB, AS
                  ADMINISTRATIVE AGENT AND COLLATERAL
29950249          AGENT                                      500 DELAWARE AVE                     11TH FLOOR                                                                         WILMINGTON             DE           19801
                  WILMINGTON SAVINGS FUND SOCIETY, FSB, AS
29964928          COLLATERAL AGENT                           500 DELAWARE AVE                     11TH FLOOR                                                                         WILMINGTON             DE           19801
                                                             C/O VICTORY REAL ESTATE INVESTMENTS, 240 BROOKSTONE CENTRE
30210974          WILSHIRE PLAZA INVESTORS, LLC              LLC                                  PARKWAY                                                                            COLUMBUS               GA           31904
                                                             C/O VICTORY REAL ESTATE INVESTMENTS, ATTN: PEGGY THORNE, LEASE         240 BROOKSTONE CENTRE
29964544          WILSHIRE PLAZA INVESTORS, LLC              LLC                                  ADMINISTRATOR                     PARKWAY                                          COLUMBUS               GA           31904
30210993          WILSHIRE PLAZA LIMITED PARTNERSHIP         C/O CHASE PROPERTIES LTD.            3333 RICHMOND ROAD, STE 320                                                        BEACHWOOD              OH           44122
29964545          WILSHIRE PLAZA LIMITED PARTNERSHIP         C/O CHASE PROPERTIES LTD.            ATTN: KRISTEN NELSEN              3333 RICHMOND ROAD, STE 320                      BEACHWOOD              OH           44122
29964546          WILSHIRE PLAZA LIMITED PNTSHP              C/O CHASE PROPERTIES LTD             PO BOX 92317                                                                       CLEVELAND              OH           44193
29964548          Name on file                               Address on file
29964549          Name on file                               Address on file
29964550          WILSON COUNTY TRUSTEE                      PO BOX 865                                                                                                              LEBANON                TN           37088
                  WILSON COUNTY, TN COUNTY CONSUMER
30208068          PROTECTION AGENCY                       ATTN: CONSUMER PROTECTION DIVISION 228 EAST MAIN ST                                                                        LEBANON                TN           37087
                  WILSON ELSER MOSKOWITZ EDELMAN & DICKER
30184166          LLP                                     BANK OF AMERICA PLAZA              901 MAIN STREET, SUITE 4800                                                             DALLAS                 TX           75202
29964551          WILSON SCHOOL DISTRICT                  ATTN TAX OFFICE                    2601 GRANDVIEW BLVD                                                                     READING                PA           19609

29949372          WILSON SCHOOL DISTRICT ATTN: TAX OFFICE    ATTN TAX OFFICE                      2601 GRANDVIEW BLVD                                                                READING                PA           19609
30260942          Name on file                               Address on file
30334916          Name on file                               Address on file
30356893          Name on file                               Address on file
30261449          Name on file                               Address on file
30397713          Name on file                               Address on file
30398133          Name on file                               Address on file
30335302          Name on file                               Address on file
30397447          Name on file                               Address on file
30358180          Name on file                               Address on file
30358181          Name on file                               Address on file
30351186          Name on file                               Address on file
30341006          Name on file                               Address on file
30396780          Name on file                               Address on file
30335555          Name on file                               Address on file
29964552          Name on file                               Address on file
30209149          WILSONVILLE PUBLIC LIBRARY                 8200 SW WILSONVILLE RD.                                                                                                 WILSONVILLE            OR           97070
30209148          WILSONVILLE PUBLIC LIBRARY                 8200 SW WILSONVILLE ROAD                                                                                                WILSONVILLE            OR           97970




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  ADDRESS ID                            NAME                              ADDRESS 1                        ADDRESS 2                        ADDRESS 3                   ADDRESS 4                          CITY        STATE     POSTAL CODE           COUNTRY
IC_096            Wilton                                    535 East Diehl Road                Suite 300                                                                                    Naperville            IL           60563
30257618          Wilton Industries, Inc.                   Attn:Donna Kintzel                 535 E. Diehl Rd.                                                                             Naperville            IL           60563

30209151          WIMMERA REGIONAL LIBRARY CORPORATION      28 MCLACHLAN STREET                                                                                                             HORSHAM, VIC                                       AUSTRALIA
30182634          Win Hang Enterprise Ltd.                  UNIT A, 17/F., ETON BUILDING       288 DES VOEUX ROAD                                                                           HONG KONG                          999077          HONG KONG
                  WIN MAKERS (NINGBO) INTERNATIONAL TRADE
29948186          CO LTD                                    5 FLOOR‐A NO 0314 BUILDING         HAISHU DISTRICT                                                                              NINGBO                             315012          CHINA
30351598          Name on file                              Address on file
30209155          WINCHESTER PUBLIC LIBRARY                 80 WASHINGTON STREET                                                                                                            WINCHESTER            MA           01890
29948187          Name on file                              Address on file
30340789          Name on file                              Address on file
30351707          Name on file                              Address on file
30335247          Name on file                              Address on file
30209158          WINDING RIVERS LIBRARY SYSTEM             980 W CITY HIGHWAY 16                                                                                                           WEST SALEM            WI           54669
29948188          Name on file                              Address on file
29948189          Name on file                              Address on file
30209159          WINDSOR PUBLIC LIBRARY                    185 OUELLETE AVE REAR                                                                                                           WINDSOR               ON           N9A 4H7         CANADA
30209161          WINDSOR PUBLIC LIBRARY                    185 OUELLETTE AVENUE                                                                                                            WINDSOR               ON           N9A 5S8         CANADA
29948191          Name on file                              Address on file
30209160          WINDSOR PUBLIC LIBRARY                    85 OUELLETTE AVE REAR                                                                                                           WINDSOR               ON           N9A 4H7         CANADA
30212091          WINDSOR PUBLIC LIBRARY                    323 BROAD ST                                                                                                                    WINDSOR               CT           06095
30223299          WINDSOR PUBLIC LIBRARY BOARD              185 OULLETTE AVENUE                                                                                                             WINDSOR               ON           N9A 4H7         CANADA
30209163          WINDSOR PUBLIC LIBRARY BOARD              185 OULLETTE AVENUE                                                                                                             WINDSOR               ON           N9A 5S8         CANADA
29948193          Name on file                              Address on file
29948194          WINDSTREAM                                4001 RODNEY PARHAM RD                                                                                                           LITTLE ROCK           AR           72212
30223300          WINDSTREAM                                PO BOX 9001908                                                                                                                  LOUISVILLE            KY           40290
29948195          Name on file                              Address on file
29948196          Name on file                              Address on file
30395746          Name on file                              Address on file
30397379          Name on file                              Address on file
29948197          Name on file                              Address on file
30347926          Name on file                              Address on file
30209164          WINFIELD PUBLIC LIBRARY                   0S291 WINFIELD ROAD                                                                                                             WINFIELD              IL           60190
29948198          Name on file                              Address on file
30332247          Name on file                              Address on file
29948199          WINGFOOT COMMERCIAL                       DBA GOODYEAR TIRE                  7041 AVENUE 304                                                                              VISALIA               CA           93291
                                                                                                                                                                10 RYE RIDGE PLAZA, SUITE
29964967          WINKAL HOLDINGS, LLC                      C/O WIN PROPERTIES, INC.           ATTN: ROBERT BUSBY, SR.           VP, FINANCE & ADMINISTRATION   200                         RYE BROOK             NY           10573
30210886          WINKAL HOLDINGS, LLC                      C/O WIN PROPERTIES, INC.           ATTN: ROBERT BUSBY, SR. VP        FINANCE & ADMINISTRATION       10 RYE RIDGE PLZ, STE 200   RYE BROOK             NY           10573
29948203          Name on file                              Address on file
30414721          Name on file                              Address on file
                  WINNEBAGO COUNTY, WI COUNTY CONSUMER
30208069          PROTECTION AGENCY                         ATTN: CONSUMER PROTECTION DIVISION 901 COUNTY RD Y                                                                              OSHKOSH               WI           54901
30212092          WINNEFOX LIBRARY SYSTEM                   106 WASHINGTON AVE                                                                                                              OSHKOSH               WI           54901
29948205          Name on file                              Address on file
29948206          Name on file                              Address on file
                  WINNETKA‐NORTHFIELD PUBLIC LIBRARY
30209169          DISTRICT                                  768 OAK STREET                                                                                                                  WINNETKA              IL           60093
30339502          Name on file                              Address on file
29950386          WINSTON SMITH T CO., INC.                 P.O. BOX 427                                                                                                                    OPELIKA               AL           36803
29950389          WINTER HAVEN WATER                        PO BOX 2317                                                                                                                     WINTER HAVEN          FL           33883‐2277
                                                                                               C/O METROPOLIS PROPERTY
30210982          WINTER STREET PARTNERS WATERVILLE LLC     OH WATERVILLE LLC                  MANAGEMENT GROUP, INC.            1662 ELM STREET                                            MANCHESTER            NH           03101
30351802          Name on file                              Address on file
30353605          Name on file                              Address on file

29950393          WIRE WELD INC                             F3 METALWORX INC                   P.O. BOX 70,12069 EAST MAIN RD                                                               NORTH EAST            PA           16428
30276531          Name on file                              Address on file
29950394          WIREGRASS REALTY LLC                      C/O NAMCO REALTY LLC               PO BOX 25078                                                                                 TAMPA                 FL           33622
30342708          Name on file                              Address on file
30401478          Name on file                              Address on file
30384907          Name on file                              Address on file
29950395          WISCONSIN DEPARTMENT OF REVENUE           CUSTOMER SERVICE BUREAU            P.O. BOX 8949                                                                                MADISON               WI           53708‐8949




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29948214          WISCONSIN DEPARTMENT OF REVENUE           PO BOX 8902                                                                                                         MADISON                WI           53708‐8902
29949375          WISCONSIN DEPT OF REVENUE                 PO BOX 8902                                                                                                         MADISON                WI           53708‐8902
29949409          WISCONSIN DEPT OF REVENUE                 UNCLAIMED PROPERTY MS 3‐UP         2135 RIMROCK ROAD                                                                MADISON                WI           53713
29948215          WISCONSIN DEPT OF REVENUE                 WI SALES & USE TAX                 PO BOX 3028                                                                      MILWAUKEE              WI           53201‐3028
29948217          WISCONSIN PUBLIC SERVICE                  PO BOX 1109                                                                                                         GLENVIEW               IL           60025
29948218          WISCONSIN SECRETARY OF STATE              B41 W STATE CAPITOL.                                                                                                MADISON                WI           53703
30332615          Name on file                              Address on file
29948219          WISE CRAFT LLC                            68 CAMINO SAN CRISTOBAL                                                                                             LAMY                   NM           87540
30397867          Name on file                              Address on file
30211565          WISHBONE INC.                             572 SOUTH 5TH STREET, SUITE# 2                                                                                      PEMBINA                ND           58271
30394560          Name on file                              Address on file
29948220          Name on file                              Address on file
30209170          WITHERLE MEMORIAL LIBRARY                 41 SCHOOL STREET                                                                                                    CASTINE                ME           04421
30347656          Name on file                              Address on file

29948222          WITHLACOOCHEE RIVER ELECTRIC COOPERATIVE PO BOX 278                                                                                                           DADE CITY              FL           33526‐0278

29964953          WITHLACOOCHIE RIVER ELECTRIC COOPERATIV   THE BILLY E. BROWN CORPORATE CENTER 14651 21ST ST                                                                   DADE CITY              FL           33523
30351010          Name on file                              Address on file
30401871          Name on file                              Address on file
30348577          Name on file                              Address on file
30348782          Name on file                              Address on file
30355276          Name on file                              Address on file
29948225          WITTE PLAZA LTD                           1500 MCGOWEN ST. #200                                                                                               HOUSTON                TX           77004
                                                                                                1500 MCGOWEN STREET, SUITE
30213460          WITTE PLAZA LTD                           ATTN: LANCE H. DAVIS, PRESIDENT     #200                                                                            HOUSTON                TX           77004
                                                                                                ATTN: KRISTINE WITTMAN,
30213114          WITTMAN WENATCHEE LLC                     13502 SW 248TH ST.                  MEMBER                                                                          VASHON ISLAND          WA           98070
30340659          Name on file                              Address on file
30209172          WIXOM PUBLIC LIBRARY                      49015 PON?AC TRAIL                                                                                                  WIXOM                  MI           48393
29948227          Name on file                              Address on file
30284313          Name on file                              Address on file
30331460          WLPX Hesperia LLC                         c/o Lewis Management Corp.          Attn: Jim Fuson                1156 N. Mountain Ave.                            Upland                 CA           91786

30213368          WLPX HESPERIA, LLC                        C/O LEWIS OPERATING CORP.          1152 NORTH MOUNTAIN AVENUE                                                       UPLAND                 CA           91785
                  WMWA ‐ WILLIAMSPORT MUNICIPAL WATER
29948233          AUTH                                      P.O. BOX 185                                                                                                        WILLIAMSPORT           PA           17703‐0185
30212094          WOBURN PUBLIC LIBRARY                     45 PLEASANT STREET                                                                                                  WOBURN                 MA           01801
30348975          Name on file                              Address on file
30344127          Name on file                              Address on file
30397419          Name on file                              Address on file
30339815          Name on file                              Address on file
30347823          Name on file                              Address on file
30415898          Name on file                              Address on file
30212095          WOLFE COUNTY PUBLIC LIBRARY               164 KY HWY 15 NORTH                                                                                                 CAMPTON                KY           41301
30344460          Name on file                              Address on file
30415145          Name on file                              Address on file
30212096          WOLFEBORO PUBLIC LIBRARY                  259 SOUTH MAIN ST                                                                                                   WOLFEBORO              NH           03894
30416153          Name on file                              Address on file
30335456          Name on file                              Address on file
30351830          Name on file                              Address on file
30355731          Name on file                              Address on file
30341010          Name on file                              Address on file
30358397          Name on file                              Address on file
30332685          Name on file                              Address on file
30353509          Name on file                              Address on file
30349262          Name on file                              Address on file
30345200          Name on file                              Address on file
30396449          Name on file                              Address on file
30332708          Name on file                              Address on file
30351810          Name on file                              Address on file
30332645          Name on file                              Address on file




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                  WOOD COUNTY, WI COUNTY CONSUMER
30208070          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 400 MARKET ST                                                                       WISCONSIN RAPIDS          WI           54494
                  WOOD COUNTY, WV COUNTY CONSUMER
30208071          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION   1 COURT SQUARE                                                                    PARKERSBURG               WV           26101
29948243          Name on file                           Address on file
30355610          Name on file                           Address on file
30340677          Name on file                           Address on file
30401113          Name on file                           Address on file
30414286          Name on file                           Address on file
30341124          Name on file                           Address on file
30342983          Name on file                           Address on file
30395441          Name on file                           Address on file
30393690          Name on file                           Address on file
30333915          Name on file                           Address on file
30399575          Name on file                           Address on file
30335444          Name on file                           Address on file
30354022          Name on file                           Address on file
30291517          Name on file                           Address on file
29948245          WOODBRIDGE POLICE DEPARTMENT           RECORDS/FALSE ALARM TRACKING         1 MAIN STREET                                                                     WOODBRIDGE                NJ           07095
29948246          Name on file                           Address on file
29950545          WOODBRIDGE TOWNSHIP ‐ HEALTH DEPT      DEPT OF HEALTH & HUMAN SERVICES      2 GEORGE FREDERICK PLAZA                                                          WOODBRIDGE                NJ           07095
29950064          WOODLAND                               PO BOX 98, 101 EAST VALLEY DRIVE                                                                                       LINN CREEK                MO           65052
29950065          Name on file                           Address on file
30212098          WOODLAND PUBLIC LIBRARY                250 FIRST STREET                                                                                                       WOODLAND                  CA           95695
30213428          WOODMONT CRITERION SLIDELL GP LLC      THE WOODMONT COMPANY                 2100 W. 7TH STREET                                                                FORT WORTH                TX           76107
30213378          WOODPARK SC, LLC                       C/O UNILEV MANAGEMENT CORP           2211 N. FRY ROAD, SUITE I                                                         KATY                      TX           77449
30393791          Name on file                           Address on file
30349845          Name on file                           Address on file
30340773          Name on file                           Address on file
30260102          Name on file                           Address on file
                                                         WSO UNIV. PARK IOWA C/O WOODSIDE
29950071          WOODSIDE SPEC OPPORT PE FUND LP        CA                                   4200 S. HULEN ST, STE. 410                                                        FORT WORTH                TX           76109
30210600          WOODSON WHITEHEAD                      5555 DARROW ROAD                                                                                                       HUDSON                    OH           44236
29950074          WOODSONIA HWY 281 LLC                  C/O WOODSONIA REAL ESTATE INC        20010 MANDERSON ST., #101                                                         ELKHORN                   NE           68022
30212099          WOODSTOCK PUBLIC LIBRARY               445 HUNTER ST                                                                                                          WOODSTOCK                 ON           N4S 4G7         CANADA
30209179          WOODSTOCK PUBLIC LIBRARY               414 W JUDD ST                                                                                                          WOODSTOCK                 IL           60098
29948248          Name on file                           Address on file
29948249          Name on file                           Address on file
30209180          WOODWARD PUBLIC LIBRARY                1500 MAIN ST. WOODWARD                                                                                                 PUBLIC                    OK           73801
30287372          Name on file                           Address on file
30223302          WOOFOUND INC                           TRAITIFY                             101 NORTH HAVEN ST #203                                                           BALTIMORE                 MD           21224
IC_097            Wool And The Gang                      Ground Floor                         1 Mark Square                                                                     London                                 EC2A 4EG        United Kingdom
30346619          Name on file                           Address on file
30399627          Name on file                           Address on file
29948250          WOOSTER CROSSING LLC                   C/O CHASE PROPERTIES LTD             PO BOX 92317                                                                      CLEVELAND                 OH           44193
29948252          Name on file                           Address on file
                  WORCESTER COUNTY, MA COUNTY CONSUMER
30208072          PROTECTION AGENCY                      ATTN: CONSUMER PROTECTION DIVISION 455 MAIN STREET                                                                     WORCESTER                 MA           01608
29948253          WORKDAY INC                            PO BOX 886106                                                                                                          LOS ANGELES               CA           90088‐6106
30292449          Workday, Inc.                          Erin Anderegg                      Senior Paralegal                   6110 Stoneridge Mall Road                        Pleasanton                CA           94588
30292448          Workday, Inc.                          PO Box 396106                                                                                                          San Francisco             CA           94139
30210651          WORLD PAY, LLC                         8500 GOVERNORS HILL DRIVE          MAILDROP 1GH1Y1                                                                     SYMMES TOWNSHIP           OH           45249‐1384
29948255          WORLD TRAVEL INC                       1124 WEST SCHUYLKILL RD                                                                                                DOUGLASSVILLE             PA           19518
30211566          WORLDWIDE RETAIL SOLUTIONS INC         100 MARCUS BLVD., STE. 6                                                                                               HAUPPAUGE                 NY           11788
30209183          WORTH PUBLIC LIBRARY                   6917 W 111TH ST                                                                                                        WORTH                     IL           60482
29948256          Name on file                           Address on file
29948257          WOWWEE GROUP LTD                       301 A‐C ENERGY PLAZA               3F 92 GRANVILLE ROAD                                                                T.S.T. EAST                                            HONG KONG
                                                         NEW TOWNE MALL LLC C/O WASHINGTON
29948259          WP CENTERS REIT 10 LLC                 P                                  4900 E DUBLIN GRANVILLE RD                                                          COLUMBUS                  OH           43081‐7651

                                                         C/O W. P. CAREY INC. ONE MANHATTAN
30210652          WPC HOLDCO LLC                         WEST 395 9TH AVENUE 58TH             FLOOR                                                                             NEW YORK                  NY           10001




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30213552          WPI‐GRAND PLAZA SAN MARCOS, LLC           18300 VON KARMAN AVENUE, SUITE 880    ATTN: PROPERTY MANAGEMENT                                                          IRVINE                    CA           92612
30223303          WPP GROUP USA                             VML LLC                               14229 COLLECTION CENTER DR.                                                        CHICAGO                   IL           60693
29948261          Name on file                              Address on file
29948262          Name on file                              Address on file
29948264          WRD HANOVER LP                            33 ROCK HILL RD STE 350                                                                                                  BALA CYNWYD               PA           19004
30213361          WRD HANOVER, LP                           C/O POMEGRANATE REAL ESTATE           33 ROCK HILL RD., SUITE 350                                                        BALA CYNWYD               PA           19004
29948270          WRH PHYSICIANS INC                        OCCUPATIONAL MEDICINE                 PO BOX 67069                                                                       CUYAHOGA FALLS            OH           44222

30213369          WRI/GREENHOUSE, L.P.                      C/O KIMCO REALTY CORPORATION          500 NORTH BROADWAY, SUITE 201                                                      JERICHO                   NY           11753
30213668          WRIGHT FAMILY ENTERPRISES LLC             1545 BENTON STREET, UNIT A            ATTN: JIM KEENER                                                                   ALAMEDA                   CA           94501
30225034          Wright Family Enterprises, LLC            1545 Benton Street #A                                                                                                    Alameda                   CA           94501
30225531          Wright Family Enterprises, LLC            Harland Law Firm LLP                  John Steven Lopez                212 G Street, Suite 201                           Eureka                    CA           95501
29948274          WRIGHT GRAPHIC DESIGN LLC                 6290 SEEDS ROAD                                                                                                          GROVE CITY                OH           43123
29948275          WRIGHT LINDSEY & JENNINGS LLP             200 W. CAPITOL AVE., #2300                                                                                               LITTLE ROCK               AR           72201
30396439          Name on file                              Address on file
30344828          Name on file                              Address on file
30338716          Name on file                              Address on file
30261331          Name on file                              Address on file
30259767          Name on file                              Address on file
30396254          Name on file                              Address on file

30184168          WRIGHT, LINDSEY & JENNINGS LLP            200 WEST CAPITOL AVENUE, SUITE 2300                                                                                      LITTLE ROCK               AR           72201
29948276          WRIGHT‐HENNEPIN COOP ELECTRIC             6800 ELECTRIC DRIVE                                                                                                      ROCKFORD                  MN           55373
29948277          WRIGHT‐HENNEPIN COOP ELECTRIC             PO BOX 77027                                                                                                             MINNEAPOLIS               MN           55480‐7727
30213218          WRI‐URS MERIDIAN, LLC                     500 NORTH BROADWAY, SUITE 201         P.O. BOX 9010                                                                      JERICHO                   NY           11753
LC_0762           WRLS (Winding Rivers Library System)      980 Highway 16 W Ste 1                                                                                                   West Salem                WI           54669
30209185          WRLS (WINDING RIVERS LIBRARY SYSTEM)      980 W CITY HIGHWAY 16                                                                                                    WEST SALEM                WI           54669
30344252          Name on file                              Address on file
30415127          Name on file                              Address on file
30358168          Name on file                              Address on file
30353479          Name on file                              Address on file
                  WUJIANG FOREIGN TRADE CORP.(GROUP) SILK                                       RM 303,INTERNATIONAL BLDG
30183471          EX/IM CO.,LTD.                            ATTN: ANDY XU, VICE GENENAL MANAGER NO.2, 500 RENMIN ROAD                                                                WUJIANG, JIANGSU                       215200          CHINA
                  WUJIANG FOREIGN TRADE CORP.(GROUP)SILK                                        RM 303,INTERNATIONAL BLDG          Rm 303,International Bldg No.2, 500
30183484          EX/IM CO.,LTD.                            ATTN: ANDY XU, VICE GENENAL MANAGER NO.2, 500 RENMIN ROAD              Renmin Road                                       WUJIANG, JIANGSU                       215200          CHINA
30345560          Name on file                              Address on file

29964554          WUNDERKIND CORPORATION                    BOUNCE EXCHANGE INC                   1 WORLD TRADE CENTER, 74TH FL                                                      NEW YORK                  NY           10007
30348708          Name on file                              Address on file
30349425          Name on file                              Address on file
30351814          Name on file                              Address on file
29964555          WVA‐JAS‐SALES TAX 04201                   PO BOX 11895                                                                                                             CHARLESTON                WV           25339‐1895
29964556          WV‐JAC‐SALES TAX 04201                    PO BOX 1826                                                                                                              CHARLESTON                WV           25327
30396455          Name on file                              Address on file
30358166          Name on file                              Address on file
30385447          Name on file                              Address on file
30385446          Name on file                              Address on file
29964562          Name on file                              Address on file
30212101          WYCKOFF PUBLIC LIBRARY                    200 WOODLAND AVE                                                                                                         WYCKOFF                   NJ           07481
30415774          Name on file                              Address on file
30395647          Name on file                              Address on file
30344401          Name on file                              Address on file
29948284          WYOMING DEPARTMENT OF REVENUE             122 WEST 25TH STREET                  2ND FLOOR WEST                                                                     CHEYENNE                  WY           82002‐0110
29948285          WYOMING DEPT OF AGRICULTURE               ATTN: CHS LICENSING DIV.              2219 CAREY AVENUE                                                                  CHEYENNE                  WY           82002
29948286          WYOMING DEPT OF REVENUE                   122 WEST 25TH STREET                                                                                                     CHEYENNE                  WY           82002‐0110
29964968          WYOMING SECRETARY OF STATE                THE CAPITOL                           EAST, HERSCHLER BLDG             122 W 25TH ST STES 100 AND 101                    CHEYENNE                  WY           82002
LC_0763           Wyoming State Library                     2800 Central Avenue                                                                                                      Cheyenne                  WY           82001
29949410          WYOMING STATE TREASURER                   UNCLAIMED PROPERTY DIVISION           HERSCHLER BUILDING EAST                                                            CHEYENNE                  WY           82002
29950250          XAI OCTAGON FLOATING RATE                 250 PARK AVENUE                       15TH FLOOR                                                                         NEW YORK                  NY           10177

29964565          XANADU INDUSTRIAL LIMITED                 FLAT 7, 16F, NAN FUNG COMMERCIAL CE   19 LAM LOK STREET                                                                  KOWLOON BAY                            999077          HONG KONG
30347849          Name on file                              Address on file




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30210653          XCCOMMERCE INS.                      1155 RENE LEVESQUE WEST              SUITE 2700                                                                          MONTREAL                    QC           H3B 2K8         CANADA
29948306          XCEL ENERGY/660553                   PO BOX 660553                                                                                                            DALLAS                      TX           75266‐0553
30211568          XENETA AS                            C/O FINANCE DEPT                     POSTBOKS 9344 GR0NLAND                                                              OSLO                                     0135            NORWAY

30211569          XIAMEN BOSDA ENTERPRISES             TWO ROAD QIANPU AREA                 2 FLOOR NO.837 BUILDING MIDDLE 150                                                  XIAMEN                                   361008          CHINA
30223304          XL INSURANCE AMERICA, INC.           DEPT REGULATORY                      505 EAGLEVIEW BLVD.            SUITE 100                                            EXTON                       PA           19341
30210527          XL SPECIALTY INSURANCE COMPANY       505 EAGLEVIEW BLVD.                  SUITE 100                                                                           EXTON                       PA           19341
29964579          XMATTERS INC                         ATTN: ACCOUNTS REC DEPT.             155 N. LAKE AVE., SUITE 900                                                         PASADENA                    CA           91101
30211570          XPO LOGISTICS LLC                    BROKERAGE                            27724 NETWORK PLACE                                                                 CHICAGO                     IL           60673‐1277
29964586          XTRA COMPANIES INC                   DBA XTRA LEASE LLC                   PO BOX 219562                                                                       KANSAS CITY                 MO           64121‐9562
30210513          XTRA LEASE                           1211 HIGHLAND ROAD                                                                                                       MACEDONIA                   OH           44056‐2307
30223305          XTRA LEASE                           1625 FRANK ROAD                                                                                                          COLUMBUS                    OH           43223‐3726
30210654          XTRA LEASE LLC                       7911 FORSYTH BLVD                    SUITE 600                                                                           ST. LOUIS                   MO           63105‐3860
30296136          XTRA Lease LLC                       Attn: Angela Kennedy                 7911 Forsyth Blvd.                 Suite 600                                        St. Louis                   MO           63105

30211571          XXVI HOLDINGS INC                    GOOGLE LLC, C/O WELLS FARGO BANK NA 420 MONTGOMERY ST.                                                                   SAN FRANCISCO               CA           94104
30353286          Name on file                         Address on file
30335535          Name on file                         Address on file
29948342          Name on file                         Address on file
30209187          YAKAMA VALLEY LIBRARIES              102 NORTH 3RD STREET                                                                                                     YAKAMA                      WA           98901
30350169          Name on file                         Address on file
29948343          YAKIMA COUNTY TREASURER              PO BOX 22530                                                                                                             YAKIMA                      WA           98907‐2530
29948344          Name on file                         Address on file
30347972          Name on file                         Address on file
                  YAMHILL COUNTY, OR COUNTY CONSUMER
30208073          PROTECTION AGENCY                    ATTN: CONSUMER PROTECTION DIVISION   535 NE 5TH ST                                                                       MCMINNVILLE                 OR           97128
29950549          YAMHILL TAX COLLECTOR                YAMHILL COUNTY COURTHOUSE                                                                                                MCMINNVILLE                 OR           97128
30351280          Name on file                         Address on file
30336746          Name on file                         Address on file
30401785          Name on file                         Address on file
30416186          Name on file                         Address on file
30293613          Name on file                         Address on file
30332314          Name on file                         Address on file
30297711          Yankee Gas Company dba Eversource    PO Box                                                                                                                   Hartford                    CT           06106
29948360          YAO CHENG DESIGN LLC                 57 E GAY ST FL. 2F                                                                                                       COLUMBUS                    OH           43215
30209190          YAO CHENG DESIGN LLC                 6273 PINEFIELD DRIVE                                                                                                     HILLIARD                    OH           43026
30395803          Name on file                         Address on file
30347717          Name on file                         Address on file
29948370          Name on file                         Address on file
IC_176            YARNSPORTS LLC                       15654 MEMORIAL WAY                                                                                                       FISHERS                     IN           46037
30209191          YARRA LIBRARIES                      182 ST. GEORGES RD                   BARGOONGA NGANJIN                                                                   FITZROY NORTH, VIC                                       AUSTRALIA
29948371          Name on file                         Address on file
30287509          Name on file                         Address on file
29950550          YATB                                 PO BOX 15627                                                                                                             YORK                        PA           17405
30353865          Name on file                         Address on file
30398260          Name on file                         Address on file
29948376          Name on file                         Address on file
29948377          Name on file                         Address on file
30415090          Name on file                         Address on file
30279263          Name on file                         Address on file
30347313          Name on file                         Address on file
30335245          Name on file                         Address on file
30414526          Name on file                         Address on file
29948386          YELENI GAPI BAHAN                    Address on file
30214855          YELLOW LOGISTICS INC                 (F/K/A HNRY LOGISTICS INC)           5200 W 110th ST                                                                     OVERLAND PARK               KS           66211
29948388          YELLOW LOGISTICS INC                 (F/K/A HNRY LOGISTICS INC)           PO BOX 775556                                                                       CHICAGO                     IL           60677‐5556
30209195          YELLOW OWL WORKSHOP                  171 JERSEY ST                                                                                                            SAN FRANCISCO               CA           94110
29948389          YELLOW OWL WORKSHOP                  1890 BRYANT ST., STE. 102                                                                                                SAN FRANCISCO               CA           94110
29948390          YELLOWSTONE COUNTY TREASURER         PERSONAL PROPERTY TAX # 200154       PO BOX 35010                                                                        BILLINGS                    MT           59107
30283034          Name on file                         Address on file
30332609          Name on file                         Address on file
29948397          Name on file                         Address on file
29964601          YESENIA LOPEZ                        Address on file




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30353385           Name on file                                Address on file
30355639           Name on file                                Address on file
30398235           Name on file                                Address on file
                                                               PHUM ORCHAMNA, KHUM OROKNHA
29948412          YINGJIA (CAMBODIA) ART SUPPLY MFG            HENG, PREAH SIHANOUK PROVINCE                                                                                            SIHANOUKVILLE                        180101          CAMBODIA
30397355          Name on file                                 Address on file
30397356          Name on file                                 Address on file
30212962          YIYING FU                                    Address on file
29950709          YIYING FU                                    Address on file
29950712          Name on file                                 Address on file
30340793          Name on file                                 Address on file
30350138          Name on file                                 Address on file
30401134          Name on file                                 Address on file
29964609          YOLANDA JONES                                Address on file
29948425          YOLO COUNTY AGRICULTURE DEPT                 70 COTTONWOOD STREET                                                                                                     WOODLAND                CA           95695
29948426          YOLO COUNTY TAX COLLECTOR                    PO BOX 1995                                                                                                              WOODLAND                CA           95776
                  YOLO COUNTY, CA COUNTY CONSUMER
30208074          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 301 SECOND STREET                                                                     WOODLAND                CA           95695
30395640          Name on file                                 Address on file
30213119          YOO JIN LODGING, INC.                        1611 VIRGINIA AVENUE, SUITE 201    PO BOX 503                                                                            NORTH BEND              OR           97459
30349949          Name on file                                 Address on file
30339965          Name on file                                 Address on file
29948433          YORK AREA TAX BUREAU                         PO BOX 15627                                                                                                             YORK                    PA           17405
30209196          YORK COUNTY LIBRARY                          138 EAST BLACK STREET                                                                                                    ROCK HILL               SC           29730
29951849          Name on file                                 Address on file
                  YORK COUNTY, PA COUNTY CONSUMER
30208075          PROTECTION AGENCY                            ATTN: CONSUMER PROTECTION DIVISION 100 WEST MARKET STREET             SUITE 301                                          YORK                    PA           17401
30211572          YORK DESIGN HOUSE PTY LTD                    26 ROGER STREET                                                                                                          BROOKVALE, NSW                       2100            AUSTRALIA
30213045          YORK VALUE CENTER LIMITED PARTNERSHIP        C/O MACKENZIE MANAGEMENT           2328 WEST JOPPA RD., SUITE 200                                                        LUTHERVILLE             MD           21093
29951852          YORK VALUE CENTER, LP                        2328 W JOPPA RD                                                                                                          LUTHERVILLE             MD           21093‐4674
30291624          YORK WALLCOVERINGS INC                       PO BOX 736508                                                                                                            DALLAS                  TX           75373‐6508

30213224          YOSEMITE PARK SHOPPING CENTER 05 A, L.L.C.   C/O ACF PROPERTY MANAGEMENT         12411 VENTURA BLVD.                                                                  STUDIO CITY             CA           91604

                  Yosemite Park Shopping Center 05A, LLC and
30291783          Yosemite Park Shopping Center 15B, LLC       Attn: Patrick R. Akers              Fennemore Craig, P.C.             3615 Delgany Street            Suite 1100          Denver                  CO           80216

                  Yosemite Park Shopping Center 05A, LLC and
30291784          Yosemite Park Shopping Center 15B, LLC       c/o ACF Property Management, Inc.   12411 Ventura Boulevard                                                              Studio City             CA           91604
30356535          Name on file                                 Address on file
30342664          Name on file                                 Address on file
30345308          Name on file                                 Address on file

VC_010            Yotpo                                        C/O COMERICA BANK YOTPO LB #675335 39200 W SIX MILE RD.                                                                  LIVONIA                 MI           48152

30212474          YOTPO INC                                    C/O COMERICA BANK YOTPO LB #675335 36455 CORPORATE DR                                                                    FARMINGTON HLS          MI           48331‐3552

29951858          YOTPO INC                                    C/O COMERICA BANK YOTPO LB #675335 36455 CORPORATE DR                                                                    FARMINGTN HLS           MI           48331‐3552
29951859          YOTTAA INC                                   PO BOX 392780                                                                                                            PITTSBURGH              PA           15251

29948435          YOUNG & NAM INC                              1121 BAY STREET                     DBA COMFORT INN PORT ORCHARD                                                         PORT ORCHARD            WA           98366

30223306          YOUNG CONAWAY STARGATT & TAYLOR, LLP         1000 NORHT KING STREET                                                                                                   WILMINGTON              DE           19801
29948437          Name on file                                 Address on file
30347397          Name on file                                 Address on file
30384986          Name on file                                 Address on file
30344374          Name on file                                 Address on file
30340631          Name on file                                 Address on file
30414661          Name on file                                 Address on file
30285025          Name on file                                 Address on file
30347187          Name on file                                 Address on file
30357414          Name on file                                 Address on file
30340869          Name on file                                 Address on file




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30384911          Name on file                           Address on file
30285403          Name on file                           Address on file
30349161          Name on file                           Address on file
29948439          YOUNGDO VELVET CO LTD                  580 SYLVAN AVENUE, SUITE 2H                                                                                                   ENGLEWOOD CLIFFS          NJ           07632
                                                         B‐1108, WOOLIM BLUE 9 BUSINESS
30291496          YOUNGDO VELVET CO., LTD.               CENTER,                                583 YANGCHEON‐RO, GANGSEO‐GU                                                           SEOUL                                  07547           KOREA, REPUBLIC OF
30353501          Name on file                           Address on file
30414368          Name on file                           Address on file
30209201          YPSILANTI DISTRICT LIBRARY             5577 WHITTAKER ROAD                                                                                                           YPSILANTI                 MI           48197
29948441          YRC INC                                DBA YRC FREIGHT                        PO BOX 93151                                                                           CHICAGO                   IL           60673
29948444          YUBA RALEY'S 2003 LLC                  C/O RAY STONE INC.                     ATTN: J. TODD STONE                550 HOWE AVE, SUITE 100                             SACRAMENTO                CA           95825
30210965          YUBA RALEY'S 2003 LLC                  C/O RAY STONE INC.                     ATTN: J. TODD STONE                                                                    SACRAMENTO                CA           95825
29948445          Name on file                           Address on file
30386159          Name on file                           Address on file
29948457          YULY SANCHEZ‐RIVERA                    Address on file
LC_0768           Yuma County Library District           2951 S 21St Dr                                                                                                                Yuma                      AZ           85364‐7751
30209206          YUMA COUNTY LIBRARY DISTRICT           2951 SOUTH 21 DRIVE                                                                                                           YUMA                      AZ           85364
29948458          Name on file                           Address on file
30415271          Name on file                           Address on file
30358090          Name on file                           Address on file

30297539          Yunker Industries, Inc.                c/o Mallery S.C.                       Attn: Andrew Robinson, Attorney    731 North Jackson Street        Suite 900           Milwaukee                 WI           53202
30294680          Yunus Textile Mill PVT LTD             Attn: Sikander Jamal                   H‐23/1 Landi Industrial Area                                                           Karachi                                75120           Pakistan
30223307          YUNUS TEXTILE MILL PVT LTD             H‐23/1 LANDHI INDUSTRIAL AREA                                                                                                 KARACHI                                75120           PAKISTAN
30294679          Yunus Textile Mill PVT LTD             Gellert Seitz Busenkell & Brown, LLC   c/o Michael Busenkell, Esquire     1201 N. Orange St., Suite 300                       Wilmington                DE           19801
30415878          Name on file                           Address on file
29948471          Name on file                           Address on file
29964623          YVETTE SLATTERY                        Address on file
30212850          YVONNE BARTLETT                        Address on file
29948488          YVONNE KAHNCLEAVALL                    Address on file
29948495          YVONNE PARKINSON                       Address on file
29949809          Z CAPITAL CLO MANAGEMENT LLC           1330 AVENUE OF AMERICAS                16TH FLOOR                                                                             NEW YORK                  NY           10019
29948506          Z WOODWORKS                            11489 DRAKE RD                                                                                                                NORTH ROYALTON            OH           44133
30344055          Name on file                           Address on file
30331873          Name on file                           Address on file
30350479          Name on file                           Address on file
30340763          Name on file                           Address on file
29948515          ZACH SCHIMPF                           Address on file
30210863          ZACHARY AGOSTINE                       Address on file
29948521          ZACHARY DAVIS                          Address on file
29964648          ZACHARY KOUKAL                         Address on file
30212618          ZACHARY MAZUR                          Address on file
29953422          ZACHARY WHITE                          Address on file
30341058          Name on file                           Address on file
30273943          Name on file                           Address on file
29975764          Zafar Projects Inc (Vendor # 177365)   P.O. Box 5764                                                                                                                 Clearwater                FL           33765‐5764
30335420          Name on file                           Address on file
30415141          Name on file                           Address on file
29950253          ZAIS CLO 11 SUBSIDIARY (2024), LLC     101 CRAWFORDS CORNER ROAD              SUITE 1206                                                                             HOLMDEL                   NJ           07733
29950254          ZAIS CLO 13 SUBSIDIARY (2024), LLC     101 CRAWFORDS CORNER                   SUITE 1206                                                                             HOLMDEL                   NJ           07733
29950255          ZAIS CLO 14 SUBSIDIARY (2024), LLC     101 CRAWFORDS CORNER ROAD                                                                                                     HOLMDEL                   NJ           00733
29950256          ZAIS CLO 15 SUBSIDIARY (2024), LLC     101 CRAWFORDS CORNER ROAD                                                                                                     HOLMDEL                   NJ           00733
29950257          ZAIS CLO 16 SUBSIDIARY (2024), LLC     101 CRAWFORDS CORNER ROAD              SUITE 1206                                                                             HOLMDEL                   NJ           07733
29950258          ZAIS CLO 17 SUBSIDIARY (2024), LLC     101 CRAWFORDS CORNER ROAD              SUITE 1206                                                                             HOLMDEL                   NJ           07733
29949739          ZAIS CLO 3 SUBSIDIARY (2024),LLC       101 CRAWFORDS CORNER ROAD              SUITE 1206                                                                             HOLMDEL                   NJ           07733
29949740          ZAIS CLO 7 SUBSIDIARY (2024), LLC      101 CRAWFORDS CORNER ROAD              SUITE 1206                                                                             HOLMDEL                   NJ           07733
29949741          ZAIS CLO18SUBSIDIARY(2024), LLC        101 CRAWFORDS CORNER ROAD                                                                                                     HOLMDEL                   NJ           07733

29949800          ZAIS LEVERAGED LOAN MASTER MANAGER, LLC 101 CRAWFORDS CORNER                  SUITE 1206                                                                             HOLMDEL                   NJ           07733
                                                                                                6601 CENTERVILLE BUSINESS PKWY.,
30213600          ZANE PLAZA LLC                         C/O CREST COMMERCIAL REALTY INC.       SUITE 150                                                                              DAYTON                    OH           45459
30394125          Name on file                           Address on file




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                                                                                                                                        Exhibit L
                                                                                                                        Master Mailing First Class Mail Service List
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  ADDRESS ID                           NAME                            ADDRESS 1                            ADDRESS 2                        ADDRESS 3                 ADDRESS 4                   CITY            STATE     POSTAL CODE           COUNTRY

30213276          ZAREMBA METROPOLITAN MIDLOTHIAN, LLC    C/O PRINCIPAL REAL ESTATE INVESTORS   801 GRAND AVENUE                                                                   DES MOINES                 IA           50392‐1370
29948567          ZASHA SILLIMAN                          Address on file
30339506          Name on file                            Address on file
29948573          ZAVTEK INC                              9471 SUTTON PLACE                                                                                                        WEST CHESTER               OH           45011
30396339          Name on file                            Address on file
29949742          ZCAPITALCREDITPARTNERSCLO2018‐1LTD.     1330 AVENUE OF AMERICAS               16TH FLOOR                                                                         NEW YORK                   NY           10019
29949743          ZCAPITALCREDITPARTNERSCLO2019‐1LTD.     1330 AVENUE OF THE AMERICAS           16TH FLOOR                                                                         NEW YORK                   NY           10019
29949744          ZCAPITALCREDITPARTNERSCLO2021‐1LTD.     1330 AVENUE OF THE AMERICAS           16TH FLOOR                                                                         NEW YORK                   NY           10019
30353421          Name on file                            Address on file
29948582          ZEBRA TECHNOLOGIES INTL LLC             3 OVERLOOK POINT                                                                                                         LINCOLNSHIRE               IL           60069
30386257          Name on file                            Address on file
29948586          ZEFFY LLCDONOT USE                      137 AVENUE A #3B                                                                                                         NEW YORK                   NY           10009
30336802          Name on file                            Address on file
30213590          ZEIER TOV LLC                           P.O. BOX 190435                       ATTN: JEFF KAISER                                                                  BROOKLYN                   NY           11219
30350739          Name on file                            Address on file
30356367          Name on file                            Address on file
29948596          ZENATTA CONSULTING INC                  11 ROSY FINCH LANE                                                                                                       ALISO VIEJO                CA           92656
30214656          ZENATTA CONSULTING INC                  120 VANTIS                            SUITE 300                                                                          ALISO VIEJO                CA           92656
29964675          ZENOBIA BODISON                         Address on file
30348076          Name on file                            Address on file
                                                                                                125 HIGH ST., 5TH FL. MUSEUM
29964681          ZERO WEST PARK REALTY TRUST             C/O TORRINGTON PROPERTIES             BLDG                                                                               BOSTON                     MA           02110
30213580          ZERO WEST PARK REALTY TRUST             C/O TORRINGTON PROPERTIES, INC.       60 K STREET, SUITE 302                                                             SOUTH BOSTON               MA           02127
30354191          Name on file                            Address on file
30347399          Name on file                            Address on file
30223308          ZEST GARDEN LIMITED                     NO. 506 SHIDA RD                      190                                                                                DONGGUAN CITY                           523822          CHINA
30394644          Name on file                            Address on file
30414630          Name on file                            Address on file
29964682          ZEUS JOINTCO HOLDCO LLC                 DBA KHOROS LLC                        1 PIER, SUITE 1A                                                                   SAN FRANCISCO              CA           94111‐2004
30346978          Name on file                            Address on file
30397523          Name on file                            Address on file
30333867          Name on file                            Address on file
                  ZHANGZHOU TOP BRITE INDUSTRY TRADE CO
29964683          LTD                                     NO 23‐5 LONG CHI STREET               JIAO MEI TOWN                                                                      ZHANGZHOU TAIWANESE ZONE                363107          CHINA

29964684          ZHEJIANG IVY CRAFTS DESIGN CO LTD       INDUSTRY DEVELOP AREA, CHENG GUAN     NO 7 FAZHAN ONE ROAD                                                               XIANJU                                  317300          CHINA
29948598          Name on file                            Address on file
30358226          Name on file                            Address on file
30347346          Name on file                            Address on file
30342662          Name on file                            Address on file

29948601          ZIBO YADONG I/E TRADE CO LTD            2‐301 NEW CENTURY COMMERCIAL BUILD NO 80A LIANTONG ROAD                                                                  ZIBO                                    255000          CHINA
30394829          Name on file                            Address on file
30346883          Name on file                            Address on file
30259345          Name on file                            Address on file
30353487          Name on file                            Address on file
30341054          Name on file                            Address on file
30335323          Name on file                            Address on file
30397407          Name on file                            Address on file
30395386          Name on file                            Address on file
30353838          Name on file                            Address on file
30340629          Name on file                            Address on file
30349403          Name on file                            Address on file
29948609          Name on file                            Address on file
29948612          ZIPRECRUITER INC                        PO BOX 102827                                                                                                            PASADENA                   CA           91189‐2827
30416134          Name on file                            Address on file
30352690          Name on file                            Address on file
29948616          ZMAGS CORP                              332 CONGRESS ST 2ND FL.                                                                                                  BOSTON                     MA           02210
29948643          ZOE MEEHAN                              Address on file
29948654          ZOE PERSICO                             Address on file
29948665          ZOE SMITH                               Address on file
29948687          ZOEY EYRE                               Address on file




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                                                                                                                                Exhibit L
                                                                                                                Master Mailing First Class Mail Service List
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  ADDRESS ID                           NAME                                ADDRESS 1                ADDRESS 2                          ADDRESS 3                  ADDRESS 4                      CITY        STATE     POSTAL CODE   COUNTRY
VC_011            Zoho                                       PO BOX 894926                                                                                                    LOS ANGELES               CA           90189‐4926
29948698          ZOHO CORPORATION                           PO BOX 894926                                                                                                    LOS ANGELES               CA           90189‐4926
30354321          Name on file                               Address on file
30213187          ZOLO, LLC                                  2617 2ND AVENUE, STE B                                                                                           SEATTLE                   WA           98121‐1211
29948710          ZONAPART LLC                               BIRCH RUN STATION LLC       8300 N. HAYDEN RD., STE. A‐200                                                       SCOTTSDALE                AZ           85258
29948712          ZONES                                      PO BOX 34740                                                                                                     SEATTLE                   WA           98124‐1740
30354349          Name on file                               Address on file
30213395          ZRP CROSSPOINTE PLAZA LLC                  C/O ZIFF PROPERTIES, INC.   210 WINGO WAY, SUITE 400                                                             MOUNT PLEASANT            SC           29464

30216149          ZRP Crosspointe Plaza LLC                  Caren Robbins               Accounts Receivable, Ziff Properties 210 Wingo Way               Suite 400           Mount Pleasant            SC           29464
30335946          Name on file                               Address on file
30385134          Name on file                               Address on file
29948722          ZUCKER FEATHER PRODUCTS                    28419 HWY 87                                                                                                     CALIFORNIA                MO           65018
29948727          Name on file                               Address on file
29948728          Name on file                               Address on file
29948729          Name on file                               Address on file
30223309          ZURICH                                     P.O. BOX 49547                                                                                                   COLORADO SPRINGS          CO           80949
30213027          ZURICH AMERICAN INSURANCE COMPANY          1299 ZURICH WAY                                                                                                  SCHAUMBURG                IL           60196
29948733          ZURICH AMERICAN INSURANCE COMPANY          8734 PAYSPHERE CIRCLE                                                                                            CHICAGO                   IL           60674
                  Zurich American Insurance Company and
                  American Guarantee & Liability Insurance
30296913          Company                                    Jessie Melesio              1299 Zurich Way                                                                      Schaumburg                IL           60196
29948734          ZURU LLC                                   2121 E MAPLE AVE                                                                                                 EL SEGUNDO                CA           90245‐5011
30394783          Name on file                               Address on file
30395115          Name on file                               Address on file
30273600          Name on file                               Address on file




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                                                          Exhibit M
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 Sisclear                                        ca.notices@six‐securities‐services.com
 BOFA (0161)                                     Emails on File
 BANK OF NEW YORK MELLON (0901/2510/8320)        Emails on File
 BROWN BROTHERS HARRIMAN & CO. (0010)            Emails on File
 CITIBANK, N.A. (0908/0418/0505/0274)            Emails on File
 GOLDMAN SACHS (0005 / 5208 / 2941)              Emails on File
 J.P. MORGAN CLEARING CORP. (0352/2035/0902)     Emails on File
 MORGAN STANLEY SMITH BARNEY LLC (0015)          Emails on File
 NATIONAL FINANCIAL SERVICES LLC (0226)          Emails on File
 OPPENHEIMER & CO. INC. (0571)                   Emails on File
 STATE STREET BANK AND TRUST (0997/2319/2950)    Emails on File
 US Bank (2803)                                  Emails on File
 WELLS FARGO (0250/2027)                         Emails on File




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                                           Core/2002 Email Service List
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                                                    Exhibit N
                                            Core/2002 Email Service List
                                                    Served via Email
                        Name                             Notice Name                              Email
                                                                                    EMONZO@MORRISJAMES.COM;
                                            ATTN: ERIC J. MONZO, BRYA M. KEILSON,   BKEILSON@MORRISJAMES.COM;
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                                           Core/2002 Email Service List
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SECURITIES & EXCHANGE COMMISSION ‐
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                                                 Exhibit N
                                         Core/2002 Email Service List
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                        Name                         Notice Name                             Email
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                                                 Exhibit O
                                      Master Mailing Email Service List
                                                Served via Email

      ADDRESS ID                           NAME                                  EMAIL
  VC_015                    Cookie Script                          support@cookie‐script.com
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  IC_192                    Sam O'Leary                            Email address on file
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                         Exhibit P
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                                                                                        Exhibit P
                                                                            Class 4 Supplemental Service List
                                                                                 Served via first class mail

  ADDRESS ID                           NAME                     ADDRESS 1               ADDRESS 2                 ADDRESS 3         CITY   STATE   POSTAL CODE   COUNTRY
30277967             Name on file             Address on file
30343724             Name on file             Address on file
30260179             Name on file             Address on file
30262543             Name on file             Address on file
30274900             Name on file             Address on file
30285108             Name on file             Address on file
30263385             Name on file             Address on file
30251409             Name on file             Address on file
30285908             Name on file             Address on file
30339021             Name on file             Address on file
30258207             Name on file             Address on file
30284355             Name on file             Address on file
30288238             Name on file             Address on file
30277533             Name on file             Address on file
30224142             Name on file             Address on file
30285613             Name on file             Address on file
30332504             Name on file             Address on file
30340379             Name on file             Address on file
30340968             Name on file             Address on file
30258362             Name on file             Address on file
30286869             Name on file             Address on file
30288072             Name on file             Address on file
30256690             Name on file             Address on file
30344770             Name on file             Address on file
30286109             Name on file             Address on file
30337248             Name on file             Address on file
30256838             Name on file             Address on file
30287106             Name on file             Address on file
30347887             Name on file             Address on file
30258065             Name on file             Address on file
30258543             Name on file             Address on file
30275420             Name on file             Address on file
30263268             Name on file             Address on file
30273948             Name on file             Address on file
30338900             Name on file             Address on file
30282636             Name on file             Address on file
30262506             Name on file             Address on file
30222062             Name on file             Address on file
30262440             Name on file             Address on file
30278456             Name on file             Address on file
30292753             Name on file             Address on file
30274154             Name on file             Address on file
30335521             Name on file             Address on file
30222375             Name on file             Address on file
30231966             Name on file             Address on file
30341197             Name on file             Address on file
30332735             Name on file             Address on file
30262270             Name on file             Address on file
30347142             Name on file             Address on file
30259616             Name on file             Address on file
30281875             Name on file             Address on file




           In re: JOANN Inc., et al.
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                                                                                               Exhibit P
                                                                                   Class 4 Supplemental Service List
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  ADDRESS ID                             NAME                          ADDRESS 1               ADDRESS 2                 ADDRESS 3             CITY        STATE     POSTAL CODE   COUNTRY
30225220             Name on file                          Address on file
30285253             Name on file                          Address on file
30257275             Name on file                          Address on file
30336853             Name on file                          Address on file
30331621             Name on file                          Address on file
30288837             Name on file                          Address on file
30278931             Name on file                          Address on file
30283724             Name on file                          Address on file
30296821             Name on file                          Address on file
30232029             Name on file                          Address on file
30256744             Name on file                          Address on file
30347974             Name on file                          Address on file
30332899             Name on file                          Address on file
30331639             Name on file                          Address on file
30332000             Name on file                          Address on file
30261588             Name on file                          Address on file
30257638             Name on file                          Address on file
30288995             Name on file                          Address on file
30281836             Name on file                          Address on file
30214257             CREATIVE COLOR                        17413 WOODFORD AVE                                                        LAKEWOOD         OH           44107‐2223
30297042             Name on file                          Address on file
30256999             Name on file                          Address on file
30213784             CUPIXEL INC                           59 HAMLET STREET                                                          NEWTON           MA           02459
30342682             Name on file                          Address on file
30332113             Name on file                          Address on file
30261640             Name on file                          Address on file
30274233             Name on file                          Address on file
30334429             Name on file                          Address on file
30331857             Name on file                          Address on file
30257471             Name on file                          Address on file
30345274             Name on file                          Address on file
30224459             Deanna Mahoney / Paralegal Services   633 Stewart St. 14                                                        Manteca          CA           95336
30222956             Name on file                          Address on file
30262524             Name on file                          Address on file
30263563             Name on file                          Address on file
30164115             Design Imports                        PO Box 58410                                                              Seattle          WA           98138
30258233             Name on file                          Address on file
30332139             Name on file                          Address on file
30284196             Name on file                          Address on file
30276614             Name on file                          Address on file
30228852             Name on file                          Address on file
30260729             Name on file                          Address on file
30335276             Name on file                          Address on file
30259967             Name on file                          Address on file
30222159             Name on file                          Address on file
30224161             Name on file                          Address on file
30331804             Name on file                          Address on file
30261967             Name on file                          Address on file
30273904             Name on file                          Address on file
30337214             Name on file                          Address on file
30262703             Name on file                          Address on file




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                                                                                                        Class 4 Supplemental Service List
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  ADDRESS ID                            NAME                                 ADDRESS 1                                ADDRESS 2                 ADDRESS 3              CITY       STATE     POSTAL CODE     COUNTRY
30262318             Name on file                          Address on file
30343942             Name on file                          Address on file
30258851             Name on file                          Address on file
30286773             Name on file                          Address on file
30279065             Name on file                          Address on file
30282467             Name on file                          Address on file
30260840             Name on file                          Address on file
30281107             Name on file                          Address on file
30258299             Name on file                          Address on file
30259779             Name on file                          Address on file
30273985             Name on file                          Address on file
30256491             Name on file                          Address on file

30166993             Guangdong Yiboxuan Ceramics Co Ltd    The South Side of the junction of Baoyun 4                                                       Chaozhou, Guangdong           515646          China
30346992             Name on file                          Address on file
30331650             Name on file                          Address on file
30262832             Name on file                          Address on file
30292706             Name on file                          Address on file
30333547             Name on file                          Address on file
30338804             Name on file                          Address on file
30259294             Name on file                          Address on file
30257121             Name on file                          Address on file
30256756             Name on file                          Address on file
30346758             Name on file                          Address on file
30279136             Name on file                          Address on file
30278547             Name on file                          Address on file
30293477             Name on file                          Address on file
30287762             Name on file                          Address on file
30332518             Name on file                          Address on file
30255612             Name on file                          Address on file
30258179             Name on file                          Address on file
30192406             Highmen (Shanghai) International Co   No. 2285 DuHui Road                          Minhang District                                    Shanghai                      20110           China
30281722             Name on file                          Address on file
30337088             Name on file                          Address on file
30261839             Name on file                          Address on file
30259097             Name on file                          Address on file
30224625             Name on file                          Address on file
30260609             Name on file                          Address on file
30293154             Name on file                          Address on file
30256592             Name on file                          Address on file
30258221             Name on file                          Address on file
30274911             Name on file                          Address on file
30222869             Name on file                          Address on file
30273966             Name on file                          Address on file
30338410             Name on file                          Address on file
30224030             Name on file                          Address on file
30263395             Name on file                          Address on file
30280028             Name on file                          Address on file
30262061             Name on file                          Address on file
30284682             Name on file                          Address on file
30296937             Name on file                          Address on file




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                                                                                               Exhibit P
                                                                                   Class 4 Supplemental Service List
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  ADDRESS ID                            NAME                           ADDRESS 1                ADDRESS 2                           ADDRESS 3             CITY    STATE     POSTAL CODE   COUNTRY
30344214             Name on file                       Address on file
30258821             Name on file                       Address on file
30222940             Name on file                       Address on file
30278933             Name on file                       Address on file
30295429             Name on file                       Address on file
30223355             Name on file                       Address on file
30224957             Name on file                       Address on file
30336744             Name on file                       Address on file
30221950             Name on file                       Address on file
30282347             Name on file                       Address on file
30223789             Name on file                       Address on file
30348752             Name on file                       Address on file
30257620             Name on file                       Address on file
30346745             Name on file                       Address on file
30225084             Name on file                       Address on file
30274418             Name on file                       Address on file
30262017             Name on file                       Address on file
30282860             Name on file                       Address on file
30200710             LAFAYETTE II, KENNETH J.           Address on file
30259495             Name on file                       Address on file
30347992             Name on file                       Address on file
30347988             Name on file                       Address on file
30260711             Name on file                       Address on file
30340601             Name on file                       Address on file
30279538             Name on file                       Address on file
30337270             Name on file                       Address on file
30278000             Name on file                       Address on file
30261833             Name on file                       Address on file
30285043             Name on file                       Address on file
30222078             Name on file                       Address on file
30259129             Name on file                       Address on file
30289742             Name on file                       Address on file
30294974             Liberty Mutual Insurance Company   Attn: Nina Durante         1001 Fourth Avenue                  Suite 3800               Seattle          WA       98154
30342144             Name on file                       Address on file
30263120             Name on file                       Address on file
30273878             Name on file                       Address on file
30339761             Name on file                       Address on file
30333455             Name on file                       Address on file
30282079             Name on file                       Address on file
30342491             Name on file                       Address on file
30263220             Name on file                       Address on file
30260342             Name on file                       Address on file
30334769             Name on file                       Address on file
30274424             Name on file                       Address on file
30335502             Name on file                       Address on file
30223889             Name on file                       Address on file
30291099             Name on file                       Address on file
30261091             Name on file                       Address on file
30280843             Name on file                       Address on file
30331209             Name on file                       Address on file
30256538             Name on file                       Address on file




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  ADDRESS ID                           NAME                                    ADDRESS 1                ADDRESS 2                        ADDRESS 3             CITY         STATE     POSTAL CODE     COUNTRY
30285481             Name on file                            Address on file
30222758             Name on file                            Address on file
30285226             Name on file                            Address on file
30331855             Name on file                            Address on file
30279478             Name on file                            Address on file
30285196             Name on file                            Address on file
30259499             Name on file                            Address on file
30262035             Name on file                            Address on file
30222841             Name on file                            Address on file
30261746             Name on file                            Address on file
30256684             Name on file                            Address on file

30184132             MILE HIGH HOTELS DBA LAQUINTA BUTTE     KEVIN JAMES BUTORI            GENERAL MANAGER MILE HIGH HOTELS    1 HOLIDAY PARK DR     BUTTE                 MT       59701
30279540             Name on file                            Address on file
30332490             Name on file                            Address on file
30217872             Name on file                            Address on file
30332753             Name on file                            Address on file
30296737             Name on file                            Address on file
30283186             Name on file                            Address on file
30262236             Name on file                            Address on file
30290500             Name on file                            Address on file
30276151             Name on file                            Address on file
30258055             Name on file                            Address on file
30332454             Name on file                            Address on file
30259349             Name on file                            Address on file
30287822             Name on file                            Address on file
30284448             Name on file                            Address on file
30289594             Name on file                            Address on file
30283541             Name on file                            Address on file
30334763             Name on file                            Address on file
30192795             Nanjing Zhaohong Textile Co., Ltd       No. 8 Chaoyang Road           Dongping Development Zo                                   Lishui, Nanjing, JS            211200          China
30262140             Name on file                            Address on file
30287102             Name on file                            Address on file

30164376             NINGBO SINOMAKER INDUSTRY & TRADE LTD   ROOM 1204‐1                   NO.7 TIANZHI LANE                                         NINGBO                         31510           CHINA
30333925             Name on file                            Address on file
30258943             Name on file                            Address on file
30259467             Name on file                            Address on file
30259183             Name on file                            Address on file
30347855             Name on file                            Address on file
30259012             Name on file                            Address on file
30257026             Name on file                            Address on file
30338622             Name on file                            Address on file
30340823             Name on file                            Address on file
30295828             Name on file                            Address on file
30275129             Name on file                            Address on file
30261969             Name on file                            Address on file
30290511             Name on file                            Address on file
30260295             Name on file                            Address on file
30262474             Name on file                            Address on file
30336902             Name on file                            Address on file




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  ADDRESS ID                               NAME                            ADDRESS 1                      ADDRESS 2                         ADDRESS 3                             CITY        STATE     POSTAL CODE     COUNTRY
30261173             Name on file                        Address on file
30294414             Name on file                        Address on file
30284791             Name on file                        Address on file
30224218             Name on file                        Address on file
30285200             Name on file                        Address on file
30261562             Name on file                        Address on file
30261324             Name on file                        Address on file
30257905             Name on file                        Address on file
30287100             Name on file                        Address on file
30262733             Name on file                        Address on file
30297634             Name on file                        Address on file
30228048             Name on file                        Address on file
30295026             Name on file                        Address on file
30218592             Name on file                        Address on file
30161266             ResinVentures Inc                   Attn: Ali Mutlu                   2300 Apollo Circle                                                          Carrollton        TX           75006
30341471             Name on file                        Address on file
30281726             Name on file                        Address on file
30281076             Name on file                        Address on file
30273991             Name on file                        Address on file
30296400             Name on file                        Address on file
30262897             Name on file                        Address on file
30338349             Name on file                        Address on file
30224181             Name on file                        Address on file
30260743             Name on file                        Address on file
30347719             Name on file                        Address on file
30273515             Name on file                        Address on file
30333555             Name on file                        Address on file
30281997             Name on file                        Address on file
30253966             Name on file                        Address on file
30224272             Rosenthal & Rosenthal, Inc.         Attn: Melinda DeJesus             1370 Broadway, 3rd Floor                                                    New York          NY           10018
30251275             Name on file                        Address on file
30261809             Name on file                        Address on file
30276566             Name on file                        Address on file
30260919             Name on file                        Address on file
30223952             Name on file                        Address on file
30274963             Name on file                        Address on file
30279309             Name on file                        Address on file
30286867             Name on file                        Address on file
30261377             Name on file                        Address on file
30278044             Name on file                        Address on file
30338750             Name on file                        Address on file
30222000             Name on file                        Address on file
30282856             Name on file                        Address on file
30291904             Name on file                        Address on file
30260394             Name on file                        Address on file
30273680             Name on file                        Address on file
30283804             Name on file                        Address on file
30197088             SHANGHAI ALLTEX TECHNOLOGY CO LTD   3 F NO 12 LANE 688 HENGNAN ROAD                                                                               SHANGHAI                                       CHINA

30164409             Shaoxing Enyi Textile Co., Ltd      Hui Zhu                           Genaral Manager                      2F, Building 2# Luxi Industrail Park   Shaoxing, ZJ                   312000          China
30260681             Name on file                        Address on file




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  ADDRESS ID                              NAME                        ADDRESS 1                       ADDRESS 2                 ADDRESS 3            CITY       STATE     POSTAL CODE     COUNTRY
30227082             Name on file                   Address on file
30224111             Name on file                   Address on file
30292792             Name on file                   Address on file
30274166             Name on file                   Address on file
30276177             Name on file                   Address on file
30257883             Name on file                   Address on file
30262595             Name on file                   Address on file
30348038             Name on file                   Address on file
30347851             Name on file                   Address on file
30184173             Name on file                   Address on file
30279578             Name on file                   Address on file
30333534             Name on file                   Address on file
30261191             Name on file                   Address on file
30336242             Name on file                   Address on file
30285501             Name on file                   Address on file
30337480             Name on file                   Address on file
30282701             Name on file                   Address on file
30289686             Name on file                   Address on file
30256664             Name on file                   Address on file

30259731             Name on file                   Address on file
30277838             Name on file                   Address on file
30344444             Name on file                   Address on file
30282950             Name on file                   Address on file
30340637             Name on file                   Address on file
30232123             Name on file                   Address on file
30206852             Taizhou Sunup Tech Co., Ltd    5#Hengxing Road                                                                         Taizhou, Zhejiang           318020          China
30262426             Name on file                   Address on file
30333598             Name on file                   Address on file
30280107             Name on file                   Address on file
30258939             Name on file                   Address on file
30276880             Name on file                   Address on file
30339344             Name on file                   Address on file
30165120             Today's Treasures Inc          8F., No. 8, Sec. 2, Nanjing E. Rd.                                                      Taipei, TW                  10417           China
30259340             Name on file                   Address on file
30284638             Name on file                   Address on file
30284607             Name on file                   Address on file
30227293             Name on file                   Address on file
30260566             Name on file                   Address on file
30163101             Tri d'Art International Ltd.   4F NO. 32, LN. 407 SEC. 2,           TIDING BLVD., NEIHU                                TAIPEI, TW                                  TAIWAN
30276740             Name on file                   Address on file
30334912             Name on file                   Address on file
30279050             Name on file                   Address on file
30258476             Name on file                   Address on file
30274766             Name on file                   Address on file
30336683             Name on file                   Address on file
30223681             Name on file                   Address on file
30274106             Name on file                   Address on file
30286752             Name on file                   Address on file
30279938             Name on file                   Address on file
30258416             Name on file                   Address on file




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  ADDRESS ID                           NAME                     ADDRESS 1               ADDRESS 2                 ADDRESS 3         CITY   STATE   POSTAL CODE   COUNTRY
30294930             Name on file             Address on file
30331884             Name on file             Address on file
30287441             Name on file             Address on file
30287559             Name on file             Address on file
30227062             Name on file             Address on file
30260942             Name on file             Address on file
30261449             Name on file             Address on file
30295740             Name on file             Address on file
30342983             Name on file             Address on file
30259767             Name on file             Address on file
30332609             Name on file             Address on file
30285025             Name on file             Address on file
30285403             Name on file             Address on file
30331873             Name on file             Address on file




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